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                                            EXHIBIT D

                                    Retained Causes of Action

Article IV, Section Q of the Plan provides as follows:

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII of
         the Plan, the Reorganized Debtors shall retain and may enforce all rights to commence
         and pursue any and all Causes of Action belonging to their Estates, whether arising
         before or after the Petition Date, including any actions specifically enumerated in the
         Plan Supplement, and the Reorganized Debtors’ rights to commence, prosecute, or settle
         such Causes of Action shall be preserved notwithstanding the occurrence of the
         applicable Effective Date, other than: (i) the Causes of Action released by the Debtors
         pursuant to the releases and exculpations contained in the Plan, including in Article VIII,
         which shall be deemed released and waived by the Debtors and Reorganized Debtors as
         of the Effective Date; (ii) all Causes of Action that arise under sections 544, 547, 548,
         and 549 of the Bankruptcy Code and state fraudulent conveyance law; and (iii) the
         Causes of Action released by the Debtors pursuant to the Settlement Agreement

         The Reorganized Debtors may pursue such Causes of Action, as appropriate, in
         accordance with the best interests of the Reorganized Debtors. No Entity may rely on
         the absence of a specific reference in the Plan, the Plan Supplement, or the
         Disclosure Statement to any Cause of Action against it as any indication that the
         Debtors or the Reorganized Debtors, as applicable, will not pursue any and all
         available Causes of Action against it. Unless any Causes of Action against an Entity
         are expressly waived, relinquished, exculpated, released, compromised, or settled herein
         or in a Bankruptcy Court order, the Reorganized Debtors expressly reserve all Causes of
         Action, for later adjudication, and, therefore, no preclusion doctrine, including the
         doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
         (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon,
         after, or as a consequence of Confirmation or Consummation

         The Reorganized Debtors reserve and shall retain the Causes of Action notwithstanding
         the rejection of any Executory Contract or Unexpired Lease during the Chapter 11 Cases
         or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code,
         any Causes of Action that a Debtor may hold against any Entity shall vest in the
         Reorganized Debtors. The Reorganized Debtors shall have the exclusive right, authority,
         and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
         compromise, release, withdraw, or litigate to judgment any such Causes of Action and to
         decline to do any of the foregoing without the consent or approval of any third party or
         further notice to or action, order, or approval of the Bankruptcy Court.




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Notwithstanding and without limiting the generality of Article IV.Q of the Plan, the following
Exhibit D(i) through Exhibit D(iii) (each of which is attached hereto) include specific types of
Causes of Actions expressly preserved by the Debtors, the Reorganized Debtors, and New EFH
including:

             Exhibit D(i): Claims, Defenses, Cross-Claims, and Counter-Claims Related to
              Litigation and Possible Litigation;

             Exhibit D(ii): Claims Related to Insurance Policies

             Exhibit D(iii): Claims Related to Accounts Receivable and Accounts Payable; and

        In addition, on April 29, 2014, the Debtors filed a list of creditors on a consolidated basis
for all of the Debtors [D.I. 76]. The Debtors filed a list of such creditors on a non-consolidated
basis (i.e., a separate matrix for each Debtor) on July 28, 2014 [D.I. 1705] (together with the
consolidated list of creditors, the “Creditor Matrix”). In addition to the following Exhibit E(i)
through Exhibit E(iv), the E-Side Debtors expressly retain claims and Causes of Action against
any Entity listed in the Creditor Matrix, regardless of whether such Entity is listed in the
following Exhibit D(i) through Exhibit D(iv), to the extent such Entities owe or may in the future
owe money to the Debtors, the Reorganized EFH Debtors, or the Reorganized EFIH Debtors,
except to the extent claims and Causes of Action against an entity listed in the Creditor Matrix
has been released through the Plan.




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                                           EXHIBIT D(i)

                       Claims, Defenses, Cross-Claims, and Counter-Claims
                           Related to Litigation and Possible Litigation

The following Exhibit D(ii) includes Entities that are party to or that the E-Side Debtors believe
may become party to litigation, arbitration, or any other type of adversarial proceeding or dispute
resolution proceeding, whether formal or informal, judicial or non-judicial. Unless otherwise
released by the Plan, the E-Side Debtors expressly reserve all Causes of Action against or related
to all Entities that are party to or that may in the future become party to litigation, arbitration, or
any other type of adversarial proceeding or dispute resolution proceeding, whether formal or
informal, judicial or non-judicial, regardless of whether such Entity is included on Exhibit D(ii).

In addition, the following Exhibit D(ii) includes claims and Causes of Action the E-Side Debtors
expressly retain based in whole or in part upon any and all contracts and leases to which any E-
Side Debtor, Reorganized EFH Debtor, or Reorganized EFIH Debtor is a party or pursuant to
which any E-Side Debtor, Reorganized EFH Debtor, or Reorganized EFIH Debtor has any rights
whatsoever. Unless otherwise released by the Plan, the E-Side Debtors retain all such claims and
Causes of Action regardless of whether such contract or lease is included on Exhibit D(ii). The
claims and Causes of Actions reserved include, Causes of Action against vendors, suppliers of
goods or services, or any other parties: (a) for overpayments, back charges, duplicate payments,
improper holdbacks, deposits, warranties, guarantees, indemnities, recoupment, or setoff; (b) for
wrongful or improper termination, suspension of services or supply of goods, or failure to meet
other contractual or regulatory obligations; (c) for failure to fully perform or to condition
performance on additional requirements under contracts with any one or more of the Debtors
before the assumption or rejection, if applicable, of such contracts; (d) for payments, deposits,
holdbacks, reserves, or other amounts owed by any creditor, utility, supplier, vendor, insurer,
surety, factor, lender, bondholder, lessor, or other party; (e) for any liens, including mechanic’s,
artisan’s, materialmen’s, possessory, or statutory liens held by any one or more of the Debtors;
(f) arising out of environmental or contaminant exposure matters against landlords, lessors,
environmental consultants, environmental agencies, or suppliers of environmental services or
goods; (g) counter-claims and defenses related to any contractual obligations; (h) any turnover
actions arising under section 542 or 543 of the Bankruptcy Code; and (i) for unfair competition,
interference with contract or potential business advantage, breach of contract, infringement of
intellectual property, or any business tort claims.




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                     Retained Causes of Action

                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

(GILBY)RHOADES, LINDA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


10928 AUDELIA ROAD LP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE AZUL
LEASING OFFICE
10928 AUDELIA RD
DALLAS, TX 75234-8260


1605 COOPER PROPERTY PARTNERS LP                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WOODWIND APTS
PO BOX 331209
FORT WORTH, TX 76163


1STEL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 E HENDERSON ST
CLEBURNE, TX 76031


2603 AUGUSTA INVESTORS LP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2603 AUGUSTA DR STE 115
HOUSTON, TX 77057


3 B DOZER SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 249
BREMOND, TX 76629


3M COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


3M COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
IVAN FONG, SVP, LEGAL AFFAIRS
3 M CENTER
ST. PAUL, MN 55144-1000


3M COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2501 HUDSON RD
ST. PAUL, MN 55144-1000


3M COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 M CENTER
ST. PAUL, MN 55144-1000




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3M CORPORATE HEADQUARTERS
ATTN IVAN FONG GENERAL COUNSEL
3M CENTER
ST. PAUL, MN 55144-1000


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARLO LEVI
100 SOUTH 5TH STREET 1075
MINNEAPOLIS, MN 55144


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
IVAN FONG, SVP, LEGAL AFFAIRS
3 M CENTER
ST. PAUL, MN 55144-1000


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEKELL BOOK ALLEN & MORRIS LLP
WILLIAM BOOK
1221 MCKINNEY, SUITE 4300
HOUSTON, TX 77010


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COE COUSINS & IRONS LLP
DAVID M. TAYLOR,
700 NORTH PEARL ST, TWENTY-FIFTH FL
DALLAS, TX 75201


3M COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COE COUSINS & IRONS LLP
KEVIN FRANK RISLEY
ONE RIVERWAY, SUITE 1600
HOUSTON, TX 77056


3M                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 844190
DALLAS, TX 75284-4190


4 STAR ELECTRONICS, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUTING DEPT.
930 CALLE NEGOCIO, STE C
SAN CLEMENTE, CA 92673




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                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

4 STAR HOSE & SUPPLY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BRENT CULHANE
PO BOX 541356
DALLAS, TX 75354-1356


4 STAR HOSE & SUPPLY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 541356
DALLAS, TX 75354-1356


4520 CORP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4909 SE INTERNATIONAL WAY
PORTLAND, OR 97222


4520 CORP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


4520 CORP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
STEVEN BERT BESHORE
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


4520 CORP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE B. SWIFT LAW FIRM, P.C.
BRIAN T. SWIFT
480 N. SAM HOUSTON PKWY EAST, SUITE 232
HOUSTON, TX 77060-3528


4520 CORP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


4IMPRINT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COMMERCE ST
OSHKOSH, WI 54901


4-L ENGINEERING COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 N DOROTHY DR
RICHARDSON, TX 75081


4-STAR HOSE & SUPPLY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10704 COMPOSITE DR
DALLAS, TX 75220




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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

4-STAR HOSE AND SUPPLY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BRENT CULHANE
10704 COMPOSITE
DALLAS, TX 75220


5DT INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15375 BARRANCA PKWY, G-103
IRVINE, CA 92618


6425 GESS LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CARLINGFORD PHASE II
6425 SOUTH GESSNER
HOUSTON, TX 77036


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1019 ROUTE 519
EIGHTY FOUR, PA 15330


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1019 ROUTE 519, BLDG #3
EIGHTY FOUR, PA 15330


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


84 LUMBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

9600 FOREST LANE HOLDINGS LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ANIL MEHTA
2016 RIVERSIDE DR
LOS ANGELES, CA 90039


9750 FOREST LANE LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA LAKE HIGHLANDS LANDING
9750 FOREST LANE
DALLAS, TX 75243-5723


A & E MACHINE SHOP INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 0190
920 INDUSTRIAL BLVD
LONE STAR, TX 75668-0190


A & W BEARINGS & SUPPLY CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 561069
DALLAS, TX 76356-1069


A B ERWIN WELDING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOB ERWIN
152 US HWY 84 WEST
TEAGUE, TX 75860


A B ERWIN WELDING, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
152 US HWY 84 W
TEAGUE, TX 75860


A BETTER ANSWER COMMUNICATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1410 G AVENUE
PLANO, TX 75074


A C & S INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 335
NITRO, WV 25143


A E P TEXAS NORTH CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHAUER & SIMANK PC
ROBERT H. LESESNE
615 NORTH UPPER BROADWAY, SUITE 2000
CORPUS CHRISTI, TX 78401


A K ARMATURE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 N JEFFERSON ST
IRVING, TX 75061-7629




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

A K ARMATURE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 N JEFFERSON
IRVING, TX 75061


A K GILLIS & SONS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 COLLEGE ST
PO BOX 576
SULPHUR SPRINGS, TX 75483-0576


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11270 WEST PARK PLACE, SUITE 170
PO BOX 245008
MILWAUKEE, WI 53224


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON & MENTKOWSKI
ERIC D. CARLSON
2425 WEST LOOP SOUTH, SUITE 200
HOUSTON, TX 77027


A O SMITH CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON, S.C.
ERIC D. CARLSON
710 NORTH PLANKINTON AVE, SUITE 500
MILWAUKEE, WI 53203




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES F. STERN, EVP, GEN. COUN. &
SECRETARY, 11270 WEST PARK PLACE
SUITE 170, PO BOX 245008
MILWAUKEE, WI 53224


A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CLARY FIRM P.C.
BRIAN S. CLARY
408 STAITTI STREET
HUMBLE, TX 77338


A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


A O SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALL STREET PLAZA, 24TH FLOOR
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, 88 PINE STREET
NEW YORK, NY 10005


A P GREEN INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 GREEN BOULEVARD
MEXICO, MO 65265


A SCHULMAN INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID C. MINC, VP & CHIEF LEGAL OFFICER
3637 RIDGEWOOD ROAD
FAIRLAWN, OH 44333


A W CHESTERTON CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 UNICORN PARK DRIVE
WOBURN, MA 01801-3345




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOLEY MANION JONES LLP
ARTHUR GRIMALDO, WATER GARDENS PLACE
100 GARDENS PLACE, 100 15TH ST, STE 320
FORT WORTH, TX 76102


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOLEY, MANSION, JONES, LLP
MELODY M. WILKINSON
100 E 15TH STREET, SUITE 320
FORT WORTH, TX 76102


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COTTEN SCHMIDT & ABBOTT L.L.P.
SUSAN JAN HUEBER
550 BAILEY AVE, SUITE 600
FORT WORTH, TX 76107


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JESSICA S. JACKSON, ATTORNEY AT LAW
15303 DALLAS PKWY, SUITE 900
DALLAS, TX 75001


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOSEPH E RILEY
500 UNICORN PARK DRIVE
5TH FL
WOBURN, MA 01801


A W CHESTERTON CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOSEPH E. RILEY, VP & GENERAL COUNCEL
500 UNICORN PARK DRIVE
5TH FL
WOBURN, MA 01801-3345




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                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELODY M WILKINSON
17TH DISTRICT COURT, TIM CURRY JUSTICE
CENTER - 8TH FLOOR, 401 W. BELKNAP
FORT WORTH, TX 76196


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH LLP
100 E 15TH ST STE 320
FORT WORTH, TX 76102


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUSAN JAN HUEBER
COTTEN SCHMIDT & ABBOTT L.L.P.
550 BAILEY AVE, SUITE 600
FT. WORTH, TX 76107


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TARRANT COUNTY JUSTICE CENTER
MELODY M. WILKINSON
401 WEST BELKNAP, 8TH FLOOR
FORT WORTH, TX 76196


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
150 EAST 42ND STREET
NEW YORK, NY 10017-5639


A W CHESTERTON CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
33 WASHINGTON STREET
NEWARK, NJ 07102




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

A&E MACHINE SHOP INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 0190
LONE STAR, TX 75668-0190


A.C.E., LTD.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6600 CAMPUS CIR DR E
IRVING, TX 75063


A.K. GILLIS & SONS, INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 576
SULPHUR SPRINGS, TX 75483


A.P. GREEN INDUSTRIES AND HARBISION & WALKER                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPAIN HASTINGS & WARD
H. DANIEL SPAIN
3900 TWO HOUSTON CENTER
HOUSTON, TX 77010


A1 ALL AMERICAN SEPTIC SERVICE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3142 SPRINGFIELD
DALLAS, TX 75232


A-1 AUTO SUPPLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 GILMER ST
SULPHUR SPRINGS, TX 75482


A-1 LOCKSMITHS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2508 HIGHLANDER WAY STE 230
CARROLLTON, TX 75006


A3M VACUUM SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 727
LAPLACE, LA 70068


AAA BLAST-COTE INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14302 BEAMER ROAD
FRIENDSWOOD, TX 77546


AAF INTERNATIONAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24828 NETWORK PLACE
CHICAGO, IL 60673-1248


AAF MCQUAY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9920 CORPORATE CAMPUS DR #2200
LOUISVILLE, KY 40223




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AAMCO TRANSMISSIONS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 GIBRALTAR RD #100
HORSHAM, PA 19044


AAXION INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
903 WEST COTTON
LONGVIEW, TX 75608


AAXION INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4322
TYLER, TX 75712


AB CHANCE CO.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 N. ALLEN ST.
CENTRALIA, MO 65240


ABB COMBUSTION ENGINEERING AND CAN INSURANCE COMPANY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF CYNTHIA A. JAWORSKI
ELIZABETH ZACARDI, ESQ.
175 CAPITAL BOULEVARD, SUITE 400
ROCKY HILL, CT 06067


ABB INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11600 MIRAMAR PKWY
MIRAMAR, FL 33025


ABB INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


ABB INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 88868
CHICAGO, IL 60695-1868


ABB INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ELLIS & WINTERS LLP
ATTN: GEORGE F. SANDERSON III
PO BOX 33550
RALEIGH, NC 27636


ABB LUMMUS CREST INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 BROAD ST
BLOOMFIELD, NJ 07003




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ABB, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


ABBAMONTE, KENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABBATE, WILLIAM R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ABBENDA, LOUIS D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ABBIATE, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ABBIE, DORIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABBIE, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ABBONDANZA, FRANK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ABBOTT LABORATORIES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION REGULATORY AFFAIRS
ABBOTT PARK
NORTH CHICAGO, IL 60064


ABBOTT LABORATORIES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUBERT L. ALLEN, EVP, GEN. COUN. &
SECRETARY
3-4 CORPORATE PARK
SION-TROMBAY ROAD
MUMBAI, 400071
INDIA




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ABBOTT, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ABBOTT, CLINTON M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABBOTT, CYNTHIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ABBOTT, DAVID L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABBOTT, DENNIS M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABBOTT, EARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ABBOTT, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ABBOTT, GRAYSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABBOTT, HILDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABBOTT, JEFFERY S, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN ABBOTT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ABBOTT, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABBOTT, SIMSES, KNISTER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ABOTT, SIMSES & KUCHLER, PC
LAWRENCE E. ABBOTT
400 LAFAYETTE, SUITE 200
NEW ORLEANS, LA 70310


ABC AUTO PARTS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
460 HIGHWAY 79 SOUTH
HENDERSON, TX 75652


ABC AUTO PARTS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
920 W. MARSHALL
LONGVIEW, TX 75606


ABC AUTO SALES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3627
LONGVIEW, TX 75606-3627


ABC AUTO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3688
LONGVIEW, TX 75606


ABEL, LARRY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ABEL, LYNN M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E GOODRICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABELL, DAVID R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

ABEND, MARVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ABERIN, SERGIO LEVI                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABERNATHY, JIM DAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABERNETHY, RAYMOND W                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABERT, RALPH J--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ABESTOS CORPORATION LTD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
840 OUELLET BLVD
THE TFORD MINES, QC G6G7A5
CANADA

ABEX CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


ABEX CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


ABEX CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


ABEX CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808




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Name of Counterparty                                                                                        Nature

ABEX LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RANDOLPH & GREEN STS
PORTSMOUTH, VA 23704


ABITIBIBOWATERINC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 DUKE STREET, SUITE 5000
MONTRÉAL, QC H3C 2M1
CANADA

ABL SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12205 CTY RD 1114
PO BOX 8572
TYLER, TX 75711-8572


ABL SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8572
TYLER, TX 75711


ABL SERVICES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 8572
TYLER, TX 75711


ABLE COMMUNICATIONS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1413 EAST AVENUE H
GRAND PRAIRIE, TX 75050


ABLE COMMUNICATIONS, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BARLOW GARSEK & SIMON, LLP
ATTN: ROBERT A. SIMON
920 FOCH STREET
FORT WORTH, TX 76107


ABLE SUPPLY CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7323 MONTICELLO
SKOKIE, IL 60076


ABLE SUPPLY CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
LISA A. POWELL
1401 MCKINNEY STREET, SUITE 1900
HOUSTON, TX 77010


ABLE SUPPLY CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
LISA POWELL, JENNIFER BRYANT
1401 MCKINNEY STREET, SUITE 1900
HOUSTON, TX 77010




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Name of Counterparty                                                                                           Nature

ABM TECHNICAL SERVICES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 E SHADY OAK LN
MOORESVILLE, IN 46158-6381


ABNEY, BEVERLY STANFORD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABRAHAM, EDWARD, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABRAHAM, EVERETT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ABRAHAM, GEORGE K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ABRAHAM, SAMMY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ABRAM, ESTHER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ABRAM, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ABRAMOWITZ, RONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ABRECHT, GERALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ABRONS, VANESSA Y                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ABRUZZO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ABSOLUTE CONSULTING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7552 NAVARRE PARKWAY STE 63
NAVARRE, FL 32566


ABSOLUTE FIRE PROTECTION CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 HAMILTON BLVD.
SOUTH PLAINFIELD, NJ 07080-3805


ABSTON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AC&R INSULATION CO., INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15850 CRABBS BRANCH WAY
ROCKVILLE, MD 20855


AC&S INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 PLANT RD
PO BOX 335
NITRO, WV 25143


ACCARINO, MARIO A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ACCELERATED MEMORY PRODUCTION, INC. A/K/A AMP, INC.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A/K/A AMP, INC.
CATHLEEN MCCAULEY
1317 E. EDINGER ST.
SANTA ANA, CA 92705


ACCELERATED PUMP SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1460 W INTERSTATE 20
ODESSA, TX 79763




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ACCENTURE LLP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THOMPSON COBURN LLP
ATTN: BRIAN W. HOCKETT
ONE US BANK PLAZA
SAINT LOUIS, MO 63101


ACCENTURE LLP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70629
CHICAGO, IL 60673-0629


ACCLAIM ENERGY LTD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TWO RIVERWAY SUITE 800
HOUSTON, TX 77056


ACE HARDWARE CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 KENSINGTON COURT
OAK BROOK, IL 60523


ACE HARDWARE CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


ACE INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6295 MCDONOUGH DR
NORCROSS, GA 30093


ACFM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16250 A TOMBALL PKWY
HOUSTON, TX 77086


ACHORD, THOMAS M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ACHTOR, SCOTT R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ACKER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                     ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                Retained Causes of Action

                                              Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                   Nature

ACKERLEY, EDWARD J                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ACKERMAN, GARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACKERMAN, WILLIAM                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACKERMANN, JOHN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACKERMANN, MARK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACKERMANN, ROBERT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACME BOILER COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1058 ELM STREET
SAN JOSE, CA 95126


ACME BOILER COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ACME BRICK COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ACME IRON & METAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 N. BUCHANAN STREET
SAN ANGELO, TX 76902


ACME TRUCK LINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 183
HARVEY, LA 70059


ACORS, LAVINIA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD R ACORS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ACOSTA, CHARLENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ACOSTA, FELIX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ACOSTA, RAY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ACOSTA, RAY E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ACOSTA, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ACOTIN, DEVONN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ACP MASTER, LTD.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORSHEY & PROSTOK LLP
JEFF P. PROSTOK, J. ROBERT FORSHEY,
SUZANNE K. ROSEN, 777 MAIN ST., STE 1290
FORT WORTH, TX 76102




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ACP MASTER, LTD.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBBINS RUSSELL ENGLERT ORSECK ET AL
L.ROBBINS, A.LAVINBUK, K. ZECCA
1801 K ST NW, SUITE 411
WASHINGTON, DC 20006


ACREE, DANNY RAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ACT INDEPENDENT TURBO SERVICES INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8525 FREELAND STREET
HOUSTON, TX 77061-5214


ACTION CLEANING SYSTEMS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4910
TYLER, TX 75712


ACTION STAINLESS & ALLOYS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1505 HALSEY WAY
CARROLLTON, TX 75007


ACUITY BRANDS LIGHTING INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 100863
ATLANTA, GA 30384


ACUITY SPECIALTY PRODUCT INC DBA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ZEP SALES & SERVICE
525 CENTER PARK BLVD
DESOTO, TX 75115


ACUTIS, JOHN DE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADA ENVIRONMENTAL SOLUTIONS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADA - ES INC
9135 S RIDGELINE BLVD STE 200
HIGHLANDS RANCH, CO 80129


ADAMCZYK, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMCZYK, PATRICIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ADAMS & REESE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F. LEE BUTLER
1221 MCKINNEY
HOUSTON, TX 77010


ADAMS COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS COUNTY GOVERNMENT CENTER
4430 SOUTH ADAMS COUNTY PARKWAY
BRIGHTON, CO 80601


ADAMS ELEVATOR EQUIPMENT CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2611 EAGLE WAY
CHICAGO, IL 60678-1261


ADAMS SR., ROBERT DAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, ALVIOUS J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, ANGELIA G., FOR THE ESTATE OF                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MENDEL WAYNE GODFREY
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


ADAMS, ANGELIA GODFREY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, BESSIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, BYRON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, CAROLYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADAMS, CHARLES EDWARD, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ADAMS, CHARLES O                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, CHESLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, COFFEY & DUESLER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENT M. ADAMS
550 FANNIN
SUITE 800
BEAUMONT, TX 77726-7505


ADAMS, CYNTHIA JEAN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADAMS, DAVID J. III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, DAVID J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, DENNIS E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ADAMS, EARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADAMS, FREDDIE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADAMS, FREDERICK R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ADAMS, GEORGE E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ADAMS, GRANT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, GREGORY OLAND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, HARRY JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, HELEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, HERBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ADAMS, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, JARVIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, JARVIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, JESSIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ADAMS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, JOSEPH W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADAMS, KARIA (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ADAMS, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, LISA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, MICHAEL GLENN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADAMS, MILDRED S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ADAMS, RACHEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ADAMS, RAYBURNE T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ADAMS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ADAMS, RONALD B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ADAMS, RONALD D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADAMS, RUBY NELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, SHARI COX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, SIDNEY C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ADAMS, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADAMS, TERRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, VALERIE S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADAMS, VERNON G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADAMS, VERNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMS, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADAMSON, JOHN H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


ADCOCK, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADDIS, HAROLD JACOB                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ADDIS, LARRY ANDREW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ADDISON, BERNITA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

ADDISON, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADDISON, LINDA AND JOHN ADDISON                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ADELFANG, HANS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADELMANN, WALTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADELSTEIN, MARK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AD-GIFTS/EMBROID ART                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2506 UNIVERSITY BLVD.
TYLER, TX 75701


ADINA CEMETARY ASSOCIATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RR 1 BOX 290BB
LEXINGTON, TX 78947-9776


ADK SOLUTIONS LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 HAMILTON STREET
LEWISVILLE, TX 75067


ADKINS, CHARLES E AND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADKINS, DONALD WAYNE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADKINS, EDWARD H, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PERCY C ADKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADKINS, PATRICIA ANN, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL ADKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADKINS, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ADKINS, WAYNE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ADKINS, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADKINSON, MARGARET, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN ADKINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADKINSON, SHIRLEY D, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L ADKINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ADKINSON, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ADLAM, FREDERICK W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ADM INVESTOR SERVICES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CBOT BUILDING, SUITE 1600A
141 WEST JACKSON BLVD
ATTN: HEAD OF RISK MANAGEMENT
CHICAGO, IL 60604


ADRIAN L WALLICK CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1013 GAHANNA PKWY
COLUMBUS, OH 43230


ADSLUF, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ADVANCE AUTO PARTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADVANCED AUTO PARTS
SARAH POWELL, SVP, GEN. COUN.
& CORPORATE SECRETARY, 5008 AIRPORT ROAD
ROANOKE, VA 24012


ADVANCE AUTO PARTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
160 GREENTREE DR STE 101
DOVER, DE 19904


ADVANCE AUTO PARTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
APRIL ANN VESELY
330 N WABASH STE 3300
CHICAGO, IL 65450


ADVANCE AUTO PARTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SARAH POWELL, SVP, GEN. COUN. & CORPORATE SECRETARY
5008 AIRPORT ROAD
ROANOKE, VA 24012


ADVANCED ANALYTICAL LABORATORIES LLC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 760
WHITEHOUSE, TX 75791


ADVANCED ANALYTICAL LABORATORIES, LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 760
WHITEHOUSE, TX 75791




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ADVANCED DISCOVERY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13915 N MO PAC EXPY STE 210
AUSTIN, TX 78728-6516


ADVANCED DISCOVERY LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13915 N MO PAC EXPY STE 210
AUSTIN, TX 78728-6516


ADVANCED INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3127
LONGVIEW, TX 75606


ADVANCED PUMP & VALVE, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A ADVANCED INDUSTRIES, INC.
C/O SEARCY & SEARCY, P.C.
PO BOX 3929
LONGVIEW, TX 75606


ADVANTAGE ENERGY LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8969 CUYAMACA ST
CORONA, CA 92883


ADVANTAGE PRESSURE PRO LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 W WALL STREET
HARRISONVILLE, MO 64701-2356


AEC POWERFLOW LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 SW SCHERER RD
LEE'S SUMMIT, MO 64082


AEC POWERFLOW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS RECEIVABLE
100 SW SCHERER ROAD
LEE'S SUMMIT, MO 64082


AEC POWERFLOW, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 SW SCHERER ROAD
LEES SUMMIT, MO 64082


AECOM USA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 S. FLOWER ST.
SUITE 3700
LOS ANGELES, CA 90071-2300




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Name of Counterparty                                                                                        Nature

AEON PEC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7607
SHREVEPORT, LA 71137-7607


AEP ENERGY PARTNERS, LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 W. NATIONWIDE BLVD., STE 500
ATTN: CREDIT RISK MANAGEMENT
COLUMBUS, OH 43125-2570


AEP TEXAS NORTH CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


AEP-TEXAS CENTRAL CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 21930
TULSA, OK 74121-1930


AEP-TEXAS NORTH CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 MORRISON RD
GAHANNA, OH 43230


AER MANUFACTURING II, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1605 SURVEYOR BLVD
PO BOX 979
CARROLLTON, TX 75011-0979


AER MANUFACTURING,INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 979
CARROLLTON, TX 75011-0979


AERCO INTERNATIONAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 ORITANI DR
BLAUVELT, NY 10913


AERCO INTERNATIONAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


AERCO INTERNATIONAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY ANN HATCH
100 NORTH BROADWAY
14TH FLOOR
ST LOUIS, MO 63102




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Name of Counterparty                                                                                              Nature

AERO-METRIC INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4020 TECHNOLOGY PKY
SHEBOYGAN, WI 53083


AERO-METRIC, INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4020 TECHNOLOGY PARKWAY
SHEBOYGAN, WI 53083


AEROQUIP CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 STRAYER RD
MAUMEE, OH 43537


AERY, PHILLIP L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AES CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4300 WILSON BVD. 11TH FLOOR
ARLINGTON, VA 22203


AES DEEPWATER LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 LIGHT COMPANY RD
PASADENA, TX 77506


AETNA C&S                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
151 FARMINGTON AVENUE
HARTFORD, CT 06156


AETNA LIFE & CASUALTY CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
151 FARMINGTON AVENUE
HARTFORD, CT 06156


AETNA LIFE INSURANCE CO. & AETNA, INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCGUIREWOODS LLP
ATTN: AARON MCCOLLOUGH
77 W WACKER DR #4100
CHICAGO, IL 60601


AFC HOLCROFT LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49630 W POTIAC TRAIL
WIXOM, MI 48393




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Name of Counterparty                                                                                           Nature

AFC HOLCROFT LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENTONS US LLP
CELIA KATHLEEN DOUGLAS
ONE METROPOLITAN SQUARE, SUITE 3000
ST LOUIS, MO 63102-2741


AFC HOLCROFT LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENTONS US LLP
ROGER K HEIDENREICH
ONE METROPOLITAN SQUARE, SUITE 3000
ST LOUIS, MO 63102-2741


AFC HOLCROFT LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY G DAWSON
49630 PONTIAC TRAIL
WIXOM, MI 48393


AFFORDABLE HOUSING OF PARKER COUNTY INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 39
SPRINGTOWN, TX 76082


AFSAHI, SAMUEL S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AFTON CHEMICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 SPRING STREET
RICHMOND, VA 23219


AFTON PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7335 AVENUE H
HOUSTON, TX 77011


AFTON PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7335 AVENUE N
HOUSTON, TX 77011


AFTON PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226




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Name of Counterparty                                                                                             Nature

AFTON PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


AFTON PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY MICHELLE FIELDS, ATTORNEY AT LAW
14 S. CENTRAL AVE SUITE 212
CLAYTON, MO 63105


AFTON PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. MARK WILLINGHAM
WILLINGHAM FULTZ & COUGILL
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


AFTON PUMPS INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
MARK R. WILLINGHAM
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


AGARWAL, NISMANT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGCO CORPORATION DBA AGCO FARM                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4205 RIVER GREEN PARKWAY
DULUTH, GA 30096


AGCO CORPORATION FKA MASSEY FERGUSON                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4205 RIVER GREEN PARKWAY
DULUTH, GA 30096


AGEE, JEFFREY S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGEE, MYRA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AGGARWAL, DARSHANA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AGGARWAL, MANOJ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                   Nature

AGGARWAL, ROHIT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGGREKO, LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4607 WEST ADMIRAL DOYLE DR
NEW IBERIA, LA 70560


AGGREKO,INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3732 MAGNOLIA ST.
PEARLAND, TX 77584


AGI INDUSTRIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 53905
LAFAYETTE, LA 70505-3905


AGLER, BOB                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGNELLO, JANICE A                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGOSTO, ANGEL R. OTERO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGOSTO, LUIS A. ROSODO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AGR INSPECTION INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 608
BURLESON, TX 76097-0608


AGUAYO, YVETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AGUGLIARO, BENEDICT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AGUIAR, MESSIAS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

AGUILAR, FLORENCIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


AGUILAR, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


AHAM, PETER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AHAM, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AHEARN, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AHEARN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AHERN, JAMES W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AHERN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

AHERN, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AHERNE, CAROLYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AHF ASPEN CHASE LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ASPEN CHASE APARTMENTS
11760 FERGUSON RD
DALLAS, TX 75228


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ASTON BROOK
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FOUNTAINGATE
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA NORTHWOODS
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA RIDGE AT WILLOWCHASE
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SHADOWRIDGE VILLAGE
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHF COMMUNITY DEVELOPMENT LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WOODEDGE
6919 PORTWEST STE 160
HOUSTON, TX 77024




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Name of Counterparty                                                                                      Nature

AHL PRINCETON LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PRINCETON
6919 PORTWEST STE 160
HOUSTON, TX 77024


AHLES, VERNON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AHLFELD, CLYDE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204


AHRENS, HENRY T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AHRENSFIELD, GAIL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AHRENSFIELD, JOHN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AIELLO, SIMONE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AIGTS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
29TH FLOOR
JERSEY CITY, NJ 07302


AIKINS, KIZZY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AIKINS, LARRY D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AIKINS, MONTRICIA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

AINSWORTH, BRYAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AINSWORTH, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: MARY AINSWORTH, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1680 S LIVERNOIS RD
#200
ROCHESTER HILLS, MI 48307


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT ST STE 4600
PITTSBURGH, PA 15219


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


AIR & LIQUID SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MICHAEL PATRICK MCGINLEY
714 LOCUST
ST LOUIS, MO 63101




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1680 S LIVERNOIS ROAD
#200
ROCHESTER HILLS, MI 48307


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1680 S LIVERNOIS ROAD
#200
ROCHESTER HILLS, MI 48307


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT ST STE 4600
PITTSBURGH, PA 15219


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
680 S LIVERNOIS RD
ROCHESTER HILLS, MI 48307


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
874 OLIVER ST
NORTH TONAWONDA, NY 14120


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE ST STE 320
HARRISBURG, PA 17101


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


AIR & LIQUID SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

AIR & LIQUID SYSTEMS CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


AIR & LIQUID SYSTEMS CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


AIR & LIQUID SYSTEMS CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILBRAHAM LAWLER & BUBA
140 BROADWAY, 46TH FLOOR
NEW YORK, NY 10005


AIR CONDUIT LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 2ND STREET
LAKE CHARLES, LA 70601


AIR DIMENSIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1371 W NEWPORT CENTER DR STE 101
DEERFIELD BEACH, FL 33442


AIR LIQUIDE AMERICA CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 POST OAK BLVD, SUITE 1800
HOUSTON, TX 77056


AIR LIQUIDE AMERICA SPECIALTY GASES LLC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHERYL R. LERO
2700 POST OAK BLVD. 21ST FLOOR
HOUSTON, TX 77056


AIR LIQUIDE AMERICA SPECIALTY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GASES LLC
PO BOX 301046
DALLAS, TX 75303-1046


AIR PRODUCTS AND CHEMICALS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

AIR PRODUCTS AND CHEMICALS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


AIR PRODUCTS AND CHEMICALS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN D. STANLEY, SVP, GEN. COUN.
& CHIEF ADMIN. OFFICER
405 NEW JERSEY 33
MANALAPAN, NJ 07726


AIR PRODUCTS AND CHEMICALS, INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7201 HAMILTON BLVD.
ALLENTOWN, PA 18195


AIRCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5725 ALDER AVENUE
SACRAMENTO, CA 95828


AIRCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


AIRCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


AIRCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY MOORE
KURT L RASMUSSEN
9200 WARD PKWY SUITE 400
KANSAS CITY, MO 64114


AIRFLOW SC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12190 HUBBARD ST
LIVONIA, MI 48150-1737


AIRFLOW SCIENCES CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12190 HUBBARD ST
LIVONIA, MI 48150-1737




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                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                  Retained Causes of Action

                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

AIRGAS REFRIGERANTS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952182
DALLAS, TX 75395-2182


AIRGAS SAFETY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WACHOVIA BANK
PO BOX 951884
DALLAS, TX 75395


AIRGAS SAFETY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1010
GERMANTOWN, WI 53022-8210


AIRGAS SAFETY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W185N11300 WHITNEY DRIVE
GERMANTOWN, WI 53022


AIRGAS SAFETY, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
128 WHARTON ROAD
BRISTOL, PA 19007-1622


AIRGAS SOUTHWEST INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 676031
DALLAS, TX 75267-6031


AIRGAS SPECIALTY PRODUCTS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 934434
ATLANTA, GA 31193-4434


AIRGAS SPECIALTY PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6260 I35 EAST
WAXAHACHIE, TX 75165


AIRGAS USA LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 676015
DALLAS, TX 75267-6015


AIRGAS USA, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TIFFANY JEANS
110 W. 7TH STREET, SUITE 1300
TULSA, OK 74119


AIRGAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2780 IRVING BLVD
DALLAS, TX 75207




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                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

AIRGAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4700 ELMO WEEDON RD
STE 113
COLLEGE STATION, TX 77845


AISENBREY, NORMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AITKEN, HERVEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AJAX BOILER INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2701 S HARBOR BLVD
SANTA ANA, CA 92704


AJAX MAGNATHERMIC CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1745 OVERLAND AVENUE
WARREN, OH 44483


AJAX MAGNATHERMIC CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AJAX MAGNATHERMIC CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AJAX MAGNATHERMIC CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PATRICK HEWITT
AJAX MAGNATHERMIC CORP
650 WASHINGTON RD STE 300
PITTSBURGH, PA 15220


AK STEEL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9227 CENTRE POINTE DRIVE
WEST CHESTER, OH 45069




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

AK STEEL CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID C. HORN, EVP, GEN. COUN.
& SECRETARY
9227 CENTRE POINTE DRIVE
WEST CHESTER, OH 45069


AKARD, DANNY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKBRUT, ALEXANDER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKEHURST, ELLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AKEHURST, JAMES, JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES W AKEHURST SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AKEHURST, WALTER L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AKER SOLUTIONS AMERICA'S INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 NORTH SAM HOUSTON PKWY
HOUSTON, TX 77038


AKER SOLUTIONS AMERICA'S INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL CULLEN, VP, HEAD OF LEGAL &
COMPLIANCE, 3010 BRIARPARK DR
STE 500
HOUSTON, TX 77042


AKER SOLUTIONS AMERICA'S INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL CULLEN, VP, HEAD OF LEGAL
& COMPLIANCE
2201 NORTH SAM HOUSTON PKWY
HOUSTON, TX 77038




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AKERS, AVERY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AKERS, BRYAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKESSON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AKIN GUMP STRAUSS HAUER & FELD LLP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: IRA DIZENGOFF, STEPHEN BALDINI
ABID QURESHI, ROBERT BOLLER
ONE BRYANT PARK
NEW YORK, NY 10036


AKIN GUMP STRAUSS HAUER & FELD LLP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SCOTT ALBERINO & JOANNA NEWDECK
1333 NEW HAMPSHIRE AVE
WASHINGTON, DC 20036-1564


AKIN, CLIFTON R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKIN, CLIFTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKIN, CLIFTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


AKIN, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AKRON CONSULTING LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
431 N CENTER ST
LONGVIEW, TX 75601




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                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

AKZO NOBEL CHEMICALS,INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 S. RIVERSIDE PLAZA
CHICAGO, IL 60606


AKZO NOBEL COATINGS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


AKZO NOBEL PAINTS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8381 PEARL RD
STRONGSVILLE, OH 44136


AKZO NOBEL PAINTS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKZONOBEL
SVEN DUMOULIN, GEN. COUN.
8381 PEARL RD
STRONGSVILLE, OH 44136


AKZO NOBEL PAINTS, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ALABAMA DEPARTMENT OF REVENUE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 NORTH RIPLEY STREET
MONTGOMERY, AL 36132


ALABAMA METAL INDUSTRIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3245 FAYETTE AVE
BIRMINGHAM, AL 35208


ALABAMA POWER CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 NORTH 18TH STREET
BIRMINGHAM, AL 35203


ALADE III, TUNJI JEMI                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALAMILLO, JUAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALAMO MANUFACTURING CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DRILLING SPECIALTIES CO.
1728 HIGHWAY 123
BARTLESVILLE, OK 74004


ALARRID, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALATORRE, CESAR R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALBAN, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBANESE, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBANESE, MICHAEL J, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD ABRAHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALBANESE, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBANO, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALBANY INTERNATIONAL CORP.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHARLES SILVA, VP, GEN. COUN., SECRETARY
216 AIRPORT DRIVE
ROCHESTER, NH 03867




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Name of Counterparty                                                                                              Nature

ALBANY INTERNATIONAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ALBANY INTERNATIONAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
H. LANE YOUNG, ELIZABETH O'NEILL,
4514 COLE AVE STE 500
DALLAS, TX 75205-5412


ALBANY INTERNATIONAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT THACKSTON
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


ALBANY INTERNATIONAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
TINA M. HANSARD
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


ALBANY INTERNATIONAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
RONALD WILLIAM “RON” SPOONER, JR.
1717 MAIN STREET, SUITE 5400
DALLAS, TX 75201-7367


ALBAUGH, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 NE 18TH ST.
ANKENY, IA 50021


ALBEE, LESTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBEMARLE CORPORATION (SUCCESSOR TO ETHYL CORPORATION)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
451 FLORIDA STREET
BATON ROUGE, LA 70801


ALBEMARLECORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KAREN G. NARWOLD, SVP, GEN. COUNSEL
451 FLORIDA STREET
BATON ROUGE, LA 70801




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALBERICI CONSTRUCTORS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8800 PAGE AVENUE
ST LOUIS, MO 63114


ALBERICI CONSTRUCTORS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ALBERICI CONSTRUCTORS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
PETER GULLBORG
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


ALBERICO, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBERINO, ANTHONY M. AND THOMAS ALBERINO                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALBERS, HENRY FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALBERSON, ANSEL WADE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ALBERT BOSSIER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD M PERLES
LEE FUTRELL & PERLES
201 ST CHARLES AVE
NEW ORLEANS, LA 70170


ALBERT, CHARLES W, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                           Nature

ALBERT, DELMONT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBERT, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBERT, JOSEPH L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALBERT, RICHARD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALBERTELLI, ROBERT W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALBERTH, RUDY ALLEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBERTINI, ALFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBI, RON J, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF REMO ALBI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALBINSON, FRANK S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALBORNOZ G., ENRIQUE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

ALBORNOZ, RAFAEL MIGUEL PAREDES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBOSTA, RICHARD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBRECHT, CHRISTOPHER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALBRECHT, FERDINAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALBRECHT, HELEN R, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANKLIN WIMMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALBRECHT, KRISTY JOANNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBRECHT, KRISTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBRIGHT, ED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBRIGHT, KAREN KENNY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALBRIZIO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALCALA, LISA R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALCATEL LUCENT USA INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GORDON & REES'S
PAUL W LORE
75 W. LOCKWOOD AVENUE, SUITE 222
ST LOUIS, MO 63119


ALCATEL LUCENT USA INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


ALCATEL LUCENT USA INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY P. KELLER, VP
& DEPUTY GEN. COUN.
600-700 MOUNTAIN AVENUE
MURRAY HILL, NJ 07974


ALCATEL NETWORK SYSTEMS, INC. (ROCKWELL INT. CORP                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1225 ALMA ROAD
RICHARDSON, TX 75081


ALCH, IRENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALCOA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ALCOA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


ALCOA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALCOA CORPORATE CENTER
AUDREY STRAUSS, CHIEF LEGAL OFFICER
201 ISABELLA STREET
HOUSTON, TX 77002


ALCOA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALCOA CORPORATE CENTER
AUDREY STRAUSS, CHIEF LEGAL OFFICER
201 ISABELLA STREET
PITTSBURGH, PA 15212-5858




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Name of Counterparty                                                                                             Nature

ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BENITA W. ELLEN, HUNTON
& WILLIAMS LLP-NORFOLK
500 EAST MAIN STREET SUITE 1000
NORFOLK, VA 23510


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT EDWIN THACKSTON
4514 COLE AVE STE 500 SUITE 500
DALLAS, TX 75205


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT THACKSTON
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS-RICHMOND
DAVID C. LANDIN, RIVERFRONT PLAZA,
EAST TOWER, 951 EAST BYRD STREET
RICHMOND, VA 23219


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JONES CARR MCGOLDRICK
DAVID T. OWENS, PREMIER PLACE, 5910 N
CENTRAL EXPRESSWAY, SUITE 1700
DALLAS, TX 75206


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PLAUCHE MASELLI PARKERSON
SCOTT MASON
701 POYDRAS STREET, SUITE 3800
NEW ORLEANS, LA 70139


ALCOA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIS LAW GROUP
FOSTER REESE
10440 N. CENTRAL EXPRESSWAY, SUITE 520
DALLAS, TX 75231


ALCOA INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ISABELLA STRET
PITTSBURGH, PA 15212-5858




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALCOA                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 S. GARY AVENUE, SUITE D
ATTN: JOHN P HOLSINGER
ROSELLE, IL 60172


ALCOA, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROCKDALE ENERGY, P.O. BOX 1491
ROCKDALE, TX 76567


ALCOLAC,INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RHONE POULENC,INC.
231 BLACK HORSE LANE
NORTH BRUNSWICK, NJ 08902


ALDERETE, DOMINGO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


ALDERETE, JOSUE H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


ALDERETE, SAMUEL H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


ALDERMAN, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALDERMAN, SHELLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALDERSON, BOBBY MACK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALDERSON, PATRICK LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

ALDERTON, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALDINE INDEPENDENT SCHOOL DISTRICT                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TAX OFFICE
14909 ALDINE WESTFIELD ROAD
HOUSTON, TX 77032


ALDINGER COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1440 PRUDENTIAL DRIVE
DALLAS, TX 75235


ALDON COMPANY INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3410 SUNSET AVE
WAUKEGAN, IL 60087-3295


ALDRED, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALDRICH PUMP COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


ALDRIDGE, DOUG                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALDRIDGE, JESE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALDRIDGE, LLOYD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALECKNA, CONRAD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ALECOM METAL WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2803 CHALK HILL RD
DALLAS, TX 75212


ALEKSA, ANTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALEMAN, MANUEL, ET AL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


ALERE TOXICOLOGY SERVICES INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT DA PO BOX 122545
DALLAS, TX 75312-2545


ALESHIRE, DOROTHY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


ALESI, JOSEPH G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALESIANI, BARBARA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ALESSIO, FRANK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, ANTHONY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, BARBARA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                    Nature

ALEXANDER, BERTRAM                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALEXANDER, BETTY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, CLEOPHUS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, DANIEL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, DAVID                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, DENNIS W                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ALEXANDER, ERIC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALEXANDER, FORREST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, HILMER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, JAMES WILLIAM                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                            Nature

ALEXANDER, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, JANE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, JIMMY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, KEITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ALEXANDER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


ALEXANDER, SAMMIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALEXANDER, STEPHEN G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ALEXANDER, WILBERN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ALEXANDER-MCDANIEL, SHIRLEY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALEXANDROVICH, ANDREW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALFA LAVAL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LONDON FISCHER LLP
59 MAIDEN LANE
NEW YORK, NY 10038


ALFA LAVAL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MIKAEL WAHLGREN, CHIEF LEGAL COUNSEL
5400 INTERNATIONAL TRADE DRIVE
RICHMOND, VA 23231


ALFA LAVAL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MIKAEL WAHLGREN, CHIEF LEGAL COUNSEL
5400 INTERNATIONAL TRADE DRIVE
RICHMOND, VA 23231


ALFANO, ANDREW E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALFANO, ANTHONY V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALFARONE, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALFIERI, CARMINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALFIERI, IGNAZIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


ALFONSO, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ALFORD, AARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ALFORD, BERNICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALFORD, JAMES T., ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


ALFORD, PRENTISS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALFORD, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALFORD, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALFORD, WENDELL J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALFORDS WAREHOUSE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 225088
DALLAS, TX 75265


ALI, ANTHONY JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALI, SHAHID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALIBUTOD, LUISITO J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALIMAK HEK INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12552 HIGHWAY 3
STE A160
WEBSTER, TX 77598


ALIMAK HEK INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 120226
DEPT 0226
DALLAS, TX 75312


ALIMO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALIMO, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALIMO, VINCENT H, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SANTO ALIMO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALIMO, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALIPERTI, LOUIS M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALISSON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ALL ACQUISITIONS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 SIX PPG PL
PITTSBURGH, PA 15222


ALL ACQUISITIONS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


ALL IN ONE PRINTING LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 868
ROCKDALE, TX 76567


ALL PRO AUTOMOTIVE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 HWY 79 N
HENDERSON, TX 75652


ALLAMON, GREGORY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLAN, JACOB                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLAN, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLAN, RENEE JUNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLAN, ROBERT S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ALLANGE, WALTER K                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLANGE, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLDREDGE, WARREN R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEGHENY INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 456
PITTSBURGH, PA 15230


ALLEGHENY INTERNATIONAL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LANDSIDE TERMINAL, 4TH FLOOR, MEZZ
PO BOX 12370
PITTSBURG, PA 15231-0370


ALLEGHENY LUDLUM LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 RIVER ROAD
BRACKENRIDGE, PA 15014-1597


ALLEN BRADLEY CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8040 EXCELSIOR DR
STE 200
MADISON, WI 53717


ALLEN BRADLEY CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, N/K/A ROCKWELL AUTOMATION, INC.
WALL STREET PLAZA, 24TH FLR, 88 PINE ST
NEW YORK, NY 10005


ALLEN ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
612 E. BETHANY DRIVE
ALLEN, TX 75002


ALLEN REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGARET O'CONNOR SHACKELFORD,
PRESIDENT, GEN. COUN.
131 SHACKELFORD RD
PATASKALA, OH 43062




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALLEN SHERMAN HOFF CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
457 CREAMERY WAY
EXTON, PA 19341


ALLEN, BRADLEY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLEN, CHARLES (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLEN, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3RD FLOOR, ALLEN CITY HALL
305 CENTURY PARKWAY
ALLEN, TX 75013


ALLEN, DANIEL JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLEN, DAVID H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, DENNIS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, DEREK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, DICKIE RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, DON R.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ALLEN, GAYLORD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, GLENN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, GORDON L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALLEN, JAMES CHARLIE (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JAMES W.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JERRY B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JOHN L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, JON R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALLEN, JONATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JUDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JUDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, JUSTIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, KATHERINE M (WOOD) (DAUGHTER OF                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, KATHLEEN G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, KEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, LEE A. (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, LOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, MARGARET, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALLEN, MICHAEL F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALLEN, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLEN, MORRIS B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ALLEN, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, RANDOLPH M & DOROTHY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLEN, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, RICHARD RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


ALLEN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ALLEN, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALLEN, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN, RUSSELL E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALLEN, RUTH, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL F ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALLEN, SAMIZETTA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, UNA FAYE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALLEN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEN'S ELECTRIC MOTOR SERVICE INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400A ROY HOPKINS DRIVE
VIVIAN, LA 71082


ALLEN'S ELECTRIC MOTOR SERVICE INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400A ROY HOPKINS DRIVE
VIVIAN, LA 71082


ALLEN'S TRUCK & TRAILER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
418 S.GULF BLVD.
FREEPORT, TX 77541




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Name of Counterparty                                                                                             Nature

ALLENSWORTH, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLESE, LEONARD J, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALLEY, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLEY, NORMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLGEIER, ROCHELLE E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND B SERSEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALLIANCE DOCUMENT SHREDDING                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1147
SULPHUR SPRINGS, TX 75483


ALLIANCE GEOTEC PO 105600                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF AUSTIN INC
200 MUSTANG COVE
TAYLOR, TX 76574


ALLIANCE GEOTECHNICAL GROUP OF AUSTIN                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
200 MUSTANG COVE
TAYLOR, TX 76574


ALLIANCE LAUNDRY HOLDINGS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCOTT L. SPILLER, CHIEF LEGAL OFFICER
119 SHEPARD STREET
RIPON, WI 54971




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALLIANCE MACHINE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1049 S MAHONING AVE
ALLIANCE, OH 44601


ALLIANCE MACHINE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP SERVICE COMPANY
2711 CENTERVILLE ROAD
WILMINGTON, DE 19808


ALLIANCE OF DIVERSITY PRINTERS LLC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(ADP-LLC)
3030 LBJ FREEWAY
SUITE 1130
DALLAS, TX 75234


ALLIANCE OF DIVERSITY PRINTERS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3030 LBJ FREEWAY STE 1130
DALLAS, TX 75234


ALLIANCE RUBBER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 CARPENTER DAM ROAD
HOT SPRINGS, AR 71901


ALLIANCE SCAFFOLDING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24 G WEST MAIN STREET # 233
CLINTON, CT 06413


ALLIANT ENERGY CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4902 NORTH BILTMORE LANE, SUITE 1000
MADISON, WI 53718-2148


ALLIANT TECH SYSTEMS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7480 FLYING CLOUD DR.
MINNEAPOLIS, MN 55344


ALLIED BUILDING PRODUCTS CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15 EAST UNION AVENUE
EAST RUTHERFORD, NJ 07073


ALLIED CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNION TEXAS PETROLEUM DIVISION
ROUTE2
GAINSVILLE, TX 76240




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Name of Counterparty                                                                                        Nature

ALLIED COMPOSITE PLASTICS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 549020
DALLAS, TX 75354-9020


ALLIED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5444 PERKINS RD
BEDFORD HEIGHTS, OH 44146


ALLIED CRANE INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
855 N PARKSIDE DR
PITTSBURG, CA 94565


ALLIED CRANE LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


ALLIED CRANE LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES N DONDLINGER
2656 SOUTH SHERIDAN
WICHITA, KS 67217


ALLIED ELECTRONICS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1651 N. COLLINS BLVD. STE 230
RICHARDSON, TX 75080-3658


ALLIED ELECTRONICS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7151 JACK NEWELL BLVD S, STE 100
FORT WORTH, TX 76118


ALLIED ELECTRONICS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS RECEIVABLE DEPT
PO BOX 2325
FORT WORTH, TX 76113-2325


ALLIED ELECTRONICS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2325
FORT WORTH, TX 76113


ALLIED ELECTRONICS, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7151 JACK NEWELL BLVD S
FORT WORTH, TX 76118-7037




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ALLIED GLOVEC ORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
433 E. STEWART ST.
MILWAUKEE, WI 53207


ALLIED INSULATION SUPPLY CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 N 12TH ST
MILWAUKEE, WI 53233


ALLIED MANUFACTURING COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 S GLENN AVE
SPRINGFIELD, MO 65807-3918


ALLIED MANUFACTURING INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORMAN L HILL
3100 SOUTH GLENN
SPRINGFIELD, MO 65807


ALLIED MINERALS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 SCIOTO PARKWAY
COLUMBUS, OH 43221


ALLIED PACKING & SUPPLY, INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5303 ADELINE ST
EMERYVILLE, CA 94608


ALLIED PACKING & SUPPLY, INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRUCE IMAI
IMAI, TADLOCK, KEENEY & CORDERY
100 BUSH STREET, SUITE 1300
SAN FRANCISCO, CA 94104


ALLIED PETROLEUM PRODUCTS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
760 TUSCARORA AVE
ST PAUL, MN 55102


ALLIED PRECISION FABRICATING INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1105 FOUNDATION DRIVE
CALDWELL, TX 77836


ALLIED SHEET METAL & ROOFING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2801 NW 55TH CT,
FORT LAUDERDALE, FL 33309




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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

ALLIED SIGNAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


ALLIED SIGNAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOGAN & WILKINSON PLLC
THI TRUC GILLIES
1010 LAMAR STREET, SUITE 860
CLUTCH CITY, TX 77002


ALLIED SIGNAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HONEYWELL INTERNATIONAL
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07960


ALLIED SIGNAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCDERMOTT WILL & EMERY LLP
N/K/A HONEYWELL INTL INC
340 MADISON AVE
NEW YORK, NY 10017


ALLIED SIGNAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
DONNA POLIDORO MOYE
333 CLAY STREET, SUITE 3300
HOUSTON, TX 77002


ALLIED TOWING SERVICE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1627
HARVEY, LA 70059


ALLIED VALVE INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4419 STATE ST
RIVERDALE, IA 52722


ALLIED WASTE SERVICES #794                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 78829
PHOENIX, AZ 85062-8829


ALLIED WASTE/REPUBLIC SERVICES                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GENERAL COUNSEL
18500 N ALLIED WAY
PHOENIX, AZ 85054




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALLIEDSIGNAL INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA ROAD
MORRISTOWN, NJ 07962


ALLIEDSIGNAL INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GAIL E. LEHMAN
P.O. BOX 2245
MORRISTOWN, NJ 07962-2245


ALLIEDSIGNAL INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: WILLIAM F. BLANK
P.O. BOX 2245
MORRISTOWN, NJ 07962-2245


ALLIS CHALMERS CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4205 RIVER GREEN PARKWAY
DULUTH, GA 30096


ALLIS CHALMERS ENERGY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NIXON PEABODY, LLP
50 JERICHO QUADRANGLE
SUITE 300
JERICHO, NY 11753


ALLISON, BOB A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLISON, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLISON, PATRICIA & FREEMAN ALLISON                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLISON, PATRICIA & FREEMAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NEMEROFF LAW FIRM
ATTN: RICHARD NEMEROFF
2626 COLE AVE, SUITE 450
DALLAS, TX 75204




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ALLISON, ROBERT L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ALLISON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLMAN, CYNTHIA ANN SHELLEY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLMAN, DENNIS LEON, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ALLMAN, EVERETT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALLOCCA, SAVERIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLOYS & COMPONENTS SOUTHWEST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2330 QUINCY STREET
DALLAS, TX 75212


ALLRED, DAVID PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ALLRED, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLSTATE GASKET & PACKING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
31 PROSPECT PL
DEER PARK, NY 11729




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Name of Counterparty                                                                                       Nature

ALLSTATE GROUNDWATER CONTROL LP                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 266246
HOUSTON, TX 77207-6246


ALLSTATE TRANSMISSION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11571 REEDER ROAD
DALLAS, TX 75229


ALLSTATE VACUUM AND TANKS INC.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 HERMANN DRIVE
ALVIN, TX 77511-6592


ALLTEX PIPE & SUPPLY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9743 BROCKDANK DR
DALLAS, TX 75220


ALL-TEX PIPE & SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 911854
DALLAS, TX 75391-1854


ALL-TEX PLUMBING SUPPLY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 542885
DALLAS, TX 75354


ALLUMS, CAROLYN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALLYN, DOUGLAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALMAN CONSTRUCTION SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7677 HUNNICUT RD
DALLAS, TX 75228-6947


ALMAN CONSTRUCTION SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALMAN ELECTRICAL CONTRACTORS
7677 HUNNICUT ROAD
DALLAS, TX 75228




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Name of Counterparty                                                                                           Nature

ALMANY, ZANE A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALMAZAN, ANTOLIN V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALMEIDA, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALMOND, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALMSTEAD, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALOIS, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALON USA ENERGY INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12700 PARK CENTRAL DR.
SUITE 1600
DALLAS, TX 75251


ALONSO, EDUARDO OCASIO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALPERT, ABRAHAM--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ALPHA EROSION PRODUCTS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2015
HENDERSON, TX 75653




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Name of Counterparty                                                                                              Nature

ALPHA GLASS AND MIRROR COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8901 SOVEREIGN ROW
DALLAS, TX 75247


ALPHA GLASS AND MIRROR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANY INC
8901 SOVEREIGN ROW
DALLAS, TX 75247


ALPHA INDUSTRIAL SUPPLY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 472356
GARLAND, TX 75047-2356


ALPHA NATURAL RESOURCES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE ALPHA PLACE
PO BOX 16429
BRISTOL, VA 24209


ALPHA SERVICES CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4535 SUNBELT DR
ADDISON, TX 75001


ALPHA WIRE CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
711 LIDGERWOOD AVENUE
ELIZABETH, NJ 07207-0711


ALPINE POWER SYSTEMS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24355 CAPITOL AVENUE
REDFORD, MI 48239


ALPINO, VINCENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALPORT, JEFFREY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


ALSAY, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3112 VINCENT ROAD
W. PALM BEACH, FL 33405




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Name of Counterparty                                                                                   Nature

ALSHON, JOSEPH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 GREAT POND DRIVE
WINDSOR, CT 06095


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 WATERFORD LAKE DRIVE
MIDLOTHIAN, VA 23112


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3820 W. HAPPY VALLEY RD 141
PMB#223
GLENDALE, AZ 85310


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AIR PREHEATER CO
3020 TRAUX RD
WELLSVILLE, NY 14895


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 19352
PALATINE, IL 60055-9352


ALSTOM POWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730066
DALLAS, TX 75373-0066


ALSTOM POWER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWER PLANT LABORATORIES
PO BOX 905483
CHARLOTTE, NC 28290-5483


ALSTOM USA INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 ADDISON ROAD
WINDSOR, CT 06095-0500




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Name of Counterparty                                                                                           Nature

ALSTON, CAROL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALSTON, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALSTON, MAURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALSTON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALSUP, MOLLY ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALT, PAULINE F, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES B ALT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALT, WILLIAM H, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALTAMIRANO, ZAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALTEMUS, JOHN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALTENBERGER, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALTENBURGER, ALFONSO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALTEVOGT, GEORGE E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE E ALTEVOGT SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALTMAN, SHELDON M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ALTMEYER, THOMAS J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALTOBELLO, HAROLD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALTON AND SOUTHERN RAILWAY COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 S 22ND ST
EAST ST LOUIS, IL 62207


ALTURA COGEN, LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 E. JOHN CARPENTER FREEWAY, SUITE 1500
IRVING, TX 75062


ALTURA HOMES LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2529 WATERSTONE LANE
ROCKWALL, TX 75032


ALTUS NETWORK SOLUTIONS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA NFRONT SECURITY
4920 ATLANTA HIGHWAY SUITE 313
ALPHARETTA, GA 30004-2921


ALTWAIN, FRANKIE E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALUMINUM CO OF AMERICAN (ALCOA)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 472
ROCKDALE, TX 76567




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ALUMINUM COMPANY OF AMERICA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ISABELLA STREET
PITTSBURGH, PA 15212-5858


ALVARADO NINO, MARCOS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVARADO NINO, MONICA CAROLINA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVARADO NINO, SEBASTIAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVARADO, PEDRO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVARADO, SERGIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVAREZ GONZALEZ, OSCAR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVAREZ, ABRAHAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVAREZ, CARLOS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALVAREZ, GLORIA T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALVAREZ, MANUEL E, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ALVAREZ, MANUEL R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ALVAREZ, MIGUEL ANGEL CALDERON                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVAREZ, SHEENA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVERSON, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALVES, BENJAMIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ALVES, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALVINO, SAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ALVIS GENE RICHARDSON ESTATE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ALVITES, ROSE MARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMAC HOLDINGS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA AMAC I DRISCOLL PLACE LLC
333 EARLE OVINGTON BLVD STE 800
UNIONDALE, NY 11553


AMADOR, JOSE A. RESTO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMADOR, JOSE'A.RESTO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

AMADOR, LEONARDO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMANDA GONZALEZ                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOBIAS A. COLE
MINDANI, HINKLE & COLE, LLP
10497 TOWN & COUNTRY WAY STE 530
HOUSTON, TX 77024-1117


AMARAL, EVERETT J, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMARAL, GILBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMARCO PETROLEUM,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2730 GATEWAY OAKS DR.,STE. 100
SACRAMENTO, CA 95833


AMARI, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


AMATO, MICHAEL J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AMBER, ALAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMBER, JOHANNA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMBER, LEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

AMBLER, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMBROSE, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMBURN, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMBURN, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMBURN, ROBERT WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AMCHEM PRODUCTS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2112
LONGVIEW, TX 75606-2112


AMCHEM PRODUCTS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1312 EAST 14TH STREET
PLANO, TX 75074


AMEC CONSTRUCTION MANAGEMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 FLETCHER AVENUE, SUITE 6
FORT LEE, NJ 07024


AMEC CONSTRUCTION MANAGEMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


AMEC CONSTRUCTION MANAGEMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GANGEMI LAW FIRM, P.C.
700 WHITE PLAINS ROAD - SUITE 223
SCARSDALE, NY 10583


AMEC CONSTRUCTION MANAGEMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SALVATORE G. GANGEMI
GANGEMI LAW FIRM, P.C.
82 WALL STREET, SUITE 300
NEW YORK, NY 10005




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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

AMECO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
427 ENE LOOP 323
TYLER, TX 75706


AMECO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 198977
ATLANTA, GA 30384-8977


AMEDICK, JASON E.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMENDOLA, GEORGE A                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AMENGUAL, SAMUEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AMERAFLEX RUBBER & GASKET CO                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
317 GEORGIA AVE
DEER PARK, TX 77536


AMERALLOY STEEL CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7848 NORTH MERRIMAC
MORTON GROVE, IL 60053-2709


AMEREN CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66893
ST LOUIS, MO 63166


AMEREN ILLINOIS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN ILLINOIS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979




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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACQUELINE K VOILES
200 W WASHINGTON
SPRINGFIELD, IL 62701


AMEREN ILLINOIS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66893
ST LOUIS, MO 63166


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALEX BELOTSERKOVSKY
130 N. MAIN ST.
P.O. BOX 510
EDWARDSVILLE, IL 62025


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
MARK L KARASIK
130 E. RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601




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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
PATRICK J. HERALD
130 E. RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERIN TIMOTHY ASSOUAD
800 MARKET STREET
SUITE 2300
ST LOUIS, MO 63101


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025-0510


AMEREN MISSOURI COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101




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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

AMEREN MISSOURI COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


AMEREN MISSOURI COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACQUELINE K VOILES
200 W WASHINGTON
SPRINGFIELD, IL 62701


AMEREN MISSOURI COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENNETH L. SCHMIDT
500 E. INDEPENDENCE DR
UNION, MO 63084


AMEREN MISSOURI COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66301
ST LOUIS, MO 63166


AMEREN MISSOURI COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REBECCA ANN NICKELSON
800 MARKET STREET
SUITE 2300
ST LOUIS, MO 63101


AMERENUE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66893
ST LOUIS, MO 63166


AMEREX BROKERS LLC-RETAIL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 201697
DALLAS, TX 75320


AMERICAN ACADEMY OF PEDIATRICS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTHERN ENVIRONMENTAL LAW CENTER
JOHN TIMOTHY SUTTLES, JR.
601 WEST ROSEMARY ST, SUITE 220
CHAPEL HILL, NC 27516


AMERICAN AIRLINES CENTER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: NORTH BOX OFFICE
2500 VICTORY AVE
DALLAS, TX 75219




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

AMERICAN ANNUITY GROUP, SUCCESSOR SPRAGUE ELECTRIC                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49 E 4TH ST
CINCINNATI, OH 45202


AMERICAN BARREL AND COOPERAGE CO                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1828 LAIRD AVE
SALT LAKE CITY, UT 84108


AMERICAN BARREL AND COOPERAGE CO                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49 S 600 W
SALT LAKE, UT 84111


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
57 RIVER ST
WELLESLEY HILLS, MA 02481


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226




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Name of Counterparty                                                                                        Nature

AMERICAN BILTRITE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


AMERICAN BILTRITE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


AMERICAN BILTRITE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
304 EAST HIGH STREET
JEFFERSON CITY, MO 65101


AMERICAN BILTRITE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


AMERICAN BOILER TANK & WELDING CO INC                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
53 PLEASANT ST
ALBANY, NY 12207


AMERICAN BOILER TANK & WELDING CO INC                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA MARIAM FALLAH
233 S WACKER, STE 5500
CHICAGO, IL 60606


AMERICAN BRIDGE COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 AMERICAN BRIDGE WAY
CORAOPOLIS, PA 15108


AMERICAN BRIDGE COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
JAMES L. WALKER, WESTON CENTRE,
112 E. PECAN ST, STE 2400
SAN ANTONIO, TX 78205




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                                                              Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                   Nature

AMERICAN COLLEGE OF CHEST PHYSICIANS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TULANE LAW SCHOOL
ADAM BABICH, ENVIRONMENTAL LAW
CLINIC, 130B, 6329 FRERET STREET
NEW ORLEANS, LA 70118-6231


AMERICAN COLLEGE OF OCCUPATIONAL AND ENVIRONMENTAL MEDICINE                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TULANE LAW SCHOOL
ADAM BABICH, ENVIRONMENTAL LAW
CLINIC, 130B, 6329 FRERET ST
NEW ORLEANS, LA 70118-6231


AMERICAN COLLEGE OF PREVENTIVE MEDICINE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TULANE LAW SCHOOL
ADAM BABICH, ENVIRONMENTAL LAW
CLINIC, 130B, 6329 FRERET STREET
NEW ORLEANS, LA 70118-6231


AMERICAN COMMERCIAL LINES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1701 E MARKET ST,
JEFFERSONVILLE, IN 47130


AMERICAN CRANE & EQUIPMENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13293
ODESSA, TX 79768-3293


AMERICAN CYANAMID CO.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 GARRETT MOUNTAIN PLAZA
WET PATTERSON, NJ 07424


AMERICAN CYANAMID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 N. JONES STREE
FORT WORTH, TX 76106


AMERICAN DRILLING & SAWING, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 40531
HOUSTON, TX 77240


AMERICAN ELECTRIC POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 RIVERSIDE PLAZA
COLUMBUS, OH 43215-2372


AMERICAN ELEVATOR TECHNOLOGIES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2253 CR 108
CARTHAGE, TX 75633




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Name of Counterparty                                                                                         Nature

AMERICAN ELEVATOR TECHNOLOGIES                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5652 HWY 124
BECKVILLE, TX 75631


AMERICAN EMPLOYERS INSUURANCE CO.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE BEACON STREET
BOSTON, MA 02108


AMERICAN ENERGY PRODUCTS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1105 INDUSTRIAL STREET
LANSING, KS 66043


AMERICAN ENERPOWER INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
218 SOUTHCHESTER LANE
HOUSTON, TX 77079


AMERICAN EQUIPMENT COMPANY, INC. (AMECO)                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LOCKE LORD LLP
ATTN: PHILIP G. EISENBERG
600 TRAVIS STREET, SUITE 2800
HOUSTON, TX 77002


AMERICAN GOLF CARS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
855 S LOOP 12
IRVING, TX 75060


AMERICAN HARDWARE & PAINT CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
360 COIT ST
IRVINGTON, NJ 07111-4627


AMERICAN HOECHST CORP.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AVENTIS,INC.
400 CROSSING BLVD.
BRIDGEWATER, NJ 08807


AMERICAN HOME INS. CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7505 E HARVARD AVE
DENVER, CO 80231


AMERICAN HONDA FINANCE CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARTLINE DACUS BARGER DREYER LLP
6688 N CENTRAL EXPWY, STE 1000
DALLAS, TX 75206




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Name of Counterparty                                                                                            Nature

AMERICAN HONDA MOTOR CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1919 TORRANCE BLVD
TORRANCE, CA 90501


AMERICAN HONDA MOTOR CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4525 W ROYAL LN
IRVING, TX 75063


AMERICAN INDUSTRIAL HEAT TRANSFER INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
355 AMERICAN INDUSTRIAL DRIVE
LACROSSE, VA 23950


AMERICAN INTEGRITY INS. CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5426 BAY CENTER DRIVE, SUITE 650
TAMPA, FL 33609


AMERICAN INTERNATIONAL CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD, PLLP
1001 HIGHLANDS PLAZA DR WEST SUITE 400
ST. LOUIS, MO 63110


AMERICAN LAUNDRY MACHINERY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5050 SECTION AVENUE
CINCINNATI, OH 45212


AMERICAN LIST COUNSEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 416023
BOSTON, MA 02241-6023


AMERICAN LITHO TEXAS INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4150 DANVERS COURT
GRAND RAPIDS, MI 49540


AMERICAN LUNG ASSOCIATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTHERN ENVIRONMENTAL LAW CENTER
JOHN TIMOTHY SUTTLES, JR.
601 WEST ROSEMARY ST, SUITE 220
CHAPEL HILL, NC 27516


AMERICAN MESSAGING                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5749
CAROL STREAM, IL 60197-5749




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

AMERICAN METALS SUPPLY CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5651 INTERNATIONAL PKWY
SPRINGFIELD, IL 62711


AMERICAN MOTORISTS INSURANCE COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHARLSTON, REVICH & WOLLITZ LLP
IRA REVICH
1925 CENTURY PARK EAST, SUITE 1250
LOS ANGELES, CA 90067


AMERICAN MOTORISTS INSURANCE COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL A. MILLER, SPECIAL DEPUTY RECEIVER
122 S. MICHIGAN AVE., 19TH FLOOR
CHICAGO, IL 60603


AMERICAN NORIT, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN E. RECTENWALD, MANUFACT DIRECTOR
PO BOX 790
MARSHALL, TX 75671


AMERICAN NURSES ASSOCIATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTHERN ENVIRONMENTAL LAW CENTER
JOHN TIMOTHY SUTTLES, JR.
601 WEST ROSEMARY ST, SUITE 220
CHAPEL HILL, NC 27516


AMERICAN OPTICAL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MECHANIC ST
SOUTHBRIDGE, MA 01550


AMERICAN OPTICAL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 EQUITABLE BLDG
KEVIN F O'MALLEY
2000 EQUITABLE BLDG, 10 S BROADWAY
ST LOUIS, MO 63102


AMERICAN OPTICAL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
529 ASHLAND AVENUE, SUITE 3
SOUTHBRIDGE, MA 01550


AMERICAN OPTICAL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE, P.C.
THEODORE D AGNIEL
10 S. BROADWAY, STE. 2000
ST. LOUIS, MO 63102




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Name of Counterparty                                                                                             Nature

AMERICAN OPTICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
JAMES L SMITH
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


AMERICAN OPTICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JEFFREY A HEALY, TUCKER ELLIS
925 EUCLID AVE 1100
CLEVELAND, OH 44113


AMERICAN OPTICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JEFFREY A HEALY, TUCKER ELLIS
925 EUCLID AVE 1150
CLEVELAND, OH 44115


AMERICAN OPTICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RIENSTRA DOWELL & FLATTEN
DALE DOWELL
595 ORLEANS STREET, SUITE 1007
BEAUMONT, TX 77701


AMERICAN PETROLEUM INSTITUTE INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHWEINLE & PARISH PC
WILLIAM E. SCHWEINLE
440 LOUISIANA STREET
HOUSTON, TX 77002


AMERICAN PREMIER UNDERWRITERS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE EAST FOURTH STREET
CINCINNATI, OH 45202


AMERICAN PUBLIC HEALTH ASSOCIATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTHERN ENVIRONMENTAL LAW CENTER
JOHN TIMOTHY SUTTLES, JR.
601 WEST ROSEMARY ST, SUITE 220
CHAPEL HILL, NC 27516


AMERICAN RE-INSURANCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5241
PRINCETON, NJ 03543-5241


AMERICAN REPUBLIC INSURANCE COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
ST PAUL, MN 55101




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Name of Counterparty                                                                                          Nature

AMERICAN SPILL CONTROL,INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5419 OWENWOOD
DALLAS, TX 75223


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
JAMES OLD ROWLAND JR.
550 FANNIN, SUITE 400
BEAUMONT, TX 77704


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
JAMES OLD ROWLAND JR.
PO BOX 4915
BEAUMONT, TX 77704


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAY OLD & ASSOCIATES PLLC
JAMES OLD ROWLAND JR.
3560 DELAWARE, SUITE 308
BEAUMONT, TX 77706


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAURA A. FRASE
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
2001 BRYAN TOWER, SUITE 1300
DALLAS, TX 75201-3008


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAURA A. FRASE
KRUTZ & TARDY LLP
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


AMERICAN STANDARD INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08855-6820




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AMERICAN STANDARD INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2737 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733


AMERICAN STANDARD INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
MARK R. WILLINGHAM
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


AMERICAN STEAMSHIP CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 ESSJAY RD
WILLIAMSVILLE, NY 14221


AMERICAN STEEL & WIRE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



AMERICAN STOCK TRANSFER & TRUST CO LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GENERAL COUNSEL
6201 15TH AVE
BROOKLYN, NY 11219


AMERICAN STOCK TRANSFER & TRUST CO LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: PAUL KIM
6201 15TH AVE
BROOKLYN, NY 11219


AMERICAN THORACIC SOCIETY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TULANE LAW SCHOOL
ADAM BABICH, ENVIRONMENTAL LAW
CLINIC, 130B, 6329 FRERET STREET
NEW ORLEANS, LA 70118-6231


AMERICAN WIND ENERGY ASSOCIATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GENE GRACE
1501 M STREET, N.W., SUITE 1000
WASHINGTON, DC 20005


AMERICAN OPTICAL CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MECHANIC ST
SOUTHBRIDGE, MA 01550


AMERICOM TELECOMMUNICATIONS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3544 E T C JESTER BLVD
HOUSTON, TX 77018-6023




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Name of Counterparty                                                                                           Nature

AMERICOM TELECOMMUNICATIONS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3544 ETC JESTER
HOUSTON, TX 77018


AMERIGAS CORP.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4160 N. OULPH ROAD
KING OF PRUSSIA, PA 19406


AMERI-LIQUID TRANSPORT,INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2020 N. CENTRAL AVE.
BROWNSVILLE, TX 78521


AMERIPIPE SUPPLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29667
DALLAS, TX 75229-0667


AMERIPRIDE LINEN AND APPAREL SERVICES                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 695
BEMIDJI, MN 56619-0695


AMERISOUTH XX LTD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1441 N JIM MILLER RD
DALLAS, TX 75217-1301


AMERITEK PLANT SERVICES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203047
HOUSTON, TX 77216-3047


AMERO, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMERON INTERNATIONAL CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
245 SOUTH LOS ROBLES AVENUE
PASADENA, CA 91101


AMERON INTERNATIONAL CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101




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Name of Counterparty                                                                                             Nature

AMERON INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


AMERON INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JULIE ELLEN PIPER-KITCHIN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


AMERON INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


AMERON INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


AMERON INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEONARD J. MCGILL, SVP, SECRETARY & GEN. COUN.
245 SOUTH LOS ROBLES AVENUE
PASADENA, CA 91101


AMERSON, GAYLON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMES, ANGELA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AMES, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMES, HAZEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

AMES, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMETEK CANADA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1906 STATION M
CALGARY, AB T2P 2M2
CANADA

AMETEK CANADA LP, A DIVISION OF                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMETEK PROCESS INSTRUMENTS
ATTN: CONNIE LEUNG
2876 SUNRIDGE WAY NE
CALGARY, AB T1Y 7H9
CANADA

AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ECKERT SEAMANS CHERIN & MELLOTT LLC
TYSON E. HUBBARD
TWO INTERNATIONAL PLACE, 16TH FLOOR
HOUSTON, TX 77057


AMETEK INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 CASSATT ROAD
BERWYN, PA 19312




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Name of Counterparty                                                                                            Nature

AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
245 SOUTH LOS ROBLES AVENUE
PASADENA, CA 91101


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BENSON MASTON PLLC
KAREN K. MASTON
11401 CENTURY OAKS TERRACE, SUITE 245
AUSTIN, TX 78758


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONNELLY BAKER WOTRING LLP
RAUL M. CALDERON, 700 JPMORGAN
CHASE TOWER, 600 TRAVIS ST
HOUSTON, TX 77002


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONNELLY, BAKER, MASTON, WOTRING &
JACKSON, KAREN K. MASTON
700 LOUISIANA, SUITE 1850
HOUSTON, TX 77002


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
PAMELA JEAN NEALE WILLIAMS
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ECKERT SEAMANS CHERIN & MELLOTT LLC
TYSON E. HUBBARD
TWO INTERNATIONAL PLACE, 16TH FLOOR
BOSTON, MA 02110


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


AMETEK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

AMETEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAM J. WILLIAMS
DEHAY & ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


AMETEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT FEIT, SVP & GEN. COUN.
50 FORDHAM ROAD
WILMINGTON, MA 01887


AMETEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE OF TEXAS
PO BOX 12079
AUSTIN, TX 78711-2079


AMETEK INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
37 N. VALLEY RD., BLDG. 4
PO BOX 1764
PAOLI, PA 19301


AMETEK LAND INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CREDIT MANAGER
150 FREEPORT ROAD
PITTSBURGH, PA 15238


AMETEK POWER INSTRUMENTS -                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROCHESTER
PO BOX 90296
CHICAGO, IL 60696-0296


AMETEK SOLIDSTATE CONTROLS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
875 DEARBORN DR
COLUMBUS, OH 43085


AMETEK SOLIDSTATE CONTROLS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
875 DEARBORN DR
COLUMBUS, OH 43085


AMETEK/PROCESS & ANALYTICAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INSTRUMENTS DIVISION
PO BOX 8500/S-8105
PHILADELPHIA, PA 19178




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

AMEY, HERBERT E, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AMEY, JO ANN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMF BAKERY SYSTEMS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2115 WEST LABURNUM AVENUE
RICHMOND, VA 23227


AMF HOLDINGS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


AMF HOLDINGS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINSON LEONARD STREET LLP
JON ANDREW SANTANGELO
7700 FORSYTH BOULEVARD, SUITE 1100
ST LOUIS, MO 63105


AMF INCORPORATED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2900 IDS CENTER 80S 8TH STREET
MINNEAPOLIS, MN 55402


AMF INCORPORATED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN MCCARROLL, LLP
AUDRA L. MERRITT
2001 ROSS AVE, SUITE 2000
DALLAS, TX 75201


AMF INCORPORATED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN, MCCARROLL, LLP
TORI S. LEVINE
2001 ROSS AVE, SUITE 2000
DALLAS, TX 75207


AMF INCORPORATED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TORI SMITH LEVINE
WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
BANK OF AMERICA PLAZA
901 MAIN STREET, SUITE 4800
DALLAS, TX 75202




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

AMF INCORPORATED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP AUDRA L DEAN BANK OF AMERICA
PLAZA, 901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


AMF INCORPORATED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP TORI S LEVINE BANK OF AMERICA
PLAZA, 901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


AMG CASA ROSA LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5555 ANTOINE DR
HOUSTON, TX 77091


AMICK, BARBARA E. AND ELDON E.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NEMEROFF LAW FIRM
ATTN: CARLA J. GUTTILLA
2626 COLE AVE, SUITE 450
DALLAS, TX 75204


AMICK, JOEL W.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMINAH ABDUL HAKIM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 W MAIN ST APT 206
LEWISVILLE, TX 75067-3361


AMIRO, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMISTCO SEPARATION PRODUCTS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOCKBOX 677205
PO BOX 677205
DALLAS, TX 75267-7205


AMISTCO SEPARATION PRODUCTS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA AMISTCO
14211 INDUSTRY STREET
HOUSTON, TX 77053




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

AMMCO INDUSTRIAL EQUIPMENT LTD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
43 WENTWORTH CRT
BRAMPTON, ON L6T 5L4
CANADA

AMMONS, HARRY L, SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMMONS, POLLY MCFADDEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AMOCO CHEMICAL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


AMOCO CHEMICAL CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AMOCO CHEMICAL CO.
200 E. RANDOLPH DR.
CHICAGO, IL 60601


AMOCO OIL COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
JOSEPH BLIZZARD
1717 MAIN STREET, SUITE 3700
DALLAS, TX 75201


AMOCO PRODUCTION COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


AMODEO, DAVID T.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


AMON, JOSEPH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

AMOS, CALVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMOS, ROBERT STEPHEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


AMS CORP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9119 CROSS PARK DRIVE
KNOXVILLE, TN 37923


AMSTED INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 N STETSON AVE #1800
CHICAGO, IL 60601


AMSTED RAIL COMPANY INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DONNA BOWERS
1700 WALNUT ST
GRANITE CITY, IL 62040


AMSTED RAIL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15184 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


AMSTED RAILCOMPANY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
311 S WACKER DR #5300
CHICAGO, IL 60606


AMTICO DIVISION OF AMERICAN BILTRITE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
57 RIVER ST
WELLSLEY HILLS, MA 02181


AMTICO INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
66 PERIMETER CENTER EAST
7TH FLOOR SUITE 700
ATLANTA, GA 30346




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Name of Counterparty                                                                                                Nature

AMUNDSON, HENRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AMY SMITH                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13831 NORTHLAKE DR
HOUSTON, TX 77049


AMY STEUCK, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANACONDA-ERICSSON INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
421 N CALIFORNIA ST-B
SYCAMORE, IL 60178


ANADARKO HOLDING COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


ANADARKO PETROLEUM CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 LAKE ROBBINS DRIVE
THE WOODLANDS, TX 77380


ANADARKO PETROLEUM CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


ANADARKO PETROLUEM CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 LAKE ROBBINS DR.
THE WOODLANDS, TX 77380


ANADITE, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10647 GARFIELD AVE
SOUTH GATE, CA 90280


ANADITE, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: D'ANNA SOENGES, VP,AGENT
711 W. HURST BLVD.
HURST, TX 76053




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Name of Counterparty                                                                                              Nature

ANA-LAB CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9000
KILGORE, TX 75663-9000


ANALYSIS & MEASUREMENT SERVICES, CORP.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LISA LEE
9119 CROSS PARK DR.
KNOXVILLE, TN 37923


ANALYSTS SERVICES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2955
TORRANCE, CA 90509


ANALYTIC PARTNERS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
360 LEXINGTON AVE
NEW YORK, NY 10017


ANALYTIC PARTNERS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HSBC BANK USA NAIONAL ASSOC
360 LEXINGTON AVE 17TH FL

NEW YORK, NY 10017


ANALYTIC STRESS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 N 16TH ST
LA PORTE, TX 77571


ANANDA, VIJAYALAKSHMI                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANCHOR DARLING VALVE COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


ANCHOR HOCKING COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
519 N. PIERCE AVENUE
LANCASTER, OH 43130


ANCHOR PACKING CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BARRETT PARKWAY
ST LOUIS, MO 63021


ANCHOR PACKING CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
519 N. PIERCE AVENUE
LANCASTER, OH 43130




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Name of Counterparty                                                                                         Nature

ANCHOR PACKING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
JAMES OLD ROWLAND JR.
PO BOX 4915
BEAUMONT, TX 77704


ANCHOR PACKING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
SANDRA JEAN COLE HOWARD
550 FANNIN, SUITE 400
BEAUMONT, TX 77701


ANCHOR PACKING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAY OLD & ASSOCIATES PLLC
JAMES OLD ROWLAND JR.
3560 DELAWARE, SUITE 308
BEAUMONT, TX 77706


ANCHOR PACKING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN A. LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701


ANCHOR PACKING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


ANCIRA ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6111 BANDERA RD.
SAN ANTONIO, TX 78238


ANCO INSULATIONS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
60 COMMERCE ST.
MONTGOMERY, AL 36103


ANCO INSULATIONS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101




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Name of Counterparty                                                                                             Nature

ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGARET M JOFFE
DEUTSCH KERRIGAN & STILES
755 MAGAZINE ST
NEW ORLEANS, LA 70130


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROEDEL PARONS KOCK FROST
THOMAS E BALHOFF
8440 JEFFERSON HIGHWAY, SUITE 301
BATON ROUGE, LA 70803


ANCO INSULATIONS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROEDEL PARONS KOCK FROST
THOMAS E BALHOFF
8440 JEFFERSON HIGHWAY, SUITE 844
BATON ROUGE, LA 70809


ANCO PRODUCTS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 17TH ST
ELKHART, IN 46517




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDARSIO, PEDRO F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANDERANIN, MICHAEL R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDERS, JACK ERNEST (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ANDERSEN, DENNIS C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDERSEN, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSEN, GARY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDERSEN, PAUL W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ANDERSEN'S SALES AND SALVGE, INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A.BASSETT,AGENT,HOLLAND & HART
8390 E. CRESCENT PKWAY., STE. 400
DENVER, CO 80111-2800


ANDERSON CLAUDIE MAE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1464 MARIPOSA AVE
RICHMOND, CA 94804




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ANDERSON COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COURT HOUSE
500 N. CHURCH ST.
PALESTINE, TX 75801


ANDERSON FERTILIZER & MILLING COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 643
CARTHAGE, TX 75633


ANDERSON GREENWOOD & CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1209 ORANGE STREET
WILMINGTON, DE 19801


ANDERSON GREENWOOD & CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
41 SOUTH HADDON AVENUE, SUITE 5
HADDONFIELD, NJ 08033


ANDERSON GREENWOOD & CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN, LEWIS & BOCKIUS LLP
502 CARNEGIE CENTER
PRINCETON, NJ 08540


ANDERSON GREENWOOD & CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JUAN GOMEZ, REGISTERED AGENT
3950 GREENBRIAR
STAFFORD, TX 77477


ANDERSON JANET SUE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1477 OLEANDER DR SW
LILBURN, GA 30047


ANDERSON VERNICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
553 JENNINGS AVE
VALLEJO, CA 94591


ANDERSON, ALBERT C-EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ANDERSON, ALDEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

ANDERSON, ANNICK PAULE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, ASHLEIGH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, BURTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, CALVIN W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ANDERSON, CAROL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CHARLES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CHARLES A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CHARLES B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, CHARLES C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, CHARLES ELI                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDERSON, CHARLES JORDAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CHARLES T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, CHRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CLAUDIE MAE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CLIFFORD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, CRAIG                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, CYNTHIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DAN ROLSTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DANNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, DARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDERSON, DAVID H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DAVID KEITH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DAVID M, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, DEAN E, SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DEAN E., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, DONALD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDERSON, DOUG R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDERSON, EARNESTINE E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

ANDERSON, ELIZABETH M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, ELVIS JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, FLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, GEORGE W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANDERSON, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ANDERSON, GEORGE, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, GLEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, HARRY CLAIR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, HARRY DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

ANDERSON, HELEN A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM G ANDERSON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, IVY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JACK E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JACK E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, JAMES FRANKLIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ANDERSON, JAMES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANDERSON, JAMES L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L ANDERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, JAMES P., SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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Name of Counterparty                                                                                          Nature

ANDERSON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, JANET SUE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JANICE MARIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JEANETTA FAY HARRELL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, JOSEPH JAMES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, KELLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, KEVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, KYLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ANDERSON, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, LAURI J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, LAWAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, LLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, LORRAINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MARLISS FBO CHARLES ANDERSON                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MARY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MARY LYNNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MARY W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MELVIN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD ANDERSON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

ANDERSON, MICHAEL P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, MICHELLE RACHEL (HOPKINS)                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, NONLY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, NORMAN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ANDERSON, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, REGINALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, ROBBIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANDERSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ANDERSON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANDERSON, ROGER AND SYLVIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, ROY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, SHAWN LANDIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, SHELBY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON, VADIS H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, WALTER RODNEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, WILFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDERSON, WILLIAM B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069




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Name of Counterparty                                                                                              Nature

ANDERSON, WILLIAM MAURICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDERSON, WILLIAM P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ANDERSON, WILLIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDERSON. HAROLD D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ANDES, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDOLEO, ROSLYN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDONIE, CHRISTIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDRADE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANDRE, MANUEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDREASEN, KIM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREOLI, ERNEST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDRES, RIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREW, LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 COMMSCOPE PLACE SE
HICKORY, NC 28601


ANDREWLESKI, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDREWS & KURTH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAYMOND RANDLE/THOMAS W. TAYLOR
600 TRAVIS
SUITE 4200
HOUSTON, TX 77002


ANDREWS COUNTY HOSPITAL DIST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 HOSPITAL DR
ANDREWS, TX 79714-3617


ANDREWS COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 NW 1ST STREET
ANDREWS, TX 79714


ANDREWS ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 NW THIRD STREET
ANDREWS, TX 79714


ANDREWS TRANSMISSION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F C HEEP,PRESIDENT
1606 SOUTH BAARRY AVE
DALLAS, TX 75671




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDREWS TRANSPORT,INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1290 S. WILLIS ST., SUITE 114
ABILENE, TX 79605


ANDREWS, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
111 LOGSDON ST
ANDREWS, TX 79714


ANDREWS, CLARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDREWS, DAVID R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, EARL RAY, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, GEORGE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDREWS, JAMES KENNETH, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDREWS, NEWMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDREWS, NICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDREWS, SARA SUE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, SUSAN F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDREWS, TRUMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANDREWS, WARREN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDRIACCHI, FRANK P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANDRICOS, PAULA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDRITZ ENVIRONMENTAL SOLUTIONS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7110 SAMUEL MORSE DR STE 150
COLUMBIA, MD 21046-3437




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANDRITZ ENVIRONMENTAL SOLUTIONS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9730 PATUXENT WOODS DRIVE
SUITE 100
COLUMBIA, MD 21046


ANDRITZ ENVIRONMENTAL SOLUTIONS INC.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5405 WINDWARD PKWY #100W
ALPHARETTA, GA 30004-3894


ANDRITZ INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1115 NORTHMEADOW PKWY
ATLANTA, GA 30076


ANDRUS, KEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANDRYSIAK, TIMOTHY, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANDUJAR, MARILYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANELLO, ANTHONY--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ANERICAN CYANAMID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 GIRALDA FARMS
MADISON, NJ 07940


ANGEL, EARL H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANGEL, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ANGEL, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANGEL, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANGELES, CLAUDIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANGELETTI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANGELILLI, DONNA D, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY H FISHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANGELINA CO. JR. COLLEGE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3500 SOUTH FIRST STREET
LUFKIN, TX 75904


ANGELINA COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 EAST LUFKIN AVENUE
LUFKIN, TX 75902


ANGELLO, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANGELO, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034




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Name of Counterparty                                                                                               Nature

ANGERMAN, KATHLEEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAISER & GORNICK LLP
100 PRINGLE AVE, SUITE 310
WALNUT CREEK, CA 94596


ANGERSTEIN, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ANGERT, AMY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANGERT, LESLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANGERT, RODNEY J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANGIOI, JOSEPH M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANGO, SAMUEL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ANGOTTI, ITALO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANGUS SYSTEMS GROUP INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1273 BOUND BROOK RD STE 11
MIDDLESEX, NJ 08846-1490


ANGUS SYSTEMS GROUP INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7000 CENTRAL PKWY NE
STE#1460
ATLANTA, GA 30328




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Name of Counterparty                                                                                               Nature

ANGYALFY, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANHEUSER BUSCH LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRACEWELL & GIULIANI LLP
RICHARD C. DANYSH
106 S. ST. MARY’S STREET, SUITE 800
SAN ANTONIO, TX 78205-3603


ANHEUSER BUSCH LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY RUTLEDGE, VP, ZONE GEN. COUN.
& DIRECTOR
ONE BUSCH PL
ST LOUIS, MO 63118


ANHEUSER BUSCH LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE BUSCH PL
ST LOUIS, MO 63118


ANIEL, FRED                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANIELLO, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANITA MORRIS DENT LIVING TRUST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANKENBRAND, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANKENBRAND, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

ANKERS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANKLEY, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANKNEY, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


ANNIE BELL JACKSON ESTATE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANNIE JEAN MCQUAIDE ESTATE,DEC'D                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANNUNZIATA, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANODAMINE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2590 OAKMONT DRIVE
STE 310 & 320
ROUND ROCK, TX 78665


ANODAMINE INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2590 OAKMONT DR
BLDG 300
ROUND ROCK, TX 78665


ANSCHUETZ, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

ANSELL, FRANCIS A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANSTEAD, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANTALFFY, ILONA R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTALIK, ROBERT W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ANTHON, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANTHONY MECHANICAL SERV INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3460
LUBBOCK, TX 79452-3460


ANTHONY MECHANICAL SERVICES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3460
LUBBOCK, TX 79452


ANTHONY MECHANICAL SERVICES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3514
ABILENE, TX 79604


ANTHONY MECHANICAL SERVICES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7605 GROVER
PO BOX 2706
LUBBOCK, TX 79424


ANTHONY WHITT, AS SURVIVING HEIR OF JD WHITT, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ANTHONY, BARBARA C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C SAMM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTHONY, BRUCE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTHONY, ELIZABETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANTHONY, JULIUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANTHONY, MICHIAL W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANTHONY, VERA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANTHONY-EHLERS, SHARON, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CRAIG R ANTHONY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTHONY-EHLERS, SHARON, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROSELLA ANTHONY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTOLIK, DENNIS G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

ANTOLIK, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANTONELLI, JOSEPH B, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT ANTONELLI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTONINO, RICHARD T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ANTONIO, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANTONOGLOU, THEODORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ANTONUCCI, SALVATORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ANZ, GARY HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ANZALDUA, PAUL, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ANZALONE, EDWARD C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ANZICK, LETITIA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EVERING H SPIVEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ANZURES, JAVIER A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


AO SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY GRACE SULLIVAN, ATTORNEY AT LAW
535 NORTH NEW BALLAS ROAD ST
ST LOUIS, MO 63141


AO SMITH CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


AON RISK SERVICES SOUTHWEST INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AON RISK SERVICES COMPANIES INC
75 REMITTANCE DR STE 1943
CHICAGO, IL 60675-1943


AP GREEN INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET SUITE 50
PITTSBURGH, PA 15219


AP SERVICES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 223863
PITTSBURGH, PA 15250-2863


AP SERVICES, LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WHITEFORD, TAYLOR & PRESTON LLC
ATTN: STEPHEN B. GERALD, ESQ.
RENAISSANCE CTR, STE 500, 405 N KING ST
WILMINGTON, DE 19801-4178


APCOM POWER INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2360 NW MARINE DR
TROUTDALE, OR 97060




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

APES, MICHAEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


APEX COMPANIES, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BERNICE JARBOE
15850 CRABBS BRANCH WAY, SUITE 200
ROCKVILLE, MD 20855


APEX OIL COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 GEARS ROAD, SUITE 845
HOUSTON, TX 77067


APEX TITAN INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1443
BALTIMORE, MD 21203-4443


APEX TITAN, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O APEX COMPANIES LLC
ATTN: BERNICE JARBOE
15850 CRABBS BRANCH WAY, SUITE 200
ROCKVILLE, MD 20855


APG CONSULTING INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ALLIANCE POWER GROUP
5757 WESTHEIMER STE 3178
HOUSTON, TX 77057


API CONSTRUCTION COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 OLD HIGHWAY 8 NW
NEW BRIGHTON, MN 55112


API CONSTRUCTION COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 OLD HIGHWAY 8 NW
NEW BRIGHTON, NM 55112


API HEAT TRANSFER INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 WALDEN AVE
BUFFALO, NY 14225


API HEAT TRANSFER INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 347029
PITTSBURGH, PA 15251




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

API SYSTEMS GROUP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10575 VISTA PARK RD
DALLAS, TX 75238-1647


API SYSTEMS GROUP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2609 NATIONAL CR
GARLAND, TX 75041


APPERWHITE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


APPIVON INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
825 E WISCONSIN AVENUE
PO BOX 359
APPLETON, WI 54912


APPLABS TECHNOLOGIES PVT LTD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 MARKET ST STE 1110
PHILADELPHIA, PA 19102-1905


APPLABS TECHNOLOGY PVT LTD.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O VARNUM LLP
ATTN: MARY KAY SHAVER, ESQ.
P.O. BOX 352
GRAND RAPIDS, MI 49501-0352


APPLEGATE, EDDIE & JOY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


APPLEGATE, KENNITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


APPLETON COATED LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
APPVION, INC.
825 E WISCONSIN AVE
PO BOX 359
APPLETON, WI 54912




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

APPLETON PAPERS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
APPVION, INC.
825 E WISCONSIN AVE
PO BOX 359
APPLETON, WI 54912


APPLETON PAPERS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
160 GREENTREE DR STE 101
DOVER, DE 19904


APPLETON, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


APPLIED ENERGY CO LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1205 VENTURE COURT STE#100
CARROLLTON, TX 75006


APPLIED ENERGY COMPANY LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1205 VENTURE COURT STE#100
CARROLLTON, TX 75006


APPLIED INDUSTRIAL SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 PRESTON ROAD #267-89
PLANO, TX 75093


APPLIED INDUSTRIAL TECHNOLOGIES INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1202 W MARSHALL
LONGVIEW, TX 75604


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10610 NEWKIRK STREET
SUIT 107
DALLAS, TX 75220


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15100 INDEPENDENCE PKWY
FORT WORTH, TX 76178


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22510 NETWORK PLACE
CHICAGO, IL 60673-1225




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 TEXAS CENTRAL PARKWAY
WACO, TX 76712-6569


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
438 W MOCKINGBIRD
DALLAS, TX 75247


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4616 WEST HOWARD LANE, SUITE 965
AUSTIN, TX 78728


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COTTINGHAM DIVISION
1400 W 2ND ST
ODESSA, TX 79763


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 100538
PASADENA, CA 91189-0538


APPLIED INDUSTRIAL TECHNOLOGIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PORZIO BROMBERG & NEWMAN PC
156 W. 56TH STREET SUITE 803
NEW YORK, NY 10019-3800


APPLIED INDUSTRIAL TECHNOLOGIES, INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE HEADQUARTERS
ATTN: DIANNE MISENKO
1 APPLIED PLAZA
CLEVELAND, OH 44115


APPLIN, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


APPTIO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11100 NE 8TH STREET SUITE 600
BELLEVUE, WA 98004




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

APRAHAM, JOEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


APRIL BUILDING SERVICES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4865 GRETNA STREET
DALLAS, TX 75207


APS AMERICA LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14 INVERNESS DRIVE EAST
SUITE G-124
ENGLEWOOD, CO 80112


APS AMERICA LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5151 E BROADWAY BLVD STE 1600
TUCSON, AZ 85711-3777


APTPCY LTD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT G. GIBSON, JR.
PO BOX 387
ROSENBERG, TX 77471


AQUA CHEM INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY MCTIERNAN & MOORE
N/K/A CLEAVER BROOKS INC.
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


AQUA CHEM INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAVER BROOKS INC.
BARRY, MCTIERNAN MOORE
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


AQUA CHEM INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARKER, WHITE, SHAVER, MARTIN &
WALKER, PC, JEFF SHAVER
11200 WESTHEIMER, SUITE 200
HOUSTON, TX 77704


AQUA CHEM INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801




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Name of Counterparty                                                                                         Nature

AQUA CHEM INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
AMY MILLS
205 W. LOCUST STREET
TYLER, TX 75702


AQUA CHEM INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
11200 WESTHEIMER SUITE 200
HOUSTON, TX 77042


AQUA CHEM INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


AQUA WATER SUPPLY CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX P
BASTROP, TX 78602


AQUATIPRO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIV OF SENTRY EQUIPMENT
PO BOX 1170
MILWAUKEE, WI 53201-1170


AQUIJE, JOSE R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AQUILAR, ROMAN M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AQUINO, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARABIE, JOE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARAGON, EUVALDO BUDDY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

ARAGONA, DOMINICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ARALE, MICHAEL G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ARAMARK REFRESHMENT SERVICES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1665 TOWNHURST DR STE 160
HOUSTON, TX 77043


ARAMARK UNIFORM & CAREER APPAREL, LLC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A ARAMARK UNIFORM SERVICES
ATTN: SHEILA R. SCHWAGER
P.O. BOX 1617
BOISE, ID 83701


ARAMARK UNIFORM SERVICES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 732223
DALLAS, TX 75373-2223


ARAMARK UNIFORM SERVICES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22014 BUSH DR
WACO, TX 76712


ARAMARK UNIFORM SERVICES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2821 ROBERTSON RD
TYLER, TX 75701


ARAMARK UNIFORM SERVICES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 731676
DALLAS, TX 75373-1676


ARAMBASICH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ARAMBASICH, MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARANEDA, HERNAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARANEDA, PATRICIO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARAPAHOE COUNTY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADMINISTRATION BUILDING
5334 S. PRINCE ST.
LITTLETON, CO 80120-1136


ARATEX SERVICES, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8204 ELMBROOK
SUITE 255
DALLAS, TX 75247


ARAVENA, RAFAEL ENRIQUE DIAZ                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARBES, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARBILL INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10450 DRUMMOND RD
PHILADELPHIA, PA 19154


ARBILL INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 820542
PHILADELPHIA, PA 19182-0542


ARBILL INDUSTRIES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10450 DRUMMOND ROAD
PHILADELPHIA, PA 19154


ARBITRIO, DOMENICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

ARBOR WOODS HOUSING LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT LAKEWEST APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


ARBORETUM ESTATES LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 E BUCKINGHAM RD
RICHARDSON, TX 75081


ARBORGEN LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3535 NURSERY ROAD
LIVINGSTON, TX 77351


ARBORGEN LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD O BARHAM SUPERTREE
NURSERY
PO BOX 947
BULLARD, TX 75757


ARBORGEN SUPER TREE NURSERY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 947
BULLARD, TX 75757-7701


ARBOUR, RICHARD L, SR-EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ARBUTHNOT, BRANDI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARBUTHNOT, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARBUTHNOT, JANICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARCARO, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                          Nature

ARCE, RADAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARCELORMITTAL USA, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ARCELORMITTAL USA, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMON EVANS
1 SOUTH DEARBORN
CHICKEN, IL 60603


ARCEMENT, NORMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARCH CHEMICALS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LONZA GROUP LTD
MUENCHENSTEINERSTRASSE 38
BASEL, CH-4002
SWITZERLAND

ARCHAMBAULT, JAMES W                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ARCHER CITY ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 S ASH ST
ARCHER CITY, TX 76351


ARCHER COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 427
ARCHER CITY, TX 76351


ARCHER DANIELS MIDLAND COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4666 FARIES PARKWAY
DECATUR, IL 62526




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ARCHER, DALE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARCHER, EDWARD R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ARCHER, MICHELLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARCHER, SANDRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARCHIBALD, CURT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARCHIBALD, MICO V.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARCHIBALD, MIKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARCHIBALD, NORA ELIZABETH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARCHIBEQUE, ILSE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


ARCHIBEQUE, TOMMY F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ARCHIPRETE, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ARCHULETA, MICHELLE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARCO CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
JEFFERY K. GORDON
111 CONGRESS AVE, SUITE 1700
AUSTIN, TX 78701


ARCO CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


ARCO OIL & GAS CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 51408
LAFAYETTE, LA 70505


ARCORACI, DEAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AUGUST L ARCORACI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARCURIE, EUGENE F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ARCY MANUFACTURING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 INDUSTRIAL RD
CARLSTADT, NJ 07072


ARD, ALVIN C.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


ARD, THOMAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

ARDAGH GLASS INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1044 BOOTH RD
WARNER ROBINS,, GA 31088


ARDIRE, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARDISSON, ROBERT ALAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARDIZZONE, MARIA E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AREHART, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARELLANO, MARCELO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AREND, KARL H                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARENDELL, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARENDT, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARENS, RANDALL AND SHERYL ARENS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARETZ, FRANK H.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

AREVA NP INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVEN J. CUEVAS, ESQ.
3315 OLD FOREST ROAD
LYNCHBURG, VA 24501


AREVA NP INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 533041
CHARLOTTE, NC 28290-3041


ARGETSINGER, BRIAN DAVID                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARGO INTERNATIONAL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 CHUBB AVE
FL 1
LYNDHURST, NJ 00707


ARGO INTERNATIONAL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 CHUBB AVE
LYNDHURST, NJ 07071


ARGO INTERNATIONAL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 FRANKLIN ST
NEW YORK, NY 10013


ARGO INTERNATIONAL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 INDUSTRIAL RD
CARLSTADT, NJ 07072


ARGO PACKING COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 CEDAR WAY
OAKMONT, PA 15139


ARGO TURBOSERVE CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 824623
PHILADELPHIA, PA 19182-4623


ARGONAUT-NORTHWEST INSURANCE CO.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 MIDDLEFIELD ROAD
MENLO PARK, CA 94025




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Name of Counterparty                                                                                              Nature

ARIE, FRANK B                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ARITZ, DOMINICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARIZONA DEPARTMENT OF REVENUE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 W. MONROE
PHOENIX, AZ 85038-9010


ARK DELIVERY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2306 SPRINGLAKE
DALLAS, TX 75234


ARKANSAS POWER & LIGHT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 WEST CAPITOL AVENUE
LITTLE ROCK, AR 72201


ARKANSAS UNCLAIMED PROPERTY UNIT                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 WEST CAPITOL AVENUE
SUITE 325
LITTLE ROCK, AR 72201


ARKEMA INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 1ST AVE
KING OF PRUSSIA, PA 19406


ARKEMA INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 MARKET STREET
PHILADELPHIA, PA 10103


ARKLA-TEX WASTE OIL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3801 MCCOY DR
BOSSIER CITY, LA 71111


ARLINGTON INDEPENDENT SCHOOL DISTRICT                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: R. BRUCE MEDLEY
P.O. BOX 13430
ARLINGTON, TX 76094-0430




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ARLINGTON ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1203 W. PIONEER PKWY
ARLINGTON, TX 76013


ARLINGTON SENIOR HOUSING LP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAGE OF JOHNSON CREEK APT
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


ARLINGTON, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
101 W. ABRAM STREET
ARLINGTON, TX 76010


ARMALITE ARCHITECTURAL PRODUCTS/ARCO METALS                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 60TH AVENUE SOUTH
MERIDIAN, MS 39301


ARMBRUST, AMANDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARMCO STEEL CO.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AK STEEL-BUTLER WORKS
210 PENNSYLVANIA ROAD
BUTLER, PA 16001


ARMENDA, ERNESTO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARMENDARIZ, ARTURO S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ARMES, BILLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARMIGER, JAMES F, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                               Nature

ARMIGER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARMIJO, HAROLD MANUEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


ARMISTEAD, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARMORE CHARTER OAK LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 E HARWOOD RD
EULESS, TX 76039


ARMORE TROPHY CLUB LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 PLANTATION CLUB DRIVE
TROPHY CLUB, TX 76262


ARMSTEAD, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ARMSTRONG INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
816 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
816 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016




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Name of Counterparty                                                                                            Nature

ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID DYKSTRA
900 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID DYKSTRA, ATTORNEY AT LAW
900 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63101


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JENNIFER ANTOINETTE JUMPER
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS BEACH, PLLC
100 WALL STREET, 23RD FLOOR
NEW YORK, NY 10005


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASORSA & BENEVENTANO
3 BARKER AVENUE
WHITE PLAINS, NY 10601


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63110


ARMSTRONG INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ARMSTRONG INTERNATIONAL, INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 MAPLE ST
THREE RIVERS, MI 49093


ARMSTRONG PUMPS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
93 EAST AVE
NORTH TONAWANDA, NY 14120


ARMSTRONG PUMPS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HODGSON RUSS LLP
140 PEARL STREET STE 100
BUFFALO, NY 14202


ARMSTRONG PUMPS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602


ARMSTRONG PUMPS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS W HAYES
33 N LASALLE STREET
SUITE 1400
CHICAGO, IL 60602


ARMSTRONG WAREHOUSE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 47131
DALLAS, TX 75247


ARMSTRONG WORLD INDUSTRIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 E 56TH STREET
NEW YORK, NY 10022


ARMSTRONG WORLD INDUSTRIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
706 N 31ST AVE
HOLLYWOOD, FL 33021


ARMSTRONG INTERNATIONAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
816 MAPLE STREET
THREE RIVERS, MI 49093


ARMSTRONG INTERNATIONAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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Name of Counterparty                                                                                              Nature

ARMSTRONG, ARTHUR A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARMSTRONG, ARVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


ARMSTRONG, CAROL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARMSTRONG, CHARLES K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARMSTRONG, FREDDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ARMSTRONG, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARMSTRONG, HERBERT RAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARMSTRONG, JACK E., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARMSTRONG, JEREMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARMSTRONG, JOHNATHAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

ARMSTRONG, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARMSTRONG, TERI L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ARMSTRONG, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARNETT, AARON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNETT, CRAIG                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNETT, HANNAH SIMONS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNHEITER, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, BILLY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, EDWARD C, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOLD, JOSEPH J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                             Nature

ARNOLD, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARNOLD, JUDITH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK C ARNOLD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOLD, KENNETH L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, KENNETH L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, KONSTANTIN L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, ORA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARNOLD, PHYLLIS (10-1-15)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, RANDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOLD, ROBERT P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

ARNOLD, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARNOLD, SHIRLEY A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK SCHWEDES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOLD, TIMOTHY F, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BLANCHE E ARNOLD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOLD, TIMOTHY R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARNOLD, TIMOTHY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES F ARNOLD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARNOTT, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ARONE, MICHAEL T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ARONSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARONSON, ELLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARONSON, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ARONSON, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARP, MAX R                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARPEN, EARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARPIN, STACI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARREDONDO, DONATO, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARRIAGA, CINO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARRINGTON, ANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARRINGTON, ERNESTINE D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARRINGTON, HERBERT B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARRINGTON, WILLIE B.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARRIOLA, ELZIE (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ARRISON, LINDA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES ARRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ARROW INDUSTRIES INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 N. ST. PAUL
DALLAS, TX 75201


ARROWHEAD CONTRACTOR SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DR
LONGVIEW, TX 75602


ARROWHEAD CONTRACTOR SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DR
LONGVIEW, TX 75602


ARROWHEAD CONTRACTOR SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3388
LONGVIEW, TX 75606


ARROWHEAD CONTRACTOR SUPPLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DR
LONGVIEW, TX 75602


ARROWOOD, DEKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARROWOOD, FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARROWOOD, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ARROYO, EDGARDO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


ARROYO, ERMELINDO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ARROYO, JUAN R. SANTINI                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARROYO, PABLO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARRUDA, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARRUDA, EDWIN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ARSENAULT, DENIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARSENAULT, JOSEPH G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARTEAGA, KELLY LYNN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARTEAGA, KELLY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

ARTEMIK, NICHOLIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARTEMIS FINE ART, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHRISTOPHER BATES
10405 SHADY TRL, STE 100
DALLAS, TX 75220


ARTHUR, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARTHUR, GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARTHUS, VERNON W.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ARTIGIANI, ROBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARTOGRAFX INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2611 ANDJON
DALLAS, TX 75220


ARUNDEL, SEYMOUR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARUNDEL, THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

ARVAY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2135 WEST MAPLE ROAD
TROY, MI 48084


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAYNA L. JOHNSON
PO BOX 538
EDWARDSVILLE, IL 62025


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE, P.C.
RUSSELL KENNETH SCOTT
12 WOLF CREEK DRIVE
BELLEVILLE, IL 62226


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2135 WEST MAPLE ROAD
TROY, MI 48084


ARVINMERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE, P.C.
RUSSELL KENNETH SCOTT
12 WOLF CREEK DRIVE
BELLEVILLE, IL 62226


ASAD, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ASBEKA INDUSTRIES OF N Y INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2372 MCDONALD AVE
BROOKLYN, NY 11223


ASBEKA INDUSTRIES OF N Y INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARUSO SMITH EDELL PICINI PC
60 ROUTE 46 EAST
FAIRFIELD, NJ 07004


ASBEKA INDUSTRIES OF N Y INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICILLO CARUSO POPE EDELL PICINI
60 ROUTE 46 EAST
FAIRFIELD, NJ 07004


ASBEKA INDUSTRIES OF NY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2372 MCDONALD AVE
BROOKLYN, NY 11223


ASBESTO SPRAY CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CROSSINGS,250 2ND AVE SO.
MINNEAPOLIS, MN 55401-2122


ASBESTOS CLAIMS MANAGEMENT CORP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2716 LEE STREET, SUITE 500
GREENVILLE, TX 75401


ASBESTOS CORP LTD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1880 JOHN F KENNEDY BLVD
20TH FLOOR
PHILADELPHIA, PA 19103


ASBESTOS CORP LTD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
840 BOUL OUELLET
THE TFORD MINES, QC G6G 7A5
CANADA

ASBESTOS CORP LTD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY, MCTIERNAN & MOORE
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


ASBESTOS CORP OF AMERICA INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
791 NEPPERHAN AVE
YONKERS, NY 10703




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ASBESTOS CORPORATION LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
840 BOULEVARD OUELLET
THEFORD MINES
QUEBEC CITY, QC G6G 7A5
CANADA

ASBESTOS CORPORATION LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAJARES & SCHEXNAYDRE
68031 CAPITAL TRACE ROW
MANDEVILLE, LA 70471


ASBESTOS PRODUCTS MFG CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 SCHOLES ST.
BROOKLYN, NY 11206


ASBESTOS REMOVAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13508
ODESSA, TX 79768


ASBURY, WILLIAM J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASC INSULATION FIREPROOFING & SUPPLIES INC                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
LOURDES CASTRO
607 CHURCH RD
ELGIN, IL 60123


ASCEND PERFORMANCE MATERIALS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 MARVILLE CENTRE DR
ST LOUIS, MO 63141


ASCINSULATION FIRE PROOFING                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
607 CHURCH RD
ELGIN, IL 60123


ASCO VALVES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 HANOVER RD
FLORHAM PARK, NJ 07932


ASCO VALVES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ASCO VALVES INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMON LESSER PC
420 LEXINGTON AVENUE
SUITE 345
NEW YORK, NY 10170


ASCO                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3888
LUBBOCK, TX 79452


ASENSIO, CHARLES B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASGCO MANUFACTURING INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 GORDON ST
ALLENTOWN, PA 18102


ASGCO MANUFACTURING INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1999
ALLENTOWN, PA 18105-1999


ASH GROVE CEMENT CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11011 CODY
OVERLAND PARK, KS 66210


ASH, CURTIS L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASH, DAVID                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASH, EDWARD L, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASH, JERRY E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ASH, SHIRLEY D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD M ASH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHBAUGH, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ASHBURN, FLOYD T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHBURN, FLOYD T, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAGE W HULL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHBY, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ASHBY, ANYAH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ASHBY, PENNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ASHBY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ASHCRAFT, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASHENDEN, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ASHER MEDIA INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15303 DALLAS PARKWAY STE 1300
ADDISON, TX 75001


ASHER MEDIA INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18333 PRESTON RD
SUITE 560
DALLAS, TX 75252


ASHER MEDIA INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KALYN ASHER
15303 DALLAS PARKWAY, STE 1300
ADDISON, TX 75001


ASHFORD APARTMENTS GP LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ASHFORD PARK TOWNHOMES
3550 S FIELDER RD
ARLINGTON, TX 76015


ASHFORD HAMILTON, MARY L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHINGDON LTD CO, THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4701 ISLAND DR
MIDLAND, TX 79707-1408


ASHLAND CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5200 BLAZER PARKWAY
DUBLIN, OH 43017


ASHLAND CHEMICAL INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 E. RIVERCENTER BLVD.
PO BOX 391
COVINGTON, KY 41012-0391


ASHLAND INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5200 BLAZER PARKWAY
DUBLIN, OH 43017


ASHLAND INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

ASHLAND INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS, MCCONN, RICE & PICKERING, P.C.
B. STEVE RICE
1233 WEST LOOP SOUTH, SUITE 2200
HOUSTON, TX 77027


ASHLEY, DAVID                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASHLEY, JOYCE, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ORION A SILER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHLEY, LARRY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASHLEY, RALPH LAMAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASHLEY, ROBERT L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHLEY, WENDELL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASHLEY, WILLIAM HENRY, JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ASHLEY-SHAFFER, DOROTHY M, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALLEN S ASHLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASHMORE, CASEY AND COURTNEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ASHTON, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASHTON, MARK D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ASHURST, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASHWELL, RUSSELL L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH F ASHWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ASI                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9230 EAST 47TH STRRET
KANSAS CITY, MO 64133


ASKEW, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASLANIS, KONSTANTINOS N                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ASM CAPITAL, LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR W.O.I. PETROLEUM
7600 JERICHO TURNPIKE
SUITE 302
WOODBURY, NY 11797


ASPE VILLANUEVA, VICTOR MANUEL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASPEN POWER, LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JEREMY WALLACE
800 BERING DR, STE 250
HOUSTON, TX 77057




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ASPLAND, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASPLUND, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASPLUND, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ASSELIN, DONALD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASSOCIATED ENGINEERING & EQUIPMENT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66609
HOUSTON, TX 77266


ASSOCIATED SUPPLY COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3888
LUBBOCK, TX 79452


ASSOCIATION OF ELECTRIC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANIES OF TEXAS
1005 CONGRESS AVE STE 600
ATTN JOHN W FAINTER JR PRESIDENT
AUSTIN, TX 78701


ASTEN GROUP INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


ASTEN GROUP INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226




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Name of Counterparty                                                                                           Nature

ASTEN GROUP INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


ASTEN GROUP INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


ASTEN JOHNSON INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4399 CORPORATE ROAD
NORTH CHARLESTON, SC 29405


ASTEN JOHNSON INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SVC INC
150 SOUTH PERRY STREET
MONTGOMERY, AL 36104


ASTEN JOHNSON INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


ASTEN JOHNSON INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


ASTENJOHNSON INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TIM GRAY, ONE SHELL SQUARE,
701 POYDRAS STREET, SUITE 4350
NEW ORLEANS, LA 70139


ASTENJOHNSON INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TINA GRAY, TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRAVES & CO.
TODD D. OGDEN
1600 SMITH, 48TH FLOOR
HOUSTON, TX 77002


ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIM GIBSON, GEN. COUN. & SECRETARY
4399 CORPORATE RD
CHARLESTON, SC 29405


ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
R. MARK WILLINGHAM
808 TRAVIS SUITE 1608
HOUSTON, TX 77002


ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
ROBERT MARK WILLINGHAM
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


ASTENJOHNSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4399 CORPORATE RD
CHARLESTON, SC 29405


ASTHANA, MANU                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ASTM INTERNATIONAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX C700
WEST CONSHOHOCKEN, PA 19428-2959


ASTROTH, KATHLEEN M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH B MEYER III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

A-SWAT PEST CONTROL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
308 N 6TH ST
THORNDALE, TX 76577


A-SWAT PEST CONTROL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 243
THORNDALE, TX 76577-0243


AT CALLAS COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1421 PIEDMONT
TROY, MI 48083


AT&T CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
208 S. AKARD ST.
DALLAS, TX 75202


AT&T GLOBAL INFORMATION SOLUTIONS (FNA NCR CORP)                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3097 SATELLITE BLVD
DULUTH, GA 30096


AT&T GLOBAL INFORMATION SOLUTIONS CO                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KAREN KOWAL, SR. ATTY., AGENT
1700 S. PATTERSON BLVD.
DAYTON, OH 45479


AT&T INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5019
CAROL STREAM, IL 60197-5019


AT&T INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5091
CAROL STREAM, IL 60197-5091


AT&T MOBILITY II LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AT&T SERVICES, INC.
ATTN: KAREN A CAVAGNARO - LEAD PARALEGAL
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921


AT&T MOBILITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 537104
ATLANTA, GA 30353-7104




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

AT&T MOBILITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6463
CAROL STREAM, IL 60197-6463


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J. L. ROBERTSON, JR., AGENT
PO BOX 31111
SHREVEPORT, LA 71130-1111


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 105068
ATLANTA, GA 30348-5068


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 105414
ATLANTA, GA 30348-5414


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5001
CAROL STREAM, IL 60197-5001


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5011
CAROL STREAM, IL 60197-5011


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5014
CAROL STREAM, IL 60197-5014


AT&T                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5080
CAROL STREAM, IL 60197-5080


ATCHISON (GREEN), BETTY L                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATCHISON, ARTHUR JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATCHISON, ARTHUR, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ATCHLEY, BRET                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ATCHLEY, RUSSELL, WALDROP & HLAVINKA                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOWARD WALDROP
1710 MOORES LANE
TEXARKANA, TX 75503


ATEKCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12925 16TH AVE N
PLYMOUTH, MN 55441


ATENCIO, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ATF SERVICES INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15941 S HARLEM AVE
TINLEY PARK, IL 60477


ATHENS ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
104 HAWN STREET
ATHENS, TX 75751


ATHENS MUNICIPAL WATER AUTH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATHENS CITY HALL
508 EAST TYLER STREET
ATHENS, TX 75751


ATHENS, ALEXANDER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATHENS, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATHENS CITY HALL
508 EAST TYLER STREET
ATHENS, TX 75751


ATHERTON, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ATI OPERATING HOLDINGS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
790 REMINGTON BOULEVARD
BOLINGBROOK, IL 60440




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

ATKIN, JOHN B.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ATKINS NORTH AMERICA INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848176
DALLAS, TX 75284-8176


ATKINS NORTH AMERICA, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A P B S & J INC
4030 W BOY SCOUT BLVD STE 700
TAMPA, FL 33607-5713


ATKINS, BARNEY ALLEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATKINS, ROBERT J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ATKINS, WALTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ATKINSON INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 843771
DALLAS, TX 75284-3771


ATKINSON, ANTHONY GALE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATKINSON, CLIFTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATKINSON, HOLMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ATKINSON, RONALD GLENN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATKINSON, RONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ATKINSON, STEVE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATLANTA REPORTERS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1062
SNELLVILLE, GA 30078


ATLANTIC PLANT MAINTENANCE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3225 PASADENA BOULEVARD
PASADENA, TX 77503


ATLANTIC RICHFIELD CO. A/K/A ARCO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


ATLANTIC RICHFIELD COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ATLANTIC RICHFIELD COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
DAVID MICHAEL HARRIS
10 SOUTH BROADWAY, SUITE 1800
ST LOUIS, MO 63102


ATLANTIC RICHFIELD COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
LIZABETH MARIE CONRAN
10 SOUTH BROADWAY, SUITE 2000
ST LOUIS, MO 63102


ATLANTIC RICHFIELD COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 CENTERPOINTE DRIVE
LA PALMA, CA 90623




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELD RD.
WARRENVILLE, IL 60555


ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
LIZABETH MARIE CONRAN
10 SOUTH BROADWAY, SUITE 2000
ST LOUIS, MO 63102


ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TWO GREENVILLE CROSSING, STE 238
GREENVILLE, DE 19807


ATLANTIC RICHFIELD COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 CENTERPOINTE DRIVE
LA PALMA, CA 90623


ATLAS ASPHALT PRODUCTS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 N PORTLAND AVE
OKLAHOMA CITY, OK 73107


ATLAS COPCO COMPRESSORS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
34 MAPLE AVE
PINE BROOK, NJ 07058


ATLAS COPCO COMPRESSORS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3701 SW 47TH AVE # 103
DAVIE, FL 33314


ATLAS COPCO COMPRESSORS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: HECTOR DE LEON
15045 LEE ROAD
HOUSTON, TX 77032




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ATLAS COPCO COMPRESSORS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 19511
PALATINE, IL 60055-9511


ATLAS COPCO COMPTEC LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
46 SCHOOL RD
VOORHEESVILLE, NY 12186


ATLAS COPCO COMPTEC LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 19544
PALATINE, IL 60055-9544


ATLAS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1750 E STATE ST
FREMONT, OH 43420


ATLAS MANUFACTURING CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1969
MONTICELLO, MS 39654


ATLAS PAVING COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6259 AIRPORT WAY S
SEATTLE, WA 98108-2847


ATLAS SALES AND RENTALS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15100
FREMONT, CA 94539


ATLAS TURNER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2435 RUE DE LA PROVINCE
LONGUEUIL, QC J4G 1G3
CANADA

ATLAS TURNER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
696 RUE MONFETTE EAST
THETFORD MINES, QC G6G 7-G9
CANADA

ATLAS TURNER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
STEVEN T WALSH
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102




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Name of Counterparty                                                                                              Nature

ATLAS TURNER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15TH FLOOR
ST LOUIS, MO 63101-1313


ATMOS ENERGY CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BANKRUPTCY GROUP
PO BOX 650205
DALLAS, TX 75265-0205


ATMOS ENERGY CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COWLES & THOMPSON, P.C.
901 MAIN STREET, SUITE 3900
DALLAS, TX 75202


ATMOS ENERGY CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 650205
DALLAS, TX 75265-0205


ATMOS ENERGY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 790311
ST LOUIS, MO 63179-0311


ATMOS PIPELINE - TEXAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13430 NORTHWEST FREEWAY, SUITE 700
ATTN: MANAGER - CREDIT & FINANCE
HOUSTON, TX 77040-6091


ATMOS PIPELINE - TEXAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF ATMOS ENERGY CORPORATION
C/O COWLES & THOMPSON, P.C.
901 MAIN STREET, SUITE 3900
DALLAS, TX 75202


ATMOSPHERE FURANCE CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49630 W POTIAC TRAIL
WIXOM, MI 48393


ATP RESULTS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TODD TURNER,PRESIDENT
201 WALNUT ST
MONROE, LA 71201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ATR INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17304 THEISS MAIL RTE
HOUSTON, TX 77379


ATTEBERRY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATTEBERRY, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


ATTERBERRY, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ATTERBERRY, WANDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ATTERBERRY, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ATTERIDGE, SUSAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ATTICK, DONNA L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM PAPE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ATTINELLO, MATTHEW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ATWOOD & MORRILL CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004




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Name of Counterparty                                                                                               Nature

ATWOOD, GERALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ATWOOD, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AUBUCHON, MELISSA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JAMES E. BEELER
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


AUBURN MANUFACTURING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
34 WALKER ROAD
PO BOX 220
MECHANIC FALLS, ME 04256


AUCKER, GREGORY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUCOIN, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


AUCOIN, RUSSELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


AUDET, RAYMOND                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

AUFFARTH, LOUISE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AUGUSTINE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AUGUSTINE, SAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUGUSTYNIAK, STANLEY T, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AULD, BILLY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AULISIO, JOSEPH H.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


AUMILLER, LYNNWOOD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUMILLER, MARY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AURELIA, OLIVER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

AURELIUS CAPITAL MASTER, LTD.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORSHEY & PROSTOK LLP
JEFF P. PROSTOK, J. ROBERT FORSHEY,
SUZANNE K. ROSEN, 777 MAIN ST., STE 1290
FORT WORTH, TX 76102


AURELIUS CAPITAL MASTER, LTD.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBBINS RUSSELL ENGLERT ORSECK ET AL
L.ROBBINS, A.LAVINBUK, K. ZECCA
1801 K ST NW, SUITE 411
WASHINGTON, DC 20006


AURIGEMMA, VICTOR ANDREW                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 AIRPORT RD
NORTH AURORA, IL 60542


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BELINDA SMITH
13515 BALLANTYNE CORP PLACE
CHARLOTTE, NC 28277


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNETTE JONES
13515 BALLANTYNE CORP PLACE
CHARLOTTE, NC 28277


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BALLANTYNE CORPORATE PLACE
CHARLOTTE, NC 28277


AURORA PUMP COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 AIRPORT RD
NORTH AURORA, IL 60542




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BELINDA SMITH
13515 BALLANTYNE CORP PLACE
CHARLOTTE, NC 28277


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNETTE JONES
133320 BALLANTYNE CORP PLACE
CHARLOTTE, NC 28277


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NELSON MULLINS RILEY & SCARBOROUGH
ROBERT O MERIWETHER
1320 MAIN ST # 17
COLUMBIA, SC 29201


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE EAST WACKER DRIVE
GREGORY TODD GOLDBERG
THIRD FLOOR
CHICAGO, IL 60601


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE EAST WACKER DRIVE
MICHAEL T TRUCCO
THIRD FLOOR
CHICAGO, IL 60601


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
MARK ANTHONY PROST
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313


AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
STEPHEN MICHAEL STRUM
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

AURORA PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPX CORPORATION
13320 BALLANTYNE CORPORATE PL
CHARLOTTE, NC 28277


AUSTIN ARMATURE WORKS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
304 COMMERCIAL DR
BUDA, TX 78610


AUSTIN CIRCUITS INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8860 ZACHARY LANE
NORTH MAPLE GROVE, MN 55369


AUSTIN CO.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
LAURA KUGLER, MEL D BAILEY
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


AUSTIN CO.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
MEL D. BAILEY
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


AUSTIN COMM. COLLEGE - BASTROP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN COMMUNITY COLLEGE DISTRICT
5930 MIDDLE FISKVILLE RD.
AUSTIN, TX 78752


AUSTIN COMM. COLLEGE - LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN COMMUNITY COLLEGE DISTRICT
5930 MIDDLE FISKVILLE RD.
AUSTIN, TX 78752


AUSTIN COMM. COLLEGE - TRAVIS CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN COMMUNITY COLLEGE DISTRICT
5930 MIDDLE FISKVILLE RD.
AUSTIN, TX 78752


AUSTIN COMM. COLLEGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN COMMUNITY COLLEGE DISTRICT
5930 MIDDLE FISKVILLE RD.
AUSTIN, TX 78752




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

AUSTIN ENERGY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREEN BUILDING
721 BARTON SPRINGS ROAD
AUSTIN, TX 78704-1194


AUSTIN INDUSTRIAL INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EBANKS HORNE ROTA MOOS L.L.P.
JAMES D EBANKS
1301 MCKINNEY ST, SUITE 2700
HOUSTON, TX 77010-3079


AUSTIN INDUSTRIAL, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8031 AIRPORT BLVD.
HOUSTON, TX 77061


AUSTIN INDUSTRIAL, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 87888
HOUSTON, TX 77287-7888


AUSTIN ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 W 6TH STREET
AUSTIN, TX 78703


AUSTIN POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
G E DAWKINS
2949 STEMMONS FREEWAY
PO BOX 1590
DALLAS, TX 75221


AUSTIN WHITE LIME COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9556
AUSTIN, TX 78766


AUSTIN, ALISHIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUSTIN, BILL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


AUSTIN, CATHERINE H, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMER E AUSTIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

AUSTIN, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2006 EAST 4TH STREET
AUSTIN, TX 78702


AUSTIN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AUSTRON,INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 ORCHARD PARKWAY
SAN JOSE, CA 95131


AUTH, REISE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUTH, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUTOMATIC SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 870900
KANSAS CITY, MO 64187-0900


AUTOMATIC SYSTEMS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CARMODY MACDONALD P.C.
ATTN: GREGORY D. WILLARD, ESQ.
120 SOUTH CENTRAL AVE, STE 1800
SAINT LOUIS, MO 63105-1705


AUTOMATION TECHNOLOGY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3440
SUNNYVALE, CA 94088


AUTOMATIONDIRECT.COM INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 402417
ATLANTA, GA 30384-2417


AUTOSCRIBE CORPORATION, THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9711 WASHINGTONIAN BLVD STE 440
GAITHERSBURG, MD 20878-5358




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

AUTOSCRIBE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAPITAL LEGAL GROUP PLLC
1455 PENNSYLVANIA AVE., NW SUITE 400
WASHINGTON, DC 20004


AUTOSCRIBE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT A. BENNAN CHIEF EXECUTIVE OFFICER
16506 AKRON ST.
PACIFIC PALISADES, CA 90272


AUTOZONE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
123 S. FRONT ST
MEMPHIS, TN 38103


AUTOZONE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


AUTOZONE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
METHFESSEL & WERBEL
CHARLES MCCOOK JR, 2025 LINCOLN
HWY STE 200, PO BOX 3012
EDISON, NJ 08818-0020


AUTREY B HARMON TRUST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AUTREY, COY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AUVIL, THOMAS J, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AVA RUTH BREVARD ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVA RUTH BREVARD ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                 Nature

AVALOS, CHELSEA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, CODY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVALOS, ELLIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, JOEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, JOSE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, MARIA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, REESE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVALOS, RUTH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVALOS, SEPHORA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AVANT, TERRY MICHAEL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVARAS, PETER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AVELLO, DONALD J                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

AVENT, TAWANA D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AVENTAS, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1131 ROCKINGHAM DR
RICHARDSON, TX 75080


AVENTIS CROP SCIENCE USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 T. W. ALEXANDER DR.
RESEARCH TRIANGLE PARK, NC 37709


AVERILL, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AVERITTE, CARLIE P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVERY, CHARLES M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARVEY C AVERY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AVERY, CINDY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVERY, GARY B.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVERY, JIMMIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVERY, LARRY WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVERY, LENUS D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

AVERY, ROBERT H.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


AVEY, GOLDIE FAYE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVEY, GOLDIE FAYE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVILA, CONCEPCION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVILA, SIMON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVILES, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AVIS BOX                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14945 HEADSVILLE RD
FRANKLIN, TX 77856


AVISON, MARTHA PIERRE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AVISTA TECHNOLOGIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 BOSSTICK BLVD
SAN MARCOS, CA 92069


AVITABILE, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AVNET, INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5400 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192




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Name of Counterparty                                                                                         Nature

AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD M BROWN
333 W WACKER DRIVE 17TH FLOOR
CHICAGO, IL 60606


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
907 N CROSSING WAY
DECATUR, GA 30033


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
907 NORTH CROSSING WAY
DECATUR, GA 30033


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ROMEO JOSEPH JR MONZONES
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101




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Name of Counterparty                                                                                         Nature

AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


AVOCET ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD M BROWN
333 W WACKER DRIVE 17TH FLOOR
CHICAGO, IL 60606


AVOLIO, GUIDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AVON PRODUCTS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


AVONDALE INDUSTRIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 RIVER ROAD
AVONDALE, LA 70094


AVRUCH, MORRIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AWC 1997 CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 KESTREL DRIVE
COLLEGEVILLE, PA 19426


AWC INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10610 NEWKIRK ST
STE 105
DALLAS, TX 75220


AWC INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
421 WELLS BRANCH PKY STE 300
PFLUGERVILLE, TX 78660


AWC INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6655 EXCHEQUER DR.
BATON ROUGE, LA 70809




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Name of Counterparty                                                                                             Nature

AWC INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 974800
DALLAS, TX 75397-4800


AWC INCORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 KESTREL DRIVE
COLLEGEVILLE, PA 19426


AWWADIEH, ANDREA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AXEL JOHNSON,INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 SPRING ST
NEW YORK, NY 10012


AXELSEN, ALBERT JR--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


AXELSON, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 INDUSTRIAL BLVD. EAST
LONGVIEW, TX 75602


AXELSON, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8130 INDIAN PEAKS AVE
ERIE, CO 80516


AXELSON, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JIM MCMICHAEL,SR.VP,GENL. MGR.
PO BOX 2427
LONGVIEW, TX 75606


AXEMAN ANDERSON CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 E MOUNTAIN AVE
WILLIAMSPORT, PA 17702


AXIALL CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 ABERNATHY ROAD NE SUITE 1200
ATLANTA, GA 30328


AXON SOLUTIONS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15 EXCHANGE PLACE
SUITE 730
JERSEY CITY, NJ 07302




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Name of Counterparty                                                                                             Nature

AXON SOLUTIONS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CARL E. AILARA JR., ESQ.
15 EXCHANGE PLACE, SUITE 730
JERSEY CITY, NJ 07302


AXTELL ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
308 OTTAWA
AXTELL, TX 76624


AXWAY INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEP 0469
PO BOX 120469
DALLAS, TX 75315-0469


AYBAR, ARTHUR R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OLIMPIA AYBAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AYER, RAYMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AYER, VERNON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AYERS, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AYERS, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AYERS, DIANE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

AYERS, GARY V.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


AYERS, JOANN H. DECEASED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


AYERS, ROBERT LEWIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AYERS, RONALD BRUCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


AYERS, TOMMY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AYERS, TONY L                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


AYME, ANNA C                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AYRES, DIANE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


AYUSO, JOSEPHINE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AZ CO INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
806 VALLEY ROAD
MENASHA, WI 54952


AZCARATE, JOHN DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

AZIMA DLI                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 TRADE CENTER DRIVE STE 4610
WOBURN, MA 01801


AZKO NOBEL PAINTS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOOPER REED & MCGRAW PC
ANDY LANDRY
1300 POST OAK BOULEVARD, SUITE 2000
HOUSTON, TX 77056


AZKO NOBEL PAINTS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOOPER REED & MCGRAW PC
KEN RHODES
1300 POST OAK BOULEVARD, SUITE 2000
HOUSTON, TX 77056


AZLE ISD                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 ROE STREET
AZLE, TX 76020


AZLIN, JERALDENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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AZLIN, LARRY D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


AZROCK INDUSTRIES INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1209 ORANGE ST
WILMINGTON, DE 19801


AZROCK INDUSTRIES INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2728 SUMMER STREET (77007)
PO BOX 3145
HOUSTON, TX 77253


AZROCK INDUSTRIES INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
JOHN W. BRIDGER
4900 WOODWAY DRIVE, SUITE 1200
HOUSTON, TX 77056


AZTEC INDUSTRIES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1031
HUMBLE, TX 77347




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

AZTEC MANUFACTURING CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 668
400 NORTH TARRANT
CROWLEY, TX 76036


AZTEC MANUFACTURING CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 668
GOWLEY, TX 76036


AZTEC PROMOTIONAL GROUP LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2815 MANOR RD
AUSTIN, TX 78722


AZZARO, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


AZZINARO, ANGELO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


AZZONE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


B & B ENGINEERING & SUPPLY CO. INC.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, TORI S. LEVINE
BANK OF AMERICA PLAZA, 901 MAIN STREET
DALLAS, TX 75202


B & L PORTABLE TOILETS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1371
GEORGETOWN, TX 78627


B & M MACHINE CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 RAIDER DRIVE
HURST, TX 76053




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Name of Counterparty                                                                                             Nature

B & M MACHINE COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1528
HURST, TX 76053


B G CONSTRUCTION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3226 FM 1997 N
MARSHALL, TX 75670


B S TIRE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
203 NEWTON ST
THORNDALE, TX 76577


B&M RE INVESTMENTS, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
832 HOWELL DRIVE
COPPELL, TX 75019


B.F.I. INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 550
OCEAN SPRINGS, MS 39564


B3 SYSTEMS INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3208 106 SPOTTSWOOD ST
RALEIGH, NC 27615


BABAN-LOUTSENKO, LIUBA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BABBINI, QUINTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BABCOCK & WILCOX CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13024 BALLANTYNE CORPORATE PLACE,
SUITE 700
CHARLOTTE, NC 28277


BABCOCK & WILCOX POWER GENERATION GROUP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JENNIFER SCHREIBER
20 SOUTH VAN BUREN AVE
BARBERTON, OH 44203




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

BABCOCK & WILCOX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 19TH ST. SW
ROUTE 5
PARIS, TX 75460


BABCOCK & WILCOX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWER GENERATION GROUP INC
20 SOUTH VAN BUREN AVENUE
PO BOX 351
BARBERTON, OH 44203-0351


BABCOCK & WILCOX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWER GENERATION GROUP INC
CARE OF PNC BANK
PO BOX 643957
PITTSBURGH, PA 15264-3957


BABCOCK BORSIG POWER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 MCKEON ROAD
WORCESTER, MA 01610


BABCOCK BORSIG POWER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1021 MAIN STREET
HOUSTON, TX 77002


BABCOCK BORSIG POWER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


BABCOCK BORSIG POWER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF PAUL E. HAMILTON, PLLC
HAMILTON, PAUL EDWARD
7557 RAMBLER RD, STE. 700
DALLAS, TX 75231


BABECO FABRICATION & MACHINING                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 CARLOS PARKER BLVD NW
TAYLOR, TX 76574


BABECO                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 CARLOS PARKER BLVD NW
TAYLOR, TX 76574




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Name of Counterparty                                                                                              Nature

BABERS, WILLIAM CURTIS (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BABNEAU, RONALD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BACA COUNTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
741 MAIN ST STE 2
SPRINGFIELD, CO 81073


BACA, SERAPIO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BACASTOW, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BACCARI, DOMINIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BACHAND, JOYCE A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BACHMEIER, ELTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BACKMAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BACKO, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

BACON, GLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BACOTE, HARRIETTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BACOU DALLOZ DBA WILLSON SAFE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 DOUGLAS PIKE
SMITHFIELD, RI 02917


BADALIAN, TATOUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BADE, JOHN L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BADER, FRANKLIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BADGER COMPANY, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGOLIS EDELSTEIN-PITTSBURGH RICHARD
BLISS, 525 WILLIAM PENN PLACE
SUITE 3300
PITTSBURGH, PA 15219


BADGER DAYLIGHTING CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 REMITTANCE DR
STE# 3185
CHICAGO, IL 60675-3185


BADGER DAYLIGHTING CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8930 MOTORSPORTS WAY
BROWNSBURG, IN 46112-2519


BADGER MINING CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
409 SOUTH CHURCH ST
BERLIN, WI 54923




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Name of Counterparty                                                                                             Nature

BADGER PAPER MILLS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 WEST FRONT STREET
PO BOX 149
PESHTIGO, WI 54157


BADGER SHEET METAL LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7203 GENE STREET
PO BOX 518
DEFOREST, WI 53532


BADHAM INSULATION COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1909 FIRST AVE S
BIRMINGHAM, AL 35233


BADMAN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BADMAN, TODD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BADOLATO, JANET P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH A BADOLATO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAER, CARL F                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAEZ, MANUEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAEZ, OSCAR MORALES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAEZA, OSWALDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAEZ-FALCON, MONSERRATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BAGANSKI, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAGGETT, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAGGETT, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAGGETT, KENNETH, JR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAGGETT, PATRICIA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAGGETT, RAY (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAGGETT, SIDNEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAGGOTT, DONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAGLEY, TERRY E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAGWELL, MANCEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BAGWELL, THOMAS LEROY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BAHLMANN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAHMANI, SINA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAHMANI, SINA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAHNER, JOHN C, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAHR, JENNIE DECEASED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BAIER, NATHALIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAIL, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILER, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAILEY VALVES INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
264 W FALLBROOK AVE
FRESNO, CA 93711




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BAILEY, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, ARLEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, BLAKE H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BAILEY, CROWE & KUGLER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEL D. BAILEY
901 MAIN STREET
SUITE 4600
DALLAS, TX 75202


BAILEY, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, FLOSSIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM JAMES BAILEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BAILEY, FRED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, GAINES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, GARY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BAILEY, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, IRENE S, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HUBERT P BAILEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAILEY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, JANET                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BAILEY, JEROME B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BAILEY, JERRY M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAILEY, JESSE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAILEY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAILEY, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, MARGUERITE C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MATTHEW BAILEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAILEY, MARY R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, PATRICIA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J BAILEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

BAILEY, PHILLIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, RAYBURN I                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BAILEY, RAYMOND D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAILEY, REID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, RENITA E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILEY, RONALD R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, RONALD RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, WALTER L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, WILLIAM H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAILEY, WILLIAM R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                             Nature

BAILLIE, THOMSON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAILLY, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BAILLY, ROBERT P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BAILOR, GEORGE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIN, DAVID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAINE, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAIR, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAIR, HELEN, FOR THE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF EDWARD A BAIR JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, MICHAEL H, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NANCY L BAIR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BAIR, MICHAEL H, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H BAIR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, RONALD G, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, STANTON W, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, STANTON, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAIR, WARREN B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAIR, WILLIAM E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAIRD, JERRY A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAJAJ, SUDHA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKAY, RONALD JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

BAKER HUGHES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2929 ALLEN PARKWAY, SUITE 2100
HOUSTON, TX 77019


BAKER HUGHES OILFIELD OPERATIONS INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2929 ALLEN PARKWAY, SUITE 2100
HOUSTON, TX 77019


BAKER HUGHES OILFIELD OPERATIONS INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
JAMES R. WETWISKA
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200


BAKER HUGHES OILFIELD OPERATIONS,INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4740
HOUSTON, TX 77210-4740


BAKER JR., PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER PETROLITE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HALINA CARAVELLO,AGENT
12645 WEST AIRPORT BLVD
SUGAR LAND, TX 77478


BAKER HUGHES OILFIELD OPERATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2929 ALLEN PARKWAY, SUITE 2100
HOUSTON, TX 77019


BAKER, ANDREW T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BAKER, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BAKER, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BAKER, BILLY WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LUFF LAW FIRM, PLLC
ATTN: PATRICK LUFF
1350 BANDERA HIGHWAY, STE 803
KERRVILLE, TX 78028


BAKER, C W                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKER, CAROL ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LUFF LAW FIRM, PLLC
ATTN: PATRICK LUFF
1350 BANDERA HIGHWAY, STE 803
KERRVILLE, TX 78028


BAKER, CHRISTOPHER L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, DEANNA D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKER, ELEANOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, FREDDIE M, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BAKER, GINA M                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, HERMAN F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER, HUBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAKER, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAKER, JANE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER, JEREMIAH M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BAKER, KATRESSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER, KIM AARON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER, LARRY G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

BAKER, LOIS ELAINE (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BAKER, LUKE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAKER, MICHAEL TERRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BAKER, NELSON CONWAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BAKER, RAYMOND WALTER, JR. (DECEASED)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BAKER, RONALD CECIL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BAKER, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAKER, RUSSELL L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


BAKER, SIDNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BAKER, STACY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKER, THOMAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKER, THOMAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAKER, WILLIAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAKERS PRIDE OVEN CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1307 N WATTERS, STE 180
ALLEN, TX 75013


BAKITAS, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BAKKER, AALT P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAKSINSKI, JAMES J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALABAN, CLAIRE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALASKI, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BALDERAS, FELIX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALDERRAMAS, EDDIE M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALDINO, LOUIS J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BALDOR ELECTRIC COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5711 R.S. BOREHAM, JR. ST
PO BOX 2400
FORT SMITH, AR 72901


BALDUF, GEORGE E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BALDWIN METALS CO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1901 W COMMERCE ST
DALLAS, TX 75208


BALDWIN, BROOKS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALDWIN, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALDWIN, JOSEPH T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BALDWIN, LENWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALDWIN, RICHARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17628 HEADSVILLE RD
THORNTON, TX 76687


BALDWIN, RICHARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALDWIN, SAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALDWIN, THERESA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALDWIN, WILLIAM W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALES, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALES, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALINSKY, EDWARD C , JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD C BALINSKY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALISTRIERI, DOMINIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BALKO, JAMES, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW BALKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BALKUS, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALL, BLAINE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALL, BRYAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALL, GEORGE A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BALL, JAMES E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALL, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALL, MARION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALL, ORIN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BALL, RICHARD L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BALL, STUART A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALLANTI, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BALLANTINE, MERLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLANTINI, RONALD ROY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLARD, BARBARA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E BALLARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALLARD, BOBBY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALLARD, CHARLES E. A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BALLARD, CHRISTOPHER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BALLARD, FRANKIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALLARD, J.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLARD, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLARD, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLARD, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALLARD, SARAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALLARD, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALLARD, ZANNIE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BALLENGER, CHARLES G.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BALLENGER, CHIQUITA D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BALLENGER, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALLENT, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BALLETTO, PHILLIP C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BALLEW, FLORENCE GALLAMORE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALLEW, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BALLIET, HAROLD S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD H BALLIET
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BALLINGER ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
802 CONDA AVE
BALLINGER, TX 76821


BALLINGER MEMORIAL HOSPITAL DIST.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLINGER MEMORIAL HOSPITAL
PO BOX 617
BALLINGER, TX 76821


BALMER, DOROTHEA SHAWN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BALMER, WALTER W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                        Nature

BALOGH, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BALTIMORE AIRCOIL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7600 DORSEY RUN RD
JESSUP, MD 20794


BALUTA, JOSEPH W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BALZANO, JACK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAMBERG, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAMERT SEED CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1897 COUNTY RD 1018
MULESHOE, TX 79347


BAMFORD, ARNOLD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAMMES, KAREL L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANACH, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BANACH, HELEN M. AND GORDON BANACH                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANAHAN, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAND, MYER                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BANDA, ELISEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANDELL, LOUIS, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BANDMAN, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BANDY, MASON E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANDY, MASON E, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANDYOPADHYAY, DIPANKAR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANDZI, SIMON, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BANERJEE, DEEPAK DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BANIK, IRENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BANISTER, JO ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANK OF AMERICA CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N TRYON ST #170
CHARLOTTE, NC 28202


BANK OF AMERICA CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGLINCHEY STAFFORD
12TH FLOOR, 601 POYDRAS STREET
NEW ORLEANS, LA 70130


BANKES, JOHN F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BANKO, EDWARD STANLEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKO, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, ANNIE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, ANNIE L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, GENE A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BANKS, HERBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, J C                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, JAMES H, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, JANET ANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANKS, ROBERT DEAN (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANNER, THEODORE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BANNISTER, BILLY D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BANNON, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BANTEL, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BANTI, ROMOLO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BAPST, ROBERT JAMES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAPTISTE, ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARAGONA, DOMINIC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARAJAS, ALFRED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARANEK, FRANK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBA, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBACCIA, DOMINICK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARBARA LANCASTER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4605 E PARKER RD
ALLEN, TX 75063


BARBARITA, JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARBATELLI, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBATO, ANTHONY M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARBELY, JAMES C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARBER, BURTON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBER, DARRELL T.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARBER, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBER, JAY DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBER, LOUIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARBER, RICHARD BEN, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARBER, SHANNON N.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBER, SUSAN F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBER, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBERIS, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBI, ARTHUR                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBIC, LAWRENCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARBIERI, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARBOUR, JAMES L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARBOUR, JAMES LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARBOUR, MICHAEL STEPHEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARBOUR, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARBUSH, DOMINIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARCAVAGE, ALFRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARCHLETT, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARCLAY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4301 GREENBRIAR DR
STAFFORD, TX 77477


BARCLAY, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARCLAY, LINDA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMER C ARNOLDIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARCLAY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARCLAY, WILLIAM S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

BARCLAYS BANK PLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BARCLAYS CAPITAL
200 PARK AVENUE, 4TH FLOOR
ATTN: ROBERT COPPOLA
NEW YORK, NY 10166


BARCO INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
940 HENSLEY LN
WYLIE, TX 75098


BARCO PUMP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1130 BURT ST
SHREVEPORT, LA 71107


BARCO PUMP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
940 HENSLEY LANE
WYLIE, TX 75098


BARD MANUFACTURING CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1914 RANDOLPH DRIVE
BRYAN, OH 43506


BARDESSI, PEDRO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARDIN GREENE APARTMENT LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
510 BERING 230B
HOUSTON, TX 77057


BARE, WENDELL WAYNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAREFIELD, NEWELL ROBERT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARELA, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARELA, SANDRA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARENFANGER, SCOTT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BARESE, SALVATORE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARFIELD, BONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARFIELD, JESSE HORTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARFIELD, LEROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARFOOT, CHAUNCEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARFOOT, HARLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BARGER, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARGERON, DIANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARICEVIC, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BARIL, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARKEE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARKER CHEMICAL CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 S. SENOUR AVE.
CHICAGO, IL 60608


BARKER CHEMICAL CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
653 EAST 154TH STREET
SOUTH HOLLAND, IL 60473


BARKER, ELIZABETH A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C BARKER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARKER, JACKSON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARKER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARKER, JIMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARKER, JOHN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARKER, KELLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BARKER, SHAWN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARKER, TAYLOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARKLE, ROGERS JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARKSDALE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARLAR, PERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARLETTA, SERGIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARLOW, BRIAN ANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARLOW, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARLOW, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARNA, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BARNDOLLAR, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARNER (DECEASED), LAWRENCE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNER, NANCY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES GROUP INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
123 MAIN STREET
BRISTOL, CT 06010


BARNES, DAVID J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BARNES, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNES, DENNIS WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARNES, GILBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARNES, GLORIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, GRADY REGINALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, HAROLD D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, HAROLD W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BARNES, HELEN V.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, HUBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNES, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, JIMMY RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARNES, JIMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, JOHNNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BARNES, LEROY J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARNES, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, MAC L, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, MARILYN V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARNES, MARYETTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARNES, MAX D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARNES, PATRICIA LEDFORD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNES, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNES, SHIRLEY HOLLAND                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, AILEA CHARITA, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LERMON BARNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARNETT, ANN D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, BRIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, CAROL DYER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARNETT, DALE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARNETT, GILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, JACK W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, KEVIN H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BARNETT, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, LAURIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNETT, PHILIP B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARNETT, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARNETT, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNETT, VERNON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARNETT, WENDELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, WESLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETT, WYLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNETTE, JAMES WILLIAM, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARNEY, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNEY, DOROTHY M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARNEY, IVAN M.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BARNEY, VICTOR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARNHART, DENNIS O.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNICK, DANIEL R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNOSKY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BARNSCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 541087
DALLAS, TX 75354-1087


BARNUM, SAMUELLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARNUM, SAMUELLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


BAROID INDUSTRIAL DRILLING PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1675
HOUSTON, TX 77251


BARON, ERNEST                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARON, KENNETH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARON, LOUIS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

BARON, OSCAR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARONE, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARONE, EDITH B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARONE, ORESTE P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARONICH, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARONIE, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAROWSKI, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARR ENGINEERING COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4700 WEST 77TH ST
MINNEAPOLIS, MN 55435


BARR, CAROL S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BARR, DONALD J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARR, MALISSA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARR, PAUL W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARR, RONALD L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARR, RUSSELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRA VICENCIO, PEDRO MANUEL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRACK, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARRE, THEODORE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARRENTINE, LECIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRERA, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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Name of Counterparty                                                                                         Nature

BARRETT SR., DONALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, ALLEYNE L.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


BARRETT, CARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRETT, CLAUDE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRETT, GILBERT J., JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARRETT, JAMES WILLIAM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRETT, LIBBY KOSHIOL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, LINDA J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BARRETT, LISA SHANNON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, PAUL C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARRETT, RAYMOND, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK N BARRETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARRETT, RENA AND RAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRETT, WILLIAM G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRICK, WILLIAM S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRIENTEZ, OPAL M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRIENTOS, ROBINSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRINGER, CLIFFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRON III, THEOPHILUS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON SR, THEOPHILUS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BARRON, ALICE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, BOBBIE (GREEN)                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, CAMERON & NICHOLAUS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


BARRON, CARL HARVEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, CHARLIE III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARRON, GEOFFERY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, GEOFFERY RODNEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, GEOFFERY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRON, JEAN S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARRON, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRON, MATTHEW RAMON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, MICHAEL J. SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BARRON, MICHAEL SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


BARRON, MICHAEL SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


BARRON, SUSANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, THEOPHILUS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARRON, THEOPHUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARRON, TRESHONDREA & CRYSTAL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


BARRON, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARROS, GONZALO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARROW, CHARLES V.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BARROW, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRY E WALTER SR CO IND AND A                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARRY, HERBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRY, KEVIN P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARRY, KITTY C, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J BARRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARRY, MELVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARRY, NORMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARRY, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARSCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 460
ADDISON, TX 75001-0460


BARSCO                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1715 E YOUNG ST
LONGVIEW, TX 75602


BARSCO                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 460
ADDISON, TX 75001




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARSH, MARION                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARSY, ROBERT E, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTCH, JANET, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE BARTCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTEE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTELL, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARTELL, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARTELLS, EJ                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTHELMESS, DONALD F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARTHELMESS, EDWARD J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BARTHOLD, WILLIAM C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTHOLOMEW, DAVID T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARTH-SHAUM, SANDRA M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTICK, DAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTLE, BRUCE P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BARTLE, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTLE, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTLETT, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BARTLETT, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARTLETT, HUGH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BARTLETT, JOHN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BARTLETT, LARRY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BARTLETT, WILLIAM ALLEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTLEY, JIMMY F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTMAN, RALPH, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTNIK, KAZIMIERZ                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARTOLETTA, DANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTOLETTA, KRISTINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTOLETTA, NICOLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTOLETTA, SAMUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTOLOTTI, JOHN M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARTON THERESA E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BLOSSOM HOME CARE
3709 COYE OAK DRIVE
MODESTO, CA 95355


BARTON, CLIFTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BARTON, JOHN F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BARTON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTON, JUNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BARTON, LLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARTON, LUCINDE ANN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD H BARTON III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTON, MICHAEL W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTON, NIP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BARTON, THERESA E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARTON, THERESA E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARTON, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BARTON, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARTON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BARTOS, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, MITCHELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, RENEE A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BARTOS, SHIRLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, THOMAS A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTOS, THOMAS M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BARTSCH, BRAD, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BARWICK, DONALD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARWICK, JANICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BARWICK, KEITH ALFRED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BARWICK, LEWIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARWICK, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BARWICK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BARZAR, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASALDUA, PHILLIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASCOB, SHONA JEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BASDEN, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASEL NEAL DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
312 W 9TH ST
ROANOKE, LA 70581


BASF CATALYSTS LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 MIDDLESEX AVE
ISELIN, NJ 08830


BASF CATALYSTS LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER BOTTS LLP
WALTER LYNCH
ONE SHELL PLAZA, 910 LOUISIANA STREET
HOUSTON, TX 77002-4995


BASF CATALYSTS LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801




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Name of Counterparty                                                                                               Nature

BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT D. ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CAMPUS DRIVE
FLORHAM PARK, NJ 07932


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CAMPUS DRIVE
HOUSTON, TX 77002


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 CONTINENTAL DRIVE NORTH
MOUNT OLIVE, NJ 07828


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE
CLAYTON, MO 63105


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


BASF CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
JOSEPH C ORLET
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

BASF CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
STEVEN BERT BESHORE
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


BASF CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW LEPORE, SVP & GEN. COUN.
100 PARK AVENUE
FLORHAM PARK, NJ 07932


BASF CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAN BERNARDO,AGENT
3000 CONTINENTAL DRIVENORTH
MT. OLIVE, NJ 07828-1234


BASF CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW LEPORE, SVP & GEN. COUN.
100 PARK AVENUE
FLORHAM PARK, NJ 07932


BASFORD, NATHAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASHER, BRITTANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BASHER, RANDALL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BASHER, REGINALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BASIC INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3026 LOCUST STREET
ST LOUIS, MO 63103


BASIC RESOURCES INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MR. JEFF WALKER
1601 BRYAN ST.
DALLAS, TX 75201-3411




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Name of Counterparty                                                                                          Nature

BASIC INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3026 LOCUST STREET
ST LOUIS, MO 63103


BASINGER, NORMAN R.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BASKIN, KELLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BASS, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BASS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASS, SHIRLEY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BASS, THEODORE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


BASSELL, BENJAMIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BASSELL, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BASSETT, CURTIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BASSHAM, CAROLYN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BASTA, FRANK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BASTFIELD, MARSHA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD T BASTFIELD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BASTIAS, GONZALO GEORGE ROBERTO MARCHANT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BASTROP COUNTY TAX OFFICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 579
BASTROP, TX 78602-0579


BASTROP COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
803 PINE, ROOM 112
PO BOX 577
BASTROP, TX 78602


BASTROP ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
906 FARM STREET
BASTROP, TX 78602


BASTROP-TRAVIS ESD #1                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
214 FOHN RD
RED ROCK, TX 78662


BASUALTO, ERIC ENRIQUE CARRASCO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BATEMAN, DAVID S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BATES, BEN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BATES, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, DONALD LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, EARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, FLORENCE, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF EDWARD BATES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BATES, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, GEORGE P, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES F BREWER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

BATES, GRANVIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BATES, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, JEFF                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATES, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATES, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATES, WILLIE R. AND DOROTHY BATES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATEY, ROBERT M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATH IRON WORKS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 WASHINGTON STREET, STOP 1
BATH, ME 04530


BATHICH, MAHMOUD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATISTA, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATKE, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BATKE, ROBERT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATSEDIS, SPIROS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BATTAGLIA, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATTAGLIA, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATTAGLIA, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BATTEN, JERRY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTERTON, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTERY ASSOCIATES, INCORPORATED                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 COURTHOUSE PLAZA NE
PO BOX 8801
DAYTON, OH 45401-1880


BATTISTA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BATTLE, BOBBY, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BATTLE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATTLE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTLES, LARRY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BATTLES, LARRY WILLIAM, SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTLES, RODNEY E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTS, ALICE J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BATTS, DONNIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BATTS, IVEY DUDLEY, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BATTS, JOAN A, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LESTER BATTS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BATTY RAPLEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RANDY L GORI
GORI JULIAN & ASSOCIATES
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


BATYKEFER, GARY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUER, ARNOLD C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, BERTRAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUER, BETTY J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAUER, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUER, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUER, JASON R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, JOSHUA A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BAUER, KIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, KIMBERLY E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES L ECKERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUER, LAWRENCE, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BAUER, LORI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, ORVILLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUER, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUER, ROBERT MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BAUER, WILLIAM H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BAUER, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUER, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUGHER, DANNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUGHER, SANDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUGHMAN, GLENN R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUGHMAN, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUGHMAN, MICHAEL L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BAUGHMAN, WILLIAM & CLARA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUGHMAN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUGHN, WESLEY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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BAUGUESS, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUM, JENNAE M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAUM, WAYNE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUMAN, DAVID A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAUMAN, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUMANN, JODI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAUMANN, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAUMANN, MICHAEL C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDRICK F RICHARDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAUMER, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAUS, NORBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BAUTISTA, BILLY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAW JR, VIRGIL L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAW VIRGIL L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1706 FAXON AVE
MEMPHIS, TN 38112


BAW, JOHN H                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAWROSKI, THOMAS G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAXLEY, MILTON, JR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON R BAXLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAXTER CLEAN CARE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
114 E NIBLICK ST
LONGVIEW, TX 75604


BAXTER OIL SERVICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6454 INDUSTRIAL RD #100
BEAUMONT, TX 77705


BAXTER RUBBER CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 SPIELMAN RD
FAIRFIELD, NJ 07004


BAXTER, CHARLES AND ANNA BAXTER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BAXTER, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAXTER, STEVEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAY INDUSTRIES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2929 WALKER DR
GREEN BAY, WI 54311


BAY LTD A BERRY COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1414 CORN PRODUCT RD
CORPUS CHRISTI, TX 78409


BAYAOU VISTA DEVELOPMENT CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
856 BONITA
HITCHCOCK, TX 77563


BAYDA, JOSEPH F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BAYER CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 BAYER ROAD
PITTSBURGH, PA 15205-9741


BAYER CROP SCIENCE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 TW ALEXANDER DR
RESEARCH TRIANGLE PARK, NC 27709


BAYER CROP SCIENCE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BAYER CROPSCIENCE INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILELE N ST JULIEN
KUCHLER POLK SCHELL WEINER & RICHESON,
LLC, 1615 POYDRAS STREET STE 1300
NEW ORLEANS, LA 70112


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
RAGT CSC LAWYERS INC SERVICE
221 BOLIVAR
JEFFERSON CITY, MO 65101


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE COMPANY
221 BOLIVAR
JEFFERSON CITY, MO 65101


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


BAYER CROPSCIENCE LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


BAYER MATERIALSCIENCE, LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 BAYER ROAD
PITTSBURG, PA 15205




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BAYER, MARTIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAYER, PHILLIP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BAYES, JANE L, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES M DEBELIUS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYES, JANE L, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUISE C DEBELIUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYHI, ANDRE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAYLE, EDITH I                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYLE, RICHARD P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYLESS AUTO SUPPLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
357 W COMMERCE ST
FAIRFIELD, TX 75840




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Name of Counterparty                                                                                             Nature

BAYLESS, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BAYLOR COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JEANETTE HOLUB, COUNTY
TAX ASSESSOR - COLLECTOR
110 N. WASHINGTON
SEYMOUR, TX 76380


BAYLOR HEALTH CARE SYSTEM                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CB RICHARD ELLIS
2625 ELM STREET, SUITE 208
ATTN: KEN LAWSON
DALLAS, TX 75226


BAYLOR HOSPITAL DISTRICT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 W MCLAIN STREET
SEYMOUR, TX 76380


BAYLOR, LINWOOD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYNE, LINDA M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD PRETTYMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BAYOU PETROLEUM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
60825 HIGHWAY 1148
PLAQUEMINE, LA 70764


BAYPORT CHEMICAL SERVICE, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
245 FREIGHT STREET
WATERBURY, CT 06702


BAYSHORE STATION WHARF                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



BAYSINGER, CAROLYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BAYSINGER, DORA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAYSINGER, JESSIE MAE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAYSINGER, JESSIE MAE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAYSINGER, VOURLICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAYTANK (HOUSTON) INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12211 PORT ROAD
SEABROOK, TX 77586


BAYTOWN VALVE & FITTING CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BEAUMONT FLUID SYSTEMS
TECHNOLOGIES
DEPT 235 PO BOX 4346
HOUSTON, TX 77210-4346


BAYWAY LUMBER INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 ASHTON AVE
LINDEN, NJ 07036


BAZILE, ROY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BAZYK, BRYAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BAZZELL, FEATO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BCS STOP & GO POTTIES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5449
BRYAN, TX 77805-5449


BEACH STREET CONSULTING INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5625 FOXCROFT WAY
COLUMBIA, MD 21045




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BEACH, KATHRYN M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY R MILLS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEACH, WALTER R.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BEACHAM, DEREK K.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEACHAM, JAMES WESLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BEACHAM, WRENN LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BEACON AVIATION INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
194 COUNTY ROAD 2950
ALBA, TX 75410


BEACON TRAINING SERVICES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1229 MOHAWK TRL
RICHARDSON, TX 75080-3924


BEAL, CLARENCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEALE, AVA D                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BEALE, ELBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEALEFELD, FREDERICK H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BEALEFELD, FREDERICK HENRY, JR.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEALEFELD, JANIS LEE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT BEALEFELD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEALICK, BARRY F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEALL, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEALMEAR, MARY JOANN, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL BRAGG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEAM, ADAM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAM, RONALD K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BEAN, BEAN & BROTHERS, L.L.P.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANK M. BEAN
820 GESSNER ROAD
SUITE 1500
HOUSTON, TX 77024


BEAN, JOHN S                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEAN, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAN, WALTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAN, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEARD, CURTIS WADE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEARD, HUEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEARD, JACOB W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEARD, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BEARD, LEE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEARD, RAYMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEARD, RENE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEARD, THOMAS R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BEARD, WILLIAM S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD KAVANAGH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEARDEN, JESSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEARDEN, LORA LEE (SCHEMELIA)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEARDEN, LORA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEARMAN, ALBERT J, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEARS, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

BEASLEY, BILLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


BEASLEY, CARLA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASLEY, CHERYL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASLEY, EMMA LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASLEY, GARY O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASLEY, WYLIE V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASON WILLINGHAM, L.L.P.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK WILLINGHAM
808 TRAVIS, STE 1608
HOUSTON, TX 77002


BEASON, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASON'S, JERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEASTROM, LES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEAUBIEN, GILBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEAUCHAMP, IDA LORENE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

BEAUCHAMP, THOMAS P                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BEAUCHENE, THOMAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAUDOIN, ROGER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAUDOIN, WALTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAULIEU, DONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAULIEU, EDWARD, JR--EST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BEAULIEU, HENRI                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAUREGARD, RICH J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BEAUSOLEIL, ROLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAUVAIS, BARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAVEN, DARRELL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEAVER, BRYAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAVER, DENNIS RANDALL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BEAVER, GENE V.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BEAVERS (HOPKINS), NANCY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEAVIS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEAZER EAST INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 OXFORD CENTER
#3000
PITTSBURGH, PA 15201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 OXFORD CENTER
#3000
PITTSBURGH, PA 15201


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
436 SEVENTH AVENUE
PITTSBURGH, PA 15219


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CROUCH & RAMEY LLP
JASON WALKER FATHEREE
1445 ROSE AVE, SUITE 2300
DALLAS, TX 75201


BEAZER EAST INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
SERVICE COMPANY 221 BOLIVAR
JEFFERSON CITY, MO 65101


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DECICCO, GIBBONS & MCNAMARA, P.C.
14 EAST 38TH STREET
NEW YORK, NY 10016


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BEAZER EAST INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


BEAZER EAST INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


BEAZER EAST INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANOR OAK ONE, STE 200
1910 COCHRANE RD
PITTSBURGH, PA 15220


BEAZER EAST INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 OXFORD CENTER
PITTSBURG, PA 15201


BEAZER EAST INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 ABERNATHY ROAD SUITE 260
ATLANTA, GA 30328


BEAZER EAST INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEGAL DEPARTMENT
301 GRANT STREET
PITTSBURG, PA 15219-6403


BEAZER EAST, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE OXFORD CENTER, SUITE 3000
PITTSBURG, PA 15219-6401


BEAZLEY, FRANCES T, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL W BEAZLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BEBBER, PATRICIA MARIANNE WARD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEBOUT, HERBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BECER, MICHAEL F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECHTEL CONSTRUCTION CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 BEALE ST BSMT 1
SAN FRANCISCO, CA 94105


BECHTEL CONSTRUCTION CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL CONSTRUCTION CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL BAILEY, GEN. COUN.
50 BEALE STREET
SAN FRANCISCO, CA 94105-1895


BECHTEL CONSTRUCTION CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVENS BALDO FREEMAN & LIGHTY, LLP
RAYMOND LYN STEVENS
550 FANNIN, SUITE 700
BEAUMONT, TX 77701


BECHTEL CORPORATION AND NATIONWIDE INSURANCE                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONNA LONDREGAN, ESQ.
500 ENTERPRISE DRIVE, 5TH FLOOR
ROCKY HILL, CT 06067


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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Name of Counterparty                                                                                               Nature

BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
818 W SEVENTH ST
LOS ANGELES, CA 90017


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EVERT WEATHERSBY HOUFF
DAVID L BOOHAKER
3405 PIEDMONT RDSTE 200
ATLANTA, GA 30305


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EVERT WEATHERSBY HOUFF
IVAN A GUSTAFSON
3455 PEACHTREE RD NESTE 1550
ATLANTA, GA 30326


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


BECHTEL CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL ENERGY CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BECHTEL ENTERPRISE HOLDING INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL ENVIRONMENTAL INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL EQUIPMENT OPERATIONS INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 BEALE ST BSMT 1
SAN FRANCISCO, CA 94105-1895


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING, GOSDA & ARREDONDO, L.L.P.
ROBERT DAVID ARREDONDO
24 GREENWAY PLAZA, STE 525
HOUSTON, TX 77046


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL BAILEY, GEN. COUN.
50 BEALE ST BSMT 1
SAN FRANCISCO, CA 94105-1895




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL BAILEY, GEN. COUN.
50 BEALE STREET
SAN FRANCISCO, CA 94105-1895


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVENS BALDO FREEMAN & LIGHTY, LLP
RAYMOND LYN STEVENS
550 FANNIN, SUITE 700
BEAUMONT, TX 77701


BECHTEL GROUP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
124 WEST CAPITOL AVE, SUITE 1900
LITTLE ROCK, AR 72201


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3965
SAN FRANCISCO, CA 94119


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL BAILEY, GEN. COUN.
50 BEALE STREET
SAN FRANCISCO, CA 94105-1895


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREGORY CONOR FLATT, ATTORNEY AT LAW
301 WILLOW CREEK DRIVE
EDWARDSVILLE, IL 62025


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3965
SAN FRANCISCO, CA 94119


BECHTEL INFRASTRUCTURE CORP.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL NATIONAL INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL PERSONNEL & OPERATIONAL SERVICES INC.                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL POWER CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15740 SHADY GROVE ROAD
GAITHERSBURG, MS 20877


BECHTEL POWER CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BECHTEL POWER CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVENS BALDO FREEMAN & LIGHTY, LLP
RAYMOND LYN STEVENS
550 FANNIN, SUITE 700
BEAUMONT, TX 77701


BECHTEL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 3965
SAN FRANCISCO, CA 94119




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Name of Counterparty                                                                                             Nature

BECHTEL, ALMA M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND C BECHTEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECHTEL, JOAN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BECHTEL, MARY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAROLD H BECHTEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECHTEL, NORMAN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECHTEL, NORMAN, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF DIANE C BECHTEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECK, ALLEN SHERWOOD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BECK, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BECK, GEORGE R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECK, HERMAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BECK, JOEL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BECK, LASCA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECK, LEROY M, SR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECK, PATRICIA M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT A BECK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECK, ROBERT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BECK, VERNNON HAROLD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


BECK, WALTER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BECKER, CALVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BECKER, DONALD J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BECKER, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BECKER, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BECKER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BECKER, MARCUS M--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BECKER, MILLICENT P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKER, MILLICENT P, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM BECKER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKER, PATRICIA S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKER, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BECKER, TYLER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECKERT, ROBERT D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECKETT CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
38251 CENTER RIDGE RD
NORTH RIDGEVILLE, OH 44039


BECKHAM, JAMES WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BECKLEY, MAUREEN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECKLING, SARAH (NEE LOPEZ)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECKMAN, CONNIE LOU, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES BECKMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKMAN, GARY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BECKNER, DAWN D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE L BECKNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BECKNER, SHARON ANN SANDERS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BECKVILLE ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4398 SH 149
BECKVILLE, TX 75631


BECKWORTH WRIGHT, TOMEKA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECTON, DANA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BECUDE, RAYMOND L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEDARD, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEDCO ENTERPRISES, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
540 EARL GENE ROAD
CANTONMENT, FL 32533


BEDELL, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BEDELL, TERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEDFORD, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 FOREST RIDGE DRIVE
BEDFORD, TX 76021


BEDFORD, GLAYDENE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEDFORD, ROBERT MAXEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BEDICS, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEDNAR, BEATRICE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD B BEDNAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEDNAR, IRENE P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEDNAREK, TAMARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEE LINE PROMOTIONS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1779
ATHENS, TX 75751


BEEBE, JOSEPH R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEEBE, RAYMOND D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BEECHEM EQUIPMENT INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1209 BUSINESS HWY 6 NORTH
MARLIN, TX 76661


BEECHER, JOHN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEELEY, FREDERICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BEE-LINE PROMOTIONS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1779
ATHENS, TX 75751


BEERS, ALFRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEERS, DAWSON H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEERS, GEORGE W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEERS, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BEERS, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEERY, NIELS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BEES, JAMES E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEESLEY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEESLEY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BEGONJA, RAJKO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEHAR, ISADORE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEHM, DANIEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEHNKEN, DIANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEHNKEN, DIANE, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BEHR, LUTZ                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEHRENS, GEORGE FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEHRENS, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEHRINGER HARVARD BURNET PLAZA LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17300 DALLAS PARKWAY, SUITE 1010
ATTN: RYAN PRESLEY
DALLAS, TX 75248




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Name of Counterparty                                                                                             Nature

BEHUN, MICHEAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEIER, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BEILKE, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEISSEL, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELAN, JOHN G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELANGER, MAURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELCASTRO, BARBRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


BELCASTRO, CARL ANTHONY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BELCH, JOAN A, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E GARDNER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BELCHE (MORILLAS), BARBARA L                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELCHER, BRICE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELCHER, CHESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELCHER, CLIVE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


BELCHER, MARGARET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELDEN WIRE & CABLE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 N BRENTWOOD BLVD
15TH FL
ST LOUIS, MO 63105


BELDEN WIRE & CABLE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COSLELLO, SHEA & GAFFNEY, LLP
44 WALL STREET
NEW YORK, NY 10005


BELDEN, JOHN R.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BELDEN, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELDING, MICHAEL MCBRIDE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BELFIELD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELFORD, WILLIAM C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELGRAVE, NICHOLAS G.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELIAN, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


BELIC, ZDENKO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BELINKSY, SHIRLEY (SANDY)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELINSKY, SHIRLEY (SANDY)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELJAN, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELKO, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELL & GOSSETT CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8200 NORTH AUSTIN AVENUE
MORTON GROVE, IL 60053




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BELL & GOSSETT CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE PLLC
L. HAYES FULLER III
400 AUSTIN AVE, SUITE 800
WACO, TX 76701


BELL & GOSSETT CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE PLLC
NEAL E. PIRKLE
400 AUSTIN AVE, SUITE 800
WACO, TX 76701


BELL & GOSSETT PUMPS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8200 NORTH AUSTIN AVENUE
MORTON GROVE, IL 60053


BELL ASBESTOS MINES LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
696 RUE MONFETTE EAST
THETFORD MINES, QC G6G 7-G9
CANADA

BELL ASBESTOS MINES LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
STEVEN T WALSH
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


BELL ASBESTOS MINES LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15TH FLOOR
ST LOUIS, MO 63101-1313


BELL CO. ROAD AND BRIDGE DEPARTMENT                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
702 W. AVENUE O
BELTON, TX 76513


BELL COUNTY WATER CONTROL & IMPROVEMENT DISTRICT #1                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JERRY ATKINSON
201 S. 38TH STREET
KILLEEN, TX 76543


BELL COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 E. CENTRAL AVENUE
PO BOX 768
BELTON, TX 76513




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Name of Counterparty                                                                                             Nature

BELL HELICOPTER TEXTRON INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


BELL HELICOPTER TEXTRON INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 482
FT. WORTH, TX 76101


BELL, AMELIA LORRAINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELL, ARTHUR E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELL, CALVIN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELL, CARLA ANN WEAVER KROUT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELL, DONALD LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BELL, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELL, EVELYN AILEEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BELL, GREGORY FLOYD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, HARRY A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELL, HOWARD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELL, JACK                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELL, JAMES III                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELL, JAMES MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BELL, JANICE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, JOHN W                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, KAITLYN ANNETTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, KATEISHA T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, KATEISHA T.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BELL, LESTER JUNIOR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BELL, LINDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELL, MICHAEL W.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BELL, NATHAN B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, OSCAR CARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, PAUL W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELL, RONNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, SUE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, THOMAS JUSTIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELL, THOMAS M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BELL, WILLIAM F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BELLA CO.                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT THACKSTON
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


BELLAH, GUY MAXWELL, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELLAH, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BELLAMY, JOHN F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELLAMY, LUKE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELLAMY, ROBERT W, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELLELO, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELLETSKY, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BELLETTI, STEVEN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STEFANO BELLETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELLEVIEW CONDO ASSOCIATES I LTD                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1660 S STEMMONS FWY STE#100
LEWISVILLE, TX 75067


BELLEVIEW CONDO ASSOCIATES I LTD                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
320 W MAIN ST STE 100
LEWISVILLE, TX 75057-3878


BELLINE, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELLINGER, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BELLINI, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELLINO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BELLISTRI, DONNA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARMELO A PAGLIA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BELLOFATTO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BELLOMY RESEARCH INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 SUNNYNOLL COURT



WINSTON-SALEM, NC 27106


BELLS ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1550 OLE AMBROSE ROAD
BELLS, TX 75414


BELLUZZI, ALDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BELMAS INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 DALLAS AVE
HOUSTON, TX 77002


BELMORE, ROBERT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BELSHAW, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CLAPPER PATTI SCHWEIZER & MASON
2330 MARINSHIP WAY, SUITE 140
SAUSALITO, CA 94965


BELT, REBECCA, INDVIDUALLY AND AS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELTON ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 269
400 N. WALL ST.
BELTON, TX 76513


BELTON, THERESA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BELUSH, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                         Nature

BEMBENEK, CLIFFORD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEMIS, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEMIS, FRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEN HOGAN CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2180 RUTHERFORD ROAD
CARLSBAD, CA 92008-7328


BEN MEADOWS COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5275
JANESVILLE, WI 53547-5275


BEN MEADOWS COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 74771
CHICAGO, IL 60694-4771


BEN SHEMPER AND SONS, INCORPORATED                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 466
HATTIESBURG, MS 39403


BENARD, DALE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BENBROOK, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
911 WINSCOTT ROAD
BENBROOK, TX 76126


BENCINA, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BENCKENSTEIN & OXFORD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3535 CALDER AVE., SUITE 300
PO DRAWER 150
BEAUMONT, TX 77704


BENDA, DEBORAH A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD C MCCANN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENDAS, DOROTHY, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ANDREW BENDAS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENDEL, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENDER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENDER, DELORES D, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT WYATT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENDER, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENDER, HUGH J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                               Nature

BENDIX CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HONEYWELL INTERNATIONAL
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


BENDIX CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCDERMOTT WILL & EMERY LLP
ALLIED SIGNAL INC
340 MADISON AVE
NEW YORK, NY 10017


BENENATE, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENES, ANTHONY M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BENETECH INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2245 SEQUOIA DR STE 300
AURORA, IL 60506-6220


BENETECH INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4426 PAYSPHERE CIRCLE
CHICAGO, IL 60674


BENIOT, MELISSA SCHEXNAYDER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENITEZ, EDY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENITEZ, JONATHAN ANDREW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENITEZ, MONICA SHANTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BENITEZ, RACHEL NICOLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENITEZ-CANALES, JUAN JOSE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENJAMIN F SHAW CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE B. SWIFT LAW FIRM, P.C.
BRIAN T. SWIFT
480 N. SAM HOUSTON PKWY EAST, SUITE 232
HOUSTON, TX 77060-3528


BENJAMIN MOORE & COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 PARAGON DRIVE
MONTVALE, NJ 07645


BENJAMIN, CLEOPHUS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENJAMIN, HELEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BENJAMIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BENJAMIN, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENKA, STEPHEN M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BENKE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENKERT, THOMAS C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT AUTO SUPPLY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3141 SW 10TH ST
POMPANO BEACH, FL 33069


BENNETT, ALLEN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, AMBER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, ANGEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, ANTHONY L , SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, CALVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNETT, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, DALE B WEBSTER, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DALE L WEBSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, DARLENE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BENNETT, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BENNETT, EDNA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNETT, JESSE J, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, JOHN F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, JOHN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BENNETT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNETT, JUANITA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD SPACEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, MILTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BENNETT, MILTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, RAYMOND EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, REGINA A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES METTILLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, RENE G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNETT, RODGER A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, ROMEL E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, RONA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON D BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BENNETT, VIRGINIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BENNETT, WESLEY E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BENNETT, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETT, WILLIAM, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNETTS, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNICK, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNISON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENNY BOTTITA JR., BENNY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENNY W ROUNDTREE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



BENOIT, ROLAND                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENSINGER, KEVIN A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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Name of Counterparty                                                                                         Nature

BENSINGER, RONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BENSINGER, SANDRA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BENSON, BENJAMIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BENSON, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENSON, DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENSON, GEORGE E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BENSON, HUBERT DONALD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BENSON, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENSON, MARK A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

BENT COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
725 BENT AVENUE
LAS ANIMAS, CO 81054


BENT, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENTIVEGNA, SCOTT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BENTLEY, CLARENCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENTLEY, LEONARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENTLEY, RALPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENTLY NEVADA CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FILE NO 42058
LOS ANGELES, CA 90074-2058


BENTON, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENTON, WILLIAM DAVID                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BENWAY, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BENZOLINE ENERGY COMPANY AND CRUM & FORSTER                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGANN, BARLETT & BROWN
ROBERT ENRIGHT, ESQ.
111 FOUNDERS PLAZA, SUITE 1201
EAST HARTFORD, CT 06108


BERAN, JAMIE, SELF & SIMILARLY SITUATED                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BERARD, ARTHUR R--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BERCAW, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERCAW, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BERDEAUX, WOODROW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEREI, EDWARD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BERENTSEN, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERG, LEON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BERG, MICHAEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERG, ROBERT E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERGEN BRUNSWIG CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4000 METROPOLITAN DRIVE
ORANGE, CA 92668


BERGEN POWER PIPE SUPPORTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 10
484 GALIFFA DR
DONORA, PA 15033-1383


BERGEN POWER PIPE SUPPORTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 10
PO BOX 461
DONORA, PA 15033


BERGER, JOSEPH R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERGER, KEVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERGER, PHILLIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BERGER, ROBERT F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERGER, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGER, THOMAS E, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERGER, WALLACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERGERON, AUGUSTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGERON, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGERON, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGERON, PIERRE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BERGERS, JON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGESEN, ROBERT B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERGHORN, JAMES W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERGHORN, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERGIN, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGMAN, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERGMAN, WILLIAM BRYANT (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BERGMAN, WILLIAM EARL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BERGMAN, WILLIAM, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERGUM, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BERGWIN, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERISH, ROSEMARY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM M CANDIA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERKEY, LEWIS M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERKSHIRE HATHAWAY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3555 FARNAM STREET, SUITE 1440
OMAHA, NE 68131


BERLEY, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERLEY, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERLEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERLINE, PATRICIA V, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON MCDADE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BERNAL INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2960 TECHNOLOGY DRIVE
ROCHESTER HILLS, MI 48309-3588


BERNARD, JOSEPH CELESTINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERNARD, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERNARD, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNARD, RUDOLPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERNARD, RUDOLPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BERNARD, VERNON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNARDI, DANIEL JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERNARDO, ALFREDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BERNARDO, CLEMENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERNAZANI, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNDT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNER, GERALD P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERNHARDT, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNIER, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERNSTEIN, KAREN F, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID R FISHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERNSTEIN, MELVIN S, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR W HAMPSHIRE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BERO, DAVID G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BERRETTA, RUDY J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BERREY III, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BERREY, LOENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERREY, STACEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERRIDGE MANUFACTURING                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6515 FRATT ROAD
SAN ANTONIO, TX 78218


BERRIOS, RUBEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERROS, JAMES Z                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BERROS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERROS, SUSAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERRY CONTRACTING LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
735 DEGRAVELLE RD
MORGAN CITY, LA 70380




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Name of Counterparty                                                                                              Nature

BERRY Y & V FABRICATORS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2450 SOUTH 32ND STREET WEST
BILLINS, MT 59102


BERRY, BUFFORD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRY, CHARLES E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERRY, CHARLES, E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERRY, CHERYL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERRY, FLOYD W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BERRY, FLOYD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BERRY, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRY, JERRY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERRY, KAREN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

BERRY, LLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRY, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRY, ROBERT A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BERRY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRY, STERLING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERRYHILL, RAY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BERSANO, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERTA, VINCENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BERTAGNOLI, EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BERTE, VINCENT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERTEL, ELIZABETH R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERTHIAUME, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERTI, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERTINO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERTOLINI, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERTONI, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BERTRAM C HOPEMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JEFFREY M BURG
COURINGTON, KIEFER & SOMMERS, L.L.C.
PO BOX 2350
NEW ORLEANS, LA 70176




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Name of Counterparty                                                                                              Nature

BERTRAND, BERTHA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM F MONTOUR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BERTRAND, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BERTRAND, NANCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BERTUGLIA, FRANK JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERTUZZI, BRUNO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BERUMEN, ANDREW, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BERWIND RAILWAY SERVICE CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 428
SCOTTSVILLE, TX 76888


BESCHE, DEBORAH K, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN SOBIESKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                           Nature

BESHARIAN, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BESHEAR GROUP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5859 ROYAL CREST DR
DALLAS, TX 75230


BESHORE, MARLIN J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BESS, JOHN C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BESS, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BESSEL, JERROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BESSENT, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEST BUY BUSINESS ADVANTAGE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TIFFANY OFFUTT, RECOV. COORDINATOR
8650 COLLEGE BLVD
OVERLAND PARK, KS 66210


BEST BUY BUSINESS ADVANTAGE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 731247
DALLAS, TX 75373-1247


BEST BUY FOR BUSINESS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7601 PENN AVE SOUTH
RICHFIELD, MN 55422-3645




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Name of Counterparty                                                                                             Nature

BEST INVESTMENT COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4219 OAK ARBOR DRIVE
DALLAS, TX 75233


BEST MECHANICAL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 623
SEAGOVILLE, TX 75159


BEST PUMPWORKS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 846334
DALLAS, TX 75284-6334


BEST SERVICE TANK WASH, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROUTE 2
BOX 54
CONWAY, TX 79068


BEST, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEST, DAN KEEVER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BEST, ERNEST H. DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BEST, HENRY DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BEST, HOMIE P, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE C BEST
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BEST, RICHARD A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BETANZOS, ANIBAL CESAR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BETCHEL GROUP INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT ARREDONDO
2401 FOUNTAIN VIEW DRIVE, SUITE 920
HOUSTON, TX 77057


BETHEA, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BETHEA, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BETHKE, PETER A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BETHLEHEM BAPTIST CHURCH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 W CLEMENTS STREET
ODESSA, TX 79763-4602


BETHUNE, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BETKER, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


BETNCOURT, BYRON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BETSKER, LUTHER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BETSY ROSS FLAG GIRLS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11005 GARLAND RD
DALLAS, TX 75218


BETTER, WILLIAM E--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BETTIS, ARTHUR L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BETTROSS, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BETTS, WILLIE CLYDE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BETTY CLEVELAND, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BETZ LABORATORIES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4636 SOMERTON ROAD
TREVOSE, PA 19053


BETZ, LARRY J.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BETZNER, BEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BEUERLEIN JR., LOUIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEUTEL, EDWIN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEVERLEY, RONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BEVERLY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEVERLY, JEARLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEVIS, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BEWICK, RUSSELL T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BEWIND RAILWAY SERVICE CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CIRA CENTRE, 2929 ARCH STREET
PHILADELPHIA, PA 19104-2808


BEXLEY, KERRY, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BEXLEY, PAUL E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BEZANSON, DONALD A, SR--EST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BF GOODRICH RUBBER COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2730 W TYVOLA RD
CHARLOTTE, NC 28217


BFI, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3151
HOUSTON, TX 77001


BH MANAGEMENT SERVICES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 LOCUST ST STE 790
DES MOINES, IA 50309


BHANDARI, VIJAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BHATIA, RAVI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BHOJANI, MOHMED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BHOJANI, MOHSIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BHP BILLITON OLYMPIC DAM CORP PTY LTD                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DOERNER SAUNDERS DANIEL ANDERSON LLP
ATTN: SAM G. BRATTON II
TWO WEST SECOND ST, STE 700
TULSA, OK 74103-3117


BI INFORM INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2114 ASHWOOD AVE
NASHVILLE, TN 37212


BIAGIOLI, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BIALE, JOHN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIALE, RICHARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIANCA, ANTHONY P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIANCHERIA, ANTEO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIANCO, ANGELO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BIANCO, JAMES A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIANCO, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIANCO. ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIAR, JERRY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                             Nature

BIASETTI, VICTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIBEAU, JAMES M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHEIN LAW CENTER, LTD.
ATTN: BENJAMIN P. SHEIN, ESQ.
121 S. BROAD ST., 21ST FLOOR
PHILADELPHIA, PA 19107


BIBEAU, JOHN M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHEIN LAW CENTER, LTD.
ATTN: BENJAMIN P. SHEIN, ESQ.
121 S. BROAD ST., 21ST FLOOR
PHILADELPHIA, PA 19107


BIBLE, BYREL D, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIBLE, JERRY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIBOW, RUDOLPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BICHARD, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BICHELL, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BICK, JOE R                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                             Nature

BICKFORD, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BICKFORD, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BICKFORD, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BICKNELL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BICKWERMERT, JOSEPH E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BI-COUNTY WATER SUPPLY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848
PITTSBURG, TX 75686


BIDDLE, SCOTT K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BIDDLE, SCOTT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIDDLECOME, JAMES R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BIDEN SR, TIMOTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIDEN, GARY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIDEN, WILLIAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIDINGER, BARBARA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIDINGMAIER, MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BIEDERER, ROLAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIEDRZYCKI, DEBORAH A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIEDRZYCKI, JOHN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BIEDRZYCKI, THADDEUS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

BIEGEL, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIEGLER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIEHAYN, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIEHLE, CARTER G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BIEHLE, CRAIG, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BIEHLE, LARRY WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIEHLE, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BIEHLE, PEGGY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIEHLE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BIEL, ROBERT A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BIELER, ROBERT G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIELLI, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIELSS, DANNY R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIELZ, WILFRED D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIENZ, CARL N                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIERIG, MORRIS ARTHUR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIERSDORFER, MARVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BIG BLUE PROPERTIES, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
719 SCOTT AVE, STE 532
WICHITA FALLS, TX 76301-2609


BIG SPRING ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
708 EAST 11TH PLACE
BIG SPRING, TX 79720


BIG SPRING, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 NOLAN STREET
BIG SPRING, TX 79720




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BIG THREE INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
710 FM 1845 S
LONGVIEW, TX 75603


BIG THREE INDUSTRIES,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 POST OAK BLVD.
HOUSTON, TX 77056


BIG WEST OIL LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1104 COUNTRY HILLS DRIVE, SUITE 500
OGDEN, UT 84403


BIGGS, BRENDA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BIGGS, DAVID O.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BIGGS, LARRY A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BIGGS, NELVIN REGINA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIGGS, RODNEY RAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIGGS, THOMAS EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BIGHAM, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BIGLEN, THERESA A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL A MARINO SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIGLEY, FLOYD H , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERTHA R BIGLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIGLEY, FLOYD H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BI-INFORM, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEECH TISHMAN FUSCALDO & LAMPL LLC
ATTN: PATRICK W. CAROTHERS, ESQ.
525 WILLIAM PENN PLACE, 28TH FL.
PITTSBURGH, PA 15219


BIKE, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BILGER, DENNIS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BILLING, JACQUELINE L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES S TRACEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BILLINGS, BILLY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BILLINGS, BOBBY EUGENE, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BILLINGS, PAULA ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BILLINGS, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BILLINGS, WILLIAM PAUL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BILLINGS, WILLIAM S,                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BILLINGSLEA, JAMES P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BILLINGSLEY, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BILLINGSLEY, ROBERT F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BILLOT, PEDRO G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BILLY COX TRUCKING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BILLY CRAIG SERVICE STATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
214 W 1ST ST
MOUNT PLEASANT, TX 75455




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                       Nature

BILLY JOE NOLAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DWIGHT L NOLAN
1342 S ORANGE DR
LOS ANGELES, CA 90019


BILODEAU, RENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BILSKI, DANIEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIMA, BARNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIMI, EDWARD R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BINETTE, ALBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BINGHAM, DONNA MAE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BINGHAM, JOHNNY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BINGHAM, SAMMY JOE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BING-ZAREMBA, CARLOS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

BINION, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BINKLEY, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BINKLEY, FREDERICK V--EST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BINNS, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BINSTOCK, LEE ANN FBO THEODORE OST                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


BIO-ECOLOGY SYSTEMS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2775 COOK'S CREEK
DALLAS, TX 75234


BIO-ECOLOGY SYSTEMS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2775 COOKS CREEK
DALLAS, TX 75234


BIOLETTI, EZIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BIONDO, SALVADOR F, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH B BIONDO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIRCH, JULIE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRCH, STELLA ELIZABETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRCHFIELD, CHARLES, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BIRCHFIELD, EDDIE WA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRCHFIELD, RUBY KATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRCHMEIER, JAMES C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BIRD CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110


BIRD CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD PLLP
BRITTANY ANNE YOUNG
1001 HIGHLANDS PLAZA DR., SUITE 400
ST LOUIS, MO 63104


BIRD CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BIRD CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


BIRD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
7700 FORSYTH BLVD., SUITE 1800
ST. LOUIS, MO 63105


BIRD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA M. PASCARELLA
PASCARELLA, DIVITA, LINDENBAUM
2137 ROUTE 35 STE 290
HOLMDEL, NJ 07733


BIRD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MURPHY & LANDON
1011 CENTRE ROAD, SUITE 210
WILMINGTON, DE 19805


BIRD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT T RYLEE
1721 WILSON TOWER
CORPUS CHRISTI, TX 77001


BIRD, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIRD, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRD, VIRGIL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIRDETT, SIDNEY W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BIRDSELL, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRDSONG, BRUCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRDVILLE ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6125 EAST BELKNAP ST
HALTOM CITY, TX 76117


BIRI, MARK A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIRKES, BRETT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRKHIMER, JENNIFER R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRKHOLZ, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIRMINGHAM, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRMINGHAM, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRMINGHAM, MARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRMINGHAM, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRMINGHAM, THOMAS R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

BIRNBAUM, FREDERICK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIRNBAUM, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIRNEY, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BIRO, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIRT, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISCEGLIA, MICHAEL J.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BISCEGLIE, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISCHAK, FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISCHOFF, JOSHUA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BISCHOFF, TRUYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISESTI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISH, ESTHER A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISH, JACK E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, BRANDON H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, CARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISHOP, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISHOP, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BISHOP, EDWARD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BISHOP, ERNEST H--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BISHOP, FREDDY M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                       Nature

BISHOP, JACK A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISHOP, MATTHEW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, PEGGY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, REBECCA CAROL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISHOP, RONNY R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, SHANNON R                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, SHEILA KAY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BISHOP, WALTER PHILLIP, JR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BISHOP, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISHOP-KAUFMAN, AUDREY J, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLIE L BISHOP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BISIGNANI, BERNADINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BISIGNANI, BERNADINE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE BISIGNANI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BISKUP, GARY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BISMARCK, FREDERICK A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BISOGNO, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BISSELL INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BILL BRENNAN, GEN COUNSEL
2345 WALKER AVE NW
PO BOX 1888
GRAND RAPIDS, MI 49501




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BI-STATE RUBBER INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 608
FENTON, MO 63026-0608


BISTODEAU, DARRELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BISZICK, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BITETTO, FRANK W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BITTERMAN, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BITTERS, RALPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BITTLE, MARY E, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A BITTLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BITTNER, CLARENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BITTNER, RAYMOND JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                                Nature

BITTORIE, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BITZER, CAROL L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIVINS, HATTIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIVONA, JOHN B                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BIXBY, WARREN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BIXLER, BLAINE S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BIXLER, MICHAEL B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BJ PROCESS AND PIPELINE SERVICES CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4601 WESTWAY PARK BLVD.
HOUSTON, TX 77048


BJERKE, DONALD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAC INC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
195 W SPANGLER
ELMHURST, IL 60126




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Name of Counterparty                                                                                              Nature

BLACK & DECKER US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRUCE BATT, GEN COUNSEL
1000 STANLEY DRIVE
NEW BRITAIN, CT 06053


BLACK & VEATCH CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JENNIFER SHAFER, SENIOR ATTORNEY
1140 LAMAR AVE
OVERLAND PARK, KS 66211


BLACK & VEATCH CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 803823
KANSAS CITY, MO 64180-3823


BLACK, BEN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, BERNIE R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BLACK, DONALD L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACK, HAROLD D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BLACK, HERMAN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BLACK, JAMES J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                       Nature

BLACK, JAMES L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, JENNIFER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, JOHN C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACK, JOHNNY MOORE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BLACK, JON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, LISABETH W.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, MELODY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACK, RHONDA R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, ROBERT L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLACK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACKBURN, BRUCE E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES A LAWHORN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKBURN, DENNIS S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKBURN, JIMMY A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKBURN, JOHN EDWARD, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKBURN, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKBURN, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACKBURN, MIKE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKBURN, ROGER JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLACKBURN, TEENA BULLOCK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACK-CRAWFORD, ROSEMARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLACKHURST, LINDA J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JIM B DUNLOW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKLEY, MARK L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKMAN PLUMBING SUPPLY CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 SYLVAN AVENUE
BAYPORT, NY 11705


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1809 CENTURY AVENUE SW
CHICAGO, IL 60604


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1809 CENTURY AVENUE SW
GRAND RAPIDS, MI 49503


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


BLACKMER PUMP COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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Name of Counterparty                                                                                               Nature

BLACKMER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


BLACKMER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


BLACKMER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACKMON, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKMON, DONNA J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKMON, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACKMORE, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BLACK-MORSE, CORA ELIZABETH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKMUN, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BLACKSHEAR, CLYDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BLACKSTOCK, ROBBY LAVERNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKSTOEK, ROLAND B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWATER, CRAIG                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWATER, DAYTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWATER, HARVEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWATER, TAMMIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWELL INDEPENDENT SCHOOL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST., SUITE 640
ARLINGTON, TX 76010


BLACKWELL ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 HORNET DR
BLACKWELL, TX 79506


BLACKWELL, ALICE C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKWELL, CHOIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWELL, CLAUDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BLACKWELL, GWENDOLYN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKWELL, HAROLD B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BLACKWELL, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLACKWELL, OSTELL, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKWELL, ROXIE R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLACKWELL, RUSELL J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLACKWELL, RUTH ROWLAND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWELL, SAMUEL AUSTIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWELL, THEADA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BLACKWELL, WARREN LEWIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

BLACKWELL, WILLIE CLYDE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLACKWOOD, WILLIAM M.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAHUT, SANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAIN, ROY T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BLAIR, ADRIEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAIR, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAIR, ELMER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAIR, ERNEST H--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BLAIR, EUGENE E--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BLAIR, FRANCES DARLENE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAIR, MARK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLAIR, NORMAN W--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BLAIR, PETE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAIR, RON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAIR, VICTOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAIR, WILLIAM J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAIS, PATRICIA PIERRETTE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKE , L B, JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BLAKE, DONALD F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKELY, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKELY, WENDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLAKEMORE, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAKENEY, JIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKENEY, MACK A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAKENEY, RANDOLPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAKEY, JAMES L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLALOCK, DANIEL L, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLANCHARD, BILL DOUGLAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLANCHARD, HARVEY--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BLANCHARD, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

BLANCHETTE, RONALD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLANCO, ARISTEO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAND CONSTRUCTION CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
963 N FM 908
ROCKDALE, TX 76567


BLAND CONSTRUCTION CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
963 N FM 908
ROCKDALE, TX 76567


BLAND, BRENNAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAND, EDWIN BRENT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAND, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAND, JOHN BELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAND, OSCAR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAND, SARAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLAND, TEDDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAND, ZANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLANEY, R A                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANEY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLANK, JAMES W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BLANK, ROBERT C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLANKENSHIP, BETTY LUE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANKS, DIANE K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANKUMSEE, KENNITH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLANTON, CAROL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANTON, M                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLANTON, ZOYA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLASKIEWICZ, MAX                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAUCIAK, JOHN J, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLAUM, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAXTON, JULIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLAZEKOVICH, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLAZEVIC, JOSIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLAZO, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BLEACHER, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEDSOE, CHARLENE LAW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEDSOE, JULIUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLEDSOE, LLOYD CARSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLEDSOE, ROGER AND YOLANDA BLEDSOE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEDSOE, ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEDSOE, YOLANDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEICH, BRADLEY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEIVIK, LARS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BLENTECH CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1920 N. MEMORIAL WAY, SUITE 205
HOUSTON, TX 77077


BLENTECH CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1305 RYE ST.
HOUSTON, TX 77029




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Name of Counterparty                                                                                             Nature

BLEVINS, AUSTIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLEVINS, JAMES K SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEVINS, JAMES K, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEVINS, LOUIS CRAIG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEVINS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEVINS, RICKY G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLEVINS, WILLIAM T, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLICKENSTAFF, LINDA R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLIDY, RICHARD J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLIER, EDMUND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BLIESE, DALE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLIEVERNICHT, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLINCOE, FELIX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLINKA, HAROLD S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLINKA, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLISS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLISS, PHYLLIS GUNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLIZZARD, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLOCKER, DONALD KEITH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLOCKER, DONALD RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLOCKER, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BLOCKER, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLOCKSTON, JAMES, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLODGETT OVEN CO A DIVISION OF                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
44 LAKESIDE AVE
BURLINGTON, VT 05401


BLOHM, MARVIN H.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BLOK, ADRIAAN JOHAN, JR. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BLOMQUIST, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLOMQUIST, RAY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BLOMQUIST, VALERIE F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLOMQVIST, CAROLYN H. MIRANDA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BLOMQVIST, WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLONDEAUX, RAYMOND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLONEY, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLONIAREZYK, WILLIAM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLOODNICK, MARTIN JOACHIM                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BLOODWORTH, JAMES D                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BLOOMBERG BNA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOOK DIVISION
PO BOX 7814
EDISON, NJ 08818-7814


BLOOMBERG FINANCE LP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 416604
BOSTON, MA 02241-6604


BLOOMBERG LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
731 LEXINGTON AVE
NEW YORK, NY 10022


BLOOMER, LEIGH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLOSE, GREGORY DEAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLOSS, BARBRA LOA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BLOXHAM, JAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLOXOM, MAX                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLUBAUGH, NORMAN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BLUE AND SILVER ENERGY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 MAIN STREET STE 1575
HOUSTON, TX 77002


BLUE CROSS & BLUE SHIELD OF FLORIDA, INC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT, INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
SAINT PAUL, MN 55101


BLUE RIBBON ASSET MANAGEMENT LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7334 BLANCO ROAD, SUITE 200
SAN ANTONIO, TX 78216


BLUE RIDGE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10688 COUNTY ROAD 504
BLUE RIDGE, TX 75424


BLUE TEE CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 PARK AVENUE SOUTH
NEW YORK, NY 10003


BLUE, CATHRYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BLUE, CORNELIUS, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BLUE, HARRY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLUE, TERRY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BLUEBONNET ELECTRIC COOP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 240
GIDDINGS, TX 78942-0240


BLUEBONNET ELECTRIC COOPERATIVE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 729
BASTROP, TX 78602


BLUM ISD                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 S. AV 310 S. AVE. FE. F
BLUM, TX 76627


BLUM, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BLUNDA, VITO F.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BLUTREND LLC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2221 PEACHTREE ROAD
STE D 192
ATLANTA, GA 30309




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BLY, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BLYTHE, JONATHAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BMI REFRACTORY SERIVCE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18035 KRAUSE
WYANDOTTE, MI 48192


BMI REFRACTORY SERVICES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18035 KRAUSE
WYANDOTTE, MI 48192


BMT WBM INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8200 SOUTH AKRON STREET UNIT 120
CENTENNIAL, CO 80112


BMT WBM INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O A/P LISSA SHARP
8200 SOUTH AKRON ST. #120
CENTENNIAL, CO 80112


BMT WBM INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O A/P LISSA SHARP
8200 SOUTH AKRON ST. #120
CENTENNIAL, CO 80112


BMW CONTRUCTORS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1740 W MICHIGAN ST
INDIANAPOLIS, IN 46222


BMW OF NORTH AMERICA LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOWARD S. HARRIS, GENERAL COUNSEL
300 CHESTNUT RIDGE ROAD
WOODCLIFF LAKE, NJ 07677


BNL INDUSTRIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 INDUSTRIAL PARK RD
VERNON, CT 06066-2560




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Name of Counterparty                                                                                             Nature

BNL INDUSTRIES, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 INDUSTRIAL PARK RD.
VERNON, CT 06066


BNSF RAILWAY CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 LOU MENK DR.
FORT WORTH, TX 76131


BNSF RAILWAY COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2650 LOU MENK DRIVE
FORT WORTH, TX 76131


BO WATER FOREST PRODUCTS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 NEEBING AVE
THUNDER BAY, ON


BOAKYE, RANDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOAN, MARIE F, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT BOAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOARMAN, RALPH A, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOATWRIGHT, ERIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOAZE, FREIDA JOY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOB LILLY PROFESSIONAL PROMO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12850 SPURLING RD STE 100
DALLAS, TX 75230


BOBBIE JANE REESE ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOBBITT, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOBCAT OF LONGVIEW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1511 W MARSHALL
LONGVIEW, TX 75604


BOBECK, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOBELIS, ROMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOBKAT AG SERVICES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2516 HWY 271 NORTH
PITTSBURG, TX 75686


BOBLITS, DONNA M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK TUMA JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOBO, JAMES B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOBROWICZ, JACLYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOBROWIOR, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOB'S SEPTIC TANK SERVICE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16184 LAMEY BRIDGE ROAD
BILOXI, MS 39532




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOC GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


BOC GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


BOC GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY MOORE
KURT L RASMUSSEN
9200 WARD PKWY SUITE 400
KANSAS CITY, MO 64114


BOCA GROUP CENTRAL LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PARK AVE
NEW YORK, NY 10166


BOCCIO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOCCUZZI, HILDEGARDE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOCHESE, VINCENT P, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOCHNOWICZ, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOCK, DANIEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOCK, LARRY LEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BODDICE, AGNES E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM BODDICE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODDICE, AGNES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODDICE, DIANE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE F GROSS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODE, TERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BODEN, CARMELLA T, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CONSTANCE M BARSOTTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODENDORF, ROBERT W--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BODIE, EUTAW                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BODIFORD, CODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BODMAN, DOUGLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BODNAR, CHARLES B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODNARENKO, MARY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PETER BODNARENKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BODNEY, LAWONA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BODNEY, LAWONA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BODOSKY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BODY COTE THERMAL PROCESSING IN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
304 COX ST
ROSELLE, NJ 07203


BODYCOTE THERMAL PROCESSING, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12700 PARK CENTRAL DRIVE
SUITE 700
DALLAS, TX 75251


BOEDEKER, BENNIE AUSTELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOEDEKER, BILLIE ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOEHM, ALVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BOEHM, OTTO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOEHM, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOEING AEROSPACE OPERATIONS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTH RIVERSIDE
CHICAGO, IL 60606


BOEING AEROSPACE OPERATIONS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


BOEING AEROSPACE OPERATIONS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JADE MARGUERITE WANDELL
233 S WACKER DRIVE, SUITE 5500
CHICAGO, IL 60606


BOEING COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTH RIVERSIDE
CHICAGO, IL 60606


BOER, ANTHONY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ATTILIO BOER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOESEL, LOUIS W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOESL, JOHN A, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOGAN, W. BRYAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BOGAN, W.BRYAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOGART, CHRISTOPHER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOGDANOWICZ, STANLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BOGERS, CRAIG                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BOGGS, DOROTHY J, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAY P BOGGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOGGS, WALLAS B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOGNI, FRANK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOGOSIAN, SONIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOGUE, BARBARA ANN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J BOGUE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BOGUSKO, ALOYSIUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOHAN, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOHANNON, FLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOHANNON, MARVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOHLMANN, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOHN, ORSON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOHRER, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


BOHRER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BOIKE, BERNARD, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BOILER, JOHNSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOISE CASCADE CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 50
BOISE, ID 83728-0001


BOISE CASCADE CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER DONELSON BEARMAN CALDWELL &
BERKOWITZ PC, EDDY DE LOS SANTOS
1301 MCKINNEY STREET, SUITE 3700
HOUSTON, TX 77010


BOISE CASCADE CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER DONELSON BEARMAN CALDWELL &
BERKOWITZ PC, HARRY DANIEL SPAIN
1301 MCKINNEY STREET, SUITE 3700
HOUSTON, TX 77010


BOISE CASCADE CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KAREN E GOWLAND, GEN COUNSEL
1111 WEST JEFFERSON, SUITE 300
BOISE, ID 83728


BOISE CASCADE CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPAIN HASTINGS & WARD
H. DANIEL SPAIN
909 FANNIN, 39TH FLOOR
HOUSTON, TX 77010


BOISE CASCADE LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BEASON WILLINGHAM
R. MARK WILLINGHAM, DENISE MITCHELL
808 TRAVIS, SUITE 1608
HOUSTON, TX 77002


BOISE CASCADE LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOISE CASCADE LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


BOISSEAU, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOISVERT, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLANDER, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLANDER, WILLIAM H, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOODROW T BOLANDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLCAR, JOSEPH M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLD, FREDRIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLDEN, ALINE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLDEN, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLDT COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 419
APPLETON, WI 54912




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOLEN, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLEN, J.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLES, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLES, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLES, LARRY G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLEWARE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLICK, CLAYTON RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BOLICK, MARCIA EVE (EVE)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BOLIGITZ, STEPHEN M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BOLIN CONSTRUCTION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1307
COLORADO CITY, TX 79512


BOLIN CONSTRUCTION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 91
COLORADO CITY, TX 79512


BOLIN, RALPH, SR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLIN, WENDELL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLING, CANNON DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLIVAR, ALICIA C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLIVAR, CARLOS S.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLLBACH, WILLIAM G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BOLLIN, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLLINGER, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOLLINGER, GEORGIA ANN, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM G BOLLINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLLINGER, GLENDA E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WAYNE BOLLINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLLINGER, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLLINGER, PAUL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLLMAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLMER, DAVID L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLSTER, ALLAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLSTER, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLTE, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BOLTEN, MATTHEW W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLTON, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLTON, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLTON, ELIZABETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLTON, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLTON, JOHNNY G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLTON, JOHNNY JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLTON, LOIS M, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD J BOLTON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOLTON, NATASHA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOLTON, RAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOLTON, TAMI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BOLTON, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLTON, ULYSS (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOLTTECH MANNINGS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX L-3556
COLUMBUS, OH 43260-0001


BOLTTECH-MANNINGS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17575 ALDINE WESTFIELD RD
HOUSTON, TX 77073


BOLWERK, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLWERK, LEANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLWERK, MICHAEL P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLWERK, SALLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOLYARD, MICHAEL J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED R BOLYARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BON DURANT, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BON, PATRICIA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L BON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONA, REGINA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK C BONA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONADIO, NICHOLAS C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VINCENT J BONADIO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONADIO, VINCENT J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONAGURA, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONANNO, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BONANO, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOND, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOND, HELEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BOND, JOHN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOND, MIKE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOND, SIDNEY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BONDEX INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 DALE ROAD
CAMIRA , QUEENSLAND, 04300


BONDEX INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 DALE ROAD
CAMIRA
QUEENSLAND
04300


BONDEX INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JENKINS & MARTIN LLP
DAVID REYNARD
2615 CALDER, SUITE 500
BEAUMONT, TX 77702


BONDEX INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
DAVID D. REYNARD, JR.
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


BONDEX INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
DAVID REYNARD
2615 CALDER, SUITE 220
BEAUMONT, TX 77702




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BONDEX INTERNATIONAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
LYNN T. WALDEN
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


BONDEX INTERNATIONAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD, PLLC
T. LYNN WALDEN AND DAVID, REYNARD
2615 CALDER ST STE 220
BEAUMONT, TX 77702-1996


BONDS, AMANDA K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BONDS, FLOYD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONDS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONE, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONE, KENNETH R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONE, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONGFELDT, DEBBIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BONGFELDT, DEBBIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONGIOVANNI, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BONHAM ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1005 CHESTNUT
BONHAM, TX 75418


BONHAM, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
514 CHESTNUT ST.
BONHAM, TX 75418-3738


BONHAM, EDWARD JAMES (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BONILLA, ALEX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BONILLA, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONILLAS, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONIN, PAUL W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BONIN, ROLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BONITA GARDENS LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BONITA GARDENS
3410 FORDHAM ROAD
DALLAS, TX 75216


BONITO, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BONKOWSKI, SHIRLEY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J BONKOWSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONN, KENNETH J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BONNELL, ALAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONNER, BILLIE, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONNER, DEON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONNER, HERMANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BONNER, JOHN Y                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BONNER, MEARLE C, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ESTON BONNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONNER, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BONNER, RODNEY GARNETT, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONNERMAN, JAMES E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONNEY FORGE CORP.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14496 COGHAM PIKE; PO BOX 330
MOUNT UNION, PA 17066


BONNEY FORGE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14496 CROGHAN PIKE
MOUNT UNION, PA 17066


BONO, RICHARD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONOMO, JOHN JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONSAL, JERRY W.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONSIGNORE, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BONSIGNORE, SALVATORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BONVILLAIN, RAY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOOKER, ANJANETTE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L EPPS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOKER, AUDREY S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOKER, ELEASE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOKER, GARNET C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT P BOOKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOKER, GEORGE T., III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOOKER, KIMBERLY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRA N JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOMI INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842848



BOSTON, MA 02284-2848


BOONE, DANIEL W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BOONE, DAVID I                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONE, DONALD L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONE, GENEVA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAYWOOD BOONE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOONE, HUBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONE, JOHN WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONE, RICHARD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOONE, ROBERT FRANKLIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BOONE, RYLAND L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONE, WANDA KEZIAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOONSTRA, PETER L E, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOORE, LLOYD Z                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOOSE, RALPH R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOOTH, ALFRED L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOOTH, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOOTH, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1725 SANDY LAKE ROAD
CARROLLTON, TX 75006


BOOTH, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2310 MCDANIEL DR.
CARROLLTON, TX 75006


BOOTH, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 17858
PORTLAND, MA 04112


BOOTH, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOM KELLY, COMPTROLLER, AGENT
2007 ROYAL LANE
DALLAS, TX 75229


BOOTH, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOQUIST, DALE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BORAL MATERIAL TECHNOLOGIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 N E LOOP 410
SUITE 700
SAN ANTONIO, TX 78216


BORBOA, FRED C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORBOA, FRED C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORBOA, FRED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDELON, DANIEL R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BORDEN CHEMICAL CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3221 E RANDOLL MILL RD.
ARLINGTON, TX 76011


BORDEN CHEMICAL COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3221 E. RANDOL-MILL RD.
ARLINGTON, TX 76011


BORDEN CHEMICAL INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JOHN R. HENDERSON
BANK OF AMERICA PLAZA, 901 MAIN STREET
DALLAS, TX 75202


BORDEN CHEMICAL, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BORDEN, INC.
180 EAST BROAD ST.
COLUMBUS, OH 43215




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Name of Counterparty                                                                                             Nature

BORDEN, FLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDEN, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
277 PARK AVE.
NEW YORK, NY 10172


BORDEN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDENELLI, TONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDENKIRCHER, LOUIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDENSKI, ROBERT, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BORDERS, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORDINO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BORDNER, BARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BORDNER, LINDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORDNER-LARSON, TRICIA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORDONARO, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORELLI, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14TH FLOOR
DONALD W. WARD
14TH FLOOR, 100 NORTH BROADWAY
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUZANNE MARQUARDT
3850 HAMLIN ROAD
AUBURN HILLS, MI 48326


BORG WARNER MORSE TEC INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTH BROADWAY
14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER MORSE TEC INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORG WARNER MORSE TEC INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST
MARC GAFFREY
40 PATERSON ST, PO BOX 480
NEW BRUNSWICK, NJ 08903


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J. GASPAROVIC, GEN COUNSEL
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARSHALL DENNEHY WARNER COLEMAN & GOGGIN
888 VETERANS MEMORIAL HIGHWAY
HAUPPAUGE, NY 11787


BORG WARNER MORSE TEC INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUZANNE MARQUARDT
3850 HAMLIN ROAD
AUBURN HILLS, MI 48326


BORG WARNER SECURITY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J. GASPAROVIC, GEN COUNSEL
3850 W HAMLIN RD
AUBURN HILLS, MI 48326




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Name of Counterparty                                                                                           Nature

BORG, RAMONA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORGATTI, VINCENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORGES, RICHARD J. (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BORGIA, NICHOLAS J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BORGRA, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORGWANER MORSE TEC, INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BORGWARNER CORP
3850 HAMLIN ROAD
AUBURN HILLS, MI 48326


BORG-WARNER CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2520
BAY ST. LOUIS, MS 39521


BORGWARNER MORSE TEC INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J. GASPAROVIC, GEN COUNSEL
3850 W HAMLIN RD
AUBURN HILLS, MI 48326


BORING, MORRIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BORK, ARTHUR                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BORKMAN, ROBERT K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BORKOWICZ, LAWRENCE W, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W BORKOWICZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BORKOWSKI, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORNEMANN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORNSTEIN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOROFSKY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOROWICK, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BOROWY, TONYA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORRACCINO, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORRES, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


BORRIELLO, TAMA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORST, ROBERT G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BORTH, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORTH, SANDRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORTLIK, JOTHAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORTOLOZZO, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BORUM, WILLIAM J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                         Nature

BORY, GEORGE G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BORYS, CZARNOGORSKI                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BORZELL, DONNA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BORZELL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BOSCH BRAKE COMPONENTS LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4130 S MORGAN ST
CHICAGO, IL 60609


BOSCH REXROTH CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14001 SOUTH LAKES DRIVE
CHARLOTTE, NC 28273


BOSCH BRAKE COMPONENTS LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4130 S MORGAN ST
CHICAGO, IL 60609


BOSCHKE, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSCOLO, MARINO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOSLEY, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BOSMAN, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSNICH, MITCHELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSQUE COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 647
MERIDIAN, TX 76665


BOSSE, EMMA V                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOSSE, JOHN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOSSERMAN, FREDRICH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSSHART, BURNELL (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'BRIEN LAW FIRM
815 GEYER AVE.
SAINT LOUIS, MO 63104


BOSSONE, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BOSTEELS, LEON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSTIC, JAMES, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAULA J BOSTIC
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOSTIC, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOSTON, CORINE H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOSTON, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSTON, MICHAEL R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOSTWICK, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOSWELL, DEAN LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BOSWELL, RUFUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOTELHO, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOTELLO, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOTKIN, DONALD HOWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTSAY, FELIX A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTSFORD, DAWN A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTSFORD, GLENN ARNOLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTSFORD, GLENN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTSFORD, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOTTARY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BOTTCHER, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOTTO, JOSEPH A, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOTTOM CLEANERS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 74
BREMOND, TX 76629


BOUBOUIS, ANTHONY AND MORPHIA BOUBOUIS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOUCHARD, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUCHARD, BLAINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUCHARD, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUCHARD, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUCHE, LAURENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOUCHER, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUCHER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUDREAU, JEAN CLAUDE (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOUDREAU, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUDREAUX, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOUDREAUX, MARTY J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOUFFARD, KAREN E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMO J COMOTTO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOUFFARD, KAREN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELIZABETH COMOTTO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOUKNIGHT, CROMER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOULDEN, LEAH, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES H WILLS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOULDER COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1750 33RD STREET
BOULDER, CO 80301


BOUMATIC LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1919 S. STOUGHTON RD
MADISON, WI 53716


BOUNDARY EQUIPMENT CO LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10740 181 ST
EDMONTON, AB T5S 1K8
CANADA

BOUNDLESS NETWORK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 E 6TH STREET STE 300
AUSTIN, TX 78701


BOUNDS, ROLAND R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES K SCHMIDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOURNIAS, LAMBRINI, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILL BOURNIAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOURRET, NORMAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOUSQUET, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOUTELLE, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOUTIN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOVE, JOHN R, II                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWDISH, JOHN L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BOWEN DECD, M S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOWEN, CLAYTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOWEN, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWEN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWEN, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOWEN, MICHAEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWEN, MILTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWEN, MORGAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWEN, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWEN, TOMMIE E. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BOWEN, WILLARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWENS, MARILYN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWENS, MARILYN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWENS, T C & FANNIE BOWENS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWERS, DALE E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOWERS, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWERS, HARRY, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWERS, KURTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWERS, LEONARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWERS, MARK, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY J BOWERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWES, JOHN K                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOWIE-CASS ELECTRIC COOPERATIVE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 47
DOUGLASSVILLE, TX 75560


BOWLAND, GERALD D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOWLDEN, KEVIN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWLES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BOWLIN, NORMAN W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWLINE, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOWLING, DANNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWLING, GEORGE WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOWLING, KARMEL, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONNA M BOWLING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWLING, MAURICE G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BOWMAN, ARTHUR CLARK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOWMAN, BRUCE A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOWMAN, ISAAC F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWMAN, JEANETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOWMAN, JEANETTE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR G BOWMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOWMAN, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWMAN, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWMAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOWMAN, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOWMAN, SHARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOWMAN, TWYLA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOX INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 34666 PO BOX 39000
SAN FRANCISCO, CA 94139


BOX, AVIS                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOX, JOE (DECEASED)                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOX, LISA ANNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOX, LISA                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOY SCOUTS OF AMERICA PACK#790                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JESSE SMITH
PO BOX 1111
ROCKDALE, TX 76567


BOY SCOUTS OF AMERICA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MR RANDALL L KOPSA
PO BOX 152079
IRVING, TX 75105-2079


BOYCE-RISAVY, CYNTHIA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD BOYCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOYD, BARBARA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYD, BENJAMIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYD, BILLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, BILLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYD, CARY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, CORNELIUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BOYD, DAVID M.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, DAVID                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOYD, DELORES A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOYD, EDWARD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, FRANCES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, JEANNETTE M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARVIN L HALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOYD, JERRY W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYD, LARRY W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BOYD, ROY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, SANDRA, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H WAREHIME
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BOYD, SHANE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BOYD, SUSAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, WAYLON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, WHITLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYD, WILLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYEA, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYER, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, JERI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, KYLE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYER, RUFUS J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOYKIN, CHARLES M, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYKIN, HERBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYKIN, JOE F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BOYKIN, ROYCE D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYKIN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYLE, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BOYLE, ELEANOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYLE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYLE, MAURICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BOYLE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BOYLES GALVANIZING COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 W HURST BLVD
HURST, TX 76053


BOYLES, HANCEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOYNTON, WILLIE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BOYUM, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOZARD, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOZARTH, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOZEMAN, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BOZMAN, CAROLYN A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES B LOAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                          Nature

BOZZUFFI, RINALDO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BP AMERICA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


BP AMERICA PRODUCTION CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


BP AMERICA PRODUCTION CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


BP AMERICA PRODUCTION CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELFD RD.
WARRENVILLE, IL 60555


BP AMERICA PRODUCTION COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LOCKE LORD LLP
ATTN: C. DAVIN BOLDISSAR, ESQ.
601 POYDRAS STREET, SUITE 2660
NEW ORLEANS, LA 70130


BP AMERICA, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 WESTLAKE PARK BOULEVARD
HOUSTON, TX 77079


BP AMOCO CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELD RD.
WARRWNVILLE, IL 60555


BP AMOCO CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
JOSEPH BLIZZARD
1717 MAIN STREET, SUITE 3700
DALLAS, TX 75201




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Name of Counterparty                                                                                            Nature

BP AMOCO CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


BP AMOCO CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BP GLOBAL
RUPERT BONDY, GEN COUNSEL
150 WEST WARRENVILLE RD
NAPERVILLE, IL 60563


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BP GLOBAL
RUPERT BONDY, GEN COUNSEL
150 WEST WARRENVILLE RD
NAPERVILLE, IL 60563


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
DAVID MICHAEL HARRIS
10 SOUTH BROADWAY, SUITE 1800
ST LOUIS, MO 63102


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
LIZABETH MARIE CONRAN
10 SOUTH BROADWAY, SUITE 2000
ST LOUIS, MO 63102


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
LIZABETH MARIE CONRAN
10 SOUTH BROADWAY, SUITE 2000
ST LOUIS, MO 63102


BP CORPORATION NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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Name of Counterparty                                                                                            Nature

BP ENERGY COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BP NORTH AMERICA GAS & POWER
201 HELIOS WAY 5.142D, ATTN: CORPORATE
CREDIT SERVICES- GUARANTEES
HOUSTON, TX 77079-2678


BP LUBRICANTS USA INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 VALLEY RD
WAYNE, NJ 07470


BP PRODUCTS NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
167 US 46
FORT LEE, NJ 07024


BP PRODUCTS NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
28100 TORCH PARKWAY
WARRENVILLE, IL 60555


BP PRODUCTS NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


BP PRODUCTS NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


BP PRODUCTS NORTH AMERICA,INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELD RD.
WARRENVILLE, IL 60555


BP PRODUCTS NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
28100 TORCH PARKWAY
WARRENVILLE, IL 60555


BRABAZON, PETER F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRABHAM, LIGHTSEY M (LM), JR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BRABHAM, WILLIAM HENRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRACCHI, ANTONIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRACCO, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRACE-HARVEY, VICTOR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRACEWELL & PATTERSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRACEWELL & GIULIANI LLP
RICHARD C. DANYSH, 106 S. ST. MARY'S ST
800 ONE ALAMO CENTER
SAN ANTONIO, TX 78205-3603


BRACEY, JEREMIAH M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRACK, FRANK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRACKEN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRACKEN, JOSEPH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F BRACKEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRACY, KEITH JAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADBURY, JAMES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADBURY, JAMES RUSSELL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADBURY, MARGARET M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADDOCK'S AUTO TRIM & TINT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1227 N JEFFERSON
MOUNT PLEASANT, TX 75455


BRADEN, DOUGLAS AND REGINA BRADEN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRADFORD, BARBARA A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT G LESSIG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRADFORD, BOBBIE E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADFORD, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADFORD, EVERETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BRADFORD, GALEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADFORD, HARVEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADFORD, HENRY JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADFORD, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADFORD, MICHAEL T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADFORD, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADFORD, STEPHEN C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADFORD, STEPHEN K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BRADFORD, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADISH, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BRADLEY CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5556 ONTARIO MILLS PKWY
ONTARIO, CA 91764


BRADLEY H HUNTER ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY H HUNTER ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, ANDREW T & ANNICE BRADLEY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, ANDREW T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BRADLEY, ANDREW T, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BRADLEY, ANNICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BRADLEY, BUSTER L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, CATHIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, DOROTHY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHESTER L ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRADLEY, FRANK A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BRADLEY, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRADLEY, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


BRADLEY, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADLEY, JAMES CORDELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRADLEY, JAMES WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BRADLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADLEY, JENNY MIKULEC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BRADLEY, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADLEY, JOEL G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRADLEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADLEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADLEY, JOSEPH WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRADLEY, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRADLEY, PETER P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADLEY, STEPHEN B, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE C BRADLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRADSHAW, DEAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADSHAW, JAMES H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BRADSHAW, JEFFREY DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BRADSHAW, RANDY E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BRADSHAW, RONNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRADSHAW, TERESSA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


BRADWAY, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADY MEDIA GROUP LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
909 LAKE CAROLYN PKY STE 300
IRVING, TX 75039


BRADY, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADY, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRADY, KEVIN RODGER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRADY, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRADY, PATRICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRADY, SCOTT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRADY, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRAGER, MILDRED A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED S BRAGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRAGG, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRAGG, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRAGG, THOMAS M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRAHMTEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5756 EASTERLING DR
BRYAN, TX 77808




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BRAINE, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRAKO, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRAKO, THOMAS KENNETH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRAMLETTE, ALFONSO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRAMWELL, RICHARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANCACCIO, JAMES C                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRANCATO, SAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANCH, DONALD M                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANCH, EURA A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANCH, JOHN DAVID                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRANCH, LAURA M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR L BRANCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANCH, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANCH, THEODORE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANCH, TRACY MCCALLUM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRAND INDUSTRIAL SERVICES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOPE CREEK GENERATING STATION
HANCOCKS BRIDGE, NJ 08038


BRAND INSULATION COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS VENKER & SANDERS
BANK OF AMERICA TOWER
100 NORTH BROADWAY, 21ST FL
ST. LOUIS, MO 63102


BRAND INSULATION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4500 CHESSWOOD DRIVE
DOWNSVIEW, ON M3J 2B9
CANADA

BRAND INSULATION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


BRAND INSULATIONS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4500 CHESSWOOD DRIVE
DOWNSVIEW, ON M3J2B9
CANADA

BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


BRAND INSULATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


BRAND INSULATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

BRAND INSULATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


BRAND INSULATIONS, INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1635 MARKET STREET
PHILADELPHIA, PA 19103


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTH BROADWAY
21ST FLOOR
ST LOUIS, MO 63102


BRAND INSULATIONS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4500 CHESSWOOD DRIVE
DOWNSVIEW, ON M3J2B9
CANADA

BRAND, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRAND, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRANDE, JOSEPH E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BRANDEFINE, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BRANDES, WANDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRANDNER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANDON, GOLDIE, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANDON, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANDSMA, WARREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANDT, BRUCE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANDT, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANDT, RACHEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRANDWIZARD TECHNOLOGIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
130 FIFTH AVENUE
4TH FLOOR
NEW YORK, NY 10011


BRANESKY, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANFORD, ERNESTINE D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANGI, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRANHAM, BILLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANHAM, DAISY B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANHAM, KATHRYN SHIPTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANHAM, MACIE E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PERCY BRANHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANIGER, GARLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANN, CECIL A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BRANN, EARNEST BRADLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANNAM, MICHAEL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANNAN, EARLYNN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL J HECKLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANNAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANNAN, LINDA AHLAS, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E AHLAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANNON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRANNON, WATSON DUPREE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRANSCOM, AVID A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRANSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BRANTLEY, ALVIN DOUGLAS SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRANTLEY, CLAUDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRANTLEY, MARK S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRANTLEY, ROBERT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRANTON INSULATIONS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 EDWARDS AVE
HARAHAN, LA 70170


BRANUM, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRANYON, EUNICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRANYON, ROGER DALE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRANZ, EUGENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRASELL, BILL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BRASHEARS, VIRGINIA L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRASS WORKS LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RICHARD COLANO
440 S. PINE
BURLINGTON, WI 53105


BRASSARD, GEORGE K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRASSFIELD, RONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRASUELL, JOHN A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRASUELL, LADONNA N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRASWELL, GLENN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRATSCH, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRAU, HARVEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRAUDRICK, FRANK (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRAUER SUPPLY COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1218 SO VANDEVENTER AVE
ST LOUIS, MO 63110


BRAUGHT, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRAUN, GUNTER I , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUNTER I BRAUN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRAUN, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRAUN, REINHOLD HERBERT DECEASED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BRAVER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRAVERMAN, MARK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRAY INTERNATIONAL INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13333 WESTLAND EAST BLVD.
HOUSTON, TX 77041


BRAY, BRUCE H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

BRAZIL, ROBERT E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRAZILE, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRAZOS COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 E. 26TH ST.
BRYAN, TX 77803


BRAZOS ELECTRIC POWER COOPERATIVE, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2404 LA SALLE AVE
WACO, TX 76702-2585


BRAZOS RIVER AUTHORITY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7555
WACO, TX 76714-7555


BRAZOS VALLEY PARTS CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FRANKLIN AUTO SUPPLY
105 W HWY 79
FRANKLIN, TX 77856


BRAZOS WIND LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 LOUISIANA STREET, SUITE 586A
ATTN: JV MANAGER
HOUSTON, TX 77002-4916


BRAZOS WIND LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 2463
SUITE 916
HOUSTON, TX 77252


BRAZOS WIND VENTURES, LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 N. DAIRY ASHFORD, BUILDING E
HOUSTON, TX 77079


BRAZZLE, LARRY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BRDLIK, JOSEPH JEROME                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREAK TIME SOLUTIONS, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 1081
MEXIA, TX 76667


BREAKTIME SOLUTIONS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1081
MEXIA, TX 76667


BREARD, DEBORAH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREAZZEAL, JIMMIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRECHT, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRECKENRIDGE ISD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
208 NORTH MILLER STREET
BRECKENRIDGE, TX 76424


BRECKENRIDGE, CITY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 EAST ELM
PO BOX 1466
BRECKENRIDGE, TX 76424


BRECKENRIDGE, MARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREDA TRANSPORTATION INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4061 LOVERIDGE RD
PITTSBURG, CA 94565




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BREDA, MICHAEL EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BREED, DONALD SCOTT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


BREEDEN, MARY C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E BREEDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREEDING INSULATION COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2505 N ORCHARD KNOB AVE
PO BOX 5187
CHATTANOOGA, TN 37406


BREEDLOVE, JUAN D, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREEDLOVE, JUAN, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREEN, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREEN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREGMAN, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BREHE, DEBORAH K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREHM, JUSTIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREIDENBACH, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BREIDINGER, CLAUDE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREINER, HENRY S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BREITENBACH, GLEN R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES A BREITENBACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREITUNG, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRELAND, BYRON D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRELAND, ETHEL J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRELAND, TANISHA C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BRELAND, WILLIAM JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREMMER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREMOND BACK TO SCHOOL RALLY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 343
BREMOND, TX 76629


BREMOND ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 W COLLINS ST
BREMOND, TX 76629


BRENDA S STEWART TRUST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRENDEL, FRED, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAULINE BRENDEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRENNAN, CONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF RAYMOND O CAMPBELL
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


BRENNAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRENNAN, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRENNAN, LILLIE ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

BRENNAN, WILLIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRENNTAG SOUTHWEST INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
610 FISHER ROAD
LONGVIEW, TX 75604


BRENNTAG SOUTHWEST INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
704 E WINTERGREEN RD
LANCASTER, TX 75134


BRENNTAG SPECIALTIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 COOLIDGE ST
SOUTH PLAINFIELD, NJ 07080-3805


BRENNTAG WEST INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINNES-PLATZ 1
45472 MÜLHEIM AN DER RUHR


BRENT, D AND BARBARA LACY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRESLIN, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRESNAHAN, DEVIN L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRESNAHAN, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRESSAN, AMERICO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BRESSI, ANTHONY F , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY F BRESSI SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRESSI, JOSEPHINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK N BRESSI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRESSLER, DEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRESSLER, OTTO A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BREST, DAVID L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRETCHES, CAROLL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRETH, JAMES IRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRETHAUER, CLARENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREVARD, RICHARD WEIGN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREVOORT, NICHOLAS C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BREWER, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREWER, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREWER, DANIEL C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL BREWER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREWER, GARY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREWER, JAMES F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREWER, ONEAL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREWER, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREWER, WILLIAM E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREWER, WOODROW (WILLIS)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BREWINGTON, VERONICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREWSTER, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREWSTER, PAULINE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BREWTON, GLENDA FAYE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BREWTON, STEVEN R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREWTON, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREY, KELLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BREYER, LELAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREZA, DONNA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BREZNEY, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIAN S. CLARY & ASSOCIATES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRIAN S. CLARY
402 STAITTI
HUMBLE, TX 77338




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRICE CO BARCLAY WHOLESALE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4301 GREENBRIAR DR.
STAFFORS, TX 77477


BRICKLE, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIDGE, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIDGE, LEONARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIDGELINE DIGITAL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 2339
PO BOX 122339
DALLAS, TX 75312-2339


BRIDGELINE DIGITAL, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CAROLE TYNER
80 BLANCHARD ROAD
BURLINGTON, MA 01803


BRIDGES, CHRISTEL HICKMAN, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E RIFFEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRIDGES, DONNA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAURENCE BRIDGES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRIDGES, LLOYD R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                           Nature

BRIDGES, WINFORD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIDGESTONE AMERICAS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


BRIDGESTONE AMERICAS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
300 B EAST HIGH ST
JEFFERSON CITY, MO 65101


BRIDGESTONE FIRESTONE AMERICA'S HOLDING INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
NATIONAL REGISTERED AGENTS INC
120 S CENTRAL AVE
CLAYTON, MO 63105


BRIDGESTONE FIRESTONE AMERICA'S HOLDING INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET ST, SUITE 1100
ST LOUIS, MO 63101


BRIDGESTONE FIRESTONE AMERICA'S HOLDING INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET ST, SUITE 1100
ST LOUIS, MO 63101


BRIDGESTONE FIRESTONE AMERICA'S HOLDING INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
NATIONAL REGISTERED AGENTS INC
120 S CENTRAL AVE
CLAYTON, MO 63105


BRIDGESTONE FIRESTONE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
535 MARRIOT DRIVE
P.O. BOX 140990
NASHVILLE, TN 37214




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Name of Counterparty                                                                                             Nature

BRIDGESTONE FIRESTONE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
535 MARRIOT DRIVE
PO BOX 140990
NASHVILLE, TN 37214


BRIDGESTONE FIRESTONE NORTH AMERICAN TIRE LLC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
535 MARRIOTT DRIVE
NASHVILLE, TN 37214


BRIDGESTONE FIRESTONE AMERICA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 MARKET STREET
SUITE 1100
ST LOUIS, MO 63101


BRIDGEWATER, WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIDWELL, MICHAEL E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIEMER, LORRAINE F (NEE BRIDGE)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIERY, ROY GLENN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIGANDI, JOSEPH C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRIGANI, GERALDINE G, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD J GIZINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRIGGS & STRATTON CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE HEADQUARTERS
12301 W. WIRTH STREET
WAUWATOSA, WI 53222




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Name of Counterparty                                                                                              Nature

BRIGGS & STRATTON CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


BRIGGS & STRATTON CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 702
MILWAUKEE, WI 53201


BRIGGS & STRATTON CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
MARK ANTHONY PROST
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313


BRIGGS & STRATTON CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
STEPHEN MICHAEL STRUM
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313


BRIGGS, BERNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRIGGS, HENRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIGGS, RICHARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRIGGS, RONDAL ROY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRIGGS, SANDRA (MAIDEN NAME MITCHELL)                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

BRIGGS, SANDRA MITCHELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIGGS, SANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRIGHT GUY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
38205 STEVENS BLVD UNIT B
WILLOUGHBY, OH 44094


BRIGHT TRUCK LEASING CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHARLES LAWSON,PRESIDENT
2761 OAKLAND ST.
GARLAND, TX 75041


BRIGHT, BOBBY RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRIGHT, HOWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIGHTGUY INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BLACK MCCUSKEY SOUERS & ARBAUGH LPA
ATTN: JOEL K. DAYTON, ESQ.
220 MARKET AVENUE, S., SUITE 1000
CANTON, OH 44702


BRIGHTHAUPT, DANIEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRIGHTWELL, O'NEAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BRILEY, MAXINE P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JULIUS M BRILEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRILLA, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRINDLE, COLEMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINDOCK, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRINK, RICHARD L. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


BRINKLEY, ANNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINKLEY, SHANTAZAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINKMEYER, DEBORAH LANGE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINKMEYER, SHARON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINSON, JOHN F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRINSTER, DUANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BRISCO, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISCOE, BILLY E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BRISSETT, LORNA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTER, JIM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTER, MILTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTER, ROBERT E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTER, ROBERT E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTER, ROBERT EARL, SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRISTOL, ALAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRISTOW, KAY CAROLYN SANDERS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRITT, CLAUDE A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRITT, DEBORAH L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BRITT, DENNIS WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRITT, KATHY L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRITT, MICHAEL W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRITT, STRAUD S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRITTAIN, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRITTAIN, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRITTAIN, MARTHA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRITTEN, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRITTINGHAM, ESTHER M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS U BRITTINGHAM SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BRITTINGHAM, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRITTINGHAM, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRITTINGHAM, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BRITVCH, BRENDA J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONA E CROWDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRKOPAC, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BROACH, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BROADHEAD, GERRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROADHEAD, O.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BROADWATER, JOHN I                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROADWAY, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROADWELL, BOYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROADWELL, JAMES K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROADY, HARRY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROCCHETTI, LOUIS A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BROCHU, ADRIEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROCHU, LAURENT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROCIOUS, DOROTHY J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT D BROCIOUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROCK, CHARLES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BROCK, DAVID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROCK, GRANGER LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROCK, HELEN D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROCK, WALTER W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROCK, WILLIAM C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BROCKENBUSH, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BROD, LEANDER A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BROD, M.L., JR.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRODERICK, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRODERICK, ALLAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BRODERICK, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRODY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROGAN, GEORGE J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BROGAN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROGAN, MICHAEL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BROGAN, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROGDEN, ROBERT D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROGDON, JULIUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BROGLIE, DONALD F, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK F BROGLIE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROKER, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROKUS, MARGARET E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARGARET L SCHMIDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROMBERG, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRON TAPES OF TEXAS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3510 DALWORTH STREET
ARLINGTON, TX 76011


BRONDOS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRONICE BARRON WILLIAMS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11447 SABO RD
HOUSTON, TX 77089


BRONNER, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRONNER, RAYMOND L--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRONTE, JEFFERSON W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROOKER, EARLON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKES, VERONICA H, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM BROOKES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROOKMAN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS BENT TREE LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4820 WESTGROVE DR
ADDISON, TX 75001


BROOKS KETCHUP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PINNACLE FOODS
KELLEY MAGGS, EVP, SECRETARY &
GEN. COUN., 399 JEFFERSON RD
PARSIPPANY, NJ 07054


BROOKS, BARBARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, BARBARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE EARLY LAW FIRM
ATTN: ETHAN EARLY
360 LEXINGTON AVE., 20TH FLOOR
NEW YORK, NY 10017


BROOKS, CALVIN, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

BROOKS, CARMEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, CLIFFORD L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARLTON W BROOKS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROOKS, DEBORAH CONVERSE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROOKS, FRANKLIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, JACKLYNN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BROOKS, JEROLYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROOKS, JERROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, JOHN A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, JOHNNY EARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, MARK E & LINDA BROOKS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, MARK E. & LINDA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, MICHAEL G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROOKS, PAUL ELDRIDGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BROOKS, RICHARD E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROOKS, ROBERT B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


BROOKS, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROOKS, ROBERTA J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROOKS, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, THOMAS WADE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKS, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROOKS, WILLIE G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROOKSHIRE - KATY DRAINAGE DIST.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 KENNEY ST
BROOKSHIRE, TX 77423




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Name of Counterparty                                                                                             Nature

BROOKS-PERRY, NORMA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE PERRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROOMFIELD COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE DESCOMBES DRIVE
BROOMFIELD, CO 80020


BROSCIUS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROSCO, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROSIOUS, BRADY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROSNIHAN, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROTHER, FRANCIS VERNON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BROTHERS, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BROTHERS, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

BROTZMAN, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BROUGHTON, CHRIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROUGHTON, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROUGHTON, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROUHARD, JOHN JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BROUILLARD, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROUILLETTE, PHILLIP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROUSSARD, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROUSSARD, PAMELA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 TARTON
HITCHCOCK, TX 77563




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BROUSSARD, PAMELA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROUSSEAU, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWING, DAWN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN & ROOT HOLDINGS, INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GODWIN GRUBER, PC
MICHAEL J RAMIREZ
1700 RENAISSANCE TOWER, 1201 ELM STREET
DALLAS, TX 75270


BROWN & ROOT USA INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
440 N EASTMAN RD
LONGVIEW, TX 75601


BROWN & ROOT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUSAN PONCE, SENIOR COUNSEL
4100 CLINTON DR.
HOUSTON, TX 77020


BROWN & ROOT, INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GODWIN GRUBER, PC
MICHAEL J RAMIREZ
1700 RENAISSANCE TOWER, 1201 ELM STREET
DALLAS, TX 75270


BROWN & ROOT, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 CLINTON DRIVE
HOUSTON, TX 77020


BROWN & SILVER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
813 WESTCHESTER AVENUE
BRONX, NY 10455


BROWN COUNTY APPRAISAL DISTRICT                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY, VESELKA, BRAGG & ALLEN, PC
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BROWN COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHRISTINE PENTECOST,
COUNTY TAX ASSESSOR-COLLECTOR
200 SOUTH BROADWAY, ROOM 105
BROWNWOOD, TX 76801


BROWN HOLSOMBACH, DAPHIN U                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BROWN MCCARROLL, LLP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRIAN T. SWIFT
1111 BAGBY
47TH FLOOR
HOUSTON, TX 77002


BROWN MCCARROLL, LLP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TODD N. WADE
ASBESTOS DEPARTMENT
111 CONGRESS AVE, SUITE 1215
AUSTIN, TX 78701


BROWN SHOE COMPANY, INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


BROWN SHOE COMPANY, INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL LLP
JOSEPH AARON KILPATRICK
190 CARONDOLET PLAZA, SUITE 600
ST LOUIS, MO 63105


BROWN, AMOS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWN, ARIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


BROWN, ARNOLD IVEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BROWN, ARTHUR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, ARVEL, SR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, CHARLES J, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, CHARLES L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BROWN, CHARLES W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROWN, CHRISTOPHER NICHOLAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, CURTIS, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, DAVID J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROWN, DAVID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BROWN, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, DELLMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, DONALD L., SR., FOR THE ESTATE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF OMIE JOANN BROWN
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


BROWN, DONALD LESTER, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BROWN, DOUGLAS RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BROWN, EARNEST WHIT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, EDITH E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, ERNEST L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BROWN, ETSEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, EUGENE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BROWN, EULA M, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FLAVIS H BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, FAYE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, FRANCISCO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, FRANK T, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, GERALDINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BROWN, GLENDALE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROWN, GLORIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, GLORIA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH A BROWN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, JAMES A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, JASON C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JERRY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JOE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JOE-ANN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GLENDOLA ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BROWN, JOHN D.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JOHN GLEAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, JOHNNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BROWN, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, JOSHUA D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, JOYCE G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, JUSTIN, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BROWN, KAY MARIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWN, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

BROWN, L V                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, LANORA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, LAURENIA R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, LAWRENCE S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROWN, LENORA, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF RICHARD R BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, LILLIE M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, LLOYD DURAN (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, LUKE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, MARTHA JACQUELINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BROWN, MARY A, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, MEIGAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, MICHAEL B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, MICHELLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, MYRTLE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, NEIL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BROWN, OTIS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, PATRICIA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, PEARIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

BROWN, PHILLIP D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, RAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, RAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BROWN, RAYMOND G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, RAYMOND L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, ROBERT C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BROWN, ROBERT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, ROBERT W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, RODNEY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BROWN, ROSEMARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, ROY D , JR, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROY D BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, RUBIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, RUTHIE M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, RYAN D.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, SHARON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


BROWN, SHERRY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWN, STEVEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROWN, TOMAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWN, TRAVUE T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BROWN, UNA, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, WALTER R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWN, WALTER R., ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


BROWN, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, WANDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BROWN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWN-BLACK, MELODY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWNGILMORE, FERNANZA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BROWN-HUGHES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
815 11TH STREET
HUNTSVILLE, TX 77340


BROWNING FERRIS INDUSTRIES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
757 NORTH ELDRIDGE
ATTN: RUFUS WALLINGFORD
HOUSTON, TX 77079


BROWNING, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWNING, LINDSEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BROWNING, RICHARD M AND BRENDA A                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWNING, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROWNING, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROWNING-FERRIS INDUSTRIES CHEMICAL SERVICES, INC                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
757 NORTH ELDRIDGE
ATTN: RUFUS WALLINGFORD
HOUSTON, TX 77079


BROWNING-FERRIS INDUSTRIES, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15880 N. GREENWAY-HAYDEN LOOP
SUITE 100
SCOTTSDALE, AZ 85260




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BROWNING-FERRIS INDUSTRIES, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
757 NORTH ELDRIDGE
ATTN: RUFUS WALLINGFORD
HOUSTON, TX 77079


BROWNLIE, SHELLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BROWNSBORO ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 465
14134 STATE HWY 31E
BROWNSBORO, TX 75756


BROWNWOOD ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2707 SOUTHSIDE DRIVE
BROWNWOOD, TX 76801


BROWNWOOD, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWNWOOD CITY HALL
501 CENTER AVE, PO BOX 1389
BROWNWOOD, TX 76804


BROXSON, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROY, LORRAINE WILSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROY, LORRAINE WILSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BROYHILL FURNITURE INSUSTRIES,INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O INTERCO,INC.
ONE BROYHILL PARK
LENOIR, NC 28645


BROYLES, DANIEL K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

BROYLES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BROYLES, STEVEN K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BRUBAKER, BYRON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUBAKER, JAMIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUBAKER, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUBAKER, MYRON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUBAKER, ROBIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUCE R. BOOTH DBA LAKEWOOD APARTMENTS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BRUCE R. BOOTH
2140 ORTEGA RANCH RD
SANTA BARBARA, CA 93108


BRUCE, LEWIS E., JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRUCE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRUCH, STERLING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRUCKS, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUECK, ARLETTA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY F SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRUECK, ARLITTA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUECKNER, WENDY BREWTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUG, NINA LOUISE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUGGEMAN, MICHAEL, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EMERSON A BRUGGEMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRUGNARA, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUIN, HYMAN DE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                              Nature

BRUMBAUGH, BARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUMBELOW, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUMBELOW, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUMFIELD, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRUMFIELD, TRULY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUMLEY, JESSE CYRUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BRUMLEY, KENNETH W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUNDA, ANDREW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUNDAGE, VERNON L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

BRUNELLE, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUNELLI, LOUIS SAMUEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BRUNELLI, MARY-ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


BRUNHOEBER, STEWART                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUNNER, HARRY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRUNO, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUNO, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUNO, JOSEPH R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRUNO, RICHARD C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                               Nature

BRUNQUELL, RICHARD K.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BRUNSON, DENNY RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUNSON, SHERONDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUNSWICK CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRUNSWICK CORPORATION
KRISTEN M COLEMAN, VP, GEN COUN
& CORP SEC, 1 NORTH FIELD COURT
LAKE FOREST, IL 60045-4811


BRUNSWICK CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


BRUNTON, RICHARD ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BRUSDA, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRUSH, NORMAN S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRUSH, TONI D, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PETER N BRUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                                Nature

BRUSO, DAVID                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRUTON, PHYLLIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRYAN CAVE LLP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO INDENTURE TRUSTEE OF 11% & 11.75% SR)
ATTN: STEPHANIE WICKOUSKI; MICHELLE MCMAHON
1290 AVENUE OF THE AMERICAS
NEW YORK, NY 10104


BRYAN HOSE & GASKET INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 QUALITY PARK LANE
BRYAN, TX 77803


BRYAN HOSE & GASKET INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2320
BRYAN, TX 77806


BRYAN ISD                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 NORTH TEXAS AVENUE
BRYAN, TX 77803


BRYAN SOX                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
455 RIVERBAND DR
JASPER, TN 37347


BRYAN STEAM CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
783 NORTH CHILI AVENUE
PERU, IN 46970


BRYAN STEAM LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
783 NORTH CHILI AVENUE
PERU, IN 46970


BRYAN STEAM LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704




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Name of Counterparty                                                                                              Nature

BRYAN, BYRON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRYAN, CITY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 S. TEXAS AVE
BRYAN, TX 77803


BRYAN, COLIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRYAN, EHTEL TODD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYAN, J                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYAN, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYAN, RONNIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BRYAN, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRYANT HEATING & COOLING SYSTEM                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4531 BISHOP LANE
LOUISVILLE, KY 40218


BRYANT, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

BRYANT, DAVE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BRYANT, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRYANT, DOYLE AND JOYCE BRYANT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, DOYLE AND JOYCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


BRYANT, FRANCIS VIRGIL, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BRYANT, GEORGE L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRYANT, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRYANT, JON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, JUDITH ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, JUSTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, KEITH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BRYANT, KEITH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, LISA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, PRESTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRYANT, SAMUEL E, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRYANT, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRYANT, TERESA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYANT, WILLIAM F, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BRYDE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BRYER, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

BRYSON ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 N. MCCLOUD ST.
JACKSBORO, TX 76457


BRYSON, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRYSON, MARK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BRYSON, ROBERT S--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BRZEZINSKI, JAMES L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BRZEZOWSKI, ERWIN J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BRZOSKA, SIGMUND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BRZOZA, JOHN W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BSG TPV LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VOICELOG
PO BOX 1897
SAN ANTONIO, TX 78297-1897




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BUBELLO, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCALA, SR., GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCHANAN, CHARLES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BUCHANAN, CHARLES W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUCHANAN, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCHANAN, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCHANAN, ELMER JAMES, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCHANAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCHER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCHHOLZ, JOSEPH DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BUCHINSKY, LISA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCHINSKY, MICHAEL JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCIUNI, GIUSEPPE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCK, CHRISTOPHER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCK, ERVIN M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUCK, SCOTT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCK, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUCKELS, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCKEYE BREWING COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9985 WALFORD AVENUE
CLEVELAND, OH 44102


BUCKHEIT, WILLIAM W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BUCKLAND, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUCKLEY JR, CLYDE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCKLEY OIL COMPANY OF DALLAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1809 ROCK ISLAND
DALLAS, TX 75207


BUCKLEY, TONYA L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID A REMPHREY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUCKLEY, WALTER R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCKLEY, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCKMAN LABORATORIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1256 N MCLEAN
MEMPHIS, TN 38108


BUCKMAN LABORATORIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 845676
DALLAS, TX 75284-5676


BUCKNER, ELTON DON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUCKNER, LISA M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUCKNER, LISA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BUCKSKIN MINING COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 KIEWIT PLAZA
OMAHA, NE 68131


BUCKVITZ, DOUGLAS W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUCY, NONA R, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROWLEY C BUCY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUCYRUS INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CATERPILLAR GLOBAL MINING, LLC
6744 S HOWELL AVE
OAK CREEK, WI 53154


BUDA, JEROME, JR.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BUDA, RITA M                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUDD, MURLYENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUDDE, ELAINE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUDDE, ROBERT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUDDEN, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BUDDENBOHN, SUSAN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BARBARA BOENING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUDREWICZ, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUDWINE, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUDZINSKI, EDWARD M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUECHE, DOUGLAS CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUELL, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUENO, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUENO, MOISES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUERKLE, BRYAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUETTNER, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                         Nature

BUFANO, MANFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUFFA, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUFFALO AIR HANDLING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
4701 COX RD, STE. 301
GLEN ALLEN, VA 23060


BUFFALO AIR HANDLING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


BUFFALO AIR HANDLING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA BAILEY, ATTORNEY AT LAW
467 ZANE SNEAD DRIVE
AMHERST, VA 24521


BUFFALO AIR HANDLING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19802


BUFFALO GAP WIND FARM 2, LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


BUFFALO GAP WIND FARM 2, LLC,                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


BUFFALO GAP WIND FARM 3, LLC,                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763




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Name of Counterparty                                                                                                   Nature

BUFFALO GAP WIND FARM, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


BUFFALO GAP WIND FARM, LLC,                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


BUFFALO INDUSTRIAL SUPPLY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2333 HWY 79S
BUFFALO, TX 75831


BUFFALO INDUSTRIAL SUPPLY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX N
HWY 79 S
BUFFALO, TX 75831


BUFFALO ISD                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
708 CEDAR CREEK RD
BUFFALO, TX 75831


BUFFALO PUMPS INC (AIR & LIQUID SERVICES, INC AS SUCCESSOR)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WOLFF & SAMSON PC
140 BROADWAY, 46TH FLOOR
NEW YORK, NY 10005


BUFFALO PUMPS INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
874 OLIVER ST
NORTH TONAWANDA, NY 14120


BUFFALO PUMPS INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
874 OLIVER ST
NORTH TONAWONDA, NY 14120


BUFFALO PUMPS INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                              Nature

BUFFALO PUMPS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


BUFFALO PUMPS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
JAMES H POWERS, LORI WIESE
1221 MCKINNEY ST, SUITE 2400
HOUSTON, TX 77010-2007


BUFFALO PUMPS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


BUFFALO PUMPS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
909 FANNIN STREET, SUITE 3300
HOUSTON, TX 77010


BUFFALO AIR HANDLING                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
467 ZANE SNEAD DRIVE
AMHERST, VA 24521


BUFFALO AIR HANDLING                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA BAILEY, ATTORNEY AT LAW
467 ZANE SNEAD DRIVE
AMHERST, VA 24521


BUFFALO PUMPS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
874 OLIVER ST
TONAWANDA, NY 14120


BUFFALO, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
144 AVANT ST.
BUFFALO, TX 75831


BUFFALOE, DIANNE PULLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BUFFINGTON, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUFLOVAK LLC IND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 E FERRY ST
BUFFALO, NY 14211


BUG MASTER EXTERMINATING SERVICE INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1912 SMITH RD
AUSTIN, TX 78721-3547


BUGLIONE, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUHRER, ARNO C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BUICE, ALFRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUIE, GEORGE MARVIN III                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUILD COMPUTER PRODUCTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUILD REHAB INDUSTRIES
2205 N HOLLYWOOD WAY
BURBANK, CA 91505


BUILDERS GENERAL SUPPLY CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


BUILDING SERVICES INDUSTRIAL SUPPLY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 S 106TH ST
MILWAUKEE, WI 53214




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BUILDING SERVICES INDUSTRIAL SUPPLY INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS E POPALISKY
1710 S 106TH STREET
WEST ALLIS, WI 53214


BUILDING SERVICES INDUSTRIALS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 S 106TH ST
MILWAUKEE, WI 53214


BUJANOWSKI, MICHAEL JOHN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUJANOWSKI, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BUKOVAC, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUKOWSKI BROTHERS PLUMBING                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
633 ESTHER
WACO, TX 76710


BUKOWSKI, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUKOWSKI, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUKSA, FRED                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BULER, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BULL, CORA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULL, MILLICENT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD BULL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BULL, REGINALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULL, ROBERT L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BULLARD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA DEPEND-A-CAN CO
PO BOX 1518
PALESTINE, TX 75802


BULLARD INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1518
PALESTINE, TX 75802-1518


BULLARD, HUBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLARD, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLARD, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BULLARD, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLARD, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLEN PUMP & EQUIPMENT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3575 WEST 12TH STREET
HOUSTON, TX 77008


BULLIE, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BULLINGTON, KATHY, INDVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLION, VIRGIL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BULLOCK, A L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLOCK, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLOCK, ANGELA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIE A BULLOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BULLOCK, JANICE LEAH CARLOCK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLOCK, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BULLOCK, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BULLOCK, RUBY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BULLOUGH INSULATION AND SUPPLY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 S 800 W
SALT LAKE CITY, UT 84104-1118


BULSA, JASON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUMGARNER, CAROLL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUMGARNER, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUMPUS, RONALD R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUMPUS, RONALD R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUNCH, DRUSCILLA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT F SELLERS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUNDAGE, KENIOL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                             Nature

BUNDICK, ORIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUNGE MILLING INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID G KABBES, SVP, CORP & LEGAL
AFFAIRS, 11720 BORMAN DRIVE
PO BOX 28500
ST LOUIS, MO 63146-1000


BUNGE NORTH AMERICA EAST LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID G KABBES, SVP, CORP & LEGAL
AFFAIRS, 11720 BORMAN DRIVE
PO BOX 28500
ST LOUIS, MO 63146-1000


BUNGE NORTH AMERICA INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID G KABBES, SVP, CORP & LEGAL
AFFAIRS, 11720 BORMAN DRIVE
PO BOX 28500
ST LOUIS, MO 63146-1000


BUNJON, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUNN, WALTER J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUNTING BEARINGS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 HOLLAND PARK BLVD
HOLLAND, OH 43528


BUONAGURA, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUONICONTI, LOUIS N--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                         Nature

BUONINCONTRI, FRANK ROBERT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURAK, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURAS, GWEN A. MELAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURCH, CONSTANCE LEIGH BROOKS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURCH, GEORGE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BURCH, JANAN ROGERS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURCH, JR., WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURCH, LYNWOOD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURCH, ORA EVERETT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                             Nature

BURCH, RICHARD KEITH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BURCH, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURCH, SHELDON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BURCHAM, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2936 SOUTH WILSON COURT
GRAND RAPIDS, MI 49544


BURD, REAGAN DARRELL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURDA SR, PHILLIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURDA, DORIS M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN BURDA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURDA, DORIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURDEN, HUBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                              Nature

BURDETTE, EDWARD EARLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BURDETTE, PAUL LESLIE, JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BURDEWICK, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURDICK, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURDICK, MARGIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURDIN MEDIATIONS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4514 COLE AVE STE 1450
DALLAS, TX 75205-4181


BURESH, GARY VINCENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURFORD, MERRILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURFORD, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGAN, GARY P, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELWOOD B BURGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

BURGE, MILO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BURGER, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURGER, LEWIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BURGER, RICHARD D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANNA J BURGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURGER, RICHARD D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLAYTON BURGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURGER, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURGER, WALTER GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURGESON, E. DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURGESS, ANDREW L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BURGESS, ANNIE B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGESS, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGESS, HARVEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURGESS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURGESS, LESTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURGESS, TERRANCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGESS, TRISHIA, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF MITCHELL BURGESS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURGIN, DONALD GERALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGIN, DOROTHEA JUDY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURGIN, WADDELL HOWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BURGNER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURGUON, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


BURINSKAS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKART, STEPHANIE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUDOLF R DUDOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURKART, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE WELDING SUPPLY & TOOL CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1587
MONAHANS, TX 79756


BURKE, ASA M                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BURKE, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

BURKE, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, JOSEPH T                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURKE, MARGARET M.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURKE, PATRICK WILLIAM                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BURKE, PATRICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, PHILLIP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, ROBERT G--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BURKE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKE, SHARYN A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C HEILKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURKE, STACEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKE, THOMAS PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURKE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKER, ROLAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


BURKETT, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKETT, KENNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BURKETT, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKETT, ROOSEVELT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURKHARDT, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKHART (WALTON), MICKIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKHART JR, VAN HOWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKHART, BOBBYE MARIE WARRICK                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKHART, CLYDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKHART, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURKHART, JAY WESLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURKHOLDER, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BURKMAN, DAVID V, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON T BARTHOLOW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURLAND ENTERPRISES,INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PETER BURLAND,PRESIDENT
4605 POST OAK RD. #210
HOUSTON, TX 77027


BURLESON, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


BURLESON, NORMA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF ALVIN BURLESON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


BURLEY, CHRISTOPHER, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LESLIE WEBB
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURLEY, GRANT, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURLEY, RAY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNER, ROBERT L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L BURNER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                       Nature

BURNET, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURNETT, BILLIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETT, CAREL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETT, DEBRA S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETT, GILES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETT, GLENN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURNETT, JACK V. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BURNETT, LANCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETT, MARCUS V., SR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BURNETT, PAUL GETTYS, JR.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                             Nature

BURNETT, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNETT, TERRY ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETTE, ANDREA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOWARD STALLINGS FROM HUTSON ATKINS
ANGELL DAVIS, PA; ATTN: NICHOLAS C BROWN
P.O. BOX 12347
RALEIGH, NC 27605


BURNETTE, CHARLOTTE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNETTE, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNETTE, LACY E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNETTE, RICHARD E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNETTE, WILLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURNHAM CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1038 DILLERVILLE RD
LANCASTER, PA 17603




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

BURNHAM HOLDINGS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3245
JOHN A RODA, VP, GEN COUN & SECRETARY
1241 HARRISBURG PIKE
LANCASTER, PA 17604


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3245
1241 HARRISBURG PIKE
LANCASTER, PA 17604


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1239 HARRISBURG AVENUE
LANCASTER, PA 17604-3939


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1239 HARRISBURG PIKE
LANCASTER, PA 17604


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3245
1241 HARRISBURG PIKE
LANCASTER, PA 17604


BURNHAM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1239 HARRISBURG AVENUE
LANCASTER, PA 17604-3939


BURNHAM, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                             Nature

BURNHAM, HOWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURNHAM, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURNS & MCDONNELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN BEN FRERICHS
9400 WARD PARKWAY
KANSAS CITY, MO 64114


BURNS & MCDONNELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 411883
KANSAS CITY, MO 64141-1883


BURNS (VANBEBBER), MELISSA A                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURNS INTERNATIONAL SERVICES CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14TH FLOOR
DONALD W. WARD
14TH FLOOR, 100 NORTH BROADWAY
ST LOUIS, MO 63102


BURNS INTERNATIONAL SERVICES CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SOUTH MICHIGAN AVENUE
CHICAGO, IL 60604


BURNS INTERNATIONAL SERVICES CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
160 GREENTREE DR STE 101
DOVER, DE 19904


BURNS INTERNATIONAL SERVICES CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN ANDREW LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701




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Name of Counterparty                                                                                              Nature

BURNS, ALFRED J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BURNS, BENJAMIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURNS, BILLY M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BURNS, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURNS, CLAUDE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNS, DAVID K                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, DONALD L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNS, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURNS, GREGORY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BURNS, JAMES T                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURNS, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURNS, JUANITA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BURNS, LANETTE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, LESLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURNS, LORI                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, MICHAEL A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, MICHAEL A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, MICHAEL D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, MICHAEL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, RANDALL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

BURNS, REBECCA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, RICHARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, ROBERT A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNS, ROBERT C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


BURNS, ROBERT G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BURNS, SHERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURNSED, ANNIE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


BURNSIDE, DONALD W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BUROS, ROBERT EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURRELL JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
622 CARPINO AVE
PITTSBURG, CA 94565




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Name of Counterparty                                                                                             Nature

BURRELL, ARNETT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURRELL, HAROLD E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURRELL, HERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURRELL, RUSSELL W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURRIER, CATHERINE L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BRIAN BURRIER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURRILL, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURRIS, DELMAR D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BURRIS, JOSEPH CAREY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BURROUGH, EVELYN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURROUGH, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BURROUGH, KEITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURROUGH, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURROUGH, RONALD C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURROUGHS, GARNER H, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURROUGHS, WILBER STANLEY (DECEASED)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


BURROW, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURROW, OSCAR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURROWS, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURT, BURDETTE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURT, HELEN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BURT, JERRY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURT, LARRY S.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTIS, MATHEW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURTON, CARL B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURTON, CLARENCE AND DEBRA BURTON                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, DAVID L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


BURTON, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BURTON, IDA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, JENNIFER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BURTON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURTON, MARK, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE C BURTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BURTON, RACHELLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, RAYMOND G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, ROLLIN DEWITT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


BURTON, RONNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BURTON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BURZLOFF, JULIUS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUSBY, WILMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSCH, TIM R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

BUSCHBAUM, COLLEEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSCHBAUM, DENNIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSCHMEIER, JAMES E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSER, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUSH, ALFRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUSH, ESTHER ELIZABETH, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR F REYNOLDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSH, MARY G                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSH, MARY R, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MELVIN R BUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSH, MENO JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BUSH, WILLIAM J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


BUSHAW, PATRICIA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RANDALL E BUSHAW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSHELL, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSHIKA, JOSEPH, JR--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


BUSHIKA, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUSHMAN, ALLAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUSINESS INTERIORS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 VALLEY VIEW LANE
IRVING, TX 75015-2121


BUSINESS INTERIORS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 911836
DALLAS, TX 75391-1836


BUSINESS RESOURCE GROUP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 641417
SAN JOSE, CA 95164-1417




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Name of Counterparty                                                                                             Nature

BUSINESS WIRE INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 CALIFORNIA ST FL 20
SAN FRANCISCO, CA 94111-5852


BUSINESS WIRE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT 34182
PO BOX 39000
SAN FRANCISCO, CA 94139


BUSKIRK, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSKY, MICHAEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUSSOLINI, PAUL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSTAMANTE, PEDRO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUSTOS, MANUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTCHER, ALISA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTCHER, RICHARD K, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENT BUTCHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER & LAND INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10823 SANDEN DR
DALLAS, TX 75238


BUTLER & LAND INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 550399
DALLAS, TX 75355-0399




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Name of Counterparty                                                                                             Nature

BUTLER AND LAND INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 550399
DALLAS, TX 75355


BUTLER SUPPLY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
965 HORAN DRIVE
FENTON, MO 63026


BUTLER, ALVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, ANNETTE S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, ARTHUR T, III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, ARVA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW, LLC
ATTN: BENJAMIN SCHMICKLE
701 MARKET ST., SUITE 1575
SAINT LOUIS, MO 63101


BUTLER, BARBARA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN R BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, BURNETT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BUTLER, BYRON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, CHRISTINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, DAVID H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, EDDIE (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, EVELYN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, JAMES C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUTLER, JAMES M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BUTLER, JOHN W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, JOSEPH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUTLER, KENNETH DARNELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


BUTLER, PATRICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUTLER, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUTLER, ROBERT M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTLER, RONALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

BUTLER, ROY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTLER, SAMUEL SPENCER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


BUTLER, VIVIAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY C BUTLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTLER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTRYN, FRED V, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTTERFIELD, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTTICCI, MELVIN A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUTTNER, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BUTTON, LYMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTTS, CHARLES T.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


BUTTS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTTS, MARIE B, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR U BUTTS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTTS, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BUTTS, SHEILA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NATHAN MASSEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUTTS, T R                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUTZER, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUTZLAFF, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

BUUM, BRADLEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BUXTON, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BUZBEE, JOE LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUZBEE, WILLIAM W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUZBY, DOLORES, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WENDELL BUZBY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BUZBY, GARY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BUZBY, MARY A, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS BUZBY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BW IP INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 OCEANGATE BOULEVARD SUITE 900
LONG BEACH, CA 90802


BW IP INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLOWSERVE WORLD HEADQUARTERS
CAREY A O'CONNOR, SVP, SECRETARY & GEN
COUN, 5215 N O'CONNOR BLVD, SUITE 2300
IRVING, TX 75039




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BW IP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L WARE, WESLEY T SPRAGUE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


BW/IP INTERNATIONAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 OCEANGATE BOULEVARD SUITE 900
LONG BEACH, CA 90802


BW/IP INTERNATIONAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 W LAS COLINAS BLVD SUITE 1500
IRVING, TX 75039


BW/IP INTERNATIONAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL, MCCAMBRIDGE, SINGER
& MAHONEY, LTD
850 THIRD AVENUE - SUITE 1100
NEW YORK, NY 10022


BW/IP INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLOWSERVE WORLD HEADQUARTERS
CAREY A O'CONNOR, SVP, SECRETARY & GEN
COUN, 5215 N O'CONNOR BLVD, SUITE 2300
IRVING, TX 75039


BW/IP INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L WARE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


BW/IP INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


BWDAC INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                         Nature

BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


BWDAC INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


BWM SERVICES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 176
CALDWELL, TX 77836


BYBEE, BURL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYBEE, JOSEPHINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BYBEE, PATRICIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYBEE, TONY RAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYDLON, KAREN I.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYDLON, ROBERT J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYERLEY, DOUGLAS B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BYERLY, SUSAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


BYERS, LARRY & DELBERTA BYERS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYGALL, DAVID R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYME, JAMES H, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL D BYRNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BYNUM, JIMMY LEROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYNUM, KIMBERLY A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYNUM, MICHAEL W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD, BLANCH ELEASE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

BYRD, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRD, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRD, JOHNNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRD, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD, MARY J, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W DIEM SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BYRD, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRD, ROBERT E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD, ROBERT E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

BYRD, SARA, FOR THE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF LEROY BYRD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BYRD, THOMAS E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD, THOMAS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRD, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRD-GRAYSON, GARY E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRDSONG, JOHNNY WEBSTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRGE, LESLIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, BRIAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, DANIEL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, DENNIS EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRNE, FRANCIS X.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                              Nature

BYRNE, MARIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, PATRICK F. JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNE, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


BYRNES, BARBARA EDWARDS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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BYRNES, DANIEL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


BYRNES, JAMES J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


BYRNES, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


BYRON JACKSON PUMPS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


BYRON JACKSON PUMPS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURNS INTERNATIONAL SERVICES
200 SOUTH MICHIGAN AVE
CHICAGO, IL 60604




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

C & H DISTRIBUTORS LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
770 S 70TH ST
MILWAUKEE, WI 53214


C & J REVOCABLE TRUST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2929 PALO VERDE DRIVE
ODESSA, TX 75762


C C CREATIONS LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 SHILOH AVE
BRYAN, TX 77803


C D WILLIAMS ESTATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
123 W 15TH ST
SAN ANGELO, TX 76903


C E THURSTON & SONS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3335 CROFT ST
NORFOLK, VA 23513


C F BRAUN & CO INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 SOUTH FREMONT AVENUE
ALHAMBRA, CA 91802


C F BRAUN & CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


C H FENTON ESTATE AND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


C I ACTUATION                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842348
DALLAS, TX 75284-2348


C L SMITH INDUSTRIAL CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2972 ARNOLD TENBROOK RD
ARNOLD, MO 63010


C L SMITH INDUSTRIAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841155
KANSAS CITY, MO 64184-1155




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

C.J. MARTIN COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5903 GENOA-RED BLUFF RD
PASADENA, TX 77507


C.L. SMITH INDUSTRIAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2972 ARNOLD TENBROOK ROAD
ARNOLD, MO 63010


C.S.R. LIMITED D/B/A COLONIAL SUGAR                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHIRLEY L RUDOFSKI
2031 HEARTH CIRCLE
LANSING, IL 60438


C.V. MOSBY CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11830 WESTLINE INDUSTRIAL DRIVE
ST LOUIS, MO 63146


CA INC                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 933316
ATLANTA, GA 31193-3316


CABALLERO, ARMANDO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABALLERO, ELVIAN RAMON ORMENO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABALLO COAL COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 MARKET STREET
ATTN: CREDIT MANAGER
ST LOUIS, MO 63101


CABANILLAS, RALPH T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABELL, LINDA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABERNOCH, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CABEZODA, ANTOLINO PEREZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABEZUDO, ANTOLINO PEREZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CABOT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TWO SEAPORT LANE
BRIAN A. BERUBE, SVP, GEN. COUN.
SUITE 1300
BOSTON, MA 02110


CACCAMO, CARMINE C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CACTUS ENVIRONMENTAL SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4960 SINGLETON BLVD
DALLAS, TX 75212


CADDELL, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CADDELL, PAMELA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CADDELL, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CADDELL, TIMOTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CADENA, JUAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CADIZ, JOHN J.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CADIZ, RUSELL ROMAIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CADY, APRIL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAFARELLI, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAFFEY, LADELLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAFFEY, LESTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAGLE, ROBERT A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CAIN, ALBERT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAIN, DAWN M, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH CAIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAIN, DENNIS R, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOAN CAIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAIN, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAIN, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CAIN, RICHARD J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK J CAIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAIN, RICHARD J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILDRED A CAIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAIRA, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CALABRESE, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALCIANO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CALDERON ALVAREZ, MIGUEL ANGEL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CALDERON, PEDRO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALDWELL MACHINE & GEAR INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1869
MOUNT PLEASANT, TX 75456-1869


CALDWELL, ALLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALDWELL, BILLY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALDWELL, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALDWELL, FOSTER, SR. (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALDWELL, HAROLD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CALDWELL, IVA N                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALDWELL, LELAND O                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CALDWELL, RHUDEAN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT P HARTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALDWELL, RICHARD J. AND JUDITH CALDWELL                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALDWELL, RICHARD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CALDWELL, THARREL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALDWELL, THOMAS, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CALDWELL, VERNIE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALDWELL, WILLIAM, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALECA, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CALERO RIVERA, CONFESOR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CALERO, IVAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALGON CARBON CORP IND AND AS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD D. ROSE, SVP, GEN. COUN.
& SECRETARY
400 CALGON CARBON DRIVE
PITTSBURGH, PA 15205


CALGON CARBON CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 CALGON CARBON DRIVE
PITTSBURGH, PA 15205


CALGON CARBON CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 CALGON CARBON DRIVE
PITTSBURG, PA 15205


CALGON CARBONC ORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD D. ROSE, SVP, GEN. COUN.
& SECRETARY
400 CALGON CARBON DRIVE
PITTSBURGH, PA 15205


CALHOUN, CYRUS C. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CALHOUN, NICOLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALI, CANDACE M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL J MOYER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALICUTT, ROBIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CALIFORNIA FRANCHISE TAX BOARD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812-2952


CALIFORNIA FRANCHISE TAX BOARD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANCHISE TAX BOARD
PO BOX 942840
SACRAMENTO, CA 94240-0040


CALIFORNIA STATE CONTROLLER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DAVE BROWNFIELD
300 CAPITOL MALL, SUITE 1850
SACRAMENTO, CA 95814


CALIFORNIA STATE TEACHERS RETIREMENT SYS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TRANSWESTERN MANAGEMENT SERVICES
500 N. AKARD, SUITE 3150, ATTN: CONNIE
PRUETT CPM, RPA, SENIOR PROPERTY MANAGER
DALLAS, TX 75201


CALIFORNIA UNION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 CHESTNUT STREET
PHILADELPHIA, PA 19192


CALIFORNIAN INS. CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3700 WILSHIRE BLVD.
LOS ANGELES, CA 90010


CALISTRO, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALL COMMUNICATIONS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RADIO SHACK DEALER
PO BOX 1149
ROCKDALE, TX 76567


CALL, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CALL, WOODROW W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALLAHAN, FRANKLIN DELANO, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CALLAHAN, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALLAHAN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLAHAN, JUDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CALLAHAN, KATHLEEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CALLAHAN, REGINALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLANAN, JAMES J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CALLANAN, TIMOTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CALLANAN, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLARI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLAWAY GOLF COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 RUTHERFORD ROAD
CARLSBAD, CA 92008


CALLEN, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLENDER, KLAUDYA MCKEE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALLENDER, KNOLLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALLIHAN, CHARLES WAYNE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CALLIHAN, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CALLIS, WILLIAM H.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CALLOWAY, EDDIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CALLOWAY, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALONE, LEONARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CALPINE CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
BRENDAN K COLLINS
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


CALPINE CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
ROBERT BRUCE MCKINSTRY, JR
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


CALPINE ENERGY SERVICES, L.P.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CALPINE CORPORATION
717 TEXAS AVE, STE 1000
ATTN: CREDIT DEPARTMENT
HOUSTON, TX 77002-2743


CALUBAQUIB, ROMULO L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALVACCA, IGNAZIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALVERT CHAMBER OF COMMERCE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 132
300 MAIN ST HWY 6
CALVERT, TX 77837




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CALVERT ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7
310 HICKORY ST.
CALVERT, TX 77837


CALVERT, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CALVERT, EVERETT AND GWENDOLYN CALVERT                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALVERT, SCOTT M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALVERT, THOMAS (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CALVEY, AMANDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CALVEY, JAMES B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CALVIN, FREDDIE, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


CALVIN, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CAM AIR LLC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
23210 US HWY 98
FAIRHOPE, AL 36532




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CAMACHO, TEODORO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMACHO, YVONNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMARATA, JOSEPH, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMARERO, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMBIO, JOAN--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CAMBRE, DALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMBRIDGE HOMES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5601 DEMOCRACY DRIVE
SUITE 190
PLANO, TX 75024


CAMELA, LIMONA B, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMERON CONSTRUCTION & EQUIPMENT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1406 INDUSTRIAL ROAD
MOUNT PLEASANT, TX 75455


CAMERON INDIVID AND AS SUCC/IN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1333 WEST LOOP SOUTH
SUITE 1700
HOUSTON, TX 77027


CAMERON INTERNATIONAL CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1333 WEST LOOP SOUTH
SUITE 1700
HOUSTON, TX 77027




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Name of Counterparty                                                                                        Nature

CAMERON INTERNATIONAL CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMERON IRON WORKS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER INDUSTRIES,INC.
600 TRAVIS ST., SUITE 5800
HOUSTON, TX 77210


CAMERON ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 E 12TH ST
CAMERON, TX 76520


CAMERON SOLUTIONS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11210 EQUITY DR
SUITE 100
HOUSTON, TX 77041


CAMERON INTERNATIONAL CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1333 WEST LOOP SOUTH
SUITE 1700
HOUSTON, TX 77027


CAMERON, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100S. HOUSTON AVENUE
CAMERON, TX 76520


CAMERON, GARY LYNN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMERON, HOWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMERON, JOHNNIE LOU                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMERON, JUANITA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAMERON, PATRICIA A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERNARD A SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAMERON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMERON, TOMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMERON, WILLIAM B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMEX EQUIPMENT SALES AND RENTALS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1511 SPARROW DRIVE NISKU
NISKU, AB T9E 8H9
CANADA

CAMILLUCCI, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMILLUCCI, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMMARATA, SALVATORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMMISA, JOHN III                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CAMP COUNTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
126 CHURCH STREET
PITTSBURG, TX 75686


CAMP, CARY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CAMP, WAYNE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPANA, JEFF F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPANELLA, RALPH S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPANICKI, JOHN B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL SOUP CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LINDA TOEPL, AGENT
CAMPBELL PLACE
CAMDEN, NJ 08103


CAMPBELL SOUP CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAMPBELL PLACE
CAMDEN, NJ 08101


CAMPBELL SOUP CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 116
PARIS, TX 75460


CAMPBELL SOUP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAMPBELL PLACE
CAMDEN, NJ 08103




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Name of Counterparty                                                                                               Nature

CAMPBELL SOUP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLEN ORAN KADEN , SVP, CHIEF LEGAL
AND PUBLIC AFFAIRS OFFICER
1 CAMPBELL PLACE
CAMDEN, NJ 08103-1701


CAMPBELL TAGGART                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6211 LEMMON
DALLAS, TX 75209


CAMPBELL, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMPBELL, BRENDA K. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CAMPBELL, CLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CAMPBELL, DONNY LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMPBELL, FRED WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAMPBELL, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPBELL, GREGORY W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAMPBELL, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPBELL, JAMES LARRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAMPBELL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPBELL, JANIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, JEFFREY LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAMPBELL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                          Nature

CAMPBELL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPBELL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPBELL, JOHNNIE LEE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, KEITH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, KENNETH W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CAMPBELL, LANCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, MALCOM J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPBELL, OLA MAE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF EARL CAMPBELL
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


CAMPBELL, PAMELA GAYLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAMPBELL, REJEANNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                          Nature

CAMPBELL, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPBELL, ROBERTA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, RODNEY MARCUS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAMPBELL, ROGER LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAMPBELL, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, THOMAS H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPBELL, WALTER R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPBELL, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAMPILLAY RODRIGUEZ, OSCAR ENRIQUE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPO, MICHAEL M DEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CAMPONO, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAMPOPIANO, LEO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPOS, HECTOR MANGUAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPOS, ROQUE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAMPUTARO, VINCENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANADA REVENUE AGENCY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INTERNATIONAL TAX SERVICES OFFICES
PO BOX 9769, STATION T
OTTAWA, ON K1G 3Y4
CANADA

CANADAY, EUGENE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CANADY, CHESTER L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CANALE, MICHAEL C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CANAVAN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANCEL, EUSTAQUIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANCEL, EUSTAQUIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CANCIENNE, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CANCILLA, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANDALES, ANTONIO DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANDELA, NICHOLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANDELA, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANDELARIA, ROBERTA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANDIES, SUSAN V.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CANDUCCI, FREDERICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANE, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANESSA, C. ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANETE, EDGARDO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANFIELD, MATTHEW AND JUDY CANFIELD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANFIELD, WILLIAM DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CANGEMIE, ANN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CANGRO, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CANNATA, FRANK J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CANNELLA, SANTINO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANNING, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANNISI, JOSEPH A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANNON, GORDON, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALFRED SEIPP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANNON, JAMES E (BUCK)                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANNON, JOE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANNON, JOSEPH WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANNON, KEVIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CANNON, RAYMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CANNON, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANNON, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANNON, WAYNE JOSEPH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH F CANNON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANO, DOMINGO RODRIGUEZ                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANO, TIFFANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANOY, LEIGHTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANTAFIO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANTAFIO, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANTALI, SEBASTIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTEBRIA CROSSING DALLAS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1411 5TH ST #406
SANTA MONICA, CA 90401




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                                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                       Nature

CANTER, EDWARD F                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANTERBURY, CHARLES                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTERBURY, JAMES D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANTEY & HANGER, L.L.P.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J. FRANK KINSEL, JR.
2100 BURNETT PLAZA
801 CHERRY STREET
FORT WORTH, TX 76102-6899


CANTLEY, ROBERT ALISTAIR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CANTON CONTROL, LLC DBA CANTON MARKET PLACE ACCESS SELF STORAGE                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SCOTT S. MONROE
1455 N. TRADE DAYS BLVD
CANTON, TX 75103


CANTON, NICHOLAS                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CANTONE, FRANK                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CANTONE, JOSEPH                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CANTONE, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


CANTRELL, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANTRELL, JOAN G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANTRELL, RONALD JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CANTRELL, TIMOTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTRELLE, STEVE C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTRELLE, STEVEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTU FOODS & SUPPLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST #210
DALLAS, TX 75201-3480


CANTU FOODS & SUPPLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN STREET #210
DALLAS, TX 75201-3480


CANTU, ARTURO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                               Nature

CANTU, ERASMO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CANTU, HERMILA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTU, JAMES E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTU, MATIAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CANTWELL, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CANTY PERRY, MARY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANTY, ROBERT J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CANZONA, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CAOUETTE, JULES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

CAPACHIETTI, RALPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPALDI, VINCENT D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPARRELLI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CAPASSO, DEBRA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPASSO, LOUIS A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CAPCO FABRICATORS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 CR 205 N
HENDERSON, TX 75652


CAPCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
DOUG LACKEY
1717 WEST 6TH STREET, SUITE 250
AUSTIN, TX 78703-4777


CAPCO PIPE COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 MAIDEN LANE
NEW YORK, NY 10038


CAPCO PIPE COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAY, VALDEZ, MCCHRISTIAN AND JEANS, P.C.
LYNN LAYNE RADA
1250 NE LOOP 410, SUITE 700
SAN ANTONIO, TX 78209




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Name of Counterparty                                                                                             Nature

CAPCO SUPPLY DBA ODESSA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PUMPS & EQUIPMENT INC
3146 FM 2276 N.
HENDERSON, TX 75652


CAPCO SUPPLY DBA ODESSA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PUMPS & EQUIPMENT INC
3146 FM 2276 N.
HENDERSON, TX 75652


CAPCORP CONVEYOR AGGREGATE PRODUCTS CORP                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAPCORP
10500 N. STEMMONS FRWY
DALLAS, TX 75220


CAPCORP                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 540757
DALLAS, TX 75354-0757


CAPEHART, DENNIS G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAPEK, RICHARD AND BRENDA CAPEK                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAPEL, CONSTANCE O, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J OSTOVITZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAPELLA, BRUCE J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAPEN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPERNA, MARIO A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CAPEZZA, JOSEPH J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPGEMINI AMERICA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
623 FIFTH AVE 33RD FLOOR
NEW YORK, NY 10022


CAPILAYAN, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPITAL CITY TOOLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
219 HAHN DRIVE
FRANKFORT, KY 40601


CAPITAL ONE BANK (USA) NA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
BRIAN ALLEN KILPATRICK
901 MAIN STREET, SUITE 6000
DALLAS, TX 75202


CAPITAL ONE BANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1680 CAPITAL ONE DR
MCLEAN, VA 22102


CAPITOL CITY JANITORIAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2420 B PATTERSON INDUSTRIAL DR
PFLUGERVILLE, TX 78660


CAPITOL CITY JANITORIAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BLANCA BEHSERESHT, PRESIDENT
2420 PATTERSON INDUSTRIAL DR
PFLUGERVILLE, TX 78660


CAPLES, ROGER A--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CAPLINGER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPOBIANCO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CAPOBIANCO, DAVID J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPOBIANCO, JOSEPH P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPOBIANCO, MICHAEL P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CAPONE, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPONE, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPONE, THOMAS ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPONIS, PATRICIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPPELLINO, LOUIS P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAPPELLO, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPPELLO, MARILYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CAPPS HARDWARE & AG CENTER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BARRY CAPPS
512 W US HWY 84
FAIRFIELD, TX 75840


CAPPS TRUE VALUE HARDWARE & AG CENTER                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
512 W HWY 84
FAIRFIELD, TX 75840


CAPPS, CAROLYN S. DECEASED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CAPPS, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPRIO, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPRIOTTI, VIRGINIA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


CAPRONI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAPRONI, KEITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAPSULE PRODUCTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 20431
DALLAS, TX 75230




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAPUANO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAPUANO, NICHOLAS W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARACCIOLO, ROBERT NICHOLAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARAFFA, MICHELLE N, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICKOLAS CARAFFA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARATZOLA, VINCENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARAVELLO, THOMAS, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARBOLINE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


CARBOLINE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


CARBOLINE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2150 SCHUETZ ROAD
ST LOUIS, MO 63146




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MI 48326


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CARBOLINE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2150 SCHUETZ ROAD
ST LOUIS, MO 63146


CARBORUNDUM CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1625 BUFFALO AVENUE
NIAGARA FALLS, NY 14303


CARBORUNDUM CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE, BRYAN TOWER,
STE 1300, 2001 BRYAN ST
DALLAS, TX 75201-3008




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Name of Counterparty                                                                                          Nature

CARBORUNDUM CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KRUTZ & TARDY
THOMAS W TARDY III TARDY
4900 WOODWAY DRIVE, SUITE 940
HOUSTON, TX 77056-1800


CARD, DIANNE E. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CARD, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDEN, CATHY (HUMPHREY)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARDIELLO, FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDINAL INDUSTRIAL INSULATION COMPANY INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS W MUELLER
1300 WEST MAIN ST
LOUISVILLE, KY 40203


CARDINAL INDUSTRIAL INSULATION COMPANY INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS W MUELLER
1300 WEST MAIN ST
LOUISVILLE, KY 40203


CARDINAL INDUSTRIAL INSULATION COMPANY INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM J KNAPP
PO BOX 446
EDWARDSVILLE, IL 62025


CARDINAL INDUSTRIAL INSULATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 W MAIN ST
LOUISVILLE, KY 40203




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CARDINAL INDUSTRIAL SUPPLY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KNAPP OHL & GREEN
6100 CENTER GROVE RD.
EDWARDSVILLE, IL 62025


CARDINAL, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARDINAL, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARDINALI, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CARDONI, EUGENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDOSO, JOSE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDOSO, MIKE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDOZA, LEONARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARDWELL, LONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARDWELL, LYNGLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

CARDWELL, VERNON E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARE, HERMAN T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAREBALLO, MIGUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARECCIA, NICHOLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAREMARK PCS HEALTH LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



CAREY CANADA INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
95 RG 3 N
TRING-JONCTION, QC G0N 1X0
CANADA

CAREY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAREY, FRANK M--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CAREY, IRVIN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CAREY, JAMES E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

CAREY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAREY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAREY, VINCENT W--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CAREY, WILLIAM V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CARGILE, JAMES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARGILL INC FKA GARDINIER INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9300
MINNEAPOLIS, MN 55440-9300


CARGILL INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2550 VALLEY ST
PO BOX 9300
MINNEAPOLIS, MN 55440


CARGILL INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9350 EXCELSIOR BLVD, #150
ATTN: MARC MORTL, CREDIT MANAGER
HOPKINS, MN 55343


CARGLE, JAMES LARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                           Nature

CARGLE, KENNETH W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CARGLE, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARIDAD, MANUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARIGNAN, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARITHERS, KERRY L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARKIN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARL OWENS TRUCK & RV COLLISION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CENTER
2415 EAST ERWIN
TYLER, TX 75702


CARL P. WALLACE & COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10742 STEMMONS
DALLAS, TX 75220


CARL WHITE CHEVROLET                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 31 AT I-45
CORSICANA, TX 75151




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Name of Counterparty                                                                                                Nature

CARL WHITE'S AUTOPLEX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1773
CORSICANA, TX 75151


CARLETON NORTH CENTRAL LTD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LISA MALONE-ROHR
5485 BELTLINE RD STE 300
DALLAS, TX 75254


CARLETON, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLEY, JOHN P                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARLILE, GREG P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARLISLE COMPANIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11605 N. COMMUNICTY HOUSE RD.
SUITE 600
CHARLOTTE, NC 28277


CARLISLE INDUSTRIAL BRAKE & FRICTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6180 COCHRAN ROAD
SOLON, OH 44139


CARLO, EDWARD R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARLOCK, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARLOCK, JENIFER LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARLOCK, NINA LORENE LOFTICE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CARLOTTI, PETER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARLOW, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLSON SOFTWARE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 W 2ND ST STE 200
MAYSVILLE, KY 41056


CARLSON SOFTWARE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GRANT WENKER
102 WEST 2ND STREET #200
MAYSVILLE, KY 41056


CARLSON, CARL (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLSON, EVERT M--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CARLSON, JOHN A, SR--EST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CARLSON, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARLSON, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARLSON, KENNETH M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CARLSON, NEAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARLSON, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLSON, SHELDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLSON, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARLSON, VICTOR STEVEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARLSON, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARLTON, CARDOZO P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARLTON, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CARLTON, ERNEST, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARLTON, ISAAC F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARLUCCI, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


CARMAN, DON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARMAN, JAMES ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARMAN, ROBERT D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CARMEAN, WILLIAM H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARMICHAEL, DWIGHT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


CARMICHAEL, ELAINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARMICHAEL, HAROLD D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARMICHAEL, RANDY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARMICHAEL, RAYMOND J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CARMICHAEL, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARMODY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARN, KATHLEEN ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARNAROLI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARNATION CO. (CAN DIVISION)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 E. BROAD
MANSFIELD, TX 76063


CARNATION CO.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5045 WILSHIRE BLVD.
LOS ANGELES, CA 90036


CARNATION COMPANY INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NESTLE FOOD COMPANY INC.
800 N. BRAND BOULEVARD
GLENDALE, CA 91203




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CARNEVALE, KENNETH R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARNEVALE, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARNEY, DENNIS W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CARNEY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARNEY, NORMAN G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARNEY, WILLIAM T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARNEY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARNLEY, JOHN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CAROLA, NICHOLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAROLL, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAROLL, WALLACE PRESTON, SR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAROLLO, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAROLLO, PIETRO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAROLUS, JEFFREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAROLUS, LARRY B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


CAROLUS, LEONA Q, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES S CAROLUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARON, ALCIDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARON, STUART                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CAROTEX, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3901
110 YACHT CLUB ROAD
PORT ARTHUR, TX 77642


CARPENTER CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5016 MONUMENT AVENUE
RICHMOND, VA 23230


CARPENTER MD, DR BRUCE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARPENTER, BARRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARPENTER, DELORES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARPENTER, DONALD M                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARPENTER, FREDERICK E                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARPENTER, KENNETH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARPENTER, MAURICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARPENTER, PATRICK E.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARPENTER, PINAR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARPENTER, PRESTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


CARPENTER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARPENTER, RICHARD S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARPENTER, ROBERT C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


CARPENTER, SHANNA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARPENTER, THELMA C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARPER, JAMES F, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARPER, JOSEPH R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARQUEST AUTO PARTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4721 HARGROVE ROAD
RALEIGH, NC 27616


CARQUEST CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2635 EAST MILLBROOK ROAD
RALEIGH, NC 27604




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Name of Counterparty                                                                                             Nature

CARR, CAROL S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, GROVER (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARR, HENRY ALVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, HENRY ALVIN, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARR, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARR, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARR, LESTER EARNEST (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, LISA L, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARROLL CARR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                               Nature

CARR, STEPHEN & CECILIA CARR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, STEPHEN AND CECILLIA CARR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARR, VARNETTE D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUBY A PRIDEAUX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARR, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARRAGHAN, ROBERTA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARRANO, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARRASCO, JOSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARRATURO, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CARRAZALES, CRESPIN, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


CARRELL, GREGORY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CARRERAS, VICENTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARRETE, JESUS J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARRETE, JESUS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARRICO, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARRIER AIR CONDITIONING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2010
TYLER, TX 75710


CARRIER AIR CONDITIONING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT E. GALLI,VP/GENERAL COUNSEL
ONE CARRIER PLACE
FARMNGTON, CT 06034


CARRIER CORPORATION DBA BRYANT HEATING & COOLING SYSTEMS                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOLING SYSTEM
420 LEXINGTON AVE
HOUSTON, TX 77002


CARRIER CORPORATION DBA BRYANT HEATING & COOLING                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOLING SYSTEM
420 LEXINGTON AVE
NEW YORK, NY 10170


CARRIER CORPORATION DBA TOBRY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CARRIER PLACE
FARMINGTON, CT 06034-4015


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 W 33RD ST #1L
NEW YORK, NY 10001


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AHMUTY DEMERS & MCMANUS, ESQS
200 I.U. WILLETS RD
ALBERTSON, NY 11507


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1635 MARKET STREET
PHILADELPHIA, PA 19103


CARRIER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CARRIER PLACE
FARMINGTON, CT 06032


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT GALLI, AGENT, VP & GENL.CNSEL
ONE CARRIER PLACE
FARMINGTON, CT 06034


CARRIER CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, SHARLA J FROST
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARRIER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
150 EAST 42ND STREET
NEW YORK, NY 10017-5639


CARRIER ENTERPRISE LLC SC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730246
DALLAS, TX 75373-0246


CARRIER, DELBERT LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARRIER, RODERICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARRIGAN, WAYNE DEAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CARRO, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARROL, BRUCE E, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WARREN W CARROLL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARROL, MILLER, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W CARROLL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARROLL INDEPENDENT SCHOOL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: R. BRUCE MEDLEY
P.O. BOX 13430
ARLINGTON, TX 76094-0430


CARROLL, ALMETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARROLL, ANTHONY J, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARROLL, BILLY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, CHARLES RUSSELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CARROLL, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARROLL, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CARROLL, FRANCES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, GEORGANNA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE M FROCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARROLL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CARROLL, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CARROLL, JUNE A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F CARROLL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARROLL, LORRI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, MALVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CARROLL, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARROLL, RAYMOND ANTHONY, SR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, RAYMOND, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, ROBERT F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLL, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARROLL, ROCKY DALE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                         Nature

CARROLL, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARROLL, WILBER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARROLL, WILLIAM E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARROLLTON FARMERS BRANCH ISD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1445 N. PERRY RD.
CARROLLTON, TX 75006


CARROLLTON, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1945 E. JACKSON ROAD
CARROLLTON, TX 75006


CARSON, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSON, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSON, RUSSEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSON, STEVEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

CARSTEN, BERT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSTEN, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSTO, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARSWELL, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CARTEE, FRANK JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARTEE, KAREN LYNNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER DAY INTERNATIONAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 73RD AVENUE N.E.
MINNEAPOLIS, MN 55432


CARTER EQUIPMENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 W TYLER ST
LONGVIEW, TX 75601


CARTER, ANDREW R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CARTER, ASHLEY D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CARTER, BERTHA M.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, BILLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, BOBBY FOREST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, CAROL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, CHARLES L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, COLLIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, DYLAN J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, JAMES S.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, JAMES T.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, JOHN LEWIS, JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CARTER, JOSEPH W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARTER, KATHY M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARTER, LEWIS I., JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, LOIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, MICHAEL PATRICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CARTER, MICKEY MAHAFFEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, NATTIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, NIVEN BURTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CARTER, RICHARD K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

CARTER, RICKEY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARTER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, SANDRA LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, SANDRA S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CARTER, STEFANI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CARTER, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, VICKI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, WANDA R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTER, WILLIE L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARTER, WYLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTHAGE ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
#1 BULLDOG DRIVE
CARTHAGE, TX 75633


CARTHAGE MACHINE & WELDING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 232
CARTHAGE, TX 75633


CARTWRIGHT, CORRINA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES F VALENTINE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARTWRIGHT, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARTWRIGHT, STEVE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARTWRIGHT, TINA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES W CARTWRIGHT SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARTY, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARUSO, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARUSO, JOSEPH S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARUSONE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARUTHERS, V                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARUTHERSVILLE SHIPYARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRINITY INDUSTRIES, INC.
2525 STEMMONS FREEWAY
DALLAS, TX 75207


CARVAJAL, LUDVINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARVAJAL, LUDVINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MATTHEW JOHN EDDY
714 LOCUST STREET
ST LOUIS, MO 63101


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19802


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
241 PARK AVENUE
MUSCATINE, IA 52761-5691


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2415 PARK AVE
MUSCATINE, IA 52761




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Name of Counterparty                                                                                             Nature

CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LANDE & HUNTER STANLEY
301 IOWA AVE SUITE 400
MUSCATINE, IA 52761


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MARK ROBERT FELDHAUS
714 LOCUST STREET
ST LOUIS, MO 63101


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MATTHEW JOHN EDDY
714 LOCUST STREET
ST LOUIS, MO 63101


CARVER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19802


CARVER, CARL N, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JULIUS BROCKTON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CARVER, EMERY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARVER, GEORGE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CARVER, INC, (MURRAY-CARVER)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE LUMMUS DRIVE
SAVANNAH, GA 31422


CARVER, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOHN EKE, PRESIDENT
115 COLEMAN BLVD.
SAVANNAH, GA 31408




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CARVER, JACKIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CARVER, LLOYD ANDREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CARVER, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CARVER, SHIRLEY B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASA, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASABONA, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASADOS, HERACLIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASALE, FRANK MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


CASALE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CASALI, JOHN A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASASANTA, VINCENT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASCADE ANALYTIC LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1705 GILL RD
DICKINSON, TX 77539


CASCADES 120 LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1519 SAN FRANCISCO COURT
ARLINGTON, TX 76012


CASCONE, LOUIS T.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASE M&I LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5857 WRIGHT DR
LOVELAND, CO 80538


CASE, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


CASE, DAVID R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASE, GORDEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CASE, MARY AND RICHARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034




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Name of Counterparty                                                                                       Nature

CASEBIER, NED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASELLA, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASEY JR, ROY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASEY, ALLEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASEY, DENIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASEY, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASEY, JAMES E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASEY, JOHN M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASEY, JOHN P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASEY, JOSEPH D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CASEY, JUANITA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASEY, LARRY ALAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


CASEY, SUSANNAH, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS KEYS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASEY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASH, CHARLIE HOWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CASH, CLEVELAND T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASH, ROBERT H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASHCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
607 WEST 15TH ST
ELLSWORTH, KS 67439


CASHCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA ANN LACONTE, ATTORNEY AT LAW
CHASE BUILDING, SUITE 600
124 S.W. ADAMS
PEORIA, IL 61602




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Name of Counterparty                                                                                             Nature

CASHCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PHILLIP G RODGERS
HWY 140 WEST
ELLSWORTH, KS 67439


CASHEN, EVELYN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASHEN, THOMAS J, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASHER, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASHIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASHMAN, GLENN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASILLAS, HECTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASLIN, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASLIN, VINCENT D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASPER, RICHARD L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                              Nature

CASS, BENNY L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CASS, FRANCIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASS, GERALD L ESTATE OF                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASS, GERALD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASS, KYLE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CASSANI, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASSAR, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASSAR, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASSAT, PATRICIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT W ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

CASSATA, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASSEDAY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASSELBERRY, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASSELL, NANCY C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE J SCHMELZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASSENS, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASSIDY JR., DANIEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASSIDY TURLEY COMMERCIAL REAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE SERVICES INC
ATTENTION ACCOUNTS RECEIVABLE
1390 TIMBERLAKE MANOR PKWY 230
ST LOUIS, MO 63131


CASSIDY TURLEY COMMERCIAL REAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE SERVICES INC
ATTN: ACCOUNTS RECEIVABLE
1390 TIMBERLAKE MANOR PKY 230
CHESTERFIELD, MO 63017




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CASSIDY TURLEY, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SETTLE POU
ATTN: DAVID M. O'DENS & MICHAEL P. MENTO
3333 LEE PARKWAY, EIGHTH FLOOR
DALLAS, TX 75219


CASSIDY, CHRISTINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASSIDY, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASSIDY, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CASSIDY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASSIDY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASSIDY, MATTHEW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASSIDY, MAURICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASSIDY, OLIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASSISTA, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTAGNA, LOUIS MILO (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CASTAGNA, NANCY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


CASTAGNERA, DANIELLE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK GAVA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASTALDI, VICTOR M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CASTALDO, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTALDO, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTANEDA, ALBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CASTELLANO, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTELLI, NICHOLAS J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CASTELLI, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CASTELLON, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTER, ANDREW EUGENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASTER, ROY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTIGLIONE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTILLO, CECILIA DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CASTILLO, DAVID, SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CASTILLO, JOSE SILVA (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CASTILLOUX, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CASTLE, CINDY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASTLE, EVERETT DOYLE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASTLE, WALTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTLEROCK COMMUNITIES LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7670 WOODWAY DR #300
HOUSTON, TX 77063


CASTNER, KENNETH J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CASTNER, WESLEY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CASTO, CARL V                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASTONGUAY, NORMAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASTONGUAY, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CASTORA, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASTORENA, TED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


CASTRICONE, JOHN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CASTRO, JAIME                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASTRO, JAIME                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASTRO, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CASTROL INDUSTRIAL NORTH AMERI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 WEST WARRENVILLE RD
603-1E
NAPERVILLE, IL 60563


CASWELL, CRAIG V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CASWELL, GARDNER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CASWELL, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CAT FINANCIAL CAPITAL SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 905010
CHARLOTTE, NC 28290-5010


CAT GLOBAL MINING                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CATERPILLAR INC.
100 N.E. ADAMS STREET
PEORIA, IL 61629-7310


CATALAN ORELLANA, JUAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATALAN WILSON, JAVIERA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATALDO, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CATALYTIC CONSTRUCTION COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1528 WALNUT ST
PHILADELPHIA, PA 19102-3604


CATALYTIC INDUSTRIAL MAINTENANCE CO INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HENNESSY LAW FIRM
EDWARD J HENNESSY
2900 WESLAYAN STREET, SUITE 550
HOUSTON, TX 77027-5185


CATANI, RICHARD F--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CATE, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CATENA, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CATERINO, JOHN GEORGE, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATERPILLAR FINANCIAL SERVICES CORP.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BUCHANAN INGERSOLL & ROONEY PC
ATTN: KATHLEEN A. MURPHY, ESQ.
919 NORTH MARKET STREET, SUITE 1500
WILMINGTON, DE 19801


CATERPILLAR FINANCIAL SVC INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730681
DALLAS, TX 75373-0681


CATERPILLAR FINANCIAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES B BUDA, VP, CHIEF LEGAL OFFICER
& SECRETARY
501 SW JEFFERSON STREET
PEORIA, IL 61614


CATERPILLAR GLOBAL MINING LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 689464
CHICAGO, IL 60695-9464


CATERPILLAR INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CATERPILLAR INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


CATERPILLAR INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CATERPILLAR INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES B BUDA, VP, CHIEF LEGAL OFFICER
& SECRETARY
501 SW JEFFERSON STREET
PEORIA, IL 61614


CATERPILLAR INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES B BUDA, VP, CHIEF LEGAL OFFICER & SECRETARY
501 SW JEFFERSON STREET
PEORIA, IL 61614


CATES, GAYLON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CATES, LARRY R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATES, TED A.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATHCART, JAMES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CATHEY, JOE ALLAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CATHEY, LARRY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CATHOLIC UNITED FINANCIAL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT, INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
SAINT PAUL, MN 55101


CATIZONE, DOROTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CATON, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CATON, NANCY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CATTERTON, DENNIS M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANKLIN N CATTERTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CATTRON THEIMEG INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 418114
BOSTON, MA 02241-8114


CATUOGNO, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CATUZZI, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAUDLE, DONNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAUDULLO, ANTHONY S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CAULDER, JANICE M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAULDER, TONY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                               Nature

CAULFIELD, THOMAS J., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CAULFIELD, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAULK, CHARLES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAUTHEN, BOYCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CAVACINI, FRANK A.JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CAVADEAS, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVALIERE, JOSEPH H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CAVALLARO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                            Retained Causes of Action

                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CAVALLO, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVALLO, NICHOLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVALLO, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVANAGH, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVANAUGH, CYNTHIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAVANAUGH, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVE, ROBERT                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVELL, CHARLES M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                            Retained Causes of Action

                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CAVELL, EUGENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVELL, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVELLIER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVENDER, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAVEY, JOSEPH C, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOYCE A CAVEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAVINESO, MARY HELEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CAVOTTA, RICHARD J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CAWLEY, JOHN T.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CAWLEY, MARY E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK E CAWLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CAYTON, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CAYUGA ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17750 N. US HWY. 287
TENNESSEE COLONY, TX 75861


CBI NA-CON INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2103 RESEARCH FOREST DR.
THE WOODLANDS, TX 77380


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWRENCE TU, SVP, CHIEF LEGAL OFFICER
51 W 52ND STREET
NEW YORK, NY 10019-6188


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR WEST
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWRENCE TU, SVP, CHIEF LEGAL OFFICER
51 W 52ND STREET
NEW YORK, NY 10019-6188




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 STANWIX STREET, ROOM 338
PITTSBURGH, PA 15222


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 BROADWAY, 32ND FLOOR
NEW YORK, NY 10036


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
51 W 52ND STREET
NEW YORK, NY 10019-6188


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
80 STATE ST
ALBANY, NY 12207


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2595 INTERSTATE DRIVE
HARRISBURG, PA 17110


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


CBS CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
701 BRAZOS ST, SUITE 750
AUSTIN, TX 78701




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JENNIFER ANTOINETTE JUMPER
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CBS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                                                  ENERGY FUTURE HOLDINGS CORP., et al.

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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J HAINKEL
FRILOT PARTRIDGE & KOHNKE
1100 POYDRAS ST
NEW ORLEANS, LA 70163


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWRENCE TU, SVP, CHIEF LEGAL OFFICER
51 W 52ND STREET
HOUSTON, TX 77002


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWRENCE TU, SVP, CHIEF LEGAL OFFICER
51 W 52ND STREET
NEW YORK, NY 10019-6188


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY CATHERINE BACK
POND NORTH LLP
350 SOUTH GRAND AVE, SUITE 3300
LOS ANGELES, CA 90071


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH WILLIAM FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CITY CENTRE
ROBERT SCOTT SANDERSON
515 N 6TH ST
ST LOUIS, MO 63101


CBS CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
MICHAEL TANENBAUM, 3 GATEWAY
CENTER, 100 MULBERRY ST 12TH FLOOR
NEWARK, NJ 07102-4061


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, ET AL LLP
VIACOM, INC, F/K/A WESTINGHOUSE
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


CBS CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


CBS CORPORATON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
51 W 52ND STREET
NEW YORK, NY 10019-6188


CBS CORPORATON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWRENCE TU, SVP, CHIEF LEGAL OFFICER
51 W 52ND STREET
NEW YORK, NY 10019-6188


CBS F/K/A WESTINGHOUSE ELECTRIC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7 ST. PAUL ST, STE 1660
BALTIMORE, MD 21202


CCC GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5797 DIETRICH ROAD
SAN ANTONIO, TX 78219


CCET                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
114 WEST 7TH ST STE 1210
AUSTIN, TX 78701




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CCI INSPECTION SERVICES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24624 INTERSTATE 45 STE 200
SPRING, TX 77386-4084


CCP CONCRETE PUMPING LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 137064
FORT WORTH, TX 76136


CCP CONCRETE PUMPING LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 137064
FORT WORTH, TX 76136


CDF SERVICES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1722 N COLLEGE AVE STE C NO 306
FAYETTEVILLE, AR 72703


CDI-CHEMICAL DISTRIBUTORS,INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHEMICAL DISTRIBUTORS,INC.
18501 HIGHWAY 6
ALGOA, TX 77551


CDW DIRECT LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N MILWAUKEE AVE
VERNON HILLS, IL 60061


CDW DIRECT LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 75723
CHICAGO, IL 60675-5723


CDW                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RONELLE ERICKSON
200 N. MILWAUKEE AVE
VERNON HILLS, IL 60061


CEBALLOS, LOTTIE D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CEBULLA, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CEBULSKI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CECCACCI, LORRI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


CECCACCI, MICHAEL GARY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CECCHINI, MARC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CECCI, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CECO SALES CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
708 N MAIN ST
FORT WORTH, TX 76164-9435


CECO SALES CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4237
FORT WORTH, TX 76164-0237


CEDAR HILL SENIOR HOUSING LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PRIMROSE OF CEDAR HILL APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


CEDAR POINT LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CEDAR POINT TOWNHOMES
1751 TOWNE CROSSING BLVD
MANSFIELD, TX 76063




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CED-UNITED ELECTRIC COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1901-B CALIFORNIA STREET
WICHITA FALLS, TX 76301


CEGLADY, KERRY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CEILCOTE CORROSION CONTROL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
640 N ROCKY RIVER RD
BEREA, OH 44701


CEKAVIC, JOHN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CELANESE CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GJON N NIVICA JR, SVP & GEN. COUN.
222 W. LAS COLINAS BLVD.
SUITE 900N
IRVING, TX 75039


CELANESE LTD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CELANESE LTD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
E BEN JR THAMES
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


CELANESE LTD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
EDWARD MORRIS SLAUGHTER
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


CELANESE LTD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KASOWITZ, BENSON, ET AL, LLP
NORMAN W PETERS, JR, HENRY D DREWINKO
700 LOUISIANA STREET, SUITE 2200
HOUSTON, TX 77002-2730




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CELLA, VINCENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CELLI, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CELLU TISSUE CORP NEENAH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
249 NORTH LAKE STREET
NEENAH, WI 54956


CELLUCCI, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CELLULAR ONE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660890
DALLAS, TX 75266-0890


CELMER, RICHARD N , SR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY CELMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CELONE, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CELOTEX CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4010 BOY SCOUT BLVD
TAMPA, FL 33607


CELTEX INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
997 CHEROKEE TRACE
WHITE OAK, TX 75693


CELTEX INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
997 CHEROKEE TRACE
WHITE OAK, TX 75693




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CEMS PROFESSIONAL SERVICES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CEMSPRO
518 WILD FIRE DR
WALDRON, AR 72958


CEMSPRO                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CEMS PROFESSIONAL SERVICES LLC
518 WILD FIRE DRIVE
WALDRON, AR 72958


CENAC TOWING, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2617
HOUMA, LA 70361


CENTAFANTI, ROCCO--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CENTENNIAL INS. CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6901 S. PIERCE ST., SUITE 233
LITTLETON, CO 80128


CENTENNIAL TUSCANY VILLAS LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CENTURY LEGACY VILLAGE
5301 WEST SPRING CREEK PKWY
PLANO, TX 75024


CENTER OPERATING COMPANY LP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 VICTORY AVE
DALLAS, TX 75219


CENTERPOINT ENERGY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1700
HOUSTON, TX 77251


CENTERPOINT ENERGY FIELD SERVICES LP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST.
DALLAS, TX 75201


CENTERPOINT ENERGY HOUSTON ELECTRIC LLC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JASON ALLEN NEWMAN
BAKER BOTTS LLP
910 LOUISIANA ST
HOUSTON, TX 77002-4916




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CENTERPOINT ENERGY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
DALLAS, TX 75201


CENTERPOINT ENERGY INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
DALLAS, TX 75201


CENTERPOINT ENERGY PROPERTIES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST.
DALLAS, TX 75201


CENTERPOINT ENERGY RESOURCES CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST.
DALLAS, TX 75201


CENTERPOINT ENERGY SERVICE COMPANY LLC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST.
DALLAS, TX 75201


CENTERPOINT ENERGY SERVICES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
DALLAS, TX 75201


CENTERPOINT ENERGY SERVICES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 LOUISIANA ST.
HOUSTON, TX 77002


CENTERVILLE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 246
CENTERVILLE, TX 75833


CENTEX CEMENT CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 NAVIGATION BLVD
CORPUS CHRISTI, TX 78405


CENTEX HOMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PULTE HOMES OF TEXAS
4800 REGENT BLVD STE 100
ATTN TRICIA CARRILLO
IRVING, TX 75063




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CENTRAL FINANCIAL CONTROL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
G.J. CHAVEZ & ASSOCIATES P.C
JULIE FONTENOT
800 E. CAMPBELL RD. STE. 345
RICHARDSON, TX 75081


CENTRAL FREIGHT LINES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 EASTSIDE DRIVE
WICHITA FALLS, TX 76301


CENTRAL FREIGHT LINES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 EASTSIDE DRIVE
WICHITA FALLS, TX 76301


CENTRAL FREIGHT LINES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 905
FORT WORTH, TX 76101


CENTRAL HEIGHTS ISD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10317 HWY 259N
NACOGDOCHES, TX 75965


CENTRAL HUDSON GAS & ELECTRIC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 CENTRAL HUDSON WAY
FISHKILL, NY 12524


CENTRAL HUDSON GAS & ELECTRICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON HINE, LLP
335 MADISON AVENUE, 12TH FLOOR
NEW YORK, NY 10017


CENTRAL ILLINOIS LIGHT COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 LIBERTY ST
PEORIA, IL 61602


CENTRAL ILLINOIS LIGHT COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERIC EUGENE DEARMONT, ATTORNEY AT LAW
9504 MARBOB DR
ST LOUIS, MO 63123


CENTRAL ILLINOIS LIGHT COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CENTRAL ILLINOIS LIGHT COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CENTRAL ILLINOIS LIGHT COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES A TISCKOS
607 EAST ADAMS STREET
SPRINGFIELD, IL 62739


CENTRAL ILLINOIS PUBLIC SERVICE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
607 E ADAMS ST
SPRINGFIELD, IL 62739


CENTRAL ILLINOIS PUBLIC SERVICE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERIC EUGENE DEARMONT, ATTORNEY AT LAW
9504 MARBOB DR
ST LOUIS, MO 63123


CENTRAL ILLINOIS PUBLIC SERVICE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CENTRAL ILLINOIS PUBLIC SERVICE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CENTRAL ILLINOIS PUBLIC SERVICE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACQUELINE K VOILES
607 EAST ADAMS
SPRINGFIELD, IL 62701


CENTRAL JERSEY SUPPLY CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 2ND ST
PERTH AMBOY, NJ 08861


CENTRAL MARKETING INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 IRVING PLACE
NEW YORK, NY 10003




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CENTRAL MARKETING INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 IRVING PLACE
NEW YORK, NY 10003


CENTRAL POWER & LIGHT COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RUSSELL W. DRAVES,MGR. WATER QUAL.
PO BOX 660164
DALLAS, TX 75266-0164


CENTRAL STEEL AND WIRE CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 W 51ST ST
CHICAGO, IL 60632-2122


CENTRAL TELEPHONE COMPANY OF TEXAS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CENTURYLINK
ATTN: BANKRUPTCY
1801 CALIFORNIA ST RM 900
DENVER, CO 80202


CENTRAL TEXAS COLLEGE DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CENTRAL TEXAS COLLEGE
6200 WEST CENTRAL EXPRESSWAY
KILLEEN, TX 76549


CENTRAL TEXAS COLLEGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6200 WEST CENTRAL EXPRESSWAY
KILLEEN, TX 76549


CENTRAL TEXAS SECURITY & FIRE EQUIPMENT                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
205 B-1B OTIS DR
WACO, TX 76712


CENTRAL TEXAS SECURITY & FIRE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EQUIPMENT, INC.
ATTN: STEVEN M. BURTON
510 N. VALLEY MILLS DRIVE, SUITE 500
WACO, TX 76710


CENTRAL TEXAS WORKFORCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEVELOPMENT BOARD INC
PO BOX 450
200 NORTH MAIN
BELTON, TX 76513-0450




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CENTRAL VOLKSWAGON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 S. CENTRAL EXPRESSWAY
RICHARDSON, TX 75201


CENTRIFUGAL TECHNOLOGIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
330 CENTECH DR
HICKORY, KY 42051


CENTURY GEOPHYSICAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1223 S 71ST E AVE
TULSA, OK 74112


CENTURY GEOPHYSICAL CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOHN P. MCCORMICK, PRESIDENT
1223 S 71ST EAST AVENUE
TULSA, OK 74112


CENTURY LINK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUSINESS SERVICES
PO BOX 52187
PHOENIX, AZ 85072-2187


CENTURY LINK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29040
PHOENIX, AZ 85038-9040


CENTURY LINK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4300
CAROL STREAM, IL 60197-4300


CENTURY WEATHERPROOFING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1735
BOWIE, TX 76230-1735


CENTURY WEATHERPROOFING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 83
ROSSTON, TX 76263


CENTURYLINK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2961
PHOENIX, AZ 85062-2961




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CENTURYTEL OF LAKE DALLAS, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CENTURYLINK
ATTN: BANKRUPTCY
1801 CALIFORNIA ST, RM 900
DENVER, CO 80202-265


CENZANO, ANDREW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CEPERO, LEONARDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CERDA, ABEL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CERNA, CARLOS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CERNAK, LOUIS J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CERNY, DON                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CERONE, ANTHONY F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CERONE, CARMINE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CERRO COPPER PRODUCTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 MISSISSIPPI AVE
SAUGET, IL 62206


CERRO WIRE & CABLE CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1099 THOMPSON RD SE
HARTSELLE, AL 35640




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Name of Counterparty                                                                                             Nature

CERRO WIRE LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE SERVICE COMPANY
84 STATE STREET
BOSTON, MA 02109


CERRO WIRE LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA ANN LACONTE, ATTORNEY AT LAW
CHASE BUILDING, SUITE 600
124 S.W. ADAMS
PEORIA, IL 61602


CERTAIN UNDERWRITERS AT LLOYD'S LONDON                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES R LOGAN
2419 MARYLAND AVE
BALTIMORE, MD 21218


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 860
VALLEY FORGE, PA 19482


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 EAST SWEDESFORD ROAD
VALLEY FORGE, PA 19481


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CERTAINTEED CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
MISTI MOSTELLER
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


CERTAINTEED CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
PAULA HEIRTZLER BLAZEK
550 FANNIN, SUITE 400
BEAUMONT, TX 77701




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES H. POWERS
PO BOX 860
VALLEY FORGE, PA 19482


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MICHAEL PATRICK MCGINLEY
714 LOCUST
ST LOUIS, MO 63101


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF LORI B. WIESE
LORI B. WIESE
4848 LOOP CENTRAL DRIVE, SUITE 610
HOUSTON, TX 77081




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Name of Counterparty                                                                                              Nature

CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 860
VALLEY FORGE, PA 19482


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 860
VALLEY FORGE, PA 19482


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
JAMES H POWERS, LORI WIESE
1221 MCKINNEY ST, SUITE 2400
HOUSTON, TX 77010-2007


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED SMITH, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
5847 SAN FELIPE STREET, SUITE 2300
ANGLETON, TX 77515


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


CERTAINTEED CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
909 FANNIN STREET, SUITE 3300
HOUSTON, TX 77010


CERTAINTEED                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4333 IRVING BLVD.
DALLAS, TX 75247


CERVANTES-DELGADO INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9083
BREA, CA 92822




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                             Nature

CESCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11969 PLANO RD STE 130
DALLAS, TX 75243


CESCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 550727
DALLAS, TX 75355


CESCO, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 550727
DALLAS, TX 75355


CESSNA AIRCRAFT CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 CESSNA BLVD
WICHITA, KS 67215


CETECH INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
602 N FIRST ST
GARLAND, TX 75040


CETTELL SR, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CETTELL, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CF BRAUN & CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


CF BRAUN ENGINEERING CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


CF INDUSTRIES HOLDINGS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CF INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


CFJ MANUFACTURING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5001 NORTH FWY
FORT WORTH, TX 76106


CFJ MANUFACTURING,LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5001 NORTH FREEWAY
FORTH WORTH, TX 76106


CGMT 2006-C5 PECAN CROSSING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DRIVE APARTMENTS LLC
DBA SOUTH POINTE APARTMENTS
1021 PECAN CROSSING
DESOTO, TX 75115


CGS INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1315 GREG ST STE 107
SPARKS, NV 89431


CGS MULE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
680 E GLENDALE AVE
SPARKS, NV 89431


CH2M HILL ENGINEERS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 201869
DALLAS, TX 75320-1869


CHAFFEE, NELSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAFFIN, DANIEL E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAFFIN, JILL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAFFIN, RANDALL L.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CHAFFIN, TERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAILLOU, MELVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHALK HILL SPECIAL UTILITY DISTRICT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16076 FM 1716
HENDERSON, TX 75652


CHALK, RICKIE L, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BINGHAM MCCUTCHEN LLP
MICHAEL B WIGMORE
2020 K ST, NW
WASHINGTON, DC 20006-1806


CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BINGHAM MCCUTCHEN LLP
SANDRA PATRICIA FRANCO
2020 K ST, NW
WASHINGTON, DC 20006-1806


CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US CHAMBER OF COMMERCE
RACHEL LEE BRAND, NATIONAL CHAMBER
LITIGATION CENTER, 1615 H ST NW RM 216
WASHINGTON, DC 20062


CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US CHAMBER OF COMMERCE
ROBIN S CONRAD, NATIONAL CHAMBER
LITIGATION CENTER, 1615 H ST NW STE 230
WASHINGTON, DC 20062




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHAMBERLAIN, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHAMBERLAIN, LEWIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAMBERS, ALTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMBERS, BERNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMBERS, BRENDA, MICHAEL, SR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMBERS, BUCK K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMBERS, CAROLYN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMER N CHAMBERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAMBERS, HERMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMBERS, JAMES N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMBERS, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHAMBERS, OTHA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMBERS, PATRICIA .                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BROOKMAN, ROSENBERG, BROWN, & SANDLE
30 S. 15TH STREET
17TH FLLOR
PHILADELPHIA, PA 19102


CHAMBERS, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAMBERS, RANDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMBERS, REGINALD, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAMBERS, ROBERT H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BROOKMAN ROSENBERG BROWN & SANDLER
30 S. 15TH STREET, 17TH FLOOR
PHILADELPHIA, PA 19103


CHAMBERS, TODDY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CHAMBERS, TOMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMBERS-LIBERTY COUNTY NAVIGATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 MILLER ST
ANAHUAC, TX 77514


CHAMBLEE, STEVEN E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CHAMLEE, BETTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMNESS, CHARLES C                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMPAGNE, ALFRED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMPAGNE, ANDREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMPAGNE, DANNY R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CHAMPAGNE, JAREL J. DECEASED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CHAMPAGNE, NANCY MARIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMPAGNE, PAUL (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAMPION BUILDING PRODUCTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1461 SWEET BOTTOM CIRCLE
MARIETTA, GA 30064


CHAMPION CABLE COMPANY FKA HERCULES                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
911 S PRIMROSE AVE
MONROVIA, CA 91016


CHAMPION FOREST LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SADDLEWOOD APT
9955 BANNEL N HOUSTON RD
HOUSTON, TX 77086




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CHAMPION INTERNATIONAL CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CHAMPION PLAZA
STAMFORD, CT 06921


CHAMPION INTERNATIONAL DAIRY PAK                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 LANDOR DRIVE
ATHENS, GA 30606


CHAMPION TECHNOLOGIES,INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN:KAREN GRIMES
PO BOX 27727
HOUSTON, TX 77227


CHAMPION, BOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMPION, JACKIE D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAMPION, JACQUELYN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


CHAMPION, PAUL W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CHAMPIONS FORREST ONE LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RENEE KOLOU
141713 N W FREEWAY STE 204
HOUSTON, TX 77040


CHAMPLAIN CABLE COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 HERCULES DRIVE
COLCHESTER, VT 05446


CHAMPLAIN CABLE COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 HERCULES DRIVE
COLCHESTER, VT 05446




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CHAMPLAIN CABLE COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
PAMELA JEAN NEALE WILLIAMS
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


CHAMPLAIN CABLE COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE OF TEXAS
PO BOX 12079
AUSTIN, TX 78711-2079


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHAMPLAIN CABLE CORP.
RICHARD A. HALL, PRESIDENT
175 HERCULES DRIVE
COLCHESTER, VT 05446


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 HERCULES DRIVE
COLCHESTER, VT 05446


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 HERCULES DRIVE
COLCHESTER, VT 05446


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHAMPLAIN CABLE CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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Name of Counterparty                                                                                            Nature

CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
GREGORY ALAN IKEN
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHAMPLAIN CABLE CORP.
TIM LIZOTTE
175 HERCULES DRIVE
COLCHESTER, VT 05446


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONNELLY, BAKER, WOTRING & JACKSON
KAREN K. MASTON
700 LOUISIANA, SUITE 1850
HOUSTON, TX 77002


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
PAMELA JEAN NEALE WILLIAMS
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ECKERT SEAMANS CHERIN & MELLOTT LLC
TYSON E. HUBBARD
TWO INTERNATIONAL PLACE, 16TH FLOOR
BOSTON, MA 02110


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


CHAMPLAIN CABLE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHAMPLAIN CABLE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, LLC
JOHN MICHAEL PORRETTA
55 WEST MONROE STREET # 700
CHICAGO, IL 60603


CHAMPLAIN CABLE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
KAREN MASTON
1111 BAGBY STREET, SUITE 2300
HOUSTON, TX 77002-2556


CHAMPLAIN LABORATORIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
100 NORTH BROADWAY, 14TH FL
ST. LOUIS, MO 63102


CHAMPLIN, CALEB                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMPLIN, CAMERON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAMPY, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAN, HOWEI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAN, VINCENT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHANCE, WILLIAM E , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM CHANCE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHANCE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


CHAND, M                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHANDER, THERESA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD W CHANDLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHANDLER, ATHER LOUIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHANDLER, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHANDLER, CHRISTOPHER L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CHANDLER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHANDLER, HARRIET A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD CHANDLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHANDLER, JERRY ANSEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHANDLER, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHANDLER, LARRY RAYMOND                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CHANDLER, ROBERT H, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHANDLER, WALTER D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHANDLER, WILLIAM O , JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHANEY, CECIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHANEY, JESSE L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JESSE W CHANEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHANNEL SHIPYARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MIKE BAILEY,COMPLIANCE MGR.
PO BOX 926
HIGHLANDS, TX 77562


CHANNEL, HARVEY LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CHANNELL, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHANNELL, ROY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAPARRAL STEEL CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 WARD ROAD
MIDLOTHIAN, TX 76065


CHAPARRAL STEEL CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TEXAS INDUSTRIES,INC.
1341 W. MOCKINGBIRD LANE #700
DALLAS, TX 75247


CHAPARRAL STEEL CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOMMY A. VALENTA,EXEC.VP
300 WARD RD.
MIDLOTHIAN, TX 76065


CHAPARRO, ALONSO S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAPARRO, FERNANDO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAPEL HILL ISD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11134 CR 2249
TYLER, TX 75707


CHAPIN, GEORGE W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHAPMAN CONSTRUCTION COMPANY LP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10011 W UNIVERSITY DR
MCKINNEY, TX 75071-6076




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHAPMAN COURT REPORTING SERVICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9306 SPRINGWOOD DR
AUSTIN, TX 78750


CHAPMAN, ALTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHAPMAN, DANIEL WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAPMAN, JESSIE AND BARBARA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


CHAPMAN, MALCOLM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAPMAN, MICHAEL REID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CHAPMAN, PAUL J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


CHAPMAN, RONALD A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CHAPMAN, SHARON L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHAPMAN, TANYA R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GREGORY P CHAPMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAPMAN, TERRY DEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CHAPMAN, THEA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


CHAPMAN, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAPMAN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAPPELL, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAPPELL, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAPPUIS, EDWARD RICHARD, JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHARANZA, BOBBY, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHARANZA, KAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARANZA, MICHAEL C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CHARANZA, MICHAEL C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARBONNEAU, NORMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHARBONNEAU, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHARDONOLCORP.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2434 HOLMES
ATTN: COMPTROLLER
HOUSTON, TX 77051


CHARLES A WAGNER CO, INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 FAYETTE ST
CONSHOHOCKEN, PA 19428


CHARLES HAGEN TRUSTEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARLES HOUSTON JOINED PRO FORMA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARLES MEREDITH MITCHELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 PEACH ST
SULPHUR SPRINGS, TX 75482-4242


CHARLES W. WEAVER MANUFACTURING CO., INC.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHARLES, BOGGS D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHARLES, DAVID J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CHARLES, DEBORAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARLES, GERALDINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEROME BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHARLES, MERVYN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHARLES, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHARLESTON, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARLIE THOMAS FORD, LTD.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHARLSON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHARLTON, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CHARNESKI, BERNARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHARRIER, JAYLENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHARTER COMMUNICATIONS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD DYKHOUSE, EVP, GEN. COUN.,
CORPORATE SECRETARY
400 ATLANTIC ST 10TH FLOOR
STAMFORD, CT 06901


CHARTER INTERNATIONAL OIL CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8833 PERIMETER PARK BLVD., SUITE 402
JACKSONVILLE, FL 32216


CHARTER INTERNATIONAL OIL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 STANWIX STREET, ROOM 338
PITTSBURG, PA 15222


CHARTER OIL COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24 BROOKLYN AVE
MASSAPEQUA, NY 11758


CHARTER REAL ESTATE SERVICES II                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA BRENTWOOD APARTMENTS
3000 SOUTH 31ST STE 500
TEMPLE, TX 76502


CHASE BANKCARD SERVICES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGLINCHEY STAFFORD
12TH FLOOR, 601 POYDRAS STREET
NEW ORLEANS, LA 70130


CHASE CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26 SUMMER STREET
BRIDGEWATER, MA 02324


CHASE CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CHASE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


CHASE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


CHASE POWER DEVELOPMENT, LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRACEWELL & GIULIANI LLP
CHRISTOPHER CHARLES THIELE
111 CONGRESS AVE, SUITE 2300
AUSTIN, TX 78701-4042


CHASE, ATOYA DENEICE ANDERSON                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHASE, EDGAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHASE, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHASE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHASTAIN, BODIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JASON ALLEN CHASTAIN
4112 SCENIC HILL LN
GRANBURY, TX 76048


CHASTAIN, JASON ALLEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CHASTAIN, REMI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JASON ALLEN CHASTAIN
4112 SCENIC HILL LN
GRANBURY, TX 76048


CHASTAIN, SONJA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JASON ALLEN CHASTAIN
4112 SCENIC HILL LN
GRANBURY, TX 76048


CHATLEFF CONTROLS INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 285
BUDA, TX 78610


CHATMAN, WHIT ELLIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAVES, ANTONIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAVES, GONZALES & HOBLIT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. CLAY HOBLIT
802 N. CARANCAHUA
CORPUS CHRISTI, TX 78470


CHAVEZ, ADAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAVEZ, BETTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAVEZ, ELISEO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAVEZ, HENRY LENNY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHAVEZ, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHAVEZ, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHAVEZ, LEONARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHAVEZ, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHAVEZ, SYLVIA E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAVIS, ERNEST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHAVIS, TERESA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHAVIS, WILLIAM ARTHUR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CHAVOUSTIE, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEAIRS, KAREEM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEATHAM, AUBRANELL WAITS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHEATHAM, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEATHAM, LORENTHA S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHEATHAM, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHEATWOOD, EUGENE T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHECK, ROBERT S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEEK, DONNIE ROY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHEEK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHEETHAM, ROBERT W--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CHELETTE, THERESA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHELLINO, DOMINICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHEM TECH INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60068
HOUSTON, TX 77205




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Name of Counterparty                                                                                              Nature

CHEMCENTRAL CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM MULLIKEN, VP & GENL.CNSEL.
PO BOX 730
BEDFORD PARK, IL 60499


CHEMCO, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
149 KEATING DRIVE
BELL CHASSE, LA 70037


CHEMETRON CORP.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOSEPH BRENDEL,AGENT
THORP, REED & ARMSTRONG
PITTSBURGH, PA 15222


CHEMETRON INVESTMENTS, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
906 OLIVE ST
ST. LOUIS, MO 63101


CHEMETRON                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1233 ROUND TABLE
DALLAS, TX 75247


CHEMETRON                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SUNBEAM-OSTER EQUITIES
ONE CITIZENS PLAZA
PROVIDENCE, RI 02903


CHEMFLOW CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1450 W FULLERTON AVENUE # A
ADDISON, IL 60101


CHEMICAL CLEANING INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12238 KINDRED
HOUSTON, TX 77049


CHEMICAL CONSERVATION OF GEORGIA                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERMA-FIX ENVIRONMENTAL SERVICES,INC.
1940 NW 67TH PLACE
GAINESVILLE, FL 32653


CHEMICAL EXCHANGE CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHEMICAL EXCHANGE INDUSTRIES, INC.
900 CLINTON DRIVE
GALENA PARK, TX 77547




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CHEMICAL EXPRESS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4645 N. CENTRAL EXPRESSWAY
DALLAS, TX 75205


CHEMICAL LIME COMPANY OF TEXAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5274 PAYSPHERE CIR
CHICAGO, IL 60674


CHEMICAL LIME INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 473
CLIFTON, TX 76634


CHEMICAL RECLAMATION SERVICES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5151 SAN FELIPE
SUITE 1600
HOUSTON, TX 77056


CHEMICAL TRANSPORT INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8755 HWY 87 EAST
SAN ANTONIO, TX 78263


CHEMICAL WEED CONTROL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 519
WEATHERFORD, TX 76086


CHEMICAL WEED CONTROL, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 519
WEATHERFORD, TX 76086


CHEMQUEST, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9730 BAY AREA BLVD.
PASADENA, TX 77507


CHEMRITE COPAC INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19725 W EDGEWATER DRIVE
LANNON, WI 53045


CHEMSEARCH                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION OF NCH CORPORATION
2727 CHEMSEARCH BLVD
IRVING, TX 75062


CHEMSEARCH                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 971269
DALLAS, TX 75397-1269




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHEMSEARCH, DIV. OF NCH CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NCH CORPORATION
2727 CHEMSEARCH BLVD
IRVING, TX 75062


CHEMSTRAND CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



CHEMTEX INDUSTRIAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6964
LONGVIEW, TX 75608


CHEMTEX INDUSTRIAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JERRY PAUL FUDGE
117 EDGEWOOD ST
LONGVIEW, TX 75604


CHEMTRON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35850 SCHNEIDER CT
AVON, OH 44011


CHEMTURA CORP.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
199 BENSON ROAD
MIDDLEBURY, CT 06749


CHEMTURA CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
199 BENSON ROAD
MIDDLEBURY, CT 06749


CHEMTURA CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BILLIE S FLAHERTY, EVP, GEN. COUN & CORP
SECRETARY - 1818 MARKET STREET
SUITE 3700
PHILADELPHIA, PA 19103


CHEM-VAC SERVICES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 334, RIVER ROAD
PLAQUEMINE, LA 70765


CHEN, CHIU Y                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEN, CHIU YUAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHEN, FRANCISCO A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEN, HWANG YUAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEN, JANET C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHENAULT, MARION R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHENIER, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHENOWETH, CARLTON D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHERAMIE, JESSIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHERNAK, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHERNE CONTRACTING CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9855 WEST 78TH STREET
SUITE 400
EDEN PRAIRIE, MN 55344


CHERNESKI, THOMAS E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHEROKEE COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHEROKEE COUNTY COURTHOUSE
520 N MAIN STREET; PO DRAWER 420
RUSK, TX 75785




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHERRICK, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHERRY, DELMON AND JEAN CHERRY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHERRY, DELMON F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


CHERRY, DELMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHERRY, EDDIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHERRY, FRANCES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHERRY, JEAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHESAPEAKE BAY FOUNDATION, INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
JAMES SAMUEL PEW
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212


CHESAPEAKE ENERGY MARKETING, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6100 N WESTERN AVE
ATTN: TREASURY
OKLAHOMA CITY, OK 73118-1044


CHESNEY, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHESNUTT, ROBERT H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHESSON, JAMES F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CHESTER, RUTH DESHONG, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR F CHESTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHESTNUT, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHESTNUT, KATRINA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHESTNUT, MOSES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHESTNUTT, IAN AND JUDITH CHESTNUTT                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEVALIER, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHEVRON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORDON TURL, MANAGER SUPERFUND &
CHEVRON ENVIRONMENTAL MANAGEMENT
SAN RAMON, CA 94583




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Name of Counterparty                                                                                             Nature

CHEVRON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. HEWITT PATE, VP & GEN. COUN.
6001 BOLLINGER CANYON ROAD
SAN RAMON, CA 94583


CHEVRON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOMMY TOMPSON
5959 CORPORATE DRIVE
HOUSTON, TX 77036


CHEVRON NATURAL GAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF CHEVRON U.S.A.INC.
C/O CHEVRON CORPORATION, 1500 LOUISIANA
STREET, 3RD FL, ATTN: CREDIT DEPARTMENT
HOUSTON, TX 77002-7308


CHEVRON PHILLIPS CHEMCIAL COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380


CHEVRON PHILLIPS CHEMICAL CO. LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CHEVRON PHILLIPS CHEMICAL CO. LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CHEVRON PHILLIPS CHEMICAL COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380


CHEVRON PHILLIPS CHEMICAL COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CHEVRON PHILLIPS CHEMICAL HOLD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380


CHEVRON PHILLIPS CHEMICAL LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380




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Name of Counterparty                                                                                           Nature

CHEVRON PHILLIPS COMPANY LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380


CHEVRON PIPELINE CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAR ROUTE, BOX 241-A
GOLDEN MEADOW, LA 70357


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAT'L CORPORATE RESEARCH LTD
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. HEWITT PATE, VP & GEN. COUN.
6001 BOLLINGER CANYON ROAD
SAN RAMON, CA 94583


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAMOS & TRUCCO LLP
GREGORY TODD GOLDBERG
1 EAST WACKER DRIVE SUITE 300
CHICAGO, IL 60601


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CHEVRON USA INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
211 EAST 7TH STREET, SUITE 620
AUSTIN, TX 78701


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR
JEFFERSON CITY, MO 65101


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
33 NORTH LASALLE ST
CHICAGO, IL 60602


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. HEWITT PATE, VP & GEN. COUN.
6001 BOLLINGER CANYON ROAD
HOUSTON, TX 77002


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. HEWITT PATE, VP & GEN. COUN.
6001 BOLLINGER CANYON ROAD
SAN RAMON, CA 94583


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAMOS & TRUCCO LLP
GREGORY TODD GOLDBERG
1 EAST WACKER DRIVE SUITE 300
CHICAGO, IL 60601


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
DAVID W LEDYARD
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
DAVID W. LEDYARD
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
VICKIE R THOMPSON
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


CHEVRON USA INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG, PIPKIN, NELSON, BISSELL &
LEDYARD, DAVID W LEDYARD, DONEANE E
BECKOM 595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


CHEVRON USA, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 51743
LAFAYETTE, LA 70505


CHEVRON/TEXACO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16 SMITH STREET, 27TH FLOOR
HOUSTON, TX 77002


CHEW, LEE W, SR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHEXSYSTEMS COLLECTION AGENCY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GORDON REES SCULLY MANSUKHANI LLP
NICOLLE N MUEHR
816 CONGRESS AVE, SUITE 1510
AUSTIN, TX 78701


CHEXSYSTEMS INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7805 HUDSON ROAD, STE 100
WOODBURY, MN 55125


CHIADO, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHIAFFI, JOHN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CHIANESE, PASQUALE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHIARALUCE, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHIARELLI, MARIA ANNA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHICAGO BRIDGE & IRON COMPANY N.V.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WINSTON & STRAWN LLP
ATTN: DAVID NEIER
200 PARK AVENUE
NEW YORK, NY 10166


CHICAGO BRIDGE & IRON COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHICAGO BRIDGE & IRON COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHICAGO BRIDGE & IRON COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CHICAGO BRIDGE & IRON COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOW GOLUB REMELS & BEVERLY, LLP
MARK R ZEIDMAN
9 GREENWAY PLAZA SUITE 500
HOUSTON, TX 77046


CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CB&I PLAZA - RICHARD E CHANDLER, JR
EVP, CHIEF LEGAL OFFICER & SECRETARY,
2103 RESEARCH FOREST DRIVE
THE WOODLANDS, TX 77380


CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CB&I PLAZA
2103 RESEARCH FOREST DRIVE
THE WOODLANDS, TX 77380


CHICAGO BRIDGE & IRON COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OOSTDUINLAAN 75
THE HAGUE, 2596 JJ
NETHERLANDS

CHICAGO BRIDGE & IRON DELAWARE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CB&I PLAZA - RICHARD E CHANDLER, JR
EVP, CHIEF LEGAL OFFICER & SECRETARY,
2103 RESEARCH FOREST DRIVE
HOUSTON, TX 77002


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1285 W NORTH AVENUE
CHICAGO, IL 60622


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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Name of Counterparty                                                                                             Nature

CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


CHICAGO GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIM ROLLINS MATUSHEK NILLES & SINARS LLC
55 WEST MONROE STE 700
CHICAGO, IL 60603


CHICAGO PAPER TUBE AND CAN CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4221 N NORMANDY AVE
CHICAGO, IL 60634




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHICAGO PNEUMATIC TOOL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CHICAGO PNEUMATIC TOOL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 OVERVIEW DRIVE
ROCK HILL, SC 29730


CHICAGO WILCOX MANUFACTURING COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16928 S STATE STREET
SOUTH HOLLAND, IL 60473


CHICAGO BRIDGE & IRON CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CB&I PLAZA - RICHARD E CHANDLER, JR
EVP, CHIEF LEGAL OFFICER & SECRETARY,
2103 RESEARCH FOREST DRIVE
THE WOODLANDS, TX 77380


CHICAGO GASKET CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1285 W NORTH AVENUE
CHICAGO, IL 60642


CHICAHUAL SANCHEZ, JORGE EDUARDO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHICK, MICHAEL D, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHIEF SUPPLY CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROUTE 2
BOX 71
HASKELL, OK 74436


CHILCOAT, JEAN H, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD L CHILCOAT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHILCOTE, JEAN B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHILDERS PRODUCTS CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1370 EATS 40TH ST.,
BUILDING 7, SUITE 1
HOUSTON, TX 77002


CHILDERS, MICHAEL P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHILDRESS CO. HOSP. DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 US HIGHWAY 83 N
CHILDRESS, TX 79201


CHILDRESS COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 AVE E NW
COURTHOUSE BOX 4
CHILDRESS, TX 79201


CHILDRESS ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
308 THIRD STREET NW
CHILDRESS, TX 79201


CHILDRESS, BENNY LADOD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHILDRESS, JAMES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHILDRESS, MARGARET ELAINE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHILDRESS, SANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHILDRESS, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHILDRESS, WAYNE R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHILDRESS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHILDS, ALBERT E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHILDS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CHILDS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHILELLI, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHILES, CHANDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHILLINSKY, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHILSON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHIMENTO, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                               Nature

CHIMIENTI, JOSEPH S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CHIMINO, RICHARD JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHIN, DODSON W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHIN, YUKON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHINIEWICZ, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHINNICI, RICHARD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHIODO, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHIRDON, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHISHOLM, SHARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHISHOLM, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

CHISOLM, CECIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CHISOLM, VIRGINIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHISSUS, DEBBIE K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHISSUS, MARK S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHISUM ISD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3250 S CHURCH ST
PARIS, TX 75462


CHIU, IRIS                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHIU, LING-SIAO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHIU, VICTOR                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHIUSANO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHLEBORAD, THOMAS, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHLUDZINSKI, EDWARD W--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CHMIELEWSKI, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHMIELEWSKI, TED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHOAT, FLOYD DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHOATE, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHOATE, HOMER T.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CHOCTAW WATERSHED DIST.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRAYSON COUNTY TAX COLLECTOR
PO BOX 2107
SHERMAN, TX 75091-2107


CHOINSKI, MISCHELLE LYNE, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN CHOINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHOKSHI, RAMEH N                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHONKO, GLENN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHOQUETTE, RAMON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHORMANN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHOYCE ALTON BROWN ESTATE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRANE, PHIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISAKIS, THEODORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


CHRISAKIS, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISMAN, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISOPOULOS, MARIA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUS XENAKIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISOPOULOS, PANAYOTIS S                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRIST, ROBERT W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHRISTEN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CHRISTENSEN, CEDRIC AND PATRICIA CHRISTENSEN                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHRISTENSEN, CEDRIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHRISTENSEN, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHRISTESEN, DENISE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHRISTIAN, ANTOINETTE, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J AVERY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTIAN, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHRISTIAN, ELBERT C, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTIAN, HERSCHEL D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHRISTIAN, KENNETH M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHRISTIAN, LARRY (INDIVIDUALLY)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTIAN, MORRIS L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTIAN, ROBERT S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTIE, CONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTIE, LEONARD GARY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CHRISTISON, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHRISTMAN, DANIEL S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTMAN, SCOTT B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTMAS, TROYE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHRISTNER, LLOYD E, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

CHRISTO, CHRISTIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHRISTOPHER, ALICE V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTOPHER, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CHRISTOPHER, JOHNNY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTOPHERSON, GWEN BUCKELS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTOPHERSON, LAURIE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTOUDIAS, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTY, BETTYLOU                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTY, CARMEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHRISTINE C CHRISTY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHRISTY, JAMES M., SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHRISTY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CHRISTY, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHROMALLOY GAS TURNBINE CORP.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PARK AVENUE
NEW YORK, NY 10166


CHROMALOX INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
103 GAMMA DRIVE
PITTSBURGH, PA 15238


CHROMALOX INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
103 GAMMA DR.
PITTSBURGH, PA 15238


CHROMALOX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 536435
ATLANTA, GA 30353-6435


CHRYSLER CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CHRYSLER DRIVE
AUBURN HILLS, MI 48326-2766


CHRYSLER LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARJORIE LOEB, SVP, GEN. COUN.
& SECRETARY
800 CHRYSLER DR
AUBURN HILLS, MI 48326


CHTP HOLDINGS CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1374 E. 28TH STREET
LORAIN, OH 44055


CHU, TOAN K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHUCKAS, JAMES P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHUNG, EILEEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CHUNG, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CHURCH HILL WATER SUPPLY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 482
HENDERSON, TX 75653


CHURCH, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHURCH, CYNTHIA SHAW, FOR THE ESTATE OF                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM LEWIS CHURCH
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


CHURCH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHURCH, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHURCH, LARRY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CHURCH, PATRICIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHURCH, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CHURCH, VERONICA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLINTON H OGLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CHURCHILL, C                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

CHURCHILL, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CHURCHWELL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


CHYBA, PAMELA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CIAFFONE, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CIALONE, JOSEPH C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CIALONE, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CIANCI, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CIANFLONE, JOSEPH A. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CIARLEGLIO, LUIGI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CIARPELLA, JOHN F, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F CIARPELLA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CIAVOLA, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CIBELLO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CICCARELLI, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CICCHINO, DAVID J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CICCONE, ANTHONY JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CICCONE, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CIEPIELOWSKI, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CIESLA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CIEZKOWSKI, BARBARA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

CIEZKOWSKI, HENRY J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CII TECHNOLOGIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4700 SIX FORKS RD
SUITE 300
RALEIGH, NC 27609


CIMA ENERGY LTD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WAUGH, SUITE 500
ATTN: FRITZ FOWLER
HOUSTON, TX 77007


CIMBORA, ROGER M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CIMINE, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CIMINELLI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CIMINO, JETTA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CINCINNATI GASKET PACKING & MFG                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40 ILLINOIS AVE
CINCINNATI, OH 45215


CINCO J INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A JOHNSON OIL CO.
P.O. DRAWER 1959
GONZALES, TX 78629




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Name of Counterparty                                                                                         Nature

CINGEL, JOSEPH R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CINNAMON, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CINOUSIS, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


CINOUSIS, ROSINA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


CINTAS CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 740855
CINCINNATI, OH 45274-0855


CINTAS CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 631025
CINCINNATI, OH 45263-1025


CINTAS DOCUMENT MANAGEMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 633842
CINCINNATI, OH 45263


CIPOLLA, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CIPRIANO, LEONARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

CIRBUS, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CIRCLE SEAL CONTROLS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2301 WARDLOW CIRCLE
CORONA, CA 92880-2881


CIRCOR INSTRUMENTATION TECHNOLOGY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN GLAS, VP, GEN. COUN., SECRETARY
405 CENTURA CT
SPARTANBURG, SC 29303-6603


CIRCOR INTERNATIONAL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 CORPORATE DR #130
BURLINGTON, MA 01803


CIRCUIT BREAKER SALES CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1098
GAINESVILLE, TX 76241


CIRILLO, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CIRRUS AIRCRAFT CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4515 TAYLOR CIRCLE
DULUTH, MN 55811


CIRRUS ENTERPRISES LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONALD E CLOUD
18027 BISHOP AVE
CARSON, CA 90746


CISCO ISD                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1503 LEGGETT STREET
CISCO, TX 76437


CISCO JR. COLLEGE DIST.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLLEGE HEIGHTS
CISCO, TX 76437




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Name of Counterparty                                                                                              Nature

CISLO, ANDREW                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CISNEROS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CISNEROS, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CISSELL MANUFACTURING COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
831 S 1ST ST
LOUISVILLE, KY 40203-2207


CISTERNA, RUBIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CITERA, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CITERA, PASQUALE C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CITGO PETROLEUM CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEAN M HASSEMAN, GEN COUN
1293 ELDRIGE PARKWAY
HOUSTON, TX 77077-1670


CITGO PETROLEUM CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROYSTON RAYZOR VICKERY & WILLIAMS LLP
RALPH MEYER, FROST BANK PLAZA,
802 NORTH CARANCAHUA, SUITE 1300
CORPUS CHRISTI, TX 78401-0021




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Name of Counterparty                                                                                           Nature

CITGO REFINING AND CHEMICALS COMPANY, LP                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


CITI GROUP INC AS SII TO PRIMER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITIGROUP, INC.
ROHAN WEERASHINGHE, GEN. COUN.
& CORP. SEC. 399 PARK AVENUE
NEW YORK, NY 10043


CITIBANK NA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AGENCY AND TRUST SERVICES
BILLING UNIT 18TH FL ZONE 16
111 WALL ST
NEW YORK, NY 10043


CITIBANK NA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CITI TAMPA BILLING
3800 CITIBANK CENTER
BLDG B 3RD FLOOR
TAMPA, FL 33610


CITIBANK NA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER
BANK OF AMERICA PLAZA
901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


CITIFINANCIAL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA PLAZA
LINDSAY B NICKLE
901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


CITIFINANCIAL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER
BANK OF AMERICA PLAZA
901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


CITIGROUP ENERGY INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 WEST STREET, 10TH FLOOR
ATTN: DIRECTOR DERIVATIVES OPERATIONS
NEW YORK, NY 10013




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CITIMORTGAGE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER
BANK OF AMERICA PLAZA
901 MAIN STREET, SUITE 4800
DALLAS, TX 75202


CITIZENS FOR PENNSYLVANIA’S FUTURE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
ANN BREWSTER WEEKS
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


CITIZENS FOR PENNSYLVANIA’S FUTURE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
DARIN T. SCHROEDER
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


CITRO, LINDA J, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD FRANZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CITY INDUSTRIES, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1910 WALL STREET
DALLAS, TX 75215


CITY MOTOR SUPPLY ,INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN GILBERT MCELREATH,PRESIDENT
11670 HARRY HINES BLVD
DALLAS, TX 75229


CITY OF AUSTIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1088
AUSTIN, TX 78767


CITY OF BALTIMORE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALTIMORE CITY DEPARTMENT OF LAW
WILLIAM ROWE PHELAN, JR., ESQUIRE,
1 00 HOLLIDAY ST, CITY HALL, STE 101
BALTIMORE, MD 21202


CITY OF BELLEVILLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BELLEVILLE TOWN HALL
152 WASHING AVE
BELLEVILLE, NJ 07109




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CITY OF BENBROOK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: R. BRUCE MEDLEY
P.O. BOX 13430
ARLINGTON, TX 76094-0430


CITY OF CHICAGO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP COUNSEL OF THE CITY OF CHICAGO
BENNA RUTH SOLOMON, DEPUTY CORP COL
30 NORTH LASALLE STREET, SUITE 800
CHICAGO, IL 60602


CITY OF CORPUS CHRISTI                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 LEOPARD ST
CORPUS CHRISTI, TX 78403-2825


CITY OF DALLAS - CITY ATTORNEY'S OFFICE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK BAGGETT
1500 MARILLA STREET, 7BN
DALLAS, TX 75201


CITY OF DALLAS AIR POLLUTION CONTROL PROGRAM                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENTAL & HEALTH SERVICES
320 E JEFFERSON, ROOM LL13
DALLAS, TX 75203


CITY OF DALLAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK BAGGETT, ASSISTANT CITY ATTY
1500 MARILLA STREET, 7BN
DALLAS, TX 75201


CITY OF DALLAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DALLAS CITY HALL
1500 MARILLA ST., ROOM 4EN
DALLAS, TX 75201


CITY OF DALLAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONALD STUTES,ASST.CITY ATTORNEY
1500 MARILLA
DALLAS, TX 75201


CITY OF FAIRFIELD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 S MOUNT
FAIRFIELD, TX 75840




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Name of Counterparty                                                                                           Nature

CITY OF FORT WORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSISTANT U.S. ATTORNEY
DONNA K. WEBB, SARAH R. SALDANA, BURNETT
PLAZA, STE 1700, 801 CHERRY ST UNIT #4
FORT WORTH, TX 76102-6882


CITY OF FORT WORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHRIS MOSLEY
1000 THROCKMORTON ST
FORT WORTH, TX 76102


CITY OF FORT WORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


CITY OF FORT WORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US ATTORNEY FOR THE NORTHER
DISTRICT OF TX, JAMES T. JACKS
801 CHERRY STREET, SUITE 1700
FORT WORTH, TX 76102


CITY OF GALVESTON TX                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 779
GALVESTON, TX 77553


CITY OF GALVESTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
823 ROSENBERG
ATTN: CITY MANAGER
GALVESTON, TX 77553


CITY OF GARLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 461508
GARLAND, TX 75046-1508


CITY OF GARLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 469002
GARLAND, TX 75046


CITY OF GARLAND, TEXAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CITY OF GARLAND, TEXAS,                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


CITY OF GLEN ROSE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATER DEPT
PO BOX 1949
GLEN ROSE, TX 76043


CITY OF GRANBURY MUNICIPAL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UTILITIES
PO BOX 969
GRANBURY, TX 76048


CITY OF HOUSTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 BAGBY
HOUSTON, TX 77002


CITY OF JEFFERSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 NORTH POLK STREET
JEFFERSON, TX 75657


CITY OF MCALLEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: DIANE W. SANDERS
P.O. BOX 17428
AUSTIN, TX 78760-7428


CITY OF MESQUITE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 850287
MESQUITE, TX 75185-0287


CITY OF MONAHANS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 W 2ND ST
MONAHANS, TX 79756-4207


CITY OF MOUNT PLEASANT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 N MADISON AVE
ATTN: JACOB HATFIELD
MOUNT PLEASANT, TX 75455




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CITY OF NEW YORK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NEW YORK CITY LAW DEPARTMENT
CHRISTOPHER GENE KING, ASSISTANT
CORPORATION, 6-143, 100 CHURCH STREET
NEW YORK, NY 10007


CITY OF PLANO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS MUEHLENBECK,CITY MGR.
1520 AREK
PLANO, TX 75074


CITY OF SULPHUR SPRINGS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207


CITY OF SULPHUR SPRINGS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATER DEPT
125 S DAVIS
SULPHUR SPRINGS, TX 75482


CITY OF SWEETWATER PAYMENT-IN-LIEU                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 EAST 4TH STREET
PO BOX 450
SWEETWATER, TX 79556


CITY OF SWEETWATER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST., SUITE 640
ARLINGTON, TX 76010


CITY OF SWEETWATER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATER DEPT
PO BOX 450
SWEETWATER, TX 79556


CITY OF TATUM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1105
TATUM, TX 75691-1105


CITY OF TEXAS CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 9TH AVENUE NORTH
TEXAS CITY, TX 77590




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Name of Counterparty                                                                                               Nature

CITY OF TRINIDAD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
212 PARK ST
TRINIDAD, TX 75163-6060


CITY OF TRINIDAD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATER DEPT
PO BOX 345
TRINIDAD, TX 75163


CITY OF WACO / WACO INDEPENDENT ET AL                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY VESELKA BRAGG & ALLEN P.C.
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680-1269


CITY OF WEBSTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 PENNSYLVANIA AVENUE
WEBSTER, TX 77598


CITY WIDE BUILDING SERVICES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 W MOCKINGBIRD LN
DALLAS, TX 75247


CITYVILLE OAK PARK LP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2901 BUTTERFIELD RD
OAK BROOK, IL 60523


CIUFO, GERALD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CIVITELLA, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CIZON, HENRY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

C-L RESINS,INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
287 NW GROVETON
GROVETON, TX 75845


CL ZIMMERMAN CO OF DELAWARE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5115 EXCELLO CT
WEST CHESTER, OH 45069


CLAASSEN, LEROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLADTEC (TEXAS)                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION OF SURE ALLOY STEEL
9486 FM 2011E
LONGVIEW, TX 75603


CLAIMS RECOVERY GROUP LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF CURD ENTERPRISES INC
92 UNION AVE
CRESSKILL, NJ 07626


CLAIMS RECOVERY GROUP LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF YOUNGBLOOD OIL COMPANY
92 UNION AVE
CRESSKILL, NJ 07626


CLAIMS RECOVERY GROUP LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRANSFEROR: AGI INDUSTRIES INC
92 UNION AVE
CRESSKILL, NJ 07626


CLAIMS RECOVERY GROUP LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRANSFEROR: FOSSIL POWER SYSTEMS INC
92 UNION AVE
CRESSKILL, NJ 07626


CLAIRE, LIZA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAIRE, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLAIRE, RYAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLAIRE, ZACHARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAIRMONT, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLAMPETT, SEAN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLAMPITT, EUGENE F, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAMPITT, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAMPITT, MICHAEL R, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES F NAGEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLANCY, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLANCY, EDWARD VINCENT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLANCY, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARENDON COLLEGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1902 AVE G. NW SUITE I |
CHILDRESS, TX 79201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CLARENDON MAINTENANCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AVENUE F NW
TAX COLLECTOR
CHILDRESS, TX 79201


CLARISSE, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK CONTROLLER CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GTE PRODUCTS CORPORATION
100 ENDICOTT ST
DANVERS, MA 01923


CLARK EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF INGERSOLL RAND
PO BOX 6820
PISCATAWAY, NJ 08855


CLARK EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 50
HORNSBY, 01630


CLARK INDUSTRIAL INSULATION COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1893 EAST 55TH ST
CLEVELAND, OH 44103


CLARK MATERIAL HANDLING COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL J GROSSMAN, EVP & GEN. COUN.
700 ENTERPRISE DRIVE
LEXINGTON, KY 40510


CLARK OIL COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CLARK OIL COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1833 BEACH BLVD
BILOXI, MS 39531


CLARK OIL COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
856 BEACH BLVD
BILOXI, MS 39530




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CLARK PAULINE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7043 STATE HWY 32
#5
ORLAND, CA 95963


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS L PESEK, CEO & PRESIDENT
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O'TOOLE, FERNANDEZ, WEINER
& VAN LIEU LLC
60 POMPTON AVENUE
VERONA, NJ 07044


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICILLO CARUSO POPE EDELL PICINI
60 ROUTE 46 EAST
FAIRFIELD, NJ 07004


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REEG LAWYERS, LLC
KURTIS BRADFORD REEG
1 N BRENTWOOD BLVD, SUITE 950
ST LOUIS, MO 63105


CLARK RELIANCE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REEG LAWYERS, LLC
PAUL L KNOBBE
1 N BRENTWOOD BLVD, SUITE 950
ST LOUIS, MO 63105


CLARK WELDING SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
369 CALLAHAN AVENUE
APPALACHIA, VA 24216




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLARK RELIANCE CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


CLARK, ALLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, ANNIE M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, BECKY M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF WALTER MAWDSLEY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


CLARK, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, CLIFFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, CLYDE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, CURTIS J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, CYNTHIA DIANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLARK, DANNY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, DANNY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, DONALD F, JR--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CLARK, DONALD RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CLARK, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, FAYE E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CLARK, FRANK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, FREEMAN L., JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, GARY P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CLARK, GEORGE J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLARK, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, GLORIA EARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, H B                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, HAYWOOD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, HUGH ERVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CLARK, IDA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, JAMES A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLARK, JAMES J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLARK, JAMES R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CLARK, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, JOE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, JOE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, JOHN S                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLARK, JOSEPH J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLARK, KEN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARK, KENNETH A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLARK, LEON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, LEONARD EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, LOUIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, MARGARET M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, MARION                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, MATTHEW T.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, MICHAEL DALE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, RICHARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CLARK, RICHARD B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, ROBERT H, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLARK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, RON R, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES F CLARK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, RUSSELL A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SONDRA LEE CLARK
FOSTER & SEAR, LLP
817 GREENVIEW DR.
GRAND PRAIRIE, TX 75050


CLARK, SAMUEL RANDLE (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, SANDRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARK, SHERIAN DARLENE, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DOROTHY LISTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, THOMAS J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CLARK, THOMAS L, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLARK, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, WAYNE M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GERALD J CLARK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLARK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARK, WINDELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARKE CHECKS,INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GORDON TATE,SAFETY & ENV. MGR.
5734 FARINON DR.
SAN ANTONIO, TX 78249


CLARKE, ANTHONY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLARKE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARKE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARKE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLARKE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

CLARKE-HAMM, DRINDA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARKSON, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLARKSON, WILEY GULICK, III                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLARKSVILLE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 W. MAIN
CLARKSVILLE, TX 75426


CLARY E & I SERVICES, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 343
OVERTON, TX 75684


CLARY E&I SERVICES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 343
OVERTON, TX 75684


CLARY E+I SERVICES, LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 343
OVERTON, TX 75684


CLARY, PATRICK M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CLASBY, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLASSIC CHEVROLET BUICK GMC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ANN MOORE
1909 E HWY 377
GRANBURY, TX 76049




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLASSIC CHEVROLET BUICK PONTIAC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GMC
1909 E HWY 377
GRANBURY, TX 76049


CLAUDIN, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLAUDIO, MIGUEL A. OLIVO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAUDIUS PETERS AMERICAS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
445 W PRESIDENT GEORGE BUSH HWY
RICHARDSON, TX 75080


CLAUDY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLAUS, NORMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAUSON, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLA-VAL CO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1701 PLACENTIA AVENUE
COSTA MESA, CA 92627-4475


CLAVEY, NORMA V, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN D CLAVEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLAWSON, WILLIAM A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CLAY COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N. BRIDGE STREET
HENRIETTA, TX 76365


CLAY, HARRY MILTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CLAY, WANDA G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLAY,JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35 EAST WACKER DRIVE
SUITE 1300
CHICAGO, IL 60601


CLAYE CB2 INVESTMENTS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
935 ELDRIDGE RD #152
SUGAR LAND, TX 77478


CLAYPOOL, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17477 HURLEY STREET
CITY OF INDUSTRY, CA 91744-5106


CLAYTON, BARBARA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, CHRISTOPHER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLAYTON, CURTIS JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, DAWN G, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TRESSLER W SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLAYTON, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, JANICE A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, MARCIA REYNOLDS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, PAUL L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, STEWART K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, STEWART                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, WALTER R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, WILBUR THOMAS, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLAYTON, WILLIE M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD L CLAYTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLEAN AIR COUNCIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
JAMES SAMUEL PEW
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CLEAN AIR ENGINEERING INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 W WOOD ST
PALATINE, IL 60067


CLEAN HARBORS ENV SERVICES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3442
BOSTON, MA 02241-3442


CLEAN HARBORS ENVIRONMENTAL SERVICES, INC.                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
42 LONGWATER DRIVE
PO BOX 9149
NORWELL, MA 02061-9149


CLEAR WATER PAPER CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 WEST RIVERSIDE
SUITE 1100
SPOKANE, WA 99201


CLEARLY, BEVERLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEARWATER U.W.C.D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 KENNEDY CT
BELTON, TX 76513


CLEARY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEAVER BROOKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 LAW STREET
THOMASVILLE, GA 31792


CLEAVER BROOKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY, MCTIERNAN & MOORE
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


CLEAVER BROOKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
8040 EXCELSIOR DRIVE STE 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
8040 EXELSIOR DRIVE
SUITE 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O'CONNELL, TIVIN, MILLER & BURNS
MEREDITH SUZANNE HUDGENS
135 S LASALLE ST, STE 2300
CHICAGO, IL 60603


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O'CONNELL, TIVIN, MILLER & BURNS
MEREDITH SUZANNE HUDGENS
135 S LASALLE ST, SUITE 2300
CHICAGO, IL 60603


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY ALEXANDER MCGUIRE,
ATTORNEY AT LAW
707 LA MARITE DR
MANCHESTER, MO 63021




                                                                                                                                                                                                                   Page 736 of 4224
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11950 WESTLAKE PARK DR
MILWAUKEE, WI 53224


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 LAW STREET
HOUSTON, TX 77002


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 LAW STREET
THOMASVILLE, GA 31792


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3707 NORTH RICHARDS
PO BOX 421
MILWAUKEE, WI 53201


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7800 N 113TH ST
MILWAUKEE, WI 53224


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY MCTIERNAN & MOORE
N/K/A CLEAVER-BROOKS INC
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
8040 EXCELSIOR DRIVE STE 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
8040 EXCELSIOR DRIVE
STE 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
8040 EXCELSIOR DRIVE
SUITE 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
8040 EXCELSIOR DR., STE. 400
MADISON, WI 53717


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN TORNETTA
11950 WEST LAKE PARK DRIVE
MILWAUKEE, WI 53224


CLEAVER BROOKS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038




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Name of Counterparty                                                                                            Nature

CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O'CONNELL, TIVIN, MILLER & BURNS
MEREDITH SUZANNE HUDGENS
135 S LASALLE ST, STE 2300
CHICAGO, IL 60603


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O'CONNELL, TIVIN, MILLER & BURNS
MEREDITH SUZANNE HUDGENS
135 S LASALLE ST, SUITE 2300
CHICAGO, IL 60603


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONALD G THIMM
11950 WEST LAKE PARK DRIVE
MILWAUKEE, WI 53224


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY ALEXANDER MCGUIRE,
ATTORNEY AT LAW
707 LA MARITE DR
MANCHESTER, MO 63021


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
11200 WESTHEIMER SUITE 200
HOUSTON, TX 77042


CLEAVER BROOKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


CLEBURNE ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
505 NORTH RIDGEWAY DRIVE
SUITE 100
CLEBURNE, TX 76033


CLEBURNE PROPANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5467
GRANBURY, TX 76049


CLEBURNE, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 N ROBINSON ST
CLEBURNE, TX 76031




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CLECO POWER LLC, ETAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WADE A HOEFLING, SVP, GEN COUN.
2030 DONAHUE FERRY ROAD
PO BOX 5000
PINEVILLE, LA 71361-5000


CLEGG, JOHN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLEGG, THOMAS J., III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CLEMANS, WILBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEME MANOR CHARITABLE TRUST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CLEME MANOR APARTMENTS
5300 COKE STREET
HOUSTON, TX 77020


CLEMENS, SHERMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEMENT , ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CLEMENT, RUSSELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLEMENTE, NICHOLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEMENTI, JAMES N DI, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH N DI CLEMENTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLEMENTS OIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 2ND ST
ATLANTA, TX 75551


CLEMENTS, HAROLD WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLEMENTS, L C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEMENTS, L C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEMMONS, MARY ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLENDENIN, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLENDENNEN, DAVID ANDREW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


CLENDENNY, LEROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLEPPE, PHILLIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLERMONT, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLESCERE, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLETO, ANDREW                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEVELAND ELECTRIC ILLUMINATING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1281 FULTON INDUSTRIAL BLVD., N.W.
ATLANTA, GA 30336


CLEVELAND, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEVELAND, BETTY HARRIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEVELAND, FLOYD RICHARD, III                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEVELAND, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLEVELAND, ROOSEVELT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLEVENGER, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLEVENGER, MARTHA E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS E EDWARDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLEVENSHIRE, JOHN J--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CLEWELL, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLIFFORD POWER SYSTEMS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 875500
KANSAS CITY, MO 64187-5500


CLIFFORD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLIFFORD, JOHN F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CLIFFORD, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLIFFORD, RICHARD H, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY W CLIFFORD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLIFT, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLIFTON ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1102 KEY AVENUE
CLIFTON, TX 76634


CLIFTON, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLIFTON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLIFTON, WHITMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLIMER WILSON LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
32630 WATERWORTH CT
FULSHEAR, TX 77441


CLINARD, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CLINARD, LONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CLINE CONTRACTING INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2469 OLD NORCROSS RD
TUCKER, GA 30084


CLINE, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLINEDINST, ALLEN B, III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLINES, LISA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH QUATTROCHI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CLINK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLINKSCALES, CLAUDEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLINKSCALES, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLINKSCALES, VIETONIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLINTON, ANSON B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CLINTON, DARRELL EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLINTON, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLINTON, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLISCH, GERALD G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CLONTZ, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLONTZ, ENLO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOONAN, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOSE, KAREN M.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLOUATRE, CALVIN , SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CLOUD, COY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CLOUD, DONLITA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLOUD, PERRY JAY (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLOUNCH, CECIL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOUSE, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOUTIER, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOUTIER, JOHN H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLOUTIER, LEON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOUTIER, MICHAEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CLOW CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 PRAIRIE AVE
SOUTH BEND, IN 46601


CLOWERS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 526
LONGVIEW, TX 75606




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CLUBB, FLOYD C., SR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CLUBB, JOHN H.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLUBB, JOHN H.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CLUFF, DARRELYN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLY, CASSANDRA VANESSA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLYBURN, GARY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CLYDE BERGEMANN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4015 PRESIDENTIAL PKWY
ATLANTA, GA 30340


CLYDE BERGEMANN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 932082
ATLANTA, GA 31193-2082


CLYDE BERGEMANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PARTNEREP INC
PO BOX 680605
HOUSTON, TX 77268-0605


CMC STEEL FABRICATORS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4846 SINGLETON BLVD
DALLAS, TX 75212


CMEREK, LYNN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CN FLAGG AND LIBERTY MUTUAL INSURANCE COMPANY                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF TURRET & ROSENBAUM
MARIAN YUN, ESQ.
101 BARNES ROAD, 3RD FL
WALLINGFORD, CT 06492


CN FLAGG, STONE & WEBSTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACK CLARKSON, JOHN P. BELL & SONS
CARRIER CORP & TRAVELERS INDEMNITY
LAW OFFICES OF CHARLES WALKER
HARTFORD, CT 06145


CN FLAGG, STONE & WEBSTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF DAVID J. MATHIS
JAMES J. BABEK, ESQ & JOHN W. GREINER,
ESQ, 55 FRAMINGTON AVE, SUITE 500
HARTFORD, CT 06105


CN FLAGG, STONE & WEBSTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF DAVID J. MATHIS
LAWRENCE MCLOUGHLIN, ESQ
55 FRAMINGTON AVE, SUITE 500
HARTFORD, CT 06105


CNA HOLDINGS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 US HIGHWAY
202 206 #310
BEDMINSTER, NJ 07921


CNA HOLDINGS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


CNA HOLDINGS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 WEST LBJ FREEWAY
DALLAS, TX 75234


CNH AMERICA LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
621 STATE STREET
RACINE, WI 53402


CNH AMERICA LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CNH AMERICA LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CNH AMERICA LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICK EDWARD VANDORN
PO BOX 750
BELLEVILLE, IL 62222


CNT RANSPORTATION LIMITED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
935 DE LA GAUCHETIERE STREET WEST
MONTREAL, QC H3B 2MP
CANADA

CO AX VALVES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1518 GRUNDYS LN
BRISTOL, PA 19007-1521


CO. DEPT. OF EDUCATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS COUNTY DEPT OF EDUCATION
RONALD W. REAGAN BUILDING,
6300 IRVINGTON BLVD.,
HOUSTON, TX 77022


COADY, PATRICK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COASTAL CHEMICAL CO LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT 2214
PO BOX 122214
DALLAS, TX 75312-2214


COASTAL CHEMICAL CO. LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRENNTAG NORTH AMERICA, INC.
ATTN: R. BURBANK
5083 POTTSVILLE PIKE
READING, PA 19605-9724


COASTAL CHEMICAL LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4012 W MARSHALL AVENUE
LONGVIEW, TX 75604




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Name of Counterparty                                                                                              Nature

COASTAL CORP FKA COASTAL STATE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 GREENWAY PLAZA
HOUSTON, TX 77046


COASTAL IRON WORKS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 STEAMBOAT AVE
NORTH KINGSTOWN, RI 02852


COASTAL RECYCLING                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
32 THURBERS AVE
PROVIDENCE, RI 02905


COASTAL REFINING &MARKETING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 CANTWELL LANE
CORPUS CHRISTI, TX 78407


COASTAL STATES CRUDE GATHERING CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 44 E
FREER, TX 78357


COASTAL TANK LINES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SANDERS TRANSPORT, INC.
HWY 301 EAST
ALLENDALE, SC 29810


COASTAL TRANSPORT CO., INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8613 WALLISVILLE ROAD
HOUSTON, TX 77029


COATES, BARBARA JEAN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OTTIS CLINGERMAN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COBB, BERNARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COBB, CURTIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COBB, JACKIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COBB, JUANITA B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COBB, LAIRD A                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COBB, ROBIN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


COBB, SQUARE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COBLE, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COCA COLA COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GBERNHARD GOEPELT, SVP & GEN. COUN.
1 COCA COLA PLZ NW
ATLANTA, GA 30313


COCCAGNA, ALPHONSUS G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCCHIARA, ANTHONY P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COCH, STEVE UL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


COCHENOUR, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COCHRAN, BILL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COCHRAN, CONSTANCE J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCHRAN, CONSTANCE JEANETTE, PR OF THE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL J COCHRAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCHRAN, DEBRA E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HELEN LOAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCHRAN, KENNETH D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COCHRAN, RUSSELL WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


COCHRANE CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2227 DEADRICK
MEMPHIS, TN 38114


COCKBURN, MICHAEL L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COCKERHAM, MICHAEL F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COCKLIN, PAUL ROGER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


COCKRELL, DAISY M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCKRELL, DAVID E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COCKRELL, MAGRUDER, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COCKROFT, AVNER B., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


CODERO, PATRICIA CLORINDA VILLANUEVA                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CODY, BILLY REX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT 7 BOX 35A
MT PLEASANT, TX 75455


CODY, CHARLES J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CODY, DONALD W.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CODY, EDMUND C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CODY, JAMES E. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CODY, MARY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CODY, MERVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CODY, ROBERT DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CODY, SAMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CODY, TERRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CODY, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COE, JAMES D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

COE, WILLIAM B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COELHO, CACIANO AUGUST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COELHO, MATTIE NORMA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COEN CO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KACAL & FEEHAN PC
GEORGE JEROME “JERRY” KACAL, JR
675 BERING DRIVE, SUITE 850
HOUSTON, TX 77057


COEN COMPANY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN ZINK COMPANY
11920 EAST APACHE STREET
TULSA, OK 74116


COFER, TONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COFFEE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COFFEY, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COFFEY, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COFFIN CHICAGO PUMP CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLY, JASONS, MCGOWAN, SPINELLI & HANNA
120 WALL STREET 30TH FLOOR
NEW YORK, NY 10005


COFFIN, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COFFMAN, BERNARD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COFFMAN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COFIELD, IDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COGDILL, DUANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COGGIANO, GRACE T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COGGINS, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COGGINS, RUDOLPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COGNETTI, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COHEN, JUDITH NELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COHEN, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COHEN, MARY E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COHEN, STUART Z, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD BARRON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COHESIVE INFORMATION SOLUTIONS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9694 MADISON BLVD STE B2
MADISON, AL 35758


COHRON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COHRS, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

COHRT, KENNETH JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COKER, CARMEN G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COKER, JANICE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COKER, RON E.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COKER, RON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COKER, ROYCE , SR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COKER, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLAO, MANUEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLAPELLE, MARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLAVITO, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLBERT PACKAGING CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
28355 NORTH BRADLEY ROAD
LAKE FOREST, IL 60045


COLBERT, JIMMY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLBETH, JR. , GLEASON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLBY, MELVYN J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


COLDIRON, BOBBY RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLE, ANNASTASIA F, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE N FRANGAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLE, ARTHUR B, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLE, CHARLES S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


COLE, CLARENCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, DANIEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, EARL E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLE, FRIEDA S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLE, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLE, JOHN W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLE, LADY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, NANCY J, FOR THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF HOWARD COLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLE, NORMAN F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLE, RALPH EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE, ROBERT EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                       Nature

COLEMAN, ALBERTA C                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, ALFRENSHA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, ALVESTER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLEMAN, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLEMAN, CLARENCE AND JULIA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, CLARENCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, DONALD M                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, DONNIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, EARNEST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, EDNA GOVAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, EDNA GOVAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, GLENDA F                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLEMAN, GREGORY F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, JANICE ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, JENNIFER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLEMAN, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLEMAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLEMAN, LINDA R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLEMAN, LOIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, OLIVER K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


COLEMAN, RENSIE V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLEMAN, RONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLEMAN, ROY, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEMAN, TIM D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLE-PARMER INSTRUMENT COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13927 COLLECTIONS CENTER DR
CHICAGO, IL 60693


COLE-PARMER INSTRUMENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 E BUNKER CT
VERNON HILLS, IL 60061-1844


COLERN, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLES, WAETINA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLETTA, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLEY, LISA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLEY, MARY F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLFAX CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8170 MAPLE LAWN BLVD
SUITE 180
FULTON, MD 20759




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLFER, WILLIAM (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLGATE PALMOLIVE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREW D HENDRY, CHIEF LEGAL OFFICER
AND SECRETARY
300 PARK AVE
NEW YORK, NY 10022


COLL, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLL, PAMELA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLL, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLACCHI, BARBARA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLARD, DANNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLAZO, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


COLLE TOWING                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 340
PASCAGOULA, MS 39567


COLLEGE, SCOTT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLLEN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COLLETTE, JOE C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLETTE, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLETTE, JOE, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


COLLETTI, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLEY JR, PAUL S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLLEY, REBECCA S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


COLLIE, HUGH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLIER BROWN, CAROL A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLIER, DARIUS, SR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLLIER, FRED A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLLIER, JAMES M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLIER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLIER, KARL WAYNE (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


COLLIER, LILLIAN F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLIER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLIER, WILLIAM M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLIN CO. JR. COLLEGE DIST.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3452 SPUR 399
MCKINNEY, TX 75069


COLLIN COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COLLIN COUNTY ADMINISTRATION BUILDING
2300 BLOOMDALE RD., SUITE 2106
MCKINNEY, TX 75071


COLLINS RADIO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 N. ALMA ROAD
RICHARDSON, TX 75080




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLLINS RADIO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ROCKWELL INTERNATIONAL
2201 SEAL BEACH BOULEVARD
SEAL BEACH, CA 90740


COLLINS, ALAN G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, AMY E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, ANNETTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLINS, ANNIE L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILSON DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLINS, ARNOLD A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLINS, BASIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLINS, CORNELIUS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLLINS, DANIEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, DANNY GERALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

COLLINS, DANNY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, DWIGHT E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLLINS, GEORGE E., JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COLLINS, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, JAMES MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLLINS, JAMES W, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLINS, JANE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, JOHN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, JOHNNIE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                               Nature

COLLINS, JUANITA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, JUDY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, LAWRENCE G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLLINS, MICHAEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLLINS, MICHAEL O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, MICHAEL S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, NORA JOYCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, PATTIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, PAUL P.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COLLINS, RANSFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLLINS, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


COLLINS, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLLINS, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, SHELDON E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLINS, TOMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COLLINS, WILLIAM A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


COLLISON, KAREN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD D GALSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLLVINS, JAMES H., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


COLMANE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

COLOGRANDE, FRANK P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLON, ANTHONY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLON, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLON, RICHARD J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLONIA TEPEYAC, LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5305 VILLAGE CREEK
PLANO, TX 75093


COLOPY, GERMANOUS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLORADO ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
534 E. 11TH
COLORADO CITY, TX 79512


COLORADO RIVER MUNICIPAL WATER DISTRICT                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 869
BIG SPRING, TX 79721


COLORADO SCHOOL OF MINES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 ILLINOIS ST
GOLDEN, CO 80401




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Name of Counterparty                                                                                             Nature

COLORADO SCHOOL OF MINES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BARBARA FRASCELLO
MINING ENGINEERING DEPT
1610 ILLINOIS ST
GOLDEN, CO 80401


COLQUHOUN, EDWIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COLSTON, CLAUDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLSTON, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COLSTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


COLTEC INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5605 CARNEGIE BLVD
#500
CHARLOTTE, NC 28209


COLTEC INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN A LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701


COLTON, MAURICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COLTRIN, JAMES R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COLUCCI, ANN L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLUMBIA ACOUSTICS & FIREPROOF                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
104 CORPORATE BLVD
WEST COLUMBIA, SC 29169


COLUMBIA BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
390 OLD READING PIKE
POTTSTOWN, PA 19464


COLUMBIA BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


COLUMBIA BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


COLUMBIA BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


COLUMBIA BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
390 OLD READING PIKE
STOWE, PA 19464


COLUMBIA GAS TRANSMISSION LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 MACCORKLE AVE SE FL 1
CHARLESTON, WV 25314


COLUMBIA GAS TRANSMISSION, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 MACCORKLE AVE SE FL 1
CHARLESTON, WV 25314




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COLUMBIA GULF TRANSMISSION COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 MACCORKLE AVE SE FL 1
CHARLESTON, WV 25314


COLUMBIAN CHEMICALS COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 WEST OAK
COMMONS COURT
MARIETTA, GA 30062-2253


COLUMBUS BEARING & INDUSTRIAL SUPPLY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 40
COLUMBUS, TX 78934


COLUMBUS MCKINNON CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 JOHN JAMES AUDUBON PKWY
AMHERST, NY 14228


COLUMBUS MCKINNON CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN S. KORMAN, VP, GEN. COUN. & SEC.
140 JOHN JAMES AUDUBON PARKWAY
AMHERST, NY 14228-1197


COLUMBUS STEEL CASTINGS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COLUMBUS CASTINGS
2211 PARSONS AVE
COLUMBUS, OH 43207


COLVILLE, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COLVIN, MARC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLVIN, THELMA JEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COLWELL, MILEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COMANCHE CO. HOSPITAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMANCHE COUNTY MEDICAL CENTER
10201 HWY 16 NORTH
COMANCHE, TX 76442




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

COMANCHE COUNTY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GAY HORTON GREEN,
TAX ASSESSOR - COLLECTOR
101 WEST CENTRAL
COMANCHE, TX 76442


COMANCHE ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1414 N. AUSTIN
COMANCHE, TX 76442


COMANCHE PEAK NUCLEAR POWER COMPANY LLC                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MITSUBISHI HEAVY INDUSTRIES, LTD
ATTN: ITARU KIKUOKA
16-5, KONAN 2-CHROME, MINATO-KU
TOKYO, 108-8215
JAPAN

COMANCHE, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
114 W CENTRAL
COMANCHE, TX 76442


COMANS, CLANCY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMBA, ROBERT J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COMBUSTION ENGINEERING INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 MERRITT 7
NORWALK, CT 06851


COMEAU, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COMEAU, NORMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COMED AN EXELON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARRYL BRADFORD, SVP & GEN. COUN.
10 S DEARBORN ST
48TH FLOOR
CHICAGO, IL 60603


COMED AN EXELON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD B LEVY
10 S DEARBORN ST
37TH FLOOR
CHICAGO, IL 60603


COMEGYS, CHARLES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COMER, DONALD RAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMISSO, ENZO O                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COMMARERI, JOYCE I, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE COMMARERI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COMMERCE ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3315 WASHINGTON ST
COMMERCE, TX 75428


COMMERCE, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1119 ALAMO STREET
COMMERCE, TX 75428


COMMERCIAL METALS CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2215 S GOOD LATIMER STREET
DALLAS, TX 75226




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COMMERCIAL METALS CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7800 STEMMONS FREEWAY
DALLAS, TX 75247


COMMERCIAL METALS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: 1439
PO BOX 844579
DALLAS, TX 75284-4579


COMMIATO'S MACHINE & REPAIR SERVICE INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1141 N E LOOP
CARTHAGE, TX 75633


COMMODARI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COMMON WEALTH EDISON COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARRYL BRADFORD, SVP & GEN. COUN.
10 S DEARBORN ST
48TH FLOOR
CHICAGO, IL 60603


COMMONWEALTH OF VIRGINIA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT OF THE TREASURY
DIVISION OF UNCLAIMED PROPERTY
PO BOX 2478
RICHMOND, VA 23218-2478


COMMUNICATIONS WORKERS OF AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOCAL 6222
1730 JEFFERSON ST
HOUSTON, TX 77003


COMNICK, KEITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COMOLETTI, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COMO-PICKTON ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 18
13017 TX HWY 11 E.
COMO, TX 75431


COMPERCHIO, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMPETE                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 38415
BALTIMORE, MD 21231


COMPETITIVE CLEANING SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8234
LONGVIEW, TX 75607


COMPETITRACK INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29220
NEW YORK, NY 10087-9220


COMPLETE PRINTING & PUBLISHING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 417
CARTHAGE, TX 75633


COMPLIANCE ASSURANCE ASSOCIATES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
1395 N WILLETT ST
MEMPHIS, TN 38108


COMPLIANCE ASSURANCE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1395 N WILLETT ST
MEMPHIS, TN 38108


COMPOFELICE, SUSAN C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH M COMPOFELICE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COMPTON, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COMPTON, HARMON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMPTON, MERAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMPTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COMPTON, VICTORIA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICHOLAS LOPREATO JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COMPTON-LITTLE, EILEEN ESTHER, PR OF THE                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES G COMPTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COMPTROLLER OF MARYLAND, REVENUE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADMINISTRATION DIVISION
300 E. JOPPA ROAD
PLAZA LEVEL 1A
TOWSON, MD 21286-3020


COMPUDYNE CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1524 E 37TH ST
HIBBING, MN 55746




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COMPUDYNE CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2530 RIVA ROAD, SUITE 201
ANNAPOLIS, MD 21401


COMPUTER ENGINEERING SERVICES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARTHA N. MARTIN
240 FORREST AVE, STE 102
PO BOX 4332
CHATTANOOGA, TN 37405


COMPUTER ENGINEERING SVCS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4332
CHATTANOOGA, TN 37405


COMPUTERSHARE TRUST COMPANY OF CANADA                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ALESSANDRA PANSERA
1500 ROBERT-BOURASSA BOULEVARD, 7TH FLOOR
MONTREAL, QC H3A 3S8
CANADA

COMPUTERSHARE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TINA VITALE, BA; LL.B.
480 WASHINGTON BLVD
JERSEY CITY, NJ 07310


COMSTOCK, MARTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONAGE, KAREN E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


CONAGRA FOODS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COLLEEN BATCHELER, EVP, GEN. COUN.
& CORPORATE SECRETARY
ONE CONAGRA DRIVE
OMAHA, NE 68102-5001


CONAGRA FOODS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                          Nature

CONAGRA FOODS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


CONAGRA FOODS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CONAGRA FOODS PACKAGED FOODS, LLC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CONAGRA DRIVE
OMAHA, NE 68102


CONAIR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CONAIR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CONAIR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR WEST
ST LOUIS, MO 63110


CONAIR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CONAIR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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Name of Counterparty                                                                                              Nature

CONAIR CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


CONAIR CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101


CONAIRCORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 MILFORD RD
EAST WINDSOR, NJ 08520


CONANT, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONAWAY, ELIZABETH K & VINCENT H                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONAWAY, TIMOTHY N.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CONBRACO INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


CONCANNON, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONCO SERVICES CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
530 JONES ST
VERONA, PA 15147




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CONCO SYSTEMS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
530 JONES ST
VERONA, PA 15147-1121


CONDENSER SPECIALTIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 ROSELLE ST
LINDEN, NJ 07036-2634


CONDERINO, ANSELMO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONDIT A FLUID FLOW PRODUCTS CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10207 S SAM HOUSTON PKWY W S
STE 160
HOUSTON, TX 77071


CONDIT COMPANY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT 81
PO BOX 21228
TULSA, OK 74121-1228


CONDIT COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A FLUID FLOW PRODUCTS COMPANY
7255 EAST 46TH STREET
TULSA, OK 74145


CONDIT, GERALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CONDON, JOHN E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONDON, ROLAND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CONDON, WILLIAM A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONE, GARVIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONE, LINDA GAY PEARCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONFIDENTIAL SERVICES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 167
SOUTH HAVEN, MI 49090


CONFORTI, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONFORTO, ROSS J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CONG DO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5035 N 131ST DR
KANSAS CITY, KS 66109


CONGER, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONGER, EDWARD WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONGER, RICHARD EUGENE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONGOLEUM CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3500 QUAKERBRIDGE RD
MERCERVILLE-HAMILTON SQUARE, NJ 08619




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CONGRESS HOLDINGS LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONGRESS HOLDING GROUP INC
1005 CONGRESS AVE STE 150
AUSTIN, TX 78701-2415


CONGRESS HOLDINGS, LTD.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BILL MALONE, JR.
8650 SPICEWOOD SPRINGS #145-598
AUSTIN, TX 78759


CONGROVE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONIGLIO, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONJAR, NICHOLAS J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONKLIN GROUP, THE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TODD CONKLIN
PO BOX 63
SANTA FE, NM 87504


CONKLIN, BRUCE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONKLIN, DAVE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONKLIN, ERICA NICOLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CONKLIN, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONKWRIGHT, ANGEL, INDVIDUALLY AND AS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONLAN, JOHN V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONLEY GROUP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5800 E CAMPUS CIRCLE DR
SUITE 250
IRVING, TX 75063


CONLEY GROUP, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5800 E. CAMPUS CIRCLE, STE 250
IRVING, TX 75063


CONLEY, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONLEY, JOHN F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONLEY, MALINDA M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONLEY, STEPHEN L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONLEY, WENDELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

CONLIN, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONLON, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONMY, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONN, LINDA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CONN, WESLEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CONNAUGHTON, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNECTICUT WORKERS' COMPENSATION COMMISSION                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMMISSION
999 ASYLUM AVENUE
HARTFORD, CT 06105


CONNECTION TECHNOLOGY CENTER INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7939 RAE BOULEVARD
VICTOR, NY 14564


CONNELL LIMITED PARTNERSHIP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE INTERNATIONAL PLACE, FLOOR 31
BOSTON, MA 02110




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CONNELL, ARCHIE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CONNELL, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNELL, PHYLLISS KAYE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNELL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNELL, SHIRLEY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CONNELLEY, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNELLY, JAMES J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


CONNELLY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNELLY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

CONNELLY, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONNELLY, MICHAEL J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL CONNELLY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONNELLY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONNER, CRYSTAL G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNER, DIANA BERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNER, JOSEPH LYLE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CONNER, MATHEW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONNER, TERRIE DIANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

CONNER, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNERS CONSTRUCTION CO INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2513 US HWY 77
LOTT, TX 76656


CONNERS CONSTRUCTION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O DRAWER 338
LOTT, TX 76656


CONNERS, HARLEY G, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J GILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONNOLLY REILLY, ELAINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNOLLY, COLLEEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNOLLY, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CONNOLLY, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNOLLY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONNOLLY, JEROME F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONNOLLY, KEITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CONNOLLY, KEVIN T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONNOLLY, MICHAEL F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONNOLLY, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNOLLY, NANCY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONNOLLY, PATRICK M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONNOLLY, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNOLLY, PATTI M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONNOLLY, SYLVIA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM CONNOLLY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONNOLLY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNOR, GERALD C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                               Nature

CONNOR, MANDIE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALLEN S CONNOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONNOR, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONNORS, FRANCIS R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CONNORS, MANDELLA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS FEAGINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONNORTY, JOHN CHARLES (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONOCO INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROOM PO 3050
PO BOX 2197
HOUSTON, TX 77252


CONOCO PHILLIPS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS & REESE LLP-HOUSTON
LESLIE M HENRY, LYONDELLBASELL TOWER,
1221 MCKINNEY, STE 4400
HOUSTON, TX 77010


CONOCO PHILLIPS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS AND REESE LLP
LESLIE M HENRY
ONE SHELL SQUARE
NEW ORLEANS, LA 70139




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Name of Counterparty                                                                                            Nature

CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EUGENE BROWN, JR
SEDGWICK LLP
333 BUSH STREET, 30TH FLOOR
SAN FRANCISCO, CA 94104-2834


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B RICE, LESLIE HENRY
1200 SMITH, SUITE 400
HOUSTON, TX 77002


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B. RICE
1233 WEST LOOP SOUTH, SUITE 1000
HOUSTON, TX 77027


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANET LANGFORD KELLY, SVP, GEN COUN &
CORP SECT, 600 NORTH DAIRY ASHFORD
(77079-1175) PO BOX 2197
HOUSTON, TX 77252-2197


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATED CORPORATION
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


CONOCO PHILLIPS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANET LANGFORD KELLY, SVP, GEN COUN & CORP SECT
600 NORTH DAIRY ASHFORD 77079-1175)
P.O. BOX 2197
HOUSTON, TX 77252-2197




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CONOCO PHILLIPS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANET LANGFORD KELLY, SVP, GEN COUN &
CORP SECT, 600 NORTH DAIRY ASHFORD
(77079-1175) PO BOX 2197
HOUSTON, TX 77252-2197


CONOCOPHILIPS COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 NORTH DAIRY ASHFORD
HOUSTON, TX 77079


CONOCOPHILLIPS COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 SOUTH JOHNSTONE AVENUE
POB 1330P
ATTN: CREDIT RISK MANAGEMENT
BARTLESVILLE, OK 74004-0001


CONOPCO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
390 PARK AVENUE
NEW YORK, NY 10022


CONRAD, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONRAD, DONALD G, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD E CONRAD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONRAD, GERALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONRAD, JOSEPH R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CONRAD, PATSY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CONROY FORD TRACTOR INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 312
MOUNT PLEASANT, TX 75456-0312


CONROY JR., DANIEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONROY TRACTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 312
MT. PLEASANT, TX 75456


CONROY, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONROY, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONROY, FRANCIS M--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CONROY, MIKE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONROY, PATRICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONROY, RONALD W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONROY, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONSERVATION LAW FOUNDATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
ANN BREWSTER WEEKS
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CONSERVATION LAW FOUNDATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
DARIN T. SCHROEDER
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


CONSILVIO, ANGELO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONSOLIDATED CASTING CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11616 HARRY HINES BLVD.
DALLAS, TX 75229


CONSOLIDATED CASTING CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 CAROLINE ST.
DALLAS, TX 75201


CONSOLIDATED COMMUNICATIONS INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 S 17TH ST
MATTOON, IL 61938-3915


CONSOLIDATED COMMUNICATIONS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 66523
ST LOUIS, MO 63166-6523


CONSOLIDATED CONTAINER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3101 TOWERCREEK PARKWAY
SUITE 300
ATLANTA, GA 30339


CONSOLIDATED EDISON CO NY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREW CZEREPAK, ESQ
FOUR IRVING PLACE
NEW YORK, NY 10003


CONSOLIDATED EDISON CO NY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOUR IRVING PLACE
NEW YORK, NY 10003


CONSOLIDATED EDISON INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 IRVING PL RM 1618-S
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CONSOLIDATED ELECTRIC COOPERATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5255 STATE ROUTE 95
PO BOX 111
MOUNT GILEAD, OH 43338


CONSOLIDATED INSULATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 WALNUT
WABBASEKA, AR 72175


CONSOLIDATED MINE SERVICE INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8248
LONGVIEW, TX 75607


CONSOLO, JENNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CONSPEC CONTROLS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6 GUTTMAN BLVD
CHARLEROI, PA 15022


CONSTANCIO, JOSEPHINE (JOSEPH)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONSTANCIO, JOSEPHINE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONSTANTINE, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONSTRUCTION INDUSTRY SOLUTIONS CORP                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1431 GREENWAY DR STE 525
IRVING, TX 75038-2565


CONSTRUCTION INDUSTRY SOLUTIONS CORP                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
545 E JOHN CARPENTER FWY
STE#600
IRVING, TX 75062




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CONSUMERS ENERGY CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 ENERGY PLAZA DRIVE
JACKSON, MI 49201


CONTARD, RONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONTE, RONALD A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONTE, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONTECH CONSTRUCTION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRODUCTS INC
16445 COLLECTIONS CENTER DR
CHICAGO, IL 60693


CONTER, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONTI, ANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONTI, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CONTI, BRIAN E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONTI, FRANCIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONTI, LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                               Nature

CONTINENAL AG                                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1830 MACMILLAN PARK DRIVE
FORT MILL, SC 29707


CONTINENTAL AUTOMOTIVE SYSTEMS INC                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CONTINENTAL DRIVE
AUBURN HILLS, MI 48326


CONTINENTAL CAN CO./CROWN BEVERAGE                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM GALLAGHER,ASST.GENL. COUNSEL
1 CROWN WAY
PHILADELPHIA, PA 19154


CONTINENTAL CAS. CO.                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CNA PLAZA
CHICAGO, IL 60685


CONTINENTAL FIELD SYSTEMS                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
23 WESTGATE BOULEVARD
SAVANNAH, GA 31405


CONTINENTAL GENERAL TIRE, INC. (F/K/A GENERA1 TIRE , INC., F/K/A THE GENERAL TIRE &RUBBER CO.)                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 GENERAL STREET
AKRON, OH 44329-0001


CONTINENTAL INSURANCE CO.                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 MAIDEN LANE
NEW YORK, NY 10038


CONTINENTAL MESSAGE SOLUTION INC                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
41 S GRANT AVE
COLUMBUS, OH 43215


CONTINENTAL MOTORS INC                                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
222 EAST DUNKLIN STE 102
JEFFERSON CITY, MO 65101


CONTINENTAL MOTORS INC                                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15 TH FLOOR
ST LOUIS, MO 63101-1313




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CONTINENTAL PRODUCTS OF TEXAS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KOYA UDAY,REGISTERED AGENT
100 INDUSTRIAL AVENUE
ODESSA, TX 79761


CONTINENTAL PRODUCTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 ROCK INDUSTRAIL PARK DR.
BRIDGETON, MO 63044


CONTINENTAL TEVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE R JURCH, GEN COUN & SECRETARY
ONE CONTINENTAL DRIVE
AUBURN HILLS, MI 48326


CONTINENTAL TEVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CONTINENTAL DRIVE
AUBURN HILLS, MI 48326


CONTINENTAL TEVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
NANCY S WOODWORTH
233 S WACKER DRIVE STE 5500
CHICAGO, IL 60606


CONTINENTAL TEVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
NANCY S WOODWORTH
233 S WACKER DRIVE, SUITE 5500
CHICAGO, IL 60606


CONTINENTAL TIRE NORTH AMERICA INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JASON JAMES IRVIN
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


CONTINENTAL TIRE NORTH AMERICA INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


CONTINENTAL TIRE NORTH AMERICA INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
SHELLY MASTERS
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CONTINENTAL WIRE & CABLE CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


CONTINENTAL WIRELESS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10455 VISTA PARK RD
DALLAS, TX 75238-1645


CONTINGENT NETWORK SERVICES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4400 PORT UNION RD
ATTN: ACCOUNTS RECEIVABLE
HAMILTON, OH 45011


CONTRACT CALLERS APR 1-28                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 212609



AUGUSTA, GA 30917-2609


CONTRACTOR'S SUPPLIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1005B EAST GRAND AVENUE
MARSHALL, TX 75670


CONTRACTOR'S SUPPLIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
417 CALVIN BLVD
LONGVIEW, TX 75602


CONTRACTOR'S SUPPLIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 150140
LUFKIN, TX 75915-0140


CONTRERAS, ALFINIO I                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONTRERAS, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONTRI, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CONTROL ASSOCIATES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 COMMERCE DR
ALLENDALE, NJ 07401


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
109 COURT WAY
PO BOX 1240
PELHAM, AL 35124


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22591 AVENIDA EMPRESA
RANCHO SANTA MARGARITA, CA 92688


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842544
LOS ANGELES, CA 90084-2544


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
820 BEAR TAVERN ROAD
WEST TRENTON, NJ 08628


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
150 EAST 42ND STREET
NEW YORK, NY 10017-5639


CONTROL COMPONENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
33 WASHINGTON STREET
NEWARK, NJ 07102


CONTROL DISPOSAL CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERMAN GOLDFADDEN
3522 DIVIDEND ST.
GARLAND, TX 75042


CONTROL SYSTEMS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1217 NORTON ROAD
HUDSON, OH 44236


CONTROLLED FLUIDS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2220 CALDER AVE
BEAUMONT, TX 77701




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Name of Counterparty                                                                                              Nature

CONTROLLED FLUIDS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO DRAWER 1914
BEAUMONT, TX 77704


CONVALESCENT CEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4005 GASTON AVENUE
DALLAS, TX 75246


CONVERGENT OUTSOURCING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 SW 39TH STREET
RENTON, WA 98055


CONVERGENT OUTSOURCING INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MOSS & BARNETT
ATTN: ISSA K. MOE, ESQ.
150 SOUTH FIFTH STREET, SUITE 1200
MINNEAPOLIS, MN 55402


CONVERSE, HOLLIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONVERSE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONVERTERS INK CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ICI AMERICAN HOLDINGS, INC.
ONE ROLLINS PLAZA
WILMINGTON, DE 19897


CONVERTERS INK CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 47765
5117 NORWOOD ROAD
DALLAS, TX 75247


CONVERTERS INK CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS MCGOWAN,AGENT
MCGRATH,NORTH,MULLIN & KRATZ,PC
OMAHA, NE 68102




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Name of Counterparty                                                                                             Nature

CONVERTITO, ALEXANDER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONWAY, BOB                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONWAY, CHARLES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONWAY, FRANCIS B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CONWAY, JANET                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CONWAY, KATE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CONWAY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CONWED CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
530 GREGORY AVE NE
ROANOKE, VA 24016-2129


CONWED CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


CONWED CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 PARK AVENUE SOUTH
20TH FLOOR
NEW YORK, NY 10010


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
530 GREGORY AVE NE
ROANOKE, VA 24016-2129


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER DONELSON BEARMAN CALDWELL &
BERKOWITZ PC, EDDY DE LOS SANTOS
1301 MCKINNEY STREET, SUITE 3700
HOUSTON, TX 77010


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER DONELSON BEARMAN CALDWELL &
BERKOWITZ PC, HARRY DANIEL SPAIN
1301 MCKINNEY STREET, SUITE 3700
HOUSTON, TX 77010


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H. DANIEL SPAIN, ATTORNEY AT LAW
54 PINE BROOK COURT
SHENANDOAH, TX 77381


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


CONWED CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPAIN HASTINGS & WARD
H. DANIEL SPAIN
909 FANNIN, 39TH FLOOR
HOUSTON, TX 77010




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COOK , ROBERT L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COOK, ALBERT C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, BETTY L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, BOBBY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, CECIL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, CECIL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


COOK, CHARLES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, CLINT (DECEASED)                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, CURTIS M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOK, DANNY L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COOK, DANNY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COOK, DARYL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, DELORES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, DIANNE H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, FRANK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, GORDON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, HARRY A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COOK, HERSCHEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, JOHN A                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

COOK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, JON T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, LUTHER LLOYD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, MARGARET                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, MATTHEW RUSSELL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, MICHAEL R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, SAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, SHERRIA JEAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                      Retained Causes of Action

                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

COOK, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, STEVEN NEAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOK, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOK, TONY MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, TROY D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOK, WILLIAM JERRY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


COOK-DUNN, JOYCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF CHARLES COOK
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


COOKE COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 SOUTH DIXON
GAINESVILLE, TX 76240


COOKE, DAVID GENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOKE, JAMES ALBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COOKE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COOKE, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOKERLY, FRANK M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


COOKS COMPOSITES AND POLYMERS CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 419389
KANSAS CITY, MO 64141-6389


COOKS, MAE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOKS, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COOL, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOLEY, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOLEY, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOLEY, LAWRENCE DAVID, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOLEY, SAMUEL L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COOLEY, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOLING, LARRY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOMBS, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COONTS, BETTY J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES LOCHAMY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOPER AIRMOTIVE, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AVIALL OF TEXAS
PO BOX 7086
DALLAS, TX 75209


COOPER AIRMOTIVE, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RYDER-AVIALL INC.
9311 REEVES STREET
DALLAS, TX 75235


COOPER CAMERON CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1333 W. LOOP SOUTH
HOUSTON, TX 77027


COOPER CROUSE HINDS LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 WOLF STREET
SYRACUSE, NY 13208


COOPER CROUSE HINDS LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


COOPER CROUSE HINDS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER ELECTRIC SUPPLY CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MATRIX DR
MONROE TOWNSHIP, NJ 08831




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

COOPER ELECTRIC SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


COOPER ELECTRIC SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MATRIX DR
MONROE TOWNSHIP, NJ 08831


COOPER ELECTRIC SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 TRAVIS STE 5600
HOUSTON, TX 77002


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 TRAVIS STE 5600
HOUSTON, TX 77002


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 TRAVIS STREET SUITE 5800
CHASE TOWER
HOUSTON, TX 77002-2909


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRYAN KEITH MAULLER, ESQ
1832 SCHUETZ RD.
ST LOUIS, MO 63146


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUSH & RAMIREZ PLLC
TRAN, STEVEN BIEN
5615 KIRBY DR, SUITE 900
HOUSTON, TX 77005


COOPER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

COOPER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


COOPER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EATON CENTER
1000 EATON BOULEVARD
CLEVELAND, OH 44122


COOPER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EATON CENTER
BRUCE M. TATEN, SVP, GEN. COUN. & CHIEF
COMPLIANCE OFFICER, 1000 EATON BOULEVARD
CLEVELAND, OH 44122


COOPER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


COOPER INDUSTRIES LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


COOPER INDUSTRIES LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


COOPER INDUSTRIES LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


COOPER INDUSTRIES LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EATON CENTER
BRUCE M. TATEN, SVP, GEN. COUN. & CHIEF
COMPLIANCE OFFICER, 1000 EATON BOULEVARD
CLEVELAND, OH 44122




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

COOPER INDUSTRIES, INC. (COOPER AIRMOTIVE)                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4446
HOUSTON, TX 77210


COOPER INDUSTRIES, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4446
HOUSTON, TX 77210-4446


COOPER LIGHTING LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1121 HIGHWAY 74 SOUTH
PEACHTREE CITY, GA 30269


COOPER TIRE AND RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 LIMA AVE
FINDLAY, OH 45840


COOPER CROUSE HINDS LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 WOLF STREET
SYRACUSE, NY 13208


COOPER INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRUCE M. TATEN, SVP, GEN. COUN.
& CHIEF COMPLIANCE OFFICER
1000 EATON BLVD.
CLEVELAND, OH 44122


COOPER, BENJAMIN ANDREW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOPER, BRIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOPER, CAITLIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOPER, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOPER, CHARLIE W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COOPER, CRISSY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOPER, DAVID H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COOPER, EDWIN JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COOPER, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOPER, JOHN DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COOPER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOPER, LEONARD N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOPER, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COOPER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COOPER, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COOPER, WELBURN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COORS DIST.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS NAUSLAR,PRESIDENT
2601 COCKRELL
DALLAS, TX 75313


COPE, RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COPELAND COMPRESSORS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EMERSON CLIMANTE TECHNOLOGIES INC
1675 WEST CAMPBELL ROAD
SIDNEY, OH 45365-0699


COPELAND CORPORATION LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 CONRAD C. HARCOURT WAY
RUSHVILLE, IN 46173


COPELAND, ALBERT S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COPELAND, CATHIE ARNOLD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COPELAND, DIANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COPELAND, DONALD O.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COPELAND, JAMES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

COPELAND, JIMMY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COPELAND, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COPENHAVER, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUST CENTER
1209 ORANGE COURT
WILMINGTON, DE 19803


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19803


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19802


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


COPES VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


COPES-VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5620 WEST ROAD
MCKEAN, PA 16426


COPES-VULCAN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19803


COPITHORNE, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COPLEY, JOHN ROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COPLEY, MICHAEL JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COPLEY, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COPPELL ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
268 SOUTHWESTERN BLVD.
COPPELL, TX 75019


COPPELL, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
255 PARKWAY BOULEVARD
PO BOX 9478
COPPELL, TX 75019-9478


COPPENBARGER, JANET                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COPPENBARGER, KEVIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COPPERAS COVE ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
703 W AVENUE D.
COPPERAS COVE, TX 76522


COPPERAS COVE, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
914 S. MAIN ST.
COPPERAS COVE, TX 76522


COPPLE, CAROL LEE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL COPPLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COPPOLA, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CORBEIL, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORBETT FABRICATING CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARL M NELSON
4009 HOMESTEAD ROAD
HOUSTON, TX 77001




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CORBETT, CARMEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORBETT, LARRY K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CORBETT, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORBETT, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CORBETT, SHERREL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CORBIN, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORBIN, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORBISIERO, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORBITT, PAULINE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLY CORBITT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CORBITT, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORCORAN, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORDELL, BARBARA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, CHRISTINA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, DARYL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORDELL, HOWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORDELL, JASON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, KYLAH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, LANDEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, ROBERT LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, TAYLOR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CORDELL, TRISTAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDELL, TYLA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDICK, JOHN A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDICK, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORDINGLEY, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORDOVA, BEN R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CORDOVA, JORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORDOVO, ADALBERTO R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORDS, ALVIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORDTS, DENNIS E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORE FURNACE SYSTEMS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE CENTER DRIVE #1
CORAOPOLIS, PA 15108-4331




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Name of Counterparty                                                                                            Nature

CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE CENTER DRIVE #1
CORAOPOLIS, PA 15108-4331


CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHERRINGTON CORPORATE CENTER
100 CORPORATE CENTER DRIVE
CORAOPOLIS, PA 15108


CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE PC
MICHAEL CHRISTOPHER SCHROEDER
10 SOUTH BROADWAY, SUITE 2000
ST LOUIS, MO 63102


CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
ANDREW MICHAEL VOSS
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
ANDREW MICHAEL VOSS
10 S BROADWAY STE 2000
ST LOUIS, MO 63102-1774


CORE FURNACE SYSTEMS CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
SAMUEL HENDERSON
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


CORE LABORATORIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WESTERN ATLAS INTERNATIONAL
10205 WESTHEIMER
HOUSTON, TX 77042


CORE LABORATORIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 47547
DALLAS, TX 75247


COREY STEEL CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 SOUTH 61ST COURT
CICERO, IL 60804-3091




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Name of Counterparty                                                                                       Nature

COREY, CHARLES JOSEPH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORGEY, CAROL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORGEY, MICHAEL H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORINTH, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3300 CORINTH PARKWAY
CORINTH, TX 76208


CORKER, JAMES H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CORKETT, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORKLE, MARY VIRGINIA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORLETT, HAROLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORMACK, PATRICK A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CORMAY, THEODORE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CORMAY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORMIER, BRADLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CORMIER, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORMIER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORN PRODUCTS INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INGREDION INC.
CHRISTINE CASTELLANO, SVP, GEN. COUN.,
CORP. SEC., 5 WESTBROOK CORPORATE CENTER
WESTCHESTER, IL 60154


CORNBLATT, SYLVAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CORNEGLIO, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORNEJO, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CORNELIUS, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORNELIUS, VALERIE J, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HIRAM L CORNELIUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CORNETT, HILRIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORNISH, HERMAN A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CORNUTT, BENNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CORONADO, CESAREO A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORPORATE EXECUTIVE BOARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3393 COLLECTION CTR DR
CHICAGO, IL 60693


CORPORATE GREEN INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 820725
DALLAS, TX 75382-0725


CORPORATE TELECOM SOLUTIONS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 855
SPRING HOUSE, PA 19477


CORPORATION, BETTIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CORPORATION, JETA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORPRO COMPANIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GENERAL COUNSEL
7000B HOLLISTER ROAD
HOUSTON, TX 77040


CORPUS CHRISTI ISD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 LEOPARD ST
CORPUS CHRISTI, TX 78401


CORPUS CHRISTI ISLAND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
APARTMENT VILLAS LLC
3602 GIANT
CORPUS CHRISTI, TX 78414


CORPUS, ARTHUR E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORRADO, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORRAL, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORREIA, DOLORES N. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CORREIA, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CORREIA, MANUEL (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CORRELL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CORRENTE, ANTONIO M--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3545 GRATIOT ST
ST LOUIS, MO 63103


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3545 GRATIOT ST
ST LOUIS, MO 63103


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN K PRUELLAGE
500 N BROADWAY SUITE 2000
ST LOUIS, MO 63141


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN K PRUELLAGE
600 WASHINGTON AVE STE 2500
ST LOUIS, MO 63101


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL P WALLER III, ATTORNEY AT LAW
4343 WEST MAIN STREET
BELLEVILLE, IL 62226


CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALKER WILLIAMS PC
LESLIE G OFFERGELD
4343 W MAIN ST
BELLEVILLE, IL 62226




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

CORRIGAN COMPANY MECHANICAL CONTRACTORS                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALKER WILLIAMS PC
LESLIE G. OFFERGELD
4343 W MAIN ST
BELLEVILLE, IL 62226


CORRIGAN, FRANCIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORRIGAN, TIMOTHY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORROSION ELIMINATORS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AWWA SPECIALISTS
PO BOX 1546
MINERAL WELLS, TX 76068


CORROSION ELIMINATORS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1546
MINERAL WELLS, TX 76068


CORSICANA ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 NORTH 13TH STREET
CORSICANA, TX 75110


CORSICANA, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N 12TH ST
CORSICANA, TX 75110


CORSO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CORTEZ, MAURILIO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORTOPASSI, MARIO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                               Nature

CORUJO, PAUL, JR.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CORULLI, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CORWIN, BILL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CORYELL COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORYELL COUNTY COURTHOUSE
620 EAST MAIN STREET
GATESVILLE, TX 76528


CORYELL COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6
GATESVILLE, TX 76528-0006


COSA XENTAUR CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
84 H HORSEBLOCK RD
YAPHANK, NY 11980


COSA XENTAUR CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A COSA INSTRUMENT CORPORATION
84 H. HORSEBLOCK ROAD
YAPHANK, NY 11980


COSBEY, THOMAS W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COSDEN OIL & CHEMICAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FINA OIL & CHEMICAL COMPANY
8350 N. CENTRAL EXPRESSWAY
DALLAS, TX 75206


COSDEN OIL & CHEMICAL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1311
BIG SPRINGS, TX 79720




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COSDON, BARRY R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSENTINO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSENZA, RALPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COSGROVE, CHASE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSGROVE, FERN Y                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSGROVE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSGROVE, THOMAS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COSME, MICHAEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


COSNER, GARY L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSS, RONALD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COSSARO, JAMES J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COSSENTINO, WILLIAM C , JR, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM C COSSENTINO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSTA, FRANK J, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSTA, JOSE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSTA, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSTABILE, JOSEPH A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COSTANTINI, OCTAVIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSTELLO, DONNA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J BLESI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COSTELLO, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COSTELLO, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSTELLO, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSTELLO, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COSTER, BRYAN STEPHEN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDNA COSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSTER, BRYAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COSTLOW, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSTLOW, RICHARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSTNER, CONNIE MICHAEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COSTNER, GAIL F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

COSTNER, GAIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COTE, DEAN R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COTE, DENIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTE, IRVING                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTHRON, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTIGNOLA, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTT, MARION BETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COTTE, JACQUELINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH C HURD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COTTEN, JAMES PERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COTTEN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTTER, WILLIAM A--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


COTTLE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTTO, MICHAEL A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COTTON SCHMIDT, L.L.P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LARRY E. COTTON
420 THROCKMORTON STREET
SUITE 500
FORT WORTH, TX 76102-3721


COTTON, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COTTON, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COTTON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COTTRELL, JANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COTTRELL, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COTTRELL, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COTUGNO, MARK A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUCH, JIMMIE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUCH, RONNIE LLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUCH, WILLIAM N.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COUGHLIN, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COUGHLIN, EVELYN P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE R COUGHLIN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COUGHLIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COUGHLIN, WILLIAM M, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COUILLARD, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COULBOURNE, LAURA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COULOMBE, DENIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COULTER, DEBRA JETT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COULTER, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COULTER, VINCENT G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COULTER, WALLACE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUNARD, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COUNCE HANCOCK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 460
PITTSBURG, TX 75686


COUNCIL, HILDA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COUNSIL, DONNA E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUNSIL, WILLIAM G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COUNTISS, WILLIAM E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COUNTY OF DALLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
509 MAIN ST
DALLAS, TX 75202


COUNTY OF ERIE, NEW YORK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
CALIFORNIA, SUSAN LEA DURBIN
CA DEPARTMENT OF JUSTICE, 1301 I STREET
SACRAMENTO, CA 94244-2550


COUNTY OF FREESTONE, TEXAS, THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY VESELKA BRAGG & ALLEN P.C.
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680


COUNTY OF GALVESTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GALVESTON COUNTY COURTHOUSE
722 MOODY; SECOND FLOOR
GALVESTON, TX 77550


COUNTY OF TITUS, TEXAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TIM R. TAYLOR, ATTORNEY
P.O. BOX 1212
MOUNT PLEASANT, TX 75456-1212


COURSEN, LEWIS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COURSEY, JOHN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COURSEY, NINA C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COURSON, MYRA B.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COURTEMANCHE, GORDON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COURTEMANCHE, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COURTER & CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5373 WEST 79TH STREET
INDIANAPOLIS, IN 46268


COURTER & CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


COURTNEY CONSTRUCTION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2617 US HWY 79N
CARTHAGE, TX 75633


COURTNEY, CHARLIE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COURTNEY, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COURTNEY, WANDA J, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF SIMON W WALTERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COUSIN, SHELDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

COUSINS, MARY A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE D RHEEM JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COUSINS, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COUTO, EUSEBIO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COUTU, GERARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COUTURE, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


COVARRUBIAS, REYNALDO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


COVELLO, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COVELLO, ANTONIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COVER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COVER-TEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
551 SILICON DR
STE 100
SOUTHLAKE, TX 76092


COVER-TEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 540683
DALLAS, TX 75354-0683


COVEY, WILLIAM H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COVEY, WILLIAM L , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM L COVEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COVINGTON, BESSIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COVINGTON, PAUL BYRON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COWAN, CLARENCE M, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COWAN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWAN, RONALD J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COWAN, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

COWART, EDDIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWART, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWELL, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWELL, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COWETTE, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWGILL, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWICK, HAZE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COWMAN, BARBARA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

COWN CORK & SEAL CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLEMMING ZULACK & WILLIAMSON ZAUDERER
LLP
ONE LIBERTY PLAZA, 35TH FLOOR
NEW YORK, NY 10006


COX, ARTHUR R., JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, CARL J.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


COX, CAROL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


COX, CARY D                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, CARY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, CHARLES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


COX, CLAY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, DANNY C                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COX, EUGENE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

COX, FADELL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, FRANKLIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COX, HUGH D.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COX, JASMINE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, JIMMIE RENO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


COX, JOE W.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, JOHN                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COX, LANA HAZELWOOD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, LANNA HAZELWOOD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, LILA                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, LOUIE THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

COX, MALCOLM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COX, MARILYNN D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A COX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COX, MARK A                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, MICHAEL D.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


COX, MICHAEL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, MICHELLE R. DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


COX, MICKEY D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, MILTON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COX, NANCY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COX, PATRICK M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COX, PAUL B                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, RANDI                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, RANDY P, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E COX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COX, RONNIE LYNN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COX, SHERRY, FOR THE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PHILLIP V COX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COX, STEVEN DEWITT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


COX, THOMAS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COX, TOMMY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COX, TROY DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

COX. ALTEN R.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


COXE, NELSON L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COY, ERNEST                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


COYLE, CHERYL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COYLE, EDWARD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COYLE, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COYLE, JANET                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


COYLE, PATRICK M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


COYLE, RICHARD LEONARD (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

COYLE, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COYMAN, SANDRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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COYNE, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


COYNE, JOHN M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


COYNE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COYNE, MARY C, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J COYNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


COYNE, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


COZIN, BRUNO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CP CHEM COMPANY LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10001 SIX PINES DRIVE
THE WOODLANDS, TX 77380




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CP HALL COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HALLSTAR COMPANY
120 SOUTH RIVERSIDE PLAZA
SUITE 1620
CHICAGO, IL 60606


CPL INDUSTRIES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES SERAFINO,DEPTY.GENL.COUNSEL
300 PARK AVENUE
NEW YORK, NY 10022


CPR SAVERS & FIRST AID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUPPLY LLC
7904 E CHAPARRAL RD
STE# A110-242
SCOTTSDALE, AZ 85250


CR MEYER AND SONS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
895 W 20TH AVE
OSHKOSH, WI 54902


CRABTREE, EDWARD ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CRADDOCK, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRADER, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAFT, ALLEN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAFT, LARRY JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CRAFTON, DORIS, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH ABEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAFTON, TIM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAFTSMAN MACHINERY CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1257 WORCESTER ROAD
UNIT 167
FRAMINGHAM, MA 01701


CRAGHEAD, DEAN STERLING (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CRAIG PHILIPS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES LLP
ATTN DIANE M. COFFEY
LINCOLN SQUARE
300 NORTH MARKET ST
WILMINGTON, DE 19801


CRAIG, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAIG, KAREN D.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAIG, MARY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAIG, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAIG, RONALD & RUSSELL & RICKY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CRAIG, RUBY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAIG, SHIRLEY B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L CRAIG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAIGHEAD, ALONA FAY, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM D CRAIGHEAD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAIGHEAD, ROY H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAIN, CATON & JAMES, P.C.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANK G. HARMON III
1401 MCKINNEY STREET
17TH FLOOR
HOUSTON, TX 77010


CRAINE, CHARLES THOMAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAMER, MELISSA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM MARTIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRANDALL, ALAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRANDALL, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CRANDALL, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRANDALL, DEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 FIRST STAMFORD PLACE
STAMFORD, CT 06902


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 1ST STAMFORD PL #300
STAMFORD, CT 06902


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 FIRST STAMFORD PL
STAMFORD, CT 06902


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 FIRST STAMFORD PLACE
STAMFORD, CT 06902




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASHLEY GRACE HAWKINSON, ESQ
1511 S 50TH ST
KANSAS CITY, KS 66106-2325


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
MARK L KARASIK
130 E RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
MARK L KARASIK
130 EAST RANDOLPH DRIVE, SUITE 3500
CHICAGO, IL 60601


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
PATRICK J. HERALD
130 E. RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
PATRICK J. HERALD
130 EAST RANDOLPH DRIVE, SUITE 3500
CHICAGO, IL 60601


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
123 S BROAD ST
PHILADELPHIA, PA 19109




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEFRANCO & BRADLEY, PC
REBECCA LYNN VAN COURT
141 MARKET PLACE, STE 104, SUITE 104
FAIRVIEW HEIGHTS, IL 62208


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


CRANE COMPANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


CRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
JAMES A LOWERY
1717 MAIN STREET, SUITE 2800
DALLAS, TX 75201




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
JAMES LOWERY
1717 MAIN STREET, SUITE 2800
DALLAS, TX 75201


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K&L GATES, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KACAL, ADAMS & LAW, PC
ROBERT ADAMS
ONE RIVERWAY, SUITE 1200
HOUSTON, TX 77056


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KACAL, ADAMS & LAW, PC
ROBERT L. ADAMS
ONE RIVERWAY, SUITE 1200
HOUSTON, TX 77056


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KIRK PATRICK & LOCKHART
MICHAEL J RAMIREZ, JOHN PETERELT
2828 N HARWOOD, SUITE 1800
DALLAS, TX 75201


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KIRKPATRICK & LOCKHART NICHOLSON GRAHAM
ONE NEWARK CENTER, 10TH FLOOR
NEWARK, NJ 07102


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCCAULETY, WESTBERG & RAMIREZ, PLLC
MICHAEL J RAMIREZ
1911 N LAMAR ST #200
DALLAS, TX 75202


CRANE COMPANY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCCAULEY, WESTBERG & RAMIREZ, PLLC
WARREN WESTBERG
5900 S LAKE FOREST DRIVE, SUITE 410
MCKINNEY, TX 75070




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NELSON MULLINS RILEY & SCARBOROUGH LLP
LEE ANN ANAND
201 17TH STREET NWSTE 1700
ATLANTA, GA 30363


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 63102


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LYNN G LEGLER- TREVINO,
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


CRANE COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
124 WEST CAPITOL AVE, SUITE 1900
LITTLE ROCK, AR 72201


CRANE COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 578
CRANE, TX 79731




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

CRANE ENVIRONMENTAL INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
730 COMMERCE DRIVE
VENICE, FL 34292


CRANE ENVIRONMENTAL INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K&L GATES, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022


CRANE ENVIRONMENTAL, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
730 COMMERCE DRIVE
VENICE, FL 34292


CRANE HOSPITAL DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRANE MEMORIAL HOSPITAL
1310 SOUTH ALFORD STREET
CRANE, TX 79731


CRANE ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
509 W 8TH ST
CRANE, TX 79731


CRANE NUCLEAR INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 405359
ATLANTA, GA 30384-5359


CRANE NUCLEAR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 405363
ATLANTA, GA 30384-5363


CRANE NUCLEAR, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JASON LOCKE
2825 COBB INTERNATIONAL BLVD.
KENNESAW, GA 30152


CRANE PUMPS & SYSTEMS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 3RD ST
PIQUA, OH 45356


CRANE PUMPS & SYSTEMS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K&L GATES, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CRANE PUMPS & SYSTEMS, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 3RD ST
PIQUA, OH 45356


CRANE PUMPS & SYSTMES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 3RD ST
PIQUA, OH 45356


CRANE COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 FIRST STAMFORD PLACE
STAMFORD, CT 06902


CRANE, CHARLES--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CRANE, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 W. 8TH
CRANE, TX 79731


CRANE, CLIFFORD P.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRANE, JOSEPH PATRICK                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CRANE, JOYCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRANE, RANDY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRANE, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRANEVEYOR CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1524 NO. POTRERO AVE
PO BOX 3727
SOUTH EL MONTE, CA 91733




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CRANK, CARRIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRANK, SIDNEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRANSTON, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRANWOOD ELECTRICAL SUPPLY CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49 SOUTH AVE
GARWOOD, NJ 07027


CRAPSE, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAUMER, JASON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAVEN, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAVEN, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CRAVER, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CRAVEY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CRAVEY, WENDELL CRAIG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD ELECTRIC CO, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4401 AGNES
CORPUS CHRISTI, TX 78405


CRAWFORD ELECTRIC SUPPLY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3125 SOUTH TEXAS AVE
STE 1500
BRYAN, TX 77802


CRAWFORD ELECTRIC SUPPLY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 847160
DALLAS, TX 75284-7160


CRAWFORD, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAWFORD, BILLIE BURKE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, BILLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, CLARA ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, EVANGELIST ROSA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, GEORGE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVIN J CRAWFORD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CRAWFORD, GWEN Z                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, HAROLD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRAWFORD, HERSCHEL G JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAWFORD, JERRY E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD, JERRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD, KENNETH A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CRAWFORD, LOWERY H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD, MAGGIE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAWFORD, MAURICE S, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIRGIL CRAWFORD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRAWFORD, MICHAEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                             Nature

CRAWFORD, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRAWFORD, ROSA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRAWFORD, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CRAWFORTH, EVAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRC GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 131888
DALLAS, TX 75313


CREAGER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CREAMER, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CREASON, DARWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREATIVE SPARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2531 23RD ST
SAN FRANCISCO, CA 94116


CREATIVE, THINKHAUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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Name of Counterparty                                                                                            Nature

CREDIT PROTECTION ASSOCIATION LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUSH & RAMIREZ, PLLC
KEITH WIER
5615 KIRBY DR STE 900
HOUSTON, TX 77005-2452


CREDIT SYSTEMS INTERNATIONAL INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1277 COUNTRY CLUB LANE
FORT WORTH, TX 76112


CREDIT SYSTEMS INTERNATIONAL, INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEECH TISHMAN FUSCALDO & LAMPL, LLC
ATTN: PATRICK W. CAROTHERS, ESQ.
525 WILLIAM PENN PLACE, 28TH FL
PITTSBURGH, PA 15219


CREEK POINT LIMITED PARTNERSHIP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3300 N MCDONALD ST
MCKINNEY, TX 75069


CREEKPAUM, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREEKWOOD PLACE LIMITED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARTNERSHIP II
600 E JOHN CARPENTER FRWY,
SUITE 355
IRVING, TX 75062


CREEL, BILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREEL, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

CREEL, ROSCOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREGHAN, ISABELL A. DECEASED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CREIGHTON, NORMA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CREMEANS, CHERYL J S                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CREMER, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRENSHAW, RICKY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRENSHAW, SAMUEL T                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRESCENZO, ANTHONY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRESPOLINI, ALEXANDER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

CRESSMAN, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRESSY, JOHN G., JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CRESTA, CARMINE A, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRETA, ERNEST                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRETELLA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRETELLA, VICTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREWS JR, WILLIAM E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CREWS, EARL JEFFERSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CREWS, JAMES N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CREWS, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CREWS, WILLIAM D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CRICHLOW, CLAUDIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRICHLOW, CYNTHIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRICHLOW, TAFFY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDDLE, ANDERSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDDLE, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDDLE, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDDLE, ODELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDDLE, OTIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CRIDER, JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRIDER, JUDY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIDER, JUDY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIM, TRAVIS FRANK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIM, TRAVIS FRANK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIMI, JOSEPH A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CRIMS CHAPEL CEMETERY ASSOC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1542
HENDERSON, TX 75653


CRIPE, LIONEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRISCO, ORVILLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRISHER, EARL LAVERNE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CRISLER, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CRISP INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 326
BRIDGEPORT, TX 76426


CRISP, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRISP, JORDAN & BOYD, L.L.P.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD, POFF & BURGES, LLP
FRANKLIN A. POFF, JR.
2301 MOORES LANE
TEXARKANA, TX 75505-6297


CRISSON, COPELAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRIST, JEFFREY AND EDITH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


CRIST, MIKE L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRISTO, CONSTANTINE G. (FORMERLY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRITCHFIELD, JEFFREY B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRITTENDEN, BERNETT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CRITTENDEN, BURNETTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRITTENDON, SR, ALONZO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRIVELLO, CARLSON, MENKOWSKI & STEEVES                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONALD CARLSON
710 N. PLANKINTON AVENUE
MILWAUKEE, WI 52302


CRIZER, SUSAN ELLEN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES TINKLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROCE, FRANK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROCE, WILLIAM L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CROCETTI, HOWARD G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROCI, RONALD A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CROCKETT ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 W. AUSTIN ST.
CROCKETT, TX 75835




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CROCKETT, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROCKETT, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N 5TH ST
CROCKETT, TX 75835


CROCKETT, WILLIAM, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E CROCKETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROFT, TERRY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROKE, BRYAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROLL REYNOLDS CO INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NEWMAN & SIMPSON LLP
845 THIRD AVENUE, SUITE 740
NEW YORK, NY 10022


CROLL REYNOLDS ENGINEERING CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


CROLL REYNOLDS ENGINEERING CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P.C.
ROBERT DARISH, ESQ.
80 BROAD STREET, 23D FLOOR
NEW YORK, NY 10004


CROLL REYNOLDS ENGINEERING CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIX CAMPUS DRIVE
PARSIPPANY, NJ 07054


CROMLISH, KIM T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CRONAN, JOE H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRONAUER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRONE, ROSALYN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY D CRONE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRONIN, CHLOA R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRONIN, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRONIN, JAKE M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRONIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CRONIN, LESLIE S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRONIN, NICHOLAS S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRONIN, ROBERT SCOTT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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Name of Counterparty                                                                                               Nature

CRONIN, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRONIN, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRONISTER, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRONMILLER, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CRONNIN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CROOK, MICHAEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


CROOKS, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSBY BOAT COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 279
GOLDEN MEADOW, LA 70357


CROSBY CHEMICALS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 RIVER ROAD
PICAYUNE, MS 39466




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CROSBY TUGS, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 279
GOLDEN MEADOW, LA 70357


CROSBY VALVE & GAGE COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
43 KENDRICK STREET
WRENTHAM, MA 02093


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
43 KENDRICK STREET
WRENTHAM, MA 02093


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BLVD
STE 800
GOLDEN VALLEY, MN 55416


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BLVD
SUITE 800
GOLDEN VALLEY, MN 54416


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BOULEVARD, STE. 800
GOLDEN VALLEY, MN 55416


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD
PRINCETON, NJ 08540


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASHLEY GRACE HAWKINSON, ESQ
1511 S 50TH ST
KANSAS CITY, MO 66106-2325


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLEY JASONS MCGOWAN SPINELLI &
HANNA LLP, CHRISTOPHER P. HANNAN
120 WALL STREET, 30TH FLOOR
NEW YORK, NY 10005


CROSBY VALVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895




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Name of Counterparty                                                                                             Nature

CROSBY VALVE INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


CROSBY VALVE INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


CROSBY VALVE INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


CROSBY, BRUCE RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CROSBY, FRANKLIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSBY, KIM, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBINETTE WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROSBY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSLIS, TERRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002




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Name of Counterparty                                                                                             Nature

CROSS CLEANING SOLUTIONS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1103
GLADEWATER, TX 75647-1103


CROSS, ALLE WAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSS, BERNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSS, CHARLES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSS, ETHELENE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W TABB
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROSS, FRED C. (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RICHARD & RANDY CROSS, CO-EXECUTORS
C/O DUBOSE LAW FIRM, PLLC;
5646 MILTON ST., SUITE 321
DALLAS, TX 75206


CROSS, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSS, GORDON--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CROSS, IRVING                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

CROSS, JOHN BERNARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CROSS, LESTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSS, MARK LYNN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSS, MELVIN LOUIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSSIN, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSSLEY, LARRY L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSSLEY, WANDA S                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROSSLEY, WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROSSMAN, RICHARD E--EST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CROSSON, CLARENCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CROSSROADS ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14434 59
MALAKOFF, TX 75148


CROTEAU, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROTEAU, DENNIS MARK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CROTEAU, RONALD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CROTTY, PHILLIP E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


CROUCH, BUCK WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CROUCH, CHARLES EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CROUCH, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROUCH, MARY MARTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CROUCH, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROUCH, TIMOTHY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROUGHAN, MARGARET M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CROUSE, KATHLEEN B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD W CROUSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROVO, HOWARD C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROW, BROOKSEY LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROW, DORIAN R.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROW, TIM                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROWDER, EURYDICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CROWDER, HOWARD P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CROWDER, JAMES E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


CROWDES, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CROWE, BILLY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWE, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWE, JESSE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWE, LLOYD JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


CROWE, WILLIAM M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CROWELL, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CROWELL, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWLEY INDEPENDENT SCHOOL DISTRICT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


CROWLEY, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CROWLEY, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWLEY, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CROWLEY, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROWLEY, RORY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROWLEY, SHAUN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROWLY, BRUCE W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CROWN BEVERAGE PACKAGING INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CROWN BOILER CO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
7 ST PAUL STREET STE 1660
BALTIMORE, MD 21202


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & BELL LTD
HOWARD P MORRIS
33 W MONROE ST, SUITE 2700
CHICAGO, IL 60603


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & BELL, LTD.
DAVID FRANCIS FANNING
33 W MONROE 2700
CHICAGO, IL 60603


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER BOTTS LLP
WILLIAM K KROGER
ONE SHELL PLAZA, 910 LOUISIANA STREET
HOUSTON, TX 77002-4995


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE NORTH CHARLES STREET
SUITE 2200
BALTIMORE, MD 21201


CROWN CENTRAL LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L WARE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CROWN CENTRAL LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS, P.C.
JAMES L. WARE
909 FANNIN ST
HOUSTON, TX 77010


CROWN CENTRAL PETROLEUM CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1168
BALTIMORE, MD 21203


CROWN CENTRAL PETROLEUM CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L WARE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


CROWN CENTRAL PETROLEUM CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS, P.C.
JAMES L. WARE
909 FANNIN ST
HOUSTON, TX 77010


CROWN CORK & SEAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 WEST CAMDEN ST
6TH FLOOR
BALTIMORE, MD 21201


CROWN CORK & SEAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CROWN CORK & SEAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWN CORK & SEAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASTANO QUIGLEY
GREGORY CASTANO JR
155 PASSAIC AVE, SUITE 340
FAIRFIELD, NJ 07004


CROWN CORK & SEAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRAIN CATON & JAMES, D. ALLAN JONES
FRANK HARMON III, FIVE HOUSTON CENTER
17TH FLOOR, 1401 MCKINNEY ST, STE 1700
HOUSTON, TX 77010




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CROWN CORK & SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CROWN CORK & SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CROWN CORK & SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRAIN CATON & JAMES
FRANCIS G HARMON III FIVE HOUSTON CENTER
17TH FLOOR, 1401 MCKINNEY ST, STE 1700
HOUSTON, TX 77010


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRAIN CATON & JAMES
KIMBERLY ROSE STUART FIVE HOUSTON CENTER
17TH FLOOR, 1401 MCKINNEY ST, STE 1700
HOUSTON, TX 77010


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLEMMING ZULACK & WILLIAMSON ZAUDERER
LLP
ONE LIBERTY PLAZA, 35TH FLOOR
NEW YORK, NY 10006


CROWN CORK AND SEAL COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                             Nature

CROWN CORK AND SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWN CORK AND SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


CROWN CORK AND SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWN CORK AND SEAL USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWN PRODUCTS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 104 PO BOX 21228
TULSA, OK 74121-1228


CROWN PRODUCTS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9157
TULSA, OK 74157-0157


CROWN ZELLERBACH CORP.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE STREET, N.E.
ATLANTA, GA 30303


CROWN CORK & SEAL USA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599


CROWNOVER, HOMER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRUE, GRACE C, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARVEY C CRUE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CRUIKSHANK, KEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRULL, ROBERT E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CRUM, RAY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRUMLEY, EUGENE ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CRUMP, ALBERT, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRUMP, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMP, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


CRUMP, DANNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMP, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRUMP, KAREN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

CRUMPLER, ALBERT B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRUMPLER, DOROTHY LAW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPLER, LOUISE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPLER, ROBERT NOLAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPTON, DANNY LEE, II                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPTON, DANNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPTON, JOAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUMPTON, VERONICA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUSE, MATTHEW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUSE, SHONDETTE D, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAROLD R CRUSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CRUTCHFIELD, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CRUZ, CRISTOBAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CRUZ, DENNIS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CRUZ, JOSE ANGEL GARCES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUZ, PEDRO C.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CRUZ, PHILLIP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRUZ, SOLOMAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CRYER, ELTON F.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CRYSTAL CHEMICAL CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3502 ROGERS ST.
HOUSTON, TX 77022


CRYSTAL GAS STORAGE, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


CRYTS, KIMBERLY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

CSC CREDIT SERVICES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
652 NORTH SAM HOUSTON PKWY E
HOUSTON, TX 77060


CSC ENGINEERING & ENVIRONMENTAL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTANTS INC
PO BOX 4359
BRYAN, TX 77805-4359


CSC LANDFILL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842429
DALLAS, TX 75284-2429


CSC TRUST COMPANY OF DELAWARE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SANDRA E HORWITZ
MANAGING DIRECTOR
2711 CENTERVILLE RD STE 400
WILMINGTON, DE 19808


CSEHOSKI, ROSEMARY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CSI ACQUSITION CO LLC DBA CRANE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9526 N I-20
SWEETWATER, TX 79556


CSR INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOUGLAS NEIDER
500 N BROADWAY #2000
ST LOUIS, MO 63102


CSR INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2107 WILSON BLVD
SUITE 100
ARLINGTON, VA 22201


CSR INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOUGLAS NEIDER
500 N BROADWAY #2000
ST LOUIS, MO 63102


CSR LTD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRINITI 3 39 DELHI RD
NORTH RYDE, NSW, 02113




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Name of Counterparty                                                                                          Nature

CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHERYL L HERMANSEN
303 CREST AVE
ELK GROVE, IL 60007


CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHERYL L HERMANSEN
303 CREST AVE
ELK GROVE, IL 60007


CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHURCHILL HOUSE
DEBBIE SCHROEDER, LEGAL COUN.
CAMBRIDGE BUSINESS PARK, COWLEY ROAD
CAMBRIDGE, CB4 0WZ
UNITED KINGDOM

CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEITH D NUTT
1131 BLUME
ROSENBERG, TX 77471


CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHIRLEY L RUDOFSKI
2031 HEARTH CIRCLE
LANSING, IL 60438


CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRINITI 3 39 DELHI RD
NORTH RYDE, NSW, 02113


CSR INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2107 WILSON BLVD
SUITE 100
ARLINGTON, VA 22201


CSR LTD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHURCHILL HOUSE
DEBBIE SCHROEDER, LEGAL COUN.
CAMBRIDGE BUSINESS PARK, COWLEY ROAD
CAMBRIDGE, CB4 0WZ
UNITED KINGDOM

CSS DIRECT INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS RECEIVABLE
3707 N 200TH ST
ELKHORN, NE 68022-2922




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

CSS DIRECT INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVE MCCOY, VP
3707 N 200TH ST
OMAHA, NE 68022


CSW SUPERIORCORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2904 FIRST ST
BRYAN, TX 77801


CSX TRANSPORATION INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 WATER STREET, 15TH FLOOR
JACKSONVILLE, FL 32202


CSX TRANSPORTATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1722 EYE STREET, NW
WASHINGTON, DC 20006


CT CORPORATION SYSTEM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


CT CORPORATION SYSTEM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4349
CAROL STREAM, IL 60197-4349


CTI                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 958314
ST LOUIS, MO 63195


CTU OF DELEWARE, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1215 W. CROSBY RD.
CARROLLTON, TX 75006


CUBOW, JOSEPH, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUCCHIARA, PAUL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CUCINELLA, ANGELO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUCINELLA, JEANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUCINELLA, JR, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUDDY, GEORGE S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUDIHY, JAMES A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUELLAR, CIRO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


CUFFE, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUFFLEY, ELSIE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AUGUST CUFFLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUGGINO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CUGLE, HORACE, III                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CULBERSON CO. GWCD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN JONES
PO BOX 1295
VAN HORN, TX 79855


CULBERSON CO. HOSP. DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CULBERSON HOSPITAL, EISENHOWER & FM 2185
PO BOX 609
VAN HORN, TX 79855


CULBERSON COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 158
VAN HORN, TX 79855


CULBERSON, VERNON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CULBERSON-ALLAMORE ISD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 WEST 7TH STREET
VAN HORN, TX 79855-0899


CULBERTSON, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CULLEN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CULLEN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

CULLEN, JOHN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CULLEN, JOSEPH F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULLEY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULLIGAN, MICHAEL P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CULLIGAN, THOMAS R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CULLIGAN, THOMAS WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CULLIGAN, WILLIAM G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULLINS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CULLINS, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULLINS, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CULLISON, DONALD L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVIN CULLISON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CULP, GERMAINE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CULP, RUDY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CULP, SIDNEY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULPEPPER, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CULTON, JOYCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUMBY, WILLIE C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUMMINGS MAXINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4612 CHADBOURN ST
BAKERSFIELD, CA 93307


CUMMINGS, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUMMINGS, EDWARD MAURICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                                 Nature

CUMMINGS, HERBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUMMINGS, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVIN SIMES KAISER & GORNICK, LLP
44 MONTGOMERY STREET, 32ND FLOOR
SAN FRANCISCO, CA 94104


CUMMINGS, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUMMINGS, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUMMINGS, MARTIN P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUMMINGS, MAXINE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUMMINGS, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUMMINGS, NICOLE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUMMINGS, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

CUMMINGS, RANDALL B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUMMINGS, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUMMINGS, T H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUMMINGS, WOODWORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUMMINS FAMILY TRUST, THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4106 HONEYCOMB ROCK CIRCLE
AUSTIN, TX 78731-2016


CUMMINS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


CUMMINS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS SERVICE
CORPORATION COMPANY 801 ADLAI
STEVENSON DR
SPRINGFIELD, IL 62703


CUMMINS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3005
COLUMBUS, IN 47202-3005


CUMMINS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


CUMMINS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CUMMINS SALES & SERVICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3707 IRVING BLVD.
DALLAS, TX 75247


CUMMINS SALES & SERVICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CUMMINS SOUTHERN PLAINS
600 N. WATSON RD.
ARLINGTON, TX 76011


CUMMINS SALES & SERVICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOE FREEMAN,REGISTERED AGENT
4424 GLEN OAKS DR.
FLOWER MOUND, TX 75028


CUMMINS SOUTHERN PLAINS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TOMMY BURWELL
2615 BIG TOWN BLVD
MESQUITE, TX 75150


CUMMINS SOUTHERN PLAINS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CUMMINS SOUTHERN PLAINS LLC
600 NORTH WATSON ROAD
ARLINGTON, TX 76011-5319


CUMMINS SOUTHERN PLAINS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 N WATSON RD
ARLINGTON, TX 76011


CUMMINS SOUTHERN PLAINS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 NORTH WATSON ROAD
ARLINGTON, TX 76011-5319


CUMMINS SOUTHERN PLAINS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 910509
DALLAS, TX 75391-0509


CUMMINS INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 3005
COLUMBUS, IN 47202-3005


CUMMINS, DAVID T, III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                           Retained Causes of Action

                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CUMMINS, DEBORAH L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STEPHEN CUMMINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUMOR, ROLAND E., SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS, PC
100 N. CHARLES ST., 22ND FLOOR
BALTIMORE, MD 21201


CUMOR, RONALD E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS, PC
100 N. CHARLES ST., 22ND FLOOR
BALTIMORE, MD 21201


CUMPSTON, JERRY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUNDIFF, RICHARD WARREN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CUNNIFF, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUNNING, DESIRE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHAM FAMILY TRUST NO ONE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RODGER CUNNINGHAM
PO BOX 687
TATUM, TX 75691


CUNNINGHAM, ALLAN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CUNNINGHAM, CURTIS W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHAM, DANNY LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHAM, DONALD LEON, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEON C CUNNINGHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUNNINGHAM, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


CUNNINGHAM, JILL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHAM, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUNNINGHAM, MARTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUNNINGHAM, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHAM, ROBERT C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD CUNNINGHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUNNINGHAM, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CUNNINGHAM, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUNNINGHAM, THOMAS E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUNNINGHAM, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUNNINGHAM, WRILEY MAE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUNNINGHIS, SHELDON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUOCOLO, MARIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUOCOLO, MICHAEL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUPKA, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CUPLEX                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 E. HWY 66
GARLAND, TX 75040


CUPLEX                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2640 NATIONAL PLACE
GARLAND, TX 75041


CUPLEX, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 HIGHWAY 66
GARLAND, TX 75040




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CUPLEX,INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DETAILS-DYNAMIC CIRCUITS,INC.
1639 COMMERCE ST.
GARLAND, TX 75040


CUPLEX,INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JEFF RYNO,EXEC.VP,AGENT
1500 E. HIGHWAY 66
GARLAND, TX 75040


CUPP, WANDA S, FOR THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF EARL R CUPP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUPPLES, DOUGLAS LEON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURATOLA, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURCIO, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURD ENTERPRISES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
475 LONG POINT RD
MOUNT PLEASANT, SC 29464


CURLEY, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURLEY, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

CURRAN, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


CURRAN, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CURRAN, JOHN JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURRAN, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CURRAN, RICHARD WILLIAM (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


CURRAN, VINCENT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURRELLEY, TIFFANY LEANNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURRIER, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CURRY, BARBARA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CURRY, BRENDA P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CURRY, EDNA, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GLENN CURRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CURRY, ETHEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURRY, MARGORIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE AND GRAHAM, PA
525 NORTH MAIN STREET
SALISBURY, NC 28144


CURRY, PAUL D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


CURRY, RONNIE J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURRY, RONNIE JAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURRY, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURRY, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CURTIN, NEIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

CURTIS BROWN, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURTIS C. TILLMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


CURTIS, CARNELL OWENS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


CURTIS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CURTIS, DOUGLAS LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURTIS, HENRY ELBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CURTIS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURTIS, WILLIAM G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CURTISS WRIGHT CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13925 BALLANTYNE CORPORATE PLACE
SUITE 400
CHARLOTTE, NC 28277


CURTISS WRIGHT CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 WATERVIEW BLVD
2ND FLOOR
PARSIPPANY, NJ 07054




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13925 BALLANTYNE CORPORATE PLACE
SUITE 400
CHARLOTTE, NC 28277


CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION TRUST COMPANY
1209 ORANGE STREET
WILMINGTON, DE 19801


CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15 TH FLOOR
ST LOUIS, MO 63101-1313


CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15TH FLOOR
ST LOUIS, MO 63101-1313


CURTISS WRIGHT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL, MCCAMBRIDGE, SINGER
& MAHONEY, LTD
850 THIRD AVENUE - SUITE 1100
NEW YORK, NY 10022


CURTISS WRIGHT FLOW CONTROL CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13925 BALLANTYNE CORPORATE PLACE
SUITE 400
CHARLOTTE, NC 28277


CURTISS, ALFRED J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CURTISS-WRIGHT FLOW CONTROL CORP.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WHITEFORD, TAYLOR & PRESTON LLC
ATTN: STEPHEN B. GERALD, ESQUIRE
RENAISSANCE CTR, STE 500, 405 N KING ST.
WILMINGTON, DE 19801-4178


CURTNER, ALAN PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUSACK, JOHN T                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUSACK, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUSICK, ROBERT H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUST O FAB TANK SERVICES LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 N 161ST E AVE
TULSA, OK 74116-4829


CUSTER, DEBORAH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUSTER, HAROLD G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


CUSTIS, EDWARD C, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUSTOM AIRE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
962 BRISTOL PIKE
BENSALEM, PA 19020




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CUSTOM CAKES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CINDY SWILLEY
1209 BERKLEY DR
GRAPEVINE, TX 76051


CUSTOM HOSE LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 679
PALESTINE, TX 75802


CUSTOM HOSE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
514 N. FAIRWAY
FAIRFIELD, TX 75840


CUSTOM HOSE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 679
PALESTINE, TX 75802


CUSUMANO, NOCENSO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUTHBERTSON, JANIE A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E CUTHBERTSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUTHBERTSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CUTHRELL, BARNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUTLER HAMMER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALL STREET PLAZA, 24TH FLOOR
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, 88 PINE STREET
NEW YORK, NY 10005




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                               Nature

CUTLER, CURTIS D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


CUTLER, DOLORES, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BLAIN R CUTLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUTRIGHT, ALAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUTRIGHT, DANNY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CUTRIGHT, WOODROW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUTSFORTH PRODUCTS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7854 12TH AVE SOUTH
BLOOMINGTON, MN 55425


CUTTER, BESSIE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT P CUTTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CUTTER, ROY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CUTTITTA, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

CUVIELLLO, LOUIS L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


CUYLER, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CVELIC, ANTON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


CVMS WACO DATA PARTNERS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OLD NATIONAL BANK
PO BOX 2083
INDIANAPOLIS, IN 46206


CWCO INC                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REGATTA OFFICE PARK
WINDWARD THREE, 4TH FLOOR, WEST BAY ROAD
PO BOX 1114
GRAND CAYMAN, KY1-1102
CAYMAN ISLANDS

CWIK, JOSEPH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CYCLE CHEM                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 SOUTH FIRST STREET
ELIZABETH, NJ 07206


CYNCO SPECIALTY INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
226 BRAND LANE
STAFFORD, TX 77477-4804


CYPHER JR, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

CYPHER, COREY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CYPHER, ELIZABETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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CYPHER, GLENN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CYPHER, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CYPHER, WILLIAM S, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CYPRESS FAIRBANKS OCCUPATIONAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEDICINE CLINIC
9110 BARKER CYPRESS
CYPRESS, TX 77433


CYPRESS, ZANES E, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


CYPRUS INDUSTRIAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8027 EXCHANGE DRIVE
AUSTIN, TX 78754


CYR, JOHN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CYRUS, BERNARD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


CYTEC INDUST.RIES INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 GARRET MOUNTAIN PLAZA
WEST PATERSON, NJ 07424




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

CYTEC INDUSTRIES INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 GARRET MOUNTAIN PLAZA
WOODLAND PARK, NJ 07424


CZAPLA, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CZARKOWSKI, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CZEPIEL, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


CZEPOWSKI, RAYMOND S.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


CZERNY, JAMES L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


D & B PARTS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
444 J F KENNEDY DRIVE UNIT B
BLOOMFIELD, NJ 07003


D & C CLEANING INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2175 HIGHWAY 149
CARTHAGE, TX 75633


D & C CLEANING, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SEARCY & SEARCY, PC
PO BOX 3929
LONGVIEW, TX 75606




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

D & D RADIATOR AND MUFFLER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANET BLAKE,OWNER
7022 BRUTON RD.
DALLAS, TX 75217


D & F DISTRIBUTING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2501 OAK LAWN, SUITE 820
DALLAS, TX 75219


D & R ELECTRONICS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8820 GEORGE BOLTON PKWY
BOLTON, L7E2Y4
CANADA

D & R ELECTRONICS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8820 GEORGE BOLTON PKWY
BOLTON, ON L7E2Y4
CANADA

D & R MARINE, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 1
LOCKPORT, LA 70374


D B RILEY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 MCKEON RD.
WORCESTER, MA 01610


D B RILEY INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 MCKEON RD.
WORCESTER, MA 01610


D C POWER SUPPLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1818 REYNOLDSBURG NEW ALBANY ROAD
BLACKLICK, OH 43004


D P WOLFF INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 BROADWAY
NEW YORK, NY 10004


D&F DISTRIBUTING INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2501 OAK LAWN, SUITE 820
DALLAS, TX 75219


D&H UNITED PUMP SUPPLY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EL PASO BRANCH
1221 TOWER TRAIL LN.
EL PASO, TX 79907




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

D, CHRISTOPHER AND LORI BAKER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DA SILVA, ANTONIO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DA SILVA, HUGO C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DA SILVA, JOSE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DA SILVA, VASCO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DABBS, KAREN GRAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DABNEY, GERALD VERNON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DABNEY, JUANITA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DABNEY, RICHARD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DABRIEO, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

DACASTELLO, DAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DACEY, ALFRED J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DACH, GERALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DACKO, BOHDAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DACO CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18715 EAST VALLEY HIGHWAY
KENT, WA 98032


DADY, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAFFAN INVESTMENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1314 WEATHERFORD HWY 51
GRANBURY, TX 76048


DAFFAN MECHANICAL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4000 ACTON HWY STE 101
GRANBURY, TX 76049-6121


DAFFAN, RON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAFFER, JR., JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAFFIN, HOWARD H , III, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD DAFFIN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAFIN, JOHN, JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAGENHART, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAGENHART, WILLIAM E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAGLIO, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'AGUI, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAHL, DARRELL G. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


DAHL, LEN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAHLEN, ROY K                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

DAHLY, DONOVAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAIDOLA, JOSEPH C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DAIGLE, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAIL, WINSTON CARROLL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAILEY, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAILEY, PATRICK A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAILEY, THOMAS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAILY, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAIMLER CHRYSLER CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
H. LANE YOUNG, ELIZABETH O'NEILL,
4514 COLE AVE STE 500
DALLAS, TX 75205-5412


DAIMLER CHRYSLER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CHRYSLER DRIVE
AUBURN HILLS, MI 48326-2766




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Name of Counterparty                                                                                             Nature

DAIMLER TRUCKS NORTH AMERICA LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4747 CHANNEL AVE.
PORTLAND, OR 97217


DAIN, CECIL L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAIRY DINER CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 37
MADISONVILLE, TX 77864


DAIRY PAK                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11098
1901 WINDSOR PL.
FT. WORTH, TX 76110


DAIRY-PAK, A DIVISION OF                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELINDA KEMP,AGENT,ENV.PROJ.ADMIN.
CHAMPION INTERNATIONAL CORPORATION
STANFORD, CT 06921


DAL TILE CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7834 C.F. HAWN FRWY.
DALLAS, TX 75217


DALCHEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1106 N. HWY 360
GRAND PRAIRIE, TX 75050


DALE, DENNIS & BILLIE J CARPENTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DALE, DENNIS & BILLIE J CARPENTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DALE, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'ALESSIO, ANGELO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

D'ALESSIO, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALEY, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALEY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALEY, MELVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALEY, MICHAEL P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELEANOR DALEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DALEY, MICHAEL P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH P DALEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DALEY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALEY, RUSSELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DALEY, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DALLABRIDA, JAMES A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DALLAIRE, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALLAS BASKETBALL LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2909 TAYLOR ST
DALLAS, TX 75226


DALLAS CENTRAL APPRAISAL DISTRICT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINCOLN PLAZA
PETER GARDNER SMITH
500 N AKARD ST STE 1800
DALLAS, TX 75201-6616


DALLAS CENTRAL APPRAISAL DISTRICT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MIKE M TABOR
SHANNON, GRACEY, RATLIFF & MILLER, LLP
901 MAIN STREET, SUITE 4600
DALLAS, TX 75202


DALLAS CHAPTER TEI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 G ST NW STE 300
WASHINGTON, DC 20005-3814


DALLAS CHAPTER TEI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2828 N HARWOOD STE 1300
DALLAS, TX 75201


DALLAS CO. COMM. COLLEGE DIST.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 SOUTH LAMAR ST.
DALLAS, TX 75215-1816




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DALLAS CO. HOSPITAL DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARKLAND HEALTH & HOSPITAL SYSTEM
5201 HARRY HINES BOULEVARD
DALLAS, TX 75235


DALLAS COUNTY SCHOOLS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
612 N ZANG BLVD
DALLAS, TX 75208


DALLAS COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
509 MAIN ST., SUITE 200
DALLAS, TX 75202


DALLAS COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207


DALLAS HOUSING AUTHORITY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2075 W. COMMERCE
DALLAS, TX 75244


DALLAS HOUSING AUTHORITY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3939 NORTH HAMPTON ROAD
DALLAS, TX 75212


DALLAS ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3700 ROSS AVE
DALLAS, TX 75204


DALLAS MORNING NEWS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BELO CORP.
400 S. RECORD ST.
DALLAS, TX 75202


DALLAS STARS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 AVENUE OF THE STARS
FRISCO, TX 75034


DALLAS WATER UTILITIES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 MARILLA STE 1 AN
DALLAS, TX 75277




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DALLAS, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DALLAS CITY HALL
1500 MARILLA STREET
DALLAS, TX 75201


DALRYMPLE, JAMES CULLEN, JR, PR OF THE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL WATSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DALSKY, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAL-TILE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7834 C. F. HAWN FRWY.
DALLAS, TX 75217


DALTON, LYLE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DALWORTH INDUSTRIES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2010 CARTWRIGHT ST
DALLAS, TX 75212


DALWORTH INDUSTRIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6110 CHIPPEWA ST.
DALLAS, TX 75212


DAL-WORTH PAINT MFG. CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 W KEARNEY ST
MESQUITE, TX 75149


DAL-WORTH PAINT MFG. CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 173
MESQUITE, TX 75149




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DALY, DANIEL E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, DENNIS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, FRANK J                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, JOHN F                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, JOHN                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DALY, JOSEPH P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, MARTIN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, PATRICK W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DALY, ROBERT J                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAMATO, BARBARA, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF MICHAEL DAMATO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


D'AMBROSIO, ALFONSE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'AMBROSIO, VINCENT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DAMEWOOD, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'AMICO, ROCCO J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


D'AMICO, ROCCO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'AMICO, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAMIS, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAMIZZI, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DAMON G DOUGLAS CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARRITY, GRAHAM, MURPHY, GAROFALO &
FLINN, 72 EAGLE ROCK AVENUE - SUITE 350
PO BOX 438
EAST HANOVER, NJ 07936-3100


DAMON, EVA                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DAMON, PHILIP W--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


D'AMORE, CARMEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DAMRON, JEROME                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAMSKE, RALPH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANA COMPANIES LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 WEST SOUTH BOUNDARY
BUILDING 8, SUITE A
PERRYSBURG, OH 43552


DANA COMPANIES LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 WEST SOUTH BOUNDARY
BUILDING 8, SUITE A
PERRYSBURG, OH 43552


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OTOOLE FERNANDEZ WEI NER VANLI E
STEVEN WEINER
60 POMPTON AVE
VERONA, NJ 07044-2146


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
DYANNA BALLOU
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
MICHAEL DEAN MOSS
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DANA COMPANIES LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VINCENT EDWARD GUNTER
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114




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                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                 Nature

DANA COMPANIES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


DANA COMPANIES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY
& MOORE L.L.C., CATHERINE ANNE ANDERSON
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DANA COMPANIES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VESTA LEGAL, LLC
RACHEL JOI KIBLER-MELBY
12404 W 68TH TERR
SHAWNEE, KS 66216


DANA CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102


DANA CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3939 TECHNOLOGY DRIVE
MAUMEE, OH 43537


DANA CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY D. ELLISTON, DEHAY &
ELLISTON LLP, BANK OF AMERICA PLAZA
BUILDING, 901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


DANA COMPANIES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
208 SO LASALLE ST
SUITE 814
CHICAGO, IL 60604


DANA COMPANIES LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 WEST SOUTH BOUNDARY
BUILDING 8, SUITE A
PERRYSBURG, OH 43552


DANCHO, JOSEPH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DANCIL, ALFONSO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANCIL, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANCY, MILDRED P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ISHAM DANCY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANDO, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


D'ANDREA, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'ANDREA, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'ANDREA, VINCENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANDRIDGE, WALLACE T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DANFORTH, DEBORAH L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN W JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANFOSS LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11655 CROSSROADS CIRCLE
BALTIMORE, MD 21220


D'ANGELO, LOUIS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DANGERFIELD, JESSE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANIEL CONSTRUCTION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNSWORTH SINKLER BOYD, PA
M.G. MCDONALD, W.D. CONNER, S. FRICK
75 BEATTIE PLACE, 11 FL, PO BOX 2048
GREENVILLE, SC 29602


DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102


DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 NORTH MAIN STREET
DANIEL BUILDING
GREENVILLE, SC 29601


DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3353 MICHELSON DR.
#551M
IRVINE, CA 92730


DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN R. REYNOLDS
100 FOUR DANIEL DRIVE
GREENVILLE, SC 29607


DANIEL INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


DANIEL INTERNATIONAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN R REYNOLDS
100 FOUR DANIEL DRIVE
GREENVILLE, SC 29607


DANIEL INTERNATIONAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


DANIEL OIL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JO PEASE,PRESIDENT
PO BOX 935
GREENVILLE, TX 75403-0935


DANIEL RADIATOR CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1133 WESTCHESTER AVENUE
SUITE N222
WHITE PLAINS, NY 10604


DANIEL INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102


DANIEL, BASEL NEAL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANIEL, CARL H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DANIEL, CAROLYN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JIMMY L DANIEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANIEL, IVORY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANIEL, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANIEL-BESER, SHIRLEE E, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM HOLTZNER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANIELS, BEVERLY H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANIELS, BEVERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANIELS, DAVID ARNOLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DANIELS, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DANIELS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANIELS, JOE, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DANIELS, KENNETH, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANIELS, LARRY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DANIELS, LEROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANIELS, MORRIS R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


DANIELS, NELSON T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANIELS, OAKLEY G, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DANIELS, S.E.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DANIELSON, DARWIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DANIELSON, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANIKER, GEORGE VAN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MADELINE VANDANIKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANISI, NICHOLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANKO, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DANLEY JR, JAMES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DANNA, BARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DANNA, BARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST
EDWARDSVILLE, IL 62025


DANNA, PETER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DANNER, ERIC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DANSBY, CHARLES CLIFTON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DANSBY, MRS EUGENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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D'ANZA, NICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DANZIS, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET
STE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET, SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON ST
STE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON ST
SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON ST.
SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET
STE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET
SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET, SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
PETER R YORK, 303 PEACHTREE STREET NE
4000 SUNTRUST PLAZA
ATLANTA, GA 30308-3243


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
JENNIFER MARIE VALENTINO
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JOHN T HIPSKIND
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


DAP PRODUCTS, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT E. THACKSTON
HAWKINS, PARNELL THACKSTON & YOUNG LLP
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET
SUITE 200
BALTIMORE, MD 21224


DAP INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BOSTON STREET, SUITE 200
BALTIMORE, MD 21224


DAPPRICH, WILLIAM K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAPRA, LEE A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAPRA, SALVOTORE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DAPRON, PAUL J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DARBY DENTAL SUPPLY LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 JERICHO QUADRANGLE
JERICHO, NY 11753


DARBY, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


D'ARCANGELIS, DOMINIC P                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARDEN, CLIFTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARDEN, JOHNNY L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY DARDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DARE, JOSEPH G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DARICEK, LAWRENCE E, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARKINS, VICTOR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DARLIN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARNELL, FRED E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DARNIELLE, DENISE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARR EQUIPMENT CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 975053
DALLAS, TX 75397-5053


DARR EQUIPMENT LP AKA DARR LIFT                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
302 ENTERPRISE ST
LONGVIEW, TX 75604


DARR EQUIPMENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6917 WOODWAY DR.
WOODWAY, TX 76712


DARR LIFT TRUCK CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2411
WACO, TX 76703


DARR LIFT                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6917 WOODWAY DRIVE
WOODWAY, TX 76712


DARR, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DARR, SUE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DARR, SUE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW LLC
ATTN: BENJAMIN R. SCHMICKLE
701 MARKET STREET SUITE 1575
ST LOUIS, MO 63101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DARRAH, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DART                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BIAN BEVERLY,ASST.GENL.COUNSEL
PO BOX 660163
DALLAS, TX 75266=0163


DAS, PRIYA KUMAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DASCANI, DOMINIC J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DASCOLI, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DASENT, CONRAD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DASH, WALLACE D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


DASHTIZADEH, MOHAMED R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DASKAM, THOMAS JOREL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


D'ASTICE, DOMINIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DATA EXCHANGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7666 EAST 61ST STREET SOUTH
#240
TULSA, OK 74133


DATA SYSTEMS & SOLUTIONS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROLLS ROYCE CIVIL NUCLEAR
PO BOX 420
ATTENTION AR
INDIANAPOLIS, IN 46206-0420


DATA SYSTEMS AND SOLUTIONS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ROLLS-ROYCE - NUCLEAR SERVICES
ATTN: C. DAVID THOMPSON
5959 SHALLOWFORD ROAD, SUITE 511
CHATTANOOGA, TN 37421


DATRON INC LIQUIDATING TRUST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILMINGTON TRUST COMPANY
RODNEY SQUARE NORTH
1100 N MARKET STREET
WILMINGTON, DE 19890


DAUBERT, CAROL T, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JERRY TOLODZIECKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAUER, MARK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAUGHERTY, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAUGHERTY, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAUGHHETEE, ELDON AND DOROTHY DAUGHHETEE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                                 Nature

DAUGHTREY, ROY C., ET AL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


DAUGHTRY, DAVID ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAUGHTRY, FRED                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAUKSHA, MAE, PR OF THE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD DAUKSHA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAULTON, JOE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAUPHINEE, CLAYTON J., JR. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DAUPLAISE, CATHERINE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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D'AURIA, ALPHONSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAUSE, WILLARD E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DAUSE, WILLIE B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DAUZENROTH, GEORGE DAVID (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DAV CORP                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


DAV CORP                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID FABRICATORS OF N. Y., INC.
595 BERRIMAN STREET
BROOKLYN, NY 11208


DAVE, DARRIN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVE, DARRYLL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVENPORT, BRIAN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DAVENPORT, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVENPORT, DAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DAVENPORT, DAVID LEWIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DAVENPORT, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVENPORT, J.D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVENPORT, JOHNIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVENPORT, ROSEMARY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DAVENPORT, VIDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVEY, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVID BROOKS ESTATE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVID WILLIAM FAHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EARLY, LUCARELLI, SWEENEY & MEISENKOTHEN
ONE CENTURY TOWER, 11 FL
265 CHURCH ST.
NEW HAVEN, CT 06510


DAVID, ALBERT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DAVID, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVID, FRANCES D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVID, GEORGETTE P, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AUGUSTINE F PERNA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVID, JERRY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVID, MARILYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DAVID, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDEK, FRANCES LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDEK, JERRY MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDEK, JOSEPH FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDSON DOCUMENT SOLUTIONS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA TEXAS DOCUMENT SOLUTIONS
2600 LONGHORN BLVD 102
AUSTIN, TX 78758


DAVIDSON HOTEL COMPANY, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOHN BELDEN
3340 PLAYERS CLUB PKWY, STE 200
MEMPHIS, TN 38125


DAVIDSON, ALTON D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DAVIDSON, BARRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DAVIDSON, DANNY BUCK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDSON, DAWN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEROME J STIPEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIDSON, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDSON, GEORGE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDSON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DAVIDSON, RICHARD A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIDSON, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIDSON, WILLIE J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DAVIES, LOLLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF HOWARD COX
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                              Nature

DAVIES, MELISSA J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUBIN KIEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIES, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVILA, JASON, INDIVIDUALLY AND AS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVILA, MIGUEL S (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS & WARSHOW INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 LUDLOW ST
NEW YORK, NY 10002


DAVIS BROTHERS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 31
ATMORE, AL 36502


DAVIS ENGINEERING CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8217 CORBIN AVE.
WINNETKA, CA 91306


DAVIS JUANITA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAJUANA ADAMS WILLIAMS
713 S CHESTER AVE
COMPTON, CA 90221


DAVIS, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, ALBERTINE G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                              Nature

DAVIS, ALPHONZA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DAVIS, ARVAL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, BERNARD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAVIS, BRENDA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OWEN A LOWE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, CARLA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CHARLES E., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CHARLES S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

DAVIS, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DAVIS, CLARENCE E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DAVIS, CLEVELAND J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, CLIFFORD W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CLIFTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CLINTON EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, CURTIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DAVIS, CYNTHIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, DAMESHIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DAVIS, DARRYL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DAVIS, DAVID A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAVIS, DAVID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, DAWN M, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEO C WOLF SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, DONNA, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL A NICOLA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, EARNEST E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, EDSEL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, EDWINA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVIS, ELIZABETH T, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NEIL P DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, ELMER E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, ERNEST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ETHEL O                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ETHEL OWENS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ETTA J, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, FLOYD M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DAVIS, FLOYD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, FRANCIS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DAVIS, FRANK EARL, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DAVIS, GARY S.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DAVIS, GARY W                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, GEORGE R, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, GERALD FOSTER, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF J D DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, GILBERT D. (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DAVIS, GREGORY L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, HAROLD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, HUBERT GARLAND, III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, JACK                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DAVIS, JAMES A.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DAVIS, JAMES O, SR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DAVIS, JAMES RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, JAN THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DAVIS, JEAN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DAVIS, JEFF                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, JEFFREY KENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JIMMIE L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DAVIS, JOE JACK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, JOHN R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAVIS, JON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JONATHAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, JOSHUA M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


DAVIS, JUANITA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DAVIS, JUANITA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, KAREN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


DAVIS, KARIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, KARIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, KIRK B. # 1692668                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, KYLE RODNEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, LARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, LARTNESS W.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, LENOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVIS, LEOTA (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'BRIEN LAW FIRM
815 GEYER AVE.
SAINT LOUIS, MO 63104


DAVIS, LEROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAVIS, LESTER B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAVIS, LESTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, LINDA A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND L DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, MAJOR CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, MARIE F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, MARVIN G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


DAVIS, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVIS, MARY F, FOR THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF JAMES DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, MELISSA TATHAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, MELVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, MICHAEL A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DAVIS, MICHAEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, MICHAEL R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, NINA MAE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, NORMA J, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN BRITCHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, OBREY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVIS, OTTIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, PATRICIA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM DAVIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, PHILIP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, RAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, RAYMOND A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DAVIS, ROBERT A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, RUSSELL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                               Nature

DAVIS, RUSSELL L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, RUSSELL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DAVIS, SANDRA ADA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, SHELIA, L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, SPENCER (#1916312)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, STEPHEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, SUE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, THOMAS ALLEN, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, THOMAS M, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, TROY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DAVIS, TULON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, WALTER, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, WAYMON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, WAYNE E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, WILLIAM S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAVIS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAVIS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVIS, WILLIE MAE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                                                           Nature

DAVISSON, DELMER                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAVY MCKEE CORP.                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRASBURGER & PRICE LLP
ELIZABETH P. VOLMERT
909 FANNIN STREET, SUITE 2300
HOUSTON, TX 77046


DAW, THOMAS                                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAWE, ROBERT                                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAWKINS, LATOYA                                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWN BROWNING, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWN GERHARD, DAWN                                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWN PIZZILLO, INDIVIDUALLY AND AS SURVIVING HEIR OF THE ESTATE OF RUBY NELL ADAMS, DECEASED                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWSON COUNTY HOSPITAL DIST                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEDICAL ARTS HOSPITAL
2200 N BRYAN AVE
LAMESA, TX 79331


DAWSON COUNTY                                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 S 1ST STREET
LAMESA, TX 79331




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Name of Counterparty                                                                                             Nature

DAWSON, EDWARD M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWSON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWSON, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAWSON, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAWSON, TERRI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAY, CURLEY E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAY, DONALD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAY, HERMAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAY, JIMMY MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DAY, JONATHAN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DAY, LEWIS A                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAY, MARTIN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DAY, MICHAEL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DAY, WAYNE L.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DAYHOFF, PAULA J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM C GRUBER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAYHOFF, PAULA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF REGINA D MOX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DAYTON SUPERIOR CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1125 BYERS RD.
MIAMISBURG, OH 45342


DAZZO, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DB ENERGY TRADING LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DEUTSCHE BANK AG
1301 FANNIN STREET, SUITE 2300
ATTN: COMMODITIES LEGAL DEPARTMENT
HOUSTON, TX 77002-7012




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DBA ALL PRO AUTOMOTIVE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 US HIGHWAY 79 N
HENDERSON, TX 75652-6107


DCP MIDSTREAM LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
370 17TH ST., SUITE 2500
DENVER, CO 80202


DE CORLA-SOUZA, MARIO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DE FILIPPIS, PETER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DE FRANCESCO, PHILLIP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DE KONING, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DE LA FUENTE, RENE QUEVEDO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DE LAGE LANDEN FINANCIAL SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 OLD EAGLE SCHOOL RD
WAYNE, PA 19087


DE LAGE LANDEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 41602
PHILADELPHIA, PA 19101-1602


DE LANGE, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DE LAPI, NICHOLAS S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

DE NOBILE, MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DE STEFANO, ANDREW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DE WERT, KENNETH L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEACUTIS, JOHN R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEAL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEALERS ELECTRICAL SUPPLY CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2676
WACO, TX 76702-2676


DEALERS ELECTRICAL SUPPLY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2535
WACO, TX 76702-2535


DEAN FOODS CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CONTINENTAL CAN CO.
301 MERRITT 7 CORPORATE PARK
NORWALK, CT 06856


DEAN FOODS COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2711 N HASKELL AVE. #3400
DALLAS, TX 75204


DEAN, E JOHN BRANTLEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DEAN, HARVEY J, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEAN, JAMES M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEAN, KATHERINE F, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDA LUTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEAN, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


DEAN, NORMAN JR, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HELEN L DEAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEAN, NORMAN L , JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN L DEAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEAN, RALPH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEAN, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEAN, VAUGHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

DEANE, CONNIE R.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEANE, CORA J, PR OF THE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E DEANE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEANE, PAUL                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEANE, ROBERT J., JR.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEANER, WILLIAM W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEANGELI, WAYNE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEANNA GRADY, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEANS, JORDAN                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEARDORFF, THOMAS E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MERVIN E DEARDORFF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEAREN, JOE                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DEASY, RICHARD J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEATON, BRIGITTE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEATON, RONALD FAYE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DEAVER, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEAVER, RICHIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEBARBA, ALBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEBARBERA, ANGELO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEBARROS, LAWRENCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEBAULT WELDING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4128 NORTH FM 487
ROCKDALE, TX 76567




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DEBISH, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEBONIS, GUIDO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEBORD, BOOKER C, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEBORD, JOHN M                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEBRA HARRISON, AKA DEBRA SPEARS HARRISON                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEBRA PAYNE, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DECAMBRA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DECATUR ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 EAST COLLINS STREET
DECATUR, TX 76234


DECATUR, CHARLOTTE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NOBLE L DECATUR III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                               Nature

DECHERT LLP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO MUDRICK CAPITAL MANAGEMENT, L.P.)
ATTN: G. ERIC BRUNSTAD, JR.
90 STATE HOUSE SQUARE
HARTFORD, CT 06103-3702


DECHERT LLP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO MUDRICK CAPITAL MANAGEMENT, L.P.)
ATTN: KATE O'KEEFFE
ONE INTERNATIONAL PLACE 40TH FLOOR
100 OLIVER STREET
BOSTON, MA 02110-2605


DECHERT LLP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO MUDRICK CAPITAL MANAGEMENT, L.P.)
ATTN: MICHAEL J. SAGE & ANDREW C. HARMEYER)
1095 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-6797


DECHIARA, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DECHIARA, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DECICCO, CAROL A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DECILLO, MICHAEL JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DECKARD, BERNICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF ROBERT DECKARD
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DECKER, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


DECKER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DECKER, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DECKER, LESLIE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DECKER, NANCY E, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNARD A DECKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DECKER, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DECKER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DECKER, THOMAS EDWIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DECKMAN, MICHAEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DEDMON, JIMMY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEDRICKSON, GREGORY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEE, ROBERT                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEEGAN, JOHN W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEEGAN, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEEM, RICHARD L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEEMER, HOWARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DEERE & COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JOHN DEERE PL
MOLINE, IL 61265


DEERE & COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


DEES, MARY A                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DEES, MARY ANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEES, MICKEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DEETS, JAMES HULAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEFALCO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEFAZIO, PETE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEFEMIA, GARY F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEFEMIA, IRENE L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEFEO, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEFEO, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEFILIPPIS, FRANCIS R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DEFLORIAN, EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEFRANCESCO, FRANK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEGAZIO, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEGENHARDT, KARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEGIOIA, ALFRED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEGNAN, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEGNAN, LAWRENCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEGNAN, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DEGNER, ALTON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DEGREEN, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEGREGORIO, RICHARD AND JOAN DEGREGORIO                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEGUSIPE, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEHART, BRUCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEHART, KIM MOTSINGER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEHART, PERCIVAL RAYMOND                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DEHAVEN, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEHETRE, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEHLS, RICHARD W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DEHMEL, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEHNE, JOHN R, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEHNE, RONALD C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEIMLER, HERMAN L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEIMLER, HERMAN L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DEIMLER, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEIMLER, SAUNDRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEIMLER, SAUNDRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DEINKEN, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEITZ, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEJULIUS, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DEKAJLO, IHOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEKNATEL, LORI ANN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES F BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEL MAR COLLEGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 BALDWIN BLVD
CORPUS CHRISTI, TX 78404


DEL MORAL, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEL PLATO, MARIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DELANEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELANEY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELANEY, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELANO TEXAS LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13155 NOEL RD SUITE 825
DALLAS, TX 75240




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DELANO, PHILIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DELAROSA, ESTHER G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DELASHMUTT, JAMES DOUGLAS (DECEASED)                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DELATTE, KENNETH T.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DELAURA, CARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELAVAL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4055 ENGLISH OAK DR., SUITE D
LANSING, MI 48911


DELAVAL TURBINE, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DELAVAL INTERNATIONAL AB
PO BOX 39
SE-147 21 TUMBA


DELAWARE DIVISION OF REVENUE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARVEL STATE OFFICE BUILDING
820 NORTH FRENCH STREET
WILMINGTON, DE 19801


DELBRIDGE, TONY B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DELCO-REMY AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 CORPORATION DRIVE
PENDLETON, IN 46064




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DELCO-REMY AMERICA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PLANT 1, ROOM 317
2405 COLUMBUS AVENUE
ANDERSON, IN 46018


DELEON, TAMARA L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELGADO, GRACIELA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELGADO, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELGADO, VICTOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DELGAIS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DELGAIZO, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELGROSSO, JOHN A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DELIA, JOSEPH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELISO, PETER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                             Nature

DELKER, JOSEPH F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DELL COMPUTER CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROUND ROCK 2 MAIL STOP# 8142
ONE DELL WAY
ROUND ROCK, TX 78682


DELL MARKETING LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 676021
C/O DELL USA LP
DALLAS, TX 75267-6021


DELL MARKETING, L.P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: NANCY MIMS
ONE DELL WAY, RR1, MS 52
ROUND ROCK, TX 78682


DELLA CAMERA, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELLA FAYE COURTNEY-VD CK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 126
THORNTON, TX 76687


DELLARIPA, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELLI, PATRICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELLINGER, BOBBY C, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DELMASTRO, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELO, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROLAND R. WILSON, AGENT
705 GENTILLY
LAKE CHARLES, LA 70605


DELOATCH, WALTER, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN W DELOATCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DELORES HOBBS CK1002645445-HLD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1810 SEVILLA BLVD NO. 210
ATLANTIC BEACH, FL 32233


DELORES HOBBS CK1002652536-HLD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1810 SEVILLA BLVD NO. 210
ATLANTIC BEACH, FL 32233


DELOREY, TIMOTHY J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELORIERS, GEORGE T, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN DELORIERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DELORSO, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DELORY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DELOUISE, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELSIGNORE, RINALDO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELTA APPAREL INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
2 OFFICE PARK COURT STE 103
COLUMBIA, SC 29223


DELTA CHEMICAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIM WOLDRIDGE,VP OF OPERATIONS
610 FISHER ROAD
LONGVIEW, TX 75604-5201


DELTA DISTRIBUTORS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID BAKER,REGISTERED AGENT
610 FISHER ROAD
LONGVIEW, TX 75604


DELTA FABRICATION & MACHINE INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HWY 11 EAST
PO BOX 980
DAINGERFIELD, TX 75638


DELTA FABRICATION & MACHINE INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 980
DAINGERFIELD, TX 75638


DELTA FABRICATIONS & MACHINE INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GERALD WILLIAMS
PO BOX 980
DAINGERFIELD, TX 75638


DELTA MACHINING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 752
311 N BREMOND ST
FRANKLIN, TX 77856




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DELTA RIGGING & TOOL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA DELTA SERVICES
2333 MINNIS DRIVE
FORT WORTH, TX 76117


DELTA RIGGING & TOOLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1149 WEST HURST BLVD
HURST, TX 76053


DELTA RIGGING & TOOLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21525 NORTH HIGHWAY 288B
ANGLETON, TX 77515


DELTA RIGGING & TOOLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 671248
DALLAS, TX 75267-1248


DELTA STAR                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3550 MAYFLOWER DRIVE
LYNCHBURG, VA 34501


DELTA TUBULAR PROCESSORS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LONE STAR TECHNOLOGIES,INC.
5660 N. DALLAS PARKWAY, SUITE 500
DALLAS, TX 75380


DELUCA, SPERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DELUCCA, FRED J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DELUNA, RUDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DELVECCHIO, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DELYANI, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMAIO, MARCELLO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DEMARIA, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMBOSKY, NORMAN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMBOWSKI, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMCZAK, MARGARET L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS S CARETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEMERS, CARL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMERS, ELEANOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

DEMERS, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMILLIO, JAMES J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DEMING PUMPS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 3RD ST
PIQUA, OH 45356


DEMINIMIS OFFERS WITHDRAWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



DEMMON, ERNEST C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DEMORY, LEE R                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEMOUSTES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, DAVID R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DEMPSEY, EDWARD G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DEMPSEY, EULA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

DEMPSEY, GRACE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, HENRY M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, HILARY M (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, HILARY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEMPSEY, RANDY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, RICKY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEMPSEY, RONALD LYNN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENAULT, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DENAULT, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENBY, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


DENET TOWING SERVICE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 307
BOOTHVILLE, LA 70038




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Name of Counterparty                                                                                              Nature

DENHAM, ALLEN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DENICOLIS, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DENIS, HARVEY H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DENIS, PETER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENIS, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DENISON ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 SOUTH RUSK AVENUE
DENISON, TX 75020


DENISON, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 W. CHESTNUT ST.
PO BOX 347
DENISON, TX 75021


DENKA CHEMICAL CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
780 3RD AVENUE
# 3200
NEW YORK, NY 10017


DENMARK, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

DENMARK, TOMMY S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DENNARD & TODD OVERHEAD DOOR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11037
ODESSA, TX 79760


DENNARD JR, CHARLES L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DENNEY, ARDETTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNEY, LEWIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DENNING, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DENNING, EDITH BAKER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNIS CAMERON CONSTRUCTION &                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EQUIPMENT LLC
1406 INDUSTRIAL ROAD
MOUNT PLEASANT, TX 75455


DENNIS, BILLY J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DENNIS, DEBORAH L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                              Nature

DENNIS, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DENNIS, JAMES R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DENNIS, JOANNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


DENNIS, MATTHEW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DENNIS, MILTON A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNIS, RICHARD B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DENNIS, TIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNIS, TIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNIS, WAYNE C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DENNIS, WILLIAM RUSSELL (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                        Nature

DENNISON, G. GERALD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNY, EDDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENNY, LUCINDA R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENSON, PAMELA A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENSTEADT, EARL J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENT, TERRY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DENTON COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARROLLTON-SANDY JACOBS
GOVERNMENT CENTER
1029 W. ROSEMEADE PARKWAY
CARROLLTON, TX 75007-6251


DENTON ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1307 N. LOCUST ST.
DENTON, TX 76201


DENTON JR., JOHNNY L                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DENTON, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 E. MCKINNEY STREET
DENTON, TX 76201


DENTON, EMILY R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENTON, JOHNATHON F                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

DENTON, OZZY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENTON, ROBERT FRAZIOR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENTON, ROBERT FRAZIOR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


DENTON, SHIRLEY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DENTON, TIFFANIE D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DENTSPLY INTERNATIONAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 W. PHILADELPHIA STREET
PO BOX 872
YORK, PA 17405


DENVER AND RIO GRANDE WESTERN RAILROAD                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 BROADWAY
DENVER, CO 80203


DENVER AND RIO GRANDE WESTERN RAILROAD                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5482
DENVER, CO 80217


DENVER COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 W. COLFAX AVE.
DENVER, CO 80202


DENVER, LANNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEPALMA, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DEPARTMENT OF STATE HEALTH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES
CENTRAL LAB MC 2004
PO BOX 149347
AUSTIN, TX 78714-9347


DEPARTMENT OF THE TREASURY - IRS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INTERNAL REVENUE SERVICE
1352 MARROWS ROAD STE 204
NEWARK, DE 19711-5445


DEPARTMENT OF THE TREASURY - IRS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101-7346


DEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11827 STATE ROAD 238 EAST
NOBLESVILLE, IN 46060


DEPELLEGRINI, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEPETRO, ALDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEPEW, PAMELA ABSHER, FOR THE ESTATE OF                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUDDY RAY DEPEW
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


DEPEW, PAMELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEPIES, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                               Nature

DEPIETRO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DEPOLO, RICHARD W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEPPERSCHMIDT, LARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DEPUE, RONALD A, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEPUTY, PATRICIA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILBERT D DEPUTY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DERACO, SILVIO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DERAMUS, DEWAINE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DERBIDGE, SPENCER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DERBY, CLARENCE D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEREK PAYNE, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

DERENFIELD, REINHOLD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEREUISSEAUX, WALLACE AND LOIS DEREUISSEAUX                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DERINGER-NEY INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 ATRIUM DRIVE, SUITE 100
VERNON HILLS, IL 60061


DERKOWSKI, BONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DERMARTINO, FREDERICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DERMARTINO, JOYCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DERMATIS, MINAS E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DEROCHE, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEROO, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEROSIER, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DERR, FRANK D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DERRICK, BRANDI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DERRICK, VERNON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DERRIG, JR., JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DERRIG, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DERWIN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESAI, ROHITKUMAR N.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESALVO, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESANDO, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESANTIS, ENZO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DESANTO, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESANTO, MARY LOU, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GARY L JAMES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DESAULNIERS, JANIS L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK SHIFFLETT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DESCHAMPS, OMER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESCHENE, FILMORE LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESCHENE, HARRISON LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESCHENE, JOELEEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESELLIER, RICHARD J--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DESESA, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESGROTTES, DENISE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DESHONG, ROBERT, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE F DESHONG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DESICCARE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 INDUSTRIAL DRIVE
RICHLAND, MS 39218


DESICCARE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
985 DAMONTE RANCH PKWY #320
RENO, NV 89521


DESIDERIO, FRANK J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DESIGN SYSTEMS GROUP INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
402 S CENTER ST
GRAND PRAIRIE, TX 75051


DESIMONE, ARTHUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESIMONE, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESIMONE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DESJARDINS, ALBERT A--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                       Nature

DESKA, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESMARAIS, ROBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESMOND, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESOTO ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 E. BELT LINE ROAD
DESOTO, TX 75115


DESOTO, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 EAST PLEASANT RUN ROAD
DESOTO, TX 75115


DESOTO,INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5430 SAN FERNANDO RD.
GLENDALE, CA 91203


DESPAIN, BETSY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DESPAIN, STEPHEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESPATCH INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8860 207TH STREET
LAKEVILLE, MN 55044


DESPATCH INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8860 207TH STREET
MINNEAPOLIS, MN 55044




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Name of Counterparty                                                                                          Nature

DESPATCH INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDERSON & GILBERT
FRANCIS X DUDA
515 OLIVE STREET SUITE 704
ST LOUIS, MO 63101


DESPATCH INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
100 S 5TH STREET 1075
MINNEAPOLIS, MN 55402


DESPATCH INDUSTRIES LIMITED PARTNERSHIP                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
100 S 5TH STREET 1075
MINNEAPOLIS, MN 55402


DESPATCH INDUSTRIES LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8860 207TH STREET
MINNEAPOLIS, MN 55044


DESPATCH INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8860 207TH STREET
MINNEAPOLIS, MN 55044


D'ESPOSITO, RALPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DESROSIERS, ARTHUR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DESROSIERS, ERNEST P                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESSELLE, CHRIS G.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DESSELLE, JANICE S.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

DESTEC (AT LYONDELL-ARCO)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DYNEGY,INC.
1000 LOUISIANA ST., SUITE 5800
HOUSTON, TX 77002


DESTINATION ENERGY LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
309 N OAK STREET
ROANOKE, TX 76262


DESZURIK, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
100 S 5TH STREET 1075
MINNEAPOLIS, MN 55402


DESZURIK, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


DETAMORE, JERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DETERS, JUSTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DETORA ANALYTICAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2747
ALLIANCE, OH 44601-0747


DETREX CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24901 NORTHWESTERN HWY 410
SOUTHFIELD, MI 48075


DETROIT DIESEL CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13400 OUTER DRIVE WEST
DETROIT, MI 48239-4001


DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1510 EAST FIRST STREET
MONROE, MI 48161




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DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1510 EAST FIRST STREET
MONROE, MI 48161


DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA ANN LACONTE, ATTORNEY AT LAW
CHASE BUILDING, SUITE 600
124 S.W. ADAMS
PEORIA, IL 61602


DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
200 WEST ADAMS ST
CHICAGO, IL 60606


DETROIT STOKER COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
TIMOTHY L KRIPPNER
233 S WACKER DR STE 5500
CHICAGO, IL 60606


DETYENS, BEVERLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEUTER, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVALCO CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 BERGE-DU-CANAL
VILLE SAINT-PIERRE, QC H8R 1H3
CANADA

DEVANEY, KATHLEEN A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEVAUGHN, JACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DEVAUGHN, JOHN K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CAROLYN M DEVAUGHN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEVAUGHN, JOHN K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A DEVAUGHN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEVAUGHN, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEVAUGHN, SHARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEVCON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 ENDICOTT STREET
DANVERS, MA 01923


DEVEAU, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVEER, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVENNY, ETHEL M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J DEVENNY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEVER, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DEVER, DAVID K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DEVEREAUX, HERMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVINCENTIS, BERTRAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVINE, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVINE, JAMES PATRICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEVINE, LONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEVINNY, ROBERT D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DEVITT, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

DEVITT, ROBERT F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DEVLIN, AMBROSE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVLIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVOE & REYNOLDS CO., INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 NORTH JOSEY LANE
CARROLLTON, TX 75006


DEVOLDER, MAURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DEVON ENERGY CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 NORTH BROADWAY
OKLAHOMA CITY, OK 73102


DEVORE, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEVRIES, ANGELO B., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DEVRO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
785 OLD SWAMP ROAD
SWANSEA, SC 29160


DEWAL, ELAINE W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

DEWALT, ELAINE W., FOR THE ESTATE OF                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEITH ANTONIO DEWALT
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


DEWALT, JOHN L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DEWEESE, CLIFTON EUGENIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEWEY SR, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEWEY, GLENN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEWEY, TERRANCE S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEWITT PRODUCTS CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5860 PLUMER AVENUE
DETROIT, MI 48209


DEXTER, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEXTER, PAUL D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEYOUNG, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DEYOUNG, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEYOUNG, RUTH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

DEYTENS, WILLIAM AND BEVERLY DEYTENS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEYTON, MAUREEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 N RIVERSIDE AVE
SARTELL, MN 56377


DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 RIVERSIDE AVENUE NORTH
SARTELL, MN 56377


DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHRISTINA ANN DENMARK
STEPTOE & JOHNSON PLLC
10001 WOODLOCH FOREST DR, SUITE 300
THE WOODLANDS, TX 77380


DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
MARK ANTHONY PROST
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313


DEZURIK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


DFW COMMUNICATIONS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 226467
DALLAS, TX 75222-6467


DG FAST CHANNEL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 951392
DALLAS, TX 75395-1392




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Name of Counterparty                                                                                          Nature

DHL ANALYTICAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 DOUBLE CREEK
ROUND ROCK, TX 78664


DHL ANALYTICAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5023
ROUND ROCK, TX 78683-5023


DI ANGELO, LOUIS B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DI BIASE, ANTONIO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DI CAPRI, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DI MAGGIO, CALOGERO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DI PIERNO, ANTONIO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DI PIERO, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIAL, FRANCIS H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIAMOND HOME HARDWARE AND GARDEN LLC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2380 S 6TH ST.
KLAMATH FALLS, OR 97601-4340


DIAMOND POWER INTERNATIONAL INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 643966
PITTSBURGH, PA 15264-3966


DIAMOND POWER INTERNATIONAL, INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHRISTINE MCINTIRE
2600 EAST MAIN ST
LANCASTER, OH 43430-0415


DIAMOND SHAMROCK CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O VALERO ENERGY
1224 N POST OAK RD.
HOUSTON, TX 77022


DIAMOND SHAMROCK REFINING CO.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


DIAMOND SHAMROCK REFINING CO.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID BURNS
TEKELL BOOK ALLEN & MORRIS LLP-HOUSTON,
1221 MCKINNEY, STE 4300, ONE HOUSTON CTR
HOUSTON, TX 77010


DIAMOND SHAMROCK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSUMER RELATIONS
PO BOX 696000
SAN ANTONIO, TX 78269-6000


DIAMOND SYSTEMS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 271567
FLOWER MOUND, TX 75027-1567


DIAMOND, GARY K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIAMOND, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIAMOND-KUHN PAINT CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O STANDARD SOUTHERN CORPORATION
4211 SOUTHWEST FREEWAY, SUITE 200
HOUSTON, TX 77027


DIAZ ALCAINO, MIGUEL ANGEL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIAZ, FRANCISCO E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIAZ, FRANK, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


DIAZ, HECTOR L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIAZ, JAVIER HUGO ORTIZ                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIAZ, LUIS ARROYO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIAZ, ROSA MARIA LLAUOS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIAZ, SAVINO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIBARI, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DIBASTIANI, SCOTT A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT A DIBASTIANI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIBITONTO, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIBLASIO, RAYMOND D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DICAIRANO, VINCENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICE, MICHAEL R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DICE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICESARE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICHIARA, JOHN N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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DICICCO, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICK & SONS DIVING SERVICE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9790 FM 692 N
BURKEVILLE, TX 75932


DICK, ERNEST RAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICK, RALPH L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICKEN, CHRISTOPHER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICKENS, DARELL LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DICKENS, KATIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICKERSON, BILLY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKERSON, DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKERSON, ELENA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DICKERSON, JACKIE LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


DICKERSON, JOHN AND MARTHA DICKERSON                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKERSON, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKERSON, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKERSON, MARK W, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHRISTOPHER DICKERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DICKERSON, WESLEY B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKERSON, WESLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


DICKERT, LEE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKEY, ANNETTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DICKEY, CHARLES ALTON, SR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKEY, ERMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DICKEY, FRANCIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKEY, RICHARD CLARENCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKIE, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DICKMAN, CLARENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKSON, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICKSON, MARTHA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DICKSON, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DICKSON, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DICOCCO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DICOMITIS, KRISTINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIDOMENIC, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIDRIKSON ASSOCIATES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 151007
LUFKIN, TX 75915-1007


DIEFFENDERFER, RALPH E                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DIEHL, DORIS E, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARLIE E DIEHL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIEHL, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIEHL, JON P.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIEM, GERARD W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DIEN INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3510 PIPESTONE ROAD
DALLAS, TX 75212


DIEN INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 560592
DALLAS, TX 75356-0592




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIERMANN, SCOTT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIERMANN, WAYNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


DIESEL POWER SUPPLY CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 UNIVERSITY PARKS DR
WACO, TX 76706


DIESTEL, CHARLES G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIETER, HARRY A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J DIETER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIETERICH, EDWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIETERICH, JUNE L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIETRICH, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIETSCH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIETZ, CASIMIR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIETZ, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIETZ, FREDERICK C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIETZ, FREDERICK W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIETZ, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIFFENDERFER, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIFRANCESCA, AMERICO J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIFRANCESCA, GIUSEPPE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIGAUDIO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIGIACOMO, DIANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DIGIACOMO, KIMBERLY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DIGIACOMO, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DIGIUSTO, FELIX                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIGNOTI, SANTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIGRAZIA, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DIJANIC, NEVIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DILAPI, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DILL, JERRY D & TALMA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DILLESHAW, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DILLHOFF, JOHN D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DILLINGER, ROBERT A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DILLON, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DILLON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DILLON, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DILLON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DILLS, PEGGY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DILLSWORTH, CONSTANCE, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY ALLEN DILLSWORTH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DILORENZO, EMILIO--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DILORENZO, GASPARE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DILWORTH, VIRGIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIMAIO, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIMASI, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIMATTIA, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIMELER, TRACY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIMENSION IMAGING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9578
TYLER, TX 75711


DIMERY, TERRY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIMICK, ROBERT G, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DIMIELE, ROSARIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIMLER, JOHN F , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F DIMLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIMMOCK, VELDA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIMOND, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DINATALE, LEROY F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DINDA, PETER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DINDOFFER, JAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DINEEN, MARY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DINEHART, PALMERA M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD W DINEHART
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DINELLO, ALEC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DINGMAN, RODNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DINOCENZA, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DINUNNO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DION, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIONNE, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIONNE, TERRY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIOSDADO, ESTEBAN AND MARIA R                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIPALMA, GENE T, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PASQUALE DIPALMA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

DIPIETRO, ALFONZO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DIPIETRO, DIANE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIPILATO, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIPILLO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIPRIMA, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIRECT ENERGY BUSINESS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660749
DALLAS, TX 75266


DIRECT ENERGY, LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
525 - 8TH AVENUE SW, SUITE 1200
ATTN: CREDIT RISK MANAGER
CALGARY, AB T2P 1G1
CANADA

DIRECTORY CONCEPTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8077
MANSFIELD, OH 44907


DIRECTV                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60036
LOS ANGELES, CA 90060-0036


DIS PARTNERS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6020 CORNERSTONE CT STE 200
SAN DIEGO, CA 92121




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DISABELLA, PETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DISABELLA, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DISANTIS, DIORO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DISANTIS, DOIRO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DISANTO, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DISARNO, JOSEPH RICHARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DISBROW, LYLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DISCOVER FINANCIAL SERVICE INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 LAKE COOK RD
RIVERWOODS, IL 60015


DISHEROON, SUZANNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DISICK, JANELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DISPLAYTEK CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD JOHNSON,AGENT
7557 RAMBLER RD. #418
DALLAS, TX 75231




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2415 CULLEYWOOD RAOD
JACKSON, MS 39211


DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2920 MCDOWELL EXT.
JACKSON, MS 39211


DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
540 EARL GENE ROAD
CANTONMENT, FL 32533


DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
580 EARL GENE ROAD
CANTONMENT, FL 32533


DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5862 BAXTER DRIVE
JACKSON, MS 39211


DISPOSAL SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
704 WASHINGTON LOOP
PO BOX 486
BILOXI, MS 39533


DISTEFANO, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DISTEFANO, PETER P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DISTEFANO, PHILLIP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIS-TRAN PRODUCTS,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CREST OPERATIONS,INC.
4725 HIGHWAY 28
PINEVILLE, LA 71360




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DISTRIBUTION INTERNATIONAL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 REGENCY DR
IRVING, TX 75062


DISTRIBUTION INTERNATIONAL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9000 RAILWOOD DR
HOUSTON, TX 77078


DISTRIBUTION INTERNATIONAL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 972531
DALLAS, TX 75397-2531


DISTRIBUTION NOW L.P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MS. KORI MILLS
7402 N. ELDRIDGE PARKWAY
HOUSTON, TX 77041


DISTRICT OF COLUMBIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMY E. MCDONNELL, ENV DEPT
OFFICE OF THE ATTORNEY GENERAL
1200 FIRST STREET, NE, SEVENTH FLOOR
WASHINGTON, DC 20002


DISTRICT OF COLUMBIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
IRVIN B. NATHAN, OFFICE OF THE ATTORNEY
GENERAL, DISTRICT OF COLUMBIA, OFFICE OF
THE SOLICITOR GENERAL, 441 4TH STREET NW
WASHINGTON, DC 20001-2714


DITEWIG, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DITTEMORE, LONNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DITTMAR, MELVIN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

DITTO, WALTER RAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DITURO, JOSEPH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIVECHA, VISHNU K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIVECHA, VISHNU K.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXIE CHEMICAL COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAULA MCLEMORE
300 JACKSON HILL ST.
HOUSTON, TX 77007


DIXIE CHEMICAL COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE SHELL PLAZA, 910 LOUISIANA
HOUSTON, TX 77002


DIXIE OIL PROCESSORS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11810 SOUTH HILL DRIVE
HOUSTON, TX 77089


DIXON TICONDEROGA COMPANY F/K/A/ NEW CASTLE REFRACTORIES                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
195 INTERNATIONAL PARKWAY
HEATHROW, FL 32746


DIXON, ANDREA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, AUDEN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DIXON, AUDREY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON HUNT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIXON, BOYD LAWAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DIXON, GUENITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIXON, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, JERRY R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, JOHN HARVEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DIXON, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, LEIF                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, LEO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, MARTHA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

DIXON, MARTHA, INDIVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIXON, ROYCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DIXON, STEVE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, STEVEN A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DIXON, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DIXON, TIMOTHY H., SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DIXON, WILLIAM JOHN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


DIXSON, KENNETH EDWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DIXSON, LINDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DLACICH-MCTAGUE, DORIS M.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DLI, AZIMA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DLUG, PATRICIA L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DLUG, PATRICIA L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DMC CARTER CHAMBERS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 935076
ATLANTA, GA 31193-5076


DMI CORP (DECKER MECHANICAL)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1002 KCK WAY
CEDAR HILL, TX 75104


DMI CORP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 53
CEDAR HILL, TX 75106-0053


DMS REFINING, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2632 CHALK HILL ROAD
DALLAS, TX 75121


DNOW L.P.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DISTRIBUTION NOW L.P.
ATTN: MS. KORI MILLS
7402 N. ELDRIDGE PARKWAY
HOUSTON, TX 77041


DNOW LP                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 200822
DALLAS, TX 75320-0822


DOAK, HOWARD, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

DOAN, D MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DOBBIN, JOSEPH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOBBINS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOBBINS, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOBBS, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOBBS, DENESE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOBBS, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DOBLE ENGINEERING COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
85 WALNUT STREET
WATERTOWN, MA 02172


DOBOSZ, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOBOSZ, STEVE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOBRINDT, HOWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOBSON, DENNIS AND MARIA DUTKOWSKI-DOBSON                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOBSON, JEAN AND LESTER DOBSON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOBSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOBSON, THEODORE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOCKERY, THOMAS J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOCKERY, WILLIAM Y                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DOCKHAM, ROSCOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

DOCKREY, DEBORAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOCKTER, DARRELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOCTORS BUSINESS BUREAU                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 N FEDERAL HWY
LAKE WORTH, FL 33460


DOCUMENT BINDING CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2221 MANANA #130
DALLAS, TX 75220


DOCUMENT BINDING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2221 MANANA DR
SUITE 130
DALLAS, TX 76053


DODD, ALBERT A. (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DODD, ERNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DODD, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DODD, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DODD, TED, SELF & SIMILARLY SITUATED                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DODD, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DODDS, JOHNNY MARION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DODDS, KATHERINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND J BRANDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DODGE, GARY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DODGE, WILLIAM F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DODSON, DOWELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DODSON, GORDON J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DODSON, HALEY S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DODSON, KENNETH V, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L DODSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DODSON, LYNN M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DODSON, LYNN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DODSON, MICHAEL G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DODSON, STEVEN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DODSON, WILLIAM S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DOERING, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOHERTY, GARRETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOHERTY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOHERTY, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DOHLER, BRENDA P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD DOHLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOHNALIK, EDWARD R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOHNALIK, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DOHNALIK, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DOKE PARNERS LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CREEKVIEW APARTMENTS
12721 METCALF AVE STE 200
OVERLAND PARK, KS 66213


DOKTOR, JASON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOLAN, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOLAN, FRANK A ESTATE OF                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOLAN, KATHLEEN A DEVANEY DOWD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOLAN, MILITA B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOLAN, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOLBER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOLCE, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOLCH, JUNE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMER BENTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOLIN, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOLINAC, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOLL, BRUCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOLLARD, ROBERT H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOLLY, BORDEN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DOLORES HOBBS CK1002649125-HLD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1810 SEVILLA BLVD NO. 210
ATLANTIC BEACH, FL 32233


DOLYAK, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMAGALA EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOMBECK, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMBKOWSKI, ANTHONY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMBKOWSKI, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMBROSKI, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DOMBROSKI, RAYMOND P                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOMBROWSKI, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMCO PRODUCTS TEXAS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1705 OLIVER STREET
HOUSTON, TX 77007-3821


DOMCO PRODUCTS TEXAS LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1705 OLIVER STREET
HOUSTON, TX 77007-3821


DOMCO PRODUCTS TEXAS LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES
BETH KAMP VEATH
525 W MAIN SUITE 200
BELLEVILLE, IL 62220


DOMCO PRODUCTS TEXAS LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


DOMEIER, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOMENICI, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMER, IVAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMINGO, METRO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DOMINGUE, JEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMINGUEZ, EDWARD H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOMINGUEZ, ENRIQUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOMINGUEZ, ORLANDO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOMINIAK, NORMA MAE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F DOMINIAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOMINICI, ANGELO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOMINION VIRGINIA POWER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 TREDEGAR ST.
RICHMOND, VA 23219


DOMINO, SUSAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOMINY, JAMES B.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DOMITROVICH, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOMOCO PRODUCTS TEXAS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1705 OLIVER STREET
HOUSTON, TX 77007-3821




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOMRES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOMTAR INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
744 BROAD ST
NEWARK, NJ 07102


DON DRIVE INTERIORS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8408 CHANCELLOR ROW
DALLAS, TX 75247


DON FRANKE ENTERPRISES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 101
FULSHEAR, TX 77441-0101


DONA, OTTAWA ANNE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES H RUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DONA, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONAGHY, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONAHO, BILLY JOE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONAHUE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DONAHUE, KEITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONAHUE, KIMBERLY K, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARGARET DONAHUE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DONAHUE, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONAHUE, LOUIS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DONAHUE, MARY N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONAHUE, TOMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALD DAVIS CARPENTER ESTATE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALD MCKAY SMITH INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2771 FOREST LAKE DR.
WESTLAKE, OH 44145


DONALDSON, APRIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONALDSON, CRAIG                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, DAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DONALDSON, DANNY P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, DON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, ETHEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, PATRICIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONALDSON, SHARON TREMBLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, SHARON TRIMBLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONALDSON, SHARON TRIMBLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONAT, WINNIE M (WINNIE M SKULAVIK)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONAT, WINNIE M SKULAVIK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONATH, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONATHAN, HORACE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DONATHAN, RAYMOND LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DONATO, JACK J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DONCARLOS, AMANDA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONEGAN, ANGELA LOWE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONEGAN, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONELSON, DON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONEY, CATHERINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F DONEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DONEY, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DONITHAN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONITHAN, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONITHAN, REGINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DONLEE TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
693 N. HILLS ROAD
YORK, PA 17402


DONNA MARIE NOLAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1342 SOUTH ORANGE DR
LOS ANGELES, CA 90019


DONNAN, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONNELLEY, RR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONNELLY, BRIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONNELLY, DEREK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DONNELLY, MICHAEL G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DONNELLY, MICHAEL J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DONNELLY, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONNELLY, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DONNERY, BERNARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONNERY, JAMES P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONNERY, JOHN E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


D'ONOFRIO, DOMINICK P                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONOHO, JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOHOE, RONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOHOE, TERENCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONOHUE, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DONOVAN, BARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, FRANK DELANO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DONOVAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, JEREMIAH J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONOVAN, JOHN G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DONOVAN, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DONOVAN, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DONOVAN, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONOVAN, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DONOVAN, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, TIMOTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONOVAN, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DONTAR INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
1300 E NINTH STREET
CHICAGO, IL 60604




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOOGAN, MELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOOLAN, JOHN P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOOLEY, CALLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLEY, CHELSEA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLEY, COLBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLEY, PAULA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLEY, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOOLEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLITTLE, DORIS JEAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOOLITTLE, DORIS JEAN, FOR THE ESTATE OF                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEONARD EDWARD DOOLITTLE, SR.
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOOLITTLE, MARLAND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOONAN, EDWARD F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOORNHAAG, DANIEL D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DOPSON, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORA, ROSEMARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORAN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DORAN, WALLACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DORAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DORCHESTER REFINING CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 31049
DALLAS, TX 75231


DOREY, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DORMAN, GENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DORMAN, ROY JACKSON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORNAN, MARY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORNBACH, DAVID E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORNHOEFER, ROBERT, ET AL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


DOROTHY GLASGOW ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOROTHY GLASGOW ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOROUGH, ANGELA M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOROUGH, RICHARD E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DORRILL, WILLIAM H , JR, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H DORRILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DORRIS, BARBARA (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DORRIS, JAMES DEREL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DORSCH, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DORSEY, ANTHONY W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DORSEY, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DORSEY, GEORGE A , III, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE A DORSEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DORSEY, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORSEY, J B                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORSEY, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DORSEY, PAT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORSEY, WELDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DORY, NICHOLAS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOSCHER, EDWARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOSIER, DAVID L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOSIER, DAVID L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOSS JR., BILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOSS, BILL, JR, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


DOSS, DENICE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOSS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


DOSSANTOS, MANUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOSSETT, CHARLES R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOSSEY, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOSTER, CARL JACKSON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DOTSON JR., JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOTSON, JOHN ARMON, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DOTSON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOTSON, SHYLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOTSON, VIRGINIA M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOTY, AARON D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOTY, C.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

DOTY, NICHOLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOUCETTE, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUCETTE, MILTON G                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DOUCETTE, ROLAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGAN, DANNY RAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOUGHERTY, ARTHUR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGHERTY, JAMES A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOUGHERTY, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGHERTY, JOHN JOSEOPH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOUGHERTY, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGHERTY, JOSEPH C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE DOUGHERTY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOUGHERTY, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGHERTY, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGHTY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOUGHTY, MARILYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOUGHTY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


DOUGLAS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 THIRD STREET
CASTLE ROCK, CO 80104


DOUGLAS GETERS IV                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
808 HUDLER ST
LA MARQUE, TX 77568




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DOUGLAS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGLAS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DOUGLAS, FRANKLIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOUGLAS, GLADY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOUGLAS, GLADYS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


DOUGLAS, JAMES T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOUGLAS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOUGLAS, PHILLIP, III, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILLIP DOUGLAS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOUGLAS, URSAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOUGLASS, HAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOUYLLIEZ, RONNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOVAS, MICHAEL K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DOVE, BRADLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOVE, BRADLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOVE, RONALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOVEALA, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOVER CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3005 HIGHLAND PARKWAY
DOWNERS GROVE, IL 60515


DOVER CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT E. THACKSTON
HAWKINS, PARNELL THACKSTON & YOUNG LLP
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


DOVER RESOURCES (SARGENT)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOVER, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DOVRIL, LUCIUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOW CHEMICAL CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL GUJ,AGENT
2030 W. H. DOW CENTER
MIDLAND, MI 48674


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 DOW CENTER
MIDLAND, MI 48674


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 DOW CENTER
MIDLAND, MI 48674


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2040 WILLARD H. DOW CENTRE
MIDLAND, MI 48674


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARTHUR RAY ALMQUIST
MEHAFFYWEBER, P.C
500 DALLAS SUITE 1200
HOUSTON, TX 77002


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

DOW CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


DOW CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


DOW CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


DOW CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19980


DOW CHEMICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


DOW CHEMICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


DOWD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWD, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DOWDEN BUILDING MATERIALS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6947
LONGVIEW, TX 75606


DOWDEN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWDLE, DEWAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWDY, MARIE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWDY, MARIE L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM DOWDY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWDY, MONTIE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DOWELL SCHLUMBERGER, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2710
TULSA, OK 74101


DOWLING, FRIEDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOWLING, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOWLING, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOWLLAR, CHRISTOPHER LOUIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWMAN PRODUCTS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 CITY BLVD. W
ORANGE, CA 92868


DOWNER, ALAN R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWNERY, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DOWNES, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOWNEY, BRUCE A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DOWNEY, JUNE A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH M DOWNEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWNEY, MILAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DOWNEY, RICHARD E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOWNEY, ROBERT T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWNEY, ROBERT T, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELIZABETH DOWNEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWNIE, HAMISH F.R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWNING, GROVER R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOWNING, JOHN P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOWNING, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNING, NICHOLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOWNING, PATTY S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOWNING, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

DOWNING, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNS, BURDETTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNS, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNS, EARLE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNS, EFFIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOWNS, JAMES W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DOWNS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOWNS, SUSAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DOWNTOWN DALLAS IMPROVEMENT DISTRICT                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 MARILLA ST
ROOM 5CS
DALLAS, TX 75201




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Name of Counterparty                                                                                           Nature

DOYENNE CONSTRUCTORS, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 127
MARIAH HILL, IN 47556


DOYENNE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOYLE, EARL W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOYLE, JOHN D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOYLE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DOYLE, MICHAEL J--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DOYLE, MICHAEL W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DOYLE, STEVEN A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DOYLE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DOZIER, EVERETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

DP ENGINEERING LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6100 WESTERN PLACE STE 500
FORT WORTH, TX 76107


DP ENGINEERING LTD. CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVEN L. PELLERIN
6100 WESTERN PLACE
SUITE 500
FORTH WORTH, TX 76107


DPC INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 4697
CORPUS CHRISTI, TX 78469


DPC INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 130410
HOUSTON, TX 77219


DPC INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301023
DALLAS, TX 75303-1023


DPC INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 59
CLEBURNE, TX 76031


DPH HOLDINGS CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5725 DELPHI DRIVE
TROY, MI 48098-2815


DR PEPPER SEVEN UP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5301 LEGACY DRIVE
PLANO, TX 75024


DRA, TAGGART, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A FORGE GROUP NORTH AMERICA, LLC
ATTN: KENNETH J. LUND, CCO
4000 TOWN CENTER BLVD.
CANONSBURG, PA 15317


DRABEK, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DRACKETT CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 CARL ROAD
IRVING, TX 75062


DRACKETT, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 E. FOURTH ST.
CINCINNATI, OH 45202


DRACO MECHANICAL SUPPLY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8029 LITZINGER RD
ST LOUIS, MO 63144


DRACO MECHANICAL SUPPLY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


DRACO MECHANICAL SUPPLY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


DRACO MECHANICAL SUPPLY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DRAEGER, GARY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DRAGER, WAYNE C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DRAGGOO, LEEANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DRAGO, ANGELO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DRAGON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRAGON, TRINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRAGOTTA, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DRAHA, HENRYKA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


DRAHA, VRATISLAV                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DRAJPUCH, BENJAMIN Z                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRAKE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DRAKE, RANDALL FRANCIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DRAKE, ROBERT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DRAKE, THOMAS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


DRANKHAN, DENISE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRAP, GEORGE F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DRAPEAU, MAURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRAPER, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRAPER, VINCENT C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRAUS, JACOB                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRAVO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 STANWIX STREET
11TH FLOOR
PITTSBURGH, PA 15222


DRAVO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARMEUSE
11 STANWIX ST 21ST FLOOR
PITTSBURGH, PA 15222




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 STANWIX ST 21ST FLOOR
PITTSBURG, PA 15222


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 STANWIX STREET
11TH FLOOR
PITTSBURGH, PA 15222


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARMEUSE
11 STANWIX ST 21ST FLOOR
PITTSBURGH, PA 15222


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


DRAVO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


DRAVO DYNE CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER &
MAHONEY-CHICAGO
233 S WACKER DR., STE 5500
CHICAGO, IL 60606




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DRAWDY, NORMAN (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRAYTON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DREES CUSTON HOMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6225 N STATE HWY 161
STE 400
IRVING, TX 75038


DREHER, KEVIN B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRENNEN ENGINEERING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 937
WINDSOR, CT 06095


DRESCHER, GEORGE F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DRESEN, CLARENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRESSER INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 845074
DALLAS, TX 75284-5074


DRESSER INC-MASONEILAN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 845074
DALLAS, TX 75284-5074


DRESSER INDUSTRIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 PACIFIC AVE.
DALLAS, TX 75201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DRESSER INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 ROSS AVE.
DALLAS, TX 75201


DRESSER INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 CLINTON DR.
HOUSTON, TX 77020


DRESSER INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL J. RAMIREZ
GODWIN GRUBER, PC
1700 RENAISSANCE TOWER, 1201 ELM STREET
DALLAS, TX 75270


DRESSER RAND AND INGERSOLL-RAND COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 CHESTNUT RIDGE ROAD
MONTVALE, NJ 07645


DRESSER RAND CO.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O INGERSOLL-RAND
200 CHESTNUT RIDGE RD., SUITE 2705
WOODCLIFF LAKE, NJ 07677


DRESSER RAND GROUP INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WEST8 TOWER, SUITE 1000
10205 WESTHEIMER RD.
HOUSTON, TX 77042


DRESSER, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REISMAN LAW FIRM LLC
ATTN: GLENN M. REISMAN, ESQ.
12 OLD HOLLOW ROAD, SUITE B
TRUMBULL, CT 06611


DRESSER-RAND COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7247-6149
PHILADELPHIA, PA 19170-6149


DREW, GEORGE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DREW, JAMES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

DREW, MARLEE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DREW, RAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DREW, RHONDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DREYFUS, SCOTT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON DREYFUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRIES, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRIES, JUDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRIGGERS, JACK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRILLING SPECIALTIES CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5450 JEFFERSON CHEMICAL RD.
CONROE, TX 77031


DRILTECH MISSION LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13500 NW CR
ALACHUA, FL 32615


DRINNON, LESTER D, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

DRISCOLL, BILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DRISCOLL, CHARLES R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRISCOLL, JEROME                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRISCOLL, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRISCOLL, SHIRLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRISGILL, RONALD L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES T DRISGILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRIVE, AARON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DRIVE, CHRISTOPHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DRIVER, ADRIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

DRIVER, ADRIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HEARD ROBINS CLOUD & BLACK LLP
ATTN: IAN PATRICK CLOUD
2000 WEST LOOP SOUTH, SUITE 2200
HOUSTON, TX 77027


DRIVER, STACY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRODY, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DROPPLEMAN, PATRICIA F, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOLLIE ARTHUR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DROZDOWSKI, GERALD C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DROZDOWSKI, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DRUCKER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRUDING, DIANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRUIETT, JOHN R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J DRUIETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DRUMMOND, RODERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DRUMN, JANET                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRUMN, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DRURY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRURY, THEA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


DRUST, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DRUST, STANLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRY, CANDACE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DRY, GERALD F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DRYER, LAURA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DRYKERMAN, RIKKI, ESQ, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES F KEIMIG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRYKERMAN, RIKKI, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD F MALONEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DRZEWICKI, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DSS FIRE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 550940
DALLAS, TX 75355-0940


DST OUTPUT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5516 COLLECTION CTR DR
CHICAGO, IL 60693


DTE ENERGY COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 ENERGY PLAZA
DETROIT, MI 48226


D-TEC INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3627
OLATHE, KS 66063


DU BOIS, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUARTE, ALBERTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUBBERLY, TOMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUBE, FREDERIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DUBE, LEO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUBE, NORMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUBE, ROBERT L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUBEAU, ALBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUBOIS, EDDIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUBOIS, KURTIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUBOSE OIL PRODUCTS COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
580 EARL GENE ROAD
CANTONMENT, FL 32533


DUBOSE, BETTY H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUBOSE, DAVID H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUBOSE, EARL G.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUBRAY, RONALD D                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DUBUC, LIONEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUBY, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUCAR, JOHN JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUCASSE. RODNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUCKWORTH, TROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUCKWORTH, TYE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUCT MATE INDUSTRIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 5TH ST
CHARLEROI, PA 15022


DUCT MATE INDUSTRIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 FIFTH STREET
CHARLEROI, PA 15022


DUCT MATE INDUSTRIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
33 WASHINGTON STREET
NEWARK, NJ 07102


DUDA, ALEXANDER J, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DUDA, BETTE A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH E WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUDA, BETTE ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUDA, MICHAEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DUDA, MIKE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DUDECK, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUDIK, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDIK, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDIK, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDIK, JO ANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDLEY, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DUDLEY, HENRY C., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DUDLEY, MARILYN G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUDLEY, RALPH E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDLEY, RALPH E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DUDLEY, RICKY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUDLEY, SHARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUECKER RUBBER SERVICE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 35163
HOUSTON, TX 77235


DUELLEY, JEFFERY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUENES, ALFREDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUESSEL, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUESTERHOFT, ILESA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFAULT, SARA LAINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DUFF, MARGARET, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEODORE G DUFF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUFFEE, CAMELIA ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFEE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFEE, MAKENZIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFEE, NATHANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFEE, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFEE, SHARON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFUS, TIMOL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUFFY, CHARLES T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DUFFY, CORNELIUS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUFFY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DUFFY, MICHAEL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUFFY, PATRICIA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL G DUFFY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUFFY, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUFFY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUFFY, STEPHEN PATRICK, SR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFFY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DUFFY, WILLIAM K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUFRENE, DWIGHT D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUFRESNE, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

DUFRESNE, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUGAS, WARREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUGGAN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3901 S LAMAR ST
DALLAS, TX 75215


DUGGAN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3901 S LAMAR STREET
DALLAS, TX 75215


DUGGAN, ANDREW J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUGGAN, PATRICIA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS DUGGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUGGER, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUGGER, TOMMY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUHON, RONALD G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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Name of Counterparty                                                                                        Nature

DUKE ENERGY CAROLINA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 SOUTH TRYON STREET
CHARLOTTE, NC 28202


DUKE ENERGY CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
150 FAYETTEVILLE ST
RALEIGH, NC 27601


DUKE ENERGY CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


DUKE ENERGY CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 SOUTH TRYON STREET
CHARLOTTE, NC 28202


DUKE ENERGY INDIANA INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 E MAIN STREET
MAIL DROP WP 890
PLAINFIELD, IN 46168


DUKE ENERGY OHIO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
139 E 4TH ST.
CINCINNATI, OH 45202


DUKE ENERGY OHIO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


DUKE ENERGY OHIO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


DUKE POWER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
526 SOUTH CHURCH STREET
CHARLOTTE, NC 28202


DUKE, BRENT A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

DUKE, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKE, JASON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUKE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUKE, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUKES, FRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUKES, JON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUKES, LEONA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                             Nature

DUKEWICH, CHRISTINA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKEWICH, COLLETTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKEWICH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKEWICH, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUKEWICH, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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D'ULISSE, ROBERT H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DULSKY, RICHARD B, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUMAIS, JAMES A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD R ROBINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DU-MAR MARINE SERVICES, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 898
LAROSE, LA 70373


DUMAS, ALLEN WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DUMAS, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUMAS, HENRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUMAS, PELLUM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUMM, AUGUSTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUMM, JOEL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUMM, ZACHARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUMMERTH, KURT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUMONT, REGINALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUMPSTER DAVE LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 372
NEW ATHENS, IL 62264


DUNAGAN, DANA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DUNAGAN, WAYNE JERRELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


DUNAJA, LEONARD G , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DOLORES V DUNAJA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNAWAY, LEO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNBAR MECHANICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2806 N REYNOLDS RD.
TOLEDO, OH 43615


DUNBAR, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNBURG, WILLIAM H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DUNCAN DISPOSAL #688                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 78829
PHOENIX, AZ 85062-8829


DUNCAN ENTERPRISES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5673 E SHIELDS AVE
FRESNO, CA 93727


DUNCAN, DONNA L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DUNCAN, FLOYD R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNCAN, HORACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNCAN, JANET L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNCAN, KENNETH E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


DUNCAN, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUNCAN, LOWELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNCAN, MELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNCAN, OWEN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNCAN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

DUNCAN, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNCAN, TED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DUNCANVILLE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
710 S. CEDAR RIDGE DR
DUNCANVILLE, TX 75137


DUNCANVILLE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEASOR CRASS, P.C.
CHRISTIE HOBBS
201 E. DEBBIE LANE
MANSFIELD, TX 76063


DUNCANVILLE, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
203 E. WHEATLAND ROAD
DUNCANVILLE, TX 75116


DUNDAS, L PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNDEE MILLS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 RAILROAD AVE.
GRIFFIN, GA 30223


DUNE, LISA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNFEE, DARRELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNHAM BUSH INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
836 WEST 18TH STREET
HIALEAH, FL 33010




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Name of Counterparty                                                                                            Nature

DUNKLE, JENNIFER LEE, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY SHENTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNKLIN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNLAP, CASSANDRA ADELLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNLAP, CONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNLAP, CYRAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNLAP, JACKIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNLAP, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNLEAVY, JOHN T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DUNLOP, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNN EQUIPMENT COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
410 21ST STREET SOUTH
TEXAS CITY, TX 77590




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Name of Counterparty                                                                                             Nature

DUNN HEAT EXCHANGERS, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
410 21ST STREET SOUTH
TEXAS CITY, TX 77590


DUNN, AARON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUNN, ALEXANDER H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUNN, CHESLEY EARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DUNN, DANNY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUNN, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNN, EMMETT L. AND ELSIE FAYE DUNN                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, EMMETT L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


DUNN, HAROLD JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUNN, IDA L                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                            Nature

DUNN, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUNN, JOHN C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DUNN, JOHN T                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


DUNN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNN, JOHNNIE MAE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNN, MARY M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, RICHARD B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C DUNN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

DUNN, ROBERT J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUNN, ROBERT R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNN, ROSS R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUNN, WILLIAM KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNN, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNN, WRIGHT E, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNNAHOE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DUNNAM, VANCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUNNE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUNNIER, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

DUNNOCK, BETTY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNNOCK, JOHN H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUNTON, HOWARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUPERRE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUPONT POWDER COATINGS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1007 MARKET STREET
D7084
WILMINGTON, DE 19898


DUPONT                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DUPONT BUILDING
1007 MARKET ST
WILMINGTON, DE 19898


DUPONT                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DUPONT BUILDING
1007 MARKET ST
WILMINGTON, DE 19898


DUPONT                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
JAMES VINCENT O'BRIEN
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


DUPONT, MARC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

DUPRAW, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DUPRE, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUPRE, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUPREE, HENRY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUPREY, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUPRIEST, BARBARA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUPRIEST, RONALD & BARBARA                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUPRIEST, RONALD AND BARBARA DUPRIEST                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUPRIEST, RONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURABLE MANUFACTURING COMPANY INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 SHEREE BLVD., PO BOX 700
LIONVILLE, PA 19341


DURAMETALLIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 FACTORY ST
KALAMAZOO, MI 49001-4161




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

DURAN, ENOS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DURAN, RUBEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURAND, JOHN A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DURAND, SCOTT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURANT, DARRELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURBIN, RAYMOND AND SYLVIA DURBIN                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURBIN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURCO INTERNATIONAL, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLOWSERVE
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


DURDEN, WILLARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DUREE, JEREMY, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


DUREN, CAROLYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUREN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUREZ CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEIDELL PITTONI MURPHY & BACH LLP
81 MAIN STREET
WHITE PLAINS, NY 10601


DUREZ CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


DURFEE, DEBORAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURGA, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURHAM, ALBERT PAUL (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURHAM, CARL E , JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL DURHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

DURHAM, CARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURHAM, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURHAM, JACK L. (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


DURHAM, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURHAM, WILLIS L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
413 FOREST LN
GUN BARREL CITY, 75147


DURHAM, WILLIS L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURKIN, DORIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURKIN, JAMES A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DURKIN, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURNAL, CHRIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

DURNAL, KARLEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURNAL, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURNAL, KYLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURNAL, SHANNA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURNING, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DURNING, JOHN C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


DURNING, RALPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURO DYNE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
81 SPENCE ST
BAY SHORE, NY 11706


DURO DYNE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
81 SPENCE ST
BAY SHORE, NY 11706


DURO DYNE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
81 SPENCE ST
BAYSHORE, NY 11706


DURO DYNE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


DURO DYNE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DURO DYNE CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


DUROVICH, ELIZABETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DURR, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURR, PAUL E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DURRANT, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DURRIGAN, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUSACK, ROBERT J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUSAK, DAVID W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


DUSANEK, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUSHEK, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DUSHEL, FRANCES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUSSEAULT, ERNEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUST CONTROL TECHNOLOGY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LAURA STIVERSON
1607 W CHANUTE RD
PEORIA, IL 61615


DUSTO, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUTCHER-PHIPPS CRANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5004 S ARIZONA
PO BOX 910
MONAHANS, TX 79756


DUTCHER-PHIPPS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRANE & RIGGING CO
P O BOX 910
MONAHANS, TX 79756


DUTLER, JIM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DUTSCH, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DUTTON, DAVID G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

DUTTON, HENRY J, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DUTTON, MILTON, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUTY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUVAL CORP. (TERMINATED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PENNZOIL COMPANY
700 MILAM ST.
HOUSTON, TX 77252


DUVALL, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DUVALL, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUVALL, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DUZICH, ANGELO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DVB BANK SE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DVB TRANSPORT (US) LLC
ATTN: ALEC TASOOJI
609 FIFTH AVENUE
NEW YORK, NY 10017-1021




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Name of Counterparty                                                                                            Nature

DVORAK, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DWIGGINS, WILLIAM R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DWIGHT CHRISTOPHER NOLAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1342 SOUTH ORANGE DR
LOS ANGELES, CA 90019


DWYER INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 373
MICHIGAN CITY, IN 46360


DWYER, JOSEPH D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DWYER, PHILIP C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DWYER, THOMAS P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DWYER, WILLIAM F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DWYER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

DXP ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 AVE S
SUITE 206
GRAND PRAIRIE, TX 75050


DXP ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
203 S JOHN REDDITT DR
LUFKIN, TX 75904


DXP ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7272 PINEMONT
HOUSTON, TX 77040


DXP ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 201791
DALLAS, TX 75320-1791


DYAL, LLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYBDAHL, BRAD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DYBZINSKI, MARY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYCKMAN, ANNELL ELDERDICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYCKMAN, MORRIS CHARLES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYE, JOHN EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYE, LINDA L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DYE, WILBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DYER, ALFRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYER, DARLENE K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DYER, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYER, ELWOOD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


DYER, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DYER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYER, MILLARD KEITH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DYER, OGLE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYER, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

DYER, RICKY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYER, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYER, WILBURN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYESS, CHERRI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DYJAK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYKES, DALE MARIE GEARON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


DYKES, JERRY WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


DYKES, TOMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYKES, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


DYMKE, CHARLOTTE ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

DYNAMEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 803496
DALLAS, TX 75380


DYNAMIC DETAILS TEXAS, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1220 N. SIMON CIRCLE
ANAHEIM, CA 92806


DYNAMIC EQUIPMENT & SYSTEMS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
671 B INDUSTRIAL BLVD
GRAPEVINE, TX 76051


DYNEGY INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 TRAVIS STREET, SUITE 1400
HOUSTON, TX 77002


DYNEGY INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


DYNEGY MIDSTREAM G.P. INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 LOUISIANA STREET
SUITE 5800
HOUSTON, TX 77002


DYNEGY POWER CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 LOUISIANA, SUITE 5800
HOUSTON, TX 77002


DYOTT, ALLEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


DYSON, JOSEPH, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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DZEDOVICH, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

DZEDOVICH, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


DZIABO, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


E & B MILL SUPPLY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SAUL WILENSKY AND ALLISON FIHMA
140 BROADWAY SUITE 3100
NEW YORK, NY 10005-1101


E & B MILL SUPPLY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHNADER, HARRISON, SEGAL & LEWIS
140 BROADWAY, SUITE 3100
NEW YORK, NY 10005-1101


E D H ELECTRIC INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2402 S JEFFERSON AVE
MOUNT PLEASANT, TX 75455


E D H ELECTRIC INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 607
MOUNT PLEASANT, TX 75456-0607


E ON NEW BUILD & TECHNOLOGY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LIMITED TECHNOLOGY CENTRE
RATCLIFFE ON SOAR
NOTTINGHAM, NG11 OEE
UNITED KINGDOM

E W LEWIS ESTATE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


E&C HARRELL FARM & RANCH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8
GRAHAM, TX 76450


E. I. DU PONT DE NEMOURS & CO.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1007 MARKET STREET
WILMINGTON, DE 19898




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DUPONT BUILDING
1007 MARKET ST
WILMINGTON, DE 19898


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
COREY MICHAEL SCHAECHER
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
DAVID A WEDER
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
EDWARD THEODORE PIVIN
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
JACQUELINE KATRINA GRAVES
600 WASHINGTON AVE, SUITE 2500
ST LOUIS, MO 63101


E. I. DU PONT DE NEMOURS & CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
JAMES VINCENT O'BRIEN
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


E. I. DU PONT DE NEMOURS & COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 CYPRESS STATION DRIVE
SUITE 140
HOUSTON, TX 77090




                                                                                                                                                                                                                 Page 1113 of 4224
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

E. I. DU PONT DE NEMOURS AND CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAYMOND SCHAEFER,AGENT,MGR.REMED.
C T CORPORATION
HOUSTON, TX 77002


E. I. DU PONT DE NEMOURS AND CO., INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SABINE RIVER WORKS
PO BOX 1089
ORANGE, TX 77630


E. I. DU PONT DE NEMOURS AND COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1007 N. MARKET STREET
WILMINGTON, DE 19898


E. SYSTEMS, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6250 LBJ FRWY
DALLAS, TX 75240


E., DAVIS CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EADDY, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EADS CO                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11220 GRADER ST STE. 400
DALLAS, TX 75238


EADS CO                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11220 GRADER ST STE. 400
DALLAS, TX 75238


EADS COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 732217
DALLAS, TX 75373-2217


EADY, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

EAGLE ALLOY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5142 EVANSTON AVE.
MUSKEGON, MI 49442


EAGLE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMON, PERAGINE, SMITH & REDFEARN, LLP
1100 POYDRAS ST., 30TH FLOOR
NEW ORLEANS, LA 70163


EAGLE MOUNTAIN - SAGINAW ISD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 OLD DECATUR RD
FORT WORTH, TX 76179


EAGLE MOUNTAIN-SAGINAW ISD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


EAGLE PICHER INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C & PORTER STREETS
JOPLIN, MO 64802


EAGLE, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


EAGLE, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUSAN B KOHN
1100 POYDRAS ST
NEW ORLEANS, LA 70163


EAGLE, JIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EAGLE-PICHER INDUSTRIES, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
580 WALNUT STREET
CINCINNATI, OH 45202


EAGLE-PICHER INDUSTRIES, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
580 WALNUT STREET
PO BOX 779
CINCINNATI, OH 45202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EAKLE, CHRISTOPHER D, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAROLD E EAKLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EANES, HOMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW, LLC
ATTN: BENJAMIN SCHMICKLE
701 MARKET ST., SUITE 1575
SAINT LOUIS, MO 63101


EARHART, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EARL WHITE, JR.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EARL, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


EARL, ROBERT J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EARLEY, DAVID J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


EARLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EARLEY, JERRY MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


EARLEY, MICHELLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

EARLS, JAMES ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


EARLY ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 TURTLE CREEK
PO BOX 3315
EARLY, TX 76803


EARLY, BETTY TINLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EARLY, RICHARD NORMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


EARP, THOMAS E, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EARVOLINO, LOUIS P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


EASLEY, CHARLES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EASLEY, JACK F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EASLEY, MARK J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EASLEY, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EASLEY, SHELLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

EASLEY, VIOLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EASON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EASON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


EASON, JASPER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EAST BATON ROUGE PARISH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1471
BATON ROUGE, LA 70821


EAST HILLS INSTRUMENTS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
38 OVERLOOK TERRACE
EAST HILLS, NY 11577


EAST KELLY AFB                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 TAYMAN ST.
BLDG. 3050
SAN ANTONIO, TX 78241


EAST MEMORIAL HOSPITAL DIST.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EASTLAND MEMORIAL HOSPITAL
304 S. DAUGHERTY AVE.
EASTLAND, TX 76448


EAST TEXAS AUTO AIR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1019 W MARSHALL AVENUE
LONGVIEW, TX 75604


EAST TEXAS CONNECTION 2                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6904 WILDWOOD
GILMER, TX 75645




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Name of Counterparty                                                                                            Nature

EAST TEXAS MEDICAL CENTER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1939
ATHENS, TX 75751


EAST TEXAS REFRIGERATION INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 130213
TYLER, TX 75713


EAST TEXAS SEED COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 569
TYLER, TX 75710


EAST TEXAS WILDLIFE DAMAGE CNTRL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JEFF DUNNIER
5286 HARRIS LAKE RD
MARSHALL, TX 75672


EASTCO INDUSTRIAL SAFETY CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
336 STAMM RD
NEWINGTON, CT 06111-3627


EASTER, MARJORIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EASTER, RHONDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EASTERDAY, GARY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


EASTERLIN, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EASTERN COAL CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION
306 W. MAIN STE 512
FRANKFORT, KY 40601




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

EASTERN MAGNESIA TALC COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
222 W WASHINGTON AVE
MADISON, WI 53703


EASTERN PRODUCTS CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26 SLATERS BRANCH
TURKEY CREEK, KY 41514


EASTERN REFRACTORIES CO INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15 ADAMS ST
BURLINGTON, MA 01803-4916


EASTEX TELEPHONE COOP INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 150
HENDERSON, TX 75653-0150


EASTGATE, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EASTLAND CITY HALL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
113 E COMMERCE ST
EASTLAND, TX 76448


EASTLAND COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST MAIN
EASTLAND, TX 76448


EASTLAND ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 W. PLUMMER
EASTLAND, TX 76448


EASTLAND, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 914
EASTLAND, TX 76448


EASTMAN CHECIAL TEXAS CITY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASCHKE, FRED D.
MILLS SHIRLEY LLP
2228 MECHANIC ST., SUITE 400
GALVESTON, TX 77550




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE
COMPANY 221 BOLIVAR ST
JEFFERSON CITY, MO 65101


EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE T. SHIPLEY
BAKER BOTTS, LLP, ONE SHELL PLAZA,
910 LOUISIANA ST, STE 3700
HOUSTON, TX 77002


EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 431
KINGSPORT, TN 37660


EASTMAN CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDRA FRENCH CLARK
MEHAFFY WEBER PC
PO BOX 16
BEAUMONT, TX 77704-0016


EASTMAN KODAK COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
343 STATE STREET
ROCHESTER, NY 14650-0217


EASTMAN KODAK COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
391 STATE STREET
ROCHESTER, NY 14650


EASTMAN KODAK COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EASTMAN KODAK COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


EASTMAN KODAK COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


EASTMAN KODAK COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
SANDRA F. CLARK
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702


EASTMAN, RUSSEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EASTOM, MELBURN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EASTON, ROBERT D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


EASTON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EASTTUM, VERLIE HUGHIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


EASTVOLD, MAX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EASTWOOD, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EASTWOOD, LOUIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EASTWOOD, WILLIE J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EASYLINK SERVICES CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 791247
BALTIMORE, MD 21279-1247


EATHERLY, JERRELL L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EATON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 EATON BLVD.
BEACHWOOD, OH 44122


EATON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 EATON BLVD.
BEACHWOOD, OH 44122


EATON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


EATON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

EATON CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


EATON CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PITZER SNODGRASS, P.C.
BRIAN JAMES CONNOLLY
100 SOUTH FOURTH STREET, SUITE 400
ST LOUIS, MO 63102


EATON CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JARRETT TODD APPLEGATE
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


EATON CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
STEVEN T WALSH
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


EATON CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS J. BAECHLE,SENIOR COUNSEL
1111 SUPERIOR AVENUE
CLEVELAND, OH 44111


EATON ELECTRICAL CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 EATON BLVD.
BEACHWOOD, OH 44122


EATON ELECTRICAL CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


EATON ELECTRICAL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


EATON ELECTRICAL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 EATON BLVD.
BEACHWOOD, OH 44122




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EATON ELECTRICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 WEST CAMDEN ST
6TH FLOOR
BALTIMORE, MD 21201


EATON ELECTRICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


EATON ELECTRICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ORGAIN BELL & TUCKER, LLP
DONEAN SURRATT
470 ORLEANS STREET, PO BOX 1751
BEAUMONT, TX 77704


EATON ELECTRICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JARRETT TODD APPLEGATE
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


EATON HYDRAULICS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14615 LONE OAK RD.
EDEN PRAIRIE, MN 55344


EATON HYDRAULICS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14615 LONE OAK RD.
EDEN PRAIRIE, MN 55344


EATON, ANDRE V.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


EATON, ANDRE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EATON, JAMES EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EATON, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EAVES, ALLAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EAVES, RENNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EBAN VILLAGE II LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA EBAN VILLAGE I APARTMENTS
3023 PARK ROW
DALLAS, TX 75215


EBEN, TERRY D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


EBENEZER WATER SUPPLY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3844 CO RD 401 S
HENDERSON, TX 75654


EBERHARDT, JOE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EBERSOLE, NANCY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BOYD S GODLOVE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EBERT, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EBERT, WILLIAM D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

EBERWEIN, RUSSELL E, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EBNER, GLENROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EBNER, GLENROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ECE CONSULTING GROUP INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1380 NE MIAMI GARDENS DR STE 251
N MIAMI BEACH, FL 33179


ECHELBERGER, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKEL INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 FAWCETT STREET
CAMBRIDGE, MA 02138


ECKENBERG, SHEILA A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKENBERG-MAY, SARAH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKER, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ECKERSLEY, MATT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKERSLEY, MATT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ECKERT, HERBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ECKFORD, RUTH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKHARDT, WILLARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ECKHART, ELSIE L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM W ECKHART JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ECKHART, ELSIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ECKHART, LAMONT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ECKHART, LOUIS W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ECKHOFF, ROBERT A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ECKLEY, GARY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ECKLUND, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ECKLUND, ERNEST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ECKROTH, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ECKSTEIN, MARK H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ECO LAB INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
370 WABASHA ST. N
ST. PAUL, MN 55102


ECO POWER SOLUTIONS (USA) CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N.W. BERNSTEIN & ASSOCIATES, LLC
NORMAN W. BERNSTEIN, STE N319,
800 WESTCHESTER AVE, STE N319
RYE BROOK, NY 10573


ECODYNE WATER TREATMENT LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1270 FRONTENAC ROAD
NAPERVILLE, IL 60563


ECOF INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


ECOF INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ECOLAB INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70343
CHICAGO, IL 60673-0343


ECONOMY SEPTIC TANK SERVICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
258 COUNTY ROAD 3540
LEESBURG, TX 75451


ECR INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 DWYER AVENUE
UTICA, NY 13501


ECTOR CO. HOSPITAL DIST.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
840 W CLEMENTS ST
ODESSA, TX 79763-4601


ECTOR CO. ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
802 N. SAM HOUSTON
ODESSA, TX 79761


ECTOR COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 N. GRANT STREET, ROOM 111
PO BOX 707
ODESSA, TX 79760


ECTOR DRUM CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LONE STAR DRUM CO.
2502 MARCO ST.
ODESSA, TX 79763


EDDS, CARL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EDDY, ELMER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDELMON, LOUIE V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDENSO, ALLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EDER, RICHARD W, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EMIL W EDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDF TRADING NORTH AMERICA, LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4700 WEST SAM HOUSTON
PARKWAY NORTH, SUITE 250
ATTN: CREDIT MANAGER
HOUSTON, TX 77041-8225


EDGE JR, JOHNY LEO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


EDGE, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDGE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDGERLY, CLEMENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDGERLY, DAVID L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDGERTON, JERRY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EDH ELECTRIC, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DEBBIE HENSEL
P.O. BOX 607
MOUNT PLEASANT, TX 75456-0607


EDISON ELECTRIC INSTITUTE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004-2696




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EDISON INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2244 WALNUT GROVE AVE
ROSEMEAD, CA 91770


EDISON MACHINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 LIBERTY ST
METUCHEN, NJ 08840


EDKO LLC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7241
SHREVEPORT, LA 71137-7241


EDMISTON, CHRISTINA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FLORENCE BARNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDMISTON, CHRISTINA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM BARNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDMOND, LANDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDMONDS, ESTEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDMONDSON, CHARLES M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDRINGTON, PRESTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDSON, JERRY W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDSON, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                               Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                    Nature

EDWARD HAYES AND IVA HAYES V. A. W. CHESTERTON, INC., ET AL.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARD ORTON JR CERAMIC FOUNDATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6991 OLD 3C HIGHWAY
WESTERVILLE, OH 43082


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 SOUTH SAUNDERS STREET
RALEIGH, NC 27603


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COSLELLO, SHEA & GAFFNEY, LLP
44 WALL STREET
NEW YORK, NY 10005


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, FLOWSERVE US, INC.
1300 MOUNT KEMBLE AVE, PO BOX 2075
MORRISTOWN, NJ 07962-2075


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, FLOWSERVE US, INC.
WALL STREET PLAZA, 24TH FLR, 88 PINE ST
NEW YORK, NY 10005


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, JOSEPH P. LA SALA
WALL STREET PLAZA, 24TH FLR, 88 PINE ST
NEW YORK, NY 10005


EDWARD VOGT VALVE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALL STREET PLAZA, 24TH FLOOR
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, 88 PINE STREET
NEW YORK, NY 10005




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EDWARDS, ANDREW AND MARTHA EDWARDS                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, BILLE R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, BILLIE R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, BRYAN J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, BURNS & BRAZIEL, LLP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 1300
HOUSTON, TX 77002


EDWARDS, CHARLES LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


EDWARDS, CHARLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, CHERYL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


EDWARDS, CURTIS, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK WAIDNER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, DAVID B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

EDWARDS, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, DEANNA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, EDDIE TRAVIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, EDWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


EDWARDS, EMORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, GEORGE C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, GWEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, HERSHAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


EDWARDS, HERSHEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EDWARDS, JACK (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, JACK, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, JACQUELINE M, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALDON N EDWARDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, JO ANN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HINTON C COLLIER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, KATHERINE C.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, KENNETH R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, KEVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, LARRY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EDWARDS, LAVELLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, LEWIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, MATTHEW FORD, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FORD WILSON EDWARDS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, NORMAN C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


EDWARDS, RAMON L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EDWARDS, RICHARD E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, RUBEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EDWARDS, SUSAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, TAMARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, TIMOTHY WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EDWARDS, TIMOTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, TRINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, WENDY JOHNS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EDWARDS, WILLIAM E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WARD BLACK LAW
208 W WENDOVER AVE
GREENSBORO, NC 27401


EDWIN BOHR ELECTRONICS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5265
CHATTANOOGA, TN 37406


EFF, SHARON G, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE C JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EFH VERMONT INSURANCE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MR. JEFF WALKER
1601 BRYAN ST.
DALLAS, TX 75201-3411


EFTHEMIS, DONALD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EGAN, JAMES DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EGAN, JOHN P.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EGAN, MARTIN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EGAN, ROBERT B--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


EGBERT, WILLIAM A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


EGGE, THOMAS C, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES T EGGE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EGGELHOF INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 171 PO BOX 4346
HOUSTON, TX 77210-4346


EGGLESTON, DARRELL J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


EGIELSKI, ROBERT J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


EGING, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EGLIT, ROBERT ALAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EHATT, CHERYL, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E MOONEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EHLER, DAVID J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EHLERS, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EHLERS, WILLIAM J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EHLERT, DEAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EHRHARDT, EDWARD R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EHRHART, CHARLES W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EHRLAUHER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EHRLER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EHRMANTRAUT, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EHRMANTRAUT, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EICHELBERGER, BRODY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EICHELBERGER, EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


EICHELBERGER, JARED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EICHELBERGER, JOSEPH AMBER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EICHELBERGER, KAREN M, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GERALD AUTHEMENT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EICHELBERGER, NELSON L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EICHELBERGER, PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EICHELBERGER, SAMANTHA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EICHER, PAUL SHERMAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EICHINGER, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EICHLEAY CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6585 PENN AVE.
PITTSBURGH, PA 15206


EICHNER, MATHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EIKENBERG, JEFFREY D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EILAND, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EILAND, MELVIN C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EILEFSON, EUGENE R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EILENBERGER, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EINHORN DOUGLAS P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


EIS INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1625 CRESCENT CIRCLE
STE 225
CARROLLTON, TX 75006




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EISEMANN, CAROLYN M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EISEN, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EISENHARDT, JOHN F, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F BRANNOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EISENHART, LEE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EISENHAUER, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EISENZOPF, PATRICIA ANN, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUDOLPH J EISENZOPF JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EITNER, MANFRED E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EIVERS, THOMAS F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EIVERS, THOMAS F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

EKATO CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
48 SPRUCE STREET
OAKLAND, NJ 07436


EKDAHL, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EKOVICH, RONALD S                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EL CAMPO SPRAYING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 N MECHANIC ST
EL CAMPO, TX 77437-9419


EL DORADO RANCH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
265 EL DORADO BLVD
WEBSTER, TX 77598


EL PASO CORPORATION FOR LONGVIEW REFINING                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


EL PASO CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


EL PASO COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 E. SAN ANTONIO
EL PASO, TX 79901


EL PASO ENERGY E.S.T.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


EL PASO MERCHANT ENERGY PETROLEUM CORPORATION                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN ST, SUITE 900
DALLAS, TX 75201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EL PASO NATURAL GAS CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B RICE, LESLIE HENRY
1200 SMITH, SUITE 400
HOUSTON, TX 77002


EL PASO PHOENIX PUMPS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26 BUTTERFIELD TRAIL BLVD
EL PASO, TX 79906


EL SEVIER INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 JOHN F. KENNEDY BLVD., SUITE 1800
PHILADELPHIA, PA 19103


ELAM, RICKEY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ELBON, DIANE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEWIS CLINE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELCON INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 910
MINOOKA, IL 60447


ELDER, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELDER, LEE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELDERS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ELDREDGE, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELDRIDGE, ELIZABETH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELDRIDGE, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELEARNING BROTHERS CUSTOM LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1304 N REDWOOD RD STE 178
SARATOGA SPRINGS, UT 84045


ELECK, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELECSYS INTERNATIONAL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION
PO BOX 870885
KANSAS CITY, MO 64187-0885


ELECTRA HOSPITAL DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELECTRA MEMORIAL HOSPITAL
1207 S. BAILEY STREET
ELECTRA, TX 76360


ELECTRA ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
621 N. WAGGONER STREET
PO BOX 231
ELECTRA, TX 76360


ELECTRIC BOAT COERPORATION AND ACE USA                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POMERANZ, DRAYTON & STABNICK
LUCAS STRUNK, ESQ.
95 GLASTONBURY ROAD, SUITE 216
GLASBURY, CT 06033




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ELECTRIC BOND & SHARE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 8TH AVENUE
NEW YORK, NY 10011


ELECTRIC CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



ELECTRIC ENERGY INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 PORTLAND RD.
JOPPA, IL 62593-0165


ELECTRIC FURANCE CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
435 W WILSON ST
SALEM, OH 44460


ELECTRIC FURANCE CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


ELECTRIC FURANCE CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


ELECTRIC MOTOR REPAIR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 97
WHITE OAK, TX 75693


ELECTRIC RELIABILITY COUNCIL OF TEXAS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MUNSCH HARDT KOPF HARR, PC
ATTN: RUSSELL L. MUNSCH
303 COLORADO ST STE 2600
AUSTIN, TX 78701-3924


ELECTRIC RELIABILITY COUNCIL OF TX INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7620 METRO CENTER DR
ATTN: CREDIT DEPARTMENT
AUSTIN, TX 78744-1613


ELECTRIC FURNACE CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
435 W WILSON ST
SALEM, OH 44460




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ELECTRICAL CONSULTANTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3521 GABEL ROAD
BILLINGS, MT 59102


ELECTRICO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 S BUSINESS 45
CORSICANA, TX 75110


ELECTRICO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA NOBLETT ELECTRIC MOTOR SVC
PO BOX 3097
CORSICANA, TX 75151


ELECTRO MOTIVE DIESEL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALISON MADAUSS
676 N MICHIGAN AVE
SUITE 2800
CHICAGO, IL 60611


ELECTRO SWITCH CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
%THE BRICE COMPANY
701 EAST PLANO PKWY, SUITE 502
PLANO, TX 75074


ELECTRO-CHEM ETCHING CO.,INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
545 A WEST LAMBERT RD
BREA, CA 92821


ELECTRO-COATINGS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 BAYWOOD
HOUSTON, TX 77011


ELECTROLUX HOME PRODUCTS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 BOBBY JONES EXPRESSWAY
AUGUSTA, GA 30907


ELECTROMARK COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39289 TREASURY CENTER
CHICAGO, IL 60694-9200


ELECTROMARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 571
MILWAUKEE, WI 53201-0571




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Name of Counterparty                                                                                             Nature

ELEMENTIS CHEMICALS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
469 OLD TRENTON ROAD
EAST WINDSOR, NJ 08512


ELEMENTIS CHEMICALS INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
329 WYCKOFFS MILL ROAD
HIGHSTOWN, NJ 08520


ELF ATOCHEM NORTH AMERICA, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 MARKET STREET
PHILADELPHIA, PA 19103-3222


ELFERS, FREDERICK W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELGIN ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1002 NORTH AVENUE C
ELGIN, TX 78621


ELGIN JOLIET AND EASTERN RAIL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANADIAN NATIONAL
935 DE LA GAUCHETIERE STREET WEST
MONTREAL, QC H3B 2M9
CANADA

ELGIN, RICHARD R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELIAS, HARRIETT LEE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL ELIAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELIASON, ELIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ELIASON, GRAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ELIOPOULOS, PERICLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELIRIA NOLAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1342 SOUTH ORANGE DR
LOS ANGELES, CA 90019


ELITE CAMERON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TS CONVERTING EQUIPMENT LTD.
ALBEMARLE ROAD
TAUNTON, SOMERSET, TA1 1BJ
UNITED KINGDOM

ELJOKI, FARAG                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELK ENGINEERING ASSOCIATES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8950 FORUM WAY
FORT WORTH, TX 76140


ELK, OSCAR RAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELKINS, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELKINS, JAMES P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ELKINS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ELLARD, DOUGLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLE, LINDA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ELLENBURG, LORRAINE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BURN STEPHENSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELLENDER, CHARLENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELLER, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLERSHAW, LAWRENCE EDGAR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELLERY, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIE, CHERYL H. CHERIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLINGTON, GLENN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLINGTON, MICHELLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIOT TURBOMACHINERY COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 N FOURTH STREET
JEANNETTE, PA 15644


ELLIOT TURBOMACHINERY COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINSON LEONARD STREET LLP
JON ANDREW SANTANGELO
7700 FORSYTH BOULEVARD, SUITE 1100
ST LOUIS, MO 63105




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ELLIOT, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ELLIOT, KIMBERLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN ALLYSON A ROMANI
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


ELLIOT, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ELLIOT, SAMUEL M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ELLIOT, WILLIAM MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


ELLIOTT COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ELLIOTT COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


ELLIOTT COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIOT GROUP
901 N. FOURTH STREET
JEANNETTE, PA 15644


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN, LEWIS & BOCKIUS LLP
101 PARK AVENUE
NEW YORK, NY 10178-0060


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINSON LEONARD STREET LLP
JON ANDREW SANTANGELO
7700 FORSYTH BOULEVARD, SUITE 1100
ST LOUIS, MO 63105


ELLIOTT COMPANY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINSON MORRISON HECKER LLP
JAMIE LYNN BOYER
7700 FORSYTH BOULEVARD, SUITE 1100
CLAYTON, MO 63105




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ELLIOTT COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


ELLIOTT COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
DONALD J. FAY, ESQ.
233 BROADWAY, SUITE 2220
NEW YORK, NY 10279


ELLIOTT ELECTRIC SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
802 W MAIN
HENDERSON, TX 75652


ELLIOTT ELECTRIC SUPPLY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 630610
NACOGDOCHES, TX 75963


ELLIOTT FORD LINCOLN MERCURY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2055 BURTON DRIVE
MOUNT PLEASANT, TX 75455


ELLIOTT TURBOMACHINERY COMPANY, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIOT GROUP
901 N. FOURTH STREET
HOUSTON, TX 77002


ELLIOTT TURBOMACHINERY COMPANY, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIOT GROUP
901 N. FOURTH STREET
JEANNETTE, PA 15644


ELLIOTT TURBOMACHINERY COMPANY, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUBERT CROUCH
CROUCH & RAMEY LLP
2001 ROSS AVE SUITE 4400
DALLAS, TX 75201


ELLIOTT COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIOT GROUP
901 N. FOURTH STREET
JEANNETTE, PA 15644




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ELLIOTT, ARTHUR E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELLIOTT, DAVID W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELLIOTT, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIOTT, FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIOTT, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIOTT, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIOTT, IVA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELLIOTT, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIOTT, KATHLEEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIOTT, KATHRYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ELLIOTT, KENNETH L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELLIOTT, LESLIE RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIOTT, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIOTT, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIS COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
109 S. JACKSON
WAXAHACHIE, TX 75165


ELLIS, BILLY JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ELLIS, BOBBIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELLIS, CAMELLIA R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, CARSTARPHEN, DOUGHERTY & GOLDENTHAL                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, DERRELL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ELLIS, DEVON R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, ESTELLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, FRED W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ELLIS, JAMES F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ELLIS, JAMES H. JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ELLIS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIS, JOE D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ELLIS, JOYCE L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILLARD W KELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELLIS, MARVIN GENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ELLIS, MERL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIS, MILLARD RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, MYRA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, ROGER S. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


ELLIS, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLIS, SAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELLIS, SAMUEL DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, TIFFANY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLIS, WARREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ELLISON, ANNE SHELBY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLISON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELLISON, ELLIS M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ELLISON, HERBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLISTON, BRUCE M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELLISTON, DEHAY &                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ELMER E. BROOKS & LILLIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 COUNTY ROAD 2092
COMMERCE, TX 75428


ELMO, GENE J.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ELMORE, JOE NATHAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ELMORE, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ELMORE, TROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELOFHANSSON USA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3091 GOVERNORS LAKE DR. #430
NORCROSS, GA 30071


ELOI, MARGARET E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELONIS, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELROD, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELROD, JERRY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ELSER, WILSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELSTEN, WILLIAM H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELTEX CHEMICAL & SUPPLY CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PHILIP RECLAMATION SERVICES,
HOUSTON, INC.
HOUSTON, TX 77028


ELTON, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ELVIE, CLINTON YORKE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ELWOOD, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELY, BRADLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ELY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ELY, S.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMANUELLI, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMBRY, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMBURY, TERRENCE L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMC CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4246 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693




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                                                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                          Nature

EMC CORPORATION                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RECEIVABLE MANAGEMENT SERVICES (RMS)
P.O. BOX 5126
TIMONIUM, MD 21094


EME HOMER CITY GENERATION, L.P., ET AL. V. ENVIRONMENTAL PROTECTION AGENCY, ET AL.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



EMEDCO INC                                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39209 TREASURY CENTER
CHICAGO, IL 60694-9200


EMEOTT, RONALD K                                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


EMERALD HILTON DAVIS LLC                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2235 LANGDON FARM RD.
CINCINNATI, OH 45237


EMEREL, HERMAN                                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMERGENCY SERVICE DIST. #1                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 THROCKMORTON ST.
FORT WORTH, TX 76102


EMERSON ELECTRIC CO.                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8000 W. FLORISSANT MAIAL STATION 3800
ST. LOUIS, MO 63136-8506


EMERSON ELECTRIC COMPANY                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8000 WEST FLORISSANT AVE.
ST LOUIS, MO 63136


EMERSON NETWORK POWER LIEBERT SERVICES                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
610 EXECUTIVE CAMPUS DRIVE
WESTERVILLE, OH 43082




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EMERSON NETWORK POWER LIEBERT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES INC
PO BOX 70474
CHICAGO, IL 60673-0001


EMERSON PROCESS MANAGEMENT POWER & WATER                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOLUTIONS INC.
ATTN: JOSEPH MIKSCHE
8000 NORMAN CENTER DR. SUITE 1200
BLOOMINGTON, MN 55437


EMERSON, JODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMERSON, JOHN LOUIS (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMERSON, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMERT, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EMERY DOUGLAS BRADFORD ESTATE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMERY N. LANGE, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMERY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMGE, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EMMER, FRED J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

EMMERICH, JAMES B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMMETT, WILLIAM GARY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMMONS, CARLETON B--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


EMMONS, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EMORY, LINTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EMORY, ROBERT W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


EMPEY, WILLIAM ARTHUR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


EMPIRE ACE INSULATION MFG CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 COZINE AVE
JERSEY CITY, NJ 07305


EMPIRE DISPOSAL, LTD.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDRA MCGLOTHLIN, REGISTERED AGENT
5301 SUN VALLEY DRIVE
FORT WORTH, TX 76119-6568


EMPIRE PEST CONTROL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2759 BEECHMONT
DALLAS, TX 75228


EMPLOYERS MUTUAL CASUALTY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EMULTEC INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1050 VENTURE COURT
STE 115
CARROLLTON, TX 75006


ENCK, ROBERT E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENCLEAN ACQUISITION INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728


END, GEORGE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ENDE, JOSEPH H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENDLER, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ENDLEY, VIRGINIA W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENDLEY, VIRGINIA W, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE R ENDLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENDRESS & HAUSER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O VECTOR CAG TERMS
2200 10TH STREET
SUITE 300
PLANO, TX 75074




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ENDRIES, BONNIE L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENDSLEY, MICKEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENEA, ROCCO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENERCON SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 269031
OKLAHOMA CITY, OK 73126


ENERFLEX ENERGY SYSTEMS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10815 TELGE RD
HOUSTON, TX 77095


ENERFLEX ENERGY SYSTEMS INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10815 TELGE RD
HOUSTON, TX 77095-5038


ENERGY & PROCESS CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A FERGUSON SUBSIDIARY
PO BOX 125
TUCKER, GA 30085


ENERGY & PROCESS CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 125
TUCKER, GA 30085-0125


ENERGY 4U                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13375 N STEMMONS FREEWAY STE 325
FARMERS BRANCH, TX 75234


ENERGY AMERICA, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
525 - 8TH AVENUE SW, SUITE 1200
ATTN: CREDIT RISK MANAGER
CALGARY, AB T2P 1G1
CANADA




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ENERGY CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 BELL ST STE 4201
PO BOX 2180
HOUSTON, TX 77252


ENERGY LABORATORIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ACCTS RECEIVABLE
PO BOX 30975
BILLINGS, MT 59107-0975


ENERGY LABORATORIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JESSICA HILLIARD, ACCTS RECEIVABLE
PO BOX 30975
BILLINGS, MT 59107-0975


ENERGY NORTHWEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCTS RECEIVABLE MD 1040
PO BOX 2
RICHLAND, WA 99352


ENERGY SERVICES GROUP INTL. INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DICK SMITH
3601 LA GRANGE PARKWAY
TOANO, VA 23168


ENERGY SERVICES GROUP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
141 LONGWATER DRIVE
SUITE 113
NORWELL, MA 02061


ENERGY SOULTIONS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 95000-1132
PHILADELPHIA, PA 19195-1132


ENERGY TRANSFER FUEL, LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002


ENERGYSOLUTIONS, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
423 WEST 300 SOUTH, STE 200
SALT LAKE CITY, UT 84101


ENERTECH                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 371064
PITTSBURGH, PA 15251-7064




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ENERTECHNIX INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 469
MAPLE VALLEY, WA 98038


ENFINGER, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENGEL, ANTHONY W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGEL, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGELHARDT, DIETER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ENGELHARDT, GARRETT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGELHART, TERRI A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ENGELLAND, GEROGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGELMAN, FREDRICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENGELMAN, RICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                    ENERGY FUTURE HOLDINGS CORP., et al.

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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

ENGINE COMPONENTS, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 508
MARTINEZ, CA 74553


ENGINE COMPONENTS,INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ENGINE COMPONENTS HOLDING,INC.
9503 MIDDLEX DR.
SAN ANTONIO, TX 78217


ENGINE COMPS., INC/ELECTRO-COATINGS, AEROMOTIVE ENG. CORP.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9503 MIDDLEX
SAN ANTONIO, TX 78217


ENGINE SYSTEMS INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301138
DALLAS, TX 75303-1138


ENGINEERED PROFILES LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2141 FAIRWOOD AVENUE
COLUMBUS, OH 43207


ENGINEERING RESOURCES LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
415 N CENTER ST
STE# 4
LONGVIEW, TX 75601


ENGINEERING RESOURCES, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JANA RUSSELL
415 N. CENTER STREET, SUITE 4
LONGVIEW, TX 75601


ENGLAND, EDWARD L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ENGLAND, SHAD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGLAND, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

ENGLEHARDT, DIETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ENGLEHART, DUSTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGLERT, CARL HENRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGLISH, EDGAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENGLISH, JOHN S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENGLISH, NICHOLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENGLISH, ROCK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENGLISH, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ENGSTROM, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENGSTROM, MARILYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ENGSTROM, THOMAS JAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ENKO, ALFRED R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENNIS, GARY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENNIS, HARVEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ENOSERV LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7780 E 106TH ST
TULSA, OK 74133


ENPRO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 S. LOMBARD RD.
ADDISON, IL 60101


ENPRO INDUSTRIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5605 CARNEGIE BLVD.
CHARLOTTE, NC 28209


ENPRO INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5605 CARNEGIE BLVD, SUITE 500
CHARLOTTE, NC 28209-4674


ENRIGHT, JOHH J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ENRIGHT, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ENRIQUEZ, DANIEL C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ENRIQUEZ, ROSARIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENSENADA DE LAS COLINAS I APTS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INVESTORS LP
DBA VISTAS AT HACKBERRY CREEK
2527 WEST ROYAL LN
IRVING, TX 75063


ENSERCH E & C, INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


ENSLEY, TOMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENSTROM, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ENSUREN CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1685 S COLORADO BLVD STE 360
DENVER, CO 80222


ENSUREN CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3551 S MONACO PKWY
STE 300
DENVER, CO 80237


ENTECH SALE AND SERVICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3404 GARDEN BROOK LN
DALLAS, TX 75234-2444




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Name of Counterparty                                                                                               Nature

ENTELRGY LLC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11627
SPRING, TX 77391-1627


ENTERGY ARKANSAS, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANAN E. K. HONEYSUCKLE
425 W. CAPITOL AVE., 27TH FLOOR
TCBY TOWER
LITTLE ROCK, AR 72201


ENTERGY CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
639 LOYOLA AVENUE
NEW ORLEANS, LA 70113


ENTERGY GULF STATES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHRISTINE S. KIBBE, ATTORNEY AT LAW
350 PINE STREET
BEAUMONT, TX 77001


ENTERGY LOUISIANA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORY R CAHN
639 LOYOLA AVE STE 2600
NEW ORLEANS, LA 70113


ENTERGY TEXAS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 PINE ST.
HOUSTON, TX 77002


ENTERGY TEXAS, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
L-JEF-359
4809 JEFFERSON HWY.
JEFFERSON, LA 70121-3126


ENTERGY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8104
BATON ROUGE, LA 70891-8104


ENTERPRISE RENT A CAR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 CORPORATE PARK DR.
ST LOUIS, MO 63105


ENTERRA CORPORATION & WOOLEY TOOL                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1273 CR 429
PLEASANTON, TX 78064




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ENTRIKEN, DENNIS D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ENTROP, EDWARD W, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENTWISTLE, TERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ENVIANCE, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5780 FLEET STREET
SUITE 200
CARLSBAD, CA 92008


ENVIRO SCIENCES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALPHA ENERGY LABORATORIES
2501 MAYES RD # 100
CARROLLTON, TX 75006-5069


ENVIROMENTAL PROTECTION AGENCY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
ABIGAIL M. DILLEN
48 WALL STREET, 19TH FLOOR
NEW YORK, NY 10005


ENVIROMENTAL PROTECTION AGENCY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
THOMAS J. CMAR
5042 N. LEAVITT ST, SUITE 1
CHICAGO, IL 60625


ENVIRONMENT AMERICA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANN BREWSTER WEEKS
CLEAN AIR TASK FORCE
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


ENVIRONMENT AMERICA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARIN T. SCHROEDER
CLEAN AIR TASK FORCE
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ENVIRONMENTAL AFFAIRS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WESTINGHOUSE BLDG,
GATEWAY CENTER
PITTSBURGH, PA 15222


ENVIRONMENTAL DEFENSE FUND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAMELA A. CAMPOS
ENVIRONMENTAL DEFENSE FUND
2060 BROADWAY, SUITE 300
BOULDER, CO 80304


ENVIRONMENTAL DEFENSE FUND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEAN H. DONAHUE
LAW OFFICE OF SEAN H. DONAHUE
2000 L STREET, NW, SUITE 808
WASHINGTON, DC 20036


ENVIRONMENTAL DEFENSE FUND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOMAS ELIAS CARBONELL
ENVIRONMENTAL DEFENSE FUND
SUITE 600, 1875 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20009


ENVIRONMENTAL DEFENSE FUND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VICKI LYNN PATTON
ENVIRONMENTAL DEFENSE FUND
2060 BROADWAY, SUITE 300
BOULDER, CO 80304


ENVIRONMENTAL ENTERPRISES, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10163 CINCINNATI-DAYTON ROAD
CINCINNATI, OH 45241


ENVIRONMENTAL LAW AND LITIGATION, AIR FORCE LSA/JACE                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHIEF COUNSEL FOR LITIGATION, USAF
1501 WILSON BLVD, STE 629
ARLINGTON, VA 22209-2403


ENVIRONMENTAL PROTECTION AGENCY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMANDA SHAFER BERMAN, ESQUIRE
U.S. DEPARTMENT OF JUSTICE ENVIRONMENTAL
DEFENSE SECTION, 601 D ST, NW STE 8000
WASHINGTON, DC 22204




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Name of Counterparty                                                                                          Nature

ENVIRONMENTAL PROTECTION AGENCY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW ROBERT OAKES
U.S. DEPARTMENT OF JUSTICE ENVIRONMENTAL
DEFENSE SECTION, 601 D ST, NW STE 8000
WASHINGTON, DC 22204


ENVIRONMENTAL PROTECTION AGENCY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
U.S. DOJ ERIC GERIG HOSTETLER
ENVIRONMENTAL & NATURAL RESOURCES DIV
PO BOX 23986, L'ENFANT PLAZA STATION
WASHINGTON, DC 20026-3986


ENVIRONMENTAL PROTECTION AGENCY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WENDY LYNN BLAKE, ATTORNEY, U.S. ENVIRON
MENTAL PROTECTION AGENCY, OFFICE OF GEN
COUNSEL, 1200 PENNSYLVANIA AVENUE, NW
WASHINGTON, DC 20460-0000


ENVIRONMENTAL RESOURCE ASSOC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16341 TABLE MOUNTAIN PARKWAY
GOLDEN, CO 80403


ENVIRONMENTAL RESOURCES MANAGEMENT, INC.                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KIMBERLY J. ROBINSON
200 WEST MADISON STREET, SUITE 3900
CHICAGO, IL 60606


ENVIRONMENTAL RESOURCES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANAGEMENT INC
BOX NO 2701
PO BOX 8500
PHILADELPHIA, PA 19178-2701


ENZE, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EOL WATER SUPPLY CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9226 ELK RD
AXTELL, TX 76624


EOL WATER SUPPLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9226 ELK RD
AXTELL, TX 76624-1500




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

E-OSCAR WEB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 224501
PO BOX 55000
DETROIT, MI 48255-2245


EPHFROM, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


EPIFANO, ROSEMARIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EPISCOPAL FOUNDATION OF TEXAS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MR DAVID N FISHER
1225 TEXAS AVE
HOUSTON, TX 77002-3504


EPLEY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EPM POWER & WATER SOLUTIONS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22737 NETWORK PLACE
CHICAGO, IL 60673-1227


EPPES, BEULAH FAYE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EPPES, JACK MATTHEW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SILLS CUMMIS & GROSS P.C.
ATTN: KATHERINE M. LIEB, ESQ.
101 PARK AVE, 28TH FL
NEW YORK, NY 10178


EPPLER, WALTER A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EPPLIN, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

EPPS, ROENA, PR OF THE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY EPPS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EPSILON DATA MANAGEMENT LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JO ANN SALAZAR
6021 CONNECTION DRIVE
IRVING, TX 75039


EPSTEIN, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EQUIFAX INFORMATION SERVICES LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 PEACHTREE STREET NE, SUITE 200
ATLANTA, GA 30309


EQUIFAX INFORMATION SOLUTIONS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KING & SPALDING LLP
1100 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002


EQUIPMENT DEPOT OF DALLAS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 560149
DALLAS, TX 75356-0149


EQUIPMENT DEPOT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 SOUTH IH 35
PO BOX 20187
WACO, TX 76706


EQUIPMENT DEPOT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 209004
DALLAS, TX 75320-9004


EQUIPMENT IMAGING & SOLUTIONS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK BAIRD
11155 CR2312
TERRELL, TX 75160-8960


EQUIPMENT IMAGING AND SOLUTIONS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11155 COUNTY RD 2312
TERRELL, TX 75160




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EQUIPMENT IMAGING AND SOLUTIONS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK BAIRD
11155 CR2312
TERRELL, TX 75160-8960


EQUIPMENT REPAIR CENTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAVAL AIR STATION BLDG 609
9000 W JEFFERSON BLVD
DALLAS, TX 75211


ERATH COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERATH COUNTY COURTHOUSE
100 W WASHINGTON
STEPHENVILLE, TX 76401


ERB, DAVID                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ERBACHER, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ERCOLANI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ERCOLE, EDMUND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ERDHEIM, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ERDMAN, EDWARD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                          Nature

ERDMAN, IRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ERDMAN, RONALD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ERDMANN, EILT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ERETH, ALICE FBO WILLIAM ERETH                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ERETH, ROSIE FBO RAYMOND ERETH                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ERGON, INC. FKA MAGNOLIA MARINE TRANSPORT                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2829 LAKELAND DRIVE
SUITE 2000
JACKSON, MS 39232-7611


ERI CONSULTING ENGINEERS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2024
TYLER, TX 75710


ERI CONSULTING INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2026 REPUBLIC DR STE A
TYLER, TX 75701


ERICKSON, GARLAND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ERICKSON, RICHARD A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
300 B EAST HIGH ST
JEFFERSON CITY, MO 65101


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6300 LEGACY DR.
PLANO, TX 75024


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
300 B EAST HIGH ST
JEFFERSON CITY, MO 65101


ERICSSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
150 EAST 42ND STREET
NEW YORK, NY 10017-5639


ERIE CITY IRON WORKS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ZURN INDUSTRIES INC, AS SUCCESSOR
1801 PITTSBURGH AVE
ERIE, PA 16502-1916


ERIK PAYNE, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ERIKSEN, CHRISTOPHER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERIKSON, DAVID KARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERLINGER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERMINIO L. PASTORE, ET AL.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERNEST K WALL ESTATE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EROH, ANN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


EROH, DONALD N                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


ERRINGTON, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERRINGTON, SHARON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ERVIN, TIMM E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ERWIN, JOSEPH L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ERWIN, JUSTIN J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

ESCALDI, NICHOLAS JOSEPH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESCAMILLA, MARY JANE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESCHBERGER, TODD, ET AL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


ESCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14784 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


ESCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2141 NW 25TH AVE
PORTLAND, OR 97210


ESCOBAR, GUILLERMO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESCOBEDO, RAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESCOSUPPLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2103 HWY 31 EAST
KILGORE, TX 75662


ESCOSUPPLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF ESCO CORPORATION
14785 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


ESG INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3601 LA GRANGE PKWY
TOANO, VA 23168


ESI ACQUISITION INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6451 N FEDERAL HWY SUITE 1000
FT LAUDERDALE, FL 33308




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESP/ENERGY SYSTEMS PRODUCTS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14525 FM 529 #206
HOUSTON, TX 77095


ESP/ENERGY SYSTEMS PRODUCTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14525 FM 529
SUITE 206
HOUSTON, TX 77095-3597


ESPERSEN, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ESPINOSA, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPINOSA, PATRICIA ANN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPINOSA, SUSAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPINOZA, ENRIQUE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPINOZA, VICTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPONGE, VICKI NELSON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPONGE, WILLIAM GREGORY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPONGE, WILLIAM JAMES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPOSITO, ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ESPOSITO, DEBORAH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESPOSITO, GIRO, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


ESQUER, ROBERT ASHE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESSER, ROBERT FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESSEX SPECIALITY PRODUCTS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 DOW CENTER
MIDLAND, MI 48674


ESSEX SPECIALTY PRODUCTS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ESSEX SPECIALTY PRODUCTS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


EST CLIFTON K FLEMING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRENDA FLEMING
81 CR 1603
MOUNT PLEASANT, TX 75455


EST GROUP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 824319
PHILADELPHIA, PA 19182


EST GROUP INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WHITEFORD TAYLOR PRESTON LLC
ATTN: STEPHEN B. GERALD, ESQ.
RENAISSANCE CTR, STE 500, 405 N KING ST
WILMINGTON, DE 19801-4178




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Name of Counterparty                                                                                         Nature

EST LUBERT MENEFEE C/O MELBA MENEFEE                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EST WAYNE WRIGHT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF ALBERT LITTLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALBERT A DOBSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALBERT J SAVOLA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALBERT L HAZELWOOD                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALEX R CHOUNARD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALEXANDER J SKURSKY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ALICE STRINGER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DONALD STRINGER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF ALVIN BASSHAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ALVIN WEST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CLARICE WEST, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF AMY BOLYARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: ALLEN R. BOLYARD SR., P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF ANNIAS COLBERT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LARRY COLBERT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ANTHONY A TOURANGEAU                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ANTHONY DEMERI                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ANTHONY K FAGAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ANTHONY O'GARA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

ESTATE OF ANTHONY PREISSLER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: ANTHONY L. PREISSLER JR., P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF ARCADE J GELINAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ARNOLD PARRA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: EDITH PARRA, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ARTHUR A WOOLLEN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ARTHUR C MORRIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ARTHUR CHAVIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ROSEMARY CHAVIS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BARBARA GONZALES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JEANETTE GONZALES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BARRY L. SHIPE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF BENJAMIN DILDY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LYNNE DILDY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BENJAMIN F. BERRA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF BENJAMIN J. CHESTER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JUSTINE M. HANCOCK, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF BERNARD D KUIPERS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BERNARD F. BROOKS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JUNE G. BROOKS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF BERNARD J OKIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BERNARD J O'NEILL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BERNARD J WASNIAK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ESTATE OF BERNARD R. EBBERTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: APRIL R. ROSE, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF BERNIE C ADAMS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BETTY DUFFIELD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DELORIS JACKSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BILLY H MUSICK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BILLY L WHITE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BILLY M DICKSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF BILLY TURNER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BILLY TURNER, JR., P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BILLY V RAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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ESTATE OF BOBBY BARTON BROWN                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CURTIS BROWN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BOBBY JENKINS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DORIS JENKINS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BRENDA BOWMAN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CLARENCE BOWMAN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF BRUCE W GODWIN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF BRYAN W YOUNG                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF BYRON WRIGHT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CARL LARSEN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CARL CHAVERS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: KATHERINE CHAVERS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                             Nature

ESTATE OF CARL E CARLSON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CARL G KANGAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CARLTON COUTCHIE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CAROLYN M. DEVAUGHN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JOHN K. DEVAUGHN, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CECIL ARNOLD OVERSTREET                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GRACE OVERSTREET, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF CECIL L JOHNSON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES B WALL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES B. WILLIAMS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DOROTHY MURRAY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                            Nature

ESTATE OF CHARLES BURT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ROBBIE BURT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF CHARLES DENMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARGARET DENMAN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF CHARLES DUNLOW                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: ROBIN STEVENS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CHARLES E NOWAKOWSKI                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES E WHITE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES ESTURO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF CHARLES F ROOS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES F SCHORY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ESTATE OF CHARLES F. COXON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: MARIE COXON, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CHARLES G SHERUPSKI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES H SMITH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES I BOUGHMAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES L HIRSCHFELD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES L LUKE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES LYNCH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF CHARLES MAPP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ESTATE OF CHARLES SCHREINER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: SHARON JUSTICE, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CHARLES SHANER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF CHARLES W TACY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHARLES WATERS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: TERESA J WATERS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CHESTER LAVOGUE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHESTER THUMM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CHRISTINE LOWE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: BRENDA DAVIS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF CLARENCE A PROVOST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                           Nature

ESTATE OF CLARENCE E SHERIFF                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CLARENCE F PERNASKI                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CLARENCE J YARD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CLARENCE L FOSTER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CLIFFORD H NETTLES                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF CLIFTON K FLEMING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF CLYDE KIMBOURGH FLOWERS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF CONO AMILO MASCARELLA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF CORNELIUS VICTOR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: TOMMIE VICTOR, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                            Nature

ESTATE OF CURLEY CRAYTON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MAZIE CRAYTON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF CURTIS DURRETT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SANDRA DURRETT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF CURTIS W JOINER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DALE SCHNEIDER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DANIEL JAMES BAKER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DARRELL DRIVER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HEARD ROBINS CLOUD LLP
2000 WEST LOOP SOUTH, 22ND FLOOR
HOUSTON, TX 77027


ESTATE OF DARRELL POWELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MYRA POWELL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DAVE TYLER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ELAYNE TAYLOR-TYLER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                         Nature

ESTATE OF DAVEY GRAY HARRIS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOWARD STALLINGS FROM HUTSON ATKINS
ANGELL DAVIS, PA; ATTN: NICHOLAS C BROWN
P.O. BOX 12347
RALEIGH, NC 27605


ESTATE OF DAVID GAMMELL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID WILEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID E BAMFORD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID J RYAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID J TAHTINEN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID R GOHSLER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DAVID ROSS HUNT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ESTATE OF DAVID SANDLIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHARON SANDLIN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DAYMON L. HENRY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF DEAN BURNETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: LACY E. BURNETTE, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF DELBERT BROWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARTHA J. BROWN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DELMER E SIMON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DENNIS HOYT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DENNIS DESHONG                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: PAMELA E. DESHONG
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF DENNIS HERR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

ESTATE OF DENNIS M TOME                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DENNIS R ZANDER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DENNIS W SCHMIEDING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DEWELL BURCHETT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DIANE S. EDWARDS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: CLEON NOLAN EDWARDS, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF DOLORES C. COOPER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: RHONDA L. PIUNTI, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF DON PUCKETT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DEBRA PUCKETT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DONAL R HAMRICK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF DONALD B SCHROYER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD C JOHNDROW                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD C. HENRY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: DONALD C. HENRY JR., P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF DONALD COOK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JOANNE COOK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DONALD E LEAKE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD EKERMEYER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JEWELL EKERMEYER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DONALD F MCBRIDE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD FOUNTAIN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: LOUISE FOUNTAIN, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF DONALD J MELESKI                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD L BAKER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD L BIGGS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD L DAWES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD M ANDERSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONALD M SAURER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DONZIE BAILEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JERRY M. BAILEY, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF DORIS KELLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: TAMMY KELLEY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF DOROTHY ARNOLD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BEVERLY TOFFEL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF DOUGLAS HACKETT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF DUANE C VEJVODA                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DUANE R SHOULTS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF DWAINE WASHBURN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EARL CHILDERS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EARL H HELMEY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EARLY & B W REECE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF EARLY & B W REECE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF EDDIE DAVIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JIMMIE RUTH DAVIS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF EDDIE W JONES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF EDGAR L SPRADLEY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EDMUND HECHT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: BERNIS L. HECHT, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF EDWARD BROWN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF EDWARD C BELMORE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EDWARD J JACOSKI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EDWARD J POLACZYK                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF EDWARD O. CULLISON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: ARMAND J. VOLTA, JR., P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF EDWARD RICKENBACKER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ELDON B TAYLOR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ELI BUCAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ELMER F FAUS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ELMER HOSEA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: STEVEN HOSEA, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF EMIL GERA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EMIL KATARINCIC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF ERNEST A SHUE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ERNEST BARNES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JOHNNY BARNES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ERNEST MEREDITH                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY MEREDITH, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF EUGENE A SCHUBERT                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF EUGENE G FRANK                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FERNAND PERRON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF FERRON R FORBES                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF FRANCES ARRIAGA                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LUCY GARCIA, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ESTATE OF FRANCIS B WILLIAMS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANCIS C DEPETRO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANCIS C HUNG                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF FRANCIS CORNWALL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MATTIE BELLE CORNWALL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF FRANCIS G O'NEILL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANCIS J. BEES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JAMES E. BEES, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF FRANCIS P SMITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANCIS STOREY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF FRANK JAKUBIAK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK UCAKAR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK A SUMMERFORD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK E LANSDOWNE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK GASIOROWSKI                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: CHRISTINE YOUNG, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF FRANK J MARINCHICK                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK J NOSSECK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRANK L PAVLICO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF FRED THERRIEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRED BELINSKY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF FRED C AGAZZI                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRED CHARLES PENNINGON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF FRED L CRAIG                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRED R ZITTA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FRED STONER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: TIMOTHY J GRAY, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF FREDRICK G BALL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF FREDRICK KELLY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

ESTATE OF GARY J RETASKIE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GARY MITCHELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: PEGGY MITCHELL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GARY SCHOENFELDT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY SCHOENFELDT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GEORGE BRUGOS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE MCMASTER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE RIGGS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE B BASS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF GEORGE FENICLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF GEORGE J BELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE J. LAWRENCE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF GEORGE JOHNSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF GEORGE M LODISH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE PINYUH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF GEORGE TAVAREZ                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SERENA TAVAREZ, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GEORGE W BROWN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GEORGE WATKINS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GEORGE WATKINS, JR., P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ESTATE OF GERALD MATTKE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GERALD H BALMES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GERALD WAYNE HERRING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF GIOVANNI GALLEA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF GLENN SHERER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MONA SHERER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GRAHAM MCNEILL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BETTY MCNEILL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GREGORY BEAVERS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ANNA BEAVERS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF GRIFFITH E POWELL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF GROVER M FASE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GUST N RILEY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF GUY C SCHWARK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAL COLLINS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: NELDA COLLINS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HARDWICK GUNDY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HARNEY W SALESS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAROLD A BLACK                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAROLD ALFRED ANDERSON                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF HAROLD E ANDERSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAROLD E BURKE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAROLD L POTTER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF HAROLD LAMBERT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LINDA HOUCK-LAMBERT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HAROLD NOONAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: VIRGINIA LEAVITT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HAROLD PALMER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: CAROLE A. PALMER, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF HAROLD R COOK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HAROLD R FRENCH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF HARRY BERGER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HARRY BROWN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF HARRY L KEITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HARRY L WRIGHT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HARVEY KEMPER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI SHKOLNIK PLLC
400 BROADHOLLOW ROAD, SUITE 305
MELVILLE, NY 11747


ESTATE OF HARVEY L VAN OOSTEN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HARVEY T BOWSER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HELEN DARIES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JANNA WILSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ESTATE OF HENRY D BURNS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE BENEFIT OF BURNS-GREER
JOINT VENTURE
PO BOX 2808
MERIDIAN, MS 39302


ESTATE OF HENRY LEE BOWIE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF HERBERT N DODDS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HILBURREL JACOBS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GLORIA JACOBS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HOMER HOLCOMB                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: STEPHEN W. HOLCOMB, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HOWARD SPATHOLT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF HOYLE NORMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CHERYL JAN FORD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF HUBERT J MARX                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF IRVING G DIPPEL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF J DONALD AVERY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF J W BAXTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LOYCE BAXTER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JACK HOLMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: BRYAN V. HOLMAN, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF JACK R HAYES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JACKIE CREAMER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JANICE CREAMER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JACOB E WINTER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAKE JOHNSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: TERRY JOHNSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF JAMES LYONS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES SHORTER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES A DEPEEL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES A LOUGHMAN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES B MAITNER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES CAULER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JAMES CHADWICK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY CHADWICK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES D. STEGMAN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: GALEN NEAL STEGMAN, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204




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Name of Counterparty                                                                                        Nature

ESTATE OF JAMES DEABOLD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JAMES L LOVEJOY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES LYLES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BOBBIE LYLES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES M FRAILING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES MCGUIRE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JAMES PICHON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ROSALYN PICHON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES R OGLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES R ROMAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                        Nature

ESTATE OF JAMES RILEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LOU SLEDGE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES S CROW                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES SHEEHAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JAMES SHELTON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JACK SHELTON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES SWINEA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: RITA SWINEA, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JAMES W COURTNEY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES W MONGAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JAMES W REITEN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF JAY SHREFFLER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JEROME CANDRILLI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JEROME J HOVANIC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JERRY KROGSGAARD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHERYL KROGSGAARD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JERRY L STOGNER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JESSIE CASTLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JIM G FOOTE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JIMMY BEATTY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DELINDA BEATTY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                            Nature

ESTATE OF JIMMY TUNNELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: NADINE GAY TUNNELL, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF JOAN E. SCHNEEMAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: WILLIAM K. SCHNEEMAN, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF JOE HAVLIK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: NORMA HAVLIK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOE J THOMAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOE WOOD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DONNA WOOD-TURNER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOEL E COWART                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN BOUCHER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN CHADWICK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                        Nature

ESTATE OF JOHN CHERNISS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN MEDEIROS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN RAND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN ST. ANGE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN A BILJUM                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN A BOZIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN A KACZOR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN A OFFERMAN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF JOHN A WASILCHAK                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN A. BUSHELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: PATRICIA A. BUSHELL, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF JOHN A. PITTS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI SHKOLNIK PLLC
400 BROADHOLLOW ROAD, SUITE 305
MELVILLE, NY 11747


ESTATE OF JOHN BUTURLA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN CRAYTON, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: EMMA CRAYTON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHN DOYLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GENEVA DOYLE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHN E DALTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN E KEANE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF JOHN E KRUEGER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN F FLAGG                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN F MCINTYRE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN F ROBINSON                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN FITZPATRICK                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN GEURINK                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN HOOT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DOLORES HOOT, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHN J ANDREWS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF JOHN J O'MALLEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN J SLAINA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN J STEVENSON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN J TAYLOR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: LORRAINE CATHERINE TAYLOR, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF JOHN L BRONZYK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN L CAPISTRAN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



ESTATE OF JOHN L ZENZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN M DRAZENOVICH                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF JOHN M DYER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN M THOMAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN MCNEALY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: NATHALIE MCNEALY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHN NEWELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN P KILBANE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN P PADDEN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN P SAUNDERS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN P SKRABA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF JOHN R FINCK                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN R FREY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN R GOETSCH                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN R LORNITIS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN R MURRAY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN R WANTZ                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN RABB                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BILLY RABB
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHN S GEISSLER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF JOHN SCHMITZ                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN SINNOTT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN SPICIJARIC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOHN SUGAMELI                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF JOHN T AHERN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN V BRASEL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOHN WILLIAMS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: RAMONA WILLIAMS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOHNNIE HUGHES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF JOHNNIE WALLACE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GARY WALLACE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                           Nature

ESTATE OF JOHNNY L. GREIN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: IRIS FAYE GREIN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JONATHAN BROWN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LINDA BROWN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JORGE DE LEON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JUANA DE LEON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOSEPH BERENS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH IWASZEK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH KETCHA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH ANTHONY ERCOLE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH B DURKO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ESTATE OF JOSEPH C CENTRELLA                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH CAMPANA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH CONTI AND ANNE CONTI                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE EARLY LAW FIRM
ATTN: ETHAN EARLY
360 LEXINGTON AVE., 20TH FLOOR
NEW YORK, NY 10017


ESTATE OF JOSEPH FARINA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF JOSEPH FLOOD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH G MCGRAW                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH M CALLAHAN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH MCCLOUD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: TERRIE JOHNS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF JOSEPH MCCORT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ESTATE OF JOSEPH N COOK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH P ALEWELT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH P GAJKOWSKI                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH REILLY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH SCAINETTI                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH T. EBERSOL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF JOSEPH VONDERVOR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF JOSEPH W TURNOCK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF JOSEPH WALTER ZIELINSKI                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF JULIUS A ZIEMBO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KAINO SALMI                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KEITH L ARTHALONY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KEITH R WAMSER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KEITH T LANCOUR                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KEITH WOLFE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BOBBIE WOLFE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF KELVIN F POTTER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KEN E KERN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF KENNETH CANFIELD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ERNEST CANFIELD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF KENNETH DUBOIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHEILA DUBOIS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF KENNETH JOHNSON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BRENDA JOHNSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF KENNETH KIDD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MATTHEW KIDD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF KENNETH RAU                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF KENNETH T STARR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF KENNETH T. DAVIS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI SHKOLNIK PLLC
400 BROADHOLLOW ROAD, SUITE 305
MELVILLE, NY 11747


ESTATE OF KENNETH W HUTCHINS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF KEVIN NORTON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF KLEPPER MASON SCOTT, DECEASED                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LOLA SCOTT, P.R.
C/O SIMON GREENSTONE PANATER BARTLETT PC
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF LARNCE R BRADY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LARRY C WALKER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF LARRY E TOUTANT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF LARRY FOSTER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BARBARA FOSTER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF LARRY J BROWN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LARRY L CARR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LAVAL E HAMMETT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF LEE ALLEN BURSEY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF LEE R GATES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF LEO A DEHM                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LEO J THERRIEN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LEO J UBER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LEON JACKSON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LOTTIE JACKSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF LEONARD G TRUSCOTT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LEROY F KOETH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LEROY V SORENSON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF LESLIE DAVIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LESLIE DAVIS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF LESLIE J ZANE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: SIDONIE L ZANE, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF LEWIS P KIMBLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LINTON DORFMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF LLOYD C FRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LLOYD G YOUNG                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LLOYD T PUGH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOLA B WILLIAMS, THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF LOUIS BUCKHALTER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARY ANN BUCKHALTER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF LOUIS E SMITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOUIS H SEBALD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOUIS J DESTEFAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOUIS M STARASINIC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOWELL A JOHNSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF LOWELL DICKEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LOWELL KIRBY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF LUMUS HICKS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CAROLYN HICKS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                           Nature

ESTATE OF MADISON JENNINGS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF MARINO ANTHONY PARON                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DAVID L. PARON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MARIO BLASLOV                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF MARIO PIETROMONACO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF MARK PHILLIPS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: VIRGINIA GABBARD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MARK W HOPPOUGH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MARLIN E ZANTELLO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MARTIN J CASEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MARTIN S KOLODZIEJSKI                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ESTATE OF MARVIN GALVIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MARY C. BIDEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: DEBORAH A. KEMP, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF MAURICE L CASSOTTA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF MAURICE LOUIS COSSOTTA SR                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF MAURICE S ANDERSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF MELVIN L WANLESS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MELVIN LUTHER HUFFMAN                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF MELVIN PEEVY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JOHNNY PEEVY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MICHAEL HABIAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF MICHAEL SIEGEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MICHAEL STRANG                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MICHAEL D COOPER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MICHAEL D QUINN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MICHAEL J. KELS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: PATRICIA A. KELS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF MICHAEL LOHRMANN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: CAROLE M. LOHRMANN, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF MICHAEL OWENS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: OPAL KAY OWENS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MICHEAL J KARDAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF MIHAI DUMITRESCU                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF MILES JONES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARY JONES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MILES R FRENCH                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MILTON L ROBERTS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MONNIE HOWARD, JR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MONNIE D. HOWARD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF MORGAN C CRAFT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MURRAY S GAST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF MURRY WILKENING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: VIRGINIA MCCUNE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF NEIL AKESON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF NOEL L HARRISON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF OREAL BABINEAUX                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: PETER BABINEAUX, JR., P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ORVILLE R MARTIN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF OSSIE J ORR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF OTIS L. BRITT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JOANNE BRITT, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF OTIS MCNABB                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: WANELL MCNABB, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF OTTO GEARHART                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF OVIDA HALL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DOROTHY HALL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF PATRICIA HARRISON                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: HENRY HARRISON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF PATRICK E MCSHANE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PATRICK MCCLOSKEY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF PAUL A ROTH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PAUL E FRYLING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PAUL E YANDELL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PAUL J KETOLA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ESTATE OF PAUL J. SURA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI SHKOLNIK PLLC
400 BROADHOLLOW ROAD, SUITE 305
MELVILLE, NY 11747


ESTATE OF PAUL KIRK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: PATSY KIRK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF PAUL LOBDELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF PAUL M RHOADS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PAUL MALECKI                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF PAUL P SAMEK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PETE BUMGARDNER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: NANCYE BUMGARDNER, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF PETE KROLCZYK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: EVELYN KROLCZYK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF PETER POSTMA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PETER J BENGSTON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PETER J HAMMER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PETER K STEINHAGEN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF PETER TADDEO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF PHILLIP E MACKIE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RALPH C NEPTUNE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RALPH E LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF RALPH G HEUER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RALPH L EDWARDS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAMON CIUCCI                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RANCE SIMPSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GLORIA SIMPSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF RANDELL D. JONES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: RANDI CASPER, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF RANDY S FRIDDLE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAY A GENTHER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAY H LAKENEN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF RAYMOND C VOGELPOHL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND D HATCHER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF RAYMOND E DAVIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND G PAYTOSH                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND J BARTON                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND L DENIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF RAYMOND L MACNAB                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND S COX                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND S LUBISH                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                         Nature

ESTATE OF RAYMOND SABO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF RAYMOND T REGINELLI                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RAYMOND VINCENT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF RICHARD A DAWSON                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD A HAMMER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD AMBROSINI                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF RICHARD D WALKER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD E JACKSON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                        Nature

ESTATE OF RICHARD E KLOCKO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD F LINDENAU                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD F VERSHAY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD GLIDDEN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SANDRA GLIDDEN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF RICHARD H DEWITTE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD J DUIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD N KELLEY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RICHARD O BOYLE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF RICHARD R SKUTT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RILEY LOFTIN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: GARY LOFTIN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ROBERT CORBETT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT DOAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT MAYER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT VALENTINE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT A JANDERNOA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT A MCDERMOTT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF ROBERT A SHANEYFELT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT C BERG                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT C MCKINNON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT E PERKINS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT E TRETTEL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT E WATERS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF ROBERT F COLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT F EAGLEYE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF ROBERT F. CAIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: DENNIS R. CAIN, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF ROBERT FOLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ROBERT G MESZAROS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT GLASER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ROBERT H HUGHES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT HYDE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DAVID HYDE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ROBERT J PRATER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT J TRYZENSKI                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF ROBERT J. POLLOCK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: SHARON POLLOCK, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF ROBERT KOBLER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF ROBERT L AVISON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF ROBERT L POLK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF ROBERT SHELDON TURNER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT SMITH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LINDA SMITH, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ROBERT T PARKER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT T ZACHARYASZ                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROBERT VAN HORN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY WENSKE (VAN HORN), P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                           Nature

ESTATE OF ROGER PATTERSON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROGER A MUSCENTI                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROGER L. STOBART                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NAPOLI SHKOLNIK PLLC
400 BROADHOLLOW ROAD, SUITE 305
MELVILLE, NY 11747


ESTATE OF ROMEO ALFIERI                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RONALD DULIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF RONALD P MARINELLI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF RONALD PRYCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MAR SUE PRYCE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF RONALD R ERB                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF RONALD W OVERBERG                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF ROSE CYR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: CATHERINE CYR, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF ROSS A BECKLEY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF ROY E JARRELL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RUDY SANCHEZ                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SUZANNE SANCHEZ, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF RUSSELL E BAUGHMAN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF RUSSELL ROSENBERGER                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CAROSELLI BEACHLER MCTIERNAN COLEMAN
20 STANWIX STREET, 7TH FLOOR
PITTSBURGH, PA 15222


ESTATE OF SAM ANGELO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ESTATE OF SAMMIE L ANDREWS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF SAMUEL J PAGER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF SAMUEL J TORCHIA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF SAMUEL MCKAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF SAMUEL STEELE, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SAMUEL SPENCER STEELE, III, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF SANDY MCNEILL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ANNIE MCNEILL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF SANTOS GONZALES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARIA GONZALES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF SATYA BAJAJ                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF SHEILA HUNT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ESTATE OF SHIRLEY D FOGG                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF SRDJAN MATIJEVIC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF STANLEY MUSSELMAN                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STANLEY WASKIEWICZ                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STANLEY A MILLER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STANLEY BLAIR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF STANLEY E BOWMAN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STANLEY E YARMEY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ESTATE OF STANLEY SCHMANSKY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: JEANETTE M. SCHMANSKY, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF STEPHEN BROMACK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STEPHEN CORNWALL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARY CORNWALL, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF STEPHEN RAY SMITH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF STEPHEN RONNIE HINES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF STEVE KATROS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF SYED MOINUDDIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF TALBERT SWIFT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: MARGARET E SWIFT, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF TED CROOKSHANK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: ALICE JO DEAN CROOKSHANK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                         Nature

ESTATE OF TED H HOKENSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF TELESFORO OLIVAREZ                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF TERENCE WOODWARD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMON GREENSTONE PANATIER BARTLETT
ATTN: JOAN E. WOODWARD, P.R.
3232 MCKINNEY AVENUE, SUITE 610
DALLAS, TX 75204


ESTATE OF TERRY J. HOPKINS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HUMPHREY FARRINGTON & MCCLAIN, P.C.
ATTN: PATSY A. HOPKINS, P.R.
221 W. LEXINGTON, SUITE 400
INDEPENDENCE, MO 64050


ESTATE OF THEODORE R FOSTER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS SNOWBALL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS A MCQUEN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS A WEIKLE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF THOMAS BRUGAR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF THOMAS E STAFFORD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS E VANCE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS F JOYCE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS FLAHERTY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARIETTA FLAHERTY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF THOMAS H TIDEY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS H. CHANEY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF THOMAS L STEWART                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                          Nature

ESTATE OF THOMAS L TOWLER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS P FOLEY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS R BELONGIE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS R CARSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF THOMAS RALPH BOLDING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: KATHY SALAZAR, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF THOMAS RIGSBY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY J. RIGSBY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF TILMAN KJELLESVIK                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF TIMOTHY D YOUNG                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF TOMMY CLARK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: FRANCES CLARK, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF TOMMY SMITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: JERYL SMITH, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF URBAIN L LARIVIERE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VALENTINO TONIONI                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VENSON MILLIKEN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: VELA MILLIKEN, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF VERN R TARNEY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VERNON THOMPSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LINDA THOMPSON, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF VERNON WILLIAMS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARGARET W. SMITH, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ESTATE OF VICTOR J SEINE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VICTOR JONES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: MARION E JONES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF VINCENT B BANKS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VINCENT E. SAVIDGE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF VIRGIL F LISPI                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF VIRGIL LEE COLLINS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF W W & BERTHA ABBOTT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WALTER PALL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER A SHEA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                           Nature

ESTATE OF WALTER D DAVIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER E KIENBAUM                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER F ULMAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER H PETITE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER J TAYLOR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WALTER RICHARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHARON RICHARD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WARREN DE GLOPPER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WAYBURN LEE HUTCHESON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ESTATE OF WAYNE F EATON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WEBSTER PERSON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: LEWIS JENKINS, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WENDELL R. JACKSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HEARD ROBINS CLOUD LLP
2000 WEST LOOP, 22ND FLOOR
HOUSTON, TX 77027


ESTATE OF WILLARD JAMES HAWTHORNE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WILLIAM LEMKE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM A BENDER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM A JEROME                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM ALEXANDER, JR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: DONNA RAE DEL VALLE, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WILLIAM ARNHEITER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ESTATE OF WILLIAM B HOGAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM BRIGHT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: KIMBERLY ANDREWS, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF WILLIAM CAMPBELL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: TAMMY CAMPBELL-PUES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WILLIAM CARNES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: VELMA CARNES, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WILLIAM CHARBONEAU                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTATE OF WILLIAM COLETTI                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WILLIAM CORSELLO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WILLIAM E PHILLIPS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WILLIAM E SMITH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

ESTATE OF WILLIAM E STITT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM E. BEYER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: BARBARA ANN BEYER, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF WILLIAM G NOBLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM H PARKER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM HAMBRUCH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: NICOLE A. MILLER, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF WILLIAM J DEHABA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM J GELSLEICHTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM L KOZLOWSKI                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                              Nature

ESTATE OF WILLIAM L. SHERET                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WILLIAM L. SHERET                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CAROSELLI BEACHLER MCTIERNAN COLEMAN
20 STANWIX STREET, 7TH FLOOR
PITTSBURGH, PA 15222


ESTATE OF WILLIAM LINDSAY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WILLIAM LOPEZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WILLIAM MATTHEWIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: WILLIAM MATTHEWIS, JR., P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WILLIAM MOORE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WILLIAM MORRISON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ESTATE OF WILLIAM P HOWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM PURDY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

ESTATE OF WILLIAM R GREVE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM R MCGUIGAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTATE OF WILLIAM R ULSH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIAM STUBBLEFIELD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: SHIRLEY STUBBLEFIELD, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ESTATE OF WILLIAM T. DRUMMOND                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
ATTN: HELEN DRUMMOND, P.R.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ESTATE OF WILLIAM W MUTH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIE THOMPSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ESTATE OF WILLIE MCGARRY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
ATTN: BARBARA MCGARRY, P.R.
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ESTELLE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ESTEP, KEVIN A, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ESTEP, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


ESTES, JIMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTES, LARYY THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ESTES, SHELTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ESTEY, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, ESPERANZA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, JUAN FLORENCIO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, MARITZA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, MAX ARQUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ESTRADA, ROCIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, SILVIANO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRADA, VIRGINIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRIDGE, LINDA GASTON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ESTRIDGE, THOMAS JACK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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E-SYSTEMS, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 WEST 34TH ST.
18TH FLOOR
NEW YORK, NY 10120


E-SYSTEMS, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES CROWLEY,AGENT,VP & GENL CNSEL
PO BOX 660248
DALLAS, TX 75266


ETC KATY PIPELINE, LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002


ETC MARKETING, LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002


ETCHASON, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ETENE, ETENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ETERNO, VINCENT L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ETHERIDGE, RONALD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ETHERIDGE, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ETHICON, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROUTE 22
SOMMERVILLE, NJ 08876


ETHIER, ROBERT E--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ETHOS ENERGY POWER PLANT SERVICES, LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A WOOD GROUP POWER PLANT SVCS INC
12600 DEERFIELD PARKWAY # 315
ALPHARETTA, GA 30004


ETHYL CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
330 S. 4TH ST.
RICHMOND, VA 23219


ETHYL CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
330 SOUTH FOURTH STREET
RICHMOND, VA 23219


ETTL ENGINEERS & CONSULTANTS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2017
TYLER, TX 75710


EUANKO, AARON G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EUANKS, AARON G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EUBANK, CHARLES T , II                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EUBANK, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EUBANKS AUTO ELECTRIC INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9986 US HWY 82 WEST
DEKALB, TX 75559


EUBANKS, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


EUBANKS, JAMES O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


EULENFELD, B C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EULENFELD, RODNEY W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EULER, ARLENE B, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L CARPENTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EULESS, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EULESS MUNICIPAL COURT
1102 W. EULESS BLVD.
EULESS, TX 76040




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

EUMO ABEX                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS VENKER & SANDERS
BANK OF AMERICA TOWER
100 NORTH BROADWAY, 21ST FL
ST. LOUIS, MO 63102


EUNGARD, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EURECAT U.S. INCORPORATED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13100 BAY PARK ROAD
PASADENA, TX 77507


EUSTICE, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EUSTICE, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EUTECTIC METALS CO.,INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE RESERVATION TRADING CO.,INC.
1560 RANDOL MILL RD.
ROANOKE, TX 76262


EVALUESERVE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CROW CANYON PLAZA HQ
2010 CROW CANYON PL STE 100
SAN RAMON, CA 94583


EVALUESERVE INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CROW CANYON PLAZA (HQ)
2010 CROW CANYON PLACE
SUITE 100
SAN RAMON, CA 94583


EVANGELIST, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EVANGELISTO, LEWIS AUGUST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EVANS, ANN T                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, ANN T, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES T EVANS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EVANS, BARBARA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARENCE MCNEILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, BETTY J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVANS, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EVANS, CARLETTA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES L RIDENOUR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, CHRISTOPHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EVANS, CLAUDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, DALE A, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL FORBECK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


EVANS, DEBBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


EVANS, DEBRA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OLAN R EVANS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, DWELLA A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL EVANS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, EMIL F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

EVANS, GROVER EARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


EVANS, HENRY M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EVANS, JERRY DUANE, SR. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


EVANS, JOHN B                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EVANS, JOHN L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, JOHN L.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, JOHN W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EVANS, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVANS, KENNETH C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EVANS, MARC D, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J EVANS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, MELVIN H, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, MICHAEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, PENNY J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVANS, RALEIGH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALEIGH EVANS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVANS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EVANS, WAYNE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


EVANS, WILLIAM E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVANS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EVANSTON INSURANCE CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE AMERICAN PLAZA
EVANSTON, IL 60201


EVARTS, ELLSWORTH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EVASKIS, CHRISTOPHER J, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS EVASKIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVCO PARTNERS LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA BURGOON COMPANY
PO BOX 1168
GALVESTON, TX 77553


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6949 LEGION ROAD
CASEVILLE, MI 48725


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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Name of Counterparty                                                                                            Nature

EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


EVENHEAT KILN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


EVERARD, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVERETT, DOYLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVERETT, TYREE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EVERGREEN HELICOPTERS INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 ELM STREET
DALLAS, TX 75201


EVERITT, DOUGLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVERLINE, WILLIE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EVERMAN INDEPENDENT SCHOOL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


EVERMAN ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
608 TOWNLEY DRIVE
EVERMAN, TX 76140


EVERMAN, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


EVERSON, STEVEN NEAL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EVOLVE RESEARCH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
825 N BROADWAY STE 210
OKLAHOMA CITY, OK 73102


EVONIK DEGUSSA INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2401 DOYLE ST.
GREENSBORO, NC 27406-2911


EVOQUA WATER TECHNOLOGIES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 TECHNOLOGY DRIVE
LOWELL, MA 01851


EWELL, MARK H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EWERT, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EWING, BILLY C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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Name of Counterparty                                                                                             Nature

EWING, FRANK L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


EWING, JOHN D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EWING, KEITH R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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EWING, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EX FM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AHMUTY DEMERS & MCMANUS, ESQS
200 I.U. WILLETS RD
ALBERTSON, NY 11507


EX FM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE CREATION NETWORK INC.
15 NORTH MILL STREET
NYACK, NY 10960


EXCEL CARBON & ALLOY CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4545 BRITTMOORE
HOUSTON, TX 77041


EXCEL FOUNDRY AND MACHINE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 19283
PALATINE, IL 60055-9283


EXCELON FKA COMMONWEALTH EDISON                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EXCO RESOURCES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 870849
MESQUITE, TX 75187-0849




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Name of Counterparty                                                                                             Nature

EXELON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: INVESTMENT RECOVERY 6TH FL
THREE LINCOLN CENTER
OAKBROOK TERRACE, IL 60181


EXELON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRENDAN K. COLLINS
BALLARD SPAHR, LLP
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


EXELON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


EXELON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 805398
CHICAGO, IL 60680-5398


EXELON CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT BRUCE MCKINSTRY, JR.
BALLARD SPAHR, LLP
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


EXELON GENERATION COMPANY, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(F/K/A CONSTELLATION ENERGY COMMODITIES GROUP, INC.)
100 CONSTELLATION WAY, SUITE 600C
ATTN: MARGIN COLLATERAL
BALTIMORE, MD 21202-4040


EXETER FINANCE CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT J. REAGAN
REAGAN & MCLAIN
6060 N. CENTRAL EXPY, SUITE 690
DALLAS, TX 75206-5281


EXIDE CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARI LEVINE, ASS'T GENERAL COUNSEL
READING, PA 19601


EXLINE, JIMMY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

EXNER, JOEL H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


EXNER, LISA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EXPERIAN INFORMATION SERVICES LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
955 AMERICAN LANE
SCHAUMBURG, IL 60173


EXPERIAN INFORMATION SOLUTIONS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
475 ANTON BLVD
COSTA MESA, CA 92626


EXPERIAN INFORMATION SOLUTIONS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9701
ALLEN, TX 75013


EXPERIAN INFORMATION SOLUTIONS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
PO BOX 886133
LOS ANGELES, CA 90088-6133


EXPERIAN INFORMATION SOLUTIONS, INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FRANKGECKER LLP
ATTN: JOSEPH D. FRANK
325 N LASALLE ST, STE 625
CHICAGO, IL 60654


EXPERIAN                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 881971
LOS ANGELES, CA 90088-1971


EXPLORER PIPELINE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 250
TULSA, OK 74101


EXPLOSIVE PROFESSIONALS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1885
HUMBLE, TX 77347




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

EXPRESS CLEANING SERVICES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14877 HWY 110 S
WHITEHOUSE, TX 75791


EXPRESS CLEANING SERVICES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14877 HWY 1105
WHITEHOUSE, TX 75791


EXTREME REACH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 SECOND AVE STE 720
NEEDHAM, MA 02494


EXXON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAYTOWN CHEMICAL PLT.
13501 KATY FRWY.
HOUSTON, TX 77532


EXXON CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EXXON MOBIL CORP.
5959 LAS COLINAS BLVD.
IRVING, TX 75039-2298


EXXON MOBIL CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


EXXON MOBIL CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
STEVEN BERT BESHORE
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


EXXON MOBIL CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICE C
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


EXXON MOBIL CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & BELL LTD
HOWARD P MORRIS
33 W MONROE ST, SUITE 2700
CHICAGO, IL 60603




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & BELL, LTD.
DAVID FRANCIS FANNING
33 W MONROE 2700
CHICAGO, IL 60603


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3225 GALLOWS ROAD
FAIRFAX, VA 22037


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5959 LAS COLINAS BLVD.
HOUSTON, TX 77002


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5959 LAS COLINAS BLVD.
IRVING, TX 75039


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KYLE HARRIS
16825 NORTHWEST DRIVE
HOUSTON, TX 77060


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ROCHELLE M.OZWIAK
800 BELLS STREET
HOUSTON, TX 77002


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
S SHAYNE GARDNER
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY D. ELLISTON, DEHAY &
ELLISTON LLP, BANK OF AMERICA PLAZA
BUILDING, 901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KYLE C. KNEESE
PO BOX 30020
AMARILLO, TX 79120


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KYLE HARRIS,AGENT
601 JEFFERSON ST. ROOM 1221
HOUSTON, TX 77002


EXXON MOBIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHEN SHAYNE GARDNER
DEHAY & ELLISTON LLP
901 MAIN ST.
DALLAS, TX 75202


EXXONMOBIL OIL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


EXXONMOBIL OIL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


EXXONMOBIL OIL CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


EXXONMOBIL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5959 LAS COLINAS BOULEVARD
IRVING, TX 75039-2298


EY, CHERYL L, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE L EY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EYLER, RONALD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

EYSTER, LOY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARLIN L EYSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


EZE, MOSES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


EZYK, LARRY M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


F B C O INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE P. PAPPAS
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


F E MORAN INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHS
2265 CARLSON DRIVE
NORTHBROOK, IL 60062


F E MORAN INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPECIAL HAZARDS SYSTEMS
2265 CARLSON DRIVE
NORTHBROOK, IL 60062


F E MORAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1222 GREEWAY DR
ALLEN, TX 75002


F.B. WRIGHT COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 INDUSTRIAL PARK DRIVE
OAKDALE, PA 15071


F.E. HILL CO., LLP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 226
300 S. KEECHI
FAIRFIELD, TX 75840




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Name of Counterparty                                                                                            Nature

FABIN, FRANK M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FABRE, CONSTANCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FABRIZIO, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FABULA, SYLVESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FABYAN, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FACENDA, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FACHKO, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FACILITY SOLUTIONS GROUP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952143
DALLAS, TX 75395-2143


FAFALIOS, EMMANUEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

FAGAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FAGEN, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAGGART, BILLY MAC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAGUNDO, GUSTAVE P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAHEY, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAHEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAHEY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAHEY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAHNESTOCK, WILLIAM R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FAHY, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE EARLY LAW FIRM
ATTN: ETHAN EARLY
360 LEXINGTON AVE., 20TH FLOOR
NEW YORK, NY 10017


FAIL, CRYSTAL MIKULEC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAILING, JOHN I                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FAILLONE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FAIN, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


FAINER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAIR HARBOR CAPITAL, LLC AS ASSIGNEE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF ARGO INTERNATIONAL CORP
PO BOX 237037
NEW YORK, NY 10023


FAIR HARBOR CAPITAL, LLC AS ASSIGNEE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF D&B PARTS CORPORATION
PO BOX 237037
NEW YORK, NY 10023


FAIR HARBOR CAPITAL, LLC AS ASSIGNEE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF DIAMOND SYSTEMS
PO BOX 237037
NEW YORK, NY 10023




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FAIR HARBOR CAPITAL, LLC AS ASSIGNEE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF MIRRION TECHNOLOGIES (MGPI) INC.
PO BOX 237037
NEW YORK, NY 10023


FAIRBANKS MORSE PUMP COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3601 FAIRBANKS AVE
KANSAS CITY, KS 66106


FAIRBANKS MORSE PUMP COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARTURO M. AVILES
SEGAL, MCCAMBRIDGE, SINGER & ,
MAHONEY, LTD, 100 CONGRESS AVE, STE 800
AUSTIN, TX 78701


FAIRBANKS MORSE PUMP COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARY IRA SCHACHTER, LAURIE FAY,
RAYMOND P. HARRIS, SCHACHTER HARRIS LLP
220 CANAL CENTRE, 400 E LAS COLINAS BLVD
IRVING, TX 75039


FAIRBANKS MORSE PUMP COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELISSA K. FERRELL
400 W 15TH ST
AUSTIN, TX 78701


FAIRBANKS MORSE PUMP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHACHTER HARRIS LLP
CARY SCHACTER RAY HARRIS
600 N PEARL, LB 133, SUITE 2300
DALLAS, TX 75201


FAIRBANKS MORSE PUMP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


FAIRBANKS VALVES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



FAIRBANKS VALVES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD, PLLP
1001 HIGHLANDS PLAZA DR WEST SUITE 400
ST. LOUIS, MO 63110




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Name of Counterparty                                                                                          Nature

FAIRBANKS VALVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN PC-PEORIA
124 S.W. ADAMS ST., STE 600
CHASE BUILDING,
PEORIA, IL 61602


FAIRCHILD CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1750 TYSONS BLVD., SUITE 530
MCLEAN, VA 22102


FAIRCHILD, PRICE, THOMAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAIRCLOTH, ROBERT E.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAIRFIELD CHAMBER OF COMMERCE OF                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FAIRFIELD TEXAS
PO BOX 899
FAIRFIELD, TX 75840


FAIRFIELD FENCE SERVICE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 COUNTY ROAD 1090
STREETMAN, TX 75859


FAIRFIELD HOSPITAL DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
734 W COMMERCE ST
FAIRFIELD, TX 75840


FAIRFIELD ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
615 POST OAK RD
FAIRFIELD, TX 75840


FAIRHURST, LEONA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAIRLESS, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FAIRLEY, CHRISTOPHER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAIRWAY SPORTS VEHICLES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1220 N ROBERTSON ROAD
SALADO, TX 76571


FAIRWAY SUPPLY INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 678178
DALLAS, TX 75267-8178


FAITH COMM. HOSP. DIST.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
717 MAGNOLIA ST
JACKSBORO, TX 76458


FAKE, WILBUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALANGA, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALAPPI, DANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FALARDEAU, DONALD R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FALBO, ALEXANDER R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FALBO, SANTO A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FALCON CREEK ENTERPRISES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REED & SCARDINO LLP
ATTN: ROLA DAABOUL
301 CONGRESS AVE, STE 1250
AUSTIN, TX 78701


FALCON, STEPHANIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FALDUTO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALES, WALTER J , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOLITA A FALES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FALES, WALTER J , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER J FALES SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FALK CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3001 WEST CANAL STREET
MILWAUKEE, WI 53208


FALK, EDWIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FALKENBERG CONSTRUCTION CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4850 SAMUELL BLVD
MESQUITE, TX 75149




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Name of Counterparty                                                                                             Nature

FALKENBERG CONSTRUCTION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4850 SAMUELL BLVD
MESQUITE, TX 75149-1025


FALLIN, BUSTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALLS CO. RFD #1                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 59
TAX COLLECTOR
MARLIN, TX 76661


FALLS COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LINDA WATKINS, COUNTY CLERK
PO BOX 458
MARLIN, TX 76661


FALLS OF WEST OAKS LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FALLS OF WEST OAKS APARTMENT
5850 PARKFRONT DR 2ND FLOOR
HOUSTON, TX 77036


FALTZ, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FALVEY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FALZARANO, JOHN P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FALZON, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

FANBER, DANIEL C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FANDL, MARK H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FANN, CARL EDGAR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FANNIN COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FANNIN COUNTY COURTHOUSE
101 E. SAM RAYBURN DRIVE, #102
BONHAM, TX 75418


FANTOZZI, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARAONE, KAREN LEE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY J FARAONE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FARBER, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FARCHIONE, CONSTANTINO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FARCHIONE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FARELL, CHARLES EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FARETTA, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARINA, DAWN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FARINA, ESTATE OF JOSEPH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FARINA, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARINA, NANCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FARINA, NICOLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FARINETTI, CHARLES J, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FARINETTI, FRANK J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FARINETTI, LAWRENCE E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                         Nature

FARISS, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FARLEY, BRITTANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARLEY, MICHAEL KEITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FARLEY, ZACHARIAH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARM BUREAU LIFE INS. CO. OF MICHIGAN                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
ST PAUL, MN 55101


FARMER FOUNDATION COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
908 TOWN & COUNTRY BLVD
SUITE 602
HOUSTON, TX 77024


FARMER, CHESTER L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FARMER, FLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARMER, HAIRMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARMER, JOHNNY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

FARMERS BRANCH, CITY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13000 WILLIAM DODSON PARKWAY
FARMERS BRANCH, TX 75234


FARMILETTE, MICHAEL J                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARNAN, JAMES F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARNON, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARNSWORTH, ARTHUR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARONE, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARONE, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAROUK SYSTEMS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 PENNBRIGHT DRIVE
HOUSTON, TX 77090


FARR, GERALDINE G.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

FARRAN, ROBERT E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FARRAR, JULIUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARRAR, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARRELL, DUDLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FARRELL, DWAYNE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARRELL, HARRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARRELL, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARRELL, MICHAEL T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FARRELL, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FARRER, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARRINGTON, J.S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FARRIS ENGINEERING CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10195 BRECKSVILLE RD
CLEVELAND, OH 44141


FARRIS, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FARROW BUSH, JUDY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


FARROW, ELIZABETH M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JULIUS R FARROW JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FARRUGGIA, THOMAS R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FARRY, THOMAS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FARVER, JAMES L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY A FARVER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FASANO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FASANO, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FASCIANA, ELIZABETH M.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FASCIANA, SALVATORE (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FASCIANO, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FAS-LINE FLUID SERVICES LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203187
DEPT 18705
DALLAS, TX 75320


FAS-LINE FLUID SERVICES LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203187
DEPT 18705
DALLAS, TX 75320


FASOLO, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FASONE, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FASONE, STEPHEN, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                      ENERGY FUTURE HOLDINGS CORP., et al.

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                                               Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                    Nature

FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1113 E. AUSTIN ST.
GIDDINGS, TX 78942


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1319 S 7TH ST
CORSICANA, TX 75110


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1613 W CAMERON
ROCKDALE, TX 76567


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1810 W FERGUSON
MOUNT PLEASANT, TX 75455


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1904 S. TEXAS AVE.
BRYAN, TX 77802


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 THEURER BLVD
WINONA, MN 55987


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2427B WEST 42ND ST.
ODESSA, TX 79764


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3010 E JEFFERSON BLVD
GRAND PRAIRIE, TX 75051


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3539 IRVING BLVD
DALLAS, TX 75247


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 N EASTMAN RD
LONGVIEW, TX 75601


FASTENAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
552 N LOOP 340
BELLMEAD, TX 76705




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FASTENAL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 W. MILAM STREET
MEXIA, TX 76667


FASTENAL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 STATE HWY 64 WEST
HENDERSON, TX 75652


FASTENAL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
948 GILMER ST
SULPHUR SPRINGS, TX 75482


FASTENAL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1286
WINONA, MN 55987-1286


FASTENAL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 978
WINONA, MN 55987-0978


FATULA, KIMBERLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAUCHER, MARCEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAUGHN, DOYLE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAUL, GARY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAULCONER, SONYA L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS A FAULCONER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FAULK, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAULKENBERRY, CAROL B.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAULKENBERRY, JEANETTE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAULKENBERRY, PAUL BRUCE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAULKNER CONTRACTORS, INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 ODDO STREET
HOUSTON, TX 77022


FAULKNER, BOBBY R & GAYLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAULKNER, EMERY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAULKNER, JAMES JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FAULKNER, MYRA V, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM FAULKNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FAULKNER, RUBIE NELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

FAULL, ROBERT K                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FAULTERSACK, DAVID                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAULTERSACK, JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAUNCE, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAUNCE, VIRGIL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAUSKE & ASSOCIATES LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 534774
ATLANTA, GA 30353-4774


FAUSPHOUL, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAUST, BOBBI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAUST, CURTIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FAUST, JOANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAUST, LEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAUST, RONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVALORA, CORI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVALORA, GREGORY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVARO, ELIZABETH LAWSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVATA, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FAVILL FUNDING INTEREST LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FLAMINGO TERRACE APTS LLC
7430 SCHULLER
HOUSTON, TX 77093


FAVORITE, KAREN A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAVORITE, ROBERT W.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAVORS, CHARLES D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVORS, JEREMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAVORS, JESSIE C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FAVORS, JOE RAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAVORS, LARRY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FAWCETT, ROSENDA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAY, EDWARD--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FAY, JOHN F--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FAY, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAY, WANDA L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FAZI, VALENTINO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAZIO, JOHN A., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FAZZINA, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FAZZINI, MICHAEL P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FBCO, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE P. PAPPAS
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010-1014


FCC ENVIRONMENTAL LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 674156
DALLAS, TX 75267-4156


FCX PERFORMANCE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PIERCE PUMP
9010 JOHN W CARPENTER FRWY
DALLAS, TX 75047


FE MORAN INC SPECIAL HAZARD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2265 CARLSON DRIVE
NORTHBROOK, IL 60062


FE MORAN, INC. SPECIAL HAZARD SYSTEMS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2265 CARLSON DR
NORTHBROOK, IL 60062-6705


FEAGLEY, RONALD, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL S FEAGLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEARS DECEASED, JAKE H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEARS DECEASED, JAKE H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEARS, HOMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEATENBY, ROBERT H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEATHER LITE PRECAST CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 425
FORT WORTH, TX 76101




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

FEATHER, KLARA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E FEATHER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEATHERSTON, JAMES L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FEATHERSTON, REX                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FEAZELL, PAUL J. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FEC LEQUIDATION, INC (FORNEY ENGINEERING COMPANY)                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16479 N DALLAS PARKWAY
STE 600
ADDISON, TX 75001


FEC LIQUIDATION,INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS MAZZA,VP,AGENT
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809


FECHTIG, VICTORIA A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FECHTMAN, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FECO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 UNIVERSITY DRIVE
FURNACE, PA 15456


FECTEAU, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FEDDER, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDERAL CARTRIDGE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 EHLEN DRIVE.
ANOKA, MN 55303


FEDERAL MOGUL ASBESTOS PERSONAL INJURY TRUST                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FEDERAL MOGUL ASBESTOS PERSONAL INJURY TRUST                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRUST
WILMINGTON TRUST SP SERVICES INC
1105 N MARKET ST 13TH FL
WILMINGTON, DE 19801


FEDERAL MOGUL ASBESTOS PERSONAL INJURY TRUST                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8401
WILMINGTON, DE 19899-8401


FEDERAL MOGUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26555 NORTHWESTERN HIGHWAY
SOUTHFIELD, MI 48033


FEDERAL PACIFIC ELECTRIC CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 REGAL ROW
DALLAS, TX 75247


FEDERAL PACIFIC ELECTRIC CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHALLENGER ELECTRICAL EQUIPMENT CORP
508 LAP ROAD
MALVERN, PA 19355


FEDERER, CARL L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FEDERLINE, STEVEN P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FEDI, BERNARD C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEDORI, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, ANDREW M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, EDWARD A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, ERIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, JUDITH A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, LAURIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEDORKO, LYNNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEE, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FEEDBACK PLUS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2222 W SPRING CREEK PKWY #114
PLANO, TX 75023


FEEDBACK PLUS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5757 ALPHA ROAD STE 100
DALLAS, TX 75240


FEELEY, HEATHER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FEELEY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEELEY, PATRICK S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEENEY, EVANA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J FEENEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEENEY, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FEENEY, THOMAS M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEERICK, MICHAEL V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FEGELY, MARELLEN H, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROY E FEGELY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEGYAK, MICHAEL B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FEHLE, JOAN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT G FEHLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEHLMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FEHR BROS INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
895 KINGS HWY
SAUGERTIES, NY 12477


FEHRENBACH, LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FEICHTINGER, DENNIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FEIN, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FEIST, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FELBER, HENRY JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FELDER, EUNICE, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ISAAC FELDER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FELDMANN, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FELICIANO VILLEGAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6534 FM 225 S
HENDERSON, TX 75654


FELICIANO, SAMUEL COLON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FELIX PARKER III & MIKE CARLSON MOTOR CO                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7513 GARNET LN # 308
FORT WORTH, TX 76112




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

FELIX, DAVID M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FELIX, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FELLOWS, MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FELT PRODUCTS MFG CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7450 NORTH MCCORMICK BLVD.
SKOKIE, IL 60076


FELTON, DAVID WILLIAM                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FELTON, DAVID WILLIM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FENICLE, MARK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FENICLE, MARK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FENICLE, SHIRLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FENICLE, SHIRLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FENN, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FENNELL, ERNEST EDWIN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FENOC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3687
AKRON, OH 44309-3687


FENOFF, CRAIG W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FENOGLLIO, WALTER D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FENTON, DENNIS A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


FENUCCIO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FENUCCIO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FENWICK, BARBARA ANN, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS DICKERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEOLA, NEAL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FEOLE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FERENCIK, BERNARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERENCIK, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERGUSON ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FERGUSON WATERWORKS #1105
PO BOX 847411
DALLAS, TX 75284-7411


FERGUSON ENTERPRISES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 976
PALESTINE, TX 75802


FERGUSON, BARNEY L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERGUSON, FAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, FAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, JERRY B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, JOHN MARTIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FERGUSON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FERGUSON, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, MICHAEL WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERGUSON, REGINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERGUSON, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERGUSON, ROBERT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, ROBERT DARWIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FERGUSON, ROBERT F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERGUSON, TOMMIE WAYNE (DECEASED)                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERGUSON, WILLIAM BRENT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

FERKO, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERLAND CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FERNANDEZ, ALBERTO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


FERNANDEZ, ALFREDO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERNANDEZ, BLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERNANDEZ, FRANK J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERNANDEZ, JOSE F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERNHABER, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERO ENGINEERING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6060 PARKLAND BLVD.
MAYFIELD HEIGHTS, OH 44124




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Name of Counterparty                                                                                           Nature

FERRADA JARA, PEDRO ENRIQUE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERRAIOLO, JACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRANTE, PASQUALE S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERRANTELLI, GILDO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRARA, ALFRED J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FERRARA, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRARA, ROBERT V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERRARA, SAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERRARI, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FERRARO, DOMINIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FERRARO, DONALD V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERRARO, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRAVANTI, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERREE, NORMA JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO FLOYD GAROFOLO
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


FERREE, NORMA JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JOHN FERREE
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


FERRELL, BRIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FERRELL, CLAYTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FERRELL, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


FERRELL, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FERRER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FERRERI, SALVADOR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRERO, AMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FERRETTI, ALEXANDER D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERRETTI, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FERRI, BERNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


FERRICK, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FERRIGNO, ANGELO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERRIGNO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FERRIS KIMBALL COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 FAIRFAX TRAFFICWAY
KANSAS CITY, KS 66115


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6060 PARKLAND BLVD
MAYFIELD HEIGHTS, OH 44124


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6060 PARKLAND BLVD.
MAYFIELD HEIGHTS, OH 44124


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
1300 E NINTH STREET
CLEVELAND, OH 44114


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
145 BAKER STREET
MARION, OH 43302


FERRO ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS
1300 E NINTH STREET
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FERRO ENGINEERING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN ANDREW LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701


FERRO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERRON, JOHN B, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERRUCCI, LUCIANO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERTAL, DENNIS G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FERTIK, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FERZOCO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FERZOCO, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FESTA, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FETTERS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FEUCHT, AUGUST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FEUCHT, STEPHEN P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FEUDALE, JOSEPH, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FEULING, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FEY, EDWARD M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FFG ENTERPRISES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16691 CO RD 221
FORNEY, TX 75126


FHIMA, EILEEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FIALA, HARVEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FIALA, PETER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIALKOWSKI, ANTHONY F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FIASCONARO, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIBERFAB US                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
52745 DRAFTER RD.
LA PINE, OR 97739


FIBREBOARD CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 ROSS AVENUE, SUITE 3600
DALLAS, TX 75201


FICKAS, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FICKE, CHARLES C , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILBUR E FICKE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FICKLING, TALMADGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FICO, PASQUALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIDDESOP, DENISE A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROY FIDDESOP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FIDRYCH, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIELD FORMS & PROMOTIONS LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5158
WACO, TX 76708


FIELD, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIELD, LAWRENCE W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FIELDER, WILLIAM A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FIELDS, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIELDS, GARY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FIELDS, MARY R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARDEN A FIELDS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FIELDS, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIELDS, PATRICIA CUMMINGS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPOUSE OF CLAIMANT
NO ADDRESS PROVIDED


FIELDS, ROMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIELDS, WELTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIELDS, WINFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIERRO, BRUNO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIGG, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIGUEROA, JUANA SANCHEZ                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIGUEROA, LUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FIGUEROA, MARTINA PAZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIGUEROA, NATALIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIGUEROA, PABLO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIGURA , THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FIKE, GERALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FILAKOVSKY, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FILARDI, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FILARDI, VINCENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FILE, RUSSELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FILIPAS, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

FILIPPONE, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FILLA, JOAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FILLA, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FILTAIR COMPANY, THE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 W. FORK
ARLINGTON, TX 76012


FIMPLE, JAMES RAY, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FIMPLE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINA, MICHAEL C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINANCIAL ADJUSTMENT BUREAU                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
705 E. ABRAM STREET, SUITE 101
ARLINGTON, TX 76010


FINCH, DANIEL K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FINCH, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINCH, RUBY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

FINCH, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINCH, WILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINCHER, ANN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINCHER, KEVAN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


FINCHER, LUCIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINCHER, NOEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FINCHER, TERESA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FINCK, STEVEN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS S FINCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FINEAGAN, CARROLL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FINER, DANIEL M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FINK, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FINK, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINK, TATIANA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINLEY, EMERY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FINLEY, JACQUELINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINLEY, KENNETH LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINN, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FINN, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINNEGAN, GARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FINNEGAN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FINNERAN, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FINNERTY, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FINNERTY, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FINNESSEY, SAMUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIN-TECH INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5003 MOSS HOLLOW
HOUSTON, TX 77018-1921


FIORE, GENNARO L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FIORENZA, VICTOR, III, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR FIORENZA JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FIORICA, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FIQUE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


FIRE BRICK ENGINEERS CO INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3219 SNELLING AVE
MINNEAPOLIS, MN 55406


FIRE PROTECTION SYSTEMS CO INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
THE NEMOURS BUILDING
1007 NORTH ORANGE STREET SUITE 501
WILMINGTON, DE 19801


FIREHOST INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2360 CAMPBELL CREEK BLVD STE 525
RICHARDSON, TX 75082


FIREMAN'S FUND INSURANCE CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LATENT INJURY UNIT
777 SAN MARIN DRIVE
NAVATO, CA 94998


FIRESIDE ENTERPRISES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2622
IRVING, TX 75061


FIRESTONE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHERYL R. JOHNSON
50 CENTURY BOULEVARD
NASHVILLE, TN 37214


FIRETROL PROTECTION SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2134-C ANTHONY DRIVE
TYLER, TX 75701


FIRETROL PROTECTION SYSTEMS, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 W CHANDLER BLVD
SUITE #15-385
CHANDLER, AZ 85224




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FIRMENT, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FIRST ADVANTAGE LNS SCREENING                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOLUTIONS INC
LEXISNEXIS SCREENING SOLUTIONS
PO BOX 742576
ATLANTA, GA 30374-2576


FIRST AVENUE REALTY,INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12700 PARK CENTRAL SUITE 610
DALLAS, TX 75251


FIRST ENERGY CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
76 SOUTH MAIN ST
AKRON, OH 44308


FIRST ENERGY NUCLEAR OPERATING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
76 SOUTH MAIN ST
AKRON, OH 44308


FIRST PREMIER BANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 SOUTH MINNESOTA AVENUE
SIOUX FALLS, SD 57104


FIRST STATE INS. CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
60 BATTERYMARCH
BOSTON, MA 02110


FIRST TEXAS HOMES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 CRESCENT CT STE 350
DALLAS, TX 75201-7854


FIRST UNION RAIL CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CAROLINE A. STEAD
6250 RIVER ROAD, SUITE 5000
MAC N2806-050
ROSEMONT, IL 60018


FISCHBACH & MOORE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
74 LAWLEY ST
BOSTON, MA 02122




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FISCHBACH & MOORE INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
74 LAWLEY ST
DORCHESTER, MA 02122


FISCHER, EDWARD A, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FISCHER, GLENN STEVEN, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN H FISCHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISCHER, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FISCHER, JOSEPH E, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISCHER, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISCHER, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISCHER, WILLIAM B.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISCHL, RUDOLPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISERV INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 99924
GRAPEVINE, TX 76099-9724




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FISERV                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
255 FISERV DR
BROOKFIELD, WI 53045-5815


FISH ENGINEERING & CONSTRUCTION INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
G. BYRON SMITH
1990 SOUTH POST OAK RD
HOUSTON, TX 77027


FISH, BENJAMIN W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


FISH, BENJAMIN, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FISH, DAVEY G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISH, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISH, RANDLE E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHBURN, ALVIE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FISHEL, ALFRED H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISHER (GOLDMAN), ILA K. (KEY)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FISHER CONTROLS AND/OR IVS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VINSON PROCESS CONTROLS
2747 HIGHPOINT OAKS DRIVE
LEWISVILLE, TX 75067


FISHER CONTROLS INTERNATIONAL LLC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOSEPH MIKSCHE
8000 NORMAN CENTER DR., SUITE 1200
BLOOMINGTON, MN 55437


FISHER CONTROLS INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4725 HIGHWAY 75 SOUTH
SHERMAN, TX 75090


FISHER CONTROLS INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LLC
22737 NETWORK PLACE
CHICAGO, IL 60673-1227


FISHER SAFETY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 PARK LANE
PITTSBURGH, PA 15275-1104


FISHER SCIENTIFIC COMPANY LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 INDUSTRY DR
PITTSBURGH, PA 15275-1001


FISHER SCIENTIFIC COMPANY LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4500 TURNBERRY DR STE A
HANOVER PARK, IL 60133


FISHER SCIENTIFIC COMPANY LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GARY BARNES
300 INDUSTRY DR
PITTSBURGH, PA 15275


FISHER SCIENTIFIC COMPANY LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAPITOL CORPORATE SERVICES INC
222 E DUNKLIN STE 102
JEFFERSON CITY, MO 65101


FISHER SCIENTIFIC COMPANY LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REEG LAWYERS, LLC
KURTIS BRADFORD REEG
1 N BRENTWOOD BLVD, SUITE 950
ST LOUIS, MO 63105




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Name of Counterparty                                                                                           Nature

FISHER SCIENTIFIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 404705
ATLANTA, GA 30384-4705


FISHER, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISHER, DANNY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FISHER, DONALD G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISHER, EMERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISHER, GARY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FISHER, GERALD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FISHER, HAROLD R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

FISHER, HERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, ILA K GOLDMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FISHER, JAMES ALBERT, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FISHER, JOHN V, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARVIN V FISHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISHER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISHER, LARRY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FISHER, LINDA K, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY FISHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISHER, LOWELL C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, MURIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

FISHER, ROBERT JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHER, ROBERT S., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FISHER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FISHER, SUSAN CAROL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FISHPAW, LEE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERBERT L FISHPAW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FISK, CALVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITCH, CHRISTOPHER M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN K FITCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITCH, LINGARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITCH, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FITCH, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITCH, WILLIAM AND GLENDA FITCH                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FITCHETT, WILLIAM C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FITE, KATHI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FITTING VALVE & CONTROL CORP. (BY SQUIBB-TAYLOR)                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10480 SHADY TRAIL
SUITE 106
DALLAS, TX 75220


FITTING VALVE & CONTROL CORP.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PRECISION GENERAL INC.
16101 VALLEN
HOUSTON, TX 77041


FITTING, VALVE & CONTROL CORP./                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACK POTTS,AGENT
SQUIBB-TAYLOR,INC.
DALLAS, TX 75354


FITZGERALD, DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITZGERALD, HAROLD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FITZGERALD, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FITZGERALD, MALORY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITZGERALD, PATRICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FITZGERALD, ROBERT A, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNIS L FITZGERALD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITZGERALD, ROBERT L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FITZGERALD, TOMMIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


FITZGERALD, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITZGIBBON, GERALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITZGIBBON, PATRICK A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FITZGIBBON, PATRICK A.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FITZHUGH, JOSEPH T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FITZPATRICK, EDWARD F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FITZPATRICK, JONATHAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FITZPATRICK, JOSEPH F.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FITZPATRICK, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITZPATRICK, KELLY, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM C FITZPATRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITZPATRICK, LARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FITZPATRICK, MARY A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR SNYDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FITZPATRICK, MICHAEL A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FITZPATRICK, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FITZPATRICK, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FITZSIMONDS, BRIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FIVE HOUSTON CORNERSTONE LTD                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9550 LONG POINT RD
HOUSTON, TX 77055


FIVE STAR COLLISION CENTER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 110098
CARROLLTON, TX 75011


FIX, NORMAN E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FJ MANAGEMENT INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
185 SOUTH STATE STREET, SUITE 201
SALT LAKE CITY, UT 84111-1561


FL SMIDTH INC - AFT DIVISION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
715 N BELAIR RD
EVANS, GA 30809


FLACK, MARY, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT L FLACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLAGGE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLAHERTY, MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FLAHERTY, RICHARD L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FLAK, STANLEY F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FLAKKER, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLAMISH, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLANAGAN, GEORGE, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLANAGAN, JAMES J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FLANAGAN, JAMES P--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FLANAGAN, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLANAGAN, RONALD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLANAGAN, THOMAS L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FLANARY, LARRY E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLANDERS ELECTRIC INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 W HARRISON ROAD
LONGVIEW, TX 75604


FLANDERS ELECTRIC LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 97
WHITE OAK, TX 75693


FLANIGAN, JOHN C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


FLANNERY, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLANNIGAN, ROB                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLANSBURG, MILES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLASHNICK, RYAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLATER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLECK, GLORIA F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLECK, JACK J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLECK, PHILIP C, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLECK, TERRANCE L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLEDDERMAN, ARTHUR P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLEEGAL, MARGARET, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L FLEEGAL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEET BODY EQUIPMENT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 NW HARLEM RD
KANSAS CITY, MO 64116-4288


FLEET BODY EQUIPMENT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3699 N BOOTH AVE
KANSAS CITY, MO 64161-8302


FLEET, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLEETWATCHER LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
710 E 64TH STREET
INDIANAPOLIS, IN 46220


FLEETWATCHER LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8727 COMMERCE PARK PL STE A
NEW AUGUSTA, IN 46268-3332




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FLEISCHMANN, MARY ANN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEISCHMANN, NICHOLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEISHMAN, JANET, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E FLEISHMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEMING, DAMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FLEMING, FREIDA M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


FLEMING, GEORGE I.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLEMING, HORACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLEMING, JAMES AND PRATICIA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


FLEMING, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLEMING, JOAN SYVONNE DECEASED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FLEMING, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLEMING, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLEMING, ROBERT M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FLEMING, SANDRA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH M CIAMPAGLIO SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEMING, THOMAS H. DECEASED                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FLEMING, WALTER E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLESBERG, WENDELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FLETCHER, ARMER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLETCHER, EDDIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLETCHER, HOMER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLETCHER, JACKSON DOUGLAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLETCHER, NORMAN N, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLETCHER, PHILLIP N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLETCHER, ROBERT G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FLETCHER, TERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLETCHER, WARREN D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLEXCO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2915 E WASHINGTON BLVD.
LOS ANGELES, CA 90023




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLEXITALLIC GASKET COMPANY, INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
PAUL HAMILTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


FLEXITALLIC INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 DEARS RD-790
HOUSTON, TX 77067


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID R SIDNEY
5701 MANCHESTER AVE
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5701 MANCHESTER AVENUE
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID R SIDNEY
5701 MANCHESTER AVE
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FLEXO SUPPLY COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


FLEXO SUPPLY COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


FLICK, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FLING, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLINT HILLS RESOURCES LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4111 EAST 37TH STREET N
WICHITA, KS 67220


FLINT HILLS RESOURCES LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4111 EAST 37TH STREET N
WICHITA, KS 67220


FLINT HILLS RESOURCES LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2917
WICHITA, KS 67201


FLINT INK CORP.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FLINT INK NORTH AMERICA CORP.
4600 ARROWHEAD DR.
ANN ARBOR, MI 48105


FLINTKOTE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 EMBARCADERO CTR STE 410
SAN FRANCISCO, CA 94111


FLINTKOTE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS & LIVELY, P.C.
JAMES HARRIS
PO BOX 830
BEAUMONT, TX 77704




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLIPPIN, GARY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOOD, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FLOOD, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORA THOMPSON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PERRY THOMPSON JR IND EXECUTOR
PO BOX 132479
TYLER, TX 75654-2479


FLORA, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORA, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORA, HAROLD R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORA, LAWANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORA, LAWANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORA, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLORA, WADE ORVILLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLORAN, RUDOLPH P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FLORENCE HAJEK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHRISTINA WILLIAMS POA
18200 WESTFIELD PLACE DR #126
HOUSTON, TX 77090


FLORENCE MACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



FLORENCE MILLER ESTATE, DECEASED                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORENCE, EARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORENCE, LESLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORENCE, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORENCE, RICHARD (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLORENTINE, DIANA M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FLORES GARCIA, RAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORES, FLORENCIO L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FLORES, GARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLORES, JAMIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLORES, MACARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLORES, NESTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLORES, ROBIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORES, ROSALINDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLORIAN, KATHLEEN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES R PROBST
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLORIDA POWER & LIGHT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD.
JUNO BEACH, FL 33408


FLORIDA POWER AND LIGHT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD
JUNO BEACH, FL 33408




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

FLORIN, ROLF                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLO-TEX, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3244
IRVING, TX 75061


FLOWER MOUND, TOWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 CROSS TIMBERS RD.
FLOWER MOUND, TX 75028


FLOWER, CHARLES T                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOWER, GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLOWERS, CRAIG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOWERS, DIANA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOWERS, JIMMY C.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLOWERS, THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLOWMATICS INCORPORATED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 E ARAPAHO RD STE 204
RICHARDSON, TX 75081-2445


FLOWSERVE (US) INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
142 CLINTON ROAD
FAIRFIELD, NJ 07004




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Name of Counterparty                                                                                              Nature

FLOWSERVE (US), INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARRINGTON, COLEMAN, SLOMAN & BLUMENTH
RODNEY H LAWSON
901 MAIN STREET, SUITE 5500
DALLAS, TX 75202


FLOWSERVE CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N O'CONNOR BLVD STE 2300
IRVING, TX 75039


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
142 CLINTON ROAD
FAIRFIELD, NJ 07004


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
142 CLINTON ROAD
FAIRFIELD, NJ 07004


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N O'CONNOR BLVD
STE 2300
IRVING, TX 75039


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


FLOWSERVE CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GRAY L SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLOWSERVE CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
JENNIFER MARIE VALENTINO
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JOHN T HIPSKIND
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226




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Name of Counterparty                                                                                           Nature

FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAWSON, RODNEY HALL
CARRINGTON COLEMAN SLOMAN &
BLUMENTHAL LLP, 901 MAIN ST.
DALLAS, TX 75202


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PUMP DIVISION
6840 WYNNWOOD
HOUSTON, TX 77008


FLOWSERVE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAYMOND A. NEUER
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLOWSERVE FSD CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 FACTORY ST
KALAMAZOO, MI 49001


FLOWSERVE PUMP DIVISION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4179 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


FLOWSERVE PUMP DIVISION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEER PARK SERVICE CENTER
2802 EAST 13TH STREET
DEER PARK, TX 77536


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
142 CLINTON ROAD
FAIRFIELD, NJ 07004




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N. O'CONNOR BLVD., SUITE 2300
IRVING, TX 75039


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALL STREET PLAZA, 24TH FLOOR
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, 88 PINE STREET
NEW YORK, NY 10005


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
142 CLINTON ROAD
FAIRFIELD, NJ 07004


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N O'CONNOR BLVD
STE 2300
IRVING, TX 75039


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N O'CONNOR BLVD
STE 2300
IRVING, TX 75309




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FLOWSERVE - RALEIGH
PO BOX 676836
DALLAS, TX 75267-6836


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


FLOWSERVE US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 91329
CHICAGO, IL 60693


FLOWSERVE US INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEGAL/TIFFINEY ROGERS
5215 N. O'CONNER BLVD. SUITE 2300
IRVING, TX 75039


FLOWSERVE US INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5215 N O CONNOR BLVD
STE 2300
IRVING, TX 75039


FLOYD, ELTON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOYD, ERNEST                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOYD, HAYWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FLOYD, KENNETH R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


FLOYD, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLOYD, LAVONNE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FLOYD, MATTHEW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FLOYD, ROBERT LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FLOYD, RONALD D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLOYD, TY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FLSMIDTH AIRTECH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2630
EVANS, GA 30809


FLSMIDTH INC AIRTECH DIVISION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2040 AVENUE C
BETHLEHEM, PA 18017-2188


FLSMIDTH INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2040 AVENUE C
BETHLEHEM, PA 18017


FLSMIDTH INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 200995
PITTSBURGH, PA 15251-0995


FLSMIDTH INC. F/D/B/A FLSMIDTH AIRTECH                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC. A/K/A FLS INC. - AFT DIV
C/O CURTIN HEEFNER/ATTN: R. SZWAJKOS
250 N PENNSYLVANIA AVE
MORRISVILLE, PA 19067


FLSMIDTH KREBS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 3252
PO BOX 123252
DALLAS, TX 75312-3252




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FLSMIDTH SALT LAKE CITY, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN STUART ZELKOWITZ
1 SOUTH WACKER DRIVE
SUITE 2500
CHICAGO, IL 60606-4673


FLSMIDTH SALT LAKE CITY, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FLSMIDTH USA INC. F/D/B/A FLSMIDTH KREBS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CURTIN & HEEFNER LLP
ATTN: ROBERT SZWAJKOS, ESQ.
250 N PENNSYLVANIA AVE
MORRISVILLE, PA 19067


FLSMIDTH USA INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A EXCEL FOUNDARY & MACHINE
C/O CURTIN HEEFNER/ATTN: R. SZWAJKOS
250 N PENNSYLVANIA AVE
MORRISVILLE, PA 19067


FLUCK, RAYMOND A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLUIT, RUTH FARR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLUKE CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 75TH ST SOUTHWEST
EVERETT, WA 98203


FLUKE ELECTRONICS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7272 COLLECTION CENTER DR
CHICAGO, IL 60693


FLUOR CONSTRUCTORS INTERNATIONAL INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
352 HALTON ROAD, SUITE 200
GREENVILLE, SC 29607


FLUOR CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD
IRVING, TX 75039




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD
IRVING, TX 75039


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD.
IRVING, TX 75039


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS & COFFEY PC
KENT M. ADAMS
550 FANNIN, SUITE 800
BEAUMONT, TX 77701


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYER INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENT M. ADAMS
LEWIS BRISBOIS BISGAARD & SMITH LLP
24 GREENWAY PLAZA, SUITE 1400
HOUSTON, TX 77046


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENT M. ADAMS
LEWIS BRISBOIS BISGAARD & SMITH LLP
3355 WEST ALABAMA, SUITE 400
HOUSTON, TX 77098




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


FLUOR DANIEL ILLINOIS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD
IRVING, TX 75039


FLUOR DANIEL SERVICES CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD
IRVING, TX 75039


FLUOR DANIELS MAINTENANCE SERVICES INC.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLUOR DANIELS SERVICES CORP.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLUOR DANIELS WILLIAMS BROTHERS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 FLUOR DANIEL DR
SUGAR LAND, TX 77478


FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 POLARIS WAY
ALISO VIEJO, CA 92698


FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
SERVICE COMPANY
221 BOLIVAR ST
JEFFERSON CITY, MO 65101




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 FLUOR DANIEL DR
SUGAR LAND, TX 77478


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE SERVICE COMPANY D/B/A CSC
LAWYERS INCORPORATING SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701-3218


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
SERVICE COMPANY
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


FLUOR ENTERPRISES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENT M. ADAMS
LEWIS BRISBOIS BISGAARD & SMITH LLP
24 GREENWAY PLAZA, SUITE 1400
HOUSTON, TX 77046


FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 847363
DALLAS, TX 75284-7363


FLUOR ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


FLUOR ENTERPRISES, INC. DBA FLUOR GLOBAL                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES C/O LOCKE LORD LLP
ATTN: PHILIP G. EISENBERG
600 TRAVIS ST, STE 2800
HOUSTON, TX 77002


FLUOR ENTERPRISES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LOCKE LORD LLP
ATTN: PHILIP G. EISENBERG
600 TRAVIS STREET, SUITE 2800
HOUSTON, TX 77002


FLUOR GLOBAL SERVICES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9000 WEST JEFFERSON 609 BLDG 3
DALLAS, TX 75211-9304


FLUOR HOLDING CO. LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLUOR TEXAS INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES L. WARE
SHEEHY WARE & PAPPAS PC
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


FLUOR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6700 LAS COLINAS BLVD.
IRVING, TX 75039




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Name of Counterparty                                                                                            Nature

FLUOR ENTERPRISES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 FLUOR DANIEL DR
SUGAR LAND, TX 77478


FLUOR ENTERPRISES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


FLURY, PETER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLYNN, DAVID NEAL AND CHIEMI FLYNN                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLYNN, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


FLYNN, FLOYD EUGENE, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FLYNN, HAROLD WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLYNN, JAMES J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FLYNN, MARVIN J, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FLYNN, MAUREEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

FLYNN, MAUREEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FLYNN, MICHAEL O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FLYNN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET
PHILADELPHIA, PA 19103


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET
PHILADELPHIA, PA 19103


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION TRUST INCORPORATED
351 WEST CAMDEN STREET
BALTIMORE, MD 21201


FMC CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY D. ELLISTON
DEHAY & ELLISTON LLP
901 MAIN ST.
DALLAS, TX 75202


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY D. ELLISTON, DEHAY &
ELLISTON LLP, BANK OF AMERICA PLAZA
BUILDING, 901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLEY JASONS MCGOWAN SPINELLI
& HANNA LLP
120 WALL STREET, 30TH FLOOR
NEW YORK, NY 10005


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEGAL DEPARTMENT
1735 MARKET STREET
PHILADELPHIA, PA 19103


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


FMC CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FMC CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
SUSAN ELIZABETH RYAN
900 W 48TH PLACE, SUTIE 900
KANSAS CITY, MO 64112


FODERA, SALVATORE F.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FOERSTER, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FOGARTY, DENNIS P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FOGLIA, NICHOLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOLAN, MARTIN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FOLCARELLI, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOLEY & LARDNER LLP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO UMB BANK, INDENTURE TRUSTEE)
ATTN: HAROLD KAPLAN ESQ, MARK HEBBELN ESQ
LARS PETERSON ESQ
321 N CLARK ST STE 2800
CHICAGO, IL 60654-5313


FOLEY, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOLEY, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOLEY, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOLEY, KENZIE D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FOLEY, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FOLEY, MICHELLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOLEY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOLEY, RONALD (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


FOLKER, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOLKMANN, HENRY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOLKS, WILLIAM, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOLLETT, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOLLIS, RONALD H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FOLSOM, DANIEL H. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FOLSOM, IRA CLARENCE, JUNIOR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOLTZ, IVAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOMAN, CECIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FONDREN FORENSICS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 TIBBETS DRIVE
SUITE 102
BEDFORD, TX 76022


FONKEN, ROGER W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FONSECA, JOSE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FONTAINE, WILLIAM E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FONTANA, LOUIS B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FOOD MACHINERY & CHEMICAL CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET
PHILADELPHIA, PA 19013


FOOS, JOHN G , SR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARION BAGINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORAN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORBES, FERRON RAND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORBES, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORBES, ROSCOE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FORBUS, JIM T                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FORD , SAMMIE LEE, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
JEFFERSON CITY, MO 65101


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID WILLIAM YBARRA, ATTORNEY AT LAW
12 WOLF CREEK DR. STE. 100
BELLEVILLE, IL 62226


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE AMERICAN ROAD
KATHERINE MARIE KJOLHEDE, EVP &
GEN. COUN., PO BOX 6248
DEARBORN, MI 48126-2798


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANCHEZ DANIELS & HOFFMAN LLP
MICHELLE ANN FRANZ
333 WEST WACKER DRIVE, SUITE 500
CHICAGO, IL 60606


FORD MOTOR COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAWN M. WRIGHT
THOMPSON & KNIGHT LLP
ONE ARTS PLAZA
DALLAS, TX 75201


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER HEMKER & GALE PC
DAVID WILLIAM YBARRA
12 WOLF CREEK DR, SUITE 100
BELLEVILLE, IL 62226


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KATHERINE MARIE KJOLHEDE, EVP &
GEN. COUN., ONE AMERICAN ROAD
PO BOX 6248
DEARBORN, MI 48126-2798


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


FORD MOTOR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LECLAIRRYAN LLC
MICHAEL GOLDKLANG, 1 RIVERFRONT PLAZA
1037 RAYMOND BLVD 16TH FLR
NEWARK, NJ 07102-5423




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FORD MOTOR COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGUIREWOODS LLP
ANGELA M SPIVEY
1230 PEACHTREE STSTE 2100
ATLANTA, GA 30309


FORD MOTOR COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RYAN THOMAS BARKE, ATTORNEY AT LAW
RYAN THOMAS BARKE
710 WILD HORSE CREEK DR
FAIRVIEW HEIGHTS, IL 62208-2053


FORD MOTOR CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KATHERINE MARIE KJOLHEDE, EVP & GEN. COUN.
ONE AMERICAN ROAD
PO BOX 6248
DEARBORN, MI 48126-2798


FORD MOTOR COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE AMERICAN ROAD
PO BOX 6248
DEARBORN, MI 48126-2798


FORD, ALLEN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FORD, AXEL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORD, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORD, ELVIS A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM A FORD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORD, ERIC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                             Nature

FORD, GREGORY A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


FORD, GREGORY D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, GREGORY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, HORACE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, JAMES A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORD, JAMES BRAD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FORD, JAMES GENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORD, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORD, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FORD, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FORD, LEWIS DEWAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORD, MIKE BROWN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, MIKE BROWN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, PHILLIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, RIATA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, RIATA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, ROBERT S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, SARA E, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN D FORD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORD, SHEILA J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORD, TONEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FORD, WILLIAM EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FORDYCE, DONALD G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORE, ABBY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORE, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORE, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORE, MARENA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOREMAN, ABERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOREMAN, ERIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOREMAN, GARRETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOREMAN, GENEVA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD C FOREMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOREMAN, NAOMI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FOREMOST FARMS USA COOPERATIVE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
E10889 PENNY LANE
BARABOO, WI 53913-8115


FORENTA                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOREST CREEK WIND FARM LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
353 NORTH CLARK STREET, 30TH FLOOR
ATTN: MANAGER, CREDIT AND TREASURY
CHICAGO, IL 60654-4704


FOREST CREEK WIND FARM, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4425 W AIRPORT FREEWAY STE 473
IRVING, TX 75062


FOREST CREEK WIND FARM, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A AIRTRICITY FOREST CREEK WIND FARM
C/O HAYNES AND BOONE LLP; ATTN: IAN PECK
2323 VICTORY AVE., SUITE 700
DALLAS, TX 75219


FOREST HILLS APARTMENTS LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
29800 AGOURA RD STE 106
AGOURA HILLS, CA 91302


FOREST, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORESTRY SUPPLIERS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8397
JACKSON, MS 39284-8397


FORFAR, RICHARD M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FORGACS, JOHN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FORGE GROUP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4000 TOWN CENTER BLVD.
SUITE 200
CANONSBURG, PA 15317


FORGEY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORLINES, WILLIAM FRANKLIN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FORLOINES, RALPH F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FORMAN, LIBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORMAN, PERRY, WATKINS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORMAN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORMANSKI, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORMICA CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10155 READING RD SUITE 800
CINCINNATI, OH 45241-4805




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FORMICA, MAURIZIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 FORMOSA DR.
POINT COMFORT, TX 77978


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 PEACHTREE HILL RD.
LIVINGSTON, NJ 07039


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
JENNIFER MARIE VALENTINO
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


FORMOSA PLASTICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


FORMOSA PLASTICS CORPORATION, TEXAS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 FORMOSA DRIVE
POINT COMFORT, TX 77978


FORNEY ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FORNEY INTERNATIONAL INC.
3405 WILEY POST RD.
CARROLLTON, TX 75006


FORNEY ENGINEERING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FOSTER WHEELER CORPORATION
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809


FORNEY ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 S. BOIS D'ARC
FORNEY, TX 75126




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FORNEY, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 E MAIN ST
FORNEY, TX 75126


FORNEY, HARRY B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NELLO L FORNEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORREST, JOSEPH E, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORREST, LYLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORREST, RUTH B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORREST, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORREST, WILLIE SR (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORREST, WILLIE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORREST, WILLIE, SR (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORRESTER, JASON A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORSHEY, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FORSTER, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORSTER, JOHN S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FORSTER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FORSYTHE SOLUTIONS GROUP INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 809024
CHICAGO, IL 60680-9024


FORSYTHE, JOSEPH H, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORT BEND COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: JOHN P. DILLMAN
P.O. BOX 3064
HOUSTON, TX 77253-3064


FORT BEND COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1028
SUGARLAND, TX 77487-1028


FORT BEND INDEPENDENT SCHOOL DISTRICT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16431 LEXINGTON BLVD.
SUGAR LAND, TX 77479


FORT KENT HOLDINGS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A DUNHAM-BUSH, INC.
6050 SANTO RD STE 150
SAN DIEGO, CA 92124


FORT WORTH COWTOWN MARATHON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11565
FORT WORTH, TX 76110




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Name of Counterparty                                                                                            Nature

FORT WORTH GASKET & SUPPLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 GRAVEL DR
FORT WORTH, TX 76118


FORT WORTH INDEPENDENT SCHOOL DISTRICT                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


FORT WORTH ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N UNIVERSITY DR
FORT WORTH, TX 76107


FORT WORTH WATER DEPARTMENT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 961003
FORT WORTH, TX 76161-0003


FORT WORTH, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 THROCKMORTON ST.
FORT WORTH, TX 76102


FORT, DOUGLAS ERIC, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL E FORT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORT, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORT, L. GERALDINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FORT, LATRELL MARQUETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORT, LILLIAN MARIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

FORTE, ANGELO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FORTENBERRY, RAY L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORTENBERRY, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORTIER, LAWRENCE R--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FORTIN, LEON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FORTNER, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FORTNER, SHARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSCHI, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSCO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                         Nature

FOSECO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20200 SHELDON RD
CLEVELAND, OH 44142


FOSECO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT EDWIN THACKSTON
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


FOSECO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCOTT CHRISTOPHER WELLS, ATTORNEY AT LAW
SCOTT CHRISTOPHER WELLS
3102 MAPLE AVE STE 400
DALLAS, TX 75201-1261


FOSECO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20200 SHELDON RD
CLEVELAND, OH 44142


FOSECO, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
438 KING ST
STE C
CHARLESTON, SC 29403


FOSHIE, JULIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSS, MARY JEAN BROCIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSS, MARYJEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSS, RALPH H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSSETT, CLIFFORD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

FOSSIL POWER SYSTEMS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 MOSHER DR
BURNSIDE INDUSTRIAL PARK
DARTMOUTH, NS B3B 1N5
CANADA

FOSSIL POWER SYSTEMS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 157
BURNSIDE INDUSTRIAL PARK
DARTMOUTH, NS B3B 1N5
CANADA

FOSSITT, HAROLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSSUM, EILEEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSSUM, JILL L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER & KLEISER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3700 EAST RANDOL MILL
ARLINGTON, TX 76011


FOSTER ENGINEERING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
527 5TH AVENUE SOUTH
NASHVILLE, TN 37203


FOSTER ETUX, JAMES DAVID                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER WHEELER CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10876 S RIVER FRONT PKWY
STE 250
SOUTH JORDAN, UT 84095


FOSTER WHEELER CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10876 S RIVER FRONT PKWY
STE 250
SOUTH JORDAN, UT 84095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10876 S RIVER FRONT PKWY
SUITE 250
SOUTH JORDAN, UT 84095


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
585 N. DAIRY ASHFORD ST
HOUSTON, TX 77079


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRYSTAL L LANDES, ATTORNEY AT LAW
1717 MAIN ST # 5400
DALLAS, TX 75201


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
L FRIES
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY GRACE SULLIVAN, ATTORNEY AT LAW
535 NORTH NEW BALLAS ROAD ST L
ST LOUIS, MO 63141


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
CORI MICHELLE CUDABA STEINMANN
1717 MAIN ST STE 5400
DALLAS, TX 75201-7367


FOSTER WHEELER CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
FAVAD BAJARIA
1717 MAIN STREET, SUITE 5400
DALLAS, TX 75201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOSTER WHEELER CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


FOSTER WHEELER CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS R. O'BRIEN
C/O FOSTER WHEELER CORPORATION
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809-4000


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS R. O'BRIEN
C/O FOSTER WHEELER CORPORATION
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809-4000


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10876 S RIVER FRONT PKWY
STE 250
SOUTH JORDAN, UT 84095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAJARIA LAW FIRM PC
FAVAD BAJARIA
13455 NOEL ROAD, SUITE 1000
DALLAS, TX 75240


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COATS ROSE YALE RYMAN & LEE PC
JAMES M. RILEY
3 EAST GREENWAY PLAZA, SUITE 2000
HOUSTON, TX 77046


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS C. MILTENBERGER & ASSOCIATES
LEWIS C. MILTENBERGER
108 W 8TH STREET, SUITE 500
FORT WORTH, TX 76102


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
MCPHERSON, MICHELLE MARIE LINDAHL
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702


FOSTER WHEELER ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
MICHELE YENNIE SMITH
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
SANDRA F. CLARK
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
FAVAD BAJARIA
1717 MAIN STREET, SUITE 5400
DALLAS, TX 75201


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
MARIA KAROS
1717 MAIN STREET, SUITE 5400
DALLAS, TX 75201


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


FOSTER WHEELER ENERGY CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS R. O'BRIEN
C/O FOSTER WHEELER CORPORATION
PERRYVILLE CORPORATE PARK
CLINTON, NJ 08809-4000


FOSTER WHEELER ENERGY CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
585 N. DAIRY ASHFORD ST
HOUSTON, TX 77079




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOSTER WHEELER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRILOT PARTRIDGE & KOHNKE
1100 POYDRAS ST
NEW ORLEANS, LA 70163


FOSTER WHEELER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREGORY S. ROSSE
BRYDON HUGO & PARKER
135 MAIN STREET, TWENTIETH FLOOR
SAN FRANCISCO, CA 94105


FOSTER WHEELER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J HAINKEL
FRILOT PARTRIDGE & KOHNKE
1100 POYDRAS ST
NEW ORLEANS, LA 70163


FOSTER WHEELER NORTH AMERICA CORP                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 822178
PHILADELPHIA, PA 19182-2178


FOSTER WHEELER, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4000
CLINTON, NJ 08809


FOSTER WHEELER CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10876 S RIVER FRONT PKWY
STE 250
SOUTH JORDAN, UT 84095


FOSTER, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSTER, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSTER, DOUGLAS WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOSTER, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSTER, FLOYD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOSTER, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, GLADYS L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, JAKE DAVIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, JAMES & JUDY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, JOEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSTER, JOHN B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOSTER, JORDAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, JUDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOSTER, KEVIN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, KEVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, KYLE DUNCAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, L. MICHELLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOSTER, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, MILDRED, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E FOSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOSTER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOSTER, SYLVESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOSTER, THOMAS B , III, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS B FOSTER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOSTER, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOSTER, WILLIAM, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF LON H FOSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOSTER, WINSTON B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FOTI, FERENE M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


FOUCHER, LIONEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOUNDS (HUDDLESTON), DORA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOUNDS, CARY ALBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FOUNTAIN, LINDA CAROL, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD J BERTRAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOUNTAIN, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

FOUNTAIN, STEVE C                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FOUNTAIN, WILL H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOUNTAINS BENT TREE LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16400 LEDGEMONT LANE
ADDISON, TX 75001


FOUR SEASONS RESORT & CLUB                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4150 N MACARTHUR BLVD
IRVING, TX 75038


FOUR STAR HEATING & AIR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONDITIONING
PO BOX 219
SAVOY, TX 75479


FOURNIER, PERRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOURNIER, THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOUST, JOLENE JOY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, BARTLETT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOWLER, DALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FOWLER, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOWLER, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOWLER, GERALD V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


FOWLER, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOWLER, JEANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, MARK ALVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, MELODY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOWLER, PATRICIA J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


FOWLER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FOWLER, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOWLKES, THOMAS G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FOX PRINTING LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 116638
CARROLLTON, TX 75011


FOX SCIENTIFIC INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8221 E FM 917
ALVARADO, TX 76009


FOX, ARCHIE LEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FOX, CHARLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, DANIEL, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERNARD G FOX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOX, DAVID                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOX, DIANE D.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOX, FOSTER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOX, GLENN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FOX, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, KEITH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, KIMBERLY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES W MURRAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOX, LAWRENCE F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FOX, MARTIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, MAX E                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FOX, MICHAEL STEVE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FOX, ROY L                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOX, RUSSELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, WALTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOX, WILLIAM H, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOX, WILLIAM R, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOXE, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FOY, CAROLYN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOY, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOY, JUNE, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR NIXON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FOY, ROBERT J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FOYTACK, RONALD (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOYTIK, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FOYTIK, LEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FPL ENERGY PECOS WIND I LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, JOHN D. VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


FPL ENERGY PECOS WIND I LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


FPL ENERGY PECOS WIND I                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


FPL ENERGY PECOS WIND I, L.P.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNES AND BOONE, LLP, NINA CORTELL
ANNE M. JOHNSON, BEN L. MESCHES, RYAN
PAULSEN, 2323 VICTORY AVE, SUITE 700
DALLAS, TX 75219


FPL ENERGY PECOS WIND I, L.P.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, P.C., JOHN VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FPL ENERGY PECOS WIND I, LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NEXTERA ENERGY RESOURCES, LLC
ATTN: ROBERT B. SENDLER
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


FPL ENERGY PECOS WIND II LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, JOHN D. VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


FPL ENERGY PECOS WIND II LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408-2683


FPL ENERGY PECOS WIND II                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


FPL ENERGY PECOS WIND II, L.P.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNES AND BOONE, LLP, NINA CORTELL
ANNE M. JOHNSON, BEN L. MESCHES, RYAN
PAULSEN, 2323 VICTORY AVE, SUITE 700
DALLAS, TX 75219


FPL ENERGY PECOS WIND II, L.P.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, P.C., JOHN VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


FPL ENERGY PECOS WIND II, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NEXTERA ENERGY RESOURCES, LLC
ATTN: ROBERT B. SENDLER
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


FPL ENERGY, LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNES AND BOONE, LLP, NINA CORTELL
ANNE M. JOHNSON, BEN L. MESCHES, RYAN
PAULSEN, 2323 VICTORY AVE, SUITE 700
DALLAS, TX 75219




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FPL ENERGY, LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, P.C., JOHN VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


FPS FIRE PROTECTION SPECIALISTS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2429 E LOOP 820 N
FORT WORTH, TX 76118-6933


FPS FIRE PROTECTION SPECIALISTS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2569 GRAVEL DRIVE
FORT WORTH, TX 76118


FRACTION, TERICA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14T FLOOR
HOUSTON, TX 77019


FRACZEK, KIRK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAGOSE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAILEY, RONALD H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRAILEY, VERNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAISER, MURVIN (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FRAISER, MURVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAISTAT, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRAJ, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAKES, DWAYNE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAKES, PAMELA S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAKES, RONALD L., JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRALEY, GLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRALEY, SHIRLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRALEY, THEODORE AND SHIRLEY FRALEY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRALEY, THEODORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRALICKER, CARESSE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANCE, DAWN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANCE, DIANNE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCE, LAWRENCE B , III, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE FRANCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCE, LINDA K, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARYLYN L FRANCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCES JO DRURY ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCESE, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCESE, FRANK, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH FRANCESE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCIS, CAROL L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALICE GAUSLIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCIS, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANCIS, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FRANCIS, JESS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANCIS, LINDA S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANCIS, MARGARET L, FOR THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF RICHARD C FRANCIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCIS, MICHELLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCIS, MORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


FRANCIS, RICHARD A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRANCISCI, LEO E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRANCISCO LOPEZ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
488 E ELMWOOD APT 302
CLAWSON, MI 48017


FRANCISCO, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCK (EIDE), SALLEE SHUMWAY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANCK, SALLEE SHUMWAY (EIDE)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCK, SHARON M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL R FRANCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCKIEWICZ, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANCKIEWICZ, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANCO, ELSA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCO, MANUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANCO, RODOLFO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANCO, SUE CAROL, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARTIN FRANCO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANCZKOWSKI, JAMES B                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANDSEN, DALLAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FRANGELLA, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANK, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANK, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANK, LARRY G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FRANK, LESTER L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRANKLIN AUTO SUPPLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 519
FRANKLIN, TX 77856


FRANKLIN BANK SSB                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9800 RICHMOND AVENUE SUITE 680
HOUSTON, TX 77042


FRANKLIN COUNTY WD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 559
112 N HOUSTON STREET
MOUNT VERNON, TX 75457


FRANKLIN COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANKLIN COUNTY COURTHOUSE
200 N. KAUFMAN STREET
MOUNT VERNON, TX 75457


FRANKLIN COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70
MT VERNON, TX 75457




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANKLIN ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1216 W FM 1644
PO BOX 909
FRANKLIN, TX 77856


FRANKLIN MARGRETTA CUMMINGS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12272 EPSILON ST.
GARDEN GROVE, CA 92840


FRANKLIN, BENJAMIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRANKLIN, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
319 BREMOND ST
FRANKLIN, TX 77856


FRANKLIN, EDWARD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRANKLIN, EDWARD J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT E BOWEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANKLIN, FLOYD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANKLIN, GREGORY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANKLIN, J.D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANKLIN, LARRY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANKLIN, MAXINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANKLIN, MONTY J. DECEASED                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FRANKLIN, OLGA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANKLIN, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANKS, ARCHIE ASA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRANKS, DIANE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALTON KNIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANKS, DIANE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GOLDIE L KNIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANKS, JERRY WADE, JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BETSY C PEACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANKS, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANKUM, GENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


FRANO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANTINI, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANTZ, RICHARD G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRANTZ, RICHARD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRANZ, STANLEY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANZ, WILLIAM J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J FRANZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRANZ, WILLIAM J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRANZ, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANZESE, ANTHONY B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRANZESE, BETTY LOU                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRANZINO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRANZINO, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRANZSON, THOMAS B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRAPPIER, CRAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


FRASER, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRASIER, SUE HICKMAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRASIER, SUE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRASURE, TERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAY, RICHARD L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZEE, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZER, HUGH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAZIER DAVIS CONSTRUCTION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4349 CRESCENT RD
EUREKA, MO 63025


FRAZIER, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZIER, CHANETA B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRAZIER, CLARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRAZIER, EDWIGA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

FRAZIER, EDWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAZIER, JAMES W, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZIER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZIER, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAZIER, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRAZIER, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRAZIER, MARY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRAZIER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FREBURGER, LEROY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRED WEBER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


FREDERICK COWAN & COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
48 KROEMER AVE
RIVERHEAD, NY 11901-3108


FREDERICK, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FREDERICK, MARYLIN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY U FREDERICK JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREDERICKS, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FREDIANI, HAROLD A, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREDIANI, JUDITH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREDRICKSON, FRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREED, CECILIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES P PAPPAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREELS, BRITTANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

FREELS, JEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREELS, KAITLYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREELS, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREELY, WILLIAM F.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FREEMAN, ALETHA J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, ALLEN WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, BILLY C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, DON G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FREEMAN, DORIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, FAYETTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FREEMAN, GRADY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FREEMAN, HENRY C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREEMAN, JODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, JOHN ROBERT, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FREEMAN, JOHNNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREEMAN, KAYLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, LANNY & RENEA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, LANNY & RENEA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, LAURA ELIZABETH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, LEON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, NEWTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FREEMAN, NICOLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, PAUL DOUGLAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FREEMAN, PAULINE PERKINS, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALEXANDER FREEMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREEMAN, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FREEMAN, REBA J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, RICHARD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, ROBERT F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


FREEMAN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

FREEMAN, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FREEMAN, SADIE YARBROUGH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, VERNON D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FREEMAN, WADE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEMAN, WALTER M, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREENEY, TOMMIE THOMPSON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREEPOINT COMMODITIES LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
58 COMMERCE ROAD
ATTN: LEGAL DEPARTMENT, WENDY LEWIS,
SVP, MANAGER, CONTRACT ADMIN.
STAMFORD, CT 06902


FREEPORT MCMORAN COPPER & GOLD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FREESE AND NICHOLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 980004
FORT WORTH, TX 76198-0004


FREESTONE COUNTY 4H ADULT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEADER ASSOC
440 EAST MAIN ST BOX 10
ATTN ERIN HENSLEY
FAIRFIELD, TX 75840




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FREESTONE COUNTY AGRILIFE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EXTENSION SERVICE
PO BOX 737
FAIRFIELD, TX 75840


FREESTONE COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
103 E MAIN
PO BOX 1010
FAIRFIELD, TX 75840


FREITAS, LOUIS R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


FRENCH, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRENCH, BILLY RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


FRENCH, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRENCH, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRENCH, EUGENE R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRENCH, HARRISON D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRENCH, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRENCH, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRENCH, RICKY W, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRENCH, ROGER W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FRENCH, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


FRENCH-EVANS, DAWN M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD J NIERHAUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRENDT, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRESH DEL MONTE PRODUCE CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
241 SEVILLA AVENUE
CORAL GABLES, FL 33177


FRESNO CHEMICALS CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13955 FM 529
HOUSTON, TX 77041


FRETWELL, BUD STEPHEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

FREUND, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREUND, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREUND, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREUND, TIMOTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREY, BERT L., SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


FREY, CAROLYN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FREY, CAROLYN E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


FREY, DAVID F , JR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID F FREY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FREY, JAKE L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FREY, KENNETH J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRHAM SAFETY PRODUCTS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 36098
ROCK HILL, SC 29732-6098


FRICKE, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FRIDENSTINE, ALBERT EDWARD, JR.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


FRIDMAN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRIED, HENRY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRIED, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRIEDMAN, ALVIN G, NSO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRIEDMAN, ALVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRIEDMAN, LOUIS F, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM OTTEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRIEND, J.W.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

FRIEND-WILLIAMS, SHERYL, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUTHER FRANK BRAXTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRIER, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRIES, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRIES, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRIESEMA, GARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRIESNER, DAVID A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRIESON, JOHN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRIESZ, ROGER R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRIEZE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

FRIGIKING CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2046 SILVER
NEW ALBANY, IN 46516


FRIIA, WILLIAM F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRISBIE, BARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FRISCO CONSTRUCTION SERVICES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6991 MAIN STREET
FRISCO, TX 75034


FRISCO CONSTRUCTION SERVICES, LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 190829
DALLAS, TX 75219


FRISCO, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE A. PUREFOY MUNICIPAL CENTER
6101 FRISCO SQUARE BLVD
FRISCO, TX 75034


FRISINO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRISK, LEWIS E , JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEWIS E FRICK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRITCH, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

FRITO LAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRITO LAY TOWER
DALLAS, TX 75235


FRITSCH, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRITSCH, SHIRLEY A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN J FRITSCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRITZ, BARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRITZ, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRITZ, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRITZ, MELINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRITZINGER, ANNA M, FOR THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CHARLES R FRITZINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRITZINGER, MARVIN E, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

FRIZZELL, JANET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRIZZELL, WESLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FROCK, DENNIS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


FROCK, DOUGLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


FROCK, RICHARD E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FROCK, ROBERT C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FROGAMENI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FROMDAHL, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FROMER, MURRAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

FROMM ELECTRIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2101 CENTRE AVE
READING, PA 19605


FROMM, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FROMM, RITA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF LOUIE HUFF
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


FRONTAIN, KENNETH S, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF J NORMAND FRONTAIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FROSCH, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FROSETH, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FROST CRUSHED STONE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 272
MEXIA, TX 76667


FROST, ANDREA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FROST, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FROST, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FROSTAD, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FROZEN FOOD EXPRESS TRUCKERS ASSOCIATION                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 225888
DALLAS, TX 75265


FRUCON CONSTRUCTION CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4310 PRINCE WILLIAM PKWY #200
WOODBRIDGE, VA 22192


FRUCON CONSTRUCTION CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
SERVICE COMPANY
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


FRUMENTO, CHRISTOPHER A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRUSH, THERESA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES FRUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRUSTAGLIO, DORETTA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRY, CHARLES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FRY, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRY, TOLLY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRY, WILBUR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRYAR, JESSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRYE, CLAUDIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRYE, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FRYE, KENNETH J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRYE, RUSSELL M, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FRYE, TIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRYER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


FRYER, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FRYER, JOHN T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FRYMAN, JOHN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


FT WORTH PID #01 (DOWNTOWN)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 TAYLOR STREET
SUITE 100
FORT WORTH, TX 76102


FUCCI, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FUCCI, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FUCCI, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FUCHS, DONALD E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH H FUCHS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FUCHS, KENNETH G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FUDGE OIL SERVICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT. 5, PO BOX 656
GILMER, TX 75644


FUDGE, DONALD RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FUENTES, NATIVIDAD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FUENTES, RAMON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FUENTES, RICARDO ERNESTO SA SVEDRA                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FUGATE, KENT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FUJI ELECTRIC CORP OF AMERICA                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 NORTHFIELD AVE
EDISON, NJ 08837


FULBRIGHT & JAWORSKI LLP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 MCKINNEY SUITE 5100
HOUSTON, TX 77010-3095


FULCHER, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULFORD, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULL, JANET                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FULLER AUSTIN INC CHURCHILL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FULLER, H. B.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FULLER, HUBERT, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULLER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, JIMMIE D, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGIA O DIETZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULLER, JONATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FULLER, JULIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FULLER, LEO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, LYNN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULLER, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, REX ALLEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

FULLER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, TED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLER, THOMAS W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD FULLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULLER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLERTON, CARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULLERTON, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FULMORE, GLENNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

FULTON BOILER WORKS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE FULTON COMPANIES
3981 PORT STREET PO BOX 257
PULASKI, NY 13142


FULTON BOILER WORKS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3981 PORT ST
PULASKI, NY 13142


FULTON, CHERYL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FULTON, HAROLD D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FULTON, OLLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


FULTON, PRESTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULTZ, DENNIS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FULTZ, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FUNICELLO, LOUIS C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FUNK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204




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Name of Counterparty                                                                                             Nature

FUOCO, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


FUQUA, ROBERT M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


FURGAL, CHARLES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


FURLONG, VIRGINIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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FURMAN, DENNIS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FURMANITE AMERICA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 674088
DALLAS, TX 75267-4088


FURMANITE AMERICA, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CRAIG E. POWER
1221 LAMAR ST., FL 16
HOUSTON, TX 77010


FURMANITE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6330 DIXIE DR
HOUSTON, TX 77087-5052


FURMANITE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1416
101 OLD UNDERWOOD
BLDG E
LA PORTE, TX 77572-1416




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Name of Counterparty                                                                                            Nature

FURON METALLIC GASKETS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15639
HOUSTON, TX 77220


FURST, MICHELLE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOYCE A HEDGE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FUSCO, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


FUSCSICK, GEORGE G, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HEDY R DOSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


FUSION, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4658 EAST 355TH ST.
WILLOUGHBY, OH 44094


FUSSELL, AMELIA G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FW & CO.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


FXY INC FKA CHRISTY FIREBRICK                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


FYFER, HERMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


FYFFE, PATRICIA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES H KAHLER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

G & G CONSTRUCTION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
810 SMITH LANE
SEAGONVILLE, TX 75159


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 MONROE ST
FORT WORTH, TX 76102


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
410 PROBANDT
SAN ANTONIO, TX 78204


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
603 AIRLINE DRIVE
COPPELL, TX 75019


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2131
COPPELL, TX 75019-8131


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 677057
DALLAS, TX 75267


G&K SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 830483
SAN ANTONIO, TX 78283-0483


G.B. BOOTS SMITH CORP.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2501 AIRPORT DRIVE
LAUREL, MS 39440


G2 ELECTRICAL TESTING                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& CONSULTING LLC
7113 HOLDEN DR
ROCKWALL, TX 75087


GABALDON, EPITACIO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GABEHART, DONNA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GABEL, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABERT, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABINELLI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABINELLI, JOSEPH, JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABINELLI, SHIRLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABLE, JAMES DENNIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GABLE, JOSEPH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GABLE, ROSE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD R GABLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GABRIEL JORDAN CHEVROLET                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1704 KILGORE DR
HENDERSON, TX 75652


GABRIEL, PATSY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GABRIEL, WINSTON F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GABRIEL/JORDAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GADDIS ENGINEERING CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
168 FOREST AVE
LOCUST VALLEY, NY 11560


GADDIS ENGINEERING CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORRISON MAHONEY LLP
17 STATE STREET, SUITE 11 10
NEW YORK, NY 10004


GADDIS ENGINEERING CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORRISON MAHONEY LLP
ARTHUR J. LIEDERMAN
17 STATE STREET, SUITE 1110
NEW YORK, NY 10004


GADDIS, FRANK LANE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GADDIS, JOHN H.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GADE, STANLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GADNER, WILLIAM NELSON, JR.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GADOMSKI, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GADSDEN, LEON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GAETANO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAF CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1633 BROADWAY
NEW YORK, NY 10019


GAFFORD AYALA, STEPHANIE DENISE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAFFORD, BRIAN ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAFFORD, CHRISTOPHER NEAL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAFFORD, DEBORAH LORRAINE MERRITT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAFFORD, LARRY NEAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAGE COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
172-174 SAINT JOHN STREET
PORTLAND, ME 04102-3018


GAGE, BARRY STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GAGER, JESS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAGLIARDI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GAGLIARDI, PATRICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GAGNON, CLAIRE L--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GAGNON, FERNAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAGNON, FRANCIS J--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GAGNON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAGNON, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAGNON, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAIL FORSYTH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1340 MCDOUGALL
LANDER, WY 82520




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GAILEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAINER, GANSON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAINER, ROBERT M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAINES, ANTONIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAINES, LARRY O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GAINES, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAINESVILLE HOSPITAL DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORTH TEXAS MEDICAL CENTER
1900 HOSPITAL BOULEVARD
GAINESVILLE, TX 76240


GAINESVILLE ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 S. MORRIS
GAINESVILLE, TX 76240


GAINESVILLE, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SOUTH RUSK
GAINESVILLE, TX 76240


GAINEY, MAX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GAINOUS, ALPHA P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GAITHER, CALVIN C, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAITHER, JOSEPH I                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAITLEY, JULIAN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GAJAK, ZOLTAN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAJESKE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6200 N. HOUSTON ROSSLYN RD.
HOUSTON, TX 77091


GALA, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALANT, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALARDO, MARIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALARDO, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GALBAN, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GALBRAITH, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GALBRAITH, JAMES W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALBREATH, CECIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALBREATH, MARSHALL LANE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GALBRECHT, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALE, ROBERT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GALE, ROBERTA S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALE, ROBERTA SUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALENA PARK ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14705 WOODFOREST BLVD.
HOUSTON, TX 77015




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GALETTI, EDWARD J,                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GALETTI, EDWARD J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALGAY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALIMI, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALINDO, RAMON S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALIPEAU, ROLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALL, STEVEN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLAGER, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALLAGHER, CHARLES J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GALLAGHER, FRANK J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLAGHER, GARRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALLAGHER, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALLAGHER, JOHN W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLAGHER, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLAGHER, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLAGHER, KENNETH E                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLAGHER, LINDA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLAGHER, PETER DENNIS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLAGHER, THOMAS A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                             Nature

GALLAGHER, THOMAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GALLANT, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALLARDO, CLAIRE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLARDO, MIKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GALLE, KIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLEGOS, FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GALLEGOS, ISAAC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GALLEGOS, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLI, JAY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                        Nature

GALLO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLO, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GALLO, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLO, WILLIAM R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALLOWAY, ABIGAIL LEAH DARIS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLOWAY, DIANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALLOWAY, GARY L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLOWAY, JOHNSON, TOMPKINS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLUP, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GALLUP, GENEVIEVE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GALU, JAMES J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALVEZ, VANESSA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GALVIN, DAVID J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GALVIN, WILLIAM F., III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GALYON, JOHN WESLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAMBARDELLA, ALBERT J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GAMBARDELLA, ANDREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBELL, BETT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBELL, BETTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBELL, WILLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBELL, WILLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBER, ESTHER S, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL E GAMBER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAMBER, JOSEPH JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GAMBLE JR, WILLIE A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBLE, BERNARD LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBLE, PATRICIA, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAMBLE, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GAMBLE, WILLIE (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAMELIN, DANIEL V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAMMON, HOBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAMSKY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAMTEX INDUSTRIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 308
FORT WORTH, TX 76101


GANDY, RONNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GANN, CHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GANNON, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GANNON, MARTIN A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GANNON, ROBERT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LINDA HAUSER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GANNON, SHIRLEY A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW GANNON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GANNUCCI, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GANT, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GANTI, LAWRENCE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GANTT, CALVIN WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GANTT, SANDRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GANTZ, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARACIA, ANTONIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARAY, DANIEL E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARBER BROTHERS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 815
MORGAN CITY, LA 70381


GARBER, ANGELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCEAU, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARCI, SHAWN L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER W GARCI JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARCIA, ALEJANDRO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GARCIA, ALFREDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GARCIA, BALDEMAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GARCIA, BRENDA SOLEDAD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, FELIX J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


GARCIA, FREDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, GABRIEL A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, GEORGE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARCIA, GUSTAVO G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, GUSTAVO GARCIA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, JORGE MARTINEZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, JOSE A. CRUZ                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GARCIA, JOSE A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GARCIA, JOSE M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, JOSE M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARCIA, JUAN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, MAC EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, PARTICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARCIA, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARCIA, VICTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GARD, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GARDEN TERRACE I DUPLEXES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA GARDEN TERRACE I DUPLEXES
11919 GARDEN TERRACE
DALLAS, TX 75243


GARDENHIRE, TERRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARDENS, HAWAIIAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARDNER ASPHALT CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4161 E 7TH AVE
TAMPA, FL 33605


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 LIBERTY RIDGE DR #3000
CHESTERBROOK, PA 19087


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 GARDNER EXPY
QUINCY, IL 62305


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


GARDNER DENVER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL, MCCAMBRIDGE, SINGER
& MAHONEY, LTD
850 THIRD AVENUE - SUITE 1100
NEW YORK, NY 10022


GARDNER DENVER MACHINERY INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 GARDNER EXPRESSWAY
QUINCY, IL 62301


GARDNER DENVER NASH LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2414 BLACK GOLD CT
HOUSTON, TX 77073


GARDNER DENVER NASH LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952453
ST LOUIS, MO 63195


GARDNER GIBSON INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4161 E 7TH AVE
TAMPA, FL 33605


GARDNER IRON & METAL COMPANY, INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 E. FOURTH STREET
AUSTIN, TX 78702


GARDNER JR., GARRETT S.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GARDNER DENVER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 GARDNER EXPY
QUINCY, IL 62305


GARDNER, CLYDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARDNER, DIANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARDNER, DONNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARDNER, EDDIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARDNER, GARRETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, GILBERT DENNIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, JESSE WYLANE (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, LARRY VON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, LEWIE C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

GARDNER, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARDNER, ROBIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, ROLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARDNER, SHERYL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, TERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, WANDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARDNER, WATSON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GARDNER-DENVER-JOY COMPRESSORS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARED EDGAR
1500 LIBERTY RIDGE DRIVE
STE 300
CHESTERBROOK, PA 19087


GARE INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
165 ROSEMONT STREET
HAVERHILL, MA 01832




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Name of Counterparty                                                                                        Nature

GARE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES PC
DAVID ROY BUCHANAN
1100 MAIN STREET, SUITE 1900
KANSAS CITY, MO 64105


GARFIELD, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARGANO, ANTHONY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARGIS, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARGIULO, ALEXANDER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARGIULO, ROBERT A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARGIULO, SALVATORE LOUIS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARGUILO, VINCENT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARIBAY, JACK S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

GARISON, IRA GENE (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARLAND ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS HILL ADMINISTRATION BUILDING
501 S. JUPITER
GARLAND, TX 75042


GARLAND MEADOWS LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE MEADOWS
3826 EASTON MEADOWS DR
GARLAND, TX 75043


GARLAND, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N. FIFTH STREET
GARLAND, TX 75040


GARLAND, JOHN P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARLAND, JOHN T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GARLAND, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARLOCK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1666 DIVISION STREET
PALMYRA, NY 14522


GARLOCK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER PC
MICHELE YENNIE SMITH
2615 CALDER ST, SUITE 800
BEAUMONT, TX 77702




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GARLOCK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELISSA K FERRELL, PETER STALITZ,
ATTORNEYS AT LAW
400 W 15TH ST
AUSTIN, TX 78701


GARLOCK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN A. LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701


GARLOCK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1666 DIVISION STREET
PALMYRA, NY 14522


GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHACHTER HARRIS LLP
LAURIE FAY, 220 CANAL CENTRE,
400 E. LAS COLINAS BLVD
IRVING, TX 75039


GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHACHTER HARRIS LLP, CARY IRA SCHACHTER
LAURIE FAY, RAYMOND P. HARRIS
220 CANAL CENTRE, 400 E LAS COLINAS BLVD
IRVING, TX 75039


GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ARTURO M. AVILES
100 CONGRESS AVE STE 800
AUSTIN, TX 78701


GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
SHELLY MASTERS
100 CONGRESS AVE STE 800
AUSTIN, TX 78701




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GARLOCK SEALING TECHNOLOGIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
124 WEST CAPITOL AVE, SUITE 1900
LITTLE ROCK, AR 72201


GARLOCK SEALING TECHNOLOGIES LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1666 DIVISION STREET
PALMYRA, NY 14522


GARMAN, ALLEN, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARMAN, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARMON, FRANK E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GARMON, KIMBERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARNEAU, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARNER, CAROLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARNER, CLIFFORD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GARNER, CLIFFORD, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GARNER, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARNER, MADISON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARNER, ROBERT E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GARNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARNER, STANLEY--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GARNETT, BROADDUS L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARNETT, RUSSELL D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAROFALO, ROBERT L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GAROFANO, PHILLIP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GAROFOLO, FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


GAROUTTE, ALLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GARRAMORE, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRARD, ANN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRARD, KATHY A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARRARD, PAUL N.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF LARRY D. GARRARD
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


GARREN, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRETSON, O W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRETSON, O.W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT 6 BOX 1925
MOUNT PLEASANT, TX 75455


GARRETT, BRUCE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARRETT, DAVID ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GARRETT, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARRETT, EDWARD G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GARRETT, JARRETT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRETT, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRETT, MARGARET LOUIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRETT, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRETT, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRETT, ROY H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GARRETT, TOMMY ROSS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRIGAN, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GARRIGUES, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRIPOLI, ZACHARY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRIS, BETTY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRIS, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRISON INDUSTRIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O VIRGINIA GALVANIZING
181 COOPER DRIVE
EL DORADO, AR 71730


GARRISON, CHARLES L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GARRISON, DAWN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRISON, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARRISON, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRISON, JESS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GARRISON, PERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRITANO, ROBERT A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GARRITY, KEVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARRITY, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRITY, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARRY, TIMOTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARST, JOHN, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARST, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARTH, DARLENE V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GARTSIDE, JAMES S, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS E GARTSIDE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARTTNER, FREDERICK G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARUEY, SHAWN P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARVEY, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GARVEY, SISSY DORIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARVIN, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARVIN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARVIN, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARY RAILWAY COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 N BUCHANAN STREET
GARY, IN 46402-1060


GARY WILLIAMS ENERGY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
370 17TH ST., SUITE 5300
DENVER, CO 80202


GARY, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

GARY, DON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GARY, DOROTHY C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEO GARY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARY, JEANETTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GARZA, CARLOS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GARZA, CARLOS, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


GARZA, ENRIQUE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARZA, JOHN G., JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARZA, SILVINO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


GARZANITI, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GARZILLO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GARZILLO, THERESA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GARZINO, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GARZIO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAS EQUIPMENT COMPANY, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11616 HARRY HINES BLVD.
DALLAS, TX 75229-3109


GASKA, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GASKET HOLDINGS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26555 NORTHWESTERN HIGHWAY
SOUTHFIELD, MI 48033-2146


GASKINS, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GASKINS, THOMAS R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GASKINS, THOMAS R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GASNER, LEO HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GASNER, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


GASNER, PETER C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GASPARINI, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GASPARRE, SALVATORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GASPERINI, PATRICK A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GASS, EDWARD D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GASSAWAY, DIANE R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM P CONNELLY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GAST, PAMELA M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BETTY J MARQUARDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GASTON, JESSIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GASTON, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GATCHELL, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATELY, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATES CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1551 WEWATTA STREET
DENVER, CO 80202


GATES CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6450 POE AVE #109
TOMKINS LAW DEPT
DAYTON, OH 45414


GATES, JOAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GATES, MARY E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GATES, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GATESCO, INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS SANDERS
P.O. BOX 1860
SUGAR LAND, TX 77487


GATESVILLE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
311 S. LOVERS LANE
GATESVILLE, TX 76528


GATEWAY GREYCREST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CARRIAGE HOMES OF
SIGNATURE PLACE
14827 PRESTON RD
DALLAS, TX 75254


GATEWAY PUBLIC FACILITY CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAS OF OAK HILL
PO BOX 430
FORT WORTH, TX 76010


GATEWOOD, ARTHA R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GATHRIGHT, LISA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON C HAWLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GATLIN, JAMES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GATLIN, TOM L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GATOS, JIMMY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATRELL, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATSON, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GATTIS, RONALD E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


GATTISON, GWENDOLYN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GATTO, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATTO, JOSEPH L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GATTO, LORRAINE A.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GATTURNA, DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GATX CORP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 WEST ADAMS STREET
CHICAGO, IL 60606




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GATX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 W. ADAMS STREET; 5TH FL
CHICAGO, IL 60606-5314


GATX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 W. ADAMS STREET; 5TH FLOOR
CHICAGO, IL 60606-5314


GATX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BRIAN GLASSBERG
222 WEST ADAMS STREET
CHICAGO, IL 60606


GATX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAIL NORTH AMERICA, 222 WEST ADAMS STREET
CHICAGO, IL 60606-5314


GAUDETTE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAUDINO, FRANCES, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARIO L GAUDINO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAUDY, DORIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAUDY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAUDY, NATALIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAUL, WILLIAM F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GAUNTT, KELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GAUNTT, RUSSELL DEVON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAUSDITIS, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAUSE-MCNAIR, LEE BERTHA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAUTHIER, GREGORY C                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GAUTHIER, NORMAND L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GAUTHIER, REGINALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAUTIER OIL CO. SITE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 WATER STREET
JACKSONVILLE, FL 32202


GAUTIER, DENNIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GAUTIER, KEITH A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAVICA, JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GAVIN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAVIN, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAVIN, PAUL MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GAVIN, THOMAS F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GAVLON INDUSTRIES INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2873 WEST HARDIES ROAD
GIBSONIA, PA 15044


GAWLICK, DAVID M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAY, FLOYD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAY, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

GAY, RANDY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAY, STEPHEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAYDOSH, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GAYLORD, BYRON FBO JOSEPH GAYLORD                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAYNOR, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GAYOSO, MERCEDES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GAYTON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GAZO, JOHN RICKY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GBT STEEL GROUP LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4142 NE HAMPSTEAD DR
LEE'S SUMMIT, MO 64064-1619


GC SERVICES LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GC FINANCIAL GROUP
6330 GULFTON ST
HOUSTON, TX 77081




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Name of Counterparty                                                                                         Nature

GC SERVICES LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4299
HOUSTON, TX 77210-4299


GCR TIRE CENTERS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 910530
DENVER, CO 80291-0530


GCR TRUCK TIRE CENTERS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 530
DENVER, CO 80291-0530


GE ANALYTICAL INSTRUMENTS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6060 SPINE RD
BOULDER, CO 80301


GE ANALYTICAL INSTRUMENTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUSINESS GROUP
6060 SPINE RD
BOULDER, CO 80301


GE BETZ INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 846046
DALLAS, TX 75284-6046


GE BETZ, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REISMAN LAW FIRM LLC
ATTN: GLENN M. REISMAN, ESQ.
12 OLD HOLLOW ROAD, SUITE B
TRUMBULL, CT 06611


GE CONTROL SOLUTIONS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA
FILE NO 42058
LOS ANGELES, CA 90074-2058


GE ENERGY SERVICES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848301
DALLAS, TX 75284-8301


GE INFRASTRUCTURE SENSING INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA NA
LOCKBOX # 848502
1401 ELM ST 5TH FLOOR
DALLAS, TX 75284




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GE INFRASTRUCTURE SENSING INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA NA
LOCKBOX # 848502
1401 ELM ST 5TH FLOOR
DALLAS, TX 75284


GE INSPECTION TECHNOLOGIES LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14348 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


GE INSPECTION TECHNOLOGIES LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
721 VISIONS DRIVE
SKANEATELES, NY 13152


GE INSPECTION TECHNOLOGIES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
127 S 16TH ST
LAPORTE, TX 77571


GE INSPECTION TECHNOLOGIES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3054 SOLUTIONS CENTER
CHICAGO, IL 60677-3000


GE INSPECTION TECHNOLOGIES, LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REISMAN LAW FIRM LLC
ATTN: GLENN M. REISMAN, ESQ.
12 OLD HOLLOW ROAD, SUITE B
TRUMBULL, CT 06611


GE INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848301
DALLAS, TX 75284-8301


GE MOBILE WATER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 418930
BOSTON, MA 02241-8930


GE MOBILE WATER INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742132
LOS ANGELES, CA 90074-2132


GE MOBILE WATER, INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REISMAN LAW FIRM LLC
ATTN: GLENN M. REISMAN, ESQ.
12 OLD HOLLOW ROAD, SUITE B
TRUMBULL, CT 06611




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GE MULTILIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 402485
ATLANTA, GA 30384


GE OIL & GAS COMPRESSION SYSTEMS LLC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16250 PORT NORTHWEST DR
HOUSTON, TX 77041


GEAR CLEANING SOLUTIONS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2221 MANANA DR.
STE. 190
DALLAS, TX 75220


GEAR CLEANING SOLUTIONS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 678044
DALLAS, TX 75267-8044


GEARHART, LEROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEARY, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GEBCO ASSOCIATES LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
815 TRAILWOOD DR STE 200
HURST, TX 76053


GECI, ELIZABETH, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E LANG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GECK, MARTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GEE, RUFUS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GEE, TARA A                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEE, TARA A.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEE, WINFORD, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEGOREK, ANITA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEHRIS, TODD C, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEFFREY C GEHRIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEHRMAN, ARTHUR B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GEHSHAN, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEIER, CHARLOTTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GEIER, CRAIG                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEIER, DARREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GEIER, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GEIER, ROBERT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GEIGER, GENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEIMAN, MYRA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES GEIMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEISEL, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEISER, AMIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEISER, PATRICK C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEISER, PATRICK T.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEISLER, KURT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEISLER, LUTHER P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


GEISLER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEIST, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEITZ, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEITZ, STEPHEN P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEL LABORATORIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 30712
CHARLESTON, SC 29417


GELHAUS, FREDERICK L, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GELLER, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GELMINI, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GELNETT, JOHN A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GELOCK, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GELUMBAUSKAS, MARIA ELENA, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KEITH GELUMBAUSKAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GELVAR, BURTON R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEMINI SCIENTIFIC CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1289 HAMMERWOOD AVE #B
SUNNYVALE, CA 94089-2231


GEMINI SCIENTIFIC CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
650 VAQUEROS AVE STE C
SUNNYVALE, CA 94085


GEMSKI, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEM-TRIM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
148 EQUITY BLVD
HOUMA, LA 70360


GEMUNDER, REBECCA P, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH L PARK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GEN. CHEMICAL PERFORMANCE PRODUCTS LLC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
90 EAST HALSEY RD
PARSIPPANY, NJ 07054


GENCOR INDUSTRIES INC IND AND                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5201 N ORANGE BLOSSOM TRAIL
ORLANDO, FL 32810


GENCORP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENCORP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


GENCORP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OGDEN GIBSON BROOCKS LONGORIA &
HALL, LLP, MURPHY KLASING, 1900 PENNZOIL
SOUTH TOWER, 711 LOUISIANA ST.
HOUSTON, TX 77002


GENCORP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
NATHAN HORNE
100 CONGRESS AVE., SUITE 800
AUSTIN, TX 78701


GENCORP INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPTOE & JOHNSON PLLC
CHRISTINA ANN DENMARK
10001 WOODLOCH FOREST DR, SUITE 300
THE WOODLANDS, TX 77380


GENDREAU, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GENE, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

GENERAL CABLE INDSUTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19 BOBRICK DRIVE
JACKSON, TN 38301


GENERAL CABLE INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19 BOBRICK DRIVE
JACKSON, TN 38301


GENERAL DATATECH LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
999 METRO MEDIA PL
DALLAS, TX 75247-4730


GENERAL DATATECH LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT D8014
PO BOX 650002
DALLAS, TX 75265-0002


GENERAL DYNAMICS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2941 FAIRVIEW PARK DRIVE, SUITE 100
FALLS CHURCH, VA 22042-4513


GENERAL DYNAMICS CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3190 FAIRVIEW PARK DR.
FALLS CHURCH, VA 22042-4523


GENERAL DYNAMICS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2941 FAIRVIEW PARK DRIVE
SUITE 100
FALLS CHURCH, VA 22042-4513


GENERAL DYNAMICS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
330 N. WABASH VENUE
CHICAGO, IL 60611-7603


GENERAL DYNAMICS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL DYNAMICS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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Name of Counterparty                                                                                          Nature

GENERAL DYNAMICS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL DYNAMICS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63106


GENERAL DYNAMICS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
U.S. CORPORATION COMPANY,AGENT
400 N. ST. PAUL
DALLAS, TX 75201


GENERAL DYNAMICS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3190 FAIRVIEW PARK DR.
FALLAS CHURCH, VA 22042


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 MARKET STREET STE 1210
PHILADELPHIA, PA 19102


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3135 EASTON TURNPIKE
FAIRFIELD, CT 06828


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 WEST CAMDEN ST
6TH FLOOR
BALTIMORE, MD 21201


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AARONSON, RAPPAPORT, FEINSTEIN
& DEUTSCH, LLP
757 THIRD AVENUE, 4TH FLOOR
NEW YORK, NY 10017


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES PC
800 MARKET STREET STE 1100
ST LOUIS, MO 63101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
GREGORY ALAN IKEN
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN, MCCARROLL, LLP
KAY ANDREWS
111 CONGRESS AVE, SUITE 1400
AUSTIN, TX 78701


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


GENERAL ELECTRIC CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS BEACH, PLLC
100 WALL STREET, 23RD FLOOR
NEW YORK, NY 10005


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN J HAINKEL
FRILOT PARTRIDGE & KOHNKE
1100 POYDRAS ST
NEW ORLEANS, LA 70163


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARC BRAINICH
SEDGWICK LLP
333 BUSH STREET, 30TH FLOOR
SAN FRANCISCO, CA 94104-2834


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH WILLIAM FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE RIVER RD
SCHENECTADY, NY 12345


GENERAL ELECTRIC CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAINE, TARWATER, AND BICKERS, LLP
DARRYL E. ATKINSON
900 S CAPITAL OF TEXAS HWY
AUSTIN, TX 78746




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                                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                     Nature

GENERAL ELECTRIC CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1086
SPEZIALI, GREENWALD & HAWKINS, P.C.
1081 WINSLOW ROAD
WILLIAMSTOWN, NJ 08094


GENERAL ELECTRIC CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
MICHAEL A. TANENBAUM
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


GENERAL ELECTRIC CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


GENERAL ELECTRIC CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPEZIALI, GREENWALD & HAWKINS, P.C
DAVID A. SPEZIALI
PO BOX 1086, 1081 WINSLOW ROAD
WILLIAMSTOWN, NJ 08094


GENERAL ELECTRIC CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
124 WEST CAPITOL AVE, SUITE 1900
LITTLE ROCK, AR 72201


GENERAL ELECTRIC CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C T CORPORATION,AGENT
217 W. MANHATTAN AVE.
SANTA FE, NM 87501


GENERAL ELECTRIC CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LARRY G. REYNOLKDS,MGR.GLOBAL REMED.
1635 BROADWAY
FORT WAYNE, IN 46801


GENERAL ELECTRIC COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
640 FREEDOM BUSINESS CENTER
KING OF PRUSSIA, PA 19406


GENERAL ELECTRIC COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ALEX DIMITRIEF, SENIOR VICE PRESIDENT & GENERAL COUNSEL
3135 EASTON TURNPIKE
FAIRFIELD, CT 06828




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GENERAL ELECTRIC COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


GENERAL ELECTRIC COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GE CONSUMER & INDUSTRIAL
PO BOX 642493
PITTSBURGH, PA 15264-2493


GENERAL ELECTRIC COMPANY,                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


GENERAL ELECTRIC INTERNATIONAL INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4200 WILDWOOD PKWY
ATLANTA, GA 30339


GENERAL ELECTRIC INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
621 EAST SH-121 SOUTH
SUITE 420
COPPELL, TX 75019


GENERAL ELECTRIC INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REISMAN LAW FIRM LLC
ATTN: GLENN M. REISMAN, ESQ.
12 OLD HOLLOW ROAD, SUITE B
TRUMBULL, CT 06611


GENERAL ELECTRIC SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3135 EASTON TURNPIKE
FAIRFIELD, CT 06828


GENERAL GASKET CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
800 MARKET ST STE 1100
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
800 MARKET ST STE 1100
ST LOUIS, MO 63103




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET ST STE 1100
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
ALBERT J BRONSKY JR
800 MARKET ST STE 1100
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDRA S MCCLUSKEY
2322 S SEVENTH ST
ST LOUIS, MO 63104


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1010 MARKET ST 20TH FLOOR
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40211 BINGHAM AVE
ST LOUIS, MO 63116


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4041 BINGHAM AVE
ST LOUIS, MO 63116


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 MARKET STREET
SUITE 1100
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
800 MARKET ST STE 1100
ST LOUIS, MO 63103


GENERAL GASKET CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
A J BRONSKY BROWN AND JAMES PC
800 MARKET ST STE 1100
ST LOUIS, MO 63103




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET ST STE 1100
ST LOUIS, MO 63101


GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
ALBERT J BRONSKY JR
800 MARKET ST STE 1100
ST LOUIS, MO 63103


GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
ALBERT J BRONSKY JR
800 MARKET ST STE 1100
ST LOUIS, MO 63105


GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDRA S MCCLUSKEY
2322 S SEVENTH ST
ST LOUIS, MO 63104


GENERAL GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TYLER CHARLES SCHAEFFER, ATTORNEY AT LAW
911 LOCUST ST APT 5602
ST LOUIS, MO 63101


GENERAL METALS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1155 WEST FOURTH STREET SUITE 210
RENO, NV 89503


GENERAL METALS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3115 NW NORTH RIVER DRIVE
MIAMI, FL 33142


GENERAL MILLS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NUMBER ONE GENERAL MILLS BLVD
PO BOX 1113
MINNEAPOLIS, MN 55426




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GENERAL MOTORS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 RENAISSANCE CENTER
DETROIT, MI 48265-3000


GENERAL MOTORS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3044 W. GRAND BLVD
DETROIT, MI 48202


GENERAL MOTORS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 33170
DETROIT, MI 48232-5170


GENERAL MOTORS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
DAWN M WRIGHT, ONE ARTS PLAZA,
1722 ROUTH ST, STE 1500
DALLAS, TX 75201


GENERAL MOTORS CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 260
CLINTON, MS 39056


GENERAL MOTORS CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4396
MERIDIAN, MS 39301


GENERAL PARTS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11311 HAMPSHIRE AVE S
BLOOMINGTON, MN 55438


GENERAL PHYSICS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 932816
ATLANTA, GA 31193-2816


GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVE STE 310
BALA CYNWYD, PA 19004


GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVE STE 210
BALA CYNWYD, PA 19004


GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVE STE 210
BALA CYNWYD, PA 19004




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVE STE 310
BALA CYNWYD, PA 19004


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVENUE # 210
BALA CYNWYD, PA 19004


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 CITY LINE AVENUE
BALA CYNWYD, PA 19004


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD & BURGESS, LLP
JONATHAN PRAZAK
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505-6297


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD, POFF & BURGESS LLP
FRANKLIN A. POFF, JR.
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505-6297


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD, POFF & BURGESS LLP
JONATHAN PRAZAK
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505-6297


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD, POFF & BURGESS LLP
MARK C. BURGESS
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505-6297


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRISP BOYD & POFF, LLP
FRANKIN POFF ALBRIGHT JR
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505


GENERAL REFRACTORIES COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRISP, JORDAN & BOYD, LLP
FRANKLIN A. POFF, JR
2301 MOORES LANE, PO DRAWER 6297
TEXARKANA, TX 75505-6297




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRISP, JORDAN & BOYD, LLP
FRANKLIN A. POFF, JR.
2301 MOORES LANE, PO BOX 6297
TEXARKANA, TX 75505-6297


GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


GENERAL REFRACTORIES COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


GENERAL SUPPLY & SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 BRIDGEPORT AVENUE
SHELTON, CT 06484


GENERAL SUPPLY & SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62704


GENERAL TELEPHONE CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACQUE MCCORMICK,DIR.ENVIRON.AFFAIRS
700 HIDDEN RIDGE
IRVING, TX 75038


GENERAL TIRE & RUBBER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GENCORP,INC.
HIGHWAY 50 AND AEROJET ROAD
RANCHO CORDOVA, CA 95670


GENERAL ELECTRIC CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3135 EASTON TURNPIKE
FAIRFIELD, CT 06828


GENERAL ELECTRIC COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3135 EASTON TURNPIKE
FAIRFIELD, CT 06828




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GENERAL REFRACTORIES COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BALA AVE STE 210
BALA CYNWYD, PA 19004


GENERAL SUPPLY & SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 BRIDGEPORT AVENUE
SHELTON, CT 06484


GENESIS SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1501 10TH ST STE 100
PLANO, TX 75074


GENESIS SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2663 MARQUIS DR
GARLAND, TX 75042-7807


GENESYS CONFERENCING NA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 0938
DENVER, CO 80256-0938


GENESYS CONFERENCING                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
130 NEW BOSTON ST., SUITE 301
WOBURN, MA 01801


GENESYS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 201005
DALLAS, TX 75320-1005


GENOLA, LINDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTEX CORP.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
324 MAIN ST
CARBONDALE, PA 18407


GENTHNER, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GENTILE, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GENTLE, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GENTRY TRUCKING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES T. GENTRY,PRESIDENT
PO BOX 481
GREENWOOD, LA 71033


GENTRY, BRANDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, CALLIE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, CALLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GENTRY, DONALD JOE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, JAMES J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, JAMES J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, JOHN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GENTRY, KIM EUGENE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE A LANCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GENTRY, MICHAEL WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, NORMAN D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GENTRY, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENTRY, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GENTRY, SANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GENTY, JAMES J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GENUINE PARTS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2999 CIRCLE 75 PKWY
ATLANTA, GA 30339


GENUINE PARTS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GENUINE PARTS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK PANEK
3125 CHOUTEAU
ST LOUIS, MO 63103




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
CLAYTON E DICKEY
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2999 CIRCLE 75 PARKWAY SE
ATLANTA, GA 30339-3050


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2999 CIRCLE 75 PKWY
ATLANTA, GA 30339


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALSTON & BIRD LLP
W CLAY MASSEY, ONE ATLANTIC CENTER,
1201 WEST PEACHTREE ST
ATLANTA, GA 30309-3424


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BREUNINGER & FELLMAN
SUSAN FELLMAN
1829 FRONT STREET
SCOTCH PLAINS, NJ 07076


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
RICK W. THAMM
24 GREENWAY PLAZA, SUITE 525
HOUSTON, TX 77046


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK PANEK
3125 CHOUTEAU
ST LOUIS, MO 63103


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARK PANEK
3124 CHOUTEAU
ST LOUIS, MO 63101




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
CLAYTON E DICKEY
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
MATTHEW STEVEN JENSEN
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
WILLIAM DENNIS CROSS JR
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


GENUINE PARTS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY
& MOORE L.L.C., CHRISTOPHER BRUCE TURNEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


GENZ, EARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEO DRILLING FLUIDS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2787
LAUREL, MS 39442


GEORGE A FULLER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 STEVENS AVENUE
VALHALLA, NY 10595-1252


GEORGE A FULLER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7 RENAISSANCE SQUARE
4TH FLOOR
WHITE PLAINS, NY 10601


GEORGE A FULLER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEORGE KOKORUDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
116 HUNTER PASS
WAXAHACHIE, TX 75165


GEORGE P REINTJES CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3125 ROANOKE ROAD
KANSAS CITY, MO 64111


GEORGE P REINTJES CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3800 SUMMITT
KANSAS CITY, MO 64111


GEORGE P REINTJES CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


GEORGE P REINTJES CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


GEORGE P REINTJES CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE STATON CO INC DBA STATON LUMBER YARD                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE V HAMILTON INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 RIVER AVE
MCKEES ROCKS, PA 15136


GEORGE V HAMILTON INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE, BARBARA A, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF SPURGEON E GEORGE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GEORGE, BETTI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


GEORGE, BRUCE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, CARL SHELBY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GEORGE, CHARLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE, CHARLES F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, CLINTON AUBREY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GEORGE, DEBRA K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE, DOUGLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEORGE, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GEORGE, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEORGE, GERARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GEORGE, HARRIS J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD I PAPPAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, KATHRYN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE, LEWIS ANDREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGE, LOU J.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GEORGE, LOYAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GEORGE, LYNN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGE, NORA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GEORGE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GEORGE, ROGER W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGE, RONALD W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, VALERIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CATHERINE HARTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, VALERIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VALENTINE F HARTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGE, VIVIAN V B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGE, WEBSTER T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEORGES, JOHN P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GEORGETOWN ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
603 LAKEWAY DRIVE
GEORGETOWN, TX 78628




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEORGETOWN, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
113 E. 8TH ST.
GEORGETOWN, TX 78628


GEORGIA A FULLER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 STEVENS AVENUE
VALHALLA, NY 10595-1252


GEORGIA GULF CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGIA MAE JOHNSON ESTATE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGIA PACIFIC CONSUMER OPERATIONS LLC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 COUNTY ROAD 216
PALATKA, FL 32177


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE ST NE #4810
ATLANTA, GA 30303


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 WEST CAMDEN ST
6TH FLOOR
BALTIMORE, MD 21201


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
BRENT M. KARREN
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
DAVID W. CROWE
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
LAURA E. KUGLER
901 MAIN STREET, SUITE 6550
BEAUMONT, TX 77701




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
LAURA E. KUGLER
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
MEL D. BAILEY
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BELL, NUNNALLY & MARTIN, LLP
MARIA KATINA KAROS; CRYSTAL L. LANDES,
1400 ONE MCKINNEY PLAZA 3232 MCKINNEY AV
DALLAS, TX 75204


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE
CLAYTON, MO 63105


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


GEORGIA PACIFIC CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GILBERT & GILBERT
JOHN R. GILBERT
222 NORTH VELASCO STREET
DALLAS, TX 75202




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                                                                        ENERGY FUTURE HOLDINGS CORP., et al.

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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNCH DASKAL EMERY, LLP
264 WEST 40TH STREET
NEW YORK, NY 10018


GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
CORI STEINMANN
1717 MAIN ST STE 5400
DALLAS, TX 75201-7367


GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
CRYSTAL L. LANDES
333 BUSH STREET, 30TH FLOOR
SAN FRANCISCO, CA 94104-2806


GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK LLP
MARIA KAROS
1717 MAIN ST STE 5400
DALLAS, TX 75201-7367


GEORGIA PACIFIC CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
MARIA KAROS
1717 MAIN ST STE 5400
DALLAS, TX 75201


GEORGIA PACIFIC CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1209 ORANGE STREET
WILMINGTON, DE 19801




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE ST NE #4810
ATLANTA, GA 30303


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID T. BIDERMAN
PERKENS COIE LLP
FOUR EMBARCADERO CENTER, SUITE 2400
SAN FRANCISCO, CA 94111


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GILBERT & GILBERT LAW OFFICE
ERIC T. FUREY
222 NORTH VELASCO STREET
ANGLETON, TX 77515


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET ST, SUITE 1100
ST LOUIS, MO 63101


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNCH DASKAL EMERY LLP
MARK TEVIS
264 WEST 40TH STREET
NEW YORK, NY 10018


GEORGIA PACIFIC LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNCH DASKAL EMERY, LLP
264 WEST 40TH STREET
NEW YORK, NY 10018


GEORGIA PACIFIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GEORGIA PACIFIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GEORGIA PACIFIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


GEORGIA TALC CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA WESTERN INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2275 MCCOLLUM PARKWAY
KENNESAW, GA 30144


GEORGIA PACIFIC LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA POWER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA-PACIFIC CHEMICALS INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA-PACIFIC CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE ST NE #4810
ATLANTA, GA 30303


GEORGIA-PACIFIC CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TYE DARLAND, SVP, GEN. COUN.
133 PEACHTREE ST. NE
ATLANTA, GA 30303


GEORGIA-PACIFIC LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE ST NE #4810
ATLANTA, GA 30303


GEORGIA-PACIFIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GEORGIA-PACIFIC, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GEOSITS, DOROTHY M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK J GEOSITS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEOTECH ENVIRONMENTAL EQUIPMENT                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2650 E 40TH AVE
DENVER, CO 80205


GEOTECH ENVIRONMENTAL EQUIPMENT, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2650 E 40TH AVE
DENVER, CO 80205


GEOTECHNICAL SERVICES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 4359
BRYAN, TX 77805


GEPPERT, MARCIA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEPPERT, MARY ANNE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH GORRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GEPPI, PAUL J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERACE, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERAGHTY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERARD PACKING & BELT CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24 MIDLAND AVENUE
HICKSVILLE, NY 11801




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GERARD PACKING & BELT CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LECLARRYAN
ROBYN N. GNUDI
830 THIRD AVE
NEW YORK, NY 10022


GERARD SINGER & LEVICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERARD, SHIRLEY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES W GALLAGHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERBER, ELTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERCON, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GERDES, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GEREGA, ERIKA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERENCSER, LAWRENCE P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERENSTEIN, BARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GERENSTEIN, BARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GERGELY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERGELY, MARY C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD A GERGELY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERGER, HALIL IBRAHIM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERHARDT, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERKEN, JAMES D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERLACH, PATTI L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GERLACH, ROBERT E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GERLINSKY, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GERMAN, BARBARA J, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF HOWARD E GERMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERMAN, CHARLES G, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERMAN, THOMAS A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND GERMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERMANN, JEROME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERMERSHAUSEN, RAYMOND                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEROLAMI, LOUIS L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GEROSA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 LINCOLN AVE # 2
BRONX, NY 10454


GEROSA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


GERRALD, ANTHONY RHETT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GERREN, DIANA ROCHELLE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERREN, DIANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERREN, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERRIER, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERRITY, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GERSHKOWITZ, DANIEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERSTEL, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GERSTENBERG, HARRY C, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GERSTENBERGER, VIRGIL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GERTNER, MURRAY S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GERVER, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GERVER, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GESSELLI, EUGENE A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GESSER, JAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GESSMAN, ALFONS J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GESSWIN, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEST, MARY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GEST, WILLIAM L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GEST, WILLIAM LUKE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GESUALDO, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GESUALE, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GESZTES, VILMOS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETCHELL, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GETERS IV, DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETERS, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETERS, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETERS, IVAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETERS, IVAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GETTYS, PAULINE C., FOR THE STATE OF                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENNETH WHISNANT GETTYS
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


GETZ, JERRY J, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GETZ, PAUL E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

GETZ, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GEXPRO                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 840040
DALLAS, TX 75284


GEYER, CHARLES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GFS TEXAS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1375 RIVER BEND DR
DALLAS, TX 75247


GHEEN, JOSEPH W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GHIZDAREANU, DAN G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GHOLSTON, RUFUS H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIAKOUMAKIS, KONSTANTINOS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIALLORETO, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIALLORETO, FRANK M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

GIAMBOI BROS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2508 CONEY ISLAND AVE
BROOKLYN, NY 11223


GIAMBOI BROS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COLICCHIO & SILVERMAN TAYLOR
502 CARNEGIE CENTER - SUITE 103
PRINCETON, NJ 08540


GIAMBRUNO, MARIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIAMBRUNO, PHILIP (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIAMMARCO, JOHN A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIAMPIETRO, GLENN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIANGIACOMO, RONALD S                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GIANGRANDE, RALPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIANGRANDE, SALVATORE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIANNATTASIO, GINA MARIE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIANNATTASIO-LAKATOS, GINAMARIE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                    ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                               Retained Causes of Action

                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

GIANT RESOURCE RECOVERY-ATTALLA, INC. (F/K/A M&M CHEMICAL)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1229 VALLEY DR
ATTALLA, AL 35954-8586


GIARDINA VINCENZO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIARDINA, DONNA, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J GIARDINA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIARDINA, DONNA, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAULINE V GIARDINA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIARDINA, VINCENT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIARLA, MICHAEL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIARRAPUTO, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GIATTINI, BENJAMIN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBBONS, CHARLES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GIBBONS, JOHN EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIBBONS, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIBBS EWING, JANET                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBBS, BILLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBBS, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


GIBBS, FREDERICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBBS, HOMER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBBS, JOSHUA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBBS, NOAH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


GIBBS, PATRICIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBBS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GIBBS, SELDON C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIBBS, THEODORE, III                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A., ESTATE OF THEODORE E GIBBS SR (II)
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


GIBBS, WASHINGTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBLIN, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBNEY, KENNETH J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIBRALTAR CASUALTY CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
751 BROAD STREET
NEWARK, NJ 07102


GIBRALTER FENCE CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 N. SAM HOUSTON PKWY EAST; SUITE 1200
HOUSTON, TX 77060


GIBSON, CHAD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBSON, CLYDE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, COLEY B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GIBSON, COLEY B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GIBSON, CORTNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBSON, DANNY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIBSON, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIBSON, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, GALEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, GARCIA W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, GLADYS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, JESSIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GIBSON, KEISTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, LAUREEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, NEWMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, PATRICIA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM B GIBSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIBSON, PATTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, PAULA A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIBSON, RICKY F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GIBSON, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GIBSON, RYAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, SADE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, SAMUEL III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, SONDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIBSON, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIBSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIDEONS, EDWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIELAROWSKI, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIELNER, PATRICIA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES O SIMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIENCKE, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GIER, EDWIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIERICH, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIESE, MARVIN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIEZEY, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIFFIN, WALLACE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIFFORD HILL CEMENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES ABLOWICH,VP
PO BOX 190999
DALLAS, TX 75219


GIFFORD HILL READYMIX                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES ABLOWICH,VP
PO BOX 190999
DALLAS, TX 75219


GIGLIO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIGSTEAD, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIILBY, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GIL, FRANCISCO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILBERT & GILBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN R. GILBERT
222 N. VELASCO STREET
ANGLETON, TX 77516-1819


GILBERT ENVIRONMENTAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1540 BOYD ROAD
GRANBURY, TX 76049


GILBERT, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GILBERT, JOHNNY L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


GILBERT, JOSEPH EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILBERT, LARRY E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBERT, LENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILBERT, NORBERT E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBERT, NORRIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

GILBERT, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILBERT, SANDRA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBREATH, DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBREATH, JO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBREATH, WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILBRETH, DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILBRIDE, HARVEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILBY JR, NORMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBY, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBY, DORIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILBY, NORMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILCHRIST, WELDON T                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GILDERSLEEVE, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GILES, BRUCE ROLAND (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILES, DESIREE K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLEVELAND M KEMP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILFILLAN, FREDERICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILI, MARYGLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILI, MARYGLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GILL JOHN EARVY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


GILL, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILL, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILL, JOHN E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

GILL, JOHN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GILL, LAURENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILL, OMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILL, RICHARD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILL, ROBERT EUGENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILL, ROLAND L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILL, ROSE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GILLELAND, JOSEPH R.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILLEM, TERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLEN, DAVID W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GILLEY, DALICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLEY, LENA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLIAM, BRENDA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CURTIS BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILLIAM, BROCK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILLIAM, DE ETTA DUDLEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILLIAM, DELMAINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLIAM, DELMAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLIAM, DONNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILLIAM, EARL A, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILLIAM, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GILLIAM, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GILLIAM, NANCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GILLIAM, VIVIAN T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILLIAM, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLIAN, KAYE R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT RINGGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILLIG, PHILLIP GROSS, III                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


GILLIS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLIS, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILLISPIE, MARK D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GILMAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILMER ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 SOUTH TRINITY
GILMER, TX 75644


GILMER, CHARLES E , SR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JANIE A GILMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILMER, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILMORE, GEORGE DEWEY, III                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GILMORE, JACQUELINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GILMORE, JOHNNY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GILMORE, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILMORE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                  Nature

GILMORE, SAMUEL                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GILROY, ROBERT                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GIMBEL, MICHAEL P.                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GINA MCCARTHY ADMINISTRATOR, UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
U.S. DOJ NORMAN L. RAVE, JR.
ENVIRONMENTAL & NATURAL RESOURCES DIV
BEN FRANKLIN STATION, PO BOX 7611
WASHINGTON, DC 20044-7611


GINA MCCARTHY ADMINISTRATOR, UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
U.S. DOJ-ROBERT G. DREHER
ENV & NATURAL RESOURCES DIV
LENFANT PLAZA STATION, PO BOX 23986
WASHINGTON, DC 20026-3986


GINES, ABE S.                                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GINES, SHIRLEY                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GINGLES, DONNETTA C, PR OF THE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SHIRLEY MOSES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GINGRAS, ROBERT                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GINLEY, JOHN P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GINN, BONITA L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GINTER, EDWIN LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIOIA, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIONET, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIONFRIDDO, LYS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIORDANENGO, ANTHONY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIORDANO, ALDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIORDANO, ALFRED J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GIORDANO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIORDANO, DAVID FRED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIORDANO, JOHN O.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GIORDANO/ARONSON, JOYCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIORGI, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIOVANNI, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GIOVINGO, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIPPRICH, STEPHEN J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


GIPPRICH, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIPSON INDUSTRIAL COATINGS, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2007
PORT ARTHUR, TX 77643




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GIPSON, BILLY M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIPSON, BILLY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIPSON, WILSON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIRARDIN, ALLAN J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GIRARDIN, WILLIAM J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIROUARD, EUGENE A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GIROUX, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GISH, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GISH, KEITH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GITCHEL, LEO DALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GITTENS, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GITTO, JOSEPH F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIULIANO, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIUSTINO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIVEANS, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GIVENS, CARL DENTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GIVENS, RODGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

GIVENS, STANLEY, SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GIVLER, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GIZINSKI, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GJURICH, MILAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GK TECHSTAR LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
802 W 13TH ST
DEER PARK, TX 77536


GKN SINTER METALS LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3300 UNIVERSITY DR
AUBURN HILLS, MI 48326


GLADDEN, BRENDA J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLADDEN, GARRY D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLADUE, THEODORE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GLADUS, WILLIAM K.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GLADWIN MANAGEMENT INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5901 COLE AVE
DALLAS, TX 75205


GLANCEY, LLOYD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLASCO, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLASER, MELVYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GLASER, RICHARD L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLASGOW, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLASGOW, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GLASGOW, TERESA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLASPIE, TERRY LEWIS (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GLASS, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLASS, JANET ELAINE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD J BOUNDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLASS, MILDRED M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE GLASS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLASS, W.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLASSCOCK CO. ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9
GARDEN CITY, TX 79739


GLASSCOCK CO. UWD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
117 E. CURRIE
GARDEN CITY, TX 79739


GLASSCOCK COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLASSCOCK COUNTY COURTHOUSE
117 E. CURRIE
GARDEN CITY, TX 79739


GLASSIE, FRANK L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLAUSER, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLAZER, JEROME                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GLEASON, ANN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J GLEASON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLEASON, JAMES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GLEASON, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLEATON, BENNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLEESON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GLEN ALDEN CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


GLEN ROSE AUTO PARTS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2141
GLEN ROSE, TX 76043


GLEN ROSE HEALTHCARE INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRUCE CARPENTER MD
PO BOX 3129
GLEN ROSE, TX 76043


GLEN ROSE INDEPENDENT SCHOOL DISTRICT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GLEN ROSE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1102 STADIUM DRIVE
GLEN ROSE, TX 76043


GLEN ROSE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: R. BRUCE MEDLEY
PO BOX 13430
ARLINGTON, TX 76094-0430


GLEN ROSE MEDICAL FOUNDATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLEN ROSE MEDICAL CENTER
PO BOX 2099
GLEN ROSE, TX 76043


GLEN ROSE, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 NE VERNON
GLEN ROSE, TX 76043


GLENN, ALVIN E & LINDA GLENN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLENN, LOUISE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLENN, THOMAS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLENNON, JAMES DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLENSKY, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLENSKY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GLIBOWSKI, MICHAEL J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GLIBOWSKI, STEPHEN J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GLICK, DAVID W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GLICK, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLICK, RON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLIDDEN COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
925 EUCLID AVENUE
CLEVELAND, OH 44115


GLIDDEN, ARLO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLIEDMAN, PHILIP H, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLINES, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GLITSCH, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4900 SINGLETON BLVD
DALLAS, TX 75212


GLITSCH, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES SPAULDING,VP,COMMERCIALON BLVD
PO BOX 660053
DALLAS, TX 75212


GLOBAL ALARM SYSTEMS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 580
WHITEHOUSE, TX 75791


GLOBAL ICEBLASTING INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
104 LEDGENEST DR
MCKINNEY, TX 75070


GLOBAL INSULATION INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4450 BELDEN VILLAGE ST NW STE 406
CANTON, OH 44718


GLOBAL KNOWLEDGE TRAINING LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9000 REGENCY PARKWAY, SUITE 400
CARY, NC 27518


GLOBAL KNOWLEDGE TRAINING LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: NICKI HUTCHINS
PO BOX 116929
ATLANTA, GA 30368-6929


GLOBAL RAIL SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 110
MARLIN, TX 76661-0110


GLOBAL RAIL SYSTEMS, INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ARCHER & GREINER, PC
ATTN: JERROLD S. KULBACK, ESQ.
ONE CENTENNIAL SQUARE
HADDONFIELD, NJ 08033


GLOBAL TECHNICAL TRAINING SERVICES INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SID CROUCH, VP/CLAY SCHILE, PRES.
P.O. BOX 1679
SENECA, SC 29679




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GLOBE UNION                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5757 N. GREENBAY AVENUE
MILWAUKEE, WI 53201


GLOBE UNION, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 INTERNATIONALE PKWY
WOODRIDGE, IL 60517


GLOCK, JOHN W , SR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND H GLOCK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLOCK, JOHN W, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLOCKZEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GLOCKZIN JR, EMANUEL H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLOCKZIN JR., EMANUEL H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLOGOWER, WARREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLOSSICK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLOVER, FRANK M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GLOVER, KWANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

GLOVER, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLOVER, WADE R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLOVER, WILLIAM ZACK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GLOWACKI, JOHN M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN GLOWACKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLOWPOINT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8288
PASADENA, CA 91109-8288


GLOYESKE, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GLUCK, DOUGLAS K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERBERT GLUCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GLUCK, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GLYNDON J SHELTON INDIVIDUAL AND                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GNB BATTERY TECNOLOGIES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RICHARD CROWELL
1110 HIGHWAY 110
MENDOTA HEIGHTS, MN 55118


GNB BATTERY TECNOLOGIES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O: GARNER CARON & DOUGLAS
ATTN: SUSAN M. FRANZETTI
321 NORTH CLARK STREET, SUITE 3400 - QUAKER TOWER
CHICAGO, IL 60610-4795


GNECH, CAESAR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GNEFKOW, SUSAN K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GNIBUS, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOAD, BARBARA S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOAD, DENNIS W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GOAD, STEVE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GOBLE, FRED ELONE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GODBOLD, JOHN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODFREY, BARBARA M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GODFREY, CLAUDE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GODFREY, FLOYD W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GODFREY, JAMES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODFREY, JAMES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GODFREY, JEFFREY G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GODISKA, FLORENCE I, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CYRILL M GODISKA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODREAU, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GODSEY, ANNABELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

GODWIN PUMPS OF AMERICA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2727 APPELT
HOUSTON, TX 77015


GODWIN, BETTY LOU                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GODWIN, BYRON S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GARN T GODWIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODWIN, JAMES H., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GODWIN, MARIE ANN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM GODWIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODWIN, MELANY J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND E MICHAELS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GODWIN, RONALD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOELLER, BRENDA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J BRASHEARS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOERINGER, KRAYTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOERSHEL, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOESTENKORS, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOETKE, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOETTSCH, JAMES M. (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GOETZ, DAVID, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


GOETZ, LEWIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOFF, ERNEST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOFF, JUNG LAZ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOFFMAN, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

GOFFNEY, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GOFORTH, DONALD PHILL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GOFORTH, JAMES DELMER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GOGGIA, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOGOLLA, RUDOLPH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOHSLER, RICHARD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GOIN, VALDA LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOINS, GARFIELD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

GOINS, OTTO LEE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GOINS, RICHARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOKEY RANCH, LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SILLS CUMMIS & GROSS P.C.
ATTN: KATHERINE M. LIEB, ESQ.
101 PARK AVE, 28TH FL
NEW YORK, NY 10178


GOLABIEWSKI, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLASZEWSKI, MARK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLDBERG, BECKY B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLDBERG, BENNY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLDBERG, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLDBERG, HERBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOLDBERG, MICHAEL J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLDBERG, MORTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOLDEN BREW COFFEE SERVICE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
602 S MEADOW
ODESSA, TX 79761


GOLDEN, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOLDEN, CAROL, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD B GOLDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLDEN, GWENDOLYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLDEN, LINCOLN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLDEN, RONNY, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLDEN, VANCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GOLDEN, WILLIAM H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOLDEN, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLDER ASSOCIATES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SUSAN DAVIS
3730 CHAMBLEE TUCKER RD.
ATLANTA, GA 30345


GOLDER ASSOCIATES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOCKBOX 934544
ATLANTA, GA 31193-4544


GOLDING, PRESTON C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLDNER, EDWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOLDSTEIN, IRVING F.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GOLDSTEIN, IRVING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLEMBESKI, FRANCIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLIGHTLY, JOHN & CAROLYN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

GOLLADAY, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLLERY, SUSAN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD J PITTIUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLLIE, WAYNE G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOLLIHAR, SARAH GENEICE (MORRIS)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLLY, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOLTZ, FREDERICK M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOLUMBEK, PETER M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALPHONSE GOLUMBEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOMBERT, RODNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOMES, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

GOMEZ, BRANDON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOMEZ, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GOMEZ, DENEEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOMEZ, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GOMEZ, JUAN C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GOMEZ, SERGIO L. GONZALEZ                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONCE, NICHOLA C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER R DURDELLA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GONDEK, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GONSALVES, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GONZALES, BILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GONZALES, ISRAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALES, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALES, KATHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


GONZALES, LIBORIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GONZALES, NIEBEZ                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GONZALES, PATRICK C.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GONZALEZ FUENTES, JORGE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ LUENGO, JOSE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, ANDRES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

GONZALEZ, CARMEN PAZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, CARMEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, CRISTOBAL J.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, ELIAS ANTONIO CANEPA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, EMILIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GONZALEZ, ESMERALDA G                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, JOSE I.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, JOSE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, JUAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, RITA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GONZALEZ, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GONZALEZ, SEFERINO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

GONZALEZ, SEFERINO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOOCH, CAROL, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE KIENLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOOD ENERGY LP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
232 MADISON AVE STE 405
NEW YORK, NY 10016


GOOD SIGNATURE PROPERTIES DBA MUNGER PLACE                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DIRK J. KELCHER
3500 KIM DR
IRVING, TX 75061


GOOD, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOOD, CLIFTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOOD, JOSEPH J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOOD, PERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOOD, ROBERT B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOODACRE, DARLENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GOODALE, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODALL RUBBER CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COATS ROSE YALE RYMAN & LEE PC
JAMES M RILEY JR, LAWRENCE A LYNN
3 EAST GREENWAY PLAZA, SUITE 2000
HOUSTON, TX 77045-0307


GOODE, FRANCIS P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOODE, RANDY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODE, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODENOUGH, JO LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODENOUGH, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOODGER, GEORGE STANLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOODGION, EDGAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODGION, FRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOODLEAF, GEORGE H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GOODLOE, RUTHIE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GOODMAN COMPANY LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5151 SAN FELIPE; SUITE 500
HOUSTON, TX 77056


GOODMAN MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5151 SAN FELIPE; SUITE 500
HOUSTON, TX 77056


GOODMAN, A                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, AA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, ADRIAN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS A MCKENZIE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODMAN, CODY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, GEORGE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, JUDITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF RAYMOND GOODMAN
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


GOODMAN, LARRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOODMAN, LARRY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODMAN, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODMAN, MICHELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, PAMELA EDGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, PAUL I. (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODMAN, PHILLIP J,                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GOODMAN, PHYLLIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODMAN, TANYA ANNE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN W SCHEETZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODMAN, WALLACE N                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODPASTURE, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 912
BROWNFIELD, TX 79316




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DREW MELVIN SCHILLING, ATTORNEY AT LAW
PO BOX 1288
ROCKFORD, IL 61105-1288


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 S. MAIN STREET
AKRON, OH 44311


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOUR COLISEUM CENTRE
2730 W. TYVOLA RD.
CHARLOTTE, NC 28217


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA ANN LACONTE, ATTORNEY AT LAW
CHASE BUILDING, SUITE 600
124 S.W. ADAMS
PEORIA, IL 61602


GOODRICH CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGOLIS EDELSTEIN
DAWN DEZII
100 CENTURY PARKWAY SUITE 200
MOUNT LAUREL, NJ 08054




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOODRICH CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
ARTHUR “ART” ALMQUIST
1200 ONE ALLEN CENTER, 500 DALLAS ST
HOUSTON, TX 77002


GOODRICH CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
ARTHUR “ART” ALMQUIST
2615 CALDER AVE SUITE 800, PO BOX 16
HOUSTON, TX 77002


GOODRICH CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
ARTHUR “ART” ALMQUIST
ONE ALLEN CENTER, 500 DALLAS, SUITE 1200
HOUSTON, TX 77002


GOODRICH PETROLEUM COMPANY LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 LOUISIANA STREET
SUITE 700
HOUSTON, TX 77002


GOODRICH PETROLEUM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 LOUISIANA, SUITE 700
HOUSTON, TX 77002


GOODRICH, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOODRICH, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODRICH, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOODRIDGE, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODRUM, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODSELL, ROBERT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODSON, DAVID HUGHES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODSON, DONALD J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GOODSON, ED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODSON, FONZIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODSON, FRANCES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOODSON, GERARD C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOODSON, SHEREEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

GOODWAY REFINING LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4745 ROSS RD
ATMORE, AL 36502


GOODWIN, JOHN T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GOODWIN, RICKY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOODWIN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODWINE, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOODYEAR CANADA INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 KIPLING AVE
TORONTO, ON M8Z 5E7
CANADA

GOODYEAR PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 INNOVATION WAY
AKRON, OH 44316-0001


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID L. BIALOSKY, SVP, GEN. COUN.
& SECRETARY
200 INNOVATION WAY
AKRON, OH 44316-0001




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 INNOVATION WAY
AKRON, OH 44316-0001


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2711 CENTERVILLE RD
STE 400
WILMINGTON, DE 19808


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUDD LARNER PC
TERENCE CAMP
150 JOHN F KENNEDY PKWY
SHORT HILLS, NJ 07078-2703


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID L. BIALOSKY, SVP, GEN. COUN.
& SECRETARY
200 INNOVATION WAY
AKRON, OH 44316-0001


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNCH DASKAL EMERY, LLP
264 WEST 40TH STREET
NEW YORK, NY 10018


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PORTER & HEDGES, LLP
RICKY RAVEN
1000 MAIN STREET, 36TH FLOOR
HOUSTON, TX 77002


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VORYS SATER SEYMOUR & PEASE LLP
DAVID A. OLIVER
700 LOUISIANA STREET, SUITE 4100
HOUSTON, TX 77002


GOODYEAR TIRE & RUBBER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VORYS, SATER, SEYMOUR AND PEASE LLP
TIFFANY SUE BINGHAM
700 LOUISIANA STREET
HOUSTON, TX 77002




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

GOODYEAR TIRE & RUBBER CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TAKASHI ITO,AGENT
1144 E. MARKET ST.,DEPT.616
AKRON, OH 44316


GOODYEAR TIRE & RUBBER CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID L. BIALOSKY, SVP, GEN. COUN.
& SECRETARY
200 INNOVATION WAY
AKRON, OH 44316-0001


GOODYKE, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GOOGLE INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT 33654
PO BOX 39000
SAN FRANCISCO, CA 94139


GOOGLE INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WHITE AND WILLIAMS LLP
ATTN: STEVEN E. OSTROW, ESQUIRE
7 TIMES SQUARE, SUITE 2900
NEW YORK, NY 10036-6524


GOOLSBEE, HOMER W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOOLSBEE, HOMER W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOON VALENTIEN, CONNIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GORD, HARVEY EDWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GORDILLO, FELIX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GORDIUS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORDON GASKET & PACKING CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5800 MACCORKLE AVE SE
CHARLESTON, WV 25304


GORDON, BILLY RAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GORDON, DARYL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GORDON, DAVID T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GORDON, GUY R, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUY C GORDON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GORDON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORDON, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GORDON, MAC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GORDON, NICOLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GORDON, RONALD ERVIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GORDON, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORDON, THERESA D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GORDON, TONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GORDON, TROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORDON, WILMA M, FOR THE ESTATE OF                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL GRANT GORDON
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


GORDON, WILMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GORE, E KATHLEEN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DURAN C GORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GORETSKI, HELEN M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICHOLAS GORETSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GORMAN RUPP CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 SOUTH AIRPORT RD.
MANSFIELD, OH 44903


GORMAN RUPP INTERNATIONAL COMP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 SOUTH AIRPORT RD.
MANSFIELD, OH 44903


GORMAN, BEVERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


GORMAN, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GORMAN, GERARD A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GORMAN, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORMAN, MARTIN T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GORMAN, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GORMAN/ZIMMERMAN, KATHLEEN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GORNEAU, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GORNIC, GERALD S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GORSUCH, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOSE, DOUGLAS L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOSHIEN, ROY DEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOSNEY, TINA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOSS INTERNATIONAL AMERICAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 TECHNOLOGY DR
DURHAM, NH 03824


GOSS, ELLIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOSS, W M & LILLIE GOSS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOSSAGE, ARNOLD A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOSSARD, EARL ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOSSETT, CHARLES M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOTCHER, DAVID RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOTCHER, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOTSCHALL, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOTT , GEORGE,                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOTTLEIB, BEVERLY A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ERNEST A SENGEBUSCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GOTTLIEB, ALAN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOTTLIEB, ALAN W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOUGE, WILLIAM H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GOULD & LAMB                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 RIVERFRONT BLVD STE 100
BRADENTON, FL 34205


GOULD & LAMB                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2397 HUNTCREST WAY STE 200
LAWRENCEVILLE, GA 30043-6309


GOULD ELECTRONICS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAUPTSTRAßE 3
EICHSTETTEN, 79356


GOULD ELECTRONICS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEVIN PETERSON
10213 CAMA VALLEY CV
AUSTIN, TX 78739


GOULD INSTRUMENT SYSTEMS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8333 ROCKSIDE RD
CLEVELAND, OH 44125


GOULD INSTRUMENT SYSTEMS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8333 ROCKSIDE ROAD
VALLEY VIEW, OH 44131


GOULD, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MICHAEL C. VEYSEY
35129 CURTIS BLVD.
EASTLAKE, OH 44094-4001


GOULD, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOULDS PUMPS (IPG) INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 FALL STREET
SENECA FALLS, NY 13148


GOULDS PUMPS (IPG) INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 FALL STREET
SENECA FALLS, NY 13148


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 FALL STREET
SENECA FALLS, NY 13148


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2881 EAST BAYARD STREET
SENECA FALLS, NY 13148


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 E LOMBARD STREET
BALTIMORE, MD 21202


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


GOULDS PUMPS (IPG) INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
MARK DUANE BAUMAN
701 MARKET STREET, STE 1300
ST LOUIS, MO 63101


GOULDS PUMPS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 FALL STREET
SENECA FALLS, NY 13148




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HINSHAW & CULBERTSON LLP
DENNIS J GRABER
PO BOX 509
BELLEVILLE, IL 62222


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 FALL STREET
SENECA FALLS, NY 13148


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2881 EAST BAYARD ST
SENECA FALLS, NY 13148


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CULLEN & DYKMAN, LLP
177 MONTAGUE STREET - 4TH FLOOR
BROOKLYN, NY 11210


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CULLEN & DYKMAN, LLP
44 WALL STREET
NEW YORK, NY 10005


GOULDS PUMPS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
N/K/A ABB INC.
150 BROADWAY, SUITE 600
NEW YORK, NY 10038




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE LLP
L. HAYES FULLER III, 900 WASHINGTON AVE
7TH FL, PO BOX 1470
WACO, TX 76703-1470


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE, PLLC
L. HAYES FULLER III
400 AUSTIN AVE, SUITE 800
WACO, TX 76701


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE, PLLC
L. HAYES FULLER III
400 AUSTIN AVE, SUITE 800
WACO, TX 76703


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE, PLLC
RAYMOND C. JR. PALMER
400 AUSTIN AVE, SUITE 800
WACO, TX 76701


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE, PLLC
RAYMOND C. JR. PALMER
400 AUSTIN AVE, SUITE 800
WACO, TX 76703


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE OF TEXAS
PO BOX 12079
AUSTIN, TX 78711-2079


GOULDS PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVE LORANGER
C/O ITT INDUSTRIES, INC.
4 WEST RED OAK LANE
WHITE PLAINS, NY 10604


GOULET, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GOULET, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOUYD, MARTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GOVAN, DOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GOVAN, ELWIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GOVAN, LOIS MARIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GOVANG, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GOVEA, JESUS MANUEL ENRIQUEZ                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOVEA, JESUS MANUEL HENRIQUEZ                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOVERNMENT OF THE DISTRICT OF COLUMBIA                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF TAX AND REVENUE
1101 4TH STREET, SW, SUITE W270
WASHINGTON, DC 20024


GOW, VIVIAN AND GEORGE GOW                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                       Nature

GOW, VIVIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOWEN, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOWIN, ERNEST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOWING, WARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOYETTE, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GOZDZIALSKI, STEVAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GOZLEY, EUGENE M                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GP STRATEGIES CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 932816
ATLANTA, GA 31193-2816


GRABER, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRABIAS, DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRABILL, DARLENE M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRABINSKI, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRABLIAUSKAS, EDWARD J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRABOWSKI, JOHN J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRABOWSKI, STANLEY JOSEPH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRABUSKY, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRACE MANUFACTURING INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRACE STANDARD % CARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10783 CR 246 N
HENDERSON, TX 75652


GRACE, CICERO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRACE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRACE, ROBERTA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRACE, TOMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRACE, W.R.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRACHAN, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRACI, GIUSEPPE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRACIA, MARITZA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRACY TITLE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 S MO PAC EXPY STE V100
AUSTIN, TX 78746-5796


GRACY TITLE COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOR THE BENEFIT OF THE CUMMINS
FAMILY TRUST
100 CONGRESS AVE STE# 100
AUSTIN, TX 78701


GRADY, DEANNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRADY, JEFFREY T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRADY, LARRY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GRADY, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRADY, MARLENA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRADY, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRADY, WALTER P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRADY, WALTER R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAESER, THOMAS D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAFFEO, MARIO A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRAFTON, BARTHOLOMEW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


GRAFTON, RICHARD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GRAFTON, ROBERT J--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GRAGG, TODD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GRAHAM ELECTRONICS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11422 HARRY HINES #114
DALLAS, TX 75234


GRAHAM ENERGY SERVICES INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



GRAHAM HOSPITAL DISTRICT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRAHAM REGIONAL MEDICAL CENTER
1301 MONTGOMERY ROAD
GRAHAM, TX 76450


GRAHAM ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 THIRD STREET
GRAHAM, TX 76450


GRAHAM MAGNETICS BY CARLISLE COMPANIES INC.                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 S. CLINTON STREET
SYRACUSE, NY 13202


GRAHAM MAGNETICS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4001 AIRPORT FREEWAY ST. 400
BEDFORD, TX 76021-6125


GRAHAM MAGNETICS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL ROBERSON,SR.CORP.CNSEL.
CARLISLE COMPANIES,INC.
SYRACUSE, NY 13202


GRAHAM RESOURCES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3134
COVINGTON, LA 70474


GRAHAM, BILL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, CHRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
429 FOURTH STREET
GRAHAM, TX 76450


GRAHAM, CRAIG                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAHAM, DURWARD B , III, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DURWARD B GRAHAM JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAHAM, EILEEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GORDON H HANKEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAHAM, EILEEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUCILLE HANKEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAHAM, ELWOOD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAHAM, GWENDOLYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, J DOUGLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, JAMES T.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRAHAM, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAHAM, JEFFREY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GRAHAM, JOE NEAL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAHAM, JOHNNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAHAM, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, MAURICE K, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAHAM, PATRICIA A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


GRAHAM, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GRAHAM, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAHAM, RICHARD S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

GRAHAM, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAHAM, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAHAM, THOMAS B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRAHAM, VERNELL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRAHAM, WALTER C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAHAM, WILLIAM ANDREW                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAINGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1507 W COTTON
LONGVIEW, TX 75604


GRAINGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5000 NORTHEAST PKWY
FORT WORTH, TX 76106


GRAINGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 875096810
PO BOX 419267
KANSAS CITY, MO 64141-6267


GRAINGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 882273600
PO BOX 419267
KANSAS CITY, MO 64141-6267




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAMAZIO, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAMAZIO, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAMLICH, FERDINAND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAMONT, MARC L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAMS, JOHN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRANATO, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANBURY AIR CONDITIONING & HEATING                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1195
GRANBURY, TX 76048


GRANBURY AIR CONDITIONING                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& HEATING
P O BOX 1195
GRANBURY, TX 76048


GRANBURY ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 W. PEARL STREET
GRANBURY, TX 76048


GRANBURY PARTS PLUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2102 HWY 377
GRANBURY, TX 76049




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Name of Counterparty                                                                                            Nature

GRAND CANYON MANAGEMENT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10028 ROYAL LANE
DALLAS, TX 75238


GRAND PRAIRIE ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2602 S. BELT LINE ROAD
GRAND PRAIRIE, TX 75052


GRAND PRAIRIE, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
317 COLLEGE ST.
PO BOX 534045
GRAND PRAIRIE, TX 75050


GRANDE, BRIEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDE, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDE, MARTINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDILLO, MARSHALL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANDO, ANTE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRANDON, SCOTT A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANESE, EMILY JO, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A GRANESE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

GRANGER, TERRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRANHOLM, ALISSA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANHOLM, BRIAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANHOLM, BRIAN, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANHOLM, PAULY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANLUND, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRANO, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRANT, BONNY E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANT, DAVID E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANT, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRANT, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

GRANT, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRANT, LARRY ALVIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


GRANT, LEROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRANT, NEAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANT, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANT, ROBERT GORDON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRANT, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRANTHAM OIL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
605 PETERSON AVENUE S
DOUGLAS, GA 31533


GRANTHAM, HERMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAPEVINE - COLLEYVILLE ISD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3051 IRA E. WOODS AVENUE
GRAPEVINE, TX 76051




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAPEVINE, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRAPEVINE CITY HALL
200 S. MAIN ST.
GRAPEVINE, TX 76051


GRAPHIC PRODUCTS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4030
BEAVERTON, OR 97076-4030


GRAS, NIKO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRASLEY, HAROLD V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRASSESCHI, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRASSI, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRASSO, GENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRATTAN, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAVELINE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAVELLE, GARY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRAVELLE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAVER TANK & MANUFACTURING CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10101 BAY AREA BLVD
PASADENA, TX 77507


GRAVER TECHNOLOGIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 LAKE DRIVE
GLASGOW, DE 19702


GRAVER TECHNOLOGIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 91494
CHICAGO, IL 60693-1494


GRAVER WATER SYSTEMS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 93718
CHICAGO, IL 60673


GRAVER, DAVID B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GRAVER, FRANCES A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GRAVES, CHARLES L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAVES, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAVES, FRANCES A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY MISLOSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAVES, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAVES, KATHERINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAVES, KELLY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAVES, NEIL A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GRAVES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAVIETT, BERTHEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAVOGRAPH NEW HERMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 934020
ATLANTA, GA 31193




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAY, ARTHUR H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, CARRIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, CATHERINE L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELWOOD GRAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAY, DALE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, DANIEL K.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2746 SEMOUR LN
SPRINGFIELD, OH 45503


GRAY, DONALD C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAY, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, DONALD M--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GRAY, EARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRAY, ETHEL RAYE PHILLIPS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, ETHEL RAYE PHILLIPS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAY, HOLLY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E GRAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAY, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAY, JIMMY EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRAY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAY, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, LENDA S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, LILLIE MAE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, MARY ALMA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GRAY, MATTHEW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, OLLIE SIMON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, RICHARD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRAY, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAY, ROBERT A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, SELENA ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, TIMOTHY EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAY, TIMOTHY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRAY, WAYMON H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GRAY, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAY, WM M.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GRAY, WM. M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAYBAR ELECTRIC CO INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
34 N MERAMEC AVE
ST LOUIS, MO 63105


GRAYBAR ELECTRIC CO INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4601 CAMBRIDGE RD
FORT WORTH, TX 76155


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


GRAYBAR ELECTRIC COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATHAN SCOTT MCMAHILL
1520 MARKET
ROOM 1062
ST LOUIS, MO 63103




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Name of Counterparty                                                                                            Nature

GRAYBEAL, JACK M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRAYCOR CONSTRUCTION CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 MID AMERICA PLZ #400
OAKBROOK TERRACE, IL 60181


GRAYSON CO. J.C. DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6101 GRAYSON DRIVE (HWY. 691)
DENISON, TX 75020


GRAYSON COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 W. HOUSTON
SHERMAN, TX 75090


GRAYSON, FRED E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAYSON, MIGNON F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRAYSON, MURLIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRAZESKI, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREANEY, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 N. LASALLE ST. SUITE 920
CHICAGO, IL 60601




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Name of Counterparty                                                                                            Nature

GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


GREAT DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
3765 CRESTWOOD PKWY SUITE 350
DULUTH, GA 30096


GREAT IOWA TREASURE HUNT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LUCAS STATE OFFICE BUILDING
ATTN: KATHRYN FEHRING
321 E. 12TH ST., 1ST FLOOR
DES MOINES, IA 50319


GREAT LAKES CHEMICAL CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9025 NORTH RIVER ROAD, STE 400
INDIANAPOLIS, IN 46240


GREAT LAKES DREDGE & DOCK COMP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2122 YORK ROAD
OAK BROOK, IL 60523




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Name of Counterparty                                                                                            Nature

GREAT WESTERN INSURANCE COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
ST PAUL, MN 55101


GREAVER, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREBE, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRECO, CHARLES P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRECO, PHILIP A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREEAR, ROGER K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREEFF, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREELEY, CHRISTIAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREELING, JOHN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREEN BAY PACKAGING INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 N. WEBSTER COURT
GREEN BAY, WI 54307-9017


GREEN CUSTOM SERVICES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 44
BREMOND, TX 76629


GREEN, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREEN, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, BETTY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, BILLY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, BOBBY W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, BRYAN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SHELTON L GREEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREEN, CAROLYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, CHARLES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREEN, CHARLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GREEN, CHRISTINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, CLAUDE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GREEN, CRYSTAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREEN, DALE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, DAVID J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREEN, DAVID L, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREEN, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREEN, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN, DUSTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREEN, ELIAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GREEN, ELVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, JEFF                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, JESSIE R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, JIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN, JIMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREEN, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN, PATRICIA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREEN, RICHARD LANE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GREEN, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREEN, ROBERT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GREEN, RONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GREEN, SANDRA E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREEN, SHERRY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, SHERRY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREEN, THOMAS E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


GREEN, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN, TOMMY A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GREENARD, LLOYD T., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENARD, LLOYD TIMOTHY, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENAWALT, DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENBERG GRANT & RICHARDS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 571811
HOUSTON, TX 77057


GREENBERG, AARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENBERG, MARY GLORIA, FOR THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CARL R GREENBERG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENBURG GRANT & RICHARDS MAR                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 571811



HOUSTON, TX 77057


GREENE TWEED & CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2075 DETWILER RD
KULPSVILLE, PA 19443


GREENE TWEED & CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


GREENE TWEED & CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1510 GEHMAN RD
KULPSVILLE, PA 19443


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2075 DETWEILER RD
KULPSVILLE, PA 19443


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2075 DETWILER RD
KULPSVILLE, PA 19438


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ARTURO M. AVILES
100 CONGRESS AVE STE 800
AUSTIN, TX 78701


GREENE TWEED & CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN A. LABOON
100 CONGRESS AVE STE 800
AUSTIN, TX 78701




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GREENE TWEED & CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
SHELLY MASTERS
100 CONGRESS AVE STE 800
AUSTIN, TX 78701


GREENE, CLINTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENE, DARRYL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENE, EARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENE, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENE, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GREENE, GERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GREENE, GRACIE J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENE, HERBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GREENE, LILLIE R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENE, M S                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENE, RANDY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD CROMPTON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENE, ROBERT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GREENE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


GREENE, SHIRLEY A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN R GREENE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENE, TIMOTHY C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GREENE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREENER, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENEY, FLOYD & TOMMIE M                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENEY, FLOYD & TOMMIE M                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENIER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENLAY, DONALD H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREENLEAF, BRENDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GREENLEAF, STERLING D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GREENLEAF, TIMOTHY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREEN'S CUSTOM SERVICES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13036 WOODED ACRES DR
BREMOND, TX 76629-5226




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Name of Counterparty                                                                                            Nature

GREEN'S CUSTOM SERVICES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 44
BREMOND, TX 76629


GREENSAGE, DORIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENSTREET, JOHN W, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENVILLE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4004 MOULTON STREET
GREENVILLE, TX 75401


GREENVILLE, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2821 WASHINGTON STREET
GREENVILLE, TX 75401


GREENWOOD, BREUNNA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREENWOOD, ELEANOR FAYE, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD GREENWOOD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREENWOOD, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREENWOOD, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENWOOD, LAVERA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENWOOD, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GREENWOOD, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREENWOOD, SHARONDA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREENWOOD, STEPHANIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER JR, FRANK WHITED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER JR, FRANK WHITED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER, ANDREW BRYAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER, GARY CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER, JAMES C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER, LARRY SIDNEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREER, MICHAEL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREER, NANCY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR W GREER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREER, RALPH E, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GREFCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 EAST CITY AVENUE
BALA CYNWYD, PA 19004


GREGG COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 EAST METHVIN
LONGVIEW, TX 75601


GREGG INDUSTRIAL INSULATORS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DR
LONGVIEW, TX 75602


GREGG INDUSTRIAL INSULATORS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4347
LONGVIEW, TX 75606


GREGG INDUSTRIAL INSULATORS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
ANDREW MICHAEL VOSS
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


GREGG INDUSTRIAL INSULATORS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS C MERRITT
201 ESTES DRIVE
LONGVIEW, TX 75603


GREGG, KATHYRN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREGG, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREGG, TRAVIS O AND WIFE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREGOR, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREGORY, AMBER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREGORY, ARCHIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREGORY, BERNICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREGORY, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREGORY, CAREY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREGORY, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GREGORY, ELIZABETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GREGORY, JACEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREGORY, JAMES W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GREGORY, JANET B. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREGORY, JERRY LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GREGORY, PAUL G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREGORY, RONALD A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREG'S OVERHEAD DOOR SVCS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4905 CR 467
ELGIN, TX 78621-5320


GREGURICH, LADDIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREIERT, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GREIF BROS. CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 WINTER ROAD AVENUE
DELAWARE, OH 43015


GREIF INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 WINTER ROAD
DELAWARE, OH 43015


GREIFF, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GREIN, LEO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GREIN, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GREINER, DWIGHT K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRELLE, MILTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRELLI, DOMINIC J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GREMILLION, NORMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GREMILLION, RANDALL G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GREMLER, WILLIAM MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GREMORE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRENFELL, THOMAS L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRENON, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRESDO, RITA M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRESH, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRESHAM, JANIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRESS, KAMAL N                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRESSMEN, LARRY O                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GREYHOUND LINES,INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL L. CRIM,CORP.CNSEL. & ASST.SEC
15110 NORTH DALLAS PARKWAY
DALLAS, TX 75248


GRGAS, ANTE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRGAS, BOZIDAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

GRGAS, DALIBOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRGAS, MARINKO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRGAS-GRANDO, ANDELKO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRIBBIN, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRIEF, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 WINTER ROAD
DELAWARE, OH 43015


GRIEGO, ORLANDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIENKE, JIM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIER, ALEXANDER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIER, DEAN FREDRICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

GRIESENBRAUCK, HERIBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRIESING, RONALD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFETT, GEORGE W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRIFFEY, ROGER K. AND JOYCE GRIFFEY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN RESTORATION INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 948
WHITESBORO, TX 76273


GRIFFIN, ANDREW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIFFIN, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, BOBBY LYNN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, DANIEL W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


GRIFFIN, DANIEL W., ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


GRIFFIN, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRIFFIN, DOROTHY C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD T GRIFFIN III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFIN, FRANCES G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFIN, GERALD T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRIFFIN, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRIFFIN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, JANICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, JOE H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFIN, JQHN W - EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                            Nature

GRIFFIN, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, MAURICE B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFIN, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFIN, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRIFFIN, TOMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GRIFFIN, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFIN, WARREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFIN, WILLIAM O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GRIFFIN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GRIFFIN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFIS, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COONEY & CONWAY
120 N LASALLE STE 3000
CHICAGO, IL 60602


GRIFFIS, JERRY MARVIN (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIFFITH, BOB WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIFFITH, BRIAN E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD R GRIFFITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, CATHY S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GRIFFITH, DONALD C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, ELAINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GRIFFITH, JERRY DON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRIFFITH, JOAN P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS F GRIFFITH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIFFITH, KATHRYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIFFITH, PHILLIP E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRIFFITH, ROBERT L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT G GRIFFITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, ROBIN F , SR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED A GRIFFITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, ROBIN F , SR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROSA B GRIFFITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIFFITH, RONNIE T, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIGGS, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRIGLAK, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIGOLEIT CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 N WOODFORD STREET
DECATUR, IL 62526


GRIM, ROBERT W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIM, STANLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRIMBLE, PAUL R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRIMES AEROSPACE COMPANY DBA SURFACE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 STATE ROUTE 55
PO BOX 247
URBANA, OH 43078


GRIMES AEROSPACE CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 STATE ROUTE 55
P.O. BOX 247
URBANA, OH 43078


GRIMES, EDGAR M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIMES, EURIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRIMES, GARY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIMES, KEVIN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIMES, LINDA ARLENE SANDERS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIMES, MARTHA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIMES, SHEILA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDDIE L YARBOUGH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIMES, VIRGINIA G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIMES, VIRGINIA G, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRIET MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRIMM, BILLY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


GRIMM, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRIMMELT, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

GRIMMETT, S.R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRINCAVITCH, JOHN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRINDLE, DONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRINDSTAFF, ROY LUTHER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRINDSTAFF, WAYNE J                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRINER, JENERAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRINNELL CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 PENNBROOK PARKWAY
LANSDALE, PA 19446


GRINNELL CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 TYCO PARK
EXETER, NH 03833-1114


GRINNELL CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD STE 2
PRINCETON, NJ 08540


GRINNELL CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CT CORPORATION SYSTEMS
116 PINE ST
STE 320
HARRISBURG, PA 17101




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE ST STE 320
HARRISBURG, PA 17101


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
41 SOUTH HADDON AVENUE, SUITE 5
HADDONFIELD, NJ 08033


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
F/K/A GRINNELL CORP
41 SOUTH HADDON AVE, SUITE 5
HADDONFIELD, NJ 08033


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GIBNEY ANTHONY FLAHERTY LLP
665 FIFTH AVENUE
NEW YORK, NY 10022-5305


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN, LEWIS & BOCKIUS LLP
502 CARNEGIE CENTER
PRINCETON, NJ 08540


GRINNELL CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE GATEWAY CENTER
GREENBERG DAUBER EPSTEIN TUCKER
SUITE 600
NEWARK, NJ 07102


GRINNELL FIRE PROTECTION SYSTEM                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
GRINNELL LLC
41 SOUTH HADDON AVE, SUITE 5
HADDONFIELD, NJ 08033




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

GRINNELL FIRE PROTECTION SYSTEM                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE GATEWAY CENTER
GREENBERG DAUBER EPSTEIN TUCKER
SUITE 600
NEWARK, NJ 07102


GRINNELL MECHANICAL PRODUCTS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 PENNBOOK PARKWAY
LANSDALE, PA 19446


GRINNELL MECHANICAL PRODUCTS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 PENNBROOK PARKWAY
LANSDALE, PA 19446


GRINNELL, LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD
PRINCETON, NJ 08540


GRINNELL, LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


GRINNELL, LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


GRISANTI, ROCCO P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GRISE, RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRISMER, RALPH J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRISSETT, JACKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRISSOM, BILL DON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRISSOM, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRISSOM, PATRICIA, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF RALPH GRISSOM III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRISSOM, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRIVNA, THOMAS R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRIZZELL, DALE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROBET USA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 WASHINGTON AVENUE
CARLSTADT, NJ 07072


GRODNER, LEON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


GRODZICKI, DIANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GROENDKE TRANSPORT,INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 632
ENID, OK 73702-0632




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GROENDYKE TRANSPORT, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 EL PUEBLO ROAD NW
ALBUQUERQUE, NM 87114


GROENDYKE TRANSPORT, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 MCKINNEY, SUITE 5100
FULBRIGHT TOWER
HOUSTON, TX 77010


GROENDYKE TRANSPORT, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 632
ENID, OK 73702


GROENING, JAMES KENNETH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GROESBECK INDEPENDENT SCHOOL DISTRICT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY VESELKA BRAGG & ALLEN P.C.
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680-1269


GROESBECK ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 S ELLIS ST
GROESBECK, TX 76642


GROESBECK LIONS CLUB                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 372
GROESBECK, TX 76642


GROFF, VINCENT E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GROFT, JOSEPH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROGAN, DANIEL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GROGAN, LUCILLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GROMADZKI, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GROMKO, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GROOMBRIDGE, LESLIE B.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GROOMS, AMANDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GROOMS, LORAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GROPP, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GROPPE LONG & LITTELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5300 MEMORIAL DR SUITE 375
HOUSTON, TX 77007


GROSE, MARGARET, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN P LENZI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROSS, CHARLES T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GROSS, LUCILLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROSS, NANCY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH J TRIONFO JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROSSMAN, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROSSMAN, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GROSSMAN, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GROSSMAN, RUDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROSSWILER, ROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GROTH, WINFRED A, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROUELL, FRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROUNDS, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GROVE, DUANE A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD M GROVE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROVE, GARY F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROVE, GEORGE AND YVONNE GROVE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROVE, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROVE, KATHLEEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GROVE, YVONNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROVER TYLER ESTATE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GROVES, JOHN F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GROVES, ROBERT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GROW, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHEIN LAW CENTER, LTD.
ATTN: BENJAMIN P. SHEIN, ESQ.
121 S. BROAD ST., 21ST FLOOR
PHILADELPHIA, PA 19107


GROWS, LINDY MARIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRUBB FILTRATION TESTING SERVICES INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1156
8006 ROUTE 130 NORTH
DELRAN, NJ 08075


GRUBB, DAPHA SANDERS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRUBBS, DONNA JEAN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES GRUBBS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRUBER, GODWIN WHITE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GRUBER, MICHAEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRUBISICH, DUSAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRUDZWICK, HENRY R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRUELL, KENNETH C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


GRUEN, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GRUESNER, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRUETZNERS COLLISION CENTER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 346
ELGIN, TX 78621


GRUMMAN HOUSTON CORP.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1840 CENTURY PARK EAST
LOS ANGELES, CA 90067


GRUNFOS PUMPS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17100 W. 118TH TERRACE
OLATHE, KS 66061


GRUNING, ARNOLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: MARY GRUNING, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GRUNSTEAD, DELBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRUPP, BRIAN A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVIN I GRUPP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GRUSZEWSKI, EUGENE J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GRUTER, FREDERICK J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

GRUVER, KENNETH E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GRYMKOWSKI, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GRYPARIS, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GSCHWIND, THEODORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GTANALYSIS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 14534
BRADENTON, FL 34280-4534


GTE PRODUCTS OF CONNECTICUT CORPORATION                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 ENDICOTT ST
DANVERS, MA 01923


GTE                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACQUE MCCORMICK,DIR.ENVIRON.AFFAIRS
700 HIDDEN RIDGE
IRVING, TX 75038


GTTSI                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1679
SENECA, SC 29679


GUADAGNO, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

GUADARRAMA, JOHN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUARANTY TITLE CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 481
FRANKLIN, TX 77856


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 S LOUISE ST
ATLANTA, TX 75551


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 S LOUISE ST
HOUSTON, TX 77002


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COTTON FARRELL, P.C.
WILLIAM H FARRELL
1010 LAMAR, SUITE 860
HOUSTON, TX 77002


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COTTON FARRELL, P.C.
WILLIAM HOWARD FARRELL
1010 LAMAR, SUITE 860
HOUSTON, TX 77002


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOGAN & WILKINSON PLLC
ROBERT W WILKINSON
734 DELMAS AVE.
PASCAGOULA, MS 39567


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOGAN & WILKINSON PLLC
ROBERT W WILKINSON
PO BOX 1618
PASCAGOULA, MS 39568


GUARD LINE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOGAN & WILKINSON PLLC
ROBERT W. WILKINSON
734 DELMAS AVE
PASCAGOULA, MS 39567




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

GUARD LINE INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOGAN & WILKINSON PLLC
THI TRUC GILLIES
1010 LAMAR STREET, SUITE 860
HOUSTON, TX 77002


GUARD LINE INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THI TRUC GILLIES
215 S LOUISE ST
ATLANTA, TX 75551


GUARD-LINE INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 S LOUISE ST
ATLANTA, TX 75551


GUARINO, JEROME F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUASTAMACCHIA, JOSEPH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUBBELS, CALEB                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUBBELS, HOPE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUBBELS, JAYDEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUBBELS, JOLENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUBBELS, SAMUEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUBBELS, SCOTT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUCKIAN, KENNETH C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUCU, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUDEHUS, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUE, THOMAS E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUELLER, ALLAN LLOYD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUERARD, OMER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUERIERI, BRIAN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALFRED R GUERIERI SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUERIERI, SHARON-ANN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICHOLAS C GUERIERI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUERRA JR., JOSEPH R.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUERRERO, ARTURO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUERRIERO, ROCCO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUERTIN, DAVID J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GUERTIN, DONALD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GUERTIN, PAUL M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


GUERTIN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUEST, BETTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUEST, COLBY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUEST, ERIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUEVARA, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUGINO, JAMES ANTHONY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GUGLIUZZA, GERMAINE C, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARLO L GUGLIUZZA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUICE, KENNETH H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUIDAL, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUIDRY, JAMES A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


GUILFORD, GEORGE A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUILFORD, RALPH E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GUILIANO, JAMES J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GUILIANO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUILLILY, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

GUILLORY, ANGELA YVONNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUILLORY, DEWEY PETER, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


GUILLORY, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUILLOT, LESLIE LAVIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUILLOT, SHERI SCHEXNAYDER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUIMARES, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUINN, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUIRE, SONDRA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS M TOUCHET
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUIRGUIS, SAMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GULBRANDSEN, FRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

GULBRANDSEN, FRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


GULF CHEMICAL & METALLURGICAL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2290
302 MIDWAY RD
FREEPORT, TX 77542-2290


GULF COAST LIGNITE COALITION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
MICHAEL J. NASI
100 CONGRESS AVE, SUITE 1100
AUSTIN, TX 78701


GULF COAST LIGNITE COALITION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
WILLIAM JAMES COBB, ILL, ATTORNEY
100 CONGRESS AVE, SUITE 1100
AUSTIN, TX 78701


GULF OIL CORP.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
935 GRAVIER STREET
NEW ORLEANS, LA 70112


GULF OIL CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POST BAG NO.1, SANATNAGAR (I.E) P.O
HYDERABAD
ANDHRA PRADESH, 500 018
INDIA

GULF OIL CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POST BAG NO.1, SANATNAGAR
HYDERABAD
HOUSTON, TX 77002


GULF OIL LP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POST BAG NO.1, SANATNAGAR (I.E) P.O
HYDERABAD
ANDHRA PRADESH, 500 018
INDIA

GULF PRECISION INDUSTRIES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9420 KNIGHT ROAD
ATTN: R. M. STRIBLING
HOUSTON, TX 77045




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

GULF SOUTH PIPELINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LPGREENWAY PLAZA, SUITE 2700
ATTN: CREDIT DEPARTMENT
HOUSTON, TX 77046


GULF SOUTH PIPELINE COMPANY, LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 730000
DALLAS, TX 75373


GULF STATES INDUSTRIAL SERVICE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3651 DUMBARTON ST
HOUSTON, TX 77025-1943


GULF STATES SUPPLY INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26 E HIGHWAY 184 GERALD DR
LAUREL, MS 39443


GULF STATES TUBE CORP.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O QUANEX CORP.
1900 W. LOOP S., SUITE 1500
HOUSTON, TX 77027


GULFPORT HARBOR MASTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMALL CRAFT HARBOR
GULFPORT, MS 39501


GULFPORT HARBOR/CITY OF GULFPORT                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1780
GULFPORT, MS 39502


GULHATI, KANWAR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GULLEDGE, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GULLEY, DANNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GULLEY, HORTENSE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GULLION, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUMBLE, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUNBERG, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GUND, STEVEN C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUND, WILLIAM P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUNDERSON, ALICE ANN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALTON C GUNDERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUNDERSON, VINCENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUNERMAN, KAREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUNN, JESSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUNN, JIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUNN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUNNELS, DAVID W., ET AL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


GUNTER, BILLY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUNTER, SARAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUNTHER, LOUIS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUPTA, VIRINDER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GURCHIK, LYNN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GURDA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GURKA, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GURLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GURLEY, KIRBY CLEVELAND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GURR, JOHN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GURTLER, EDWARD, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD N GURTLER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUS MAVRONICLES, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUS PETE SCHRAMM, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUSMAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUSMANO, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUSMER ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
81 M STREET
FRESNO, CA 93721


GUSTAVSON, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUTCHES, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GUTEKUNST, ROBERT J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


GUTHRIE, CARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUTHRIE, REBECCA D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUTIERREZ, RAYMOND V.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUTIERREZ, TILLIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUTOR AMERICAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JESSICA WESTLUND
12121 WICKCHESTER LN STE 400
HOUSTON, TX 77079


GUTOR AMERICAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JESSICA WESTLUND
12121 WICKCHESTER LN STE 400
HOUSTON, TX 77079


GUTSCHALL, FRANKLIN C.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GUTSCHALL, GEORGE C.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GUTSCHALL, MARK D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

GUTSCHALL, PAMELA M.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GUTSCHALL, STACIE L.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


GUTSHALL, CHRIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUTZMAN, GARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


GUY BROWN MANAGEMENT LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9003 OVERLOOK BLVD
BRENTWOOD, TN 37027


GUY BROWN MEDICAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9003 OVERLOOK BLVD
BRENTWOOD, TN 37027


GUY BROWN PRODUCTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 REMITTANCE DR #6089
CHICAGO, IL 60675-6089


GUY F ATKINSON CONSTRUCTION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
385 INTERLOCKEN LOOP
BROOMFIELD, CO 80021


GUY, L.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUY, RAEDONNA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUY, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUYNN, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUYON GENERAL PIPING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 N VIRGINIA AVE BLDG C, BUILDING C
PENNS GROVE, NJ 08069


GUYON GENERAL PIPING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAM CHARLES MARTIN
1125 LAND TITLE BUILDING
100 SOUTH BROAD STREET
PHILADELPHIA, PA 19110-1029


GUYON GENERAL PIPING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIERNEY LAW OFFICES
112 W. 34TH STREET
18TH FLOOR
NEW YORK, NY 10120


GUYTON, EMMETT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILSON GUYTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GUYTON, LORENZO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUYTON, MARLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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GUZAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

GUZMAN, ERIC, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


GUZMAN, GARY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GUZMAN, LUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


GUZMAN, MARGARITA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


GUZMAN, RAUL M DE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


GUZMAN, RUDOLPH ARTURA, II                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


GWILT, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GWIN, THOMAS N , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS N GWIN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


GWINN, ROGER D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

GWYNN, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


GXS INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 640371
PITTSBURGH, PA 15264-0371


GYORI, WILLI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


H & A CONSTRUCTION CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14945 SW 72ND AVE
PORTLAND, OR 97224


H & D DISTRIBUTORS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3236 IRVING BLVD
DALLAS, TX 75247


H & H OIL SERVICES,INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BILL HUNTER, AGENT
RT. 4, PO BOX 211
HENDERSON, TX 75652


H & H WATER SUPPLY CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
192 OLD HALLSBURD RD
RIESEL, TX 76682


H E SPANN CO INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1111
MOUNT PLEASANT, TX 75456-1111


H KRAMER AND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1345 W 21ST ST
CHICAGO, IL 60608


H L HOUSTON ESTATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

H&E EQUIPMENT SERVICES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BELL NUNNALLY
ATTN: RANDALL K. LINDLEY
3232 MCKINNEY AVE., STE. 1400
DALLAS, TX 75204


H. MUEHLSTEIN & CO., INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 CONNECTICUT AVENUE
NORWALK, CT 06854


H.B. FULLER CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 WILLOW LAKE BLVD
ST. PAUL, MN 55164


H.B. FULLER CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN LONGSTREET,VP,GEN.MGR.,
STRUCTURAL ADHESIVES GROUP
ST.PAUL, MN 55126


H.B. FULLER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 WILLOW LAKE BLVD
PO BOX 64683
ST. PAUL, MN 55164-0683


HAAR, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAAR, REGORY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAAS, BARRY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAAS, GARY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HAAS, MARY E, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY HAAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAAVISTO, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HABAS, ROBERT E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HABASCO, JAMES B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HABERKORN, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HABERLE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HABICHT, OSCAR E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAC CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
537 CAMDEN RD
GRAND PRAIRIE, TX 75051


HAC CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN HARAN,PRESIDENT
537 CAMDEN ST.
GRAND PRARIE, TX 75051


HACH COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2207 COLLECTIONS CENTER DR
CHICAGO, IL 60693




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HACH COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CONFIRMED ORDERS
PO BOX 608
LOVELAND, CO 80539


HACH COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CONFIRMED ORDERS
PO BOX 608
LOVELAND, CO 80539


HACH COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 389
LOVELAND, CO 80539-0389


HACK, JOSEPH S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HACK, SUZANNE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HACK, WILLIAM K.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HACKEL, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HACKENBERG, CHASE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HACKENBERG, DALE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HACKENBERG, RICK LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HACKER, THOMAS GEORGE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HACKER, TIMOTHY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HACKETT, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HACKETT, CHRISTOPHER, ET AL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HACKETT, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HACKETT, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HACKLER, ARNOLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HACKMAN, ROBERT E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HACKNEY, HAROLD AND LINDA HACKNEY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HACKWITH, BETTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HACKWITH, JIMMY W (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HADEN, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HADLEY, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HADLEY, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAEKLER, HELENE I                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAEKLER, RICHARD C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAEUSSNER, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAFFER, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAFFEY, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAFFNER, HAROLD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HAFFNER, LORI A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J HAFFNER III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAFLA, NICK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGAN, CAROLYN E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGAN, JAMES WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HAGAN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGAN, JANIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGAN, JEFF                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGAN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGAN, KENNETH AND JANET HAGAN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAGAN, WAYNE W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAGAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGANS, CALLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGANS, JONATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAGANS, LYNWOOD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGANS, RALPH E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAGE, THOMAS E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAGEMAN, HERMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGEMEYER NORTH AMERICA INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5805 W MARSHALL AVE
LONGVIEW, TX 75604


HAGEMEYER NORTH AMERICA INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 404753
ATLANTA, GA 30384-4753




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Name of Counterparty                                                                                           Nature

HAGEMEYER NORTH AMERICA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
734 W. CAMERON AVE.
ROCKDALE, TX 76567


HAGEN JR, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGEN, CHARLES & CAROLYN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGEN, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGEN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGEN, RONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAGENHOFF, NATHANIEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGEWOOD, BROWN T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAGGARD, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGGART, LAWRENCE D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                       Nature

HAGGERTY, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGGERTY, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAGGERTY, OWEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGSTROM, GOTTHARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAGUE, AARON KEITH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGUE, WILLIAM E, JR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAGUE, WLLIAM E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAHN, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAHN, DIANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAHN, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAHN, RORY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAHN, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAHN, THELMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAIDINGER, LISABETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAILE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAINES, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAINES, COLETHA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAINES, GERALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAIRE, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAIRSTON, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

HAIRSTON, DARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAIRSTON, DORIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAIRSTON, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HAITH, DARELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HAJOCA CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
127 COULTER AVE.
ARDMORE, PA 19003


HAKE, ALAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAKE, CHARLOTTE M, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF DALE L HAKE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAKE, JEAN, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DALE E SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAKE, TIMOTHY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HAKEY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAKIAN, CEDRIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAKIM, AMINAH ABDUL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALAS, DENNIS M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALASZ, STEPHEN A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HALAY, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HALBERG, RAYMOND V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HALDEX BRAKE PRODUCTS CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STINSON LEONARD STREET LLP
JON ANDREW SANTANGELO
7700 FORSYTH BOULEVARD, SUITE 1100
ST LOUIS, MO 63105


HALDEX BRAKE PRODUCTS CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
30600 TELEGRAPH RD STE 2345
BINGHAM FARMS, MI 48025




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HALE, CHARLES GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HALE, CHARLES R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALE, CHESTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALE, EUGENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALE, FRANK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALE, GOUNANA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALE, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HALE, JERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALE, PAUL BRIAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALE, ROBERT C, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HALE, TIMOTHY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HALE, TOMMY K                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALEY, ALBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HALEY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALEY, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALEY, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALEY, KAREN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALEY, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALEY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVIN SIMES KAISER & GORNICK, LLP
44 MONTGOMERY STREET, 32ND FLOOR
SAN FRANCISCO, CA 94104


HALKER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HALKO, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, ANGELA M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, ARTENEADO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, BYRON D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, BYRON SPENCER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, CHARLES K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HALL, CLOYS C (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, CURITS W. II                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, DENNIS S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD C HALL SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, DONALD C, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, DONALD E, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HALL, DONALD, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, DONNA D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GORDON L DORER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, DONNA SUE KERN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, DOUGLAS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, EARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, EDWIN A, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


HALL, ERIC A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, GLENN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, GUY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, JAMES DOYLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HALL, JAMES, JR.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HALL, JASON M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, JERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, JERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HALL, JIMMY E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, JONATHAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, KATHLEEN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, KEANETHIA MICHELLE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, KOYITTA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LAUREN LONG                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HALL, LEONORE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LILLIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LINDA M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, LORRAINE V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, LOUIS NEBANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HALL, MARGUERITE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER W HALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, MARJORIE R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILBUR E HALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, MICHAEL C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, MICHAEL F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, MICHAEL W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HALL, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, MIKE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, MURRAY LAWSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HALL, NATHAN RAYVON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HALL, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, QUEEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, RONALD W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                            Nature

HALL, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, RONALD, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, RONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, RUSSELL W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


HALL, RYAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, STEVEN W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALL, STEVEN WADE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HALL, THOMAS H, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALL, ULYSSES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALL, VICKI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

HALL, VIRGINIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


HALLAM, ERNEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALLAM, JANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALLAM, STEVEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALLBERG, ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HALLE, ROLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALLER, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALLER, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HALLETT, GARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALLIBURTON COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GODWIN GRUBER, PC
MICHAEL J. RAMIREZ
1700 RENAISSANCE TOWER, 1201 ELM STREET
DALLAS, TX 75270




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HALLIBURTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2020 K STREET NW
WASHINGTON, DC 20006


HALLIBURTON, VONN W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HALLIDAY, FRANCES CLEO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HALLISEY, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALLIWELL, JAMES J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HALLIWELL, ROBERT A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HALL-MARK FIRE APPARATUS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS LLC
10315 VETERANS MEMORIAL DR
HOUSTON, TX 77038


HALLMARK, ERSAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALLOCK, GERALD C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALLORAN, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HALLOWELL, DENNIS W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALLSBURG ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2313 HALLSBURG RD
WACO, TX 76705


HALLSBURG, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1115 WILBANKS DRIVE
HALLSBURG, TX 76705


HALLSTAR COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 SOUTH RIVERSIDE PLAZA SUITE 1620
CHICAGO, IL 60606


HALLUM, JOEWAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALONSKI, WALTER C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALONSKI, WALTER C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALPIN, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALPRIN, DONALD H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALSAK, NICHOLAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HALSELL, BEVERLY J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL C COOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HALSEY, BILL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALSEY, RIELEIN LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALSEY, RUBY JUNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HALSTEAD, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HALVERSON, KELLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HALVORSEN, RICHARD A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAM, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAM, LOYD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HAMAKER, TINA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMBLETON, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMBURG, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMBY, HARVEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMBY, WOODROW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


HAMEL, ARMAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMEL, CHARLES C, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMEL, PETER W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMILL, ARTHUR M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAMILTON DRYWALL PRODUCTS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
295 NORTH PEKIN RD.
WOODLAND, WA 98674




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMILTON MATERIALS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
345 WEST MEATS AVENUE
ORANGE, CA 92865


HAMILTON, ALONZO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAMILTON, BARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, BOBBY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMILTON, CHARLES B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


HAMILTON, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, CLIFTON C.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAMILTON, DARRYL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, EARL K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARENCE L HAMILTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMILTON, GILBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMILTON, HARRY C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAMILTON, IRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMILTON, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMILTON, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMILTON, JASMINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, JERRY & DELMA C                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, JOAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HAMILTON, KELLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMILTON, LEROY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMILTON, LINDA LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, LINDA R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD L HAMILTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMILTON, LINDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, MARK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, MARNE ANN CORKLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, MYRON V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMILTON, ROBERT J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAMILTON, SAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMILTON, WALTER GERALD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMM, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMM, DELMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMM, ELAINE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAMMAC, HUBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMMACK, JASON A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMAN, ODIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMMEL DAHL VALVES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 MANLEY STREET
WEST BRIDGEWATER, MA 02379


HAMMEL, ALAN W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAMMEL, CHARLOTTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF CARL HAMMEL
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


HAMMEN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMMER, BAILEY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMMERBACKER, JULIA A, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A HAMMERBACKER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMMETT, TERRANCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMOCK, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMMOCK, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMMOCK, WILLIAM T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMON, RANDY P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMMOND SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
644 E MCINTOSH ROAD
GRIFFIN, GA 30223


HAMMOND, ALONZO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMOND, ARNOLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMOND, HENRY B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMOND, JOHN P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HAMMOND, LOUIS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMMOND, MAX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMMOND, MICHAEL VERNON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HAMMOND, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


HAMMOND, TERRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAMMOND, WILMA FRANCES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMONDS, ROBERT & LUCILLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMMONS, JASON CHRISTOPHER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMON CUSTODIS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
941 ALTON PKY
BIRMINGHAM, AL 35210


HAMON CUSTODIS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 822769
PHILADELPHIA, PA 19182-2769




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMON RESEARCH COTTRELL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
58 E MAIN ST
SOMERVILLE, NJ 08876


HAMON RESEARCH-COTTRELL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 822773
PHILADELPHIA, PA 19182-2773


HAMPSHIRE INDUSTRIES, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
320 WEST 24TH STREET
BALTIMORE, MD 21211


HAMPSON, BARBARA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


HAMPSON, JOHN RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAMPSTON, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAMPTON HOLLOW TOWNHOMES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2930 DOMINGO AON 185
BERKELEY, CA 94705


HAMPTON, EDWIN G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAMPTON, EDWIN GEORGE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMPTON, JOAN SYDNEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAMSHEY, JOHN F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAMSTRA, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HANAFIN, NORLEEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANAWALT, RAY G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAN-BOONE INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FORT WORTH GASKET & SUPPLY
2200 GRAVEL DR
FORT WORTH, TX 76118


HANCOCK HOLDING COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE HANCOCK PLAZA
GULFPORT, MS 39501


HANCOCK, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HANCOCK, BRADFORD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANCOCK, CHARLES NELSON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANCOCK, CLYDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANCOCK, COUNCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HANCOCK, JAMES L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANCOCK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANCOCK, JUSTINE M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARGARET R CHESTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANCOCK, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HANCOCK, RICHARD A, SR--EST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HANCOCK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANCOCK, ROBIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANCOCK, SYLVIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANCOCK, ZELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANCOCK-BROWN, ADRIENNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HANDEL, BEVERLY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD HANDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANDELAND, MARTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANDLER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HANDLEY, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANDLEY, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANDLEY, SAMUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANDLEY, STACIE C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD L MUELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANDRICK, RONALD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANDSCHY INDUSTRIES LLC IND AND                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120-25TH AVENUE
BELLWOOD, IL 60104




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HANES, J R                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANESCHLAGER, FRANCIS C, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS E HANESCHLAGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANESCHLAGER, GERARD F                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANESCHLAGER, JAMES F, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS HANESCHLAGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANEY, AMOS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANEY, GERALDINE W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANEY, MARY RUTH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANEY, THOMAS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HANKINS, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HANKINS, DONALD E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANKINS, JANIE L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANKINS, KIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANKINSON, BARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANKINSON, JAMIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANKS, ROBERT W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HANLEY, DONALD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HANLEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HANLEY, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANLEY, T BRUCE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT MARTIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HANLEY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANNA, BONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANNA, DANNY J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANNA, ZANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANNAHS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANNAN, WALTER THOMAS JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANNAN, WALTER THOMAS, JR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HANNAWAY. THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HANNIGAN, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HANNIS, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HANNON HYDRAULICS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 N LOOP 12
IRVING, TX 75061


HANNON, MARDELLA M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN J HANNON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANNON, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSELMAN, MICHAEL W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, BETTY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSEN, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSEN, DEBORAH JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, LEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, MARK RUSSELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, MARLAN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HANSEN, MARLAN D, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, RAYMOND H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HANSEN, STEVEN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HANSEN, VERNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSEN-FOLEY, NANCY ANNE, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TIMOTHY E FOLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HANSON PIPE & PRODUCTS MINNESOTA INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6055 150TH ST W
SAINT PAUL, MN 55124


HANSON PIPE & PRODUCTS MINNESOTA INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


HANSON, FORREST P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HANSON, GAYLORD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSON, GLENN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

HANSON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANSON, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HANTSON, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HANZELY, JAMES P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HANZL, JOSEPH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAPNER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAPNER, THOMAS LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAPPEL, HENRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARAHUS, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

HARAN, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARANDA, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARBAUER, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARBAUGH, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARBAUGH, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KOONZ MCKENNEY JOHNSON DEPAOLIS
10300 EATON PLACE, SUITE 200
FAIRFAX, VA 22030


HARBISON, KENNETH LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HARBISON-WALKER REFRACTORIES COMPANY                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET SUITE 50
PITTSBURGH, PA 15219


HARBOR INS. CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PORT ST LUICE
6645 S US HWY 1
PORT ST LUCIE, FL 34952


HARBOUR, FREDERICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HARCLERODE, JUDITH L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM S HART
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARCROS CHEMICAL INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5200 SPEAKER ROAD
KANSAS CITY, KS 66106


HARDAWAY, MICHAEL BRANT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDAWAY, MICHAEL BRANT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDCASTLE, TERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HARDEE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDEN, I LOUISE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICHOLAS G HARDEN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDEN, QUINCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARDENBERG, JAMES J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE J HARDENBERG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDESTY, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARDGRAVE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDIE TYNES CO INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 28TH ST N
BIRMINGHAM, AL 35203


HARDIE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDIE, RUTH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDIN, BILLY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDIN, R A JACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDIN, ROBERT A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDIN, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDING, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARDING, MARY C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDING, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARDING, TERRY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDISON, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDY SHIP SERVICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 22ND AVENUE
GULFPORT, MS 39501


HARDY, DEREK A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDY, DEREK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDY, DEREK, BRANDON HARDY,                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDY, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDY, RUTHANN K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUTH E KRAUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARDY, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARDY, WILLIS D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGAS, STEVE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARGER, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARGETT, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARGIS, BEVERLY ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGIS, BEVERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGIS, TERRY BARKER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGIS, WILBERT LEE, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGRAVE, GREGORY L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARGRAVES, GERALD A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


HARGROVE, BARBARA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGROVE, BURX M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGROVE, CLYDE L, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HARGROVE, CODY BURKE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGROVE, JANICE GRIFFIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARGROVE, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARGROVE, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARI, JOHN V                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARKEY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARKIN, CHARLES J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARKIN, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARKIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HARKNESS, JACK E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HARLAN'S SUPERMARKET INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1005 12TH STREET
HEMPSTEAD, TX 77445-5161




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARLEY DAVIDSON INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3700 W JUNEAU AVE
MILWAUKEE, WI 53208


HARLINGEN AREA BUILDERS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSOCIATION
PO BOX 2935
HARLINGEN, TX 78551


HARLOW FILTER SUPPLY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4843 ALMOND
DALLAS, TX 75247


HARM, ARTHUR C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARM, DAVID F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARMAN, HAROLD AND KAREN HARMAN                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARMAN, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARMAN, HOPE V, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C HARMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARMAN, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARMON, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARMON, CHERYL, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARK A HARMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARMON, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARMON, GLEN D, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLOTTE HARMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARMON, GLEN D, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIRGIL E HARMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARMON, HILDA E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM W HARMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARMON, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARMON, RICHARD A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARMON, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARMONY ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9788 SH 154 W
BIG SANDY, TX 75755


HARMONY, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARNESS, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HARNEY, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARNEY, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARNEY, ROY V, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARNISCH, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARNISCHFEGER CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEMS
1209 ORANGE ST
WILMINGTON, DE 19801


HAROLD BECK & SONS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 TERRY DRIVE
NEWTOWN, PA 18940




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Name of Counterparty                                                                                             Nature

HARP, LOVELL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4455 GENESEE STREET, SUITE 123
BUFFALO, NY 14225


HARPER, ALVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARPER, BOBBY JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HARPER, CAREY A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, DENISE MICHELLE, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PRENTIS MCCALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARPER, JAMES ARTHA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, JERRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HARPER, JOHN W. III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, LORRAINE S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, MARIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HARPER, NATHANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARPER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARPER, WAYNE E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARP-HARTZELL, TONI L VANCE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARPOLE, CAROLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARQUAIL, RAYMOND D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARR, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, ERNEST WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, FREDDIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRELL, GEORGETTA E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRELL, KENNETH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, MELVIN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, OLETA FAY HARRIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, TAHIRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRELL, ZADE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRELSON, MARSHALL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIER, WILLIAM H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARRIGAN, SHARON E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICK W HARRIGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

HARRIMAN JR., RICHARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRINGTON CORPORATION HARCO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3721 COHEN PL
LYNCHBURG, VA 24501


HARRINGTON, ARTHUR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRINGTON, CURTIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRINGTON, DANIEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRINGTON, EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARRINGTON, EMILY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRINGTON, JAMES F                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARRINGTON, JESSE L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRINGTON, JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRINGTON, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRINGTON, RALEIGH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HARRINGTON, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HARRINGTON, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRINGTON, SYLVIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS BROS.,CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES M. DOYLE,VP
1312 INDUSTRIAL BLVD
KILGORE, TX 75662


HARRIS CO. FLOOD CONTROL DIST.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9900 NORTHWEST FREEWAY
HOUSTON, TX 77092


HARRIS CO. HOSPITAL DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 HOLLY HALL STREET
HOUSTON, TX 77054-4108


HARRIS CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1025 WEST NASA BOULEVARD
MELBOURNE, FL 32919-0001


HARRIS CORP.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1025 W. NASA BLVD
MELBOURNE, FL 32919




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS COUNTY ESD # 12                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4663
HOUSTON, TX 77210-4663


HARRIS COUNTY ESD # 6                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4663
HOUSTON, TX 77210-4663


HARRIS COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 PRESTON
HOUSTON, TX 77002


HARRIS COUNTY, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: JOHN P. DILLMAN
P.O. BOX 3064
HOUSTON, TX 77253-3064


HARRIS INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 BILL HARRIS RD
LONGVIEW, TX 75604


HARRIS METALS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2475 E 22ND ST STE 410
CLEVELAND, OH 44115


HARRIS, AMBER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, ARTHUR L, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, BONNIE S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CALVIN LOUIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, CALVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CAREY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CAROLYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CAROLYN, WIDOW OF JACKIE HARRIS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, CHERYL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, CINDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, DANARD, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, DANNY R., SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HARRIS, DAVID A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, DAVID A, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, DEBRA BINCH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, DRUE AND MARY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, EARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, EDWARD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, EDWIN RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, ERNST LEROY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, GEORGE ALBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, GEORGE F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, GLADYS V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, HARLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, HELEN J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J HARRIS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, HERBERT R, II                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, IRVING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, JACKIE GLENN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, JACQUELINE Y                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, JASON TREADWAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, JEROME, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, JOANN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, JULIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, LEONARD O, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, LINWOOD D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, LITHONIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, LIVELY & DUESLER, L.L.P.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES M. HARRIS, JR.
550 FANNIN STREET
SUITE 650
BEAUMONT, TX 77701


HARRIS, LLOYD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, MARGARET                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HARRIS, MARTHA RACHEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


HARRIS, MELVIN CONRAD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, MICHAEL D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, MILBURN J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, MILTON L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, MOLLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, NEIL STUART                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

HARRIS, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRIS, RICHARD E, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, RICKY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HARRIS, ROBERT ALLEN, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HARRIS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVIN SIMES KAISER & GORNICK, LLP
44 MONTGOMERY STREET, 32ND FLOOR
SAN FRANCISCO, CA 94104


HARRIS, ROBERT, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRIS, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HARRIS, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARRIS, SHURATT TRAV                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HARRIS, SUSANNA M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARRIS, THOMAS W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH O HARRIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARRIS, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, WILLIAM D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HARRIS, WILLIAM J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRIS, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRIS, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRISON COUNTY GLASS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 E GRAND AVE
MARSHALL, TX 75670


HARRISON WALKER & HARPER LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 876
PARIS, TX 75461


HARRISON, ARNOLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRISON, BENJAMIN L & HEATHER L                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRISON, DARRELL BRADFORD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRISON, GLENN E AKA GLENN EDWARD HARRISON                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRISON, GRANT MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARRISON, JAMES J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HARRISON, JOHN H, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARY E HARRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRISON, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARRISON, KERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARRISON, NANCY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRISON, PATRICIA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KATHRYN HARRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARRISON, PHILIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARRISON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARRISON, TRENEVA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARROD, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARROP, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HART, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HART, JAMES J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HART, JOHN M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HART, LYNN M, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A MEYERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HART, MARVIN W. & IRENE A. HART                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HART, MARVIN W. AND IRENE A.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


HART, MICHAEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HART, RICHARD THOMAS, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR HART
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HART, WALT A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HART, WILLIAM H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HART, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTBARGER, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTEL, PAUL H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARTENSTINE, WILLIAM C                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTFIELD, THOMAS L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARTFORD, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTFORD, NORMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTFORT A&I                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5605 N MACARTHUR BLVD # 550
IRVING, TX 75038


HARTGROVE, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARTHAN, TIMOTHY J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARTHOUSEN, GARY A, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTIG, EVELYN V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTIG, GEORGE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTING, DAWN M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICIA L SHANEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTING, MATTHAIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTLAUB, MARY ANN N, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE N HARTLAUB
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTLESS, MARVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARTLEY, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARTLEY, FRANKIE M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

HARTLEY, HAROLD R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARTLEY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTLEY, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


HARTLEY, SUE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARTLEY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARTLEY, WILLIS LAMAR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HARTMAN, DARLENE V, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUTH D GILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTMAN, JAMES T, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF E RILEY BEECH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

HARTMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARTMAN, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARTMAN, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HARTMANN, LEON, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HARTS BLUFF ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3506 FM 1402
MOUNT PLEASANT, TX 75455


HARTSELL OIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 118
RODESSA, LA 71069


HARTSOCK, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: JANE HARTSOCK, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HARTUNG, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARTUNG, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARTWELL, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                            Nature

HARTWELL, GERALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


HARTY, CATHERINE M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARTY, JOAN E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARVEY, CHARLES L, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARVEY, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARVEY, CHARLES,                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARVEY, CHRISTOPHER RYAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARVEY, DENNIS W. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HARVEY, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARVEY, GABRIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HARVEY, GEORGE E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DEWEY HARVEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARVEY, IRVIN K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HARVEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HARVEY, JEFFREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HARVEY, REDGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARVEY, REX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARVEY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARVEY, SAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HARVEY, TODD, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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Name of Counterparty                                                                                            Nature

HARVEY, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HARWOOD, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASCUP, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASENECZ, DANIEL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HASENECZ, JAMES P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HASENFUSS, JEREMY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HASENOHR, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HASH, DONALD C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT C HASH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HASKEL INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 E GRAHAM PL
BURBANK, CA 91502




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HASKELL - KNOX - BAYLOR - UGWCD                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS WATER DEVELOPMENT BOARD
1700 NORTH CONGRESS AVE, PO BOX 13231
AUSTIN, TX 78701-3231


HASKELL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASKETT, BLAINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASKETT, TANYA S, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AMOS MORRELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HASKINS, WILLIAM A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HASLAM, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASLETT, GAIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HASLETT, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HASPAS, JAMES D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HASSA, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASSEL, HENRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HASSLER, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HASSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HASTINGS, DEBORAH J, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN HASTINGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HASTINGS, JAMES T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HASTINGS, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HATAWAY, MARY ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HATCH , MARY ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATCH, JOHN C. DECEASED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HATCH, THEODORE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HATCHER, ANTHONY V, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CURTIS E HATCHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HATCHER, BONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HATCHER, JAMES , SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HATCHERSON, MELISSA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILLIPP KENDRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HATFIELD & CO INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2475 DISCOVERY BLVD
ROCKWALL, TX 75032-6200


HATFIELD & COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2475 DISCOVERY BLVD
ROCKWALL, TX 75032


HATFIELD & COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 910862
DALLAS, TX 75391-0862




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HATFIELD, ANNA M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD HATFIELD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HATFIELD, JOE LAYBURN (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHAWAY, COLE W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHAWAY, LORI A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHAWAY, MACKENZIE, J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHAWAY, NATHAN W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHAWAY, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATHORN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HATLEY, TIMOTHY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATMAKER, PAUL A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HATTEN, CYNTHIA LASTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HATTEN, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HATTENBRUN, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HATTIE TILLMAN ESTATE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


HAUG, JOHN HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAUG, WOLFGANG H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAUGAN, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAUGH, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAUN, DONALD WESLEY, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAUPT, DONALD W, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAUPT, HOWARD G., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAUPT, LEONARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAUPTMAN, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAUSERMAN, SEAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAUTE, ELIZABETH VAN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALLEN VANHAUTE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAVEG PIPE CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



HAVEL, FRANK R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAVELL, LORNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAVENS, JEANNETTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAVICE, DONALD EUGENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HAWBAKER, TERRANCE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAWK FABRICATION AND MACHINE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHOP
PO BOX 129
BOGATA, TX 75417


HAWK INSTALLATION & CONSTRUCTION INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 129
BOGATA, TX 75417


HAWK, RONALD J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAWKER BEECHCRAFT CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


HAWKERBEECHCRAFT CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10511 EAST CENTRAL
WICHITA, KS 67206


HAWKINS BIRKES, TERRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAWKINS, BEVERLY, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY O HAWKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAWKINS, DEBORAH A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL R BALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAWKINS, DONALD K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

HAWKINS, EZZARD D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAWKINS, HERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAWKINS, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HAWKINS, JOHN J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAWKINS, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAWKINS, KATHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAWKINS, MARTY MELVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAWKINS, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HAWKINS, ODIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HAWKINS, PAUL D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HAWKINS, RYAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAWKINS, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAWKINS, YOLANDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAWKS CREEK CANTAMAR LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAGE OF HAWKS CREEK APT
20501 VENTURA BLVD STE 220
WOODLAND HILLS, CA 91364


HAWKS, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


HAWLEY, LEE R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HAWLEY, SEAN C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAWRAN, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAWSE, MARY L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD W HAWSE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

HAWTHORNE, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAY, DONALD R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HAY, SANDRA K.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYCOCK, CAROLYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYCOCK, HARVEY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYCOOK, HARVEY L AND CAROLYN HAYCOOK                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYDEN, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAYDEN, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAYDON, BILLY B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYDU, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYDU, RITA H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYES MECHANICAL LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5959 SOUTH HARLEM
CHICAGO, IL 60638




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAYES PUMP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
295 FAIRFIELD AVE.
FAIRFIELD, NJ 07004


HAYES, CHRISTINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, CHUCK A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HAYES, DAVID TROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


HAYES, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, DEBBIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


HAYES, DENSIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HAYES, EDWARD AND IVA HAYES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, EDWARD C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAYES, EDWIN J, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HAYES, FREDERICK T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HAYES, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, GERALD L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HAYES, JAMES C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAYES, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, JERRY P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


HAYES, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAYES, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HAYES, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAYES, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYES, SAMUEL PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYES, SCOTT A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYES, THOMAS A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HAYES, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


HAYGOOD, GALIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYMAN, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HAYNER, GEORGE LEWIS, SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYNES, JUDY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELLHOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HAYNES, MELINDA (MINDY)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYNES, PAUL RAYMOND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HAYNES, ROOSEVELT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


HAYNES, WILLIAM RICHARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYS, BRUCE CARLTON (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYS, GLENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYS, HAROLD V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYS, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAYS, JAMES EDWIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HAYS, JAMES F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYS, JAMES L. AND CAROL HAYS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYS, JAMES L. AND CAROL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


HAYS, LARRY G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HAYS, LESTER R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HAYS, LESTER R., ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HAYS, LESTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYS, MCCONN, RICE & PICKERING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRAIG WOLCOTT/B. STEPHEN RICE
1200 SMITH
SUITE 400
HOUSTON, TX 77002


HAYS, RUSSELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HAYWARD INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
620 DIVISION STREET
ELIZABETH, NJ 07201


HAYWARD TYLER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
480 ROOSEVELT HWY
COLCHESTER, VT 05446-1594


HAYWARD TYLER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1773
BRATTLEBORO, VT 05302-1773


HAYWARD, CLAIR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HAYWARD, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HAYWARD, STEPHANIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAYWARD, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAYWOOD, OLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


HAZEL GREEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3509 HOLDER ST
FT WORTH, TX 76118


HAZELIP, KENNETH D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HAZELLIEF, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAZELWOOD, BILLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAZEN, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HAZLETT, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HB FULLER CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
59 BRUNSWICK AVE
EDISON, NJ 08817




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


HB FULLER CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


HB FULLER CO.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3500 EXECUTIVE BLVD.
MESQUITE, TX 75149


HB SMITH CO INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
47 WESTFIELD INDUSTRIAL PARK ROAD
WESTFIELD, MA 01085




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
JAMES A. TATEM
550 FANNIN, SUITE 400
BEAUMONT, TX 77701


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
JAMES A. TATEM
THREE ALLEN CENTER, 333 CLAY ST STE 4950
HOUSTON, TX 77002-4181


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GERMER, BERNSEN & GERTZ
SANDRA JEAN COLE HOWARD
550 FANNIN, SUITE 400
BEAUMONT, TX 77701


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAY OLD & ASSOCIATES PLLC
JAMES OLD ROWLAND JR.
3560 DELAWARE, SUITE 308
BEAUMONT, TX 77706


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MERCY CARTER TIDWELL LLP-TEXARKANA
JOHN L. TIDWELL
1724 GALLERIA OAKS DRIVE
TEXARKANA, TX 75503


HB ZACHRY CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MERCY CARTER TIDWELL, L.L.P.
JOHN L. TIDWELL
1724 GALLERIA OAKS DRIVE
TEXARKANA, TX 75503




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HCB INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CNB TRUST DEPT
PO BOX 1009
HENDERSON, TX 75653-1009


HDR ENGINEERING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3480
OMAHA, NE 68103-0480


HDR ENGINEERING INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3480
OMAHA, NE 68103-0480


HEAD, BOYCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEAD, GLORIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEAD, KEITH AND IONE HEAD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEAD, PHYLLIS ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEADLEY, DONALD DEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEADWATERS RESOURCES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 843922
DALLAS, TX 75284-3922


HEAGY, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEALD, GEORGE H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEALD, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HEALD, SUSAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEALTH TESTING SOLUTIONS LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11601 SHADOW CREEK PKWY
STE 111 416
PEARLAND, TX 77584


HEALTHCARE COALITION OF TEXAS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7160 DALLAS PKWY STE 600
PLANO, TX 75024


HEALY, CHARLES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEALY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEALY, DORIS A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERNARD J HEALY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEALY, PAULA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEANY, RONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEAPS, RONALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HEARN, JOE H                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEARNE CHAMBER OF COMMERCE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
304 S MARKET ST
HEARNE, TX 77859-2517




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HEARNE ISD PROJECT GRADUATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 WEST BROWN ST
HEARNE, TX 77859


HEARNE STEEL COMPANY, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1239
HEARNE, TX 77859


HEARTLAND CEMENT COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1765 LIMESTONE LAN
INDEPENDENCE, KS 67301-4547


HEAT ENERGY ADVANCED TECHNOLOGY,INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5335 BENT TREE FOREST DRIVE, #271
DALLAS, TX 75248


HEAT EXCHANGER SERVICE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3031 S TEJON ST.
ENGLEWOOD, CO 80110


HEATH AND HEATH HARDWARE, INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1411 E. RUSK
JACKSONVILLE, TX 75766


HEATH, JAMES R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


HEATH, KEVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEATH, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEATHCOE, SANDY MICHELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEATHER M. BROADWATER, FIRST UNITED B&T                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PR OF ESTATE OF DORSEY F FAZENBAKER, SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

HEATHERWILDE VILLAS HOUSING LP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT HEATHERBEND APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


HEATON, WILLIAM F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEBERER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEBERT, DEVORA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEBERT, JAMES E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HEBRANK, HUBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEBRON, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HECHT, BERNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HECHT, EDMUND AND BERNIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HECHT, EDMUND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HECK, HELEN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J YESKER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HECK, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HECKEL, HAZEL, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JESSE W CLIMENSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HECKELBECK, HAROLD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HECKER, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HECKET, HARRY HENRY (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HECKMAN, SEYMOUR D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HEDGECOCK, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEDGEMON, LUCY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEDGEPETH, DANNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HEDGEPETH, WILLIAM E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEDGES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HEDGPETH, BRENDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEDRICH, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEDRICK, DALLAS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEDRICK, LAMAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEDRICK, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEDRICK, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


HEEMSBERGEN, JACK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HEFFELFINGER, ROBERT B                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEFFERNAN, JOHN J & BETTY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEFFERNAN, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEFFNER, PAUL L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEGARTY, RANDY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEGGE, GORDON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEGGINS, MARTHA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HEGLAR, GRANT NORMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HEGLAR, SHIRLEY B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEHL, PETER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HEHMANN, RANDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEIDELBERG USA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 GUTENBERG DR
KENNESAW, GA 30144


HEIFETZ, SHELDON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEIKKINEN, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEIL CO                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 HAMILTON PLACE BLVD STE 200
CHATTANOOGA, TN 37421


HEIL, JESSICA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID HEIL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEIM, BARNEY S, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEIM, BARNEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEIM, RON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEIMANN, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

HEIMBACH, MARGARET A, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CONRAD M HEIMBACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEIMER, ANNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEIN, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEINE, DONNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEINE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEINE, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF MICHAEL R BILBREY, PC
8724 PIN OAK ROAD
EDWARDSVILLE, IL 62025


HEINEN, RICHARD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HEINLEIN, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HEINRITZ, RONALD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

HEINS, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEINTZ, JASON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEINTZE, JIMMY SCOTT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEINTZELMAN, FRANKLIN A, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEINZ, WILLIAM J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HEISE, GERALDINE F, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HUBERT B ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEISER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEISIER, JOSEPH F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEISKELL, TIMOTHY LEROY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HEISLER, JOSEPH F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

HEIST, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEITCHLER, GEORGE MATTHEW                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEITMANN, JAMES R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


HEITZKEY, ROMUALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEITZMAN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEJL, FRANKIE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HELD, JOHN F                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HELEN IRVING OEHLER TRUST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HELENA CHEMICAL CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 846350
DALLAS, TX 75284-6350




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Name of Counterparty                                                                                           Nature

HELENA CHEMICAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4003
WEST COLUMBIA, SC 29171


HELFENBEIN, VICTOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HELLAND, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HELLBERG, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HELLENTHAL, JOHN EDWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HELLER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HELLER, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HELLER, KENNETH H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HELLER, WILSON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HELLMUTH, STEPHEN J, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HELM, DWAINE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HELM, GEORGE K.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HELMER, THERESA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HELMKE, WILLIAM MARTIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HELMS, GARY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GARY E HELMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HELMS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HELMS, STEVENS (BT2)                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HELMS, STEVENS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HELMS, WILLIS, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIS PLEDGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HELTON, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


HELTON, ROBERT E, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HELTON, SUZANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


HELWIG CARBON PRODUCTS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 240160
MILWAUKEE, WI 53224-9008


HELWIG CARBON PRODUCTS INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8900 W. TOWER AVE
MILWAUKEE, WI 53224


HEMBREE, BRANDONN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEMBREE, CLYDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEMBREE, MIKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HEMINGWAY, EARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEMLING, ROLAND M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEMMEKE, RONALD C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HEMMERLING, WILLIAM A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HEMMERT, JEFFREY DOUGLAS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HEMPEL, KIRK, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HEMPSMYER, LARRY D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEMSCHOT, CHRISTOPHER A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEMSLEY, BRUCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HENDERSHOT, CALLIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENDERSHOT, JERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON CO. ESD #1                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 N PRAIRIEVILLE #103
TAX COLLECTOR
ATHENS, TX 75751


HENDERSON CO. ESD #5                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 N PRAIRIEVILLE #103
TAX COLLECTOR
ATHENS, TX 75751


HENDERSON COUNTY LID #3                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 N PRAIRIEVILLE #103
TAX COLLECTOR
ATHENS, TX 75751


HENDERSON COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 N. PRAIRIEVILLE ST.
ROOM 101
ATHENS, TX 75751


HENDERSON ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N. HIGH STREET
HENDERSON, TX 75652


HENDERSON JR, JOSEPH L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HENDERSON, BUFORD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDERSON, CHRISTINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, DIANA V, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY W SIEGERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENDERSON, EDWARD M, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, GWENDOLYN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ISABELLE E FAULCON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENDERSON, HAROLD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDERSON, HERBERT D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HENDERSON, HOWARD LEWIS (DECEASED)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HENDERSON, J. RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HENDERSON, JACK ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, JAMES E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, JAMES MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENDERSON, JAMIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, JOE B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HENDERSON, JUDY L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, LARRY EARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, MINNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDERSON, RAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HENDERSON, ROBERT C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HENDERSON, STANLEY GERALD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENDERSON, STEVE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HENDERSON, TERESA MICHELLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDERSON, THOMAS ROBERT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENDLEY, WILBUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDRA, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDREN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDREN, JACQUELINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDREN, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204


HENDRICK, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDRICK, SALLIE V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENDRICKS, CLIFFORD B.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKS, COURTNEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKS, DARIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENDRICKS, GAIL, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAROLD D HENDRICKS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENDRICKS, HAZEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKS, JEFFREY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKS, ROBERT L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HENDRICKS, SANDRA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKS, THOMAS J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRICKSON, NORMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENDRICKSON, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRIX, CHAD N.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRIX, JANE DEES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENDRIX, LESTER J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HENDRIX, THOMAS PHILLIP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENDRY, ARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENEGAN, RONALD V.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HENEK FLUID PURITY SYSTEMS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9700 ALMEDA GENOA BLDG 601
HOUSTON, TX 77075


HENESS, WILLIAM S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HENGLEIN, JOHN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HENKEL CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
77 WATER STREET SUITE 2100
NEW YORK, NY 10005


HENKEL CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE HENKEL WAY
ROCKY HILL, CT 06067


HENKELS & MCCOY INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CUYLER BURK PC
445 PARK AVENUE, 9TH FLOOR
NEW YORK, NY 10022




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Name of Counterparty                                                                                            Nature

HENLEY, BARNELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENLEY, CARMEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


HENLEY, DAVID L. (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HENLEY, SUZANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENLINE, CARL SHELTON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENLINE, JACKIE WALLACE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENN, FRANCES, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT HENN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENNEBERRY, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENNEKES, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

HENNELLY, BERNARD T.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HENNES SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 W LINCOLN AVE
WEST MILWAUKEE, WI 53215


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 J. P. HENNESSY DRIVE
LA VERGNE, TN 37086-3565


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
MICHAEL DEAN MOSS
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VINCENT EDWARD GUNTER
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY
& MOORE L.L.C., CATHERINE ANNE ANDERSON
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


HENNESSY INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES CORPORATION CO
300 B EAST HIGH STREET
JEFFERSON CITY, MO 65101




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENNIGAN, ALFONZO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENNINGER, JAMES R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENNINGER, RANDELL L, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENNINGER, WAYNE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JANICE L VALENZA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENNINGER, WAYNE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM T VALENZA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENNINGSEN, KURT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENNINGTON, RONALD W., ET AL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HENNIS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENRICH, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRICHSEN, VINCENT JAMES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

HENRICKSON, HUNTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRICKSON, LINDSAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRIETTA ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 E. CRAFTON
HENRIETTA, TX 76365


HENRIQUEZ GAMONAL, DORIS VALERIA                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HENRY C DEGROH REVOCABLE TRUST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRY PRATT COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
23418 NETWORK PLACE
CHICAGO, IL 60673-1234


HENRY PRATT COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 S HIGHLAND AVE
AURORA, IL 60506


HENRY PRATT COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


HENRY PRATT COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


HENRY PRATT COMPANY, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK GINGERICH
500 WEST ELDORADO STREET
DECATUR, IL 62525


HENRY SCHEIN INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
135 DURYEA ROAD
MELVILLE, NY 11747




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 W ORMSBY AVE
LOUISVILLE, KY 40210


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER LLP
600 W. 6TH ST. #300
FORT WORTH, TX 76102


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER LLP
JEFF KINSEL
600 W. 6TH ST. #300
FORT WORTH, TX 76102


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER LLP
SIDNEY LANGE
600 W. 6TH ST. #300
FORT WORTH, TX 76102


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER, LLP
JEFF KINSEL
600 W. 6TH ST. #300
FORT WORTH, TX 76102


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGARET S CULVER
10TH & ORMSBY STS 1000 WEST
ORMSBY AVENUE
LOUISVILLE, KY 40210


HENRY VOGT MACHINE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WT&C CORPORATE SERVICES INC
500 WEST JEFFERSON ST STE 2800
LOUISVILLE, KY 40202


HENRY, DAVID E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HENRY, DERRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HENRY, DORIS C, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GRAHAM B HENRY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENRY, GRAHAM B, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENRY, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENRY, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENRY, IRA P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HENRY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENRY, JERRY DON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HENRY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENRY, LEROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENRY, ORIE, JR.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENRY, RICK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HENRY, RONALD E, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT T HENRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENRY, WILLIAM L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSEL, MARY K.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSEN, ANNA A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSHAW, E THOMAS, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD C HENSHAW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENSLEY, DANNY BRUCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HENSLEY, EDGAR D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSLEY, HASSELL GENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSLEY, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HENSLEY, KENNETH C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENSLEY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSLEY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON SALES AND SERVICE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 NORTH MAY
MADISONVILLE, TX 77864


HENSON, ALMA P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HENSON, CHERYL E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
ATTN: BERNARD G. JOHNSON, III
2777 ALLEN PARKWAY, 14TH FLOOR
HOUSTON, TX 77019




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HENSON, ERNEST W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON, HUGH M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON, JUDY I, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL HENSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSON, KEITH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW B HENSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSON, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON, LEON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON, MILDRED E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL L HENSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSON, PAULINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HENSON, RONALD LEOLAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HENSON, SANDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HENSON, WESLEY JOE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENSON, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HENSON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HENZLER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEPDING, MARK, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES M HEPDING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HEPPLER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEPT, EDWARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEPT, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEPT, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEPTINSTALL, RUSSELL A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HERAEUS KULZER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
99 BUSINESS PARK DR
ARMONK, NY 10504


HERBERT, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERBERT, JOSEPH W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HERBERT, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERBERT, TIMOTHY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERBERT, WILLIAM JEFFERY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERBON, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERBST, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERCREG, ALEX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERCULES CHEMICAL CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 SOUTH STREET
PASSAIC, NJ 07055




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ISRAEL J. FLOYD, SECRETARY & GEN. COUN.
1313 NORTH MARKET STREET
HERCULES PLAZA
WILMINGTON, DE 19894-0001


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
906 OLIVE ST
ST LOUIS, MO 63101




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ISRAEL J. FLOYD, SECRETARY & GEN. COUN.
1313 NORTH MARKET STREET
HERCULES PLAZA
WILMINGTON, DE 19894-0001


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JOHN MICHAEL PORRETTA
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


HERCULES POWERED EQUIPMENT INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6260 CHALET DRIVE
LOS ANGELES, CA 90040


HERCULES INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1313 NORTH MARKET STREET
HERCULES PLAZA
WILMINGTON, DE 19894-0001


HERCULES, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 MARKET STREET
WILMINGTON, DE 19899


HERCULES,INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1313 N. MARKET ST.
WILMINGTON, DE 19894


HERDEN, EARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HERGENHAHN, FRANCES E, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES HERGENHAHN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERGUTH LABORATORIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX B
VALLEJO, CA 94590-6968


HERIDIA, FRANCISCO SANTIAGO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERING, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERITAGE COAL COMPANY LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12312 OLIVE BOULEVARD
ST LOUIS, MO 63141


HERLIHY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERLITZ, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HERMAN STURM, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERMAN, HARRY E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERMAN, RENA A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AARON M HERMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HERMAN, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERMANN, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERMANNS, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


HERMANNS, SCOTT L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERMANNS, WILLIAM H., SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERMANS, ALAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERNANDEZ III, RALPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERNANDEZ, EDUARDO R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, EMILY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERNANDEZ, ESMERALDA G.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HERNANDEZ, GUSTAVO A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, GUSTAVO ARTURO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HERNANDEZ, JAIME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, JAIME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERNANDEZ, JESSE (G)                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERNANDEZ, JESSE G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERNANDEZ, JOHN T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HERNANDEZ, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERNANDEZ, JOSEPH A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, MANUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERNANDEZ, MIGUEL A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, NICHOLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERNANDEZ, NORA C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES GRIFFIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERNANDEZ, RAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ, VICTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNANDEZ-SMITH, CARMEN M.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNDON, NICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNDON, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERNDON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEROD, DORRIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEROD, R V & DORRIS HEROD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERON, ALAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERON, PAULINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERON, PAULINE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT HERON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERR, ANNE A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERR, FREDERICK D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERR, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERR, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERR, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERRERA, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERRERA, MANUEL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERRERA, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERRIN, REDA J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HERRIN, RICKEY DEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HERRING, DAVID W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERRING, GERALD W. AND NONA LEE HERRING                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERRING, JAMES, SR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HERRING, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF MICHAEL R BILBREY, PC
8724 PIN OAK ROAD
EDWARDSVILLE, IL 62025


HERRING, KENNETH, INDIVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERRING, NONA LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERRING, SANDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERRING, YVONNE B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERRMANN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERRON, LEON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HERRON, MELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


HERSCH, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HERSHEY COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CRYSTAL A DRIVE
RPTG & COMPLIANCE P O BOX 810-EXTERNAL
HERSHEY, PA 17033-0810


HERTZ EQUIPMENT RENTAL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION
PO BOX 650280
DALLAS, TX 75265-0280


HERTZ EQUIPMENT RENTAL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7698
LONGVIEW, TX 75607


HERTZFELT, GLORIA, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF GUSTAV B HERTZFELT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERTZKE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERTZLER, HAROLD V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HERTZLER, JEFFREY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERTZLER, SHIRLEY, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH G HERTZLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERTZLER, TERRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERTZLER, TERRY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEANNE E HERTZLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HERTZ-PENSKE LEASING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK ALTHEN
ROUTE 10 - GREEN HILLS
READING, PA 19603-0563


HERZICH, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HERZOG, NICHOLAS ALAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HERZOG, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1185 AVENUE OF THE AMERICAS
NEW YORK, NY 10036


HESS CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

HESS CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE SOUTH MEMORIAL DRIVE
RICHARD BENJAMIN KORN
12TH FLOOR
ST LOUIS, MO 63102


HESS, ALONZO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, BRADLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, CATHERINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, FRANK (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HESS, JAMES MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HESS, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HESS, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HESS, JERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HESS, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HESS, SANDRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESS, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESSEN, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESSENBERGER, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HESSING, WILLIAM F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HESSLER, ANTHONY W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HESSLER, GARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HESSLER, JAMES M, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HESTER, GARY R., SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HESTER, JAMES S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HESTER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HESTER, JEFFERSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HESTER, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HETRICK, ANNA L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ASHER A HETRICK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HETRICK, PEGGY ANN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR H HETRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HETRICK, RICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HETTINGER, FRANCIS G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HETU, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HEUBISH, KENNETH J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HEVENER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HEWELL, B JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEWELL, LEWIS T, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEWETT, REX ALLEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HEWITT CONTRACTING CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOWARD H. HEWITT, CEO
3839 COUNTY ROAD 48
OKAHUMPKA, FL 34762


HEWITT, ALAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HEWITT, BYRON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEWITT, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEWITT, WILBUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HEXCEL CORP.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
338 CLIFF DRIVE NORTH
GRAHAM, TX 76450


HEXION SPECIALTY CHEMCIALS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 EAST BROAD STREET
COLUMBUS, OH 43215


HEXION SPECIALTY CHEMICALS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 EAST BROAD STREET
COLUMBUS, OH 43215


HEYBURN, IVAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HEYCOCK, PHILIP W. DECEASED                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HEYWORTH, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HF & ASSOCIATES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
118 VERDANT
SAN ANTONIO, TX 78209


HF & ASSOCIATES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
118 VERDANT
SAN ANTONIO, TX 78209


HH ROBERTSON CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 19TH STREET
AMBRIDGE, PA 15003


HIBBARO, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HIBBERD, DALE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIBBERT, JOHN WESLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HIBLER, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIBLER, JAMES G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HIBLER, RICHARD H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKEN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKERSON, DENNIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HICKERSON, FRANCIE N.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKERSON, WAYNE THOMAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HICKEY, BRIGITTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKEY, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HICKEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKEY, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKMAN, CARROL WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HICKMAN, JOHNNY P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKOX, JAMES C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HICKOX, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HICKOX, SARI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HICKS, ANNE E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES N HICKS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HICKS, ARVIN HOWARD, JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HICKS, BETTY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HICKS, CHRISTINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, DANIEL AND GAIL HICKS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, EDDIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKS, ERNEST RAY, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SHARON HICKS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HICKS, HENRY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HICKS, HENRY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HICKS, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, HERBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, JAMES MURPHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKS, PATTI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, RANDY G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HICKS, RODERICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKS, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HICKS, ROYCE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HICKS, ROYCE E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HICKS, SHELLY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, SHIRLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKS, TANYSS L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HICKSON, RUSSELL D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIDALGO COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: JOHN T. BANKS
3301 NORTHLAND DRIVE, SUITE 505
AUSTIN, TX 78731


HIDALGO, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIDALGO, PAMELA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FERNANDO HIDALGO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HIDLE, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIERHOLZER, ROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

HIETT, DANIEL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HIGBEE INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6741 THOMPSON RD
SYRACUSE, NY 13211


HIGBEE INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


HIGBY, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIGGINBOTHAM, CAROLYN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HIGGINBOTHAM, DOROTHY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HIGGINBOTHAM, MAURICE G                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HIGGINBOTHAM, WILLIAM LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIGGINS MARLOW, AMY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIGGINS, EVAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

HIGGINS, GERALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGGINS, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGGINS, JOE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGGINS, JOHN P--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HIGGINS, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGGINS, LIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIGGINS, RAYMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGGINS, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIGGINS, THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

HIGGINS, WILLIAM J--EST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HIGGINS, WILLIAM KENNETH                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HIGH PLAINS RADIOLOGY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3780
AMARILLO, TX 79116


HIGHLAND PUMP CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CURTIS W.HUFF,VP/SECTY.
5 POST OAK PARK, STE. 1760
HOUSTON, TX 77027


HIGHTOWER, ROBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGHTOWER, ROY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HIGHWAY MACHINE CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3010 S OLD US HWY 41
PRINCETON, IN 47670


HIGHWAY MACHINE CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JANET FISHER
3010 S OLD US HWY 41
PRINCETON, IN 47670


HILARIO, ARTHUR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HILBERT, KENNETH J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILDEBRAND, EARL, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN H HILDEBRAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILDEBRAND, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILDEBRANDT, MARVIN J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HILDEBRANDT, SUSAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILDEBRANDT, VIRGINIA J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HILDITCH, LYNN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES G DEBELIUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILDRETH, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILDRETH, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HILFER, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL BROTHERS CHEMICAL CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1675 N. MAIN STREET
ORANGE, CA 92867


HILL CO. ESD #1                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 412
TAX COLLECTOR
HILLSBORO, TX 76645


HILL CO. ESD #2                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 E. FRANKLIN STREET
HILLSBORO, TX 76645


HILL COLLEGE - CLEBURNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
206 N WILHITE ST
CLEBURNE, TX 76031


HILL COLLEGE - JOSHUA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 LAMAR DR
HILLSBORO, TX 76645


HILL COUNTRY SPRINGS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10019 INTERSTATE 35 S
AUSTIN, TX 78747


HILL COUNTRY SPRINGS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2220
MANCHACA, TX 78652-2220


HILL COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
80 NORTH WACO STREET, 1ST FLOOR
HILLSBORO, TX 76645


HILL JR. COLLEGE DIST.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 LAMAR DR
HILLSBORO, TX 76645


HILL REGIONAL HOSPITAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 CIRCLE DR
HILLSBORO, TX 76645




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HILL, ANTHONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, ARLETHA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, BARBARA J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT HILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILL, BRUCE V                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


HILL, CARL DON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HILL, CHRISTOPHER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, CLINTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HILL, EDWARD ST.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HILL, FRANKLIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, GAIL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILL, GARY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, GLORIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, GLYNDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HILL, JAMES WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, JEAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILL, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, LYNN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HILL, PALMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, PATRICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, ROBERT S. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HILL, ROLAND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, SAMMIE B, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, STEPHEN H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILL, TIMMY R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HILL, WENDELL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HILL, WENDELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILL, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HILL, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILL, WILLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HILLBERG, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILLDRUP COMPANIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 669
STAFFORD, VA 22555-0669


HILLE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HILLIKER, ARTHUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILLIN. JOHN, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HILLMAN, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILLSBORO ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 EAST FRANKLIN STREET
HILLSBORO, TX 76645


HILLSTRAND, KRIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILPERT, BOBBY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILSON, CARL WALTER, JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILSON, GORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HILTE, LAWRENCE A, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILTI INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CUSTOMER SERVICE
PO BOX 21148
TULSA, OK 74121




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HILTI INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CUSTOMER SERVICE
PO BOX 21148
TULSA, OK 74121


HILTON FURNITURE & LEATHER GALLERY INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 GULF FWY
HOUSTON, TX 77034-4502


HILTON FURNITURE GALLERY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12338 GULF FREEWAY
HOUSTON, TX 77034


HILTON, PAMELA S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HILTZ, JAMES T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HILTZ, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HIMES, MARTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HIMMEL, ROBERT T., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINCHCLIFFE, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HINCHLIFFE & KEENER INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2247 BABCOCK BOULEVARD
PITTSBURGH, PA 15237




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HINDMAN, JOHN W. AND VIRGINIA M HINDMAN                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINDMAN, JOHN W. AND VIRGINIA M. STRENGER                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINDOCHA, ASHWINI K.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINELINE, WILLIAM P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINES, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HINES, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINES, CHERI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINES, LARRY D, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E HINES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HINES, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HINES, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINES, RAYMOND E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HINES, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HINES, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HINES, WELDON M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HINES, WELDON, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HINKE, MARIE A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARENCE H HINKE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HINKLE, DELMAR C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINKLE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HINKLE, SALLIE JANIECE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINKLE, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HINOJOS, ISMAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HINSON, DANNIE S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINSON, KEVIN OWEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HINSON, THOMAS LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINTON JR., CURTIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINTON, CURTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HINTON, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HINTON, LYNN (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HINTON, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HINTZ, JIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIPPELY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HIRIARTE, TOMAS AVELINO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HIRSCHMAN, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HIRT, J J                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HIRT, JAMES M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIRT, JOHN J.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIRT, JOHNNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HIRT, REX D                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HIRT, ROBERT W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIRT, RONALD M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIRT, WENDY R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HISAW, IRA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HITACHI AMERICA LTD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
90 PARK AVE
NEW YORK, NY 10016




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HITCHCOCK INDUSTRIES, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8701 HARRIET AVE. SOUTH
BLOOMINGTON, MN 55420


HITCHCOCK INDUSTRIES, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8701 HARRIET AVENUE SOUTH
BLOOMINGTON, MN 55420


HITCHCOCK, COLEMAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HITCHCOCK, JOANNA, FOR THE ESTATE OF                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES CECIL HANKS, JR.
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM,525 N MAIN ST
SALISBURY, NC 28144


HITCO CARBON COMPOSITES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 W 135TH ST
GARDENA, CA 90249


HI-TECH TESTING SERVICE INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35 FRJ DRIVE
LONGVIEW, TX 75607


HI-TECH TESTING SERVICE INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 12568
LONGVIEW, TX 75607-2568


HITT, ROBERT FULTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HITT, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HITZEL, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HIX, KYLE L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HIX, TERRY T.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIX, W. CODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HIX, WILLIAM R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HK PORTER CO INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 FORT DUQUESNE BOULEVARD # 550
PITTSBURGH, PA 15222


HLINAK, RAYMOND R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HNEDAK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOAFAT, ROBERT G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOAFAT, TAMI J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOAG, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HOAPT LP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PINE TERRACE APARTMENTS
3901 OMEARA DR
HOUSTON, TX 77025


HOBAN, JOHN P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAMMOND , ALICIA DANIELLE,
ATTORNEY AT LAW
617 NE SILVERLEAF PL
LEE'S SUMMIT, MO 64064


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 TRADE SQUARE EAST
TROY, OH 45373


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


HOBART BROTHERS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY MOORE
KURT L RASMUSSEN
9200 WARD PKWY SUITE 400
KANSAS CITY, MO 64114


HOBART CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 S. RIDGE AVE.
TROY, OH 45374




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOBAS PIPE USA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1413 E. RICHEY ROAD
HOUSTON, TX 77073


HOBBINS, ERIN DAVIDEK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOBBS JR, HAROLD GENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, DAHREL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, DAVID V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, FREDRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOBBS, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, LEIGH ANN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH T HOOVER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOBBS, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOBBS, ROGER C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOBLIN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOCH, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOCH, RICHARD S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOCHHALTER, STEVEN LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOCHHEIM PRAIRIE INSURANCE COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUBROGEE OF JANICE SIBLEY
500 US HIGHWAY 77A S
YOAKUM, TX 77995


HOCK, JOAN K                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOCKLESS, PERRY, SR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HOCKLEY, THOMAS E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HODGE, BETTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HODGE, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HODGE, EVERETT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HODGE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HODGE, MARVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HODGES, BETTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HODGES, BRIAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HODGES, CONRAD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HODGES, EDDIE RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HODGES, FLOYD GENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HODGES, JACK C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HODGES, JOHN MARVIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HODGES, SHIRLEY PARKER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HODGINS, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HODGKINSON, DENNIS RICHARD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOEFFLER, JUDY A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARTIN L HOEFFLER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOEFLER, BRUCE W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEODORE F HOEFLER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOELKER, MERRITT J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOERSTER, KENNETH L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOFER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOFER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFF, DONAVON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOFF, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFART, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFER FLOW CONTROLS, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 2145
107 KITTY HAWK LANE
ELIZABETH CITY, NC 27906-2145


HOFFER, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFERT, PATRICIA M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE E HOFFERT SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFFIE, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFMAN CONSTRUCTION CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
805 SW BROADWAY, SUITE 2100
PORTLAND, OR 97205


HOFFMAN II, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFMAN NEW YORKER INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
46 CLINTON PLACE
HACKENSACK, NJ 07601


HOFFMAN PROCESS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1370 WASHINGTON PIKE
BRIDGEVILLE, PA 15017




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOFFMAN, BENJAMIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOFFMAN, BONNIE LEE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD W SCHNEEHAGEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFFMAN, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFMAN, CHARLES, INDIVIDUALLY AND AS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFMAN, EUGENE AND BEATRICE HOFFMAN                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFMAN, EUGENE R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOFFMAN, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFMAN, JOAN N, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLAIR NACE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOFFMAN, L J, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM HOFFMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFFMAN, OLIVER R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFMAN, PATRICK, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HOFFMAN, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOFFMAN, RUTH, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACKSON M HOFFMAN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFFMAN, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HOFFMAN, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFMAN, WILTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFFMAN, ZACHARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOFFMANN, DORIS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFFMEYER, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFFROGGE, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFMAIER, ALLAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOFMAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOFMANN, WILLIAM C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOFMEISTER, MARY P, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD L DEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOFSETH, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOFSTETTER, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOGAN JR, R W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOGAN, ALONZO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOGAN, DONALD (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOGAN, JAMES, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOGAN, JOSEPH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN HOGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOGAN, LARRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOGAN, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOGAN, MATTHEW C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOGAN, MICHAEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HOGAN, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOGAN, W.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOGARTH, MARJORIE (EGAN)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOGE, JOSEPH G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOGG, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOGSED, ROLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOGUE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOGUE, TROY JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HOHENSTEIN, JOHN J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOHIMER, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOHLE, JIMMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


HOHNE, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOHREIN, FRANK W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOIDA, JACOB                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOIST & CRANE SERVICE GROUP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 53062
LAFAYETTE, LA 70505-3062


HOIST PARTS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA OMI CRANE SERVICES
PO BOX 1719
ROCKWALL, TX 75087


HOJNOWSKI, PAUL J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOKE INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 CENTURA CT
SPARTANBURG, SC 29303-6603




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOKE INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CIRCOR INSTRUMENTATION
TECHNOLOGIES, INC. DBA: HOKE
405 CENTURA CT
SPARTANBURG, SC 29303-6603


HOLACKA, JERRY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLAPPA, CHARLES F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HOLBERT, DEBORAH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLBROOK, BONNIE A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES C HOLBROOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLBROOK, JAMES MASON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HOLCIM (US) INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


HOLCIM (US) INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
STEVEN BERT BESHORE
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


HOLCK, WARREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLCOMB, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6228 OSPREY DRIVE
HOUSTON, TX 77048


HOLCOMB, MICHAEL L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD HOLCOMB JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLCOMB, MILES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLCOMBE, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HOLCOMBE, TONY LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HOLDEN, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLDEN, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLDER, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLDER, DESMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOLDER, HAROLD TAYLOR DECEASED                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HOLDER, SPARKY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOLDERBAUM, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLDERBAUM, WILBUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLDINGS, HARDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLDREN, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLECEK, JAMES W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOLECEK, MELODY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLEMAN, RANDALL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLEN, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLGUIN, ANGELINA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLGUIN, VALERIE A PAYNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLL, JOHN F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOLLAND AMERICA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 ELLIOTT AVENUE WEST
SEATTLE, WA 98119


HOLLAND FURNACE CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P.C.
N/K/A AII ACQUISITIONS, LLC
80 BROAD STREET, 23D FLOOR
NEW YORK, NY 10004


HOLLAND, CAROL F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLAND, DAVID G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLAND, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLAND, ELLEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN MITZEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLLAND, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLAND, GOLDA J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLAND, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLAND, JOHN N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HOLLAND, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLAND, JULIE RENEE MARRS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLAND, MARLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HOLLAND, MICKEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLAND, PAMELA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLAND, RICHARD E, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLAND, RICHARD E. SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLLAND, THOMAS L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLAND, WESLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLAND, WESLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLAR, JOSEPH E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HOLLAS, MELVIN, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


HOLLAWAY, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLEMAN, KENNETH WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLEMAN, KENNETH WAYNE, JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLEMAN, MARY TODD &                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLEMAN, WILLIAM L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLLENBECK, GARY C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HOLLER, BARBARA A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLEY, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLEY, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLEY, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLEY, KRISTEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLEY, LINCOLN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLEY, ROBERT E , III, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT HOLLEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLEY, RONALD B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLEY, RONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HOLLIDAY, EDDIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLIDAY, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLIDAY, LORI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLIDAY, MILDRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLIDAY, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLIDAY, SAVANNA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLINGSWORTH & VOSE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 WASHINGTON ST
EAST WALPOLE, MA 02032


HOLLINGSWORTH & VOSE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEIRDRE MURPHY, VP & GEN. COUN.
112 WASHINGTON ST
EAST WALPOLE, MA 02032


HOLLINGSWORTH & VOSE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


HOLLINGSWORTH, CHAD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLLINGSWORTH, FRANK D                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLLIS, LINELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLLIS, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOLLOMAN, MARION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLOWAY, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLOWAY, CHASITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLLOWAY, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLOWELL, WADE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLLY FRONTIER CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2828 N. HARWOOD, SUITE 1300
DALLAS, TX 75201


HOLM, FRITZ M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLM, THOMAS W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLMAN BOILER WORKS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1956 SINGLETON BLVD
DALLAS, TX 75212


HOLMAN BOILER WORKS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 226865
DALLAS, TX 75222-6865


HOLMAN BOILER WORKS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 226865
DALLAS, TX 75222-6865


HOLMAN BOILER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1956 SINGLETON BLVD
DALLAS, TX 75212


HOLMAN, BRYAN V.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMAN, TOMMY RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES & NARVER CONSTRUCTORS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P0 BX 6240
ORANGE, CA 92868


HOLMES, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLMES, EDWARD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOLMES, FRED J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLMES, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLMES, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, HAROLD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLMES, JAMES DELORA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, LOTHERINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, MARJORIE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, PHILIP C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLMES, WALTER, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLMES, WILLIAM L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOLMOK, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HOLSHOUSER, JEFFREY CRAIG                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLST, MILTON R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOLSTED, RONALD V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOLSTEIN, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLSTEN, TIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOLT, DREXEL M, III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOLT, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLT, MAE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOLT, REUBEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLTEC INTERNATIONAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE HOLTEC DR
MARLTON, NJ 08053


HOLTEC INTERNATIONAL, INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE HOLTEC DRIVE
MARLTON, NJ 08053


HOLTEK ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 JEWELL DR
WACO, TX 76712


HOLTER, DORIS A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID HOLTER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLTHAUS, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOLTMAN, RONALD B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLTON, ERMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HOLTON, JACK S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

HOLTON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOLTZHAFER, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLZEM, JAMES C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOLZMACHER, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOLZSHU, JONATHAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOMA, ROBERT A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOMAN, FORREST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOMAN, PRESTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOMASOTE CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
932 LOWER FERRY ROAD
WEST TRENTON, NJ 08628-0240


HOMASOTE CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                           Nature

HOMASOTE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


HOMASOTE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


HOMASOTE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRINCETON PIKE CORPORATE CENTER
FOX ROTHSCHILD LLP
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648-2311


HOMCY, SIMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOME BUILDERS ASSOCIATION OF                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREATER DALLAS INC ATTN MISTY
VARSALONE,5816 W PLANO PKWY
PLANO, TX 75093


HOME INSURANCE CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


HOMESTEAD INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
53193 CHELLE LN
GRANGER, IN 46530


HOMEWOOD PRODUCTS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
820 WASHINGTON BOULEVARD
PITTSBURGH, PA 15206


HOMRICH & BERG INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3060 PEACHTREE ROAD STE 830
ATLANTA, GA 30305


HONARDOOST, ABBAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HONEYCUTT, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HONEYCUTT, CONNIE JEWELL MCCRAW                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HONEYCUTT, JAMES R., ESQUIRE, FOR THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH EUGENE SLOAN, SR.
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


HONEYCUTT, JAMES THOMAS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HONEYCUTT, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HONEYWELL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HONEYWELL PLAZA
101 COLUMBIA RD
MORRISTOWN, NJ 07962


HONEYWELL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HONEYWELL PLAZA
101 COLUMBIA RD
MORRISTOWN, NJ 07962


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62704


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
ADRIENNE E DOMINGUEZ, ONE ARTS PLAZA,
1722 ROUTH ST, STE 1500
DALLAS, TX 75201


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
DAWN M WRIGHT, ONE ARTS PLAZA,
1722 ROUTH ST, STE 1500
DALLAS, TX 75201


HONEYWELL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
KEVIN J. PARKS
333 CLAY STREET, SUITE 3300
HOUSTON, TX 77002




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HONEYWELL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VORYS SATER SEYMOUR & PEASE LLP
DAVID A. OLIVER
700 LOUISIANA STREET, SUITE 4100
HOUSTON, TX 77002


HONEYWELL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VORYS, SATER, SEYMOUR AND PEASE LLP
TIFFANY SUE BINGHAM
700 LOUISIANA STREET
HOUSTON, TX 77002


HONEYWELL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
909 FANNIN STREET, SUITE 3300
HOUSTON, TX 77010


HONEYWELL INTERNATIO NAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


HONEYWELL INTERNATIO NAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GIBBONS PC
KIM CATULLO
ONE GATEWAY CENTER
NEWARK, NJ 07102-5310


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE
COMPANY 221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN,
TWELVE WYANDOTTE PLAZA, 120 W.12TH ST
KANSAS CITY, MO 64105-1929


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
SUSAN ELIZABETH RYAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
MORRISTOWN, NJ 07960


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2595 INTERSTATE DRIVE STE 103
HARRISBURG, PA 17110


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7TH ST PAUL STREET
SUITE 1660
BALTIMORE, MD 21202


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASHLEY GRACE HAWKINSON, ESQ
1511 S 50TH ST
KANSAS CITY, KS 66106-2325


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRACEWELL & GIULIANI LLP
W. STEPHEN BENESH
111 CONGRESS AVE, SUITE 2300
AUSTIN, TX 78701-4061


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUILDING SOLUTIONS
12490 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE COMPANY
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE
COMPANY 221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCDERMOTT WILL & EMERY LLP
F/K/A ALLIED SIGNAL
340 MADISON AVE
NEW YORK, NY 10017


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


HONEYWELL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 63102


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LYNN G LEGLER- TREVINO,
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
SUSAN ELIZABETH RYAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

HONEYWELL INTERNATIONAL INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT LLP
DONNA POLIDORO MOYE
333 CLAY STREET, SUITE 3300
HOUSTON, TX 77002


HONEYWELL OPTOELECTRONICS DIVISION                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HONEYWELL,INC.
101 COLUMBIA RD.
MORRISTOWN, NJ 07960


HONEYWELL PLAZA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2701 FOURTH AVENUE SOUTH
MINNEAPOLIS, MN 55408


HONEYWELL INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
PO BOX 4000
MORRISTOWN, NJ 07962


HONEYWELL INTERNATIONAL INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COLUMBIA RD
P.O. BOX 4000
MORRISTOWN, NJ 07962


HONEYWELL INTERNATIONAL INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


HONEYWELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LYDIA MONTALVO
950 KEYNOTE CIRCLE
BROOKLYN HTS., OH 44131


HONEYWELL,INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN CAMPION,FACILITIES MGR.
HONEYWELL,INC.
MINNEAPOLIS, MN 55440


HONOLD & LAPAGE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1128 S 11TH ST
SHEBOYGAN, WI 53081




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOOD CO. LIBRARY DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOOD COUNTY LIBRARY
222 N. TRAVIS ST.
GRANBURY, TX 76048


HOOD COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 339
GRANBURY, TX 76048


HOOD, DON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOD, GLEN EARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOD, JAMES BRUCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOD, JERRY G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOD, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOD, PAULA KAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOK, BROCK, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE B HOOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOOK, MARK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOKER CHEMICAL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 61569
HOUSTON, TX 77208


HOOKER CHEMICAL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15727
DALLAS, TX 75215




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOOKER, PATRICIA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM HOOKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOOKER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOOKS, CHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOKS, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOOKS, TOMMIE H.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOLAHAN, CRAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOLAHAN, RICHARD J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOLAHAN, THOMAS R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOPER, DIANA M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOPER, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOPER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOPER, MELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOOPER, MICHELLE S, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN BROOKS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOOPS, JERRY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOPS, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOOVER, DALE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOVER, RICHARD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOOVER, S.L.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOOVER, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOOVER, WILLIAM A, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOPE, FORREST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOPE, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOPE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOPEMAN BROTHERS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
435 ESSEX AVE STE 102
WAYNESBORO, VA 22980


HOPEMAN BROTHERS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
435 ESSEX AVE
PO BOX 820
WAYNESBORO, VA 22980


HOPEWELL, LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOPKINS CO. HOSPITAL DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 AIRPORT ROAD
SULPHUR SPRINGS, TX 75482


HOPKINS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
118 CHURCH STREET
SULPHUR SPRINGS, TX 75482


HOPKINS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOPKINS COUNTY COURTHOUSE
118 CHURCH ST.
SULPHUR SPRINGS, TX 75482


HOPKINS JR, C B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, BRUCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOPKINS, DONNA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK L WILT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOPKINS, EDDY G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, HAROLD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOPKINS, HARRY M, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, LOUISE G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, PAT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPKINS, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOPKINS, ROBERT V.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOPKINS, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOPKINS, TEDDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOPPEL, KEITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPPER, BARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOPPER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOPPER, SIDNEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOPSON SERVICES COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 764857
DALLAS, TX 75376


HOPSON, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORAK, ALICE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GILBERT COMBS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORAN, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORAN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORAN, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HORAN, VINCENT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH HORAN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORDYK, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORGAN, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORGAN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORHOE, CHARLES R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORIZON WIND ENERGY LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


HORIZON WIND ENERGY LLC,                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


HORM, JOHN F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORN, DORIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HORN, JACOB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF LINDELL HORN
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


HORN, JOHN H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORN, ROGER G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORN, ROGER ROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORN, ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORN, THOMAS H, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANKLIN C HORN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORNBUCKLE, BILLY R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNBUCKLE, BILLY RAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNE, BEULAH R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORNE, BILLY DEAN, SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HORNE, CLAUDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HORNE, CLYDE W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNE, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNE, GREGORY H.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNE, JAMES W , SR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A HORNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORNE, LOUELLA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORNE, MARY L, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SIMON HORNE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORNER, DEWEY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HORNER, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORNER, JAMES W, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HORNER, LOUISE L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND W HORNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORNER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORNEY, JOHNNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOROS, ALEX R, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOROWITZ, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HORRIGAN, MICHAEL PATRICK, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD HORRIGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORSEY, NORMAN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HORST EQUIPMENT REPAIR, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
353 MARINA DRIVE
LINCOLN, AL 35096


HORST, JUDITH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                        Nature

HORSTMANN, HENRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORTEN, BRENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORTMAN, DANNY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORTON OIL COMPANY LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 9TH STREET
WHEATLAND, WY 82201


HORTON, ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORTON, BILLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JACK C. HORTON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


HORTON, CHARLES WILLIAM                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HORTON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

HORTON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORTON, OSCAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORTON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORTON, ROBIN C, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORTON, ROBIN CHRISTOPHER, JR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HORVAT, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORVATH, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HORVATH, JAMES EDWARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HORVATH, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HORVATH, RONALD G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

HORVATH, STEVEN V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HORVATH, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HORWATH, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOSEIN, STALIN KEITH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOSELTON, JEFFREY L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOSKINS, JAMES MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOSKINS, JAMES MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


HOSKINS, JAMES MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
3900 ESSEX LANE, SUITE 390
HOUSTON, TX 77027


HOSPITAL DISTRICT #1                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
624 FANNIN ST
LIBERTY, TX 77575


HOSS, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOSSELKUS, ALLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOTSY CARLSON EQUIPMENT CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 18643 CROSSING ROAD
AUSTIN, TX 78760


HOTT, HOMER, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PAULINE BLANCHE HOTT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOUCHENS, DOROTHY, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY T HOUCHENS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOUCK, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HOUCK, OLIVER A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUDE, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOUGH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOUGLAND, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOUK, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOULDER, CHARLES C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOUSE, DEWITT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOUSE, LORRAINE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE HOUSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOUSE, MARSHALL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOUSE, MICKEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOUSE, RICKY DUANE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HOUSE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOUSEHOLD INTERNATIONAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 SANDERS RD
PROSPECT HEIGHTS, IL 60070-2701


HOUSEKEEPER JR., JOHN C.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUSEKEEPER, JULIE M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUSENICK, DOUGLAS C.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSER, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOUSER, WILLIAM (TERRY)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSLEY, DIANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUSTON BELT & TERMINAL RAILWAY CO.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 SH 146 NORTH
TEXAS CITY, TX 77590


HOUSTON CO. ESD 2                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 941
TAX COLLECTOR
CROCKETT, TX 75835


HOUSTON CO. HOSPITAL DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1050 E LOOP 304 # 220
CROCKETT, TX 75835


HOUSTON COMMUNITY COLLEGE DIST.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 MAIN ST.
HOUSTON, TX 77002




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

HOUSTON COUNTY READY-MIX CONCRETE CO INC                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
B J HOSLEY, ATTORNEY AT LAW
PO BOX 389
CROCKETT, TX 75835


HOUSTON COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 EAST GOLIAD
CROCKETT, TX 75835


HOUSTON ETCHING CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
184 REINICKE ST.
HOUSTON, TX 77007


HOUSTON GENERAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4055 INTERNATIONAL PLAZA
FORT WORTH, TX 76109


HOUSTON GENERAL/TOKIO FIRE & MARINE CO.                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4055 INTERNATIONAL PLAZA
FORT WORTH, TX 76109


HOUSTON ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4400 WEST 18TH ST.
HOUSTON, TX 77092


HOUSTON LIGHTING & POWER COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
LISA A. POWELL
1401 MCKINNEY STREET, SUITE 1900
HOUSTON, TX 77010


HOUSTON MARINE SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1670 BROADWAY; SUITE 3100
DENVER, CO 80202


HOUSTON OIL AND MINERAL CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


HOUSTON PATRICIA SOUTHWAY LTD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2522 PATRICIA MANOR PLACE
HOUSTON, TX 77012




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOUSTON PIPE LINE COMPANY LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002


HOUSTON PLATING CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 GEORGIA ST.
SOUTH HOUSTON, TX 77587


HOUSTON PLATING CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1315 GEORGIA
SOUTH HOUSTON, TX 77587


HOUSTON SCRAP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


HOUSTON SHIP REPAIR, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16201 WOOD DRIVE
CHANNELVIEW, TX 77530


HOUSTON SOLVENTS AND CHEMICALS CO.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/OSWS HOUSTON INC.
8584 KATY FREEWAY, SUITE 417
HOUSTON, TX 77241


HOUSTON SRE INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 WHITE PLAINS ROAD
TARRYTOWN, NY 10591


HOUSTON, AKUA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUSTON, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 BAGBY
HOUSTON, TX 77002


HOUSTON, DANNY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOUSTON, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HOUSTON, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSTON, MILTON, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSTON, SCOT P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOUSTON, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


HOUSTON, WILMA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOUT, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 MAIN STREET
BIG SPRING, TX 79721


HOWARD JR. COLLEGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 BIRDWELL LN
BIG SPRING, TX 79721


HOWARD, BENNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOWARD, BUNIE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, CLAUDE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOWARD, DELMON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWARD, EDWARD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, GARRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWARD, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, GILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, JAMES D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWARD, JAMES D, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOWARD, JEANNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, JOHN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, JOHN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, JR, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, KEVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, L. CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, LAMETRIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWARD, LAURENCE J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HOWARD, LESLIE W--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HOWARD, MAX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, MICHAEL D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, MORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, RAYMOND J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, RAYMOND, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ESTHER HOWARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWARD, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOWARD, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HOWARD, STEPHEN MICHAEL, SR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HOWARD, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWARD, WILLIAM J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWARD, WILLIAM L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWDEN BUFFALO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOWDEN NORTH AMERICA INC.
7909 PARKLANE ROAD
COLUMBIA, SC 29223


HOWDEN BUFFALO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N/K/A HOWDEN NORTH AMERICA INC.
7909 PARKLANE ROAD
COLUMBIA, SC 29223


HOWDEN NORTH AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7909 PARKLANE ROAD
COLUMBIA, SC 29223


HOWDEN NORTH AMERICA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
260 SPRING SIDE DR
AKRON, OH 44333


HOWE, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWE, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HOWE, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWE, OTIS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWE, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWELL, BOBBY LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOWELL, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWELL, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWELL, JOHN J, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWELL, LEONARD B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HOWELL, MONTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HOWELL, PAMELA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HOWELL, SEAN R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY HOWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWELL, THELMA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E HOWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HOWERTON, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOWINGTON, MAGGIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWLE, JUSTIN LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWLE, RONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOWLEY, ROBERT--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HOY, EDWARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

HOYLE, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOYSOCK, MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HOYSOCK, MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOYT, CAROL ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOYT, ERNEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HOYT, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HOYT, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HPM NORTH AMERICA CORP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1193 POLE LANE RD
MARION, OH 43302


HRABOVSKY, ALEX T--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


HRABOWSKA, MARY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HRAY, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HREHA, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HRINKO, METRO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HRONCICH, KATIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HRONSKY, DOMINIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HRTICA, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HRUZ, CHARLES C, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HRYB, DOROTHY L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER HRYB
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HSBC CARD SERVICES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 WOOD DALE ROAD
WOOD DALE, IL 60191




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HSC-HOPSON SERVICES COMPANY, INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 764857
DALLAS, TX 75376


HSU, MICHAEL Y                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HSU, WU-HSUAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HTI AKA HEAT TREATING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6740 SE 110TH
SUITE 508
BELLEVIEW, FL 34420


HTS AMERITEK LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203047
HOUSTON, TX 77216-3047


HUBBARD ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W. HWY. 31
HUBBARD, TX 76648


HUBBARD, DONALD S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


HUBBARD, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBBARD, ELAINE S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBBARD, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUBBARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HUBBARD, MILES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUBBARD, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HUBBELL INCORPORATED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40 WATERVIEW DR
SHELTON, CT 06484


HUBBELL POWER SYSTEMS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
584 DERBY MILFORD ROAD
POST OFFICE BOX 549
ORANGE, CT 06477-4024


HUBBELL POWER SYSTEMS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
584 DERBY MILFORD RD.
PO BOX 549
ORANGE, CT 06477


HUBBS, BRENDA JOYCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBBS, CRAIG FRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBER, DOROTHY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUBER, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

HUBER, JOHN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUBER, KENNETH R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD V HUBER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUBER, LORE HA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBER, PETER HALL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUBER, PHILIP E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIRGIL MULLENAX SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUBER, RONNIE F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBER, TERY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUBER, WILLIAM C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HUBER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUBERT, KEVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

HUBISH, JOHN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUCK, SANDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUCKABEE, JOANNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HUCKEY, LESLIE STEVEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HUDAK, ALEC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HUDCO INDUSTRIAL PRODUCTS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 MORGAN RD
BESSEMER, AL 35022


HUDCO INDUSTRIAL PRODUCTS INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOSH HANNUM
3100 MORGAN ROAD
BESSEMER, AL 35020


HUDDY, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDDY, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDGINS, JERRY ODELL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HUDGINS, WILMA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

HUDNALL, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDNALL, LEE UPTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDNALL, REBECCA (BECKY) R                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDOCK, GEORGE T, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6735 TED TROUT DRIVE
LUFKIN, TX 75904


HUDSON, BEN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HUDSON, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON, CARL NEWTON (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HUDSON, ELLA MAE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

HUDSON, KATHLEEN L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE R HUDSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUDSON, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HUDSON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUDSON, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUDSON, ROLAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUDSON, SANFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUDSON, WAYNE N, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES W HUDSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUELSBERG, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

HUERFANO COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 MAIN STREET
SUITE 201
WALSENBURG, CO 81089-2045


HUESKE, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HUEY, CALVIN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUFF, BURRELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HUFF, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFF, MARVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUFF, THOMAS JERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HUFFMAN, BILLY N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFFMAN, ERMA L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                            Nature

HUFFMAN, KATHERINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFFMAN, NEALY LEE (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFFSTICKLER, GUY WILLIAM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HUFFSTICKLER, RUBY JEAN THOMAS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFFSTICKLER, RUBY THOMAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFNAGEL, DAVID M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUFNAGLE, MARK D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGGINS, BOBBIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGGINS, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGGINS, HARRIET M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY A WAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUGGINS, JAMES BOYCE, III                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                         Nature

HUGGINS, MARTHA WELSH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGGINS, RANDALL EUGENE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGGINS, RANDALL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGGINS, TONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHART, ALAN A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHART, DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES AIRCRAFT CO FKA HUGHES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, ALAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGHES, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGHES, BAKER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, BOBBY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

HUGHES, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, ELTON V.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, FRED B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGHES, HALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, JAMES KENNETH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, JOHN AND ELIZABETH HUGHES                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGHES, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HUGHES, JOSEPH W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUGHES, JOY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


HUGHES, PEARL T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, RAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, ROBERT V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUGHES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, ROY R.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, SHARON LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


HUGHES, SHARON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                            Nature

HUGHES, SHERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, THOMAS JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUGHES, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUGHES, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGHES, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUGHES, WILMA A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD P HUGHES JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUGO, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUGUET, RONALD J. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


HUGYA, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HUHN, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HUIE, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUIE, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUIZENGA MANUFACTURING GROUP I                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3755 36TH ST #200
GRAND RAPIDS, MI 49512


HUK, MELANIE R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUK, MELANIE R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULBACK, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HULBERT, STEPHEN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULCHER SERVICES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203532
DALLAS, TX 75320-3532


HULCHER SERVICES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
611 KIMBERLY DRIVE
DENTON, TX 76208-6300


HULEN, CATHRYN C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULKE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

HULL, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HULL, JIMMIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


HULL, LESTER B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULL, RICHARD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HULL, SHEILA T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HULL, THOMAS C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULSE, JOHN & ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULSEY, CORINNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HULSEY, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMBLES, A LOUISE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                         Nature

HUMBRACHT, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMCZAK, IRENA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUME, BRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUME, LESLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMEL, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMMEL, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMMEL, GARY F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


HUMMEL, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                          Nature

HUMMEL, PATRICIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


HUMPHREY & ASSOCIATES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 59247
DALLAS, TX 75229


HUMPHREY & ASSOCIATES INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THOMAS FELDMAN & WILSHUSEN
ATTN: JASON R. KENNEDY
9400 N CENTRAL EXPWY, STE 900
DALLAS, TX 75231


HUMPHREY (LIPSCOMB), DOROTHY JEAN                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHREY, CATHY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHREY, CURTIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHREY, HOLLAN RAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHREY, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHREY, LEANDER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUMPHREYS, WILLIAM AND MARGARET HUMPHREYS                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHRIES, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUMPHRIES, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

HUMPHRIES, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNCZAK, IRENA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNDLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNG, FRANCIS C., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNKINS, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNN, LESTER B., III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HUNSICKER, CARL F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUNT COUNTY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2507 LEE STREET
GREENVILLE, TX 75401


HUNT MEMORIAL HOSPITAL DIST.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4215 JOE RAMSEY BLVD E
GREENVILLE, TX 75401


HUNT OIL COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 NORTH AKARD STREET
DALLAS, TX 75201-2300


HUNT VALVE COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1913 E STATE ST
SALEM, OH 44460




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Name of Counterparty                                                                                            Nature

HUNT, AUDREY SWETT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, EDDIE RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, EDWARD LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNT, JESSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HUNT, JULIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, JULIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, KRISTIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, LEWIS A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUNT, MARIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HUNT, MARY E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUNT, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HUNT, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNT, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HUNT, SHAWN, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNT, STANFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


HUNT, TED                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HUNT, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTE, HERSLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HUNTEMANN, DEBORAH, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND H REEDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUNTER & ASSOCIATES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 561351
DALLAS, TX 75356


HUNTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION
251 E. OHIO ST. STE 1100
INDIANAPOLIS, IN 46341


HUNTER, ANDRE HODGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, ANDRE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, CHARLES W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, DAVID S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTER, EALIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, GORDON MONROE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTER, JOAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

HUNTER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTER, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTER, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


HUNTER, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HUNTER, THERON C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HUNTER, WILLIAM (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HUNTING (DECEASED), GERALD DEAN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUNTINGTON INGALLS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WASHINGTON AVE.
NEWPORT NEWS, VA 23607




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HUNTINGTON INGALLS INCORPORATED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWIN A ELLINGHAUSEN
BLUE WILLIAMS
3421 N CAUSEWAY BLVD # 900
METAIRIE, LA 70002


HUNTINGTON OIL COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 HAWK AVE
ALPHA, NJ 08865


HUNTINGTON, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUNTSMAN PERFORMANCE PRODUCTS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10003 WOODLOCH FOREST DR
THE WOODLANDS, TX 77380


HUNTSMAN PETROCHEMICAL CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
DAVID W LEDYARD
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


HUPE, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUPE, LOREN D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HURD, CLAYTON JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HURD, ELMER L, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

HURD, WALTER D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


HURIBURT, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


HURLETRON INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1820 TEMPEL DR
LIBERTYVILLE, IL 60048


HURLEY JR., THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HURLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HURLEY, VALERIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HURON INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2301 16TH ST
PORT HURON, MI 48060


HURON INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DEBRA HARDY
2301 16TH STREET
PORT HURON, MI 48060


HURON, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HURST - EULESS - BEDFORD ISD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1849 CENTRAL DR.
BEDFORD, TX 76022




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Name of Counterparty                                                                                           Nature

HURST JEREMIAH 29:11 LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAS ON CALLOWAY CREEK
901 W HURST BLVD
HURST, TX 76053


HURST METALLURGICAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LABORATORY INC
2111 WEST EULESS ROAD
EULESS, TX 76040-6707


HURST, ALFRED W., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HURST, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
1505 PRECINCT LINE ROAD
HURST, TX 76054


HURST, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HURST, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HURST, JOHN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


HURST, OTTO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

HURT, ERNEST                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


HURT, JAMES H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUSAIN, AUSAF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUSCH & EPPENBERGER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
MARK ZELLMER
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105-3441


HUSKEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUSKY ENERGY INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STATION """"D"""", 707-8TH AVENUE SW
PO BOX 6525
CALGARY, AB T2P 3G7
CANADA

HUSS, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUSSEY, LLOYD H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUSSMAN CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12999 ST. CHARLES ROCK ROAD
BRIDGETON, MO 63044




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Name of Counterparty                                                                                            Nature

HUSTED, GENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUSTED, RICHARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUTCHCRAFT, JIMMIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUTCHERSON, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUTCHESON, MARY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUTCHINS, CHARLES R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTCHINS, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HUTCHINSON, LESTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

HUTCHISON PIPE AND WASTE MATERIALS DIVISION                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O: COMMERCIAL METALS COMPANY LEGAL DEPARTMENT
ATTN: RICHARD HAYSLETT
P.O. BOX 1046
DALLAS, TX 75221


HUTCHISON, DIANA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTCHISON, JAMES D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUTCHISON, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTCHISON, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


HUTH, JOHN, JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUTHER AND ASSOCIATES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1156 N BONNIE BRAE
DENTON, TX 76201


HUTT, JULIE A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF J THOMAS VOELKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUTTO, DEAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTTO, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTTON, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HUTTON, MARSHA PINTAR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTTS, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HUTZLER, ROBERT S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HUX, GARLAND, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HUYS, JAMES F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


HVAC SERVICES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 911975
DALLAS, TX 75391-1975


HYATT, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HYCO INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 GALLERIA PARKWAY SUITE 1000
ATLANTA, GA 30339-5954


HYDE, ALFRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HYDE, DONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HYDE, ELAINE F, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES U FOSTER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HYDE, GEORGE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


HYDE, JASON S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HYDE, JEFFERY DON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HYDE, JERRY L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HYDE, JOSHUA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


HYDE, RICHARD H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HYDE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HYDRADYNE HYDRAULICS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 974799
DALLAS, TX 75397-4799


HYDRADYNE HYDRAULICS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1019 RANKIN ROAD
HOUSTON, TX 77073




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

HYDRADYNE HYDRAULICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5308 INDUSTRIAL DRIVE
BOSSIER CITY, LA 71112


HYDRADYNE HYDRAULICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
950 W NORTH CARRIER PKWY
GRAND PRAIRIE, TX 75050


HYDRAQUIP CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4493
HOUSTON, TX 77210-4493


HYDRATIGHT OPERATIONS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25177 NETWORK PLACE
CHICAGO, IL 60673-1251


HYDRAULIC SERVICE & SUPPLY CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 565827
DALLAS, TX 75356


HYDRIL COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 WEST LOOP SOUTH; SUITE 800
HOUSTON, TX 77027


HYDRITE CHEMICAL CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 N PATRICK BLVD
BROOKFIELD, WI 53045


HYDRITE CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 N PATRICK BLVD
BROOKFIELD, WI 53045


HYDROCARBON EXCHANGE CORP.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5910 NORTH CENTRAL EXPRESSWAY,
SUITE 1380
ATTN: PRESIDENT
DALLAS, TX 75206-5126


HYDROCARBON RECOVERY SERVICES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
320 SCROGGINS RD
SPRINGTOWN, TX 76082


HYDROGRAPHIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2202 UNION BOWER ROAD
IRVING, TX 75060




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Name of Counterparty                                                                                           Nature

HYDROTEX DYNAMICS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6320 CUNNINGHAM RD
HOUSTON, TX 77041


HYDROTEX DYNAMICS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 41368
HOUSTON, TX 77240-1368


HYLAS, MARK K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HYMAN, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


HYMAN, LEE ROY, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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HYNES INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3760 OAKWOOD AVENUE
YOUNGSTOWN, OH 44515


HYNES, MICHAEL F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


HYNES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HYNES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

HYNICK, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HYSLOP, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


HYSOL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


HYSOL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


HYSOL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


HYSOL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE HENKEL WAY
ROCKY HILL, CT 06067


HYSOLA BRAND OF HENKEL CORP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HENKEL AG & CO. KGAA
HENKELSTRASSE 67
DUSSELDORF, 40191


HYSTER COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 847
1901 E. VOORHEES STREET
DANVILLE, IL 61832


HYTORC DIVISION UNEX CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
333 RT 17 NORTH
MAHWAH, NJ 07430




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

HYTORC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
333 RT. 17 NORTH
MAHWAH, NJ 07430


I M O INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD, POFF & BURGESS, LLP
POFF, FRANKLIN ALBRIGHT JR.
2301 MOORES LANE
TEXARKANA, TX 75503


I T E IMPERIAL CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


I.M.O. INDUSTRIES INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 EAST CHASE STREET
BALTIMORE, MD 21202


IACOVONE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


IAF ADVISORS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10938 SAINT MARYS LN
HOUSTON, TX 77079


IANAZZI, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IANDOLI, ALPHONSE H.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


IANNOLO, SALVATORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

IANNONI, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IANNOTTI, JOHN M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


IAVARONE, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IBERDROLA RENEWABLES LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1125 NW COUCH SUITE 700
PORTLAND, OR 97209


IBERDROLA RENEWABLES, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


IBERDROLA RENEWABLES, INC.,                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


IBERDROLA RENEWABLES, LLC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W. BENJAMIN LACKEY, GENERAL COUNSEL
AND SECRETARY
1125 NW COUCH / SUITE 700
PORTLAND, OR 97209


IBEW 2337                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GILLESPIE, ROZEN, & WATSKY, P.C.
HAL GILLESPIE
3402 OAK GROVE AVE, SUITE 200
DALLAS, TX 75204




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

IBEW LOCAL 2337 ON BEHALF OF MEMBER                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHRIS MORRIS, C/O GILLESPIE SANFORD LLP
ATTN: HAL GILLESPIE & JOSEPH GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


IBM CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BANKRUPTCY COORDINATOR
275 VIGER E, 4TH FLOOR
MONTREAL, QC H2X 3R7
CANADA

IBM CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 676673
DALLAS, TX 75267-6673


ICE, AMY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ICE, CARTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ICE, KEVIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ICE, RILEY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ICHNOSKI, VANESSA L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARION SCELSI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ICHOLS, LYNN M N, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN M NICHOLS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ICL IP AMERICA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3247
CAROL STREAM, IL 60132-3247




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ICL-IP AMERICA INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CREDIT DEPT.
622 EMERSON RD.
STE. 500
SAINT LOUIS, MO 63141


ICON MANAGEMENT SYSTEMS LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13500 PEARL ROAD, SUITE 139 # 102
STRONGSVILLE, OH 44136


IDEAL CLEANERS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 BURLESON STREET
ROCKDALE, TX 76567


IDEAL CLEANERS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 128
LEXINGTON, TX 78947-0128


IDEAS 'N MOTION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4552 BELTWAY DRIVE
ADDISON, TX 75001


IDEKER, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IDEKER, SHIRLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IEHLE, DOROTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IEHLE, NORMAN F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


IFE                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MAZON ASSOCIATES, INC
P.O. BOX 166858
IRVING, TX 75016




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

IGO, BOB (DECEASED)                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IIRX LP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 535
HOPE, NJ 07844


IIRX LP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 560684
ROCKLEDGE, FL 32956


ILCO                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 70
GRAND RAPIDS, MN 55744


ILIEV, STEFAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ILLIES, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ILLIG, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ILLINOIS CENTRAL RAILROAD CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 W ADAMS ST
BELLEVILLE, IL 62220


ILLINOIS DEPARTMENT OF REVENUE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 19044
SPRINGFIELD, IL 62794-9044


ILLINOIS POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
370 S. MAIN ST
DECATUR, IL 62523




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Name of Counterparty                                                                                          Nature

ILLINOIS POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


ILLINOIS POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES A TISCKOS
607 EAST ADAMS STREET
SPRINGFIELD, IL 62739


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3600 W LAKE AVE
GLENVIEW, IL 60026


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


ILLINOIS TOOL WORKS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW ROBERT FIELDS, ATTORNEY AT LAW
231 S BEMISTON AVE
SUITE 260
CLAYTON, MO 63105




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ILLINOIS TOOL WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3600 W LAKE AVE
GLENVIEW, IL 60026


ILOVAR, IVAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


IMACC CORP VARIAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6549 SAN PABLO AVE
OAKLAND, CA 94608


IMAGINATION BRANDING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
230 GREAT CIRCLE RD STE 248
NASHVILLE, TN 37228-1728


IMAGINATION SPECIALTIES, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA IMAGINATION BRANDING
ATTN: REBECCA LINK
230 GREAT CIRCLE RD., STE. 248
NASHVILLE, TN 37228


IMBORDINO, ALBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IMG COLLEGE LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 16533
PALATINE, IL 60055


IMG COLLEGE, LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MARK BENNETT
540 N. TRADE ST.
WINSTON-SALEM, NC 27101


IMI CASH VALVE INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 7TH AVE. SW
CULLMAN, AL 35055-0278


IMMENHAUSER, ALAN DALE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

IMMENHAUSER, HENRY CARL (DECEASED)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IMO DELAVAL INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21 CLINTON STREET
HUDSON, OH 44236


IMO DELAVAL INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROBERT THACKSTON
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD, STE 111
MONROE, NC 28110


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUTSCH FIELDS & ASSOCIATES LLC
DAVID THRIFT BUTSCH
231 S BEMISTON AVE, STE 260
CLAYTON, MO 63105


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D. RANDALL MONTGOMERY & ASSOCIATES,
P.L.L.C., MICHAEL K JUSTUS
12400 COIT ROAD SUITE 560
DALLAS, TX 75251


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD, STE 111
MONROE, NC 28110


IMO INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOYD & BURGESS LLP
FRANKLIN A POFF, JONATHAN PRAZAK
2301 MOORES LANE
TEXARKANA, TX 75503




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUTSCH FIELDS & ASSOCIATES LLC
MATTHEW ROBERT FIELDS
231 S BEMISTON AVE, STE 260
CLAYTON, MO 63105


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.W. KINISELY
997 LENOX DRIVE
LAWRENCEVILLE, NJ 01843


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD, STE 111
MONROE, NC 28110


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD, SUITE 111
MONROE, NC 28110


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3525 QUAKERBRIDGE RD STE 111
TRENTON, NJ 08619


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUTSCH FIELDS & ASSOCIATES LLC
DAVID THRIFT BUTSCH
231 S BEMISTON AVE, STE 260
CLAYTON, MO 63105


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUTSCH FIELDS & ASSOCIATES LLC
MATTHEW ROBERT FIELDS
231 S BEMISTON AVE, STE 260
CLAYTON, MO 63105


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
830 BEAR TAVERN ROAD
WEST TRENTON, NJ 08628


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DANNA MCKITRICK
DAVID ALAN ZOBEL
7701 FORSYTH BLVD, SUITE 800
CLAYTON, MO 63105


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANKLIN ALBRIGHT POFF , ATTORNEY AT LAW
409 HAZEL STREET
TEXARKANA, AR 71854


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEADER & BERKON LLP
630 THIRD AVENUE, 17TH FLOOR
NEW YORK, NY 10017


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCANANY, VAN CLEAVE & PHILLIPS
PATRICK THOMAS HINRICHS
515 OLIVE STREET SUITE 1501
ST LOUIS, MO 63101


IMO PUMP INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5020
MONROE, NC 28111


IMO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD, SUITE 111
MONROE, NC 28110




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

IMONDI, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IMPELLIZZERI, LEO G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IMPERATORE, MARIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IMPERIAL SUGAR CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 SUGAR CREEK CENTER BLVS., SUITE 500
SUGAR LAND, TX 77478


IMPERIAL SUGAR COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8016 HIGHWAY 90A
SUGARLAND, TX 77478


IMS AMERICA, LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
660 W. GERMANTOWN PIKE
PLYMOUTH MEETING, PA 19462


IMS HEALTH INCORPORATED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
83 WOOSTER HEIGHTS RD.
DANBURY, CT 06810


INC, GERHARDTS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INC, JOHN SORE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INCARDONE, ROSARIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


INCENTIVIZE ENTERPRISES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7 WARWICK
ODESSA, TX 79765




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

INCHAUSPE, GREGORY (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


INCISIVE SOFTWARE CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 SANTANA ROW SUITE 200
SAN JOSE, CA 95128


INCONTRERA, FRANK VITO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


INCREDIBLE PIZZA MANAGEMENT GROUP, LLC                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JASON WALL
5254 S LINDBERGH BLVD
SAINT LOUIS, MO 63126


INDAL ALUMINUM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 34TH STREET
GULFPORT, MS 39501


INDECK POWER EQUIPMENT COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


INDECK POWER EQUIPMENT COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


INDEPENDENT AIR BRAKE SERVICE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 518
HUGHES SPRINGS, TX 75656


INDIAN HEAD INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8530 CLIFF CAMERON DR
CHARLOTTE, NC 28269




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

INDIAN MESA WIND FARM, L.P.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNES AND BOONE, LLP, NINA CORTELL
ANNE M. JOHNSON, BEN L. MESCHES, RYAN
PAULSEN, 2323 VICTORY AVE, SUITE 700
DALLAS, TX 75219


INDIAN MESA WIND FARM, L.P.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, P.C., JOHN VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


INDIAN MESA WIND FARM, LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


INDIAN MESA WIND FARM, LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NEXTERA ENERGY RESOURCES, LLC
ATTN: ROBERT B. SENDLER
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


INDIAN MESA WIND FARM, LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, JOHN D. VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


INDIANA MICHIGAN POWER COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A/K/A AMERICAN ELECTRIC POWER
ATTN: BUDD HAEMER
ONE COOK PLACE
BRIDGMAN, MI 49106


INDIVIDUALLY AUTOMATION INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4830 AZELIA AVE. N.
MINNEAPOLIS, MN 55429-3915


INDRESCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
617 W CENTER ST
MARION, OH 43302


INDUCTOTHERM CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 INDEL AVENUE
PO BOX 157
RANCOCAS, NJ 08073




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

INDUCTOTHERM CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 INDEL AVENUE
PO BOX 157
RONCOCAS, NJ 08073


INDUCTOTHERM CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


INDUCTOTHERM CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 INDEL AVENUE
P.O. BOX 157
RANCOCAS, NJ 08073


INDUSTRIAL CONTRACTORS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17925 SKY PARK CIR
IRVINE, CA 92614


INDUSTRIAL ELECTRONIC SUPPLY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3902
SHREVEPORT, LA 71133-3902


INDUSTRIAL EQUIPMENT CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 14790
HOUSTON, TX 77221-4790


INDUSTRIAL EQUIPMENT COMPANY OF                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOUSTON
PO BOX 14790
HOUSTON, TX 77221-4790


INDUSTRIAL FIRE EQUIPMENT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 525
MAYPEARL, TX 76064


INDUSTRIAL HOLDING COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
JERSEY CITY, NJ 07302


INDUSTRIAL HOLDING CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
JERSEY CITY, NJ 07302




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N. MAIN ST., PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARON & MARVEL PA
1201 NORTH MARKET ST
WILMINGTON, DE 19801


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
JERSEY CITY, NJ 07302


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF HOLLY E. RAMSEY
HOLLY E. RAMSEY
1515 POYDRAS STREET, SUITE 1300
NEW ORLEANS, LA 70112


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARON & MARVEL PA
1201 NORTH MARKET ST
WILMINGTON, DE 19801


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
2595 INTERSTATE DRIVE STE 103
HARRISBURG, PA 17110




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
2595 INTERSTATE DRIVE
STE 103
HARRISBURG, PA 17110


INDUSTRIAL HOLDING CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
80 STATE ST
ALBANY, NY 12207


INDUSTRIAL LUBRICANT COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11033 HIGHWAY 271
TYLER, TX 75708


INDUSTRIAL LUBRICANT COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70
GRAND RAPIDS, MN 55744


INDUSTRIAL LUBRICANTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANTHONY B.CAVENDER,SENR.ATTY.
434 RIVERSIDE DRIVE
SAN ANTONIO, TX 78210


INDUSTRIAL MACHINE AND METAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4209 ROCHESTER ROAD
MOBILE, AL 36608


INDUSTRIAL NETWORKING SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ASM CAPITAL
7600 JERICHO TURNPIKE SUITE 302
WOODBURY, NY 11797


INDUSTRIAL NETWORKING SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 540
ADDISON, TX 75001


INDUSTRIAL REFRACTORY SERVICES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 S MAIN ST
FORT WORTH, TX 76110


INDUSTRIAL SOLVENTS GULF                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16703 STEINHAGEN RD.
CYPRESS, TX 77429




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

INDUSTRIAL SOLVENTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DANIEL L. SPARKS,VP
16703 GRANT ROAD
CYPRESS, TX 77429


INDUSTRIAL SPECIALTY CHEMICALS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16880 S LATHROP AVE
HARVEY, IL 60426


INDUSTRIAL WELDING SUPPLY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 VAL ST
SAYERVILLE, NJ 08872


INDUSTRIAL WELDING SUPPLY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 VAL ST
SAYREVILLE, NJ 08872


INDUSTRIAL HOLDING CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
JERSEY CITY, NJ 07302


INDUST-RI-CHEM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1178
RICHARDSON, TX 75080


INDUSTRIES HOLDING CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 HUDSON STREET
JERSEY CITY, NJ 07302


INFOGROUP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 957742
ST LOUIS, MO 63195-7742


INFOPRINT SOLUTIONS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 644225
PITTSBURGH, PA 15264-4225


INFORMATION ALLIANCE INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1755 N 400 E STE 101
NORTH LOGAN, UT 84341


INFORMATION ALLIANCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KIM C. LARSON
1755 NORTH 400E SUITE 101
N. LOGAN, UT 84341




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

INGALLS SHIPBUILDING, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 149
PASCAGOULA, MS 39568


INGARRA, FRANK V.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


INGE, LESLIE J, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4310 ADLER DR STE 300
DALLAS, TX 75211


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800-E BEATY STREET
DAVIDSON, NC 28036


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800-E BEATY STREET
HOUSTON, TX 77002


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION TRUST INCORPORATED
351 WEST CAMDEN STREET
BALTIMORE, MD 21202


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


INGERSOLL RAND CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FIRMAN, PERRY, WATKINS, KRUTZ &
TARDY, LLP (DALLAS) LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA FRASE; JOHN P. PARSONS
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN, PERRY, WATKINS, KRUTZ
& TARDY, LLP
328 NEWMAN SPRINGS ROAD
RED BANK, NJ 07701


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08854


INGERSOLL RAND CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2137 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

INGERSOLL RAND CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAYNTER'S RIDGE OFFICE PARK
BRAATEN & PASCARELLA, LLC
2430 ROUTE 34, STE A-18, PO BOX 648
MANASQUAN, NJ 08736


INGERSOLL RAND CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PEHLIVANIAN, BRAATEN
& PASCARELLA, L.L.C.
2430 ROUTE 34 - PO BOX 648
MANASQUAN, NJ 08736


INGERSOLL RAND CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT L. KATZ, SVP, GEN COUN.
800-E BEATY STREET
DAVIDSON, NC 28036


INGERSOLL RAND CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
124 WEST CAPITOL AVE, SUITE 1900
LITTLE ROCK, AR 72201


INGERSOLL RAND COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INDUSTRIAL TECHNOLOGIES
15768 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


INGERSOLL RAND CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
KYLE C. STEELE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


INGERSOLL RAND CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


INGERSOLL RAND INDUSTRIAL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TECHNOLOGIES
13209 KALLAN AVE
TYLER, TX 75703




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

INGERSOLL RAND CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT L. KATZ, SVP, GEN COUN.
800-E BEATY STREET
DAVIDSON, NC 28036


INGERSOLL-RAND CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PATRICIA NACHTIGAL,VP & GENL. COUNSEL
200 CHESTNUT RIDGE ROAD
WOODCLIFF LAKE, NJ 07675


INGERSOLL-RAND COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800-E BEATY STREET
DAVIDSON, NC 28036


INGERSOLL-RAND COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


INGERSOLL-RAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AIR CENTER
4310 ADLER
SUITE 200
DALLAS, TX 75211


INGLE, DONALD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


INGOGLIA, BART A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


INGRAM, JAMES F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INGRAM, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

INGRAM, JOHNNNY RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 N ROSS
MEXIA, TX 76667


INGRAM, LACY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


INGRAM, MICHAEL MORRIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INGRAM, PATRICIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INGRAM, RUTH ANN WATKINS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


INGRAM, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


INGUAGGIATO, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


INGUAGIATO, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


INKMAN, IVAN B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

INKS, ELMER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


INLAND CONTAINER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVEN L. HOUSEHOLDER,VP & ASST.SECTY
4030 VINCENNES ROAD
INDIANAPOLIS, IN 46268


INLAND STEEL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4400 RAILROAD AVE
EAST CHICAGO, IN 46312


INMAN, RALPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


INMAN, RONNIE L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


INNARELLI,ATTILIO J--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


INNERARITY, BOYCE EMILE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


INNOVATIVE MILLWORK SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11319 TANTOR RD STE A
DALLAS, TX 75229


INNOVIS DATA SOLUTIONS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 EAST BROAD STREET
COLUMBUS, OH 43215




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Name of Counterparty                                                                                          Nature

INNOVIS DATA SOLUTIONS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THREE GALLERIA TOWER
CONNIE S SQUIERS
13155 NOEL RD, STE 1000
DALLAS, TX 75240


INSCO GROUP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 19725
IRVINE, CA 92713


INSECO, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5601 BANNER DR
FORT MYERS, FL 33912


INSIGHT VISION SYSTEMS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2421 LINDEN LANE
SILVER SPRINGS, MD 20910


INSPECTORATE AMERICA CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 AEROSPACE AVENUE; SUITE 200
HOUSTON, TX 77034


INSTITUTE FOR LIBERTY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
ANDREW M. GROSSMAN, WASHINGTON SQUARE,
SUITE 1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304


INSTITUTE FOR LIBERTY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
DAVID B. RIVKIN, JR., ESQ, WASHINGTON
SQUARE, STE 1100, 1050 CONNECTICUT AV NW
WASHINGTON, DC 20036-5304


INSTITUTE FOR LIBERTY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
LEE CASEY, WASHINGTON SQUARE, SUITE
1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304


INSTITUTE FOR LIBERTY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
MARK W. DELAQUIL, WASHINGTON SQUARE,
SUITE 1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304




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                                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                           Nature

INSTITUTE FOR POLICY INTEGRITY OF NEW YORK UNIVERSITY SCHOOL OF LAW                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NEW YORK UNIVERSITY SCHOOL OF LAW
MICHAEL ALAN LIVERMORE, INST FOR POLICY
INTEGRITY 139 MACDOUGAL ST STE 319
NEW YORK, NY 10012


INSTRUMENT & VALVE SERVICES CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22737 NETWORK PLACE
CHICAGO, IL 60673-1227


INSTRUMENT & VALVE SERVICES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANY
8200 MARKET BLVD.
CHANHASSEN, MN 55317


INSTRUMENT AND VALVE SERVICES COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOSEPH MIKSCHE
8000 NORMAN CENTER DR.
SUITE 1200
BLOMMINGTON, MN 55437


INSTRUMENT AND VALVE SERVICES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 EAST WHALEY
LONGVIEW, TX 75601


INSTRUMENTATION PRODUCTS,INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ANDERSON,GREENWOOD & CO.
3950 GREENBRIAR
STAFFORD, TX 77477


INSUL CORPORATION                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ZIMMER & KUNZ P.C.
3300 USX TOWER
PITTSBURGH, PA 15219


INSURANCE COMPANY OF NORTH AMERICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 ARCH STREET
PHILADELPHIA, PA 19103


INTEC INC                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 163
WAVERLY, PA 18471


INTECH CONSULTANTS INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1989 UNIVERSITY LN
LISLE, IL 60532




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

INTECH, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2802 BELLE ARBOR AVENUE
CHATTANOOGA, TN 37406


INTEGRAL PETROLEUM CORP. - INTEGRAL RESOURCES INC.                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 MAIN STREET, #1150
HOUSTON, TX 77002


INTEGRAL RESOURCES INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 MAIN STRET #1150
HOUSTON, TX 77002


INTEGRATED POWER SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1245 N HEARNE AVE
SHREVEPORT, LA 71107


INTEGRATED POWER SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEECH TISHMAN FUSCALDO & LAMPL LLC
TH FLATTN: PATRICK W CAROTHERS ESQ
525 WILLIAM PENN PL 28TH FL
PITTSBURGH, PA 15219


INTEGRATED POWER SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 601492
CHARLOTTE, NC 28260-1492


INTEGRATED POWER SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOUSTON SERVICE CENTER
1500 EAST MAIN
LA PORTE, TX 77571


INTEGRITY INTEGRATION RESOURCES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A CATES CONTROL SYSTEMS COMPANY
PO BOX 732291
DALLAS, TX 75373-2291


INTEGRITY INTEGRATION RESOURCES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ANDRIA BERRY
4001 E PLANO PKWY
STE 500
PLANO, TX 75074


INTEGRYS ENERGY GROUP INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
130 EAST RANDOLPH DRIVE
CHICAGO, IL 60601




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

INTELLIGEN RESOURCES LP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 WEST 7TH ST
FORT WORTH, TX 76107


INTELLIRENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
604 HENRIETTA CREEK
SUITE 400
ROANOKE, TX 76262


INTELLIRENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
604 HENRIETTA CREEK, SUITE 400
ROANOKE, TX 76262


INTER CONTINENTAL HOTELS GROUP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 30321
SALT LAKE CITY, UT 84130


INTERACTIVE DATA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
62234 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0622


INTERCALL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15272 COLLECTIONS CENTER DR
CHICAGO, IL 60693


INTERCALL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 281866
ATLANTA, GA 30384-1866


INTERCALL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7171 MERCY RD
STE 200
OMAHA, NE 68106


INTER-CITY SYSTEMS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5005
IRVING, TX 75062


INTERCONTINENTAL MANUFACTURING CO.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONALD STEPPE,PRES.
PO BOX 461148
GARLAND, TX 75046




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

INTERCONTINENTAL MFG CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 23827
CHAGRIN FALLS, OH 44023


INTER-COUNTY COMMUNICATIONS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 LINDA DR
SULPHUR SPRINGS, TX 75482


INTERGULF FUELS HYDROSEP, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10020 BAYPORT BLVD.
ATTN: ERIC ENEGELHARDT
PASADENA, TX 77057


INTERGULF, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1590
LAPORTE, TX 77572


INTERLINE BRANDS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8707 N BY NE BLVD
FISHERS, IN 46037


INTERNAL REVENUE SERVICE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT OF THE TREASURY
OGDEN, UT 84201


INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7059 BLAIR RD. NW
WASHINGTON, DC 20001-4089


INTERNATIONAL COMFORT PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
650 HEIL QUAKER AVE
LEWISBURG, TN 37091


INTERNATIONAL EXTERMINATOR CORPORATION                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 123828
FORT WORTH, TX 76121-3828


INTERNATIONAL EXTERMINATOR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 123828
FORT WORTH, TX 76121


INTERNATIONAL FLAVORS & FRAGRANCES, INC.                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
521 WEST 57TH STREET
NEW YORK, NY 10019




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

INTERNATIONAL INC FKA MORRISON KNUDSEN                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



INTERNATIONAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


INTERNATIONAL PAINT LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 847202
DALLAS, TX 75284-7202


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 PARK AVENUE
NEW YORK, NY 10016


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 PARK AVENUE
NEW YORK, NY 10016


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


INTERNATIONAL PAPER CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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Name of Counterparty                                                                                               Nature

INTERNATIONAL PAPER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


INTERNATIONAL PAPER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALTER G WATKINS
FORMAN PERRY WATKINS KRUTZ & TARDY,
CITY CENTRE, STE 100, 200 SOUTH LAMAR ST
JACKSON, MS 39201


INTERNATIONAL PAPER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6400 POPLAR AVENUE
MEMPHIS, TN 38197


INTERNATIONAL PAPER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A DAIRYPAK, DIVISION OF CHAMPION INTERNATIONAL CORP
6400 POPLAR AVENUE
MEMPHIS, TN 38197


INTERNATIONAL QUALITY CONSULTANTS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
106 FREEPORT RD
BUTLER, PA 16002


INTERNATIONAL SHIP HOLDING CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 NORTH WATER STREET, SUITE 18290
MOBILE, AL 36602


INTERNATIONAL TERMINAL CORP.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1606 CLINTON DRIVE
GALENA PARK, TX 77547


INTERRANTE, CHARLES J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


INTERSTATE BATTERY AMERICA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12770 MERIT DRIVE, SUITE 400
DALLAS, TX 75251




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Name of Counterparty                                                                                        Nature

INTERSTATE BATTERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12770 MERIT DRIVE
SUITE 1000
DALLAS, TX 75251


INTERSTATE WRECKING CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
88 WESTVIEW ROAD
SHORT HILLS, NJ 07078


INTERTEK AIM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 416482
BOSTON, MA 02241-6482


INTRALINKS, INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 EAST 42ND STREET, 8TH FL
NEW YORK, NY 10017


INTRALINKS, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 EAST 42ND STREET
8TH FLOOR
NEW YORK, NY 10017


INTRICON CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1260 RED FOX ROAD
ARDEN HILLS, MN 55112


INVENERGY WIND LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


INVENSYS CONTROLS INCINDAND                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
191 EAST NORTH AVENUE
CAROL STREAM, IL 60188


INVENSYS RAIL CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION
2400 NELSON MILLER PKWY
LOUISVILLE, KY 40223


INVENSYS SYSTEMS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10900 EQUITY DR
HOUSTON, TX 77041




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

INVENSYS SYSTEMS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HINCKLEY ALLEN
ATTN: JENNIFER V. DORAN, ESQ.
28 STATE STREET
BOSTON, MA 02109


INVESTORS MANAGEMENT TRUST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE GROUP INC
15303 VENTURA BLVD STE 200
SHERMANOAKS, CA 91403


INZER, CLARENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IOVINO, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IOWA ILLINOIS TAYLOR INSULATION CONTRACTING INC                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEE A RUNNELS
1600 4TH AVE SUITE 200
ROCK ISLAND, IL 61204


IOWA ILLINOIS TAYLOR INSULATION CONTRACTING INC                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602


IOWA ILLINOIS TAYLOR INSULATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3205 W 76TH STREET
DAVENPORT, IA 52806


IOWA ILLINOIS TAYLOR INSULATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

IOWA ILLINOIS TAYLOR INSULATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R RICHARD BITTNER
201 W SECOND ST
DAVENPORT, IA 52801


IOWA ILLINOIS TAYLOR MATERIALS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3205 W 76TH STREET
DAVENPORT, IA 52806


IOWA PARK CISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
328 EAST HIGHWAY
IOWA PARK, TX 76367


IPC SYSTEMS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 26644
NEW YORK, NY 10087-6644


IPPOLITO, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


IPSEN INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
106 ALLEN ROAD, 3RD FLOOR
BASKING RIDGE, NJ 07920


IPSOS-ASI INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 30764
NEW YORK, NY 10087-0764


IQ PRODUCTS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16212 STATE HIGHWAY 249
HOUSTON, TX 77086-1014


IRACE, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IRBY, RANDY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRBY, W G                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

IRIS POWER ENGINEERING INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3110 AMERICAN DRIVE
MISSISSAUGA, ON L4V 1T2
CANADA

IRIS POWER LP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3110 AMERICAN DR
MISSISSAUGA, ON L4V 1T2
CANADA

IRMA HINKLE ESTATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRON MOUNTAIN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 915004
DALLAS, TX 75391-5004


IRON MOUNTAIN INFORMATION MANAGEMENT INC.                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 BRAZOS STL, SUTE 1050
AUSTIN, TX 78701


IRONHORSE UNLIMITED INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 578
MALAKOFF, TX 75148


IRVIN, SLATE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRVINE, BETTY LOU YOUNG                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRVINE, DAVID H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


IRVINE, YOUNG                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRVING 390 HOLDINGS LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WOODLAND RIDGE
3725 WEST NORTHGATE DR
IRVING, TX 75062




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Name of Counterparty                                                                                           Nature

IRVING INTERNATIONAL WOMEN'S                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSORTIUM
5201 N O'CONNOR BLVD STE 200
IRVING, TX 75039


IRVING ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2621 W. AIRPORT FREEWAY
IRVING, TX 75062


IRVING ST CHARLES LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ST CHARLES APARTMENTS
1408 W 6TH ST
IRVING, TX 75060


IRVING, CITY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
825 W. IRVING BLVD
IRVING, TX 75060


IRWIN REAL ESTATE CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5924 ROYAL LANE
SUITE 164-B
DALLAS, TX 75230


IRWIN, ANDREW M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IRWIN, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IRWIN, JAMES O., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


IRWIN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

IRWIN, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ISAAC, ROGERS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISAAC, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ISAAC, VIRGIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISAAC, WILLIE MAE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISABELL, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ISAIS, JOSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ISBELL, NATHANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISCHY, TOM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISCO INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
926 BAXTER AVENUE
BOX 4545
LOUISVILLE, KY 40204


ISCO INDUSTRIES LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1974 SOLUTIONS CENTER
CHICAGO, IL 60677-1009




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Name of Counterparty                                                                                               Nature

ISCO INDUSTRIES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4545
LOUISVILLE, KY 40204-0545


ISELT, GLENN E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ISENHART, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ISHEE, JAMES T                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISI COMMERCIAL REFRIGERATION INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 3268
PO BOX 123268
DALLAS, TX 75312-3268


ISLEY, LARRY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISOLA, VIOLA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ISOLINE, ALICE, INDIVIDUALLY AND AS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ISPAT INLAND INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3210 WATLING STREET
EAST CHICAGO, IN 46312


ISPAT INLAND INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101




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Name of Counterparty                                                                                            Nature

ISPAT INLAND INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ISPAT INLAND INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


ISSA, SADER A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ISSA, WATFAH W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ISTA NORTH AMERICA INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3655 NORTHPOINT PARKWAY STE 150
ALPHARETTA, GA 30005


IT FINANCIAL MANAGEMENT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSOCIATION (ITFMA)
PO BOX 30188
SANTA BARBARA, CA 93130


ITASCA LANDFILL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841615
DALLAS, TX 75284-1615


ITCHELL, BERNICE L M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STEPHAN L MITCHELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ITCMIDWESTLLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27175 ENERGY WAY
NOVI, MI 48377




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

ITEQ INC.                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5051 WESTHEIMER; SUITE 300
HOUSTON, TX 77057


ITRON, INCORPORATED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 200209
DALLAS, TX 75320-0209


ITS A PIECE OF CAKE - CUSTOM CAKES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1209 BERKLEY DR.
GRAPEVINE, TX 76051


ITT CONTROLS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURT M. FEALING, SVP & GEN. COUN.
1133 WESTCHESTER AVE
N-100
WHITE PLAINS, NY 10604


ITT CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ITT CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ITT CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1133 WESTCHESTER AVE
N-100
WHITE PLAINS, NY 10604


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURT M. FEALING, SVP & GEN. COUN.
1133 WESTCHESTER AVE
N-100
WHITE PLAINS, NY 10604


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON, S.C.
JAMES A. NIQUET
710 NORTH PLANKINTON AVE, SUITE 500
MILWAUKEE, WI 53203


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON, S.C.
TRAVIS J. RHOADES
710 NORTH PLANKINTON AVE, SUITE 500
MILWAUKEE, WI 53203


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE
CLAYTON, MO 63105


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ROMEO JOSEPH JR MONZONES
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGUIRE WOODS LLP
1345 AVENUE OF THE AMERICAS - 7TH FLOOR
NEW YORK, NY 10105-0106


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGUIRE WOODS LLP
KATHLEEN MARRON TRABOLD
1345 AVE OF THE AMERICAS, SEVENTH FLOOR
NEW YORK, NY 10105


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROMEO JOSEPH JR MONZONES,
ATTORNEY AT LAW ROMEO JOSEPH JR MONZONES
800 MARKET ST STE 2100
ST LOUIS, MO 63101


ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROOSEVELT TOWER
L. HAYES FULLER III
400 AUSTIN AVE., STE. 800
WACO, TX 76701


ITT INDUSTRIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1133 WESTCHESTER AVE
WHITE PLAINS, NY 10604


ITT INDUSTRIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 STANDARD PKWY
BUFFALO, NY 14227-1233


ITT INDUSTRIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURT M. FEALING, SVP & GEN. COUN.
1133 WESTCHESTER AVE
N-100
WHITE PLAINS, NY 10604


ITT INDUSTRIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAMAN HOWELL SMITH & LEE LLP
L. HAYES FULLER III, 900 WASHINGTON AVE
7TH FL, PO BOX 1470
WACO, TX 76703-1470


ITT SHERATON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
60 STATE STREET
BOSTON, MA 02109




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ITT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURT M. FEALING, SVP & GEN. COUN.
1133 WESTCHESTER AVE
N-100
WHITE PLAINS, NY 10604


ITZEN, CHARLES L. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


IU NORTH AMERICA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 CARR ROAD
WILMINGTON, DE 19809


IU NORTH AMERICA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
919 N MARKET STREET
WILMINGTON, DE 19801


IU NORTH AMERICA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE ST STE 320
HARRISBURG, PA 17101


IVANOFF, GEORGE STEVEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


IVENS, MARY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IVES, CHARLES BUTLER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IVES, THEODORE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

IVEY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


IVIC, JOSEPH D., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IVIC, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


IVICIC, MATTHEW D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


IVICIC, MATTHEW DAVID, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


IVINS, MARY THECLA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAURA C VEREEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


IVKOVICH, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


IVY, CLEON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IVY, EFFEUNIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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IVY, ROBERT E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

IZAAK WALTON LEAGUE OF AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
ANN BREWSTER WEEKS
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


IZAAK WALTON LEAGUE OF AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
DARIN T. SCHROEDER
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


IZATT, BRUCE B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


J & E DIE CASTING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2713 INDUSTRIAL LANE
GARLAND, TX 75046


J & M MANUFACTURING COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
P.O. BOX 547
FT. RECOVERY, OH 45846


J & M MANUFACTURING COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
PO BOX 547
FORT RECOVERY, OH 45846


J & S CONSTRUCTION LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 400
BUFFALO, TX 75831


J A SEXAUER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
531 CENTRAL PARK AVENUE
SCARSDALE, NY 10583-1018


J ARON & COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVEN M. BUNKIN
200 WEST ST
NEW YORK, NY 10282-2198


J D SPENCER ESTATE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

J GIVOO CONSULTANTS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
77 MARKET ST
SALEM, NJ 08079


J M MANUFACTURING COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
PO BOX 547
FORT RECOVERY, OH 45846


J P BUSHNELL PACKING SUPPLY COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


J P PATTI COMPANY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


J S ALBERICI CONSTRUCTION COMPANY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8800 PAIGE AVENUE
ST LOUIS, MO 63114


J S ALBERICI CONSTRUCTION COMPANY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


J S ALBERICI CONSTRUCTION COMPANY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JEROME CRAMER SIMON
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


J S ALBERICI CONSTRUCTION COMPANY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
PETER GULLBORG
100 S 4TH ST, SUITE 400
ST LOUIS, MO 63102


J M MANUFACTURING COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
PO BOX 547
FORT RECOVERY, OH 45846


J S ALBERICI CONSTRUCTION CO I                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8800 PAIGE AVENUE
ST LOUIS, MO 63114




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Name of Counterparty                                                                                              Nature

J. BROWN CO.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 95608
OKLAHOMA CITY, OK 73143


J. C. PENNCO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT. 12, PO BOX 391C
SAN ANTONIO, TX 78223


J. C. WHITNEY INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUNTY & MCCARTHY
SUSAN GUNTY
150 SOUTH WACKER DRIVE, SUITE 1025
CHICAGO, IL 60606


J. C. WHITNEY INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE WHITNEY WAY
LASALLE, IL 61301


J. C. WHITNEY INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TWO CITY PLACE DR
DAVID JOSEPH PAGE
SUITE 150, PO BOX 419037
ST LOUIS, MO 63141


J. M. HUBER CORP.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 W. LOOP SOUTH, SYITE 1600
HOUSTON, TX 77027


J.D.'S BABBITT BEARINGS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 MARDELL LANE
HOWE, TX 75459


J.F. SMITH & SONS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 EAST 12TH STREET
DALLAS, TX 75203


J.P. BUSHNELL PACKING SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MS KATHLEEN SULLIVAN
3041 LOCUST
ST LOUIS, MO 63103


J.T THORPE & SON, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RESHMA A. BAJAJ
BASSI, EDLIN, HUIE & BLUM LLP
500 WASHINGTON STREET, SUITE 700
SAN FRANCISCO, CA 94111




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Name of Counterparty                                                                                            Nature

J/T HYDRAULICS & SERVICE CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 W 25TH STREET
HOUSTON, TX 77008


JA SEXAUER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 RESEARCH DR
LOUISVILLE, KY 40299


JA SEXAUER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
570 TAXTER RD STE 230
ELMSFORD, NY 10523


JACK COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N. MAIN
SUITE 312
JACKSBORO, TX 76458


JACK WCID #1                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P. O. BOX 958
TAX COLLECTOR
JACKSBORO, TX 76458-0958


JACKMAN, PAUL H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSBORO ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 W. BELKNAP
JACKSBORO, TX 76458


JACKSON & WALKER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES M. HALL/LAURIE B. EASTER
1401 MCKINNEY STREET
SUITE 1900
HOUSTON, TX 77010


JACKSON , RODNEY E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


JACKSON KELLY PLLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTORNEYS AT LAW
1099 18TH STREET SUITE 2150
DENVER, CO 80202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JACKSON NATIONAL LIFE INSURANCE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANY FBO LEONARD FRASE
RPS CONTARCT 699000644
PO BOX 1147
JACKSONVILLE, IL 62651


JACKSON PIPE & STEEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
898 LEARY RD
TEXARKANA, TX 75503


JACKSON PIPE & STEEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5746
TEXARKANA, TX 75505-5746


JACKSON WALKER LLP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 130989
DALLAS, TX 75313-0989


JACKSON, ALVIS A, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, ANDREW W--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JACKSON, ARNOLD, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, BARBARA L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, BARBARA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, BARBARA, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF NATHANIEL C JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

JACKSON, BENJAMIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, BRENDA JOYCE GANTT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, CALVERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, CARRIE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, CHARLTON BRETT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JACKSON, CLARENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, CYNTHIA DAVIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, DAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, DATERIA DONNETTE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JACKSON, DAVID W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, DONALD R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


JACKSON, ELLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, EVE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, GARY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, HERRITA L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, JACKIE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, JAMES V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JACKSON, JAMES, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW JACKSON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, JERRY LYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JACKSON, JOE N                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JACKSON, JOHN LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JACKSON, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, LESLIE THOMAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JACKSON, LINDA BROWN, FOR THE ESTATE OF                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHARLES DENNIS JOHNSON
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


JACKSON, LOUIS J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, MANUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JACKSON, MATTIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, MICHAEL B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, MICHAEL C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


JACKSON, NORRIS EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, PHILIP, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRVIN J JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, RENNETTA M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GREGORY JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, REX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, ROBERT C., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JACKSON, ROBERT L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


JACKSON, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

JACKSON, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, RONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, SCOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, SCOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, SHIRLEY FAYE BRANHAM                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, SPENCER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, STACY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, STANLEY WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, THEODORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSON, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


JACKSON, TOMMY E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

JACKSON, TRENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACKSON, WILLIAM WADE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JACKSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACKSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JACKSON, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACKSONVILLE ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JISD CENTRAL OFFICE
800 COLLEGE AVE.
JACKSONVILLE, TX 75766


JACKSONVILLE, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 E COMMERCE STREET
JACKSONVILLE, TX 75766


JACOB, KATHY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOB, TIMOTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBS, ALEXANDER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

JACOBS, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACOBS, DUDLEY CLAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, EDWINA E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBS, HOWARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBS, JAMES BRESTWOOD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, KIM L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBS, MARCUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

JACOBS, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACOBS, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACOBS, SHEILA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBS, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBS, VICTORIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACOBSEN, LUKE, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


JACOBSEN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JACOBSON, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACOBSON, LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JACOBSON, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JACOBSON, VIRGINIA L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LIONEL A JACOBSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JACOBY, MICHAEL N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JACQUAYS MINING CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



JACQUES, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JACQUES, LAURENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JAECKS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAEGER, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JAGARS, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAGGERS, BRANDON CLAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

JAGUAR LAND ROVER NORTH AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 MACARTHUR BLVD
MAHWAH, NJ 07430


JAHN, ELIZABETH P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAHN, RALPH R., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAHN, RICKEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAHNIG, MARVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAKAN, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAKE DEAN PHOTOGRAPHY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8325 LONDONDERRY LN
DALLAS, TX 75228


JAKELSKY, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JAKOBOSKI, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JAKOVICH, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAKUBOWSKI, JOSEPH A., JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JAMBOR, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMERSON, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMES C WHITE CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5495
GREENVILLE, SC 29606-5495


JAMES E THOMAS ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES HARDIE BUILDING PRODUCTS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECOND FLOOR, EUROPE HOUSE
HARCOURT CENTRE, HARCOURT STREET
DUBLIN,


JAMES O MORGAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GOLDSMITH & ASSOCIATES, LLC
SYLVIA A GOLDSMITH, PARK WEST BUILDING,
20545 CENTER RIDGE ROAD, SUITE 120
ROCKY RIVER, OH 44116


JAMES O MORGAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANCHEE & MANCHEE LLP
JAMES JUSTIN MANCHEE
12221 MERIT DRIVE, SUITE 950
DALLAS, TX 75251




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JAMES PRESTON ALLRED LIFE ESTATE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES RIVER CORP./DIXIE PRODUCTS GROUP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 PEACHTREE STREET, N.E.
ATLANTA, GA 30303


JAMES RIVER PAPER COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
243 E PATERSON STREET
KALAMAZOO, MI 49007


JAMES RIVERDIXIE/NORTHERN INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES WALKER MANUFACTURING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
511 W. 195TH ST.
GLENWOOD, IL 60425


JAMES WALKER MANUFACTURING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN STUART ZELKOWITZ
1 SOUTH WACKER DRIVE
SUITE 2500
CHICAGO, IL 60606-4673


JAMES WALKER MANUFACTURING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHRISTOPHER MAY
511 W 195TH ST
GLENWOOD, IL 60425


JAMES WALKER MANUFACTURING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ANASTASIOS THOMAS FOUKAS
233 S WACKER, SUITE 5500
CHICAGO, IL 60606


JAMES WALKER MANUFACTURING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
511 W. 195TH ST.
GLENWOOD, IL 60425


JAMES, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JAMES, CHRIS AND BETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, DANI JO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, DAVID ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, DENISE M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STEPHEN T LIVERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JAMES, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES, EMERSON S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JAMES, ERNEST EUGENE, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMES, FRIENDLY CARROLL, JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, GEORGIA E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JAMES, JESE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, JOHN D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JAMES, LEE E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, LESLIE S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JAMES, MARY, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD O JENIFER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JAMES, NICHOLAS JO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, NOAH JAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, QUINCY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


JAMES, RICHARD CRAIG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JAMES, STANLEY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                       Nature

JAMES, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, TRAVIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, VIRGINIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMES, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMES, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMESBURY VALVES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


JAMIESON, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAMINET, DOUGLAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAMROSS, ROBERT M, SR--EST                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JAMRUZ, ALAN K.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JANCEWSKI, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JANDA, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANES, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


JANES, NANCY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANGALI, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JANIK, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANI-KING GULF COAST REGION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ANGELIQUE RICHARDSON
122 W PINE ST
PONCHATOULA, LA 70454


JANI-KING NATIONAL ACCOUNTS DIV                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16885 DALLAS PARKWAY
ADDISON, TX 75001


JANIS, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JANIS, WILLIAM LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANITROL A DIVISION OF GOODMAN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7401 SECURITY WAY
HOUSTON, TX 77040




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JANK, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANKA, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANKE, CURTIS J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANKOWSKI, STAN M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JANOS INDUSTRIAL INSULATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1025 COBB INDUSTRIAL BLVD#290
KENNESAW, GA 30144


JANOSKA, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JANOVSKY, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JANOW, KERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JANOW, SUSAN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JANSEN, DAVID JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

JANSEN, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JANSSENS, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JANTZ, MARY E, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR W BENDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JANUSZ, CHRISTOPHER M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAPPE, LEONARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAQUES, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JARA, PEDRO FERRADA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARBOE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARMON, ARCHIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JARNAGIN, JERRY CHRISTINE SANDERS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JARNAGIN, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JARNAGIN, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JARNEVIC, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: JEANINNE BUSECK, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


JARRAH, RIAD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JARRARD, JAMES H, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JARRATT, DOUGLAS MITCHELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


JARRELL PLUMBING CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
209 HWY 79E STE A
HENDERSON, TX 75652


JARRELL PLUMBING CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARRELL, FREEMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARRETT, DALE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JARRETT, EARL K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JARVA, AARON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARVIS, BLAKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JARVIS, DONALD L., SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARVIS, DONALD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JARVIS, GRAHAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO STREET ADDRESS PROVIDED
APT 15C
CHARLESTON, SC 29406


JARVIS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JARVIS, RICHARD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JASHINSKY, HARRY J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JASON, ELWOOD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

JASPER, JOSEPH AND DIANE JASPER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JASPERSON, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JASPERSON, JASPER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JASTER-QUINTANILLA DALLAS LLP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RACHEL THOMPSON
2105 COMMERCE ST
DALLAS, TX 75201


JAURIGUI, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JAVOREK, BERNARD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JAVORNICK, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JAY HENGES ENT INC DBA: PORTA KING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4133 SHORELINE DR
EARTH CITY, MO 63045


JAY HENGES ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4133 SHORELINE DRIVE
EARTH CITY, MO 63045-1211




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JAY, THOMAS L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JAYE, MARGARET A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL L JARZYNSKI SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JC PENNEY CORP. INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6501 LEGACY DRIVE; MS 1119
PLANO, TX 75024


JC WHITNEY & CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
761 PROGRESS PKWY
LASALLE, IL 61301


JCPENNEY CORPORATION INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6501 LEGACY DR
PLANO, TX 75024


JD COUSINS INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
667 TIFFT ST
BUFFALO, NY 14220


JDRF GLEN ROSE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 SKYLINE DR
GLEN ROSE, TX 76043


JEAN, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEAN, JOSEPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEANES, RICKY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JEANQUART, CLARENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEANS, CHARLES RANDALL, SR. (DECEASED)                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


JEANSEN, BARBEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEANSONNE, WINTIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEB SALES CO INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 PARK ST
PO BOX 592
WINNSBORO, TX 75494


JEDLICKA, DEREK J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEDLICKA, LEO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEDLINSKY, ERNEST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEFF HARLOW DBA HARLOW FILTER SUPPLY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4843 ALMOND AVE
DALLAS, TX 75247


JEFFERIES, JANICE MARIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

JEFFERIES, RONALD E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERS, BENNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEFFERS, COLUMBUS W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERS, DAVID E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JEFFERS, DENNIS WINFRED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERS, HOWARD H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERS, MICHAEL R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JEFFERS, OLLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERSON CHEMICAL COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3336 RICHMOND AVENUE # P
HOUSTON, TX 77098


JEFFERSON COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 JEFFERSON COUNTY PARKWAY
GOLDEN, CO 80419-2520


JEFFERSON, AURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JEFFERSON, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEFFERSON, HERBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEFFERSON, LEROY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFERSON, MAURICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFERSON, WILLIAM D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFERY, STANLEY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFREY, JOEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFREY, JOHN MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFREY, MITERKO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFREY, MYRNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFREY, RICKY MARCEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

JEFFREY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JEFFREYS, MARY LOU, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L HARMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFRIES, BENJAMIN EDWARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEFFRIES, ETHELIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFRIES, JULITA S, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A JEFFRIES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JEFFUS, RAYMOND BUNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEKANOWSKI, ANDREW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JELARDI, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JELENKO                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149




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Name of Counterparty                                                                                            Nature

JENEROU, ALDRED L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JENEROU, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENICH, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENKINS & MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KIRK E. MARTIN
2651 CALDER, SUITE 500
PO BOX 26008
BEAUMONT, TX 77720-6008


JENKINS ELECTRIC COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 32127
CHARLOTTE, NC 28232-2127


JENKINS, ALVA AND DORIS JENKINS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, BETTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, C L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, CATHERINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

JENKINS, CHRISTINE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH L JENKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENKINS, COIT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENKINS, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENKINS, GEARY C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, HUBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENKINS, JAMES C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JENKINS, JAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


JENKINS, JOHNNY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, KENNETH M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JENKINS, LESLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, MARILYN DUNN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, MILDRED, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES L JENKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENKINS, RANDY TED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, RANDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, RICHARD I                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, RICHARD L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENKINS, RODNEY W, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD JENKINS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENKINS, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, WILLIAM A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


JENKINS, WILLIAM C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

JENKINS, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENKINS, WOODROW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENN, DONALD J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


JENNINGS, BRADEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENNINGS, BRADLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENNINGS, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENNINGS, DOUG M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JENNINGS, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENNINGS, HENRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENNINGS, JADEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

JENNINGS, JOHNNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENNINGS, JULIA S, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY A STOKES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENNINGS, KENNETH AND JEAN JENNINGS                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENNINGS, LAJUAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENNINGS, NGUYEN L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E JENNINGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENNINGS, REGINALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENNINGS, RITA N., FOR THE ESTATE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF MARK LESLIE JENNINGS
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


JENRETTE, HOWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENSEN, ERIK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JENSEN, FINN A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JENSEN, GLENN ALLEN, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MEYER W JENSEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JENSEN, SCOTT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JENSON, EILERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JENTILE, AUGUSTINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JERABEK, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JERGUSON GAGE & VALVE COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16633 FOLTZ INDUSTRIAL PKWY
STRONGSVILLE, OH 44149


JERLA LI, MATTHEW B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JERMANY, WILLIE JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JERNIGAN, AUBREY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

JERNIGAN, DAVID WARREN, JR.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JEROME, CLARENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JERRY HAGEN JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INACTIVE VENDOR NUMBER
DO NOT USE
TEAGUE, TX 75860


JERRY'S GREASE TRAP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1158 NORTH JUSTIN
DALLAS, TX 75211


JERRY'S SPORT CENTER INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 125
CHAPIN, SC 29036


JERVIS, JEFFERY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JESSE P TAYLOR OIL CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3701 NO SYLVANIA AT LONG
FORT WORTH, TX 76137


JESSIE HARRIS, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JESSIE MAE SIMON ESTATE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JESTES, HERMAN RALPH AND OPEL JESTES                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JESTES, HERMAN RALPH AND OPEL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ROSS D. STOMEL
3900 ESSEX LANE SUITE 390
HOUSTON, TX 77027


JETA CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 336
NEENAH, WI 54957-0336




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Name of Counterparty                                                                                             Nature

JETER, ANN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JETER, DEE ANNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JETTER, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JETY RENTALS & PROPERTY MANAGEMENT                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10621
KILLEEN, TX 76547


JEWELL, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JEWELL, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
3900 ESSEX LANE, SUITE 390
HOUSTON, TX 77027


JEWELL,II, PORTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JF JELENKO & CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
99 BUSINESS PARK DR
ARMONK, NY 10501


JGB INC FKA CF BRAUN INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 1300
HOUSTON, TX 77002-5006


JH FRANCE REFRACTORIES CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2539 BORDEN AVE
LONG ISLAND CITY, NY 11101




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Name of Counterparty                                                                                          Nature

JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPECIAL CLAIMS SERVICES INC
808 COSHOCTON AVE STE 1
MOUNT VERNON, OH 43050


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPECIAL CLAIMS SERVICES INC
808 COSHOCTON AVE
SUITE 1
MOUNT VERNON, OH 43050


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2539 BORDEN AVE
LONG ISLAND CITY, NY 11101


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
895 CLARENCE RD
SNOW SHOE, PA 16874


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


JH FRANCE REFRACTORIES CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801




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Name of Counterparty                                                                                            Nature

JH KELLY LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
821 3RD AVENUE
LONGVIEW, WA 98632


JHANSON, NANCY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JHANSON, NANCY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JILES, CLAYTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JIM ANDERSON ESTATE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JIM COX SALES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
632 CR 4841
HASLET, TX 76052-2068


JIM COX SALES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2380
KELLER, TX 76244-2380


JIMENEZ, FRANK N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


JIMENEZ, RICARDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JIMINEZ, ARTHUR RAYMOND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JIMINEZ, JOE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

JIMISON, DAWN R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JIMMIE DEAL INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA UNIVERSAL VACUUM SERVICE
1602 S MARKET ST
HEARNE, TX 77859


JINKS, BILLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JIRKOVSKY, RICHARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JIRON, MANUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JISKO, LEONARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JLG INDUSTRIES INC ANOSHKOSH                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JLG DRIVE
MCCONNELLSBURG, PA 17233


JM ASBESTOS SALES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



JM ASBESTOS SALES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CP 1500 SUCC BUREAU CHIEF
ASBESTOS, QC J1T 3N2
CANADA

JM HUBER CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
499 THORNALL ST # 8
EDISON, NJ 08837


JM MANUFACTORING COMPANY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
PO BOX 547
FORT RECOVERY, OH 45846




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Name of Counterparty                                                                                           Nature

JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2730 GATEWAY OAKS DR STE 100
SACRAMENTO, CA 95833


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTORING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105




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JM MANUFACTORING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTENBERGER LAW FIRM PLLC
LEWIS C MILTENBERGER
1401 EXETER COURT
SOUTHLAKE, TX 76092-4219


JM MANUFACTORING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTENBERGER LAW FIRM PLLC
MILTENBERGER, LEWIS C.
700 N. CARROLL AVE, SUITE 140
SOUTHLAKE, TX 76092


JM MANUFACTORING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH & KNOTT
JOSEPHINE R JAMISON
1412 MAIN STREET, 5TH FLOOR
DALLAS, TX 75202


JM MANUFACTURING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
284 RAILROAD ST
PO BOX 547
FORT RECOVERY, OH 45846


JM MANUFACTURING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2730 GATEWAY OAKS DR STE 100
SACRAMENTO, CA 95833


JM MANUFACTURING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


JM MANUFACTURING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


JM MANUFACTURING COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 N BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & JOHNSON
ONE JOHNSON & JOHNSON PLAZA
NEW BRUNSWICK, NJ 08933


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JM MANUFACTURING COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


JM SMUCKER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 STRAWBERRY LANE
ORRVILLE, OH 44667-0280


JNT TECHNICAL SERVICES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
85 INDUSTRIAL AVENUE
LITTLE FERRY, NJ 07643


JO ANN MORRIS (OR HEIRS)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


JO ANN WALTERS INDV AND AS IND                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOBE, VERNON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOC OIL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1113 N. SARAH DEWITT DR
GONZALES, TX 78629


JOCHIMS, NEAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOCK, RANDOLPH R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JOE EAST ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 MIDWAY RD STE 110
CARROLLTON, TX 75006-4916




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                                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                           Nature

JOE R WALLIS                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1590
FORT WORTH, TX 76101-1590


JOE WALLIS COMPANY INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1590
FORT WORTH, TX 76101


JOE, EDWARD, SR.                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOE, GILBERT                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOELLEN LUGENE KLIAFIS, AS SURVIVING HEIR OF JOEL JEFFREY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHANN HALTERMANN LTD.                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHANSEN COMPANY                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 ROCKY CLIFF RD
ELIZABETH, CO 80107


JOHANSEN, GEORGE F , JR, PR OF THE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE JOHANSEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHANSON, BENNY RAY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHANSON, JOSEPH                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                                                   ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                                              Retained Causes of Action

                                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                 Nature

JOHN B. LANGE III, CHAPTER 11 TRUSTEE OF WESTBURY COMMUNITY HOSPITAL, LLC                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN CRANE HOUDAILLE INC                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750-C LAKESIDE DRIVE
MOBILE, AL 36693


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
227 WEST MONROE STREET, STE 1800
CHICAGO, IL 60606


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
227 WEST MONROE STREET, STE 1800
HOUSTON, TX 77002


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAILEY CROWE KUGLER & ARNOLD LLP
LAURA E. KUGLER
901 MAIN STREET, SUITE 6550
DALLAS, TX 75202


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPROTT RIGBY NEWSOM ROBBINS &
LUNCEFORD PC, JAMES NEWSOM
2211 NORFOLK, SUITE 1150
HOUSTON, TX 77098


JOHN CRANE INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
227 WEST MONROE STREET, STE 1800
CHICAGO, IL 60606




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24929 NETWORK PLACE
CHICAGO, IL 60673-1249


JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY, MCTIERNAN & MOORE
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


JOHN CRANE INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPROTT RIGBY NEWSOM ROBBINS &
LUNCEFORD PC, JAMES A. NEWSOM
2211 NORFOLK, SUITE 1150
HOUSTON, TX 77098


JOHN CRANE, INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1635 MARKET STREET
PHILADELPHIA, PA 19103


JOHN DEERE COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JOHN DEERE PL
MOLINE, IL 61265


JOHN DEERE COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES H. BECHT
ONE JOHN DEERE PLACE
MOLINE, IL 61265




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                                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                         Nature

JOHN DEERE COMPANY                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
EDWARD MARTIN CASMERE
233 S WACKER DRIVE SUITE 6600
CHICAGO, IL 60606


JOHN E. WILLIAMS                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 31
BECKVILLE, TX 75631


JOHN HANCOCK LIFE AND HEALTH INS. CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JOHN HANCOCK LIFE INS. CO. (USA)
ATTN: INVESTMENT LAW DIVISION, C-3
197 CLARENDON STREET
BOSTON, MA 02117


JOHN HANCOCK LIFE INSURANCE CO (USA)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: INVESTMENT LAW DIVISION, C-3
197 CLARENDON STREET
BOSTON, MA 02117


JOHN MICHAEL JEFFREY, AS SURVIVING HEIR OF JOEL JEFFREY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN SORE INC                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1726 E 172ND ST
BRONX, NY 10472-2226


JOHN SORE INC                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1726 W 172ND ST
BRONX, NY 10472-2226


JOHN W WALLACE & CO                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADOLPH G. ZELLER
175 FIFTH AVE
NEW YORK, NY 10010


JOHN W WALLACE & CO                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


JOHN W. WALLACE & CO.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY AND KLUGER, P.C.
80 BROAD STREET, 23 FLOOR
NEW YORK, NY 10004




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHN ZINK COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11920 E APACHE ST
TULSA, OK 74116


JOHN ZINK COMPANY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 915001
DALLAS, TX 75391-5001


JOHN CRANE INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN, CHARLES R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES A JOHN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHN, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHN, KENNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN, KENNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN, RODNEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHN, TOM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHN, WALTER C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNDRO, EDMUND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNNY ON THE SPOT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
823 W MARSHALL AVE
LONGVIEW, TX 75601


JOHNS, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNS, EARNEST W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNS, JEFFREY O, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES O JOHNS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNS, KELLY J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNS, LEWZANE V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOHNS, MAXINE K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNS, MITZIE (MONROE)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNS, OGARITA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNS, WALTER J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JOHNSEN, WALTER W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JOHNS-MANVILLE SALES CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5108
DENVER, CO 80217-5108


JOHNSON & JOHNSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JOHNSON AND JOHNSON PLAZA
NEW BRUNSWICK, NJ 08933


JOHNSON & PACE INCORPORATED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 NW LOOP 281 LB 1
LONGVIEW, TX 75604


JOHNSON & TRENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON CO ESD #1                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2451 SERVICE DR
CLEBURNE, TX 76033


JOHNSON CONTROLS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 5TH AVENUE
NEW YORK, NY 10118


JOHNSON CONTROLS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730068
DALLAS, TX 75373-0068


JOHNSON CONTROLS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5757 N. GREEN BAY AVENUE
MILWAUKEE, WI 53209-4408


JOHNSON CONTROLS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5757 N. GREEN BAY AVE.
PO BOX 591
MILWAUKEE, WI 53201




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

JOHNSON COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


JOHNSON COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUINN JUSTICE CENTER,
ATTN: HON. BILL MOORE
204 S. BUFFALO AVE
CLEBURNE, TX 76033


JOHNSON JR, ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON MATTHEY STATIONARY EMISSIONS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONTROL LLC, ATTN: LUCIAN B. MURLEY
222 DELAWARE AVENUE, SUITE 1200
P.O. BOX 1266
WILMINGTON, DE 19899


JOHNSON OIL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1113 E SARAH DE WITT DRIVE
GONZALES, TX 78629


JOHNSON OIL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4332 SOUTH IH 35
NEW BRAUNFELS, TX 78132


JOHNSON OIL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3016
CORSICANA, TX 75151


JOHNSON OIL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO DRAWER 1959
GONZALES, TX 78629


JOHNSON SR, DR MICHAEL E                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON & JOHNSON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JOHNSON AND JOHNSON PLAZA
NEW BRUNSWICK, NJ 08933




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, A.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, AARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ADAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, ADIE, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ALAN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSON, ALBERT G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, ALLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ALMA (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, AMIEL J, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, ANDREW L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ANNIE LOUISE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JOHNSON, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, AUBREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, BARBARA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE SHANKS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, BILLIE E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL K JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, BILLIE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, BILLIE JOYCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


JOHNSON, BOBBIE RENEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, BOBBY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, BOYD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, BRENDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, BRIAN BRADLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, BRUCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, CALVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CARL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNSON, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233
JACKSONVILLE, FL 32202


JOHNSON, CAROLYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CHARLES LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CHARLES N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CHARLES W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, CHRISTEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CLAUDE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, CRAIG L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSON, DANIEL B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, DANIEL, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY E SCHROTT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, DARREN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSON, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DELMAS D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JOHNSON, DIAMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DIANE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NED T DRUMGOOLE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, DONALD H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, DONNY LENDELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DORIS RHYMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, DREW HELEN DANBRIDGE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, DWAYNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOHNSON, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ERIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ETHEL R, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ROBERT J JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, EVELYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, FERGUSON, PIPKIN & PHILLIPS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, FLORENCE E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, FRANK R--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSON, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


JOHNSON, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, FRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, FREDDIE B.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, GARY DEVONNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, GARY DON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, GARY M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, GAYLON H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, GEORGE, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, GERARD W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JOHNSON, GLENN K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, H. PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


JOHNSON, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, HEATH BRADLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, HELIN DEBRA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, HENRY W--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSON, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, HUMPHREY B, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, JACK M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNSON, JACK W AND DIANE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
3900 ESSEX LANE, SUITE 390
HOUSTON, TX 77027


JOHNSON, JAMES G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSON, JAMES IKE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CAROSELLI BEACHLER MCTIERNAN COLEMAN
20 STANWIX STREET, 7TH FLOOR
PITTSBURGH, PA 15222


JOHNSON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, JAMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JEANETTE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, JERRY H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, JERRY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, JESSE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JESSE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, JILL B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JIMMIE COY (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, JOHN S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOHNSON, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, JOSEPH, INDIVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, KATHLEEN FRASER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, KEITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, KELLY LOWELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, KENNETH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, KENNETH G--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSON, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, KHRISTIAN K.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSON, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, LESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, LEWIS H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOHNSON, LINDA BROWN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, LOWELL R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOHNSON, MARK A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


JOHNSON, MARLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MARLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MARVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, MARY JO, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TERRY JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, MAYBELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MAYBELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ON BEHALF OF JAMES JOHNSON (DECEASED)
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET, 55 HARRISON ST, #400
OAKLAND, CA 94607-3858




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, MELVIN H, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


JOHNSON, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNSON, MICHAEL E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


JOHNSON, MOZELLE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, NADINE AUDREY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, NANCY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, NORRIS, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J LEE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JOHNSON, OLLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, PAUL R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSON, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, PERRY L. AND DEBRA JOHNSON                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, PHOEBE FBO OBERT JOHNSON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, QUINTON LLOYD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, RAPHAEL H, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

JOHNSON, RAYMOND, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALFONSO M JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, RICHARD C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, RICHARD GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ROBERT L - EXPIRED IN 2009                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ROBERT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ROBERT MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ROBERT W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ROBERTA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, ROGER DREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ROLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ROOSEVELT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, SAM MOODY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JOHNSON, SARAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, SHARON, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE E JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, SHIRLEY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

JOHNSON, SHIRLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, SHIRLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JOHNSON, SUSAN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, SWAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, TAMARA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH R JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON, TERRY LIONEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, THOMAS W, JR--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSON, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, TOM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, TRACY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOHNSON, VELMA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


JOHNSON, VERNICE M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, VERNICE MARIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, WADE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, WARREN A--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSON, WAYNE N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, WILLIAM FINO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, WILLIAM L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, WILLIAM P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

JOHNSON, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSON, WILLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, YOLANDA VERNA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON, ZOEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSON-BEARD, REBEKAH, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSON-CAULEY, MELVA D                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSTON BOILER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 PINE STREET
PO BOX 300
FERRYSBURG, MI 49409-0300


JOHNSTON BOILER COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 PINE STREET
PO BOX 300
FERRYSBURG, MI 49409-0300


JOHNSTON, CARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSTON, DONNIE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

JOHNSTON, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSTON, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JOHNSTON, JOHN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JOHNSTON, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSTON, MICHAEL D, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOODROW JOHNSTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOHNSTON, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOHNSTON, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSTON, RANDALL W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSTON, RITA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                     Nature

JOHNSTON, RONALD KEITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOHNSTON, WILLIAM J                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOHNSTON, WILLIAM                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOHNSTONE SUPPLY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2505 WILLOWBROOK DR STE 203
DALLAS, TX 75220


JOHNSTONE SUPPLY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
347 W COTTON ST
LONGVIEW, TX 75601


JOINER, SIDNEY A.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOINER, SIDNEY                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOLENE JOY FOUST, AS SURVIVING HEIR OF JOEL JEFFREY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOLEY, CHARLES L                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOLGREN, KENNETH                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOLLS, LESTER                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

JOLLY, HOUSTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONCAS, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES & LAUGHLIN STEEL CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 GATEWAY CENTER
PITTSBURGH, PA 15263


JONES 7-11-7 INC. OF BAYTOWN TEXAS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3131 GARTH ROAD
BAYTOWN, TX 77521


JONES BLAIR CO.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL DAGUE,PRES.
PO BOX 35286 - 2728 EMPIRE CENTRAL
DALLAS, TX 75235


JONES, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JONES, ALVIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, ANGELA YVONNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JONES, ANGELA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ANTHONY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, ARTIE LEE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, BERNADETTE LEE WALLEN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, BETTY J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, BEVERALY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


JONES, BIENVILLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, BRETSYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CALVIN BURNETT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CARL L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CARL LEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, CAROL E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CASEY B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CHARLES E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JONES, CHARLES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JONES, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, CHRISTINE ISENHOW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CHRYSTAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


JONES, CLAUDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, CLINTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, COLONEL ANDREW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JONES, CONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, CORINE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, CRISTOPHER B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CURTIS, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, CYNTHIA W. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


JONES, DANNY V                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, DARRYL G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, DAVID A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, DAVID C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, DAVID D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, DAVID THEODORE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, DEBORAH ANN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS J MARECKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, DEBRA A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROGER J WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, DELORIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, DEVONTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


JONES, DIERDRE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JONES, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, DOROTHY JEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7302 ROBIN RD
DALLAS, TX 75209


JONES, DOROTHY JEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, DOROTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, DOUGLAS R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E LEIGHT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, E M                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, EDWIN D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ELBERT D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, ELLEN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ELVIN C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, EMMETT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, ERNESTINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


JONES, GARRY LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JONES, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


JONES, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, GEORGE W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, GEORGE W., JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, GERALD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JONES, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, GERALDINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JONES, GLEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, GRANT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, GREGORY ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, GRETA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF O'BRIEN H JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, H. FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JONES, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, HARVEY, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, HELEN & KAHTLEEN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, HELENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


JONES, HERSHAL HAYNES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JONES, HUGH A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, HUNTER RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, INA P, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRVIN A CAMPBELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, IVY MARIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JAMES C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JONES, JAMES C, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, JAMES H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JAMES HAROLD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                            Nature

JONES, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JAMES REAGAN (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, JANET MOCK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JANICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, JOAN LEE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C JONES SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, JOAN S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, JOANNA C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOE JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, JOE NATHAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, JOHN D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, JOHNNY DWAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


JONES, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, KATHLEEN LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, KATHLEEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, LA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, LARRE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, LAVERNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, LEONARD F III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, LEONARD F, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, LILLIAN J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID LEE JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, LILLIE F, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L FLEMING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, LILLIE RENEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, LOUIS G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, LOUIS R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, MADISON JADE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MAGGIE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MAJOR , JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, MALCOM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MARGARET L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, MARY A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, MARY G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MARY J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MARY S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, MCARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, NEAL RAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, NEIL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, ODELL, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, ORRIN K.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JONES, ORVILLE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, PATRICIA B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, PATRICIA CLARY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, PATRICK S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, PAULETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, RALPH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JONES, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, ROBERT B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, ROBERT C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JONES, ROBERT E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, ROBERT R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, RONALD K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, RONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ROSALYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, ROY E, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES, RUTH LOUISE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, SAMANTHA ENGLISH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, SAMMY C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
ATTN: BERNARD G. JOHNSON, III
2777 ALLEN PARKWAY, 14TH FLOOR
HOUSTON, TX 77019


JONES, SANDRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, SARAH B, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDZELL A JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, STANLEY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, STEVE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, SUZANNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, TAMMY LYNN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, TAMMY THAXTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, TERESA LYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, TERESA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, THOMAS MILTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, THOMAS O.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, TIMOTHY KURT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, TRINITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, TROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, VERNON H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, VICKIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, WALTER R., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JONES, WAYNE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, WAYNE EARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JONES, WAYNE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JONES, WILLIAM A., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


JONES, WILLIAM A., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
ATTN: BERNARD G. JOHNSON, III
2777 ALLEN PARKWAY, 14TH FLOOR
HOUSTON, TX 77019


JONES, WILLIAM E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


JONES, WILLIAM E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


JONES, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JONES, WILLIAM P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                 Nature

JONES, WILLIAM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JONES-BLAIR CO.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2728 EMPIRE CENTRAL
DALLAS, TX 75235


JOOST, LEROY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOPLIN, GARY SCOTT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOPLIN, JAMES E, JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN FOSTER, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN, ARLEN R                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JORDAN, BARBARA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN, CECIL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JORDAN, CHARLES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN, DARLA                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

JORDAN, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN, DERRELL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JORDAN, DONALD G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORDAN, EARNEST D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JORDAN, LESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


JORDAN, LOUIS C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JORDAN, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JORDAN, SAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JORGENSEN, EARL M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JORGENSON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

JORISSEN, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOSEPH V. CONTI, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EARLY, LUCARELLI, SWEENEY & MEISENKOTHEN
ONE CENTURY TOWER, 11 FL
265 CHURCH ST.
NEW HAVEN, CT 06510


JOSEPH, JOHN J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


JOSEPH, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOSEY, KEN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOSEY, REBECCA J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOSHI, J.R.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOSHI, KAMAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOSHI, NITA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOSHUA ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 E. 18TH STREET
JOSHUA, TX 76058




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOSHUA, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 S MAIN ST
JOSHUA, TX 76058


JOSKES                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTHPARK CENTER
DALLAS, TX 75225


JOURDAIN, ROBERT AND SHARON JOURDAIN                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOURNEY, ROCKWELL STEPHAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOWANOWITCH, JOHN S, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOY GLOBAL SURFACE MINING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2320 N STATE HWY 42
KILGORE, TX 75662


JOY GLOBAL SURFACE MINING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOY GLOBAL SURFACE MINING INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A P&H MINING EQUIPMENT INC
4400 W NATIONAL AVE
MILWAUKEE, WI 53214


JOY LAVERN PEEBLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSBAND ELMER G PEEBLES
503 E SHERRY LN
BROKEN BOW, OK 74728


JOY MINING MACHINERY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
177 THORN HILL ROAD
THORN HILL INDUSTRIAL PARK
WARRENDALE, PA 15086




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

JOY MINING MACHINERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY MINING MACHINERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY MINING MACHINERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY MINING MACHINERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAURA ANN GRADY
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY MINING MACHINERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


JOY TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
177 THORN HILL ROAD
THORN HILL INDUSTRIAL PARK
WARRENDALE, PA 15086


JOY TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


JOY TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOY TECHNOLOGIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY TECHNOLOGIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY TECHNOLOGIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


JOY TECHNOLOGIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


JOY, HENRY GRADY, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


JOY, JOYCE L, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY C HOFFMAN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOY, WARREN A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JOYCE STEEL ERECTION LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8466
LONGVIEW, TX 75607




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOYCE STEEL ERECTION, LTD.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LOUANN JOYCE
PO BOX 8466
LONGVIEW, TX 75607-8466


JOYCE, MARTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOYCE, MICHAEL J, JR--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


JOYCE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOYNER, BELINDA JONES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JOYNER, DAVID LORENZA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JOYNER, EVELYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JOYNER, HERBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JOYNER, JOSEPH P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JOYNES, GEORGE E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JP BUSHNELL PACKING SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KATHLEEN SULLIVAN
3041 LOCUST STREET
ST LOUIS, MO 63103


JP BUSHNELL PACKING SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3041 LOCUST ST
ST LOUIS, MO 63103


JP BUSHNELL PACKING SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KATHLEEN SULLIVAN
3041 LOCUST STREET
ST LOUIS, MO 63103


JR SIMPLOT CO.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5350 SO. FEDERAL WAY
BOISE, ID 83707


JS ALBERICI CONSTRUCTION CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13040 MERRIMAN RD
LIVONIA, MI 48150


JS ALBERICI CONSTRUCTION CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13040 MERRIMAN RD
LIVONIA, MI 48150


JT THORPE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1060 HENSLEY ST
RICHMOND, CA 94801


JUANITA SURAVITZ ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUAREZ, CARLOS R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JUAREZ, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


JUAREZ, MARTIN, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


JUBILEE OIL SERVICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



JUDD, BENJAMIN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JUDD, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JUDD, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


JUDGE, NORMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JUDKINS, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JUDKINS, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JUHL, STEVEN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

JUMPER, DUANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JUMPS, MARTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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JUNG, ERNEST IRVIN, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


JUNGSLAGER, EVERT W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JUNIPER CHIMNEY ROCK LTD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FOUNTAIN OAKS APARTMENTS
1001 WEST LOOP SOUTH
SUITE 625
HOUSTON, TX 77027


JUNIPER FLEMING LTD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA TIMBER RIDGE APARTMENTS
6750 WEST LOOP SOUTH STE 465
BELLAIRE, TX 77401


JUNIPER LAKEVIEW LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SHERWOOD FOREST APARTMENTS
1001 WEST LOOP SOUTH
SUITE 625
HOUSTON, TX 77027


JUNIPER NORTHWEST FREEWAY-                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CREEKWOOD APARTMENTS
DBA CREEKWOOD APARTMENTS
1001 WEST LOOP SOUTH STE 625
HOUSTON, TX 77027




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JUNIUS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JUNKINS, SAMANTHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUNOKAS, JOEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JURKAS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JURMU, PAUL A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JURS, GEORGE J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JUST IN TIME SANITATION SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF WOLF PACK
RENTALS LLC
PO BOX 19569
HOUSTON, TX 77224


JUST INTIME SANITATION SERVICES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIV OF WOLF PACK RENTALS, LLC
PO BOX 19569
HOUSTON, TX 77224


JUST, GEORGE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

JUSTI, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


JUSTICE, HARTLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


JUSTICE, WILLIAM AND BARBARA JUSTICE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUSTICE, WILLIAM L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


JUSTICE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUSTICE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DUBOSE LAW FIRM, PLLC
ATTN: BEN K. DUBOSE
5646 MILTON ST., SUITE 321
DALLAS, TX 75206


JUSTIN, ELMER EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUSTIN, OWEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


JUSTISS, MILDRED C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JUSTUS, CLAYBON JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

JUTSON, NATHERN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


JW LIGHTING INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
584 DERBY MILFORD ROAD
ORANGE, CT 06477


JWI GROUP INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40 PROGESS AVE
SPRINGFIELD, MA 01114


K & G MAINTENANCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5951 US HWY 380-W
JACKSBORO, TX 76458


K D TIMMONS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2609
BRYAN, TX 77805


KABADIAN, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KABERNAGEL, ROSEMARY V, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD J KABERNAGEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KABRIEL, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


KACHER, KAREN WALSH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM G WALSH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KACHUK, ALLAN R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KACZMARCZYK, WALTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KADEG, ROGER D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KADINGO APPLEGATE, NICOLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KADINGO DAMM, MELISSA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KADINGO SHARRER, REBECCA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KADINGO THOMPSON, DANIELLE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KADINGO, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KADINGO, LOUISE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KADY, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAELIN, GIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAFER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KAFER, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAFER, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAFKA, ARDEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAHLE, BRUCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAHLER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KAIGLER, KENNETH R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KAIHENUI, BLAIR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAINU, RICHARD H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAISER ALUMINUM & CHEMICAL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27422 PORTOLA PARKWAY SUITE 200
FOOTHILL RANCH, CA 92610-2831




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KAISER ALUMINUM & CHEMICAL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JENKINS GROVE & MARTIN
GAIL C. JENKINS
PO BOX 26008
BEAUMONT, TX 77720-6008


KAISER ALUMINUM CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27422 PORTOLA PARKWAY STE 200
FOOTHILL RANCH, CA 92610


KAISER CEMENT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


KAISER CEMENT CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
JENNIFER JUDIN
1111 BROADWAY, SUITE 1950
OAKLAND, CA 94607


KAISER GYPSUM COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 DESCHUTES WAY SW STE 304
TUMWATER, WA 98501


KAISER GYPSUM COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 EAST JOHN CARPENTER FWY
IRVING, TX 75062


KAISER GYPSUM COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 MINAKER DR
ANTIOCH, CA 94509


KAISER GYPSUM COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYER INCORPORATING SERVICE
2710 GATEWAY OAKS DR STE 150 N
SACREMENTO, CA 95833


KAISER GYPSUM COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID LEE SZLANFUCHT, ATTORNYE AT LAW
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
WILLIAM DENNIS CROSS JR
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORP SERVICE CO CSC LAWYER
221 BOLIVAR
JEFFERSON CITY, MO 65101


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 MINAKER DR
ANTIOCH, CA 94509


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
300 DESCHUTES WAY SW STE 304
TUMWATER, WA 98501


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DECICCO, GIBBONS & MCNAMARA, P.C.
14 EAST 38TH STREET
NEW YORK, NY 10016


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
77 WATER STREET SUITE 2100
NEW YORK, NY 10005


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARSHALL DENNEHEY WARNER COLE
PAUL JOHNSON, WOODLAND FALLS CORP
CTR, 200 LAKE DR E STE 300
CHERRY HILL, NJ 08002




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


KAISER GYPSUM COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORP SERVICE CO CSC LAWYER
INC SERVICE CO 221 BOLIVAR
JEFFERSON CITY, MO 65101


KAISER GYPSUM COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION SERVICE COMPANY
300 DESCHUTES WAY SW
SUITE 304
TUMWATER, WA 98501


KAISER, GEORGE HENRY, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAISER, JAMES F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KAISER, JEROME C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KAISER, JOHN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KALAFARSKI, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KALANDRAS, DINO J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KALAT, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KALE, DONNA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


KALE, THOMAS L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KALE, ULRICH L. (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KALENBORN ABRESIST CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 38
URBANA, IN 46990


KALISZEWSKI, STANLEY E.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KALKBRENNER, KEVIN C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

KALLAM, JIMMIE LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KALLENBERG, JOHN A, SR--EST                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KALOGERA, ANTHONY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KALOKITUS, WALTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KALSI ENGINEERING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
745 PARK TWO DR
SUGAR LAND, TX 77478


KALSI ENGINEERING, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
745 PARK TWO DR.
SUGAR LAND, TX 77478


KAMARATA, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAMCO SUPPLY CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
181 NEW BOSTON STREET
WOBURN, MA 01801


KAMDAR, SURESH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMECK, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KAMEN, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SHELDON KAMEN
800 EAST 21ST STREET
WICHITA, KS 67214


KAMENS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAMIENSKI, HELEN F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMINSKI, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMINSKI, HARRY E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KAMINSKY, JAMES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMINSKY, JAMES EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAMINSKY, JOHN C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAMMER, FRANKLYN, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KAMMER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

KAMMES, HAROLD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAMNETZ, RICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAMPA, ANN C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMPERMANN, AMANDA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAMPERMANN, JENNIFER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAMPERMANN, RAYMOND                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAMRATH, PHYLLIS I                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KANAVOS, MARK E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KANDZERSKI, HENRY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KANE, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KANE, DENNIS M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NANCY L KANE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANE, EDWARD J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANE, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KANE, JUDY E, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS SPATAFORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANE, MORSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


KANE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KANE, SHAUN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT M KANE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANE, THOMAS W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KANEKA TEXAS CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KANEKA CORP.
6161 UNDERWOOD RD.
PASADENA, TX 77507


KANERVA, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KANEY, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KANGAS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KANGERGA INTERESTS LTD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 E MAIN
HENDERSON, TX 75652


KANIECKI, EUGENE J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANN, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KANN, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KANNATT, HERMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KANNLER, GLORIA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT M NIZNIK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KANO LABORATORIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 110098
NASHVILLE, TN 37222-0098


KANSAS CITY POWER AND LIGHT COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
300-B EAST HIGH STREET
JEFFERSON CITY, MO 65101


KANSAS CITY POWER AND LIGHT COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
HEATH M ANDERSON
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


KANSAS CITY POWER AND LIGHT COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


KANSOG, MARY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KANTER, MERLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KANYUCH, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KAPFER, LAWRENCE G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KAPP, SUSAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAPPLER, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KAPPLER, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAPUSTA, BRANKO A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARAKASIANS, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KARANICAS, CHRIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KARANIKOLIS, NIKOLAOS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KARASZ, PAUL S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARAYANIS, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KARCHER, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KARELLAS, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KARJALA SR, DARRELL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARKO, LOUIS F, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DOROTHY M KARKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KARKO, LOUIS F, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS V KARKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KARKOSKA, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARL, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARLE, THOMAS F , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS F KARLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KARLICH, MARILYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARLIN, NAOMI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KARLINSKI, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARLLCH, MARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KARN, RICHARD G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KARNAK CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
330 CENTRAL AVENUE
CLARK, NJ 07066


KARNES, RANDALL CARTER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KARNS, JOYCE J, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE EBERLING JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KAROUZOS, KEN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KARPOWICH, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KARREN, LAVERE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KARRES, CYNTHIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KARRES, CYNTHIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KARSNAK, GEORGE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KARSTENSEN, ROBERT A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARSTENSEN, ROBERT A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KARUS, DIANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KARWOWSKI, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KASABULA, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KASKEL, BARBARA J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KASKEL, LAWRENCE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KASKESKI, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KASNER, DONALD E, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KASOWITZ, BENSON, TORRES & FRIEDMAN                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORMAL W. PETERS
700 LOUISIANA STREET
SUITE 2200
HOUSTON, TX 77002-2730


KASPERSKI, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KASSICK, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KASTINA, RONALD W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER KASTINA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KASTLE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KASTLEMAN & ASSOCIATES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2714 BEE CAVE RD #204
AUSTIN, TX 78746


KASTNER-MARAS, VIVIAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KASTURI, SRINIVASAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KASZA, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KATARSKY, CAROL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KATCHMAR, STEPHEN C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KATHRYN M BURKE TRUSTEE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KATY ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6301 S. STADIUM LANE
KATY, TX 77494


KATZ, ARNOLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KATZ, FRANCES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KATZ, LIVENIE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KATZ, MARTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KATZ, MICHAEL M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KAUCHAK, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KAUFFMAN, DEAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KAUFMAN COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N. WASHINGTON
KAUFMAN, TX 75142


KAUFMAN RFD #3 - TERRELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 339
TAX COLLECTOR
KAUFMAN, TX 75142


KAUFMAN, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAUSCH, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KAVANAGH, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAVANAUGH, HARVEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KAVANAUGH, MARY M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD C KAVANAUGH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

KAVANAUGH, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KAWA, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAWAMOTO, SUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAWATA, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KAY ANN MCKINNEY TRUST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAY, JAMES F. AND MARIANNE KAY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAY, STANLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KAYE, SIDNEY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KAYE, TIMOTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KAYOLA, JOSEPH C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KAYSEN, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

KAZAN, JEREMY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAZAWIC, PETER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KAZENIER, MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KBA NORTH AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 619006
DALLAS, TX 75261


KBSR INC DBA SERVICEMASTER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PROFESSIONAL BUILDING MAINTENANC
PO BOX 9690
TYLER, TX 75711


KBSR INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICEMASTER PROFESSIONAL
BUILDING MAINTENANCE INC
PO BOX 9690
TYLER, TX 75711


KC CHAMPIONS PARKE LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CHAMPIONS PARK APARTMENTS
13050 CHAMPIONS PARK DR
HOUSTON, TX 77069


KC SPRING CREEK APARTMENTS LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE GIOVANNA APARTMENTS
1800 E SPRING CREEK PARKWAY
PLANO, TX 75074


KCD GP2 LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NOLAN REAL ESTATE
2020 W 89 TH ST 320
LEAWOOD, KS 66206


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15720 W 108TH ST
LENEXA, KS 66219




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE
COMPANY 221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS, LLP
CARL PATRICK II MCNULTY
100 N BROADWAY FL 14
ST LOUIS, IL 63102


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, MO 62704


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTENBERGER LAW FIRM PLLC
LEWIS C. MILTENBERGER
700 N. CARROLL AVE, SUITE 140
SOUTHLAKE, TX 76092


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 419037
DAVID JOSEPH PAGE
TWO CITY PLACE DR STE 150
ST LOUIS, MO 63141


KCG INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 419037
DAVID JOSEPH PAGE
TWO CITY PLACE DR, SUTIE 150
ST LOUIS, MO 63141




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KCG INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, KATHERINE HILLARY HA STEPP
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


KCG INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15720 W 108TH ST
LENEXA, KS 66219


KDM CO.                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SAFETY-KLEEN CORP.
5400 LEGACY DR., CLUSTER #2,
PLANO, TX 75024


KEAHON, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEALLY, JAMES A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEALLY, JUDITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEALLY, KENNETH S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEALY, JAMES A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEANE, PATRICK G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KEANE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KEARNEY, ALLENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


KEARNEY, BRIAN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEARNEY, FRANK M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEARNEY, JAMES PATRICK (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KEARNEY, JO-ANN M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ADELE PAZDZIENSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEARNEY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEARNEY, PAUL A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KEARNEY, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

KEARNEY, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEATHLEY, H. SUZANNE (SUZANNE TOWNSEND)                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEATHLEY, MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEATING, NEIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KECK, R                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEDZIERSKI, BARBARA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L KEDZIERSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEECH, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEECHI WATER DIST. #1                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P. O. BOX 958
TAX COLLECTOR
JACKSBORO, TX 76458-0958


KEEFE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KEEFE, REGINA F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEEFE, ROBERT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KEEFE, THOMAS F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEEFER, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KEEGAN, FRANCIS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEEGAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEEGAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEEL, DUSTIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEELE, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEELER DORR OLIVER BOILER CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PUBLIC SQ # 38-A
CLEVELAND, OH 44114-2316


KEELER DORR OLIVER BOILER CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KEELEY, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEEN, HARRY, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEENAN, CHRISTOPHER A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEENAN, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENAN, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEENAN, JOHN PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEENAN, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENE CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1810 READ STREET
OMAHA, NE 68112


KEENE, FRANCIS L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KEENE, GLADYS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENE, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KEENER, LINDA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID KEENER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEENER, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEENEY, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEENEY, NEIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEENEY, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

KEESEE, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEESEE, ZINA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEETON, LARRY WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEEVER, RANDY ARCHIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KEEVER, TERRY WILSON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEEVER, THOMAS ROGER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KEFFELER, DUANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEFFER, JAMES M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEHOE, JAMES JOSEPH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEHOE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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Name of Counterparty                                                                                             Nature

KEHR, BETTY J, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY D KEHR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEHR, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEHS, GARY, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER J KEHS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEIFFER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEIL, DON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEIL, EUGENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KEIL, KENNETH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEILBACH, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

KEILICH, WALTER H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KEINER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEIPER, DAVID E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KEIPER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEISER, JEFFREY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEISER, PATRICIA C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E KEISER III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEISER, RALPH C, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEISER, TERRY L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT V MORRIS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KEISLING, BERNARD G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KEISTER, HARVEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEITH , WILLIAM H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEITH, BEN E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEITH, KENNETH AND DORIS I                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEITH, MARGARET L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ORLANDO M CEFALONI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEITH, MARTIN D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEITH'S COMMERCIAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REFRIGERATION INC
PO BOX 8562
LONGVIEW, TX 75607


KEITT, BETTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELBAUGH, ANNETTE L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD E CARPENTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELCH, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELCHNER, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELEMANIK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KELEMEN, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELL, MICHAEL ANDREW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KELLEHER, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEHER, II, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEHER, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLER (WALKER), MARSHA M.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLER, FRANK R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARLIN KELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLER, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLER, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLER, JAMES E, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLER, JOHN B, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLER, MARSHA M. (WALKER)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLER, MARYROSE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLER, RANDAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLER, STEVEN JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KELLER, STEVEN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLER, STEVEN M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLIFTON C KELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLER, TAMI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLEY, ALTUS A, II                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLEY, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KELLEY, CHARLES KENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLEY, CHRISTINE L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILMA K BALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLEY, DEBORAH J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, EARL F--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

KELLEY, GERALD W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, GERALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, HENRY LOUIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KELLEY, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEY, JOHN WM, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLEY, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEY, JR, HUBERT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEY, KEVIN S.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLEY, NEIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KELLEY, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLEY, PATRICK M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD L KELLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLEY, SUSAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE E VEASEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KELLOGG COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 KELLOGG SW
BATTLE CREEK, MI 49017


KELLOGG, BROWN AND ROOT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLOGG, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KELLY CAPITAL LLC DBA NATIONAL                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 BROADWAY
SAN DIEGO, CA 92101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT STETSON
987 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1075 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
TODD N. WADE
THREE EMBARCADERO CENTER, 8TH FLOOR
SAN FRANCISCO, CA 94111-4024


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PATRICK T MCDONALD
987 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT STETSON
987 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT OCMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1075 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1075 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN MCCARROLL & OAKS HARTLINE, LLP INC
JOHN HENDERSON, ASBESTOS DEPARTMENT,
111 CONGRESS AVE, SUITE 1215
AUSTIN, TX 78701




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
PATRICIA KAY ANDREWS
1717 WEST 6TH STREET, SUITE 250
AUSTIN, TX 78703-4777


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
TODD N. WADE
3 EMBARCADERO CTR, 8TH FLOOR
SAN FRANCISCO, CA 94111-4024


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
TODD N. WADE
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT STETSON
987 COMMERCIAL ST
SAN CARLOS, CA 94070


KELLY MOORE PAINT COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TODD WADE
111 CONGRESS AVE., #1215
AUSTIN, TX 78701


KELLY, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KELLY, AZOR                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, BILLY G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KELLY, BOBBY F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KELLY, CAITLIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLY, CAROL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLY, CAROL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KELLY, CATHERINE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLY, CHARLES J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KELLY, DANA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, DORSEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, GENE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KELLY, GLADYS B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLY, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLY, JAMES J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KELLY, JAMES M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KELLY, JOHN L, JR--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KELLY, JOHN T.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, KEVIN M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KELLY, LINDA K. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


KELLY, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, MARGIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KELLY, NELSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLY, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, PERMELIA ELIZABETH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELLY, PHARIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, PHYLLIS F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KELLY, RAYMOND R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, RAYMOND T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KELLY, RICHARD B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLY, RICHARD T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KELLY, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLY, ROBERT M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KELLY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELLY, ROGER F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELLY, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KELLY, TERRANCE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KELLY, TEYA M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELLY, WAYNE, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


KELLY, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELLY'S CARTHAGE COLLISION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CENTER INC
PO BOX 492
CARTHAGE, TX 75633


KELLY'S TRUCK TERMINAL,INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONALD O. HICKS,GENERAL MANAGER
8560 GREENWOOD ROAD
GREENWOOD, LA 71033


KELLY-SHERMAN, SANDRA I, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FERDINAND C BRAUN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KELM ENGINEERING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
902 S FRIENDSWOOD DR STE E
FRIENDSWOOD, TX 77546-5154


KELM ENGINEERING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
907 S FRIENDSWOOD DR STE 202
FRIENDSWOOD, TX 77546


KELM, BERNICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELM, HARVEY FRED, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELM, HARVEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELM, KEVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELM, SHIRLEY WOELFEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KELM, SHIRLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KELOW, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELSEY HAYES COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


KELSEY HAYES COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
EDWARD S JR BOTT
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


KELSEY HAYES COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
37000 PLYMOUTH ROAD
LIVONIA, MI 48150


KELSEY, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KELTER, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KELVINGTON, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEMP, DANE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEMP, DEBORAH A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OTTO W BIDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KEMP, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEMP, DONALD E, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEMP, JR., ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEMP, MERRILL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEMP, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEMPER, HARVEY AND KATHLEEN KEMPER                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEMPER, LOIS, FOR THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF JOHN KEMPER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEN WORTH TRUCK CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10630 N.E. 38TH PL
KIRKLAND, WA 98033


KENCO GOLF CARS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5231 SOUTH ST
NACOGDOCHES, TX 75964


KENDALL, BRUCE M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

KENDALL, BRUCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENDALL, JAMES LAMOINE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


KENDALL, ROBERT H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KENDALL, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENDHAMMER, SYLVESTER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENDRICK, DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENDRICK, DRURY CLYDE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENDRICK, FLOYD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENDRICK, HENRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENDRICK, RICKY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KENDRICK, ROBERT L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KENDRICK, ROD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENDRICK, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENGO SERVICES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1018
ABBEVILLE, LA 70510


KENNADA, SAMUEL E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNADA, SAMUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNAN, SCOTT ALAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNARD ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
304 STATE HWY 7 EAST
KENNARD, TX 75847


KENNARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: KIMBERLY BRACKEN, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


KENNEALLY, BRYAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KENNECOTT UTAH COPPER LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4700 DAYBREAK PKWY
SOUTH JORDAN, UT 84095


KENNEDALE ROTARY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RICHARD A SHERMAN
4202 EAGLE RIDGE DR
ARLINGTON, TX 76016


KENNEDY VALVE COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 E WATER ST
ELMIRA, NY 14901


KENNEDY VALVES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 E WATER ST
ELMIRA, NY 14901


KENNEDY WIRE ROPE & SLING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4016
CORPUS CHRISTI, TX 78469-4016


KENNEDY WIRE ROPE AND SLING CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4202 DIVIDEND DR
SAN ANTONIO, TX 78219


KENNEDY, ALEX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, BILLY ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEDY, BILLY ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEDY, BURNELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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Name of Counterparty                                                                                           Nature

KENNEDY, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, DANNY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, FRANK H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KENNEDY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KENNEDY, HERMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEDY, JAMES M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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Name of Counterparty                                                                                            Nature

KENNEDY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, JEANINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEDY, JEROME F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, JOHN B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, JOHN J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KENNEDY, JOHN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KENNEDY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, JUSTIN EDWARD, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH L ZELENY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KENNEDY, MARIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLEVELAND COLLINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KENNEDY, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, PAUL--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KENNEDY, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEDY, RONALD D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNEDY, RONNIE JOE (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNEDY, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEDY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

KENNEDY, ZACHARY JAMES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEL, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNELLY, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNER, HENRY AND MARY ALICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


KENNER, KERRIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNETH K KENNY II TRUST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNEY, DANIEL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KENNEY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEY, JOHN (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KENNEY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNEY, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENNINGTON, ESTHER ROBINSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KENNINGTON, MARTIN GORDON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KENNY, DORI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNY, DOROTHY E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNY, KEVIN K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENNY, NORMAN L , II, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN L KENNY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KENNY, PETER A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KENNY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENSEY, WILLIAM E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENT, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENT, ROBERT A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KENT, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
136 EAST 57TH STREET, RM. 907
NEW YORK, NY 10022


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
ROBERT FRANCES CHANDLER
1010 MARKET STREET, SUITE 950
ST LOUIS, MO 63101


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
G & K CONSULTANTS
4 RITA STREET
SYOSSET, NY 11791


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
136 EAST 57TH STREET, RM. 907
NEW YORK, NY 10022


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
PETER BOONE HOFFMAN
1010 MARKET STREET, SUITE 950
ST LOUIS, MO 63101




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
ROBERT FRANCES CHANDLER
1010 MARKET STREET, SUITE 950
ST LOUIS, MO 63101


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
G & K CONSULTANTS
4 RITA STREET
SYOSSET, NY 11791


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENTLE ROAD
SOUTH PLAINFIELD, NJ 07080


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDERS GROPPER
31 EAST 28TH STREET
NEW YORK, NY 10016


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDERS GROPPER
4 RITA STREET
SYOSSET, NY 11791


KENTILE FLOORS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN ROBERT SKRABANEK
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701


KENTLAND ELKHORN COAL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE METROPOLITAN SQUARE
211 NORTH BROADWAY, ST 3600
ST. LOUIS, MO 63102-2750




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KENTUCKY DEPARTMENT OF REVENUE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT OF REVENUE
501 HIGH STREET
FRANKFORT, KY 40601-2103


KENYON, ELISABETH B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KEPHART, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEPLER, KENNETH D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KEPPEL, DENNIS R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KERAGA, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KERCHECK, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERCSMAR, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KERLS, MARIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KERN, JAMES, JR, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J KERN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KERN, MARY ELLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


KERN, OLEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERN, VINCENT L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


KERN, WILLIAM KERN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KERNAN, KEVIN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KERNER, JOHN E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KERNER, ROBERT L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KERNER, ROBERT, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

KERNEY, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERNS, KERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KERNS, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


KERR CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1717 W COLLINS AVE
ORANGE, CA 92867


KERR MCGEE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORROW WILLNAUER KLOSTERMAN CHURCH, LLC
JAMES CHRISTIAN MORROW
10401 HOLMES, SUITE 300
KANSAS CITY, MO 64131


KERR MCGEE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORROW WILLNAUER KLOSTERMAN CHURCH, LLC
LAURA ANNE RHEA
10401 HOLMES, SUITE 300
KANSAS CITY, MO 64131-4509


KERR MCGEE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
1833 SOUTH MORGAN ROAD
OKLAHOMA CITY, OK 73128


KERR MCGEE CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
1833 SOUTH MORGAN ROAD
OKLAHOMA CITY,, OK 73128


KERR, FRED H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                          Nature

KERR, JENNELLE H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KERR, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KERRIGAN, ROBERT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KERSCHBAUM, TODD J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KERSCHION, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERSEY, EARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERSHAW, FRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KERWIN, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KESEBIR, MEHMET                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESINGER, LONNIE PATRICK, JR                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KESINGER, THOMAS L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESSEL, RICHARD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESSLER, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KESSLER, GLORIA C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KESSLER, KEITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESSLER, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KESSLER, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESSLER, TIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESSNER, GEORGIE MAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KESTER, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KESTERSON, KENNETH K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KETCHERSIDE, KENNETH L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KETCHUM, ROBERT M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KETCHUM, ROLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KETO, JOHN F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KETTERLING, MARTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KETTLES, EDGAR WILLARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KETTNER, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KETZEL, RUTH W, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J KETZEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEVIL, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEVIL, PAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

KEVIN PAYNE, AS SURVIVING HEIR OF ALLEN PAYNE, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEWANEE BOILER CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JASON JAMES IRVIN
4514 COLE AVE STE 500
DALLAS, TX 75205-5449


KEWANEE BOILER CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRINDLE DECKER & AMARO LLP - LONG BEACH
KENNETH PRINDLE 310 GOLDEN SHORE
LONG BEACH, CA 90802


KEWANEE ROSS CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK K. HSU
HAWKINS PARNELL THACKSTON & YOUNG LLP
90 BROAD STREET 9TH FLOOR
NEW YORK, NY 10004-2205


KEWANEE ROSS CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
YVETTE HARMON, ESQ.
MCGUIRE WOODS LLP
1345 AVENUE OF THE AMERICAS, 7TH FLOOR
NEW YORK, NY 10105


KEY ENERGY SERVICES INC DBAKE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 MCKINNEY, STE 1800
HOUSTON, TX 77010


KEY EQUIPMENT FINANCE, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEVERAGED LEASE ADMIN - ANN BRESKA
66 SOUTH PEARL STREET - 7TH FLOOR
ALBANY, NY 12204


KEY POWER SOLUTIONS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2804 BUTTERFLY DRIVE
TEMPLE, TX 76502


KEY WEST VILLAGE LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAGE KEY APARTMENTS
5850 PARKFRONT DR 2ND FLOOR
HOUSTON, TX 77036


KEY, LYDIA                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KEY, VIRGIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KEYBANK NATIONAL ASSOCIATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MICHAEL A. AXEL, ESQ.
SECOND FLOOR
127 PUBLIC SQUARE
CLEVELAND, OH 44114-1306


KEYES, ROBERT W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KEYES, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEYS, GEORGE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KEYS, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KEYSPAN ENGINEERING ASSOC INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 METROTECH CENTER
BROOKLYN, NY 11201


KEYSTONE SENECA WIRE CLOTH CO.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 386
BROOKHAVEN, MS 39601


KEYSTONE VALVE CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9700 WEST GULF BANK ROAD
HOUSTON, TX 77040


KHA GEOLOGICS LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
61 SUNSET PARK LN
SUGAR LAND, TX 77479




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KHALIL, AMIR A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KHAN, ABDUL S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KICKHAM BOILERS & ENGINEERING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 E CARRIE AVE
ST LOUIS, MO 63147


KIDD, CATHERINE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD L KIDD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIDD, CORTRO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIDD, GARLAND R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KIDD, WALTER LEE (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIDDER, DONNELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KIDDER, HUGH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIDDOO, DOROTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIEBLER, ANNA MARIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

KIEFFER, CHRISTOPHER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIEKHAFER, BETTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIEKHAFER, VERNON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIELY, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIEMELE, ERWIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIESLING, DORIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIESLING, WALTER C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KIESSEL, PAUL J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KIESSLING, GARY FRED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KIETMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KIETTY, EDWARD R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KIEWIT CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 WEST INTERNATIONAL AIRPORT RD. #C-6
ANCHORAGE, AK 99502


KIFER, DENISE D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROSCOE W FOX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIGGANS, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIGHT, DON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KIGHT, NANCY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KIJEK, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

KILBANE, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KILBURN, LEROY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILGANNON, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KILGARIFF, KELLYE J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILGORE COLLEGE DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KILGORE COLLEGE
1100 BROADWAY
KILGORE, TX 75662-3204


KILGORE ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 N. KILGORE STREET
KILGORE, TX 75662


KILGORE, BONNIE J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


KILGORE, EDNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                         Nature

KILGORE, JEAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


KILGORE, PAUL & TANYA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILGORE, PAUL & TANYA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILGORE, SHELLI                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILGORE, VICTOR B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


KILIAN, FRANK A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KILIUS, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILLEBREW, HOWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILLEEN ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N WS YOUNG DR
KILLEEN, TX 76543-4025




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Name of Counterparty                                                                                          Nature

KILLEEN MAJESTIC HOMES, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DENNIS JOHNSON
3901 E. STAN SCHLUETER LOOP
STE 103
KILLEEN, TX 76542


KILLEEN MAJESTIC HOMES, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DENNIS JOHNSON
4201 E. VETERANS MEMORIAL BLVD
KILLEEN, TX 76540


KILLEEN, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 NORTH COLLEGE STREET
KILLEEN, TX 76541


KILLEN, LYNDON KEITH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLIAN, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILLIEN, RICHARD JOHN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, ANTHONY M                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, ANTHONY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, BERNARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, FREDERICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, KELLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMEYER, LINDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KILLMEYER, ZENAIDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILLMON, CHARLES E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KILLOUGH, RONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


KILMANIS, GORDON LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILMON, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILPATRICK, CLARENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILPATRICK, MARIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KILPATRICK, PHILIP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KILPATRICK, PHILLIP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIMBALL INTERNATIONAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 ROYAL STREET
JASPER, IN 47549




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                            Retained Causes of Action

                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

KIMBALL, DENNIS WADE, SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


KIMBALL, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIMBALL, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIMBERLY CLARK CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 PHELPS DR
IRVING, TX 75038


KIMBERLY CLARK CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


KIMBERLY CLARK CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 PHELPS DR
IRVING, TX 75038


KIMBERLY SLUTZ, AS SURVIVING HEIR OF JD WHITT, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIMBLE, VAN W.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIMBLE, WARREN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIMBREL, JEFF, SELF & SIMILARLY SITUATED                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KIME, JO ANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIMKOWSKI, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KINARD, LARRY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KINARD, SUZANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINARD, TALBERT HENRY, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KINCAID GENERATION LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 PHELPS DR
IRVING, TX 75038


KINCAID, BYRON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KINCAID, JOANN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES N KINCAID
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINDER MORGAN, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
370 VAN GORDON STREET
ATTN: CREDIT DEPARTMENT
LAKEWOOD, CO 80228-1519


KINDER, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KINDER, SHELBY G, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KINDLE, BEVERLY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CECIL KINDLE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINDLE, BUDDY G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KINDLE, TECORA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KINEMETRICS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT LA 23340
PASADENA, CA 91185-3340


KINETIC ENGINEERING CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2055 SILBER ROAD STE 101
HOUSTON, TX 77055


KING AEROSPACE, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
444 WESTGROVE DR.; #250
ADDISON, TX 75001


KING INSULATION CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9100 TONNELLE AVE
NORTH BERGEN, NJ 07047


KING INSULATION CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NOWELL AMOROSO KLEIN BIERMAN, P.A.
140 BROADWAY
NEW YORK, NY 10005


KING INSULATION CO INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NOWELL AMOROSO KLEIN BIERMAN, P.A.
155 POLIFLY ROAD
HACKENSACK, NJ 07601


KING, ARTHUR P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KING, AUSTIN TRAVIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, CLAYTON G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KING, CURTIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, DARLENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KING, DAVID AND MARGARET                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, DENNIS W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, EDMUND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, ELIZABETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KING, FREDERICK JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, FREDRICK AND PATRICIA KING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, FREDRICK AND PATRICIA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW LLC
ATTN: BENJAMIN R. SCHMICKLE
701 MARKET STREET SUITE 1575
ST LOUIS, MO 63101


KING, GIBBONS A, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KING, HERSCHEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, HUBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, JAMES P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KING, JERROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, JOE L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, JOHN J , IV, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J KING III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, KIRK A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, MILLICENT F, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PAUL D KING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, MORTY STEVEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, NATHAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, PATRICK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KING, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, ROBERT L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KING, ROBERT L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


KING, ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, ROLAND E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KING, RONALD F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KING, RUSSELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KING, SHANNON R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KING, STEVEN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, THEOPHILUS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KING, VERNON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KING, WALTER MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KING, WILFRED O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KING, WILLIAM C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KING, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KINGERY, GORDON L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KINGERY, MELISSA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH R DIGREGORIO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINGSBURY, NELLIE L--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KINGSBURY, ROBERT B--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KINGSCOTE CHEMICALS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 72170
CLEVELAND, OH 44192-0002


KINGSHOTT, CATHERINE A BONNIER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KINGSLEY, JAMES D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINGSOLVER, BLAKE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINGSOLVER, KEITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINGSOLVER, RANDAL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINGSOLVER, RENEE SUE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KINLEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINLING, ELEANOR, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES KINLING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINMAN, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KINNARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KINNARD, SALLIE A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE KINNARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINNEBREW, BILLY E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINNEBREW, BILLY EARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KINNEY, DONALD V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KINNEY, SHAWN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KINNIARD, JAMES R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KINNIARD, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINNIARD, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KINSELLA, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINSLEY, CHRISTINA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINSLOW, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINSLOW, SHIRLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINSLOW, STEPHANIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KINSMAN, FORREST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIP GLASSCOCK P C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 FANNIN ST STE 240
BEAUMONT, TX 77701-3104


KIP GLASSCOCK P C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 FANNIN STREET STE 1350
BEAUMONT, TX 77701




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KIPP, TAMMY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIPPENBERGER, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIPPLE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIRBY, BENJAMIN D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIRBY, BRIAN S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JANET KIRBY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIRBY, BRITTANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIRBY, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


KIRBY, HAROLD LEE (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KIRBY, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KIRBY, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRBY, THURMAN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRCHHEIMER, HELMUT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KIRCHSTEIN, CARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIREY, GILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRK & BLUM MANUFACTURING CO INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4625 RED BANK RD
STE 200
CINCINNATI, OH 45227


KIRK WELDING SUPPLY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD PLLP
NICHOLAS BENJAMIN BUNNELL
1931 B CONGRESS
ST LOUIS, MO 63110


KIRK WELDING SUPPLY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


KIRK WELDING SUPPLY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD HANCHETTE
1608 HOLMES
KANSAS CITY, MO 64108




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

KIRK, BRUCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIRK, DUANE R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KIRK, JAMES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


KIRK, JULIE BEAUCHAMP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIRK, MARVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIRKENDALL, LURLINE F                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKLAND JR., SAM E.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKLAND, DORIS V.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKLAND, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIRKLAND, LAURA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KIRKLAND, TRACEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKPATRICK, JAMIE L MYERS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKPATRICK, MARTHA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRKSEY, FREDERICK S                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KIRLEY, EUGENE MICHAEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KIRLEY, MORGAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KIRSON, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRVEN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KIRWAN, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KISAMORE, LESTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KISCHKUM, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KISENWETHER, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISER, KATHRYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISH, JOSEPH S, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KISIOLEK, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KISLUK, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KISSIAR, PAULA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISSINGER, ALAINA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISSINGER, JAMES DILLAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISSINGER, JAMES DON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISSINGER, JEFFREY DEAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KISSINGER, JUDY LORENE CARLOCK                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISSINGER, KANDICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KISTER, DOUGLAS CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KITCHENS, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KITCHENS, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KITCHING, WOODIE H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KITIUK, JOSEPH T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KITKO, EDWARD JAMES, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KITOWSKI, CHARLES J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KITTELL, DANA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KITTRELL, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KITTRELL, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KITTS, ELBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KITZ CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10750 CORPORATE DRIVE
STAFFORD, TX 77477


KITZ, THEODORE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KITZEROW, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KITZMILLER, DORENE J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KIVISTO, ELVIN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KJELLESVIK, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KJERA, TAWNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KJERA, TAWNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KLAPAT, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLASS, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLAUNBERG, JOHN R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROLAND KLAUNBERG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLAUS, CALVIN, SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KLAUS, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KLAUS, ROBERT R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


KLAUSEN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLAUSMEYER, MARY M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS T BENEDICT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

KLECKNER, TOM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KLEE, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLEEMAN, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLEHR HARRISON HARVEY BRANZBURG LLP                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO UMB BANK N.A. INDENTURE TRUSTEE)
ATTN: RAYMOND H LEMISCH ESQ
919 MARKET ST STE 1000
WILMINGTON, DE 19801


KLEIN PRODUCTS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3700
ONTARIO, CA 91761


KLEIN PRODUCTS OF TEXAS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2066
HWY 79 3 MILES EAST LOOP 204
JACKSONVILLE, TX 75766


KLEIN, FREDERICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLEIN, JOSEPH W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLEIN, KEVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KLEIN, WILLIAM H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

KLEIN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLEINFELDER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KLEINFELDER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 51958
LOS ANGELES, CA 90051-6258


KLEINMAN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KLEINSMITH, CHARLES E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLEMM, HAROLD JERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


KLEMM, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KLEMME, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLIAFAS, JOELLEN LUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KLIMEK, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KLIMM, ANN M, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANNA KESMODEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLIMOVITZ, LARION W, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H KLIMOVITZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLIMPER, ROSALIE A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON J KLIMPER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLINE, DEBBIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KLINE, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLINE, JOHN L, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLINE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KLINE, KAY K, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD C KLINE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KLINE, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLINE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLING, FRANK, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLINKERS, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLINKO, DAVID J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KLINZMAN, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KLIX, HERMAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLOCH, JOHN F, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLOCK, IRENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KLOECKNER METALS CORP INDAND                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 COLONIAL CENTER PARKWAY, SUITE 500
ROSWELL, GA 30076


KLOER, APRIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KLOIBER, GRACE M, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF HENRY KLOIBER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLOMFAS, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLOPSTEIN, STEVEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KLOSOWSKI, GREGORY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLOSTER, KENNETH M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KLOTZ, KARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLOTZ, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KLOUDA, MORTIMER E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KLUG, EUGENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLUKA, LEONARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KLUKEWICH, VICTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KLUTH, WAYLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KMART                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOUIS ZEDNIK,SR.ENVIRONMENTAL ATTY.
3100 WEST BIG BEAVER ROAD
TROY, MI 48084-3163


KMCO LP                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DON KNIGHT
8100 WASHINGTON AVE STE 1000
HOUSTON, TX 77002


KMETA, IGOR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KMETA, NADIJA T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KMIETEK, ALEXANDER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNABB, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNAI, MAYNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNAPEK, AARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNAPP, J DAVIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNAPP, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNAPP, JOHN L, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNAPP, MARCELLA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNAPP, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNAPPER, SOLOMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNAPTON, JAMES G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNAUER, PHILIP R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS J KNAUER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNECHT, BETTY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GROVER C ZEIGAFUSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNECHT, CHARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNECHT, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNECHTEL, OTTO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KNEPPER, BETTY L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNETZER, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNETZER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNIBBS, ROBERT C, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIBBS, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNICELY, LOREN (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'BRIEN LAW FIRM
815 GEYER AVE.
SAINT LOUIS, MO 63104


KNICKERBOCKER, JOSEPH LYNN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KNIERIM, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNIESS, GARY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIFE RIVER CORPORATION - SOUTH                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 674
BRYAN, TX 77806


KNIFE RIVER CORPORATION SOUTH                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1800
WACO, TX 76703


KNIFE RIVER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CENTRAL TEXAS DIVISION
PO BOX 674
BRYAN, TX 77806


KNIGHT SERVICES INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20431 FRANZ ROAD
KATY, TX 77449


KNIGHT, CATHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KNIGHT, DAMON R. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNIGHT, ELEANOR, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN KOWAL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIGHT, EMMITT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNIGHT, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KNIGHT, JAMES V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KNIGHT, JARVIS, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KNIGHT, JOE RANDALL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KNIGHT, JOE REECE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KNIGHT, JOHN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A KNIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KNIGHT, LARRY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIGHT, LESLEE LAUREN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SILLS CUMMIS & GROSS P.C.
ATTN: KATHERINE M. LIEB, ESQ.
101 PARK AVE, 28TH FL
NEW YORK, NY 10178


KNIGHT, LESLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KNIGHT, LINDA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES W KNIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIGHT, MATHEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNIGHT, MAY LUCILLE HIPP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNIGHT, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KNIGHT, RAYMOND G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNIGHT, SADIE MAE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNIGHT, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNIGHTON, BERNARD Z                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIGHTS, ALMA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE H KNIGHT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNIGHTSBRIDGE APARTMENTS LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA KNIGHTSBRIDGE APARTMENTS
5342 BOND ST
IRVING, TX 75038


KNIPPERS, CHARLES DOUGLAS (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KNIPRATH, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNIPRATH, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNISLEY, CHARLES MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNISLEY, LELAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNOBLOCH, MICHAEL, ET AL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


KNOCH, DENNIS D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNIS KNOCH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNODE, ROBERT F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOEDLER, LOUIS H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOKEY, WILLIAM J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOLL, WAYLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNOROWSKI, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNOST, JUDITH M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


KNOTT, WILSON D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNOTTS, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOTTS, DALE J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOUFF, GILBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOUFF, HELEN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOUFF, RICKY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KNOWLES, CALUA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROSEMARIE KNOWLES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOWLES, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOWLES, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNOWLTON, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNOX, CHARLES E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KNOX, CRESTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KNOX, DIANE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS J HOWARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNOX, DURAND PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNOX, RICKY DALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KNOX, VENUS, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE KNOX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KNUCKLE, DENNIS E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KNUCKLEHEAD'S TRUE VALUE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1084 W. US HWY 79
FRANKLIN, TX 77856


KNUCKLEHEADS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 1302
FRANKLIN, TX 77856


KNUDSEN, ANNELISE N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KNUDSON, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KO, JER CHUNG                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOBART, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOBYLAR, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOCH ENTERPRISES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14 SOUTH 11TH AVENUE
EVANSVILLE, IN 47712


KOCH PIPELINE COMPANY, L.P.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4111 E. 37TH STREET NORTH
WITCHITA, KS 67220


KOCH REFINING CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9343 N 107TH ST
MILWAUKEE, WI 53224


KOCH, HOPE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOCH, STEVEN P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOCH, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOCHENSPARGER, RICHARD C                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOCIUBA, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KODIAK MANAGEMENT COMPANY LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2626 HOWELL STREET, STE 167
ATTN: RICK SHAW
DALLAS, TX 75204


KOEBEL, ALAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOEBEL, CHARLES WILLIAM                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOEHLER, JOSE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOEHLER, MICHAEL E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KOEHLER, THOMAS L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOELLER, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOELLING & ASSOCIATES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 802505
DALLAS, TX 75380-2505


KOENIG, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOENIG, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOENIG, INC. OF DELAWARE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2902 W 12TH STREET, PO BOX 7726
HOUSTON, TX 77007


KOEPP, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOEPP, WIGHT J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOEPPEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOEPPER, KATHERINE A, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER D KOEPPER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOERICK, THEODORE R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KOERNER, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KOERTH, DEAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOESTER, RICHARD ALAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOETTER FIRE PROTECTION LLC ET AL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16069 CENTRAL COMMERCE DR
PFLUGERVILLE, TX 78660-2005


KOETTER FIRE PROTECTION OF AUSTIN LLC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16069 CENTRAL COMMERCE DR
PFLUGERVILLE, TX 78660-2005


KOETTER FIRE PROTECTION OF LONGVIEW                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
207 W SCOTT ST
GILMER, TX 75644-1831


KOETTER FIRE PROTECTION OF                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN LLC
16069 CENTRAL COMMERCE DR
PFLUGERVILLE, TX 78660-2005


KOETTER FIRE PROTECTION OF                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LONGVIEW LLC
10351 OLYMPIC DR
DALLAS, TX 75220-4437


KOETTER FIRE PROTECTION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10351 OLYMPIC DRIVE
DALLAS, TX 75220


KOFOED, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOHL, ALLEN SANFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOHL, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOHLER COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
444 HIGHLAND DR.
KOHLER, WI 53044


KOHLER COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


KOHLER COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


KOHLER COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


KOHLER COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 40 PATTERSON STREET
PO BOX 480
NEW BRUNSWICK, NJ 08901


KOHLER, RICHARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOHLER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOJALO, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KOKER, KENNETH R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KOKER, KENNETH RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOKORUDA, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOKOSING CONSTRUCTION CO., INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6235 WESTERVILLE ROAD
SUITE 200
WESTERVILLE, OH 43081


KOKOSINSKI, ALICE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ERIC W KOKOSINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOLANO, EDWARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOLAR, NICHOLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOLBICKA, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOLCZAK, BERNADETTE J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOLDEN, KENT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOLERSKI, RICHARD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOLETAR, FRANK J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOLISH, FRANK W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOLLAR, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOLLER, JOSEPH R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM L KOLLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOLLITIDES, ERNEST A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOLMAN, LINDA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHESTER KOLMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                       Nature

KOLODZIEJSKI, DIANE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOLODZIEJSKI, JANET                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOLOSKY, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOLSKY, STEPHEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOMANDOSKY, MR & MRS JOHN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOMER, GREGORY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KONACHIK, MARILYN D.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KONE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 429
MOLINE, IL 61266-0429


KONE INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: J. RIGGS
3550 GEORGE BUSBEE PWKY
SUITE 140
KENNESAW, GA 30144


KONECRANES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 641807
PITTSBURGH, PA 15264-1807




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                                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                     Nature

KONECRANES NUCLEAR EQUIP & SVC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11420 W THEODORE TRECKER WAY
MILWAUKEE, WI 53214-1137


KONECRANES NUCLEAR EQUIP & SVC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 W FOREST HILL AVE
OAK CREEK, WI 53154


KONECRANES NUCLEAR EQUIPMENT & SERVICES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JEANNIE SPINNATI
4401 GATEWAY BLVD.
SPRINGFIELD, OH 44502


KONECRANES NUCLEAR EQUIPMENT &                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES
PO BOX 645092
PITTSBURGH, PA 15264-5092


KONECRANES                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2009 108TH ST. SUITE 901
GRAND PRAIRIE, TX 75050


KONICA, PHOTO SERVICE U.S.A.INC. FORMERLY FOTOMAT CORPORATION                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
88 PRESTIGE PARK CIRCLE
EAST HARTFORD, CT 06108


KONINKLIJKE PHILLIPS ELECTRONIC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGH TECH CAMPUS 5
EINDHOVEN
NOORD-BRABANT, 05656


KONKOLEWSKI, STEVEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KONOPCZYK, JOSEPH                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOOMPIN, CHRISTOPHER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOONS, BOBBY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOONS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOPCZICK, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOPF, HAROLD A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KOPNICK, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOPPERS COMPANY INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
436 SEVENTH AVENUE
PITTSBURGH, PA 15219


KOPPERS COMPANY INC. NKA BEAZER EAST, INC.                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
436 SEVENTH AVENUE
PITTSBURG, PA 15129-1800


KORCUBA, PRISCILLA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C KORCUBA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KORENKIEWICZ, ALEX                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KORENKIEWICZ, BRUCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KORHONEN, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KORMAN, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KORMAN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KORN, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KORNEGAY, GARY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KORNER, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KORNHAUS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KORTE, EDGILE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KORTZ, CYNTHIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KORUS, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KORZUN, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOS, STANLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOSCIELNIAK, HARRY F, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSCIELNIAK, KENNETH W                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSCIELNIAK, PATTY A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSCIK, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOSCIK, JOSEPH J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOSCIUK, CLAUDETTE M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


KOSECK, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOSHIOL, DONNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSHIOL, JOSHUA PAUL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSHIOL, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


KOSINSKI, THOMAS J, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOSKINIEMI, JOHN EDWIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSKOVICH, CLINT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSMACZEWSKI, BENJAMIN, JR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOSMECKI, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

KOSO AMERICA INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 MANLEY STREET
WEST BRIDGEWATER, MA 02379


KOSO AMERICA/REXA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 MANLEY ST
WEST BRIDGEWATER, MA 02379


KOSS, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOSS, RICHARD L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KOSS, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOSSE ROPING CLUB                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7286 FM 339 SOUTH
KOSSE, TX 77653


KOSSE VOLUNTEER FIRE DEPT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 350
KOSSE, TX 76653


KOSTELNIK, MICHAEL J                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KOSTIHA, JIMMY RAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSTROUN, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOSTROUN, SARA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KOTAK, ANDREW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOTNIK, KAREL D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KOTOFF, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KOTTER, KARL K. DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


KOTULA, HENRY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KOTYUK, BERNARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KOTZ, GLENN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOURTZ, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOUTSKY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOVAC, JOHN M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH R KOVAC
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOVACH, GEORGE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOVACH, ROBERT J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOVACH, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOVACS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOVAL, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOVALESKI, MARCILLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KOVALESKI, PHILIP R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOVAR, MARK A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KOVARIK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KOVASH, JOSEPH A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOVIOS, STEVE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOVZEL, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOWAK, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KOWALSKI, RICHARD S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KOYZEL, STEPHEN J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KOZENSKI, MARY L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C KOZENSKI SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KOZIARA, JAMES P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRAATZ, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

KRAATZ, WANDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KRABY, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAEUTER, FREDERICK D                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KRAFFT, GARY A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRAFT FOODS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 3 LAKES DR
NORTHFIELD, IL 60093


KRAFT FOODS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KRAFT CT.
GLENVIEW, IL 60025


KRAFT, DEBORAH L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRAFT, EDWARD W, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRAFT, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRAFT, GEORGE O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRAFT, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAFT, JOAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KRAFT, RICHARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


KRAFT, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRAISSL COMPANY INCORPORATED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
299 WILLIAMS AVENUE
HACKENSACK, NJ 07601


KRAISSL COMPANY INCORPORATED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD C MICHEL
229 WILLIAMS AVE
HACKENSACK, NJ 07601


KRAJCZAR, RANDALL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRALL, LOUIS G. (RADIOGRAPHER 1961)                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRALL, LOUIS G. (RADIOGRAPHER)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KRALL, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAMER LEVIN NAFTALIS & FRANKEL LLP                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO INDENTURE TRUSTEE OF 11% & 11.75% SR)
ATTN: THOMAS MOERS MAYER; GREGORY HOROWITZ;
JOSHUA BRODY; PHILIP BENTLEY
1177 AVENUE OF THE AMERICAS
NEW YORK, NY 10036


KRAMER, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAMER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAMPETER, KEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRANSCO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
188 THE EMBARCADERO
SAN FRANCISCO, CA 94105


KRANTZ, GERARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRANZ, WILLIAM C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRAPF, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRASNEVICH, CHESTER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRASOWSKI, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRASS, CHARLES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRASUCKI, PAUL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KRATKY, BILLY RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRATOVIL, JAMES G, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRATSCH, EARL R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD A SIMMONS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRAUS, CLARENCE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                     Retained Causes of Action

                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

KRAUS, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAUSE, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KRAUSE, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRAUTER, GERALD J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KRAWSHUK, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRECHTING, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KREGER, LARRY D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KREIDER, TED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KREIDLER, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

KRELWITZ, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KREMER, JOSEPH, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KREMNITZER, RUDOLPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRENEK, RICHARD, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


KRENZ, GERHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KREPPEIN, WILLIAM F.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KREPPS, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRESS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRESS, JERRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRESS, S E ANNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRETH, ROBERT G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KREUZER, AUGUST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KREUZER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRIA SYSTEMS INC DBA MAPTEK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
165 S UNION BLVD STE 888
LAKEWOOD, CO 80228


KRIEGER, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRIEGER, BENJAMIN F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRISAK, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


KRISTAN, DONALD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRISTENSEN, JAMES R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


KRIVACSY, VINCENT S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRIX, BRUNO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRIZANAC, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRIZEK, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRIZMENCIC, MAEDA E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD E JEWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRJA SYSTEMS INC / MAPTEK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
165 SOUTH UNION BOULEVARD
STE 888
LAKEWOOD, CO 80228


KROBATH, MARK A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KROCHTA, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KROESE, FRANS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KROGER                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1014 VINE STREET
CINCINNATI, OH 45201


KROGH PUMP COMPANY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
251 W CHANNEL ROAD
BENICIA, CA 94510


KROGH, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KROH, JACK L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KROLL, MARTIN ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KRONAWETTER, THOMAS G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRONENBERGER, ANDREA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KROSS, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KROSS, PAUL J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KROUPA, DAVID A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRUEGER, CARL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRUEGER, GORDON E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KRUEGER, KARL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRUEGER, KARL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRUEGER, RICHARD GUSTAVE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


KRUG, FREDERICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRULL, CLARENCE P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRUMENACKER, EUGENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRUMWIEDE, WILLIAM D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRUPPENBACH, DEAN M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BRUCE C KRUPPENBACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRUSEMARK, ROGER DEAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KRUTIAK, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRUTSCH, KEVIN W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KRYGLIK, PAUL, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBIN H KRYGLIK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KRYSTAL WOOD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3637 TIMBERGLEN RD APT 2215
DALLAS, TX 75287


KRYSZAK, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KRYZAK, ALBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KRZMARZICK, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KRZMARZICK, VERNON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KRZYZANIAK, MICHAEL, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN KRZYZANIAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KSB INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4415 SAELLEN RD
RICHMOND, VA 23231-4428


KSB, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ANN MCGUIRE
4415 SARELLEN RD
RICHMOND, VA 23231


KSM INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N115W19025 EDISON DR
GERMANTOWN, WI 53022


KUBACAK, MICHAEL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUBACAK, MICHAEL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KUBACAK, MICHAEL, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


KUBALA, JUSTIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KUBECKA, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


KUBEL, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KUBIAK, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUBIAK, MARIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUBICHEK, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUBIN, DIANE J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUBINSKI, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUBITZA UTILITIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4314 ELK RD
WACO, TX 76705-5013


KUBOTA TRACTOR CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3401 DEL AMO BLVD
TORRANCE, CA 90503


KUBOTA TRACTOR CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS, RICE & FINGERSH, L.C.
THOMAS ROY LARSON
1010 WALNUT, SUITE 500
KANSAS CITY, MO 64106




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KUBOTA TRACTOR CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


KUBRINA, MERRIAM RUBY (OWINGS)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUCER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUCERA, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUCHAK, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUCHERA, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUCHKA, JR., HARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUCHLI, NEAL E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUCINSKI, JOSEPH M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID J KUCINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KUCMIERZ, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUEBLER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUEHN, WILLIAM WESLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUEHNE, ALLAN D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUENZEL, KARL K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


KUHL, GAIL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUHL, JOE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUHN, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUHN, GEORGE T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUHN, JOSEPH A, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KUHN, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KUIVANEN, CHADWICK A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KUKLINSKI, CAROLYN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


KUKLINSKI, JOHN VICTOR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


KUKLINSKI, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUKODA, RICHARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KULAVIC 11, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KULAVIC, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KULLEN, C. PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

KUMAR, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


KUNKEL VALVES DISTRIBUTING                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8222 BLUFFTON RD.
FORT WAYNE, IN 46801


KUNKEL, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KUNKLE INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8222 BLUFFTON RD.
FORT WAYNE, IN 46801


KUNKLE INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
41 SOUTH HADDON AVENUE, SUITE 5
HADDONFIELD, NJ 08033


KUNKLE INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NOWELL AMOROSO KLEIN BIERMAN, P.A.
140 BROADWAY
NEW YORK, NY 10005


KUNKLE INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PUBLIC LEDGER BUILDING
DICKIE MCCAMEY & CHILCOTE, P.C.
150 SOUTH INDEPENDENCE MALL, SUITE 901
WEST PHILADELPHIA, PA 19106


KUNKLE, BILLIE JEAN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN B KUNKLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUNSMAN, CHARLES R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KUNSMAN, DORIS A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD P KUNSMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUNSMAN, DORIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUNSMAN, GREGORY J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN HARTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUNTZ, RAY A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUNTZE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUNZ, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUNZELMAN, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUPCHANKO, CLAUDE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUPFERSCHMIDT, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

KUPIEC, STEPHEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUPKA, ROBERT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KURETSCH, KEVIN N.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KURETSCH, SHIRLEY A.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KURETSCH, WILLARD E.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KURISKO, RICHARD E                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KURKER, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KURLAND, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KURPEN, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KURR, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KURT, EMIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KURTH, KARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KURTTI, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUSHNER, AIDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUSTERER, JANET L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM ROSS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KUTA, STANLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUTIL, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KUTZLER, TRACY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KUYKENDALL, ROBERT H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUYKENDALL, ROGER A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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KUYKENDALL, ROGER A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

KUZARA, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


KVAERNER METALS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
333 CLAY ST STE 3300
HOUSTON, TX 77002-4104


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11757 KATY FREEWAY, SUITE 1200
HOUSTON, TX 77079


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE ST STE 320
HARRISBURG, PA 17101


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


KVAERNER US INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KVAERNER US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN,
TWELVE WYANDOTTE PLAZA, 120 W.12TH ST
KANSAS CITY, MO 64105-1929


KVAERNER US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


KVAERNER US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


KVAERNER US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11757 KATY FREEWAY, SUITE 1200
HOUSTON, TX 77079


KVAERNER/MCKEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM C. MILLS IV, ATTORNEY AT LAW
440 ROUTE 22 EAST
BRIDGEWATER, NJ 08807


KVIDERA, JAMES J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KVIDERA, TOM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KWASNIK, ANDREW F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


KWIATKOWSKI, ANNE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


KWIATKOWSKI, JANE C. MESSINA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

KYES, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


KYLE, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


KZENOVITZ, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


L & H INDUSTRIAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
913 L&J COURT
GILLETTE, WY 82718


L & H INDUSTRIAL, INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DEB STEARNS, CONTROLLER
913 L & J COURT
GILLETTE, WY 82718


L & L MANAGEMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3749 ERIE STE F
HOUSTON, TX 77017


L AND S INSULATION CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 S 89TH ST
MILWAUKEE, WI 53214


L B FOSTER CO.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
415 HOLIDAY DRIVE
PITTSBURGH, PA 15220


L D WRIGHT ESTATE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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L F B MINTER TRUSTEE OF ADELLE W                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

L F B MINTER TRUSTEE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TESTEMETARY TRUST
PO BOX 1915
HENDERSON, TX 75653


L G S TECHNOLOGIES LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS A CARROLL PC
MARCUS ALAN CARROLL
909 ESE LOOP 323, SUITE 215
TYLER, TX 75701


L Q MANAGEMENT LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
909 HIDDEN RDG STE 600
IRVING, TX 75038-3822


L&E INS. CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


L&H PLUMBING & HEATING SUPPLIES                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RARITAN VALLEY PLUMBING SUPPLY CO
830 US HIGHWAY 22
BRIDGEWATER, NJ 08807


L&M TILE PRODUCTS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CYPRESSWOOD DR
SPRING, TX 77388


L&S INSULATION CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 S 89TH STREET
MILWAUKEE, WI 53214


L&S INSULATION CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 S 89TH STREET
MILWAUKEE, WI 53214


L5E LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4545 FULLER DR STE 412
IRVING, TX 75038-6569


LA GLORIA OIL & GAS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1168
BALTIMORE, MD 21203




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

LA MANNA, PETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LA MENDOLA, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LA PRENSA COMUNIDAD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 732
ATTN: KYTINNA SOTO
TOLAR, TX 76476


LA QUINTA INN #0558                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1002 S EXPWY
HARLINGEN, TX 78552


LA QUINTA INN #0505                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4015 SW FWY (HWY 59)
HOUSTON, TX 77027


LA QUINTA INN #0527                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1112 N FORT HOOD STREET
KILLEEN, TX 76541


LA QUINTA INN #0960                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4001 SCOTS LEGACY DRIVE
ARLINGTON, TX 76015


LA QUINTA INN #6303                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2451 SHADOW VIEW LN
HOUSTON, TX 77077


LA QUINTA INN WACO UNIVERSITY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INN 0511
1110 S 9TH ST
WACO, TX 76706-2399


LA QUINTA INN#6258                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4225 N MACARTHUR BLVD
IRVING, TX 75038




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LA SCALA, SALVATORE J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LA VEGA INDEPENDENT SCHOOL DISTRICT                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY, VESELKA, BRAGG & ALLEN, P.C.
P.O BOX 1669
WACO, TX 76703


LAAJALA, GENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAB QUALITY SERV                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 641127
PITTSBURGH, PA 15264


LABARBERA, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LABARGE, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LABARRE, LORING                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LABINE, LEROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LABOARD, RICHARD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LABONNE, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LABORATORY QUALITY SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INTERNATIONAL
16130 VAN DRUNEN ROAD
SOUTH HOLLAND, IL 60473


LABUS, HARVEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACEWELL, NATHANIEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LACEY, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACEY, GRAHAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACH, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LACHANCE, ALPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LACHANCE, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACK, BOBBY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LACKAJS, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACKNER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LACOUNT, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACROSS, DENNIS JAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LACROSSE LUMBER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEVIN L KEELY
200 N MAIN ST
PO BOX 468
LOUISIANA, MO 63353


LACY, MANUEL D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LACY, NEVON HENDERSON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LACY, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LACY, SAMANTHA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLIFTON H GROVE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LADANYI, EVA I, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT E LADANYI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LADD, LAYTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


LADISH CO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5481 S PACKARD AVE
CUDAHY, WI 53110


LADISH VALVE COMPANY LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7612 BLUFF POINT DR
HOUSTON, TX 77086


LAEDEKE, MICHELLE MAXWELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAEDEKE, TIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAFALCE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAFEVER, DANNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LAFFERTY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAFFERTY, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAFFERTY, NINA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAFFERTY, STEPHEN DALE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LAFFEY, JEFFRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAFFEY, MICHEAL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LAFOUNTAINE, ALFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAFRAZZA, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAGA, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAGES, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAGLORIA OIL AND GAS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 MCMURRY DRIVE
TYLER, TX 75702


LAGLORIA OIL AND GAS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER BOTTS LLP
WALTER LYNCH
ONE SHELL PLAZA, 910 LOUISIANA STREET
HOUSTON, TX 77002-4995


LAGNA, RICHARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAGRIMINI, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAGUERRE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAGZDINS, EDGAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAHOCKI, THOMAS L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAHR, GALEN C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                        Nature

LAHTINEN, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAHTINEN, RICHARD A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LAHUIS, RODNEY L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LAIL, PATSY NOLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAIL, ROBERT MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LAINEY, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAINEZ, CARLA S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAIRD, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAIRD, JUSTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAIRD, LORI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LAISURE OIL REFINING AND PRODU                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2612 TEXAS ST
GREENVILLE, TX 75401-3922


LAJEUNESSE, EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAJOIE, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAJOIE, GERARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAJOIE, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAJOIE, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAKDAWALA, SAILESH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAKE COUNTRY NEWSPAPERS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 600/620 OAK
GRAHAM, TX 76450


LAKE DALLAS ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
104 SWISHER ROAD
LAKE DALLAS, TX 75065


LAKE, MRS ODELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

LAKE, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAKELAND MEDICAL ASSOCIATES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
117 MEDICAL CIRCLE
ATHENS, TX 75751


LAKEWOOD CLUB APARTMENTS LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
29800 AGOURA RD STE 106
AGOURA HILLS, CA 91302


LAKOS, JEROME                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAKOTICH, STEVE R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LALLEY, DANIEL J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAM, CLARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMANNA, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMAR COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: HASKELL MARONEY
231 LAMAR AVENUE
PARIS, TX 75460




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAMAR, ALAN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMAR, ALAN R, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES M LAMAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMARCHE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMARTINA, MARGARET                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMARTINA, PEGGY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMARTINA, RICHARD AND PEGGY LAMARTINA                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMB, DELTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMB, ELTON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMBERT OIL CO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
603 N LIPAN HWY
GRANBURY, TX 76048


LAMBERT OIL CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 636
CLEBURNE, TX 76033-0636




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAMBERT, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBERT, CATHERINE M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE G LAMBERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMBERT, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMBERT, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBERT, IRVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMBERT, KATHERINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


LAMBERT, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBERT, MELVIN R, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMBERT, OLIVER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LAMBERT, RONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMBERT, ROYAL THOMAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAMBERT, TERRY R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBERT, VERONICA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBETH, JERRY WAYNE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LAMBIE, WILLIAM LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBSON, JOYCE L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMBUSTA, ANTHONY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMEIRAO, ANTONIO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMESA ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
212 N HOUSTON
LAMESA, TX 79331




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LAMESA, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAMESA CITY HALL
601 S. 1ST STREET
LAMESA, TX 79331


LAMKEN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMON, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAMON, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LAMONICA, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMONS GASKET COMPANY INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BLACK & SKAGGS PC
JERAMY M. SKAGGS
100 E. FERGUSON STREET, SUITE 716
TYLER, TX 75702


LAMONS GASKET COMPANY INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BLACK & SKAGGS, P.C.
JERAMY MITCHELL SKAGGS
100 E. FERGUSON ST., SUITE 716
TYLER, TX 75702


LAMONS GASKET COMPANY INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BLACK & SKAGGS, PC
JERAMY MITCHELL SKAGGS
100 E. FERGUSON ST., SUITE 716
TYLER, TX 75702




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LAMONS GASKET COMPANY INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORRIS & KEPLINGER, LLC
MICHAEL TRACY CRAWFORD
3600 CANAL ST
HOUSTON, TX 77003


LAMONS METAL GASKET COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BLACK & SKAGGS PC
JERAMY M. SKAGGS
100 E. FERGUSON ST., SUITE 716
TYLER, TX 75702


LAMONS METAL GASKET COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3600 CANAL ST
HOUSTON, TX 77003


LAMONS METAL GASKET COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BLACK & SKAGGS, P.C.
JERAMY MITCHELL SKAGGS
100 E. FERGUSON ST., SUITE 716
TYLER, TX 75702


LAMONS METAL GASKET COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAMEY & FLOCK
MICHAEL T CRAWFORD
100 E FERGUSON, SUITE 600
TYLER, TX 75702


LAMONTE, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMOTHE, MARK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMOTTE, WILLIAM J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LAMOURT, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAMPLE, CHRISTINA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE J WOODS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAMPLEY, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANCASTER ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
422 S. CENTRE AVENUE
LANCASTER, TX 75146


LANCASTER, BARBARA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANCASTER, BARBARA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANCASTER, BOBBY T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANCASTER, BOBBY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANCASTER, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 N HENRY ST
LANCASTER, TX 75146


LANCASTER, JAY C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANCASTER, JAY C, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

LANCASTER, MORRIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANCASTER, SHARON R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANCE, HENRY J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LANCE,INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT S. CARLES,CORP.SECRETARY
PO BOX 32368
CHARLOTTE, NC 28232


LANCELOT, DONALD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAND OLAKES INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 64101
ST. PAUL, MN 55112


LAND, BILLY JACK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LAND, DEANNA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDER, MICHAEL, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDEROS, HENRY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

LANDERS, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDERS, LARRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDERS, OBEDIAH RAY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDESS, ROGER A.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDESS, SHARON A.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDGREBE, CURT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDGREBE, FREDERICK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDIN, CARMEN O                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDINO, RUSSELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDIS, DOUGLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LANDIS, EDITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LANDIS, NEWMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LANDIS, WESLEY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANDMARK INS. CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 40
BROWNWOOD, TX 76804-0040


LANDON, JOSEPH A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANDON, SHIRLEY A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON J LEBUDA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANDRETH METAL FORMING, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7135 ARDMORE
HOUSTON, TX 77054


LANDRIAN, JOSE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDRUM, ELLIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O AUDREY, STANLEY C., & TAMMY GAUDET
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O BARBARA BRYARS, KIM VINCENT, TRACY
RIVERA, SHARON MCSHERRY, ET AL.
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O D. SAMMARTINO, M. DUBEA, T. DUBEA,
AND L. HULL (GEORGE DUBEA)
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O J. SCHEXNAYDER, M. BENOIT,
R. SCHEXNAYDER & S. GUILOT, ET AL.
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O JEANNINE, DAVID, ROBERT AND GLENN
PUNCH (DAVE PUNCH)
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O KIM BACQUES, ET AL
1010 COMMON ST, STE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O S LANDRY, BJ LANDRY & D GALLEGOS
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O TEMPLETON EVANS
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LANDRY & SWARR, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O VICTOR A. CARLOCK, MATTHEW CARLOCK
JILL CAHILL, JESSE CARLOCK, ET AL.
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY & SWARR, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O/B/O WAYNE B. DOWDLE (BEVERLY DOWDLE)
1010 COMMON STREET, SUITE 2050
NEW ORLEANS, LA 70112


LANDRY, ARTHUR J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LANDRY, BILLY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDRY, DAVID W, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J LANDRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANDRY, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDRY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDRY, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LANDRY, MAURICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANDSDALE, ROBERT A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANDVATTER, DALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANE, ALICE FAYE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANE, EARL J, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANE, GORDON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANE, J.W.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANE, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


LANE, JEANETTE P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND LANE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANE, JOE LYNN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LANE, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANE, MARTIN JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANE, RAYBORNE F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANE, ROBERT R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANE, WALTER R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LANE, WILLIAM D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANEVILLE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7415 FM 1798 WEST
LANEVILLE, TX 75667


LANEY, BOBBY EARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANEY, BOBBY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANG, ALEXANDRIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LANG, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANG, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LANG, JOSEPHINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANG, MARJORIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANG, MARY J, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD LANG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANG, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANG, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGDON, DON L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGDON, WILLIAM M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LANGE, CONNIE M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LANGE, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANGEHENNIG, WILLIAM D                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGEN, ALTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANGEVIN JR, ALBERT D                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGEVIN, PAULETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGFORD JR, CARTER NORRIS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGFORD, CLIFFORD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANGLEY, PAUL A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGLEY, PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGSTON, BILLY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LANGSTON, CARROLL DALE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


LANGSTON, CLARENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LANGTON, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANGTON, KAREN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANGWORTHY, WILLIAM G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANHAM, DAVID C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANHAM, DAVID C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD C LANHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANHAM, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANIER, ADDISON CLYDE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LANIER, ARVIN O, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LANIER, CARLOS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LANIGAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LANINGHAM, DONALD AND RUTH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANINGHAM, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANINGHAM, RUTH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANKFORD, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LANKFORD, HERMAN GERALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LANKFORD, KENNETH MARK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LANNY COUNTS LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21508 LAKEPARK DRIVE
LAGO VISTA, TX 78645


LANO, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LANOCHA, STANLEY S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LANOIE, LUCIEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANPHER, WENDELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANSFORD, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANSING, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANSING, LORRAINE J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANTERN POWER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6711 FALLING WATERS DRIVE
SPRING, TX 77379


LANTIERI, BENJAMIN J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LANTZ, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LANTZ, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANTZ, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANTZ, MAYNARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANZA, NICHOLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LANZI, ENRICO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LANZO, JUSTINO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LANZOTTI, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAPERLE, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPHAM, RON W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAPIERRE, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPINSKI, KIMBERLY ANN, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY J LAPINSKI JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAPITSKY, JACOB--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LAPLANTE, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPLANTE, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPOINT, HARRY (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


LAPOINT, JONATHAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAPOINT, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAPOINTE, HERBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAPOINTE, HERBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAPOINTE, LEO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPORTE, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAPP, FRANKLIN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAQUERRE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LARA, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LARCHEVEQUE, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LARDARO, CAESAR C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LARDI, GENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARDI, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LARGE, HOMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARGENT, JOHNNY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LARIMER COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 W. OAK STREET, 2ND FLOOR
PO BOX 1190
FORT COLLINS, CO 80522-1190


LARINI, NEAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARIVIERE, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LARKIN, RICHARD T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LARKIN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARKIN, ROBBIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LARKIN, SELMA M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HUGO E GRATZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LARKINS, TERRANCE L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAROCCA, MAUREEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAROCHE, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAROCQUE, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAROSA, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAROUSSE, BRANDON J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAROUSSE, CARRIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAROUSSE, JARRAD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAROUSSE, LAURA C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAROUSSE, VANTON, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LARRABEE, FRANKLIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARRY, GENEVA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSEN, BOB G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LARSEN, LANCE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSEN, LANCE J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSEN, LAWRENCE J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSEN, LEON HENRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSEN, LR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LARSEN, MARJORIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSEN, MAXINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LARSEN, RALPH J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LARSEN, RALPH J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LARSEN, WALDEMAR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSON, BETHEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSON, ERWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSON, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSON, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARSON, JERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LARSON, LENNART                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LARUSSO, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAS ANIMAS COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 EAST 1ST STREET
ROOM 203
TRINIDAD, CO 81082


LAS COLONITAS CONDOMINIUM ASSOCIATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SARAH MOORE
4113 GATEWAY CT, STE 200
COLLEYVILLE, TX 76034


LAS VILLAS DE MAGNOLIA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA LAS VILLAS DE MAGNOLIA
APTS
150 S 72ND ST OFC
HOUSTON, TX 77011


LASAGNE, JOHN THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LASALLE NATIONAL LEASING CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE WEST PENNSYLVANIA AVE, SUITE 1000
TOWSON, MD 21204


LASAR, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LASHBROOK, FLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LASHLEY, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LASHLEY, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LASHUA, BURTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LASKA, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LASKO, RICHARD E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LASKOWSKI, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LASSETH, MARY A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM F BERKERIDGE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LASSITER, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LASTARZA, EMERICO--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LASTER, CHARLES B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LASTER, QUENTIN MAURICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LASTER, STARLENE DONNESE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LASTINGER, M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LASTINGER, WOODROW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LATAWIEC, ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LATERZA, DENNIS J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LATEXO ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 975
LATEXO, TX 75849


LATHON, CLINTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LATHWOOD, CINDY D.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LATIF, YALCIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LATIF, YALEIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LATIMER, FELIX                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LATIMER, ROBERT N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LATIOLAIS, CARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LATKA, NEIL W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LATSKO, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LATTANZIA, JAMES H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LATTANZIO, DARIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LATTEA, GERTRUDE L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIRGIL J LATTEA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LATTNER BOILER COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1411 9TH ST. SW
CEDAR RAPIDS, IA 52404


LATUDA, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LATUDA, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LAUBACH, LEE T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAUBECHER, SYLVIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAUCKGROUP, THE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
STE# 101
DALLAS, TX 75201


LAUDER, SAMUEL B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LAUDER, SAMUEL B., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAUER, JOSEPH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAUER, LU ANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAUF, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAUFER, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAUFER, EDWARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAUFER, FRED B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAUGHLIN, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAUGHTER, JAMES L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAUREL POINT SENIOR APARTMENTS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16170 WESTPARK DR
HOUSTON, TX 77082


LAURENCE, TERRY, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAURENCE, VICKY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAURENCO, JUDITH A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAURENDEAU, GERARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAURICH, SAM J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LAURSEN, CHERIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAUSIER, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAUSTERER, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LAUX, RICHARD C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAVALERM II LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4600 BARBARA ROAD #41
RIVER OAKS, TX 76114


LAVALLEE, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAVALLEY, ELIZABETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVAZZA, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAVENDER, JALA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVENDER, JIM O                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LAVERY, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAVEZZOLI, FRANK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAVIN, CYNTHIA LOWE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, DEBRA LOWE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, DIANE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, GUY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, LINDSEY RIVETTE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, NEAL W, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, NEAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVIN, SHANNA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAVOIE, LOUIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAVOIE, MARCEL R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LAVORO, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAW OFFICE OF STEPHEN HEALY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEPHEN HEALY, ATTORNEY AT LAW
1390 N. MCDOWELL BLVD., STE. G
PETALUMA, CA 94954


LAW, ARTHUR F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAW, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAW, HENRY CAL (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAW, ROBERT D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LAW, SHARON LEE MASTERS, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANGUS MASTERS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAW, SUSIE (DECEASED)                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWANDUS, JOHN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LAWERENCE, TY E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWHORN, JAMES C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWLER, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAWLER, JEREMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWLESS, DANIEL A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAWLESS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LAWRENCE PUMPS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
371 MARKET ST
LAWRENCE, MA 01843


LAWRENCE, BEAMON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAWRENCE, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAWRENCE, DONALD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LAWRENCE, EARLEEN P, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL HAVILAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWRENCE, ELMO, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWRENCE, GEORGE N.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, KAY A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE E ZELINA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWRENCE, KAYLA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, KIMBERLY A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, LEVY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LAWRENCE, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, RUSSELL L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LAWRENCE, SHERRY ANN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID LAWRENCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWRENCE, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, THOMAS E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LAWRENCE, TY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRENCE, VIVIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRIAN FITZPATRICK BELLUCK & FOX, LLP
546 5TH AVENUE
4TH FLOOR
NEW YORK, NY 10036


LAWRENS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAWRY, JASON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWRY, SARAH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWS, WILLARD JUNIOR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LAWSON, ALTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LAWSON, BILLY JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWSON, CARLOS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWSON, EDWENA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWSON, ELTON L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LAWSON, GARY R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LAWSON, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWSON, JOSEPH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAWSON, JUDITH B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWSON, KEITH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWSON, UDALE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAWSON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

LAYCOCK, LARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAYMON, SHARYN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LAYNE CENTRAL WATERWELLS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10206
JACKSON, MS 39289


LAYNE CHRISTENSENT CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 SHAWNEE MISSION PARKWAY
MISSION WOODS, KS 66025


LAYNE, ROBERT B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LAY'S MINING SERVICE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1121 S 10TH ST
MT VERNON, IL 62864


LAYTON, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAYTON, IRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAZAR, MICHAEL JAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAZAR, PATRICIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LAZARSKI, BETTY JANE, FOR THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF HENRY W LAZARSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAZARUS, RICHARD J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAZER, BRUCE LEWIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LAZOK, JULIUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LAZOR, PEGGY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LAZZARA, PETER J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LB RAVENWOOD APARTMENTS LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA RAVENWOOD APARTMENTS
7964 AMELIA
HOUSTON, TX 77055


LBC HOUSTON, L.P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11666 PORT ROAD
SEABROOK, TX 77586


LCJ MANAGEMENT INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 489
NEW CANCY, TX 77357


LE BOEUF BROTHERS TOWING CO.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9036
HOUMA, LA 70361




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

LEAB, JACKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEAB, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEACH, DON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, DON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, GREGORY A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, LARRY J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, SAMUEL W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, SHARON S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEACH, WAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEACH, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEADERS PROPERTY MANAGEMENT SERVICES INC                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7798 SPRING VALLEY RD
DALLAS, TX 75254




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEAGUE, DELBERTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEAHY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEAKE, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEAKE, PATRICK E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEAKE, REESE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEAMONS, HERMAN AND DOROTHY LEAMONS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEANDER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEAP, ANN MARIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEAP, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LEAR SIEGLER DIVERSIFIED HOLDINGS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
469 MORRIS AVENUE #3
SUMMIT, NJ 07901




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LEARY, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEARY, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEARY, TIMOTHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEASE, BLANCHE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEASE, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEASE, ROGER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEATH, LYNETTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEATHAM, ZANE (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEATHEM, PATRICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEATHERMAN, PAT D                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEATHERWOOD, CHARLES WAYNE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEAVERTON, LEROY M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LEAVY, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


LEBARRE, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEBEL, EDWARD R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEBET, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEBLANC, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEBLANC, BETSY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEBLANC, CAMILLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEBLANC, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEBLANC, DONALD P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LEBLANC, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEBLANC, ROY M, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEBLANC, RUSSELLA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEBO, MYRON L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEMIS R CASTEEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEBROCQ, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LECATES, JO ANN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLARD GROOMES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LECO CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 LAKEVIEW AVE
ST JOSEPH, MI 49085-2396


LECONCHE, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEDBETTER, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEDBETTER, ROYCE HUBERT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEDBETTER, STEVE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEDBETTER, STEVE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEDDY III, FRANCIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEDDY, EVELYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEDDY, MARY GLADYS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEDDY, ROBERT O                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEDEBOHM, LEANDER H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEDETSCH, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEDFORD, JOHN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN W LEDFORD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEDOUX, SHARON, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN REIDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEDUC, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEDUC, TOM EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEE COUNTY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SOUTH MAIN
ROOM 107
GIDDINGS, TX 78942


LEE HECHT HARRISON LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2301 LUCIEN WAY, SUITE 325
MAITLAND, FL 32751


LEE HECHT HARRISON LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH # 10544
PALATINE, IL 60055-0544




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEE HOLLAND, CLEDIA DELORIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, ANDY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, ANNETTE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEE, ANNIE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, BETTIE WHITE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, BILL D                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LEE, BILL DEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, CALVIN ALPHONSE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, DENNIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, DONALD E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LEE, ERMA JEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEE, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEE, JAMES D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEE, JAMES E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEE, JAMES GLENN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JAMES SHERWOOD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JAMES WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JEFFRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JEREMIAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JOANNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEE, JOHN E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LEE, JOSEPH A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEE, LAURA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, OLLIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEE, PATRICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEE, PETER G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEE, PHILIP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, PUI L                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, RICHARD, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, ROBERT E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEE, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEE, RODNEY WALLACE (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LEE, ROGER                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEE, ROY RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEE, SANDRA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


LEE, STEPHANIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, TERRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEE, VAN P                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LEE, VERNON F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEE, VIRGIL B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LEE, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEE, WILLIAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEE, WILLIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LEECO ENERGY SERVICES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1587
WHITEHOUSE, TX 75791


LEEDS & NORTHRUP CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
L&N METALLURGICAL PRODUCTS CO
3 FOUNTAIN AVE
ELLWOOD CITY, PA 16117


LEE-SETHI, JENNIFER MARIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEETH, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


LEFCHAK, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEFEVRE, GUY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEFFLER, ELLIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEFTER, JAN D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEGACY POINT APARTMENTS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1901 NE GREEN OAKS BLVD
ARLINGTON, TX 76006


LEGAN, ANTHONY W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEGAN, PATRICIA A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEGER, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEGER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEGERE, MICHELE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEGG, ELAINE R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLY G LEGG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEGRAND, GREGORY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHIGH GASKET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7709 BETH BATH PIKE
BATH, PA 18014




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEHIGH HANSON INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 E. JOHN CARPENTER FREEWAY
IRVING, TX 75062


LEHMAN, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHMAN, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHMAN, ROSE A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES R HALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEHMAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHMANN, CHESTER R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEHNIG, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHOTAY, EDWARD M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEHR, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEHR, PHILLIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEICA GEOSYSTEMS MINING                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 S COUNTRY CLUB RD
TUCSON, AZ 85716


LEIDECKER, BILLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEIDER, FRANK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEILI, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEININGER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEISHEAR, CAROL E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MELVIN H LEISHEAR JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEITH, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEITNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEITO, ERWIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEJEUNE, ERWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LEMAHIEU, GRANT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEMAN, KENNETH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEMANACH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEMAY, LAWRENCE ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMIEUX, ALFRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEMIEUX, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEMIRE, ANNETTE J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMIRE, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMIRE, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMIRE, MARK J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMIRE, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMKELDE, MARY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUSSELL LEMKELDE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEMLER, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEMLEY, GLORIA J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E METTILLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEMMON, J                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEMMON, MARIE A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES L HOFFMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

LEMMON, MARIE A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY C HOFFMAN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEMMON, ZARONI K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FLOYD P LEMMON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEMMOND, LOUISE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEMOINE, ANDRE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LEMOINE, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEMON, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEMONAKIS, STEVEN W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEMONS, ARNO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEMONS, CHARLES, III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEMYRE, PATRICK L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LENAS, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LENER, DOMINIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LENGLE, GEORGE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LENNON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LENNON, MARY J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LENNOX INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 LAKE PARK BOULEVARD
RICHARDSON, TX 75080


LENNOX INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


LENNOX INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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Name of Counterparty                                                                                           Nature

LENNOX INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


LENNOX INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


LENNOX INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


LENNOX INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD LAW FIRM
TRAVIS LYNN WALDEN
2615 CALDER ST STE 220
BEAUMONT, TX 77702-1996


LENNOX INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 LAKE PARK BOULEVARD
RICHARDSON, TX 75080


LENSCH, THOMAS GRANT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LENT, JOHN E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LENT, KENT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LENT, WALTER, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LENTINO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LENTZ, MILTON R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LENTZ, RALPH L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LENTZ, SANDRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LENZI, WAYNE P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEO, PATTI L DI, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM ROTHERMEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEON COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 N. CASS STREET
PO BOX 37
CENTERVILLE, TX 75833


LEON ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12168 HWY 79 W
JEWETT, TX 75846


LEON, FERNANDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEON, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEONARD CONSTRUCTION COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14522 S OUTER 40 ROAD # 100
CHESTERFIELD, MO 63017




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEONARD, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEONARD, DOTTIE W, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES J LEONARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEONARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEONARD, JOHN RANDALL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LEONARD, MICHELLE BUCKLEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEONARD, MILDRED T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEONARD, PAUL G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LEONARD, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEONARD, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEONARD, SCOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEONARD, STEVEN M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LEONARDI, ALFREDO S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEONARDI, ANTHONY C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEONARDI, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEONE, ALFRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEONE, FRANK M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEONE, JAMES L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LEPORE, AMERICO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEPORIN, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

LEPOWSKY, CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LERESCU, CHRISTOPHER S.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LERESCU, DENISE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LERESCU, SILVIA, S.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LERNER, JEFFREY D                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEROY, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEROY, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESCH, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESHIKAR, PHILIP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LESHO, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

LESICA, PETER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LESKEY, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LESKEY, MARY JEANETTE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MAURICE BLASER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LESKO, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESKO, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESLIE CONTROLS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12501 TELECOM DR
TAMPA, FL 33670-906


LESLIE CONTROLS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12501 TELECOM DRIVE
TAMPA, FL 33637


LESLIE CONTROLS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FLOWMATICS INC
1300 E ARAPAHO RD STE 204
RICHARDSON, TX 75081-2445


LESLIE CONTROLS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENT, GOOD, ANDERSON & BUSH, PC
BILLY D. ANDERSON
1121 E SOUTHEAST LOOP 323, STE 200
TYLER, TX 75701-9694




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LESLIE, EZEKIAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LESLIE, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESSER, J.DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LESSER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESTENE TIPPS, JEANETTE POOLE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LESTER BUILDING SYSTEMS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 W STATE ST
CHARLESTON, IL 61920


LESTER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LESTER, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LETKE, JOHN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LETKE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LETOURNEAU TECHNOLOGIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2401 S HIGHT STREET
LONGVIEW, TX 75602


LETT, JOSEPH (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LETT, MYRTLE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWYER J MCLEAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LETTOW, CHARLOTTE E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK M LETTOW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LETTS, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LEUNG, YUK WAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEUTZ, BRUNER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LEVAN, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEVANDOSKI, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LEVAS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEVAULA, VAILOA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEVEL 3 COMMUNICATIONS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 910182
DENVER, CO 80291-0182


LEVEL 3 COMMUNICATIONS, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEGAL DEPT. (BKY)
1025 ELDORADO BLVD.
BROOMFIELD, CO 80021


LEVESQUE, ETHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVESQUE, LAWRENCE P--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LEVESQUE, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVESQUE, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVI STRAUSS & CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13350 DALLAS PKWY #2860
DALLAS, TX 75240




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LEVIEGE, SAMUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVINE, ANDREW M, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEVINE, DENNIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVINE, MELVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEVINE, STANLEY D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEVINSON, MILTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEVITON MANUFACTURING CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 NORTH SERVICE RD.
MELVILLE, NY 11747


LEVITT, DALE AND GLORIA LEVITT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEVITT, DALE AND GLORIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


LEVREAULT, DAVID E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                            Nature

LEVRONE, SHERRON O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEVRONEY, ERNEST L, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEVY, ROSE LEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LEWANDOWSKI, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEWANDOWSKI, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWANDOWSKI, WAYNE M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LEWARK, ANGEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWARK, AUTUMN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWARK, MICHAEL JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWARK, PAIGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LEWELLEN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIN, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS (HENDERSON), GENIDA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS JR, JACK H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, ALBERT R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEWIS, BRAD ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CREATIVE ENERGY OPTIONS
13900 NICKLAUS DR
OVERLAND PARK, KS 66223-2999


LEWIS, BRYANT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, CARROLL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEWIS, CLYDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, CONNOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEWIS, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEWIS, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, DIANA STONE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, DORIS M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J LEWIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, ELAINE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


LEWIS, EMMETT, SELF & SIMILARLY SITUATED                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEWIS, EVERETT L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LEWIS, FRANCINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEWIS, FRITZ T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LEWIS, GAYLE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEWIS, GEORGE W--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LEWIS, HAROLD C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOIS E LEWIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, HARTMAN G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, JACK RANDALL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, JAMES BEDFORD SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LEWIS, JANICE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, JEFF                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, JIMMY ALLEN &                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, JIMMY ALLEN &                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, JOHNNY RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, KENNETH E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LEWIS, KIM K                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LEWIS, LADONNA A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT CATTERTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, LLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, LONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LEWIS, LORIN FRANKLIN, JR. (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LEWIS, MARGOT M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, MARILYN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, MARSHA S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A LEWIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, MARSHALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, MELISSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, RANFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEWIS, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, ROBERT DEWEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LEWIS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LEWIS, RONNIE GENE, SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LEWIS, RUBY NELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, RUBY NELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, RUSSELL R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, SAN JUANA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, SHANNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LEWIS, SHEILA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, SHONDA RACHELLE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, THOMAS DEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, THOMAS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, VICKI ANDRE (ANTHONY)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, WILLIAM E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LEWIS, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWIS, WILLIAM, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LEWIS-GOETZ AND COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 644819
PITTSBURGH, PA 15264-4819




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

LEWISVILLE ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 TIMBER CREEK ROAD
FLOWER MOUND, TX 75028


LEWITZKE, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEWKOWICZ, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LEXAIR INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2025 MERCER RD
LEXINGTON, KY 40511-1018


LEXAIR INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2025 MERCER RD
LEXINGTON, KY 40511-1018


LEXINGTON ACQUIPORT COLINAS L.P.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEXINGTON REALTY TRUST
1600 VICEROY SUITE 150
ATTN: CHRIS DELZELL, VICE PRESIDENT
DALLAS, TX 75235-2306


LEXINGTON ACQUIPORT COLINAS LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE PENN PLAZA SUITE 4015
ATTN CASH MANAGEMENT
NEW YORK, NY 10119-4015


LEXINGTON ACQUIPORT COLINAS, L.P.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
CYNTHIA M OHLENFORST
1717 MAIN STREET, SUITE 2800
DALLAS, TX 75201


LEXINGTON INC. CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 STATE STREET
BOSTON, MA 02109




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Name of Counterparty                                                                                         Nature

LEXINGTON ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1ST ST
LEXINGTON, TX 78947


LEXINGTON LEADER, THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 547
LEXINGTON, TX 78947


LEXISNEXIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9443 SPRINGBORO PIKE
MIAMISBURG, OH 45342


LEXISNEXIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2314
CAROL STREAM, IL 60132-2314


LEZON, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LGS TECHNOLOGIES F/K/A LONGHORN GASKET AND SUPPLY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2950 W WINTERGREEN RD
LANCASTER, TX 75134


LGS TECHNOLOGIES F/K/A LONGHORN GASKET AND SUPPLY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2950 W. WINTERGREEN
LANCASTER, TX 75134


LGS TECHNOLOGIES F/K/A LONGHORN GASKET AND SUPPLY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS A CARROLL PC
MARCUS ALAN CARROLL
909 ESE LOOP 323, SUITE 215
TYLER, TX 75701-9665


LGS TECHNOLOGIES, LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS A CARROLL PC
MARCUS ALAN CARROLL
909 ESE LOOP 323, SUITE 215
TYLER, TX 75701


LHOIST NORTH AMERICA OF TEXAS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LTD
5274 PAYSPHERE CIRCLE
CHICAGO, IL 60674




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Name of Counterparty                                                                                            Nature

LHOIST NORTH AMERICA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13960 FM 439
NOLANVILLE, TX 76559


LIADAKIS, ELEFTERIOS G                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIADLEY, JAYTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIADLEY, JAYTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIBBY, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIBERATORE, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LIBERDA, AUGUST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIBERDA, AUGUST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


LIBERTO, JANET L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED RIGGIO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIBERTY COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1923 SAM HOUSTON
SUITE 202
LIBERTY, TX 77575




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Name of Counterparty                                                                                           Nature

LIBERTY FARM LANDSCAPING                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 85
LADONIA, TX 75449


LIBERTY ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 GRAND AVENUE
LIBERTY, TX 77575


LIBERTY MUTUAL GROUP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 BERKELEY STREET
BOSTON, MA 02116


LIBERTY MUTUAL INSURANCE CO.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 BERKLEY STREET
BOSTON, MA 02117


LIBERTY MUTUAL INSURANCE COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DUNCAN COURINGTON & RYDBERG
400 POYDRAS ST
NEW ORLEANS, LA 70130


LIBERTY MUTUAL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8350 N. CENTRAL EXPRESSWAY, SUITE 850
ATTN: TODD TSCHANTZ
DALLAS, TX 75026


LIBERTY WASTE DISPOSAL CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3370
BAYTOWN, TX 77520


LIBOR CLASS ACTION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VARIOUS ADDRESSES


LIBRARY CONTROL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 140429
DALLAS, TX 75214-0429


LIBURDI, FILIPPO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LICARE, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LICARE, THERESA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LICCIARDI, LENA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LICCIARDI, TIMOTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LICHAROWICZ, HELEN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH L ALBRIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LICHTENBERG, DONNA M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LINWOOD L LICHTENBERG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LICHTENWALD, JANICE D, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT W COX SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LICKERS, HOWARD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LICURGO, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LIDDIC, DORIS A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIDGARD, WILLIAM K.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIEB, CRYSTAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LIEB, PHILLIP I.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LIEBAU, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


LIEBAU, SHIRLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIEBEL, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIEK, GERALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIEN, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIETHA, DUANE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

LIEVI, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIFE SYSTEMS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 TRADE CENTER BLVD
CHESTERFIELD, MO 63005


LIFTING GEAR HIRE CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9925 INDUSTRIAL DR
BRIDGEVIEW, IL 60455-2408


LIGHT, ROBERT WILLIAM                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIGHT, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIGHTBOURN, JOHN D                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LIGHTCAP, JACOB                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LIGHTCAP, JOANNE C.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LIGHTCAP, JOSHUA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LIGHTCAP, STEPHEN M                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIGHTFOOT, CLARENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIGHTFOOT, FRANCIS M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIGHTHART, MATTHEW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIGHTING RESOURCES TEXAS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 E BOWIE ST.
FORT WORTH, TX 76110


LIGHTING, JOSEPH D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIGHTLE, CURTIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIGHTNER, PATRICIA A, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT READNACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIGHTNING ELIMINATORS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6687 ARAPAHOE RD
BOULDER, CO 80303


LIGNAR, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LIGNITE ENERGY COUNCIL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
MICHAEL J. NASI
100 CONGRESS AVE, SUITE 1100
AUSTIN, TX 78701


LIGNITE ENERGY COUNCIL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
WILLIAM JAMES COBB, ILL, ATTORNEY
100 CONGRESS AVE, SUITE 1100
AUSTIN, TX 78701


LILES, EARNEST W & DONNA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LILES, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LILLIE MAE GRAY ESTATE, THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LILLIE, PHILIP W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LILLY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LILLY, LORETTA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LILLY, STEVEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIMARDO, SAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIMESTONE CO ESD #1                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO DRAWER 831
GROESBECK, TX 76642-1702




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIMESTONE CO ESD #2                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO DRAWER 831
GROESBECK, TX 76642-1702


LIMESTONE COUNTY FAIR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 965
GROESBECK, TX 76642


LIMESTONE COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 W STATE ST
SUITE G01
GROESBECK, TX 76642


LIMMER, MIRIAM R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN B LIMMER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIMON, GILBERTO R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
KURT L RASMUSSEN
9200 WARD PARKWAY
KANSAS CITY, MO 64114


LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22801 ST CLAIR AVE
CLEVELAND, OH 44117


LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


LINCOLN ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY MOORE
KURT L RASMUSSEN
9200 WARD PKWY SUITE 400
KANSAS CITY, MO 64114


LINCOLN, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LIND, PETER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDAMOOD, ROGER R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDBERG                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BALLANTYNE CORPORATE PLACE
CHARLOTTE, NC 28277


LINDBERG                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


LINDBERG                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
LYNDON PAUL SOMMER
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313


LINDBERG                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
MARK ANTHONY PROST
600 WASHINGTON AVENUE, 15TH FLOOR
ST LOUIS, MO 63101-1313




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Name of Counterparty                                                                                       Nature

LINDBERG, GREG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDBERG, TANNER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDBERG, TRACY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDE GAS NORTH AMERICA LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 MOUNTAIN AVE
MURRAY HILL, NJ 07974


LINDE, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDER, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDHOLM, LENSE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDLEY, KEVIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDQUIST, BRIAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDSAY, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDSAY, JEREMY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

LINDSAY, KENNETH R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LINDSAY, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDSAY, WILLIAM C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDSAY, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDSEY, AMBROSE RAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINDSEY, BART                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF MARY LINDSEY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


LINDSEY, BENJAMIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDSEY, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


LINDSEY, MARY ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LINDSEY, STEVEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

LINDSEY, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINDSEY, WALLACE U                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LINDSLEY, JEFFREY T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LINGENFELTER, DEBORAH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINGENFELTER, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LINGO, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINGREN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LINIADO, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LINK BELT CONSTRUCTION EQUIP ME                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2651 PALUMBO DR
LEXINGTON, KY 40509


LINK BELT CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2651 PALUMBO DR
LEXINGTON, KY 40509




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Name of Counterparty                                                                                            Nature

LINK, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINKEDIN CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
62228 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0622


LINKER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LINN, NOLAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


LINS, THOMAS I                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LINSKEY, EDWARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LINZEY, JOAN M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ERNEST W LINZEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIOCE, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LION OIL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7102 COMMERCE WAY
BRENTWOOD, TN 37027




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIONE, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIPAN - KICKAPOO WATER DIST.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9538 YORK RD. STE. C.
PO BOX 67
VANCOURT, TX 76955


LIPAN - KICKAPOO WATER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9538 YORK RD. STE. C.
PO BOX 67
VANCOURT, TX 76955


LIPICS, WILLIAM J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIPINSKI, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIPIRA, JOSEPH C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIPKA, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIPORACE, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIPPY, EDLINDA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY RITTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIPSCOMB, CAROLE A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E LIPSCOMB
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIPSCOMB, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSCOMB, DONALD RAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSCOMB, DONALD RAY, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSCOMB, MICHAEL TYRONE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSCOMB, PAUL JEROME                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSCOMB, TAJRUS RHOSHONNE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPSHAW, ALAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIPTAK, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIQUIDITY SOLUTIONS, INC. AS ASSIGNEE OF                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C L SMITH INDUSTRIAL COMPANY
ONE UNIVERSITY PLAZA, SUITE 312
HACKENSACK, NJ 07601




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LIQUIDITY SOLUTIONS, INC. AS ASSIGNEE OF                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRIEFERT MFG. CO., INC
1 UNIVERSITY PLAZA, SUITE 312
HACKENSACK, NJ 07601


LIQUIDITY SOLUTIONS,INC. AS ASSIGNEE OF                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MECHANICAL DYNAMICS & ANALYSIS, LTD.
ONE UNIVERSITY PLAZA, SUITE 312
HACKENSACK, NJ 07601


LIQUIDITY SOLUTIONS,INC. AS ASSIGNEE OF                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROYAL PURPLE, LLC
ONE UNIVERSITY PLAZA, SUITE 312
HACKENSACK, NJ 07601


LISOWICZ, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LISOWSKI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIST, WALTER E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LISTER, HOWARD F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LISTER, LARRY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LISTER, LYLE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LISTES, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LISTMAN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LISTRANI, DONALD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITIERE, VICTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LITTA, GEORGE C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LITTA, ROSE A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LITTELFUSE STARTCO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3714 KINNEAR PLACE
SASKATOON, SK S7P 0A6
CANADA

LITTEN, JACKIE H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE RAPIDS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2273 LARSEN RD
GREEN BAY, WI 54303


LITTLE WILLIAMS FAMILY CEMETERY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PANOLA COUNTY
PANOLA COUNTY,


LITTLE, HUBERT J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE, BRIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LITTLE, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LITTLE, FREDDIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE, GLENN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LITTLE, HARRISON, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITTLE, J A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LITTLE, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE, KATHY B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LITTLE, LARRY JASON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LITTLE, LAVAUGHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LITTLE, MICHAEL L , SR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLIFFORD E LITTLE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITTLE, MICHAEL W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LITTLE, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITTLE, THOMAS C, ESQUIRE, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HALE ANDREWS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITTLE, TRACY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LITTLE, WAYNE DOUGLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LITTLE, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITTLEFIELD, JERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                         Nature

LITTLEFIELD, JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LITTLEFIELD, RAYMOND                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LITTLETON, ERIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LITTLETON, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LITTMANN, LAWRENCE (LARRY) J                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LITTON DATA SYSTEMS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1840 CENTURY PARK EAST
LOS ANGELES, CA 90067


LITTON INDUSTRIES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THEODORE CRAVER,VP,DIR.ENV.AFFAIRS
1725 JEFFERSON DAVIS HWY
STE 601
ARLINGTON, VA 22202


LITTRELL, CLYDE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


LITTS, JAMES R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LITZ, BETTY J, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE H LITZ III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LITZENBERGER, BRIAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVELY, WELLS W , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CONSTANCE LIVELY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIVELY, WILFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LIVEPERSON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27260 NETWORK PL
CHICAGO, IL 60673-1272


LIVERMORE, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVERMORE, LOUISE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVERMORE, SINCLAIR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVERY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIVIDOTI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

LIVIERI, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIVIERI, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIVINGSTON PECAN & METAL, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
219 COMMERCE STREET
LAKE VILLAGE, AR 71653


LIVINGSTON, BILLIE JO HARKCOM                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVINGSTON, JERRY DON, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVINGSTON, OKEY WILLIAM                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVINGSTON, RANDY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LIVOLSI, NOREEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVOLSI, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LIVOLSI, SILVIO N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LJONGQUIST, HALVARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LLANES, BENJAMIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LLANES, MIGUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


LLANES, MIGUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LLOYD, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LLOYD, DEBORAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LLOYD, EDDIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LLOYD, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LO BASSO, JACQUELINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LO, ELP SIMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LO, ELP SIMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOAIZA, DAVID MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOANE, JAMES R , III, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES LOANE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOAR, CAROLYN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY J REHMERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOBASSO, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOBER, ROBERT T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOBOSCO, ROSARIO J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOBRUTTO, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOBUE, ANTHONY J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOCHARY, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOCHENOUR, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOCHNER, WYNAND CHRISTIAN DANIEL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCHRIDGE PRIEST INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2901 E INDUSTRIAL BLVD
WACO, TX 76705


LOCHRIDGE-PRIEST INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 154187
WACO, TX 76715


LOCHRIDGE-PRIEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7624
WACO, TX 76714


LOCK AND KEY LOCKSMITH SERVICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
113 HILLVIEW
HENDERSON, TX 75652


LOCK PORT DRYER FELTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


LOCKARD, TOMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOCKE, BRANDON E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKE, BRANDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


LOCKE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LOCKE, MONTE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKE, MONTE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOCKE, ROBERT J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOCKENVITZ, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOCKETT, COURTNEY R, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RANDLE R LOCKETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKHART, JAMES STEVEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LOCKHART, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKHART, OBIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKHART/PUGARELLI, THERESA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKHEED MARTIN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6801 ROCKLEDGE DR.
BETHSDA, MD 20817-1836




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOCKHEED MARTIN CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6801 ROCKLEDGE DR.
BETHESDA, MD 20817


LOCKHEED MARTIN CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


LOCKHEED MARTIN CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


LOCKHEED MISSLES & SPACE COMPANY, INC.I                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 LOCKHEED MARTIN WAY
SUNNYVALE, CA 94089


LOCKLEAR, BARBARA DEAN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, BRANTLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, BRUCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


LOCKLEAR, CAROLYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, CURTIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, DEBBIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, DEBORAH, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CECIL E HUFFMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOCKLEAR, DELTON R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKLEAR, ELREE, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKLEAR, HUBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, JAMES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LOCKLEAR, JUNIOR L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKLEAR, LACY GENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LOCKLEAR, LANDON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, LARRY J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRVIN HAWTOF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKLEAR, RUDOLPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLEAR, SHAWANA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LOCKLEAR, VERNON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, B R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, BILLIE R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, BILLY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, BILLY RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, BILLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOCKLIN, DAVID B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOCKRIDGE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOCKWICH, FRANCES S, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN P LOCKWICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCKWOOD, ANDREW C, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOCOMOTIVE SERVICE INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 UNION BLVD STE 410
LAKEWOOD, CO 80228-1832




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOCOMOTIVE SERVICE INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 URBAN STREET STE 370
LAKEWOOD, CO 80228


LODEN, SHANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LODOR ENTERPRISES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA COMMERCE GRINDING CO
635 FT WORTH AVE
DALLAS, TX 75208


LOECHNER, MARGARET D, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A CLARK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOEFFERT, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOEPP, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOFLEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOFTUS FURNACE COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE OLIVER PLAZA
PITTSBURGH, PA 15222


LOFTUS, HEATHER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOFTUS, JIMMIE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

LOGAN COUNTY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 MAIN STREET
STERLING, CO 80751


LOGAN, GALE PHILIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOGAN, ITHAMAR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOGAN, JAMES B, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOGAN, JOHN E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOGAN, MARLA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOGAN, PAULA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOGAN, RICKEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOGEL, BETTYE, INDIVIDUALLY AND AS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOGGINS, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LOGGINS, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOGOSSO, SAMUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOGUE, RICHARD V, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD LOGUE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOGUE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOGUE, RUDOLPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOGUIDICE, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOGWOOD, ELIZABETH J, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD J LOGWOOD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOHMEYER, WILLIAM LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOHNER, LYNNE DIANA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LOHR, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOHR, LLOYD H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOHRMANN HENRIQUEZ, ANDRES IGNACIO                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOHRMANN SHEFFIELD, NICOLAS EDUARDO                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOKAY, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


LOKER, MARY G, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE E SIEMASKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOKER, RICHARD E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOLQUITT, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


LOMA SHIPP ESTATE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOMAX, JAMES L., SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOMAX, JOHN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOMBARDI, CARL J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOMBARDI, CHRISTOPHER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOMBARDO, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOMBARDO, LEO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOMBARDO, PHILLIP P, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FELICE LOMBARDO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOMINAC, WILLIAM M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOMITA GASOLINE COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 W. OCEAN BLVD. ; SUITE 800
LONG BEACH, CA 90802




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LOMKER, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOMONACO, FRANCIS W.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOMUPO, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONARDO, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONDENBERG, ETHEL MAE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONDENBERG, GILBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONDENBERG, WILLIAM KELLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONDENE, MARVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LONDON MARKET COMPANY MARKET INSURERS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MR. TOM QUINN
MENDES & MOUNT, LLP
750 SEVENTH AVE.
NEW YORK, NY 10019




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LONDON, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONE STAR AIR HYDRAULICS LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
124 SOUTH WARD DRIVE
LONGVIEW, TX 75604


LONE STAR CHEVROLET                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 736
FAIRFIELD, TX 75840


LONE STAR GAS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERIC H. PETERSON, DIRECTOR
LONE STAR GAS COMPANY
3704 SOUTHWESTERN BLVD.
DALLAS, TX 75225-7220


LONE STAR GASKET & SUPPLY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1416 N GRANT
ODESSA, TX 79761


LONE STAR LOGISTICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN G. SHIVERS,PRESIDENT
PO BOX 1000
LONE STAR, TX 75668-1000


LONE STAR PETERBILT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 N. LOOP 12
IRVING, TX 75061


LONE STAR RAILROAD CONTRACTORS, INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 1150
ENNIS, TX 75120-1150


LONE STAR RAILROAD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONTRACTORS INC
PO BOX 1150
ENNIS, TX 75120


LONE STAR SAFETY & SUPPLY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29131
DALLAS, TX 75229-0131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LONE STAR SAFETY & SUPPLY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29131
DALLAS, TX 75229-0131


LONE STAR STEEL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURFORD & RYBURN, LLP
DAVID M. WEAVER
500 N AKARD ST, 3100 LINCOLN PLZ
DALLAS, TX 75201-3403


LONE STAR STEEL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BURFORD & RYBURN, LLP
DAVID WEAVER
500 N. AKARD, SUITE 1200
HOUSTON, TX 77056


LONE WOLF WATER DIST.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
131 W. 5TH
PO BOX 1001
COLORADO CITY, TX 79512


LONERGAN, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LONERGAN, JAMES F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LONESTAR ACTUATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ALLISON DAVIS
14247 BANDERA ST
HOUSTON, TX 77015


LONESTAR ACTUATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2999
PHOENIX, AR 85012


LONESTAR ACTUATION, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ALLISON DAVIS
14247 BANDERA ST.
HOUSTON, TX 77015




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LONG INDUSTRIES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 FCR 413
BUFFALO, TX 75831


LONG INDUSTRIES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GEORGE YU-FU KING
SUITE 570, FOUNDERS SQUARE
900 JACKSON STREET
DALLAS, TX 75202-4425


LONG ISLAND LIGHTING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
333 EARLE OVINGTON BOULEVARD
SUITE 403
UNIONDALE, NY 11553


LONG TRUST                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1336
KILGORE, TX 75663


LONG VIEW FIBRE PAPER AND PACKAGING                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 FIBRE WAY
LONGVIEW, WA 98632


LONG, AARON MITCHELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LONG, ANGELA RHEA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANNA W GRAHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, ANGELA RHEA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND F GRAHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, BRENDA TAYLOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LONG, CHARLOTTE M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH H LEMING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LONG, EDGAR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, EDWARD C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LONG, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LONG, GARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, GREGORY FOY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, HELEN, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF THOMAS I LONG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, JAMES J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, JOAN P                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, JOHN AUSTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LONG, JOSEPH E , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH E LONG SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONG, KAREN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


LONG, LES                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, MELISSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, MICHAEL S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LONG, ROBERT F. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


LONG, ROBERT LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                            Nature

LONG, ROBERT LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, ROGER L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, SARAH L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED G LONG JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONG, WARREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONG, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONG, WESLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONGAN, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONGENBACH, FRANKLIN C                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONGHI, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONGHORN GASKET AND SUPPLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 W LONGHORN DR
LANCASTER, TX 75134




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LONGHORN GASKET AND SUPPLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS A CARROLL PC
MARCUS ALAN CARROLL
909 ESE LOOP 323, SUITE 215
TYLER, TX 75701-9665


LONGLEY, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONGMIRE, CHARLES T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONGO, ALFONSO J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LONGO, DOROTHY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J NIEDENTOHL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LONGOBUCCO, ERNEST A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LONGONI, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONGSERRE, G W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONGSERRE, LINDA L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

LONGSERRE, RAY B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONGSPAUGH, DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LONGVIEW ASPHALT INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3661
LONGVIEW, TX 75606


LONGVIEW ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 EAST YOUNG STREET
LONGVIEW, TX 75602


LONGVIEW SURVEYING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
814 GILMER RD STE 3
LONGVIEW, TX 75604-3614


LONGVIEW, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 W. COTTON ST.
LONGVIEW, TX 75601


LONKOSKI, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LONNIE, OVERTURF                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONSBERRY, DANNY LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LONZA CO., INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9700 BAYPORT BLVD.
PASADENA, TX 77507


LOOKABAUGH, BRIAN SCOTT, SR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LOOKABAUGH, HOMER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOOKABAUGH, PATRICIA NELL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOOKABILL, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOOMIS, BONNIE L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICIA A SHEA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOOMIS, CAROLYN JANETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOOMIS, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOONEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOONIE, JOHN F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOONIE, THOMAS P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOPATKA, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LOPERFIDO, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOPEZ, ALBERTO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOPEZ, ANTHONY JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LOPEZ, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOPEZ, ARMANDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOPEZ, CARL J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOPEZ, FERNANDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, FRANCISCO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, FRANK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOPEZ, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, JUAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOPEZ, LEONARD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LOPEZ, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOPEZ, ROBERT C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPEZ, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOPOPOLO, CARLO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOPRIMO, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOPRIORE, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LORBACH, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORBER, BESSIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS W LOEFFLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LORD, KEITH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORD, MICHAEL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LORD, PATRICIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LORD, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORE, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORENZ & CARTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDRA L. CARTER
3511 CLAYHEAD ROAD
RICHMOND, TX 77469




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LORENZ, HEINZ M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LORENZ, MARK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORENZ, RUDOLPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORENZO, ALBERT A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LORILLARD TOBACCO COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
714 GREEN VALLEY ROAD
GREENSBORO, NC 27408


LORILLARD TOBACCO COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHREEDER, WHEELER & FLINT
DAVID FLINT
1100 PEACHTREE STREETSUITE 800
ATLANTA, GA 30309-4516


LORILLARD TOBACCO COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
INC 327 HILLSBOROUGH ST
RALEIGH, NC 27603


LORILLARD TOBACCO COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COBURN LLP
KURT EDWARD REITZ
525 W MAIN ST, PO BOX 750
BELLEVILLE, IL 62222-0750


LORIMOR, THERON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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Name of Counterparty                                                                                          Nature

LORINO, GERALD JOHN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORISH, HOWARD R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LORKIEWICZ, FRANK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LORMAR RECLAMATION SERVICE LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1050 108TH AVENUE SE
NORMAN, OK 73026


LORPER, JAMES J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LORUSSO, THOMAS L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOS CUCOS MEXICAN CAFÉ #6, INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
805 E JACKSON ST
EL CAMPO, TX 77437-4634


LOS CUCOS MEXICAN CAFÉ #7, INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 W ELM ST
WHARTON, TX 77488-5431


LOS CUCOS MEXICAN CAFÉ                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8126 BROADWAY ST.
PEARLAND, TX 77581-7761




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

LOSCO, CHARLES A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LOSEE, ROBERT D--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


LOSS, FLOYD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


LOTEMPIO, ANTHONY J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOTITO, HOWARD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOTT, FRED NEWTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


LOTT, JEFFREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOTT, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOTT, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOTT, OSCAR L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOTT, REBECCA C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LOTTI, ROBERT C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOU, BETTY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOUDEN, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOUDERBACK, EARL S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOUDON, THOMAS B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOUGHLIN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


LOUGHLIN, WILLIAM F.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOUGHLIN, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LOUGHNANE, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOUGHRAN, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOUIS, JENE Y                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOUIS, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GALVEZ BUILDING
602 NORTH FIFTH STREET
BATON ROUGE, LA 70802


LOUISIANA DEPARTMENT OF REVENUE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
617 NORTH THIRD STREET
BATON ROUGE, LA 70802


LOUISIANA PACIFIC CORP.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
414 UNION STREET; SUITE 2000
NASHVILLE, TN 37219


LOUISIANA POWER & LIGHT CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60340, MAIL UNIT N-17
NEW ORLEANS, LA 70160


LOUKAS, BEVERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOUVIERE, CHRISTINA D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOUVIERE, KATHLEEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

LOVAGLIO, JOSEPH P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOVATO, ANTONIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, BOBBY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, DANIEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVE, ELBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LOVE, LYNN H                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, LYNN H                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOVE, MESHELLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

LOVE, RICHARD M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOVE, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVE, RODNEY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOVE, SADIE, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLIE LOVE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOVE, SARAH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVE, SHELDON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOVE, STEPHEN JEROME                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOVE, TRAVIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOVELACE, CHAD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LOVELACE, CHASTITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVELACE, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVELACE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVELACE, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOVELACE, JOHN HENRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVELACE, THOMAS DALE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVELADY, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LOVELESS, DARWIN RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOVELESS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVELL, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOVELL, LAVERNE, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF WILLIAM E LOVELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOVELLO, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVELY, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVETT, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOVETT, CONNIE FAYE (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LOVETT, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


LOVING, ALLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOW, ROY                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LOWDER, DAVID COLUMBUS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LOWDER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LOWDER, ROBERT E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LOWE, BOONE BEVERLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LOWE, CARMEN B, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM C LOWE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWE, CLAYTON (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWE, ERIC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWE, GLENN E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWE, GLORIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOWE, IGNAZIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWE, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWE, JUANITA B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK LOWE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWE, KENNETH G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWE, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWE, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWE, LEON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWE, MARION, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS LOWE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWE, STEPHEN F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWE, SYLVIA C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOWE, TED EDGAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LOWER COLORADO RIVER AUTHORITY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 220
AUSTIN, TX 78767


LOWER COLORADO RIVER AUTHORITY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301142
DALLAS, TX 75303-1142


LOWER COLORADO RIVER AUTHORITY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS G. MASON, ATTORNEY AT LAW
JAMES N. RADER
4504 TORTUGA COVE
AUSTIN, TX 78731


LOWERS, CLAYTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWERY, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWERY, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWERY, JOHN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOWERY, JOHN R, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOWERY, LAWRENCE K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


LOWERY, MANFORD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOWERY, WILLIAM C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWMAN, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWMAN, DONALD D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LOWMAN, DONALD M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LOWMAN, EDGAR T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOWNDES, BRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LOWRANCE, BILLY R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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Name of Counterparty                                                                                             Nature

LOWRIE, ROBERT M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOWRY, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LOWRY, PATRICK L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LOWRY, ROBERT L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


LOWRY, TIMOTHY BRET AND                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LOWRY, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOY, J D                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LOY, LEON                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOYA, JOSE F                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOYD, NORMAN E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOYDAL S. TILLMAN ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LOYLAND, GARY K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOZADA, JOSE P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOZADA, MANUEL SUAREZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOZANO, RICK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LOZINA, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LOZOSKIE, DANA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E LOZOSKIE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LRS RDC INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2335
MOUNT PLEASANT, TX 75456


LRS-RDC INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3501 WHY 271 N
MOUNT PLEASANT, TX 75455


LRS-RDC INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 2335
MT. PLEASANT, TX 75456


LRT LIGHTING RESOURCES TEXAS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 EAST BOWIE
FORT WORTH, TX 76110


LUBANSKI, FREDERICK W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUBE-O-SEAL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONALD L. LONGHAFER,PRESIDENT
PO BOX 246
CYPRESS, TX 77410-0246


LUBE-POWER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50146 UTICA DR
SHELBY TOWNSHIP, MI 48315


LUBER, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUBERTA MENEFEE ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUBRICATION ENGINEERS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 BAILEY AVE
FORT WORTH, TX 76107-1856


LUBRICATION ENGINEERS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 16025
WICHITA, KS 67216-6025


LUBRIZOL CORPORATION - THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEGAL DEPARTMENT
29400LAKELAND BLVD
WICKLIFF, OH 44092-2298


LUBRIZOL CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
377 HOES LN
PISCATAWAY TOWNSHIP, NJ 08854


LUBRIZOL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PHILIP J. BATEMAN,CORP.MGR.,ENV.ASSUR
29400 LAKELAND BOULEVARD
WICKLIFFE, OH 44092-2298


LUCAS, DONALD & LANCE LUCAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, ERNEST, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

LUCAS, JACK ALLISON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUCAS, JIMMY RAY, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, KIMBERLY M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


LUCAS, LAMAR C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LUCAS, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUCAS, MARCUS J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WADE LUCAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUCAS, MITCHELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, MITCHELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, MURL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUCAS, SAMMIE H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUCAS, SARILYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, SHERRY MACE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCAS, SHERRY MACE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
3900 ESSEX LANE, SUITE 390
HOUSTON, TX 77027


LUCCHESE, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LUCCHESI, RICHARD S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LUCENT TECHNOLOGIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MOUNTAIN AVE
NEW PROVIDENCE, NJ 07974


LUCENTE, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUCHTENBURG, JACOB                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUCIANI, MARIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAFFAELE LUCIANI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUCIO, MARIO R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

LUCIO, NELLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCK, ANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCKETT, CRAIG                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCKETT, SIDNEY LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUCKEY, HAROLD DAVID                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUDECA INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1425 NW 88TH AVE
DORAL, FL 33172


LUDECA INC. C/O JEFFCOTE IND.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11253
SPRING, TX 77391


LUDECA, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1425 N.W. 88TH AVENUE
DORAL, FL 33172


LUDESCHER, GEORGE M.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUDEWIG, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUDICK, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUDIN, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUDWIG, JAMES E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LUDWIG, SUE BELLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUEBKERT, RICHARD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LUENGAS, LIGIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUERS, GEORGE H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUETGE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUFKIN ARMATURE WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 455
LUFKIN, TX 75902


LUFKIN INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
95 W MAIN ST #14
CHESTER, NJ 07930


LUFKIN INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301199
DALLAS, TX 75303-1199


LUFKIN ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 COTTON SQUARE
LUFKIN, TX 75901


LUFKIN RUBBER & GASKET CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 150356
LUFKIN, TX 75915-0356




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUFKIN RUBBER & GASKET                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 ELLEN TROUT DRIVE
LUFKIN, TX 75904


LUFKIN, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 E. SHEPHERD, ROOM 226
LUFKIN, TX 75901


LUGO, ANTHONY, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUGO, PEDRO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUIS, MANUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


LUISA, DOMINIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUIZZI, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUJAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUKANC, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LUKANC, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUKAS, EDWARD, JR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD LUKAS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUKAS, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LUKASIK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUKASZEWICZ, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUKE ORTIZ, BERTY FELIPE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUKE, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


LUKE, DOLLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUKEFAHR, JOANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                             Nature

LUM, GLEN DALE                                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUMAR, JACQUELINE                                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUMBERMEN'S MUTUAL CASUALTY COMPANY INSURANCE COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID DEVINGER
ONE CORPORATE DRIVE, SUITE 200
LAKE ZURICH, IL 60047


LUMBERMEN'S MUTUAL CASUALTY COMPANY                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INSURANCE COMPANY
ATTN: DAVID DEVINGER
ONE CORPORATE DRIVE, SUITE 200
LAKE ZURICH, IL 60047


LUMINANT GENERATION CO., LLC, ET AL. V. UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



LUMINANT GENERATION COMPANY LLC AND ENERGY FUTURE HOLDINGS CORP. V. UNITED STATES ENVIRONMENTAL PROTECTION AGENCY AND LISA Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON


LUMINANT GENERATION COMPANY LLC V. UNITED STATES ENVIRONMENTAL PROTECTION AGENCY AND LISA JACKSON                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



LUMMUS, JAMES RANDALL                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUMMUS, MICHELLE                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUMPKIN, B H                                                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUMPKIN, CLOYCE                                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUMPKIN, JOYCE EDNA SANDERS                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LUNA, JOHNNY V                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNA, PALEMON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNA, TRACIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNA, VERNIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


LUNCEFORD, JENNINE R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNCSFORD, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUND, CONRAD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUNDAY THAGARD COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9302 GARFIELD AVE
SOUTH GATE, CA 90280


LUNDBERG, JON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUNDGREN, LARRY, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LUNDGREN, WAYNE H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNDQUIST, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUNDY, BOBBY V                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUNKENHEIMER CINCINNATI VALVE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 141451
CINCINNATI, OH 45250-1451


LUNKENHEIMER CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 WAVERLY AVE
CINCINNATI, OH 45214


LUNKENHEIMER CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 141451
CINCINNATI, OH 45250-1451


LUNN, GREGG                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUNQUEST, JAMES A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES LUNQUEST
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUNSFORD, HARRY & BOBBYE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUNSFORD, RICHARD GUY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUNT, CHESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LUNTER, GLORIA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MATTEUS LUNTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUOMA, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUONGO, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUPARELL, VINCENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUPCHO, PAUL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUPICH, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LUPINACCI, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LUPO, KAREN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E EICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUPRIORE, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUPSKI, JOHN W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LURZ, CHARLES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUSE STEVENSON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3990 ENTERPRISE CT
AURORA, IL 60504


LUSE STEVENSON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


LUSE STEVENSON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRED DEUTSCHMANN
3990 ENTERPRISE COURT
AURORA, IL 60504


LUSIETTO, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUSIN, ELENA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LUSIN, NATALIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUSIN, OLGA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUSIN, SERGEI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUSK, ELVESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUSK, TERRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUSKO, CATHERINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUSKO, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUSSIER, RONALD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LUST, LEONARD M. AND JOSEPHINE LUST                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUST, LEONARD M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LUTE, CHARLES M., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LUTGENS, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUTHER BRIGHTWELL ESTATE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LUTHER P. SMITH, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUTHER, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LUTSEY, ELWOOD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LUTTER, LESLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUTTRELL, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LUTZ, ALBERTA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY K LUTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUTZ, EDWARD E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LUTZ, GLORIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LUXAIREA DIVISION OF UNITARY PRODUCTS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5005 YORK DRIVE
NORMAN, OK 73069


LUZIETTI, RUDOLPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LVNV FUNDING LLC AS ASSIGNEE OF CVF                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSUMER ACQUISTION COMPANY
C/O RESURGENT CAPTIAL SERVICES
PO BOX 10587
GREENVILLE, SC 29603-0587


LVNV FUNDING LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
625 PILOT RD STE 3
LAS VEGAS, NV 89119-4485


LYAUTEY, FRANK J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYDECKER, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYDEN, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYDON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYDON, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LYDON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYELL, CATHERINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYKINS, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYKOSH, MICHAEL J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LYLE OIL CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 SOUTH FAIRWAY
PO BOX 77
FAIRFIELD, TX 75840


LYLE OIL CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 77
FAIRFIELD, TX 75840


LYLE OIL COMPANY, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LYLE RED
PO BOX 77
FAIRFIELD, TX 75840


LYLES, BRUCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

LYLES, MARSHA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIE VANN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYLES, VIOLA C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYMAN, GILBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYMAN, MARK B, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER LYMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYMAN, WAYNE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LYNAM, THOMAS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LYNCH, CHARLES ALVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNCH, CHARLES W, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYNCH, DONALD DEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNCH, EDWIN H.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LYNCH, ELIZABETH E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE LYNCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYNCH, GARY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LYNCH, GEORGE W, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYNCH, JAMES B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYNCH, JAMES C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


LYNCH, JAMES CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


LYNCH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNCH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYNCH, LYNN TRADER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

LYNCH, MARTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNCH, MELVIN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNCH, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


LYNCH, PAUL T.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LYNCH, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYNCH, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYNCH, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYNCH, THOMAS S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYNCH, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

LYNCH, WILLIAM B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LYNCH, WINIFERD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNGAR, ANDREA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNN, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYNN, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


LYNN, FRANK R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LYNN, HORTRIDGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYON, DAWSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


LYONDELL CHEMICAL CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVEN COOK,ENV.COUNSEL
1221 MCKINNEY ST.
HOUSTON, TX 77010




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

LYONS JR, GEORGE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LYONS, AUREA SANCHEZ                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


LYONS, CHARLES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


LYONS, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHEIN LAW CENTER, LTD.
ATTN: BENJAMIN P. SHEIN, ESQ.
121 S. BROAD ST., 21ST FLOOR
PHILADELPHIA, PA 19107


LYONS, JENNIFER, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS F LYONS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


LYONS, LORRAINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


LYONS, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYONS, RONALD S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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LYONS, THOMAS FRANCIS, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


LYTLE, CHARLES W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

LYTTLE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


LZZO, CARMINE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


M & C PRODUCTS ANALYSIS TECHNOLOGY INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6019 OLIVAS PARK DRIVE
VENTURA, CA 93003


M & L VALVE SERVICE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION OF WILLIAM R MASSEY INC
3760 KERMIT HWY
PO BOX 12727
ODESSA, TX 79768


M & M OIL SERVICES COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY HELEN MORGAN, AGENT
1310 ALPINE ST.
LONGVIEW, TX 75601


M A HUTTO TRUCKING LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
703 MILL ST
GAINESVILLE, TX 76240-3187


M G CLEANERS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 W HAYDEN ST
CARTHAGE, TX 75633


M G CLEANERS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 196
CARTHAGE, TX 75633


M G CLEANERS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 193
GARY, TX 75643


M H DETRICK CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9400 BORMET DR
MOKENA, IL 60448




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Name of Counterparty                                                                                       Nature

M J KELLY CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4415 EAST SUNSHINE
SPRINGFIELD, MO 65809


M L T C CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 TENNESSEE DR
HIGHLAND HEIGHTS, KY 41076


M LIPSITZ & COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 ELM STREET
PO BOX 1175
WACO, TX 76704


M LIPSITZ & COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 ELM STREET
WACO, TX 76704


M MAURITZON AND CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3939 W BELDEN AVE
CHICAGO, IL 60647


M T CASEY & ASSOCIATES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9523 VIEWSIDE DRIVE
DALLAS, TX 75231


M W KELLOGG CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 JEFFERSON ST
HOUSTON, TX 77002


M W SMITH EQUIPMENT INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3765
LONGVIEW, TX 75606


M W SMITH EQUIPMENT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4419 W LOOP 281
LONGVIEW, TX 75604


M&C PRODUCTS ANALYSIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TECHNOLOGY INC
DBA M&C TECHGROUP NORTH AMERICA
6019 OLIVAS PARK DR STE G
VENTURA, CA 93003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

M&M CONTROL SERVICE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


M&M CONTROL SERVICE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


M&M CONTROL SERVICE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY S MCNAMARA
24418 OLD MONAVILLE RD
LAKE VILLA, IL 60046


M&M THE SPECIAL EVENTS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
493 MISSION STREET
CAROL STREAM, IL 60188


M, BLUE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


M. LIPSITZ & COMPANY,INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELVIN LIPSITZ,VP
100 ELM STREET
WACO, TX 76703-1175


M. SLAYEN AND ASSOCIATES, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK S. KANNETT
BECHERER, KANNETT & SCHWEITZER
1255 POWELL STREET
EMERYVILLE, CA 94608


MAAS, GILBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MABE, ALFRED L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MABLE REYNOLDS CARPENTER ESTATE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAC DONALD, ROY D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAC MASTER CARR SUPPLY COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 COUNTY LINE ROAD
ELMHURST, IL 60126


MACARTHUR, ALBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACAULAY, RUSSELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACCALLUM, SAMARA SMITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACCO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
440 S. CHURCH STREET, SUITE 700
CHARLOTTE, NC 28202


MACDONALD, BRUCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACDONALD, CRAIG                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACDONALD, CYNTHIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MACDONALD, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACDONALD, DOUGLAS JOSEPH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MACDONALD, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACDONALD, RODNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACDONALD-PIERSON, DIANE D                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACE, BETSY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E MACE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MACE, DEBORAH S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELVA Y FORDYCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MACE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACEDA, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MACEIKO, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACEYUNAS, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACFARLANE, ALEX                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACHAK, GREGORY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACHLINSKI, DOROTHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MACHNIK, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACHOL, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACINTYRE, RONALD G., JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

MACIVER, BURTON (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACK BOLT AND STEEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5875 EAST STATE HIGHWAY 21
BRYAN, TX 77808


MACK BORING & PARTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2365 U.S. 22
UNION, NJ 07083


MACK TRUCKS, INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7825 NATIONAL SERVICE ROAD
GREENSBORO, NC 27409


MACK TRUCKS, INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


MACK, ABRAHAM, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACK, ANDREW B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MACK, DONNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACK, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACK, IRVING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MACK, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACK, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACK, MACKENZY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACK, MAKAYLA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACK, ROBERT EDWARD, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACK, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACKAY, ALLAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACKAY, CHESTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACKEIGAN, CHARLES W, SR--EST                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MACKENZIE, CATHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MACKENZIE, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACKENZIE, JEANNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACKENZIE, NANETTE M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD D MACKENZIE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MACKEY, GERALD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MACKEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MACKINNON, HOWARD ARTHUR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MACKINNON, VERONICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACKLAM, GEORGE L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACKLIN, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MACKSON INCORPORATED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25479 NETWORK PLACE
CHICAGO, IL 60673-1254




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MACKTAL, JOSEPH J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MACKTAL, VICTORIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MACLEAY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACLELLAN, LAURA A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KATHERINE WALDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MACMILLAN BLOEDEL CONTAINERS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4001 CARMICHAEL ROAD, SUITE 300
MONTGOMERY, AL 36106-3635


MACMULLEN, BRUCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MACPHERSON, ELISA LEMIRE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MACQUARIE FUTURES USA INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 WEST 55TH STREET, 20TH FLOOR
ATTN: LEGAL RISK MANAGEMENT
NEW YORK, NY 10019-5369


MACQUARIE FUTURES USA LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: EXECUTIVE DIRECTOR &
LEGAL RISK MANAGEMENT
125 WEST 55TH STREET, 20TH FLOOR
NEW YORK, NY 10019-5369




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Name of Counterparty                                                                                          Nature

MACRI, JOSEPH D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAC'S RADIATOR CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1521 W 16TH
MOUNT PLEASANT, TX 75455


MACUSTY, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MACVITTIE, RICHARD I                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MACY'S F/K/A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE MAY DEPARTMENT STORES COMPANY (RE SANGER-HARRI
151 WEST 34TH ST
NEW YORK, NY 10001


MACYS INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7 W SEVENTH ST
CINCINNATI, OH 45202


MACY'S RETAIL HOLDINGS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7 W SEVENTH ST
CINCINNATI, OH 45202


MADARA, CARLA M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MADARA, RANDY D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MADDALENI, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MADDEN, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADDEN, MARVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADDON, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADDOX, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MADDOX, IRA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADDOX, MELISSA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MADDY, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MADER, LLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADERA, HENRY P , III, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY P MADERA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MADEWELL & MADEWELL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9400 N CHOCTAW ROAD
JONES, OK 73049


MADGETT, DAVID J.S.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MADGETT, DAVID J.S.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MADIGAN, THOMAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADILL, WILLIAM B                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MADISON GAS AND ELECTRIC CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
133 S BLAIR ST
MADISON, WI 53703


MADISON, CHRISTOPHER W                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MADONIS, ANGELO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADORE, LUCIEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MADORSKY, MARK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MADSEN & HOWELL INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 MARKET ST
PERTH AMBOY, NJ 08861


MADUSKUIE, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAEBY, MARJORIE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAEHRER, GEORGE W , III, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W MAEHRER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAES, JOSEPH GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAESTAS, ABE B.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAESTAS, ARMANDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAESTAS, MARLENE VIRGINIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAGALIS, REBEKAH, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KERRY L MAGALIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAGALLANES, GERARDO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MAGANA, MANUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MAGARIAN, HIGHE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAGARINE, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAGDEN, STANLEY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MAGEE, STAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAGENTA, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAGEORS, JERRY G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAGER, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2060 NORTH KOLMAR AVE
CHICAGO, IL 60639




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET ST, STE 2100
ST LOUIS, MO 63101


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET ST, STE 2100
ST LOUIS, MO 63101


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ROMEO JOSEPH JR MONZONES
800 MARKET ST, STE 2100
ST LOUIS, MO 63101


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET ST, STE 2100
ST LOUIS, MO 63101


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


MAGID GLOVE AND SAFETY MANUFACTURING COMPANY                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHELDON COHEN
2060 N KOLMAR AVE
CHICAGO, IL 60639


MAGLIA, BONNIE W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN R WIRTS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAGLIONE, ROBERT L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAGNETEK INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N49 W13650 CAMPBELL DRIVE
MENOMONEE FALLS, WI 53051


MAGNETROL INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8576 SOLUTION CTR
CHICAGO, IL 60677-8005


MAGNUM ENGINEERING & CONTROLS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA MAGNUM TECHNICAL SERVICES
24 COMMERCIAL PL
SCHERTZ, TX 78154-3101


MAGNUM TECHNICAL SERVICES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA MAGNUM ENGINEERING&CONTROLS
24 COMMERCIAL PLACE
SCHERTZ, TX 78154


MAGRABAR LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM, LLC
130 N MAIN ST.
EDWARDSVILLE, IL 62025


MAGUIRE, HENRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAGUIRE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAGUIRE, MICHAEL F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAGWOOD, MARSHALL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAH, LARRY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAHAFFEY, BLANTNI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAHAFFEY, GORDANA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAHAFFEY, HAROLD AND GORDANA MAHAFFEY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAHAFFEY, HAROLD T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAHAFFEY, KELSI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAHAFFEY, SANDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAHALETZ, ADAM B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAHAN, BESSIE JANET                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAHAN, CHARLES E, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAHAN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MAHAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAHES, RAJCOMAR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAHESHWARI, SHARAN S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAHEUX, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAHLSTEDT, HAROLD H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAHON, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAHON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAHON, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAHONEY, ALFRED P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MAHONEY, JEROME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAHONEY, WILLIAM M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAHR, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAI, WILLIAM J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAIDA, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAIER, ROGER P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAIER, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAIETTA, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAIL SYSTEMS MANAGEMENT ASSN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 764264
DALLAS, TX 75376


MAILLARD, KEVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAILLOUX, OSCAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAINE REVENUE SERVICES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1065
AUGUSTA, ME 04332-1065


MAINE, SHARON S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAINS, WANDA LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAIOLICA, ALBERT J., SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAITHLAND, RANFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAJOR RUBBER PRODUCTS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 FIELD ST
WEST BABYLON, NY 11704


MAJOR, PHYLLIS, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES MAJOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MAJORS, ELAYNE E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEO A MAJORS JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAKAR, ANDREW W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAKI, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MAKI, RUDOLPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAKOFSKE, JOHN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAKOVSKY, ALFRED B , JR, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEANETTE M MAKOVSKY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAKRIS, VALERIE L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS COSSENTINO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MALAGRIFA, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MALAK, ANTHONY P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALAKOFF ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1308 FM 3062
MALAKOFF, TX 75148


MALAKOFF, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
109 S MELTON DR
MALAKOFF, TX 75148


MALANGONE, GUISEPPE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALANOWSKI, LEON R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MALANOWSKI, LEON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALAT, ANTHONY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MALAVE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MALBON, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MALBROUGH, BERLINDA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALBROUGH, RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALCHUSKI, EDWARD E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MALCOLM, SAMUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MALCOM, ROBERT W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALEK, ADAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALEK, LUIS ENRIQUE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MALEY, PHIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALIA, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MALICOAT, HIRAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MALIK MERCHANT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12603 SOUTHWEST FREEWAY STE 190
STAFFORD, TX 77477


MALIK, SUBHASH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALINCHAK, THEODORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALINOWSKI, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MALINOWSKI, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALLARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALLARD, THOMAS E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MALLARD, WANDA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MALLETT, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALLETTE, CORNELIUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALLGRAF, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MALLICK, THEODORE R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MALLON, JOHN MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MALLOY, GEORGE H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALLOY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALLOY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MALLOY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MALNOR, CLIFFORD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MALON, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALONE, ALICE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALONE, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALONE, CHARLAS G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MALONE, CLYDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALONE, DONNA M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALONE, FLOYD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MALONE, GARY MILTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MALONE, GLENN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALONE, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALONE, JAMES M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALONE, MICHAEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALONE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MALONE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALONE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALONEY, DONALD P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALONEY, JOSEPH T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MALOPOLSKI, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MALOTT, JAMES THEODORE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALOY, DONALD E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALOY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALPHRUS, RUDOLPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MALTA, SANDRA M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MALVEAU, DOROTHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MALVINO, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAMMOET USA SOUTH INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20525 FARM RD 521
ROSHARON, TX 77583


MAMMOET USA SOUTH, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHALOS & CO, P.C.
ATTN: GEORGE CHALOS & KERRI D'AMBROSIO
55 HAMILTON AVENUE
OYSTER BAY, NY 11771


MANAHAN, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANARA, JOSEPH A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANCHA, HARRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANCHESTER, SANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANCILLAS, RODRIGO, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MANCUSO, ANTHONY M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANCUSO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANCUSO, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANDARO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MANDERANO, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANDILE, SALVATORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANDLEY, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANDOLA, JOHN RAYMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANEE, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANETTI, MARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANGAN, MATTHEW FRANCIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANGEL, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANGIAFICO, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MANGOLD, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANGON, SENOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANGONE, ROSANNA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANGUM, RUBYE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANIACE, DOMINICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANIACE, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANINGO, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


MANIS, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANITO WO C CO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE MANITOWOC COMPANY, INC
2400 SOUTH 44TH STREET
MANITOWOC, WI 54220


MANITOWO C CRANE GROUP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 SOUTH 44TH ST
MANITOWOC, WI 54220




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Name of Counterparty                                                                                            Nature

MANITOWO C CRANE GROUP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE MANITOWOC COMPANY, INC
2400 SOUTH 44TH STREET
MANITOWOC, WI 54220


MANKE, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANKIN, JEANIE R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANLEY, FRANKLIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MANLEY, MADELINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANLEY, PATRICK S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANLY, JON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANN, CLIFFORD DALE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANN, DEBRA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MANN, HORACE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANN, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANN, WILLIAM B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MANNA, VINCENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANNES, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANNING USA INC. D/B/A BOLLTECH MANNINGS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17575 ALDINE WESTFIELD RD
HOUSTON, TX 77073


MANNING, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANNING, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANNING, PATRICK M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANNING, RENO S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WAYNE E MANNING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANNING, ROBERT JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANNING, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANNING, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANNING, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANNING, WILLIAM F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANNINGTON MILLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 MANNINGTON MILLS RD
SALEM, NJ 08079


MANNINGTON MILLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 MANNINGTON MILLS RD
SALEM, NJ 08079


MANNINGTON MILLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


MANNINGTON MILLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
TALERIE MEGERIAN
15 EXCHANGE PLACE STE 1020
JERSEY CITY, NJ 07302-3912


MANNONE, FRANK C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANNONE, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANNONE, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANNS, DELMAR A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MANNS, STEPHEN BRUCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANOCCHIO, ROBERT A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANOLOVICH, PATRICIA W, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER MANOLOVICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANOOGIAN, ARCHIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANOOGIAN, HAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANRING, ALBERT N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MANRO LAND INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 OAK HILL DR
WESTMONT, IL 60559




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANSBACH METAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1179
ASHLAND, KY 41105


MANSBERGER, ROBERT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANSEL, JACKIE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANSFIELD INDEPENDENT SCHOOL DISTRICT                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


MANSFIELD ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
605 EAST BROAD STREET
MANSFIELD, TX 76063


MANSON , DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANSON, MARTHA E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E MANSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANTER, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANTHEI, EDWINA R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANTHEI, ELTON J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MANTIA, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANTOVANI, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANTZ, ANNA M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PETER A MANTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANTZ, ROBERT E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANUEL, PAULA M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NANCY WALLACE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANUEL, ROBERT J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MANULI, GIUSEPPI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MANUZZI, VITO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANWILL, DARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MANWILL, MONTE REX                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MANZANO, JAMES A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MANZIIONE, SALVATORE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MANZO, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MANZOLILLO, JOSEPH DAVID                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAPES, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAPES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAPLE, DAVID L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAPLES, ELLA D THOMPSON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAPLES, WILLIAM D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAPP, TRACEY ASIA DESHAWN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAPP, TRACY, ASIA & DESHAWN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAPPES, THOMAS E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARABLE, DONSA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARAGLINO, MICHAEL A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARANDOLA, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARANGONI, JAMES A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARANGOS, FILIPOS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MARANO, JOSEPHINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARANTO, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MARAS, VLADO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MARASON, EDGAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARATHON ASHLAND PIPE LINE LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JENNIFER BRACEY,AGENT
PO BOX 3128
HOUSTON, TX 77253


MARATHON BATTERY CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GILBERT H. VANDERWERKEN,MGR.ENV.HLTH
8301 IMPERIAL DRIVE
WACO, TX 76712


MARATHON ELECTRIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 E RANDOLPH STREET
PO BOX 8003
WAUSAU, WI 54401-8003


MARATHON HEATER CO INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13 TOWN BARN RD
PO BOX 58
RICHFORD, NY 13835


MARATHON NOR CO AEROSPACE INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8301 IMPERIAL DR
WACO, TX 76712


MARATHON OIL CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
539 S. MAIN ST.
FINDLAY, OH 45840


MARATHON OIL COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

MARATHON OIL COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
JOSEPH C ORLET
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


MARATHON OIL COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
539 SOUTH MAIN STREET
FINDLAY, OH 45840


MARATHON OIL COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 SAN FELIPE STREET
HOUSTON, TX 77056-2723


MARATHON OIL COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY KOKS
MUNSCH, HARDT, KOPF &HARR, PC
HOUSTON, TX 77002-2732


MARATHON PETROLEUM COMPANY LP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
539 SOUTH MAIN STREET
FINDLAY, OH 45840


MARATHON PETROLEUM COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JENIFER BRACEY,AGENT
PO BOX 3128
HOUSTON, TX 77253-3128


MARCEAU, WILLIAM J., JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARCELLE, JEFFREY L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARCELLINO, PHILLIP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARCH, OTTO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARCHANT BASTIAS, GONZALO GEORGE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCHELI, VIVIAN & LOUIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCHELI, VIVIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCHELLO, KENNETH CHARLES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARCHESE, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARCHESE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARCHETTI, CLEMENT, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEROME MARCHETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARCHETTI, MARY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLEMENT M MARCHETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MARCHETTI,ROBERT J, JR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MARCHIONDA, GUY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARCINIAK, JOHN M, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MARCO INSPECTION SERVICES LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1941
KILGORE, TX 75663


MARCO LAND AND PETROLEUM INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2811 KEEGO RD
BREWTON, AL 36426


MARCO SPECIALTY STEEL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 750518
HOUSTON, TX 77275-0518


MARCO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3425 EAST LOCUST STREET
SUITE A
DAVENPORT, IA 52803


MARCOGLIESE, GEORGE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARCONI, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARCOULIER, ROLAND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARCUM, DEAN SCOTT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARCUM, DEAN STANLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARCUM, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MARCUM, PHYLLIS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARCUM, RYAN KENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCUM, SANDRA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCUM, TIMOTHY B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARCUM, TYLER L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARCUS, BILLY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARCUS, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARD, GREGORY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARDINO, RICHARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAREK, BENNIE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAREK, DALTON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAREK, DANA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAREK, DIANE KOCIAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAREK, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MAREK, KALLYE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MAREK, SHELLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAREK, WILLIAM J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAREMONT CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUSTCENTER
1209 ORANGE STREET
WILMINGTON, DE 19803




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RYAN THOMAS BARKE, ATTORNEY AT LAW
RYAN THOMAS BARKE
710 WILD HORSE CREEK DR
FAIRVIEW HEIGHTS, IL 62208-2053


MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 MAREMONT PARKWAY
LOUDON, TN 37774


MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUSTCENTER
1209 ORANGE STREET
WILMINGTON, DE 19803


MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID WILLIAM YBARRA, ATTORNEY AT LAW
12 WOLF CREEK DR. STE. 100
BELLEVILLE, IL 62226


MAREMONT CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
JAMES H POWERS, LORI WIESE
1221 MCKINNEY ST, SUITE 2400
HOUSTON, TX 77010-2007


MARENBURG, LEONARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARGERELLI, ANTHONY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARGIE L BURDICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6409 SHADOW LANE
DALLAS, TX 75236




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MARHAK, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARIAGE, JACK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARIAN, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARIANI, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARIANO, EMEDIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARIE S BROWN ESTATE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARIE, PAULINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARIE, PAULINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARIGLIANO, RALPH, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARIN, ALBERTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARIN, ARMANDO J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARIN, ARMANDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARIN, MAURICIO ESTEBAN ROJAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARINE PROFESSIONAL SERVICES INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
36 COLONY PARK
GALVESTON, TX 77550


MARINE, KIMBERLY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS E BURL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARINELLI, CAROL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARINELLI, MAXIE J, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARINELLI, SHEILA ANN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARINILLI, ETTORE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARINO, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MARINO, ERASMO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARINO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARINO, PHILIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARINUZZI, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARINZULICH, ANTONIO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARINZULICH, MARCELLO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARIO & DIBONO PLASTERING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40-03 NATIONAL AVE
CORONA, NY 11368


MARIO & DIBONO PLASTERING CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CULLEN & DYKMAN, LLP
177 MONTAGUE STREET - 4TH FLOOR
BROOKLYN, NY 11210


MARIO SINACOLA & SONS EXCAVATING INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10950 RESEARCH RD
FRISCO, TX 75034




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

MARION, NETA ABBOTT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARION, RICHARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARK E. BROOKS, ET UX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARK GRADY, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARK, JOHN                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARK, MELISSA R.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARKEL, BRUCE M                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARKEY, ERNEST H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARKHAM, ALLEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARKHAM, CHARLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARKHAM, JOHN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARKIT GROUP LIMITED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4TH FLOOR ROPEMAKER PLACE
25 ROPEMAKER STREET
LONDON, EC2Y 9LY
UNITED KINGDOM

MARKOVCHICK, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARKOVSKY, JAMES C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


MARKOVSKY, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


MARKOWITZ, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARKOWSKI, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARKOWSKI, THOMAS R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARKS, GUY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                                   Nature

MARKS, JAMES E                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, JAMES                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARKS, JEFFREY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, MATTIE SUE (ISAAC)                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, MATTIE SUE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, ROBERT F, JR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKS, WALTER                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARKT, BROOKE                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKT, DENISE A                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARKT, GEORGE H                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARLATT, GERALD M.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARLENA GRADY, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARLEY CO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BALLANTYNE CORPORATE PLACE
CHARLOTTE, NC 28227


MARLEY WYLAIN CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WEIL MCLAIN
850 THIRD AVE - SUITE 1100
NEW YORK, NY 10022


MARLIN ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
130 COLEMAN ST
MARLIN, TX 76661


MARLIN, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 FORTUNE STREET
MARLIN, TX 76661


MARLOW, BILLY, SR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARMAI, MARIO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAROUSEK, HILDA C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND E MAROUSEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARQUETTE, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARQUEZ, LEWIS & MARGARET MARQUEZ                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARQUIS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARR, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARRANZINO, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARRAPODI, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARRERO, ELDA M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRERO, ERNESTO J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARRIOTT, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARRIOTT, JOSEPH H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARROQUIN, ISMAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARROQUIN, SONDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MARROW, ADELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRS, JEFFREY TODD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRS, JOEL B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRS, JOYCELYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARRUJO, REJINO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARRYO, REJINO L & TAWN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSALA, CHARLES J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARSALA, JAMES JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARSCH, CLYDE L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSCHALL, HOWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

MARSCHALL, JOHN, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MARSCHAUSER, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARSCHEAN, MARILYN J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSCHEAN, RICHARD A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSEGLIA, BARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSH, GENE AND KARLA MARSH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSH, GENE T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSH, KARLA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSH, KENNETH B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSH, LINDA C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSH, LINDA C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARENCE A MARSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARSH, LINWOOD F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARSH, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARSHALL, ARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


MARSHALL, BENJAMIN C., JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, BENJAMIN, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, BERTHA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, BETTY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD L MARSHALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHALL, BRENDA R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHALL, CALVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARSHALL, DARLD H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MARSHALL, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARSHALL, EARL AND BERTHA MARSHALL                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARSHALL, FLORENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARSHALL, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, HARRIETTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, JEANNE, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF GEORGE MARSHALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHALL, JOHN W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARSHALL, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARSHALL, KATRALAMECHIA D, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND A MARSHALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHALL, LORETTA C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELLIS REED
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHALL, MELINDA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, MILDRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, PATRICK W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARSHALL, ROBERT AND CAROLY MARSHALL                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHALL, THOMAS R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARSHALL, TIFFANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MARSHALL, WAYNE J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN N GABRIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARSHBURN, ROBERT EARL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSHFIELD DOOR SYSTEMS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 EAST FOURTH STREET
MARSHFIELD, WI 54497-0780


MARSIGLIA, EUGENE J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARSIGLIA, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MARSTELLER, BILL, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD F MARSTELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MART ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 NAVARRO
MART, TX 76664


MARTEL, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTEL, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTEL, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MARTEL, VICTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTENS JR., WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTHREL, ROBERT L, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTI, GERALD M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN APPARATUS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14233 INTERDRIVE W
HOUSTON, TX 77032


MARTIN ENGINEERING COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THOMPSON COBURN LLP
ATTN: DAVID D. FARRELL
505 N. SEVENTH STREET, SUITE 2700
SAINT LOUIS, MO 63101


MARTIN ENGINEERING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 4531
CAROL STREAM, IL 60122-4531


MARTIN JR, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN JR, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN MARIETTA CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2710 WYCLIFF ROAD
RALEIGH, NC 27607-3033


MARTIN MARIETTA MATERIALS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2710 WYCLIFF ROAD
RALEIGH, NC 27607-3033




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Name of Counterparty                                                                                         Nature

MARTIN MARIETTA MATERIALS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 219
POWDERLY, TX 75473-0219


MARTIN MARIETTA MATERIALS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848241
DALLAS, TX 75284-8241


MARTIN MARIETTA TECHNOLOGIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2710 WYCLIFF ROAD
RALEIGH, NC 27607-3033


MARTIN MARIETTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1503 LBJ FREEWAY
STE 400
DALLAS, TX 75234


MARTIN, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, BARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, BETTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


MARTIN, CAROLYN DIANNA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, CHRIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, CLEVELAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, CLIFTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MARTIN, COLIN N.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTIN, CONSUELLA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, COVA C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARTIN, DAVID S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILIP WHITE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, DEAN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, DOROTHY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NELSON E MARTIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, EDITH, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD C MARTIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARTIN, ELVIN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, GARETT T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTIN, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, HUGH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, J.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, JAMES DENNIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARTIN, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, JERRY RODGER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARTIN, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, LARRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARTIN, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, LEE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARTIN, LESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, LOVIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, MARIE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD L MARTIN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, MICHAEL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, NORMA JEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, OTIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, PAUL LEDALE AND IONA JAMES MARTIN                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, RICHARD L , SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, RICHARD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARTIN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, ROBERT E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTIN, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARTIN, ROBERT J SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, RONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARTIN, ROY L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTIN, RUDOLPH W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTIN, SAMMY N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARTIN, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, STEVEN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTIN, SUSAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, THELMA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTIN, VERNON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN, WALTER F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTIN, WALTER J., JR. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MARTIN, WILEY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARTIN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MARTINE, DENNIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINEAU, LEON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINECK, CARL A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTINELLI, CHARLES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINELLI, JOHN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARTINELLI, ROBERT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARTINELLI, VINCENT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARTINEZ, ALFREDO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTINEZ, BILL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARTINEZ, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINEZ, COURTNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINEZ, ERNEST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINEZ, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINEZ, GERALDINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARTINEZ, HECTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MARTINEZ, JIMMIE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MARTINEZ, JOHN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTINEZ, JOSE JOEL HERNANDEZ                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTINEZ, LEONARD A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MARTINEZ, MANUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARTINEZ, PRUDENCIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINEZ, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTINEZ, RICHARD DEAN (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MARTINEZ, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARTINEZ, ROBERT O.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MARTINEZ, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MARTINEZ, ROY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINEZ, SERGIO AND ROSA SALAZAR                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MARTINI, DENNIS P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MARTINO, JOE & CANDY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINO, JOSEPH T.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTINO, LEWIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTIN-SNYDER, JOANNE E, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W SNYDER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MARTONE, ROSE M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MARTY, WILLIE G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MARTYN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MARTZ, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MARUICHI LEAVITT PIPE AND TUBE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1717 W 115TH PL
CHICAGO, IL 60643


MARVELLI, WILLIAM C.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARY ANN SWINNEY SIRES ESTATE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARY NELL FOOTE ATTORNEY IN FACT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11586 RICKS CIRCLE
DALLAS, TX 75230


MARY S COPPRELL ESTATE DECEASED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MARZULLO, DOMINIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASCALL, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASCI, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASCOLA, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASDONATI, DORIAN B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASEK, BRAD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MASEK, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASEMORE, JOHN EDWIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MASETH, MARK L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MASHBURN, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASHBURN, ROBERT G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASKELL, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASLO, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MASLOWSKI, THEODORE S--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MASON, BARBARA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICK H ANDERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MASON, BERNARD M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASON, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MASON, BRUCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MASON, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASON, ELLA R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MASON, ELLA RAE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASON, GINGER L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK E SCHULTZ JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASON, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASON, KATHERINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUSSELL B MASON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MASON, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASON, PAULINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASON, RICKY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASON, SUZANNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASON, WAYLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASON, WILBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASON, WILLIAM E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MASS FLOW TECHNOLOGY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3523 N. HWY 146
BAYTOWN, TX 75520


MASS TECHNOLOGIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 173187
ARLINGTON, TX 76003-3187


MASS TECHNOLOGIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 173187
ARLINGTON, TX 76003-3187




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MASSAQUOI, JANOLA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSAQUOI, LEROY WILSON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSELLO, AUGUSTINE P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MASSENGALE, BENNY C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MASSENGILL, NOAH V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASSEY ENERGY CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L. WARE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


MASSEY FERGUSON CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4205 RIVER GREEN PARKWAY
DULUTH, GA 30096


MASSEY SERVICES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 547668
ORLANDO, FL 32854-7668


MASSEY, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MASSEY, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASSEY, ESTER G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSEY, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSICK, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSIE, WILLIAM S, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MASSINGILL JR., CHARLIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSINGILL, CHARLIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSINGILL, KEVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSINGILL, SCOTT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSINGILL, SHARON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MASSINGILLE, THOMAS GLEN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MASSMAN CONSTRUCTION CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H J MASSMAN IV
8901 STATE LINE BOX 8458
KANSAS CITY, MO 64114


MASSMANN, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASSON, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


MASTEC NORTH AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 277181
ATLANTA, GA 30384-7181


MASTER LEE DECON SERVICES, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5631 ROUTE 981
LATROBE, PA 15650


MASTER MARINE, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 665
BAYOU LA BATRE, AL 36509


MASTERCRAFT PRINTED PRODUCTS & SERVICES                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2150 CENTURY CIRCLE
IRVING, TX 75062


MASTERCRAFT PRINTED PRODUCTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& SERVICES
2150 CENTURY CIRCLE
IRVING, TX 75062


MASTER-LEE INDUSTRIAL SERVICES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5631 ROUTE 981
LATROBE, PA 15650


MASTERS, THELMA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MASTERS, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASTERSON, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASTERSON, MICHAEL J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MASTINE, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MASTROBUONO, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MASTROCOLA, ROCCO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MASTROGIOVANNI, PETER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASTROPASQUA, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

MASTRUSERIO, CHARLES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASTRUSERIO, MICHAEL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASUCCI, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MASULLO, PASQUALE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATA, ROBERTO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MATAGI, MALEPE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATARELLI, SILVIO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATAS, BRUNO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATCHESKI, KAREN J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MATCHETT, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATCZUK, EDWARD J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES J MATCZUK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATERIA, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATERIAL CONTROL, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1121 RIVERSIDE DRIVE
PO BOX 7797
FORT WORTH, TX 76111


MATERIAL HANDLING AND CONTROLS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14205 PROTON ROAD
DALLAS, TX 75244


MATERIAL HANDLING AND CONTROLS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 890494
HOUSTON, TX 77289


MATESEVAC, ROBERT P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATEX WIRE ROPE CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1215 INDUSTRIAL BLVD
KILGORE, TX 75662


MATHENY, PAUL M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT H JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                          Nature

MATHERS, BRONSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHERS, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHES, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHESON DIV.(SEARLE MEDICAL PROD.)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
909 E. LAS COLINAS BLVD.
SUITE 1170
IRVING, TX 75039


MATHESON TRI-GAS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 3028 PO BOX 123028
DALLAS, TX 75312


MATHESON, LUKE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MATHESON, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATHEW, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHEWS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES E. DAVISON,JR.,PRESIDENT
1000 WELLS ISLAND ROAD
SHREVEPORT, LA 71137-8134


MATHEWS, BETTY J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MATHEWS, KATHLEEN R, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK P CHAJKOWSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATHEWS, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHEWS, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHEWS, RIDDLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHEWS, RONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHEWS, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHIEU, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHIEU, KAREN A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHIOWETZ, JAMES E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MATHIS, ANDREW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHIS, CURTIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHIS, JAMES HARRISON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHIS, JEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHIS, JULIUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATHIS, PATRICIA DOWDY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATHIS, RAYMOND LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATLACK SYSTEMS INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE ROLLINS PLAZA
WILMINGTON, DE 19803


MATLOCK, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATLOCK, GRACIELA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATLOCK, NEIL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATLOCK, RYAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MATOS, ALBA I. FIGUEROA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATOS, JORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATOS, RAMON A. FIGUEROA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATOUS, ROBBIN O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MATOUS, WENDELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MATOUSEK, ELMER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTE, JOSEPH M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATTEAZZI, ERMANDO F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTEL INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
333 CONTINENTAL BLVD
EL SEGUNDO, CA 90245


MATTEO, CARL A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MATTERA, RICHARD R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATTES, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTES, ROBERT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATTHAEI, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATTHAI, EDWIN H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATTHEW K GENTRY ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS IV, A P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, FREDDIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, JAMES MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTHEWS, JERRY LEVETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MATTHEWS, JOANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, JOHN EARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, JOSEPH E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MATTHEWS, KENNY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, LOUIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTHEWS, RAEWYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTHEWS, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTHEWS, RODNEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATTHEWS, RONALD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTHEWS, TOMMY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MATTHEWS, WILLIAM D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATTICKS, EDWARD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MATTINGLY, DENISE M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERNARD E SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATTIOLI, COSTANTINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MATTIX, CLEVELAND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATTONE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MATTOS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATUKAITIS, ROBERT, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BURTON MATUKAITIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATURO, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MATUSKY, LOIS A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES M MATUSKY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MATUSZAK, EDWARD M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATUSZAK, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MATYSEK, MARVIN R., ET AL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


MAUD, VINCENT M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAUDE MCNEILL ESTATE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAUK, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAULT, TIMOTHY A. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MAURER, BARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAURER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAURILLO, AMELIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7405 YOLANDA DR
FORT WORTH, TX 76112-4414


MAURITSON, LIONEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAURITZ, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAURO, REGINA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARIO J MAURO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAURY, PETER J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAUTHE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAVIS, DORIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MAVRONICLES, JEANETTE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

MAWHINNEY, WALTER D                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXEY, KATIE MARIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXIE, WILLIAM D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXIM SILENCERS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10635 BRIGHTON LANE
STAFFORD, TX 77477


MAXINE KROLL ESTATE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXPRO SOUTH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 SOUTH LIVE OAK
SUITE A
TOMBALL, TX 77375


MAXPRO SOUTH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
92 WILSON RD STE A
HUMBLE, TX 77338-3944


MAXWELL, JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXWELL, JOHN TERRELL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAXWELL, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAXWELL, MAGGIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAY, CARL O                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAY, DEBRA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAY, DIANA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAY, FORREST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAY, GORDON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAY, HARLAN E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAY, JAMES F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAY, JOSEPH, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH MAY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAY, LINDA, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MORRIS A MAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MAY, ROBERT A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAY, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAY, RUSSELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAY, STERLYN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYBERRY, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYER MALBIN CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
41-1 36TH AVE
LONG ISLAND CITY, NY 11101


MAYER, MARTHA MCCULLOUGH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAYER, VALERIE M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYES, JAMES M, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MAYES, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYESKI, GLENNA R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES L ALBIKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYFIELD, BARRY, SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYFIELD, KENNETH DAVID (DECEASED)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYFIELD, REGINA JONES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYHAN FABRICATORS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 700
GILMER, TX 75644


MAYNARD, ALEX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYNARD, DALLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYNARD, DANNIE W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYNARD, DIANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MAYNARD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYNARD, JOHN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MAYNARD, OSCAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYNARD, RANDY LYNN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYNARD, SAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAYNOR, MINNIE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SOLOMON MAYNOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYO, HAROLD J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYO, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYO, MANUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAYO, TOMSINE G, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS POSEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYS CHEMICAL CO INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5611 E 71ST ST
INDIANAPOLIS, IN 46220


MAYS, BONITA A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROLAND W LARKIN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAYS, LINDA MARIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAYS, YVONNE M, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CAMILLUS M MAYS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAZAK, STEVE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAZAR, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAZDA MOTORS OF AMERICA,INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MAZDA,NORTH AMERICAN OPERATIONS
7755 IRVINE CENTER
IRVINE, CA 92623


MAZEIKA, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MAZENKO, ROBERT AND DARLA MAZENKO                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MAZEROLLE, ROGER C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MAZLACK, SAMUEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAZMANIAN, CYNTHIA A, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES B WILLS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAZURE, WILLARD A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MAZURKIEWICZ, FRANK W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAZZA, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAZZA, RUSSELL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MAZZARELLA, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MAZZELLI, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAZZER, LUCILLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAZZIE, JAMES V.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MAZZINI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAZZO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MAZZOLA, STEVEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MAZZULLI JR, ARMAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MAZZULLI, ARMAND, JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MC CLEERY, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MC CONNELL, JOHN W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MC NUTT, JOSEPH H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MC2 ENERGY LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3535 INTERLAKEN DR
PLANO, TX 75075


MCABEE CONSTRUCTION INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5724 21ST STREET
TUSCALOOSA, AL 35401


MCAFEE, CARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCAFEE, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCAFEE, JAY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCAFEE, RAY C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MCAFEE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCAFEE, SHELIA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCALISTER, MARY M. NEE HOOPER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCALISTER, ROBERT EUGENE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCALISTER, ROGER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCALLEN INDEPENDENT SCHOOL DISTRICT                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: JOHN T. BANKS
3301 NORTHLAND DRIVE, SUITE 505
AUSTIN, TX 78731


MCALLISTER, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCALLISTER, CECIL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MCALLISTER, CLARETHA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES MCALLISTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCALLISTER, KELLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCALLISTER, RORY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCALOON, CATHERINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MCALOON, CATHERINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCANDREW, JAMES M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCANDREWS, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCATEE, PERRY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCATEE, PERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCATEER, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCAULEY, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCBEE, JOE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBREARTY, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCBRIDE BEY, JOHN W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCBRIDE SARAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1023 LOLITA AVE
REDLANDS, CA 92373


MCBRIDE, BILLY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBRIDE, BILLY JOE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBRIDE, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCBRIDE, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCBRIDE, HARRY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBRIDE, JOHN O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCBRIDE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBRIDE, ROBERT M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCBRIDE, SARAH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MCBRIDE, STEPHANIE L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBRIDE, VERNON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCBROOM, BARBARA JEAN (LOVE)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCBROOM, C. WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCBYRNE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCAA, GEORGE CLINTON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCCAA, JANETTE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCABE, GERALDINE R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCABE, JOHN T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

MCCABE, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCABE, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCAFFREY, ALLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCAFFREY, RAYMOND W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCAHON, LEONARD K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCAIG, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCALL, DEBORAH, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY MCCALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCALL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCALL, MARIE, FOR THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF EDWIN G MCCALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCALL, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCALLUM, HECTOR--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCCAMEY HOSPITAL DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 RANCH ROAD 305
MCCAMEY, TX 79752


MCCAMEY ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 EAST 11TH STREET
PO BOX 1069
MCCAMEY, TX 79752


MCCANDLESS, JAMES E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCCANN, DENNIS M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCANN, HELEN L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY F MCCANN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCANN, MICHAEL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCANN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCANN, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCANN, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCANTS, JEFFREY EDWARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARDELL, CLARENCE, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARDELL, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCARDIE, CHARLES P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARLEY, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARLEY, MRS T L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARROLL, JOE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCARRON, PETER J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCARTAN, ELISE A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTAN, ELSIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTER, MIKE R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCCARTER, SHIRLEY D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTHY, ANNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTHY, CATHERINE A SULLIVAN                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCARTHY, FRANKY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCCARTHY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARTHY, GERALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MCCARTHY, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARTHY, JOSEPH R                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCARTHY, KEVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCARTHY, MARTIN J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCARTHY, MICHAEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARTHY, PATRICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARTHY, RICHARD E                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCCARTHY, WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCARTNEY, JIM D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCARTY CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUSAN B KOHN
SIMON PERAGINE SMITH
1100 POYDRAS S
NEW ORLEANS, LA 70163


MCCARTY, BERNARD L , JR, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOYCE M MCCARTY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCASEY, MURPHY F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCCAULEY, ABRAHAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCAULEY, BARBARA ANN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCAULEY, CHERYL WOOD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCAULEY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCAULEY, KARI ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCAULEY, MICHAEL EARL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCAULEY, RONALD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MCCAULEY, TIM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCGREEN GROVE INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM, LLC
130 N MAIN ST.
EDWARDSVILLE, IL 62025


MCCLAIN, DEBBIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLAIN, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLAIN, TERRY D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MCCLANAHAN, MARCUS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLARY, JAMES EDWARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLARY, ROBERT P.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAN, CHRISTOPHER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAN, EARNEST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAN, GORDON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAN, JERRY LOUIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCLELLAN, TAHLIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAND, ALAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAND, EMILY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLELLAND, JAMES N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCCLENDON, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLENDON, DEBRA K.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLENDON, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


MCCLENDON, JOE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLINTOCK, HAYDEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLINTOCK, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


MCCLINTON, SIDNEY AND GWENDOLYN MCCLINTON                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MCCLOSKEY, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLUNG, JAMES V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCLUNG, JUDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLUNS, TRUMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLURE, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLURE, DAVID RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLURE, EDGAR DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLURE, HUGH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCLURE, JOHN C. (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MCCLURE, KENNETH D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCLURE, KRISTOPHER E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

MCCLURE, SHIRLEY A. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MCCOLGAN, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCOLGIN, LESLIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOLLEY, RONALD ANDREW                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOLLUM, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOLLUM, FLOYD C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCOMBIE, LEE F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOMBIE, SHAUN W.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOMBS, ISAAC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONACHIE, RODNEY GEORGE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MCCONNELL, CHRISTOPHER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONNELL, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONNELL, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONNELL, JEREMY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCONNELL, REGINA E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS R MCCONNELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCONNELL, SAMUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONNELL, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCONWAY & TORLEY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 STEMMONS FREEWAY
DALLAS, TX 75207


MCCONWAY & TORLEY LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 951716
DALLAS, TX 75395-1716




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCOOK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOOL, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCOPPIN, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCCORD CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
325 E EISENHOWER PKWY
ANN ARBOR, MI 48108


MCCORD CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
APRIL ANN VESELY
330 N WABASH, SUITE 3300
CHICAGO, IL 65450


MCCORD CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
BRIAN WILLIAM BELL
330 N. WABASH, SUITE 3300
CHICAGO, IL 60611


MCCORD CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
30600 TELEGRAPH RD STE 2345
BINGHAM FARMS, MI 48025


MCCORD GASKET CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
325 E EISENHOWER PKWY
ANN ARBOR, MI 48108


MCCORKLE, CAROLYN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK MCCORKLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCORMACK, CHRISTOPHER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCCORMACK, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCORMICK ASBESTOS COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLEY JASONS MCGOWAN SPINELLI &
HANNA LLP, N/K/A MCIC INC.
120 WALL STREET, 30TH FLOOR
NEW YORK, NY 10005


MCCORMICK INSULATIONS SUPPLY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11424 CRONHILL DRIVE
OWINGS MILLS, MD 21117


MCCORMICK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCORMICK, LOWELL R. DECEASED                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MCCORMICK, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCORMICK, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCOTTER, DOUGLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCOUN, JIMMIE RAY, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOUN, SUSAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOWAN, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, ANDRE B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, CASSIE ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, CHRISTOPHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCCOY, DANIE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, DENISE M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, DONALD H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, DONALD, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H MCCOY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCOY, EDWARD CLAYTON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCCOY, FORREST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCOY, FRED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, GLENN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCOY, HENRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCCOY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCOY, KEITH W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, LEO                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCOY, LISA F.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, MATTIE R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCOY, PAMELA KAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, RAYMOND J, JR--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCCOY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCOY, SHANNON K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, THOMAS W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MCCOY, WERNER R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCOY, ZACHARY TYLER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRACKIN, CHESTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCCRANIE, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRAY, JEANETTE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRAY, LORINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCCRAY, STEVEN RANDOLPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCREARY, BILLY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCCRIGHT, JANET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRIGHT, JANET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRIMMON, GREGORY T, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GREGORY MCCRIMMON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCRIMMON, NATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCRORY, PHYLLIS B, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD J BILTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCRUMB, BOBBY RUSSELL (BR)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCCUE, MARGARET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


MCCUE, STANLEY MAX (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MCCUISTION, EVELYN L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCCUISTON, KENNETH V                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCULLERS, DOROTHEA T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCULLOH, CHARLES L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCULLOH, RICHARD N, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCULLOUGH, ARCHIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCCULLOUGH, DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCULLOUGH, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCULLOUGH, ROSA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCCULLOUGH, WESLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCULLOUGH, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MCCULLOUGH, WOODROW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCURDY, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCURDY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCCURDY, T WRAY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY A SANDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCCURDY, WILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


MCCURRIE, JACK G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCCURRY, DARWIN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCCURRY, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCCURRY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCCURRY, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MCCUSKER, LEONARD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCCUTCHEN, JAMES J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCCUTCHEON, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDADE ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
156 MARLIN ST
MCDADE, TX 78650


MCDANIEL, CHARLEY THOMAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDANIEL, COLVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDANIEL, DOYLE L, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDANIEL, JAMES D, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DWIGHT J GERST SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MCDANIEL, JOHN ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDANIEL, JOHNNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDANIEL, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCDAVID, RONALD PIERCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDAVID, RONALD PIERCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDAVID, SIDNEY PATRICK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDAVID, SIDNEY PATRICK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDEAVITT, MARK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDERMOTT, DAVID J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDERMOTT, RAYMOND R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCDEVITT, ANTOINETTE, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH F SHEGANOSKI SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCDEVITT, DEANNA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD MCDEVITT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCDEVITT, DENIS JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCDILL, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, ARTHUR W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, CHRISTOPHER LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, DAVID E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, ERNEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


MCDONALD, GAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONALD, GENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONALD, JAMES W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCDONALD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONALD, JOHNNY STEVEN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCDONALD, MARGARET                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCDONALD, PAUL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCDONALD, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONALD, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MCDONALD, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCDONALD, RICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDONALD, ROBERT S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCDONALD, ROBERT V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCDONALD, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONALD, ROSIE LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONALD, SAMUEL DRAYTON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCDONALD, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONNELL, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONNELL, BRIAN P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCDONNELL, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCDONNELL, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCDONOUGH CONSTRUCTION RENTALS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8411 VILLA DRIVE
HOUSTON, TX 77061


MCDONOUGH CONSTRUCTION RENTALS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
8411 VILLA DRIVE
HOUSTON, TX 77061


MCDONOUGH CONSTRUCTION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RENTALS INC
PO BOX 973687
DALLAS, TX 75397


MCDONOUGH, AMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDONOUGH, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDONOUGH, PAUL D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCDONOUGH, RICHARD F, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCDONOUGH, WILLIAM MICHAEL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCDOWELL, ALEX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDOWELL, BRENDA, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF SAMUEL MCDOWELL JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCDOWELL, ERMA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDOWELL, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCDOWELL, MICHAEL W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCDOWELL, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCDUFFIE, LOUIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCEACHERN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCELHONE, HUGH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MCELMURRAY, ARTHUR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCELMURRY, MARSHALL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCELRATH, SUSIE B.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCELROY, JOSEPH F, SR--EST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCELROY, LILLIAN M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCELVAIN, ANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCELVAIN, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCELVEEN, CHARLES WAYNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCENROE, JAMES M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCENROE, JOSEPH E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCENTIRE, CARROLL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCEVOY, RAYMOND M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCFADDEN, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCFADDEN, FRANK J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCFADDEN, GERALD DONALD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCFADDEN, MICHAEL, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT W MCFADDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCFADDEN, RICHARD H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCFADIN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCFADYEN, HAROLD D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCFARLAND, CHARLIE ROSS, JR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCFARLAND, JAMES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCFARLAND, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCFARLIN, BRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCFATE, ELDON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCFATE, HOWARD JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCFELIA, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGAFFIGAN, BERNARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGAHA, GARY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGAHEN, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


MCGAINEY, JOHN J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGANN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGANN, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGANN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGARRY, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCGARVEY, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGARVEY, STEVEN R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGARY, DARRELL, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


MCGAUGH, JAMES R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEE, BENJAMIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGEE, BUD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGEE, DONALD S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGEE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGEE, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGEE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGEE, KEVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MCGEE, MACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGEE, PATRICIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEE, ROBERT LACY (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGEE, ROBIE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MCGEE, WAYNE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCGEE, WILLIAM MCGEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEEHAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGEEHAN, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEEVER, CAITLIN E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MCGEEVER, JOHN J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGEEVER, NANCY J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGEEVER, WILLIAM G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGEEVER, WILLIAM G., JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGHEE, RAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGILL, EDDIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGILL, ELIZABETH A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGILL, ERMA G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGILL, HELEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGILLICUDDY, EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGILLICUDDY, GERALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGINLEY, JOHN P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGINLEY, KAREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGINLEY, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGINNESS, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGINNIS, DAISY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGINNIS, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGINNIS, MARGARET, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR MCGINNIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGINNIS, NELLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGINNIS, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGINNITY, EUGENE J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCGINTY, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGINTY, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGINTY, THOMAS V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCGIRT, CAROLYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGIRT, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGLAME, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGLAME, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGLATHERY, CARLOS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGLATHERY, DAMION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGLATHERY, EVA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MCGLATHERY, STEPHANIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGLYNN, BRYAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGOEY, ANTONIETTA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGOLDRICK, JAMES S-EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCGOLDRICK, THOMAS A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGONNELL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGOUGH, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGOUGH, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGOURTY, FRANK J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGOVERN, JAMES J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGOWAN, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGOWAN, CLYDE B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGOWAN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGOWAN, DON L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGOWAN, JAMES M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGOWAN, JEAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES B MCGOWAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGOWAN, KENNETH F., SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGRADY, PETER, JR--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCGRAIL, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGRAINER, WILLIAM F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGRATH, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGRATH, JAMES J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCGRATH, TIMOTHY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGRATH, TRACI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGRATH, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGRAW HILL COMPANIES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
148 PRINCETON HIGHTSTOWN ROAD
HIGHTSTOWN, NJ 08520


MCGRAW, BUFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGRAW, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCGRAW, ROY W, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGRAW, VIRGINIA S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGREGOR ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 356
MCGREGOR, TX 76657


MCGREGOR, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
302 S. MADISON
MCGREGOR, TX 76657


MCGREGOR, GEORGE R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGREW, BARTLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGRIFF, DANNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGUFFIE, PARIS A/K/A PARIS ODDO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGUIGAN, MARILYN K.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCGUIGAN, WILLIAM G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGUINNESS, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MCGUINNESS, NEIL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGUIRE, DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGUIRE, EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGUIRE, HUGH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGUIRE, J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCGUIRE, JAMES W                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGUIRE, JOHN J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCGUIRE, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCGUIRE, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCGUIRE, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCGUIRE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCGUIRK, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCHALE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCHENRY, CHARLIE, JR. (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MCHENRY, ROBERT G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCHONE, BILLY R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCHUGH, JAMES L--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

MCHUGH, JOHN E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCHUGH, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCHUGH, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCIC INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2757 CR 355
DENVER CITY, TX 79323


MCIC INC                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BODIE, DOLINA, SMITH & HOBBS, P.A.
21 W SUSQUEHANNA AVE
TOWSON, MD 21204


MCILLWAIN, J.C.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


MCILVENE, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: SHONDRA MCILVENE, P.R.
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


MCINERNEY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCINTIRE, DOUGLAS H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCINTOSH, GREGOR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCINTOSH, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCINTOSH, STEVE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCINTURFF, JOHN HUGH, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCINTYRE, CLYDE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCINTYRE, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCINTYRE, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCINTYRE, EDWARD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCINTYRE, JACK K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCINTYRE, MADDLINE E. /MOTHER/                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCINTYRE, ROBERT P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MCIVER, PEGGY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCJUNKIN REDMAN CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
835 HILLCREST DRIVE
CHARLESTON, WV 25311


MCKARRY, CHORONDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKAY, JEFF                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKAY, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKAY, KATHLEEN B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKAY, WILLIE JO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKELDIN, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCKELLAR, COVERSON , JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MCKELVY, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKELVY, FRANKLIN ARTHUR (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKELVY, SHERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKENDRICK, DONALD J., SR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCKENNA, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCKENNA, FARRELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKENNA, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKENNA, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKENNA, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


MCKENNA, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCKENNA, MICHAEL T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCKENNA, RICHARD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCKENNEY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKENNEY, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKENZIE EQUIPMENT CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9260 BRYANT STREET
HOUSTON, TX 77075


MCKENZIE, DOLORES L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCKENZIE, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKENZIE, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKENZIY, PAUL MICHAEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MCKEON, THOMAS F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCKEOWN, TERRY MAX                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCKERNAN, DENNIS JOSEPH                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKESSON CHEMICAL COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE POST STREET
SAN FRANCISCO, CA 94104


MCKESSON CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE POST STREET
SAN FRANCISCO, CA 94104


MCKIBBEN, ERALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKILLICAN, BYRON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKINLEY, OBEDIAH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKINNEY ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE DUVALL STREET
MCKINNEY, TX 75069




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MCKINNEY, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 N. TENNESSEE ST.
MCKINNEY, TX 75069


MCKINNEY, EARL DEAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCKINNEY, JIMMY L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, JIMMY L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, JIMMY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, LUKE EDWARD, SR.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, MARLO (WIDOW)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, SHERAL A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKINNEY, WILBURN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKINNIE, ANDREW L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKINNON, GEORGE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCKINNON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKINNON, MICHAEL F--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCKNIGHT, JOHN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCKNIGHT, LARRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKNIGHT, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCKOWN JR, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCKOWN, TIMOTHY S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCKOY, LOTTIE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J MCKOY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCKRUSH, EDWIN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCKUHAN, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCLAIN, DEREK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLAIN, RAYMOND D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCLAIN, RYAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLAIN, SHERI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLAIN, TEDDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLAMB, PAUL MITCHELL, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCLANE, DANIEL (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLANE, RANDALL KEITH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLANE, REBECCA REID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLANE, WILLIAM BARNES (DECEASED)                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MCLAREN, LONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MCLARIN, BENJAMIN L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLAUCHLIN, DON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLAUGHLIN, BARBARA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE MCLAUGHLIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCLAUGHLIN, CLAUDETTE A, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GARLAND D MCLAUGHLIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCLAUGHLIN, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLAUGHLIN, GREGG M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCLAUGHLIN, HARRY J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCLAUGHLIN, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCLAURIN, PAMELA C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCLEAN COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6681 CHITTENDAN ROAD
HUDSON, OH 44236


MCLEAN, CHARLES R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLEAN, GILBERT V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MCLEAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLEAN, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLEAN, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLEAN, REBA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MCLEAN, SARA WILLUMSEN, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL WILLUMSEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCLEMORE, JOSEPH C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLEMORE, JOSEPH COLEMAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCLEMORE, RONNIE DELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCLENDON, DANIEL EARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLENDON, JAMES L, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCLENDON, SHIRLEY Y. TRAMMELL (PRINCE)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLENNAN COMMUNITY COLLEGE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 COLLEGE DR
WACO, TX 76708


MCLENNAN COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COUNTY RECORDS BLDG.
215 N. 5TH ST., SUITE: 118
WACO, TX 76701


MCLENNAN, ROBERT V., SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLEOD INDUSTRIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 SIERRA MADRE CIRCLE
PACENTIA, CA 92870


MCLEOD ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MCLEOD, ALEXANDER, POWERL & APFFEL, P.C.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WEDGE INTERNATIONAL TOWER
JAMES DUANE (J.D.) BASHLINE
1990 POST OAK BLVD., SUITE 270
HOUSTON, TX 77056


MCLEOD, EDWARD JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCLEOD, MALCOLM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLESTER, BOYCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCLESTER, CHARLES J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCLOUD, RUSSEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCLOUGHLIN, HENRY T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCLYMAN, GERALD N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMAHON, ALLAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMAHON, DIANE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMAHON, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCMAHON, GAYLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMAHON, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMAHON, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MCMAHON, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMANUS, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMANUS, PAUL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCMANUS, PAUL J. JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMANUS, TIMOTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMASTER CARR SUPPLY COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 COUNTY LINE ROAD
ELMHURST, IL 60126


MCMASTER CARR SUPPLY COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 N. COUNTY LINE ROAD
ELMHURST, IL 60126




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MCMASTER CARR SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MELANIE E. RILEY
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


MCMASTER-CARR SUPPLY CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7690
CHICAGO, IL 60680-7690


MCMASTER-CARR SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6100 FULTON INDUSTRIAL BLVD.
ATLANTA, GA 30336


MCMELLEN, JAMES S.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMICHAEL, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


MCMILLAN LLP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKFIELD PLACE
181 BAY STREET STE#4400
TORONTO, ON M5J 2T3
CANADA

MCMILLAN, DEBRA WEST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMILLAN, FRED RICHARD, SR.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MCMILLAN, GLYNN WAYMON DECEASED                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MCMILLAN, JO ANN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCMILLAN, QUINTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMILLIAN, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMILLIAN, LENDORA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMILLION, PHYLLIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMINN, ALEXANDER J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCMONEGAL, OLIVE D, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL MCMONEGAL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMONIGAL, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMORROW, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMULLEN, ALBERT J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMULLEN, DENNIS M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCMULLEN, DON B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCMULLEN, JAMES C-EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCMULLEN, JAMES T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MCMULLEN, LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMULLEN, PAM, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES YULE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMULLEN, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMULLEN, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCMULLEN, THOMAS B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCMULLEN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCMULLIN, JEANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCMURDO, REGGIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MCMURRAY, BARBARA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNABB, DANNY C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNAIR, OLLIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNAIR, RONALD WORTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNAIR, TERRANCE F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCNALLY INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
340 W BENSON AVE
GRANTSBURG, WI 54840


MCNALLY, ESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNALLY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNAMARA, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCNAMARA, ROBERT E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEO J MCNAMARA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNAMARA, TIM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEAL, ALTHEA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEAL, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEECE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNEELEY, BOBBY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNEELEY, BONNIE L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELEY, ELAINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELEY, LARRY L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELEY, TERRY D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELEY, WENDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELY, CAROLYN A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELY, DEBORAH A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MCNEELY, ROBERT J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEELY, TIMOTHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEES, ERVIN P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNEES, HOMER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCNEICE, JAMES W--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MCNEIL & NRM INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


MCNEIL & NRM INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES CORP COMPANY
50 WEST BROAD STREET STE 1800
COLUMBUS, OH 43215


MCNEIL & NRM INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


MCNEIL OHIO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 LINCOLN WAY
ST LOUIS, MO 63120


MCNEIL OHIO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
SHELLY MASTERS
100 CONGRESS AVE., SUITE 800
AUSTIN, TX 78701




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Name of Counterparty                                                                                            Nature

MCNEIL& NRM INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
96 EAST CROSIER STREET
AKRON, OH 44311-2392


MCNEIL, BARBARA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNEIL, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCNEIL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCNEILL, HARMON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNEILL, J C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEILL, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCNEILL, PATRICK J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCNEILL, PAULA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEILL, WILLIAM & MARGO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MCNELY, BETTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEMAR, PATRICIA L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS D MCNEMAR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNERNEY, TOM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCNEW, GARY WAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCNEW, HENRY H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNICHOLAS, ALBERTA E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNICHOLAS, JAMES P, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCNICHOLS CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 101211
ATLANTA, GA 30392-1211


MCNIEL, CHARLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCNULTY, JOHN F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MCNULTY, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCOSKER, MARTIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MCP GROUP & MALONE DE MINIMIS PARTIES                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1350 I STREET, NW, SUITE 700
WASHINGTON, DC 20005-3311


MCPARTLAN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCPECK, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCPEEK, JERRY THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCPETERS, JOHN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCPETERS, JOHN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCPHAIL, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCPHAIL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCPHEETERS, GILBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCQUADE, GERARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCQUAGGE, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCQUEEN, BETTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MCQUEEN, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MCQUEEN, ROBERT C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MCQUEEN, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCQUEENEY, RICHARD E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MCQUILLAN, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MCQUILLEN, LESTER ROY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCQUINN, ELVIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCQUOID, SAMUEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCRAY, CHARLES WILEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCREADY, HERMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MCSHEA, FRANCIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCSORLEY, PATRICIA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCSPEDON, GEORGE C                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCSPEDON, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCTAGUE, JOHN J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MCTAGUE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCTEE, ANGELIQUE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCTEE, ANGIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCTEE, JARON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCTEE, JOEL W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCTEE, JOEL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MCVEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCVEY, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MCVEY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCVICKER, ESTHER R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MCWANE INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2900 HIGHWAY 280, SUITE 300
BIRMINGHAM, AL 35223


MCWHERTER, MARY ANNE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCWHORTER RECHNOLOGIES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 N. EASTMAN RD.
KINGSPORT, TN 37662


MCWHORTER, KAY H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MCWILLIAMS, JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MCWILLIAMS, JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MCWILLIAMS, KATHLEEN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEAD, GEORGIA A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEAD, NICHOLAS JOSEPH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEAD, NICHOLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEAD, WARREN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

MEADE, JAMES                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEADE, WILLIAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEADO, JESS                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEADOR, GARY DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CLARY & ASSOCIATES
ATTN: J.R. CLARY JR., C. SUBA, C.; NEALE
406 NORTH FOURTH ST
BATON ROUGE, LA 70802


MEADOWS, JERRY SR.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEADOWS, LORETTA MCINTOSH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEADOWS, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEADOWS, WILLIE JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MEADOWS, WILLIE LEROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 SOUTH 5TH STREET
RICHMOND, VA 23219-0501


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


MEADWAST VA CO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MEADWESTVACO CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11013 WEST BROAD STREET
RICHMOND, VA 23060


MEAGHER, BETTY J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J MEAGHER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEANS, FANTA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEARDY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEARES, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEARES, KIMBAL L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DARLENE A MEARES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEASUREMENT SPECIALTIES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20630 PLUMMER ST
CHATSWORTH, CA 77060


MEAUX, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MECHANICAL & CERAMIC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MECHANICAL & CERAMIC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOLUTIONS INC
PO BOX 536
CARNEGIE, PA 15106




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MECHANICAL DYNAMICS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19 BRITISH AMERICAN BLVD
LATHAM, NY 12110


MECKLEY, KAREN S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MECO INC MAINTENANCE ENGINEERING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATER TREATMENT
3807 CLINTON DR
HOUSTON, TX 77020


MECO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1729
HOUSTON, TX 77251-1729


MEDEIROS, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEDERNACH, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEDFORD, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEDIA MANAGEMENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 ROYAL LANE STE 906
DALLAS, TX 75229


MEDIASPAN GROUP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2725 S INDUSTRIAL HW SUITE 100
ANN ARBOR, MI 48104


MEDICAL CITY HOSPITAL DALLAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7777 FOREST LANE
DALLAS, TX 75234




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Name of Counterparty                                                                                            Nature

MEDICO, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEDINA, GABRIEL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MEDINA, SUSAN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEDLOCK, JEFFIE DEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEDREK, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEDSAFE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W JOE SHAW LTD
PO BOX 1929
MARSHALL, TX 75671-1929


MEDWID, ANDREW, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL L PAYNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEEHAN, HAROLD A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEEHAN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEEHAN, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MEEHAN, ROBERT S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEEK FAMILY TRUST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3301 N HWY 1417 OFFICE
SHERMAN, TX 75092


MEEK FAMILY TRUST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEEKER MARKETING LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1913 CULLEN AVENUE



AUSTIN, TX 78757


MEEKINS, LAWRENCE J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEEKS, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEEKS, MARION J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEEKS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEEKS, TRAVIS , JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MEERE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEESE, TED (DECEASED)                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEFLVEEN, CHARLES WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEGEE, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEGGER                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4271 BRONZE WAY
DALLAS, TX 75237


MEGGER                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841400
DALLAS, TX 75284-1400


MEGGER                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REPAIR DEPT
VALLEY FORGE CORP CTR
2621 VAN BUREN AVENUE
NORRISTOWN, PA 19403-2329


MEGGS, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEGNA, ALPHONSE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEHAFFEY & WEBER, P.C.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARTHUR “ART” ALMQUIST
500 DALLAS
SUITE 1200
HOUSTON, TX 77002




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MEHAFFEY & WEBER, P.C.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GENE M. WILLIAMS
2615 CALDER AVE., #800
PO BOX 16
BEAUMONT, TX 77702


MEHLE, OWEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEHLTRETTER, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEHREN, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEI, FREDERICK T.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEIKLE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEINARDUS, ANNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEINARDUS, RONNY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEINBERG, BARRY ALAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MEINECKE, ERLE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES SYNODINOS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEINTANIS, DEMETRIOS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEISEL PHOTOCHROME CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2019 MCKENZIE DRIVE
CARROLLTON, TX 75006


MEISENHALDER, CLIFFORD R                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEISSNER, ARTHUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEISTER, HORST K. AND NORMA MEISTER                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEJIA ESTATE OF, OSCAR V                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEJIA, GODOFREDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEJIA, MELVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEJIA, MELVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MEJIA, YOLANDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MELANCON, EDWARD F.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MELANDER, FRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELCHER, ALMA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARENCE MELCHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MELCHERT, DWAYNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELDE, ERIC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MELDOFF, MIKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELE, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELE, NICHOLAS A, SR--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MELE, PATRICK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MELE, V. WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELENDEZ, DIONSIO A. MARIN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MELENDEZ, ELIEZER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MELENDEZ, GUILLERMO ENRIQUE MONTECINOS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MELENDEZ, SEVERIANO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MELESKY, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELFI, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELHORN, MICHAEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MELITA, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MELL, LEROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELLEN, VERNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELLENDICK, DIANE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MELLETT, MARK S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MELLO, ANTONE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELNYCZENKO, WALTER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MELO, JOHN P--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MELO, SHIRLEY G--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MELORO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MELRATH GASKET INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 JFK BLVD STE 200
PHILADELPHIA, PA 19102


MELRATH SUPPLY & GASKET CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 JOHN F KENNEDY BOULEVARD # 200
PHILADELPHIA, PA 19102


MELRATH SUPPLY & GASKET CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MELROSE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


MELTON, HERBERT & MARGUERITE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MELTON, JAMES DOWELL, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MELTON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELTON, MARY P, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT C MELTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MELVARENE, ALLISON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MELVE, JORGE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MELVIN, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MELVIN, NORMA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLYDE MELVIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MELZER, RICHARD, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CATHERINE MELZER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MENARD, NEAL B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MENARDI MIKROPUL LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MAXWELL DR
TRENTON, SC 29847


MENARDI                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENCHION, ALEX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MENCK, MAURICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MENDEL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MENDENHALL REBUILDERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


MENDENHALL REBUILDERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KURTIS B REEG
ONE N BRENTWOOD BLVD SUITE 950
ST LOUIS, MO 63105


MENDENHALL REBUILDERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MENDENHALL MOTOR CO
600 SOUTH THERESA AVE
ST LOUIS, MO 63103


MENDENHALL REBUILDERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REEG LAWYERS, LLC
KURTIS BRADFORD REEG
1 N BRENTWOOD BLVD, SUITE 950
ST LOUIS, MO 63105


MENDENHALL REBUILDERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REEG LAWYERS, LLC
TEMPER , MATTHEW ALLEN
1 N BRENTWOOD BLVD, SUITE 950
ST LOUIS, MO 63105


MENDENHALL, BLANCHE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENDENHALL, DALE V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENDENHALL, DELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MENDENHALL, JEFFREY BARTON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MENDEZ, RAMON E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENDEZ, RAMON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENDEZ, ROBERT CHARLES, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MENDEZ, ROSALINDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MENDEZ, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MENDONI, ROBERT D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MENDOZA, CHANTEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENDOZA, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENDOZA, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MENDOZA, MAGDALENO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENEFEE, MELBA JERNIGAN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MENEFEE, MELBA JERNIGAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENEFEE, RICHARD EARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENEFEE, RICHARD EARL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MENEGUS, RICHARD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MENEPHEE, SADIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENGHE, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MENIKHEIM, RAYMOND D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MENNELLA, ANTONIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MENSCHE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MENZ, RICHARD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MEON, EDWARD P--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MEON, HELEN A--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MEON, JOHN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MERATH, MILTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERCADO, BONIFACE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERCADO, JOSE ORTEGA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERCADO, RODERICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERCER RUBBER CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 RABRO DR
HAUPPAUGE, NY 11788


MERCER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 905234
CHARLOTTE, NC 28290-5234


MERCER, DENNIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MERCER, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MERCER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERCER, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERCER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERCER, THERESA E SMITH, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEONARD P MERCER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MERCHANT, BILLY C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERCHANT, MALIK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERCHANTS FAST MOTOR LINES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 HATTON ROAD
WICHITA FALLS, TX 76302


MERCHANTS FAST MOTOR LINES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EAST INTERSTATE 20
BIG SPRING, TX 79720


MERCHANTS FAST MOTOR LINES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
IRVING BOULEVARD
DALLAS, TX 75247




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MERCIECA, PHILIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MERCIER, GERARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERCURIO, RONALD S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MERCURIO, RONALD S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MERCY ST VINCENT MEDICAL CENTER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2213 CHERRY ST
TOLEDO, OH 43608


MEREDITH, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEREDITH, HUGH F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEREDITH, RAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MEREDITH, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERGENHAGEN, DON R                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MERICHEM COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5455 OLD SPANISH TRAIL
HOUSTON, TX 77023


MERICO ABATEMENT CONTRACTORS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DR
LONGVIEW, TX 75602


MERICO ABATEMENT CONTRACTORS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4347
LONGVIEW, TX 75606


MERICO ABATEMENT CONTRACTORS, INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 ESTES DRIVE
LONGVIEW, TX 75602


MERIDIAN GROUP INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 620800
2249 PINEHURST DRIVE
MIDDLETON, WI 53562


MERIDIUM INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
207 BULLITT AVE SE
ROANOKE, VA 24013


MERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2135 WEST MAPLE ROAD
TROY, MI 48084


MERITOR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MERITOR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAYNA L. JOHNSON
PO BOX 538
EDWARDSVILLE, IL 62025


MERITOR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE, P.C.
RUSSELL KENNETH SCOTT
12 WOLF CREEK DRIVE
BELLEVILLE, IL 62226


MERIT'S HOME CENTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1407 OWENS ST
KLAMATH FALLS, OR 97603


MERKA, CHARLES L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERKA, LINDSAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERKINS, MORRIS C., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERLO, JOSEPH A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEROLA, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERRICK INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 ARTHUR DR
LYNN HAVEN, FL 32444


MERRICK INDUSTRIES, INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 ARTHUR DRIVE
LYNN HAVEN, FL 32444


MERRILEES, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MERRILL, CHRIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRILL, GARRETT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRILL, GLEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRILL, JEANNETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRILL, VOLANDA M.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRIMAN, DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERRIMAN, DONALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERRIMAN, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


MERRIMAN, JACK L.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MERRIMAN, LESLIE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


MERRITT, CLARENCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MERRITT, IVANA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRITT, JIMMIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERRITT, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRITT, JOHN T, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERRITT, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRITT, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERRITT, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MERRITT, KAREN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD MERRITT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MERRITT, RICHARD MORRIS JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERRITT, SAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

MERRYMAN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MERY, JORGE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERY, LIBERTO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERZ, THEODORE R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MERZ, THEODORE R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MERZ, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MES TEXAS                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MUNICIPAL EMERGENCY SERVICES
DEPOSITORY ACCOUNT
75 REMITTANCE DRIVE STE 3135
CHICAGO, IL 60675


MESA UWD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAMESA CITY HALL
601 S. 1ST STREET
LAMESA, TX 79331


MESA, ANTONIO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MESA, GEORGE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MESALE, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MESLER, KENNETH E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MESQUITE CHAMBER OF COMMERCE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
617 N EBRITE
MESQUITE, TX 75149


MESQUITE ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 EAST DAVIS STREET
MESQUITE, TX 75149


MESQUITE WIND, LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


MESQUITE WIND, LLC,                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


MESQUITE, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
757 N. GALLOWAY AVE.
MESQUITE, TX 75149


MESSECAR, ALBERT E                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MESSER, EDWARD E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MESSER, WALLACE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MESSIN, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MESSIN, RITA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MESSINA, CHARLOTTE J SIGLER, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLY G SIGLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MESSINGER, DONALD--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MESSINGER, ETHEL, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD E MESSINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MESSORE, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MESSORIS, JOHN, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MESTANZA, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MES-TEXAS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MUNICIPAL EMERGENCY SERVICES INC
16511 HEDGECROFT
SUITE 200
HOUSTON, TX 77060


METAL CRAFT COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
924 W PICACHO AVE
LAS CRUCES, NM 88005


METALCLAD INSULATION CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1818 E ROSSLYNN AVE
FULLERTON, CA 92831


METALLIC DEVELOPMENT CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
116 PINE STREET
HARRISBURG, PA 17101


METALLO GASKET CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16 BETHANY STREET
NEW BRUNSWICK, NJ 08901


METALLO, LAWRENCE N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METALLO, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METALLO, NICHOLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METALS TRADING CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 W. MOCKINGBIRD LANE
DALLAS, TX 75247


METALS TRADING CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO. 8 NARAYAN BUILDING
1ST FLOOR 102
ARDESHIR DADY STREET V.P. ROAD
MUMBAI, 400 004
INDIA




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

METCALF, CONNIE MAE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METCALF, GRADY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


METCO ENVIRONMENTAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 204290
DALLAS, TX 75320-4290


METEX MFG CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
970 NEW DURHAM ROAD
EDISON, NJ 08817


METHVIN, BARRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METRO AVIATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTON K. GELTZ,CORP.SECTY.
PO BOX 7008
SHREVEPORT, LA 71137


METRO-FORD TRUCK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EILEEN BEARD,PRESIDENT
4000 IRVING BOULEVARD
DALLAS, TX 75247


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PARK AVENUE
NEW YORK, NY 10166


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIRECTOR DEPT OF INSURANCE
STATE OF MISSOURI 301 W HIGH STREET
ROOM 530
JEFFERSON CITY, MO 65101




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOLEY, OLIVER & BEASLEY, P.C.
CHARLES L JOLEY
8 EAST WASHINGTON ST
BELLEVILLE, IL 62220-2190


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1095 AVENUE OF THE AMERICAS
NEW YORK, NY 10018


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PARK AVENUE
NEW YORK, NY 10166


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27-01 QUEENS PLAZA NORTH
LONG ISLAND CITY, NY 11101


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIRECTOR DEPT OF INSURANCE
STATE OF MISSOURI 301 W HIGH STREET
ROOM 530
JEFFERSON CITY, MO 65101


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONOVAN ROSE NESTER & JOLLEY
KENNETH M NUSSBAUMER
8 EAST WASHINGTON ST
BELLEVILLE, IL 62220


METROPOLITAN LIFE INSURANCE CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOLEY, OLIVER & BEASLEY, P.C.
CHARLES L JOLEY
8 EAST WASHINGTON ST
BELLEVILLE, IL 62220-2190




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JONES ROGER V
RICHARD JONES
4 FRANKLIN AVE STE 4
RIDGEWOOD, NJ 07450


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KACAL, ADAMS & LAW, PC
KEN RHODES
ONE RIVERWAY, SUITE 1200
HOUSTON, TX 77056


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEITH WENZEL
301 WEST HIGH STREET ROOM 630
JEFFERSON CITY, MO 65101


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KIRSTEN HICKS SPIRA
STEPTOE & JOHNSON, LLP
633 WEST FIFTH STREET, SUITE 700
LOS ANGELES, CA 90071


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LIDDELL, SAPP, ZIVLEY, HILL & LABOON LLP
JOHN L. HILL
3400 TEXAS COMMERCE TOWER
HOUSTON, TX 77002-3004


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOOPER REED & MCGRAW PC
KEN RHODES
1300 POST OAK BOULEVARD, SUITE 2000
HOUSTON, TX 77056


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOOPER REED & MCGRAW PC
KENNETH D. RHODES
1300 POST OAK BOULEVARD, SUITE 2000
HOUSTON, TX 77056


METROPOLITAN LIFE INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
METLIFE, INC.
RICARD ANZALDUA, EVP & GEN. COUN.
1095 AVENUE OF THE AMERICAS
NEW YORK, NY 10018




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

METROPOLITAN LIFE INSURANCE COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1095 AVENUE OF THE AMERICAS
NEW YORK, NY 10036


METROPOLITAN REFRACTORIES CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 JACOBUS AVE # 10
KEARNY, NJ 07032


METROPOLITAN LIFE INSURANCE CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 PARK AVENUE
NEW YORK, NY 10166


METSO AUTOMATION USA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
44 BOWDITCH DR
SHREWSBURY, MA 01545


METSO MINERALS INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 ARCH ST
YORK, PA 17403


METSO MINERALS INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2715 PLEASANT VLY RD
YORK, PA 17402


METSO MINERALS INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 945859
ATLANTA, GA 30394-5859


METSO PAPER USA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2111 N SANDRA ST
APPLETON, WI 54911


METTEE, JOYCE J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E SCHAUMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METTEN, MICHELLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METTLER, ELANA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

METTRICK, KEVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METUCHEN HOLDINGS, INC. (FORMERLY OAKITE PRODUCTS)                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
114 TIMBER LN
HILTON HEAD, SC 29926


METZ, CHRISTOPHER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METZ, ROBERT W, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METZGER, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


METZGER, STEVEN J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM METZGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


METZLER, GEORGE D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


METZLER, ROLLIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEUNIER, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MEURELL, CARL S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MEURER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEXIA INDEPENDENT SCHOOL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY VESELKA BRAGG & ALLEN P.C.
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680-1269


MEXIA ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 N. RED RIVER
MEXIA, TX 76667


MEXIA LANDFILL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841615
DALLAS, TX 75284


MEXIA PUMP & MOTOR SHOP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1329 E MILAM
MEXIA, TX 76667


MEXIA, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 S MCKINNEY ST
MEXIA, TX 76667


MEYER, DAROLD F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYER, EDWIN F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MEYER, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MEYER, GEORGE R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEYER, GUENTHER HEINZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYER, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEYER, JAMES R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MEYER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYER, JOYCE S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM R MEYER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEYER, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEYER, ROY A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MEYER, VELDA A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYER, WILLIAM J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEYER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEYEROWITZ, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MEYERS, CHERYL L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD R CONNOLLY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEYERS, EDWARD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEYERS, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MEYERS, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYERS, HOWARD BRUCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

MEYERS, LARRY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MEYERS, LINDA R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MEYERS, MARK, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNEY A MCCOY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MEZIC, BRUNO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MEZIC, DINO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MFA INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 RAY YOUNG DR
COLUMBIA, MO 65201


MHC XPLORATION CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7405
TYLER, TX 75711


MHCX-PLORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7405
TYLER, TX 75711-7405


MHMR SENIOR HOUSING LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA VILLAS OF REMOND APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


MIAMI VALLEY PAPER LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
413 OXFORD ROAD
FRANKLIN, OH 45005




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MICCIANTUONO, CHARLES J.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MICCOLY, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHAEL GLENN ADAMS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11109 CR 2128 N
HENDERSON, TX 75652


MICHAEL, GEORGE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MICHAEL, JAMES I, III                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MICHAEL, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHAEL, ROBERT W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MICHAEL, ROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHAELS, DANIEL O                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MICHAELS, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MICHAELS, RAY S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MICHALKA, MARK A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MICHALOWSKI, THADDEUS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MICHALSKI, EDWARD A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MICHALSKI, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHALSKI, MICHAEL T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MICHAUD, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHEAU, GLENN A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MICHEAU, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MICHEAU, PATSY KELLY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MICHEAU, PATSY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MICHEL, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MICHEL, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICHELI, WILLIAM J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MICHELIN NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 100860
ATLANTA, GA 30384-0860


MICHELIN NORTH AMERICA, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NELSON MULLINS RILEY SCARBOROUGH LLP
ATTN: JODY A. BEDENBAUGH
PO BOX 11070
COLUMBIA, SC 29211


MICHELIN TIRE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SOUTHERN TIRE MART
3744 WEST LOOP 281
LONGVIEW, TX 75604


MICHELIN TIRE CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TCI TIRE CENTERS
3101 N. HOUSTON SCHOOL RD.
LANCASTER, TX 75134


MICHELSON STEEL AND SUPPLY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
145 THIRD AVE SOUTH
SUITE 200
EDMONDS, WA 98020




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MICHELUCCI, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MICHLIG, DAVID R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MICKENS, SAMUEL I , JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL I MICKENS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MICKEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICKLE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MICON INTERNATIONAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7719 LETTIE STREET
HOUSTON, TX 77075


MICRO DISPLAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
#202-1102
BUCHEON TECHNO PARK III SAMJEONG-DONG
OJEONG-GU BUCHEON-SI
GYEONGGI-DO, 421-742
KOREA, REPUBLIC OF

MICROSOFT LICENSING GP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BANK OF AMERICA
1950 N STEMMONS FWY STE 5010
LB #842467
DALLAS, TX 75207




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MID CO INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4140 W VICTORIA ST
CHICAGO, IL 60646


MID SOUTH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMMERCE & INDUSTRIAL
DALLAS, TX 75207


MID VALLEY INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KNIGHT LAW OFFICE
NELSON KNIGHT
3102 MAPLE AVE. 4TH FLOOR
DALLAS, TX 75201


MIDASH, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MIDCO SLING OF EAST TEXAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
415 W COTTON ST
LONGVIEW, TX 75601


MIDCO SLING OF EAST TEXAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9101 W CARPENTER FRWY
DALLAS, TX 75247


MIDDAUGH, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIDDLE BY MARSHALL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 TOASTMASTER DRIVE
ELGIN, IL 60120


MIDDLE TRINITY WATER DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOE B. COOPER
930 N. WOLFE NURSERY RD
STEPHENVILLE, TX 76401


MIDDLEBROOKS, KIMBERLY A                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MIDDLEDITCH, WANDA R, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF COLLIE E WILSON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MIDDLETON, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIDDLETON, PAMELLA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MIDDLETON, WALTER C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIDDLETON, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIDGETT, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIDLAND CENTRAL APPRAISAL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCCREARY VESELKA BRAGG & ALLEN P.C.
ATTN: LEE GORDON
P.O. BOX 1269
ROUND ROCK, TX 78680-1269


MIDLAND CO. JUNIOR COLLEGE DIST.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3600 N. GARFIELD
MIDLAND, TX 79705


MIDLAND CONSTRUCTION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 DORCHESTER AVE
DORCHESTER, MA 02122


MIDLAND COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MIDLAND COUNTY COURTHOUSE
500 NORTH LORAINE STREET
MIDLAND, TX 79701




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MIDLAND ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
615 W. MISSOURI AVE.
MIDLAND, TX 79701


MIDLAND MEMORIAL HOSPITAL DIST.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 ROSALIND REDFERN GROVER PARKWAY
MIDLAND, TX 79701


MIDLAND, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1152
MIDLAND, TX 79701


MIDLAND-ROSS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
220 S ORANGE AVE
LIVINGSTON, NJ 07039


MIDLAND-ROSS CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EPSTEIN BECKER & GREEN PC
KENNETH J. KELLY
250 PARK AVE
NEW YORK, NY 10177-0077


MID-OHIO BATTERY, INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1818 REYNOLDSBURG NEW ALBANY ROAD
BLACKLICK, OH 43004


MID-SOUTH WOOD PRODUCTS, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMMERCE & INDUSTRIAL
DALLAS, TX 75207


MID-STATE ENVIRONMENTAL LL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA MID-STATE ENVIRONMENTAL SERVICES LL
PO BOX 2920
WICHITA, KS 67201-2920


MIDSTATE ENVIRONMENTAL SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2920
WICHITA, KS 67201-2920


MIDSTATE ENVIRONMENTAL UNITED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECYCLERS LLC
PO BOX 310382
DES MOINES, IA 50331-0382




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MID-VALLEY, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GODWIN GRUBER, PC
MICHAEL J. RAMIREZ
1700 RENAISSANCE TOWER, 1201 ELM STREET
DALLAS, TX 75270


MIDWAY ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13885 WOODWAY DRIVE
ATTN: SUPERINTENDENT OF FINANCE
WACO, TX 76712


MIDWAY MIXED USE DEVELOPMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AT FARMERS BRANCH LLC
DBA LINCOLN PRAIRIE CROSSING
8521 LEESBURG PIKE STE 750
VIENNA, VA 22182


MIDWAY TOWNHOMES LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1625
WACO, TX 76703


MIDWEST EMERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5501 W 79TH ST
BURBANK, IL 60459


MIDWEST GENERATION LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 REMINGTON BLVD
BOLINGBROOK, IL 60440


MIDWEST INSULATION SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 SOUTH 15TH STREET
OMAHA, NE 68108


MIDWEST THERMAL INSULATION INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3205 W 76TH STREET
DAVENPORT, IA 52806


MIDWEST THERMAL INSULATION INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEE A. RUNNELS
1600 4TH AVE SUITE 200
ROCK ISLAND, IL 61204




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MIDWEST THERMAL INSULATION INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602


MIDWEST THERMAL INSULATION INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3205 W 76TH STREET
DAVENPORT, IA 52806


MIDWIG-TRACEY, KAREN A, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AUDIS ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MIDYETTE JR, ARLAND L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MIELE, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIGHELL, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JACKIE D. MIGHELL
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


MIGLIACCIO, JANET                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIGLIORE, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIGLIORE, WILLIAM L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIGLIOZZI. ANTONIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                        Nature

MIGNANO, LEONARDO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIHAULICS, JENNIFER MARY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIHELICH, LEROY E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MIHLBAUER, ALBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIHOCKO, PAUL A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIKLIS, JOE ANTON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIKLIS, MARY ALICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIKLITCH, JAMES L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIKOLAJEK, WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MIKSCH, RONNY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MIKUCKL, ANTHONY B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MIKULA, ROBERT A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MIKULEC, MARY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIKULEC, MYRON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIKULENCAK, D (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIKULENCAK, JAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIKULSKI-COOK, MILDRED CAROLE, PR OF THE                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE COOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILAM COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 S. FANNIN AVE
CAMERON, TX 76520


MILAM, DANNY RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILANAIK, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILANDO, VINCENT M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILANKOVIC, JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILANO, CLEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILARDO, CARMELO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILBOURNE, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILBURN, DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MILENDER, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MILENKOVIC, MILIVOJE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILENO, JERRY T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MILES, DEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILES, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILES, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILES, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILES, RANDAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILES, WILLETTS H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILETIC, BRUNO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILETTE, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MILEY TRAILER CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2180 GARNET AVE.
SUITE 3
SAN DIEGO, CA 92109


MILEY TRAILER CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8390 GERBER ROAD
SACRAMENTO, CA 95828


MILEY TRAILER COMPANY, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2180 GARNET AVE. SUITE 3
SAN DIEGO, CA 92109


MILEY TRAILER COMPANY, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4469
2701 DECATUR AVE.
FT. WORTH, TX 76106


MILEY, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILHAVEN, GEORGE PETER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILHOAN, MARK A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILIAN, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLAN, HENRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MILLARD, TAMMY LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

MILLEDGE, MIKE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER BREWING CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 S WACKER DR
STE 800
CHICAGO, IL 60606


MILLER BREWING CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3939 W HIGHLAND BLVD
MILWAUKEE, WI 53208


MILLER COORS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 S WACKER DR
STE 800
CHICAGO, IL 60606


MILLER ELECTRIC COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 864149
ORLANDO, FL 32886-4149


MILLER ELECTRIC MANUFACTURING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1635 W SPENCER ST
APPLETON, WI 54914


MILLER, ABRAHAM JOHN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, ALAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, ALBERT R. (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MILLER, ALFRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, BASS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, BETTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, BEVERLY K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, BROOKS T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MILLER, BRYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, CALVIN AND BETTY MILLER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, CARLOS F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MILLER, CAVITTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, CHARLES DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MILLER, CHRISTOPHER L.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, CLARA MAE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, CYRUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, DANIEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MILLER, DAVID L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILLER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, DEBORAH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, DEBORAH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, DEBRA J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, DELOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MILLER, DENISE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, DOLORES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, DONNA J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, DONNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, DONNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MILLER, EDDIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, ELSIE M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES D MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, FOREST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, FREDERICK J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, FREDERICK L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, GARY LYNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, GEORGE E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILLER, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, GEORGIA C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES ULLRICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, GLENN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MILLER, GLENN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, GRACE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, HARMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, HARRY A, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, HENRY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL E MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, HIALARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MILLER, HUGH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, JAMES R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, JAMES W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, JAMEY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILLER, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, JEFF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, JEWELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, JOHN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MILLER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, JOSEPH LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

MILLER, JOSEPH R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, KENNETH G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MILLER, KENNETH JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, KIMBERLY A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES F FISTEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, LATONYA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MILLER, LINDWOOD, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MILLER, LISA A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF POMPEY A APICELLA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MILLER, LYLE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, MARIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, MARY LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


MILLER, MARY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAVAS HRISANTHACOPOULOUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, MAURICE H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, MELVIN C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, MELVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, MERRITT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILLER, MICHAEL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MILLER, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MILLER, MR. AND MRS. JAY WILLIAM                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, ORVILLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, RALPH L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, RAYMOND DENNY (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, RICHARD C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, ROBERT FREDERICK, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ADOLPH V MILLER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MILLER, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, ROYDEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MILLER, RUDOLPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, SAB                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, SHA'NEATHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, SHARON M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WAYNE F MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, SHARON, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN P MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, SHERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, STEVE JOEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLER, TA'KEISHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, TERESA COBLE FOR THE ESTATE OF                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARTY JOEL MILLER
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


MILLER, TERESA COBLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, TERRI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, THOMAS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, TOMMY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, TORRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, VERNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLER, WADE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, WAYNE ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, WILLIAM D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILLER, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLER, WILLIAM EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, WILLIAM S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILLER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


MILLER, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLER, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLERCOORS LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 S WACKER DR
STE 800
CHICAGO, IL 60606




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Name of Counterparty                                                                                           Nature

MILLER-STARNES CHEVROLET-BUICK INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
476 W CAMERON AVE
ROCKDALE, TX 76567


MILLER-STARNES CHEVROLET-BUICK-                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
476 W CAMERON AVE
ROCKDALE, TX 76567


MILLESON, JAMES A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLEY, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLIFF, JOHN F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIFF, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIFF, SETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIFF, TONEYA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIFF, TY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIGAN, JOHNNIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLIGAN, LYNDAL L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIKEN, MICHAEL V.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MILLIKEN, PAUL MARTIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIKEN, VELA R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIKEN, VELA R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLIKEN, VENSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLS, ANNETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVIN SIMES KAISER & GORNICK, LLP
44 MONTGOMERY STREET, 32ND FLOOR
SAN FRANCISCO, CA 94104


MILLS, CHARLES W, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLS, DIANE L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER FINNEGAN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLS, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLS, DOUGLAS STEVEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLS, ERNEST M, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MILLS, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILLS, JOHN P.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MILLS, JULIA F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLS, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLS, MARLYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLS, ROBERT D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MILLSAP, ROBIN SHERWOOD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MILLSTEIN, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILO, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

MILOSCIO, NICHOLAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MILOVCIC, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MILSTEAD, GENE H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 IVYLAND ROAD
IVYLAND, PA 18974


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


MILTON ROY CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALL STREET PLAZA, 24TH FLOOR
MCELROY, DEUTSCH, MULVANEY & CARPENTER
LLP, 88 PINE STREET
NEW YORK, NY 10005




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                               Nature

MILTON, FREDERICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILTON, SHERRI R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MILUS, KENNETH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MILWAUKEE BOILER INTERNATIONAL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 S 41ST ST
MILWAUKEE, WI 53215


MILWAUKEE STOVE AND FURNACES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5050 W STATE ST
MILWAUKEE, WI 53208


MILWAUKEE VALVE COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16550 WEST STRATTON DRIVE
NEW BERLIN, WI 53151


MILWAUKEE VALVE COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
8040 EXCELSIOR DRIVE STE 200
MADISON, WI 53717


MILWAUKEE VALVE COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD PLLP
BRITTANY ANNE YOUNG
1001 HIGHLANDS PLAZA DR., SUITE 400
ST LOUIS, MO 63104


MILWAUKEE VALVE COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MILWAUKEE VALVE COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


MILWAUKEE ELECTRIC TOOL CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13135 WEST LISBON ROAD
BROOKFIELD, WI 53005-2550


MILWHITE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COFFEY & LATIOLAIS, LLP
TODD ANTHONY LATIOLAIS
2390 EASTEX FRWY., SUITE 100
BEAUMONT, TX 77703


MILWHITE INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COFFEY & LATIOLAIS, LLP
WILLIAM COFFEY, JR.
2390 EASTEX FRWY., SUITE 100
BEAUMONT, TX 77703


MIMBS, HERDRON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIMEO.COM INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 673866
DETROIT, MI 48267-3866


MIMS, CAROL M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MIMS, MICHAEL L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MIMS, QUENTIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MINAKEM LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 HACKENSACK AVE
HACKENSACK, NJ 07601


MINARIK, JERRY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINAS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINCEMOYER, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINDT, JOHN JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


MINE SAFETY & APPLIANCES COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CRANBERRY WOODS DR
CRANBERRY TOWNSHIP, PA 16066


MINE SAFETY & APPLIANCES COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BENSON MASTON PLLC
KAREN K. MASTON
3900 ESSEX LANE, SUITE 700
HOUSTON, TX 77027


MINE SAFETY & APPLIANCES COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONNELLY, BAKER, MASTON, WOTRING
& JACKSON, KAREN K. MASTON
700 LOUISIANA, SUITE 1850
HOUSTON, TX 77002


MINE SAFETY & APPLIANCES COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                             Nature

MINE SAFETY & APPLIANCES COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
W. JEFFREY MUSKOPF
714 LOCUST STREET
ST LOUIS, MO 63101


MINE SAFETY & APPLIANCES COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEXTON LAW FIRM
5039 60TH STREET
NEW YORK, NY 11377


MINE SAFETY ASSOCIATES                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 872
PRICE, UT 84501


MINE SERVICE INC                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 32
ROCKDALE, TX 76567


MINE SERVICE LTD                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 32
ROCKDALE, TX 76567


MINE SAFETY APPLIANCES CO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CRANBERRY WOODS DR
CRANBERRY TOWNSHIP, PA 16066


MINEMET, INCORPORATED                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 MANSELL COURT EAST
SUITE 300
ROSWELL, GA 30076


MINER, GEORGE A                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MINERAL AND PIGMENT SOLUTIONS INC (FKA WHITTAKER CLARK & DANIELS INC)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 COOLIDGE ST
SOUTH PLAINFIELD, NJ 07080-3805


MINERAL WELLS ISD                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
906 SW 5TH AVE.
MINERAL WELLS, TX 76067




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MINERAL WELLS, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 SW 1ST AVENUE
MINERAL WELLS, TX 76067


MINERD, JUNE, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID E MINERD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINERICK, SANDRA E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT F MANZKE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINERVA, VINCENT S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MINGE, SADIE I                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINICH, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINICUCCI, DOMINIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MINIKEL, EDWARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MINIX, HAROLD B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MINKER, DAVID C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                        ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                   Retained Causes of Action

                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3M CORPORATE HEADQUARTERS
3M CENTER
ST. PAUL, MN 55144-1000


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAVIN, O'NEIL, RICCI, CEDRONE & DISIPIO
420 LEXINGTON AVENUE
GRAYBAR BUILDING, SUITE 2900
NEW YORK, NY 10170


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAVIN, O'NEIL, RICCI, CEDRONE & DISIPIO
420 LEXINGTON AVENUE
SUITE 335
NEW YORK, NY 10170


MINNESOTA MINING & MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEKELL BOOK MATTHEWS & ZIMMER
RAYMOND T. MATTHEWS
1221 MCKINNEY, SUITE 4300
HOUSTON, TX 77010




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MINNESOTA MINING & MANUFACTURING COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COE COUSINS & IRONS LLP
DAVID M TAYLOR, KEVIN RISLEY
700 N PEARL STREET, 25TH FLOOR
DALLAS, TX 75201


MINNESOTA MINING & MANUFACTURING COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COE COUSINS & IRONS LLP
DAVID M. TAYLOR
700 NORTH PEARL STREET, 25TH FLOOR
DALLAS, TX 75201


MINNIX, WILLIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINOR, FRANCIS C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINOR, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINOR, MARLENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MINOTTI, ALDO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MINSK, JOSEPH A--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MINSTAR INC FKA B&B ENGINEERING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
590 PARK STR 6 CAPITOL
PROF BLDG
SAINT PAUL, MN 55103


MINTER, L F B TRUSTEE OF ADELLE W                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MINTON, MARY M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MINTON, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MINUCCI, VITO D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MINZE, SHERRIE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIOZZI, RAMON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIRABILE, JACOB D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MIRABILE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIRABILE, MATTHEW F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIRABILE, NANCY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN P LIVOLSI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

MIRACLE ADHESIVES CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 PETIT AVE
BELLMORE, NY 11710


MIRALDA, JORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIRANDA, FRANCISCO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIRANDA, JESUS E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIRANDA, LESUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIRION TECHNOLOGIES (GDS)INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 101301
PASADENA, CA 91189-0005


MIRION TECHNOLOGIES (MGPI) INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 732079
DALLAS, TX 75373-2079


MIRRO, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MIRROR INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11510 KILBURN ROAD
HOUSTON, TX 77055


MIRTO, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MISILO, THADDEUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MISKELLY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MISKOWIEC, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MISS, GIUSTO AND MASSIMILIANA MISS                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MISS, GIUSTO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MISSION PETROLEUM CARRIERS, INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8450 MOSLEY ROAD
HOUSTON, TX 77075


MISSION PETROLEUM CARRIERS, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOM TURNER,AGENT
177 NORTHEST LOOP 410, 15TH FLOOR
HOUSTON, TX 77075


MISSISSIPPI ENTERPRISE FOR TECHNOLOGY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUILDING 1103, SUITE 143
STENNIS SPACE CENTER, MS 39529


MISSISSIPPI POWER & LIGHT COMP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 245
BIRMINGHAM, AL 35201


MISSISSIPPI POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 245
BIRMINGHAM, AL 35201


MISSISSIPPI POWER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 751
MERIDIAN, MS 39301




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MISSISSIPPI POWER COMPANY/PLANT DANIELS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 950
ESCATAWPA, MS 39552


MISSISSIPPI POWER COMPANY/PLANT WATSON                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10406 LORRAINE ROAD
GULFPORT, MS 39501


MISSOURI PACIFIC RAILROAD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 N. 13TH STREET
ST. LOUIS, MO 63103


MISSOURI, CHARLES H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MISTASZ, JOSEPH F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MISTER-SMITH, ELLA LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MISTILIEN, MILLER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MISTRAS GROUP INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742420
ATLANTA, GA 30374-2420


MITCHAN, STEPHEN SCOTT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHAN, STEPHEN SCOTT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MITCHELL 1                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25029 NETWORK PLACE
CHICAGO, IL 60673-1250


MITCHELL 1                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHELL COUNTY UTILITY COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5353 LAKE COUNTY RD 256
COLORADO CITY, TX 79512


MITCHELL COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COUNTY COURTHOUSE
349 OAK STREET
COLORADO CITY, TX 79512


MITCHELL HOSPITAL DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
997 INTERSTATE 20
COLORADO CITY, TX 79512


MITCHELL, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MITCHELL, CALVIN T, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHELL, CALVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MITCHELL, CHARLES F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MITCHELL, CHARLES MEREDITH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MITCHELL, DAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MITCHELL, HUBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MITCHELL, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHELL, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


MITCHELL, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, JOE M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHELL, JOHN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MITCHELL, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, JOSEPH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, JUSTIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, LARRY G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, LARRY G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, LEON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, LLOYD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, MR. JOHN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITCHELL, NORMAN D                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MITCHELL, RAYMOND LEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MITCHELL, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, REYNARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MITCHELL, RICHARD L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN C MITCHELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MITCHELL, ROBBIE JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MITCHELL, ROBERT M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MITCHELL, ROBERT S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MITCHELL, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MITCHELL, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MITCHELL, SHIRLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MITCHELL, STANLEY LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, STEVEN C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, THOMAS AUBREY, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITCHELL, WILEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHELL, WILLIS C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MITCHELTREE, GARTH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITCHUM, GINA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITERKO, JEFFREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MITROOK, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MITSAKOS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MITSCHKE, ROBERT F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITSCHKE, ROBERT R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MITSOS, FRANK J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MITSUBISHI ELECTRIC POWER PRODUCTS INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEASLER ASSOCIATES
1721 WEST PLANO PARKWAYSUITE 203
PLANO, TX 75075


MITSUBISHI ELECTRIC USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6400 KATELLA AVE
CYPRESS, CA 90630


MITSUI RAIL CAPITAL LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12253 COLLECTIONS CENTER DR
CHICAGO, IL 60693


MITSUI RAIL CAPITAL, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
71 SOUTH WACKER DRIVE, SUITE 1800
ATTN: DIRECTOR, SALES & MARKETING
CHICAGO, IL 60606


MITSUI RAIL CAPITAL, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BALLON STOLL BADER & NADLER, P.C.
ATTN: VINCENT J. ROLDAN
729 SEVENTH AVE
NEW YORK, NY 10019


MITTELSTAEDT, JOHN S, III                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIXON SR, JOSEPH E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                             Nature

MIXON, BROWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIXON, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIXON, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIXON, SHIRLEY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MIXON, TIM D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MIXSON, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIZE, FRANK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MIZE, VERNON R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MIZELL, JIMMY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MIZESKI, ROSE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MIZESKI, SUZANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MLADEK, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


M'N M ENTERPRISES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7172
FORT WORTH, TX 76111


MNE SAFETY APPLIANCE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CRANBERRY WOODS DR
CRANBERRY TOWNSHIP, PA 16066


MNM ENTERPRISES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7172
FORT WORTH, TX 76111


MOATS, GLEN O                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOATS, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOBAY CHEMICAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BAYER CORP.
8500 WEST BAY ROAD
BAYTOWN, TX 77520


MOBERG, CLIFTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

MOBERLY, MORGIT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOBERLY, WALDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOBIL CHEMICAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 INDUSTRIAL BLVD.
TEMPLE, TX 76501


MOBIL CHEMICAL COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1250 POYDRAS ST.
NEW ORLEANS, LA 70113-1892


MOBIL OIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J. G. ZABAGA,MGR.SUPERFND. RESPONSE
PO BOX 1039
PRINCETON, NJ 08534


MOBIL OIL CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1039
PRINCETON, NJ 08543-1039


MOBIL OIL REFINING CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


MOBIL OIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5959 LAS COLINAS BOULEVARD
IRVING, TX 75039-2298


MOBIL RESEARCH & DEVELOPMENT CORP.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3225 GALLOWS ROAD
FAIRFAX, VA 22037


MOBIL RESEARCH AND DEVELOPMENT CORP.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13777 MIDWAY RD.
DALLAS, TX 75244




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Name of Counterparty                                                                                             Nature

MOBILE ANALYTICAL LABORTORIES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 69210
ODESSA, TX 79769-0210


MOBILE CRANE REPAIR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 32
MOUNT PLEASANT, TX 75456


MOBILE MINI I INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7144
PASADENA, CA 91109-7144


MOCCALDI, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOCIO, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOCK, JESSE RAE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOCK, JOHN P                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOCK, SYLVIA J, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARVIN MOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOCLAIR, DONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MODINE MANUFACTURING CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 DE KOVEN AVE
RACINE, WI 53403




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MODISETTE, CHARLES EDWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MODLIN, BESSIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MODULAR SPACE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12603 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-0126


MOE, LELAND                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOE, ROBERT D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOELLER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOERSCH, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOFFETT, JAMES M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MOFFITT, JANICE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MOFFITT, JEFFREY NEAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOFFITT, THOMAS NORMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


MOHAN, KEITH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOHAWK FINE PAPERS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
465 SARATOGA STREET
COHOES, NY 12047


MOHAWK LABS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2115
IRVING, TX 75061


MOHL, EWALD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOHL, WILLIAM P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOHR, CORINNE L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERBERT E MOHR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOHR, HAROLD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOHR, PHILIP JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOHR, RODNEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOINI, SALVATORE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOINUDDIN, FARHAT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOISNER, SALLY A & WILLIAM J SCHAFFER JR                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOISNER, SALLY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOLAK, EUGENE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOLANDS, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOLDER, STEVEN B, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH SHEMA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOLESKE, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOLICK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOLIDOR, JASON C, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD A AMBROZAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOLINA, CHRISTOPHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOLINA, LUZ A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOLINA, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOLINA, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLINARI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLINARI, DONATO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLINO, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOLITORISZ, RICHARD T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOLL, ARMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLLIVER, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLLOY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLLOY, TERRANCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOLNAR, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLODY, NICHOLAS H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOLOUGHNEY, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOLT, LOWELL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOLYNEUX, WAYNE D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOLZ, JOSEPH L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W GERLACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOMENTIVE SPECIALTY CHEMICALS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 EAST BROAD STREET
COLUMBUS, OH 43215


MOMENTIVE SPECIALTY CHEMICALS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


MOMENTIVE SPECIALTY CHEMICALS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


MOMENTIVE SPECIALTY CHEMICALS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


MOMENTIVE SPECIALTY CHEMICALS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
300 B EAST HIGH ST
JEFFERSON CITY, MO 65101




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MONACO, DOMINICK J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MONACO, LOUIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MONAGHAN, DANIEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MONAGHAN, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONAGHAN, ORLAND W                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONAGHAN, RICHARD Y                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
214 PAULINE DR
RICHARDSON, TX 75080


MONAGHAN, RICHARD Y                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONAGHAN, SAMMY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONAHAN, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONAHAN, PHILIP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONAHAN, PHILIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MONAHANS - WICKETT - PYOTE ISD                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
606 SOUTH BETTY
MONAHANS, TX 79756


MONAHANS HOUSING AUTHORITY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
209 S DWIGHT AVE
MONAHANS, TX 79756-4311


MONAHANS HOUSING AUTHORITY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 SOUTH ALLEN SUITE 8
MONAHANS, TX 79756


MONAHANS, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 WEST. 2ND ST.
MONAHANS, TX 79756


MONARCH ELECTRIC CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE DODGE DRIVE
WEST CALDWELL, NJ 07006


MONCHINSKI, JUDITH A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONDELLO, JAMES F & JAMIE F                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONDOK, WILLIAM J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONDONE, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONETTE, LORRAINE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR MONETTE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONETTE, LORRAINE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACQUELINE M MONETTE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONEY, CHRISTOPHER THOMAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONEY, JOHN RUDOLPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONEY, MARSHA D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONEY, MERRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONEYHUN, CHAMP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONGAN, PETER C. AND SARAH MONGAN                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONGAN, PETER C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONGE, DOMINGO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MONGER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MONGIOVI, JOHN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN BERRETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONIZ, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONIZ, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONO TYPE IMAGING HOLDINGS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 UNICORN PARK DRIVE
WOBURN, MA 01801-3345


MONROE, BILLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONROE, DALE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONROE, DORIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONROE, MARVIN L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONROE, RUTH E, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD L MONROE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONSANTO AG PRODUCTS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


MONSANTO COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 MARYVILLE CENTER DRIVE
SAINT LOUIS, MO 63141


MONSANTO COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 NORTH LINDBERGH BOULEVARD
ST LOUIS, MO 63167


MONSANTO COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PHARMACIA CORP.
100 ROUTE 206 NORTH
PEAPACK, NJ 07977


MONSEN ENGINEERING CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6 DANIEL RD
FAIRFIELD, NJ 07004


MONSHINE, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONSTER WORLDWIDE INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7800 W. BROWN DEER RD. SUITE 200
MILWAUKEE, WI 53223


MONTAGINO, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONTAGNA, DARRYL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MONTAGUE, CLIFTON O                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONTALBANO, FRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTALVO CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 HUTCHERSON DR
GORHAM, ME 04038


MONTALVO, RAFAEL LUIS RIOS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTECILLO, TRENIO A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTEIRO, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONTELANDO, FRANK P.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELLO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6106 E 32ND PL ST 100
TULSA, OK 60604


MONTELLO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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Name of Counterparty                                                                                             Nature

MONTELONGO, ALBERT, ET AL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


MONTELONGO, C M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELONGO, CAROL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELONGO, CATARINO M., JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELONGO, CATARINO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELONGO, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTELONGO, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MONTELONGO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MONTELONGO, FREDDY A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MONTELONGO, VICTOR G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MONTEMARANO, MARILYN J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MONTEMARANO, WILLIAM J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTENEGRO MATTA, ENNIO LUIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTES, ANTONIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTES, MANUEL OSEGUEDA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY WARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3650 MILWAUKEE ST
MADISON, WI 53714


MONTGOMERY, DEROA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, DONALD L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


MONTGOMERY, JOHN PAUL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, LAURA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, LAURA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, LINDA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUY R MILLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

MONTGOMERY, MARVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONTGOMERY, PATRICIA A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, RICHARD H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTGOMERY, STEPHEN M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONTGOMERY, STEPHEN, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MONTGOMERY, WHITNEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTILLA, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONTMINY, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MONTOYA, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MONZOLINO, JOSEPH F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MONZON, IRMA G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONZON, JUAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MONZON, OFILIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOODY, ALBERT LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOODY, CHARLES HOLLIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOODY, DEBORAH ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOODY, IRA                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOODY, JIMMY H.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOODY, KITTLY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOODY, LEE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOODY, NATHAN D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOODY, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOODY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOODY, SAMIE LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOODY, WILLIAM E, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOOG, DIETER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOOLICK, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOON, BERTHA S. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MOON, DWAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOON, JOHN H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

MOON, ROBERT E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOON, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOONEY AVIATION COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MOONEY INTERNATIONAL CORPORATION
165 AL MOONEY ROAD NORTH
KERRVILLE, TX 78028


MOONEY, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOONEY, BETTY J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH E MOONEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOONEY, COURTNEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOONEY, EDWARD F, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOONEY, H C                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

MOONEY, HERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOONEY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOONEY, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOONEY, RANDY DEANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MOONEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE HEADMACHINERY AND BOILER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3477 UNIVERSITY AVE NE
MINNEAPOLIS, MN 55418


MOORE III, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE JR, JAMES D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MOORE, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MOORE, ANDRE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ARTHUR E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MOORE, BOB S                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MOORE, BRENDA SUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, BRENDA SUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1134
EL DORADO, TX 76936


MOORE, BRITTANY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, CARSANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, CATHERINE MALINDA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, CHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, CINDY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, DAILIS C &                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MOORE, DANNY JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, DAVID A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOORE, DAVID R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, EDDIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ELSIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ERTLE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ESSIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, FRED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, GARY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOORE, GEORGE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MOORE, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, GRETA F.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, HANNAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, HAZLEY ALTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, HERSHEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOORE, HOSEA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, JACK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, JAMES W, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MOORE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, JESSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MOORE, JETTIE E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, JOE E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOORE, JOHN L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, JOHN W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MOORE, JOHN W. BILL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


MOORE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, JR., RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, JUDITH T, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE V TAYLOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

MOORE, JUDSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, KEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, LAUREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, LEBARRON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, LESLIE E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID H FLACK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, LINWOOD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, LUTHER, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, MARISSA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOORE, MICHELLE L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J PUTINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, NANCY RUTH COLLEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ODESSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, QUENTIN C, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, REX                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORE, ROBERT BRUCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ROBERT DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MOORE, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MOORE, ROGER D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, ROGER J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, RONALD J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MOORE, SHARON ROSE M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, SHEILA ARTIS JACKSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, SHEILA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, SR, RALPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, STEPHEN G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, TED, III                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MOORE, TORAN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHIL MOORE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOORE, VERNESCIRE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, WENDELL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, WENDELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOOREHEAD, RICHARD A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOORHEAD, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORHEAD, PHILIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOORMAN, BOBBY SHANE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MOORMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOORMAN, MICKEY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOOS, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOOSE, STANLEY C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOOSEGIAN, WILLIAM J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORA, OLIVIER PATRICIO LOYER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORABITO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORALES, HECTOR LUIS RODRIGUEZ                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, JORGE R., III                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, JULIE ANN SMITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, MARTHA CANTU                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MORALES, MAXCIMINO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, PATRICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MORALES, ROBERTO VALDES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORALES, SUZANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORAN, CHRISTOPHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORAN, DOLORES, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK E MORAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORAN, F E                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORAN, PATRICIA R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE MORAN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORAN, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MORAN, RAYMOND J--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MORANG, CLARENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORANG, LLOYD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORANO, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORAWSKI, KATHLEEN B, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM LEJEWSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORBITZER, PAUL AND NANCY MORBITZER                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORE TECH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
406 MILITARY EAST
BENICA, CA 94510


MOREAU, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOREIRA, PEDRO ENRIQUE QUIROGA                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

MOREKIN, DAVID C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOREKIN, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOREL, BRETT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORELAND, BENETTE SIMON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORELAND, EUGENE G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORELAND, JAMES MICHAEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORELAND, VAUGHN L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORELL, DAVID B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORELLE, GILBERT J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


MORELOCK, LARRY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORENO, NOEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORERA, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOREY, HARLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGA, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORGADO, JUAN CARLOS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
231 ENSIGN ST.
PO BOX 892
FORT MORGAN, CO 80701


MORGAN ENGINEERING SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TERRENCE P KESLLER
220 MARKET AVE SOUTH 1100
CANTON, OH 44702


MORGAN ENGINEERING SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILFORD RAY II COMER
1225 W ERIE APT #3
CHICAGO, IL 60642


MORGAN STANLEY CAPITAL GROUP INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: EDWARD ZABROCKI
2000 WESTCHESTER AVENUE, 1ST FLOOR
PURCHASE, NY 10577


MORGAN ENGINEERING SYSTEMS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1049 SOUTH MAHONING AVENUE
ALLIANCE, OH 44601


MORGAN, ALFRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, AMANDA JANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORGAN, ARLO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, AUDREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, BLAINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, BRENDA POWELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, BRODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, CHARLES O., SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, DARRYL C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORGAN, DAVID A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, EDWARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORGAN, ELISABETH L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MORGAN, GLORIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN S MORGAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORGAN, GWENDOLYN JOAN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, JACKIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, JAMES J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORGAN, JAMES O.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDSMITH & ASSOCIATES, LLC
ATTN: SYLVIA A GOLDSMITH, PARK WEST BLDG
20545 CENTER RIDGE ROAD, SUITE 120
ROCKY RIVER, OH 44116


MORGAN, JOHN L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORGAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORGAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MORGAN, LESTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MORGAN, LINCOLN S                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORGAN, MICHAEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, MICHELLE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, OFELIA VILLENA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, REX                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, ROBERT MCKAY, JR.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORGAN, WELDON L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, WESLEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, WILEY E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORGAN, WILLIAM E                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORGE III, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MORGERETH, EDWARD W, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORGESE, VITO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORHARDT, DICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORI, ALFRED F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORIARTY, GREGORY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORIN, JEAN-PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORIN, PIERRE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORIN, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORIN, ROGER A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MORIN, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORIN, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORIN, WILLIE J--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MORMAN, BRETT W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORMAN, CHARLES MATTHEW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORMAN, KATHERINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORNINGSTAR, CLARENCE J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORONEY, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MORPHEW, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MORREALE, JAKE J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MORRELL, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MORRELL, TOMMIE M. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MORRELLO, DOROTHY L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUSTINE MORRELLO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRIS TICK COMPANY, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
227 WEST MONROE STREET
CHICAGO, IL 60606-5096


MORRIS, BONNIE JEAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, BRYCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, CATHERINE D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MORRIS, CHARLES N, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE HUTSCHENREUTER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRIS, CLAUDE C., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MORRIS, CURTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, DONALD C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRIS, JAMES RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MORRIS, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRIS, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRIS, JOHN T.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MORRIS, JON P, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, KENNETH & MARTHA HEARD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, LARRY DEWAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, MICHAEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRIS, MICHAEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MORRIS, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, PETE S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MORRIS, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRIS, ROBERT A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


MORRIS, THOMAS M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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Name of Counterparty                                                                                            Nature

MORRIS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRIS, TOM, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


MORRIS, WAYNE L , SR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WARREN MORRIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRIS, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRIS, WILLIAM DALE, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRIS, WILLIAM K, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROY STONER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRISEY, CHARLES M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRISON CONSTRUCTION COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1834 SUMMER ST
HAMMOND, IN 46320


MORRISON CONSTRUCTION COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORRISON CONSTRUCTION COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
MAGINOT , PETER MICHAEL
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


MORRISON KNUDSEN CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MORRISON KNUDSEN PLZ
BOISE, ID 83729


MORRISON, BLYTHE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRISON, CAMERON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MORRISON, CHARLES C--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MORRISON, DAVID C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRISON, HENRY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRISON, JAMES H , JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES H MORRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORRISON, JAMES J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


MORRISON, JAMES, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE T MORRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRISON, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


MORRISON, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRISON, LUTHER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRISON, MILTON H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORRISON, SHARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORRISON, STEPHEN D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORRISSETTE, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MORRISSETTE, MARCEL R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MORRISSEY, CHARLES M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MORRISSEY, DAVID J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORRISSEY, TOM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MORRISSEY, WILLIAM FRANCIS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORROW, IRVIN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MORROW, JAMES V, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM S PRICE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORROW, JAMES, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KATHLEEN F PRICE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORROW, JOAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORROW, KENNETH WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORROW, PHYLLIS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORSBERGER, CAROLE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD MORSBERGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORSE DIESEL INTERNATIONAL INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
665 NASH DRIVE
CHARLOTTESVILLE, VA 22903


MORSE DIESEL INTERNATIONAL INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GANGEMI LAW FIRM, P.C.
AMEC CONSTRUCTION MANAGEMENT, INC.,
SALVATORE G. GANGEMI, 82 WALL ST STE 300
NEW YORK, NY 10005


MORSE TEC INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
758-16 ISEJI
IGA-CITY
MIE PREFECTURE
 518-0205


MORSE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MORSE, WALTER W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MORTELL COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 DOW CENTER
MIDLAND, MI 48674




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MORTELLARO, JOSEPH S                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MORTON, JOE LARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORTON, MELBA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MORTON, ROBERT K, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT K MORTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MORTONE, DANIEL P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MOSBY INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3251 RIVERPORT LANE
MARYLAND HEIGHTS, MO 63043


MOSBY, BRITTANY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSBY, STEPHEN MARK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSBY, TERESA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSBY, ZACHARY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSCARDELLI, BLAISE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MOSCARIELLO, ANTHONY E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOSCATI, EDWARD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOSCHAN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MOSELEY, GLENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSELEY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSELEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSELEY, ROBERT E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MOSELEY, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSER GARDENS APTS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 331209
FORT WORTH, TX 76163


MOSER, JEFFREY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOSER, JEFFREY D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MOSER, PAULETTE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSES, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOSES, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSES, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSHER, FRED STEVEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOSHER, GEORGE W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MOSIER, THOMAS M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOSKAL, WALTER W--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MOSKOWITZ, ALLEN M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MOSKOWITZ, ALLEN M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MOSKOWITZ, CRAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSKOWITZ, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOSLEY, BILLY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSLEY, CARL EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MOSLEY, EMMA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MOSLEY, JIMMIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MOSLEY, MARY F, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLY R MOSLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOSS BLUFF HUB PARTNERS, L.P.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5400 WESTHEIMER COURT
P. O. BOX 1642
HOUSTON, TX 77056-5353




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOSS POINT MARINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3304 ROBERTS ROAD
ESCATAWPA, MS 39562


MOSS, DEBRA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK CARTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOSS, FLOYD WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSS, FREDRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOSS, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOSS, GERALD E, SR--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MOSS, HAROLD R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOSS, JAMES CULBERSON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSS, JANET (WOELFEL)                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

MOSS, KIMBERLY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HANS C KLIEMISCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOSS, LORENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSS, MILES RICKEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MOSS, ROY K                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSS, SYLVIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSS, TROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSS, WILLIAM P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSSCROP, CLIFFORD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MOSSER, CHARLES R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOSTEK CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 169
CARROLLTON, TX 75006




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Name of Counterparty                                                                                             Nature

MOSTEK                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O UNITED TECHNOLOGIES
ONE FINANCIAL PLAZA
HARTFORD, CT 06013


MOSTELLER, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOSTYN, BARBARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOSTYN, KENNETH , SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSTYN, KENNETH A, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOSTYN, KENNETH A, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MOSURE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MOTE, RUEBEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOTES, CATHERINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOTES, JAMES, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MOTES, JAMES, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


MOTES, THERESA LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOTES, TRAVIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOTHERSHED, GENE EDWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOTION CONTROL INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARLISLE CORPORATION
4040 LEWIS & CLARK DRIVE
CHARLOTTESVILLE, VA 22911


MOTION CONTROL INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


MOTION CONTROL INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


MOTION CONTROL INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


MOTION CONTROL INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4040 LEWIS & CLARK DR.
CHARLOTTESVILLE, VA 22911


MOTION INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 SILBER ROAD
HOUSTON, TX 77055




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOTION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2589 N E 33RD ST
FORT WORTH, TX 76111


MOTION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BEARING CHAIN UNIT
PO BOX 35487
DALLAS, TX 75235


MOTION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7428
LONGVIEW, TX 75607


MOTION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 849737
DALLAS, TX 75284-9737


MOTION INDUSTRIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1477
BIRMINGHAM, AL 35201-1477


MOTIVA ENTERPRISES LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 LOUISIANA STREET, SUITE 2002
ATTN: RYAN JONES
HOUSTON, TX 77002-4916


MOTIVA ENTERPRISES, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 LOUISIANA STREET
HOUSTON, TX 77002


MOTIVE EQUIPMENT INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8300 W SLESKE CT
MILWAUKEE, WI 53223-3844


MOTLEY, WADE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOTOR CASTINGS CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1323 65TH ST
MILWAUKEE, WI 53214


MOTOR VEHICLE CAS. CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOTOR WHEEL COMMERCIAL VEHICLE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 BROAD ST
CHATTANOOGA, TN 37408


MOTOROLA SEMICONDUCTOR PRODUCTS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6501 WILLIAM CANNON DRIVE WEST
AUSTIN, TX 78735


MOTOROLA SOLUTIONS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1303 E ALGONQUIN RD
SCHAUMBURG, IL 60196


MOTT, DALE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOTT, HILLIARD D. (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOTTON, BURNELL W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOTYLEWSKI, LES E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


MOUAT, ROBERT B , III, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT B MOUAT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOUDRY, NANCY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD M SZECH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOUERY, FREDERICK F , JR, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK F MOUERY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOULDER, GERALD V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOULIS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOULTON, DELLA D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF MYLES E. MOULTON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


MOULTRIE, CORNELIUS T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOULTRIE, JOHN H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MOUNT PLEASANT TITUS COUNTY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHAMBER OF COMMERCE
1604 N JEFFERSON
MOUNT PLEASANT, TX 75455


MOUNT VERNON MILLS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
2 OFFICE PARK COURT STE 103
COLUMBIA, SC 29223


MOUNT VERNON MILLS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED ARMSTRONG
BRYAN L SKELTON
115 NORTH BUCHANAN, PO BOX 368
EDWARDSVILLE, IL 62025


MOUNT VERNON MILLS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 100
503 S MAIN STREET
MAULDIN, SC 29662




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOUNTAIN FUEL RESOURCES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 11450
SALT LAKE CITY, UT 84147


MOUNTAIN STATES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5051 JOURNAL CENTER BLVD NE
ALBUQUERQUE, NM 87109


MOURAIN, CYNTHIA TAMPLAIN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOURAIN, GARY MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOUSER ELECTRONICS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 99319
FORT WORTH, TX 76199-0319


MOUSER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOUTON, ROBERT B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOUTTET, CHRISTOPHER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOUTTET, LIZABETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOWELL, CHARLOTTE, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF DELMER MOWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOWER, ALLEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOWERY, ANNA R, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF DONALD H MOWERY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOWERY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MOX, JANET D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOXEY, JOSEPH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOXLEY, DEBORA KAY, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM W MOXLEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOXLEY, THOMAS T , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN SZROM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOYD, ALTON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOYER, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MOYER, ELAINE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


MOYER, PATRICK, JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELIZABETH MOYER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOYER, PENNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MOYLAN, MARTIN I                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOYLAN, MARTIN I, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK J BORSELLA JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MOZINGO, BONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MOZINGO, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MPHS INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA KNAPE ASSOCIATES
10941 DAY ROAD
HOUSTON, TX 77043


MPHS INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA KNAPE ASSOCIATES
9219 KATY FREEWAY STE 200
HOUSTON, TX 77024


MPM PRODUCTS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1718 E GREVILLEA CT
ONTARIO, CA 91761




                                                                                                                                                                                                                   Page 2713 of 4224
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MPW INDUSTRIAL WATER SERVICES INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9711 LANCASTER RD SE
HEBRON, OH 43025


MPW INDUSTRIAL WATER SERVICES                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 PAYSPHERE CIRCLE
CHICAGO, IL 60674


MPW INDUSTRIAL WATER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES INC
1300 PAYSPHERE CIRCLE
CHICAGO, IL 60674


MRAKOVCIC, IVAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MRAZIK, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MROWKA, CATHERINE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MROZEK, CLARA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALEX R MROZEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MROZOWSKI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MRP MANDOLIN LP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA DISCOVERY AT MANDOLIN
2520 B GASKINS RD
RICHMOND, VA 23238


MRP SHADOW CREEK LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2520 B GASKINS RD
RICHMOND, VA 23238




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

MRVICA, DARINKO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MRVICIN, MARTIN JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MRVICIN, MARTIN, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MS ENTERPRISE FOR TECHNOLOGY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUILDING 1103 ROOM 140
STENNIS SPACE CENTER, MS 39529


MSC INDUSTRIAL SUPPLY CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 0075
PALATINE, IL 60055-0075


MSC INDUSTRIAL SUPPLY CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1605A HARRISON RD
LONGVIEW, TX 75604


MSC INDUSTRIAL SUPPLY CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEGAL DEPT.
75 MAXESS ROAD
MELVILLE, NY 11747


MSC INDUSTRIAL SUPPLY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9225 KING JAMES DR
DALLAS, TX 75247


MT PLEASANT RODEO ASSOCIATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 304
MOUNT PLEASANT, TX 75456


MT VERNON MILLS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 100
503 S MAIN STREET
MAULDIN, SC 29662


MT. ENTERPRISE ISD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 NW 3RD ST.
MT ENTERPRISE, TX 75681




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MT. PLEASANT ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
230 N. EDWARDS
MOUNT PLEASANT, TX 75455


MT. PLEASANT, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 N. MADISON AVE.
MOUNT PLEASANT, TX 75455


MT. VERNON ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 TEXAS 37
MOUNT VERNON, TX 75457


MTI INDUSTRIAL SENSORS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 SOUTHFORK
LEWISVILLE, TX 75057


MTL INSURANCE COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ADVANTUS CAPITAL MANAGEMENT INC.
ATTN: ADVANTUS LEGAL DEPT.
400 ROBERT STREET NORTH
SAINT PAUL, MN 55101


MUCCINO, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUCHOW, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUCHOW, RENEE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUDD, CAROL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUDD, JAMES L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MUDGETT, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MUEGGENBORG, NORBERT PAUL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUEHR, ERIC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUEHR, JASON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUEHR, LEO JOHN (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUELLER BELTING CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
314 OAKRIDGE RD
CARY, NC 27511


MUELLER INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8285 TOURNAMENT DR #150
MEMPHIS, TN 38125


MUELLER STEAM SPECIALTY CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1491 N CAROLINA 20
ST PAULS, NC 28384


MUELLER STEAM SPECIALTY CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1491 NC HWY 20 W
ST PAULS, NC 28384


MUELLER, BRYAN J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER L MUELLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MUELLER, JANICE H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUELLER, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUELLER, RANDALL T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

MUELLER, RICHARD A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MUERY, RUSSELL L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MUGGLESTON, JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUGNO, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MUHLBAUER, WALTER H                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUKANI, RATNA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MULCAHY, FRANCIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULDOON, RONALD A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULDOON, WILLIAM K                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULDOWNEY, MARTIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULE, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MULGREW, EDWARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULHOLLAND, AMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MULHOLLAND, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULHOLLAND, JAMES F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULHOLLAND, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULKEY, MARIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULKEY, VERONICA J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULKEY, WESLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULKEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULL, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MULLADY, PATRICK L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLAHEY, MICHAEL W , SR, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD H MULLAHEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLAHEY, MICHAEL W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MULLANEY, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MULLAUER, CHARLES R, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES F MULLAUER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLEN, JOHN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MULLEN, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLEN, LONNIE G, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEROY F MULLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLEN, MARVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MULLEN, MICKEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLEN, PATRICK J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MULLEN, ROBERT W--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


MULLEN, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLEN, SARAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLEN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLENAX, JANIS R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLENAX, JANIS R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLENAX, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLENAX, VIRGIL H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


MULLENS, BURNEY B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MULLENS, ERIC W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLENS, JOYCE A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLENS, JOYCE A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


MULLENS, STEVEN B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLER, JOHN R, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLER, NOEL T, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEODORE PEPLINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLET, JACOB (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLIGAN, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

MULLIGAN, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLIGAN, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MULLIGAN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MULLIN, GEORGE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLIN, STEPHANIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLINAX, TERRY HANSEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MULLINS , FINNIE (FENNIE), JR                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


MULLINS, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLINS, DOUGLAS W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MULLINS, JOAN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HOWARD MULLINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLINS, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MULLINS, PETER F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MULLINS, ROBERT G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULLINS, RONDLE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MULROONEY, EDWARD O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MULTER, RAYMOND J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MULTERER, JOHN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MULVAHILL, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

MULVEY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUMFORD, RONALD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MUMMERT, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MUMUR CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
137 BRAM FISCHER DR
BLAIRGOWRIE
RANDBURG
GAUTENG, 02194


MUNACO PACKING & RUBBER CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 KETRON COURT
GREENVILLE, SC 29607


MUNACO PACKING & RUBBER CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEATS & SHAPIRO
131 MINEOLA BOULEVARD, SUITE 10
MINEOLA, NY 11501


MUNACO PACKING & RUBBER CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF STEVEN KEATS
STEVEN L. KEATS, ESQ.
131 MINEOLA BLVD
MINEOLA, NY 11501


MUNACO PACKING & RUBBER CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVEN L. KEATS, ESQ
STEVEN L. KEATS LAW OFFICE
131 MINEOLA BLVD
MINEOLA, NY 11501




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Name of Counterparty                                                                                          Nature

MUNCH, MARSHALL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNDAY, CLARA JO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MUNDAY, RONALD DEAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNDERVILLE, WILLIAM, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


MUNDET CORK COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CROWN CORK & SEAL
ONE CROWN WAY
PHILADELPHIA, PA 19154-4599


MUNDINE, DAVID L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MUNDY BROTHERS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
49 COLVILLE RD
TORONTO, ON M6M 2Y2
CANADA

MUNDY CONSTRUCTION COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SARA COLE
11505 S. WILCREST DR.
HOUSTON, TX 77099


MUNDY INDUSTRIAL MAINTENANCE INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A. BENJAMIN RAMSEY
1150 SOUTH WILCREST DRIVE, 3RD FLOOR
HOUSTON, TX 77099


MUNDY INDUSTRIAL MAINTENANCE INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FUNDERBURK FUNDERBURK COURTOIS, LLP
MARY ANN DOUGHARTY
2777 ALLEN PRKWY, #1000
HOUSTON, TX 77019




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MUNDY INDUSTRIAL MAINTENANCE INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SARA COLE
11505 S. WILCREST DR.
HOUSTON, TX 77099


MUNDY MAINTENANCE SERVICES & OPERATIONS LLC                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OPERATIONS LLC
A. BENJAMIN RAMSEY
1150 SOUTH WILCREST DRIVE, 3RD FLOOR
HOUSTON, TX 77099


MUNDY OPERATIONS SUPPORT INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALBERT B. RAMSEY
2200 POST OAK BOULEVARD, SUITE 420
HOUSTON, TX 77056


MUNDY PLANT MAINTENANCE INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11150 S WILDCREST DR #300
HOUSTON, TX 77099


MUNDY SERVICE CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A. BENJAMIN RAMSEY
1150 SOUTH WILCREST DRIVE, 3RD FLOOR
HOUSTON, TX 77099


MUNDY SUPPORT SERVICES LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A. BENJAMIN RAMSEY
1150 SOUTH WILCREST DRIVE, 3RD FLOOR
HOUSTON, TX 77099


MUNDY TECHNICAL SERVICES INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A. BENJAMIN RAMSEY
1150 SOUTH WILCREST DRIVE, 3RD FLOOR
HOUSTON, TX 77099


MUNDY, CATHERINE J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN D MUNDY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MUNDY, DORIS V, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER D MUNDY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

MUNGER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNGER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNICH RE TRADING LTD.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21 WATERWAY AVENUE, STE 450
ATTN: PRESIDENT
THE WOODLANDS, TX 77380


MUNIZ, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNJACK, CAROL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNJACK, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNLEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNN, ZELMA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNNELLY, JOHN EDWARD, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN MUNNELLY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MUNOZ NAVARRO, LUIS ANDRES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

MUNOZ URBINA, JORGE PATRICIO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, CECILIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, CYNTHIA ANNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, FRANCISCO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, IGNACIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, JOHN GABRIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUNOZ, WILFREDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUNRO PETROLEUM & TERMINAL CORP.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
540 E. BAYVIEW AVENUE
PO DRAWER 247
BILOXI, MS 39533


MUNRO PETROLEUM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 PORTER AVENUE
BILOXI, MS 39530


MUNRO, DAVID T., SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MUNSELL, TRAVIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNSKI, ERVIN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MUNSON, WILBUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUNTERS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1338 SOLUTIONS CENTER
CHICAGO, IL 60677-1003


MUNTERS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
160 RARITAN CENTER PKWY
EDISON, NJ 08837


MUNTON, PEGGY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF TAYLOR J. MUNTON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


MUNTON, ZELDEAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF ELDON MUNTON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


MURACA, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURAD, FREDRICK P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MURANKO, ALICE R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURATORE, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURATORE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURAWSKI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURCH, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURCO WALL PRODUCTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2032 N COMMERCE ST
FORT WORTH, TX 76164


MURCO WALL PRODUCTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE HEADQUARTERS
2032 N. COMMERCE
FORT WORTH, TX 76164


MURCO WALL PRODUCTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEANS & LYONS, LLP
GREGORY LEE DEANS
325 NORTH SAINT PAUL STREET, STE 1500
DALLAS, TX 75201


MURCO WALL PRODUCTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEANS & LYONS, LLP
KATHERINE HILLARY HA STEPP
325 N. SAINT PAUL ST., STE. 1500
DALLAS, TX 75201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

MURDOCH, JACK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURDOCK ENGINEERING CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT GUSMAN,ASSTSECTY.,AGENT
4500 PARK GRANADA BLVD.
CALABASAS, CA 91399


MURDOCK ENGINEERING COMPANY BY LOCKHEED CORPORATION                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 LEXINGTON AVE
NEW YORK, NY 10170


MURDOCK ENGINEERING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 W. AIRPORT FREEWAY
IRVING, TX 75062


MURDOCK LEAD COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 W MOCKINGBIRD LN
DALLAS, TX 75247


MURDOCK LEAD COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 W. MOCKINGBIRD LANE
DALLAS, TX 75247


MURDOCK, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURDOCK, ALPHONSE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MURDOCK, DON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

MURDOCK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURLEY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURMUR CORP.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2823 N. WESTMORELAND ROAD
DALLAS, TX 75212


MURMUR CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 224566
2815 N. WESTMORELAND ROAD
DALLAS, TX 75212


MURMUR LEASING CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8600 THACKERY #6208
DALLAS, TX 75225


MURMUR                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2823 N. WESTMORELAND ROAD
DALLAS, TX 75212


MURPH METALS COMPANY, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 STEMMONS FWY, SUITE 1800
DALLAS, TX 75207


MURPH METALS COMPANY, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
380 E MAIN STREET
EAST MIDDLEBURY, VT 05740


MURPHEY, CINDY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURPHY OIL CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MURPHY BLDG., 200 PEACH STREET
EL DORADO, AK 71730




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MURPHY, ALBERT HERSTON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


MURPHY, ALVIN V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MURPHY, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURPHY, BETTY J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS E MURPHY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, BRENDA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALLAN M KNIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, DEBBIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MURPHY, DEBORA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM BEGETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, ELEANOR M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MURPHY, GARA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, GERARD E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURPHY, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


MURPHY, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MURPHY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

MURPHY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MURPHY, MICHAEL PATRICK, II                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MURPHY, MICHAEL R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MURPHY, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MURPHY, NELSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MURPHY, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURPHY, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MURPHY, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURPHY, ROBERT E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURPHY, RUSSELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURPHY, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURRAIN, MASON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURRAY ENERGY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9730 SKILLMAN ST
DALLAS, TX 75243


MURRAY, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURRAY, CHRISTINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURRAY, CINDY L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MURRAY, DAVID EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURRAY, DAVID M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MURRAY, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURRAY, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MURRAY, JAMES G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURRAY, JAMES HENRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURRAY, JAMES I                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURRAY, JAMES P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MURRAY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURRAY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MURRAY, JOHN T.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


MURRAY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURRAY, MORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MURRAY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURRAY, THOMAS D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MURRAY, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURRAY, WAYNE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MURTHA, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MURUA, BERNARDO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

MUSALO, RAYMOND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUSAP, BOZO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUSCARELLA, NICHOLAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUSE, SONEY M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSGROVE, FRANK AND BARBARA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSGROVE, FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSHENO, ROBERT LYNN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUSHINSKY, HOLLY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSHINSKY, WALTER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSIC MOUNTAIN WATER CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 STONER AVE
SHREVEPORT, LA 71101


MUSIC MOUNTAIN WATER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 STONER AVE
SHREVEPORT, LA 71101




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

MUSICK, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUSICK, VIOLA M, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JASON C MUSICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MUSIL, WALLACE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUSSER, ROY D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUSTAC, MILIVOJ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUSTACCHIO, PETER J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MUSTANG DRILLING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1810
HENDERSON, TX 75653


MUSTANG RIDGE APARTMENTS LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA MUSTANG RIDGE APARTMENTS
3601 GRAPEVINE MILLS PKWY
GRAPEVINE, TX 76051


MUSTON, EDDIE, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MUSUMECI, MATTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MUTTER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MUTUAL FIRE & MARINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 MARKET ST.
PHILADELPHIA, PA 19102


MUTUAL OF OMAHA INSURANCE CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12750 MERIT DR
DALLAS, TX 75251


MUUER, JOSEPH W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MUXIE, STEPHEN P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


MUXO, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MUZIK, JAMES F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MVS COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM D BONEZZI, BONEZZI
SWITZER MURPHY POLITO & HUPP
CO LPA 1300 E 9TH ST STE 1950
CLEVELAND, OH 44114


MW CUSTOM PAPERS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40 WILLOW STREET
SOUTH LEE, MA 01260




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MW CUSTOM PAPERS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110


MW CUSTOM PAPERS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


MW CUSTOM PAPERS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


MW SMITH EQUIPMENT INC, A DXP COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DXP ENTERPRISES INC
7272 PINEMONT
HOUSTON, TX 77040


MYARIS, IOANNIS S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYER, GENEVA (WOELFEL)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS SERVICES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 210009
BEDFORD, TX 76095-7009


MYERS, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS, BARNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, BRINDA SERVANTEZ                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MYERS, CARL T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, CHRISTINA M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, CLARENCE J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J MYERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, DARWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYERS, DENNIS F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, EDWARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


MYERS, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, HATTIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

MYERS, HOWARD J, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, HOWARD STEWART                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS, JAMES AVERY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, LEO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, MAX                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS, MAX                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


MYERS, MELVIN C, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, NANCY E. AND KEITH R. MYERS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

MYERS, NANCY E. AND KEITH R.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


MYERS, OSCAR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYERS, ROBERT D, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, ROBERT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, ROBERT K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYERS, ROBERT KEITH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYERS, ROBERT T., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYERS, SD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS, TODD R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


MYERS, VIOLA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BRADLEY G MYERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


MYERS, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

MYERS, YOLANDA K                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYKYTIUK, PAUL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYKYTIUK, SR., PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


MYNAR, DAKOTA WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYNAR, DARRELL WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYNAR, DEREWOOD M                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYNAR, DERRICK FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYNAR, TANYA DENISE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYRNA JEFFREY, AS SURVIVING HEIR OF JOEL JEFFREY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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MYRON, JOSEPH G.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


MYRTER, GERALD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

N I B C O INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1516 MIDDLEBURY STREET
PO BOX 1167
ELKHART, IN 46515-1167


N Y PROTECTIVE COVERING                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKLYN NAVY YARD, BLG 3
BROOKLYN, NY 11205


N. E. LEON COUNTY ESD #4                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 37
TAX COLLECTOR
CENTERVILLE, TX 75833-0037


N. W. LEON COUNTY ESD #3                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 37
TAX COLLECTOR
CENTERVILLE, TX 75833-0037


NABOURS, JAMES A & GERANE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NABOURS, JAMES A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NACCARELLA, ANTHONY E                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NACCO INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5875 LANDERBROOK DR
SUITE 220
CLEVELAND, OH 44124


NACCO INDUSTRIES, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 SULLIVAN DRIVE
GREENVILLE, NC 27834


NACCO MATERIALS HANDLING GROUP INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 MENELAUS RD
SUITE 220
BEREA, KY 40403


NACE, LARRY DUANE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NACOGDOCHES COUNTY CENTRAL APPRAISAL DIS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
P.O. BOX 2007
TYLER, TX 75710


NACOGDOCHES COUNTY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 W MAIN ST #170
NACOGDOCHES, TX 75961


NACOGDOCHES ESD #3                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 WEST HOSPITAL
TAX COLLECTOR
NACOGDOCHES, TX 75961


NACOGDOCHES ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 S. SHAWNEE
NACOGDOCHES, TX 75961


NACOGDOCHES, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 E PILLAR ST
NACOGDOCHES, TX 75961


NADEAU, ROBERT D--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NADEAU, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


NADOLNY, NANCY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NADOLNY, STEVE J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAGEL BUSH MECHANICAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8400 2ND AVE N
MINNEAPOLIS, MN 55401




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NAGEL, FREDERICK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAGELHOUT, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NAGELMEYER, EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAGLE PUMPS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST
CHICAGO, IL 60604


NAGLE PUMPS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1249 CENTER AVENUE
CHICAGO HEIGHTS, IL 60411


NAGLE PUMPS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


NAGLE PUMPS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST
CHICAGO, IL 60604


NAGLE PUMPS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSEK, NILLES & SINARS, LLC
DOUGLAS MICHAEL SINARS
55 W MONROE ST STE 700
CHICAGO, IL 60603




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NAGLE PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, L.L.C.
DOUGLAS MICHAEL SINARS
55 W MONROE ST, SUITE 700
CHICAGO, IL 60603


NAGLE PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 633162
CINCINNATI, OH 45263-3162


NAGLE PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
ROBERT L. ADAMS, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


NAGLE PUMPS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1249 CENTER AVENUE
CHICAGO HEIGHTS, IL 60411


NAGLE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAGY, FRANK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAGY, SANDRA, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LASZLO NAGY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAIK, PARESH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NAIMO, BENEDICT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NAITONAL PARK CONVERSATION ASSOCIATION                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
ABIGAIL M. DILLEN
48 WALL STREET, 19TH FLOOR
NEW YORK, NY 10005


NAITONAL PARK CONVERSATION ASSOCIATION                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
THOMAS J. CMAR
5042 N. LEAVITT ST, SUITE 1
CHICAGO, IL 60625


NAIVAR, DIANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NAJARIAN, SARKIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAKASONE, STANLEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NAKUNZ, CHRISTOPHER ALAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FISHER BOYD JOHNSON & HUGUENARD, LLP
2777 ALLEN PKWY
14TH FLOOR
HOUSTON, TX 77019


NALCO ANALYTICAL RESOURCES                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 WEST DIEHL ROAD
NAPERVILLE, IL 60563-1198


NALCO CHEMICAL CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ONDEO NALCO CO.
ONDEO NALCO CENTER
NAPERVILLE, IL 60563


NALCO CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 W. DIEHL ROAD
NAPERVILLE, IL 60563-1198




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                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

NALCO CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CHAD PECHMAN
1601 W. DIEHL RD
NAPERVILLE, IL 60563


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1249 CENTER AVENUE
CHICAGO HEIGHTS, IL 60411


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 WEST DIEHL ROAD
NAPERVILLE, IL 60563


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7705 HWY 90A
SUGAR LAND, TX 75152


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7705 HWY 90A
SUGAR LAND, TX 77478


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70716
CHICAGO, IL 60673-0716


NALCO COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730005
DALLAS, TX 75373-0005


NALCO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JODY FAUST
421 S. LYNNWOOD TRAIL
CEDAR PARK, TX 78613


NALL, GARY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NALLEY, BRIAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NALYWAJKO, KATERINA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NALYWAJKO, OREST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NALYWAJKO, VALENTINA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NAMIAS, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NANCE, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NANCE, MARTHA GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NANNEY, WILLIAM RICHARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NANSTEEL, TERRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAPA AUTO PARTS STORE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 FERGUSON RD.
MOUNT PLEASANT, TX 75455


NAPA AUTO PARTS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 W FERGUSON
MOUNT PLEASANT, TX 75455


NAPA TIRE & AUTO SUPPLY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1257
ROCKDALE, TX 76567


NAPOLI, FRANK J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NAPOLITANO, SALVATORE P.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NAPPER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NARCISSE, LAURENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NARDELLA, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NAREPECHA, PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NARIVANCHIK, CATRINA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VINCENT A AUFFARTH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NARKIEWICZ, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NARVAEZ, CARLOS BERNABE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NASH ENGINEERING CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 TREFOIL DRIVE
TRUMBULL, CT 06611


NASH ENGINEERING CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NASH, ARTHUR P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


NASH, HERBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NASH, LYNDIA A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NASH, ROBERT S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NASH, ROY A.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NASH, ROY J                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NASS, TERRENCE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NASSO, DOMINICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NASWORTHY, JESSIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NATICAK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                                          Nature

NATION, JOHNNY A                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF COLORED PEOPLE EARTH JUSTICE
JAMES SAMUEL PEW
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212


NATIONAL ASSOCIATION FOR THE MEDICAL DIRECTION OF RESPIRATORY CARE                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RESPIRATORY CARE TULANE LAW SCHOOL
ADAM BABICH, ENVIRONMENTAL LAW
CLINIC, 130B, 6329 FRERET STREET
NEW ORLEANS, LA 70118-6231


NATIONAL AUTOMOTICE PARTS ASSOCIATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1201 PEACHTREE ST NE
ATLANTA, GA 30361


NATIONAL AUTOMOTIVE PARTS ASSOCIATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2999 CIRCLE 75 PKWY
ATLANTA, GA 30339


NATIONAL AUTOMOTIVE PARTS ASSOCIATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BREUNINGER & FELLMAN
SUSAN FELLMAN
1829 FRONT STREET
SCOTCH PLAINS, NJ 07076


NATIONAL AUTOMOTIVE PARTS ASSOCIATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
30600 TELEGRAPH ROAD
BINGHAM FARMS, MI 48025


NATIONAL BLACK CHAMBER OF COMMERCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
ANDREW M. GROSSMAN, WASHINGTON SQUARE,
SUITE 1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NATIONAL BLACK CHAMBER OF COMMERCE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
DAVID B. RIVKIN, JR., ESQ, WASHINGTON
SQUARE, STE 1100, 1050 CONNECTICUT AV NW
WASHINGTON, DC 20036-5304


NATIONAL BLACK CHAMBER OF COMMERCE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
LEE CASEY, WASHINGTON SQUARE, SUITE
1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304


NATIONAL BLACK CHAMBER OF COMMERCE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & HOSTETLER LLP
MARK W. DELAQUIL, WASHINGTON SQUARE,
SUITE 1100, 1050 CONNECTICUT AVENUE, NW
WASHINGTON, DC 20036-5304


NATIONAL BUSINESS FURNITURE-ATL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1819 PEACHTREE RD NE
STE 520
ATLANTA, GA 30309


NATIONAL BUSINESS FURNITURE-ATL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 514052
MILWAUKEE, WI 53203-3452


NATIONAL CAR RENTAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7700 FRANCE AVEN SOUTH
MINNEAPOLIS, MN 55435


NATIONAL CASH REGISTER CORP.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
431 E. HANNA AVE.
INDIANAPOLIS, IN 46227


NATIONAL CHEMSEARCH CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2730 CARL ROAD
IRVING, TX 75062


NATIONAL CHEMSEARCH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 152170
IRVING, TX 75015


NATIONAL CHROME                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                                           Retained Causes of Action

                                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                              Nature

NATIONAL ENVIRONMENTAL DEVELOPMENT ASSOCIATION'S CLEAN AIR ACT PROJECT                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR ACT PROJECT
RITTS LAW GROUP, PLLC
LESLIE S. RITTS, 620 FORT WILLIAMS PKWY
ALEXANDRIA, VA 22304-0000


NATIONAL FIELD SERVICES                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
649 FRANKLIN ST
LEWISVILLE, TX 75057


NATIONAL FIELD SERVICES                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
649 FRANKLIN STREET
LEWISVILLE, TX 75057


NATIONAL FLAME & FORCE, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1849
HOUSTON, TX 77251-1849


NATIONAL GRID GENERATION LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
BRENDAN K. COLLINS
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


NATIONAL GRID GENERATION LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
ROBERT BRUCE MCKINSTRY, JR.
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


NATIONAL GRID GENERATION LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CULLEN & DYKMAN, LLP
177 MONTAGUE STREET - 4TH FLOOR
BROOKLYN, NY 11210


NATIONAL GYPSUM COMPANY                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


NATIONAL MAINTENANCE & REPAIR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 S HAWTHORNE ST
HARTFORD, IL 62048




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

NATIONAL METALS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BARRY SHAPIRO
320 SOUTH 19TH AVENUE
PHEONIX, AZ 85009


NATIONAL MINING ASSOCIATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
GEORGE Y. SUGIYAMA
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


NATIONAL MINING ASSOCIATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
MICHAEL H. HIGGINS
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


NATIONAL MINING ASSOCIATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
PETER S. GLASER
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


NATIONAL OIL WELL VARCO INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7909 PARKWOOD CIRCLE DR
HOUSTON, TX 77036


NATIONAL OILWELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10000 RICHMOND AVENUE
HOUSTON, TX 77042


NATIONAL PUMP & COMPRESSOR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3404 N NE LOOP 323
TYLER, TX 75708


NATIONAL PUMP & COMPRESSOR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301758
DALLAS, TX 75303-1758


NATIONAL PUMP AND COMPRESSOR                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8300 SOVEREIGN ROW
DALLAS, TX 75247




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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

NATIONAL REFRACTORIES & MINERALS CORP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JENKINS GROVE & MARTIN
GAIL C. JENKINS
PO BOX 26008
BEAUMONT, TX 77720-6008


NATIONAL RESEARCH CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1245 Q. ST.
LINCOLN, NE 68508


NATIONAL SCIENTIFIC BALLOON FACILITY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHEN HOTTMAN,PROGRAM MANAGER
PO BOX 319
PALESTINE, TX 75802-0319


NATIONAL SERVICE INDUSTIRES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 PEACHTREE STREET NE, SUITE 200
ATLANTA, GA 30309-3002


NATIONAL SERVICE INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 PEACHTREE STREET NE
SUITE 200
ATLANTA, GA 30309-3002


NATIONAL SERVICE INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
40 TECHNOLOGY PARKWAY 300
NORCROSS, GA 30092


NATIONAL SERVICE INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


NATIONAL SERVICE INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


NATIONAL SERVICE INDUSTRIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

NATIONAL SERVICE INDUSTRIES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1420 PEACHTREE STREET NE, SUITE 200
ATLANTA, GA 30309-3002


NATIONAL STARCH & CHEMICAL CORP.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1049
1165 N. GREAT SOUTHWEST PARKWAY
GRAND PRAIRIE, TX 75050


NATIONAL STARCH AND CHEMICAL COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 WESTBROOK CORPORATE CENTER
WESTCHESTER, IL 60154


NATIONAL STARCH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H.E. GRAULICH,DIV.VP,SFTY.& ENV.AFFRS
10 FI NDERNE AVE.
BRIDGEWATER, NJ 08807


NATIONAL STOCKYARDS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION
208 S. LASALLE
CHICAGO, IL 60604


NATIONAL SUPPLY CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE OXFORD CENTRE
301 GRANT STREET
PITTSBURG, PA 15219-1415


NATIONAL SURETY CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
233 S. WACKER DR., SUITE 2000
CHICAGO, IL 60606


NATIONAL SWITCHGEAR SYSTEMS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA NATIONAL FIELD SERVICES
649 FRANKLIN STREET
LEWISVILLE, TX 75057-2301


NATIONAL SWITCHGEAR SYSTEMS NORTH TEXAS,                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC. D/B/A NATIONAL FIELD SERVICES
ATTN: CASEY BLEVINS
649 FRANKLIN STREET
LEWISVILLE, TX 75057




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NATIONAL SWITCHGEAR SYSTEMS NORTH TX INC                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A NATIONAL FIELD SERVICES
ATTN: CASEY BLEVINS
649 FRANKLIN ST
LEWISVILLE, TX 75057


NATIONAL SWITCHGEAR SYSTEMS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
649 FRANKLIN STREET
LEWISVILLE, TX 75057


NATIONAL TISSUE CO LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3326 E LAYTON AVE
CUDAHY, WI 53110


NATIONAL UNION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 PINE STREET
NEW YORK, NY 10270


NATKIN & COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4445 S 74TH EAST AVE
TULSA, OK 74145-4732


NATKIN & COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


NATKIN & COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE OF TEXAS
PO BOX 12079
AUSTIN, TX 78711-2079


NATKIN & COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
GEORGE P. PAPPAS
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


NATKIN SERVICE CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10460 SHADY TRL
DALLAS, TX 75220




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NATKIN SERVICE CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
GEORGE P. PAPPAS
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


NATURAL GAS MANAGEMENT INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4023 BODEN LN
SPRING, TX 77386-2079


NATURAL GAS MANAGEMENT INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5706 NODAWAY LN
SPRING, TX 77379


NATURAL GAS ODORIZING, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5005 LBJ FREEWAY; SUITE 2200
DALLAS, TX 75244


NATURAL RESOURCES COUNCIL OF MAINE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
ANN BREWSTER WEEKS
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


NATURAL RESOURCES COUNCIL OF MAINE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
DARIN T. SCHROEDER
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


NATURAL RESOURCES DEFENSE COUNCIL                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
ABIGAIL M. DILLEN
48 WALL STREET, 19TH FLOOR
NEW YORK, NY 10005


NATURAL RESOURCES DEFENSE COUNCIL                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
THOMAS J. CMAR
5042 N. LEAVITT ST, SUITE 1
CHICAGO, IL 60625


NATURAL RESOURCES DEFENSE COUNCIL                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN DUVAL WALKE
1152 15TH STREET, NW, SUITE 300
WASHINGTON, DC 20005




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NATZKE, DORIS, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARVIN NATZKE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAULT, DONALD J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NAULT, FRANCIS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NAUMAN, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NAUSBAUM, THOMAS L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAVARRETE, ABELARDO D                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NAVARRO CO ELECTRIC COOP INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 650299
DALLAS, TX 75265-0299


NAVARRO COLLEGE DIST.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3200 W. 7TH AVENUE
CORSICANA, TX 75110


NAVARRO COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NAVARRO COUNTY COURTHOUSE
300 WEST 3RD AVENUE
CORSICANA, TX 75110


NAVARRO, JOSE A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NAVARRO, JOSE A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NAVASOTA VALLEY ELECTRIC COOPERATIVE                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848
FRANKLIN, TX 77856


NAVASOTA VALLEY ELECTRIC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848
FRANKLIN, TX 77856-0848


NAVIKA CAPITAL GROUP, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1274 RXR PLZ
UNIONDAL, NY 11556-1200


NAVISTAR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 NAVISTAR DRIVE
LISLE, IL 60532


NAVISTAR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


NAVISTAR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


NAVISTAR INTERNATIONAL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 NAVISTAR DRIVE
LISLE, IL 60532


NAVISTAR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 NAVISTAR DRIVE
LISLE, IL 60532


NAVOLA, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NAY, DEMONT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAYLOR, JOHN P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAYLOR, RICHARD C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NAYLOR, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NAZARENO, RUBEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NCH CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2727 CHEMSEARCH BLVD.
IRVING, TX 75062


NCH CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEBORAH CHADBOURNE,REG.AFRS,AGENT
2727 CHEMSEARCH BLVD.
IRVING, TX 75062


NCH CORP./MOHAWK LABS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2730 CARL RD.
IRVING, TX 75062


NCH CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2727 CHEMSEARCH BLVD.
IRVING, TX 75062


NCR CORP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3097 SATELLITE BLVD #100
DULUTH, GA 30096




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Name of Counterparty                                                                                          Nature

NCR CORP. - SYSTEM MEDIA PLANT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5247
3000 AVENUE F EAST
ARLINGTON, TX 76011


NCR CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 S. PATTERSON BLVD.
DAYTON, OH 45479


NDE INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 121326
FORT WORTH, TX 76121


NE TEXAS COMM COLLEGE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2886 FM 1735
CHAPEL HILL ROAD
MOUNT PLEASANT, TX 75455


NE TX COMMUNITY JR. COLLEGE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2886 FARM TO MARKET 1735
MOUNT PLEASANT, TX 75455


NEAL PLATING CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BILLY NEAL,JR,AGENT
RT 1,BOX 312-5
BELLS, TX 75414


NEAL PLATING CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R R 1 BOX 312
HWY 82 W 3 MI
BELLS, TX 75414


NEAL PLATING COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
196 NEAL AVE
BELLS, TX 75414


NEAL, ARGUS D, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEAL, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEAL, GARY W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEAL, JASON TRIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEAL, KENNETH R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEAL, RICHARD WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


NEARY, ANDREW M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NEARY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEARY, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEARY, RICK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEASE, ZACHARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEAT, RUDOLPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEBLETT, TERRY N, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GUSS NEBLETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEBRASKA STATE TREASURER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNCLAIMED PROPERTY DIVISION
809 P STREET
LINCOLN, NE 68508-1390


NECHODOMU, GERALD AND TERRY NECHODOMU                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NECZPIR, JASON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEE, JOHN J--EST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NEE, STEPHANIE M--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NEEB, NEIL M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEELD, DOROTHY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEELD, WILLIAM J, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEELEY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEELY, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEENAH FOUNDRY COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 BROOKS AVE
NEENAH, WI 54956


NEENAH PAPER INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3460 PRESTON RIDGE ROAD
SUITE 600
ALPHARETTA, GA 30005


NEFF, CAROLYN H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEFF, CLARENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEFF, FRANCIS H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEFF, FREDERICK JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEFF, THOMAS BRIEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NEFF, WENDELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEGLEY, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEICHERIL, SIMON J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEIDERT, JAMES G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEIDLINGER, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEIGHBORS, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEIGHOFF, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEILD, ALLAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEILIO, LES J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NEILL, DELMAR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEIMEYER, VICKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEIPERT, PHILIP F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NELES JAMESBURY INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
640 LINCOLN STREET
PO BOX 15004
WORCESTER, MA 01615-0004


NELL, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELLAMS, BOOKER T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELLAMS, BOOKER T.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELMS, WILLIAM CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSEN, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, ALVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, BENNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NELSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, DERRIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, DONALD CHRIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NELSON, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, DOUGLAS JAMES, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NELSON, GARY LEROY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NELSON, GEORGE DONALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NELSON, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, HUBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, IAN STEPHEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NELSON, JAMES STANLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NELSON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, JULIA B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NELSON, JULIA B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, JULIE K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, KEITH D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NELSON, KENNETH E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NELSON, LOCKETT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


NELSON, MADELINE L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NELSON, NEVILLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NELSON, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NELSON, SEAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

NELSON, SHARON, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN NELSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NELSON, TIMOTHY D., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NELSON, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NELSON, WINSTON, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


NELSON-LOWHAR, BETTIE J.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NELSON-SINGLETON, FLORRIET, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM W SINGLETON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEMETH, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEMETH, EUGENE L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

NEMETH, RAYMOND E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NEMETZ, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEMNOM, MARY ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NENADICH, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NENOS, EVANGELOS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NERI, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NESBIT, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NESBIT, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NESBITT, LESLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NESE, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

NESSEN, DONALD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NESTLE USA INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 NORTH BRAND BOULEVARD
GLENDALE, CA 91203


NETCO                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1093 RIDGE RD
WINDSOR, ME 04363


NETLAND, ALI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETLAND, ALLEN M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETLAND, CHASE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETLAND, CHASTINE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETLAND, KIMBERLY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETLAND, MERCEDES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NETLAND, SYDNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


NETO, ELEANOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NETO, REGINALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NETTLE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NETTLES, COLUMBUS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NETTLES, COLUMBUS, SR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARIE NETTLES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NETTLES, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NETTLES, GREGORY C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


NETTLES, GREGORY CHARLES, SR.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

NETTLES, JOHNNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NETWORK & SECURITY TECHNOLOGIES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
161 N MIDDLETOWN RD
PEARL RIVER, NY 10965-2101


NETWORK & SECURITY TECHNOLOGIES, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ADAM LIPSON
161 N. MIDDLETOWN ROAD
PEARL RIVER, NY 10965


NETZ, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NETZ, RISHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEU, MICHAEL T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEUBERGER, THOMAS J, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN KLEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEUIN, SAMUEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEULAND, FLORENCE Y, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH NEULAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEUMAN, FREDERIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEUMANN, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEUMAYER, GEORGE J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEUMUTH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEUNDORFER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4590 HAMANN PKWY
WILLOUGHBY, OH 44094


NEVELS, ALBERT H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEVES & CROWTHER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERRY NEVES
1802 BROADWAY
SUITE 206
GALVESTON, TX 77550-4953


NEVILLE, HUBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEVITT, LAWRENCE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEVLE, LINDA W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEW DELL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13750 HOLLISTER ROAD
HOUSTON, TX 77086




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Name of Counterparty                                                                                            Nature

NEW ENGLAND INSULATION CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
129 LYMAN ST
WOONSOCKET, RI 02895


NEW ENGLAND VILLAGE HOLDINGS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 WEST PIONEER PARKWAY
ARLINGTON, TX 76010


NEW HAMPSHIRE INDEMNITY CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 PINE STREET
14TH FLOOR
NEW YORK, NY 10270


NEW HAMPSHIRE INS. CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 WATER STREET, 18TH FLOOR
NEW YORK, NY 10038


NEW HOLLAND NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 DILLER AVENUE
NEW HOLLAND, PA 17557


NEW JERSEY OFFICE OF THE STATE TREASURER                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNCLAIMED PROPERTY
PO BOX 214
TRENTON, NJ 08695-0214


NEW MEXICO POWER CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILLS, SHIRLEY, EXCKEL & BASSETT
JACK C BROCK
2228 MECHANIC STREET, SUITE 400
GALVESTON, TX 77553


NEW PIG CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE PORK AVE
TIPTON, PA 16684-0304


NEW PROSPECT WATER SUPPLY CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2937 STATE HIGHWAY 43 E
HENDERSON, TX 75652


NEW VALLEY CORPORATION, FORMERLY WESTERN UNION COR                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 SE 2ND ST
MIAMI, FL 33131




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Name of Counterparty                                                                                                  Nature

NEW WORLD POWER TEXAS RENEWABLE ENERGY LIMITED PARTNERSHIP                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS BIG SPRING, L.P.
C/O CAITHNESS ENERGY, L.L.C.
565 FIFTH AVENUE, 29TH FLOOR
NEW YORK, NY 10017


NEW WORLD POWER TEXAS RENEWABLE ENERGY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LIMITED PARTNERSHIP
ATTN: AL AUSTIN, SECRETARY
558 LIME ROCK ROAD
LAKEVILLE, CT 06039


NEW YORK AIR BRAKE CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
748 STARBUCK AVE
WATERTOWN, NY 13601


NEW YORK PROTECTIVE COVERING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKLYN NAVY YARD, BLG 3
BROOKLYN, NY 11205


NEW YORK PROTECTIVE COVERING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MOUND, COTTON, WOLLAN & GREENGRASS
ONE BATTERY PARK PLAZA
NEW YORK, NY 10004


NEW YORK STATE DEPARTMENT OF                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TAXATION AND FINANCE
NYS ASSESSMENT RECEIVABLES
PO BOX 4127
BINGHAMTON, NY 13902-4127


NEWARK ELEMENT14                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 S RIVERSIDE PLZ STE 2200
CHICAGO, IL 60606-6765


NEWARK ELEMENT14                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 94151
PALATINE, IL 60094-4151


NEWARK GROUP INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 JACKSON DR
CRANFORD, NJ 07016


NEWARK INONE                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 PLACID AVE STE 300
PLANO, TX 75074




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NEWARK INONE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 94151
PALATINE, IL 60094-4151


NEWBERRY EXECUTIVE COACHING &                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING LLC
14902 PRESTON RD STE 404-118
DALLAS, TX 75254


NEWBERRY EXECUTIVE SOLUTIONS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14902 PRESTON RD STE 404118
DALLAS, TX 75254


NEWBERRY, WILLIAM H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEWBORN, FLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NEWBORN, JESSE LOUIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NEWBY, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWCOMB, DONALD PATRICK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWCOMB, JAMES L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NEWELL, KIRBY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


NEWELL, KIRK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWELL, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NEWHARD, ADAM F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEWHOUSE, JANET R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NEWING, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


NEWMAN, ARCHIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, DARRELL W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, JAMES LESLIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NEWMAN, JAMES S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NEWMAN, JERRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEWMAN, JOE E. (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, LEONARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWMAN, OVEDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWMAN, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWMAN, ROBERT A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NEWMAN, VICTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

NEWMAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWMAN, WILLIE LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NEWMILLER, DOUGLAS LEE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWPAGE CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8540 GANDER CREEK DRIVE
MIAMISBURG, OH 45342


NEWPARK ENVIRONMENTAL SERVICES INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 RESEARCH FOREST DR.
SUITE 100
THE WOODLANDS, TX 77381


NEWPARK WASTE TREATMENT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 72371
LAFAYETTE, LA 70505


NEWSOM, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWSOME, CARL EDWIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWSOME, CARL EDWIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PSC 103 BOX 2131
APO, AE, 09603


NEWSOME, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

NEWSOME, JUDY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE BOLYARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEWSOME, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NEWTON, ALMA L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, BRENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, CERENA C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, CHARLES BENJAMIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWTON, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWTON, HERMAN P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, JAMES C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NEWTON, MACK A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NEWTON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NEWYORK MERCANTILE EXCHANGE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 NORTH END AVE
WORLD FINANCIAL CENTER
ATTN: NYMEX COMPLIANCE DEPARTMENT
NEW YORK, NY 10282


NEXTERA ENERGY POWER MARKETING, LLC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BOULEVARD, EPM/JB
ATTN: CREDIT MANAGER
JUNO BEACH, FL 33408-2657


NEXTERA ENERGY RESOURCES, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


NEXTERA ENERGY RESOURCES, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LYNN TILLOTSON PINKER & COX, L.L.P.
JEFFREY M. TILLOTSON, JOHN D. VOLNEY
2100 ROSS AVE, SUITE 2700
DALLAS, TX 75201


NEYLON, ANTHONY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NEZ, MAXINE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NG, LIN F                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NG, LIN-FAI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIAGARA DEVELOPMENT LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 MILL STREET
NIAGARA, WI 54151




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NIAGRA OF WISCONSIN PAPER CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 MILL STREET
NIAGARA, WI 54151


NIBCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1516 MIDDLEBURY STREET
ELKHART, IN 46546


NIBCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1516 MIDDLEBURY STREET
PO BOX 1167
ELKHART, IN 46515-1167


NIBCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRASBURGER AND PRICE LLP
MARK S SCUDDER
901 MAIN STREET, SUITE 4400
DALLAS, TX 75202


NIBLETT, MILTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICELY, CLYDE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICELY, EDNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICELY, JAMES C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICELY, JOHN DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICELY, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NICHOLAS, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NICHOLAS, GEORGE A, III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLAS, GEORGE A, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLAS, LISA M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLAS, TERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLAS, TRUMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS ALUMINUM LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11725 ROCKINGHAM ROAD
DAVENPORT, IA 52802


NICHOLS, BRONSON SHANE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, CLAUDIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, FRANCINIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NICHOLS, FRED G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NICHOLS, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICHOLS, GREGORY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


NICHOLS, JEAN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


NICHOLS, JOSEPH F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NICHOLS, JOSEPH F, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOANN N ZIMMERMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NICHOLS, LAURIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, LUISA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, PHILIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NICHOLS, RONALD O                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, ROSIE I                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLS, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICHOLS, TAFFNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLSON, CHARLOTTE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD C NICHOLSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NICHOLSON, CLARK THOMAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICHOLSON, RICHARD ESTEE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


NICHOLSON, THOMAS W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NICHOLSON, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NICHOLSON, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICKELS, CRISTI L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICKELS, JAMES B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICKENS, BEAULAH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


NICKENS, BEULAH M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CYRUS NICKENS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NICKERSON, ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICKERSON, JESSE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICKERSON, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICKOLAS, JIMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICODEMUS, JIMMIE D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                           Nature

NICOIS, ALFONSE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NICOL SCALES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 222288
DALLAS, TX 75222-2288


NICOL, GAVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICOL, GEORGE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICOL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICOL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NICOLARD, PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICOLELLA, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NICOLICH, CARLO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NICOLINI, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NIEDERT, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NIEHAUS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NIELSEN, ELIZABETH AND ROBERT NIELSEN                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIELSEN, GLADE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIELSEN, MARILYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIELSEN, PHILLIP F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NIELSEN, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIELSON, ALBERT P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NIEMANN, GILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                       Nature

NIEMENSKI, ALEX                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIEMEYER, CRAIG A.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NIEMEYER, ROBERT THOMAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIEMEYER, ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIEMI, ALFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIEMI, TOIVO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIEMSZYK, CARL R.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIEMTSCHK, BOBBY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIEMTSCHK, GERALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIEMTSCHK, PATRICIA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

NIEMTSCHK, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIEMTSCHK, RUSSELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NIERI, DANTE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NIETO, ADRIAN GONZALEZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


NIETO, JACK J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NIEWINSKI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIEWOIT, LEON F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NIGH, VAN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NIGHSWONGER, ALBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIGRE, PETER WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NIGRO, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIGRO, JOHN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NIGRO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NIKITOPOULOS, THEODORE W.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NILBERG, BJORN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NILBERG, BJORN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NILSEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NILSEN, WILLIAM E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NILSSON, DONALD R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NIMMO, EDGAR T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NINO SILVA, JUANA PATRICIA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NIPPON STEEL & SUMITOMO METAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARUNOUCHI PARK BLDG., 2-6-1
MARUNOUCHI, CHIYODA-KU
TOKYO, 100-8071
JAPAN

NISOURCE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
801 E. 86TH AVENUE
MERRILLVILLE, IN 46410


NISSAN FORKLIFT CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
240 N PROSPECT ST
MARENGO, IL 60152


NISSAN NORTH AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1501 COTTONTAIL LN
SOMERSET, NJ 08873


NITRO INDUSTRIAL COVERINGS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 COLONY DR
VIENNA, WV 26105


NITSCH, JAMES F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NITSCH, SUSAN F, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES N NITSCH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NIVANS JR, HERBERT FRANCE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIVANS, HERBERT FRANCES, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NIX ELECTRIC CO INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 LOOP 289 S.E.
LUBBOCK, TX 79404


NIX, HOWARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIXDORF, ARLENE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT C NIXDORF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NIXON PEABODY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO AMERICAN STOCK TRANSFER & TRUST CO)
ATTN: RICHARD C PEDONE ESQ; AMANDA D DARWIN ESQ
100 SUMMER ST
BOSTON, MA 02110


NIXON, EUGENE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L NIXON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NIXON, PAUL (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NIXON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

NL INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5430 LBJ FREEWAY SUITE 1700
DALLAS, TX 75240-2697


NL INDUSTRIES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 N. SAM HOUSTON PARKWAY E.
HOUSTON, TX 77032


NL INDUSTRIES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5430 LBJ FREEWAY, SUITE 1700
THREE LINCOLN CENTER
DALLAS, TX 75240-2697


NL INDUSTRIES, INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5430 LYNDON B JOHNSON FWY
STE 1700
DALLAS, TX 75240


NL INDUSTRIES, INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS A. MARTIN
1001 WEST 30TH ST. #600
BOULDER, CO 80301


NL INDUSTRIES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCUS MARTIN,COUNSEL
BARTLET,BECK,HERMAN,PALENCHR & SCOT
DENVER, CO 80202


NL TREATING CHEMICALS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NL INDUSTRIES (USA),INC.
16825 NORTHCHASE DR., STE 1200
HOUSTON, TX 77060-6012


N-LINE TRAFFIC MAINTENANCE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2620 CLARKS LANE
PO BOX 4724
BRYAN, TX 77808


N-LINE TRAFFIC MAINTENANCE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4750
BRYAN, TX 77805-4750


NMBFIL,INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5430 LBJ FREEWAY SUITE 1700
DALLAS, TX 75240-2697




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NO NAME PROVIDED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBEL WATER TECHNOLOGIES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1807 HOWARD ROAD
WAXAHACHIE, TX 75165


NOBLE AMERICAS GAS & POWER CORP.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOUR STAMFORD PLAZA
107 ELM STREET
ATTN: LEGAL/CREDIT DEPARTMENTS
STAMFORD, CT 06902


NOBLE CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13135 SOUTH DAIRY ASHFORD, SUITE 800
SUGAR LAND, TX 77478


NOBLE SR, KEVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBLE, ALMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, ANDRENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, AUDREY, INDIVIDUALLY AND AS                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, DAMETRICE A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, DAMETRICE A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, GEORGE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOBLE, JAMES AND BARBARA NOBLE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, JEAN MICHELLE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, KARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, MACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOBLE, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOBLE, SADIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOBLE, SAMUEL L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBLE, SEAN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBLE, SEAN M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE, TITUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLE-DORTY, BRIDGET JOYCE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NOBLE'S TRANSMISSIONS/AUTO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARD E. NOBLE,OWNER
12362 STATE HIGHWAY 64W
TYLER, TX 75704


NOBLES, AUSTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOBLES, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOBLES, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBLES, PATICIA S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOBLES, PATRICIA SIMMONS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOBLES, SAMUEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NOBLES, WILEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOBLES, WILLIAM O                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOBREGA, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOCIASTA, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOCKET, THOMAS EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOE, GERALD P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NOE, LAWRENCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOEL, BRIAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOEL, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOEL, LEON O.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOEL, LEON R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOEL, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOEL, SANDRA L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J MORRISSETT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOEL, SANDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOEL, WILLIAM F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOGAN, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOLAN & MILDRED CARPENTER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5288 HWY 11 W
PITTSBURG, TX 75686


NOLAN BATTERY COMPANY, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10641
JEFFERSON, LA 70181


NOLAN CO. HOSPITAL DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 EAST ARIZONA
SWEETWATER, TX 79556


NOLAN COUNTY UNITED WAY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 348
SWEETWATER, TX 79556-0348


NOLAN COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 E 3RD ST # 108
SWEETWATER, TX 79556


NOLAN COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST., SUITE 640
ARLINGTON, TX 76010




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOLAN POWER GROUP LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 54986
NEW ORLEANS, LA 70154-4986


NOLAN POWER GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2670 OBSERVATION TRAIL
ROCKWALL, TX 75032


NOLAN, BILLY JOE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOLAN, DONNA MARIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOLAN, ELIRIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOLAN, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOLAN, HOWARD GENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOLAN, JOHN EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOLAN, JOHN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOLAN, PATRICK S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOLAN, THOMAS MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NOLAND, JIMMY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOLAND, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOLE, VINCENT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NOLEN, NORMAN JEFFERSON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


NOLEN, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOLIN, ROBERT W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOLL, RAYMOND H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NOLLEN, ROBERT D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NONTELL, ELMER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NOONAN, CLARENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOONAN, EDWARD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOONAN, MICHAEL G. AND HELEN NOONAN                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOONAN, MICHAEL G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NOONE, JOHN S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NOONER, CAITLIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 S 2ND ST.
ST LOUIS, MO 63104


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 S 2ND ST.
ST LOUIS, MO 63104


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


NOOTER CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
DOUGLAS MARTIN NIEDER
600 WASHINGTON, SUITE 2500
ST LOUIS, MO 63101


NOOTER CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 S 2ND ST.
ST LOUIS, MO 63104


NOPPER, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORCA INDUSTRIAL COMPANY LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
185 GREAT NECK RD
GREAT NECK, NY 11022


NORCA, MATCO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORDAI, WILLIAM, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JULIUS NORDAI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORDIN, DANIEL P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRVIN B NORDIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORDLUND, EMELIA M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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NORDLUND, SUSAN M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORDLUND, THOMAS R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORDMAN, KURT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NORDSTROM, JANICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORFOLK SOUTHERN RAILWAY CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THREE COMMERCIAL PLACE
NORFOLK, VA 23510-9217


NORGAARD, ADAM JEFFERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORGAARD, FORREST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY & GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


NORGRIFF, HERMA B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORGRIFF, HERMAN B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


NORIT AMERICAS, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 790
MARSHALL, TX 75671




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORKOL, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


NORMAN, FRANK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORMAN, JOANNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORMAN, KAREN B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, A.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORRIS, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORRIS, DEBBIE J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


NORRIS, DOLORES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NORRIS, EDWARD ROLAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NORRIS, ERNEST O'NEIL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORRIS, JAMES C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, JAMES L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


NORRIS, JEANETTE V, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN M WOODHOUSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORRIS, KENNETH WALTER (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NORRIS, MARIO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


NORRIS, OTIS H.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORRIS, OTIS H.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


NORRIS, RONALD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORRIS, RONN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


NORRIS, SOLOMON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORRIS, VALERIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORSE TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 470548
FORT WORTH, TX 76147


NORSE TECHNOLOGIES INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 470548
FORT WORTH, TX 76147


NORTH AMERICAN CERUTTI CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15800 W OVERLAND DR
NEW BERLIN, WI 53151


NORTH AMERICAN ENERGY SERVICES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1180 NW MAPLE ST STE 200
ISSAQUAH, WA 98027-8106


NORTH AMERICAN ENERGY SERVICES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OSI DIVISION
7618 BLUFF POINT DR
HOUSTON, TX 77086




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NORTH AMERICAN ENERGY SERVICES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TURBINE SERVICES DIVISION
7618 BLUFF POINT DR
HOUSTON, TX 77086


NORTH AMERICAN GALVANIZING & COATINGS, INC.                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5314 S. YALE AVEUE; SUITE 100
TULSA, OK 74135


NORTH AMERICAN REFRACTORIES CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 FAIRWAY DR
CORAOPOLIS, PA 15108


NORTH AMERICAN REFRACTORIES CO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHNSON & ASSOCIATES
NED JOHNSON
4900 WOODWAY, SUITE 1100
HOUSTON, TX 77056


NORTH AMERICAN SALT CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1662 AVENUE N
LYONS, KS 67554


NORTH AMERICAN TIE & TIMBER LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 960016
OKLAHOMA CITY, OK 73193-0016


NORTH CAROLINA BANK CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 WEST PEACHTREE ST N.W.
ONE ATLANTIC CENTER 14TH FLR
ATLANTA, GA 30339


NORTH CAROLINA BANK CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TAYLOR ENGLISH LLP
LEEANN JONES, 1201 WEST PEACHTREE ST N.W
ONE ATLANTIC CENTER 14TH FLR
ATLANTA, GA 30339


NORTH CAROLINA DEPT OF STATE TREASURER                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNCLAIMED PROPERTY PROGRAM
325 NORTH SALISBURY STREET
RALEIGH, NC 27603-1385




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORTH CENTRAL COLLEGE DISTRICT                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORTH CENTRAL TEXAS COLLEGE
1525 WEST CALIFORNIA STREET
GAINESVILLE, TX 76240


NORTH HIGHLAND MOBIL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RODNEY NELSON,OWNER
3180 NORTH MARKET
SHREVEPORT, LA 71107


NORTH HOUSTON VALVE & FITTING CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27228 EAST HARDY
SPRING, TX 77373


NORTH HOUSTON VALVE & FITTING CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 235
PO BOX 4346
HOUSTON, TX 77210-4346


NORTH HOUSTON VALVE & FITTING CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1804
SPRING, TX 77383-1804


NORTH LAMAR ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3201 LEWIS LN
PARIS, TX 75460


NORTH LOUISIANA LAND GRADING INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 33
GILLIAM, LA 71029


NORTH RICHLAND HILLS, CITY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORTH RICHLAND HILLS CITY HALL
7301 NE LOOP 820
NORTH RICHLAND HILLS, TX 76180


NORTH RIVERSIDE TX PARTNERS, LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3424 PEACHTREE ROAD NE
SUITE 300
ATLANTA, GA 30326


NORTH STAR REAL ESTATE SERVICES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FALL LAKE APTS
1415 GREENS PKWY
HOUSTON, TX 77067-4000




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NORTH STAR REAL ESTATE SERVICES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE WORTHINGTON
1415 GREENS PKWY
HOUSTON, TX 77067-4000


NORTH STAR REINSURANCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



NORTH WALNUT CREEK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PROPERTIES INC
MARGARET L EVERETT
7600 STONEYWOOD DR
AUSTIN, TX 78731-1441


NORTHBROOK PROP. & CASUALTY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3075 SANDERS ROAD
NORTHBROOK, IL 60062-7127


NORTHCUTT, BILLY G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTHCUTT, BILLY G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTHCUTT, FRANK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTHEAST TEXAS LIVESTOCK ASSOC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1587
SULPHUR SPRINGS, TX 75482


NORTHEAST TEXAS POWER LTD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 559
CUMBY, TX 75433


NORTHEAST TX COMM COLL DIST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N STEMMONS FREEWAY, STE 1000
DALLAS, TX 75207


NORTHERN PUMP COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
340 W BENSON AVE
GRANTSBURG, WI 54840




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

NORTHERN PUMP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLEY JASONS MCGOWAN SPINELLI
& HANNA LLP
120 WALL STREET, 30TH FLOOR
NEW YORK, NY 10005


NORTHERN REFRACTORIES AND INSULATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3463 BROWN RD
OREGON, OH 43616


NORTHGATE ARINSO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAROLD BABBIT
8000 BAYMEADOWS WAY
JACKSONVILLE, FL 32256-7520


NORTHINGTON, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORTHROP GRUMMAN ADVANCED INFORMATION SYSTEMS INC                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INFORMATION SYSTEMS INC
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


NORTHROP GRUMMAN CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
F/K/A LITTON INDUSTRIES, INC. (CORE LABORATORIES, INC)
2980 FAIRVIEW PARK DRIVE
FALLS CHURCH, VA 22042


NORTHROP GRUMMAN SHIP BUILDING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2980 FAIRVIEW PARK DRIVE
FALLS CHURCH, VA 22042


NORTHROP GRUMMAN SHIP SYSTEMS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1840 CENTURY PARK EAST
LOS ANGELES, CA 90067-2199


NORTHROP GRUMMAN SHIP SYSTEMS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2980 FAIRVIEW PARK DRIVE
FALLS CHURCH, VA 22042




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORTHROP GRUMMAN SYSTEM CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2980 FAIRVIEW PARK DRIVE
FALLS CHURCH, VA 22042


NORTHROP GRUMMAN SYSTEM CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
ROBERT FRANCES CHANDLER
1010 MARKET STREET, SUITE 950
ST LOUIS, MO 63101


NORTHROP GRUMMAN SYSTEM CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


NORTHWEST ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 TEXAN DR.
JUSTIN, TX 76247


NORTHWEST MIAMI GARDENS LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA MIAMI GARDENS APARTMENTS
5850 PARKFRONT DR 2ND FLOOR
HOUSTON, TX 77036


NORTHWEST PAPER BOX                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5617 N BASIN AVE
PORTLAND, OR 97217


NORTHWEST PLASTIC ENGRAVERS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3300 CHERRY LN
FORT WORTH, TX 76116


NORTHWESTERN NATIONAL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9277 CENTRE POINTE DR STE 140.
WEST CHESTER, OH 45069


NORTON, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORTON, EDWARD K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORTON, GARY S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NORTON, GARY WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTON, GEORGE D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NORTON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORTON, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTON, RAYLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTON, RYLEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORTON, WEBB (DECEASED)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NORTON, WILLIS EUGENE, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


NORVELL, AGNES W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE J NORVELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NORVISH, ROBERT S--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NORWOOD, BENJAMIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NORWOOD, CAROL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORWOOD, HARRY B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORWOOD, TIMOTHY C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NORWOOD, TIMOTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOSKO, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOSKO, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


NOSWORTHY, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOTARO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOTHSTEIN, JERRY M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOTTE SAFETY APPLIANCE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN, PERRY, WATKINS, KRUTZ
& TARDY, LLP
328 NEWMAN SPRINGS ROAD
RED BANK, NJ 07701


NOTTE SAFETY APPLIANCE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O´TOOLE FERNANDEZ WEINER VAN LIEU, LLC
60 POMPTON AVENUE
VERONA, NJ 07044


NOTTE SAFETY APPLIANCE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
O´TOOLE FERNANDEZ WEINER VAN LIEU, LLC
EMPIRE STATE BUILDING
350 FIFTH AVENUE, 59TH FLOOR
NEW YORK, NY 10118


NOTTE SAFETY APPLIANCE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICILLO CARUSO POPE EDELL PICINI
60 ROUTE 46 EAST
FAIRFIELD, NJ 07004


NOTTE SAFETY APPLIANCE CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHEN A. WEINER, ESQ.
60 POMPTON AVENUE
VERONA, NJ 07044


NOV WILSON LP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7402 N ELDRIDGE PKY
HOUSTON, TX 77041


NOVA CHEMICALS, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


NOVA CORCHEMICALS LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 SEVENTH AVENUE SW
PO BOX 2518
CALGARY, AB T2P 5C6
CANADA

NOVAK, DANIEL J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN V VACHINO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOVAK, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOVAK, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOVAK, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOVAK, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOVAK, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOVAK, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE NEMEROFF LAW FIRM
3355 W. ALABAMA ST., SUITE 650
HOUSTON, TX 77098


NOVARTIS CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 HEALTH PLZ
EAST HANOVER, NJ 07936


NOVARTIS CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 HEALTH PLZ
EAST HANOVER, NJ 07936


NOVARTIS CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND, FITZGERALD & PRANAITIS
STEPHEN JOHN MAASSEN
401 MARKET STREET, PO BOX 130
ALTON, IL 62002




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

NOVARTIS CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL J KREZ COMPANY
7831 N NAGLE AVENUE
MORTON GROVE, IL 60053


NOVARTIS CORPORATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
80 STATE STREET
ALBANY, NY 12207


NOVARTIS CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 HEALTH PLZ
EAST HANOVER, NJ 07936


NOVEMBRE, THOMAS J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NOVEON HILTON DAVIS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2235 LANGDON FARM RD
CINCINNATI, OH 45237


NOVICK, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOVICK, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NOVOHRADSKY, EMIL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NOVOTNY, EDWARD M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHEIN LAW CENTER, LTD.
ATTN: BENJAMIN P. SHEIN, ESQ.
121 S. BROAD ST., 21ST FLOOR
PHILADELPHIA, PA 19107




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NOWELL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOWICKI, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NOYES, CARROLL A--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 CARENEGIE CTR
PRINCETON, NJ 08540


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


NRG ENERGY, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NRG ENERGY, INC.;                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


NRG POWER MARKETING INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NRG ENERGY, INC.
211 CARNEGIE CENTER
ATTN: CONTRACT ADMINISTRATION
PRINCETON, NJ 08540-6213


NRG TEXAS POWER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1301 MCKINNEY STREET
SUITE 2300
HOUSTON, TX 77010


NRG TEXAS POWER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 CARENEGIE CTR
PRINCETON, NJ 08540


NRG TEXAS POWER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
LISA A. POWELL
1401 MCKINNEY STREET, SUITE 1900
 77010


NRG TEXAS POWER LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 1300
HOUSTON, TX 77002-5006


NRS                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2304 TARPLEY ROAD SUITE 134
CARROLLTON, TX 75006


NSTAR ELECTRIC & GAS CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD J MORRISON
800 BOILSTON STREET
BOSTON, MA 02199


NUBOA, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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                                                              Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                   Nature

NUCCINI, ANTHONY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUCCIO, LOUIS                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUCE, DOROTHY                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NUCLEAR ENERGY INSTITUTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 759072
BALTIMORE, MD 21275-9072


NUCLEAR SOURCES & SERVICES, INC NSSI RECOVERY SERVICES INC.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5711 ETHERIDGE STREET
HOUSTON, TX 77087


NUCLEAR SOURCES & SERVICES, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5711 ETHERIDGE STREET
HOUSTON, TX 77087


NUCON INTERNATINAL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29151
COLUMBUS, OH 43229


NUCON INTERNATIONAL, INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7000 HUNTLEY ROAD
COLUMBUS, OH 43229


NUECES COUNTY                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 LEOPARD STREET
CORPUS CHRISTI, TX 78401


NUECES HOSPITAL DISTRICT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 N CARANCAHUA ST
CORPUS CHRISTI, TX 78401




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Name of Counterparty                                                                                            Nature

NUGENT, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUGENT, MAUREEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NULL, ROBERT, JR., INDIVIDUALLY AND AS                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NULL, STEVEN H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NULLET, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NULLET, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


NUNN ELECTRIC SUPPLY CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 461667
SAN ANTONIO, TX 78246


NUNN ELECTRIC SUPPLY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
622 MORROW STREET
AUSTIN, TX 78752


NUNN, JAMES H. DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

NUNN, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUNNINK, HILARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NURCZYK, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUSINOV, JEFFREY E, ESQ, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM DEZWART
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


NUSSBAUMER, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NUTRA SWEET COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 MERCHANDISE MART PLZ
STE 936
CHICAGO, IL 60654


NUTT                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



NUTT, JOSEPH H MC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NUTT, MELVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


NUTTER, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

NUTTER, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


NUTTER, NELSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NUTTER, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NWP INDIAN MESA WIND FARM LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


NWT CORPORATION                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7015 REALM DR
SAN JOSE, CA 95119


NY PROTECTIVE COVERING INDUSTR                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKLYN NAVY YARD, BLG 3
BROOKLYN, NY 11205


NY PROTECTIVE COVERING                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKLYN NAVY YARD, BLG 3
BROOKLYN, NY 11205


NYARADY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NYARADY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


NYE, MELINDA A. AND DAVID T. NYE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


NYER, CARL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O G SUPPLY INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 VANFER ST
CORONA, CA 92880


O W GARRETSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT 6 BOX 1925
MOUNT PLEASANT, TX 75455


OAK HOLLOW HOUSING LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT OAK HOLLOW APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


OAKE, VICTOR B.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


OAKE, VICTOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


OAKES, GAITHER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OAKES, JASON T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OAKES, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OAKES, THEODORE P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VANESSA CICI FRY
18 W 140 BUTTERFIELD RD STE 1100
OAKBROOK TERRACE, IL 60181


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
GREGORY DE BEER
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ANNE-MARIE HAGEMEIER
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
E BEN JR THAMES
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JASON JAMES IRVIN
4514 COLE AVE STE 500
DALLAS, TX 75205-5449


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JASON JAMES IRVIN
4514 COLE AVE, SUITE 500
DALLAS, TX 75205-5412


OAKFABCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JOHN MICHAEL WARD
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KAREN MARIE VOLKMAN
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KATHERINE BROOKE GREFFET
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN T. HUNTINGTON
ONE MID AMERICA PLAZA, SUITE 1000
OAKBROOK TERRACE, IL 60181


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMMONS COOPER
JOHN ANTHONY BRUEGGER
707 BERKSHIRE BLVD
EAST ALTON, IL 62024


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVENS BALDO FREEMAN & LIGHTY, LLP
NICHOLAS BALDO
550 FANNIN, SUITE 400
BEAUMONT, TX 77701


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVENS BALDO FREEMAN & LIGHTY, LLP
NICHOLAS S. BALDO
550 FANNIN, SUITE 700
BEAUMONT, TX 77701


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VANESSA CICI FRY
18 W 140 BUTTERFIELD RD STE 1100
OAKBROOK TERRACE, IL 60181


OAKFABCO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRY GROUP LLC
VANESSA CICI FRY
210 W 22ND ST
OAKBROOK, IL 60523




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OAKITE PRODUCTS INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O METUCHEN HOLDINGS
1001 PENNSYLVANIA AVE. NW
WASHINGTON, DC 20004-2502


OAKITE PRODUCTS, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 PENNSYLVANIA AVE, NW,SUITE 2205
WASHINGTON, DC 20004


OAKITE PRODUCTS, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CHEMETALE
50 VALLEY ROAD
BERKELEY HEIGHTS, NJ 70922


OAKLEY SERVICE CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TODD SHIPYARDS CORPORATION
1801 16TH AVENUE SW
SEATTLE, WA 98134


OAKLEY SERVICE COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10100 HIRSH ROAD
HOUSTON, TX 77016


OAKLEY, RITA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OAKRIDGE BELLOWS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 311583
NEW BRAUNFELS, TX 78131


OAKRIDGE BELLOWS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 311583
NEW BRAUNFELS, TX 78131


OAKS BENT TREE LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN:OFFICE
4815 WESTGROVE DRIVE
ADDISON, TX 75001-6100


OASIS PIPELINE, LP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

O'BEIRNE, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OBENHAUS, HAZEL WILLIAMS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OBER, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OBERDING, SEBASTIAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OBERDORFER PUMPS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
248 BRECKHEIMER RD
CENTRAL SQUARE, NY 13036


OBERG, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OBERG, ERIK. A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OBERHOFER, VINCENT F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OBERLAG, REGINALD LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'BOYLE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BOYLE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BOYLE, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'BRIEN, DAVID AND KAREN O'BRIEN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'BRIEN, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BRIEN, GERARD R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'BRIEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BRIEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                           Nature

O'BRIEN, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BRIEN, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


O'BRIEN, MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OBRIEN, MARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'BRIEN, MICHAEL D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'BRIEN, MICHAEL D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'BRIEN, PATRICK T--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


O'BRIEN, ROBERT P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'BRIEN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

O'BRIEN, VERNON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'BRIEN, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OCAMPO, ALELI C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'CAMPO, JOHN, SELF & SIMILARLY SITUATED                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


OCANAS, JOHN G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OCCHICONE, EUGENE P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OCCIDENTAL CHEMICAL AGRICULTURAL PRODUCTS INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
818 W SEVENTH ST
LOS ANGELES, CA 90017


OCCIDENTAL CHEMICAL AGRICULTURAL PRODUCTS INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
MARK G ZELLMER
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


OCCIDENTAL CHEMICAL COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

OCCIDENTAL CHEMICAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
651 TONNELE AVE.
JERSEY CITY, NJ 07302


OCCIDENTAL CHEMICAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


OCCIDENTAL CHEMICAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


OCCIDENTAL CHEMICAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
DAVID W. LEDYARD
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


OCCIDENTAL CHEMICAL CORP, GLENN SPRINGS HOLDINGS, INC.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5005 LBJ FREEWAY, SUITE 1350
DALLAS, TX 75244


OCCIDENTAL CHEMICAL CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALAN MACK,AGENT
5005 LBJ FREEWAY
DALLAS, TX 75244


OCCIDENTAL CHEMICAL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1330 LAKE ROBBINS DR., SUITE 300
THE WOODLANDS, TX 77380


OCCIDENTAL ELECTROCHEMICALS CORP.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J. ALAN MACK,ASSOC.GENL.COUNSEL
5005 LBJ FREEWAY
DALLAS, TX 75244


OCHO FLORES INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1405 ELITE CIRCLE
ARLINGTON, TX 76010




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

OCHOA, HECTOR J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OCHOA, HENRY O                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OCHOA, HENRY O.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OCHS, CHARLES P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OCHSNER, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OCHWAT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OCKMAN, TESSIE SIMMONS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'CONNELL, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNELL, CLIFFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

O'CONNELL, DANIEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


O'CONNELL, DAVID--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


O'CONNELL, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNELL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNELL, KIERAN J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'CONNELL, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'CONNELL, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNELL, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

O'CONNELL, TIMOTHY J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OCONNOR CONSTRUCTORS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 INDUSTRIAL DRIVE
CANTON, MA 02021


OCONNOR CONSTRUCTORS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BIVONA & COHEN PC
88 PINE STREET
NEW YORK, NY 10005


OCONNOR CONSTRUCTORS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
420 LEXINGTON AVENUE
SUITE 2104
NEW YORK, NY 10170


OCONNOR CONSTRUCTORS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
F/K/A THOMAS O'CONNOR COMPANY
420 LEXINGTON AVE, SUITE 2104
NEW YORK, NY 10170


O'CONNOR, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNOR, JAMES J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'CONNOR, JERALD WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'CONNOR, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'CONNOR, LAWRENCE J, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


O'CONNOR, PAUL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


O'CONNOR, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'CONNOR, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OCWEN LOAN SERVICING LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1661 WORTHINGTON RD, STE 100
WEST PALM BEACH, FL 33409-6493


ODDO, PARIS MCGUFFIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ODEKIRK, DAVID T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ODEKIRK, HEBER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'DELL, GENE PHILLIP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'DELL, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'DELL, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ODELL, ROBERT NORMAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ODEM, STEVE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ODEN, OTIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ODENDAHL, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ODENHEIMER, ROBERT E, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ODESSA JR. COLLEGE DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ODESSA COLLEGE
201 W. UNIVERSITY
ODESSA, TX 79764


ODESSA, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 W. 8TH STREET
PO BOX 4398
ODESSA, TX 79760


ODFJELL TERMINALS (HOUSTON) LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12211 PORT ROAD
SEABROOK, TX 77586




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ODIES MOORE ESTATE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ODOM, ALVIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ODOM, GEORGIA CHEREE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ODOM, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ODOM, JOHN PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ODOM, KENNETH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ODOM, LAWRENCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ODOM, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ODOM, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'DONNELL, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'DONNELL, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'DONNELL, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


O'DONNELL, THOMAS, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNIS O'DONNELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


O'DONNELL, TROY J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'DONOVAN, FREDERICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OEAAT INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 BRIDOON TERRACE
ENCINITAS, CA 92024-7267


OERTEL, HENRY JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OFFERMAN, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                        Nature

OFFICE MAX INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
263 SHUMAN BLVD
NAPERVILLE, IL 60563


OFFICE OF SURFACE MINING0088                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE OF SURFACE MINING0241                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE OF SURFACE MINING0271                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE OF SURFACE MINING0363                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE OF SURFACE MINING0421                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE OF SURFACE MININGMINE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RECLAMATION & ENFORCEMENT
PO BOX 979068
ST LOUIS, MO 63197-9000


OFFICE TIGER LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JPMORGAN CHASE BANK NA
PO BOX 905363
CHARLOTTE, NC 28290-5363


OFFICEMAX INCORPORATED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 REMITTANCE DRIVE
SUITE 2698
CHICAGO, IL 60675-2698


OFFIELD, GERALDINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

O'FLARITY, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'GARA, KENNETH M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'GARA, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OGG, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OGG, MICHELLE A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OGLE, GEORGE W, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE OGLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OGLE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OGLEBAY NORTON CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
1300 E 9TH STREET
CLEVELAND, OH 44114


OGLEBAY NORTON COFERRO ENGINE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORTH POINT TOWER
1001 LAKESIDE AVE
15TH FLOOR
CLEVELAND, OH 44114-1151


OGLEBAY NORTON COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JOHN ANDREW LABOON
100 CONGRESS AVE, SUITE 800
AUSTIN, TX 78701




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

OGLEBAY NORTON COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEKELL BOOK MATTHEWS & ZIMMER
TODD KISSNER; WILLIAM C. BOOK JR.,
1221 MCKINNEY, STE 4300, ONE HOUSTON CTR
HOUSTON, TX 77010


OGLEBAY NORTON COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
CLAY M. WHITE
205 W. LOCUST STREET
TYLER, TX 75702


OGLESBY ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 COLLEGE ST.
OGLESBY, TX 76561


OGLETREE, CLEVE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OGLETREE, RUBEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OGNOWSKI, KENNETH L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'GORMAN, JACQUELINE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'GORMAN, JOHN J., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OGUENDO, HERIBERTO ROBIES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

O'HAIR, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'HANLON, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'HARA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


O'HARA, MICHAEL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'HARA, MILES P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


O'HARA, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'HARA, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'HARA, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'HAVER, ZYNESS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OHIO DEPARTMENT OF TAXATION, THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANKRUPTCY DIVISION
P.O. BOX 530
COLUMBUS, OH 43216


OHIO ENVIRONMENTAL COUNCIL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
ANN BREWSTER WEEKS
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


OHIO ENVIRONMENTAL COUNCIL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEAN AIR TASK FORCE
DARIN T. SCHROEDER
18 TREMONT STREET, SUITE 530
BOSTON, MA 02108


OHIO PIPE & SUPPLY COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14615 LORAIN AVE
CLEVELAND, OH 44111-3166


OHIO VALLEY INSULATING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4241 HOGUE RD
EVANSVILLE, IN 47712


OHLE, VICTORIA E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J OHLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OIL ANALYSIS LAB INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3928, 2121 E RIVERSIDE
SPOKANE, WA 99202


OIL SKIMMERS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 951009
CLEVELAND, OH 44193




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Name of Counterparty                                                                                            Nature

OIL SKIMMERS, INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 951009
CLEVELAND, OH 44193


OILGEAR CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 SOUTH 51ST STREET
MILWAUKEE, WI 53219


OJALA, FREDERICK E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


O'KANE, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OKEY, AKPOM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OKLAHOMA CITY AIR LOGISTICS CENTER                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3001 S DOUGLAS BLVD
TINKER AIR FORCE BASE, OK 73145


OKLAHOMA STATE TREASURER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KEN MILLER
2300 N. LINCOLN BLVD., SUITE 217
OKLAHOMA CITY, OK 73105-4895


OKLAHOMA TANK LINES, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4312 S. GEORGIA PLACE
OKLAHOMA CITY, OK 73129


OKONITE CO INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 HILLTOP RD
RAMSEY, NJ 07446


OKONITE CO INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCCULLOUGH, GINSBERG, MONTANO
& PARTNERS LLP
320 EAST 53RD STREET, SUITE 100
NEW YORK, NY 10022




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Name of Counterparty                                                                                            Nature

O'KULA, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


OLAH, ANNETTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLANDER, JENNIFER FBO CLAYTON OLANDER                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


OLBRICH, CHARLENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLBRICH, CHARLES L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLBRICH, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLBRICH, CYNTHIA DENICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLCOTT, JOHN J--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


OLDEWURTLE, DORIS N, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARCHIE M KIRKLAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLDHAM, EVA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLDHAM, GREG                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

O'LEARY, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'LEARY, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'LEARY, WILLIAM E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OLECHNOWICZ, ALBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OLESIAK, TIMOTHY RAYMOND                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLGWIN, ROGER M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIN CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


OLIN CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
JEFFREY DALE SIGMUND
190 CARONDELET PLAZA, SUITE 600
CLAYTON, MO 63105


OLIN CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
MARK G ZELLMER
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105




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Name of Counterparty                                                                                            Nature

OLIN CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
190 CARONDELET PLAZA
SUITE 1530
CLAYTON, MO 63105-3443


OLINGER, ANNE MARIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIPHANT, DAVID P, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL OLIPHANT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLIVAS, ROSARIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVE, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLIVER GOLDSMITH COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2501 WASHINGTON
PO BOX 3305
WACO, TX 76707


OLIVER GOLDSMITH COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3305
WACO, TX 76707-0305


OLIVER, ADRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


OLIVER, ANDREW, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

OLIVER, BENNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, BENNIE, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, DONNA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD A TROYER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLIVER, EDITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLIVER, JEROME                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


OLIVER, KIRK R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVER, LAMAR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLIVER, LENWOOD LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                            Nature

OLIVER, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLIVER, NATHAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVERI, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVO, CARLOS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLIVO, CARLOS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLOFSON, DOROTHY FBO JOHN OLOFSON                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


OLSEN, CECILIA J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OLSEN, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSEN, JAMES G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OLSEN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

OLSEN, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSEN, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSEN, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OLSH, HELEN, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH A OLSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OLSHAN DEMOLITION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O OLSHAN DEMOLISHING CO., INC.
1001 FANNIN ST., SUITE 4000
HOUSTON, TX 77002


OLSHAN DEMOLITION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O OLSHAN LUMBER CO.
2600 CANAL ST.
HOUSTON, TX 77003


OLSHEFSKI, CARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
160 W WALNUT STREET
ALLENTOWN, PA 18102




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Name of Counterparty                                                                                       Nature

OLSON, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, CHRISTOPHER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLSON, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLSON, DEBRA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OLSON, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, DWIGHT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, FRANKLIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, MATTHEW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

OLSON, MILES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OLYMPIC FASTENING SYSTEMS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM S. SCHULER,VP,FIN. & ADMIN.
4830 NORTH PINE STREET
VIVIAN, LA 71082


OLYMPIC GLOVE & SAFETY CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 MAIN AVE
ELMWOOD PARK, NJ 07407


OLYMPIC GLOVE & SAFETY CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
75 MAIN AVE
ELMWOOD PARK, NJ 07407


OLYMPIC GLOVE & SAFETY CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BARRY, MCTIERNAN & MOORE
2 RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


OLYMPIC WEAR LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 75186
SEATTLE, WA 98175




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

OLYMPIC WEAR LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 80402
SEATTLE, WA 98108-0402


O'MALLEY, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'MALLEY, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'MALLEY, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


O'MARA, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OME CORP.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O OTTO MARINE ENTERPRISES,INC.
18001 I-10 EAST
CHANNELVIEW, TX 77530


OMEGA OPTICAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 STEMMONS FREEWAY
DALLAS, TX 75234


OMI CRANE SERVICES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 EAST I-30 SERVICES RD
ROYCE CITY, TX 75189


OMICRON CONTROLS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7745
THE WOODLANDS, TX 77387-7745


OMNIBOUND TECHNOLOGIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
611 SOUTH MAIN STREET
SUITE 400
GRAPEVINE, TX 76051




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OMUNDSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ON THE SPOT DETAILING & TRUCK                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ACCESSORIES
PO BOX 771
CALVERT, TX 77837


ONDA MANUFACTURING CO LTD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18, TOMINAGA
YAMAGATA, 501-2257
JAPAN

ONDEO NALCO COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J.MICHAEL NEWTON,VP GEN.COUNSEL
ONDEO NALCO CENTER
NAPEERVILLE, IL 60563


ONDEO NALCO COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70716
CHICAGO, IL 60673-0716


ONDRACEK, REX                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ONDREY, LILLIE M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ONE BEAR, ROBERT JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ONE OAKLAKE IV LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CORONADO APTS, ATTN CHERYL
COTTON,% TEXAS INTER-FAITH GROUP
3131 W ALABAMA STE 300
HOUSTON, TX 77098


ONE OAKLAKE VII LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ENCLAVE AT COPPERFIELD APTS
3131 W ALABAMA STE 300
HOUSTON, TX 77098


ONE SAFE PLACE MEDIA CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1550 W WALNUT HILL LN
IRVING, TX 75038




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Name of Counterparty                                                                                        Nature

ONEAL BRIGHTWELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
340 CR 612
NACOGDOCHES, TX 75964


ONEAL, CAROL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'NEAL, CAROL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'NEAL, WILLIE B.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ONEBEACON AMERICA INSURANCE COMPANY                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TAYLOR, WELLONS, POLITZ & DUHE, APLC
1515 POYDRAS STREET, SUITE 1900
NEW ORLEANS, LA 70112


O'NEIL, FRANCIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEIL, HERBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'NEIL, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEIL, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEILL, CHARLES J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

O'NEILL, FRANCISCO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'NEILL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEILL, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEILL, OWEN EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEILL, PHILIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'NEILL, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


O'NEILL, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'NEILL, ROSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


O'NEILL, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'NEILL, VERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'NEILL, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'NEIL-PLOSKUNAK, JENNIFER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ONINK, JEFFREY CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ONLEY, DAVID J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ONLINE RESOURCES CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 418410
BOSTON, MA 02241-8410


ONOFRIO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OOTHOUDT, DOUGLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OPEN TEXT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O J P MORGAN LOCKBOX
24685 NETWORK PLACE
CHICAGO, IL 60673-1246


OPHER, VERNIE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LENWOOD H MCCOY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

OPPEL TIRE & SERVICE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 N RIDGEWAY
CLEBURNE, TX 76033


OPPERMANN, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OPPIZZI, PRIMO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OPTOELECTONICS DIVISION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TRW INC.
1900 RICHMOND ROAD
CLEVELAND, OH 44124


OPTRON, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10875 SHADY TRAIL #106
DALLAS, TX 75220


OQUIST, GAIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ORACLE AMERICA INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203448
DALLAS, TX 75320-3448


ORACLE AMERICA, INC. (ORACLE)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BUCHALTER NEMER P.C.
ATTN: SHAWN M. CHRISTIANSON, ESQ.
55 SECOND ST, 17TH FL
SAN FRANCISCO, CA 94105


ORADAT, CECIL P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ORANGE & ROCKLAND UTILITIES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
390 WEST ROUTE 59
SPRING VALLEY, NY 10977




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Name of Counterparty                                                                                            Nature

ORANGE & ROCKLAND UTILITIES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREW CZEREPAK, ESQ
FOUR IRVING PLACE
NEW YORK, NY 10003


ORBITAL TOOL TECHNOLOGIES CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13979 WILLOWBROOK RD
ROSCOE, IL 61073


ORBITAL TOOL TECHNOLOGIES, CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOHN FLANAGAN
13979 WILLOWBROOK ROAD
ROSCOE, IL 61073


ORCIANI, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORCUTT, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORDILE, ANTHONY F, SR--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ORDUNA, CASSANDRA R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OREGON DEPARTMENT OF REVENUE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
955 CENTER STREET NE
SALEM, OR 97301-2555


O'REILLY AUTOMOTIVE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
233 S PATTERSON AVE
SPRINGFIELD, MO 65802




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                            Nature

O'REILLY AUTOMOTIVE STORES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


O'REILLY AUTOMOTIVE STORES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


O'REILLY AUTOMOTIVE STORES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


O'REILLY, DERMOT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


O'REILLY, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OREM, DANIEL W , III, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL W OREM JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ORENDORFF, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORFIELD, JAMES P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                           Nature

ORGAIN, BELL & TUCKER, L.L.P                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D. ALLEN JONES
470 ORLEANS ST
PO BOX 1751
BEAUMONT, TX 77704-1751


ORHAM, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORINSKI, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ORION INSTRUMENTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2105 OAK VILLA BLVD
BATON ROUGE, LA 70815


ORION INSTRUMENTS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HATFIELD AND CO
2475 DISCOVERY BLVD.
ROCKWALL, TX 75032


ORKIN INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1202 PINE ST
ABILENE, TX 79601-3531


ORLANDO, CALOGERO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ORME, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORMENO CABALLERO, EFRAIN RAMON                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ORMSTON, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORNDOFF, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORNER, GLENN E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OROSCO, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OROURKE, BRIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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O'ROURKE, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


O'ROURKE, JAMES J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'ROURKE, ROBERT H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


O'ROURKE, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'ROURKE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OROZCO, JORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ORR AND SEMBOWER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



ORR, CARL E                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, DOUGLAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, JON E                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, LEE ANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, MICHAEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORR, WILLIAM A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORSE, JEAN, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J ORSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ORSINI, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORSINI, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORTEGA, MARIANO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORTHO DIAGNOSTICS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
U.S. ROUTE 202
RARITAN, NJ 08869


ORTIZ, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ORTIZ, FELIPE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORTIZ, JULIO J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ORTIZ, MATHEW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORTIZ, NELSON CORTES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ORTIZ, SERGIO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ORTNER, MICHAEL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


ORTWEIN, RAYMOND J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OSBERG, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OSBORN, MERRILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OSBORNE, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSBORNE, DONALD WILLIAM, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


OSBORNE, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSBORNE, JOHN V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSBORNE, JOHN V.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

OSBORNE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSBORNE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSBORNE, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OSBORNE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSCO,INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRYSON INDUSTRIAL SERVICES,INC.
202 HILL ST.
COLUMBIA, TN 38401


OSGOOD, PAUL (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


O'SHAUGHNESSY, EMMET                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'SHEA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'SHEA, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

O'SHEA, TIMOTHY A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSHKESHEQUOAM, ROBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSISOFT LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LYNDA HIMES
777 DAVIS ST
SAN LEANDRO, CA 94577


OSKO, GILBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSMAN, AYLA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSMAN, ULKER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSMAN, YILMAZ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSMOND, LARRY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSORIO, EDUARDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OSTACOLI, INNOCENZO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OSTASKI, RICHARD R--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

O'STEEN, CAGLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'STEEN, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


O'STEEN, RONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


OSTENDORF, JOSEPH A, SR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OSTERMANN, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OSTIGNY, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OSTOLA, ENSIO E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


OSTROSKY, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

OSTROWSKI, LAWRENCE M                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


OSTWALD, GEORGE P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'SUCH, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OSWALD, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OSWALD, PAM E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD R OSWALD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OTERO COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 511
LA JUNTA, CO 81050-0511


OTIS ELEVATOR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730400
DALLAS, TX 75373-0400


O'TOOLE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


O'TOOLE, WARREN EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OTP INDUSTRIAL SOLUTIONS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 JETWAY BOULEVARD
COLUMBUS, OH 43219


OTSTOT, ALAINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTSTOT, HEATHER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTSTOT, OLIVIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTSTOT, RANDALL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTSTOT, RAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTT JR., WILLIAM F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OTT, JENNIFER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTAVIANO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OTTEMA, VERNON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTEY, FRANCIS P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

OTTINGER, BILLY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OTTINGER, HARLEY RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


OTTINGER, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OTTO, BENNETT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, CADE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, DOUGLAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, LARRY H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OTTO, LAUREN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, NORMA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, PATRICIA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                         Nature

OTTO, RICHARD L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


OTTO, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OTTO, THEODORE AND DORIS OTTO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OUBRE, JOHN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OUELLETTE, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OUIDA, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OULTON, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OUTLAW, BETTY R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OUTLAW, BILLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OUTLAW, HARVEY LEON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                             Nature

OUTLAW, HENRY E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OUTLAW, JOSEPH SAMUEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


OUTMAN, TOMMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OVERBY, BENJAMIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OVERHEAD DOOR CO OF WACO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22009 BUSH DR
WACO, TX 76712


OVERHEAD DOOR COMPANY OF MIDLAND                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 2932
MIDLAND, TX 79702


OVERHEAD DOOR COMPANY OF                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TYLER-LONGVIEW
PO BOX 6837
TYLER, TX 75711-6837


OVERHOLT, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


OVERLY DOOR COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70
GREENSBURG, PA 15601-0070




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

OVERMEYER, FRANCIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OVERTON FAMILY TRUSTS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OVERTON ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 E. HENDERSON STREET
OVERTON, TX 75684


OVERTON, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 S COMMERCE ST
OVERTON, TX 75684


OVERTURF, JIMMY C                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OVI INDUSTRIES, LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3209 GALVEZ AVE.
FORT WORTH, TX 76112


OWEN, ANITA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWEN, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OWEN, FLORENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWEN, FLORENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWEN, GEANA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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OWEN, RYAN H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

OWENBY, BILL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OWEN-ILLINOIS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARDS, BURNS & BRAZIEL, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA, SUITE 1300
HOUSTON, TX 77002


OWEN-ILLINOIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O OWENS-BROCKWAY GLASS
CONTAINER, INC.
WACO, TX 76703


OWENS BROCKWAY GLASS CONTAINER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS CORNING FIBERGLAS CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2050 INTEGRITY DR S
COLUMBUS, OH 43209


OWENS ILLINIOS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS ILLINOIS DEVELOPMENT CENTER                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS ILLINOIS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


OWENS ILLINOIS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
EDWARD MARTIN CASMERE
233 S WACKER DRIVE SUITE 6600
CHICAGO, IL 60606




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTER LAW GROUP PLLC
HAROLD H. HUNTER, THREE GALLERIA
TOWER, 13155 NOEL ROAD, FL 9
DALLAS, TX 75240-6882


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY A ARTHUR
FORMAN PERRY WATKINS KRUTZ & TARDY,
CITY CENTRE, STE 100, 200 SOUTH LAMAR ST
JACKSON, MS 39201


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MARKET
MORGENSTEIN & JUBELIRER LLP
SPEAR STREET TOWER, 32ND FLOOR
SAN FRANCISCO, CA 94105


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYBURG, OH 43551


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
QUILLING SELANDER CUMMISKEY & LOWNDS
PETER A MOIR, HAROLD HUNTER
2001 BRYAN ST, SUITE 1800
DALLAS, TX 75201


OWENS ILLINOIS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
QUILLING SELANDER LOWNDS WINSLETT
AND MOSER, PETER A. MOIR
2001 BRYAN STREET, SUITE 1800
DALLAS, TX 75201




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                      Retained Causes of Action

                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN & WAITE
ANN H MACDONALD
6600 SEARS TOWER
CHICAGO, IL 60606


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
666 FIFTH AVENUE
17TH FLOOR
NEW YORK, NY 10103


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
900 THIRD AVENUE, 23RD FLOOR
NEW YORK, NY 10022


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
EDWARD MARTIN CASMERE
233 S WACKER DRIVE SUITE 6600
CHICAGO, IL 60606


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
EDWARD MARTIN CASMERE
233 S WACKER DRIVE, SUITE 6600
CHICAGO, IL 60606


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
HEIDI KERN OERTLE
233 S WACKER, SUITE 6600
CHICAGO, IL 60606


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 MICHAEL OWENS WAY
PERRYSBURG, OH 43551


OWENS ILLINOIS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

OWENS ILLINOIS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
QUILLING SELANDER CUMMISKEY & LOWNDS
PETER A. MOIR
2001 BRYAN TOWER, SUITE 1800
DALLAS, TX 75201


OWENS, ANNA T                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, ARTHUR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, CHARLES L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, CHARLES O, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWENS, CHARLOTTE H, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUTHER V OWENS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, CLARY & AIKEN, L.L.P.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 NORTH PEARL STREET, SUITE 1600
DALLAS, TX 75201


OWENS, CRAIG, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILBERT H OWENS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, ERMA JANETTE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OWENS, FRANCIS R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


OWENS, J.C. (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWENS, KENNETH J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWENS, RENE, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOE JACKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, RICHARD ALLEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWENS, RONALD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OWENS, RONALD LEE (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


OWENS, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OWENS, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


OWENS-BROCKWAY GLASS CONTAINER INC.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYSBURG, OH 73551




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

OWENSBY & KRITIKOS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUBSIDIARY OF VERSA INTEGRITY
GROUP INC
PO BOX 1217
GRETNA, LA 70054-1217


OWENSBY AND KRITIKOS, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUBSIDIARY OF VERSA INTEGRITY GROUP INC
PO BOX 1217
GRETNA, LA 70054-1217


OWENS-HEMBREE, DUSTIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OWENS-ILLINOIS, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYSBURG, OH 73551


OWINGS, BOBBY J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OXENDINE, DENISE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH V UDDEME
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


OXENDINE, HUDELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


OXENDINE, JACKIE S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


OXFORD, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


OXID INCORPORATED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1177 WEST LOOP SOUTH; SUITE 1400
HOUSTON, TX 77027




                                                                                                                                                                                                                   Page 2890 of 4224
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

OXO BIOPLAST INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100-120 EGLINTON AVE E
TORONTO, ON M4P 1E2
CANADA

OXYRENE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



OZARKA                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF NESTLE WATERS
NORTH AMERICA INC
PO BOX 856680
LOUISVILLE, KY 40285-6680


OZGERCIN, ALEV                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


P A C SYSTEMS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
751 109TH ST
ARLINGTON, TX 76011


P&E MECHANICAL CONTRACTORS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10128 BUNTING DRIVE
WACO, TX 76708


P&H MINING EQUIPMENT INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA P&H MINEPRO SERVICES
3200 PAYSPHERE CIRCLE
CHICAGO, IL 60674


PA, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LPPAI LTD.
6626 GULF FREEWAY
HOUSTON, TX 77087


PA, INCORPORATED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4740
HOUSTON, TX 77210-4740


PABEN, SAMANTHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PABST BREWING CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 INTERPARK BLVD #300
SAN ANTONIO, TX 78216




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PABST, MICHELE L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J COOPER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 WEST BROAD ST
SUITE 1800
COLUMBUS, OH 43215


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 106TH AVENUE N.E.
BELLEVUE, WA 98004


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID C. ANDERSON, VP & GEN COUNSEL
777 106TH AVENUE N.E.
BELLEVUE, WA 98004


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60608


PACCAR INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID C. ANDERSON, VP & GEN COUNSEL
777 106TH AVENUE N.E.
BELLEVUE, WA 98004


PACCONI, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PACE CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N694 COUNTRY ROAD CB
APPLETON, WI 54914




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PACE, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PACE, CHRISTOPHER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACE, GIACINTA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACE, JOSEPH T.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACE, MARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACENTA, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PACER CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1105 - 7TH AVENUE SW
CALGARY, AB T2P 1B2
CANADA

PACHECO, CHARLES E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACHECO, ORACIO P. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PACHECO, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PACHELO, CHARELS E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PACIFIC CYCLE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


PACIFIC CYCLE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN & WAITE
ANN H MACDONALD
6600 SEARS TOWER
CHICAGO, IL 60606


PACIFIC GAS & ELECTRIC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 997300
SACRAMENTO, CA 95899-7300


PACIFIC INTERMOUNTAIN EXPRESS (PIE)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PACIFIC INTERMOUNTAIN EXPRESS CO.
2050 KINGS ROAD
JACKSONVILLE, FL 32203


PACIFIC PUMPS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KORTENHOF MCGLYNN & BURNS
1015 LOCUST ST., SUITE 710
ST. LOUIS, MO 63101


PACIFIC RESOURCE RECOVERY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3150 E. PICO BLVD.
LOS ANGELES, CA 90023


PACIFIC PUMPS NKA PACO PUMPS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRUNDOS CBS INC
902 KOOMEY ROAD
BROOKSHIRE, TX 77423


PACIFICO, MAURO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PACIFICORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
851 SW SIXTH AVE
PORTLAND, OR 97294




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PACIFICORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 SW FIFTH AVE
STE 2300
PORTLAND, OR 97204


PACIFICORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PACIFIC FIRST FEDERAL CENTER
851 SW SIXTH AVE
PORTLAND, OR 97204


PACK, BILLY RAY, II                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PACK, JUNE, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES H PACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PACKAGING CORP OF AMERICA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1955 WEST FIELD COURT
LAKE FOREST, IL 60045


PACKAGING DYNAMICS CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3900 W 43RD ST
CHICAGO, IL 60632


PACKARD TRUCK LINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1536
HARVEY, LA 70059


PACKARD, GEORGE WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PACKER, JAMES L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PACKY, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PACO PUMPS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRUNDOS CBS INC
902 KOOMEY ROAD
BROOKSHIRE, TX 77423


PADEN, MARK E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADEN, RACHAEL W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADGETT, DONALD F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PADGETT, E. LYNNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADGETT, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PADGETT, KENNETH J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADGETT, SAMUEL C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PADILLA, ABRAHAM RUIZ                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, CHARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, CINDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PADILLA, DOROTHY M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, FRANCISCO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PADILLA, JOSE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, JOSE M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, KURTIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, NORMA IRIS RODRIGUEZ                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADILLA, OLIVER G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PADILLA, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADNUK, ANDREW S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SERGE PADNUK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PADNUK, ANDREW S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TINA M PADNUK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PADOT, MAURICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PADRON, ANGELES ESTRADA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADRON, FRANCISCO ESTRADA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADRON, MIGUEL ANGEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PADVARIETIS, LINDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PAETOW, MARGARET E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROLAND C PAETOW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAETOW-SAMAN, SANDRA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY PAETOW
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAFF, PETER J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAGAN, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAGAN, JOSE A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PAGAN, MORRIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAGE, MICHAEL CHRIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAGE, NORMAND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAGE, PAUL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAGE, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAGE, VERNON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PAGLIARO, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAHLER, KENNETH S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAI, SUHAS                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAINTER, AMANDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAINTER, ELEANOR J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HAROLD W PAINTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAINTER, MELISSA, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ROBERT D PAINTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAIS, ROBERT L., SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAIT, JERRY E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAJANEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAKKALA, RAYMOND A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PAKTANK GULF COAST, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAKTANK CORPORATION -DEER
PARK TERMINAL
HOUSTON, TX 77027


PAKULSKI, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAL, DULAL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PALADINO, SALVATORE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALAFOX, LOUIS, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALAFOX, MARTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALAFOX, MARTIN, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALAFOX, PETER TIMOTHY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALAFOX, TONI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALAGALLA, ERYLA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALANGE, ALPHONSE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALATIAL PRODUCTIONS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3523 MCKINNEY AVE STE 495
DALLAS, TX 75204


PALCO ENGINEERING & CONSTRUCTION SVCS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
639 HIGHLAND RD E
OVILLA, TX 75154


PALCO ENGINEERING & CONSTRUCTION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF PALCO ENTERPRISES
639 E HIGHLAND RD
OVILLA, TX 75154-5505




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Name of Counterparty                                                                                        Nature

PALCO ENGINEERING & CONSTRUCTION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISON OF PALCO ENTERPRISES
211 E BELTLINE RD
SUITE 103
DESOTO, TX 75115


PALCO ENGINEERING & CONSTRUCTION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES
639 HIGHLAND RD E
OVILLA, TX 75154


PALEKAR, LAURA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALEKAR, NIKHIL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALEN, HAROLD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALERMO, VINCENT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PALESTINE ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1007 E. PARK AVENUE
PALESTINE, TX 75801


PALESTINE, CITY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
504 N. QUEEN STREET
PALESTINE, TX 75801


PALESTRINI, GLORIA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALITTE, RICHARD SAMUEL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

PALKO, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PALL ADVANCED SEPARATION SYSTEMS                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PALL SYSTEMS SERVICES
PO BOX 5630
CORTLAND, NY 13045-5630


PALL CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 85001311
PHILADELPHIA, PA 19178-1311


PALL TRINITY MICRO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF PALL CORP
PO BOX 85001311
PHILADELPHIA, PA 19178-1311


PALL, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALL, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALLESCHI, LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PALMATEER, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

PALMER, BENNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PALMER, CAROL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALMER, DAVID M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PALMER, HAROLD AND CAROL PALMER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, HELEN R, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHNNIE R PALMER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PALMER, JIM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALMER, ORIO A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PALMER, PAMELA S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PALMER, RICHARD J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, RICHARD S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, ROBIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMER, RUTH A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PALMER, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALMESE, ANDREW A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PALMETTO GASKETS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


PALMIERI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALMO, PAMELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PALMO, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PALMUCCI, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALO PINTO CO EMERGENCY DIST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
109 NORTH OAK
MINERAL WELLS, TX 76067


PALO PINTO COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 160
520 OAK STREET ROOM #107
PALO PINTO, TX 76484


PALO PINTO HOSPITAL DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 SW 25TH AVENUE
MINERAL WELLS, TX 76067


PALOCHONSKI, BRENT S, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALEX PALOCHONSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PALUMBO, ANGELO J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PALUMBO, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PALUMBO, RALPH P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PALUSO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAMPENA, RAYMOND E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PANAGACOS, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PANAGEOTOU, DESPINA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PANARIELLO, AGOSTINO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PANARO, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PANARO, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PANDT, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PANEBIANCO, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PANGANIBAN, ERNESTO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PANGBURN, GARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PANGLE, DALLAS L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PANKEY, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


PANNELL, ARBERDELLA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES PANNELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PANOLA CGWCD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
419 W SABINE ST
CARTHAGE, TX 75633


PANOLA CO. JUNIOR COLLEGE DIST.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1109 W PANOLA ST
CARTHAGE, TX 75633


PANOLA COUNTY JUNIOR LIVESTOCK                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHOW
PO BOX 175
CARTHAGE, TX 75633


PANOLA COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 S. SYCAMORE
ROOM 211
CARTHAGE, TX 75633


PANOLA ESD #1                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1736 BALLPARK DRIVE
CARTHAGE, TX 75633-9998




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PANOVEC, ROBERT L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PANTANO, JOSEPH R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PANTEGO, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1614 S BOWEN RD
PANTEGO, TX 76013


PANTHER CHEMICAL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
108 INTERNAL ROAD BOX 698
DAVIDSON, SK S0G 1A0
CANADA

PANTHER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2703 S SHOSHONE STREET #A
ENGLEWOOD, CO 80110


PANTHER INDUSTRIES, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12061 32 ST NE
EDMONDTON, AB T6S 1G8
CANADA

PANTYNEN, CAROL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PANUS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PANZA, CARL F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PANZA, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PANZARDI, JOSEPH A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PANZER, FREDERICK F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PANZERO, CARMEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAOLI, CHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAOLUCCI, UMBERTO AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAPA, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAPA, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAPA, NICHOLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAPA, THOMAS J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PAPA, VINCENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAPADAKIS, CONSTANTINE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAPAGNO, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAPALE, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAPAY, DENISE, FOR THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF THOMAS PAPAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAPAY, DENISE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD R KELLY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAPCIAK, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAPE, JIMMIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAPER CONVERTING MACHINE CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 SOUTH ASHLAND AVENUE
PO BOX 19005
GREEN BAY, WI 54307-9005


PAPESH, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAPILLON, ROBERT G--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PAPPAS, NICHOLAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAPROCKI, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAQUETTE, PAUL M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PAQUIN, JANET E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAQUIN, MICHAEL B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARADA, OSCAR L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PARADISE LAWNS OF TEXAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 870461
MESQUITE, TX 75187-0461


PARADISE, WARNER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARADISO, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARAGON CORPORATE HOLDINGS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 SOUTH ASHLAND AVENUE
PO BOX 19005
GREEN BAY, WI 54307-9005


PARAGON INDUSTRIES LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2011 SOUTH TOWN EAST BLVD
MESQUITE, TX 75149


PARAGON INDUSTRIES LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PARAGON MANUFACTURING INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2001 N 15TH AVE
MELROSE PARK, IL 60160


PARAMOUNT PACKAGING CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WAYNE MASHE,OPERATIONS MGR.
800 JORDAN VALLEY ROAD
LONGVIEW, TX 75604


PARATORE, MARTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
22A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034




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Name of Counterparty                                                                                           Nature

PARDUE, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARENDO, JOSEPH L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PARENT, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARENT, KENNETH A, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARENT, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARENT, ROMEO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARENTEAU, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARHAM, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARINS, DALE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PARIS ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1920 CLARKSVILLE ST
PARIS, TX 75460


PARIS JR. COLLEGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 CLARKSVILLE ST.
PARIS, TX 75460


PARIS, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARIS, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KENT MCILYAR, CITY ATTORNEY
125 SE 1ST ST., PO BOX 9037
PARIS, TX 75461


PARIS, JAY V                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARISELLI, AMERICO A--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PARISH, MARY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PARISH, RICHARD V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARISH, SYDNEY C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARISI, ANTHONY F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARISI, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PARISI, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PARISIAN, KIMBERLY, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E BOYD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARK GATES AT CITY PLACE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4211 CABELL DR
DALLAS, TX 75204


PARK, ELIZABETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARK, SHERIDAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARK, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKE, ELIZABETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKE, KEVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKE, TANIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARKEM INDUSTRIAL SERVICES,INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1600 EAST HIGHWAY 6, SUITE 300
ALVIN, TX 77511


PARKER AUTO SUPPLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 77
FAIRFIELD, TX 75840


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARTE J. BASSI
BASSI, EDLIN, HUIE & BLUM LLP
500 WASHINGTON STREET, SUITE 700
SAN FRANCISCO, CA 94111


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARKER LABS
THOMAS PIRAINO
19 GLORIA LN
FAIRFIELD, NJ 07004


PARKER HANNIFIN CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROYSTON RAYZOR VICKERY & WILLIAMS LLP
JAMES M. THOMPSON
711 LOUISIANA STREET, SUITE 500
HOUSTON, TX 77002




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PARKER HANNIFIN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROYSTON RAYZOR VICKERY & WILLIAMS LLP
JOHN F. UNGER
711 LOUISIANA STREET, SUITE 500
HOUSTON, TX 77002


PARKER HANNIFIN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CHRYSLER BUILDING
TROUTMAN SANDERS LLP
405 LEXINGTON AVE
NEW YORK, NY 10174


PARKER HANNIFIN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PARKER LABS
THOMAS PIRAINO
19 GLORIA LN
FAIRFIELD, NJ 07004


PARKER, ALLENE K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, BILLY EUGENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, BRENDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, CHARLES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PARKER, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PARKER, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, CURTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARKER, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, DOUGLAS W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PARKER, ERICA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, FRANK, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, GLORIA J. SUTHERLAND                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, HORACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PARKER, JAMES R, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PARKER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, JESSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, JOE EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, JOHN B. AND DOROTHY PARKER                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARKER, JOHN CODY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, JOHN THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PARKER, JOHN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARKER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, JOSEPH (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PARKER, JOSEPH E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PARKER, LESTER W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARKER, LINDA LEE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD K URPS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, MARGARET, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNIS E PARKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, MARS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2920 MCDOWELL EXT.
JACKSON, MS 39211


PARKER, NICKLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARKER, ODELL L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PARKER, OLIVER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, PAMELA D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES PARKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARKER, PAMELA DENISE, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MABLE PARKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, PENNY S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, RHONDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, RICHARD K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, ROLAND T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, SIDNEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKER, TIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKER, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PARKER, WALBERT, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, WALBERT, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCES V PARKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARKER, WILLIAM L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PARKHILL, BENNETT C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PARKS, DAVID M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKS, HERMAN, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKS, NANCY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARKS, THOMAS L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PARKS, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARKSIDE POINT APARTMENTS LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PARKSIDE POINT APARTMENTS
3360 ALICE ST
HOUSTON, TX 77021




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Name of Counterparty                                                                                             Nature

PARLIER, GARLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARM, SALADIN BYRON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARMENT, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARNELL, CHARLES J., SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PARNELL, J. T.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARNELL, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PAROLINI, JAMES MONROE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARR INSTRUMENT COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 53RD ST
MOLINE, IL 61265


PARR, CRYSTAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARR, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARR, LINDA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PARR, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARR, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARRA STOCKEBRAND, LUIS EUGENIO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARRA, ERNESTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRAMORE, MARCUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRI, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRINO, SALVATORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRIS, ALEXANDER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRISH, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARRISH, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARRISH, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARROTT OIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. J. PARROTT, VP
PO BOX 9047
DALLAS, TX 75209


PARROTT, WILLIAM ROBERT (BOB)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARRY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARSON INFRASTRUCTURE & TECHNO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124


PARSON, STEVEN D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARSONS CHEMICAL ENGINEERING INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124


PARSONS CHEMICAL ENGINEERING INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
JAMES D. SMITH, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


PARSONS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PARSONS ENERGY & CHEMICALS GROUP INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124


PARSONS ENERGY & CHEMICALS GROUP INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
JAMES D. HURST, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


PARSONS ENERGY & CHEMICALS GROUP INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
JAMES D. SMITH, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


PARSONS GOVERNMENT SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEMETRA ELENE SOTIRIOU, ATTORNEY AT LAW
1015 LOCUST ST STE 710
ST LOUIS, MO 63101


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO
SCOTT STEPHENSON
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST WALNUT STREET
PASADENA, CA 91124




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                     Retained Causes of Action

                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
CLAUDIA B DIAZ
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
COLE G DUNNICK
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
JAMES R BRANIT
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
SCOTT STEPHENSON
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
JAMES DAVID SMITH, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW LLP
JAMES D. HURST, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002


PARSONS INFRASTRUCTURE & TECHNOLOGY GROUP INC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE SMTIH LAW FIRM
JAMES D. HURST
1200 SMITH STREET, SUTE 2250
HOUSTON, TX 77002-7529




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARSONS, AMANDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PARSONS, CARL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARSONS, FRANKLIN L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARSONS, GLEN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARSONS, GLENN R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARSONS, ROLAND M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARSONS, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PARSONS, TERESA T, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS PARSONS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PARTHIE, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARTHIE, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PARTIN, JENNIFER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PARTINGTON, THOMAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PARTINGTON, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PARWANI, HARGUNDAS K.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PASCALE, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASCALE, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PASCARELLI, ORAZIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASCHALL, PAMELA J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PASCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 S JEFFERSON ST STE 102
CHICAGO, IL 60661


PASCO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JAYANTH SHETH
1920 S HIGHLAND AVE STE 300-1
LOMBARD, IL 60148




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PASCUCCI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASKIN PROPERTIES JOINT VENTURE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CRESTBROOK APARTMENTS
8550 EL PASO GRANDE
LA JOLLA, CA 92027


PASKO, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PASQUALE, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASQUALE, VINCENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASSARO, BART                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASSARO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PASSCO SENECA KENSWICK,LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STONELEIGH ON KENSWIC
11200 WESTHEIMER ROAD
SUITE 1025
HOUSTON, TX 77042




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PASSERO, RONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PASTERCZYK, MICHAEL C--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PASTERNAK, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PASTOR BEHLING & WHEELER LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 DOUBLE CREEK DR STE 4004
ROUND ROCK, TX 78664-3843


PASTORE, ANTHONY C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PASTORE, ERMINIO L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PAT PECK NISSAN INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9480 US HIGHWAY 49
GULFPORT, MS 39503


PAT PECK NISSAN/YUGO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9480 HIGHWAY 49
GULFPORT, MS 39503


PATAK, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PATANA, JOHN N                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PATCH, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATCHA CORPORATION DBA WATSON BURG                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GARY MORGAN
1901 WEST MORTON ST
DENISON, TX 75020


PATCHES, LADD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATE, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATE, JIMMY B.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATE, MIST LOOKABAUGH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATE, RANDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, AJIT S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, AJIT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, BELUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, BELUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                       Nature

PATEL, HARIBHAI P                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, HARISH K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, HARSHAD R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, HASMUKH V                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, JASHBHAI R.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, KANTA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, NIRAV                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, RAKHI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, SMITA J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, SUKETU                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, THAKOR T                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEL, YOGEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PATERICK, GERALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PATERNO, ANNABELLE SACAY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATERNO, BELLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PATERNO, RANDY LOUIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATERNO, ROBERT PATRICK, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATERNO, ROBERTO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATEZ, HARIBHAI P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PATHFINDER EQUIPMENT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOCATORS INC
PO BOX 90077
SAN ANTONIO, TX 78209


PATILLO, DEBBIE Y, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EFON P MANGUM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATRIARCA, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICIA A WILSON TRUSTEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PATRICK, BIRCH (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

PATRICK, BROOKS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICK, BUELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICK, DANNY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICK, JIMMY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICK, JOHN P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PATRICK, LEON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRICK, RONALD LYNN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATRICK, SHIRLEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATRICK, TANYA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PATRICK, TYRONE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATRONIE, FRANK F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATSCHKE, RICHARD CHARLES (DECEASED)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATT, THERESA A, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ROBERT S PATT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTERN RECOGNITION TECHNOLOGIES, INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14185 DALLAS PKWY STE 535
DALLAS, TX 75254-4316


PATTERSON COMPANIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1031 MENDOTA HEIGHTS RD
ST PAUL, MN 55120


PATTERSON DENTAL SUPPLY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1031 MENDOTA HEIGHTS RD
ST PAUL, MN 55120


PATTERSON KELLEY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 BURSON STREET
EAST STROUDSBURG, PA 18301


PATTERSON PUMP CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2129 AYERSVILLE RD
TOCCOA, GA 30577


PATTERSON PUMP CO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALLAN R RAMSAY
38 FALLS RD
TOCCOA, GA 30577




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

PATTERSON PUMP CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL P WALLER III, ATTORNEY AT LAW
4343 WEST MAIN STREET
BELLEVILLE, IL 62226


PATTERSON PUMP CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALKER WILLIAMS PC
LESLIE G. OFFERGELD
4343 W MAIN ST
BELLEVILLE, IL 62226


PATTERSON, ALLEN KEITH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, BRANDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, BRENDA J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L PATTERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTERSON, CLIFF                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, HAROLD W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, HUBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTERSON, HUESTON CALVIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTERSON, JAMES PATRICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PATTERSON, JERRY DOYLE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTERSON, JOHNNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTERSON, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PATTERSON, LLOYD D, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, LOUISE SHANNON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, LUTHER C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTERSON, PATTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, RAYMOND JAMES, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR PATTERSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PATTERSON, RUTH L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTERSON, SUSAN M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CURVIN A MYERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTERSON, WILLIAM M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTERSON, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTI, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PATTON, JIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PATTON, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATTUM, JOSEPH E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PATZ, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAUKSTAT, ERNEST                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAUL H GESSWEIN & COMPANY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
255 HANCOCK AVE
BRIDGEPORT, CT 06605-2400


PAUL J KREZ COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7831 NAGLE AVE
MORTON GROVE, IL 60053


PAUL JR, EMMETT D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAUL JR, WESLEY W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PAUL LEDALE MARTIN AND IONA JAMES MARTIN                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE KARST & VON OISTE LAW FIRM
ATTN: ERIK PHILIP KARST
19500 STATE HIGHWAY 249
HOUSTON, TX 77070


PAUL ROWELL CONSTRUCTION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAUL, EICHELBERGER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAUL, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PAUL, HOWARD F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAUL, JIMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAUL, JOHANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAUL, JOSEPH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


PAUL, LEONARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUL, LEONARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUL, MARLENE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL H PAUL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAUL, MARYLL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUL, RANDALL & AUDREY SUE HAMPTON                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUL, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUL, STANLEY E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

PAUL, WANDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAULETICH, JOE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAULEY, CLESTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAULINSKY, REGIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAULK, IRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAUL'S OIL SERVICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1110 SHILOH RD.
DALLAS, TX 75228


PAULSON, DONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAULSON, FRANK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAULSON, HAROLD ALBERT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAULSON, MARIA E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PAULSON, RICHARD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAUPORE, WESTLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAVELKA, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PAVLO, SHERRI L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH KUNIE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAVLOVICH, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAVONE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAWELA, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAWELCZYK, DIANE L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT PAWELCZYK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAWELSKI, MEGAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAWLENDZIO, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

PAWLOSKI, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAWLYK, NICHOLAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAWN, WILLIAM K., JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAXTON, LARRY W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAXTON, LARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAXTON, RONALD CRAIG                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAXTON, VIRGINIA M                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYDEN, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAYLOR, CLYDE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE AND KELLER COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
811 DALLAS AVE.
HOUSTON, TX 77002




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAYNE, ARNOLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAYNE, CYNTHIA RUTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, DEREK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, ERIK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, JAMES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAYNE, JANA JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, KEVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, LEONARD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAYNE, LYNN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAYNE, MARVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PAYNE, MICHAEL EUGENE PAYNE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PAYNE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAYNE, MITCHELL RONALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, NORMA J FOWLER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, PRISCILLA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARLTON PAYNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PAYNE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYNE, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PAYNE, WILLIAM DWAIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYTON, PERCY EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PAYTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

PAYTON, STEPHEN L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PBS AND J                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N/K/A ATKINS NORTH AMERICA, INC.
4030 W BOY SCOUT BLVD STE 700
TAMPA, FL 33607-5713


PCC FLOW TECHNOLOGIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16801 GREENSPOINT PARK DRIVE, SUITE 355
HOUSTON, TX 77060


PCPC DIRECT LTD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10690 SHADOW WOOD DRIVE
SUITE 132
HOUSTON, TX 77043-2843


PCY APT, LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT G. GIBSON, JR.
PO BOX 387
ROSENBERG, TX 77471


PEABODY COAL SALES COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 MARKET STREET
ATTN: RISK MANAGEMENT
ST LOUIS, MO 63101


PEABODY COAL TRADE, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 MARKET STREET
ATTN: RISK MANAGEMENT
ST LOUIS, MO 63101


PEABODY ENERGY CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
GEORGE Y. SUGIYAMA
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


PEABODY ENERGY CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
MICHAEL H. HIGGINS
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PEABODY ENERGY CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
PETER S. GLASER
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


PEACHEY, RONALD (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEACOCK, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEAKE, DANIEL J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEARAGE, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARCE, MANDI K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARCE, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARL BREWING COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
312 PEARL PARKWAY
SAN ANTONIO, TX 78296


PEARL BREWING LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 INTERPARK BLVD, SUITE 300
SAN ANTONIO, TX 78216-1852




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PEARSALL, JOHN J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PEARSON JR, DONALD RAY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, ANNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, BRAD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARSON, GERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARSON, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARSON, LLOYD M, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                        Nature

PEARSON, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARSON, ROWLAND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEARSON, SCOTT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEARSON, WD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


PEAVY, ROBERT ALLEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PECHACEK, RAYMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PECHMANN, LOUIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PECK, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PECK, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                              Nature

PECO                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27881 CLEMENS RD
WESTLAKE, OH 44145


PECORA CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
165 WAMBOLD ROAD
HARLEYSVILLE, PA 19438


PECORA CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUNTY & MCCARTHY
SUSAN GUNTY
150 SOUTH WACKER DRIVE, SUITE 1025
CHICAGO, IL 60606


PECORA CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 419037
DAVID JOSEPH PAGE
TWO CITY PLACE DR, SUITE 150
ST LOUIS, MO 63141


PECORA CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHITE SHAVER PC
JEFFERY J. SHAVER
11200 WESTHEIMER, SUITE 200
HOUSTON, TX 77042


PECORARO, RONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PECOS - BARSTOW - TOYAH ISD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1302 SOUTH PARK STREET
PECOS, TX 79772


PEDDICORD, CHARLES N                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PEDDICORD, DARLENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEDDICORD, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PEDDICORD, SARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEDERDEN, VERNER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PEDERSEN, MARK H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEDERSEN, MILES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEDERSEN, RICHARD H--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PEDERSEN, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEDERSEN, TOM A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEDERSON, ALLEN J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PEDERSON, DANNETTE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                             Nature

PEDINGS, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEDOTE, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEDOTO, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEDRAZA, HORACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PEDRICK, CHARLES L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEDRICK, DEBORAH A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES E PEDRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEDRICK, DEBRA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEDROSO, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEBLES, GEORGE KEITH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PEED, DAVID J.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PEED, LOIS E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEK, BARRY B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEK, CATHY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEL, JIM HOWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEL, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEEL, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PEELE, COY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEEPLES, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEERLESS HEATER CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
231 N WALNUT ST
BOYERTOWN, PA 19512


PEERLESS INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 WHITE OAK CIRCLE
AURORA, IL 60502-9676


PEERLESS INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 MARKET STREET, STE. 808
PHILADELPHIA, PA 19102




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Name of Counterparty                                                                                          Nature

PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSEK, NILLES & SINARS, LLC
DOUGLAS MICHAEL SINARS
55 W MONROE ST STE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 WHITE OAK CIRCLE
AURORA, IL 60502-9676


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 WHITE OAK CIRCLE
HOUSTON, TX 77002


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN PHILIP PARSONS, ATTORNEY AT LAW
417 E BROAD ST
COOKEVILLE, TN 38501


PEERLESS INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD SMITH
PHILIP J O ROURKE ESQ
77 WATER ST STE 2100
NEW YORK, NY 10005




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSCHEK NILES & SINARS LLC
PATRICK GRAND
55 WEST MONROE ST, SUITE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSEK, NILLES & SINARS, LLC
DOUGLAS MICHAEL SINARS
55 W MONROE ST STE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, L.L.C.
DOUGLAS MICHAEL SINARS
55 W MONROE ST, SUITE 700
CHICAGO, IL 60603


PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, LLC
JOHN MICHAEL PORRETTA
55 WEST MONROE STREET # 700
CHICAGO, IL 60603


PEERLESS MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14651 NORTH DALLAS PARKWAY
SUITE 500
DALLAS, TX 75254


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46202




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46202


PEERLESS PUMP COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46207




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASHLEY GRACE HAWKINSON, ESQ
1511 S 50TH ST
KANSAS CITY, KS 66106-2325


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASHLEY GRACE HAWKINSON, ESQ
1511 S 50TH ST
KANSAS CITY, MO 66106-2325


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSCHEK NILES & SINARS LLC
PATRICK GRAND
55 WEST MONROE ST, SUITE 700
CHICAGO, IL 60603


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


PEERLESS PUMP COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
SUSAN ELIZABETH RYAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 63102


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LYNN G LEGLER- TREVINO,
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64103-1929


PEERLESS PUMP COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PEERLESS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 WHITE OAK CIRCLE
AURORA, IL 60502-9676


PEERLESS PUMP CO INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46207


PEEVY, JIMMIE C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEGUES HURST MOTOR CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3686
LONGVIEW, TX 75606


PEGUES, GERALDINE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH A ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEGULA, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEICO                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10992
BIRMINGHAM, AL 35202-0992


PEIFER, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEIFFER, RONALD E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PEKAREK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PEKOFSKY, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PELC, FRANK J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PELCHAT, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELFREY, ROBERT E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PELHAM, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PELHAM, MATTIE ODELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PELICAN ASSOCIATES LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PELICANS LANDING APARTMENTS
5850 PARKFRONT DR 2ND FLOOR
HOUSTON, TX 77036


PELICAN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELKEY, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PELL, MICHAEL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PELLEGRINI, BRIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PELLEGRINI, DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELLERIN MILNOR CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 JACKSON ST
KENNER, LA 70062


PELLETIER, ALFRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELLETIER, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELLICCI, DANIEL D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PELLICER, NICHOLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELLIEN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PELOQUIN, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELPHREY, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PELPHREY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PELT, SHARON VAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


PELTIER, ROBERT JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELTO, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PELZEL, ROBERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PEMBER, CHARLES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PEMBER, DEBORAH J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PEMBERTON, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEMPEK, JEANMAIRE E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENA, ARMANDO R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENA, ARMANDO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENA, MANUEL JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENAGOS, ANNIE BETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENAGOS, ANNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENCE, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENDERGAST, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PENDERGAST, EUGENE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PENDERGAST, WILLIAM J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PENDERGRAFT, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PENDERGRASS, JULIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENDERGRAST, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENDLETON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENDLETON, LENDA C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENDLEY, LARISSA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENDLEY, MARTHA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PENDOLPHIA, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENKALSKI, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENN, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PENN, IDA, PR OF THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY PENN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PENN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNAKEM LLC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3324 CHELSEA AVE
MEMPHIS, TN 38108


PENNELL, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNEY FLOYD DENSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUZANNE JOHNSON
352 CLEARSPRING RD
SHELL KNOB, MO 65747


PENNEY, BERNICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 402
BIG SANDY, TX 75755


PENNEY, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNEY, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PENNIMAN, RAYMOND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNINGTON, DON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNINGTON, LAFIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNINGTON, LYNDA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PENNINGTON, THOMAS ODELL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PENNINGTON, WALTER ALVIN, SR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PENNINGTON, WALTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENNSYLVANIA CRUSHER CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5505 N CUMBERLAND AVE STE 307
CHICAGO, IL 60656-1471


PENNSYLVANIA CRUSHER CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 ABBOTT DRIVE
PO BOX 100
BROOMALL, PA 19008-0100


PENNSYLVANIA DEPARTMENT OF REVENUE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BUREAU OF BUSINESS TRUST FUND TAXES
PO BOX 280901
HARRISBURG, PA 17128-0901




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PENNSYLVANIA ENGINEERING CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 2ND ST
PITTSBURGH, PA 15215


PENNSYLVANIA ENGINEERING CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 2ND ST
PITTSBURGH, PA 15215


PENNYPACKER, ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


PENNYPACKER, GLENN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


PENNYPACKER, HELEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


PENNYPACKER, HENRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


PENNZOIL-QUAKER STATE COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A SOPUS PRODUCTS
ATTN: TRAVIS TORRENCE
910 LOUISIANA, RM 44000B
HOUSTON, TX 77002


PENOYER, NORMAN HAROLD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PENSYL, FRANK C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PENTA, JOHN M, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PENTAIR INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BOULEVARD, STE. 800
MINNEAPOLIS, MN 55416


PENTAIR LTD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BOULEVARD, STE. 800
MINNEAPOLIS, MN 55416


PENTAIR VALVES & CONTROLS INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 WAYZATA BOULEVARD, STE. 800
MINNEAPOLIS, MN 55416


PENTAIR VALVES & CONTROLS US LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ANDERSON GREENWOOD
CROSBY VAREC
DEPT 1226 P O BOX 121226
DALLAS, TX 75312-1226


PENTANGELO, SALVATORE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEOPLES GAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
702 NORTH FRANKLIN STREET
PO BOX 2562
TAMPA, FL 33601-2562


PEOPLES, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEOPLES, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEOPLES, LEWIS E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PEOPLES, TUXIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PEP BOYS MANNY MOE & JACK OF D E                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARSHALL DENNEHEY WARNER COLE
PAUL JOHNSON, WOODLAND FALLS CORP
CTR, 200 LAKE DR E STE 300
CHERRY HILL, NJ 08002


PEPBOYS                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3111 W ALLEGHENY AVE
PHILADELPHIA, PA 19132


PEPERONI, TERESA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PEPPARD, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PEPPER, BILL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEPPER, BOBBY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEPPERS, JO ANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEPSICO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 ANDERSON HILL RD
PURCHASE, NY 10577


PERANZO, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PERCIVAL, ROBERT V.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERDUE, BETTY G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PERDUE, BUDDY A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PERDUE, CHERYL LYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERDUE, DOUGLAS EDWIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERDUE, GUY R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PEREIRA, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEREIRA, AQUELINO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEREIRA, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERETIN, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PERETIN, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEREZ SANCHEZ, RAMON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEREZ, BUTCHILD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, DANNY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, DOMINGO A, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, GEREADO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, HUMBERTO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEREZ, JESSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PEREZ, MANUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEREZ, MARIA A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEREZ, MARIA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PEREZ, RAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, ROSE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, SETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PEREZ, TABITHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERFORMANCE CONTRACTING INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4851 HOMESTEAD
SUITE 102
HOUSTON, TX 77028


PERFORMANCE CONTRACTING INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 872346
KANSAS CITY, MO 64187-2346


PERFORMANCE FRICTION PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SOUTH MICHIGAN AVENUE
CHICAGO, IL 60604


PERGERSON, JOHNNIE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERGERSON, MICHAEL DEAN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERGERSON, REBECCA PERRY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERGERSON, RICKY ALLEN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PERIN, ERMINIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERINOTTI, JOSEPH, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PERISA, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERITZ, FERD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERITZF, FERD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERKINS, ALVIN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PERKINS, DERRIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERKINS, GLADIOLA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERKINS, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERKINS, JARREL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PERKINS, JO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERKINS, PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERKINS, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERKS, DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERLEY, ARTHUR, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PERMA-FIX ENVIRONMENTAL SERVICES, INC.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8302 DUNWOOD PLACE, SUITE 250
ATLANTA, GA 30350-3390


PERMA-FIX ENVIRONMENTAL SERVICES, INC.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8302 DUNWOODY PLACE
SUITE 250
ATLANTA, GA 30350


PERMIAN BASIN PEST & WEED CONTROL LLC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 50493
MIDLAND, TX 79710-0493


PERMIAN BASIN UWCD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
708 WEST ST. PETER STREET
STANTON, TX 79782


PERMIAN BASIN WATER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PERMIAN HOMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 12025
ODESSA, TX 79768


PEROUTKA, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRET, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERRICELLI, NICHOLAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRIMAN, EVERETT R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERRIN-WHITT ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
216 NORTH BENSON
PERRIN, TX 76486


PERRONE, MARTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERROTTA, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERROTTO, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERRY & PERRY BUILDERS ERECTORS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1048
215 E CAMERON AVE
ROCKDALE, TX 76567




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PERRY ELLIS INTERNATIONAL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 NW 107TH AVE
DORAL, FL 33172


PERRY, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, CARROLL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, DARWIN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERRY, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, EDMUND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, FLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, FRANK C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERRY, GARY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PERRY, GLENN A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, GOVERNOR RICK                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, JAMES KEVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, KENNETH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PERRY, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERRY, NANCY H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, RUDOLPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, TERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, TRACY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, TROY & RACHEL NEWE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, TROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERRY, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PERRYMAN, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERSAD, RANDAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERSCHE, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERSCHY, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERSEGHIN, DAVID L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS A PERSEGHIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PERSEGHIN, DAVID L, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PERSEGHIN, ELEANOR L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD E PERSEGHIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PERSFUL, JERRYE STEWARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERSICH, GUIDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PERSICHETTI, JOHN P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERSICO, SAM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PERSON, WALTER J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PERSONAL EDGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAYLOR HEALTH CARE SYSTEM
PO BOX 846168
DALLAS, TX 75284-6168


PERSONAL EDGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BAYLOR HEALTH CARE SYSTEM
PO BOX 846168
DALLAS, TX 75284-6168


PERSONS, ROBERT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PERSONS, ROBERT WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PERUSKO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PERYEA, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PERZAN, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PESARESI, RENO J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PESAVENTO, JOHN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PESCATORE, ALBERT A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PESCE, ROBERT V                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PESCETTA, AMERICO--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PESCHKE, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETERBILT MOTOR CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 WOODBROOK STREET
DENTON, TX 76205-7864


PETERBILT MOTORS CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICHARD BANGERT,II,VP
3200 AIRPORT ROAD
DENTON, TX 76207




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PETERKIN, ERMA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETERMANN, MILTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERS, BRADFORD S, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERS, CATHERINE V.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERS, CHARLES H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERS, DOLORES, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM PETERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETERS, EDWARD FRANCIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERS, EDWARDS FRANCIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERS, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETERS, JAMES H. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PETERS, JOHN HENRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PETERS, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERS, MARGARET L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED J PETERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETERS, MITCHELL E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PETERS, NANNETTE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLYDE WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETERS, RICHARD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PETERS, THOMAS F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETERS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERS, WALTER GARY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PETERS, WILLIAM M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PETERSEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERSEN, PAUL S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PETERSEN, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERSEN, WILLIAM D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PETERSON MARITIME, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1660 SOUTH BELTLINE HIGHWAY
MOBILE, AL 36693


PETERSON, CHARLES E. DECEASED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PETERSON, CHESTER F, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERSON, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERSON, GLORIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PETERSON, HARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERSON, JEROME L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERSON, JOHN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETERSON, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERSON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETERSON, RONALD G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETERSON, STEVEN L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PETERSON, WALTER W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PETERSON, WILLIAM F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETET, NORMAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

PETILLO, SEBASTIANO--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PETIT, NORMAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETITT, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETITT, JOE I.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETKOVSEK, BONNIE LEE AND DAVID PETKOVSEK                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETREY, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRICIG, BRUNO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRILLO, NICHOLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRILLO, VINCENT--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PETRINI, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRO OPERATING COMPANY HOLDING                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15021 KATY FREEWAY #400
HOUSTON, TX 77094


PETRO OPERATING COMPANY LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15415 KATY FREEWAY
SUITE 800
HOUSTON, TX 77094


PETRO SOURCE RESOURCES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1504 DOGWOOD DR
MINDEN, LA 71055-8909


PETRO UNITED TERMINALS, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PETROUNITED HOLDINGS, INC.
333 CLAY ST., SUITE 4300
HOUSTON, TX 77002


PETRO VALVE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11248 E HARDY RD
HOUSTON, TX 77093-2368


PETRO, JAMES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PETRO, RICHARD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PETRO-CANADA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 NORTH 6TH AVENUE SW
CALGARY, AB T2P 0P8
CANADA

PETRO-CANADA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2489 NORTH SHERIDAN WAY
MISSISSAUGA, ON L5K 1A8
CANADA




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PETROLEUM GEO-SERVICES INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEIM, PAYNE, & CHORUSH, LLP
RUSSELL ALLEN CHORUSH
600 TRAVIS, SUITE 6710
HOUSTON, TX 77002


PETROLLE, ANGELO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETROLLE, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETROMAX REFINING CO LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 263
LEAKEY, TX 78873


PETRONE, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRONIERO, VINCENT JOHN, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VINCENT J PETRONIERO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETROSKY, STANLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRO-TEX CHEMICAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


PETRO-TEX CHEMICAL CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8600 PARK PLACE
HOUSTON, TX 77017




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PETRO-VALVE INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 38867
HOUSTON, TX 77238-8867


PETROVICH, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETROVICH, MILICA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETROWITSCH, RUDOLF                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETRY, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTERSEN, PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETTIE, FRANK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PETTIGREW, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTIGREW, HOMER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


PETTIGREW, HOMER, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTIGREW, JANE J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PETTIGREW, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTIT, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PETTUS, CLEATUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTY, DANNY RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTY, HOBART                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETTY, HUBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PETTY, KENNETH E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTY, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTY, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PETTY, TRACY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PETTY, WILLIE G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PETTY, WILLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PEVEHOUSE, MARYLOU                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


PEVERLEY, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEYCKE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PEZZECA, TANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PEZZI, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PEZZINO, SALVATORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PFAB, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PFAFF, BETTY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HYLANT L PFAFF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PFAFF, CAROL L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARROLL F PFAFF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PFALZ, JOSEF                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PFEIFER, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PFEIFFER, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PFEIFFER, CYNTHIA ANN, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATTY C NICHOLSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PFINGSTEN, WILLIAM E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PFIZER INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 EQUITABLE BLDG
MCCARTER & ENGLISH LLP
2000 EQUITABLE BLDG, 10 S BROADWAY
ST LOUIS, MO 63102


PFIZER INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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Name of Counterparty                                                                                             Nature

PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 EQUITABLE BLDG
KEVIN F O'MALLEY
2000 EQUITABLE BLDG, 10 S BROADWAY
ST LOUIS, MO 63102


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENSFELDER, HEMKER & GALE, P.C.
THEODORE D AGNIEL
10 S. BROADWAY, STE. 2000
ST. LOUIS, MO 63102


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
JAMES L SMITH
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
JAMES L SMITH
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND ST
NEW YORK, NY 10017


PFIZER INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

PFIZER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


PGI INTERNATIONAL LTD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16101 VALLEN DR
HOUSTON, TX 77041


PH GLATFELTER COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017


PH GLATFELTER COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
96 S GEORGE ST STE 520
YORK, PA 17401


PHAM, DUC DINH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHANEUF, JEFFREY L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PHANEUF, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHARIS, HARVEY E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHARIS, HARVEY E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHARIS, HARVEY ELLIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHARMACIA CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
J. Y. III MILLER
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
JORDAN THOMAS AULT
190 CARONDELET PLAZA, SUITE 600
CLAYTON, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
JOSEPH C ORLET
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
MARK G ZELLMER
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUSCH BLACKWELL
STEVEN BERT BESHORE
190 CARONDELET PLAZA, SUITE 600
ST LOUIS, MO 63105


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
190 CARONDELET PLAZA, SUITE 600
ST. LOUIS, MO 63105-3441


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017


PHARMACIA CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BY SOLUTIA,INC.,ATTY IN FACT
CATHLEEN BUMB,ASST.GEN.CNSEL,ENV.
ST. LOUIS, MO 63141




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Name of Counterparty                                                                                          Nature

PHARMACIA CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


PHARMACIA CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIS, CARSTARPHEN, DOUGHERTY & GRIGGS P
EDWARD MORGAN CARSTARPHEN III
1800 BERING DR, SUITE 750
HOUSTON, TX 77057


PHARMACIA CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIS, CARSTARPHEN, DOUGHERTY & GRIGGS
P.C., EDWARD MORGAN CARSTARPHEN III
1800 BERING DR, STE 750
HOUSTON, TX 77057-3170


PHARMACIA LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
235 E 42ND STREET
NEW YORK, NY 10017


PHARMACIA LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELLIS, CARSTARPHEN, DOUGHERTY & GRIGGS
P.C., EDWARD MORGAN CARSTARPHEN III
1800 BERING DR, STE 750
HOUSTON, TX 77057-3170


PHEAGIN, AUDREY RUTH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHEAGIN, ROBERT EDWARD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHEAGIN, ROBERT EDWARD, II                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHELPS DODGE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE NORTH CENTRAL AVENUE
PHOENIX, AZ 85004-4464


PHELPS DODGE INDUSTRIES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE NORTH CENTRAL AVENUE
PHOENIX, AZ 85004-4464




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHELPS, KARL V, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHELPS, RACHEL M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHELPS, STANLEY W , JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY PHELPS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHELPS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHIESTER, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILADELPHIA GEAR CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 223729
PHILADELPHIA, PA 15251-2729


PHILAN, JONATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILBIN, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHILBRICK, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILBRICK, MARTIN D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PHILIP, DOUGLASS P J, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BRUCE A PHILIP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHILIPP, ANTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILIPS ELECTRONICS NORTH AMERICA CORP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


PHILIPS ELECTRONICS NORTH AMERICA CORP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


PHILIPS ELECTRONICS NORTH AMERICA CORP.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 MINUTEMAN RD
ANDOVER, MA 01810


PHILIPS ELECTRONICS NORTH AMERICA CORP.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREENBERG TRAURIG LLP
NEERAJ VERMA
1000 LOUISIANA STREET, SUITE 1700
HOUSTON, TX 77002




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

PHILIPS ELECTRONICS NORTH AMERICA CORP.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWASH MEADE & GASTON LLP
ANDREW K MEADE
1221 MCKINNEY STREET
HOUSTON, TX 77002


PHILIPS ELECTRONICS NORTH AMERICA CORP.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MAYER BROWN LLP
FRANK PERRONE
700 LOUISIANA STREET, SUITE 3400
HOUSTON, TX 77002-2370


PHILIPS ELECTRONICS NORTH AMERICA CORP.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MAYER BROWN LLP
QUINNCY MCNEAL
700 LOUISIANA STREET, SUITE 3400
HOUSTON, TX 77002-2370


PHILIPS HEALTHCARE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
50 WEST BROAD ST SUITE 1800
COLUMBUS, OH 43215


PHILIPS HEALTHCARE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


PHILLEY, STEVEN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHILLIP, FRANKIE C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIP, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PHILLIPPE, ROSS W., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS 66 COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4428
HOUSTON, TX 77210




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHILLIPS CHEMICAL COMPANY LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3010 BRIARPARK DRIVE
HOUSTON, TX 77042


PHILLIPS CHEMICAL HOLDINGS CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
DAVID W. LEDYARD
595 ORLEANS, SUITE 1400
HOUSTON, TX 77002


PHILLIPS ELECTRONICS NORTH AMERICAN CORP                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3010 BRIARPARK DRIVE
HOUSTON, TX 77042


PHILLIPS ELECTRONICS NORTH AMERICAN CORP                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MAYER BROWN ROWE & MAW
HAP WEITZEL
700 LOUISIANA, SUITE 3600
HOUSTON, TX 77002


PHILLIPS III, CUBA HARVEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PHILLIPS PETROLEUM CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS & REESE LLP-HOUSTON
LESLIE M HENRY, LYONDELLBASELL TOWER,
1221 MCKINNEY, STE 4400
HOUSTON, TX 77010


PHILLIPS PETROLEUM CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B RICE, LESLIE HENRY
1200 SMITH, SUITE 400
HOUSTON, TX 77002


PHILLIPS, ANN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH E PHILLIPS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PHILLIPS, ARTHUR L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PHILLIPS, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, BARRY L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, BARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, BENJAMIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, BOBBY E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PHILLIPS, BOBBY RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PHILLIPS, BOBBY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW, LLC
ATTN: BENJAMIN SCHMICKLE
701 MARKET ST., SUITE 1575
SAINT LOUIS, MO 63101


PHILLIPS, BRANDON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, CAITLIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, CHARLES W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, CLINT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PHILLIPS, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, DONNA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, ERMA TURNER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, GARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, GRADY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, HAROLD O                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, JAMES D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, JAMES E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PHILLIPS, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PHILLIPS, JASON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, JIMMY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, JOE EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHILLIPS, JOHNNY WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PHILLIPS, JUDSON L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, KINUS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, LAWRENCE L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, LORENZO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PHILLIPS, LOUISE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PHILLIPS, MARK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


PHILLIPS, MICHAEL W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHILLIPS, O'NEAL, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, RAY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, REBECCA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHILLIPS, RICHARD D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PHILLIPS, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PHILLIPS, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILLIPS, ROBERT GUION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, RUTH JANICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, SANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, SARAH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, SUSAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, THOMAS E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, WENDELL F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHILLIPS, WERNER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PHILLIPS, WILLIAM ALLEN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHILLIPS, WILLIAM E. & SARAH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHILLIPS, WILLIE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PHILLIPS, WILLIE, SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PHILLIPS, WILLIE, SR., ET AL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


PHILLIS, ALVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHILPOT, JULE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PHINNEY, RICHARD A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHIPPS, HERBERT W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PHOENIX AIR FLOW INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1453 MARS AVE
LAKEWOOD, OH 44107




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PHOENIX OIL, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2015 NORTH HOUSTON AVENUE
HUMBLE, TX 77338


PHOENIX PACKING AND GASKET MFG CO                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
HOLLI VIRGINIA PRYOR-BAZE
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200


PHYSICAL SCIENCE LABORATORY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 319
FM ROAD 3224
PALESTINE, TX 75802-0319


PHYSICIANS FOR SOCIAL RESPONSIBILITY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTHERN ENVIRONMENTAL LAW CENTER
JOHN TIMOTHY SUTTLES, JR.
601 WEST ROSEMARY ST, SUITE 220
CHAPEL HILL, NC 27516


PIANO, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIANTONI,LINO E--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PIATT, ROBERT A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIAZZA, THOMAS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIAZZA, THOMAS JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PICARD, LIONEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICARD, RENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICCIONE, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PICCIONE, ROBERT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PICCIOTTO, FRANK, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PICCIOTTO, JOHN A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SALVATORE PICCIOTTO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PICCOLO, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICERNE DEVELOPMENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WORTHINGTON POINT
12301 HEMPHILL ST
CROWLEY, TX 76036




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PICHEY, BERNARD P--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PICHLER, KIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICHLER, MARGIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PICK AND MATHER COAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 MADISON AVENUE
TOLEDO, OH 43604-5684


PICK, LORETTA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JAMES W. PICK
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


PICKENS, JERRY C., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PICKENS, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKENS, JOYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKENS, LYNWOOD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PICKENS, SAMUEL AUGUSTUS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PICKERILL, ROBERT C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PICKERING, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICKERING, PATRICIA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID L PICKERING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PICKETT, DORETHA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, FREDERICK, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, GRETA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, MOSES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, PAULETTE J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PICKETT, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, SAMMY K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PICKETT, SHERWOOD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PICKFORD, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICKRELL, ROSCOE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICKRELL, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PICTILA, JOHN H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PIEFER, COREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIEKARSKI, ERVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIEKARSKI, JUSTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


PIEKARSKI, KAZIMIERZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PIERATT, CHARLES T.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PIERCE PUMP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AN FCX PERFORMANCE COMPANY
PO BOX 712465
CINCINNATI, OH 45271-2465


PIERCE, ANGELA D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIERCE, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIERCE, FRITZ                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIERCE, GRANT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIERCE, JAMES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIERCE, LIZA BELEN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELISA BELEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIERCE, LORANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PIERCE, OPAL B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCE, PHILLIP L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCE, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PIERCE, STEVEN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCE, TIMOTHY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCE, VERNON KEITH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCEFIELD, JACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIERCY, JOSEPH M, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIERGIORGI, EMIL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PIERIE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


PIERRE, STANLEY C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

PIERSANTI, SANTO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIERSON, KACEY M.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIESKO, NOEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIETERNELLE, CRISPO H                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIETILA, ONNI A--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PIETRINI, ANTHONY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIGEON, NORMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIKE, AUBREY M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PIKE, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

PIKE, SHARON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


PIKE, THEODORE G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PILAR, LILLY SAUNDRA KAY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PILCHER, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PILESKI, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PILKERTON, FRANCES S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PILKEY, CHARLES D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PILKINGTON NORTH AMERICA INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 MADISON AVENUE
TOLEDO, OH 43604-5684


PILLA III, BENEDICT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PILLARTZ, ALDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PILLOW, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PILON, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PILOSI, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PILOT INDUSTRIES OF TEXAS INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 MAIN ST, SUITE 1150
HOUSTON, TX 77002


PINATA FOODS, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5151 NORWOOD ROAD
DALLAS, TX 75247


PINDELL, WILLIAM H , JR, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM PINDELL SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PINDER-SYKES, CYNTHIA, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THURMAN E SYKES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PINEAULT, NORMAND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PINEDA-MALDONADO, JOSE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PINER, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PINES, THOMAS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PINKERTON, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PINKMAN, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PINKNEY REDFEARN, JENNIFER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PINKSTON, SCOTT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PINNACLE FOODS GROUP LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 OLD BLOOMFIELD AVENUE
MOUNTAIN LAKES, NJ 07046


PINNACLE INVESTIGATIONS CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 N ARGONNE RD STE A201
SPOKANE VALLEY, WA 99212




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Name of Counterparty                                                                                           Nature

PINTAR, JOHN A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PINTAVALLE, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PINTO, JOHN A. AND JANICE PINTO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PINTO, JOHN A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PIONEER ENTERPRISES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1155 NELSON ROAD
AZELE, TX 76020


PIONEER ENTERPRISES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1155 NELSON ROAD
AZLE, TX 76020


PIPER, GARRY BARBER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIPER, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIPER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIPES EQUIPMENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALTER PIPES,PRESIDENT
PO BOX 38210
SHREVEPORT, LA 71133




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Name of Counterparty                                                                                            Nature

PIPES, HAROLD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIPETTI, GERARD A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIPING SPECIALITIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
36 RAINMAKER DR.
PORTLAND, ME 04103


PIPING SPECIALITIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KLEIN & LISS LLP
470 PARK AVENUE SOUTH
12TH FLOOR SOUTH
NEW YORK, NY 10016


PIPING TECHNOLOGY & PRODUCTS INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3701 HOLMES RD
HOUSTON, TX 77051


PIPITONE, MATTEO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PIPPIN, DANNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIPPIN, STUART R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PIQUETTE, DENNIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PIQUETTE, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIRATO, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PIRLOT, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIRO, RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PIROCH, ANDREW M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PIRONTI, DOMINIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PISANI, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PISANO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PISCITELLA, RICHARD N.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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Name of Counterparty                                                                                             Nature

PISCITELLO, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PISKLAK, JAMES M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PISSOTT, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITA REALTY LTD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


PITAK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITMAN, MILDRED E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES H PITMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PITNEY BOWES PURCHASE POWER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 371874
PITTSBURGH, PA 15250-7874


PITNEY BOWES, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 ELM CROFT ROAD
STAMFORD, CT 06926


PITONIAK, PHILLIP J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PITRE, GARRY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITRE, HAYWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PITTENGER, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTENGER, VICKI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTINGER, GERALDINE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES D PITTINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PITTMAN, CHARLIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTMAN, DOUGLAS D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


PITTMAN, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTMAN, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PITTMAN, LEATHA M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTMAN, PITT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTMAN, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTMAN, ROY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PITTMAN, WANDA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BESSIE PITTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PITTS INDUSTRIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ART JOHNSON,VP,OPERATIONS
PO BOX 814649
DALLAS, TX 75381-4649


PITTS, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTS, FLOYD L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTS, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTS, JIMMIE C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

PITTS, JOHN A. DECEASED                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PITTS, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PITTS, PHILLIP GARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PITTSBURG GAZETTE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 QUITMAN ST
PITTSBURG, TX 75686


PITTSBURG ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
402 BROACH STREET
PO BOX 1189
PITTSBURG, TX 75686


PITTSBURGH CORNING CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 PRESQUE ISLE DR
PITTSBURGH, PA 15239


PITZ, CONRAD, SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


PIUS, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PIVAWER, PAUL M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PIVETZ, WALTER F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PIVOT INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5242
NEW YORK, NY 10087-5242


PIZZA, THOMAS D, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIZZAIA, LINO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PIZZILLO, DAWN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PIZZILLO, PAM D, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WANDELL TOWNSEND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PIZZINI, MARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PIZZUCO, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PLACHY, ROBERT, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PLACID REFINING COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 ELM STREET; SUITE 3400
DALLAS, TX 75201


PLACKE, HAROLD LAWRENCE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PLAGENS, ADOLPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PLAINS CAPITAL CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARDERE WYNNE SEWELL LLP
STEVEN CHARLES LOCKHART
1601 ELM ST., 3000 THANKSGIVING TOWER
DALLAS, TX 75201-4667


PLANES, EDGARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KOONZ MCKENNEY JOHNSON DEPAOLIS
10300 EATON PLACE, SUITE 200
FAIRFAX, VA 22030


PLANO ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 W. 15TH STREET
PLANO, TX 75075


PLANO, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1520 AVENUE K
PLANO, TX 75074


PLANO, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLANO, VINCENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PLANT EQUIPMENT & SERVICES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5401 W HWY 21
BRYAN, TX 77803


PLANT EQUIPMENT & SERVICES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5401 W STATE HWY 21
BRYAN, TX 77803


PLANT EQUIPMENT & SERVICES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5401 HWY 21 W
BRYAN, TX 77803


PLANT EQUIPMENT AND SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5401 W HWY 21
BRYAN, TX 77803


PLANTE, NORMAND H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PLANTE, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLASSON, WALTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLASTICS ENGINEERING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3518 LAKESHORE RD
SHEBOYAN, WI 53083


PLASTICS ENGINEERING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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Name of Counterparty                                                                                          Nature

PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR WEST
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL R BROTZ
PO BOX 758
SHEBOYGAN, WI 53082


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3518 LAKESHORE RD
SHEBOYAN, WI 53083


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
RILEY POWER INC
120 S CENTRAL AVE STE 400
ST LOUIS, MO 63105


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PLASTICS ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


PLASTICS ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL R BROTZ
3518 LAKESHORE RD
SHEBOYGAN, WI 53082


PLASTICS ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL R BROTZ
PO BOX 758
SHEBOYGAN, WI 53082


PLASTICS ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CITY CENTRE
ROBERT SCOTT SANDERSON
515 N 6TH ST
ST LOUIS, MO 63101


PLASTICS MANUFACTURING CO.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R.CARTER PATE,PRES.
WAYNE SULLIVAN,SR.VP,OPS.,AGENT
DALLAS, TX 75233


PLASTICS MANUFACTURING COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2700 WESTMORELAND AVE.
DALLAS, TX 75223


PLATA, JESSE ADAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATA, JESUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATA, KALI ALEXIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATA, KAMRYN ELLIOTT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATA, KIRBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PLATA, MARTA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATER, ZYGMUNT J.B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATT, ANDREW T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PLATT, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATT, HAROLD, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATT, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATT, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLATTS                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A DIVISION OF THE MCGRAW HILL CO
PO BOX 848093
DALLAS, TX 75284-8093


PLEASANT CREEK CORNERS ASSOC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PLEASANT CREEK APARTMENTS
BRANDON MILL OFFICE
8081 MARVIN D LOVE FREEWAY
DALLAS, TX 75237


PLEASANT OAKS LANDFILL TX LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALLIED WASTE SERVICES
PO BOX 841893
DALLAS, TX 75284-1893


PLEASANT, SYLVIA MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PLEASANTS, FRANK M.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLEDGER, ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


PLEDGER, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLESE, LUCAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLEXMAR RESINS,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
959 PLEASANTVILLE RD.
HOUSTON, TX 77029


PLIBRICO COMPANY INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1010 N. HOOKER ST
CHICAGO, IL 60642


PLICOFLEX,INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 MOWERY RD
HOUSTON, TX 77045


PLISCOTT, FRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLOCIDO, VINCENT J, JR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

PLOESSL, DELANO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLOESSL, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLOSKUNAK, DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLOSKUNAK, DELANEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLOTNER, KENT L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLOUFF, GLORIA M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PLOURDE, ALBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLOURDE, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLOURDE, LEO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PLOWMAN, JERILYN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLOWMAN, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLOWMAN, ROSS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLUMLEE, NEAL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLUMMER, MITTY C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLUMMER, RICHARD NEIL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLUNKETT, VICKEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PLUSH, GLENN (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PLYLER, ARTHUR TERRENCE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PLYLER, JERRY ROLAND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PLYMALE, ANSEL F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PM METALLURGICAL LABS INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2829 BLYSTONE LANE
DALLAS, TX 75220


PNEUMAT SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 MOHR DR
MANKATO, MN 56001-3000


PNEUMAT SYSTEMS, INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 MOHR DRIVE
MANKATO, MN 56001


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 WEST BROAD STREET STE 1800
COLUMBUS, OH 43215


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRYAN KEITH MAULLER, ESQ
1832 SCHUETZ RD.
ST LOUIS, MO 63146


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2704 COMMERCE DR, STE B
HARRISBURG, PA 17110


PNEUMO ABEX CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
ROY VIOLA
90 BROAD STREET 9TH FLOOR
NEW YORK, NY 10004




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


PNEUMO ABEX CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THIRD STREET & JEFFERSON AVENUE
CAMDEN, NJ 08104


PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2711 CENTERVILLE RD
STE 400
WILMINGTON, DE 19808




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRYAN KEITH MAULLER, ESQ
1832 SCHUETZ RD.
ST LOUIS, MO 63146


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS, PARNELL THACKSTON & YOUNG LLP
90 BROAD STREET
4TH FLOOR
NEW YORK, NY 10004


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


PNEUMO ABEX LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
2711 CENTERVILLE RD STE 400
WILMINGTON, DE 19808


PNEUMO ABEX LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THIRD STREET & JEFFERSON AVENUE
CAMDEN, NJ 08104


PNEUMO ABEX, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THIRD STREET & JEFFERSON AVENUE
CAMDEN, NJ 08104


PODANY, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PODHOLA, DELBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PODOLAK, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PODOLSKE, LEO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POE, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

POE, CHARLES M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POE, JAMES ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POE, TINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POEHL, TROY V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POFF, BRIAN T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POGGIO, ALDO GEORGE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POGMORE, GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POGUE, BILLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POHANCSEK, EUGENE L                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POHL, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

POHORELSKY, CHARLES W                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


POINDEXTER FAMILY PARTNERS LTD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H R POINDEXTER
251 POINT CLEAR DR
CONROE, TX 77304


POINDEXTER, JAMES ELMER, SR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POINT 2 POINT GLOBAL SECURITY INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14346 JARRETTSVILLE PIKE
STE 100
PHOENIX, MD 21131


POINT WEST HOLDINGS PARTNERSHIP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA FALLS OF POINT WEST APTS
5850 PARKFRONT DR 2ND FLOOR
HOUSTON, TX 77036


POISSON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POIST, CAROLE A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GERALD F POIST
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POIST, MAGGIE A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM R POIST
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POIST, WILLIAM R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POITRAS, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLANCO, ISRAEL T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLAND, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLAR TECHNOLOGY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
214 OVERLOOK CIR STE 270
BRENTWOOD, TN 37027


POLASEK, EMERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLASHENSKI, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLCAK, LEON E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POLICASTRO, GREGORIO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


POLICASTRO, WILLIAM F.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

POLIDORO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


POLINSKI, JAMES F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


POLISKIEWICZ, FRANCES, FOR THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PHILIP POLISKIEWICZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POLITLE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLITO, FRANK , JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


POLITO, VINCENT J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, EDWARD LEE, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, EDWARD, SR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, ELTON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, JAMES K. (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POLK, KENNETH N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, NONA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, ROBERT G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLKOWSKI, JOHN A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POLLARD, EVERETT D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


POLLASTRONE, RALPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLLETTA, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLLEY, FRANCES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF HERBERT E. POLLEY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

POLLOCK PAPER DISTRIBUTORS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 671527
DALLAS, TX 75267-1527


POLLUTION CONTROL INDUSTRIES, INC.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2885 COUNTRY DR
LITTLE CANADA, MN 55117


POLLUTRI, FRANCES BIANCA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POLLY, FRANCES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF HERBERT E. POLLEY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


POLSON, RICHARD E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


POLVERINI, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POLYCHRONIS, EMMANUEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POLYGON US CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN ACCOUNTS RECEIVABLE
15 SHARPNERS POND RD BLDG F
NORTH ANDOVER, MA 01845


POLYNIAK, VALERIE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY PAJAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POLYNIAK, VALERIE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIOLET PAJAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POLYTHERM INSULATION CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1372 CARLLS STRAIGHT PATH
DIX HILLS, NY 11746


POLYTHERM INSULATION CO INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


POMEROY, ARNOLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


POMEROY, CHESTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POMEROY, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POMPOSELLO, LEONARD P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POMYKAL, CHARLOTTE ANN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POMYKAL, DEAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POMYKAL, WILLIAM R, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

PONCE, ABED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POND, CHRISTOPHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POND, MATTHEW D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PONDER, JANA HARRELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PONDER, MARYANN WICKLEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PONESSA, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PONGRATZ, RUDOLPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PONT, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PONTIER, WARREN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PONTZIUS, FORREST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

POOL, ANDREW                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POOL, DAVID JOSHUA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOL, GARLAND D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOL, REUBEN S & DOVIE LEE POOL                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE III, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POOLE, CARA M, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT POOLE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POOLE, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POOLE, DENNIS L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


POOLE, JEANETT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE, JENNIFER SIMMONS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

POOLE, JERRY WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POOLE, MIKE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE, PATRICIA G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE, PATRICIA G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POOLE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POORE, NANCY LYNN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL POORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POOVEY, YATES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POP A LOCK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 NORTH 3RD STREET
TEMPLE, TX 76501


POPA, LEONARD, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM POPA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

POPE, ANTONIO, SELF & SIMILARLY SITUATED                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


POPE, CALVIN W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POPE, CALVIN W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POPE, CATHY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POPE, CHRIS W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POPE, NATHANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POPE, REBECCA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POPE, REX                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


POPE, YOLONDA D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POPELAR, LOUIS F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF LOUIS F. POPELAR
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POPKOWSKI, MITCHELL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POPLAWSKI, MICHAEL F, JR--EST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


POPLEON, GWENDOLYN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POPP, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POPP, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POPP, MICHELE REICHERT, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN C REICHERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POPP, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POPP, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POPSON, JOSEPH, JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL T POPSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PORAZZO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORCARO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORCARO, SILVESTRO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PORCELLI, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PORE, DOMINIC LE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANGELO L LE PORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PORPORA, ALPHONSE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PORRAZZO, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PORT OF HOUSTON AUTHORITY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 EAST LOOP NORTH
HOUSTON, TX 77029




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PORT-A-JON INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6180
SHREVEPORT, LA 71136


PORTAL, MANUEL, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER HAYDEN CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
711 W 40TH ST STE 351
BALTIMORE, MD 21211


PORTER, BOBBY RAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PORTER, BRIAN K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, CECIL R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PORTER, CHARLES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PORTER, CRAIG                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


PORTER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, EBEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PORTER, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTER, JANET                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF PAUL JONES
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


PORTER, JERRY DOUGLAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTER, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTER, LESTER JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PORTER, LILY W, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEWIS E PORTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PORTER, MARCUS H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PORTER, MATTHEW R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, PRESTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTER, RAYMOND N                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PORTER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PORTER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTER, TIMOTHY S, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENZELL PORTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PORTER, VALENCIA HERNANDEZ, PR OF THE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANKLIN A PORTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PORTER, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PORTER, WESLEY L. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PORTER, WILLIAM L , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM L PORTER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PORTESY, RONALD R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PORTFOLIO RECOVERY ASSOCIATES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 CORPORATE BOULEVARD
NORFOLK, VA 23502


PORTNER, LEON J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PORTREY, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PORTWOOD, HOWARD, SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


POSE, EMANUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

POSEY, ANITA E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POSEY, JAMES HAROLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POSKAY, RICHARD J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


POST OAK WIND, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


POST OAK WIND, LLC,                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


POST, HENRY JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POST, NATHAN VICTOR (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


POSTEL, NEIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POSTIN, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POSTL, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POSTON, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POSTON, DONALD RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POSTON, JESSE EUGENE (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POSTON, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POSTON, MARJORIE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POTANCE, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POTEE, RAYMOND W, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W POTEE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POTLATCH CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 WEST FIRST AVE
SUITE 1600
HOUSTON, TX 77002


POTTER, CRAIG                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POTTER, DR LLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POTTER, DR. LLOYD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POTTER, ESTATE OF HAROLD L                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POTTER, JEAN K, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLARK B BROWN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POTTER, KENWOOD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POTTER, RAYMOND C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


POTTER, RICHARD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POTTER, RITA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POTTER, ROBERT V, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POTTER, TERESA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POTTS, RAYMOND E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PORTER E POTTS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POTTS, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

POTTS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


POTURICA, JERRY J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POTVIN, GUY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POULIN, RENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POULIOT, HYACINTHE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POUNDERS, JASON, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


POUNDERS, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWE, H CARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL DELTA /UNIBUS DIVISION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 RAILROAD AVE
NORTHLAKE, IL 60164




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POWELL ELECTRICAL SYSTEMS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 843823
DALLAS, TX 75284-3823


POWELL ELECTRICAL SYSTEMS, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LARRY LARSEN
8550 MOSLEY ROAD
HOUSTON, TX 77075


POWELL JR, JOE LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, AQUILA C, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SESLEY POWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWELL, CATHY CRISTINE, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CEPHUS POWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWELL, CEPHUS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWELL, CHARLES ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, CLARA S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POWELL, FLEDIA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES G ROBINSON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POWELL, FRED S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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POWELL, FRED S.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, GARY B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POWELL, JOHN R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, JOHN RAY SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, JOHN RAY SR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, JOSEPHINE F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWELL, LARRY WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


POWELL, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, NATHANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POWELL, NETTIE D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POWELL, RONALD L., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, ROY A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE AND GRAHAM, PA
525 NORTH MAIN STREET
SALISBURY, NC 28144


POWELL, SCOTT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWELL, THELMA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SIDNEY C POWELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWELL, TRAVIS W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWER BROKERS LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11551 FOREST CENTRAL
SUITE 226
DALLAS, TX 75243


POWER CONTROL SYSTEMS ENGINEERING, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9013 KINGSWOOD PLACE
WACO, TX 76712


POWER CONTROL SYSTEMS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENGINEERING INC
9013 KINGSWOOD PLACE
WACO, TX 76712




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POWER ENGINEERS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LYNNETTE ROBERTS
3940 GLENBROOK DRIVE
HAILEY, ID 83333


POWER ENGINEERS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1066
HAILEY, ID 83333


POWER, EDWIN C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWER, LANTERN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWERRAIL DISTRIBUTION INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 CLARK ROAD
DURYEA, PA 18642


POWERS, ASKARI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWERS, DALE E--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


POWERS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POWERS, GASTON E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWERS, JAMES C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

POWERS, KEVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POWERS, MAX N                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWERS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


POWERS, PATRICK E , JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICK E POWERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


POWERS, SHIRLEY BROOKS GENTRY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWERS, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


POWMAT LTD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
321 USHERS ROAD
BALLSTON LAKE, NY 12019


POWNALL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


POYFAIR, RONALD G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PPG ARCHITECTURAL COATINGS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PPG PLACE
PITTSBURGH, PA 15222




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PPG ARCHITECTURAL FINISHES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PPG PLACE
PITTSBURGH, PA 15222


PPG INDUSTRIES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PPG PLACE
PITTSBURGH, PA 15272


PPG INDUSTRIES INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PPG PLACE
PITTSBURG, PA 15272


PPG INDUSTRIES, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE PPG PLACE
PITTSBURGH, PA 15272


PPG PROTECTIVE & MARINE COATINGS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842409
BOSTON, MA 02284-2409


PPL ENERGY PLUS, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(SUCCESSOR BY ASSIGNMENT TO PP&L, INC.)
TWO NORTH NINTH STREET
ATTN: CREDIT DEPARTMENT
ALLENTOWN, PA 18101-1179


PRACHT, BILLIE RUTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRALL, LUANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATER, ERNEST WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATER, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRATER, RONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PRATHER, BOBBY L , SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATHER, EARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRATO, PHILLIP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRATT & WHITNEY POWER SYSTEMS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY POWER SYSTEMS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY POWER SYSTEMS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY POWER SYSTEMS INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHEN B SWIGERT
400 MAIN ST M/S 132-12
EAST HARTFORD, CT 06108


PRATT & WHITNEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 MAIN ST
EAST HARTFORD, CT 06108


PRATT & WHITNEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 MAIN ST
EAST HARTFORD, CT 06118




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRATT & WHITNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226


PRATT & WHITNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT & WHITNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


PRATT, ARNOLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRATT, DINELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRATT, HOMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

PRATT, JANICE R.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATT, JUDITH A.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATT, RICHARD C.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATT, RICKIE JAMALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRATTE, BRUCE L                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRAXAIR INC FOR FUSION INC & FORMER LINDE DIVUNION CARBIDE                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39 OLD RIDGEBURY
DANBURY, CT 06810-5113


PRAZAK, DOROTHY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRC ENVIRONMENTAL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1149 ELLSWORTH DR SUITE 135
PASADENA, TX 77506


PREATOR, ROBERT                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


PREBEG, MIKE                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRECISION INTERIOR CONSTRUCTORS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15305 DALLAS PKWY STE 300
ADDISON, TX 75001-6470


PRECISION INTERIOR CONSTRUCTORS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 131888
DALLAS, TX 75313




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PRECISION LANDSCAPE MANAGEMENT LP                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2222 VALWOOD PARKWAY
DALLAS, TX 75234


PRECISION MACHINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



PRECISION PACKAGING INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 250
140 KIRKLAND CIRCLE
OSWEGO, IL 60543


PRECISION PARTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
414 N PLACENTIA AVE
PLACENTA, CA 92870


PRECISION WAREHOUSE DESIGN LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2544 TARPLEY RD STE 118
CARROLLTON, TX 75006


PRECOR REFINING GROUP INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1150 S METCALF STREET
LIMA, OH 45804


PREDECESSOR TO FLOWSERVE CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 EAST PUTNAM AVENUE
SUITE 400
OLD GREENWICH, CT 06870


PREDELLA, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PREDKO, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


PREDKO, KAREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

PREFERRED PUMP AND EQUIPMENT LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 SCOTT AVE
FORT WORTH, TX 76103


PREFERRED PUMP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 SCOTT AVE
FORT WORTH, TX 76103


PREMAKO, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PREMCOR REFINING GROUP INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 EAST PUTNAM AVENUE
SUITE 400
OLD GREENWICH, CT 06870


PREMEIR INDUSTRIES, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4415 EUCLID AVENUE
CLEVELAND, OH 44103


PREMIER CONCRETE PRODUCTS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
510 O'NEAL LANE
BATON ROUGE, LA 70819


PREMIER ENERGY GROUP LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1275 BOUND BROOK RD STE 6
MIDDLESEX, NJ 08846


PREMIER INDUSTRIAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4500 EUCLID AVENUE
CLEVELAND, OH 44103


PREMIER INDUSTRIAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEIRDRA DIXON,VP,GENL.COUNSEL
HOWARD FRANK,VP & SECTY., AGENT
CLEVELAND, OH 44103


PREMIER INDUSTRIES INC./KENT INDUSTRIES                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3024 E. SEMINARY DR.
FT. WORTH, TX 76119


PREMIER TECHNICAL SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 W HWY 6 STE 210
WACO, TX 76712




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRENATT, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRENDERGAST, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRESBYTERIAN HOSPITAL OF DALLAS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAULA HAGAN,ASST SECRETARY
8200 WALNUT HILL LANE
DALLAS, TX 75231


PRESNELL, GARY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRESS TEK INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 EXECUTIVE DRIVE
HUDSON, NH 03051


PRESSLEY, JAMES STANLEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PRESTBURY, ERIK B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRESTIA, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRESTIANNI, GARY P, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH G PRESTIANNI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRESTIGE FORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JERRY REYNOLDS,DEALER OF RECORD
3401 SOUTH GARLAND ROAD
GARLAND, TX 75043




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Name of Counterparty                                                                                             Nature

PRESTIGE INTERIORS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
730 INDUSTRIAL BLVD.
SUGAR LAND, TX 77478-2888


PRESTON, DARREL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PRESTON, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRESTON, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRESTON, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PRESTON, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRESTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRESTON, TOMMY LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PRESTWOOD, GRADY M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PRESUTTI, FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRESZ, BRONISLAW                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRESZLER, KAREN FBO ARNOLD DOCKTER                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRETORY, ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRETTITORE, ANTHONY F                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PREVETE, ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PREVITE, HENRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PREVOST, MERCIE D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


PREVOST, THOMAS M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

PREWITT, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


PREZIOSO, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRIBBLE, BREANNA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, BRENT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, GAVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, JACQUELINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, JOANNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIBBLE, NANCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 210
TYLER, TX 75710


PRICE, ARLINGTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRICE, CHARLEEN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT L SANDERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRICE, CHARLES W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, CHRISTINE MARIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, CLIFFORD M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PRICE, CLINTON E. (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PRICE, DAVID A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, DAVID III                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, DAVID JAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, DEBORA LIVOLSI                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, ELMER C, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PRICE, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, KAREN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, KATHERINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PRICE, KEVIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PRICE, LARRY LEON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, LEONARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, LINDA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, MARVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRICE, MILTON C , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CALVIN C RAYMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRICE, MORRIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRICE, MYLES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRICE, NORMA JOANNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRICE, OTIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRICE, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRICE, RODNEY S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PRICE, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRICE, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRICE, SHARON R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD J ROSS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRICE, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRICE, WILLIAM H, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H PRICE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRICE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRICHARD, JOHN DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDDY, ANNA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDDY, CRESTON P. AND ANNA PRIDDY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDDY, CRESTON P.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


PRIDDY, CRESTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069




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Name of Counterparty                                                                                            Nature

PRIDGEN, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRIDGEN, WENDY E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRIDMORE, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES PC
ATTN: LAUREN ELIZABETH BOAZ
1520 WASHINGTON AVE APT 224
ST LOUIS, MO 63103-1866


PRIDMORE, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW LLC
ATTN: MATTHEW C. MORRIS ET AL
701 MARKET STREET SUITE 1575
ST LOUIS, MO 63101


PRIDMORE, MARY J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIDMORE, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

PRIDMORE, MARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SWMK LAW LLC
ATTN: BENJAMIN R. SCHMICKLE
701 MARKET STREET SUITE 1575
ST LOUIS, MO 63101


PRIEFERT RANCH EQUIPMENT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1540
MOUNT PLEASANT, TX 75456-1540


PRIEM, ERVIN SAMUEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIETO, FIDEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIHODA, JOHNNY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIM, LOUIS (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRIMA DENTAL MANUFACTURING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHENSON DRIVE
WATERWELLS BUSINESS PARK
GLOUCESTER, GL2 2AG
UNITED KINGDOM

PRIMAVERA, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRIMROSE HOUSTON SOUTH HOUSING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT ASH CREEK APTS
ATTN: JOHN JETER
5910 N CENTRAL EXPWY STE 1145
DALLAS, TX 75206


PRIMROSE OIL COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 29665
DALLAS, TX 75229




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PRINCE, BENTON W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


PRINCE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRINCE, RANDALL W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRINCE, RAYMOND, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BRENDA L PRINCE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRINCE, STEVEN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PRINCESS THREE CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 TEXAS 322
HENDERSON, TX 75652


PRINCESS THREE OPERATING LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 STATE HIGHWAY 322 N
HENDERSON, TX 75652


PRINCESS THREE OPERATING, LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1983
HENDERSON, TX 75653


PRINCIPATO, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRINCIPE, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PRINDLE, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRINT SYNERGIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2245 KELLER WAY STE 140
CARROLLTON, TX 75006


PRINT SYNERGIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5228 VILLAGE CREEK DR STE 100
PLANO, TX 75093-4430


PRINTPACK, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 OVERLOOK PARKWAY, NE
ATLANTA, GA 30339


PRINTPACK, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUGUST FRANCHINI,JR.,VP,ENGNRNG.
DONALD COOK,AGENT,DIR.ENV.AFRS.
ATLANTA, GA 30336


PRIOR STEEL PROCESSING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


PRIOR, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRIORITY POWER MANAGEMENT LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 W WALL ST STE 500
MIDLAND, TX 79701


PRISCO, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PRITCHETT ENGINEERING & MACHINE, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EAGLEPICHER INCORPORATED
11201 NORTH TATUM BOULEVARD
PHOENIX, AZ 85028


PRITCHETT, GARY E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PRITCHETT, JOHN W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRITCHETT, RITA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRITCHETT, SUSAN JO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PRIVETTE, GRADY LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


PRO VIGIL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4710 PERRIN CREEK SUITE 380
SAN ANTONIO, TX 78217


PRO VIGIL INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4740 PERRIN CRK STE 480
SAN ANTONIO, TX 78217-3726


PROBST, CHARLES R, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PROCESS CONTROL OUTLET DIV II                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5517 EAST RD
BAYTOWN, TX 77521




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PROCESS CONTROL OUTLET DIV II                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5517 EAST RD
BAYTOWN, TX 77521


PROCESS INSTRUMENTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
615 E CARSON STREET
PITTSBURGH, PA 15203


PROCESS PIPING INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 AEGEAN DRIVE
METHEUN, MA 01844


PROCESS SOLUTIONS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1077 DELL AVENUE STE A
CAMPBELL, CA 95008


PROCESS SOLUTIONS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203815
DALLAS, TX 75320-3815


PROCESS SOLUTIONS INTEGRATION LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7645
AMARILLO, TX 79114-7645


PROCESS SOLUTIONS INTEGRATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11304 PAGEMILL RD
DALLAS, TX 75243


PROCESS SOLUTIONS INTEGRATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1225 E CROSBY RD STE A-25
CARROLLTON, TX 75006


PROCESS SOLUTIONS INTEGRATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7645
AMARILLO, TX 79114


PROCESS WATER SYSTEMS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 TECHNOLOGY DRIVE
LOWELL, MA 01851


PROCESS WATER SYSTEMS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
ALEXIS J. GOMEZ
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PROCESSOR & CHEMICAL SERVICES INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
440 BENMAR DRIVE #2010
HOUSTON, TX 77060


PROCHASKA, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROCON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1359 HOOKSETT RD
HOOKSETT, NH 03106


PROCTER AND GAMBLE COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PROCTER & GAMBLE PLAZA
CINCINNATI, OH 45202


PROCTOR & GAMBLE CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE PROCTOR & GAMBLE PLAZA
CINCINNATI, OH 45201


PROCTOR & GAMBLE MANUFACTURING CO.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
E. G. NELSON,VP,FINANCE
ONE PROCTER & GAMBLE PLAZA
CINCINNATI, OH 45202


PROCTOR & GAMBLE MFG. CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 225118
DALLAS, TX 75265


PROCTOR, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PROCTOR, DARRELL K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PROCTOR, DEWEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PROCTOR, DIANNE H.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROCTOR, MONTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


PRODROMAKIS, GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PROFESSIONAL ADVOCACY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSOCIATION OF TEXAS PAAT
PO BOX 5315
AUSTIN, TX 78763


PROFESSIONAL SAFETY SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 468
ROCKDALE, TX 76567


PROFESSIONAL TRAINING TECHNOLOGIES INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
204 KINGBIRD DR
VONORE, TN 37885


PROFFITT, JOYCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROFFITT, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PROFFITT, RODNEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROFFITT, SAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROGRESS ENERGY CAROLINAS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DUKE ENERGY
10101 CLAUDE FREEMAN DR. N-230
CHARLOTTE, NC 28262




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PROGRESS RAIL SERVICES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24601 NETWORK PLACE
CHICAGO, IL 60673-1246


PROGRESS RAIL SERVICES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
830 EAST TEXAS
PO BOX 706
WASKOM, TX 75692


PROGRESS RAIL SERVICES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WINSTEAD PC, ATTN: ELI COLUMBUS
500 WINSTEAD BUILDING
2728 N. HARWOOD, SUITE 500
DALLAS, TX 75201


PROGRESSIVE INSTRUMENTS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 803243
HOUSTON, TX 77280


PROGRESSIVE WATER TREATMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JANET BARNHART
2535 E UNIVERSITY DR
MCKINNEY, TX 75069


PROGRESSIVE WATER TREATMENT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 774
MCKINNEY, TX 75070


PROKASKI, HENRY FRANCIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PROKO INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 S FOOTE ST
CAMBRIDGE CITY, IN 47327-1642


PROLEXIC TECHNOLOGIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1930 HARRISON ST STE 403
HOLLYWOOD, FL 33020


PROLEXIC TECHNOLOGIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 E LAS OLAS BLVD STE 900
FT LAUDERDALE, FL 33301-2490




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

PROMECON USA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2575 WENGER RD S
DALTON, OH 44618-9275


PROMECON USA INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
314 COLLINS BLVD
ORRVILLE, OH 44667


PROPANE, CLEBURNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROPST, RAYMOND LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROSERVANCHOR CRANE GROUP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMERLY ANCHOR CRANE & HOIST
SERVICE COMPANY
2020 E GRAUWYLER
IRVING, TX 75061


PROSIGNS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
636 WEST PANOLA ST
CARTHAGE, TX 75633


PROSIGNS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1444
CARTHAGE, TX 75633


PROSPER ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
605 EAST SEVENTH STREET
PROSPER, TX 75078


PROSSER, ANGELA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PROSSER, JAMIE A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PROSSER, JEFFREY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PROSSER, MILDRED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

PROTEC, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1205 W. NORTH CARRIER PARKWAY
SUITE 203
GRAND PRAIRIE, TX 75050


PROTEGA, MARINKO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PROTOX SERVICES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 14665
SHAWNEE MISSION, KS 66285-0665


PROUDFOOT, CARL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PROULX, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PROVENZANO, CHARLES A                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PROVIDENT COMMERCIAL GROUP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3845 FM 1960, SUITE 250
ATTN: ROBERT FOLEY
HOUSTON, TX 77068


PROVISIONAL SAFETY MANAGEMENT &                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTANTS,LLC;C/O SEARCY AND SEARCY PC
PO BOX 3929
LONGVIEW, TX 75606


PROVISIONAL SAFETY MANAGEMENT                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& CONSULTANTS LLC
PO BOX 1131
TATUM, TX 75691




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PROVOST, EDWARD L, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PROVOST, GERARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PROWERS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 SOUTH MAIN
SUITE 215
LAMAR, CO 81052


PROX COMPANY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 SOUTH FIRST STREET
TERRE HAUTE, IN 47802


PRSTAC, ELINORA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRUDENTE, SAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRUDENTIAL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CORPORATE DRIVE
SHELTON, CT 06484


PRUITT, JAMES O.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WARD BLACK LAW
208 W WENDOVER AVE
GREENSBORO, NC 27401


PRUITT, RUSSELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRUITT, RUTHIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

PRUITT, VALERIE LENORA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRUITT, VERONICA L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PRUSS, JAMES T, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRY, EUGENE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PRYOR, BRENDA W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PRYOR, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRYOR, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRZYBYLOWSKI, ANDRZEJ J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PRZYBYLOWSKI, EHREUTRAUD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PS DOORS                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENISE SIMON
4212 GATEWAY DRIVE
GRAND FORKS, ND 58203


PS ENERGY GROUP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4480 N SHALLOWFORD RD
STE 100
DUNWOODY, GA 30338




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PS ENERGY GROUP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4480 N SHALLOWFORD RD
STE 224
DUNWOODY, GA 30338


PSE & G                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF WILLIAM E. FRESE
80 PARK PLAZA T5D
NEWARK, NJ 07102


PTAK, JAMES F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


PUBLIC SERVICE ENTERPRISE GROUP, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
BRENDAN K. COLLINS
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


PUBLIC SERVICE ENTERPRISE GROUP, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BALLARD SPAHR, LLP
ROBERT BRUCE MCKINSTRY, JR.
1735 MARKET STREET, 51ST FLOOR
PHILADELPHIA, PA 19103-7599


PUBLIC UTILITY COMMISSION OF TEXAS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1701 NORTH CONGRESS AVENUE
ATTN: CUSTOMERS
AUSTIN, TX 78711


PUCCI, DOMINICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUCKHABER, LAURENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUEBLO COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 W 10TH ST
PUEBLO, CO 81003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

PUENTE BROTHERS INVESTMENTS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 612248
DFW AIRPORT, TX 75261-2248


PUENTE, MARIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


PUERTO RICO SAFETY EQUIPMENT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R D #107, KMO 3 BORINQUEN
AGUADILLA, 00603
PUERTO RICO

PUFAHL, DELMAR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUFFER SWEIVEN LP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301124
DALLAS, TX 75303-1124


PUGH, FOREST W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUGH, HOWARD F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUGH, JON W                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PUGH, KENNETH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUGH, TERESA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PUGH, VALARIE R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PUGH, W.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PULASKI, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PULASKI, ROY W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PULCINELLA, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PULCINO, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PULEO, JOSEPH L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PULEO, JOSEPH T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PULEO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

PULIAFICO, ROSARIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PULIS, LYNETTE JOANNE (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PULKRABEK, JACK THOMAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PULLEN, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PULLEY, GORDON A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PULLIAM, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PULLIN, ALLEN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


PULLMAN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PULMOSAN SAFETY EQUIPMENT CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 E 69TH ST
NEW YORK, NY 10021-5704


PULS, ROSE ANNE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH J BAROCH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUMA, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUMP SERVICES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1818
WEST MONROE, LA 71294


PUMPHREY, ESTELLA M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM PUMPHREY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUMPHREY, GRAHAM, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUMPHREY, RITA G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUMPHREY, RITA G, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK C PUMPHREY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUMPHREY, SANDRA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE PUMPHREY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PUMPHREY, VERNON K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


PUNCH, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUNDOR, MYKOLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


PURASH, MARY M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PURCELL, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PURCELL, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PURDY, ARTHUR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PURDY, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PURDY, DEANNA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

PURDY, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PURDY, WILLIAM A, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PURE CHEM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5308 MAPLE LANE
COLLEYVILLE, TX 76034


PUREX INDUSTRIESTURCO PRODUCTS DIV.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24600 S. MAIN ST.
CARSON, CA 90745


PURICK, WILBUR M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


PURITY WHOLESALE GROCERS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5400 BROKEN SOUND BLVD NW
BOCA RATON, FL 33487


PURKEY, JACK DEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


PUROLATER SECURITY, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10 CORPORATE PLACE S.
PISCATAWAY, NJ 08854


PURSEL, STEWART C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


PURSEY, GEORGE W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

PURVIS INDUSTRIES LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 540757
DALLAS, TX 75354-0757


PURVIS INDUSTRIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRIAD INDUSTRIAL AUTOMATION
10500 N STEMMONS FREEWAY
DALLAS, TX 75220


PURVIS, BRYAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PURVIS, GEORGE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PURVIS, VEVA & KAREN HUDSON                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PUSEY, WILLIAM S, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W FORBES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


PUTMAN, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUTZ, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


PUZZO, CONCETTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

PVI INDUSTRIES, LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3209 GALVEZ AVE.
FORT WORTH, TX 76112


PYCIOR, REBECCA A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PYCIOR, REBECCA A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYE, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PYE, VICTORIA H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PYEATT, CHAD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYEATT, KRISTI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYEATT, OWEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYEATT, RYLEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYERS, RICKY D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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PYLE, DAVID G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


PYLE, LILIANE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                               Nature

PYLE, SCOTT                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


PYLE, TERRY L                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


PYLES, ANDREW L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


PYRAMID SECURITY ADVISORS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 N HOUSTON ST #2406
DALLAS, TX 75219


PYRAMID SECURITY ADVISORS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4316 SANTA BARBARA DR
DALLAS, TX 75214-2841


PYRAMID SECURITY ADVISORS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A NEVADA CORPORATION
2384 E, WASHINGTON BLVD.
PASADENA, CA 91104


PYRO ENGINEERING INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
999 SOUTH OYSTER BAY RD., SUITE 111
BETHPAGE, NY 11714


QFC PLASTICS, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4304 LARRY LN
ARLINGTON, TX 76017-5811


QMS                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4829 FAIRMONT AVE SUITE B
BETHESDA, MD 20814-6096


QPI MULTIPRESS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1250 REFUGEE LANE
COLUMBUS, OH 43207




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

QUAD FLUID DYNAMICS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2826 WESTWAY DR
BRUNSWICK, OH 44212


QUADY, MR. STEVE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8625 KING GEORGE DR. #315
DALLAS, TX 75235


QUAIL RIDGE MANAGEMENT CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA RENAISSANCE VILLAGE APTS
306 1/2 FOUTS AVE
DUNCANVILLE, TX 75137


QUAKENBUSH, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUAKER OATS CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PORTER & HEDGES, LLP
CLAY M. STEELY
1000 MAIN STREET, 36TH FLOOR
HOUSTON, TX 77002


QUALITEX CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4248 N ELSTON AVE
CHICAGO, IL 60618


QUALITROL COMPANY LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA
7684 COLLECTIONS CENTER DR
CHICAGO, IL 60693


QUALITY CARRIERS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2099 PENNSYLVANIA AVENUE, N.W., SUITE 100
WASHINGTON, DC 20006


QUALITY CONSULTANTS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6163
TYLER, TX 75711


QUALITY DELIVERY SERVICE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10508 GOODNIGHT
DALLAS, TX 75220




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

QUALLS, JOSHUA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUALTECH NP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELLON BANK QUALTECH NP DIV OF
CURTISS WRIGHT FLOW CONTR CORP
PO BOX 223215
PITTSBURGH, PA 15251-2215


QUAM, DAVID GALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUANDT, DEBORAH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUANDT, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUANEX BUILDING PRODUCTS CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 WEST LOOP SOUTH, SUITE 1500
HOUSTON, TX 77027


QUANEX CORP. (GULF STATES TUBE DIV)                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 W. LOOP SO., SUITE 1500
HOUSTON, TX 77027


QUANEX CORP.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 WEST LOOP SOUTH, SUITE 1500
HOUSTON, TX 77027


QUARANTO, MARIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUARE, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

QUARLES, ANTONIO F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


QUARTARONE, FRANCES SUGAMELI                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUARY, RICK & LINDA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUASIUS CONSTRUCTION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1716 N 16TH ST
SHEBOYGAN, WI 53081


QUEEN, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUEEN, STEVEN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUEEN, VIGINIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERBERT M QUEEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


QUEENER, SAMUEL E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


QUEMETCO METALS LIMITED, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 WEST MOCKINGBIRD LANE
DALLAS, TX 75247


QUEMETCO, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 STEMMONS FWY, SUITE 1800
DALLAS, TX 75207


QUENTIN ROBERTS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18 0765 APARTADO MIRAFLORES
LIMA, 00018
PERU




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

QUERCIAGROSS, DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUEST DIAGNOSTICS CLINICAL LABS, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: HEATHER KRATZ-MAILCODE-CV-2035
1201 S. COLLEGEVILLE RD.
COLLEGEVILLE, PA 19426


QUEST DIAGNOSTICS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 740709
ATLANTA, GA 30374-0709


QUESTCARE MEDICAL SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 201611
DALLAS, TX 75320-1611


QUEXCO INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 STEMMONS FWY, SUITE 1800
DALLAS, TX 75207


QUEXCO, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 N STEMMONS FWY
DALLAS, TX 75207


QUICK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUICK, LEO C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


QUICK, SUZANNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUICK, VERNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

QUIGLEY CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BEIRNE, MAYNARD & PARSONS, LLP
TIMOTHY J. HOGAN
1300 POST OAK BLVD., SUITE 2500
HOUSTON, TX 77056


QUIGLEY CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PFIZER INC.
235 E 42ND ST
NEW YORK, NY 10017


QUIGLEY CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


QUILICI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUILICI, STEPHEN P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


QUILLING, SELANDER, CUMMISKEY & LOWNDS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PETER A. MOIR
2001 BRYAN STREET
SUITE 1800
DALLAS, TX 75201


QUIMBY EQUIPMENT CO INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35 CENTRAL DR
FARMINGDALE, NY 11735


QUINBY, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

QUINLAN, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUINLIVAN, ANN T REED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUINN ALICE V                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
577 E 22ND ST
MERCED, CA 95340


QUINN, ALICE V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUINN, EUGENE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


QUINN, MICHAEL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


QUINN, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


QUINN, REGINA M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH T QUINN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


QUINN, STEPHEN ALLEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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QUINN, TAMARA AZLIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

QUINN, THOMAS R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


QUINN, WAYNE R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


QUINNIE, WALTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUINONES, JOSE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


QUINTANA CAPITAL GROUP LP                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 JEFFERSON ST
HOUSTON, TX 77002


QUINTANA, RUDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


QUINTANILLA, EFRAIN, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUINTANILLA, EFRAIN, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUINTON, BLAINE EUGENE, SR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

QUINTON, WANDA CAMP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


QUORUM BUSINESS SOLUTIONS (USA) INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 MAIN STREET, SUITE 2000
HOUSTON, TX 77002


QWEST CORPORATION DBA CENTURYLINK QC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BANKRUPTCY
1801 CALIFORNIA ST, RM 900
DENVER, CO 80202-265


R & R ASSOCIATES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7101 LA COSA
DALLAS, TX 75248


R CONSTRUCTION COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3776 TEXAS 97
FLORESVILLE, TX 78114


R P M INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2628 PEARL ROAD
PO BOX 777
MEDINA, OH 44258


R P M INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
DAVID REYNARD
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


R P M INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
LYNN T. WALDEN
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


R S HUGHES CO INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5145 MLK FRWY US 287
FORT WORTH, TX 76119


R S HUGHES COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5145 MARTIN LUTHER KING FWY
FORT WORTH, TX 76119-4175




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

R T VANDERBILT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 WINFIELD ST
NORWALK, CT 06855


R T VANDERBILT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUGH B VANDERBILT JR
30 WINFIELD STREET
NORWALK, CT 06855


R T VANDERBILT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


R T VANDERBILT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


R T VANDERBILT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


R V HEROD & DORRIS HEROD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 E ANGELINE ST
GROESBECK, TX 76642


R W BECKETT CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
38251 CENTER RIDGE RD
NORTH RIDGEVILLE, OH 44039


R W HARDEN & ASSOCIATES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3409 EXECUTIVE CENTER DRIVE
SUITE 226
AUSTIN, TX 78731


R&R MAINTENANCE & REPAIR LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4111 US HWY 80 E
STE 306
MESQUITE, TX 75150




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Name of Counterparty                                                                                            Nature

RAAB, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RAAB, GRETCHEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY L RAAB JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAAB, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RABENBURG, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RABIDOUX, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RABION, BEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RABOINE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RABON, ALBERT E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RABOVSKY, VALENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RABY, ROBERT M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RACEY, BOBBY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RACHFORD, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RACHUTA, JOSEPH P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RACICOT (HOPKINS), KOURTNEY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RACKLEY, EMMERLL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RACKSPACE HOSTING INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARDERE WYNNE SEWELL LLP
PAUL V STORM
1601 ELM STREET, SUITE 3000
DALLAS, TX 75201


RADAKOVICH, MILAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADARSIGN LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1095 WINDWARD RIDGE PKWY STE 150
ALPHARETTA, GA 30005


RADAWIEC, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RADCLIFF, BRITTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADCLIFFE, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADCLIFFE, HOWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADELICH, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RADER (ADAMS), DELILAH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RADER, SCOTT K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RADFORD, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADFORD, PAULA OLIVER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RADFORD, TERRY ALBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RADIOSHACK CORP.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 RADIOSHACK CIRCLE
FORT WORTH, TX 76102


RADLEY, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RADLEY, MARVIN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RADLEY, MARY SUE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RADOUSH, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADOVICH, BRAD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RADOWIECKI, CASIMER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADOWIECKI, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADTKE, ALBERT R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RADTKE, GUY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RADULSKI, ROBERT A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RADUZINER, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RADY, TODD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAEMER, ROBERT R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RAETH, JOHN H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RAFFENETTI, RONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAFFERTY, JAMES J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RAFFERTY, LAWRENCE EDWARD (DECEASED)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


RAFFERTY, SHIRLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAFFIELD, VINCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAFTER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAGAN, JOSEPH E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAGER, ALAN H.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAGLAND, HENRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAGNONE, ROBERT J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RAGOZZINO, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAGSDALE, ANNA L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RAGUSIN, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAHE, CARL L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAIBLE, PAIGE LEAH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAILEY, CHARLES W., SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAILINC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 79860
BALTIMORE, MD 21279-0860


RAILROAD COMMISSION OF TEXAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1701 N. CONGRESS
AUSTIN, TX 78701


RAILROAD COMMISSION OF TEXAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SURFACE MINING AND RECLAMATION DIVISION
1701 N. CONGRESS
AUSTIN, TX 78701


RAILROAD COMMISSION OF TEXAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SURFACE MINING AND RECLAMATION DIVISION
PO BOX 12967
ATTN: MR. JOHN E. CAUDLE, P.E., DIRECTOR
AUSTIN, TX 78711-2967


RAILROAD FRICTION PRODUCTS CORP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13601 AIRPORT RD
MAXTON, NC 28364


RAILROAD FRICTION PRODUCTS CORP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 360479
PITTSBURGH, PA 15251-6479


RAILROAD MANAGEMENT, LLC, MANAGING AGENT                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOR THE STRONG CAPITAL ENTITIES
ATTN: CARY NEWMAN
5910 N CENTRAL EXPY STE 1580
DALLAS, TX 75206-5148




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RAILROAD FRICTION PRODUCTS COR                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13601 AIRPORT RD
MAXTON, NC 28364


RAILWORKS TRACK SYSTEMS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS INC
39545 TREASURY CENTER
CHICAGO, IL 60694-9500


RAILWORKS TRACK SYSTEMS, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BECKER GLYNN MUFFLY CHASSIN HOSINSKI
ATTN: MICHAEL D. MARGULIES, ESQ.
299 PARK AVENUE
NEW YORK, NY 10171


RAIMO, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RAIN FOR RENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 562
DEER PARK, TX 77536-9998


RAIN, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAIN, MILDRED A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINE, HELEN B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINER, BOBBY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAINERI, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAINES, DAVID LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINES, HOWARD STEVEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINEY, KENNETH W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAINS, CAMILLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINS, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINS, JERRY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINS, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAINS, LEE R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAINS, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


RAISCH, WARREN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAISCH, WAYNNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RAKER, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAKOWSKI, ROMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RALAT, JULIO SANTIAGO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RALEIGH JUNK COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUITE 700 - ONE VALLEY SQUARE
CHARLESTON, WV 25326-1746


RALEIGH, MARGARET                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RALEY, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RALL, ALBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


RALLIS, MARY RALLIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RALLIS, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RALNES, RICHARD D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

RALPH M PARSONS COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
888 W 6TH ST STE 700
LOS ANGELES, CA 90017


RALPH WILSON PLASTICS CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EMIL STUDINKA,JR.,DIR.REG.& SFTY SVCS.
2400 WILSON PLACE
TEMPLE, TX 76502


RALPH, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RALSER, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RALSTON, OVID LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAMBADT, HAROLD F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RAMBY, SUSIE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMBY, SUSIE M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ AGUILERA, ALEX ARTURO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ, ANGELO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

RAMIREZ, FRANK L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ, MARJORIE L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ, MARY JANE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ, VICTOR V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMIREZ, VICTOR V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RAMOS, ADALBERTO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAMOS, ANGEL LOPEZ                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMOS, CAROL C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMOS, MARIE S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN P RAMOS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAMSEY, CARL O.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


RAMSEY, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069




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Name of Counterparty                                                                                             Nature

RAMSEY, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMSEY, EDWIN A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RAMSEY, GERETA BUTER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMSEY, JESSE HELEN HARRIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMSEY, MARTHA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAMSEY, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


RAMSEY, WAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAMTHUN, GABRIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMTHUN, JOCELYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMTHUN, NATASHA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAMTHUN, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

RANALLO, LOUIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RANCH, EL DORADO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANCONE, LESLIE ANN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANCOURT, KENNETH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAND MCNALLY & COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9855 WOODS DRIVE
SKOKIE, IL 60077


RAND, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAND, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDALL, GEORGE A--EST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


RANDALL, LYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDALL, MARY E (SULLIVAN)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

RANDALL, MICHAEL V., JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RANDALL, OMER DAYLE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RANDAZZO, N T & ANNA MARIE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDIG, MACEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDIG, MELISSA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDIG, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDLE, ALINE T (BOLDEN)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDLE, CHARLES ANTHONY, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES A RANDLE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RANDLE, KAREN A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID A RANDLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RANDOLPH, AUGUSTINE A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANDOLPH, JAMES CARROLL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RANDOLPH, MARY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RANDOLPH, SALLY E HURLEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RANEY, CLYDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RANEY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANGER EXCAVATING LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5222 THUNDER CREEK ROAD
SUITE B1
AUSTIN, TX 78759


RANGER EXCAVATING LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O STEPHEN SAKONCHICK II, P.C.
ATTN: STEPHEN SAKONCHICK, II
6502 CANON WREN DRIVE
AUSTIN, TX 78746


RANGER EXCAVATING                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RANGER ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1842 LOOP 254 EAST
RANGER, TX 76470


RANGER JR. COLLEGE DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 COLLEGE CIRCLE
RANGER, TX 76470


RANKIN, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

RANKIN, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RANKIN, CRAIG A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH L MICHAEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RANKIN, JOHN RONALD DECEASED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


RANKIN, KEITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RANKIN, MICHAEL EASON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


RANKIN, ROSIEMAE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


RANKIN, TERESA OWENSBY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANNACHER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

RANOCCHIA, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RANSDELL, CARL ARTHUR (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


RANSDELL, MERLENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


RANSOM & RANDOLPH A DIVISION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
520 ILLINOIS AVE
MAUMEE, OH 43537


RANTA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RANTON, BILLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RANURO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAO, JANET, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD W BARTLEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAPANT, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAPHAEL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RAPHAEL, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
667 MADISON AVENUE
NEW YORK, NY 10021


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
JEFFREY K. GORDON
111 CONGRESS AVE, SUITE 1700
AUSTIN, TX 78701


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
THOMAS W. TAYLOR
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KURT T. PUTNAM
SNR DENTON US LLP
525 MARKET STREET, 26TH FLOOR
SAN FRANCISCO, CA 94105-2708


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
32 LOOCKERMAN SQUARE, SUITE L100
DOVER, DE 19901


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
33 NORTH LASALLE ST
CHICAGO, IL 60602




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Name of Counterparty                                                                                            Nature

RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
STEVEN BRIAN MOORE
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SNR DENTON US LLP
1221 AVENUE OF THE AMERICAS
23RD FLOOR
NEW YORK, NY 10020-1089


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SONNENSCHEIN, NATH & ROSENTHAL, LLC
1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10020


RAPID AMERICAN CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


RAPID POWER MANAGEMENT LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19111 NORTH DALLAS PKY STE 125
DALLAS, TX 75287


RAPLEY II, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAPLEY, BETTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAPLEY, DAVID R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAPLEY, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


RAPOSA, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

RAPP, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAPPOLD, SANDY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAPPOLD, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RARDON, LINDA JO MCKINSTRY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RARITAN SUPPLY CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 MEADOW RD
EDISON, NJ 08817


RASHEED, HASSAN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NATHAN N STEWART
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RASINSKI, LAURIE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MELVIN NASH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RASMUSSEN, R RICHARD JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RASO, LAWRENCE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RASPA, PATRICIA A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH W SHRUM SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                          Nature

RATCLIFF, EDWARD D.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


RATELLE, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RATHBUN, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RATHBUN, TIMOTHY D. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


RATHER, TRACY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATHKE, DEANNE S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATHKE, JOHN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATHOSKY, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATLIFF READY-MIX LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7901 FISH POND RD 1ST FL
WACO, TX 76710


RATLIFF, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

RATLIFF, STEPHANIE DAWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATTENNI, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATZEL, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RATZEL, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAUB, ANDERSON C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAUCHLE, RONALD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RAULERSON JR., FREDERICK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RAULERSON, AMOS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAULERSON, BELINDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RAUSCH, EDWARD H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAVENSCROFT, PHILLIS GERARD, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK T GERARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAVER, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAVIELE, ANTONIO G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLES, CHARLES M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RAWLES, CHRISTINE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RAWLES, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAWLEY, C                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLINGS, APRIL L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON A LANG SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAWLINGS, GERALD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

RAWLINGS, JAMES W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAWLINGS, RICKY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLINSON, JAMES K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLINSON, JOE F, SR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ENGLISH LAW GROUP, PLLC
ATTN: JAY C. ENGLISH
7616 LBJ FREEWAY, STE. 500
DALLAS, TX 75251


RAWLINSON, JR., JOE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLINSON, LARRY W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWLINSON, MYRA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RAWSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2010 MCALLISTER
HOUSTON, TX 77092


RAWSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
609 FISHER RD
LONGVIEW, TX 75604


RAWSON INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 732161
DALLAS, TX 75373-2161


RAWSON JR, ROY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RAWSON LP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 TECHNOLOGY DR SUITE 800
PLANO, TX 75074




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RAWSON, JOSHUA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWSON, KIMBERLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAWSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAXTER, BARBARA A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY W DAVIS CONSULTING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENGINEERS, INC
208 CR 449
CARTHAGE, TX 75633


RAY W. DAVIS, CONSULTING ENGINEERS, INC.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SEARCY & SEARCY, PC
ATTN: RAY W. DAVIS
PO BOX 3929
LONGVIEW, TX 75606


RAY, AMIT KUMAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RAY, CARTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RAY, CHRISTINE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BENJAMIN L WOMACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAY, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RAY, DALE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, DEBORAH E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BOBBY L RAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAY, DOUGLAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, FRANKIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, HAROLD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAY, JIMMY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAY, KELLY B                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RAY, KENNETH R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RAY, KIMBERLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, LONNIE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                            Nature

RAY, PEARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, QUINTEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAY, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYBORN, SHANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYMOND, HUGH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAYMOND, MARC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYMOND, VINCENT C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAYNALDO PARTIDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1124 HIDDEN LAKE DR
BURLESON, TX 76028-6061


RAYNER, HELEN J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK J MONTALBANO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RAYNOR, ARLENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RAYNOR, ARNOLD & DENNIS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

RAYNOR, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYNOR, ARNOLD, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYNOSA, ANGEL ANTENIO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYOUM, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RAYPAK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2151 EASTMAN AVE
HOUSTON, TX 77002


RAYPAK INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2737 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733


RAYTEL COMMUNICATIONS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 HUYLER ST
TETERBORO, NJ 07608


RAYTHEON CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 HUYLER ST
TETERBORO, NJ 07608


RAYTHEON CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


RAYTHEON CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


RAYTHEON ENGINEERS & CONSTRUCTORS, INC.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 BROADWAY
CAMBRIDGE, MA 02142-1100




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Name of Counterparty                                                                                             Nature

RAZOR, TRISHA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RC FACILITY SERVICES LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11132 ALLEN LANE
TERRELL, TX 75161


RC FACILITY SERVICES, LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SINGER & LEVICK, P.C.
ATTN: LARRY A. LEVICK, ESQ.
16200 ADDISON RD. # 140
ADDISON, TX 75001


RCH NEWCO II LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES M MATHERNE
COURINGTON, KIEFER & SOMMERS, L.L.C.
PO BOX 2350
NEW ORLEANS, LA 70176


RCH NEWCO II LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KAYE N COURINGTON
DUNCAN COURINGTON & RYDBERG
400 POYDRAS ST
NEW ORLEANS, LA 70130


RDO EQUIPMENT CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5301 MARK IV PARKWAY
FORT WORTH, TX 76106


RDO TRUST# 80-5800                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7160
FARGO, ND 58106-7160


READ, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REAGAN, KELLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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Name of Counterparty                                                                                             Nature

REAGAN, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REAGAN, WALTER L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REAGENT CHEMICAL & RESEARCH, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
124 RIVER RD.
MIDDLESEX, NJ 08846


REAL PROPERTY RESOURCES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA BETENBOUGH HOMES
6305 82ND ST
LUBBOCK, TX 79424


REAL, ALPHA BARNES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REALTY ASSOCIATES FUND VII LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA LEGACY PARK APARTMENTS
10801 LEGACY PARK DR
HOUSTON, TX 77064


REAMY, RYAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REARDON, CARRIE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REARDON, DAVID F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


REARDON, EDWARD J--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                            Nature

REARDON, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


REARDON, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REARDON, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


REAVES, CHARLES B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REAVES, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REAVES, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REAVIS, JACK E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REAVIS, MATTIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REBECHI, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REBEIRO, PATTI JO, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MANUEL REBEIRO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REBENSKI, GEORGE A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REBHOLZ, NORB                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REBO, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REBO, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REBUCK, MARGARET, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT H REBUCK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RECEK, LAWRENCE S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RECH, MARY L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RECH, STANLEY C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RECK, ROBERT D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                   Nature

RECKARD, CHARLES F                                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RECOGNITION INTERNATIONAL INC (FORMERLY RECOGNITION EQUIPMENT INCORPORATED)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2701 EAST GRAUWYLER ROAD
IRVING, TX 75061


RECOVERED OIL SERVICES                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2722 WEST KINGSLEY
GARLAND, TX 75041-2407


RECOVERY SYSTEMS, INC.                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5035 ROMANY DRIVE
JACKSON, MS 39211


RECOVERY SYSTEMS, INC.                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
580 EARL GENE ROAD
CANTONMENT, FL 32533


RECOVERY SYSTEMS, INC.                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5862 BAXTER DRIVE
JACKSON, MS 39211


RECTOR, KENNETH                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RED BALL OXYGEN COMPANY INC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
343 SOUTH SHELBY
CARTHAGE, TX 75633


RED BALL OXYGEN COMPANY INC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5905 W MARSHALL AVE
LONGVIEW, TX 75604


RED BALL OXYGEN COMPANY INC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
609 N MARKET ST
SHREVEPORT, LA 71107




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RED BALL OXYGEN COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRANCH OFFICE/LOCAL STORE
716 HWY 79 WEST
BUFFALO, TX 75831


RED BALL OXYGEN COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7316
SHREVEPORT, LA 71137-7316


RED BALL OXYGEN COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GLAST PHILLIPS & MURRAY
ATTN: JONATHAN L HOWELL PLLC
14801 QUORUM DR STE 500
DALLAS, TX 75254-1449


RED BALL OXYGEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3001 E FRONT ST
TYLER, TX 75702


RED DEVIL INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOULDER TOWERS, SUITE 750
1437 S. BOULDER
TULSA, OK 74119


RED HAT RENTALS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 564
FAIRFIELD, TX 75840


RED LAW INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3968 WAINMAN LINE
R. R. #2
ORILLIA, ON L3V 6H2
CANADA

RED MAN PIPE & SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1740 NE LOOP
CARTHAGE, TX 75633-1965


RED RIVER COUNTY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N WALNUT ST
CLARKSVILLE, TX 75426


RED RIVER ENVIRONMENTAL PRODUCT LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 RED RIVER MINE RD
COUSHATTA, LA 71019




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RED RIVER PUMP SPECIALISTS LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1555 WELLS ISLAND ROAD
SHREVEPORT, LA 71107


RED SEAL ELECTRIC CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3835 E 150TH STREET
CLEVELAND, OH 44111


RED SEAL ELECTRIC CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
GEORGE P. PAPPAS
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


RED SEAL ELECTRIC CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALKER WILLIAMS PC
LESLIE G. OFFERGELD
4343 W MAIN ST
BELLEVILLE, IL 62226


REDDICK, BURNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


REDDICK, CHARLIE HENRY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDDICK, MINERVA L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


REDDIN, TIMOTHY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDDING, FREDERICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REDDING, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


REDDINGTON, DEBORAH L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLAUDE HUESMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REDDISH, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REDDY ICE CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5720 LYNDON B JOHNSON FWY STE 200
DALLAS, TX 75240-6396


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1310 E SEALY AVE
MONAHANS, TX 79756-4052


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
308 CHEROKEE ST
LONGVIEW, TX 75604


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
421 S 9TH ST
WACO, TX 76706


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 N SYLVANIA
FORT WORTH, TX 76111


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
89 CR 35725
POWDERLY, TX 75473


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1497
WHITNEY, TX 76692-1497




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1567
MONAHANS, TX 79756


REDDY ICE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730505
DALLAS, TX 75373-0505


REDEMANN, PATRICIA M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REDETZKE, CLYDE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDFEARN PROPERTY MANAGEMENT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1010 N JEFFERSON
MOUNT PLEASANT, TX 75455


REDFEARN, JOSEPH F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REDICAN, EILEEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDICAN, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REDIFER, HENRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


REDINGER, WAYNE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REDLAND PRISMO CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REDLAND US HOLDINGS,INC.
300 LANIDEX PLAZA
PARSIPPANY, NJ 07054


REDLAND PRISMO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12950 WORLDGATE DR., SUITE 500
HERNDON, VA 20170


REDLINE, WILMER P, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REDMILL, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REDMON, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDMON, WILLIAM R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REDMOND, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REDMOND, JOSEPH H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


REDWOOD GARDEN LTD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5555 WEST LOOP SOUTH SUITE 100
BELLAIRE, TX 77401




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REECE, ARLIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


REED & GADDIS CONSTRUCTION INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 167
MT. CARMEL CHURCH ROAD
FOXWORTH, MS 39483


REED ELSEVIER INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 PARK AVENUE
23RD FLOOR
NEW YORK, NY 10017


REED ROCKBIT CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BAKER HUGHES, INC.
3900 ESSEX LANE, SUITE 1200
HOUSTON, TX 77027


REED TUBULAR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BAKER HUGHES TUBULAR SERVICES,INC
3900 ESSEX LANE
HOUSTON, TX 77027


REED, ALLAN C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


REED, ALLISON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REED, ANGIE G.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REED, BRUCE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REED, CLIFFORD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REED, CLIFTON G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, CLIFTON GLYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REED, GARY L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REED, GARY LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


REED, HORACE, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, JACQUELYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REED, JAMES C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REED, JANICE H, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY ALLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, JEFFREY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, JERRIE W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REED, JOHN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REED, KENNETH PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REED, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, LARRY, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KAY REED
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, LESLIE--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


REED, LYNNE MARIE ALLEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, MARIE I.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


REED, MICHAEL R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

REED, ORVAL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


REED, RAYMOND R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, ROBERT E, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REED, SCOTT G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, SCOTT G, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EARL W REED
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REED, TACY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


REED, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REED, WILMA J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REEDE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REEDER, JULIUS F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

REEDY, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEDY, EVERETT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


REEDY, VIRGIL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REEF INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9209 ALMEDA GENOA RD
HOUSTON, TX 77075


REEKEMAR OLD CO INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON PICOU & ANDREKANIC, LLC
1012 PLUMMER DR., SUITE 201
EDWARDSVILLE, IL 62025


REESE, CLAXTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REESE, DIANE L WALTERS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REESE, ELIZABETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REESE, JOAN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REESE, KIMBERLY A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY F LEYRER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

REESE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REETZ, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEVES CO. HOSPITAL DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2323 TEXAS STREET
PECOS, TX 79772


REEVES COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROSEMARY CHABARRIA,
TAX ASSESSOR COLLECTOR
100 E 4TH STREET ROOM 104, PO BOX 700
PECOS, TX 79772


REEVES OIL CO.,INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOUG WEBB,VP FINANCE
4010 WEST MARSHALL AVENUE
LONGVIEW, TX 75604-4915


REEVES, CLARA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEVES, COVY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEVES, JOANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEVES, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


REEVES, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REEVES, KEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REEVES, MICHAEL RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REEVES, NICKIE G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REEVES, THOMAS F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REF CHEM LP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1128 S GRANDVIEW AVE
ODESSA, TX 79761


REF CHEM LP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


REF CHEM LP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
ONE ALLEN CENTER, 500 DALLAS, SUITE 1200
HOUSTON, TX 77002


REGA, RONALD P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REGAL MOLD & "DIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25208 LEER DRIVE
ELKHART, IN 46514




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

REGAL, JOSEPH F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


REGALWARE INC FKA WEST BEND                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSUMER SERVICE DEPARTMENT
1675 REIGLE DRIVE
KEWASKUM, WI 53040


REGAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REGAN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REGAN, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REGAN, ROBERT J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REGENHARDT, LINDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF CARL WILLIFORD
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


REGIONAL STEEL INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3887
VICTORIA, TX 77903


REGIONAL STEEL PRODUCTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3887
VICTORIA, TX 77903




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

REGISTER, STEVE MICHAEL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REGNO, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REGO, ANTONE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REGO, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REGO, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REGRUT, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REGULATOR TECHNOLOGIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730156
DALLAS, TX 75373-0156


REGULATOR TECHNOLOGIES INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOSEPH MIKSCHE
8000 NORMAN CENTER DR., SUITE 1200
BLOOMINGTON, MN 55437


REGULATORY COMPLIANCE SERVICES                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15103
AUSTIN, TX 78761-5103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REGULUS GROUP LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
860 LATOUR COURT
NAPA, CA 94558-6260


REHBEIN, MILTON A , III, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON A REHBEIN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REHRER, STEPHEN F, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES D REHRER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REHRIG, CLIFFORD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REIBER, JOEL A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REICH HOLD INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1035 SWABIA COURT
DURHAM, NC 27703


REICH HOLD INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR ST
JEFFERSON CITY, MO 65101


REICH HOLD INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
JOHN WRIGHT
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


REICH HOLD INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102




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Name of Counterparty                                                                                            Nature

REICH HOLD INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
RENO RICHARD III COVA
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


REICH, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REICHARD, PARSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REICHERT, DANIEL E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


REICHHOLD INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 ELLIS ROAD
DURHAM, NC 27703


REICHLE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REICHLE, MURIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REICHOLD CHEMICAL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O REICHOLD,INC.
2400 ELLIS RD.
DURHAM, NC 27703


REID, AINSLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

REID, ALFRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REID, ARTHUR J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REID, CYNTHIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REID, DONALD W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REID, IAN M, PR OF THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KEN REID
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REID, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REID, JOHN WILLARD (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


REID, LYLE F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


REID, NATASHA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REIGER, BARBARA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER F REIGER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

REIJO, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REILLY BENTON COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS COUGILL WILLINGHAMFULTZ &
COUGILL LLP, 8550 UNITED PLAZA BLVD
SUITE 702
BATON ROUGE, LA 70809


REILLY, BRIAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REILLY, DORIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


REILLY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


REILLY, TERESA E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH D BOYD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REILLY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REILLY-BENTON COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIANE M SWEEZER
808 TRAVIS ST STE 1608
HOUSTON, TX 77002


REIMANN, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

REIMSCHUSSEL, DIANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REIMSCHUSSEL, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


REINA, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REINERT, ROLLAND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REINHARDT, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REINHART, JOAN M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY J REINHART SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REINHAUSEN MANUFACTURING INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2549 NORTH 9TH AVE
HUMBOLT, TN 38343


REINIK, HILDA S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD F REINIK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REIS, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REIS, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REISCHE, CYNTHIA MARIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REISE, CHRISTIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REISS, ALAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REISS, RAY M, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REISS, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REITH, JACK CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REITZ, NICK F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REKRAMIG & CO INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
323 S WAYNE AVENUE
CINCINNATI, OH 45215


RELIABILITY CENTER INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JULIE CLARKE
PO BOX 1421
HOPEWELL, VA 23860




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                                                                                           Retained Causes of Action

                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

RELIABILITY CENTER INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1421
HOPEWELL, VA 23860


RELIANCE NATIONAL RISK SPECIALISTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RELIANCE INSURANCE COMPANY
75 BROAD STREET, 10TH FLOOR
NEW YORK, NY 10004


RELIANT ENERGY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 LOUISIANA ST
HOUSTON, TX 77002


RELIANT ENERGY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 FANNIN STREET
HOUSTON, TX 77002


RELIANT ENERGY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
DALLAS, TX 75201


RELIANT ENERGY INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JACKSON WALKER LLP
LISA A. POWELL
1401 MCKINNEY STREET, SUITE 1900
HOUSTON, TX 77010


RELIANT OF CENTERPOINT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 LOUISIANA ST
HOUSTON, TX 77002


RELLLY, BRENDEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RELLLY, THOMAS A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REMA TIP TOP NORTH AMERICA INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
119 ROCKLAND AVE PO BOX 76
NORTHVALE, NJ 07647-0076




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REMALEY, DURRELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REMAURO, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REMENTER, MADELINE F, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARVIN FORTE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REMHC LP                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1025 WEST PIPELINE ROAD
HURST, TX 76053


REMINGTON ARMS CO LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
870 REMINGTON DRIVE
MADISON, NC 27025-0700


REMINGTON ARMS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES B. ALLEN, CORPORATE COUNSEL
140 CYPRESS STATIONS DRIVE
HOUSTON, TX 77090


REMMICK, RONALD LLOYD DECEASED                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


REMPFER, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REMUCK, GORDON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REMUS, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REN, KITTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RENAY, CAROLYN, FOR THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF NEWMAN F ERVIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RENDLE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RENDON, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


RENEAU, ERNEST J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RENEWABLE ENERGY CORP.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROY O. BLANKS,OWNER
1725 ORCHARD LANE
WACO, TX 76705


RENEWAL PARTS MAINTENANCE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1250 E 222ND ST
EUCLID, OH 44117-1114


RENEWAL PARTS MAINTENANCE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4485 GLENBROOK RD
WILLOUGHBY, OH 44094




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RENEWAL PARTS MAINTENANCE INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 17741
PALATINE, IL 60055-7741


RENFREW, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RENFRO, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RENFROW, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RENIER, CLYDE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RENNIE, RONNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RENO, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RENT DEBT AUTOMATED COLLECTION LLC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 171077
NASHVILLE, TN 37217


RENTENBACH CONSTRUCTORS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
651 E 4TH ST #304
CHATTANOOGA, TN 37403


RENTERIA, JOSE & MARIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RENTMEESTER, CLAYTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RENTSCHLER, HARLAND F.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RENTSYS RECOVERY SERVICES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4346
DEPT 616
HOUSTON, TX 77210-4346


RENZ, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REPAY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REPKORWICH, DEBORAH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACOB REPKORWICH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REPUBLIC MINERAL CORP.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2243 SAN FELIPE ST
HOUSTON, TX 77019


REPUBLIC OIL & GAS CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 N LORAINE ST # 1245
MIDLAND, TX 79701


REPUBLIC POWERED METALS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2628 PEARL ROAD
MEDINA, OH 44256


REPUBLIC POWERED METALS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
50 WEST BROAD STREET
COLUMBUS, OH 43215




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

REPUBLIC SALES & MANUFACTURING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANY
5131 CASH ROAD
DALLAS, TX 75247


REPUBLIC SALES & MANUFACTURING                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COMPANY
PO BOX 671166
DALLAS, TX 75267-1166


REPUBLIC SERVICES NATIONAL                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ACCOUNTS
PO BOX 99917
CHICAGO, IL 60696-7717


REPUBLIC SHEET METAL AND MANUFACTURING                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5131 CASH RD
DALLAS, TX 75247-5805


REPUBLIC TECHNOLOGIES INTERNATIONAL                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3750 AVENUE JULIEN PANCHOT
PERPIGNAN CEDEX, 66004


REQUE, JOHN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RESCAR COMPANIES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
407 W BRENTWOOD ST
CHANNELVIEW, TX 77530-3952


RESCAR INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2882 PAYSPHERE CIRCLE
CHICAGO, IL 60674


RESCO HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 LIBERTY LANE WEST
HAMPTON, NH 03842


RESCO HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
HOLLI VIRGINIA PRYOR-BAZE
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RESCO HOLDING INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
JAMES R WETWISKA
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200


RESCO HOLDING INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
JAMES ROBERT WETWISKA
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200


RESCO HOLDING INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AKIN GUMP STRAUSS HAUER & FELD LLP
LEAH RUDNICKI
1111 LOUISIANA STREET, 44TH FLOOR
HOUSTON, TX 77002-5200


RESEARCH COTTRELL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
58 E MAIN ST
SOMERVILLE, NJ 08876


RESEARCH COTTRELL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


RESEARCH NOW INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 974063
DALLAS, TX 75397-4063


RESER, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RESH, JOANNE, FOR THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF NORMAN RESH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RESIDENCES AT STARWOOD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6595 LEBANON RD
FRISCO, TX 75034




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RESIDENCES AT WAXAHACHIE LP, THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE LOFTS AT CROSSROAD
CENTRE
5555 WEST LOOP SOUTH SUITE 100
BELLAIRE, TX 77401


RESILLO PRESS PAD CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6950 N CENTRAL PARK AVE
LINCOLNWOOD, IL 60712


RESINOID ENGINEERING CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
251 O'NEIL DRIVE
HEBRON, OH 43025


RESOLUTE MANAGEMENT, INC. (LLOYDS/COS.)                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 CAMBRIDGE SQUARE
CAMBRIDGE, MA 02139


RESOURCE REFINNG CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5857 GESSNER #117
HOUSTON, TX 77036


RESSER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RESSLER, LENARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RESSLER, RONALD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RESTORX OF TEXAS LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13717 BETA ROAD
FARMERS BRANCH, TX 75244




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

RESTORX OF TEXAS LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14403 W BELTWOOD PKWY #140
FARMERS BRNCH, TX 75244-3223


RESTREPO, LUIS H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RESULTS COMPANIES LLC, THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2893 MOMENTUM PLACE
CHICAGO, IL 60689-5328


RESULTS POSITIVE INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2250 E GERMANN RD STE 14
CHANDLER, AZ 85286


RESULTS POSITIVE INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2250 E GERMANN RDSTE 14
CHANDLER, AZ 85286-1576


RETASKIE, WILLIAM J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RETHERFORD, SAMUEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RETZLAFF, CHERYL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RETZLAFF, RUBEN M                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RETZLAFF, SHANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RETZLOFF INDUSTRIES INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13955 FM 529
HOUSTON, TX 77041




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REUBART, JACK LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REUBART, NANCY S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 PPG PL #500
PITTSBURGH, PA 15222


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSCHEK NILES & SINARS LLC
PATRICK GRAND
55 WEST MONROE ST, SUITE 700
CHICAGO, IL 60603


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSEK, NILLES & SINARS, LLC
DOUGLAS MICHAEL SINARS
55 W MONROE ST STE 700
CHICAGO, IL 60603


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, L.L.C.
DOUGLAS MICHAEL SINARS
55 W MONROE ST, SUITE 700
CHICAGO, IL 60603


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
2711 CENTERVILLE RD STE 400
SUITE 400
WILMINGTON, DE 19808


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
2711 CENTERVILLE RD STE 400
WILMINGTON, DE 19808


REUNION INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 PPG PL #500
PITTSBURGH, PA 15222


REUTER, ALANA C VICKNAIR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REUTER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REUTER, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REUTER, RACHEL ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REUTHER, JOSEPH H., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REVELLE, EMORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REVERE, JOSEPH W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REVIER, PRISCILLA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REWIS, CLEVIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REWIS, KIBBIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REX AM BEVERAGE CAN CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8770 W BRYN MAWR AVE #11
CHICAGO, IL 60631




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

REXA KOSO AMERICA INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16810 BARKER SPRINGS RD.
SUITE B203
HOUSTON, TX 77084


REXEL SUMMERS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3013 CHEVY CIRCLE
TEMPLE, TX 76504


REXEL SUMMERS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3910 SOUTH INDUSTRIAL DRIVE
AUSTIN, TX 78744


REXEL SUMMERS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
807 WEST COTTON
LONGVIEW, TX 75604


REXEL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 1021
PO BOX 121021
DALLAS, TX 75312-1021


REXEL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 844519
DALLAS, TX 75284-4519


REXEL, INC. AND REXEL SUMMERS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
807 WEST COTTON
LONGVIEW, TX 75312-1021


REXENE POLYMERS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EL PASO POLYOLEFINS CO.
9802 FAIRMONT PARKWAY
PASADENA, TX 77507


REXNORD CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4701 W GREENFIELD AVENUE
MILWAUKEE, WI 53214-5310


REXNORD IND LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4701 W GREENFIELD AVENUE
MILWAUKEE, WI 53214-5310




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

REXROTH, KEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REYES BOBADILLA, FRANCISCO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYES, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


REYES, CALISTRO RIVERA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REYES, JOE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYES, RUBEN V                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


REYNA, SYLVIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REYNAR, CHARLETON T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REYNA-RUIZ, IGNACIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


REYNOLDS CO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2680 SYLVANIA CROSS DR
FORT WORTH, TX 76137




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

REYNOLDS CO, THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7111 IMPERIAL DR
WACO, TX 76712


REYNOLDS COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 671344
DALLAS, TX 75267-1344


REYNOLDS COMPANY, THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3203 LONGHORN BLVD, #101
AUSTIN, TX 78758


REYNOLDS COMPANY, THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4051 NNE LOOP 323
TYLER, TX 75708


REYNOLDS FOIL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6641 WEST BROAD STREET
RICHMOND, VA 23230


REYNOLDS METALS COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6601 WEST BROAD STREET
PO BOX 27003
RICHMOND, VA 23261-7003


REYNOLDS, ANNIE L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


REYNOLDS, ARTHUR P                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


REYNOLDS, BRUCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REYNOLDS, DEBORAH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REYNOLDS, DENNIS M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REYNOLDS, FELIX                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REYNOLDS, JOHN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REYNOLDS, JOHN T. (JACK)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


REYNOLDS, KAREN R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT C ROLFES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REYNOLDS, KENNETH L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


REYNOLDS, KIMBERLY BREVARD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, LARRY WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, LINDIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

REYNOLDS, RICHARD P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REYNOLDS, RUTH M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


REYNOLDS, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


REYNOLDS, TERRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


REYNOLDS, TRACY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, TRACY D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, VERNICA H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


REYNOLDS, WILLIAM DALE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REYNOLDS, WILLIAM J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

REYNOSO, RAUL G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REZAK, DAVID T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REZAK, SARAH B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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REZAK, WILLIAM D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHEA, ALAN W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHEA, DAN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHEA, DOROTHY GUY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHEA, MAX EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHEAUME, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 ABERNATHY ROAD, SUITE 1400
ATLANTA, GA 30328


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
GREGORY DE BEER
10 S BROADWAY STE 1300
ST LOUIS, MO 63102




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
E BEN JR THAMES
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JOHN MICHAEL WARD
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KAREN MARIE VOLKMAN
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KATHERINE BROOKE GREFFET
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
IAN R. GRODMAN
LAW OFFICES OF IAN R. GRODMAN, P.C.
116 JOHN, 17TH FLOOR
NEW YORK, NY 10038


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2737 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733


RHEEM MANUFACTURING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMMONS COOPER
JOHN ANTHONY BRUEGGER
707 BERKSHIRE BLVD
EAST ALTON, IL 62024




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Name of Counterparty                                                                                             Nature

RHEEM MANUFACTURING CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


RHEN, SUNDINA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH L RHEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHEUDE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RHEW, RICKEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHIINE, JEREMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHINE, CHARLOTTE A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD A RHINE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHOADES, EVERETT C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RHOADES, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RHOADS, ROBERT E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHOADS, SCOTT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

RHODES, ALBERTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHODES, BARRY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, BETTIE RUTH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHODES, CAROLYN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L RHODES SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, DENNIS L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHODES, DON L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, JUSTUS B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHODES, NANCY L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR L RHODES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, PATRICIA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD RHODES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RHODES, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RHODES, TONY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


RHODIA CHEMICAL CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26, QUAI ALPHONSE LE GALLO
BOULOGNE-BRILLANCOURT
BOULOGNE-BILLANCOURT,


RHODIA, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8 CEDAR BROOK DRIVE
CRANBURY, NJ 08512


RHODIA, INC.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


RHOM AND HAAS CHEMICALS LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


RHONE POULENC AG CO. INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RHONE-POULENC, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O STAUFFER MANAGEMENT COMPANY
1800 CONCORD PIKE
WILMINGTON, DE 19850-5438


RHONE-POULENC, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RHONE-POULENC, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RHONE-POULENC, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
MISTI MOSTELLER
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RHONE-POULENC, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANOFI AVENTIS
55 CORPORATE DR
BRIDGEWATER, NJ 08807


RHOW, JOSHUA P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHOW, JOSHUA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHOW, PATRICIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHOW, SUMMER E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHYMES, GENESTER & O T RHYMES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHYMES, GENESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RHYNE, THOMAS SYLVANUS, III                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIAL, CECIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RIATA FORD LTD.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4648
AUSTIN, TX 78765


RIBANDO, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RIBNICK, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10100 BRECKSVILLE RD
BRECKSVILLE, OH 44141


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & PATTERSON LLP
KENNETH C BAKER
601 SAWYER STREET, SUITE 110
HOUSTON, TX 77007


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JENNIFER ANTOINETTE JUMPER
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
NICHOLAS BENJAMIN BUNNELL
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN A KRISTAN JR KELLEY ASONS
1220 WEST 6TH ST
SUITE 305
CLEVELAND, OH 44113


RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN A KRISTAN JR KELLEY ASONS
MCGOWAN SPINELLI & HANNA LLP
1220 WEST 6TH ST STE 305
CLEVELAND, OH 44113


RIC WIL INCORPORATED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101


RICARD, FINLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICCARDINO, DAVID T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICCARDINO, DAVID THOMAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICCI, JUNIOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICCO, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


RICCO, JOHN P.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RICE (FLETCHER), REDETHIA ANTOINETTE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RICE CHRIST INC PETROLEUM                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1504 109TH ST.
GRAND PRAIRIE, TX 75050


RICE OIL CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
708 W CENTRAL AVE
LA FOLLETTE, TN 37766


RICE PETROLEUM INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13774 REIMER DRIVE N
OSSEO, MN 55311


RICE, ARTHUR L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICE, CHARLES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RICE, CHARLES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RICE, CHARLES LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICE, CLAUDE R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RICE, CLEOPHUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICE, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


RICE, GILBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICE, JAMES W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RICE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICE, LAWRENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICE, LEOTA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF OSELE RICE
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


RICE, MARY A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICE, MAYNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


RICE, MICHAEL T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RICE, PATRICK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RICE, ROBERT, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


RICE, RONALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RICE, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICELAND FOODS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 927
STUTTGART, AR 72160


RICH, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                           Nature

RICH, BERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RICH, JAMES HOUSTON, SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


RICH, KENNETH G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RICH, PATRICIA A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICH, SHIRLEY A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICH, TY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARD AUTOMATION INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 PEARL ST
BEAUMONT, TX 77701


RICHARD AUTOMATION INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 PEARL STREET
BEAUMONT, TX 77701


RICHARD PARKER FAMILY TRUST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARD, DANIEL JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARD, LYNN C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

RICHARD, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARD, TERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS GROUP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8750 N CENTRAL EXPY
DALLAS, TX 75231-6436


RICHARDS INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3170 WASSON ROAD
CINCINNATI, OH 45209


RICHARDS, DOROTHY J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RICHARDS, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDS, HARRY, III                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RICHARDS, JACKSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RICHARDS, JOHN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                          Nature

RICHARDS, L C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, LAWRENCE C                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, LOUIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDS, MARK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDS, MICHAEL S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, ROBERT W.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDS, ROLAND B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RICHARDS, ROMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, RONALD L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDS, RUFUS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RICHARDS-GEBAUR AFB                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FEDERAL CENTER
74 NORTH WASHINGTON
BATTLECREEK, MI 49017-3092


RICHARDSON ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 S. GREENVILLE AVE.
RICHARDSON, TX 75081


RICHARDSON PAINT COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4821 GARDEN ST
PHILADELPHIA, PA 19137


RICHARDSON, ALFRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


RICHARDSON, BRENDA GAYLE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, CHARLES F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, CHARLES L, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, CHARLES, SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 W. ARAPAHO RD.
RICHARDSON, TX 75080-4551


RICHARDSON, DARLENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RICHARDSON, DELORIS J                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, DONALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDSON, ELIZABETH EARLINE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, ELIZABETH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, GEORGE W                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RICHARDSON, GUY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RICHARDSON, HARRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDSON, JAMIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, JENNIFER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, JIMMY GAIL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, JORDAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, KENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICHARDSON, KEVEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, KURT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICHARDSON, LARRY W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RICHARDSON, LURETTA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, ORMAN L. (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


RICHARDSON, OTIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICHARDSON, PHILLIP B                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, ROSALAND MARIE (JAMES)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, ROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, SANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, SHELTON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, THOMAS H.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

RICHARDSON, THOMAS J                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, THOMAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHARDSON, VERNELL ISAAC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, VICTORIA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, WILLIAM JIMMY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHARDSON, WILLIAM                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHBURG, ROBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHE, HAPPY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHEL, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHEY, CHERI                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHEY, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHIE, PETER C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICHIE, REX A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHIE, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RICHLEY, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHLEY, WILLIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHMAN, MURLEN, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHMAN, VICKI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHMOND, FRANCIS J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICHMOND, JIMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHMOND, RHONDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHMOND, THOMAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICHO, ELLIOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHTER, AMANDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHTER, CHARLES G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


RICHTER, CHARLES, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RICHTER, ERNEST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHTER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICHTER, KATHRYN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHTER, LEROY H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICHTEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1923 COUNTY ROAD 678
DAYTON, TX 77535


RICKER, CARROLL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                         Nature

RICKER, JOHN                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICKER, PAULINE I                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICKERT, ROBERT R                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RICKEY BRADLEY FEED & FERTILIZER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1024 CR4825
MOUNT PLEASANT, TX 75455


RICKEY, CHARLES D.                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RICKMAN, DAVID E                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RICKS, JESSE                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RICKY BLACKWELL (RICKY ROY'S, INC.)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: EVONNE BLACKWELL
100 S 15TH ST
CORSICANA, TX 75110


RICKY MARCEL JEFFREY, AS SURVIVING HEIR OF JOEL JEFFREY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RANDY L GORI
GORI JULIAN & ASSOCIATES
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


RICOCHET FUEL DISTRIBUTORS INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 ROYAL PKWY
EULESS, TX 76040




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RICOCHET FUEL DISTRIBUTORS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 ROYAL PKWY
EULESS, TX 76040-6717


RIDDICK, ANNITA M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIDDLE, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIDDLE, MARK ALAN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES W RIDDLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIDDLEBERGER-PATRAS, DIANNE, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELBERT W RIDDLEBERGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIDDLES, BURL (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIDENHOUR, FRANKIE G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIDER, BEVERLY A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID E MEADOWS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIDGE POINT APARTMENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6633 PORTWEST DRIVE SUITE 120
HOUSTON, TX 77024


RIDGEWAY, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RIDGEWAYS,INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RIDGEWAYS,INC. OF TEXAS
1221 MCKINNEY, SUITE 3300
HOUSTON, TX 77010


RIDGWAY'S LTD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1981 N. BROADWAY, SUITE 385
WALNUT CREEK, CA 94596


RIDION, FRANK M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RIDNER, VINCENT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


RIDOLFI, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIDOLFI, MICHAEL E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIEBEL, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


RIECKE, ARTHUR, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIEDY, JAMES D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

RIEDY, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIEGGER, DENNIS L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIEGGER, JOHN S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIEGLER, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RIEMER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIENDEAU, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIESEL ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 E FREDERICK ST
RIESEL, TX 76682


RIESS, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RIEXINGER, RYAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIFE, MICHAEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIFKIN, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

RIGBY, JOHNNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIGGINS, NANCY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIGGIO, ERNEST A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIGGIO, FRANK, JR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK RIGGIO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIGGS, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIGGS, RAY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIGGS, ROGER P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RIGHTNOWAR, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIGHTSELL, JOYCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIGSBY, RAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RIGSBY, SONJA HANKS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIIKE, GARY, SR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIKARD, MURRAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RILEY IV, MELVIN A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY POWER CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
WORCESTER, MA 01610


RILEY POWER CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
300 S SPRING STREET, SUITE 900
LITTLE ROCK, AR 72201


RILEY POWER CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
300 LIGHTING WAY
PO BOX 1560
SECAUCUS, NJ 07096


RILEY POWER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
WORCESTER, MA 01610


RILEY POWER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


RILEY POWER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MICHAEL PATRICK MCGINLEY
714 LOCUST
ST LOUIS, MO 63101


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
HOUSTON, TX 77002


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
WORCESTER, MA 01610


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


RILEY POWER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                      Retained Causes of Action

                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARC J BITNER
DEUTSCH, KERRIGAN & STILES
755 MAGAZINE STREET
NEW ORLEANS, LA 70130


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


RILEY POWER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
F/K/A RILEY STOKER CORP.
300 LIGHTING WAY, PO BOX 1560
SECAUCUS, NJ 07096


RILEY STOKER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


RILEY STOKER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


RILEY STOKER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


RILEY STOKER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
WORCESTER, MA 01610


RILEY STOKER CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D ELLISTON, JULLIAN J VAN RENSBURG,
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF PAUL E. HAMILTON, PLLC
HAMILTON, PAUL EDWARD
7557 RAMBLER RD, STE. 700
DALLAS, TX 75231


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO. 9 NEPONSET ST
WORCESTER, MA 01606


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


RILEY STOKER CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
N/K/A RILEY POWER INC.
300 LIGHTING WAY, PO BOX 1560
SECAUCUS, NJ 07096




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

RILEY POWER INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEOPNSET ST.
WORCESTER, MA 01610


RILEY, CLITIS A AND TERESA                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, HORACE E, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, HORACE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, JACK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RILEY, JACKIE ODELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, JAMES H. DECEASED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


RILEY, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RILEY, MARTIN J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, MARTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RILEY, MICHAEL ANTHONY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RILEY, MICHAEL ANTHONY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, MICHAEL J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


RILEY, MICHAEL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RILEY, PATRICK JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, PHILIP NEIL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RILEY, SHANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, STEPHEN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RILEY, WALTER WEST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RILEY, WILLIAM PAUL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RILEY, WILSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RILY POWER INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 NEPONSET ST
WORCESTER, MA 01606


RIMPULL CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 748
OLATHE, KS 66051-0748


RIMPULL CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 872150
KANSAS CITY, MO 64187-2150


RINALDI, JANET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RINCHEM RESOURCE RECOVERY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RINCHEM CO., INC.
6133 EDITH BLVD. NE
ALBUQUERQUE, NM 87107


RINCON, RODOLFO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RINCONES, MANUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RINDINI, DIANE M. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


RINE, ERNEST                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RINEER, RICHARD MARTIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RING, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RING, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RING, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RINGEISEN, CARL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RINGENBACH, KEVIN SHAWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RINGGOLD, LARY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RINGLER, DIANA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARLEY L BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RINK, EDWARD J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RINK, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RINKLE, DONNIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RINKO, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIO BONITO HOLDINGS LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMERICAN CAPITAL STRATEGIES LTD
TWO BETHESDA METRO CTR 14 FL
BETHESDA, MD 20814


RIO GRANDE VALLEY SUGAR GROWER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W HWY 107
SANTA ROSA, TX 78593


RIO TINTO GROUP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 EASTBOURNE TERRACE
LONDON, W2 6LG
UNITED KINGDOM

RIORDAN, JOHN F--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


RIORDAN, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIOS, JOSE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIOS, RAFAEL R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIOS, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RIPLEY, JAMES M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIPPER, RICKY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIPPETOE, MARY ELLEN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANIEL J RIPPETOE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RISER, LYNN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RISERVATO, VITO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RISH, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RISHER, TRAVICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RISING STAR ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
905 N MAIN ST
RISING STAR, TX 76471


RISING, FURNEY F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RISING, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RISNER, BILLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


RISTAINO, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RISTE, JERRY S                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RITCHEY, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RITCHEY, LORELEI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITCHIE, DONALD GLENN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


RITCHIE, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RITE ENGINEERING COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8719 INDUSTRIAL DR
FRANKSVILLE, WI 53126


RITENOUR, GARY M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RITES, CHARLES J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RITTENBERRY, PAMELA ANN RILEY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RITTENHOUSE, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RITTER, BETTY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H RITTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RITTER, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITTER, COY AND CAROL RITTER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITTER, DALE T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RITTER, FRANCES R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM J RITTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RITTER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RITTER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RITTER, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITTER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITTER, SHARON ANN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH SLIWA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RITTER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITTERSHAUS, WILLIAM E                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITZ, HERBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


RITZ, MARY M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITZEL, RODNEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RITZENHEIN, JAMES F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RITZMAN, THOMAS, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES A RITZMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIVAS, MARIA DE LOS ANGELES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RIVAS, MARIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIVER CITY VALVE SERVICE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10020 MAMMOTH AVENUE
BATON ROUGE, LA 70814


RIVER CITY VALVE SERVICE, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GEORGE LEBLANC, PRESIDENT
134 DELGADO DRIVE
BATON ROUGE, LA 70808


RIVER CITY VALVE SERVICES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10020 MAMMOTH AVENUE
BATON ROUGE, LA 70814


RIVER TECHNOLOGIES LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 822
FOREST, VA 24551


RIVERA, ABRAHAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RIVERA, CARLOS I. MORALES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERA, ELI AND LINDA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERA, JEANNE, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH HOYT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIVERA, JOSE AMANDO, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERA, JOSE J, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERA, LUIS A. FERNANDEZ                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

RIVERA, RAFAEL ROMAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERCREST ISD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 US HIGHWAY 271 SOUTH
BOGATA, TX 75417


RIVERO, JOSE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIVERS, ANTOINETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIVERS, EDWARD L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RIVERS, RAYMOND R.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERS, RICKEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVERS, TONY JEROME                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


RIVERSIDE CHEMICAL COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
871-947 RIVER ROAD
NORTH TONAWANDA, NY 14120


RIVES, J D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVES, J D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RIVES, JOHNNY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RIVIERA FINANCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 202485
DALLAS, TX 75320-2485


RIVORD, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RIX, DELORES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF HOWARD RIX
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


RIX, RICHARD A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIZZI, NICHOLAS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RIZZO, MICHAEL J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RIZZUTO, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RJM ACQUISITIONS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
575 UNDERHILL BLVD STE 224
SYOSSET, NY 11791




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RJR NABISCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 GALLERIA PKWY SE
ATLANTA, GA 30339


RMB CONSULTING & RESEARCH INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5104 BUR OAK CIR
RALEIGH, NC 27612


RME PETROLEUM COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17001 NORTHCHASE DRIVE
HOUSTON, TX 77060-2141


RMKN                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KAVEEN R. PATEL, RAMESH K. PATEL
6005 SILVERLEAF LN
GARLAND, TX 75043


ROACH, CLINTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROACH, DAVID RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROACH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROACH, MARY E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J WOOMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROACH, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROACH, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROANHORSE, HERMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ROANHORSE, SHARON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


ROARICASTE, TERESA .                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FAMILY MEMBER OF CLAIMANT
NO ADDRESS PROVIDED


ROARK, JAMES LONNIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROARK, JESSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROARTY, DANIEL, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROBB, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBIE LEE ESTERS ESTATE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBBINS, ANTHONY W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ROBBINS, BARRY E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBBINS, BENNETT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBBINS, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBINS, BILLY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBBINS, CRAIG B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBBINS, EUGENE LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ROBBINS, FERRELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBINS, GILES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBINS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

ROBBINS, JUDITH ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBBINS, PAMELA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WARD W ROBBINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBBINS, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBINS, RUSELL E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROBBINS, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBBINS, WILLIAM H.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBBLEE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBE, ROLF                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBECK, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ROBERGE, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERSON, CALVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


ROBERSON, CLYNTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERSON, GABRIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERSON, JOHN, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


ROBERSON, MICHAEL JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


ROBERSON, MILLARD DAVID AND JUDITH ROBERSON                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERSON, THEMOTRIC E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                           Nature

ROBERT & LUCILLE HAMMONDS                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1403 N BRYAN AVE
MOUNT PLEASANT, TX 75455-2841


ROBERT A KEASBEY CO                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
71 WEST 23RD STREET
NEW YORK, NY 10010


ROBERT A KEASBEY CO                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WEINER LESNIAK, LLP
888 VETERAN'S MEMORIAL HIGHWAY
SUITE 540
HAUPPAUGE, NY 11788


ROBERT DAN ADAMS, JR., INDIVIDUALLY AND AS SURVIVING HEIR OF THE ESTATE OF RUBY NELL ADAMS, DECEASED                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT DAN ADAMS, SR., INDIVIDUALLY AND AS SURVIVING HEIR OF THE ESTATE OF RUBY NELL ADAMS, DECEASED                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT J JENKINS & COMPANY                                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
906 MEDICAL CENTER BLVD
WEBSTER, TX 77598


ROBERT L. ADAMS/DUNN, KACAL, ADAMS                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT L. FIQUE, JR.                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT LIDSTON, ESQUIRE, PR OF THE                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE SCHWARTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBERT SHAW CONTROLS COMPANY                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1602 MUSTANG DRIVE
MARYVILLE, TN 37801


ROBERT T. SAVAGE, JR.                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBERT, CORTNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT, DIANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT, IAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERT, NEIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS AIR CONDITIONING                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2650 W FERGUSON RD
MOUNT PLEASANT, TX 75455


ROBERT'S COFFEE & VENDING SERVICES, LLC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
343 JOHNNY CLARK RD.
LONGVIEW, TX 75603


ROBERT'S COFFEE & VENDING SVC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
343 JOHNNY CLARK RD
LONGVIEW, TX 75603


ROBERTS HOTELS HOUSTON, LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVEN ROBERTS
1408 KINGS HIGHWAY BLVD, STE 300
SAINT LOUIS, MO 63113


ROBERTS, BARRY EUGENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, BERTRAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, BOBBY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, BOBBY JACK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBERTS, BONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, BRUCE C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, BRUCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, BRYAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, CHARLES A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBERTS, CLIFFORD L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


ROBERTS, DALE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, DONALD D--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROBERTS, DONALD H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, DONALD RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBERTS, EDITH G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBERTS, EVELYN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, JAMES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBERTS, JEROME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, JOHN T. & APRIL AGERS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, JOHNNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, JOLYNN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, JOSEPH A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ALLAN M. CANE, ESQ.
325 REEF ROAD, SUITE 212
FAIRFIELD, CT 06824


ROBERTS, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ROBERTS, KENNETH K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROBERTS, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTS, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, LINDA LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


ROBERTS, LOIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ROBERTS, LORETTA GAIL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, NATHAN JOHN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, PERRY G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, QUENTIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, RICHARD LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, RITA JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBERTS, ROSA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBERTS, STEVEN DOUGLAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBERTS, STEWART S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, TODD RAYMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTS, WESLEY S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON CECO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10943 NORTH SAM HOUSTON PARKWAY WEST
HOUSTON, TX 77064-5758


ROBERTSON CECO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
151 JUDGE DON LEWIS BLVD
ELIZABETHTON, TN 37643


ROBERTSON CECO CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


ROBERTSON CO. RFD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 220
TAX COLLECTOR
FRANKLIN, TX 77856


ROBERTSON COUNTY WATER SUPPLY CORP                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SHEA WATKINS
PO BOX 876
FRANKLIN, TX 77856




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ROBERTSON COUNTY WATER SUPPLY CORP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SHEA WATKINS
PO BOX 877
FRANKLIN, TX 77856


ROBERTSON COUNTY WATER SUPPLY CORP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SHEA WATKINS
PO BOX 880
FRANKLIN, TX 77856


ROBERTSON COUNTY WATER SUPPLY CORP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 875
FRANKLIN, TX 77856


ROBERTSON COUNTY WATER                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SHEA WATKINS
SUPPLY CORP, PO BOX 875
FRANKLIN, TX 77856


ROBERTSON COUNTY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF WENDI HAMMOND
WENDI HAMMOND
7325 AUGUSTA CIRCLE
PLANO, TX 75025


ROBERTSON COUNTY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1029
FRANKLIN, TX 77856


ROBERTSON, BERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTSON, BOB                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROBERTSON, CAROLYN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, CLAUDE V                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                         Nature

ROBERTSON, DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBERTSON, DORIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


ROBERTSON, HERBERT A, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROBERTSON, JIMMIE D                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, JOE M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, JUDITH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, KENNETH R                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, LARRY AUBREY (DECEASED)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ROBERTSON, LINDA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, MARTIN DOYLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBERTSON, MARTIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ROBERTSON, RANDY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, RICHARD NEIL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, RONNIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, WILLIAM JOE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON, WILLIAM KEITH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBERTSON-CECO CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2626 WARRENVILLE RD., STE. 400
DOWNERS GROVE, IL 60515


ROBICHAUD, JULIE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD ROBICHAUD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBIE, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINETTE, ROBERT R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON DEBORAH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2901 HOUSTON BRANCH RD
CHARLOTTE, NC 28270


ROBINSON NUGENT INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3M CENTER; 220-9E-02
ST. PAUL, MN 55144




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBINSON, ALANA JALAYNEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, BARBARA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH ROBINSON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, CARL ELLIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBINSON, CARL L, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBINSON, CEDRIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, CHARLES JUNIOR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBINSON, CHARLES M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JETHRO JENKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, CLIFFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, CONNIE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMPSON JONES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBINSON, DAVID ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBINSON, DAVID HAROLD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBINSON, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, DEAN RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, DEWEY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, DIANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, DONALD H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, DORIS M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, DORIS Z                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, DOROTHY M, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C ROBINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ROBINSON, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, JAMES A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOHN DANIEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOHN H.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOHN H.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


ROBINSON, JOHNNY LEWIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOSEPH DENVER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOSEPH M.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JOSIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, JR., ROBERT O.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, LISA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, MARY P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBINSON, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, NOLAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, PAULA HOUSTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, RICHARD DEWAIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, RICHARD ERNEST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROBINSON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, ROBERT, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, ROBIN J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN SIMMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, RUSELL JAMES EUGENE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROBINSON, RUSS, III, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAURA MAGAHA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, SANFORD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, SHAWN T, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL W ROBINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROBINSON, SR., ROBERT O.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, TERESA ANN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, THOMAS JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROBINSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBINSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROBINSON, WINSTON CHURCHILL                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROBISON, CHRISTINA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ROBISON, ROY VINCENT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROBLES, ARTURO M., SR. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ROBLES, DELFINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


ROBLES, JUVENAL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBLES, MANUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROBSON, CATHERINE A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROC TX PRESIDENTS CORNER LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA PRESIDENTS CORNER APARTMENTS
2201 PRESIDENTS CORNER DRIVE
ARLINGTON, TX 76011


ROCCANOVA, LEO J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROCCANOVA, LEO J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCCHIO, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROCHA, JAIME                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCHA, JOE A., JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ROCHA, RODOLFO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCHE, ALPHONSUS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROCHE, JOHN F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROCHE, RAYMOND P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCHE, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROCHE, WILLIAM T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROCHELLE, MELANIE D.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCHELLE, ROBERT K                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROCHFORD, LAWRENCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCK HILL WATER SUPPLY CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 673
BECKVILLE, TX 75631




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROCK, JETER WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROCK, LINDA L MONTAIGNE, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORVILLE R GRIFFIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROCK, LINDA LEE MONTAIGNE, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOU ELLEN H GRIFFIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROCK, SUSIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCK, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKAFELLOW, ROY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROCKBESTOS CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 BRADLEY PARK ROAD
EAST GRANBY, CT 06026


ROCKBESTOS CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JOSEPH ANTHONY GARNETT
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


ROCKBESTOS SURPRENANT CABLE CORP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 98729
CHICAGO, IL 60693


ROCKBESTOS WIRE & CABLE CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 BRADLEY PARK ROAD
EAST GRANBY, CT 06026




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ROCKDALE BUILDING MATERIAL CENTER                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
108 S MAIN
PO BOX 388
ROCKDALE, TX 76567


ROCKDALE BUILDING MATERIALS CTR                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 388
ROCKDALE, TX 76567


ROCKDALE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 632
520 WEST DAVILLA
ROCKDALE, TX 76567


ROCKDALE SIGNS & PHOTOGRAPHY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
139 W CAMERON AVE
ROCKDALE, TX 76567


ROCKENSTEIN, CASEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKENSTEIN, CRAIG                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKENSTEIN, HANNAH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKENSTEIN, KELLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKENSTEIN, MARYBETH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKETT, FOYE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROCKEY, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCKEY, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

ROCKFISH                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
62491 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0624


ROCKFORD PRODUCTS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
707 HARRISON AVE
ROCKFORD, IL 61104


ROCKFORD, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ROCKIN'M PRODUCTS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
616 HEATH ST
NORMANGEE, TX 77871


ROCKSTROH, JAMES G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROCK-TENN COMPANY OF TEXAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
504 THRASHER STREET
NORCROSS, GA 30071


ROCK-TENN COMPANY OF TEXAS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


ROCKTENN CP LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
504 THRASHER STREET
NORCROSS, GA 30071


ROCKWALL COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 E. YELLOWJACKET LANE
SUITE 100
ROCKWALL, TX 75087


ROCKWALL ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1050 WILLIAMS ST.
ROCKWALL, TX 75087




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ROCKWALL, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
385 S GOLIAD
ROCKWALL, TX 75087


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 2 SND ST.
MILWAUKEE, WI 53204


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


ROCKWELL AUTOMATION INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ROCKWELL AUTOMATION INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
1300 MOUNT KEMBLE AVENUE
PO BOX 2075
MORRISTOWN, NJ 07962-2075


ROCKWELL COLLINS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 COLLINS NE
CEDAR RAPIDS, IA 52498


ROCKWELL INTERNATIONAL CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALCATEL NETWORK SYSTEMS,INC.,SUCCIN-INT. TO
INT.TO ROCKWELL,SUCC-IN-INT TO COLLIN
RICHARDSON, TX 75081


ROCKWELL INTERNATIONAL CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10462
DALLAS, TX 75207


ROCKWELL INTERNATIONAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 2 SND ST.
MILWAUKEE, WI 53204


ROCKWELL AUTOMATION INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 2 SND ST.
MILWAUKEE, WI 53204


ROCKWELL, KENNETH C., JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROCKWELL, WILLIAM F                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROCKWOOL MANUFACTURING CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9990 I-10 E, SUITE E
HOUSTON, TX 77029


ROCOVICH, DONALD AND PATRICIA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE EARLY LAW FIRM
ATTN: ETHAN EARLY
360 LEXINGTON AVE., 20TH FLOOR
NEW YORK, NY 10017




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROCQUE, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RODARMEL, COY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODARTE, RUBEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RODBOURN, SUSAN M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES LOCKMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RODEEN, ROBERT DENNIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODEEN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODENBECK, HERBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODERICK, CHARLOTTE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODEY, LEROY J, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RODGERS, BELINDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


RODGERS, BOBBY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RODGERS, JAMES R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODGERS, JAMES RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODGERS, JOHN W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


RODGERS, LINDSEY A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODGERS, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODGERS, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODRIGUES, ANTONE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODRIGUES, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RODRIGUES, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODRIGUEZ SAAVEDRA, MANUEL EDUARDO                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, ALFRED C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RODRIGUEZ, ALICIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, CARLOS A. VELAZQUEZ                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, CARLOS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RODRIGUEZ, CRESENCIO E.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


RODRIGUEZ, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, ESPIRIDION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RODRIGUEZ, FAUSTINO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RODRIGUEZ, JESSE N                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, JOHN M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RODRIGUEZ, JOSE A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RODRIGUEZ, JOSE M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RODRIGUEZ, JUAN M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RODRIGUEZ, JUAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, JULIO M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, LUIS F. CAJIGAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, OSCAR ANTONIO MORALES                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, OSCAR ENRIQUE CAMPILLAY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RODRIGUEZ, RAFAEL O. ORTIZ                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, RAFAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RODRIGUEZ, RAMON L. FIGUEROA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, RAMON LUIS BERRIOS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RODRIGUEZ, RAMON NAUARRO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RODRIGUEZ, SANTOS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RODRIGUEZ, TEOFILO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RODRIGUEZ, URBANO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RODRIGUEZ, YSHMAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


RODRIQUEZ, HERNANDEZ MICUEL A                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROE, CHARLES RALPH (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROE, GEORGE S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROE, KEITH EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
67 MARVIL LEE DR
BOERNE, TX 78006


ROE, KEITH EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROEBER, LORRAINE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROEHR, GARY MARVIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROENBECK, ANGELA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROENBECK, LESLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROEPKE, CHARLES RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROEPKE, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


ROEPKE, CHARLOTTE ANN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROESLER, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROFAEL, AMEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGADOR, ANTONIO S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGALSKY, HORST D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ROGERS CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


ROGERS CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE TECHNOLOGY DRIVE
PO BOX 188
ROGERS, CT 06263-0188


ROGERS CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE TECHNOLOGY DRIVE
ROGERS, CT 06263


ROGERS EQUIPMENT CO INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18151 ARKANSAS 109
SCRANTON, AR 72863


ROGERS GALVANIZING CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NORTH AMERICAN GALVANIZING
735 FIRST NATIONAL BANK BUILDING
OKLAHOMA CITY, OK 73142


ROGERS, ALEX J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGERS, ANNELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROGERS, BOBBY WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, C B, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROGERS, CHERYL ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, DOROTHEA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KEVIN ROGERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROGERS, DOROTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, ERNEST, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROGERS, EVA E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROGERS, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGERS, HAROLD JAMES (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


ROGERS, IVAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGERS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, JAMYE DALE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGERS, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, KENNETH DEWAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12560 STINSON RD
DIANA, TX 75640-2603


ROGERS, LARRY E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGERS, LYMAN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ROGERS, MARJORIE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ROGERS, MARTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, MICHELLE A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, PATRICIA DARLENE HARRELL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, REGINA GAIL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROGERS, RUBY JANELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, RYAN S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, SAMUEL GEORGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, STEVEN T.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROGERS, W.H., SR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ROGERS, WAYNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROGERS, WILLIAM JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROGLER, KEVIN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROGLER, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROGOVIN, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROGOWSKI, CHESTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROHAN, CARL M, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROHLACK, JANELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROHLETTER, BOBBY J. AND MILLIE ROHLETTER                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROHLETTER, BOBBY J. AND MILLIE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN; RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                         Nature

ROHLETTER, BOBBY J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROHLETTER, CHRISTOPHER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROHM & HAAS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ROHM & HAAS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 INDEPENDENCE MALL WEST
HOUSTON, TX 77002


ROHM & HAAS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 INDEPENDENCE MALL WEST
PHILADELPHIA, PA 19106


ROHM & HAAS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS AND REESE LLP
LESLIE M HENRY
ONE SHELL SQUARE
NEW ORLEANS, LA 70139


ROHM & HAAS COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JJEFFREY WYANT,CHF REGULATORY CNSEL
100 INDEPENDENCE MALL WEST
PHILADELPHIA, PA 19061


ROHM AND HAAS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 INDEPENDENCE MALL WEST
PHILADELPHIA, PA 19106


ROHOSKY, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROHRER, BARRY L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROHRIG, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROHRMANN, ROBIN KENNY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROHWEDDER, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


ROJAS GONZALEZ, SADY ESTEBAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROJAS, CARLOS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROJAS, LORETO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROJAS, OSVALDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROJAS, PAMELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROKSIEWICZ, RICHARD T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROLAND, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROLDAN, JAIME                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                              Nature

ROLES, NATHAN, SR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROLLED ALLOYS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 33901
PO BOX 67000
DETROIT, MI 48267-0339


ROLLER, IRA ROSS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROLLER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROLLINS LEASING                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J. CARLISLE PEET,III,VP & GENL.COUNSEL
2200 CONCORD PIKE
WILMINGTON, DE 19899


ROLLINS, ALZENA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROLLINS, ALZINA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROLLINS, FELICIA E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROLLINS, JERRY W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ROLLINS, REGINA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROLLISON, CAROL ANN, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DELBERT L ROLLISON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROLLO, NICHOLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROLLS ROYCE CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
65 BUCKINGHAM GATE
LONDON, SW1E 6AT
UNITED KINGDOM

ROLLS ROYCE NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1875 EXPLORER ST
SUITE 200
RESTON, VA 20190


ROLLS ROYCE NORTH AMERICA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN & WAITE
ANN H MACDONALD
6600 SEARS TOWER
CHICAGO, IL 60606


ROLOFF, GENEVIEVE A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT H ROLOFF SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROLPH, DARWYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMAGNOLI, DEAN F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROMAN, CARLOS RAMIREZ, SR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ROMAN, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROMAN, WILLIAM DOUGLAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMANACCI, CLAUDIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMANCE, ELEANOR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMANCE, ROBERT J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMANCE, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMANISKO, CHARLES T                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROMANISKO, DAVID G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROMANO, AMERICO V, SR--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROMANO, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

ROMANO, DENNIS A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROMANO, TED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMAR & ASSOCIATES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 96142
HOUSTON, TX 77213


ROMAR SUPPLY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 CARL RD
IRVING, TX 75062


ROMBERG, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMCO EQUIPMENT CO. LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GARDERE WYNNE SEWELL, LLP
ATTN: JOHN P. MELKO
1000 LOUISIANA, STE 3400
HOUSTON, TX 77002-5007


ROMCO EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1150 W OLD SETTLERS BLVD
ROUND ROCK, TX 78681


ROMCO EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2116 E LOOP 281
LONGVIEW, TX 75605-8400


ROMCO EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 220
HIGHWAY I-45 & FM 164
BUFFALO, TX 75831




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Name of Counterparty                                                                                            Nature

ROMCO EQUIPMENT COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 220
HIGHWAY I-45 & FM 164
BUFFALO, TX 75831


ROMCO EQUIPMENT COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841496
DALLAS, TX 75284-1496


ROMCO EQUIPMENT COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO DRAWER 2566
LONGVIEW, TX 75606


ROME, DAVID A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROME, ROLAND, A., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMELHARDT, DONALD M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROMENS, CARROLL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMEO, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROMER, ROBERT C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROMERO, GREIG                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROMERO, JESUS E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMERO, MICHAEL G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMERO, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMERO, ROGELIO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMERO'S CONCRETE CONSTRUCTION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12566 COLEMAN ST
TYLER, TX 75704


ROMESBURG, MICHAEL R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROMIC ENVIRONMENTAL TECHNOLOGIES CORP.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2081 BAY ROAD
EAST PALO ALTO, CA 94303-1316


ROMIC ENVIRONMENTAL TECHNQLOGIES CORP.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2081 BAY ROAD
EAST PALO ALTO, CA 94303-1316


ROMINO, JULIA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMITI, MARGENE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE F CHMURA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROMM, JOHN J, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM KIMBALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ROMO, ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROMO, VALERIANO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROMO, VALERIANO, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RON GILBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8027 BEECH PARK LN
HOUSTON, TX 77083


RON, KLIM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RONALTER, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RONGO, JOSEPH A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RONIK, LEONARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROOF, DONALD F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROOFNER, DUANE G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROOKS, CHARLES WAYNE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

ROOKS, RONALD FLOYD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROOME, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROONEY, JOHN A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROONEY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROONEY, VERNON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROOP, MORAN C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROOT, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROOT, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROPER PUMP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3475 OLD MAYSVILLE RD
COMMERCE, GA 30529




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROPER PUMP COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
40 TECHNOLOGY PARKWAY 300
NORCROSS, GA 30092


ROPER, BARBARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROPER, HAL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROPER, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROPER, LEVI                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROPER, UDAS PHILLIP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROPES & GRAY LLP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL FOR CSC TRUST CO. OF DELAWARE)
ATTN: D. ROSS MARTIN, ANDREW G. DEVORE
PRUDENTIAL TOWER, 800 BOYLSTON STREET
BOSTON, MA 02199-3600


ROPES & GRAY LLP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL FOR CSC TRUST CO. OF DELAWARE)
ATTN: KEITH WOFFORD & MARK R SOMERSTEIN
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8704


ROROS, GEORGIOS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSA, DIONISIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ROSA, ROBERT E--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROSA, SALVATORE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSADINI, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSADO, HECTOR M. CUBERO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSARIO, ALBA N. MATOS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSARIO, RICARDO VEINTIDOS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSARIO, TANDEE L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSATA, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSATI, PETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSATI, VINCENT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROSE MORGAN E LANDMANN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11929 RANCHITO ST
EL MONTE, CA 91732-1619


ROSE, ALTON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSE, BEVERLEY A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM W ROSE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSE, DONALD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSE, FRANK, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSE, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, JAMES H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSE, JDRF GLEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROSE, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, LOUIS A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSE, PERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSE, SARAH                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSE, WILLIE D, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSEMOUNT ANALYTICAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6565P DAVIS INDUSTRIAL PKWY
SOLON, OH 44139


ROSEMOUNT ANALYTICAL/UNILOC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 BARRANCA PARKWAY
IRVINE, CA 92606




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Name of Counterparty                                                                                            Nature

ROSEMOUNT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8200 MARKET BLVD
MAIL STATION PJ16
CHANHASSEN, MN 55317-9687


ROSEN, STEPHEN A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROSENBERG, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSENBERG, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSENBERGER, GORDON C. DECEASED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


ROSENBERGER, LOUIS A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSENBERGER, RALPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSENBERGER, RANDY L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSENBERGER, RANDY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSENBERGER, VERNICE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ROSENSON, NEIL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSENTHAL ENERGY ADVISORS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1412 MAIN STREET STE 2100
DALLAS, TX 75202


ROSENTHAL, JOEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSENWASSER, JAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSETTI, JOHN M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROSEWELL, REMONIA ELOIS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSHOE, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSINI, ANTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROSKOSH, RONALD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

ROSOLOSKI, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROSS, ALLEN D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSS, ANN ROBIN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT H REAL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSS, ANNE W.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, BARBARA BRADY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, BOEHLER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, CASEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, CHRIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, ERIC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, FRED                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSS, GEORGE W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROSS, JOE MCBREARTY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROSS, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSS, KEVIN A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, KEVIN A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROSS, LARRY JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROSS, MARK S, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E ROSS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSS, NOVELLA SIRLS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, PAULETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROSS, RAY C                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROSS, RAYMOND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSS, ROBERT D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, ROOSEVELT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, ROSSEVELT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSS, SAMUEL LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, SHEERY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROSS, SYLVESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSS, VERA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ROSS, WILLIAM L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSSBERG, EDWARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROSSI, FELIX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSSI, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROSSI,, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSSMAN, SOLOMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROSSMARK, DOROTHY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROSSON, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ROSTANKOYSKI, JOY AND KIM PICHLER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROSTONE CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCELROY DEUTSCH MULVANEY & CARPENTER LLP
ROCKWELL AUTOMATION, INC., AS SUCCESSOR
WALL ST PLAZA, 24TH FL, 88 PINE ST
NEW YORK, NY 10005


ROTATABLE TECHNOLOGIES LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AUSTIN HANSLEY LAW FIRM
AUSTIN LEE HANSLEY
5050 QUORUM DRIVE STE 700
DALLAS, TX 75254


ROTA-TECH, INCORPORATED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
106 EAST BOYD STREET
MAIDEN, NC 28650


ROTH, ARTHUR FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTH, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROTH, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTH, LEON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTH, MICHAEL C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROTHANS, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTHE DEVELOPMENT INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4614 SINCLAIR RD
SAN ANTONIO, TX 78222


ROTHE, RUDOLF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTHENHAUSLER, LYNN M, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN J ROTHENHAUSLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROTHER, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROTHERMEL, LELAND E , JR, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LELAND E ROTHERMEL SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROTHFELDT, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROTHKA, EDWARD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROTHMANN, GEORGE W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

ROTHSTEIN, HAROLD L                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROTOLOK VALVES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2711 GRAY FOX ROAD
MONROE, NC 28110


ROTOLOK VALVES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CINDY OSBORNE
2711 GRAY FOX RD
MONROE, NC 28110


ROTO-ROOTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4035 CREST HILL ROAD
DALLAS, TX 75227


ROTO-ROOTER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2372
GULFPORT, MS 39505


ROUANE, MICHAEL PAUL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUGH, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROUILLARD, KENNETH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROULEAU, FREEMAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROULY, DOUGLAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROUND ROCK ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1311 ROUND ROCK AVE
ROUND ROCK, TX 78681


ROUND ROCK, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 EAST MAIN STREET
ROUND ROCK, TX 78664


ROUND, JEFFERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUND, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUNDHOUSE ELECTRIC &                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EQUIPMENT CO INC
PO BOX 216
ANDREWS, TX 79714


ROUNDHOUSE ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2224 CITIES SERVICE ROAD
PO BOX 1232
ODESSA, TX 79760


ROUNDS, BURDETTE G--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROUP, FRANKLIN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSE, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROUSE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROUSE, WILLIAM F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

ROUSE, WILLIAM FERRIL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSH, JAMES T.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSH, ANNA FAE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY M ROUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROUSH, BEVERLY A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSH, GLENN, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ORVILLE ROUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROUSH, KENNETH M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSH, PAULINE, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PAUL R ROUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROUSH, ROBERT R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSH, VERN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROUSHER, EDWARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROUTHIER, GEORGE AND VERONICA ROUTHIER                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

ROUTHIER, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ROVANCO PIPING SYSTEMS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20535 SE FRONTAGE RD
JOLIET, IL 60431


ROVEGNO, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROVITO, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROWAN, HOWARD R & SANDRA L                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWAN, HOWARD R & SANDRA L                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWANE, MICHAEL PAUL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWBOTHAM, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROWE, ANDREW DELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ROWE, GEORGE M--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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Name of Counterparty                                                                                            Nature

ROWE, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWE, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROWLAND, SCOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWLAND, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROWLANDS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROWLANDS, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROWLES, JAMES P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ROWLETT, DEBORAH A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW MCGRAW JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ROWLETT, MELVIN K, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                          Nature

ROWLEY, MELVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROY O. MARTIN LUMBER COMPANY, L.L.C.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2189 MEMORIAL DR
ALEXANDRIA, LA 71301


ROY, CORRIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ROY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROY, NORMAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROY, ROBERT T, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ROY, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ROYAL PURPLE LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 844322
DALLAS, TX 75284-4322


ROYAL, BOBBY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ROYAL, LESLIE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ROYAL, SUE ANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


ROYALL, DWIGHT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROYALTY INS. CO.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



ROYSTER, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROYSTER, SHENA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ROYSTON, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ROYSTON, RAYZOR VICKERY & WILLIAMS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRADLEY A. JACKSON
1001 MCKINNEY
SUITE 1100
HOUSTON, TX 77002-6418


ROZELL, MIKE, SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


ROZELLE, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

RPM INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2628 PEARL ROAD
PO BOX 777
MEDINA, OH 44258


RPM INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
DAVID REYNARD
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


RPM INTERNATIONAL INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2628 PEARL ROAD
PO BOX 777
MEDINA, OH 44258


RPM SERVICES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 747
IOWA COLONY, TX 77583


RR DONNELLEY RECEIVABLES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730216
DALLAS, TX 75373-0216


RR DONNELLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELD RD
WARRENVILLE, IL 60555


RRGI COLLINS PARK LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA COLLINS PARK APARTMENTS
510 BERING 230B
HOUSTON, TX 77057


R-S MATCO INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 538
OAKBORO, NC 28129


RSA SECURITY, LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 361345
COLUMBUS, OH 43236-1345


RSCC WIRE & CABLE INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 BRADLEY PARK ROAD
EAST GRANBY, CT 06026




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RSCC WIRE & CABLE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARSHALL DENNEHY WARNER COLEMAN & GOGGIN
888 VETERANS MEMORIAL HIGHWAY
HAUPPAUGE, NY 11787


RSCC WIRE & CABLE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROACH BROWN MCCARTHY & GRUBER PC
1620 LIBERTY BUILDING
BUFFALO, NY 14202


RSCC WIRE & CABLE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JOSEPH ANTHONY GARNETT
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


RSCC WIRE & CABLE INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN
& DICKER LLP
150 EAST 42ND STREET
NEW YORK, NY 10017-5639


RSCC WIRE & CABLE LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 BRADLEY PARK ROAD
EAST GRANBY, CT 06026


RSCC WIRE & CABLE LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICE
801 ADLAI STEVENSON DR
SPRINGFIELD, IL 62703


RSI INDUSTRIAL LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 867
TROY, AL 36081


RSI INDUSTRIAL, LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 867
TROY, AL 36081


RSR CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 W. MOCKINGBIRD
DALLAS, TX 75247


RSR CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 STEMMONS FWY, SUITE 1800
DALLAS, TX 75207




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RSR CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 WEST MOCKINGBIRD LANE
DALLAS, TX 75247


RSR HOLDING CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2777 N STEMMONS FWY #2000
DALLAS, TX 75207


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES CORPORATION CO
2338 W ROYAL PALM RD SUITE J
PHOENIX, AR 85021


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 WINFIELD ST
NORWALK, CT 06855


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


RT VANDERBILT COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES CORP COMPANY
2338 W ROYAL PALM ROAD
PHOENIX, AR 85021


RUAN TRUCK LEASE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENNETH L. KESSLER,DIR.,LEGAL SERVICES
PO BOX 855
DES MOINES, IA 50304




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUBECK, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUBEL, BERNARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUBIN, JERALDINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUBINICH, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RUBINO, CAROL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUBINO, LARRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUBINO, MARY C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ADAM J HEINLEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUBINO, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUBIO, JUAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUBIO, P                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUBIO, PUOQUINTO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                 Nature

RUBIO, PUOQUINTO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RUBY LITTRELL AS SPECIAL ADMINISTRATOR FOR CLYDE LITTRELL                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS BROWDER GIANARIS ANGELIDES & BARNERD LLC
ATTN TAYLOR L. KERNS
ONE COURT STREET
ALTAN, IL 62002


RUBY PELHAM ESTATE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BOBBY RAY PELHAM
150 HUMMINGBIRD RD
STONEWALL, LA 71078


RUBY STEWART ESTATE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUBY, JOHN C , III, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C RUBY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUBY, MARY, PR OF THE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HUDSON S MOYER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUCK, ROY RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUCK, ROY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUCKER, JAMES R, JR, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


RUCKER, KIMMY S                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUCO, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25208 LEER DRIVE
ELKHART, IN 46514-5425


RUDAKEWIZ, JAMES M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUSSELL RUDAKEWIZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUDD HEATING COOLING & WATER HEATING                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 ABERNATHY ROAD, SUITE 1400
ATLANTA, GA 30328


RUDD, DENNIS HOWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUDD, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUDD, RICHARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RUDDLESDEN, JOAN A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MORRIS E RUDDLESDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUDIK, DOROTHY F, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WYATT MEDICUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUDOLPH LIBBE COMPANIES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6494 LATCHA ROAD
WALBRIDGE, OH 43465




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUDOLPH, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUDOLPH, RICHARD V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUDY, MARK PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUDY, VANCE D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUEMKE , JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


RUFF, BONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUFF, EDWARD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUFF, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUFFIN, BEALUH MCCAIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUFFINI, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUFFNER, HELEN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS RUFFNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUFUS, ESTELLE CUMMINGS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUG, GERARD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUGAR, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUGGIERI, VINCENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RUGGIERO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RUGGIERO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUGGIERO, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

RUGGIERO, LORENZO, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


RUGGIERO, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUGGLES KLINGEMAN MFG CO INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
78 WATER ST
BEVERLY, MA 01915


RUISI, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUIZ, CARLOS MORALES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUIZ, FRANCISCO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUIZ, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RULE, CHESTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RULLO, GIUSEPPE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RUMLEY, RUSSELL D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

RUMNEY, HARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUNGE, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUNGE, KATHY G, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN BEAUDET
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUNIEWICZ, GERALD S.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUNION, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUNION, STACY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUNIONS, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


RUNK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUNKLE, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUNNELS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RUNNELS COUNTY COURTHOUSE
613 HUTCHINGS AVENUE, ROOM 106, BOX 189
BALLINGER, TX 76821




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUNNELS, JIMMY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUNNERSTROM, WILLARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUNYON, GLADYS, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BERNARD H RUNYON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUPERT, CLEODIS VAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUPP, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUPP, SHIRLEY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUPP, SHIRLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUPP, VERNON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RURAL FIRE DIST. #01                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GILMER FIRE DEPARTMENT
120 HENDERSON ST
GILMER, TX 75644


RURAL RENTAL HOUSING ASSOC. OF TEXAS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
417-C WEST CENTRAL
TEMPLE, TX 76501


RUSAK, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUSCH, ARTHUR A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RUSH, JOE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSH, LINDA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSH, MARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSH, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSH, RONALD, SR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSHING, BREANNA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSHING, BRENDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSHING, ERIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSK CO. ESD #1                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1911
HENDERSON, TX 75653




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RUSK COUNTY ELECTRIC CO-OP INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RICHARD MCLEON
PO BOX 1169
HENDERSON, TX 75653-1169


RUSK COUNTY ELECTRIC CO-OP INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1169
HENDERSON, TX 75653-1169


RUSK COUNTY GWC DIST.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 NORTH HIGH STREET
HENDERSON, TX 75653


RUSK COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 NORTH MAIN, SUITE 206
HENDERSON, TX 75653


RUSK COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
115 NORTH MAIN, SUITE 206
PO BOX 758
HENDERSON, TX 75653-0758


RUSK ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
203 EAST 7TH STREET
RUSK, TX 75785


RUSK SOIL & WATER CONSERVATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DISTRICT #447
507 S MARSHALL
HENDERSON, TX 75654


RUSKA, WARREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSNAK, JAMES R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


RUSNICA, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUSS, ADOLPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSS, JOHN W.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RUSSELL & SONS CONSTRUCTION CO., INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JANA RUSSELL
415 N. CENTER STREET, SUITE 4
LONGVIEW, TX 75601


RUSSELL & SONS CONSTRUCTION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
415 N CENTER ST STE 4
LONGVIEW, TX 75601


RUSSELL, BETTY J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN W RUSSELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSSELL, CECIL LEON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSSELL, CLAYTON V, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSSELL, CLIFFORD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUSSELL, DAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RUSSELL, DAVID, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, DURWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, DUSTEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, EARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, ERNEST, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSSELL, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, GRADY H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


RUSSELL, HENRY LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, JAMES RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RUSSELL, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, LAURAN HALIEGH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, LOUISE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSELL, LUTHER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, MARCY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


RUSSELL, ROBERT B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSSELL, RONALD O--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


RUSSELL, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, ROOSEVELT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSELL, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RUSSO, ANTHONY F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUSSO, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RUSSO, CAROLYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSO, CAROLYN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MEIROWITZ & WASSERBERG, LLP
233 BROADWAY, SUITE 950
NEW YORK, NY 10279


RUSSO, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUSSO, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUSSO, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSSO, SAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

RUSSO, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE PARKWAY
BIRMINGHAM, AL 35242


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


RUST ENGINEERING & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


RUST INDUSTRIAL SERVICES INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE PARKWAY
BIRMINGHAM, AL 35242


RUST INTERNATIONAL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE PARKWAY
BIRMINGHAM, AL 35242




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE PARKWAY
BIRMINGHAM, AL 35242


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRYAN KEITH MAULLER, ESQ
1832 SCHUETZ RD.
ST LOUIS, MO 63146


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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Name of Counterparty                                                                                            Nature

RUST INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


RUST INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


RUST INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


RUST INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CORPORATE PARKWAY
BIRMINGHAM, AL 35242


RUST, JASON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUSTIC CREATIONS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
116 N MAIN
STREETMAN, TX 75859


RUTH, RICHARD R, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUTH, SANDRA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN H RUTH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

RUTH, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUTHERFORD EQUIPMENT SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3213 HICKORY COURT
BEDFORD, TX 76021


RUTHERFORD, CAROL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


RUTHERFORD, CHARLES P                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUTHERFORD, SANDRA G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUTHERFORD, VEDA E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RUTHERFORD, WILLARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RUTLAND, HAROLD DEAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RUTLEDGE, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RUUD HEATING COOLING & WATER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 ABERNATHY ROAD, SUITE 1400
ATLANTA, GA 30328


RUZICKA, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RYALS, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYALS-ARAGON, CINTYA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYAN HERCO PRODUCTS CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1330 POST & PADDOCK RD
GRAND PRAIRIE, TX 75050


RYAN HERCO PRODUCTS CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LOCKBOX # 893168
DEPT 3168
PO BOX 842318
BOSTON, MA 02284-2318


RYAN IRON WORKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
10 WEYBOSSET STREET
PROVIDENCE, RI 02903


RYAN PARTNERSHIP (FORMERLY SOLUTIONSET)                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MONTGOMERY STREET STE 1500



SAN FRANCISCO, CA 94104


RYAN PARTNERSHIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MONTGOMERY STREET STE 1500
SAN FRANCISCO, CA 94104


RYAN PARTNERSHIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EPSILON DATA MANAGEMENT, LLC
ATTN: JO ANN SALAZAR
6021 CONNECTION DRIVE
IRVING, TX 75039


RYAN WALSH INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALABAMA STATE DOCKS
MOBILE, AL 36602


RYAN WALSH STEVEDORING COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1960
GULFPORT, MS 39502




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RYAN, ARTHUR L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RYAN, ARTHUR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYAN, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYAN, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYAN, FRAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RYAN, FREDERICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RYAN, JOHN J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RYAN, KATHLEEN E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RYAN, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RYAN, KEVIN FRANCIS PATRICK                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYAN, MATTHEW J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYAN, MICHAEL E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H RYAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RYAN, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RYAN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYAN, WILLIAM P., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


RYAN, WILLIAM STEFAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RYAN, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYANS, BERNICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYANS, KAMRYN K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

RYANS, KARMYN A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RYANS, MARKEA V.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYANS, MARKEL A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYANS, MARKELA S.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYANS, SAMAURI J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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RYBSKI, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYDEN, GEORGE T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RYDEN, WARREN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYDER INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1803 CHINACHEM JOHNSTON PLAZA
178 JOHNSTON ROAD
WANCHAI,


RYDERN, KEVIN F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


RYDZOWSKI, RAMON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

RYER, MARY JANE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELMER MATTES SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


RYERSON INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
227 WEST MONROE STREET, SUITE 1800
CHICAGO, IL 60606


RYKOWSKI, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYLOTT, DAVID RONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


RYNDERS, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


RYSZ, FREDERICK M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


S & C ELECTRIC COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O FRED OBERLENDER & ASSOC. INC
10821 SANDEN DR
DALLAS, TX 75238


S & S DELIVERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1802 N CARRIER
PO BOX 912
GRAND PRARIE, TX 75051


S D MYERS, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ED MUCKLEY
180 SOUTH AVE
TALLMADGE, OH 44278


S HOLCOMB ENTERPRISE, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6228 OSPREY
HOUSTON, TX 77048




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

S K REYNOLDS ESTATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


S&C ELECTRIC CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELYSE PEARLMAN, GEN. COUN.
6601 NORTH RIDGE BOULEVARD
CHICAGO, IL 60626-3997


S. E. LEON COUNTY ESD #1                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 37
TAX COLLECTOR
CENTERVILLE, TX 75833-0037


S. I. WAREHOUSING CO, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 REPUBLIC DRIVE, SUITE 308
PLANO, TX 75074-5470


S.E. BRISTER TOWING/BRIS-TOW INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1029
BURAS, LA 70041


S.M. WILSON & CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2185 HAMPTON AVE
ST LOUIS, MO 63139


S.W. ANDERSON SALES CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
63 DANIEL ST
FARMINGDALE, NY 11735


SAAB, HENRY L                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAARELA, RICHARD S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAARNIO, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAAVEDRA FUENTES, CARLOS ENRIQUE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SAAVEDRA, ANTHONY JOSE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SABAN, EDWARD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SABAN, JONATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SABAN, WENDY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SABATELLI, ANTHONY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SABATELLI, BARBARA J (BYRNE)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SABATINO, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SABATINO, FRANKLIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SABEL INDUSTRIES, INCORPORATED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: PHILLIP F. BROWN
749 NORTH COURT STREET
MONTGOMERY, AL 36103-4747


SABELLA II, KENNETH J AND                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SABESTA, JAMES E., ET AL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SABETTI, DEAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SABIA INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10911 TECHNOLOGY PL
SAN DIEGO, CA 92127


SABIN, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SABOL, MICHAEL BERNARD, JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SACAY, ROLANDO L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SACAY, ROLANDO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SACCO, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SACCOCCIO, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SACHS ELECTRIC COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1572 LARKIN WILLIAMS ROAD
ST LOUIS, MO 63026


SACHSE, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RICHARD A. DODD, L.C.
312 S. HOUSTON AVE.
CAMERON, TX 76520




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SACKERCSH, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SACKETT, ALBERTA M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SACKETT, CHRISTINA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF JAMES G. SACKETT
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


SACOMO SIERRA & SACOMO MANUFACTURING CO                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
961 FAIRVIEW DR
CARSON CITY, NV 89701


SADANI, PARSO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SADLER, ALLEN R, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SADLER, RAYMOND P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SADLOWSKI, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SADOWSKI, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SAEGERT, SHANNON E AND TRACY M                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAEGERT, SHANNON E AND TRACY M                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAELLI, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SAENZ, FRANCISCA AND JUAN SAENZ                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAFECO                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIBERTY MUTUAL
8350 N. CENTRAL EXPRESSWAY, SUITE 850
ATTN: TODD TSCHANTZ
DALLAS, TX 75026


SAFEGUARD INDUSTRIAL EQUIPMENT                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27 WASHINGTON AVE
BELLEVILLE, NJ 07109


SAFETY KLEEN CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOPER CREEK RD.
DENTON, TX 76201


SAFETY SERVICES CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4410 TIMBER RUN DR
ARLINGTON, TX 76001


SAFETY SERVICES CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4410 TIMBER RUN DR
ARLINGTON, TX 76001


SAFETY-KLEEN CORP.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCOTT FORE,SR.VP,ENV.HLTH.,SFTY.
BARBARA SIMS,AGENT,VP,ENV.LITIG.
ELGIN, IL 60123


SAFETY-KLEEN CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 NORTH CENTRAL EXPRESSWAY
SUITE 400
RICHARDSON, TX 75080




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                                                                                  ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                             Retained Causes of Action

                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

SAFETY-KLEEN SYSTEMS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 250389
PLANO, TX 75025


SAFETY-KLEEN SYSTEMS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 650509
DALLAS, TX 75265-0509


SAFETY-KLEEN SYSTEMS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5360 LEGACY DRIVE; BLDG 2; SUITE 100
PLANO, TX 75024


SAFEWAY STORES, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9111 GARLAND AVE.
DALLAS, TX 75218


SAFEWAY,INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL J. BOYLAN,ASST.GENL.COUNSEL
5918 STONERIDGE MALL RD.
PLEASONTON, CA 94588


SAGE ENVIRONMENTAL CONSULTING LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1883
SAN ANTONIO, TX 78297


SAGE, JOHN B.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAGER CORPORATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



SAGER, DAVID                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAGONAS, STEPHEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAHISTROM, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SAHWKEY, SELIA TREMBLE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAIN, JERRY, SELF & SIMILARLY SITUATED                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY L FEAGANS, VP, GEN. COUN. & SEC.
750 E SWEDESFORD ROAD
VALLEY FORGE, PA 19482


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 E SWEDESFORD ROAD
VALLEY FORGE, PA 19482


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


SAINT GOBAIN ABRASIVES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GREGORY CONOR FLATT, ATTORNEY AT LAW
301 WILLOW CREEK DRIVE
EDWARDSVILLE, IL 62025




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY WARE & PAPPAS PC
JAMES L WARE, WESLEY T SPRAGUE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY L FEAGANS, VP, GEN. COUN. & SEC.
750 E SWEDESFORD ROAD
VALLEY FORGE, PA 19482


SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY L FEAGANS, VP, GEN. COUN. & SEC.
750 E SWEDESFORD ROAD
VALLEY FORGE, PA 19482




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SAINT GOBAIN ABRASIVES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TIMOTHY L FEAGANS, VP, GEN. COUN. & SEC.
750 EAST SWEDESFORD ROAD
VALLEY FORGE, PA 19482


SAINT, DEREK J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SAINT-GOBAIN ADVANCED CERAMICS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4702 STATE RTE 982
LATROBE, PA 15650


SAINT-GOBAIN ADVANCED CERAMICS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 HILLVIEW AVE
LATROBE, PA 15650


SAINT-GOBAIN CERAMICS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAKCO INC
PO BOX 5012
NEW YORK, NY 10087-5012


SAINT-GOBAIN PERFORMANCE PLASTICS CORP                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
750 EAST SWEDESFORD ROAD
VALLEY FORGE, PA 19482


SAITTA, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SAKEWITZ, KYLE, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SAKO, CLEMENT A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SALANDER, MAURICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SALAS, FRANCISCO JAVIER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAS, FRANCISCO JAVIEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAS, JENNIFER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALATTO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SALAZAR RIVEROS, DANIEL ALEJANDR                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAZAR RIVEROS, DANIEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAZAR, ELORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAZAR, GUADALUPE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAZAR, MICALE G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALAZAR, PATRICIO C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SALAZAR, RUDOLPH R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SALAZAR, RUDY P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SALBECK, JOHN KENNETH, JR, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN K SALBECK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SALDANA, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALE, RONNIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALEM FURNACE COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARCH STREET EXT
WEST MIFFLIN, PA 15122


SALEM FURNACE COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BERNDT L OLSON
146 JONATHAN DR MC
MURRAY, PA 15317


SALEM, ABDULRAHMAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SALEMI, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALES VERIFICATION LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 782361
ORLANDO, FL 32878-2361


SALESFORCE.COM INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 203141
DALLAS, TX 75320-3141




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SALGADO, RAMON J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALIG, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALINAS, MARY ELLEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SALINAS, RICHARD R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SALMELA, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


SALMON, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALMON, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALONE, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SALSBERRY, KITTY WHISLER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALSBURY, GLEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SALT LAKE CITY CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY AND COUNTY BUILDING
451 S STATE
ST 505
SALT LAKE CITY, UT 84111


SALTER, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALTZ, LAURENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALTZER, JOSEPH A., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALTZMAN, IRVING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALUS, HANA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALVATIERRA, STEVEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALVATO, SAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALVATORE, GARY M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUTICHIO G SALVATORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SALVATORE, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SALVATORE, LILLIAN M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JONATHAN NORWIG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SALVATORE, NICHOLAS E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALVATORE, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALVETTI, PAUL M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NICHOLAS V SALVETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SALVITTI, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SALYERS, JOHN WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SALYERS, MAXINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAM JOCK ET UX JUDY JOCK                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMES, DOUGLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SAMMER, LEROY MARTIN (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SAMMER, MARTHA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


SAMMONS, BURNELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAMMONS, CAROL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMMONS, DARRELL GENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMMONS, JOHNNY R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMMONS, KEITHIAN D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMMONS, KENDALL D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMMONS, OLIN RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAMPEL, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMPIERI, THEODORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SAMPLE, RICHARD D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SAMPSON TIMBER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD, PLLP
1001 HIGHLANDS PLAZA DR WEST SUITE 400
ST. LOUIS, MO 63110


SAMPSON, CLARK C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SAMPSON, JOHN DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAMPSON, JOHN DEWEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMPSON, VICKIE T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMS, MURRAY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAMSE, KARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAMSON, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAMSTAR, SCOTT S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAMUEL STRAPPING SYSTEMS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
623 FISHER RD
LONGVIEW, TX 75604




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAMUEL, BRYANT P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAMUELS, RAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAN ANGELO ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1621 UNIVERSITY AVE
SAN ANGELO, TX 76904


SAN ANGELO, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
72 W. COLLEGE AVE.
SAN ANGELO, TX 76902


SAN JACINTO JR. COLLEGE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SAN JACINTO COLLEGE DISTRICT BUILDING
4624 FAIRMONT PARKWAY
PASADENA, TX 77504


SAN JACINTO MAINTENANCE AND TRIANGLE MAINTENANCE                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRIANGLE MAINTENANCE
FOLEY & MANSFIELD, PLLP
1001 HIGHLANDS PLAZA DR WEST SUITE 400
ST. LOUIS, MO 63110


SANBOEUF, LAURENCE A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANBORN, KEVIN TODD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ SR., DAVID J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ LOPEZ, GUILLERMO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

SANCHEZ, ANA M. PEREZ                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, ANTONIA PEREZ                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, ARACELIS PEREZ                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, CYNTHIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, DAVID G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANCHEZ, ELOGIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, HECTOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, HECTOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SANCHEZ, JOSE A. FLORES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, JOSE ANGEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, JOSE CARLOS, JR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, JOSE D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SANCHEZ, JOSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SANCHEZ, MARIA LUSIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, MARIA M. PEREZ                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, RAMON PEREZ                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, RAMONA PEREZ                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, ROSA NELLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, RUTH D. PEREZ                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANCHEZ, SALVADOR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SANDER, PAT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDERS, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SANDERS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDERS, CLEMMA RAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, CLIFFORD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANDERS, DANIEL C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, EDWIN & WILLIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDERS, GARY DANIEL, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, GARY DEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, GEORGE F, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


SANDERS, GORDON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SANDERS, HASKELL JOSEPH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, HENRY L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES K SANDERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANDERS, JACK L, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANDERS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, KENDALL WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SANDERS, PAUL LOUIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDERS, RALPH T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SANDERS, SCOTT B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDERS, SHERRIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SANDERS, SR., PHILLIP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDERS, STEPHEN G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, STEPHEN W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, THOMAS K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERS, WILLIAM L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANDERS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDERSON, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDERSON, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDIFER, JOSEPH O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDIFFER, DAVIS T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDLIN MOTORS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
204 E 16TH ST
MOUNT PLEASANT, TX 75455




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SANDLIN MOTORS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
204 E 16TH ST
MOUNT PLEASANT, TX 75455


SANDLIN MOTORS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 32
MOUNT PLEASANT, TX 75456-0032


SANDLIN, DOROTHY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDOVAL, EDISON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANDOZ AGRO, INC. (ZOECON)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 E. TOUHY AVE.
DES PLAINES, IL 60018


SANDOZ AGRO, INC., SUCCESSOR THURON (ZOECON CORP)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12005 FORD RD
DALLAS, TX 75234


SANDQUIST, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDRA, MCINTYRE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDS, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANDSPOINT APT LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SANDPOINT APARTMENTS
1001 WEST LOOP SOUTH
SUITE 625
HOUSTON, TX 77027




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Name of Counterparty                                                                                           Nature

SANDT, GEORGE E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SANDTONF, DAVID A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANDTORF, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SANDVIK MINING & CONSTRUCTION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATERIALS HANDLING GMBH & CO KG
VORDERNBERGER STR 12 AT 8700
LOEBEN,
AUSTRIA

SANDVIK ROCK TOOLS,INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1702 NEVINS RD.
FAIR LAWN, NJ 07410


SANDVIK, PER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SANE, WALTER CRISTOPHER, JR.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SANFORD, ASA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANFORD, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                        Nature

SANFORD, MACKIE L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANGER, DONALD J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


SANGER, WILBUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANGES, JAMES C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SAN-GIORGI, RICHARD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANOFI-AVENTIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 CORPORATE DRIVE
BRIDGEWATER, NJ 08807


SANSOM, FREDERICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANSON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANSONE, THOMAS P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1675 S STATE ST
SUITE B
DOVER, DE 19901


SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOSEPH DUFFY
MORGAN, LEWIS & BOCKIUS LLP
ONE MARKET STREET, SPEAR STREET TOWER
SAN FRANCISCO, CA 94105-1126


SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
KELCI LEA ATKINS
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


SANTA FE BRAUN INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE OF TEXAS
PO BOX 12079
AUSTIN, TX 78711-2079


SANTA FE RAILROAD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BURLINGTON NORTHERN SANTA FE CORP.
2650 LOU MENK DRIVE, 2ND FLOOR
FT. WORTH, TX 76131


SANTANA, RENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SANTARELLI, JAMES, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH A SANTARELLI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANTE, STEVEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANTELLANO, ART                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANTELLANO, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANTELLANO, ELIODORO J., JR.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANTELLANO, MARGARITA, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANTELLANO, MARK, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SANTIAGO, BENIGNO RIOS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANTIAGO, ISRAEL PEREZ                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SANTINELLO, RONALD J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SANTOPOLO, LEONARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SANTORA, FRANK M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SANTORO, CARMINE J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SANTOS RADIATOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUAN SANTOS,PRESIDENT
2000 FORT WORTH AVENUE
DALLAS, TX 75208


SANTOS, BIENVENIDO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SANTOS, JEFFERSON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANTRONICS INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 192
SANFORD, NC 27331-0192


SANZO, LINDA E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SANZO, VICTOR S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAO, SANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAO, SANY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAPIA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAPIENZA, S. DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAPOUCKEY, ALAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAPOZHNIKOV, YAKOV                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAPP, DEANNA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARVIL SAPP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAPP, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAPP, JAMES E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAPP, JEFFREY S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAPP, JEFFREY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAPP, JOHNNIE LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAPP, RANDY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAPP, ROGER G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAPP, STACEY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GILBERT D LINK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAPPE, WILLIAM T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAPPINGTON, MARR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAPPINGTON, RONALD J, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH B SAPPINGTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SARGENSKI, JOHN I--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SARGENT & LUNDY ILLINOIS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 EAST MONROE ST
CHICAGO, IL 60603


SARGENT & LUNDY LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 EAST MONROE ST
CHICAGO, IL 60603




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SARGENT & LUNDY LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


SARGENT & LUNDY LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
TIMOTHY ALAN GRAHAM
105 WEST VANDALIA STREET
EDWARDSVILLE, IL 62025


SARGENT & LUNDY LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


SARGENT SOWELL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1185 108TH ST
GRAND PRAIRIE, TX 75050


SARGENT, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SARGENT, EDDIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SARGENT, ELLIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SARGENT, EVELYN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SARGENT, EVELYN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS SARGENT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SARGENT, FREDERICK N                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SARGENT-SORRELL, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1185 108TH STREET
GRAND PRARIE, TX 75050


SARLAY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SARNER, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SARRA, ANGELO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SARRETT, BERNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SARRIA, YESID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SARRO, LOUIS, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SARVAIDEO, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SARVER, CHARLES W., III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SARVIS, MARJORIE POWELL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SARVIS, SAMUEL NATHAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SAS GLOBAL CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21601 MULLIN
WARREN, MI 48089


SAS GLOBAL CORPORATION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 72393
CLEVELAND, OH 44192-2393


SASS, STEVEN MARK, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANELDA J SASS 233
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SASSAMAN, BETTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SASSAMAN, MARVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SASSAMAN, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SASSAMAN, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SASSO, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SASSON, SELIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SATCHELL, LLOYD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SATORI ENTERPRISES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SATORI ENERGY
550 W JACKSON BLVD SUITE 777
CHICAGO, IL 60661


SATTERFIELD, HAROLD E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SATTERFIELD, JOHN E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SATTERFIELD, MARIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SATTLER, AMANDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUCEDO, VALENTIN L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUCIER, MARCUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUDER, JOSEPH P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAUER, CHARLES A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SAUER, DIANE L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT D SAUER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAULNIER, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAULS, JOHN DREW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAULSBURY INDUSTRIES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 678200
DALLAS, TX 75267-8200


SAULSBURY, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SAUNDERS, DAVID T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAUNDERS, DONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUNDERS, JAMES AUBREY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAUNDERS, LONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAUNDERS, LORRAINE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE LEWIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAUNDERS, REGINALD A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUNDERS, WILLIE, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAUNDERSON, PATRICIA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MORRIS E WOODS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAUSEDA, PHILLIP V                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAUVAN, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SAVAGE, ALVIN, SELF & SIMILARLY SITUATED                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SAVAGE, DINA L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAVAGE, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAVARD, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAVCHUK, REGINA M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY M SAVCHUK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAVERINO, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAVIANO, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAVIANO, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAVIANO, RONALD J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SAVICKIS, ANDRIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAVIDGE, RICHARD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAVINO, MICHAEL A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SAVOCA, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SAVOY ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
302 W. HAYES
SAVOY, TX 75479


SAVOY, JAMES K, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAWICKY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAWYER, DONNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAWYER, HELEN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAWYER, JOHN T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SAWYER, LEE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAWYER, MARK D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SAWYER, THOMAS E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAWYER, WILLIAM J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SAXON, CHRIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAYERS, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SAYLER, DEBORAH L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT W DANNENFELSER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SB DECKING INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
QUAKER CHEMICAL CORPORATION
9930 PAINTER AVE
WHITTIER, CA 90065


SBC HOLDINGS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 RIVER PLACE DRIVE #5000
DETROIT, MI 48207


SBC HOLDINGS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 RIVER PLACE DRIVE
#5000
DETROIT, MI 48207


SC JOHNSON AND SONS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1525 HOWE STREET
RACINE, WI 53403




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCAFFIDI, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCAFFIDI, GIOVANNA G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCAGGS, ORVILLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCALA, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCALAMANDRE, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCALAMONTI, ANDREW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCALES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCALF, WALLACE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCALTRITO, VICTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCANDALIATO, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCANLAN, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCANLIN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCANLON, BILL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCANLON, JOSEPH E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH SCANLON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCANTRON CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 93038
CHICAGO, IL 60673


SCAPA DRYER FABRICS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 SCAPA ROAD
WAYCROSS, GA 31501


SCAPA DRYER FABRICS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CROUCH & RAMEY LLP
HUBERT A CROUCH III, KIM MEADORS
1445 ROSE AVE, SUITE 2300
DALLAS, TX 75202


SCAPA NORTH AMERICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 GREAT POND DRIVE
WINDSOR, CT 06095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCAPA NORTH AMERICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 GREAT POND DRIVE
WINDSOR, CT 06095


SCAPA NORTH AMERICA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 GREAT POND DRIVE
WINDSOR, CT 06095


SCARBERRY, KYLE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCARBOROUGH, JAMES A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCARBOROUGH, STANLEY (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SCARBROUGH, VIRGINIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCARLETT, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCAROZZA, ANTHONY V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCARPO, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SCARROW, VIRGIL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCARTINO, VITO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


SCATES, APRIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCATES, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCAVONE, LEONARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCAZAFAVE, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCELSI, MARY ROSE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCERBO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHACHT, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHAD, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHAD, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHAEFBAUER, CLARENCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


SCHAEFER, BETTY J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED R SCHAEFER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHAEFER, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHAEFER, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAEFER, WILLIAM CHARLES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHAEFFER MFG CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 3518 PO BOX 790100
ST LOUIS, MO 63179-0100


SCHAEFFER, JORDAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAEFFER, KIRK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAEFFER, OTTO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

SCHAEFFER, PATTI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAEPER, WILFRED H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAFER, CARROLL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHAFFER JR, WILLIAM J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAFFER, ARTHUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHAFFER, DANIEL H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHAFFER, EARL S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHAFFER, FRANK E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHAFFNER, DALE R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SCHAFFNER, DEBORAH L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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Name of Counterparty                                                                                             Nature

SCHAFT, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHAKE, THOMAS E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHALAGO, LISA A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHANKEN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHANTZ, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAPER, ELIZABETH A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHAPPERT, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHARLACH, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


SCHATZ, RANDALL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHAUB, KLAUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHAUER, GLORIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHAUWECKER, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHAVITTIC, ALFONSE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEADLER, JAMES M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHEEL, JAMES P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHEEL, JAMES V , SR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JANET C SCHEEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEEL, JAMES V, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEERER, DEBORAH DENISE, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT VEREEN SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEIDELER, FREDERICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHEINBART, ILENE ERENBURG                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEINOST, PHILLIP F.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEIRER, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHELINSKI, JUNE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHELL, LEELAND S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHELL, MARCUS F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHELLER, WAYNE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHELLHORN, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHELMETY, DEBRA A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHELMETY, HARRY & DEBBIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHELZEL, CURTIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHEMELIA, DOROTHY A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEMINANT, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEMINANT, WILSON E, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHENANDOAH, GERALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SCHENECTADY CHEMICAL CO.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2750 BALLTOWN RD
SCHENECTADY, NY 12309


SCHENK, HARRY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCHENK, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHEPENS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEPPS DAIRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARL HOLLINGSWORTH,CORP.RISK MGR.
3114 S. HASKELL
DALLAS, TX 75223




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHERER, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHERER, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHERREIKS, PETER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHERTLE, DIANA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL J SCHERTLE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHESSLER, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEUERMAN, JAMES T, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHEXNAYDER, JANELLE RODRIGUE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEXNAYDER, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEXNAYDER, RYAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHEXNAYDRE, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHIAVONE BONOMO CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
640 CANAL ST
STAMFORD, CT 06902


SCHIBLER, JAMES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHICATANO, VERONICA, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ARTHUR C SCHICATANO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHICK, SONJA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHIDLACK, BECKY S VANCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHIELACK, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHIELDS, WADE E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES W SCHIELDS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHIESL, MARTIN FRANK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHIFF, RALPH D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHILDKRAUT, ALAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHILDT, FREDERICK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHILIRO, ILLUMINATO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHILLER, JENNIFER COMAS DECEASED                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SCHILLING, MARK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHILLING, WESLEY R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHILTZ, LARRY C.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHIMMENTI, JAMES R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHINDLER ELEVATOR CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
20 WHIPPANY ROAD
MORRISTOWN, NJ 07962


SCHINDLER ELEVATOR CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 93050
CHICAGO, IL 60673-3050


SCHINDLER, THOMAS E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHIRCH, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHIRMER, GRACE K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHLATER, TULLIUS MARCUS DECEASED                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SCHLEGEL, GERALD W, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GILBERT A SCHLEGEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHLEIDT, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHLEIFER, JEROME                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHLEYHAHN, LARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHLICHT, OTTO P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SCHLICK, GAYLORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHLINK, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHLITZ BREWERY/STROH BREWERY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 WEST COTTON ST
PO BOX 2709
LONGVIEW, TX 75606


SCHLOERB, ARTHUR J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHLUMBERGER LIMITED                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARCHETA LEIGHTON-BEASLEY
SENIOR LEGAL COUNSEL
SUGAR LAND, TX 77478


SCHLUMBERGER TECHNOLOGY CORP.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHLUMBERGER OILFIELD SERVICES
225 SCHLUMBERGER DRIVE
SUGAR LAND, TX 77478


SCHLUMBERGER TECHNOLOGY CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALEX JUDEN, SEC. & GEN. COUN.
300 SCHLUMBERGER DR
SUGAR LAND, TX 77478


SCHLUMBERGER TECHNOLOGY CORPORATION                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALSTON & BIRD LLP
DAVID KEITH KUKLEWICZ, ADAM DAVID SWAIN
ONE ATLANTIC CENTER, 1201 W PEACHTREE ST
ATLANTA, GA 30309-3424




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Name of Counterparty                                                                                            Nature

SCHLUMBERGER TECHNOLOGY CORPORATION                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALSTON & BIRD LLP
SCOTT J PIVNICK
950 F STREET, NW
WASHINGTON, DC 20004


SCHLUNDT, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMALZ, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMANSKY, JEANETTE MARY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMELZER, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMICK, KEITH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMID, MATTHEW W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMIDT MEDICAL CLINIC PA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848698
BOSTON, MA 02284-8698


SCHMIDT, BERNARD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

SCHMIDT, CHARLES L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHMIDT, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMIDT, EDWARD L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, GERHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMIDT, JEROME                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, MADONNA M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, MADONNA MAE, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT C SCHMIDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, PATSY S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMIDT, PAUL H.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMIDT, PHIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHMIDT, ROBERT A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHMIDT, SHEILA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL HASTINGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHMIDT, WILLIAM T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHMIEMAN, ERIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHMITT, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMITT, GLORIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMITT, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHMITT, JOHN R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHMITT, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMITZ, HERBERT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHMUCK, JACKIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SCHMULDT, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHMULEN, VICTORIA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHNEEBELI, EARL WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHNEEGURT, ERROL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHNEEMAN, WILLIAM K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHNEE-MOREHEAD CHEMICAL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 N. NURSERY ROAD
IRVING, TX 75060


SCHNEIDER ELECTRIC BUILDINGS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMERICAS INC
1650 W. CROSBY ROAD
CARROLLTON, TX 75006


SCHNEIDER ELECTRIC BUILDINGS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AMERICAS INC
PO BOX 841868
DALLAS, TX 75284-1868


SCHNEIDER ELECTRIC COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
118 POPLAR ST
AMBLER, PA 19002




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SCHNEIDER ELECTRIC IT USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA GUTOR NORTH AMERICA
132 FAIRGROUNDS RD
WEST KINGSTON, RI 02892


SCHNEIDER ELECTRIC IT USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA GUTOR NORTH AMERICA
132 FAIRGROUNDS RD
WEST KINGSTON, RI 02892


SCHNEIDER ELECTRIC USA, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STEVE BROWN, CREDIT DEPT.
1415 S ROSELLE ROAD
PALATINE, IL 60067


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1415 SOUTH ROSELLE ROAD
PALATINE, IL 60067


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K&L GATES, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


SCHNEIDER ELECTRIC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHNEIDER ELECTRIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
JOANN MARIE WOLTMAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


SCHNEIDER ELECTRIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


SCHNEIDER ELECTRIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


SCHNEIDER ELECTRIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
SUSAN ELIZABETH RYAN
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


SCHNEIDER, BARBARA A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHNEIDER, DANNY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHNEIDER, DEBRA L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JANE DOWDEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHNEIDER, FELIX ROBERT, JR. (DECEASED)                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHNEIDER, HOWARD M, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHNEIDER, JOHN FRANK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SCHNEIDER, JOHN J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHNEIDER, KARL M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCHNEIDER, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHNEIDER, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHNITKER, RICHARD, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WAYNE R SCHNITKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHNURBUSCH, ROBERT HARRY, SR (DECEASED)                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHNURBUSH, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHOCH, ROBERT K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHOEBERLEIN, CALVIN H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOEMANN, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHOENBERGER, CLYDE H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHOENBERGER, PEGGY E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOENBERGER, PEGGY, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E SCHOENBERGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOENECK CONTAINERS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2160 SOUTH 170TH ST
NEW BERLIN, WI 53151


SCHOENECKER, EDMUND J. DECEASED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCHOENER, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCHOENNAGEL, EDWARD C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOENRATH, WILBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHOENRATH, WILBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHOEPP, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHOETHER, DEAN C. AKA SHETHER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHOETTELKOTTE, HARRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHOFER, DAVID W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOLL, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHOOL EQUALIZATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 139066
TAX COLLECTOR
DALLAS, TX 75313-9066




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHOONOVER, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHOPPERT, DAVID B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHOPPERT, RITA G, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEON D SCHOPPERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHRADE, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHRADE, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHRADER, FRED V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SCHRADER, JUDITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHRAEDER, GLYN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHRAEDER, MATTHEW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHRAMEK, DONNA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID W SCHRAMEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHRAMM, FRANKLIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHRAMM, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHRANER, FRANCIS P                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCHRAUDNER, MARY R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHREIBER, JOHN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHREIBER, LOYAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHREINER, RONDA M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E SCHREINER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHREMMER, LAWRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

SCHRICHTEN, FRED P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHRIVER, HARRY G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHROEDER, ANDREA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHROEDER, ANN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHROEDER, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHROEDER, JOSEPH A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCHROEDER, MIKE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHROEDER, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHROEDER, SAXTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHROEDER, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHROETER, CARL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SCHROR, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHROTH, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHROTH, SUSAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCHUBERT, BURTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUCK, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUELER, WINSTON A--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SCHUH, REUBEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUH, RON FBO RICK SCHUH                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHUKO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULHOFF, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHULLERY, LEONARD J. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SCHULMAN, DANIELLE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTE, MARK J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTZ, ALLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, BERNHARD FRIEDRICH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHULTZ, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHULTZ, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, DUSTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTZ, DUSTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTZ, ELIZABETH INGOLD, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARROLL G SCHULTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHULTZ, GEORGE, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHULTZ, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHULTZ, HOWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTZ, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHULTZ, JOHN L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHULTZ, LINDA H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHULTZ, PETER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHULTZ, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHULZ, HARRY W, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHUM, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHUMACHER CO., INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 HUGHES
HOUSTON, TX 77023


SCHUMAKER, CECIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUNCKE, MYRNA J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHURING, MARK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHUSTER, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUSTER, RAYMOND JAMES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUTTE & KOERTING INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2510 METROPOLITAN DR
FEASTERVILLE-TREVOSE, PA 19053


SCHUTTE & KOERTING INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCCARTER & ENGLISH LLP
245 PARK AVENUE, 27TH FLOOR
NEW YORK, NY 10167


SCHUTZ, GERARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHUTZ, SHARON A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A BISHOP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWALBACH, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHWAM, CHESTER S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHWAN, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHWANEBECK, EUGENE J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWAR, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCHWARTZ, BETTY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWARTZ, JOYCE R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GERALD SCHWARTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWARTZ, PHYLLIS J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHWARTZ, PHYLLIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCHWARTZ, WALTER L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCHWARTZ, WILLIAM S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHWARZKOPF, PATRICIA ANN, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILTON J CIECWIERZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWEIGER, MARGARET DORIS, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT SCHWEIGER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWEIGER, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCHWEIGER, SYLVESTER J , JR, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SARAH SCHWEIGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWEITZER ENGINEERING                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LABORATORIES INC
C/O K D JOHNSON
PO BOX 1208
LEONARD, TX 75452


SCHWEITZER, JOHN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM SCHWEITZER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWEITZER, MARY, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD S SCHWEITZER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCHWEIZER, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCHWENDEMANN, EDWARD JOSEPH                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCHWENK, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCIABARRASI, JOSEPH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK P SCIABARRASI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCIABARRASI, JOSEPH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUCY A SCIABARRASI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCIADINI, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCIALDONE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCIALDONE, LORETTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCIARRINO, TYLER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCIBERRAS, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCIBILIA, CARMEN S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCIENTECH                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 223462
PITTSBURGH, PA 15251-2462


SCIMECA, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCIOLINO, BEN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCIVICQUE, RUTH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCLAFANI, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCLAFANI, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCM METAL PRODUCTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 WECK DR
RESEARCH TRIANGLE PARK, NC 27709


SCOGGINS, RUSSELL S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOGIN, ANDREW J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCOLA, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

SCOLARO, LEONARD T.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCOLES, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOPE MANAGEMENT LTD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1176 FM 517
ALVIN, TX 77511


SCOPE MANAGEMENT SOLUTIONS LTD                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5554
ALVIN, TX 77512


SCOPINICH, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT HOMES LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2369
ROUND ROCK, TX 78680


SCOTT JR, JOHN W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SCOTT PAPER COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KIMBERLY-CLARK CORPORATION
351 PHELPS DRIVE
IRVING, TX 75038


SCOTT SAFETY A TYCO INT US INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4320 GOLDMINE ROAD
MONROE, NC 28110


SCOTT, ABIGIL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCOTT, ALLEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, BOB L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCOTT, BRITTNEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, CHARLES W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SCOTT, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, CLIFTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, DANIEL G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCOTT, DEBRA L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, DONALD TOMPKINS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SCOTT, DOUGLAS R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCOTT, ELEANOR, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH F LINZEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, ELMER H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SCOTT, ERNEST CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, GABRIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, GLENN T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, GREGORY J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCOTT, HAROLD ERNEST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SCOTT, HELEN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCOTT, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, HULIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, JASPER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, JESSIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, JOHN A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCOTT, JOHN, JR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, JOHNNIE B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCOTT, LILLIAN F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCOTT, LINDA F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SCOTT, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, MARGARET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, MARK & RICKY D & JACKSON, SHIELA                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, MICHAEL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SCOTT, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, MYRTLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, REGINA R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOTT, ROBERT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCOTT, ROBERT H, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCOTT, ROBERT JAMES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SCOTT, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SCOTT, ROYAL E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCOTT, SHARON ANN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS O FRACE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, SHEILA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, SHIRLEY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, THERON, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCOTT, THOMAS L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SCOTT, WHITNEY L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCOTT, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SCOTT, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCOURTAS, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCRANI, DAVID T, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE SCHMIDT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCREENING SYSTEMS INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 760
SLAUGHTER, LA 70777


SCRIBA, ALMA C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK C SCRIBA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCRIBA, LEROY W, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS F SCRIBA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCRIBA, ROBERT, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SCROGGINS, BILLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCROGUM , BENJAMIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCRUDATO, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SCRUGGS, BARI ROBERTS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCRUGGS, BOBBY D.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCRUGGS, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SCRUGGS, DONNA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCRUGGS, GWANNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCRUGGS, HARRIET                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SCRUGGS, MERLE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID L SCRUGGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SCRUGGS, THELMA M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SCULLY, PETER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SCULLY, THOMAS J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SCULLY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SCURRY CO. HOSPITAL DIST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCURRY COUNTY HOSPITAL DISTRICT
DBA COGDELL MEMORIAL HOSPITAL
1700 COGDELL BLVD
SNYDER, TX 79549


SCURRY COUNTY WIND, L.P.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O INVENERGY, LLC
ATTN: WILLIAM BORDERS
ONE SOUTH WACKER DR, STE 1900
CHICAGO, IL 60606


SCURRY COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1806 25TH STREET, #201
SNYDER, TX 79549-2530


SEA LION CHEMICAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5700 JOHNNY PALMER RD.
TEXAS CITY, TX 77592


SEA LION TECHNOLOGY, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
57 CENTURY BLVD.
TEXAS CITY, TX 77590


SEA LION TECHNOLOGY, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5700 CENTURY BLVD.
PO BOX 1807
TEXAS CITY, TX 77592


SEABAUGH, PAUL R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEABERG, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEABORG, JANET, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GARN L PEARSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEALCO LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1751 INTERNATIONAL PKWY STE 115
RICHARDSON, TX 75081-2359


SEALE, BRIAN R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEALE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEALING EQUIPMENT PRODUCTS CO INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


SEALING EQUIPMENT PRODUCTS CO INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN W GANT JR
1819 5TH AVE N SUITE 1100
BIRMINGHAM, AL 35203


SEALS, FLOYD DALE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


SEALS, VICTOR                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

SEALY, ABNER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEALY, E R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEALY, E.R.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
710 CLARANCE ST APT B
TOMBALL, TX 77375


SEALY, R R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEAMAN, RONALD F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEAMAN, THOMAS LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEANOR, HARRY CARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEAQUIST, GARNER SCOTT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARCY, DAVID A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARCY, SUZANNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEARS HOLDINGS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEARS HOLDINGS CORPORATION
DANE A DROBNY, SVP, GEN. COUN. & CORP.
SEC., 3333 BEVERLY ROAD
HOFFMAN ESTATES, IL 60179




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SEARS MANUFACTURING CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3667
DAVENPORT, IA 52808


SEARS ROEBUCK & CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 MARKET STREET STE 1210
PHILADELPHIA, PA 19102


SEARS ROEBUCK AND CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVE HERRINGTON,DISTRICT SVC.MGR.
2270 VALLEY VIEW LANE
DALLAS, TX 75234


SEARS ROEBUCK AND COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SEARS ROEBUCK AND COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


SEARS ROEBUCK AND COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEARS HOLDINGS CORPORATION
DANE A DROBNY, SVP, GEN. COUN. & CORP.
SEC., 3333 BEVERLY ROAD
HOFFMAN ESTATES, IL 60179


SEARS, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEARS, DONNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, EARL GLENN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SEARS, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SEARS, HILBERT A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, HILBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, IRVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEARS, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEARS, TERRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, TRAVIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, TRENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEARS, TUCKER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEATINGZONE.COM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
36 BRANCH AVE
PROVIDENCE, RI 02904


SEATON, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEAWRIGHT, SHERI                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEBAN, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEBES, ALBERT E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT M SEBES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEBREN, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SECCAFICO, VINCENT A.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SECHLER, NORMAN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SECHREST, BOBBY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SECO WARWICK CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
180 MERCER STREET
MEADVILLE, PA 16335-6908


SECOLA, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SECOLA, GENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SECRETARY OF STATE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES E RUDDER BUILDING
1019 BRAZOS ROOM 220
AUSTIN, TX 78701


SECRIST, JAMES H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SECUREWORKS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 534583
ATLANTA, GA 30353-0083


SECURITAS SECURITY SERVICES USA INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCIS
FILE 57272
LOS ANGELES, CA 90074-7272


SEDIVY, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEDLOCK, DONNAMAE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J SEDLOCK SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEEBECKER, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEEBERGER, JOHN M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR GILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SEEDERS, GLORIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEEDERS, JAMES E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEEDORF, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEEFELD, DAROLD JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEELIG, PEGGY CONN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEELUND, ROBERT T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SEETAL, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEGAL MCCAMBRIDGE, SINGER & MAHONEY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM F. MAHONEY, MELISSA K. FERRELL
100 CONGRESS AVE STE 700
AUSTIN, TX 78701


SEGAL, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SEGARRA, SERGIO S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEGARS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEGOVIA, PAULINA ANGELICA DIAZ                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEGRICH, THOMAS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEGRUE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEIBEL, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIBLES, ULYSSES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEIDEL, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIDLER, EDWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIDLER, SHIRLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIDLITS, CURTIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIF, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEIFER, ARLEY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIFERLING, HOWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEIFERT, DANIEL J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIFERT, ERWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEIFERT, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEIG, WILLIAM S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEILER, BERNARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEILER, BOBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEILER, MARK S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEILER, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEILER, SANDRA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIMEARS, PAT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEIPEL, NORMAN R , JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEITZ, CAROLYN RUTH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS E SEITZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEITZ, GARY B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEITZ, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEIWELL, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SEIWELL, JAMES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEKERA, CHRISTOPHER J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SELAS HEAT TECHNOLOGY COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11012 AURORA HUDSON ROAD
STREETSBORO, OH 44241




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SELDOMRIDGE, JACK D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELDOMRIDGE, ROBERT J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SELDOMRIDGE, ROBERT J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SELECTICA INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 S EL CAMINO REAL STE 1000
SAN MATEO, CA 94403


SELECTICA INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742285
LOS ANGELES, CA 90074-2285


SELF SERVE FIXTURE CO.,INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHARLES ABERG,VP,GENL.COUNSEL
PO BOX 541988
DALLAS, TX 75354


SELF SERVE FIXTURE COMPANY, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


SELF, DANNY T., SR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELF, GARY LESLIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELF, HOSE E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELF-SERVICE FIXTURE COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10850 HARRY HINES BOULEVARD
DALLAS, TX 75220




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SELHORN, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SELL, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLARS, GLENDA WALKER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLERS, CLEVELAND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLERS, HOWARD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SELLERS, JACKIE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MACK R SELLERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLERS, JAMES W, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLERS, JAY L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLERS, PETE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                            Nature

SELLERS, TERRY H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SELLERS, TROY, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS K SELLERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SELLERS, WANDA SOLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLERS, WILTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLGREN, KAREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLGREN, PAUL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLS, ELIZABETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELLS, GERALD E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SELZ, DAN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEMANCIK, DONALD D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEMBCORP SABINE INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7266 SOUTH FIRST AVENUE
SABINE PASS, TX 77655


SEMBERA, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SEMENTELLI, ROCCO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEMINATORE, MARTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEMMEL, THERESA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT SOLT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEMON, ROY L.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEMPRA ENERGY TRADING CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
58 COMMERCE ROAD
ATTN: CREDIT RISK MANAGEMENT
STAMFORD, CT 06902


SENA, TIMOTEO LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SENCHUR, JEFFREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEND WORD NOW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
224 WEST 30TH ST STE 500
NEW YORK, NY 10001


SENDELBACH, JAMES B, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY J BECHLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SENECHAL, ROBERT A--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SENIOR FLEXONICS INC PATHWAY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION OF SENIOR OPERATIONS LLC
PO BOX 71311
CHICAGO, IL 60694-1311


SENIOR OPERATIONS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 LONGHORN INDUSTRIAL DRIVE
NEW BRAUNFELS, TX 78130-2530


SENKEL, KENNETH R., ET AL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SENTINEL SAFETY SUPPLY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOSEPH T OSTROWSKI OSTROWSKI LEGAL GROUP
14837 DETROIT AVE STE 130
LAKEWOOD, OH 44107


SENTINELLA, ALBERT M JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT M SENTINELLA SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SENTRY EQUIPMENT CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1170
MILWAUKEE, WI 53201-1170


SENUTA, ANTHONY J--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SEPCO CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
123 AIRPARK INDUSTRIAL ROAD
ALABASTER, AL 35007


SEPCO CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 NORTH JACKSON STREET STE 605
MONTGOMERY, AL 36104




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 NORTH JACKSON STREET
SUITE 605
MONTGOMERY, AL 36104


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 N. ST. PAUL ST
DALLAS, TX 75201


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
818 W SEVENTH ST
LOS ANGELES, CA 90017


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
E. WADE CARPENTER
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


SEPCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
ERNEST-BUTCH W. BOYD
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SEPCO CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPROTT RIGBY NEWSOM ROBBINS &
LUNCEFORD PC, JAMES NEWSOM
2211 NORFOLK, SUITE 1150
HOUSTON, TX 77098


SEPICH, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEPULVEDA, MARIO SEPULVEDA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
199 FREMONT STREET, 19TH FLOOR
SAN FRANCISCO, CA 94105


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MICHAEL PATRICK MCGINLEY
714 LOCUST
ST LOUIS, MO 63101


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORP TRUST CENTER
1209 ORANGE ST
CLAYTON, MO 63105


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
199 FREMONT STREET, 19TH FLOOR
SAN FRANCISCO, CA 94105


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LANDMAN CORSI BALLAINE & FORD P.C.
120 BROADWAY, 27TH FLOOR
NEW YORK, NY 10271


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MANNING GOSDA & ARREDONDO LLP
ROBERT DAVID ARREDONDO
24 GREENWAY PLAZA, SUITE 525
HOUSTON, TX 77046


SEQUOIA VENTURES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT M. HAMBLETT
HASSARD BONNINGTON LLP
TWO EMBARCADERO CENTER, SUITE 1800
SAN FRANCISCO, CA 94111-3993


SERAS, VALDO R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SERBALIK, DONNA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


SERLUCA, FRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERLUCA, PATRICIA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SERMATECH INTERNATIONAL, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 SOUTH LIMERICK ROAD
LIMERICK, PA 19468


SERNA, JOE F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SERRA, DOMINIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SERRA, JOHN J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SERRANO, ANTONIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SERRANO, GILBERTO E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERRANO, RICHARD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERRANO, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SERRAPICA, HENRY J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SERVANTEZ, C J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

SERVANTEZ, CHANCEY N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, CHARLES J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, CHARLES JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SERVANTEZ, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SERVANTEZ, KELCEY B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, LINDA SPARKS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, LORNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVANTEZ, PATRICK H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVEDIO, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SERVENTEZ, DIANE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SERVICE LINES,INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1156 STATE HIGHWAY EAST
SEADRIFT, TX 77983




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SERVICE PRODUCTS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5900 WEST 51ST STREET
CHICAGO, IL 60638


SERVICE TUGS & CREW BOATS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 663
VENICE, LA 70091


SERVISS, CARSON L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SERVISS, CARSON L. AND CANDACE J. SERVISS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SERVOCON ASSOCIATES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
167 EXPO RD
FISHERSVILLE, VA 22939


SERZYNSKI , JULIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SESSIONS, KENNETH S.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SET ENVIRONMENTAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
450 SUMAC ROAD
WHEELING, IL 60090


SETKOSKI, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SETLIFF, ELLERY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SETON IDENTIFICATION PRODUCTS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O EMEDCO
PO BOX 369
BUFFALO, NY 14240




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Name of Counterparty                                                                                         Nature

SETON IDENTIFICATION PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 819
20 THOMPSON RD
BRANFORD, CT 06405-0819


SETON IDENTIFICATION PRODUCTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 95904
CHICAGO, IL 60694-5904


SETPOINT INTEGRATED SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10051 PORTER RD SUITE 900
LAPORTE, TX 77571


SETPOINT INTEGRATED SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19151 HIGHLAND ROAD
BATON ROUGE, LA 70809


SETPOINT INTEGRATED SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 INDUSTRIAL BLVD
KILGORE, TX 75662


SETPOINT INTEGRATED SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3272
BEAUMONT, TX 77704


SETPOINT INTEGRATED SOLUTIONS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 935076
ATLANTA, GA 31193-5076


SETTER, EVERETT R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SETTERLUND, EARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


SETTERLUND, WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

SEUBERT, ROBERT D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEUFERT, MARSHALL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEUTTER, ALLEN EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEVANTEZ, BSAMDI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEVER, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEVERANCE, HERBERT EDWARD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEVERANCE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEVERANCE, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEVERSON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEVIER, ELLA KATIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

SEVIER, ELLA KATIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SEWARD, ROBERT F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEWELL JR., ERNEST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL- NEWSON, LATONYA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL, GAIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEWELL, GLENN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SEWELL, JAIME                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SEWELL, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SEWING, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEXTON, HOBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEXTON, THOMAS J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SEYBOLD, MARY ELEANOR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK BECK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEYLER, WILLIAM M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SEYMORE, ROBERT B, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANITA SEYMORE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEYMORE, ROBERT B, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SEYMOUR ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
409 W IDAHO
SEYMOUR, TX 76380




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SEYMOUR, CHARLES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEYMOUR, FELTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEYMOUR, MELVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SEYNEMEIER, GREG                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SFERRAZZA, CARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SFERRAZZA, DAVID V                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SFS USA HOLDING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 INDUSTRIAL DRIVE
GRAND ISLAND, NY 14072-0460


SFS USA HOLDING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


SFS USA HOLDING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SFS USA HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


SFS USA HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


SFS USA HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


SFS USA HOLDING INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112


SGI LIQUIDATING CO.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 55366
HOUSTON, TX 77252-5536


SGS NORTH AMERICA INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16130 VAN DRUNEN RD
SOUTH HOLLAND, IL 60473-1244


SGS                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITIBANK NEW CASTLE, DELAWARE
PO BOX 2502
CAROL STREAM, IL 60132-2502


SHABAZZ, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHADDIX, JOHN F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHAFER, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFER, ERLDEAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAFER, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFER, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAFER, THOMAS E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHAFER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFFER, ALLAN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFFER, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAFFER, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHAFFER, ROBERT S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHAFFER, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAFFER, VIRGINIA L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILIP R SHAFFER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHAFFER-DEVILBISS, SYLVIA, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR E SHAFFER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHAH, HITESH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAH, LILAVATIBEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAH, RUPAL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAH, SHANKER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAH, VIJAY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAH, VRAJESH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAIA, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHAIKOSKI, RHONDA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAINLINE, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAKESPEARE, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHALE-INLAND HOLDINGS LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF ELEANOR HEARD GILBANE
3262 WESTHEIMER ROAD, NO. 622
HOUSTON, TX 77098


SHALLOW, KATHLEEN L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH L BRUMWELL SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHALONGO, BRENDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHALONGO, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHALONGO, KEITH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHALONGO, KYLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAMAS, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAMBLIN, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

SHAMBLIN, RICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAMLIAN, HERBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHANAHAN, JOHN T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHANDRAW, NORRIS A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHANE, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHANK, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHANKLE, EARL WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHANKLE, LEARON R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHANKS, WAYNE DOUGLAS, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEO W SHANKS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SHANNON, CHARLES M.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHANNON, LUCIE M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHANNON, PAT A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHANNON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHANNON, RONALD W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHANNON, RONDAL G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHANOSKIE JR, CHESTER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHANROD INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7308 DRIVER ROAD
PO BOX 380
BERLIN HEIGHTS, OH 44814


SHAPARD, ROBERT SUMNER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHARBINE, BILL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

SHARENO, PETER R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHARK, VERNON, E.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHARKEY, IVON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHARP, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHARP, FRANCIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHARP, FREDERICK RUNLES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHARP, JAMES A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHARP, JIM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


SHARP, MARTHA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

SHARP, RONALD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHARPE, BERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHARPS, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHARRON, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAUB, MARC A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAUGHNESSY, HARRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHAUGHNESSY, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHAVER'S CRAWFISH & CATERING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
270 OCKLEY DR
SHREVEPORT, LA 71105-3025


SHAW MAINTENANCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE SHAW GROUP
39041 TREASURY CENTER
CHICAGO, IL 06949


SHAW, ALBERT CLIFTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHAW, AUDREY M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAW, B F                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, CHARLES E--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SHAW, CHERYL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, DAVID THOMAS (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, DEWEY H.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, GEOFFREY T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, GLEN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAW, JEANETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, JOE DENT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, JOHN E                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHAW, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAW, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, MARSHALL WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, ROBERT R. DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SHAW, SCOTTY ROGERS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, SCOTTY ROGERS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHAW, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHAW, WILLIAM H, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H SHAW SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHAWKEY, SELIA TRIMBEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHAWKEY, SELIA TRIMBEL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHEA, ELIZABETH J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEA, MYLES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEA, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEARER, FRANKLIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEARER, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SHEDLOSKY, ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHEEDY, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEEDY, MARTIN J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHEEHAN PIPELINE CONSTRUCTION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2431 EAST 61ST STREET SUITE 700
TULSA, OK 74136




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                                                                                      ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                                 Retained Causes of Action

                                                               Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                    Nature

SHEEHAN, DANIEL                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEEHAN, KEVIN                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHEEHAN, RICHARD D                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHEEHAN, RUSSELL                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEEHAN, THOMAS                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEEHY, RICHARD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEEHY, WARE & PAPPAS, P.C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEEHY, WARE & PAPPAS
RICHARD SHEEHY/JAMES L. WARE
909 FANNIN STREET, SUITE 2500
HOUSTON, TX 77010


SHEEK, LEE                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEENA ALVAREZ, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHEENAN, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHEETS, AUDREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEETS, CHRIS B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEETS, CHRIS BLANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEETS, JAN JOHNSON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEETS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEETS, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SHEFF, EARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEFFER, ELIZABETH, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEODORE J MANN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEFFER, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

SHEFFIELD STEEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX #560254
355 LEDGE ROAD
MACEDONIA, OH 44056


SHEFFIELD, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEFFIELD, LARRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEFFIELD, LOHRMANN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHEHORN, HOMER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHELAFO, DONALD W.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELBY, JOHN (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHELDON, BRUCE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SHELDON, ROGER B. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
5615 CORPORATE BLVD STE 400 B
BATON ROUGE, LA 70808


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
5615 CORPORATE BLVD STE 400 B
BATON ROUGE, LA 70808


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2463
HOUSTON, TX 77252


SHELL CHEMICAL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
800 BRAZOS
AUSTIN, TX 78701


SHELL ENERGY NORTH AMERICA (US), L.P.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 MAIN ST., LEVEL 12
ATTN: CREDIT DEPARTMENT
HOUSTON, TX 77002




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                                                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                        Nature

SHELL OIL CO.                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS KEARNS,SENIOR COUNSEL
PO BOX 2463
HOUSTON, TX 77252


SHELL OIL COMPANY AND ITS SUBSIDIARIES SHELL OIL PRODUCTS COMPANY AND SHELL CHEMICAL COMPANY                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4320
HOUSTON, TX 77210-4320


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2463
HOUSTON, TX 77252


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SHELL OIL COMPANY                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE E. LANDRETH
PO BOX 2463
HOUSTON, TX 77252-2403


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2463
HOUSTON, TX 77252


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX AD
VENICE, LA 70091


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROSS M. PETTY
NIXON PEABODY, LLP
ONE EMBARCADERO CENTER, 18TH FLOOR
SAN FRANCISCO, CA 94111


SHELL OIL COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


SHELL PIPELINE CORP.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
404 JEFFERSON ST
HOUSTON, TX 77002




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHELL CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2463
HOUSTON, TX 77252


SHELL, MAX                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHELLENBERGER, EUGENE R                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHELLMAN, RUTH WATERS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELNUT, JOHNNY AUGUSTUS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHELTON, CECIL H, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELTON, D F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELTON, D F                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELTON, JACKIE EARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHELTON, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHELTON, LONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHELTON, VICTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHELTON, WILLIAM BAILEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHELTON, WILLIAM C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHELTON, WILLIAM C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ETHLEYNE SHELTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHELTON, WILLIAM C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD E SHELTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEN, JYE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHENANDOAH INVESTMENT, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ERIC KO
939 ALLEGHENY CT
RICHARDSON, TX 75080


SHEPARD, CHRISTOPHER LEE, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TRACY L SHEPARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEPARD, KENNETH E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHEPARD, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEPARD, WEAVER J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHEPHERD, ANNA M Y                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHEPLEAR, JAMES R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHEPPARD, DOUGLAS S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SHEPPARD, HOWARD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEPPARD, JERRY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHEPPARD, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHEPPARD, MARGIE WATHEN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEPPARD, MARGIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEPPARD, MARGIE, INDIVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHEPPARD, RICHARD L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SHEPPARD, RICHARD L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEPPARD-SMITH, GLENDA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERATON CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHERATON INN
60 STATE STREET
BOSTON, MA 02109


SHERBURNE, KATHI T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHERBURNE, KATHI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERBURNE, ROBERT L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERDEN, VERNON L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHERET, JOHN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHERIDAN GROUP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1224 M STREET NW SUITE 300
WASHINGTON, DC 20005


SHERIDAN, DIANE B.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SHERIDAN, KEVIN A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SHERIDAN, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHERIDAN, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHERIFF, LYNN KEASLER                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHERMAN ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2701 LOY LAKE ROAD
SHERMAN, TX 75090


SHERMAN, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
220 W MULBERRY ST
PO BOX 1106
SHERMAN, TX 75090


SHERMAN, FRANK J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHERMAN, GLORIA J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3231 E FLOWER APT B
TUCSON, AZ 85716


SHERMAN, HARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHERMAN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERMAN, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHERMCO INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 E PIONEER DR
IRVING, TX 75061


SHERMCO INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2425 E PIONEER DR
IRVING, TX 75061-8919


SHERMCO INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 540545
DALLAS, TX 75354


SHERMCO INDUSTRIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
715 DISCOVERY BLVD
STE 502
CEDAR PARK, TX 78613


SHERRICK, DONOVAN W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SHERRILL, BONNIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERRILL, DAVID N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHERRILL, RANDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SHERWIN ALUMINA CO LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4633 HIGHWAY 361
GREGORY, TX 78359


SHERWIN WILLIAMS CO.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 W. PROSPECT AVENUE
SUITE 1500
CLEVELAND, OH 44115


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 W PROSPECT AVENUE
CLEVELAND, OH 44115


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CATHERINE M KILBANE, SVP, GEN. COUN.
& SEC.
101 W PROSPECT AVENUE
CLEVELAND, OH 44115


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
GREGORY DE BEER
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
E BEN JR THAMES
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
JOHN MICHAEL WARD
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KAREN MARIE VOLKMAN
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KATHERINE BROOKE GREFFET
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMMONS COOPER
JOHN ANTHONY BRUEGGER
707 BERKSHIRE BLVD
EAST ALTON, IL 62024


SHERWIN WILLIAMS PAINT COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CATHERINE M KILBANE, SVP, GEN. COUN.
& SEC.
101 W PROSPECT AVENUE
CLEVELAND, OH 44115


SHERWIN WILLIAMS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2215 HWY 79 S
HENDERSON, TX 75652-4409


SHERWIN WILLIAMS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 N HIGH ST
LONGVIEW, TX 75601-5398


SHERWIN WILLIAMS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
606 N JEFFERSON
MOUNT PLEASANT, TX 75455


SHERWIN WILLIAMS COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


SHETTLESWORTH, METTIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHEVCHENKO, VICTOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHI INTERNATIONAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952121
DALLAS, TX 75395-2121


SHI INTERNATIONAL CORP.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ELAINE BINOSA - ACCOUNTING
290 DAVIDSON AVENUE
SOMERSET, NJ 08873


SHIEH, JER FU & MARJORIE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIELDS, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIELDS, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIFFER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


SHIFFLETT, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIFFLETT, DAVID JUSTIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIFFLETT, DAVID M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIFFLETT, EVELYN M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

SHIFFLETT, REBECCA LYNN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHIFFLETT, SUSAN A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ERNEST L SHIFFLETT JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIFLETT, JAMES C, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIFLETT, JAMES M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIFLETT, JEAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIKARIDES, ANDREW E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHIKI MACHINE SUPPLY CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1-20-3 TAMATSUKURI
CHUOH-KU
OSAKA CITY
OSAKA, 540-0004
JAPAN

SHILTS, ELNORA E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHILTS, GEORGE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHILTS, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHILTS, JEFFERY GEORGE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

SHILTS, MELVIN M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIMERDIA, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


SHIMKO, DONNA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHINER, LEO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHINGARY, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHINHOLT, LEO, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILLY K KENNELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHINN, NOBLE E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHINN, PAMULA DEANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHINN, SUSAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHINSKY, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

SHINTECH INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 GREENWAY PLAZA
SUITE 1150
HOUSTON, TX 77046


SHINTECH INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHINTECH,INC.
24 GREENWAY PLAZA, SUITE 811
HOUSTON, TX 77046


SHIPE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIPE, ROBERT JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIPES, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIPES, LEWIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIPLEY, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIPLEY, DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIPLEY, FLORNEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHIPLEY, MARGARET A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF TRULA GREENWOOD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

SHIPLEY, NELSON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIPLEY, VERA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHIPMAN, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIPP, JANICE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHIPPER CAR LINE,INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WINSTON ROBINSON,ADMIN.GENL.FOREMAN
300 STEVENS STREET
LONGVIEW, TX 75604-4794


SHIRAH, ALONZO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIRKEY, LINDA MOORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHIRKEY, RALPH KEETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHIRLENE WHITT, AS SURVIVING HEIR OF JD WHITT, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIRLEY, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHIRLEY, JAMES MITCHELL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHIRLEY, JIMMY PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIRLOCK, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHISLER, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIVER, LUTHER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHIVERS, CLEORA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHIVES, ANNA B, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL R SHIVES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHOCKEY, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOCKEY, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHODA, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHOEMAKE, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHOEMAKER, CALVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOEMAKER, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHOENFELT, AMY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH D WOLFE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHOFRAN, RONALD D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHOLAR, JAMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOLES, SHIRLEY ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHONTI, MARIANO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHOOK, DENNIS D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SHOOK, SHARON, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WAYNE E SHOOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHOOP, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHOPE, RONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHORES, JOSIAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHORES, ROSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOREY, MERLE F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOREY, STARK B. JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHORT, MATTHEW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHORT, RUBY, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JESSE WRIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHORTER, WARNER G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHORTHAIR, JOHNSON, SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHORTT, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOTWELL, VICKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOTWELL, WENDELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHOUP, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHOWALTER, FLETCHER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHOWALTER, HAROLD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHRADER, BOBBY G. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SHRADER, RUBY F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHREVE, CLAUDIA GAIL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHREVEPORT RUBBER & GASKET CO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 65115
SHREVEPORT, LA 71136-5115


SHREVEPORT RUBBER AND GASKET CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6109 LINWOOD AVENUE
PO BOX 8790
SHREVEPORT, LA 71106


SHRIMPLIN, TIMMOTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHRIVER, RICHARD E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHRODE, ALLEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHROTE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SHROUT, THEODORE GUY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHRUM, J JACKSON, ESQ.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 DELAWARE AVE, 13TH FL
PO BOX 25046
WILMINGTON, DE 19801


SHRUM, RICHARD M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SHUBERT, RICHARD H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SHUFFIELD, MILTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SHUGARTS, SCOTT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204


SHUKER, BERYL L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILTON SHUKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHUKLA, KIRIT S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHULHAN, JOHN P, SR--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SHULL, KATHRYN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SHULL, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHULOF, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHULTS, MARY ANN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHULTS, RICKY A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHULTZ, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SHULTZ, WILLIAM H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHUMAN, ROBERTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHUMATE JR, DAVID & TANYA SHUMATE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHUMATE, DAVID JR & TANYA SHUMATE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHUMATE, LILLIAN, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CARL M SHUMATE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHUPE, MELVIN, JR, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VIRGINIA M SHUPE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SHURLEY, JACKIE CLIFFORD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SHURLING, GEORGE D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SHURTLEFF, HAROLD W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SHUTTLESWORTH, JERRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

SHUTTLESWORTH, JOHN NORRIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SHUTTLESWORTH, MILDRED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIBILIA, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIBLEY, ERIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIBLEY, ERIC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LAW OFFICES OF JAMES HOLMES
ATTN: JAMES HOLMES
212 S MARSHALL
HENDERSON, TX 75654


SIBLEY, KEARNEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SICK MAIHAK INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6900 W 110TH ST
MINNEAPOLIS, MN 55438


SICK MAIHAK INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 16961
PALATINE, IL 60055-6961


SICKER, GERARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SICKLER, ARTHUR J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SICKLER, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

SID HARVEY INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10720 AVENUE D
BROOKLYN, NY 11236


SID HARVEY INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGOLIS EDELSTEIN
100 CENTURY PARKWAY, SUITE 200
MOUNT LAUREL, NJ 08054


SID HARVEY INDUSTRIES, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10720 AVENUE D
BROOKLYN, NY 11236


SIDBURY, HILDRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SIDES, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIDES, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SIDLOSKI, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SIEBECKER, CHARLES H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SIEBENHAAR, JANICE L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KENNETH COMSTOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIEBOLD, BECKY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIEBOLD, ERIC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIEGEL, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIEGEL, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIEGEL, PHILIP M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIEGLER, JONATHAN A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIEGLER, MICHAEL G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIEGMUND, JOHN W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIEKLICKI, ALPHONSE J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SIEKLICKI, ANTHONY J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIEKLICKI, DOROTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SIEKLICKI, MARYANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SIEMASKO, MICHAEL, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN SIEMASKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIEMENS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


SIEMENS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROSE MARIE E. GLAZER, SVP & GEN. COUN.
300 NEW JERSEY AVE SUITE 1000
WASHINGTON, DC 20001


SIEMENS DEMAG DELAVAL TURBOMACHINERY INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT AT 40131
ATLANTA, GA 31192-0131


SIEMENS DEMAG DELAVAL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TURBOMACHINERY INC
DEPT AT 40131
ATLANTA, GA 31192-0131


SIEMENS ENERGY & AUTOMATION INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
TRACY GRAVES WOLF
901 MAIN STREET SUITE 4100
DALLAS, TX 75202


SIEMENS ENERGY & AUTOMATION INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIEMENS CORPORATION
300 NEW JERSEY AVE SUITE 1000
WASHINGTON, DC 20001




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SIEMENS ENERGY INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH10169
PALATINE, IL 60055-0169


SIEMENS INDUSTRY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7000 SIEMENS RD
WENDELL, NC 27591


SIEMENS INDUSTRY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8600 NORTH ROYAL LN
STE 100
IRVING, TX 75063


SIEMENS INDUSTRY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPARTMENT CH 14381
PALATINE, IL 60055-4381


SIEMENS INDUSTRY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2715
CAROL STREAM, IL 60132


SIEMENS INDUSTRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 HUNT VALLEY DR
NEW KENSINGTON, PA 15068


SIEMENS INDUSTRY, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEIGH-ANNE BEST
100 TECHNOLOGY DRIVE
ALPHARETTA, GA 30005


SIEMENS POWER GENERATION INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH10169
PALATINE, IL 60055-0169


SIEMENS RAIL AUTOMATION CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 3498
CAROL STREAM, IL 60132-3498


SIEMENS WATER TECHNOLOGIES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
996 N FM 3083 RD E
CONROE, TX 77303




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIENA, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIENER, ALVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIERADZKI, STANLEY J , JR, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STANLEY J SIERADZKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIEROCINSKI, ALFRED J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SIERRA CLUB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL HEADQUARTERS
85 SECOND STREET, 2ND FLOOR
SAN FRANCISCO, CA 94105


SIERRA CLUB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
ABIGAIL M. DILLEN
48 WALL STREET, 19TH FLOOR
NEW YORK, NY 10005


SIERRA CLUB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
CHARLES MCPHEDRAN
1617 JOHN F. KENNEDY BLVD., SUITE 1675
PHILADELPHIA, PA 19103


SIERRA CLUB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
JAMES SAMUEL PEW
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
LISA K. PERFETTO
156 WILLIAM STREET, SUITE 800
NEW YORK, NY 10038


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
NEIL GORMLEY, ATTORNEY
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
PAUL R. CORT, SUMA PEESAPATI
50 CALIFORNIA STREET, SUITE 500
SAN FRANCISCO, CA 94111


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
THOMAS J. CMAR
5042 N. LEAVITT ST, SUITE 1
CHICAGO, IL 60625


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENTAL INTEGRITY PROJECT
ERIN E. FONKEN, ILAN LEVIN
1303 SAN ANTONIO ST #200
AUSTIN, TX 78701


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENTAL INTEGRITY PROJECT
GABRIEL CLARK-LEACH, ERIN FONKEN, ILAN M
LEVIN, 1303 SAN ANTONIO ST #200
AUSTIN, TX 78701


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENTAL INTEGRITY PROJECT
J. PATTON DYCUS
2532 KNOX STREET, NE
ATLANTA, GA 30317


SIERRA CLUB                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENTAL INTEGRITY PROJECT
JULIE KAPLAN
ONE THOMAS CIRCLE, N.W., SUITE 900
WASHINGTON, DC 20005




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                                                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                               Nature

SIERRA CLUB                                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANJA NARAYAN, ELENA SAXONHOUSE
85 SECOND STREET, 2ND FLOOR
SAN FRANCISCO, CA 94105


SIERRA CLUB                                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANJAY NARAYAN, ELENA SAXONHOUSE
85 SECOND STREET, 2ND FLOOR
SAN FRANCISCO, CA 94105


SIERRA CLUB                                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH WEBER LLP
ROBERT W. WEBER, CHARLES DAVID GLASS
5505 PLAZA DRIVE, PO BOX 6167
TEXARKANA, TX 75505


SIERRA CLUB; NATIONAL PARKS CONSERVATION ASSOCIATION; NATIONAL RESOURCES DEFENSE COUNCIL V. EPA; GINA MCCARTHY, ADMINISTRATOR, Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US EPA


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR D+E ENTERPRISES
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR HATFIELD & CO - ASSIGNOR
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR IT'S A PIECE OF CAKE
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR JAMES C. WHITE CO.
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR MATEX WIRE ROPE-ASSIGNOR
19772 MACARTHUR BLVD #200
IRVINE, CA 92612




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR MERRICK INDUSTRIES
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR NEW PIG CORP ASSIGNOR
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR RIVER TECHNOLOGIES
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR STANSELL PEST CONTROL-
ASSIGNOR
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC ASSIGNEE AND                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATT-IN-FACT FOR TODDS' A/C- ASSIGNOR
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE + ATT-IN-FACT FOR INDUSTRIAL
SPECIALTY CHEMICALS
19772 MACARTHUR BLVD #200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE AND ATT-IN-FACT FOR
ACTION CLEANING SYSTEMS, ASSIGNOR
19772 MACARTHUR BLVD # 200
IRVINE, CA 92612


SIERRA LIQUIDITY FUND, LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE AND ATT-IN-FACT FOR
VELOCITY INDUSTRIAL, ASSIGNOR
19772 MACARTHUR BLVD # 200
IRVINE, CA 92612


SIERRA, EFREN CRUZ                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIERRA, JOSE A. FIGUEROA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIGLE, TONY, SELF & SIMILARLY SITUATED                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SIGLER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIGLOW, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIGMA CHEMICAL COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3050 SPRUCE STREET
ST. LOUIS, MO 63103


SIGMON, DALLAS H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIGMON, MARGARET                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIGMON, MICHAEL RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SIGN EFFECTS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1708 BENCHMARK DRIVE
AUSTIN, TX 78728


SIGN EXPRESS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 HWY 79 NORTH
HENDERSON, TX 75652




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SIGN EXPRESS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
908 US HWY 64 WEST
HENDERSON, TX 75652


SIGNWAREHOUSE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2614 TEXOMA DRIVE
DENISON, TX 75020


SIHI PUMPS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CONDIT COMPANY
PO BOX 266657
HOUSTON, TX 77207


SIKES, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIKORA, JOHN (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIKOROWICZ, ANDREW                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIKUCINSKI, ROSEMARY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILADI, FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SILANG, ANDRES P                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILENGO, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SILFIES, DATHAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILFIES, DEREK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILFIES, RICHARD A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILFIES, SHARON L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILGAN CONTAINERS CORPORATION (CARNATION)                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21800 OXNARD ST
STE 600
WOODLAND HILLS, CA 91367


SILGAN CONTAINERS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT ROBINSON,PGM. MGR.
21800 OXNARD ST.
SUITE 600
WOODLAND HILLS, CA 91369


SILK, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SILKWOOD, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILL, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SILLS, JERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SILSBE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SILSBEE, ANNA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF IRA J SILSBEE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SILVA MILLA, ROBERTO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILVA, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SILVA, RICARDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILVA, SOFIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LONCAR & ASSOCIATES
ATTN: JAMES M. BRIDGE
424 S. CESAR CHAVEZ BLVD.
DALLAS, TX 75201


SILVAS, RICARDO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SILVER POP SYSTEMS INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DENISE JONES
200 GALLERIA PKWY, SUITE 1000
ATLANTA, GA 30339


SILVER REFINERS OF AMERICA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5817 THUNDERBIRD DRIVE
INDIANAPOLIS, IN 46236




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SILVER, CHRIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SILVER, WARREN J--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SILVER, WAYNE H, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HYMAN SILVER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SILVERIA BILLING SERVICES LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12611 CEDAR ST
AUSTIN, TX 78732


SILVERLEAVES NURSING HOME                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
505 W. CENTERVILLE ROAD
GARLAND, TX 75041


SILVERMAN, DAVID J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILVERMAN, STEVEN D, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W REID JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SILVERPOP SYSTEMS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 347925
PITTSBURGH, PA 15251-4925


SILVERS, MARK A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SILVERSTONE, ERROL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SILVERTHORN, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SILVIS, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMANCEK, STEVEN P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMANK, BILLY ED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SIMC                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA AUTUMN BREEZE
1679 S STATE HIGHWAY 121
LEWISVILLE, TX 75067


SIMEIO SOLUTIONS, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 IVAN ALLEN JR BLVD STE 350
ATLANTA, GA 30308


SIMERING, DALE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMICICH, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIMMONDS, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

SIMMONS, BINKLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, CHARLES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SIMMONS, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, DAVID D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SIMMONS, DOROTHY M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SIMMONS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SIMMONS, GARY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GORDON W PHILLIPS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMMONS, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, GLENDON EMERY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIMMONS, JACK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, JOE & NORMA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, KAREN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, LARRY DON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SIMMONS, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMONS, LOUIS D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SIMMONS, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, MELVIN J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMMONS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMMONS, O.T.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SIMMONS, PATRICIA A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARSHALL K CREIGHTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMMONS, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIMMONS, PHILLIP R , SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, PHILLIP R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, PHOEBE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, R L                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, ROBERT EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMMONS, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, SETH C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, SIDNEY C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMMONS, WILLIAM E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMMS, CHARLES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMMS, CRAIG M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMMS, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMS, FRANCIS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIMMS, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMMS, MILDRED A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD N JORDAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMOCK, CAROLINE G, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F EVANS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMON, BERNICE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMON, CLEM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, DANIEL P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SIMON, GIOWANA KAY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMON, GREGORY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, ISAIAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, MARYANNE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, ODIES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, R E                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, TRAVIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, VALERIE R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMON, VERNON, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMON, ZANE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMONDS, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMONEAU, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMONETTA, FRANCIS, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF COSMI SIMONETTA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMONETTI, RAYMOND JOSEPH, JR, PR OF THE                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SHEILA SIMONETTI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMONETTI, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMONS, CLINTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMONSEN, CRAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPKINS , GARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMPKINS, YANCEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPLEX GRINNELL LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1125 E. COLLINS BLVD.
RICHARDSON, TX 75081


SIMPLEX GRINNELL LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1125 E. COLLINS BLVD.
RICHARDSON, TX 75081


SIMPLEXGRINNELL LP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT CH 10320
PALATINE, IL 60055-0320


SIMPLEXGRINNELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BANKRUPTCY
50 TECHNOLOGY DR
WESTMINSTER, MA 01441


SIMPSON TIMBER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 EAST 11TH ST
TACOMA, WA 98421


SIMPSON, BENTHAL G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMPSON, BEVERLY M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPSON, CAROLINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


SIMPSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPSON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

SIMPSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMPSON, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMPSON, EDGAR THOMAS (DECEASED)                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SIMPSON, ELDRIDGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMPSON, JAMES EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SIMPSON, JIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPSON, MITCHELL L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SIMPSON, NAOMI J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIMPSON, NAOMI J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O JAMES JOSEPH KUSMIERCZAK,
ATTORNEY AT LAW
2402 DORAL COURT
EDWARDSVILLE, IL 62025




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SIMPSON, PATRICK F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMPSON, ROBERT ALLEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SIMPSON, ROBERT E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SIMPSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMPSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMPSON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMPSON, RONNIE JOE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SIMPSON, RUFUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SIMPSON, STEVEN, ET AL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


SIMPSON, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMPSON, WILLARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMPSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMPSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES PC
ATTN: LAUREN ELIZABETH BOAZ
1520 WASHINGTON AVE APT 224
SAINT LOUIS, MO 63103-1866


SIMS MARILYN ALEXANDER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1214 SYCAMORE DR APT 4
ANTIOCH, CA 94509


SIMS, ADMIRAL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, CARRIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, CHERYL A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, COLTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, GUY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIMS, JACKIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMS, JAMIL BURRELL J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMS, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMS, JOHNNIE DON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, JOSEPH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIMS, KENNETH C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, KENNETH R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WARD BLACK LAW
208 W WENDOVER AVE
GREENSBORO, NC 27401


SIMS, LUCIUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIMS, ORBIE D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, RICHARD EDMOND                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SIMS, SHIRLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMS, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIMUNICK, DAN J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SINCHAK, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINCHAK, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINCHAK, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINCLAIR & VALENTINE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3413 ROYALTY ROW
IRVING, TX 75062


SINCLAIR OIL & GAS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 EAST SOUTH TEMPLE
SALT LAKE CITY, UT 84130-0825


SINCLAIR OIL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SINCLAIR OIL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


SINCLAIR OIL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 EAST SOUTH TEMPLE
SALT LAKE CITY, UT 84130-0825


SINCLAIR, CLEO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SINCLAIR, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINCLAIR, JAMES L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SINCLAIR, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SINCLAIR, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SINCLAIR, LISA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SINCLAIR, NORMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGELTARY, LYNN ELYSE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SINGER SEWING CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1224 HEIL QUAKER BLVD
PO BOX 7017
LAVERGNE, TN 37086


SINGER, ERNEST                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGER, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGER, MARVIN I, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL S BENNETT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SINGER, TODD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SINGLETARY, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGLETARY, LILLIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SINGLETON, CHARLES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGLETON, EUGENE P.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SINGLETON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SINGLETON, SAMMIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINGLETON, VIRGINIA R                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SINGLETON, VIRGINIA RUSH, FOR THE ESTATE                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF FRANK LESLIE SINGLETON, JR.
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


SINGREE, JIM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINIBALDI, GARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SINISI, NUALA & AETHNA PIAZZ                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SINISI, STUART                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SIP INC (F/K/A PARSONS CHEMICAL ENGINEERING INC)                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(F/K/A PARSONS CHEMICAL ENGINEERING INC)
350 N. ST. PAUL STREET
DALLAS, TX 75201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SIPES, BARNEY O                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SIPES, GERALDINE THERESA, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER ADAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIPES, MONICA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIPES, WILSON S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SIPPOLA, STEVEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIROTTO, MARIO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SISCO, FRANK F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SISK, CLAIR                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SISLER, NORMA ANN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NORMAN BEUTELSPACHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SISNEROS, RODOLFO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SISOLAK, RICHARD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SISSON, RAY L, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SITECH TEJAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3206 S WW WHITE ROAD
SAN ANTONIO, TX 78222


SITKA, WILLIAM J (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITLER, ALVIN E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITLER, CAROL ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITTON, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITTON, ERIC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITTON, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SITTON, JOYCE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIUTA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SIVERLING, LLOYD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SIVERS, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIVERTSEN, CLARRON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SIVIERO, MIKE A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK SIVIERO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIZEMORE, GARY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SIZEMORE, JAMES CALVIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SIZEMORE, LINDA, INDIVIDUALLY AND AS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SIZEMORE, PENDLETON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SIZER, FRANK LOUIS, III                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKA CONSULTING LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 WITTE RD
STE# 150
HOUSTON, TX 77080


SKA CONSULTING LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 WITTE RD, SUITE 150
HOUSTON, TX 77080


SKAAR, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKAGGS, JERRY W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SKAGGS, THOMAS, JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS R SKAGGS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SKALAK, LLOYD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKALIAS, GUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SKALSKI, FRED T--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SKAUGE, JEFF                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKEARS, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SKEEN, CLAUDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKEEN, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKELLY, JAMES R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SKELTON, BRYAN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKELTON, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKELTON, JANET                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKELTON, SHELBY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKELTON, SUSAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PICKARD PARRY PFAU
ATTN ZACHARIAH B PARRY ESQ
10120 SOUTH EASTERN AVE STE 140
HENDERSON, NV 89052




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SKELTON, THE ESTATE OF JOHN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PICKARD PARRY PFAU
ATTN ZACHARIAH B. PARRY, ESQ.
10120 SOUTH EASTERN AVENUE, SUITE 140
HENDERSON, NV 89052


SKENE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKERBETZ, FRANCIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKERENCAK, ANDREW JOSEPH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SKEWIS, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SKF USA INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8092
PO BOX 7247
PHILADELPHIA, PA 19170-8092


SKIDD, STEPHEN N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKIDMORE, EDWARD E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SKIDMORE, JOHN H.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SKIDMORE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKILLINGS, PHILLIP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKINNER, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKINNER, CECIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKINNER, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SKINNER, JOHN E., III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SKINNER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKINNER, JOYCE W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SKINNER, JOYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SKINNER, JOYCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: WILLIAMS KHERKHER HART BOUNDAS LLP
ATTN: SAMANTHA FLORES
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


SKINNER, LAURENCE M                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKINNER, LAWRENCE M                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKINNER, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SKINNER, RICHARD D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKINNER, TODD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKINNER, WILLIAM THOMAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SKM SYSTEMS ANALYSIS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PEARL STREET
REDONDO BEACH, CA 90277


SKOGSTAD, JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SKOLNICK, FANNY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SKOTYNSKY, WALTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SKRETKOWICZ, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SKROVANEK, JOSEPH E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SKUBAL, CODY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SKUDLARCZYK, RALPH R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SKYHAWK CHEMICAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 N. POST OAK ROAD, SUITE 540
HOUSTON, TX 77024


SKYHAWK CHEMICALS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 N POST OAK RD SUITE 540
HOUSTON, TX 77024


SKYHAWK CHEMICALS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CLARK KNICKERBOCKER
701 N POST OAK RD, STE 540
HOUSTON, TX 77024


SLADE, THOMAS, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BARBARA SLADE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLADOWSKI, THADDEUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

SLANINA, GEORGE LOUIS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SLANT/FIN CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 FOREST DR
GREENVALE, NY 11548


SLANT/FIN CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARSHALL, CONWAY & WRIGHT PC
45 BROADWAY, 5TH FLOOR
NEW YORK, NY 10006-4012


SLATE, ELLA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLATER CONTROLS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 61007
MIDLAND, TX 79711


SLATER, BETTY JUNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLATER, CHAD X, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLATER, DORA M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SLATER, GORDON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLATER, JAMES A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SLATER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLATER, WILLIAM, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT A SLATER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLATNISKE, RICHARD G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SLATTER, AIRAL V.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLATTERY, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLATTERY, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLATTERY, JOHN N                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLATTERY, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLATTERY, LOIS M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT SLATTERY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SLATTERY, VERA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF EDWARD SLATTERY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


SLATTERY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLAUGHTER, CAREY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLAUGHTER, CHRIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLAUGHTER, DALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SLAUGHTER, SHELBY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLAUZIS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLAWSON, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLAY, DAVID H                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SLAY, DEBORAH D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SLAYSMAN, DORIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLAYTON, LARRY ANTHONY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLEEPER, CINDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLEEPER, JR., MARK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLEEPER, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLEEPER, MELISSA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLEMBECKER, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLIFKO, MICHAEL JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLIFKO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLIGER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SLIMAK, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLIMMER, BARBARA J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARNES L SLIMMER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLIMP, TIM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLINGBAUM, EDWARD A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLIVA, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLOAD, WARREN, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLOAN DELIVERY SERVICE, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 530912
GRAND PRAIRIE, TX 75053


SLOAN VALVE CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10500 SEYMOUR AVENUE
FRANKLIN PARK, IL 60131


SLOAN, BARBARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLOAN, BRUCE DBA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SLOAN, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLOAN, KENT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLOAN, MARY, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CLOVIS E YATES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SLOAN, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLOAN, RICHARD HARRISON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SLOAN, ROBERT N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SLOAN, TONY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SLOBE, DONALD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SLOCUM ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5765 E. STATE HWY 294
ELKHART, TX 75839




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

SLODY, ROY DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SLODYSKOM, JOSEPH M                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SLOJKOWSKI, CARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SLONE, ROSEMARY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SLOTHOWER, ROBERT L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SLOUGH, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLUBOWSKI, JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SLUDER, KAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLUDER, SHIRLEY ANN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SLUDGE, CHERYL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SLUSSER, EARL J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SLUTZ, KIMBERLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMALL BUSINESS ADMINISTRATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF GENERAL COUNSEL
409 3RD STREET, SW, 7TH FLOOR
WASHINGTON, DC 20416


SMALL, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMALL, EARLEAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMALL, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMALL, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMALL, HERBERT A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMALL, JONATHAN E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMALL, MICHAEL EDWARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMALLBONE, JOSEPH F.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMARGIASSI, ALFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMARGIASSI, ANGELO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMART, GARY E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMART, KERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMART, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMC METAL PRODUCTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 WECK DR
RESEARCH TRIANGLE PARK, NC 27709


SMEDEGARD, JAMES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMEETS, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMELGUS, ANTHONY A, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMELTZER, WARREN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMIALEK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMIDDY, JOHN PATRICK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMIDT, HARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMILARDO, CARMEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMILEY LAWN CARE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 THOMAS LANE
GRAHAM, TX 76450


SMILEY, DANNY WILLARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMILEY, JACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMILEY, SCOTT A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMILLIE, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH (WRIGHT), JENNIFER LORAINE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH , CARVIN WADE, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SMITH 2ND, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH BABB, KIMBERLY DAWN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH BLAIR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 GLOBE AVENUE
TEXARKANA, AR 71854


SMITH COUNTY EMERGENCY SERVICES DISTRICT # 02                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
1517 W. FRONT STREET, STE. 202
PO BOX 2032
TYLER, TX 75710


SMITH COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N. BROADWAY
TYLER, TX 75707




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SMITH COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207


SMITH COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
1517 W. FRONT STREET, STE. 202
PO BOX 2032
TYLER, TX 75710


SMITH INTERNATIONAL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SMITH INTERNATIONAL, INC.
16740 HARDY ST.
HOUSTON, TX 77205


SMITH J W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 DEATON ST
JACKSONVILLE, TX 75766


SMITH JONES, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
117 WEST 2ND STREET
STANBERRY, MO 64489-1105


SMITH JONES, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 STEMMONS FREEWAY
DALLAS, TX 75207


SMITH JONES, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5620 SMETANA DRIVE
MINNETONKA, MN 55343


SMITH JONES, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7316 ASPEN LANE
BROOKLYN PARK, MN 55428


SMITH JR, ARTHUR E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH OIL CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W. F. SMITH,JR.,OWNER
PO BOX 578
SPRINGHILL, LA 71075




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH PUMP COMPANY INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 M&B INDUSTRIAL
WACO, TX 76712


SMITH WELCH MEMORIAL LIBRARY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, ABBY J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, ALBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, ALEXANDER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, ALLAN K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, ALLAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, ANN CAROL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, APRIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, AUBREY EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, AVERY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, BARRY GORDON DECEASED                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SMITH, BERNARD P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, BERNARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, BERTHA C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILIP F SMITH III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, BETTY LOU MOORE COX                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, BETTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH, BILLY R., SR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SMITH, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

SMITH, BONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, BRAD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, BRAD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, BRUCE W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, BRUCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CALVIN T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CARL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, CARLA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, CARMEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, CAROL LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH, CARVIN W., JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, CECIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, CHARIELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, CHARLES A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, CHARLES B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, CHARLES D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, CHARLES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH, CHARLES WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SMITH, CHARLIE C                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CHARRLA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CLARENCE BEN, II                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, CLARENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, CLIFFORD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


SMITH, CLIFFORD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, CLIFTON L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, COLTON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DALE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, DANNY L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DARYL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, DAVID B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DAVID D. AND RUTH M. SMITH                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DENNIS R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, DEWANDA Y. (PEARL)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DONALD N.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, DONNY R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, DORIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF RICHARD D. SMITH
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


SMITH, DOROTHY M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L SMITH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, DOROTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DORSEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SMITH, DOUGLAS R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


SMITH, DWAYNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, DWYANE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, EDWARD J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, EDWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, ELAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, ELLIS PHILLIP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, ERIC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, EULA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, EULA M.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, EVELYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, FRANK W.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, FRANKLIN G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, FREDERICK A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, FRIEDA G, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD D ENSLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, GARY A, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVAH W SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, GEDDIE A, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF ROBERT M SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, GEORGE H, JR--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SMITH, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, GERALD, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, GORDON H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMITH, GRAHAM ALLEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, GREGORY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, GUY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, H M & GLADYS LILLIAN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HALLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HARLAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, HAROLD D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HAROLD WENDELL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, HAROLD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, HARRY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, HARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, HELEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, HILDA M, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES SMITH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, HOWARD P.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JACKIE D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, JAMES ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, JAMES DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, JAMES EDWARD, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, JAMES ROBERT JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JAMES W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, JEFFREY I                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

SMITH, JENNIFER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JERRY REED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JIMMIE SUE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH, JIMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JOAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JOAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JOHN ALAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JOHN T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, JOHN W                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JOHN, JR.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, JOSEPH E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, JOSEPH N                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, JOSH                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, JUDITH A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SMITH, JUDY BREWER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, KATHLEEN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY L SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, KATHY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES M SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, KEITH BRIAN, SR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM R SMITH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, KELLY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, KIM R.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LAMAR R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LARRY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, LARRY C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, LARRY D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SMITH, LARRY DARNELL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, LARRY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, LAWRENCE E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMITH, LAWRENCE R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD G PETTIE JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, LEO B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMITH, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, LESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, LEWIS JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LEWIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, LINUS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LIONEL D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, LISA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, LONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LORI                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, LOUIS E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, LUCILLE L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM K SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, MARIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MARILYN ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MARILYN ANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MARK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MARY D, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARLOS A SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, MARY DELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MARY ELLEN, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF TYNAN SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, MARY SPERLAZZA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, MURREL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, NANCY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN H SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, NATHANIEL/ID#1705836                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, NORA MAE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, NORMAN DALE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, OSCAR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, PAUL J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, PAUL W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, PAUL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, PAULETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, PERCY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, PHYLLIS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, R. (RICHARD) TERRELL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, RAYMOND T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, REXFORD, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, RICHARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, RICHARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, ROBERT HENRY (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, ROBERT SAMUEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, ROBERT V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, ROBERT, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SMITH, RODERICK M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SMITH, ROGER D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HEYWARD N CROUT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, ROGER F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SMITH, ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, RONALD (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, RONALD G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMITH, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, RUBY BARROW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, RUBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, S.D. SMITH AND SAMMIE L.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, SAMUEL N                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, SAMUEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SMITH, SARENA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, SHERRY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, SHERRY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, STEPHEN ALTON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, STEPHEN RUTLEDGE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, SUSAN L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILDRED SMITH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, TAMMY H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, TERESA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, TERRIE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CONCETTA SCHATZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, TERRY ALLEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SMITH, THEODORE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, THOMAS RAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, TILLERD A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, TIMOTHY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, TINA MARIE L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARGARET L ANTLITZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, TOMMY R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, VAUGHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, VELMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, VERNON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, W J                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SMITH, WAYNE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, WILBUR W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SMITH, WILLIAM E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, WILLIAM E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SMITH, WILLIAM G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMITH, WILLIAM STANLEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SMITH, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITH, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMITH, WILLIE FRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITH, WILLIE M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE JOHNSON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH, WILLIE MAE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMITH, WILSON LAMONT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SMITH, XANDER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMITHCO ENGINEERING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6312 S 39TH WEST AVENUE
TULSA, OK 74132


SMITHERS, PAUL L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMITH-JONES, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5620 SMETHANA DRIVE
MINNETONKA, MN 55343


SMITH-THOMANN, JUANITA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SMITKA, ARON R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SMOCK, ARLAN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SMOLINSKY, KRISTINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMOUSE, SHIRLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SMURFITSTONE CONTAINER CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
222 N. LASALLE ST. SUITE 920
CHICAGO, IL 60601


SMYRE, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SMYTHE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SMYTHE, RAYMOND C, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNAPP, LAURA ELAINE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD W SCOTT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNEDEGAR, EARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SNELLGROVE, BILLY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNELLGROVE, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNELLINGS, JOE T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNELLINGS, PENNY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNELSON, DONALD G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SNIDEMILLER, KAREN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOODROW W BREEDEN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNIDER, CLYDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNIDER, JEREMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNIDER, JOSEPH ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNIDER, ROBERT (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SNIDER, TOMMIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNIEGOWSKI, EUGENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNK GP ALBORDA LP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ATIOSO APARTMENTS
1601 W 7TH STREET STE 420
PHOENIX, AZ 85006


SNODERLY, FLOYD (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNOW COILS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NANCY L. SELMAN,C.P.M.
PO BOX 2704
LONGVIEW, TX 75606


SNOW, DONALD E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNOW, DOUGLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNOW, MATTHEW ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNOW, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNOW, TYRONE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SNOWBERGER, BETTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNOWDALE, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNOWWHITE, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNYDER ISD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2901 37TH STREET
SNYDER, TX 79549


SNYDER, AARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNYDER, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1925 24TH ST
SNYDER, TX 79549


SNYDER, DEBORAH, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD C TRUMP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, DENZIL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SNYDER, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNYDER, FREDERICK A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, GARY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, GORDON H, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, MARLENE A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J SNYDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, MARLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, MORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SNYDER, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SNYDER, PAULINE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SNYDER, RALPH G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SNYDER, ROBERTA, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GORDON H SNYDER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, ROSEMARY, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS TRIMP
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, SARAH K                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SNYDER, STUART                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


SOAPE, R                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOBOLEWSKI, JERRY M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SOBOLEWSKI, JOHN, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOCO WEST INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 STAMFORD PLACE #14
STAMFORD, CT 06902-6747




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Name of Counterparty                                                                                           Nature

SOCO-LYNCH CORP.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3270 EAST WASHINGTON BLVD
LOS ANGELES, CA 90023


SOCO-WEST, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MURRIN & ASSOCIATES , LLC
3675 MT DIABLO BLVD., STE 230
LAFAYETTE, CA 94549


SODERMARK, ARTHUR L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SODERMARK, MARVIN D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SODERQUIST, GARY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


SOERENS, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOFA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOFTWARE ENGINEERING OF AMERICA INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1230 HEMSTEAD TURNPIKE
FRANKLIN SQUARE, NY 11010


SOFTWARE ENGINEERING OF AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOSEPHINE DAY
1230 HEMPSTEAD TURNPIKE
FRANKLIN SQUARE, NY 11010




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Name of Counterparty                                                                                          Nature

SOIFERMAN, HARVEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOILEAU, MARVIN & ROWANA STARR                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOJITZ AMERICA CAPITAL CORPORATION                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: NOBORU HIBINO
1120 AVENUE OF THE AMERICAS
NEW YORK, NY 10036


SOKOL, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOKOL, THEODORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOKOLOSKI, WALTER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOKOLOWSKI, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SOKOLOWSKI, RUDOLPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOKOLOWSKI, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SOLANO, RAFAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOLARWINDS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730720
DALLAS, TX 75373-0720


SOLARWINDS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730720



DALLAS, TX 75373-0720


SOLBAKKEN, EARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOLDO, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SOLI, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLIANI, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLIS, JOE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOLIS, LORI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOLIS, TRENTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

SOLLARS, RICHARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLLEDER, DANIEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLLY, GERALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLNA AMERICAS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14500 W 105TH ST
LENEXA, KS 66215


SOLOMON CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 245
SOLOMON, KS 67480


SOLOMON, JACK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOLOMON, LEROY T                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SOLOMON, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLOMONS, HELEN H.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOLT, CLYDE T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

SOLTIS, LORI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SOLUSKY, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOLUTIONSET LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MONTGOMERY ST STE 1500
SAN FRANCISCO, CA 94104-4300


SOLUTIONSET LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 GENG RD #105
PALO ALTO, CA 94303


SOLVAY CHEMICALS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3333 RICHMOND AVENUE
HOUSTON, TX 77098


SOLVENTS & CHEMICALS, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4704 SHANK RD.
PEARLAND, TX 77588


SOLVENTS AND PETROLEUM SERVICE, INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1405 BREWERTON RD
SYRACUSE, NY 13208


SOLVENTS AND PETROLEUM SERVICE, ME.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1405 BREWERTON RD
SYRACUSE, NY 13208


SOMERS, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOMERSET POWER LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SOMERSET POWER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


SOMERSET POWER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


SOMERSET POWER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SOMERSET POWER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


SOMERSET POWER LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LASHLY & BAER, P.C.
MICHAEL PATRICK MCGINLEY
714 LOCUST
ST LOUIS, MO 63101


SOMERVELL CO. HOSP DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLEN ROSE MEDICAL CENTER
1021 HOLDEN STREET
GLEN ROSE, TX 76043


SOMERVELL CO. WATER DIST.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2099 COUNTY ROAD 301
PO BOX 1386
GLEN ROSE, TX 76043


SOMERVELL COUNTY WATER DISTRICT                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1386
GLEN ROSE, TX 76043


SOMERVELL COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
107 N.E. VERNON
GLEN ROSE, TX 76043




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SOMERVELL COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


SOMERVELL COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: R. BRUCE MEDLEY
PO BOX 13430
ARLINGTON, TX 76094-0430


SOMERVILLE, GARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SOMERVILLE, JEROME H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SOMMA, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOMMERFELD, GAD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOMMERS, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SOMMERS, ROSEMARY F, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL LEONARD SOMMERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SOMMERS, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOMP COTTAGES LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA COTTAGES OF BEDFORD
2000 PARK PLACE BLVD
BEDFORD, TX 76021


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF ARBILL INDUSTRIES
SUITE 208
80 BUSINESS PARK DRIVE
ARMONK, NY 10504


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF CAM-AIR, LLC
80 BUSINESS PARK DRIVE
SUITE 208
ARMONK, NY 10504


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF HIGHWAY MACHINE CO INC
80 BUSINESS PARK DRIVE
SUITE 208
ARMONK, NY 10504


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF KENCO GOLF CARS
80 BUSINESS PARK DRIVE
SUITE 208
ARMONK, NY 10504


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF ROBERT'S COFFEE &
VENDING SERVICES, LLC
80 BUSINESS PARK DRIVE, SUITE 208
ARMONK, NY 10504


SONAR CREDIT PARTNERS III, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE OF WESTERN FILTER CO INC
80 BUSINESS PARK DRIVE
SUITE 208
ARMONK, NY 10504




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SONAR CREDIT PARTNERS III, LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE OF CIRCUIT BREAKER SALES CO INC
80 BUSINESS PARK DRIVE
SUITE 208
ARMONK, NY 10504


SONDAG, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SONDERGAARD, ROLF M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SONG, ALICE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SONG, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SONGER, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SONN, EDWARD J, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SONNER, HUGH A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SONNIER, MARTIN LINTON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOOHOO, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SOOKLALL, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SOOS, MICHAEL R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOPER, JAMES L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SOPKO, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SOPUS PRODUCTS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7247-6236
PHILADELPHIA, PA 19170-6236


SOR INC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 414229
KANSAS CITY, MO 64141


SORACIN, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SORAPURU, RUDOLPH, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SORAPURU, RUSSELL, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SORBER, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SORE, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SORECO, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SORENSEN, CHRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SORENSEN, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SORENSEN, NYRON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SORENSEN, RICHARD E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SORENSON, EUGENE W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SORENSON, MITCHELL E.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SORENSON, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SORIANO, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SORIANO, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

SORIERO, MARIO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SORRELHORSE, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SORRELL, REUEL T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SORRELLS, JASON VON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SORRENTINO, ANNA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM, 1960 WEST
HOUSTON, TX 77069


SORTON, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOS, DONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOSBEE, GENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOTELO, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                             Nature

SOTER, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOTIR, DENNIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOTO, FELIPE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SOTO, LUZ                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOTTOSANTI, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SOUDERS, JOHN E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOUDERS, MARIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOUDERS, WILBUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOUKUP, CHESTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SOURCE ONE SUPPLY INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1616 WESTGATE CIR STE 310
BRENTWOOD, TN 37027


SOUTH CAROLINA DEPARTMENT OF REVENUE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SALES TAX RETURN
COLUMBIA, SC 29214-0101


SOUTH CAROLINA ELECTRIC & GAS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 88
JENKINSVILLE, SC 29065


SOUTH COAST PRODUCTS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
902 MIDDLE STREET
HOUSTON, TX 77003


SOUTH LIMESTONE HOSPITAL DIST.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 MCCLINTIC DR
GROESBECK, TX 76642-2128


SOUTH TEXAS COLLEGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: DIANE W. SANDERS
P.O. BOX 17428
AUSTIN, TX 78760-7428


SOUTH TEXAS ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: DIANE W. SANDERS
P.O. BOX 17428
AUSTIN, TX 78760-7428


SOUTH WORKS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE-HALL CORP. SYSTEM
2711 CENTERVILLE ROAD, SUITE 400
WILMINGTON, DE 19808


SOUTHALL, IRVING E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SOUTHARD, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOUTHEAST TEXAS ENVIRONMENTAL LLC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRACY HOLLISTER,PRESIDENT,REG.AGENT
3923 GERONIMO
PASADENA, TX 77505


SOUTHER, JOYCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOUTHERLAND, CLIFFORD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOUTHERLAND, DAVID L, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOUTHERLAND, NANCY P, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HUBERT D SOUTHERLAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SOUTHERN BELL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYNSWORTH SINKLER BOYD, PA
M.G. MCDONALD, W.D. CONNER, S. FRICK
75 BEATTIE PLACE, 11 FL, PO BOX 2048
GREENVILLE, SC 29602


SOUTHERN BULK SOLVENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1645 RHOME STREET
DALLAS, TX 75229


SOUTHERN BULK SOLVENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 35825
DALLAS, TX 75235




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SOUTHERN CALIFORNIA EDISON COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2244 WALNUT GROVE AVE
ROSEMEAD, CA 91770


SOUTHERN CALIFORNIA GAS COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 WEST FIFTH STREET
ML 10E3, ATTN: MAJOR MARKETS,
CREDIT & COLLECTIONS MANAGER
LOS ANGELES, CA 90013-1011


SOUTHERN CO. SERVICES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 IVAN ALLEN JR BLVD NW
ATLANTA, GA 30308


SOUTHERN CRANE & ELEVATOR SERVICE INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 SKILES
PLANO, TX 75075


SOUTHERN CRANE & ELEVATOR SERVICE INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 866008
PLANO, TX 75086-6008


SOUTHERN GRAPHIC SYSTEMS, INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
626 WEST MAIN STREET; SUITE 500
LOUISVILLE, KY 40402


SOUTHERN GULF                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
J.D. HAYNES,PRESIDENT
PO BOX 7959
SHREVEPORT, LA 71137-7959


SOUTHERN ILLINOIS POWER COOPER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11543 LAKE OF EGYPT ROAD
MARION, IL 62959


SOUTHERN INDUSTRIAL CONSTRUCTORS INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
327 HILLSBOROUGH ST
RALEIGH, NC 27603


SOUTHERN INDUSTRIAL CONSTRUCTORS INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAMOS & TRUCCO LLP
GREGORY TODD GOLDBERG
1 EAST WACKER DRIVE SUITE 300
CHICAGO, IL 60601




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SOUTHERN OAKS HOUSING LP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT CEDAR CREST APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD #400
ADDISON, TX 75001


SOUTHERN PLASTIC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIM EGGERS,PRESIDENT
5202 INTERSTATE
SHREVEPORT, LA 71109


SOUTHERN SCRAP AND METAL COMPANY, INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 927
MERIDIAN, MS 39302-0927


SOUTHERN TALC COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1201 PEACHTREE ST NE
ATLANTA, GA 30361


SOUTHERN TALC COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GORDON & REES'S
PAUL W LORE
75 W. LOCKWOOD AVENUE, SUITE 222
ST LOUIS, MO 63119


SOUTHERN TEXTILE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 32427
CHARLOTTE, NC 28232


SOUTHERN TIRE MART #49                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14733 HWY. 11 E.
PICKTON, TX 75471


SOUTHERN TIRE MART                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14733 HWY 11 E
PICKTON, TX 75471


SOUTHERN TIRE MART                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3259 GREIG DR I 35
WACO, TX 76706


SOUTHERN TIRE MART                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3259 GREIG DR
WACO, TX 76706




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SOUTHERN TIRE MART                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3744 WEST LOOP 281
LONGVIEW, TX 75604


SOUTHERN TIRE MART                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9665 US 290 E
AUSTIN, TX 78724


SOUTHERN TIRE MART                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1000 DEPT 143
MEMPHIS, TN 38148


SOUTHERN, JIMMY LEE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOUTHERN, MICHAEL RAY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOUTHERS, STANLEY R                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOUTHLAND CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
316 CLOSNER STREET
EDINBURG, TX 78539


SOUTHLINE METAL PRODUCTS COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DAVID B. FISCHER
425 WINTER RD
DELAWARE, OH 43015


SOUTHWELL INDUSTRIES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
265 ARCH STREET
LAGUNA BEACH, CA 92651


SOUTHWEST AIRGAS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
605 EAST SECOND ST
BIG SPRING, TX 79720


SOUTHWEST DISPOSAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DONALS SLAGER,PRESIDENT
PO BOX 1139
KILGORE, TX 75662




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SOUTHWEST FANNIN COUNTY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DANA MELUGIN
WATER SUPPLY CORP, 8046 W HIGHWAY 56
SAVOY, TX 75479


SOUTHWEST GALVANIZING                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
737 ALEEN ST.
HOUSTON, TX 77029


SOUTHWEST GEOSCIENCE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2351 W NORTHWEST HWY STE 3321
DALLAS, TX 75220


SOUTHWEST METER & SUPPLY CO                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 638
MARSHALL, TX 75671-0066


SOUTHWEST OCEAN SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5718 ARMOUR DR
ATTN ACCOUNTS RECEIVABLE
HOUSTON, TX 77020


SOUTHWEST OCEAN SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: WHITNEY BAKER
5721 HARVEY WILSON DR
HOUSTON, TX 77020


SOUTHWEST OFFICE SYSTEMS INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 612248
DFW AIRPORT, TX 75261-2248


SOUTHWEST RESEARCH INSTITUTE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6220 CULEBRA RD
SAN ANTONIO, TX 78238


SOUTHWEST RESEARCH INSTITUTE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ACCOUNTS RECEIVABLE BLDG 160
6220 CULEBRA RD
SAN ANTONIO, TX 78238-5166


SOUTHWEST SHIPYARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MILLS SHIRLEY L.L.P.
ATTN: ANDY SOTO
2228 MECHANIC ST.
SUITE 400
GALVESTON, TX 77550




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Name of Counterparty                                                                                           Nature

SOUTHWEST SPECIALTY CHEMICALS,INC.                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THIOKOL CORP.
1110 NASA ROAD ONE, SUITE 212
HOUSTON, TX 77058


SOUTHWEST TRUCKING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1403 JONES STREET
FORT WORTH, TX 76106


SOUTHWESTERN BARGE & FLEET SERVICE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18310 MARKET ST.
CHANNELVIEW, TX 77530


SOUTHWESTERN BELL TELEPHONE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
208 S. AKARD ST.
DALLAS, TX 75202


SOUTHWESTERN BELL TELEPHONE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 225521
DALLAS, TX 75265


SOUTHWESTERN DRUG CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DALLAS, TX


SOUTHWESTERN ELECTRIC POWER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 24422
CANTON, OH 44701-4422


SOUTHWESTERN PLATING CO., INC. (THE)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8837
HOUSTON, TX 77249


SOUTHWESTERN PUBLIC SERVICE CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
211 E. 7TH STREET, SUITE 620
AUSTIN, TX 78701


SOUTHWIRE COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE SOUTHWIRE DRIVE
CARROLLTON, GA 30119




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SOUZA, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOUZA, MAX A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOUZA, ROGER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SOWELL, BETTY SUE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOWELL, WENDELL ERVIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOWERBY, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SOX, BRYAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPACENET INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 347866
PITTSBURGH, PA 15251-4866


SPACENET INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: GENERAL COUNSEL
1750 OLD MEADOW ROAD
MC LEAN, VA 22102


SPAETH, HAROLD W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPAGNA, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

SPAGNOLA, THOMAS J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SPAGNUOLO, ANTHONY S--EST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SPAHN , ALLEN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SPAICH, NICHOLAS P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SPALDING, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPALLONE, DANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPANGLER, ALEX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPANGLER, FLOYD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPANGLER, GENE L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

SPANGLER, GREG                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPANISH MASTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 495215
GARLAND, TX 75049-5215


SPANN, GERALD KESLER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SPANN, MARK D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPANO, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPAR INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
917 FRANCIS STREET WEST
PO BOX 909
JACKSONVILLE, AL 36265


SPARKLETTS AND SIERRA SPRINGS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660579
DALLAS, TX 75266-0579


SPARKS, BOBBY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPARKS, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPARKS, CARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPARKS, CRAIG                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


SPARKS, DENNIS L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPARKS, JAMES E JIMMY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPARKS, JANET                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF HERMAN SPARKS
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


SPARKS, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPARKS, REBECCA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPARKS-EUBANKS, RITA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPARR (MAIDEN-SILFIES), DESIREE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPARR, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPATAFORA, GAETANO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SPAULDING-MOORE, ELAINE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPAUN, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPAUN, JUDITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPAZIANTE, ALBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPEAKE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPEAKS, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPEAR, HORACE--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SPEAR, LESLIE (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPEARS, CONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPEARS, DELILA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPEARS, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SPEARS, TOMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


SPECHT, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPECIAL DELIVERY SERVICE INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5470 LBJ FREEWAY
DALLAS, TX 75240


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3628 W PIERCE ST.
MILWAUKEE, WI 53215


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8040 EXCELSIOR DR STE 200
MADISON, WI 53717


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
8040 EXCELSIOR DRIVE STE 200
MADISON, WI 53717


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3628 W PIERCE ST.
MILWAUKEE, WI 53215


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 WEST MONROE ST
SUITE 700
CHICAGO, IL 60603


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8040 EXCELSIOR DR STE 200
MADISON, WI 53717


SPECIAL ELECTRIC COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8040 EXCELSIOR DR
SUITE 200
MADISON, WI 53717




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SPECIAL ELECTRIC COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSCHEK NILES & SINARS LLC
PATRICK GRAND
55 WEST MONROE ST, SUITE 700
CHICAGO, IL 60603


SPECIAL ELECTRIC COMPANY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSEK, NILLES & SINARS, LLC
DOUGLAS MICHAEL SINARS
55 W MONROE ST STE 700
CHICAGO, IL 60603


SPECIALTY OIL/WESTLAND OIL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID MYATT, PRES
PO BOX 8098
SHREVEPORT, LA 71108


SPECIALTY SAND COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16601 GARRETT RD
HOUSTON, TX 77044


SPECIFIED PROPERTIES KLI LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA BELLA CASITA APARTMENTS
851 LAKE CAROLYN PKWY
IRVING, TX 75039


SPECKMAN, ROBERT FRANCIS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SPECTRONICS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
830 E. ARAPAHO
DALLAS, TX 75248


SPECTRONICS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
956 BRUSH HOLLOW RD
WESTBURY, NY 11590


SPECTRONICS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HONEYWELL PLAZA
MINNEAPOLIS, MN 55408




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPEDALE, SALVATORE C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SPEED COMMERCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NW 8510 PO BOX 1450
MINNEAPOLIS, MN 55485-8510


SPEER, CARL G., JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPEER, CEYLON C & BETTY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPEIGHT, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPEIGHT, KRISTINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPEIGHT, PETRINA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES J SYKES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPEIGHT, THOMAS W--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SPEIGHTS, DWIGHT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPELL, ROBERT EVERETTE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPELLS, AARON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPENARD, ELIZABETH L, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES MANGUS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPENCE ENGINEERING CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 COLDENHAM RD
WALDEN, NY 12586


SPENCE, ALFRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPENCE, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


SPENCE, GARY D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCE, GARY DOUGLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCE, MONTRELL, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF KARL B MARSHALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPENCER JR, ROBERT B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER SR, ALEX L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER, AMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPENCER, FLOYD LEWIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPENCER, JANICE C, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN W ABBOTT SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPENCER, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER, JULIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER, KIRBY EUGENE, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SPENCER, LAURA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPENCER, RHONDA BRINSON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SPENCER, STEPHEN M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPENCER, STEPHEN M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPENCER-HARRIS OF ARKANSAS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 82 EAST
BOX 579
MAGNOLIA, AR 71753


SPERBECK, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPERLAZZA, MARY (SMITH)                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPESSATO, LAWRENCE W, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPEZIALE, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPHAR, DIANA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPICER, JACK L , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK SPICER SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPICER, LAURA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPIEGEL, JOAN E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS A SPIEGEL JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPIERING, CLARE D. (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SPIES, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPIESE, GEORGE C, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPILKER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPILLMAN, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPINA, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPINA, LOUIS A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SPINDLER, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPINDOR, STEPHEN LANE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPINELLI, MICHAEL J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                          Nature

SPINNEY, DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPINNEY, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPINOLA, DENNIS MANUEL, SR                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1150 NORTHPOINT BLVD
BLYTHEWOOD, SC 29016


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116


SPIRAX SARCO INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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Name of Counterparty                                                                                             Nature

SPIRAX SARCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


SPIRAX SARCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HODGES WALSH & SLATER, LLP
55 CHURCH ST, STE 211
WHITE PLAINS, NY 10601


SPIRES, ROBERT E, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPIRKO, NANCY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD JOHNS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPITZENBERGER, MARIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPIVEY, BILLY TRIPP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPIVEY, JAMES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SPIVEY, SCOTT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPIVEY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPIVEY-IRELAND, COLLEEN, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MITCHEL J FERRARE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPLENDORA, ANTHONY J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPLENDORA, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPLITT, GERALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPLITZ, JOHN F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SPM FLOW CONTROL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 99395
FORT WORTH, TX 76199-3095


SPM FLOW CONTROL, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 WEIR WAY
FORT WORTH, TX 76108


SPODNIK, KENNETH F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPODNIK, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPODNIK, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPOONE, LOUIS GAMEZ                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                    Retained Causes of Action

                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SPOONER GARY, LANA L                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPORL III, MARK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPORLAN VALVE CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
211 N BROADWAY STE 3600
ST LOUIS, MO 63102


SPOT, JOHNNY ON THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRADLEY, JAMES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPRADLIN, KARSEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRADLIN, SHELLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRADLING, JEFF                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRAGUE ELECTRIC CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
32 RIVER STREET
NORTH ADAMS, MA 01247


SPRAGUE ELECTRIC CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 STAMFORD FORUM
STAMFORD, CT 06901


SPRAGUE ELECTRIC CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5327
WICHITA, TX 76307




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPRAGUE, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPRALLS, DIANNE M. LITTLETON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRANGLER, LARRY J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRAY CRAFT CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6128 SONNY DRIVE
CINCINNATI, OH 45230


SPRAYBERRY, RICKY LYNN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRAYING SYSTEMS CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 95564
CHICAGO, IL 60694-5564


SPRENG, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRIGGS, OLIVER J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPRING, ELIZABETH L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ELLSWORTH L SPRING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPRING, PHILIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPRING, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPRING-CLEAN, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1292
BILOXI, MS 39533


SPRINGER, CHRISTIE DAWN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRINGER, NANCY R, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GLENN F SPRINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SPRINGFIELD BOILER CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM COONEY, ESQ.
BARRY, MCTIERNAN & MOORE
TWO RECTOR STREET, 14TH FLOOR
NEW YORK, NY 10006


SPRINGFIELD, CAROLYN E.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRINKLE, HELEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF LEE R. SPRINKLE
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


SPRINKLE, PHILLIP R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRINKMANN INSULATION INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SPRINKMANN INSULATION INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1028 SW WASHINGTON ST
PEORIA, IL 61602




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SPRINKMANN INSULATION INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SPRINKMANN INSULATION INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
CLAYTON, MO 63101


SPRINKMANN INSULATION INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAGT CT CORPORATION SYSTEM
120 S CENTRAL AVE
CLAYTON, MO 63105


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 WEST SILVER SPRING RD
P.O. BOX 250937
MILWAUKEE, WI 53225


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 WEST SILVER SPRING RD
PO BOX 250937
MILWAUKEE, WI 53225


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 250937
MILWAUKEE, WI 53225


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 WEST SILVER SPRING RD
P.O. BOX 250937
MILWAUKEE, WI 53225




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 WEST SILVER SPRING RD
PO BOX 250937
MILWAUKEE, WI 53225


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 WEST SILVER SPRINGS D
MILWAUKEE, WI 53225


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AB KREMERS
1212 MILFORD AVE
PEORIA, IL 61109


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON, S.C.
JAMES A. NIQUET
710 NORTH PLANKINTON AVE, SUITE 500
MILWAUKEE, WI 53203


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CRIVELLO CARLSON, S.C.
TRAVIS J. RHOADES
710 NORTH PLANKINTON AVE, SUITE 500
MILWAUKEE, WI 53203


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALISON RACHELLE SIMEONE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MARCIE JANNAE VANTINE
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101




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Name of Counterparty                                                                                         Nature

SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
MEGAN J BRICKER
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ROMEO JOSEPH JR MONZONES
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SHANNON ROBERT SUMMERS
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KERNELL LAW FIRM
THOMAS JOSEPH KERNELL
800 MARKET STREET, SUITE 2100
ST LOUIS, MO 63101


SPRINKMANN SONS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM E SPRINKMANN JR
12100 W SILVER SPRING ROAD
MILWAUKEE, WI 53225


SPRINKMANN INSULATION INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1028 SW WASHINGTON ST
PEORIA, IL 61602


SPRM KILLEEN PHASE II LP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA STONE CREEK APARTMENTS
2700 TRIMMIER RD
KILLEEN, TX 76542


SPROTT, RIGBY, NEWSOME, ROBBINS & LUNCEFORD PC                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPROTT RIGBY NEWSOM LUNCEFORD
JAMES A. NEWSOME
2211 NORFOLK STREET
HOUSTON, TX 77098


SPROUSE, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SPROUSE, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPROUSE, OTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SPRY, LINDA CAROLYN KURFEES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SPRY, TIM MCQUINN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SPURLOCK, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SPURRIER, GRANT B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7401 W 129TH STREET
OVERLAND PARK, KS 66213


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1300 E 9TH ST STE 1010
CLEVELAND, OH 44114


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAURA ANN GRADY
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEVIN L LILLY, SVP SEC. & GEN. COUN.
7401 W 129TH STREET
OVERLAND PARK, KS 66213


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR
SWANSEA, IL 62226




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Name of Counterparty                                                                                            Nature

SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
HOLLIE RENEE BIRKHOLZ
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


SPX COOLING TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


SPX CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BALLANTYNE CORPORATE PLACE
CHARLOTTE, NC 28277




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
MICHAEL WILDER NEWPORT
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


SPX CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SMITH ADAMS LAW FEEHAN LLP
ROBERT L. ADAMS, WEDGE INTERNATIONAL
TOWER, 1415 LOUISIANA STREET, SUITE 3800
HOUSTON, TX 77002




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                                                                                  ENERGY FUTURE HOLDINGS CORP., et al.

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                                                           Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                Nature

SPX CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CLARY FIRM P.C.
BRIAN S. CLARY
408 STAITTI STREET
HUMBLE, TX 77338


SPX CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
1209 ORANGE STREET
WILMINGTON, DE 19801


SPX CORPORATION                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


SPX FLOW CONTROL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848194
DALLAS, TX 75284-8194


SPX FLOW TECHNOLOGY SYSTEMS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13515 BALLANTYNE CORPORATE PLACE
CHARLOTTE, NC 28277


SPX FLOW TECHNOLOGY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19191 HEMPSTEAD HWY
HOUSTON, TX 77065


SPX FLOW TECHNOLOGY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 848194
DALLAS, TX 75284-8194


SPX HEAT TRANSFER INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74116-4802


SPX HEAT TRANSFER LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 NORTH 161ST EAST AVE.
TULSA, OK 74116


SPX COOLING TECHNOLOGIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEVIN L LILLY, SVP SEC. & GEN. COUN.
7401 W 129TH STREET
OVERLAND PARK, KS 66213




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SQUADRITTO MOGGIA, JUAN GUSTAVO                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11 EAST CHASE STREET
BALTIMORE, MD 21202


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1415 SOUTH ROSELLE ROAD
PALATINE, IL 60067


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
JAMES A LOWERY
1717 MAIN STREET, SUITE 2800
DALLAS, TX 75201


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
N/K/A SCHNEIDER ELECTRIC COMPANY
599 LEXINGTON AVE
NEW YORK, NY 10022


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LYNN G LEGLER- TREVINO,
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


SQUARE D                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


SQUIRES, INEZE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SQUIRES, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SROKA, CONSTANCE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN E SROKA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SS WHITEBURS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1145 TOWBIN AVE
LAKEWOOD TOWNSHIP, NJ 08701


SSW, INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


ST GEORGE , BRENDAN--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ST JOSEPH REGIONAL HEALTH CENTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2801 FRANCISCAN
BRYAN, TX 77802-2544


ST JOSEPH REGIONAL HEALTH CENTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 202536
DALLAS, TX 75320-2536




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ST JOSEPH REGIONAL HEALTH CENTER                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660445
DALLAS, TX 75266-0445


ST LAURENT, REBECCA S.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ST MARY CHURCH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


ST. AMOUR, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ST. CLAIR, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ST. GABRIEL CONTRACTORS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 88
ST. GABRIEL, LA 70776


ST. GERMAIN, GEORGE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ST. JOHN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


ST. JOHN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ST. JOSEPH REGIONAL HEALTH CENTER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 202536
DALLAS, TX 75320-2536




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ST. LAURENT, ALBERT GEORGE, SR.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


ST. LOUIS SOUTHWESTERN RAILWAY COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O: SOUTHERN PACIFIC TRANSPORTATION COMPANY
ATTN: DAVID W. LONG
ONE MARKET PLACE, SOUTHERN PACIFIC BUILDING 8TH FLOOR
SAN FRANCISCO, CA 94105


ST. ONGE, GARY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ST. REGIS PAPER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMAS B.ROSS,DIR.ENVIRON.PRODUCTS
ONE CHAMPION PLAZA
STAMFORD, CT 06921


STABLEIN, JODI L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STACHA, WILLIAM R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STACHAROWSKI, NORMAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STACHLER, DARRELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STACHOROWSKI, MICHAEL J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STACK, JACKLYN RAE SOLIDA, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL F STACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STACK, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STACK, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STACK, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STACKPOLE, MICHAEL J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STACY, JERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STACY, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


STACY, SELDON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STACY, STERLING SCOTT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STAEHLE, PATRICIA A, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT C STAEHLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAFFORD, DEBORAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAFFORD, DEBORAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAFFORD, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAFFORD, ROYAL M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STAFFORD, WARREN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAFFORD, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAGER, DOUGLAS AND CHARLOTTE STAGER                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAGER, DOUGLAS AND CHARLOTTE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025


STAGICH, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

STAGNER, EDGAR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAGNER, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAGNER, RAY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAGNER, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAGNITTA, THOMAS J., JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STAHL, LEOMA C, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS L STAHL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAHLMANN, HANS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAHLSCHMIDT, DAVID                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

STAHURA, GREGORY R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STAIGERWALD, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAIR, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STALEY, ARLENE P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID STALEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STALEY, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STALGAITIS, SANDRA J, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN W STALGAITIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STALIK, EDWARD E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STALIK, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


STALKER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STAM, MYRON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAMATELOS, PATRICIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


STAMBAUGH, MORRELL L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAMM, CARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAMM, CHARLES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAMM, PATRICIA L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ST-AMOUR, PIERRE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STAMPER, ALGIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAMPER, DAVID K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAMPER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

STAMPER, TERRI J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAMPER, THOMAS BARTON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAMPLEY, GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAN TRANS, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2330 NORTH LOOP 1604 WEST
SAN ANTONIO, TX 78248


STANBERY, BOBBY GENE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANCIL, NANCY LUCILLE (LUCY)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANCO METAL PRODUCTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2101 168TH AVE
GRAND HAVEN, MI 49417


STANDARD COFFEE SERVICE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952748
ST LOUIS, MO 63195-2748


STANDARD ENVIRONMENTAL PRODUCTS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CO INC
1700 SE RANCH ROAD
JUPITER, FL 33478


STANDARD FRUIT & STEAMSHIP COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DOLE CONTAINER TERMINAL
GULFPORT, MS 39501


STANDARD INSULATION CO                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9488 RIVER RD
MARCY, NY 13403


STANDARD IRON & METAL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1933 VANDERBILT ROAD
BIRMINGHAM, AL 35234




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Name of Counterparty                                                                                              Nature

STANDARD LABORATORIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
147 11TH AVE STE 100
S CHARLESTON, WV 25303


STANDARD MOTOR PARTS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
2101 SW 21ST STREET
TOPEKA, KS 66604


STANDARD MOTOR PRODUCTS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARMINE J BROCCOLE, VP, GEN. COUN.
& SEC.
37-18 NORTHERN BLVD
LONG ISLAND CITY, NY 11101-1616


STANDARD PARKING                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8037 COLLECTION CENTER DRIVE
CHICAGO, IL 60693


STANDARD, AMOS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANDARD, GRACE % CARL STANDARD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANDCO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BEASON WILLINGHAM
R. MARK WILLINGHAM, DENISE MITCHELL
808 TRAVIS, SUITE 1608
HOUSTON, TX 77002


STANDCO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES PC
JOHN PATRICK CUNNINGHAM
525 WEST MAIN ST., SUITE 200
BELLEVILLE, MO 62220


STANDCO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN
#6-1701 SUMMIT AVE
PLANO, TX 75074-8175


STANDCO INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STANDCO INDUSTRIES INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
MARK R. WILLINGHAM
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


STANDFORD, NELSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANDISH MILLING CO INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1331 W CEDAR ST
STANDISH, MI 48658


STANDRIDGE, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANEK, FRANK J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STANFIELD, GERALD RAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANFIELD, ROY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANFILL, STERLING E BUD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANFORD, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STANFORD, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STANFORD, RAYMOND H, II                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANFORD, TONI                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANGHELLINI, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANIC, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANISHEFSKI, VINCENT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANKEWICZ, ANTHONY B                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STANKIEWICZ, PETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STANKIWICZ, MELBA J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STANLEY CONSULTANTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 IOWA AVENUE
MUSCATINE, IA 52761


STANLEY CONSULTANTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6836 AUSTIN CENTER BOULEVARD
SUITE 350
AUSTIN, TX 78731




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STANLEY CONSULTANTS INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEGAL DEPT
225 IOWA AVE
MUSCATINE, IA 52761


STANLEY PROTO INDUSTRIAL TOOLS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 STANLEY DR.
NEW BRITAIN, CT 06053


STANLEY, CHARLES WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


STANLEY, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANLEY, DANNY EARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANLEY, EMORY WALTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STANLEY, FELECIA L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT J HILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STANLEY, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANLEY, JASPER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

STANLEY, PETER AND CHRISTINE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BERGMAN DRAPER LADENBURG PLLC
ATTN GLENN S. DRAPER; BRIAN F. LADENBURG
614 1ST AVE, 4TH FLOOR
SEATTLE, WA 98104


STANSELL PEST CONTROL CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1853
MOUNT PLEASANT, TX 75456-1853


STANSELL PEST CONTROL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1853
MOUNT PLEASANT, TX 75456


STANSFIELD, GILBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANTON, DUANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STANTON, JOSEPG T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STANTON, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STANTON, VERNON CALVIN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STANTRANS,INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SUPPORT TERMINAL SERVICES,INC.
2435 N/ CENTRAL EXPRESSWAY
RICHARDSON, TX 75080




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STAPLES, DON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAPLES, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STAPLETON, LEONARD B                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STAPLETON, VINCENT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAR CUTTER CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
23461 INDUSTRIAL PARK DRIVE
PO BOX 376
FARMINGTON HILLS, MI 48335


STAR ELECTRICITY, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CONSTELLATION ENERGY
100 CONSTELLATION WAY, SUITE 600C
ATTN: COLLATERAL TEAM
BALTIMORE, MD 21202-6302


STAR INTERNATIONAL INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1898
TEXARKANA, TX 75504


STAR SOLVENTS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
441 S HIGH ST
LONGVIEW, TX 75601


STARBIRD, HERBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

STARIHA, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STARK, ALBERT AND FRANCES STARK                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STARK, DAVID F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STARKE, JAMES A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STARKE, JAMES A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARKEY, PAMELA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARKS, TERESA L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARKS, TERESA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARLIN, DAVID D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARLIPER, MICHAEL L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STARNES, BRAXTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

STARNES, HERMAN GERALD (DECEASED)                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


STARNOWSKY, JERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STARON, MARY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STARR, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STARR, EARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STARR, ROBERT E , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT STARR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STARR, ROBERT E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


STARTZ, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STARWOOD HOTELS & RESORTS WORLDWIDE, INC.                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& RESORTS WORLDWIDE, INC.
1 STARPOINT
STAMFORD, CT 06902




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Name of Counterparty                                                                                            Nature

STASCH, RICHARD W, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STASILA, MARILYN DOGGETT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STASS, COLLEEN ELIZABETH, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT E GUERIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STASUKINAS, GERALD J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STASZAK, CASIMIR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STATE ELECTRIC SUPPLY COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2010 2ND AVENUE
PO BOX 5397
HUNTINGTON, WV 25703


STATE INDUSTRIAL PRODUCTS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 74189
CLEVELAND, OH 44194-0268


STATE INSULATION CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
525 JOHNSTONE STREET
PERTH AMBOY, NJ 08861-3341


STATE OF ARKANSAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 W CAPITOL AVE
SUITE 1620
LITTLE ROCK, AR 72201




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                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

STATE OF CALIFORNIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
CALIFORNIA, SUSAN LEA DURBIN
CA DEPARTMENT OF JUSTICE, 1301 I STREET
SACRAMENTO, CA 94244-2550


STATE OF CONNECTICUT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
CONNECTICUT, KIMBERLY P. MASSICOTTE
ASSISTANT ATTORNEY GENERAL 55 ELM STREET
HARTFORD, CT 06106


STATE OF CONNECTICUT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
CONNECTICUT, MATTHEW IVAN LEVINE
ASSISTANT ATTORNEY GENERAL 55 ELM STREET
HARTFORD, CT 06106


STATE OF CONNECTICUT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNCLAIMED PROPERTY DIVISION
C/O PULLMAN & COMLEY, ATTN: LIZ AUSTIN
850 MAIN STREET, 8TH FLOOR
BRIDGEPORT, CT 06601-7006


STATE OF DELAWARE PUBLIC UTILITY COMM.                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DELAWARE PUBLIC UTILITY COMMISSION
861 SILVER LAKE BLVD CANON BUILDING
SUITE 100, ATTN: CREDIT DEPARTMENT
DOVER, DE 19904


STATE OF DELAWARE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
VALERIE MELISSA EDGE, DEPUTY ATTY GEN'L
102 WEST WATER STREET, THIRD FLOOR
DOVER, DE 19904-0000


STATE OF ILLINOIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
ILLINOIS, GERALD T. KARR ENVIRONMENTAL
BUREAU 69 WEST WASHINGTON ST, SUITE 1800
CHICAGO, IL 60602


STATE OF INDIANA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
402 W WASHINGTON ST # 160A
INDIANAPOLIS, IN 46204




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STATE OF IOWA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LUCAS STATE OFFICE BUILDING
DAVID ROBERT SHERIDAN, ASSISTANT
ATTORNEY GENERAL, 321 E. 12TH STREET
DES MOINES, IA 50319


STATE OF MAINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
MAINE, GERALD DONOHUE REID, ASSISTANT
ATTORNEY GENERAL, 6 STATE HOUSE STATION
AUGUSTA, ME 04333-0006


STATE OF MARYLAND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
ENV DEPT, ROBERTA ROSE JAMES
1800 WASHINGTON BLVD, SUITE 6048
BALTIMORE, MD 21230-1719


STATE OF MASSACHUSETTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
ENV PROTECTION TRACY LEIGH TRIPLETT
ONE ASHBURTON PLACE, 18TH FLOOR
BOSTON, MA 02108


STATE OF MASSACHUSETTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
ENV PROTECTION, CAROL A. LANCU
ONE ASHBURTON PLACE, 18TH FLOOR
BOSTON, MA 02108


STATE OF MINNESOTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
BEVERLY MARIE CONERTON, ASST AG
1400 BREMER TWR, 445 MINNESOTA ST
ST. PAUL, MN 55101


STATE OF MINNESOTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
MINNESOTA, MAX HOLLISTER KIELEY
1400 BREMER TOWER, 445 MINNESOTA STREET
ST. PAUL, MN 55101


STATE OF MISSOURI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATIONS DIVISION, 600 W MAIN ST.
MISSOURI STATE INFORMATION CENTER,
ROOM 322
JEFFERSON CITY, MO 65101-0778




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

STATE OF NEBRASKA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STATE CAPITOL
1445 K ST., SUITE 2300
LINCOLN, NE 68509


STATE OF NEW HAMPSHIRE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
NEW HAMPSHIRE KELVIN ALLEN BROOKS
33 CAPITOL STREET
CONCORD, NH 03301-6397


STATE OF NEW MEXICO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
NEW MEXICO, STEPHEN ROBERT FARRIS
111 LOMAS BLVD, NW, SUITE 300
ALBUQUERQUE, NM 87102


STATE OF NEW YORK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
BARBARA D. UNDERWOOD, SOLICITOR GENERAL
120 BROADWAY, 25TH FLOOR
NEW YORK, NY 10271


STATE OF NEW YORK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
NEW YORK, KEVIN PATRICK DONOVAN, THE
CAPITOL NEW YORK STATE DEPARTMENT OF LAW
ALBANY, NY 12224


STATE OF NEW YORK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
NEW YORK, MICHAEL J. MYERS, THE CAPITOL
NEW YORK STATE DEPARTMENT OF LAW
ALBANY, NY 12224-0341


STATE OF NEW YORK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPECIAL ASSISTANT-BUREAU OF FINANCE
WORKERS’ COMPENSATION BOARD, 295 MAIN
STREET, 4TH FL, ATTN: KORY R. AHLSTROM
BUFFALO, NY 14203


STATE OF NORTH CAROLINA                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORTH CAROLINA DEPARTMENT OF JUSTICE
MARC D. BERNSTEIN
PO BOX 629
RALEIGH, NC 27602-0629




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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

STATE OF OREGON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OREGON DEPARTMENT OF JUSTICE
PAUL ANDREW GARRAHAN
1515 SW FIFTH AVE, SUITE 410
PORTLAND, OR 97201


STATE OF RHODE ISLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
RHODE ISLAND, GREGORY STAGE SCHULTZ, ESQ
150 SOUTH MAIN STREET
PROVIDENCE, RI 02903


STATE OF TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 EAST 17 STREET
AUSTIN, TX 78701


STATE OF TEXAS DEPARTMENT OF AGING AND DISABILITY SERVICES                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 W 51 STREET
AUSTIN, TX 78714


STATE OF TEXAS, COMPTROLLER’S OFFICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 13528, CAPITAL STATION
AUSTIN, TX 78711-3528


STATE OF VERMONT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL, STATE OF
VERMONT, THEA J. SCHWARTZ, ESQUIRE
109 STATE STREET
MONTPELIER, VT 05609-1001


STATE OF WYOMING                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CAPITOL BUILDING
200 WEST 24TH STREET
CHEYENNE, WY 82002


STATE OFFICE OF ADMINSTRATIVE HEARING                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHEILA TAYLOR BAILEY, ATTORNEY AT LAW
300 W 15TH ST., STE 502
AUSTIN, TX 78701


STATEMENT SYSTEMS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 DIPLOMAT DR
FARMERS BRANCH, TX 75234-8913




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STATEN, JR., JOHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STATES, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STATEZNI, ARTHUR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STATH, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STATLER, HAROLD EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STATLER, RYAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STAUBLE, GEORGE J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STAUFFER, CURT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STAUFFER, PATRICIA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL A FERRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STAVANA, EMIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

STCLAIR, STEVEN J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEAD, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEAG ENERGY SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BRIGITTE HARTENSTEIN
304 LINWOOD ROAD, SUITE 102
KINGS MOUNTAIN, NC 28086


STEAG ENERGY SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1727
KINGS MOUNTAIN, NC 28086


STEAGALL OIL CO OF TEXAS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 NORTH SYLVANIA
FORT WORTH, TX 76111


STEALEY, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEAM SPECIALTIES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
41 OLD GICK RD
SARATOGA SPRINGS, NY 12866


STEAM SPECIALTIES, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
41 OLD GICK ROAD
SARATOGA SPRINGS, NY 12866


STEARNS-ROGER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEC, KENNETH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STECKLER, SANFORD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STEDTLER, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEED, VERNON WILSON, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEEL CASE INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 44TH STREET SE
GRAND RAPIDS, MI 49508


STEEL CRAFT CORP OF HARTFORD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 STEEL CRAFT DR
HARTFORD, WI 53027


STEEL, NED FRANKLIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEELDIP GALVANIZING COMPANY, INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POST OFFICE BOX 759
SANTA FE, TX 77510-0759


STEELE, CORTEZ                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEELE, DARREL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEELE, HARRY LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEELE, JOHN THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STEELE, LOWELL MASON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STEELE, SAMUEL, III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


STEELE, WAYNE THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STEELEY, RILEY C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STEELMAN, BARBARA J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEELMAN, WANDA SUE, FOR THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF RANDALL C STEELMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEEN, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEEN, JAMES DONALD, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEEN, JAMES W., JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEERE, CLARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

STEEVES, BORDEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEFANCIK, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEFANI, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEFANICK, HELEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEFFE, BRUCE, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEFFENSON, JACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEGALL, SHELBY JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEGER ENERGY CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1888
GILMER, TX 75644


STEGER, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

STEIFF, ROBERT T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEIGERS, ROBERT FRANK, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


STEIGERWALT, EDWIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEIN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19 ARTISANS CRESCENT
LONDON, ON N5V 5E9
CANADA

STEIN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19 ARTISANS CRESCENT
LONDON, ON N5V 5E9
CANADA

STEIN, DANIEL L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CATHY STEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEIN, FREDERICK J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEIN, HARRIETTE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CARL STEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEIN, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEIN, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

STEIN, MARGARET                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEIN, NORMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEIN, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STEIN, RAYMOND E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEIN, RUSSELL W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEIN, SOLOMON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEINBERG, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEINBERG, ROBERT P.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEINER, DAVID R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEINER, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STEINHARDT, MANUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEINHAUER, CHARLES, JR, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARY E STEINHAUER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEININGER, GEORGE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STEINKE, HERMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEINKE, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEINMAN, MICHAEL D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEINS, BERNICE ROY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


STELFOX, JAMES P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STELLA JONES CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 347115
PITTSBURGH, PA 15251-4115




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STELLA, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STELLA-JONES CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TWO GATEWAY CENTER, STE 1000
603 STANWIX ST
PITTSBURGH, PA 15222


STELLA-JONES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALEXANDRIA LOUISIANA DIVISION
PO BOX 558
BELLS, TX 75414


STELLAR, RITA G, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK J SCHAFFER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STELLING, STEVEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STELLINI, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STELLWAGEN, ROY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STELMA, RICHARD P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


STELTER, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STELZER, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEM FAMILY LIMITED PARTNERSHIP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1213
ELM MOTT, TX 76640


STEM, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEMCO,INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CHRISTOPHER B. SHEEHY,DIR.,ENV.AFFRS
CHARLOTTE, NC 28217


STEMM, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STENGER, DEBORAH M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK J KOCH JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STENSLAND, BRUCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STEPHANS, ANGELA RENE WILSON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEPHENS COUNTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHENS COUNTY COURTHOUSE
200 WEST WALKER
BRECKENRIDGE, TX 76424




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

STEPHENS, CALLIE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, CARLTON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, CLAIRE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, CLAUDE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, CLINTON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, DALLAS J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, DEBORAH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, EVERETT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, JEFFREY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, JOE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, MELISSA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STEPHENS, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, MITCHELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, ONEIDA S, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL W MCMILLEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEPHENS, PAT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENS, VARSER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEPHENS, WILLIAM T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STEPHENS, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEPHENSON, HAROLD--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


STEPHENSON, JERRY W.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEPHENSON, JERRY WAYNE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STEPHENVILLE ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2655 WEST OVERHILL DRIVE
STEPHENVILLE, TX 76401


STEPHENVILLE, CITY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
298 W. WASHINGTON
STEPHENVILLE, TX 76401


STEPP SR, JAMES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


STEPP, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STEPTOE, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERLCO AKA STERLING ANACSGR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2900 S. 160TH ST.
NEW BERLIN, WI 53151


STERLE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STERLING FLUID SYSTEMS USA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46202


STERLING FLUID SYSTEMS USA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 INDUSTRIAL DRIVE
GRAND ISLAND, NY 14072


STERLING FLUID SYSTEMS USA INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 INDUSTRIAL DRIVE
GRAND ISLAND, NY 14072-0460




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STERLING FLUID SYSTEMS USA LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2005 DR MARTIN LUTHER KING JR ST.
INDIANAPOLIS, IN 46202


STERLING PRODUCTS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2900 S. 160TH ST.
NEW BERLIN, WI 53151


STERLING W. KENTY, TRUSTEE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STERLING, JOANNE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANGEL C BRACETTY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERLING, LINDA J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STERLING, MELISSA J, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FREDERICK R THOMPSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERLING, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERN, GEORGE E, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERN, LEOPOLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STERN, TERRY ANN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE G TAYLOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERNBERG, EMILE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STERNBERG, HEINZ A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STERNER, RICHARD G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STERNER, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STETSON, CHARLES T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEUCK, AMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEUERMAN, DEBRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEVE MAHAFFEY CONSTRUCTION INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 156
SWEETWATER, TX 79556


STEVE MOODY MICRO SERVICES LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2051 VALLEY VIEW LANE
FARMERS BRANCH, TX 75234


STEVEN, DEIRDRE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

STEVEN, MAEVE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEVENS, BALDO & FREEDMAN, LLP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL R. WALZEL
550 FANNIN STREET, SUITE 400
PO DRAWER 4950
BEAUMONT, TX 77704


STEVENS, BALLARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEVENS, CLIFFORD E--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


STEVENS, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEVENS, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENS, EARLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENS, EVERETT LEE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STEVENS, FAYE D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEVENS, JOHN HENRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STEVENS, KENNETH WARREN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STEVENS, KRAIG M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN L STEVENS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEVENS, LEE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENS, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENS, MARGARET ANN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEVENS, MICHAEL P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEVENS, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENS, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENSEN, DARYL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STEVENSON, ANITA FAYE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEVENSON, DALE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


STEVENSON, ELIJAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEVENSON, ELMER H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STEVENSON, JAMES R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEVENSON, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEVENSON, ROLAND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEVE'S BATTERY SERVICE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVE NUTT
1428 NW 28TH ST.
FORT WORTH, TX 76106-6839


STEWARD, JONNIE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWARD, ROGER DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STEWART & STEVENSON SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
506 EASTWOOD
HOUSTON, TX 77011


STEWART & STEVENSON SERVICES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 560343
DALLAS, TX 75256


STEWART & STEVENSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
601 W 38TH STREET
HOUSTON, TX 77018


STEWART & STEVENSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301063
DALLAS, TX 75303-1063


STEWART AND STEVENSON                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANA STREET, SUITE 1300
HOUSTON, TX 77002


STEWART, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


STEWART, CRAIG L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


STEWART, DANIEL A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEWART, DENNIS P.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STEWART, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STEWART, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, GEORGE W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STEWART, HOWARD A, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STEWART, JOAN S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, JOHN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


STEWART, KATHY DIANE WATKINS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, MARGUERITE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, PATRICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


STEWART, PATTY S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, PATTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

STEWART, PAUL LEWIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


STEWART, RICKY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, ROANLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, ROBERT G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, ROBERT G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, RODNEY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


STEWART, SARAH M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, SIDNEY, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STEWART, SUNPOLYNESIA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STEWART, TERENCE J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

STEWART, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CAPPOLINO DODD & KREBS LLP
ATTN: VALERIE S. FARWELL
3604 S.W. HK DODGEN LOOP SUITE 104
TEMPLE, TX 76504


STEWART, THOMAS ELI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STEWART, W M                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STEWART, W.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STICKELL, IRVIN D, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STICKLE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STICKROD, BRIAN KELLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STIFFLER, GERALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STIGGER, GARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STIGGER, SHANIKA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STILES, GILBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STILES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STILES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STILLING, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STILLWELL, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STILLWELL, WALLACE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STILWELL, LONZO HOUSTON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STILWELL, RANDY DAVID                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STIMAC, SHARON FBO JOHN STIMAC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


STIMPSON, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STIMSON, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINCHCOMB, DANIEL E, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STINE, ANDREW EARL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINE, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINE, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STINNETT, LEO R, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STINNETTE, ROBERT C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STINSON, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STINSON, ERIC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, GENEVA LINDA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, KAREL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, LAURA I, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND W STINSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STINSON, MARGARET                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, MEREDITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, ROGER AND MARGARET STINSON                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STINSON, ROGER D. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


STIPANOVICH, RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

STIRES, JOHN E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STIRRUP, BETTY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STITELER, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STITT, JACQUELINE R                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STIVASON, JUSTIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOCK EQUIPMENT COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 17801
PALATINE, IL 60055-7801


STOCK EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16490 CHILLICOTHE RD
CHAGRIN FALLS, OH 44023


STOCK EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PEPSCO, INC
PO BOX 680104
HOUSTON, TX 77268-0104


STOCK, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STOCKER, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOCKHAM VALVES & FITTINGS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CHASE PARK S STE 250
BIRMINGHAM, AL 35244


STOCKING, FLOYD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STOCKMAN, SAMUEL LEON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STOCKSLAGER, THELMA J, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOLFORD M STALEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STODDARD, BARBARA A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOECKER, CLIFFORD L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOFFELS, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOKER, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKER, JERAL EUGENE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STOKER, MERLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKER, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, CAROLYN JEAN ENGLE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, CLYDE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, GARLAND L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, GARLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, HENRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOKES, LILLIAN ARLENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOKES, SAMUEL L, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOKLEY VAN CAMP INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PORTER & HEDGES, LLP
CLAY M. STEELY
1000 MAIN STREET, 36TH FLOOR
BEAUMONT, TX 77701


STOKLEY, JIMMY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STOLARICK, SHARON, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF GEORGE STOLARICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOLLE`, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOLTE, VERNALINE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOLTE-HINES, DAWNITA MARIA, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK R STOLTE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOLTZFUS, MELVIN A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STONE, ANDREW C, ESQ, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES GARRETT SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STONE, BARRY H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STONE, CARL H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, CASEY SHANNON (BAKER)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, DANIEL E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STONE, DEREK J. (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


STONE, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STONE, HOWARD W. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


STONE, JEFFREY D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, JOANN A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALLEN S STONE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STONE, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STONE, JULIA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, MARCIA M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, PHILLIP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STONE, RAYMOND J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STONE, STEVAN CODY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, THERESA MARIE (CHURCH)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONE, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONEHAM, BERNARD S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STONEHAM, RICHARD P                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STONEMAN, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONEMAN, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STONER, RICHARD L , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD STONER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STONEY WHITT, AS SURVIVING HEIR OF JD WHITT, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

STONICK, CHARLES DUGAN                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOODY INDUSTRIAL & WELDING                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3316 NATIONAL AVE
SAN DIEGO, CA 92113


STOOPS, LAWRENCE T                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STOOPS, ROBERT C , SR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOOPS, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOOS, FRANK MATTHEW                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOPPERICH, RONALD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STORER SERVICES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6761
SHREVEPORT, LA 71136-6761


STORM, DALBERT E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STORM, DAVID M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STORM, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STORM, SHIRLEY M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


STORTI, RUDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STORY, KENNETH E. DECEASED                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


STORY, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


STORY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STORY-WRIGHT INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 900
TYLER, TX 75710


STOSBERG, KERMIT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STOTLER, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STOTT, BILL                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOUDENMIRE, WALTER L , III                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOUT, CLARENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOUT, DALE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOUT, GARY D.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


STOUT, MILISSA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STOUT, MORGAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


STOUT, ROBERT T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STOUT, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STOUT, WILLIAM ROBERT, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WORLEY R STOUT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOVALL, GAYLON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOVALL, JESSE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOVALL, NEALY FEARL, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STOVER, TIMOTHY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STOWE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STOWE, SAMUEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STRAIN, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STRAIT, CHARLES K                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

STRAKA, CATHERINE AND JOHN STRAKA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRANAHAN, KEVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRANGE & COLEMAN INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3314 RTE 162
GRANITE CITY, IL 62040


STRANGE JR, WILLIAM D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRANGE, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRANTZ, EDWARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STRASBURGER & PRICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRASBURGER & PRICE LLP
C. ROBERT MACE/ELIZABETH B. KAMIN
909 FANNIN STREET, SUITE 2300
HOUSTON, TX 77010


STRASSER, CLARENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


STRATEMEYER, WILLIAM I                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRATHMORE PAPER COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39 S BROAD ST
WESTFIELD, MA 01085




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Name of Counterparty                                                                                            Nature

STRATO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NEW ENGLAND AVE
PISCATAWAY, NJ 08854


STRATO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NEW ENGLAND AVE
PISCATAWAY, NJ 08854


STRATO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3819
CAROL STREAM, IL 60132-3819


STRATTAN, LEONARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRAUCH, MARION A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


STRAUS FRANK ENTERPRISES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 CUMBERLAND BLV SE
ATLANTA, GA 30339


STRAWBRIDGE, JOHN R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRAWSBURG, MILDRED E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRAY, THERESA M, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF JOHN STRAY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRAZISAR, DENNIS J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STRAZZULLO, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STREANO, E SUSAN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH V STREANO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STREET, DAVEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STREET, RANDALL LEWIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STREETT, CHARLES, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STREIN, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STREINER, ANDREW J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STREINER, ANDREW J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STREINER, THOMAS J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRELECKI, THOMAS M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRELSKY, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STREMPEK, RICHARD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRENGER, JOE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRESS ENGINEERING SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301311
DALLAS, TX 75303-1311


STREUN, DONALD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STRICKER, WILLIAM THOMAS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STRICKLAND, ASHLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRICKLAND, BRANDI                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRICKLAND, DESSIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRICKLAND, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STRICKLAND, JOE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRICKLAND, KIM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRICKLAND, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRICKLAND, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRICKO, PAUL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRIDER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRIEBE, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRIFFLER, HUGH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRIFFLER, HUGH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STRIKE TOOL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
31785 64TH AVE
CANNON FALLS, MN 55009




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STRINE, WILLIAM H, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRINE, WILLIAM H., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS, PC
100 N. CHARLES ST., 22ND FLOOR
BALTIMORE, MD 21201


STRINGER OIL FIELD SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 323
COLUMBIA, MS 39429


STRINGER, JAMES L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


STRINGER, LEONARD C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STRINGER, RUSS C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STRINGER, SHIRLEY M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


STRITTMATTER, LORETTA H, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE C STRITTMATTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STROBL, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STROHL, ROBERT A, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STROLLO, ROCCO S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROM, RAYMOND E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STRONG SERVICES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 672
CARTHAGE, TX 75633-0672


STRONG, FABIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRONG, JIMMIE RUTH (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRONG, JOE MARK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRONG, PIPKIN, NELSON, BUSSELL & LEDYARD                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID W. LEDYARD/MICHAEL L. BAKER
595 ORLEANS STREET
SUITE 1400
BEAUMONT, TX 77701-3255


STRONG, PIPKIN, NELSON, BUSSELL & LEDYARD                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN G. BISSELL
1111 BAGBY STREET
SUITE 2300
HOUSTON, TX 77002-2546


STROPP, JAMES E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STROTHER, CLIFFORD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROTHER, DOUGLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROUD, DAVID L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROUD, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROUMBIS, NIKOLAOS A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROUMBIS, NIKOLAOS A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


STROUPE, JACKIE THEO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


STROUPE, JUDY M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STROUSE, JAMES C, PH D, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE A GUSTIN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STROUTH, RALPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STROUTH, TERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STROY, GRADY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRUCK, BIRDIE MAE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRUCKO, JOHN P, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF EVELYN STRUCKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STRUCTURE WORKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1408 N CORINTH ST
CORINTH, TX 76210


STRUCTURE WORKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
43 MILL STREET
PO BOX 868
DOVER PLAINS, NY 12522


STRUCTURE WORKS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BILL MAGEE
P.O. BOX 868
43 MILL STREET
DOVER PLAINS, NY 12522


STRUNK, ROBERT ROLAND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


STRUTHERS WELLS CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8
WARREN, PA 16365




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STRYCZYNSKI, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STRYK, ERNEST G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STRYKE INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1217 ALEXANDER DR.
WOODRIDGE, IL 60517


STRYKER LAKE WSC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 156
NEW SUMMERFIELD, TX 75780


STUART C IRBY CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7125 BELTON ST
FORT WORTH, TX 76118


STUART C IRBY CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 843959
DALLAS, TX 75284-3959


STUART C IRBY CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STUART C IRBY
PO BOX 1819
JACKSON, MS 39215-1819


STUART, CHILTON H, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUART, CHRISTOPHER CAMERON                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUART, FREDERICK OWEN (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUART, JUDITH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUART, KENNETH E.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

STUBBS, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STUBBS, JOSEPH , JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


STUBLER, DAWN L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ORVILLE G HEACOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUCKEY, ADAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUCKEY, CATHERINE M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUCKEY, GREGORY W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUCKEY, GREGORY W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUCKEY, KENNETH D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUCKEY, WILLIAM L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUCKLEY, LAMONT E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUCKY, GREGORY W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STUDIO 206                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1308 MOSSWOOD LANE
IRVING, TX 75061


STUDIO 206                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUDIVANT, PAUL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUEHM, LORETTA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUFF, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUHR, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STULL, JASON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUMBAUGH, DAVID WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUMBROSKI, THEODORE, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUMME, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


STUMP, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STUMP, DWIGHT D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUMP, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STUMPFEL, ALBERT M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STUPHIN, JAMES DEAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STUPI, GREG                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STURDEVANT, TYLER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STURGEON, WALTER A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER STURGEON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


STURGIS IRON & METAL CO., INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
112 SOUTH MONROE STREET
STURGIS, MI 49091


STURGIS, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

STURGIS, IRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


STURM, HERMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STURM, HERMAN, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES, PC
156 NORTH MAIN STREET
EDWARDSVILLE, IL 62025


STURM, JOHN M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STURM, PAULINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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STURTEVANT INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
348 CIRCUIT STREET
HANOVER, MA 02339


STUTTS, ALAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


STUTZ, JUDITH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUAZO, CHARLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUBOCK, ALYNE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SUBOCK, ALYNE L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARION SUBOCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SUCCESSFACTORS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 89 4642
LOS ANGELES, CA 90189-4642


SUCCESSFACTORS, INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BIALSON BERGEN SCHWAB, A PROF. CORP.
ATTN: LAWRENCE SCHWAB / GAYE HECK
2600 EL CAMINO REAL, SUITE 300
PALO ALTO, CA 94306


SUCHAN, EDWARD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUCHAN,ANTHONY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUCHANICK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUCHARSKI, JOHN S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SUCHMA, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUD-CHEMIE, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER LLP
J. FRANK KINSEL, JR
600 W. 6TH ST. #300
FORT WORTH, TX 76102




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SUD-CHEMIE, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CANTEY HANGER, LLP
SIDNEY LANGE
600 W. 6TH ST., SUITE 300
FORT WORTH, TX 76102


SUDOL, RAYMOND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUDOL, THEODORE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUDUT, LOUISE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SUE, KRISTIN AND JEFFREY SUE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUECK, ROSALIE J, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER SUECK JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SUFFREDINI, LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUGAMELI, ROCCO JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUGGS, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SUGGS, JOYCE CORDRAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUGRUE, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SUH, CHAI CHIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUHR, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUITS, GARY D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUKEFORTH, EUGENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULAK, MARTIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SULESKI, DONALD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SULGROVE, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIAN, JOSEPH AND CONSTANCE SULLIVAN                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SULLIVAN TRANSFER & STORAGE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RICKY BYRUM,GENERAL MANAGER
3817 IRVING BOULEVARD
DALLAS, TX 75247


SULLIVAN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, DAVE A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SULLIVAN, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, EDWARD J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SULLIVAN, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, EDWARD, JR.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SULLIVAN, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SULLIVAN, EUGENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SULLIVAN, GERARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, GERARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SULLIVAN, HAROLD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, HOWARD D.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SULLIVAN, JAMES S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SULLIVAN, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, JOSEPH T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SULLIVAN, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, MARTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, NORMAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, RAYMOND A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SULLIVAN, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, RICHARD A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SULLIVAN, ROBERT D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SULLIVAN, ROBERT T, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SULLIVAN, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SULLIVAN, RUTH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SULLIVAN, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, STEVEN A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SULLIVAN, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULLIVAN, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SULPHUR SPRINGS ISD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
631 CONNALLY ST
SULPHUR SPRINGS, TX 75482


SULPHUR SPRINGS ISD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207


SULPHUR SPRINGS, CITY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 S. DAVIS ST.
SULPHUR SPRINGS, TX 75482


SULZER PUMPS (US) INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 KOOMEY RD
BROOKSHIRE, TX 77423-8202




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 PROSPECT AVE
WESTBURY, NY 11590


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SW MARKET ST 4TH FLOOR
PORTLAND, OR 97201


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 KOOMEY ROAD
BROOKSHIRE, TX 77423


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SW MARKET ST 4TH FLOOR
PORTLAND, OR 97201


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 SW MARKET ST
4TH FLOOR
PORTLAND, OR 97201


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 N W FRONT AVENUE
PORTLAND, OR 97201


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 KOOMEY ROAD
BROOKSHIRE, TX 77423


SULZER PUMPS US INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9856 JORDAN CIR
SANTA FE SPRINGS, CA 90670




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NEUWIESENSTRASSE 15
8401 WINTERTHUR


SULZER PUMPS US INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 404609
ATLANTA, GA 30384-4609


SULZER PUMPS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 KOORNEY ROAD
BROOKSHIRE, TX 77423


SUMMER, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMMERLIN, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SUMMERS, JAMES H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMMERS, MARVIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUMMERVILLE, ROBERT H                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUMMEY, WALTER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUMMIT CONTROLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 AVENUE F STE 108
PLANO, TX 75074


SUMMIT CONTROLS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 940009
PLANO, TX 75094-0009


SUMMIT PETROLEUM LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 W TEXAS AVE
MIDLAND, TX 79701


SUMNER, CARROLL JULIAN                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMNER, DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMNER, JETTIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SUMNER, RACHEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMRALL, GUY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


SUMRALL, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUMRALL, KENNETH WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUMTER, THOMAS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SUN EXPLORATION & PRODUCTION CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KERR-MCGEE CORPORATION
123 ROBERT S. KERR
OKLAHOMA CITY, OK 73102


SUN OIL CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET STE LL
PHILADELPHIA, PA 19103-7583


SUN OIL CO.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WERNER AYERS, LLP
PHILIP WERNER
1800 BERING, SUITE 305
HOUSTON, TX 77057


SUN TECHNICAL SERVICES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5588 LONGLEY LANE
RENO, NV 89511


SUN, DAVID Y.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

SUN, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUNBEAM PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


SUNBEAM PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUNBEAM PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOHN HARTH BORNHOFEN
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUNBEAM PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFILED, PLLP
RYAN MITCHELL HATCHER
1001 HIGHLANDS PLAZA DR W, SUITE 400
ST LOUIS, MO 63110


SUNBEAM PRODUCTS INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2381 EXECUTIVE CENTER DRIVE
BATON ROUGE, FL 33431


SUNBEAM PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2381 EXECUTIVE CENTER DRIVE
BATON ROUGE, FL 33431


SUNBELT CHEMICALS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 59028
DALLAS, TX 75229


SUNBELT INDUSTRIAL SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2415 CULLEN ST
FORT WORTH, TX 76107


SUNBELT RENTALS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REGIONAL 7 CREDIT
1275 W. MOUND ST.
COLUMBUS, OH 43223




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                       Retained Causes of Action

                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SUNBELT SUPPLY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1612 E WHALEY
LONGVIEW, TX 75601


SUNBELT SUPPLY CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 951037
DALLAS, TX 75395-1037


SUNDBY, ALAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVID C. THOMPSON, P.C.
ATTN: DAVID C. THOMPSON, ATTORNEY AT LAW
321 KITTSON AVENUE
GRAND FORKS, ND 58201


SUNDERHAUS, FRANCIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUNDERLAND, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUNFLOWER ELECTRIC POWER CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
GEORGE Y. SUGIYAMA
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


SUNFLOWER ELECTRIC POWER CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
MICHAEL H. HIGGINS
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


SUNFLOWER ELECTRIC POWER CORP.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TROUTMAN SANDERS LLP
PETER S. GLASER
401 9TH STREET, NW, SUITE 1000
WASHINGTON, DC 20004-2134


SUNKEL, SHARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

SUNNY HILL COAL COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



SUNNYVALE ISD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
417 E. TRIPP ROAD
SUNNYVALE, TX 75182


SUNOCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET STE LL
PHILADELPHIA, PA 19103-7583


SUNOCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WERNER AYERS, LLP
PHILIP WERNER
1800 BERING, SUITE 305
HOUSTON, TX 77057


SUNOCO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET STE LL
PHILADELPHIA, PA 19103-7583


SUNOCO, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1735 MARKET STREET LL
PHILADELPHIA, PA 19103-7583


SUNSERI, MATTHEW W                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUNTRAC SERVICES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1818 E MAIN ST
LEAGUE CITY, TX 77573


SUPERBOLT INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 683
CARNEGIE, PA 15106


SUPERBOLT INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 683
CARNEGIE, PA 15106


SUPERIOR BOILER WORKS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 E 4TH AVENUE
HUTCHINSON, KS 67501




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHAN COTTON WALKER
ELM COURT PLAZA
1739 EAST ELM STREET STE 101
JEFFERSON CITY, MO 65101


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 E 4TH AVENUE
HUTCHINSON, KS 67501


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 E FOURTH ST
HUTCHINSON, KS 67502


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ELM COURT PLAZA
1739 EAST ELM STREET STE 101
JEFFERSON CITY, MO 65101


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAWRENCE S DENK
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
WILLIAM C. FOOTE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTENBERGER LAW FIRM PLLC
LEWIS C. MILTENBERGER
700 N. CARROLL AVE, SUITE 140
SOUTHLAKE, TX 76092


SUPERIOR BOILER WORKS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHAN COTTON WALKER
ELM COURT PLAZA
1739 EAST ELM STREET STE 101
JEFFERSON CITY, MO 65101


SUPERIOR CONSTRUCTION CO INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 E 4TH AVENUE
HUTCHINSON, KS 67501


SUPERIOR ENGINEERING ILLINOIS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
440 QUADRANGLE DR
BOLINGBROOK, IL 60440


SUPERIOR ENGINEERING LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2345 167TH ST.
HAMMOND, IN 46327


SUPERIOR FLEET SERVICE INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5116
TYLER, TX 75712-5116


SUPERIOR OIL COMPANY INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1402 N CAPITOL AVE
INDIANAPOLIS, IN 46202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SUPERIOR SERVICE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6754
BRYAN, TX 77805


SUPERIOR WELDING CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
97 ELLIOT ST
AVENEL, NJ 07001


SUPERIOR BOILER WORKS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3524 E 4TH AVENUE
HUTCHINSON, KS 67501


SUPINSKI, RAY RENE D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUPINSKI, RAY(RENE)                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUPKO, PATRICIA A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUPPLYPRO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8572 SPECTRUM LANE
SAN DIEGO, CA 92121


SURACE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SURACI, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SURE FLOW EQUIPMENT INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 321
TONAWANDA, NY 14151-0321


SURESCH, DORIS N, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE F SURESCH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SURFACE COMBUSTION INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 INDIAN WOOD CIR
MAUMEE, OH 43537


SURGES, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUROVIK, JANE M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUROVIK, JOHN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


SUROVIK, JOHN W.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SURPRENANT, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SURRENCY, CLYDE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SURVEY SAMPLING INTERNATIONAL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 85007741
PHILADELPHIA, PA 19178-7741


SUSAN CRANE,INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7000 BEE CAVE ROAD, SUITE 350
AUSTIN, TX 78746


SUSAN J SPOHR/CLEMENTS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SUSAN J SPOHR
633 MOUNTAIN VIEW ST
ALTADENA, CA 91001-4922




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SUSSMAN, MORRIS D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUSTAITA, JOE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTHERLAND, ANDREW M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTOR, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUTOVICH, RONALD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTPHIN, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUTPHIN, GERALD NELSON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTPHIN, GERALD NELSON, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTPHIN, JEFFREY ALLEN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTPHIN, ROSE M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTPHIN, WILLIAM E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

SUTTER, BRAD                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTTER, VICTOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUTTLER, ROBERT GERARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTTLES TRUCK LEASING, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2460 HIGHWAY 43 SOUTH
DEMOPOLIS, AL 36732-4251


SUTTLES, BOYD, INDIVIDUALLY AND AS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTTON TERMINAL WAREHOUSE, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2930 HANSBORO STREET
DALLAS, TX 75224


SUTTON, ALLEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SUTTON, BYRON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SUTTON, DENNIS LEA (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SUTTON, GWENDOLYN LAMB                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTTON, JAMES A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SUTTON, PICKETT, JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SUTTON, SCOTT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTTON, SUZANNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SUTTON, VALERIA N.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SUTTON, WILLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SVESTKA, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SVI CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4 SPAULDING LANE
HOLLIS, NH 03049


SVI CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


SVI INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 HARVESTORE DR
DEKALB, IL 60115


SVIHOVEC, WILLIAM JAMES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SVITENKO, PETER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SVOBODA, JOHNNY JERRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SVOBODA, MILDRED F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SVOBODA, MILDRED F, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH A SVOBODA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SW ANDERSON SALES CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
63 DANIEL ST
FARMINGDALE, NY 11735


SWABIK, DAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SWAGELOK WEST TEXAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
434 SOUTH GRANDVIEW
ODESSA, TX 79761


SWAIN SR., GARY A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SWAIN, DAVID LAWRENCE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


SWAIN, DUNLAP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SWALLOW, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SWAN, WARREN G, SR--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


SWANCIGER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWANEY, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


SWANGER, BOB RAY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANGER, LUCILLE G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANIGAN, DENISE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANK, TIMOTHY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANN, COALEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANN, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SWANNER, ORAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

SWANSON, EDWARD W                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SWANSON, FRANK W.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANSON, GREGORY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANSON, HERBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWANSON, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWANSON, MICHAEL A.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANSON, SHANE S.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANSON, SUSAN M.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWANSON, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWARMER, ANDREW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWARMER, GREGORY J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SWARTZ, DIANE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWARTZ, FRANCES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


SWARTZ, FREDERICK J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWARTZ, FREDERICK T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWARTZ, GLEN KEITH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SWARTZ, PATRICIA C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SWARTZ, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWARTZ, ROBYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SWATLAND, PAUL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SWEARINGEN, DAVID                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SWEAT, ERNEST C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWEAT, MARIAN KAY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWEAT, ROSE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWECKER, SHARON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWEDBERG, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWEENEY, GERALD J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


SWEENEY, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


SWEENEY, JUDITH A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWEENEY, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWEENEY, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                      Nature

SWEENEY, THOMAS                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWEENEY, WILLIAM O, SR                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


SWEET MELISSA/APTPCY                                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
402 GARNER
PASADENA, TX 77502


SWEET MELISSA’S LIQUIDATION WAREHOUSE, INC. D/B/A TIMBERLINE FOREST APARTMENTS                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A TIMBERLINE FOREST APARTMENTS
STEVEN D. POOCK
PO BOX 984
SUGAR LAND, TX 77487


SWEET, PHILIP F                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


SWEETLAND, LANG FULTON & NORMA                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWEETMAN, DONALD                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWEETWATER INDEPENDENT SCHOOL DISTRICT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST., SUITE 640
ARLINGTON, TX 76010


SWEETWATER ISD                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
705 EAST 3RD STREET
SWEETWATER, TX 79556




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Name of Counterparty                                                                                          Nature

SWEETWATER WIND 1 LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5307 EAST MOCKINGBIRD LANE, 7TH FLOOR
ATTN: GREG FAIR
DALLAS, TX 75206


SWEETWATER WIND 1 LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OPERATING ACCOUNT
350 CALIFORNIA STREET
SAN FRANCISCO, CA 94104


SWEETWATER WIND 1 LLC,                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


SWEETWATER WIND 2 LLC,                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


SWEETWATER WIND 3, LLC,                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


SWEETWATER WIND 4, LLC,                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


SWEETWATER WIND 5, LLC,                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSULTING AND LEGAL SERVICES
PAMELA STANTON BARON, STEVEN BARON
POST OFFICE BOX 5573
AUSTIN, TX 78763


SWEETWATER, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
169 COUNTY ROAD 217
SWEETWATER, TX 79556




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Name of Counterparty                                                                                            Nature

SWEIGERT, FRED R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SWENSON TECHNOLOGY INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26000 S WHITING WAY
MONEE, IL 60449


SWESCO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1141
WHITE OAK, TX 75693-6141


SWETMAN BAXTER MASSENBURG LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
650 POYDRAS STREET STE 2400
NEW ORLEANS, LA 70130


SWETT, NATHANIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWG CONSULTANTS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2351 W NORTHWEST HWY STE 3321
DALLAS, TX 75220


SWIDORSKY, RICHARD J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWIDORSKY, TRACY L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWIFT & COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3131 WESTERN AVENUE, SUITE M423
SEATTLE, WA 98121


SWIFT MANUFACTURING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8015 50TH ST SE
CLARA CITY, MN 56222


SWIFT SPINNING INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16 CORPORATE RIDGE PKWY
COLUMBUS, GA 31907




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Name of Counterparty                                                                                            Nature

SWIFT, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWIFTS PINNING INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16 CORPORATE RIDGE PKWY
COLUMBUS, GA 31907


SWIGOR MARKETING GROUP INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
126 FRONT STREET
MARBLEHEAD, MA 01945


SWILLEY, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWIMAN, SOLOMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWINDELL DRESSLER INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 CASTEEL DR
CORAOPOLIS, PA 15108


SWINDELL DRESSLER INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 CASTEEL DR.
CORAOPOLIS, PA 15108


SWINDELL DRESSLER INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KORTENHOF MCGLYNN & BURNS LLC
MAUREEN ANN MCGLYNN
1015 LOCUST ST STE 710
ST LOUIS, MO 63101


SWINDELL DRESSLER INTERNATIONAL                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED
AGENTS INC 200 WEST ADAMS STREET
CHICAGO, IL 60606


SWINGEL, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SWINGLE, TRACY BERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


SWINNEY, BOBBY F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SWINNEY, MARY JO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


SWINNEY, VICTOR & LEONA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWINNEY, VICTOR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWINSON, JESSIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWISHER, WESLEY J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SWISTAK, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWITZER, HENRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SWOB, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

SWOTCHAK, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SYD CARPENTER MARINE CONTRACTOR                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 GOLDEN SHORE PKY
LONG BEACH, CA 90802


SYDNOR, JOAN S, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS W SYDNOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SYLPHON, FULTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SYLVESTER, KENNETH RAY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


SYLVESTER, RUDOLPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SYLVESTER, WILLIAM J., SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


SYLVIA, EDWARD F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


SYLVIA, JANET                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


SYMMANK, JOHN DAVID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

SYMMETRICOM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2300 ORCHARD PARKWAY
SAN JOSE, CA 95131


SYMMONDS, PHILIP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SYMONDS, THEODORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SYNGENTA CROP PROTECTION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POST OFFICE BOX 18300
GREENSBORO, NC 27419


SYNIVERSE TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12094 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60639


SYNIVERSE TECHNOLOGIES LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8125 HIGHWOODS PALM WAY
TAMPA, FL 33647


SYNKOLOID CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
148 EAST 5TH STREET
BAYONNE, NJ 07002


SYNTEC CHEMICALS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14822 HOOPER RD.
HOUSTON, TX 77047


SYNTECH CHEMICALS INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14822 HOOPER RD.
HOUSTON, TX 77047


SYPNIEWSKI, JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

SYSTEM ENERGY RESOURCES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8107
BATON ROUGE, LA 70891-8107


SYVERTSON, DALE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SZCZEPANSKI, RICHARD A                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SZELIGA, LOUIS H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SZMYD, EMIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


SZPATURA, LILLIAN T, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICKEY SZPATURA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SZRAJER, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SZULBORSKI, BRUCE C                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


SZUMLANSKI, PAUL A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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SZYMANOWSKI, STANISLAUS A                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

T & M INDUSTRIAL SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 N. CLEVELAND
CAMERON, TX 76520


T C BOWENS ET UX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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T H AGRICULTURE & NUTRITION LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 WEST 57TH STREET, SUITE 901
NEW YORK, NY 10107


T H AGRICULTURE & NUTRITION LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWASH MEADE & GASTON LLP
ANDREW K MEADE
1221 MCKINNEY STREET
HOUSTON, TX 77002


T H AGRICULTURE & NUTRITION LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICES OF FREDERICK J. WAGNER
FREDERICK J. WAGNER
9839 VOGUE LANE
HOUSTON, TX 77080


T H AGRICULTURE &NUTRITION COMPANY, INC.                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15313 WEST 95TH STREET
LEXENA, KS 66219


T H P PM GROUP LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA BRAES HOLLOW APARTMENTS
8701 S BRAESWOOD BLVD
HOUSTON, TX 77031


T&M MERCANTILE PROPERTIES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
513 NORTH ST
NACOGDOCHES, TX 75961


TA COMPANY FKA AUSTIN COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6410 OAK CANYON
IRVINE, CA 92618


TABACCO, ROBERT L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                             Nature

TABELE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TABER ESTES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3500 MAPLE AVE STE 1100
DALLAS, TX 75219


TABER, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TABER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TABOR, ALICE T                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TABOR, JOHN L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TABOR, WILTON DEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TABRON, MARY, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF PRYMAS M TABRON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TABRON, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

TABWELL SERVICES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 511
VICKSBURG, MS 39181


TACHOK, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TACKETT, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TACKETT, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TACO INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1160 CRANSTON ST.
CRANSTON, RI 02920


TACTICLE GUILD OF WORDSMITHS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN JORDAN ASKEW
7325 MANSFIELD CARDINAL RD
KENNEDALE, TX 76060


TADDEO, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TAEH, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4227 UNITED PARKWAY
SCHILLER PARK, IL 60176


TAFFETANI, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAFFETANI, LOUIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


TAFOYA, MANUEL, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAFT, JIMMIE L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TAGG, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAGGART GLOBAL LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4000 TOWN CENTER BLVD
STE 200
CANONSBURG, PA 15317


TAIBI, NOE V.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TAIPALE, WILLIAM A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TAISTO, MELVIN JOHN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAKACS, EUGENE J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAKEUCHI MANUFACTURING US LTD                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
519 BONNIE VALENTINE WAY
PENDERGRASS, GA 30567




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Name of Counterparty                                                                                            Nature

TAKOVICH, RONALD L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TALBARD, STEVE P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TALBERT, MARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


TALBERT, WALTER EMERSON (DECEASED)                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TALBOOM, LAVERNE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALBOT WASTE OIL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
813 NORTH CHANDLER STREET
FORT WORTH, TX 76111


TALBOT, LYLE L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TALBOT, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALERICO, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                        Nature

TALICH, ROGER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TALIENTO, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALL, DONALD ERIC DECEASED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


TALLANT, JEANETTE DAVIS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TALLENT, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALLENT, MARGARET N.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TALLENT, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALLENT, WILLIAM TODD                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TALLEVAST, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TALLEY CHEMICAL & SUPPLY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 831
MEXIA, TX 76667


TALLEY CHEMICAL AND SUPPLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 831
MEXIA, TX 76667-0831


TALLEY, ERVIN JACKSON, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ERNEST WILLIAMSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TALLEY, JASON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TALLEY, RONALD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TALLEY, TAMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TALLMAN, CHARLES E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TALLON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TALLON, SAMUEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TALUKDAR, PRADIP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAMBINI, ANTHONY, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                       Nature

TAMBOURINE, JAMES R.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TAMBOURINE, LINDA LOIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TAMELING, HERMANN H.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TAMFELT PMC INC                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
585 RUE DES FORTIFICATIONS
SAINT-JEAN-SUR-RICHELIEU, QC J2W 2W8
CANADA

TAMKO BUILDING PRODUCTS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1598 HIGHWAY 183
PHILLIPSBURG, KS 67661


TAMKO BUILDING PRODUCTS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
220 WEST 4TH STREET
JOPLIN, MO 64802


TAMMARO, RICHARD                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAMMY THAXTON JONES, AS SURVIVING HEIR OF JOHN HENRY JONES, JR.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TANA, JOSEPH, JR                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TANCREL, LAURIER                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TANEJA, JUGAL K                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TANNENBAUM, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TANNER, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TANNER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TANNER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TANNER, MARK E.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TANNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TANNER, WILLIAM P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TANNEY, ANN, FOR THE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF MICHAEL R TANNEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TANNOR PARTNERS CREDIT FUND LP AS                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE FOR UNITED CONVEYOR SUPPLY CORP
150 GRAND STREET, SUITE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR BUCKMAN LABORATORIES INC
150 GRAND ST STE 401
WHITE PLAINS, NY 10601




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR CONTINENTAL WIRELESS INC
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR CUTSFORTH PRODUCTS INC.
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR EAST TEXAS SEED COMPANY
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR FOSSIL POWER SYSTEMS INC
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR LEICA GEOSYSTEMS ET AL
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR NORTH AMERICAN TIE &
TIMBER LLC
150 GRAND STREET, SUITE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR POWERRAIL DISTRIBUTION
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR RAILROAD FRICTION ET AL
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR ROMCO EQUIPMENT COMPANY
150 GRAND STREET
SUITE 401
WHITE PLAINS, NY 10601




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR ROMCO EQUIPMENT COMPANY
150 GRAND STREET, STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR SEATINGZONE.COM
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR TEXAS VALVE & FITTING CO
150 GRAND STREET
SUITE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR THE EADS COMPANY
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR TOWNLEY ENGINEERING &
MFG CO INC.
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TANNOR PARTNERS CREDIT FUND LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AS ASSIGNEE FOR WIREROPE WORKS INC.
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


TAPEY, EVERETT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAPIA, CARLOS SEPULVEDA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TAPIA, PATRICIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TARANTINO, ANTHONY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TARANTOLA, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TARBELL, STEPHEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TARBURTON, ALBERT, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EMERSON F TARBURTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TARDIFF, LEO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TARDIO, SALVATORE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TARDY, JAY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TARGA GP INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA LP INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TARGA MIDSTREAM SERVICES LIMITED PARTNERSHIP                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA RESOURCES GP LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA RESOURCES II LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA RESOURCES INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA RESOURCES LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARGA RESOURCES TEXAS GP LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


TARITY, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TARITY, THOMAS D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TARKETT INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 YAMASKA E
FARNHAM, QC J2N 1J7
CANADA




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TARKINGTON, TRAVIS C.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARLETON STATE UNIVERSITY ROTC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX T 0480
STEPHENVILLE, TX 76402


TARLTON CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5500 W PARK AVE
ST LOUIS, MO 63110


TARNAGORSKI, JOHN J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TARNALICKI, EVA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


TARNALICKI, JOSEPH J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


TARR, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARRANT CO. HOSPITAL DIST.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 S. MAIN ST
FORT WORTH, TX 76104


TARRANT CO. JR. COLLEGE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1500 HOUSTON STREET
FORT WORTH, TX 76102


TARRANT CO. REG. WATER DIST. #1                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRWD ADMINISTRATION
800 EAST NORTHSIDE DRIVE
FORT WORTH, TX 76102


TARRANT COUNTY - FOREST GROVE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation




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                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                 Nature

TARRANT COUNTY COLLEGE DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


TARRANT COUNTY HOSPITAL DISTRICT                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


TARRANT COUNTY PUBLIC HEALTH LAB                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 S MAIN ST SUITE 1702
FORT WORTH, TX 76104


TARRANT COUNTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 E. WEATHERFORD
FORT WORTH, TX 76196


TARRANT COUNTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP
ATTN: ELIZABETH WELLER
2777 N. STEMMONS FREEWAY, SUITE 1000
DALLAS, TX 75207


TARRANT COUNTY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


TARRANT REGIONAL WATER DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 EAST NORTH SIDE DRIVE
FT. WORTH, TX 76109


TARRANT REGIONAL WATER DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
STEPHEN T. MEEKS
100 THOCKMORTON, SUITE 300
FORT WORTH, TX 76102


TARRANT REGIONAL WATER DISTRICT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POPE, HARDWICKE, CHRISTIE, SCHELL
KELLY & RAY, L.L.P. - MICHAEL ATCHLEY
500 W. SEVENTH ST., STE 600
FORT WORTH, TX 76102




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TARSI, ANGELO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TARSI, JACK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TARTE, TERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARTSAH, AGNES MENDEZ                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARTSAH, CECILIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARVER, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARVER, DELMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TARVER, INEZ                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TARVER, MARSHALL , JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TARVER, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TARVER, SAMMIE EDNA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TARWATER, MARTIN C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TASCO INSULATION INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 E WOODLAND AVE.
YOUNGSTOWN, OH 44502-1956


TASCO INSULATION INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GALLAGHER SHARP FULTON NORMAN
BULKLEY BLDG 1501 EUCLID AVE
SEVENTH FLOOR
CLEVELAND, OH 44115


TATE & LYLE INGREDIENTS AMERICA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 E ELDORADO ST
DECATUR, IL 62521


TATE ANDALE INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1941 LANSDOWNE RD
BALTIMORE, MD 21227


TATE, BENJAMIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TATE, DENNIS M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TATE, DONNA L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVIN FOWLKES
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TATE, MICHAEL KENN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TANNER AND ASSOCIATES, PC
ATTN: ROD TANNER
6300 RIDGLEA PLACE, STE 407
FORT WORTH, TX 76116


TATE, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TATE, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TATE, WILLIAM L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TATOM, SUSAN JEAN COLLEY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TATRO, SR., GORDON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TATRO, WALTER W, JR--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


TATUM ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 808
TATUM, TX 75691


TATUM, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TATUM, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
680 COUNTY ROAD 2187
TATUM, TX 75691


TATUM, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAUBE, EDWARD & CHRISTINE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAUBE, RUBEN WARREN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAULLIE, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TAVARES, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAX 2000                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
141 KING ROAD
UNIT 7
RICHMOND HILL, ON L4E 3L7
CANADA

TAX, JOHN J.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TAYLOR III, JON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TAYLOR INSULATION CO INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 CHAMPAGNE STREET
MERRILL, WI 54452


TAYLOR IRON-MACHINE WORKS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 188
TAYLOR, TX 76574


TAYLOR ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3101 NORTH MAIN, SUITE 104
TAYLOR, TX 76574


TAYLOR IV, JON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR TECHNOLOGIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
31 LOVETON CIRCLE
SPARKS, MD 21152




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TAYLOR TELCOMM INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 386
MERIDIAN, TX 76665


TAYLOR VALVE TECHNOLOGY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8300 SW 8TH S
OKLAHOMA CITY, OK 73128


TAYLOR, ALLISON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, ALPHAUS (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, ALVIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, BENJAMIN F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


TAYLOR, BRENARD J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


TAYLOR, BRICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, CHARLES E, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, CHARLES EUGENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TAYLOR, CHARLES, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, CHESTER F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TAYLOR, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
400 PORTER STREET
TAYLOR, TX 76574


TAYLOR, CLYDE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, COLEEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, CYNTHIA K.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, DOROTHY M % JO MILLS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, EARL DEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, ELBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAYLOR, ELIZABETH A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, EVERETT GLENN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, FRANCES T                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, GLENN C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


TAYLOR, GLENN CHARLES, SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, GREGORY LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, HENRY W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, HERBERT U.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TAYLOR, HUGH NELSON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, JAME O.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TAYLOR, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, JIMMY R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, JOHN G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, JONATHAN DAVID ('JOHN')                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TAYLOR, JOYCE D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, KAREN S, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE F HARRISON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, KAREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, LEON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TAYLOR, LORRAINE C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAYLOR, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TAYLOR, MICHAEL V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TAYLOR, MICKEY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TAYLOR, MORTIMER E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, MORTON L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, MORTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, MOSELY, JOYNER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, NELSON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, NORMA J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAYLOR, ODEAN, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TAYLOR, ORA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, RANDALL O                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, RAYFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1910 CR 2400
MOUNT PLEASANT, TX 75455


TAYLOR, RAYFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TAYLOR, RICKY WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TAYLOR, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, ROSELINE B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, ROY C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, SHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TAYLOR, TERESA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TAYLOR, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, TIMOTHY W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TAYLOR, VICTORIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, WANDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TAYLOR, WILLIAM J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TAYLOR, WILLIAM L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TAYLOR, WILLIAM S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TAYLOR, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TAYLOR-SEIDENBACH INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 8288
METAIRIE, LA 70011


TAYLOR-SEIDENBACH, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
RICHARD E BOYLE
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63102


TAYLOR-SEIDENBACH, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RALPH I SHEPARD
731 S SCOTT ST
NEW ORLEANS, LA 70119


TC GLOBAL MFG HOLDINGS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LT
520 S 2ND ST STE 403
SPRINGFIELD, IL 62701


TC GLOBAL MFG HOLDINGS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON COBURN LLP
KURT EDWARD REITZ
525 W MAIN ST, PO BOX 750
BELLEVILLE, IL 62222-0750


TDC FILTER MANUFACTURING INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 480747
NILES, IL 60714-0747


TDC FILTER MANUFACTURING, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 TERRITORIAL COURT
BOLINGBROOK, IL 60440


TEACH, NORMAN W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

TEACHEY, MANFRED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEAGUE CHRONICLE, THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 631
TEAGUE, TX 75860


TEAGUE HOSPITAL DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 E LOOP 255
TEAGUE, TX 75860


TEAGUE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 N. 10TH AVE.
TEAGUE, TX 75860


TEAGUE, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEAGUE, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 S 4TH AVE
TEAGUE, TX 75860


TEAL, DON ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TEAM EXCAVATING                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
815 NORTH MAIN STREET
WRENS, GA 30833


TEAM INDUSTRIAL SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: WELDON EGGERT, A/R MANAGER
13131 DAIRY ASHFORD, SUITE 600
SUGAR LAND, TX 77478


TEAM INDUSTRIAL SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 12079
LONGVIEW, TX 75607




                                                                                                                                                                                                               Page 3725 of 4224
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TEAM INDUSTRIAL SERVICES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 842233
DALLAS, TX 75284-2233


TEAM INDUSTRIAL SERVICES, INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13131 DAIRY ASHFORD RD
SUGAR LAND, TX 77478


TEAM INDUSTRIAL SERVICES, INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


TEASDALE, MALCOLM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEBBETTS, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEBBS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEBO, JD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TEC WELL SERVICE, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WICK PHILLIPS GOULD & MARTIN LLP
ATTN: JONATHAN COVIN
3131 MCKINNEY AVE, SUITE 100
DALLAS, TX 75204


TEC                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R.J. SHORE,PRESIDENT
2516 WEST MARSHALL AVENUE
LONGVIEW, TX 75604




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TECCOR ELECTRONICS INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 HURD DR.
IRVING, TX 75038


TECCOR ELECTRONICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 HURD DR.
IRVING, TX 75038


TECCOR ELECTRONICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 669
1101 PAMELA DR.
EULESS, TX 76039


TECCOR ELECTRONICS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 HURD DRIVE
IRVING, TX 75038


TECH INTRA CO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



TECHNICOLOR USA INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10330 NORTH MERIDIAN STREET
INDIANAPOLIS, IN 46290


TECHNOLOGY LUBRICANTS CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16215 WAVERLY DR
HOUSTON, TX 77032


TECHNOLOGY RESOURCE CTR OF AMERICA, LLC                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 VIRGINIA CIRCLE
DENTON, TX 76209


TECHWAY SERVICES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12880 VALLEY BRANCH STE 100
FARMERS BRANCH, TX 75234


TECO-WESTINGHOUSE MOTOR COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 N. IH-35
ROUND ROCK, TX 78681


TECUMSEH PRODUCTS CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5683 HINES DRIVE
ANN ARBOR, MI 48108




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

TECUMSEH PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


TECUMSEH PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMMONS COOPER
JOHN ANTHONY BRUEGGER
707 BERKSHIRE BLVD
EAST ALTON, IL 62024


TECUMSEH PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
30600 TELEGRAPH RD STE 2345
BINGHAM FARMS, MI 48025


TEDEI, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEDESCO, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEDFORD, LONNIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEEMS, JAMES C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEEPLES, GARTH A. (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TEEPLES, JUANITA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TEER, JOHN D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEES, KIMMY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


TEETER, JEAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


TEETS, CARL J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TEGGE, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEHUACANA WCID #1                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 412
HILLSBORO, TX 76645-2100


TEI STRUTHERS WELLS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PNC BANK
PO BOX 643434
PITTSBURGH, PA 15264-3434


TEIGEN, RAY C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TEINERT, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEINERT, ARNOLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TEINERT, DEBORAH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEJADA, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEJAS MOBILE AIR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3961 MENGER
SAN ANTONIO, TX 78259-1743


TEJAS, SITECH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEKELL, BROOK, MATTHEWS & LIMMER                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM C. BOOK, JR./MARK K. ALLEN
1221 MCKINNEY
SUITE 4300
HOUSTON, TX 77010


TEKSYSTEMS INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 198568
ATLANTA, GA 30384-8568


TEKSYSTEMS, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CREDIT MANAGER
7437 RACE RD.
HANOVER, MD 21076


TEKTRONIX INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9639 INTEROCEAN DR
CINCINNATI, OH 45246


TELECOM ELECTRIC SUPPLY CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1304 CAPITAL AVE
PO BOX 860307
PLANO, TX 75086-0307


TELECOM ELECTRIC SUPPLY CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 860307
PLANO, TX 75086-0307


TELECOM ELECTRIC SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 860307
PLANO, TX 75086-0307




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Name of Counterparty                                                                                           Nature

TELEDYNE ANALYTICAL INSTRUMENTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1580
CITY OF INDUSTRY, CA 91744


TELEDYNE BROWN ENGINEERING                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES MCGOVERN, PRES.
300 SPARKMAN DR.,NW.
HUNTSVILLE, AL 35805


TELEDYNE CONTINENTAL MOTORS, AIRCRAFT PRODUCTS DIV                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 FIRST ALABAMA BANK BUILDING
MOBILE, AL 36602


TELEDYNE GEOTECH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TELEDYNE INDUSTRIES INC.
1901 AVE. OF THE STARS
LOS ANGELES, CA 90067


TELEDYNE GROTECH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 28277
DALLAS, TX 75228


TELEDYNE INSTRUMENTS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12497 COLLECTIONS CENTER DR
CHICAGO, IL 60693


TELEDYNE MONITOR LABS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12497 COLLECTIONS CENTER DR
CHICAGO, IL 60693


TELEDYNE MONITOR LABS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5310 N PIONEER RD
GIBSONIA, PA 15044


TELEDYNE MONITOR LABS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35 INVERNESS DR E
ENGLEWOOD, CO 80112


TELEDYNE MONITOR LABS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TARA J. SCHLEICHER
121 SW MORRISON, STE 600
PORTLAND, OR 97204




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TELEDYNE TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1049 CAMINO DOS RIOS
THOUSAND OAKS, CA 91360


TELEDYNE TEST SERVICES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TELEDYNE TECHNOLOGIES COMPANY
513 MILL STREET
MARION, MA 02738-1549


TELIPSKI, RONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TELLEPSEN CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 BENMAR DR
HOUSTON, TX 77060


TELLEPSEN CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 BENMAR DR
HOUSTON, TX 77060


TELVENT DTN LLC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26385 NETWORK PLACE
CHICAGO, IL 60673-1263


TELWARES INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3535 TRAVIS SUITE 105
DALLAS, TX 75204


TELWARES, INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
15303 DALLAS PKWY STE 200
ADDISON, TX 75001-4602


TEMPERATURE MEASUREMENT SYSTEMS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1502 EAST ROYALL BLVD
HWY 31 EAST
MALAKOFF, TX 75148


TEMPERINO, MICHELE AND ROSALIA TEMPERINO                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TEMPLE HEALTH & BIOSCIENCE EDD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JACK D. HART
19 NORTH MAIN STREET
TEMPLE, TX 76501


TEMPLE ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 NORTH 23RD STREET
TEMPLE, TX 76504


TEMPLE JUNIOR COLLEGE DIST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 S 1ST ST
TEMPLE, TX 76504


TEMPLE, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 NORTH MAIN STREET
TEMPLE, TX 76501


TEMPLE, RAYMEN P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TEMPLET, DALE, SR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TEMPLETON AIR CONDITIONING                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& REFRIGERATION
PO BOX 912
MT VERNON, TX 75457


TEMPLETON, BILLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEMPLETON, ELIZABETH C, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN M BUCZEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                             Nature

TEMPLETON, GORDON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEMUNOVIC, PETAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TENAGLIA, FABRIZIO N                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TENAGLIA, NICOLO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TENASKA GAS STORAGE, LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14302 FNB PARKWAY
ATTN: ANDREW MURREN, SENIOR CREDIT RISK ANALYST
OMAHA, NE 68154-4435


TENASKA MARKETING VENTURES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TENASKA GAS STORAGE, LLC
14302 FNB PARKWAY
ATTN: ANDREW MURREN, SENIOR CREDIT RISK ANALYST
OMAHA, NE 68154-4435


TENASKA POWER SERVICES CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 E. LAMAR BLVD, SUITE 100
ATTN: CREDIT DEPARTMENT
ARLINGTON, TX 76006


TENBY INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 W 2ND ST STE C
ROSWELL, NM 88201


TENHET-LOWERY, MARGARET KAY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TENINTY, DOUGLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TENNANT, CRAIG A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNECO AUTOMOTIVE OPERATING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 NORTH FIELD DRIVE
LAKE FOREST, IL 60045


TENNECO AUTOMOTIVE OPERATING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TENNECO AUTOMOTIVE OPERATING                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


TENNECO CHEMICAL CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


TENNECO INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 NORTH FIELD DRIVE
LAKE FOREST, IL 60045


TENNECO OIL CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002


TENNECO OIL CO.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TENNESSEE GAS PIPELINE CO.
1001 LOUISIANA STREET
HOUSTON, TX 77002


TENNECO POLYMERS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 LOUISIANA STREET
HOUSTON, TX 77002




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TENNECO POLYMERS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1010 MILAM STREET
HOUSTON, TX 77002


TENNER, LASHONDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNER, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNER, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TENNER, PRISCILLA G.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNER, ROOSEVELT SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNESSEE GAS PIPELINE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROUTE 2, BOX 309
HEIDELBERT, MS 39439


TENNISON, DENNIS G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TENNISON, DENNIS G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TENNISON, JOANNE K                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TENNISON, JOANNE K.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TENO, TALMADGE F.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERCASIO, EDWARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                                       ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                     Nature

TERCERO, MICHELLE                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERDOSLAVICH, NEVIO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TERESA LYNN JONES, AS SURVIVING HEIR OF JOHN HENRY JONES, JR.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TEREX CORPORATION                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 NYALA FARM ROAD
WESTPORT, CT 06880


TERFECKI, JOHN E.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TERIC, VITO                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TERIX COMPUTER SERVICE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
388 OAKMEAD PKWY
SUNNYVALE, CA 94085


TERIX COMPUTER SERVICE, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
388 OAKMEAD PARKWAY
SUNNYVALE, CA 94085


TERLINGO, LOUIS                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERMINIX PROCESSING CENTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742592
CINCINNATI, OH 45274-2592




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TERNING, GARY ALLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERPAK, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERPENING, ALLEN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRANOVA, ARCHIMEDE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TERRANT, TERRI E, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DANNY W TERRANT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TERRASOURCE GLOBAL CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 N BROADWAY
SUITE 1600
SAINT LOUIS, MO 63102


TERRASOURCE GLOBAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE TENNANT CO
50 BRIAR HOLLOW LN 210E
HOUSTON, TX 77027


TERRELL ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 N. CATHERINE
TERRELL, TX 75160


TERRELL, AYENDA LOVE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TERRELL, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 EAST NASH ST.
PO BOX 310
TERRELL, TX 75160


TERRELL, DAPHNE WILLIAMS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRELL, DAPHNE WILLIAMS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRELL, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRELL, MARVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRELL, SALLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLER FISHBACK & JACKSON
28720 CANWOOD STREET
SUITE 200
AGOURA HILLS, CA 91301


TERRELL, WALTER CLYDE, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRELL, WHITNE A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRICCIANO, RICHARD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRILL, GARY AND SANDY TERRILL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                           Nature

TERRILL, MICHAEL                                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRY AUTRY CK#1002645457-HLD                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
80 NEWNAN LAKES BLVD APT 916
NEWNAN, GA 30263


TERRY AUTRY CK#1002649137-HLD                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
80 NEWNAN LAKES BLVD APT 916
NEWNAN, GA 30263


TERRY AUTRY CK#1002652548-HLD                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
80 NEWNAN LAKES BLVD APT 916
NEWNAN, GA 30263


TERRY KRAATZ, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF RICKY KRAATZ                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, ALAN JR.                                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TERRY, BOBBY                                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TERRY, BRIANNA                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TERRY, CHARLES                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TERRY, CHARLES                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, CHARLES                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRY, EUGENE, JR                                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TERRY, EVA, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NATHAN TERRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TERRY, FREIDA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS J TERRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TERRY, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, JESS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, LEWIS JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TERRY, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, PAUL D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, PAUL E , JR, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL TERRY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TERRY, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERRY, RODNEY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TERRY, STACEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, TY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, WEBSTER (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TERRY, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERVORT, NED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TERZIGNI, ANNA S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


TERZIGNI, FRANK C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TERZIGNI, FRANK C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TES INCORPORATED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3928 BUENA VISTA CIRCLE
GRANBURY, TX 76049


TESORIERO, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TESORO CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19100 RIDGEWOOD PKWY
SAN ANTONIO, TX 78259-1828


TESORO CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 CONCORD PLAZA
SAN ANTONIO, TX 78216


TESSAR, GABRIEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TESSCO INCORPORATED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: K. FORELLA
11126 MCCORMICK RD
HUNT VALLEY, MD 21031


TESSCO INCORPORATED                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 102885
ATLANTA, GA 30368-2885


TESSENEER, MICHAEL DAVID, SR. (DECEASED)                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TESSITORE, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEST AMERICA AIR EMISSION CORP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA METCO ENVIRONMENTAL
PO BOX 204290
DALLAS, TX 75320-4290




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Name of Counterparty                                                                                           Nature

TESTA, LOUIS A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TESTERMAN, HERBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TESTON, ERNEST L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TESTON, LILLIAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TESZ, CASIMIR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TEUBNER, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TEX BLAST SANDBLASTING                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1477
TEMPLE, TX 76503-1477


TEX TIN CORP.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O METALLON
333 WESTCHESTER AVE., SUITE 101
WEST HARRISON, NY 10604


TEXACO INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAMOS & TRUCCO LLP
GREGORY TODD GOLDBERG
1 EAST WACKER DRIVE SUITE 300
CHICAGO, IL 60601


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 WESTCHESTER AVE
WHITE PLAINS, NY 10650


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B. RICE
1233 WEST LOOP SOUTH, SUITE 1000
HOUSTON, TX 77027


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


TEXACO INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


TEXACO PETROCHEMICAL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAYS MCCONN RICE & PICKERING
STEVE B RICE, LESLIE HENRY
1200 SMITH, SUITE 400
HOUSTON, TX 77002


TEXACO REFINING & MARKETING                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
910 LOUISIANA STREET
HOUSTON, TX 77002




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                           Nature

TEXACO, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


TEXACO, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HWY 366 POB 847
PORT NECHES, TX 77651


TEXACO, INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60252
NEW ORLEANS, LA 70160


TEXAS A & M UNIVERSITY SYSTEM (THE)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 TECHNOLOGY WAY
A& M SYSTEM BLDG; SUITE 2079
COLLEGE STATION, TX 77845


TEXAS A&M ENGINEERING EXPERIMENT                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STATION SPONSORED RESEARCH SERV
400 HARVEY MITCHELL PKY S
STE 300
COLLEGE STATION, TX 77845-4375


TEXAS AIR HYDRAULIC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2785
LONGVIEW, TX 75606


TEXAS AIR HYDRAULICS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2785
LONGVIEW, TX 75606


TEXAS AIR SYSTEMS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6029 WEST CAMPUS CIRCLE DRIVE
SUITE 100
IRVING, TX 75063


TEXAS ALKYLS, INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AKZONA, INC.
7 LIVINGSTONE AVE.
DOBBS FERRY, NY 10522


TEXAS AMERICAN PETROCHEMICALS, INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 LOUISIANA STREET, SUITE 1800
HOUSTON, TX 77002




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TEXAS AMERICAN PETROCHEMICALS, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
376 MAIN STREET
BOX 74
BEDMINSTER, NJ 07921


TEXAS AMERICAN PETROCHEMICALS, INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 729
MIDLOTHIAN, TX 76065


TEXAS ASSOCIATION OF APPRAISAL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DISTRICTS
7700 CHEVY CHASE DR
BLDG ONE STE 425
AUSTIN, TX 78752-1558


TEXAS BAY PLANTATION HOUSE LP                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2625 HUDNALL ST
DALLAS, TX 75235-8201


TEXAS BEARINGS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2611 S CESAR CHAVEZ BLVD
DALLAS, TX 75215


TEXAS BEARINGS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2611 SOUTH CENTRAL EXPWY
DALLAS, TX 75215


TEXAS BEARINGS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 565546
DALLAS, TX 75356-5546


TEXAS BIG SPRING, LP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1095 AVENUE OF THE AMERICAS
25TH FLOOR
NEW YORK, NY 10036


TEXAS CITY REFINING                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1271
TEXAS CITY, TX 77590


TEXAS COMMISSION OF ENVIRONMENTAL QUALITY                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12100 PARK 35 CIRCLE
AUSTIN, TX 78753




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TEXAS COMMISSION OF ENVIRONMENTAL QUALITY                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS COMMISSION ON ENVIREOMENTAL
QUALITY, GLEN SHANKLE
12100 PARK CIRLE #35
AUSTIN, TX 78753


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13087
AUSTIN, TX 78711-3087


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY, REGION 3                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1977 INDUSTRIAL BLVD
ABILENE, TX 79602-7833


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY, REGION 4                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2309 GRAVEL DRIVE
FORT WORTH, TX 76118-6951


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY, REGION 5                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2916 TEAGUE DRIVE
TYLER, TX 75701-3756


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY, REGION 9                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6801 SANGER AVE, STE 2500
WACO, TX 76710-7826


TEXAS COMMISSION ON ENVIRONMENTAL QUALITY, REGION 9                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6801 SANGER AVE. STE. 2500
AUSTIN, TX 76710-7826


TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LBJ STATE OFFICE BLDG.,
111 EAST 17TH ST.
AUSTIN, TX 78744


TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF THE ATTORNEY GENERAL
BANKRUPTCY-COLLECTIONS DIVISION MC-008
PO BOX 12548
AUSTIN, TX 78711-2548


TEXAS COUNTRY MUSIC HALL OF FAME                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 W PANOLA ST
CARTHAGE, TX 75633




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                                                             Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                  Nature

TEXAS DEPARTMENT OF AGRICULTURE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 N. CONGRESS AVE.
FLOOR 9
AUSTIN, TX 78711


TEXAS DEPARTMENT OF AGRICULTURE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 12847
AUSTIN, TX 78711


TEXAS DEPARTMENT OF AGRICULTURE, OFFICE OF GENERAL COUNSEL                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 12847
AUSTIN, TX 78711


TEXAS DEPARTMENT OF CRIMINAL JUSTICE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4004
HUNTSVILLE, TX 77342-4004


TEXAS DEPARTMENT OF PUBLIC SAFETY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5805 NORTH LAMAR
AUSTIN, TX 78752


TEXAS DEPARTMENT OF TRANSPORTATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 EAST 11TH ST
AUSTIN, TX 78701


TEXAS DEPARTMENT OF TRANSPORTATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 EAST 11TH STREET
AUSTIN, TX 78701


TEXAS DEPARTMENT OF TRANSPORTATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2709 WEST FRONT STREET
TYLER, TX 75702


TEXAS DEPT OF MOTOR VEHICLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VEHICLE TITLES & REGISTRATION
DIVISION
PO BOX 12098
AUSTIN, TX 78711-2098


TEXAS DEPT OF PUBLIC SAFETY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRIVATE SECURITY BUREAU
PO BOX 15999
AUSTIN, TX 78761-5999




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TEXAS DEPT. OF TRANSPORTATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
125 E. 11TH ST.
AUSTIN, TX 78701


TEXAS DIESEL MAINTENANCE INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2327 TIMBERBREEZE CT
MAGNOLIA, TX 77355


TEXAS DIESEL MAINTENANCE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TRACEY MARCANTEL
2327 TIMBERBREEZE COURT
MAGNOLIA, TX 77355


TEXAS EASTERN TRANSMISSION CORPORATION                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5400 WESTHEIMER COURT
HOUSTON, TX 77056-5310


TEXAS EASTERN TRANSMISSION LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5400 WESTHEIMER COURT
HOUSTON, TX 77056-5310


TEXAS ECO SERVICES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5232 SAUNDERS RD
FORT WORTH, TX 76119


TEXAS ELECTRICITY RATINGS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 10836
HOUSTON, TX 77206


TEXAS ENERGY AGGREGATION LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1708 AUSTIN AVE
WACO, TX 76701


TEXAS ENERGY RESEARCH ASSOC INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 27884
AUSTIN, TX 78755


TEXAS ENERGY TRANSFER COMPANY, LTD                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 MAIN STREET
ATTN: CREDIT DEPARTMENT - TREASURY
HOUSTON, TX 77002




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TEXAS ENGINEERING EXPERIMENT STATION                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: RON EDWARDS
3124 TAMU
COLLEGE STATION, TX 77843-3124


TEXAS EXCAVATION SAFETY SYSTEM INC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11880 GREENVILLE AVE STE 120
DALLAS, TX 75243


TEXAS GAS TRANSMISSION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES R. LINDLEY
PO BOX 1384
KILLEEN, TX 76540-1384


TEXAS GAS TRANSMISSION, LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3800 FEDERICA STREET
ATTN: CREDIT SERVICES
OWENSBORO, KY 42301


TEXAS GAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARY D. LAUDERDALE,SEN.VP & GENLMGR.
3800 FREDEERICA STREET
OWENSBORO, KY 42301


TEXAS HEALTH RESOURCES, INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
612 E LAMAR BLVD
ATTN: JOHN GAIDA
ARLINGTON, TX 76011


TEXAS HIDE AND METAL COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BENNET ANTON
402 CYPRESS
SUITE 505
ABILENE, TX 79601


TEXAS INDUSTRIAL MAINTENANCE SUPPLY CO.                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1951 UNIVERSITY BUSINESS DRIVE
SUITE 121
MCKINNEY, TX 75071


TEXAS INDUSTRIES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TEXAS INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SOUTH MAIN BAPTIST CHURCH
GREGORY GUY FUNDERBURK
4100 SOUTH MAIN
HOUSTON, TX 77002


TEXAS INDUSTRIES, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 N. ST. PAUL STREET
DALLAS, TX 75201


TEXAS INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12500 TI BLVD.
DALLAS, TX 75243


TEXAS INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13500 N CENTRAL EXPWY
MS 56
DALLAS, TX 75243


TEXAS INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 INDEPENDENCE BLVD
WARREN, NJ 07059


TEXAS INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TEXAS INSTRUMENTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660199
DALLAS, TX 75266-0199


TEXAS INSTRUMENTS INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE ROTH LAW FIRM, CARL ROTH
AMANDA ALINE ABRAHAM, BRENDAN ROTH
115 N. WELLINGTON, SUITE 200, PO BOX 876
MARSHALL, TX 75671-0876


TEXAS INSTRUMENTS INCORPORATED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13532 N. CENTRAL EXPRESSWAY
MS 80
DALLAS, TX 75265




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Name of Counterparty                                                                                            Nature

TEXAS INSTRUMENTS INCORPORATED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JONATHAN WEISBERG, ATTORNEY
7839 CHURCHILL WAY
DALLAS, TX 75251


TEXAS INSTRUMENTS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13532 NORTH CENTRAL EXPWY, MS 56
DALLAS, TX 75243


TEXAS INSTRUMENTS, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7839 CHURCHIL WAY, MS 3999
DALLAS, TX 75251


TEXAS INTER-FAITH HOUSING CORP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA 800 HEIGHTS APTS
3131 W ALABAMA STE 300
HOUSTON, TX 77098


TEXAS LYCEUM, THE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6046 AZALEA LN
DALLAS, TX 75230


TEXAS METER & DEVICE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 S 8TH ST
WACO, TX 76701


TEXAS METER & DEVICE CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 154099
WACO, TX 76715-4099


TEXAS METER & DEVICE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 154099
WACO, TX 76715-4099


TEXAS MILL SUPPLY,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARD ZUFALL,HR MANAGER
PO BOX 564
GALENA PARK, TX 77547


TEXAS MINING & RECLAMATION ASSOCIATION                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CONGRESS AVE STE 1100
AUSTIN, TX 78701




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Name of Counterparty                                                                                                                  Nature

TEXAS MINING AND RECLAMATION                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSOCIATION
111 CONGRESS AVE STE 900
AUSTIN, TX 78701


TEXAS NAMEPLATE CO., INC.                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R. DALE CROWNOVER, PRES.
1900 S. ERVAY ST.
DALLAS, TX 75215


TEXAS NAMEPLATE CO.,INC.                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 150499
(1900 SOUTH ERVAY)
DALLAS, TX 75315


TEXAS NATURAL RESOURCE CONSERVATION COMMISSION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2916 TEAGUE DRIVE
TYLER, TX 75701-3756


TEXAS NATURAL RESOURCE CONSERVATION COMMISSION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INDUSTRIAL AND HAZARDOUS WASTE DIVISION
ATTN: MANAGER, ENFORCEMENT SECTION
PO BOX 13087
AUSTIN, TX 78711-3087


TEXAS NATURAL RESOURCE CONSERVATION COMMISSION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13087
AUSTIN, TX 78711-3087


TEXAS NATURAL RESOURCE CONSERVATION COMMISSION, POLLUTION CLEANUP DIVISION                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUPERFUND ENGINEERING SECTION (MC 144)
ATTENTION: MR. JAMES SHER, P.E., PROJECT MANAGER SONIC SUPERFUND SITE
12100 PARK 35 CIRCLE
AUSTIN, TX 78753


TEXAS NATURAL RESOURCE CONSERVATION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TEXAS COMMISSION ON ENV. QUALITY
12100 PARK 35 CIRCLE
AUSTIN, TX 78753


TEXAS NATURAL RESOURCES CONSERVATION COMMISSION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BIO-ECOLOGY PROJECT COORDINATOR, POLLUTION CLEANUP DIVISION
TECHNICAL PARK CENTER, PO BOX 13087
AUSTIN, TX 78711-3087




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Name of Counterparty                                                                                          Nature

TEXAS NEW MEXICO POWER CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4100 INTERNATIONAL PLAZA
FORT WORTH, TX 76109


TEXAS NEW MEXICO POWER CO.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
577 N. GARDEN RIDGE BLVD.
LEWISVILLE, TX 75067


TEXAS POINTE ROYALE APARTMENTS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11315 FONDREN
HOUSTON, TX 77035


TEXAS POWER CONSULTANTS                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 E THIRD ST
TYLER, TX 75701


TEXAS QUALITY PRODUCTS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 625
EAGLE LAKE, TX 77434


TEXAS RAILWAY CAR CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



TEXAS REFINERY CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
840 N MAIN S
FORT WORTH, TX 76164


TEXAS REFINERY CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 711
FORT WORTH, TX 76101


TEXAS SOLVENTS & CHEMICALS CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2500 VINSON
PO BOX 10406
DALLAS, TX 75207


TEXAS STAR CAFE & CATERING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
DALLAS, TX 75201


TEXAS STEEL & WIRE CORP.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DAVIS WIRE CORP.
5555 IRWINDAL AVE.
IRWINDALE, CA 91706




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TEXAS TEXTURE PAINT CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 340347
FARMERS BRANCH, TX 75234


TEXAS TEXTURE PAINT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13317 ELDER
DALLAS, TX 75234


TEXAS TREES FOUNDATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 ROSS AVE STE 855
DALLAS, TX 75201


TEXAS VALVE & FITTING CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
440A N EASTMAN ROAD
LONGVIEW, TX 75601


TEXAS VALVE & FITTING CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
505 CENTURY PKY STE 100
ALLEN, TX 75013


TEXAS VALVE & FITTING CO                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
505 CENTURY PKY STE 100
ALLEN, TX 75238


TEXAS WORKFORCE COMMISSION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REGULATORY INTEGRITY DIVISION
ATTN: PAUL D CARMONA
101 E 15TH ST, ROOM 556
AUSTIN, TX 78778-0001


TEXEN POWER COMPANY LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13333 BLANCO ROAD STE 304
SAN ANTONIO, TX 78216


TEXTRON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
40 WESTMINSTER STREET
PROVIDENCE, RI 02903


TEXTRON INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
10 DORRANCE ST SUITE 530
PROVIDENCE, RI 02903




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TEXTRON INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
BRIAN WILLIAM BELL
330 N. WABASH, SUITE 3300
CHICAGO, IL 60611


TEXTUBE COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1503 N POST OAK RD
HOUSTON, TX 77055


TFS ENERGY SOLUTIONS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
32 OLD SLIP 34TH FLOOR
NEW YORK, NY 10005


TH AGRICULTURE & NUTRITION LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 SCHLEY AVENUE
ALBANY, GA 31707


TH AGRICULTURE & NUTRITION LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HICKS THOMAS & LILIENSTERN
STEPHEN LOFTIN
700 LOUISIANA, SUITE 2000
HOUSTON, TX 77002


THACKER, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THACKER, GEORGIA JEAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THAM, MUNSING                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THAN INC.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOUSTON, TX 77098-1865


THANOS, NIKOLAOS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THATCHER, CAROL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

THATCHER, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THATCHER, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THATCHER, TIMOTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THATCHER, TRACY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THATCHER, TROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THAYER, DON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THAYER, RUSSELL A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


THE ARTHUR LEWIS SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5610 MAIN AVE
ASHTABULA, OH 44004


THE ARTHUR LEWIS SUPPLY COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROGER KEVIN REA
TWO CITY PLACE DRIVE SUITE 200
ST LOUIS, MO 63141


THE ASHINGDON LTD CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4701 ISLAND DR
MIDLAND, TX 79707-1408


THE AT&SF RAILWAY COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1700 EAST GOLF ROAD
SCHAUMBURG, IL 60173




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THE AUTOSCRIBE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9801 WASHINGTONIAN BLVD STE#200
GAITHERSBURG, MD 20878


THE BOEING COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


THE BOEING COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 NORTH RIVERSIDE
CHICAGO, IL 60606


THE BOEING COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


THE BOEING COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


THE BROWN SHOE COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8300 MARYLAND AVE.
ST LOUIS, MO 63105


THE BROWN SHOE COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8300 MARYLAND AVE.
ST LOUIS, MO 63105


THE BUDD COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
111 W JACKSON BLVD SUITE 2400
CHICAGO, IL 60604


THE BUG MASTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1912 SMITH RD
AUSTIN, TX 78721


THE CINCINNATI GASKET PACKING & MFG INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALBERT J UHLENBROCK
1509 ELM STREET
CINCINNATI, OH 45210




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THE CONDIT COMPANY INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10207 S SAM HOUSTON PARKWAY WEST
STE 160
HOUSTON, TX 77071-3146


THE CONKLIN GROUP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TODD CONKLIN
PO BOX 63
SANTA FE, NM 87504


THE CUMMINS FAMILY TRUST                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE DECAL SHOP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 E 16TH ST
MOUNT PLEASANT, TX 75455


THE DEPARTMENT OF STATE HEALTH SERVICES                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION FOR REGULATORY SERVICES
PO BOX 149347
AUSTIN, TX 78714-9347


THE DOE RUN RESOURCES CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


THE DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2030 DOW CENTER
MIDLAND, MI 48674


THE DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COTTEN SCHMIDT & ABBOTT, L.L.P.
LAWRENCE EMERSON ABBOTT
650 POYDRAS STREET SUITE 2810
NEW ORLEANS, LA 70130


THE DOW CHEMICAL COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                         Nature

THE DOW CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


THE DOW CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


THE DOW CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATHAN SCOTT MCMAHILL
1520 MARKET
ROOM 1062
ST LOUIS, MO 63103


THE DOW CHEMICAL COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


THE DOW CHEMICAL'COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEGAL DEPARTMENT
2030 DOW CENTER
MIDLAND, MI 48674-2030


THE EADS COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11220 GRADER ST STE 400
DALLAS, TX 75238


THE EADS COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3004 W MARSHALL AVE 102
LONGVIEW, TX 75604


THE ENERGY LINK LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1640 POWER FERRYS RD BLDG 19
STE 300
MARIETTA, GA 30067


THE ERIC RYAN CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 EARLY ST
PO BOX 473
ELLWOOD CITY, PA 16117




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

THE ESTATE OF LOLA B WILLIAMS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE ESTATE OF WILLIAM E THOMAS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE FAIRBANKS CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
202 N DIVISION ST
ROME, GA 30165


THE GAGE COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL E PECK DRUMMOND & DRUMMOND
1 MONUMENT WAY
PORTLAND, ME 04101


THE GENERAL TIRE & RUBBER COMPANY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
118 N CONGRESS STREET
JACKSON, MS 39205


THE GOODYEAR TIRE & RUBBER COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BRYAN KEITH MAULLER, ESQ
1832 SCHUETZ RD.
ST LOUIS, MO 63146


THE GOODYEAR TIRE & RUBBER COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


THE GOODYEAR TIRE & RUBBER COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


THE GOODYEAR TIRE & RUBBER COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


THE GOODYEAR TIRE & RUBBER COMPANY                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1144 E. MARKET STREET
AKRON, OH 44316-0001




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THE GOODYEAR TIRE & RUBBER COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
289 BOSTON POST RD
PORT CHESTER, NY 10573


THE GOODYEAR TIRE & RUBBER COMPANY                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICE
801 ADLAI STEVENSON DR
SPRINGFIELD, IL 62703


THE GOODYEAR TIRE COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
289 BOSTON POST RD
PORT CHESTER, NY 10573


THE GORMAN-RUPP COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1217
MANSFIELD, OH 44901-1217


THE H.B. SMITH COMPANY, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
47 WESTFIELD INDUSTRIAL
PARK ROAD
WESTFIELD, MA 01085


THE H.B. SMITH COMPANY, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUNTY & MCCARTHY
SUSAN GUNTY
150 SOUTH WACKER DRIVE SUITE 1025
CHICAGO, IL 60606


THE HALLSTAR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 S RIVERSIDE PLAZA STE 1620
CHICAGO, IL 60606


THE HALLSTAR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 S RIVERSIDE PLAZA
STE 1620
CHICAGO, IL 60606


THE HALLSTAR COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
MARK L KARASIK
130 E. RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601




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Name of Counterparty                                                                                           Nature

THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
MARK L KARASIK
130 EAST RANDOLPH DRIVE, SUITE 3500
CHICAGO, IL 60601


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
PATRICK J. HERALD
130 E. RANDOLPH DR, SUITE 3500
CHICAGO, IL 60601


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER & MCKENZIE LLP
PATRICK J. HERALD
130 EAST RANDOLPH DRIVE, SUITE 3500
CHICAGO, IL 60601


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEFRANCO & BRADLEY, PC
REBECCA LYNN VAN COURT
141 MARKET PLACE, STE 104
FAIRVIEW HEIGHTS, IL 62208


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


THE HALLSTAR COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025




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Name of Counterparty                                                                                         Nature

THE HALLSTAR COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


THE HALLSTAR COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


THE LAUCKGROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1601 BRYAN ST
STE# 101
DALLAS, TX 75201


THE LEXINGTON LEADER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 547
LEXINGTON, TX 78947


THE LILLIE MAE GRAY ESTATE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE LONESTAR CONSULTING GROUP LLC                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES LLC
2030 MAIN ST STE 700

DALLAS, TX 75201


THE LORITSCH FAMILY TRUST                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE LUBRIZOL CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
377 HOES LN
HOUSTON, TX 77002


THE MAGGIE FOCKE IRREVOCABLE TRUST                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THE MARLEY COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
314 NORTH BROADWAY
ST LOUIS, MO 63102




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Name of Counterparty                                                                                           Nature

THE MARLEY COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORROW WILLNAUER KLOSTERMAN CHURCH, LLC
JAMES CHRISTIAN MORROW
10401 HOLMES STE 300
KANSAS CITY, MO 64131


THE MAY DEPARTMENT STORES COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
R.DEAN WOLFE, EXEC. VP
611 OLIVE ST.
ST. LOUIS, MO 63101


THE MCCARTY CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL H SPAHT
445 NORTH BLVD
SUITE 300
BATON ROUGE, LA 70802


THE MEAD CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 SOUTH 5TH ST
RICHMOND HILL, VA 23219


THE MW KELLOGG COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


THE NASH ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 TREFOIL DRIVE
TRUMBULL, CT 06611


THE NASH ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
50 WESTON STREET
HARTFORD, CT 06120


THE NASH ENGINEERING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCKENNA STORER
THOMAS W HAYES
33 N LASALLE STREET, SUITE 1400
CHICAGO, IL 60602


THE OKONITE COMPANY INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 HILLTOP RD
RAMSEY, NJ 07446




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

THE OKONITE COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


THE OKONITE COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR SUITE 5500
CHICAGO, IL 60608


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PROCTER & GAMBLE PLAZA
CINCINNATI, OH 45201


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PROCTOR & GAMBLE PLAZA
CINCINNATI, OH 45202


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
ROSS STEPHEN TITZER
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


THE PROCTER & GAMBLE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


THE PROCTER & GAMBLE MANUFACTURING COMPANY                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PROCTER 7 GAMBLE PLAZA
CINCINNATI, OH 45202-3315




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THE PROCTER & GAMBLE MANUFACTURING COMPANY                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PROCTER AND GAMBLE PLAZA
CINCINNATI, OH 45201


THE REGINA COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INDUSTRIAL PARK
LONG BEACH, MS 39560-3711


THE RESIDENCES AT WAXAHACHIE, LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA THE LOFTS AT CROSSROAD
CENTRE
5555 WEST LOOP SOUTH SUITE 100
BELLAIRE, TX 77401


THE RESULTS COMPANIES LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2893 MOMENTUM PLACE
CHICAGO, IL 60689-5328


THE REYNOLDS CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7111 IMPERIAL DR
WACO, TX 76712


THE REYNOLDS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3203 LONGHORN BLVD, #101
AUSTIN, TX 78758


THE REYNOLDS COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4051 NNE LOOP 323
TYLER, TX 75708


THE ROSNER LAW GROUP LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO MUDRICK CAPITAL MANAGEMENT, L.P.)
ATTN: FEDERICK B ROSNER ESQ & JULIA B KLEIN ESQ
824 MARKET ST STE 810
WILMINGTON, DE 19801


THE SALVATION ARMY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 36607
ATTN: LEGAL DEPT
DALLAS, TX 75235


THE SCOTTS COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14111 SCOTTS LAWN RD
MARYSVILLE, OH 43041




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE CO
221 BOLIVAR
JEFFERSON CITY, MO 65101


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE COMPANY
221 BOLIVAR
JEFFERSON CITY, MO 65101


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INC SERVICE
COMPANY 221 BOLIVAR
JEFFERSON CITY, MO 65101


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
TRACY JON COWAN
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
KAREN MARIE VOLKMAN
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


THE SHERWIN WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
RENO RICHARD III COVA
10 S BROADWAY SUITE 1300
ST LOUIS, MO 63102


THE SHERWIN-WILLIAMS COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CSC LAWYERS INCORPORATING
221 BOLIVAR STREET
JEFFERSON CITY, MO 65101




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                                                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                          Nature

THE SHERWIN-WILLIAMS COMPANY                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SIMMONS COOPER
JOHN ANTHONY BRUEGGER
707 BERKSHIRE BLVD
EAST ALTON, IL 62024


THE SOLVENTS RECOVERY SERVICE OFNEW JERSEY, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1200 SYLVAN ST
LINDEN, NJ 07036


THE STANLEY WORKS                                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 STANLEY DRIVE
NEW BRITAIN, CT 06053


THE TEAGUE CHRONICLE                                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 631
TEAGUE, TX 75860


THE TEXAS LYCEUM                                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6046 AZALEA LN
DALLAS, TX 75230


THE TRAVELERS INSURANCE COMPANY                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRAVIS B WILKINSON
445 NORTH BLVD STE 300
BATON ROUGE, LA 70802


THE UNITED STATES OF AMERICA                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OST OFFICE BOX 23986
WASHINGTON, DC 23986


THE UNIVERSITY OF TENNESSEE                                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
309 CONFERENCE CTR BLDG
KNOXVILLE, TN 37996-4133


THE UNIVERSITY OF TEXAS AT                                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARLINGTON DIVISION FOR
ENTERPRISE DEVELOPMENT
BOX 19197 140 W MITCHELL STREET
ARLINGTON, TX 76019-0197


THE VALSPAR CORPORATION, INDIVIDUALLY AND AS SUCCESSOR IN INTEREST TO DESOTO, INC.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1101 THIRD STREET SOUTH
MINNEAPOLIS, MN 55415




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

THE VERANDA @ TWIN OAKS APARTMENT HOMES                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
774 COLEMAN AVE
MENLO PARK, CA 94025


THE WALWORTH COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13641 DUBLIN COURT
STAFFORD, TX 77477


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2503 SPRING GROVE AVE
CINCINNATI, OH 45214


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DR COWART
2503 SPRING GROVE AVE
CINCINNATI, OH 45214


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCOTT STEPHENSON
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2503 SPRING GROVE AVE
CINCINNATI, OH 45214


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CLEMENTE MUELLER, P.A.
218 RIDGEDALE AVENUE
PO BOX 1296
CEDAR KNOLLS, NJ 07927


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEMETRA ELENE SOTIRIOU, ATTORNEY AT LAW
1015 LOCUST ST STE 710
ST LOUIS, MO 63101


THE WILLIAM POWELL COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DR COWART
2503 SPRING GROVE AVE
CINCINNATI, OH 45214




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KORTENHOF & ELY PC,
CHERYL A CALLIS
1015 LOCUST ST STE 710
ST LOUIS, MO 63101


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
CLAUDIA B DIAZ
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
COLE G DUNNICK
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
ELIZABETH A ALBERICO
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
JAMES R BRANIT
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LITCHFIELD CAVO LLP
SCOTT STEPHENSON
303 WEST MADISON, SUITE 300
CHICAGO, IL 60606


THE WILLIAM POWELL COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


THE BUDD CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARTINREA INTERNATIONAL INC
3210 LANGSTAFF ROAD
VAUGHAN, ON L4K 5B2
CANADA




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THE NASH ENGINEERING CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2 TREFOIL DR
TRUMBULL, CT 06611


THE WILLIAM POWELL CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2503 SPRING GROVE AVE
CINCINNATI, OH 45214


THEIME CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3605 SWENSON AVE
ST CHARLES, IL 60174


THEIME CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 SOUTH MARQUETTE AVE
OAK CREEK, WI 53154


THEISEN, WILLIAM H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THELEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THEOPHILUS BARRON SR ESTATE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THEOPHILUS BARRON SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
#30 BURGESS CT
MARIN CITY, CA 94965


THERKELSEN, ALVIN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


THERMAL ENGINEERING INTL INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PNC BANK NA
PO BOX 643434
PITTSBURGH, PA 15264-3434




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

THERMAL SPECIALTIES TECHNOLOGY INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
212 PAGE
FORT WORTH, TX 76110


THERMO EBERLINE LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 712099
CINCINNATI, OH 45271-2099


THERMO EBERLINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TUCKER ARENSBERG, P.C.
1500 ONE PPG PLACE
PITTSBURGH, PA 15222


THERMO ELECTRON NA LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5225 VERONA ROAD
MADISON, WI 53711


THERMO ENVIRONMENTAL INST INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 712099
CINCINNATI, OH 45271-2099


THERMO ENVIRONMENTAL INSTRUMENTS INC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TUCKER ARENSBERG, P.C.
1500 ONE PPG PLACE
PITTSBURGH, PA 15222


THERMO FISHER SCIENTIFIC INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
81 WYMAN STREET
WALTHAM, MA 02454


THERMO ORION INC C/O                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THERMO FISHER SCIENTIFIC
WATER ANALYSIS INSTRUMENTS
PO BOX 712449
CINCINNATI, OH 45271-2449


THERMO ORION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
166 CUMMINGS CENTER
BEVERLY, MA 01915


THERMO ORION INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
166 CUMMINGS CENTER
BEVERLY, MA 01915




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

THERMO ORION, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TUCKER ARENSBERG, P.C.
1500 ONE PPG PLACE
PITTSBURGH, PA 15222


THERMO PROCESS INSTRUMENTS LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742770
ATLANTA, GA 303742770


THERMO PROCESS INSTRUMENTS LP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742770
ATLANTA, GA 30374-2770


THERMWELL PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 ROUTE 17 SOUTH
MAHWAH, NJ 07430


THERMWELL PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JACOB DANIEL SAWYER
55 W MONROE ST, SUITE 3430
CHICAGO, IL 60603


THERMWELL PRODUCTS CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VINCE GIARRATANA
420 ROUTE 17 SOUTH
MAHWAH, NJ 07430


THEROUX, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THIAGARAJAN, VENKATARAMAN                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THIBADO INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
353 MARINA DRIVE
LINCOLN, AL 35096


THIBAULT, HENRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THIBODEAU, EDWARD L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


THIBODEAUX, CURTIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THIEL, WILLIAM A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


THIELE, FREDERICK H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUSTCENTER
1209 ORANGE STREET
WILMINGTON, DE 19801


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUST CENTER
1209 ORANGE COURT
WILMINGTON, DE 19801


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST CO CORP TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19801




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Name of Counterparty                                                                                           Nature

THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JUSTIN BRENT WALLEN, ATTORNEY AT LAW
7823 DELMAR BLVD
UNIVERSITY CITY, MO 63130


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CANDICE COMPTON KUSMER
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
CURTIS RAY BAILEY
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
KEVIN THEODORE DAWSON
228 WEST POINTE DR.
SWANSEA, IL 62226


THIEM CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
WILLIAM D SHULTZ
228 WEST POINTE DR.
SWANSEA, IL 62226


THIES, CHARLES G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


THILL, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

THIM, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THINKHAUS CREATIVE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12655 NORTH CENTRAL EXPY
STE#317
DALLAS, TX 75243


THOMAS & BETTS CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8155 T AND B BLVD
MEMPHIS, TN 38125


THOMAS BUILT BUSES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1408 COURTESY RD
HIGH POINT, NC 27260


THOMAS ENGINEERING CO INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL T. MCCALL
WALSWORTH, FRANKLIN, BEVINS & , MCCALL
LLP, 601 MONTGOMERY ST, NINTH FL
SAN FRANCISCO, CA 94111-2612


THOMAS G PRIOR ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS III, TW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS OCONNOR & CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 INDUSTRIAL DRIVE
CANTON, MA 02021


THOMAS STEEL INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 ELM S
BELLEVUE, OH 44811


THOMAS, ANITA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMAS, ANNE L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, ANTHONY G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, ANTHONY H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


THOMAS, BARBARA JEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, BENJAMIN JOSEPH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, BENJAMIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, BRUCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, BURTER EDD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


THOMAS, CARILIONE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THOMAS, CARILIONE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES, LLP
3900 ESSEX LANE, SUITE 390
HOUSTON, TX 77027


THOMAS, CHARLES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THOMAS, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


THOMAS, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, CORINNE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, DANIKA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DARRELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DAVID P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, DERRELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DONALD E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THOMAS, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, DORIS J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DOROTHY L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, DUTCH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, DWAIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THOMAS, DWIGHT, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, EVELYN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, GAYLE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THOMAS, GEORGE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THOMAS, GERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, GINA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, GREGORY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, HENRY LEE AND GARDENIA THOMAS                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, HENRY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


THOMAS, JAMES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, JAMES M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, JOE KEITH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3119 TRICE
WACO, TX 76707


THOMAS, JOHN C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, JOHN E. AND JOYCE THOMAS                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMAS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, JUNE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, JUSTIN E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, KAREN L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, KAREN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARY G THOMAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, KARMAL L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN A THOMAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, KEITH A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, KIMBERLY, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOAN STUNZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMAS, KIRSTIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, LEO (DECEASED)                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, OLIVER D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, PAUL WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, PEGGY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, PETER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMAS, QUINCY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, RANDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, RAPHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMAS, SHIRLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, TERI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, THURON W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, TRACEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, VELVA V, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALVY J DAWSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMAS, VIRGIL L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, WILLIAM ROBERT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMAS, WILLIS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


THOMAS-JONES, GENEVIA, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE W THOMAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMLINSON, HENRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

THOMPSEN, WILLIAM R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


THOMPSON CAN CO.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ON BEHALF OF SELF & OWENS ILLINOIS
EDWARD SELF, DIRECTOR
BIRMINGHAM, AL 35203


THOMPSON CAN COMPANY PREDECESSOR OWENS ILLINOIS,                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE MICHAEL OWENS WAY
PERRYSBURG, OH 43551-2999


THOMPSON JR, H J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON JR., ANDREW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, ALLAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, ANDREW J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, B                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, BARRON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, BENJAMIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

THOMPSON, BERTRAND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, BRAD, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD N DICKSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, CAROL JOE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, CLAYTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, COE, COUSINS & IRONS, L.L.P.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID M. TAYLOR
700 N. PEARL STREET
25TH FLOOR
DALLAS, TX 75201-2832


THOMPSON, DAPHENE A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, DAPHENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, DARWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, DAVID A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMPSON, DAVID R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


THOMPSON, DONALD G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THOMPSON, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, DWIGHT D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THOMPSON, EARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, EDGAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, EVALYN PATRICIA, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN R THOMPSON III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THOMPSON, GRAFTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, HAROLD JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, HENRY J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, HENRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THOMPSON, HERMAN R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


THOMPSON, JAMES TRIVETT                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, JAMES W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, JANET, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H THOMPSON JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, JANICE M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMPSON, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


THOMPSON, JOHNNY RAY AND CAROLYN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, JOHNNY RAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, JOHNNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, JOSHUA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, KENNETH JAMES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


THOMPSON, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, LEE G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, LOUIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

THOMPSON, LOWELL H                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


THOMPSON, MICHAEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, MOLLY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, MR. AND MRS. JACK                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, OMAR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, PATRICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, PERRY JOHN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


THOMPSON, PERRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, PETER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, ROBERT L                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOMPSON, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, RONALD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


THOMPSON, SALLY AND JAKE THOMPSON                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, SAMUEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


THOMPSON, SHEILA A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID BRADLEY JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THOMPSON, STEPHEN MONROE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


THOMPSON, THEODORE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THOMPSON, VERNON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

THOMPSON, VERNON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON, WILLIAM D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THOMPSON, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THOMPSON-HAYWARD CHEMICAL CO.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ELEMENTIS CHEMICALS,INC.
5200 SPEAKER RD.
KANSAS CITY, KS 66106


THOMSON REUTERS (MARKETS) LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MOSS & BARNETT
ATTN: SARAH E. DOERR
150 S 5TH ST, SUITE 1200
MINNEAPOLIS, MN 55402


THOMSON REUTERS (MARKETS) LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MOSS & BARNETT, P.A.
ATTN: SARAH E. DOERR, ESQ.
90 7TH STREET SOUTH SUITE 4800
MINNEAPOLIS, MN 55402


THOMSON REUTERS (MARKETS) LLC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 415983
BOSTON, MA 02241


THOMSON REUTERS WEST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAYMENT CENTER
PO BOX 6292
CAROL STREAM, IL 60197-6292




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

THOMSON, ROBERT R.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


THOMSON, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORIMBERT, MARCEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORLEY, HARRY JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORN, ROBERT E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


THORNBER, JAMES DANIEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNBURG, DAVID PAUL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNBURG, NAOMI R.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNBURG, RAYMOND                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORNDALE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 NORTH MAIN
PO BOX 870
THORNDALE, TX 76577




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THORNER, MORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORNLEY, GARY DEAN (DECEASED)                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNTON, BILL O                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THORNTON, CHARLES E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THORNTON, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THORNTON, GARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


THORNTON, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORNTON, JOSEPH WESLIE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


THORNTON, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

THORNTON, NELDA JEAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNTON, PAUL RUSSELL, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNTON, ROBERT L., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THORNTON, RODNEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


THORP, STEWART E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


THORP, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORPE, DONNIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


THORPE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THORPE, RHONDA L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALICE P THORPE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THORTON, BILLY AARON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THOUIN, ALBERT E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


THRALL, KEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THRAPPAS, JOHN NICHOLAS, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICIA A THRAPPAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


THRASHER, HAROLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THREADGILL, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THRIFT, CHARLES ALLEN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


THRIFT, CYNTHIA C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THRIFT, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THRIFT, W.J.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

THROCKMORTON, VERLIE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THUEMLING, EDWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THURAN INDUSTRIES, INC. (ZOECON)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THOMPSON & KNIGHT,
2300 REPUBLIC NAT. BK BLDG.
DALLAS, TX 75201


THURMAN, BECKY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THURMAN, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THURMAN, QUEENA RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THURMAN, SHINER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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THURMAN, TIM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THURNAU, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


THURON INDUSTRIES, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ZOECON INDUSTRIES
12200 DENTON DR.
DALLAS, TX 75234


THURSTON GAYLON SANDERS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT 1 BOX 419
HESSER LN
LONGVIEW, TX 75602




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

THURSTON, CLYDE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THURSTON, GARY WOODROW                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


THYGESEN, JACK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


THYROTEK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
611 109TH STREET
ARLINGTON, TX 76011


THYSSENKRUPP ELEVATOR CORPORATION                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 933004
ATLANTA, GA 31193-3004


THYSSENKRUPP ELEVATOR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O CST CP
PO BOX 224768
DALLAS, TX 75222


TIBBETTS, CALVIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIBERIO, RAYMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

TIBERIO, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIBERIO, RUSSELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIBI, MATTHEW--EST                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


TICHENOR, HELEN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TICHENOR, TOM J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TIDGWELL, JOHN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIDLUND, EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIDWELL, ALLEN PICKENS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TIDWELL, HARVEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TIDWELL, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TIDWELL, TAYLOR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIDWELL, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIDY AIRE INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 850533
RICHARDSON, TX 75085


TIE, JOHN H. AND MARYLIN TIE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIE, JOHN H.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TIEDEMANN, CARL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIEJEMA, DAVID I                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TIERNEY, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TIERNEY, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIERNEY, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIERNO, ROSS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TIGUE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIJERINO, JORGE A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILE COUNCIL OF NORTH AMERICA                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CLEMSON RESEARCH BLVD
ANDERSON, SC 29625


TILGHMAN, ANTHONY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TILL, TERRY W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TILL, TERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLERY, JIMMY DALE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TILLERY, LISA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK E REDMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TILLERY, PATRICIA C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROMEO TILLERY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TILLEY, JOSEPH R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TILLISON, SAMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLMAN, BETTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TILLMAN, CARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLMAN, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TILLMAN, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLMAN, EDWARD EARL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLMAN, HARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                       Nature

TILLMAN, KENNETH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TILLMAN, MARY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TILLMAN, MATTHEW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILLMAN, ROY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILMAN, DONALD A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILTON, ARTHUR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TILTON, LORI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TILTON, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TILWELL, GLORIA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TIM KEN COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1835 DUEBER AVE. SW
CANTON, OH 44706-0932


TIMBER RIDGE HOUSING II LTD                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18729 FM 1887
HEMPSTEAD, TX 77449


TIMBER RIDGE HOUSING LTD                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
18729 FM 1887
HAMPSTEAD, TX 77445




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TIMBER RUN LIMITED PARTNERSHIP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3030 HIRSCHFIELD RD
HOUSTON, TX 77373


TIMBERLAKE & DICKSON INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3520 W. MILLER ROAD
SUITE 110
GARLAND, TX 75041


TIMBERLAKE, WALTER E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TIMBERLINE FOREST APARTMENTS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEVEN D. POOCK
PO BOX 984
SUGAR LAND, TX 77487


TIME TRADERS INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4219 OAK ARBOR DRIVE
DALLAS, TX 75233


TIME WARNER CABLE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60074
CITY OF INDUSTRY, CA 91716-0074


TIMM, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIMMONS, SHERRY A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARGARET JANKIEWICZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIMMS, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TIMMS, PAUL W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIMMS, THOMAS F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIMSCO INTERNATIONAL INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1951 UNIVERSITY BUSINESS DR
STE 121
MCKINNEY, TX 75071


TIMSCO TEXAS INDUSTRIAL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MAINTANCE SUPPLY CO
1951 UNIVERSITY BUSINESS DRIVE -
SUITE 121
MCKINNEY, TX 75071


TIN INC FKA TEMPLE INLAND INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 SOUTH MOPAC
EXPRESSWAY FL 3
AUSTIN, TX 78746-6933


TINDALL, BILLY JOE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TINDALL, PRIESTLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


TINER, GLEN MARION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TINGEN, AMY DAVIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TINGEN, GEORGE STANLEY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

TINGEN, JANET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TINGLE, LISA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TINGUE BROWN & CO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
309 DIVIDEND DR
PEACHTREE CITY, GA 30269


TINKER, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TINKHAM, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TINNEY, TERRY RUSSELL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TINUCCI, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIOGA PIPE SUPPLY COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2450 WHEATSHEAF LANE
PHILADELPHIA, PA 19137


TIOGA PIPE SUPPLY COMPANY INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
W510074
PO BOX 7777
PHILADELPHIA, PA 19175-0074


TIPPING, GLENN F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

TIPPING, JAMES R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TIPPS, DRAPER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIPPS, MACK D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIPTON, DORIS, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JACK W MCDANIEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIPTON, DOYLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIPTON, FLORENDA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILL TIPTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIPTON, RANDY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TIRABASSI, JOHN, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PATRICA R TIRABASSI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TIRADO CORTEZ, LINDOR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TIRCK, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TIREY, TOMMY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TIS, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TISCHLER, BRIAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TISCHLER, RON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TISCHLER/KOCUREK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
107 SOUTH MAYS
ROUND ROCK, TX 78664


TISHMAN LIQUIDATINC CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
15 COLUMBUS CIRCLE
NEW YORK, NY 10023-7773


TISHMAN LIQUIDATING CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FABIANI COHEN & HALL LLP
570 LEXINGTON AVENUE
NEW YORK, NY 10022


TISHMAN LIQUIDATING CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE PRENTICE HALL CORP SYSTEM
15 COLUMBUS CIRCLE
NEW YORK, NY 10023-7773


TISHMAN REALTY & CONSTRUCTION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 PARK AVENUE
NEW YORK, NY 10017-5502




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TISHMAN REALTY & CONSTRUCTION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AHMUTY DEMERS & MCMANUS, ESQS
200 I.U. WILLETS RD
ALBERTSON, NY 11507


TITUS CO. HOSPITAL DIST.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TITUS REGIONAL MEDICAL CENTER
2001 N. JEFFERSON
MOUNT PLEASANT, TX 75455


TITUS COUNTY APPRAISAL DISTRICT                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TIM R. TAYLOR, ATTORNEY
P.O. BOX 1212
MOUNT PLEASANT, TX 75456


TITUS COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST FIRST STREET
MOUNT PLEASANT, TX 75455


TITUS COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 WEST FIRST STREET
MT. PLEASANT, TX 75455


TITUS, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TKACZYK, BOB                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TLV CORP                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DRINKER BIDDLE & REATH LLP
1177 AVENUE OF THE AMERICAS
41ST FLOOR
NEW YORK, NY 10036


TMR COMPANY D/B/A TEXAS REFINING AND MARKETING, INC.                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AND MARKETING, INC.
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201




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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

TNT CRANE & RIGGING INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11441 STATE HIGHWAY 43 S
MARSHALL, TX 75670-7537


TNT CRANE & RIGGING INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 301502
DALLAS, TX 75303-1502


TNT CRANE & RIGGING INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 8047
LONGVIEW, TX 75607


TNT CRANE & RIGGING, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ANDREWS MYERS, P.C.
ATTN: LISA M. NORMAN
3900 ESSEX LANE, SUITE 800
HOUSTON, TX 77027


TOBEL, LEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOBEL, SUSAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOBIAS, MARGARET                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TOBIN, JOHN M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TOBIN, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOBIN, ROBERT J, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TOBIN, WILLIAM L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOBIN, WILLIAM LETENDRE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOBIN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TOBOLKA, DOYLE WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOBOLKA, JEFF                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOCKASH, THERESA H, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL J TOCKASH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TODACHEENIE, NICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TODD PACIFIC SHIPYARDS CORPORATION                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 16TH AVENUE SW
SEATTLE, WA 98134


TODD SHIPYARD CORP.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GALVESTON WHARVES
123 ROSENBERG ST.
GALVESTON, TX 77550


TODD, CORLEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TODD, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TODD, ROBERT JOEL, JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TODD, ROZZIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TODDS A/C INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6865 HIGHLAND ROAD
GILMER, TX 75645


TODD'S A/C INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6865 HIGHLAND ROAD
GILMER, TX 75645


TODORO, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOELL, PAUL G.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOIGO, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOKARZ, STANISLAUS J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOKI, PAUL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                     Nature

TOLAR ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 S. MESQUITE
TOLAR, TX 76476


TOLAR, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOLAR CITY HALL
PO BOX 100, 105 PINE LANE
TOLAR, TX 76476


TOLBART, AMANDA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBART, AMY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBART, COLEMAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBART, WARREN C.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBART, ZACHARY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBERT, DONALD, JR.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLBERT, MICHELLE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLEDO AUTOMOTIVE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
285 E JOHNSON
TATUM, TX 75691


TOLEDO EDISON CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 MADISON AVE #6
TOLEDO, OH 43652


TOLEDO, JUSTIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLER, EVA NELL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                           Nature

TOLER, RICHARD JAMES & EVA NELL                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOLIVER, ALVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


TOLTECA ENTERPRISES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2939 MOSSROCK STE 220
SAN ANTONIO, TX 78230


TOM GREEN COUNTY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
124 W BEAUREGARD AVE
SAN ANGELO, TX 76903


TOM NARUM CONSTRUCTION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 PAUL REVERE DRIVE
HOUSTON, TX 77024


TOMAC, NICHOLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOMASICHIO, RICHARD M.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOMASINI, FRANK A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOMEI, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TOMICK, STANLEY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOMKIEWICZ, FREDERICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOMKIEWICZ, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOMLIN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOMLIN, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOMLINSON, DENNIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOMLINSON, ROBERT L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOMLINSON, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOMLINSON, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TOMORY, WILLIAM F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

TOMPKINS, RICHARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOMS, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOMZA, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TON, VACLAV                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TONEY, ALBERT G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TONEY, AMY RICHMOND                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TONEY, CLAUDIA JEAN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TONEY, ERIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TONEY, JOE J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                            Nature

TONGALSON, EMILIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TONGUE, STANLEY E, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TONIONI, ALLEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TONNESSEN, ALLAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TONY JONES INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3402 GREEN MEADOW DR STE A
SAN ANGELO, TX 76904


TOOD, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOOEY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOOKER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOOL, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
701 S TOOL DR
TOOL, TX 75143




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Name of Counterparty                                                                                            Nature

TOOLE, JEFFREY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOP HAT SERVICES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1166 W US HIGHWAY 79
ROCKDALE, TX 76567-0200


TOP HAT SERVICES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 W CAMERON AVE
ROCKDALE, TX 76567


TOP HAT SERVICES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 546
ROCKDALE, TX 76567


TOP LINE RENTAL LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2290
HENDERSON, TX 75653


TOP LINE RENTAL, LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: STANLEY BERRY
P.O. BOX 2290
HENDERSON, TX 75653


TOPA, CAROL A, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MELVIN TOPA JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TORBETT, ROBERT R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORGERSON , TERRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORINO, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TORLEY, ARTHUR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TORNICELLI, VALENTINO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TORNVALL, ARNOLD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TORO COMPANY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8111 LYNDALE AVE S
MINNEAPOLIS, MN 55420-1196


TOROK, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRE, JULIO CESOR OCARIE DE LA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRENCE, DENNIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TORRENS, MARION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TORRENT, MARY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TORRES CREDIT SERVICES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
27 FAIRVIEW ST STE 301
CARLISLE, PA 17015


TORRES, ARIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRES, ARTHUR J., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TORRES, DOLI                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRES, ELEANORA V.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRES, FAUSTINO S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


TORRES, FRANCISCO, JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TORRES, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TORRES, JOSE A. BETANCOURT                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TORRES, JOSH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TORRES, RAFAEL TIRADO DE LA                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TORTORICI, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOSADORI, GARY S, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JEANNETTE D TOSADORI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOSCANO, JAMES AND JEANETTE TOSCANO                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOSCANO, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOSCANO, ROCCO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOSHIBA INTERNATIONAL CORP.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13131 W. LITTLE YORK ROAD
HOUSTON, TX 77041


TOSHIBA INTERNTIONAL CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13131 W. LITTLE YORK ROAD
HOUSTON, TX 77041


TOTA, ANTHONY S.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOTAL GAS & POWER NORTH AMERICA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INC
1201 LOUISIANA ST 1600
HOUSTON, TX 77002


TOTAL LUBRICATION MANAGEMENT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3713 PROGRESS ST NE
CANTO, OH 44705


TOTAL PETROCHEMICALS USA INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOTAL PLAZA
1201 LOUISIANA, SUITE 1800
HOUSTON, TX 77002




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TOTAL PETROCHEMICALS USA INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WALDEN REYNARD PLLC
KIRK E. MARTIN
2615 CALDER, SUITE 220
BEAUMONT, TX 77702


TOTAL PETROCHEMICALS USA, INC.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1201 LOUISIANA STREET; SUITE 1800
HOUSTON, TX 77002


TOTAL PETROLEUM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TPI PETROLEUM, INC.
6000 N. LOOP 1604 WEST
SAN ANTONIO, TX 78249


TOTH, ERNEST                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOTH, JACK                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOTHEROW, CALVIN LEWIS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TOTHEROW, CAROLYN RAMSEY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOUHY, STEPHEN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TOUNTASAKIS, ANGELA, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ZANIS N TOUNTASAKIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TOURANGEAU, GABRIEL J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TOUSIGNANT, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOUSSAINT, DANIEL J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TOUTANT, LARRY (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOUTANT, SHARON LINDA & DORENE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOVAR, VICTOR                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TOWER OIL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2143 IRVING BLVD.
IRVING, TX 75060


TOWER OIL COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 W. WASHINGTON
CHICAGO, IL 60606


TOWER, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOWERS, HARRY L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALFRED L TOWERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TOWERS, HARRY L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARY ELLEN TOWERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOWEY, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


TOWEY, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


TOWN OAKS APARTMENTS LP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA TOWN OAKS APARTMENTS
ATTN: LISA RAY
6633 PORTWEST DRIVE STE 120
HOUSTON, TX 77024


TOWN OF FAIRVIEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
372 TOWN PLACE
FAIRVIEW, TX 75069


TOWN OF SUNNYVALE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
127 COLLINS RD
SUNNYVALE, TX 75182


TOWN SUNNYVALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
127 COLLINS RD
SUNNYVALE, TX 75182


TOWNE, ELMER E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


TOWNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TOWNLEY ENGINEERING & MFG CO INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 221
CANDLER, FL 32111-0221


TOWNLEY, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOWNS, ROY R                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TOWNSEND, BRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOWNSEND, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOWNSEND, HELEN L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD TOWNSEND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOWNSEND, LARRY R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TOWNSEND, LEONARD D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TOWNSEND, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TOWNSEND, STROTHER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOWNSEND, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TOWNSEND, VICKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TOYOTA MATERIAL HANDLING USA                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 PARK PLAZA, STE 1000
IRVINE, CA 92614


TOYOTA MOTOR SALES USA INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
19001 S WESTERN AVE
TORRANCE, CA 90501


TRABUCCO, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TRACEY ROCKETT HANFT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
811 STERLING CT
ALLEN, TX 75002


TRACEY, EDWARD P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRACHIMOWICZ, MATTHEW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRACHIMOWICZ, NATHAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRACHIMOWICZ, PATRICIA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

TRACHIMOWICZ, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRACHIMOWICZ, TIMOTHY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRACTEBEL LNG NORTH AMERICA SERVICE CORP                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE LIBERTY SQUARE, 10TH FLOOR
BOSTON, MA 02109


TRACY SWINGLE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS BROWDER GIANARIS ANGELIDES & BARNERD LLC
ATTN AMY E. GARRETT
ONE COURT STREET
ALTAN, IL 62002


TRACY, CORNELIUS LOPEZ                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRACY, CORNELIUS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRACY, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRACY, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRADER, DENNIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TRAEGER, WILLIAM J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TRAHAN, BERNARD, JR.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TRAILMASTER TANKS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5741 CONELISON RD; 6400 BLDG A
CHATTANOOGA, TN 37411


TRAILS ROCK CREEK HOLDINGS LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA TRAILS AT ROCK CREEK
APTS PHASE I & II
12502 SEATTLE SLEW
HOUSTON, TX 77065


TRAINA, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRAINOR, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRAKAS, KUNG HEE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DEMOCRATIS TRAKAS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRAMMEL CEMETERY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NORMAN WALTON
4175 CR 328 N
TATUM, TX 75691


TRAMMELL, JOE ANCIL, SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAN, CHUNG                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                      Retained Causes of Action

                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 VALWOOD PKWY STE 100
CARROLLTON, TX 75006


TRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


TRANE COMPANY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08855-6820


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800-E BEATY STREET
DAVIDSON, NC 28036


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08855-6820


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19804


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


TRANE US INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN TOWER, SUITE 1300
DALLAS, TX 75201-3008




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                                                                        ENERGY FUTURE HOLDINGS CORP., et al.

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                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                      Nature

TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
BRIAN JOSEPH HUELSMANN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JEFFREY SCOTT HEBRANK
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
KELLY MARIE PLUMMER
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025




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                                                                                 ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                            Retained Causes of Action

                                                          Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                               Nature

TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
HOUSTON, TX 77002


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08855-6820


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2137 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PASCARELLA, DIVITA, LINDENBAUM,
& TOMASZEWSKI PLLC
2737 ROUTE 35, SUITE 290
HOLMDEL, NJ 07733


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAYNTER'S RIDGE OFFICE PARK
BRAATEN & PASCARELLA, LLC
2430 ROUTE 34, STE A-18, PO BOX 648
MANASQUAN, NJ 08736


TRANE US INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TRANE US INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLINGHAM FULTZ & COUGILL
MARK R. WILLINGHAM
5625 CYPRESS CREEK PKWY, SIXTH FLOOR
HOUSTON, TX 77069


TRANE US INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CENTENNIAL AVENUE
PISCATAWAY, NJ 08855-6820


TRANICK, RICHARD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TRANS UNION CORPORATION                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 99506
CHICAGO, IL 60693-9506


TRANS UNION LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 W. ADAMS STREET
CHICAGO, IL 60661


TRANS UNION LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRASBURGER & PRICE, LLP
2801 NETWORK BOULEVARD, SUITE 600
FRISCO, TX 75034


TRANS UNION LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRASBURGER
KELLY A HENSLEY
2801 NETWORK BOULEVARD, SUITE 600
FRISCO, TX 75034


TRANSBAS, INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE CONAGRA DRIVE
OMAHA, NE 68102


TRANSCAT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
35 VANTAGE POINT DR
ROCHESTER, NY 14624




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRANSCAT                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1181 BRITTMORE
SUITE 600
HOUSTON, TX 77043


TRANSCO EXPLORATION CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 POST OAK BOULEVARD
HOUSTON, TX 77056


TRANSCOLD EXPRESS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5200 WEST AIRPORT FREEWAY
IRVING, TX 75062


TRANSCONTINENTAL GAS PIPE LINE CORP.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 POST OAK BOULEVARD
HOUSTON, TX 77056


TRANSMISSION & DISTRIBUTION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
218 ELKS POINT RD STE 306
ZEPHYR COVE, NV 89448


TRANSMISSIONS & DISTRIBUTION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SERVICES INC
PO BOX 547
GLENBROOK, NV 89413


TRANS-RENTAL INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 399
MATTHEWS, NC 28106


TRANSUNION LLC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS RECEIVABLE
555 WEST ADAMS STREET
CHICAGO, IL 60661


TRANSWESTERN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 WEST LOOP SOUTH
STE# 1300
HOUSTON, TX 77027


TRANSWESTERN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5001 SPRING VALLEY ROAD STE 400W
DALLAS, TX 75244




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TRAPP, DIANNA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAPP, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAPPEN. RONALD W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TRAUGOTT, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TRAUX, JAMES M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TRAVELERS COMPANIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE TOWER SQUARE
HARTFORD, CT 06183


TRAVELER'S INS. CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE TOWER SQUARE
HARTFORD, CT 06183


TRAVELPRO INTERNATIONAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 BANYAN TRAIL
BOCA RATON, FL 33431


TRAVIS CO HOSPITAL DISTRICT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CENTRAL HEALTH
1111 E. CESAR CHAVEZ ST.
AUSTIN, TX 78702


TRAVIS COUNTY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1748
AUSTIN, TX 78767




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRAVIS CRIM                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRAVIS CRIM LLC
1100 FOLEY ST
HENDERSON, TX 75654


TRAVIS, FLOYD (DECEASED)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAVIS, HAROLD R., III                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TRAVIS, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRAVIS, LAWRENCE, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRAYLOR, DWIGHT G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAYLOR, DWIGHT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRAYLOR, MANLY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRAYNHAM, CHARLIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRAYNOR, FRANCIS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRC COMPANIES INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 200390
PITTSBURG, PA 15251-0390


TRC ENVIRONMENTAL CORP                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
21 GRIFFIN RD N
WINDSOR, CT 06095-1512


TRCA                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 VIRGINIA CIRCLE
DENTON, TX 76209


TREADWAY, CHARLES THOMAS, SR. (DECEASED)                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TREADWELL CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
341 RAILROAD ST
THOMASTON, CT 06787


TREADWELL CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


TREADWELL, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREADWELL, PHILIP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRECO CONSTRUCTION SERVICES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3003 BUTTERFIELD RD.
OAKBROOK, IL 60523


TRECO CONSTRUCTIONS SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WMX TECHNOLOGIES INC
720 E BUTTERFIELD RD 2ND FLOOR
LOMBARD, IL 60148




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRECO CONSTRUCTIONS SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WMX TECHNOLOGIES INC
720 E BUTTERFIELD RD 2ND FLOOR
LOMBARD, IL 60148


TREDE, WARREN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREESDALE INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
725 SAXONBURG BOULEVARD
SAXONBURG, PA 16056


TREFRY, RAYMOND W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TREGEMBO, ALBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREICHLER, MICHAEL E, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR TREICHLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TREJO, MIGUEL A & DONNA F                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRELLA, THOMAS J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRELLEBORG COATED SYSTEMS US, INC.                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
790 REEVES ST
SPARTANBURG, SC 29301


TREMBLE JR., WILMER FORREST                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TREMBLE, BILLY MURPHY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRENDEL, DANIEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRENT WIND FARM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 W. NATIONWIDE BLVD SUITE 500
COLUMBUS, OH 43215


TRENT, CLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRENT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRENTHAM, JESSICA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRENTHAM, PAUL EDWIN JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TREOPAN, NICOLAE (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TREPANIER, MARTHA L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDRE TREPANIER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRESALONI, DOMINIC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRESKE, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREUTLE, LESSIE K, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEON E TREUTLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TREVETHAN, BRUCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREVETHAN, THOMAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TREVILLION, BRENDA L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TREVILLION, BRENDA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TREVILLION, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TREVINO, ONESIMO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


TREVISO, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TREWHELLA, ROBERT S                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TREXLER, PHILIPP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRI CENTURY MANAGEMENT SOLUTIONS INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA LANCE FRIDAY HOMES
PO BOX 9591
WICHITA FALLS, TX 76308-9561


TRI SPECIAL UTILITY DISTRICT                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 WEST 16TH STREET
MOUNT PLEASANT, TX 75455


TRI TOOL INC                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3041 SUNRISE BLVD
RANCHO CORDOVA, CA 95742-6502


TRIANGLE ENGINEERING INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6 INDUSTRIAL WAY
HANOVER, MA 02339-2425


TRIANGLE ENTERPRISES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3630 CAIRO ROAD
PADUCAH, KY 42001


TRIANGLE ENTERPRISES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TRIANGLE ENTERPRISES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
306 W MAIN ST 512
FRANKFORT, KY 40601


TRIANGLE ENTERPRISES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JENNIFER ANTOINETTE JUMPER
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3630 CAIRO ROAD
PADUCAH, KY 42001




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
306 W MAIN ST 512
FRANKFORT, KY 40601


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
AMY KATHLEEN SHASSERRE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CARLA CHRISTINE STORM
1001 HIGHLANDS PLAZA DRIVE WEST, STE 400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
DANIEL GERARD DONAHUE
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JENNIFER ANTOINETTE JUMPER
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
JOSHUA NATHAN WORTHINGTON
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TRIANGLE ENTERPRISES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT SCOTT SANDERSON
515 N 6TH ST
ONE CITY CENTRE
ST LOUIS, MO 63101




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRIANGLE WIRE & CABLE, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
155 SOUTH MAIN STREET; SUITE 302
PROVIDENCE, RI 02903


TRIAY, CHARLES M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRIBBLE, KENNETH DWIGHT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRICO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1235 HICKORY ST
SUITE 350
PEWAUKEE, WI 53072


TRI-COUNTY ELECTRIC COOP INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 961032
FORT WORTH, TX 76161-0032


TRI-COUNTY GW CONS. DIST.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEXAS WATER DEVELOPMENT BOARD
1700 NORTH CONGRESS AVE
AUSTIN, TX 78701


TRIEBE, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRIEBL, PATRICIA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK TRIEBL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRIGGER, CORNELIUS M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRILLO, GALILEO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TRILPEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
ONE ALLEN CENTER, 500 DALLAS, SUITE 1200
HOUSTON, TX 77002


TRIMAC BULK TRANSPORTATION, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1415 PENN CITY ROAD
HOUSTON, TX 77015


TRIMAC TRANSPORTATION                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GATEWAY II, SUITE 800
HOUSTON, TX 77068-2713


TRIMBLE JR, WILMER FORREST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRIMBLE, DIANE L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES DIXON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRIMBLE, MONTE EARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TRIMBLE, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRIMBLE, THOMAS E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRIMBOLI, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TRINGALI, ARTHUR E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRINIDAD ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
105 W. EATON ST
TRINIDAD, TX 75163




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TRINIDAD, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CITY HALL
212 PARK STREET, PO BOX 345
TRINIDAD, TX 75163


TRINIDAD, JOSE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TRINITY CONSTRUCTION CO. INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
KENT M. ADAMS
3355 WEST ALABAMA, SUITE 400
HOUSTON, TX 77098


TRINITY CONSTRUCTION CO. INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
SARAH M. DAVIS
3355 WEST ALABAMA, SUITE 400
HOUSTON, TX 77098


TRINITY CONSTRUCTION COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADAMS & BOSWELL P.C.
KENT M. ADAMS
1010 LAMAR, SUITE 901
HOUSTON, TX 77010-3028


TRINITY CONSTRUCTION COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEWIS BRISBOIS BISGAARD & SMITH LLP
SARAH M. DAVIS
3355 WEST ALABAMA, SUITE 400
HOUSTON, TX 77098-1865


TRINITY DEVELOPMENT JOINT VENTURE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3260 N. HAYDEN RD., SUITE 102
SCOTTSDALE, AZ 85251


TRINITY INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 STEMMONS FREEWAY
DALLAS, TX 75207


TRINITY INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7135 ARDMORE ROAD
HOUSTON, TX 77054




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Name of Counterparty                                                                                            Nature

TRINITY INDUSTRIES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRINITY PARTS & COMPONENTS
PO BOX 951716
DALLAS, TX 75395-1716


TRINITY INDUSTRIES, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 STEMMONS FREEWAY
DALLAS, TX 75207


TRINITY INDUSTRIES,INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS LENCIONI,CORP.ENV.MGR.
2525 STEMMONS FREEWAY
DALLAS, TX 75207


TRINITY PARTS & COMPONENTS LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2525 STEMMONS FREEWAY
DALLAS, TX 75207


TRINITY RIVER AUTHORITY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 60
ARLINGTON, TX 76004


TRIONFO, DALE, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN DOEBEREINER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRIPLE 5 INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
110 HEMPSTEAD RD
TRENTON, NJ 08610-1022


TRIPLE 5 INDUSTRIES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
242 ROUTE 156
YARDVILLE, NJ 08620


TRIPLE D PUMP COMPANY INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 COTTON
WACO, TX 76712


TRIPLE P LAWN SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 S MAIN S
LORAINE, TX 79532




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Name of Counterparty                                                                                            Nature

TRIPLE P LAWN SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 S MAIN S
LORAINE, TX 79532


TRIPLE P LAWN SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 83
LORAINE, TX 79532


TRIPLETT, CATHERINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRIPLETT, DERREL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRIPLEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1122 KRESS ST
HOUSTON, TX 77020


TRIPLEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


TRIPLEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


TRIPLEX INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
BARBARA J. BARRON
ONE ALLEN CENTER, 500 DALLAS, SUITE 1200
HOUSTON, TX 77002


TRIPP, ELLEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRIPP, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

TRIPPE, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRIPPIEDI, RICHARD J.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TRISCIANI, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRISTEM                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: COURTNEY BALKO, AUDITOR
704 SUN VALLEY BLVD
HEWITT, TX 76643


TRISTEM                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COURTNEY BALKO
704 SUN VALLEY BLVD.
HEWITT, TX 76643


TRITES, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRITT, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRIUMPH GROUP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
899 CASSATT ROAD, STE 210
BERWYN, PA 19312




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Name of Counterparty                                                                                            Nature

TRIUMPH GROUP INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATE HEADQUARTERS
899 CASSATT ROAD SUITE 21
BERWYN, PA 19312


TRIUMPH GROUP INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDBERG PHOENIX
REED WALLER SUGG
600 WASHINGTON AVE, 15 TH FLOOR
ST LOUIS, MO 63101-1313


TRIVETT, DARRELL L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRIVINO JARAMILLO, CELMIRA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRNCAK, CLINTON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROGDON, CLARA L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROGDON, JOHNNY J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROGLIN, RICK SHANNON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROGUIN, NANCY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROIANO, LAWRENCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TROJACEK, DARRELL W AND STACI L                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TROLIAN, PATRICIA L, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CECIL C JOHNSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TROMBETTA, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TROMBLEY, DAVID D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TROMBLY, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRONOX CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


TROSCHER, TIMOTHY J.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TROSCLAIR, DOUGLAS MARK                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


TROST, WILLIAM ROGER, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TROTT, ELIZABETH M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM E TROTT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TROTTA, GABRIEL P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TROTTEN, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROTTER, GLENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROUPE, THOMAS E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROUT, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


TROXELL, ARLINGTON W., JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TROXELL, RICHARD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TROXELL, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TROXELL, WALTER F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TROXLER, BERT EMMETT, JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROXLER, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TROY, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TROY, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUCK HARBOR INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2311 CREEKDALE STREET
HOUSTON, TX 77068-2713


TRUCK STOPS OF AMERICA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES R. ROCCO,MGR.,HLTH,SFTY,& ENV.
BIG TOWN BOULEVARD
MESQUITE, TX 75149


TRUCK/TRAILER EQUIPMENT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 35488
DALLAS, TX 75235


TRUCKENMILLER, MARGARET                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRUDNOWSKI, MICHAEL P.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUE NORTH CONSULTING LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 MERCHANT DR
MONTROSE, CO 81401




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TRUE NORTH CONSULTING, LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 MERCHANT DR
MONTROSE, CO 81401


TRUE VALUE CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8600 W. BRYN MAWR
CHICAGO, IL 60631


TRUEBA, JUAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG, LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


TRUETT LABRATORIES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13450 HARRY HINES BLVD.,
PO BOX 34029
FARMERS BRANCH, TX 75234


TRUETT, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUEWORTHY, DANNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRUIETT, MELVIN, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRUJILLO, ENRIQUE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUJILLO, EVERETT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TRUJILLO, FRED B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TRUJILLO, MARGARITA C                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUJILLO, MARGARITA C.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUJILLO, RICARDO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TRUJILLO, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRUJILLO, SUSIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRULOCK, EDWARD JAMES, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EUGENE R TAYLOR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TRUMAN NICHOLAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 JOHNSON DRIVE
HENDERSON, TX 75654


TRUMBULL ASPHALT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
209 N. NURSERY ROAD
IRVING, TX 75061


TRUNK, JAYDEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUNK, LISA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUNK, RODNEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

TRUNKLINE GAS COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4967
HOUSTON, TX 77210


TRUSCHKE, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TRUST CO OF TOLDEO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1630 TIMBERWOLF DR
HOLLAND, OH 43528


TRUSTDORF, ALLAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRUTY TONERS /                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
22 S FROSTED POND DR
SPRING, TX 77381-4754


TRUTY TONERS /                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TRW AUTOMOTIVE US LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
ANDREW MICHAEL VOSS
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


TRW AUTOMOTIVE US LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
EDWARD S JR BOTT
10 S BROADWAY STE 2000
ST LOUIS, MO 63102


TRW AUTOMOTIVE US LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINGS PARNELL THACKSTON & YOUNG LLP
SAMUEL HENDERSON
10 S BROADWAY STE 1300
ST LOUIS, MO 63102


TRW AUTOMOTIVE US LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703




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Name of Counterparty                                                                                             Nature

TRW INC.                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 RICHMOND ROAD
CLEVELAND, OH 44124


TRW MISSION MANUFACTURING CO.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1840 CENTURY PARK EAST
LOS ANGLES, CA 90067


TRW, INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12001 TECH CENTER DR
LIVONIA, MI 48150


TSANG, ALBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TSCHAN, JOHN A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


TSHAMBA, KALEB                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TSINNIJINNIE, LEO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TSINNIJINNIE, LULA C.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TSO, GEORGE B                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TSUE, SANDRA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

T-TECH INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900
DALLAS, TX 75201


TUAN, BILLY K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUBBS, WINFRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCCI, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TUCH, MICHAEL TOM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCK, FLORENCE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TUCK, RHONDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCK, ROY LEE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCK, SHEILA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, BENJAMIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, DAVID, ET AL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TUCKER, DENNIS REED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TUCKER, DORIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TUCKER, HAROLD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TUCKER, HOWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TUCKER, KAREN M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TUCKER, LINDA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, LORETTA, FOR THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF CHARLES R TUCKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TUCKER, MARK D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                             Nature

TUCKER, MELVIN J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TUCKER, ROBERT BRUCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, RONALD C.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUCKER, STEVEN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TUCKER, TIMOTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TUCKEY, PETER A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TUCSON ELECTRIC POWER COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
88 E. BROADWAY
TUCSON, AZ 85701-1720


TUDISCO, MICHELE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TUFF ICE                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1536
ROCKDALE, TX 76567




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TULL, CALVIN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TULLI, BENJAMIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TULLI, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TULLY CONSTRUCTION CO INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
127-50 NORTHERN BLVD
FLUSHING, NY 11368-1520


TULLY, CLIFFORD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TULLY, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TULLY. RICHARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TUMINELLO, JUDITH V, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES C TUMINELLO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TUMINELLO, JUDITH V.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TUMINSKI, PETER L--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


TUMIRELLO, JUDITH V.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TUMLIN, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TUNEUP MASTERS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE MAYER,DIR.ENV.SAFETY
751 DAILY DRIVE,SUITE 100
CAMARILLO, CA 93010


TUORTO, BENEDETTE (FORMERLY HELENIAK)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TURANO, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURBOCARE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 S SAM HOUSTON PKWY EAST
HOUSTON, TX 77047


TURBYFILL, GLORIA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TURBYFILL, JOHNNY ALAN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TURC, THERESA CONSTANCE, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK E TURC
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TURCIC, ANTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TUREK, JAMES J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


TURGEON, ALDEGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURGEON, GILBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURGEON, RONALD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURISSE, STANLEY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TURISSINI, DONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


TURISSINI, LORRAINE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


TURLEY, CAROLE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TURLEY, CASSIDY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURLEY, DARRELL WADE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TURLEY, JERRY R.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TURLEY, JOHNNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TURLEY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURLEY, WARREN AUSTIN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


TURNAGE, CARL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNBOW, MARY ANN, INDIVIDUALLY AND AS                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER & NEWELL, PLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


TURNER CONSTRUCTION CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
375 HUDSON STREET
NEW YORK, NY 10014




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TURNER CONSTRUCTION CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
300 LIGHTING WAY
PO BOX 1560
SECAUCUS, NJ 07096


TURNER, ARTHUR G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNER, BETTY A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNER, CARL WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


TURNER, CLEVELAND , JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TURNER, DAMION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, DANIEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, DONETTA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, EARL G                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TURNER, EMMA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, GARRY B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TURNER, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNER, GEORGIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, HAROLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNER, JACQUELINE SINGLETARY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, JAMES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


TURNER, JIMMY D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


TURNER, JOANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TURNER, JOHN J.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TURNER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, KAREN CARLYLE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNER, KYLE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNER, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNER, MELVIN L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TURNER, PAMELA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, RALPH LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, RICHARD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TURNER, ROBERT W.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


TURNER, ROY DEAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, RUTH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF ORIS TURNER
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


TURNER, SAM M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNER, SHEILA K.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, SYLVIA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, SYLVIA A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, WALTER WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNER, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNER, WILLIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TURNER-CAPALDI, JEANNETTE, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH C TURNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNEY, CYNTHIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TURNEY, FRANKLIN, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TURNEY, SCOTT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNEY, SHARON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNI, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TURNIPSEED, BRIAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TURNIPSEED, RAY, ET AL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


TURNKEY SECURITY INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1889
MANCHACA, TX 78652-1889


TURPIN, ROBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUTEN, ARTHUR LOUIS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

TUTEN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TUTHILL CORP                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8500 S. MADISON STREET
BURR RIDGE, IL 60527


TUTHILL, FREDERICK J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUTHILL, JOHN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUTHILL, MARGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TUTTLE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TUXHORN, STEVE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TVCC - HENDERSON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TRINITY VALLEY COMMUNITY COLLEGE
500 S PRAIRIEVILLE ST
ATHENS, TX 75751


TVCC - KAUFMAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 ED HALL DR.
KAUFMAN, TX 75142


TVCC - PALESTINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 CARDINAL DR.
ATHENS, TX 75751


TWC VALVE CO LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13641 DUBLIN CT
STAFFORD, TX 77477




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Name of Counterparty                                                                                            Nature

TWEEDALE, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TWEEDLE, RAYMOND DARRELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TWETEN, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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TWIDDY, MARGIT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TWIN CITY FIRE INS. CO.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 HARTFORD PLAZA
HARTFORD, CT 06115-1707


TWIN CITY IRON AND METAL COMPANY, INC.                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUITE 700 - ONE VALLEY SQUARE
PO BOX 1746
CHARLESTON, WV 25326-1746


TWIN CITY TRANSMISSION                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANTHONY ARDITO,VP
615 PINE STREET
MONROE, LA 71201


TWINE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TWITTY, JAMES BIVIAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


TWOHIG, LEO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                          Nature

TWORSKY, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TWR LIGHTING INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4300 WINDFERN RD STE 100
HOUSTON, TX 77041-8943


TX BROOK APTS LP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT MELODY PLACE APT
ATTN: JOHN JETER
5910 N CENTRAL EXPWY STE 1145
DALLAS, TX 75206


TX KIRNWOOD APTS LP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA COURTYARDS AT KIRNWOOD APTS
ATTN: JOHN JETER
5055 KELLER SPRINGS ROAD STE 400
ADDISON, TX 75001


TX MELODY APTS LP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA ROSEMONT AT MELODY VILLAGE
ATTN: JOHN JETER
5910 N CENTRAL EXPWY STE 1145
DALLAS, TX 75206


TXI                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEL G. BREKHUS,EXEC.VP
1341 WEST MOCKINGBIRD LANE
DALLAS, TX 75247-6913


TXI                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 840300
DALLAS, TX 75284-0300


TXU 2007-1 RAILCAR LEASING LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: JOHN A. HARRIS, ESQ.
ONE RENAISSANCE SQUARE
TWO NORTH CENTRAL AVENUE
PHOENIX, AZ 85004-2391


TXU ENERGY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 650638
DALLAS, TX 75265-0638




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

TXU EQUIPMENT REPAIR CENTER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9000 W JEFFERSON
609 BUILDING 3
DALLAS, TX 75211-9304


TY FLOT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 MASSABESIC ST
MANCHESTER, NH 03101


TY FLOT INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
305 MASSABESIC ST
MANCHESTER, NH 03103


TYCO ELECTRONICS CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1050 WESTLAKES DRIVE
BERWYN, PA 19312


TYCO ELECTRONICS CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TYCO ELECTRONICS CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LISE ALEXANDRA PETERS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


TYCO ELECTRONICS CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3608
MS 38-26
HARRISBURG, PA 17105


TYCO ELECTRONICS CORPORATION                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 731225
DALLAS, TX 75373-1225


TYCO ELECTRONICS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
24627 NETWORK PLACE
CHICAGO, IL 60673-1246


TYCO FLOW CONTROL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FREIER PLATZ 10
SCHAFFHAUSEN, 08200




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

TYCO FLOW CONTROL INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD STE 2
PRINCETON, NJ 08540


TYCO INTERNATIONAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KELLEY JASONS MCGOWAN SPINELLI &
HANNA LLP, CROSBY VALVE INC.
120 WALL STREET, 30TH FLOOR
NEW YORK, NY 10005


TYCO INTERNATIONAL INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VICTOR VON BRUNS-STRASSE 21
NEUHAUSEN AM RHEINFALL
SCHAFFHAUSEN, 08212


TYCO INTERNATIONAL LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 TYCO PARK
EXETER, NH 03833-1114


TYCO INTERNATIONAL LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD STE 2
PRINCETON, NJ 08540


TYCO INTERNATIONAL LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


TYCO INTERNATIONAL LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VICTOR VON BRUNS-STRASSE 21
NEUHAUSEN AM RHEINFALL
SCHAFFHAUSEN, 08212


TYCO INTERNATIONAL US INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9 ROSZEL RD STE 2
PRINCETON, NJ 08540


TYCO INTERNATIONAL, INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VICTOR CON BRUNS-STRASSE 21
NEUHAUSEN AM RHEINFALL
SCHAFFHAUSEN, 08212




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

TYCO VALVES & CONTROLS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ABBOTT, SIMSES & KUCHIER
LAWRENCE ABBOTT, MATTHEW A EHRLIHER
400 LAFAYETTE STREET, SUITE 200
NEW ORLEANS, LA 70130


TYCO VALVES & CONTROLS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


TYCO VALVES & CONTROLS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FREIER PLATZ 10
SCHAFFHAUSEN, 08200


TYCO VALVES & CONTROLS INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
DENISE URZENDOWSKI SCOFIELD
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


TYCO VALVES & CONTROLS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3950 GREENBRIAR
STAFFORD, TX 77477


TYK AMERICA INC.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 BRICKYARD RD
CLAIRTON, PA 15025


TYLER ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1319 EARL CAMPBELL PARKWAY
TYLER, TX 75701


TYLER JR. COLLEGE DIST.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TYLER JUNIOR COLLEGE
PO BOX 9020
TYLER, TX 75711-9020


TYLER JUNIOR COLLEGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
1517 W. FRONT STREET, STE. 202
PO BOX 2032
TYLER, TX 75710




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TYLER JUNIOR COLLEGE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WEST CAMPUS/RTDC (REGIONAL
TRAINING & DEVELOPMENT CENTER)
1530 SSW LOOP 323
TYLER, TX 75701


TYLER JUNIOR COLLEGE-C E                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COORDINATOR/FINANCIAL SERVICES
TJC WEST CAMPUS
1530 SSW LOOP 323
TYLER, TX 75701


TYLER, BOB J                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TYLER, CITY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
212 N. BONNER
TYLER, TX 75702


TYLER, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


TYLER, MARYE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYLER, RICHARD E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYLER, THOMAS B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYLER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TYNDALE COMPANY INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5050 APPLEBUTTER ROAD
PIPERSVILLE, PA 18947




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TYNDALE COMPANY, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5050 APPLEBUTTER RD.
PIPERSVILLE, PA 18947


TYNDALL, ROBERT G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TYPE K DAMPER DRIVES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYPE K DAMPER DRIVES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIV OF CONTROLS
INTERNATIONAL INC
PO BOX 551180
DALLAS, TX 75355-1180


TYRE, EMORY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TYRE, LARRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TYRE, STANLEY L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


TYRIE, SHARON L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM L ENGLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TYROLT, MELVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

TYSON, DOROTHY L, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF DONALD D TYSON SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


TYSON, GILBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


TYSON, PAMELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYSON, SYLVESTER AND PAMELA TYSON                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


TYZNAR, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


U S GYPSUM COMPANY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 WEST ADAMS STREET
CHICAGO, IL 60661-3676


U.S. AIR FORCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HWY 90 & SW MILITARY ROAD
SAN ANTONIO, TX 78235


U.S. AIR FORCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KTTC/SGPM
BILOXI, MS 39534


U.S. BANK N.A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
425 WALNUT STREET
CINCINNATI, OH 45202


U.S. BANK N.A.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
K & L GATES LLP
CYNTHIA M OHLENFORST
1717 MAIN STREET, SUITE 2800
DALLAS, TX 75201




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                                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                 Nature

U.S. BANK N.A., AS INDENTURE TRUSTEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BARRY IHRKE, VP
MAIL STATION: EP-MN-WS1D
60 LIVINGSTON STREET
SAINT PAUL, MN 55107


U.S. BANK N.A., AS SECURITY TRUSTEE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: BARRY IHRKE, VICE PRESIDENT
MAIL STATION: EP-MN-WS1D
60 LIVINGSTON STREET
SAINT PAUL, MN 55107


U.S. COAST GUARD                                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1056
GULFPORT, MS 39502


U.S. CORPS OF ENGINEERS                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 17300
FORT WORTH, TX 76102


U.S. DEPARTMENT OF ENERGY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OFFICE OF GENERAL COUNSEL, OFFICE OF STANDARD CONTRACT MANAGEMENT (GC-73)
ATTN: MRS. CONSTANCE A. BARTON, CONTRACTING OFFICER
1000 INDEPENDENCE AVENUE, S.W.
WASHINGTON, DC 20585


U.S. DEPARTMENT OF THE ARMY                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HQ 5TH INFANTRY DIV(M) AND FT. POLK
FT.POLK, LA 71459


U.S. DRUG ENFORCEMENT ADMINISTRATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1405 I STREET NW
WASHINGTON, DC 20537


U.S. DRUG ENFORCEMENT AGENCY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CONSTITUTION & 10TH ST. NW
WASHINGTON, DC 20530


U.S. ENVELOPE                                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
299 PARK AVENUE
NEW YORK, NY 10171




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Name of Counterparty                                                                                           Nature

U.S. INDUSTRIES(AXELSON)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUSAN PONCE,SENIOR COUNSEL
4100 CLINTON DRIVE,BUILDING
01-601A
HOUSTON, TX 77020


U.S. RED HANCOCK, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 207
BENTONIA, MS 39040


UB WEST VIRGINIA INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4300 1ST AVE
NITRO, WV 25143


UBM ENTERPRISE INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 59992
DALLAS, TX 75229-9992


UBS AG                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O UBS WARBURG ENERGY LLC
1500 LOUISIANA, EB 5010
ATTN: MS. ANGELA D. DAVIS
HOUSTON, TX 77002


UCCI, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


UDINA, QUIRINO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


UERTZ, HENRY J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


UFP GRANDVIEW, LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LEGAL DEPARTMENT
2801 EAST BELTLINE AVE NE
GRAND RAPIDS, MI 49525




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

UGELOW, ALBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ULINE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS RECEIVABLE
PO BOX 88741
CHICAGO, IL 60680-1741


ULLAND BROTHERS INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 340
CLOQUET, MN 55720


ULRICH, HOLLY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ULRICH, PAUL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ULRICH, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ULRICH, WERNER R                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ULTRAMAR DIAMOND SHAMROCK CORP.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEKELL BOOK ALLEN & MORRIS LLP
DAVID BURNS
1221 MCKINNEY, SUITE 4300
HOUSTON, TX 77010


ULVOG, JO M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ULVOG, PETE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

UMANO, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UMB BANK N.A.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LAURA ROBERSON, VP
2 S BROADWAY STE 600
ST. LOUIS, MO 63102


UMBENHEN, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UMBERGER, KAREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UMBERGER, MICHAEL G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UMSTEAD, ROGER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


UNANGST, MARCIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


UNBEHAGEN, MARTIN C. JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UNCLE BEN'S A DIVISION OF MARS                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 HIGH STREET
HACKETTSTOWN, NJ 07840


UNDER GLASS MFG CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 81
HIGH FALLS, NY 12440




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

UNDERWOOD, JACKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UNDERWOOD, JESSIE COLLISON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


UNDERWOOD, JOHN A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


UNDERWOOD, MAX B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UNDERWRITERS AT LLOYDS, LONDON                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RESOLUTE MANAGEMENT, INC.
NEW ENGLAND DIVISION
TWO CENTRAL SQUARE
CAMBRIDGE, MA 02139-3311


UNGARO, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


UNGER, JIMMY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


UNIFIRST HOLDINGS INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7580
HALTOM CITY, TX 76111


UNIFIRST                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4407 HENRY S. GRACE FREEWAY
WICHITA FALLS, TX 76302


UNIFIRST                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4407 HENRY S. GRACE FREEWAY
WICHITA FALLS, TX 76302




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

UNIFIRST                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 911526
DALLAS, TX 75391-1526


UNILEVER UNITED STATES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 SYLVAN AVENUE
ENGLEWOOD CLIFFS, NJ 07632


UNIMEASURE INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4175 SW RESEARCH WAY
CORVALLIS, OR 97333


UNION BOILER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


UNION BOILER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


UNION BOILER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025


UNION BOILER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


UNION BOILER COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATHAN SCOTT MCMAHILL
1520 MARKET
ROOM 1062
ST LOUIS, MO 63103


UNION CARBIDE CHEMICALS & PLASTICS CO                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39 OLD RIDGEBURY ROAD
DANBURY, CT 06817-0001




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

UNION CARBIDE CHEMICALS & PLASTICS CO                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


UNION CARBIDE CHEMICALS & PLASTICS CO                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, GWENDOLYN FROST
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A SUBSIDIARY OF THE DOWN
CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 EAST 42ND STREET
NEW YORK, NY 10017


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
351 WEST CAMDEN ST
6TH FLOOR
BALTIMORE, MD 21201


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A SUBSIDIARY OF THE DOW CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A SUBSIDIARY OF THE DOWN
CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CARUSO SMITH EDELL PICINI
ANTHONY J CARUSO
60 RTE 46 EAST
FAIRFIELD, NJ 07004-3027




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
MISTI MOSTELLER
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROSTER
KENDRA A WOLTERS
105 MUELLER LANE
WATERLOO, IL 62298


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
CHARLES STEWART ANDERSON
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


UNION CARBIDE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
JEFFREY THOMAS BASH
103 W. VANDALIA STE. 300
EDWARDSVILLE, IL 62025




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
KENT L PLOTNER
103 W. VANDALIA STE. 100
EDWARDSVILLE, IL 62025


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW JOSEPH MORRIS
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER VOELKER & ALLEN
MATTHEW W SCHUH
103 W. VANDALIA STREET
EDWARDSVILLE, IL 62025


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEYL ROYSTER
PHILIP MCDOWELL EISELE
5001 CONGER
ST LOUIS, MO 63128-1806


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSCHEK NILES & SINARS LLC
PATRICK GRAND
55 WEST MONROE ST, SUITE 700
CHICAGO, IL 60603


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


UNION CARBIDE CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LYNN G LEGLER- TREVINO,
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
JAMES H POWERS, LORI WIESE
1221 MCKINNEY ST, SUITE 2400
HOUSTON, TX 77010-2007


UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
REED SMITH, LLP
599 LEXINGTON AVENUE
NEW YORK, NY 10022


UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SUBSIDIARY OF THE DOWN CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
909 FANNIN STREET, SUITE 3300
HOUSTON, TX 77010


UNION CARBIDE CORP.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEHAY & ELLISTON
GARY D. ELLISTON
901 MAIN STREET, SUITE 3500
DALLAS, TX 75202


UNION CARBIDE CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2526 LONNECKER DR.
GARLAND, TX 75041


UNION CARBIDE CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ALSTON & BIRD LLP
ANNA A SUMMER, ONE ATLANTIC CENTER,
1201 WEST PEACHTREE ST
ATLANTA, GA 30309-3424


UNION CARBIDE CORPORATION                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

UNION CARBIDE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID M BIENVENU JR
BIENVENU, BONNECAZE, FOCO, VIATOR &
HOLINGA, APLLC, 4210 BLUEBONNET BLVD
BATON ROUGE, LA 70809


UNION CARBIDE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS MACAULEY,DIR,ENVIRONMENT
ROGER FLORIO,AGENT,ENV.COUNSEL
DANBURY, CT 06817


UNION CARBIDE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEGAL DEPARTMENT
400 W. SAM HOUSTON PARKWAY SOUTH
HOUSTON, TX 77042


UNION CARBIDE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE ATLANTIC CENTER
LAWRIE E DEMOREST
1201 WEST PEACHTREE STREET
ATLANTA, GA 30309


UNION CARBIDE CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3250
VICTORIA, TX 77903


UNION CARBIE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
116 PINE STREET STE 320
HARRISBURG, PA 17101


UNION ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9907 S UNION AVE
CHICAGO, IL 60628


UNION ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERIC EUGENE DEARMONT, ATTORNEY AT LAW
9504 MARBOB DR
ST LOUIS, MO 63123


UNION ELECTRIC COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNION ELECTRIC COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


UNION ELECTRIC COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KENNETH L. SCHMIDT
500 E. INDEPENDENCE DR
UNION, MO 63084


UNION IRON WORKS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1038
DECATUR, IL 62525


UNION IRON WORKS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WATERS MCPHERSON & MCNEIL
RILEY POWER INC, AS SUCCESSOR
300 LIGHTING WAY, PO BOX 1560
SECAUCUS, NJ 07096


UNION PACIFIC RAILROAD CO                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW DEPARTMENT
1416 DODGE ST
OMAHA, NE 68179


UNION PACIFIC RAILROAD COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 MCKINNEY STREET, SUITE 900
HOUSTON, TX 77002


UNION PACIFIC RAILROAD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1400 DOUGLAS STREET
OMAHA, NE 68179


UNION PUMP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4600 WEST DICKMAN ROAD
BATTLE CREEK, MI 49015-1088


UNION PUMP COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4600 WEST DICKMAN ROAD
BATTLE CREEK, MI 49015-1098


UNION TANK CAR COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
175 W. JACKSON BLVD.
CHICAGO, IL 60604




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A SUBSIDIARY OF THE DOW CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNION CARBIDE CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
A SUBSIDIARY OF THE DOWN
CHEMICAL COMPANY
1254 ENCLAVE PARKWAY
HOUSTON, TX 77077


UNIROYAL HOLDING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 GREAT HILL RD
NAUGATUCK, CT 06770


UNIROYAL HOLDING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-2924


UNIROYAL HOLDING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


UNIROYAL HOLDING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE
30 TRINITY STREET
HARTFORD, CT 06106


UNIROYAL HOLDING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 GREAT HILL RD
NAUGATUCK, CT 06770


UNIROYAL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNIROYAL INC
70 GREAT HILL ROAD
NAUGATTUCK, CT 06770


UNIROYAL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
199 BENSON ROAD
MIDDLEBURY, CT 06749




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 GREAT HILL RD
NAUGATTUCK, CT 06770


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
70 GREAT HILL ROAD
NAUGATTUCK, CT 06770


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORREST R WILKES
FORMAN PERRY WATKINS KRUTZ & TARDY,
CITY CENTRE, STE 100, 200 SOUTH LAMAR ST
JACKSON, MS 39201


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
304 EAST HIGH STREET
JEFFERSON CITY, MO 65101


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN & WAITE
ANN H MACDONALD
6600 SEARS TOWER
CHICAGO, IL 60606


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SCHIFF HARDIN LLP
EDWARD MARTIN CASMERE
233 S WACKER DRIVE SUITE 6600
CHICAGO, IL 60606


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEIN & SENIOR GREENFIELD
600 THIRD AVENUE, 11TH FLOOR
NEW YORK, NY 10016


UNIROYAL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 BENSON ROAD
MIDDLEBURY, CT 06749




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNISYS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE UNISYS PLACE
DETROIT, MI 48232


UNITANK TERMINAL SERVICES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1212 PENNWALT BUILDING
THREE PARKWAY PLAZA
PHILADELPHIA, PA 19102


UNITED AUTO DISPOSAL/UNITED METAL RECYCLERS                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 504
KERNERSVILLE, NC 27285


UNITED COMPUCRED COLLECTIONS INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5715 HARRISON AVENUE SUITE 1
CINCINNATI, OH 45248


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 NORMAN DRIVE WEST
WAUKEGAN, IL 60085


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID S HOYEM
2100 NORMAN DRIVE WEST
WAUKEGAN, IL 60085


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GARRITY, GRAHAM, MURPHY, GAROFALO &
FLINN, 72 EAGLE ROCK AVENUE - SUITE 350
PO BOX 438
EAST HANOVER, NJ 07936-3100


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ILLINOIS CORPORATION SERVICES
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL 62703


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE LACKAWANNA PLAZA
GARRITY , GRAHAM, MURPHY, GAROFALO
& FLINN, PO BOX 4205
MONTCLAIR, NJ 07042


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RAWLE & HENDERSON LLP
MICHAEL D HEINTZMAN, THE HENRY W. OLIVER
BUILDING, 535 SMITHFIELD ST, STE 1000
PITTSBURGH, PA 15222


UNITED CONVEYOR CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WARD NORRIS HELLER & REIDY
300 STATE STREET
ROCHESTER, NY 14614


UNITED CONVEYOR SUPPLY COMPANY                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: FRED SCHROEDER
2100 NORMAN DRIVE WEST
WAUKEGAN, IL 60085


UNITED CONVEYOR SUPPLY CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
23858 NETWORK PLACE
CHICAGO, IL 60673-1238


UNITED COOPERATIVE SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 961079
FORT WORTH, TX 76161-0079


UNITED ELECTRIC COOPERATIVE SERVICES INC                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MCONDALD SANDERS, PC
ATTN: RANDYL MEIGS
777 MAIN ST., SUITE 1300
FORT WORTH, TX 76102




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNITED ENGINEERS & CONSTRUCTORS                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1430 BRANDING AVE
DOWNERS GROVE, IL 60515


UNITED EXPRESS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MONTGOMERY TANK LINES,INC.
3802 CORPOREX PARK DRIVE
TAMPA, FL 33619


UNITED GALVANIZING, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6123 CUNNINGHAM ROAD
HOUSTON, TX 77041


UNITED GAS PIPELINE COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ED MCMULLEN,DIV.MGR
PO BOX 8288
LONGVIEW, TX 75607-8288


UNITED GILSONITE LABORATORIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1390 JEFFERSON AVENUE
SCRANTON, PA 18509


UNITED GILSONITE LABORATORIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DARGER, ERRANTE, YAVITZ & BLAU, LLP
116 E 27 ST, 12 FLOOR
NEW YORK, NY 10016


UNITED GILSONITE LABORATORIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70
SCRANTON, PA 18501


UNITED INNS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5100 POPLAR AVENUE
MEMPHIS, TN 38137


UNITED PARCEL SERVICE (FREIGHT)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 361345
COLUMBUS, OH 43236-1345


UNITED PARCEL SERVICE INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 GLENLAKE PARKWAY, NE
ATLANTA, GA 30328




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

UNITED PARCEL SERVICE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
605 E. MCDOWELL ROAD
JACKSON, MS 39204


UNITED PARCEL SERVICE, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
55 GLENLAKE PARKWAY NE
ATLANTA, GA 30328


UNITED RENTAL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US HWY 79 SOUTH
BUFFALO, TX 75831


UNITED RENTALS (NORTH AMERICA), INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3200 HARBOR LANE N.
MINNEAPOLIS, MN 55447


UNITED RENTALS (NORTH AMERICA), INC.                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6125 LAKEVIEW RD STE 300
CHARLOTTE, NC 28269-2616


UNITED RENTALS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FILE 51122
LOS ANGELES, CA 90074


UNITED RENTALS NORTH AMERICA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 840514
DALLAS, TX 75284-0514


UNITED REVENUE CORPORATION                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 ROSS AVENUE, SUITE 950
DALLAS, TX 75201


UNITED SCIENCES TESTING INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 COMMONWEALTH DRIVE
WARRENDALE, PA 15086


UNITED SERVO HYDRAULICS INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1450 GENICOM DRIVE
WAYNESBORO, VA 22980


UNITED STATES BRASS & COPPER                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1401 BROOK DRIVE
DOWNERS GROVE, IL 60515




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                                                                                   ENERGY FUTURE HOLDINGS CORP., et al.

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                                                            Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                 Nature

UNITED STATES BRASS CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17120 DALLAS PARKWAY
SUITE 205
DALLAS, TX 75248


UNITED STATES BRASS CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
901 10TH ST
PLANO, TX 75074


UNITED STATES BRASS CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARD FORDYCE,JR.,VP
MARK RANDALL,AGENT,GENL. COUNSEL
DALLAS, TX 75248


UNITED STATES BRASS CORP.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 37
901 10TH ST.
PLANO, TX 75074


UNITED STATES CRANE INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1155 CENTRAL FL PKWY
ORLANDO, FL 32837


UNITED STATES DEPARTMENT OF ENERGY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 INDEPENDENCE AVE., SW
WASHINGTON, DC 20585


UNITED STATES DISTRICT COURT - NORTHERN DISTRICT OF TEXAS                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 W 10TH ST, ROOM 310
FORT WORTH, TX 76102-3673


UNITED STATES ENRICHMENT CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DENNIS J SCOTT, ASST GEN COUNSEL
6903 ROCKLEDGE DR STE 400
BETHESDA, MD 20817


UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, REGION 6                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1445 ROSS AVENUE, SUITE 1200
DALLAS, TX 75202-2733


UNITED STATES GYPSUM COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SUTHERLAND ASBILL & BRENNAN LLP
ATTN: LINO MENDIOLA
ONE AMERICAN CTR; 600 CONGRESS AVE #2000
AUSTIN, TX 78701-3232




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                                                                                                        ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                      Nature

UNITED STATES GYPSUM COMPANY                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


UNITED STATES OF AMERICA O/B/O US EPA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O US DOJ, ENVIRONMENTAL ENFORCEMENT
ATTN: ANNA GRACE
P.O. BOX 7611
WASHINGTON, DC 20044-7611


UNITED STATES OF AMERICA O/B/O US EPA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O US DOJ, ENVIRONMENTAL ENFORCEMENT
ATTN: BRADFORD T. MCLANE
PO BOX 7611
WASHINGTON, DC 20044-7611


UNITED STATES OF AMERICA V. LUMINANT GENERATION COMPANY, LLC AND BIG BROWN POWER COMPANY, LLC                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



UNITED STATES OF AMERICA                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US DEPARTMENT OF JUSTICE
ENVIRONMENT & NATURAL RESOURCES DIVISION
PO BOX 7611, BEN FRANKLIN STATION
WASHINGTON, DC 20044-7611


UNITED STATES OF AMERICA                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES ATTORNEY'S OFFICE
DIMITRI NARCISO ROCHA-DOJ
1100 COMMERCE STREET, THIRD FLOOR
DALLAS, TX 75242


UNITED STATES OF AMERICA                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US DEPARTMENT OF JUSTICE
BRADFORD T MCLANE, ENVIRONMENT &
NATURAL RESOURCES DIVISION, 601 D ST NW
WASHINGTON, DC 20004


UNITED STATES OF AMERICA                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US DEPARTMENT OF JUSTICE
ELIAS L QUINN, ENVIRONMENT & NATURAL
RESOURCES DIVISION, PO BOX 7611
WASHINGTON, DC 20044-7611




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNITED STATES OF AMERICA                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
US DEPARTMENT OF JUSTICE, ANNA E CROSS,
ENVIRONMENT & NATURAL RESOURCES DIVISION
ENVIRONMENTAL ENFORCEMENT SECTION
WASHINGTON, DC 20004


UNITED STATES PLASTIC CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1390 NEUBRECHT RD
LIMA, OH 45801-3196


UNITED STATES STEEL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET
PITTSBURGH, PA 15219


UNITED STATES STEEL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
120 S CENTRAL AVE
CLAYTON, MO 63105


UNITED STATES STEEL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
AGENTS INC 300 B EAST HIGH ST
JEFFERSON CITY, MO 65101


UNITED STATES STEEL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPROTT RIGBY NEWSOM ROBBINS &
LUNCEFORD PC, LAUREN M. ROBBINS
2211 NORFOLK, SUITE 1150
HOUSTON, TX 77098


UNITED STATES STEEL CORPORATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET, ROOM 1500
PITTSBURG, PA 15219-2800


UNITED TECHNOLOGIES AUTOMOTIVE SYSTEMS, INC.                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 FINANCIAL PLAZA
HARTFORD, CT 06103


UNITED TECHNOLOGIES AUTOMOTIVE SYSTEMS, INC.                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

UNITED TECHNOLOGIES AUTOMOTIVE SYSTEMS, INC.                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226


UNITED TECHNOLOGIES AUTOMOTIVE SYSTEMS, INC.                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


UNITED TECHNOLOGIES AUTOMOTIVE SYSTEMS, INC.                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


UNITED TECHNOLOGIES CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
111 EIGHTH AVE
NEW YORK, NY 10011


UNITED TECHNOLOGIES CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED TECHNOLOGIES BUILDING
HARTFORD, CT 06101


UNITED TELEPHONE COMPANY OF TEXAS, INC                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CENTURYLINK
ATTN: BANKRUPTCY
1801 CALIFORNIA ST, RM 900
DENVER, CO 80202-265


UNITED TEXAS TRANSMISSION CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5501 HWY 146
BACLIFF, TX 77518


UNITED WAY OF METROPOLITAN                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DALLAS
1800 N LAMAR
DALLAS, TX 75202


UNITEK ENVIRONMENTAL SERVICES,INC.                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MINNESOTA MINING & MANUFACTURING
3 M CENTER
ST. PAUL, MN 55133




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

UNIVAR USA INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 849027
DALLAS, TX 75284-9027


UNIVAR USA INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 108TH AVENUE NE, 22ND FLOOR
BELLEVUE, WA 98004


UNIVAR USA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10889 BEKAY STREET
DALLAS, TX 75238


UNIVAR USA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 7649
ODESSA, TX 79760


UNIVAR                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 BRISBANE ST.
HOUSTON, TX 77061


UNIVERAL OIL PRODUCTS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 E. ALGONQUIN ROAD BLDG A
PO BOX 5017
DES PLAINES, IL 60017-5017


UNIVERAL OIL PRODUCTS COMPANY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
915 CLYDE ST
WAMPUM, PA 16157


UNIVERSAL BLUEPRINT PAPER CO.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O UNIVERSAL BLUEPRINT PAPER CO.,LLC
327 BRYAN AVE.
FORT WORTH, TX 76101


UNIVERSAL MANUFACTURING CO.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1111 SANTA MONICA BOULEVARD
LOS ANGELES, CA 90025


UNIVERSAL RECYCLING TECHNOLOGIES, LLC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ACCOUNTS PAYABLE
2535 BELOIT AVE.
JANESVILLE, WI 53546




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

UNIVERSAL REFRACTORIES CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
915 CLYDE ST
WAMPUM, PA 16157


UNIVERSAL TRANSPORT INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 427
TAYLOR, MI 48180


UNIVERSAL VACUUM SERVICE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1602 S MARKET ST
HEARNE, TX 77859


UNIVERSAL OIL PRODUCTS CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 E ALGONQUIN ROAD (BLDG A)
PO BOX 5017
DES PLAINES, IL 60017-5017


UNIVERSITY OF TENNESSEE, THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
309 CONFERENCE CTR BLDG
KNOXVILLE, TN 37996-4133


UNIVERSITY OF TEXAS - SYSTEMS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 W. 21ST STREET
AUSTIN, TX 78712


UNIVERSITY OF TEXAS - SYSTEMS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
210 WEST 7TH. ST.
AUSTIN, TX 78701


UNIVERSITY OF TEXAS AT DALLAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 N. FLOYD ROAD
RICHARDSON, TX 75083


UNIVERSITY OF TEXAS AT DALLAS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 830688
RICHARDSON, TX 75083-0688


UNIVERSITY OF TEXAS AT DALLAS, THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 W. CAMPBELL DR, SM10
RICHARDSON, TX 75080


UNROE, RALPH, T.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

UNRUH, ROLAND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UNRUH, RUDY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UNTIED, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UNVERZAGT, ANDREW                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


UPHAM, GARY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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UPJOHN COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PHARMACIA & UPJOHN CO.
701 EAST MILHAM AVENUE
PORTAGE, MI 49002


UPPER BRUSHY CREEK WCID #1A                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4000 SUNRISE RD #1200
ROUND ROCK, TX 78665


UPSHAW, CRAIG A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


UPSHUR COUNTY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 730
GILMER, TX 75644


UPSHUR RURAL ELECTRIC CO-OP                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 6500
BIG SANDY, TX 75755-6500




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

UPTON CO. FD #2 - MCCAMEY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
207 E. 6TH ST.
MCCAMEY, TX 79752


UPTON CO. WATER DIST.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 E 10TH AVE
RANKIN, TX 79778


UPTON COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
205 EAST 10TH STREET
RANKIN, TX 79778


UPTON, ELMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


URANKO, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URAVAGE, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


URBAN, CYNTHIA M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URBAN, DWAN S., ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


URBAN, EDWARD A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


URBAN, ERIC K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

URBAN, NANCY A, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LORENZ F ZOELLNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


URBANO, TAPIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URBANOWICZ, JOSEF                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URENA, RUBEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URENA, STEVE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URMAN, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


URPS, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


URQUETA ANGEL, IVAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URQUHART, DONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


URS CORPORATION                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES PC
KENNETH MICHAEL BURKE
525 WEST MAIN STT, SUITE 200
BELLEVILLE, IL 62220


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10550 RICHMOND AVE STE 155
HOUSTON, TX 77042


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES PC
KENNETH MICHAEL BURKE
525 WEST MAIN STT, SUITE 200
BELLEVILLE, IL 62220


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROWN & JAMES, A P.C.
MATTHEW J HODGE
525 W MAIN ST, SUITE 200
BELLEVILLE, IL 62220


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


URS CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY DIANNE RYCHNOVSKY
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 N BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
THOMAS LEE ORRIS
100 NORTH BROADWAY, 21ST FLOOR
ST LOUIS, MO 63102


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATTHEW EDWARD PELIKAN, ATTORNEY AT LAW
9226 MERRITT AVE
ST LOUIS, MO 63144


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MELVIN TUCKER BLASER, ATTORNEY AT LAW
1000 ALLEN AVE
ST LOUIS, MO 63104


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 116183
ATLANTA, GA 30368-6183


URS CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


URS CORPORATION; URS ENERGY & CONSTRUCTION, INC.                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& CONSTRUCTION, INC.
MARGOLIS EDELSTEIN, DAWN DEZII
100 CENTURY PARKWAY SUITE 200
MOUNT LAUREL, NJ 08054


URS ENERGY & CONSTRUCTION INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7800 E. UNION AVENUE SUITE 100
DENVER, CO 80237




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

URS ENERGY & CONSTRUCTION INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728


URS ENERGY & CONSTRUCTION INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 EAST PARK BOULEVARD
BOISE, ID 83712


URS ENERGY & CONSTRUCTION INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


URS ENERGY & CONSTRUCTION INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


URS ENERGY & CONSTRUCTION INC.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TERRY SOWERS, ATTORNEY AT LAW
720 E. PARK BOULEVARD
BOISE, ID 83712


URS ENERGY & CONSTRUCTION, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 S BROADWAY AVE
BOISE, ID 83702-7643


URS ENERGY & CONSTRUCTION, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TERRY D. SOWER
400 S BROADWAY AVE
BOISE, ID 83702-7643


URS ENERGY & CONSTRUCTION, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: TERRY D. SOWER
720 PARK BLVD
BOISE, ID 83712


URS CORP PARENT OF URS ENERGY                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728


URS CORPORATION                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

URSIDA, FRANCIS J.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


URTON, JULIA ANN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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US BANK RAIL CAR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



US BRASS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ELJER MANUFACTURING,INC.
14801 QUORUM DR.
DALLAS, TX 75248


US CHEMICAL & PLASTICS INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 NOVA DR SE
MASSILLON, OH 44646


US CONTRACTORS MANAGEMENT LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 447
CLUTE, TX 77531-0447


US CONTRACTORS MANAGEMENT LLC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE MOORE LAW FIRM
RANDY E MOORE
#7 WEST WAY COURT
LAKE JACKSON, TX 77566


US DEPARTMENT OF JUSTICE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ENVIRONMENT AND NATURAL RESOURCES DIVISION
ATTN: CHIEF, ENVIRONMENTAL ENFORCEMENT SECTION
PO BOX 7611, BEN FRANKLIN STATION
WASHINGTON, DC 20044


US ENVIRONMENTAL PROTECTION AGENCY, REGION 6                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1445 ROSS AVENUE
DALLAS, TX 75202-2733


US ENVIRONMENTAL PROTECTION AGENCY, REGION 6                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1445 ROSS AVENUE, SUITE 1200
DALLAS, TX 75202-2733, TX 75202-2733




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

US ENVIRONMENTAL PROTECTION AGENCY, REGION 6                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAZARDOUS WASTE MANAGEMENT DIVISION
ATTN: CHIEF, COST RECOVERY SECTION (6H-EC)
1445 ROSS AVENUE
DALLAS, TX 75202


US FIDELITY & GUARANTY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FIDELITY & GUARANTY LIFE INS CO SERVICE CENTER
P.O. BOX 81497
LINCOLN, NE 68501-1497


US FILTER PROCESS WATER SYSTEMS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



US FILTER PROCESS WATER SYSTEMS INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ANDREWS KURTH LLP
ALEXIS J. GOMEZ
600 TRAVIS, SUITE 4200
HOUSTON, TX 77002


US GYPSUM CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
550 WEST ADAMS STREET
CHICAGO, IL 60661-3676


US INDUSTRIAL CHEMICAL CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MILLENIUM PETROCHEMICAL, INC.
20 WITHT AVE.
COCKEYSVILLE, MD 21030


US MINERAL PRODUCTS CO                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
41 FURNACE STREET
STANHOPE, NJ 07874


US PAPER MILLS CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
824 FORT HOWARD AVE
DE PERE, WI 54115


US PLASTIC CORP                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1390 NEUBRECHT ROAD
LIMA, OH 45801-3196


US POSTAL SERVICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MAJOR FRAUD INVESTIGATIONS DIVISION
VINCENT F. RATCLIFF, CPA, M.C.J
PO BOX 967
BEDFORD, TX 76095-0967




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

US POSTAL SERVICE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNITED STATES POSTAL SERVICE
DEBORAH WILCOX-LOOS, CEP, C.P.M.
6 GRIFFIN ROAD NORTH
WINDSOR, CT 06006-7003


US SILICA CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 98
KOSSE, TX 76653


US SILICA COMPANY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 933008
ATLANTA, GA 31193-3008


US STEEL CORP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET
PITTSBURGH, PA 15219


US STEEL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
350 PARK AVE # 17
NEW YORK, NY 10022


US STEEL INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 GRANT STREET
PITTSBURGH, PA 15219


US UNDERWATER SERVICES LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: MICHAEL HALE
PO BOX 2168
MANSFIELD, TX 76063


US UNDERWATER SERVICES, LLC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEPT 8091
PO BOX 650002
DALLAS, TX 75265


USAF                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BROOKS AIR FORCE BASE
SAN ANTONIO, TX 78235


USERY, DANNY CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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Name of Counterparty                                                                                             Nature

USLE, CIPRIANO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


USSERY, DALE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


USZYNSKI, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UT DALLAS ACCOUNTS RECEIVABLE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
800 W CAMPBELL RD AD 37
RICHARDSON, TX 75080


UT SYSTEM OBO UT AT ARLINGTON                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE OFFICE OF GENERAL COUNSEL
201 W 7TH ST
AUSTIN, TX 78701


UTAH POWER AND LIGHT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1407 W N TEMPLE
SALT LAKE CITY, UT 84140


UTD, OFFICE OF GENERAL COUNSEL                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
UNIVERSITY OF TEXAS SYSTEM
201 W 7TH STREET
AUSTIN, TX 78701-2981


UTEGRATION                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5177 RICHMOND AVE SUITE 530



HOUSTON, TX 77056


UTEX INDUSTRIES, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10810 KATY FREEWAY; SUITE 100
HOUSTON, TX 77043


UTICA BOILERS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4729
UTICA, NY 13504-4729




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                                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                       Nature

UTILITIES ANALYSES LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1255 TREAT BLVD STE 250
WALNUT CREEK, CA 94597


UTILITIES INSULATION CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NORA GRIMBERGEN, ESQ.
HOAGLAND, LONGO, MORAN, DUNST & DOUKAS
40 PATTERSON STREET, PO BOX 480
NEW BRUNSWICK, NJ 08903


UTILITY AIR REGULATORY GROUP V. ENVIRONMENTAL PROTECTION AGENCY                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
AARON MICHAEL FLYNN
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
CRAIG S. HARRISON
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
ELIZABETH C. CHANDLER CLEMENT
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
ELIZABETH LOUISE HORNER, ESQUIRE
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
F. WILLIAM BROWNELL
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
HENRY VERNON NICKEL
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

UTILITY AIR REGULATORY GROUP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
LAUREN ELIZABETH FREEMAN
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
LEE BERNARD ZEUGIN
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTILITY AIR REGULATORY GROUP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HUNTON & WILLIAMS LLP
NORMAN W. FICHTHORN
2200 PENNSYLVANIA AVE, N.W. SUITE 1200
WASHINGTON, DC 20037


UTLEY, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UTLEY, SYDNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


UTTENREITHER, KAREN, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHE H KIEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VACA, IGNACIO L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VACCARO, CHRISTOPHER M.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VACHON, HENRY J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VACHON, JACQUES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VACHON, WILLIAM O--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


VAC-HYD PROCESSING CORP.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1177 GREAT SW PKWY
GRAND PRARIE, TX 75050


VACKER, PANDA LYNN TURNER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VADNAIS, DUANE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VADNAIS, PATRICIA FBO DUANE VADNAIS                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAETH, JOHN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VAIL, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

VAILLANCOURT, RICHARD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAL CAP MARINE SERVICES                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 34250
HOUSTON, TX 77034


VALANTE, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALDES, GILBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALDEZ, JAMES N                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VALDEZ, KENNETH                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VALEARY, LYLE JASON                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VALENCE ELECTRON LLC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA LIM HOLDINGS
442 ACKLEY ST
MONTEREY PARK, CA 91755


VALENT, MICHAEL R                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VALENTE, GIOVANNI                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VALENTI, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


VALENTI, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALENTI, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALENTI, VINCENT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALENTINE (NAYLOR), CATHY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VALENTINE, COURTNEY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VALENTINE, DONALD J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VALENTINE, RAYMOND                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

VALENTINE, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALERI, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALERO ENERGY CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE VALERO WAY
SAN ANTONIO, TX 78249


VALERO ENERGY CORPORATION                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TEKELL BOOK ALLEN & MORRIS LLP
DAVID BURNS
1221 MCKINNEY, SUITE 4300
HOUSTON, TX 77010


VALERO REFINING TEXAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE VALERO WAY
SAN ANTONIO, TX 78249


VALERO RETAIL HOLDINGS INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SECRETARY OF STATE
600 WEST MAIN
JEFFERSON CITY, MO 65102


VALERO TEXAS POWER MARKETING INC                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 VALERO WAY
ATTN: CREDIT MANAGER
SAN ANTONIO, TX 78249-1616


VALKOV, NIKOLAY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VALLEE, ALFRED                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VALLERA, ALBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALLEY FALLS GRAIN & HARDWARE CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


VALLEY FAUCET COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



VALLEY FORGE INSURANCE CO.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CAN PLAZA
CHICAGO, IL 60685


VALLEY SOLVENT CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4465 RIVERPARK DRIVE
CORPUS CHRISTI, TX 78410


VALLEY STEEL PRODUCTS CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 503
ST. LOUIS, MO 63166


VALLEY STEEL PRODUCTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5901 S. LAMAR
DALLAS, TX 75215


VALLEY STEEL PRODUCTS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 WALNUT ST.
SAINT LOUIS, MO 63102


VALLONE, PETER J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VAL-MATIC VALVE AND MANUFACTURING CO                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
905 S RIVERSIDE DR
ELMHURST, IL 60126




                                                                                                                                                                                                                   Page 3919 of 4224
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VALOTTA, VERNA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON REHM SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VALSPAR CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1461
MINNEAPOLIS, MN 55440-1461


VALUKIS, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VALVANO, ROSARIO                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VALVE SERVICES GROUP INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
555 N WAYNE AVE
CINCINNATI, OH 45215


VALVERDE, ABEL T., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VALVERDE, RUBEN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VALWOOD IMPROVEMENT AUTHORITY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1740 BRIERCROFT COURT
CARROLLTON, TX 75006


VALWOOD IMPROVEMENT AUTHORITY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PERDUE BRANDON FIELDER COLLINS MOTT
ATTN: ELIZABETH BANDA CALVO
500 EAST BORDER ST, SUITE 640
ARLINGTON, TX 76010


VAN AUSDAL, RONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

VAN DE VEN, SYLVESTER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN DER GAAG, JOHN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN DER HORST CORP. OF AMERICA                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
419 EAST GROVE ST.
TERRELL, TX 75180


VAN DER HORST U.S.A. CORP.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
419 EAST GROVE STREET
TERRELL, TX 75160-3750


VAN DYK, AUGUST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN DYKE, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN HORN, ALFRED                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN HORN, BRUCE GEORGE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


VAN HORN, KAREN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

VAN HORN, LESTER L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VAN HOUTEN, HERBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VAN ISD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 697
VAN, TX 75790


VAN KRUININGEN, MITCHELL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VAN LEUWEN, CHRIS JOSEPH                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VAN LYSSEL, DANIEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN METER, DOLORES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN NAME, JOHN R., SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VAN NAME, JOHN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

VAN OFLEN, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN OSS, GARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VAN SHURA, DONALD JAMES                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAN WATERS & ROGERS INC. (SUBSIDIARY OF UNIVAR)                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RADNOR CORPORATE CENTER, BLDG 1 STE 200
100 MATONSFORD ROAD
PO BOX 6660
RADNOR, PA 19087


VAN WATERS & ROGERS INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILLIAM BUTLER,VP,SECTY.
6100 CARILLON POINT
KIRKLAND, WA 98033


VAN WATERS & ROGERS, INC.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6100 CARILLON POINT
KIRKLAND, WA 98104


VAN WINKLE, GERALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAN WINKLE, HAROLD DEAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


VAN ZANDT COUNTY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
121 E. DALLAS ST., ROOM 202
CANTON, TX 75103




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                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VANBEBBER, CRAIG W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANBEBBER, DAVID R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANBEBBER, PATSY C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANBUSKIRK, ROBERT L                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VANCE, BOBBY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VANCE, CAROLYN THOMPSON                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VANCE, CHRISTINE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VANCE, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANCE, LESLIE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VANCE, RALPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VANCOUR, ARTHUR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VANDENBOOM, KAYE F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VANDERBILT MINERALS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 WINFIELD ST
NORWALK, CT 06855


VANDERBILT MINERALS LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
30 WINFIELD ST
NORWALK, CT 06855


VANDERBILT, CHESTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANDERBURG DRAFTING SUPPLY INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2373 VALLEY VIEW LN
FARMERS BRANCH, TX 75234-5786


VANDERBURG, JAMES H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VANDERBURG, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANDERGRIFF, JACK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANDERGRIFF, MONTY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANDERLIP, HARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VANDERMARK, JOHN P                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VANDERMEER (PATTERSON), CAROL ANN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANDERWARKER, PETER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANDEUSEN, FRED                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANDEVER, GLENDA D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VANELLA, JOSEPH M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VANGUARD VACUUM TRUCKS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4276
HOUMA, LA 70361


VANHORN, HOWARD D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VANITY FAIR BRANDS LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE FRUIT OF THE LOOM DRIVE
BOWLING GREEN, KY 42102


VANKIRK, MICHAEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VANLEEUWEN, ROSE ANNE, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HARRY HORAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VANMALDEGEN, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANNESS, LUKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANSHURA, DONALD J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANSHURA, DONALD J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


VANSICKLE, MR O B (OSCAR)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANTASSELL, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VANTHORRE, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VANZLER, MARY ELLEN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAQUERA, DANIA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VAQUERA-SALGADO, JESUS                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VARCO                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O AMF TUBOSCOPE VETCO INTERNATIONAL
2835 HOLMES RD.
HOUSTON, TX 77051


VAREL MANUFACTURING COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BILL HAYS,AGENT,VP,FINANCE
9230 DENTON DR.
DALLAS, TX 75235


VARELLA, MARIA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANTHONY J VARELLA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VARGAS, ANSELMO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


VARGAS, ERNESTO, ET AL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


VARGAS, ORLANDO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VARGO, THOMAS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VARGOCKO, ANDREW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VARIS, PHILIP G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VARIS, SOPHIA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VARIS, STEPHANIE M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VARNADO, O A                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VARNER, TAMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VARNERIN, ANGELO--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


VARNEY, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VARNUM, MARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VARO SEMICONDUCTOR INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 AMERICAN METRO BLVD.; SUITE 111
HAMILTON, NJ 08619


VARRICCHIO, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VARRICHIONE, SABRINA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VASCONCELLOS, CLETUS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VASELECK, BRIAN AND SABRINA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VASH, STEPHEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VASILAKIS, WILLIAM CHARLES, PR OF THE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MILDRED VASILAKIS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VASQUEZ, ANDREW , JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


VASQUEZ, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VASQUEZ, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VASSALLO, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VATAVUK, KRISTIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VAUGHAN, BONNIE L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAUGHAN, EDDIE AL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAUGHAN, KENNETH M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VAUGHN, AMOS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAUGHN, BRENDA L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROLAND KLINEFELTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VAUGHN, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAUGHN, GERALD EUGENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


VAUGHN, JIMMY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VAUGHN, MARY B.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VAUGHN, REX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007




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Name of Counterparty                                                                                             Nature

VAUGHN, THOMAS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VAUGHT, JACKIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VAVRA-ALCOSER, MARY F, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS A VAVRA
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VAWTER, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VAZQUEZ, JOSE A, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VEAL, CLYDE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


VEALE, MATTIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VEAR, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VECCHIO, JOHN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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Name of Counterparty                                                                                            Nature

VECCHIONE, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VED, NALIN M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VED, NALIN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VEGA, DEBORAH M DE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VEGA, ELIAS, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


VEGA, NOE, SELF & SIMILARLY SITUATED                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


VEGA, OSCAR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VEGA, SHANNON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VEIGA, ROBERT ANDREW                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VEKIOS, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VELAN VALVE CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
94 AVENUE C
WILLISTON, VT 05495




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Name of Counterparty                                                                                         Nature

VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
AMANDA M WOODRUFF
200 SOUTH LAMAR STREET STE 100
JACKSON, MS 39201


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN, PERRY, WATKINS, KRUTZ
& TARDY, LLP
328 NEWMAN SPRINGS ROAD
RED BANK, NJ 07701


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALEX BELOTSERKOVSKY
130 N MAIN STREET, PO BOX 510
EDWARDSVILLE, IL 62025


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
CAROLYN MARIE HUSMANN
145 BAYFIELD DR
GLEN CARBON, IL 62034-2979


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIC PRESTON HALL
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ERIN TIMOTHY ASSOUAD
800 MARKET ST, SUITE 2300
ST LOUIS, MO 63101


VELAN VALVE CORP                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
JILL ROBYN SUNDBERG
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
REBECCA ANN NICKELSON
800 MARKET STREET, SUITE 2300
ST LOUIS, MO 63101


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N. MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL PARSONS
94 AVE C
WILLISTON, VT 05495


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
ANTHONY LAMONT SPRINGFIELD
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI PC
DENNIS JOSEPH DOBBELS
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112-1895


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
LUKE JOSEPH MANGAN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
ST LOUIS, MO 63102


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI SHUGHART PC
NICOLE CRESS BEHNEN
TWELVE WYANDOTTE PLAZA, 120 W. 12TH ST
KANSAS CITY, MO 64105-1929


VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
POLSINELLI
JENNIFER JEANNE ENG
900 W 48TH PLACE, SUITE 900
KANSAS CITY, MO 64112




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

VELAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SABINE BRUCKERT, GEN. COUN.
7007 COTE DE LIESSE
MONTREAL, QC H4T 1G2
CANADA

VELAN VALVE CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3118
BOSTON, MA 02241


VELASQUEZ, CAROL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VELASQUEZ, VERNON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VELAZQUEZ, EMILIO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VELEHRADSKY, JAMES JOSEPH, JR.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VELEZ, ARNALDO OJEDA                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VELIS, HECTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VELIS, KEVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VELLUMOID INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
54 ROCKDALE S
WORCESTER, MA 01606


VELMA K BLAND ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VELMA K BLAND ESTATE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BETTY BERTRAND EXECUTRIX
5005 GEORGI LN APT 207
HOUSTON, TX 77092




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VELOCITY INDUSTRIAL LLC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
17300 HWY 205
TERRELL, TX 75160


VELOSKI, DONALD R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VELSICOL CHEMICAL CORPRATION                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10400 W. HIGGINS ROAD
SUITE 700
ROSEMONT, IL 60018-3713


VELSICOL CHEMICAL LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10400 W. HIGGINS ROAD
ROSEMONT, IL 60018


VELVAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
SEAN PATRICK SHEEHAN
130 N MAIN ST, PO BOX 510
EDWARDSVILLE, IL 62025


VELVAN VALVE CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MICHAEL PARSONS
94 AVE C
WILLISTON, VT 05495


VENDOR RECOVERY FUND IV                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ASSIGNEE OF JANI KING OF DALLAS
C/O DRUM CAPITAL MANAGEMENT
4 STAMFORD PLAZA
STAMFORD, CT 06902


VENDUR, SULLIVAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VENERE, EMIL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VENESEVICH, MICHAEL S                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VENETUCCI, VINCENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VENNER, GEORGE T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VENTIMIGLIA, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VENTORINI, TERRENCE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VENTRE, JOHN D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


VENTRE, PATRICK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VENTURA, ANTHONY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VENTURA, SAM D                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VENTURE AGGREGATES LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1089
LIBERTY HILL, TX 78642


VENZA, ANDREW                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VEOLIA ES INDUSTRIAL SERVICES INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TANNOR PARTNERS CREDIT FUND LP
150 GRAND ST STE 401
WHITE PLAINS, NY 10601


VEOLIA ES INDUSTRIAL SERVICES                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 70610
CHICAGO, IL 60673-0610


VEOLIA ES INDUSTRIAL SERVICESINC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2416
ALVIN, TX 77512


VERA, SALOME                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VERAKAS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VERANDA, THE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
@ TWIN OAKS APARTMENT HOMES
774 COLEMAN AVE
MENLO PARK, CA 94025


VERCHOT, JOHN P--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


VERCILLO, RAYMOND                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VERDICCHIO, MICHAEL J.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VERDUGO, VICKI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VERELUGO, VICKI                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VERGA, VITO C.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VERHOEVEN, MARVIN H                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VERIFICATIONS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 742808
ATLANTA, GA 30374-2808


VERIFICATIONS INC.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
140 FOUNTAIN PARKWAY N
SUITE 410
SAINT PETERSBURG, FL 33716


VERITEXT                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 71303
CHICAGO, IL 60694-1303


VERIZON BUSINESS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15043
ALBANY, NY 12212-5043


VERIZON BUSINESS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660794
DALLAS, TX 75266-0794




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VERIZON SOUTHWEST INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 HIDDEN RIDGE
IRVING, TX 75038


VERIZON SOUTHWEST INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARTLINE DACUS BARGER DREYER LLP
DARRELL L BARGER, NORTH TOWER
800 N. SHORELINE BLVD., STE 2000
CORPUS CHRISTI, TX 78401


VERIZON SOUTHWEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
700 HIDDEN RIDGE
IRVING, TX 75038


VERIZON SOUTHWEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 920041
DALLAS, TX 75392-0041


VERIZON WIRELESS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 TECHNOLOGY DRIVE
SUITE 550
WELDON SPRING, MO 63304


VERIZON WIRELESS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 105378
ATLANTA, GA 30348


VERIZON WIRELESS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 408
NEWARK, NJ 07101-0408


VERIZON WIRELESS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660108
DALLAS, TX 75266-0108


VERIZON                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 15124
ALBANY, NY 12212-5124


VERIZON                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 660720
DALLAS, TX 75266-0720




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VERMILLION, ARTHUR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VERMONT ASBESTOS GROUP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H.A. MANOSH CORPORATION
RAGT HOWARD MANOSH
120 NORTHGATE PLAZA
MORRISVILLE, VT 05661


VERMONT ASBESTOS GROUP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STAFFORD ST ROUTE 1
MORRISVILLE, VT 05661


VERNON, WALTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VEROT, CLIFTON A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


VERRIER, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VERSIE WISE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation



VERTZ, FLOYD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VESELY, APRIL ANN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VESELY, JOHN J.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VEST, DARRELL W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


VEST, JEFFERY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VESTAL, MOORE, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VESTAL, STEVEN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VESTALIA LLC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA TRAVIS HOMES
16427 TELGE RD
CYPRESS, TX 77429


VESTESEN, RICHARD L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VESUVIUS USA CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
165 FLEET STREET
LONDON, EC4A 2AE
UNITED KINGDOM

VETRANO, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VETRI, SCOTT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VETSCH, DEETTE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


VETSCH, JOHN ANDREW                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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Name of Counterparty                                                                                            Nature

VETSCH, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VETTEL, KELLI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VETTEL, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VETTEL, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VEY, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VEZINA, LIONEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIA, DONNIE E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


VIA, MARLA                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


VIACOM INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
2711 CENTERVILLE RD STE 400
WILMINGTON, DE 19808




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG, PIPKIN, NELSON, BISSELL &
LEDYARD, JOHN BISSELL
1111 BAGBY, SUITE 2300
HOUSTON, TX 77002-2546


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1515 BROADWAY
NEW YORK, NY 10036


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CBS CORPORATION
CORPORATION SERVICE COMPANY
701 BRAZOS ST., SUITE 750
AUSTIN, TX 78701


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH W. FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH W. FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704-0016


VIACOM INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH WILLIAM FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77702




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER
KEITH WILLIAM FOLEY
2615 CALDER AVE SUITE 800, PO BOX 16
BEAUMONT, TX 77704


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAINE TARWATER & BICKERS LLP, DARRYL E
ATKINSON, LAS CIMAS BUILDING IV, STE 460
900 SOUTH CAPITAL OF TEXAS HIGHWAY
AUSTIN, TX 78746


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
JOHN G. BISSELL
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
JOHN W. BRIDGER
4900 WOODWAY DRIVE, SUITE 1200
HOUSTON, TX 77056


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG PIPKIN BISSELL & LEDYARD LLP
MICHAEL HENDRYX
595 ORLEANS, SUITE 1400
BEAUMONT, TX 77701


VIACOM INC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STRONG, PIPKIN, NELSON, BISSELL &
LEDYARD, JOHN G. BISSELL
1111 BAGBY STREET, SUITE 2300
HOUSTON, TX 77002-2546


VIAD CORP                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1850 N. CENTRAL AVENUE, SUITE 1900
PHOENIX, AZ 85004-4565




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VIAD CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


VIAD CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
CHRISTINA ELAINE DUBIS
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


VIAD CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
LAURA ANN GRADY
1001 HIGHLANDS PLAZA DR W #400
ST LOUIS, MO 63110


VIAD CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD
ROBERT J BRUMMOND
1001 HIGHLAND PLAZA 400
ST LOUIS, MO 63110


VIAD CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GRISCOM-RUSSELL
FRANCIS A. MONTBACH, MOUND COTTON WOLLAN
& GREENGRASS, ONE BATTERY PARK PLAZA
NEW YORK, NY 10004


VIAL, PHILIP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIANELLO, ANTONIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VICARS, ERNEST                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

VICENCIO MORALES, RODRIGO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VICHOT, BERNARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICK, CHARLES (DECEASED)                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICKERS PUMP INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION
208 S. LASALLE
CHICAGO, IL 60604


VICKERS, JAMES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICKERY, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICKERY, EDWARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICKNAIR FRILOUX, BOBBIE ANN                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VICKNAIR ROUX, JENNIFER                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VICKNAIR, JANICE R                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VICKNAIR, JESSICA M                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VICKNAIR, ROBERT A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VICKSBURG REFINERY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2611 HAINING RD
VICKSBURG, MS 39181


VICTOR CORNELIUS, INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 71
EASTLAND, TX 76448


VICTOR EQUIPMENT CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2800 AIRPORT RD.
DENTON, TX 76205


VICTOR EQUIPMENT CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
T.E.LEWELLEN,JR.,VP,GEN.OPS.MGR.
PO BOX 1007
DENTON, TX 76202


VICTOR EQUIPMENT COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16052 SWINGLEY RIDGE ROAD; SUITE 300
ST. LOUIS, MO 63017


VICTOR TECHNOLOGIES INTERNATIONAL                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
16052 SWINGLEY RIDGE RD. SUITE #300
ST LOUIS, MO 63017


VICTOR, CHESTER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VICTORIA BEARING & INDUSTRIAL SUPPPLY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COLUMBUS BEARING
PO BOX 2112
VICTORIA, TX 77902


VICTORIA MECHANICAL SERVICES INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2236
VICTORIA, TX 77902-2236




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VIENING, BRIAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIENNNEAU, GARVICE R, SR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VIENS, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIERDAY, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIERGUTZ, ROBERT JAMES DECEASED                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


VIGIL, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VIGIL, REYNALDO J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VIGNEAU, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIK, ARTHUR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

VIKING ELECTRIC SUPPY INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
451 INDUSTRIAL BOULEVARD NE.
MINNEAPOLIS, MN 55413


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
406 STATE ST
CEDAR FALLS, IA 50613


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
406 STATE ST
CEDAR FALLS, ID 50613


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORP TRUST COMPANY
CORP TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19803


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
500 E COURT AVE STE 200
DES MOINES, IA 50309


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
H. LANE YOUNG, ELIZABETH O'NEILL,
4514 COLE AVE STE 500
DALLAS, TX 75205-5412


VIKING PUMP INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
THACKSTON, ROBERT EDWIN
445 S. FIGUEROA, SUITE 3200
LOS ANGELES, CA 90071-1651




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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

VIKING PUMP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LISA ANN LACONTE, ATTORNEY AT LAW
CHASE BUILDING, SUITE 600
124 S.W. ADAMS
PEORIA, IL 61602


VIKING PUMP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MALABY & BRADLEY, LLC
150 BROADWAY, STE 600
NEW YORK, NY 10038


VIKING PUMP INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


VIKING PUMPS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 E COURT AVENUE STE 200
DES MOINES, IA 50309


VILE, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLA DEL RIO LTD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
340 PEMBERWICK RD
GREENWICH, CT 06831


VILLALOBOS, JULIO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLANUEVA, JIMENA ANDREA QUIROGA                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VILLANUEVA, SIMONE ALIOTO                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLAR, EARL ARTEMUS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


VILLEGAS, ANA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

VILLEGAS, FELICIANO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLERIUS, ERIC H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VILLERREAL, SCOTT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLERREAL, SHELBY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VILLON, JORGE A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VILT, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIMASCO CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
280 WEST 19TH ST
NITRO, WV 25143


VINCE, BRANDI                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINCE, CAROL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VINCE, JOSEPH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VINCE, VALENTIN, JENNIFER                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VINCE, VICTOR E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VINCE, WILLIAM A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINCENT, CHARLES RAEFORD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


VINCENT, JACK R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


VINCENT, MAROLYN C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINCENT, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VINCENZO, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINCENZO, KELLI LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINCK, LARRY E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VINCK, LARRY EDWARD, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD D VINCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VINCK, LARRY EDWARD, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUCILLE R VINCK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                           Nature

VINER, ROBERT JOSEPH                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VINES, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINSON PROCESS CONTROLS CO LP                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2747 HIGHPOINT OAKS DR
LEWISVILLE, TX 75067


VINSON PROCESS CONTROLS COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 671389
DALLAS, TX 75267-1389


VINSON PROCESS CONTROLS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 111880
CARROLLTON, TX 75011-1880


VINSON, IVA J. AND HENRY VINSON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VINTON, GARY D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VINYARD, CHARLES G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VIOLA, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIRGILIO, LYNETTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VIRGINIA DEPARTMENT OF TAXATION                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1957 WESTMORELAND STREET
RICHMOND, VA 23230




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VIRNIG, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VIRON INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3100 LUCIUS MCCELVEY DR
TEMPE, TX 76504


VISCONTE, SALVATORE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VISCUSO, PASQUALE C.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VISHAY TRANSDUCERS LTD                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25712 NETWORK PLACE
CHICAGO, IL 60673-1257


VISION AND HEALING MINISTRIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9727 FOREST LN APT#342
DALLAS, TX 75243


VISION AND HEALING MINISTRIES                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VISIONE, DOMINIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VISONE, PAT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VITALE, ALFRED R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VITALE, FARO P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VITALE, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VITALE, LEO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VITALE, RALPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VITEK, RICHARD A, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT VITEK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VITIELLO, FRANK L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VITIELLO, MICHAEL J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VITORINO, TOME                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VITT, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VIZZINI, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOCKROTH, EDWIN W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VODOPIA, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VODOPIA, LUKE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VOEGELE, GERTRUDE FBO GUSTOF VOEGELE                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOELKER, BERNARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


VOGEL, FRED ARNOLD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOGEL, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOGEL, PATRICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VOGEL, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOGEL, ROY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOGELSANG, WILLIAM IVEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOGELSANG, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOGELSONG, LESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VOGT POWER INTERNATIONAL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13551 TRITON PARK BLVD
LOUISVILLE, KY 40223


VOGT, AMBROSE J , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AMBROSE VOGT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOGT, DIANNE T, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALEXANDER SOSNOWSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOGTMAN, DOUGLAS KEITH, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT A KLEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VOHNOUTKA, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOHNOUTKA, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOIT, DIANE D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JULIUS F DAMWEBER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOITH PAPER FABRICS APPLETON INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
8040 EXCELSIOR DRIVE STE 200
MADISON, WI 53717


VOITH PAPER FABRICS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2100 N BALLARD RD
APPLETON, WI 54911


VOITH TURBO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
25 WINSHIP RD
YORK, PA 17406-8419


VOJTEK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOLIAN ENTERPRISES INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 410
MURRYSVILLE, PA 15668


VOLKMANN, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                          Nature

VOLKS WAGEN GROUP OF AMERICA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2200 FERDINAND PORSCHE DR.
HERNDON, VA 20171


VOLKS WAGEN GROUP OF AMERICA INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
H. LANE YOUNG, ELIZABETH O'NEILL, ROBERT E. THACKSTON, RON SPOONER
HAWKINS PARNELL THACKSTON & YOUNG LLP
4514 COLE AVE STE 500
DALLAS, TX 75205-5412


VOLKSWAGEN OF AMERICA INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
H. LANE YOUNG, ELIZABETH O'NEILL,
4514 COLE AVE STE 500
DALLAS, TX 75205-5412


VOLPINI, PHYLLIS T                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VOLTA, ARMAND J , JR, PR OF THE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN B CELLITTO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOLTA, ARMAND J , JR, PR OF THE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MELVIN D ARNOLD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOLVO GROUP NORTH AMERICA LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7900 NATIONAL SERVICE ROAD
GREENSBORO, NC 27409


VOLVO GROUP NORTH AMERICA LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER STERCHI COWDEN & RICE LLC
CURTIS RAY PICOU
1010 MARKET STREET, SUITE 1640
ST LOUIS, MO 63101


VOLVO GROUP NORTH AMERICA LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

VOLVO GROUP NORTH AMERICA LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARY GRACE SULLIVAN, ATTORNEY AT LAW
535 NORTH NEW BALLAS ROAD ST L
ST LOUIS, MO 63141


VOLVO GROUP NORTH AMERICA LLC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PICOU & ANDREKANIC LLC
ROBERT D ANDREKANIC,
1012 PLUMMER DRIVE, STE 103 - 2ND FL
EDWARDSVILLE, IL 62025


VOLVO RENTS 139                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2201 TIMBERLOCH PLACE SUITE#225
THE WOODLANDS, TX 77380


VOLVO RENTS 139                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8401 NEW TRAILS DR STE 150
SPRING, TX 77381-4083


VOLVO TRUCKS NORTH AMERICA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 26115
GREENSBORO, NC 27402-6115


VOLZ, FLOYD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VON DER HEYDT, KARL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VON GEHREN, DARYL K.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VON RESTORFF, DONALD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VON RESTORFF, JANICE F                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

VON WERNE, LOUIS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


VONDERLIETH, HENRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VOORMAN, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VOPAK NORTH AMERICA INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 WEST LOOP SOUTH, STE 2200
HOUSTON, TX 77027


VORWERK, D.W.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


VOSE, BOB M.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOSKAMP, LORENZ                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOSS, EDWARD L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VOTKE, CHANES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


VOUDREN, HERBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

VOUGHT CORP.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 225907
DALLAS, TX 75265


VOUGHT, AUDREY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT VOUGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOUGHT, TERRY L. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


VOURDUBAKIS, THERESA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD A VOLPE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VOYLES, CARL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


VOYLES, FINIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOYLES, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOYLES, MARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOYLES, MATTHEW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOYLES, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VOYLES, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

VOYTKO, FORREST C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VPI CORP FKA NATURAL PRODUCTS                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3123 SOUTH 9TH STREET
SHEBOYGAN, WI 53082-0451


VRABLIC, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


VRLA, BRENDA LOUISE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VRLA, BRENT L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VRLA, MILTON FRANK, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VU, XUAN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VU, XUAN                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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VUKADINOVICH, WALTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


VWR INTERNATIONAL LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MATSONFORD RD STE 200
RADNOR, PA 19087


VWR INTERNATIONAL LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 640169
PITTSBURGH, PA 15264-0169




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                                                                                      ENERGY FUTURE HOLDINGS CORP., et al.

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                                                               Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                    Nature

W C SUPPLY CO INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
329 SOUTH BONNER AVE
TYLER, TX 75702


W. J. BARNEY AND CONNECTICUT INSURANCE GUARANTEE ASSOCIATION                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MONTSTREAM & MAY, LLP
JOSEPH PASSARETTI, ESQ.
POBOX 1087, 655 WINDING BROOK DRIVE
GLASTONBURY, CT 06033-6087


W. R. GRACE COMPANY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE TOWN CENTER ROAD
BOCA RATON, FL 33486


W.R. GRACE & CO.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7500 GRACE DRIVE
COLUMBIA, MD 21044


W.R. GRACE & COMPANY CONN.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7500 GRACE DRIVE
COLUMBIA, MD 21044


W.R. GRACE AND COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
62 WHITTEMORE AVE.
CAMBRIDGE, MA 02146


W.S. RED HANCOCK, INC.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 207
BENTONIA, MS 39040


W.W. GRAINGER, INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: SPECIAL COLLECTIONS DEPARTMENT
7300 N. MELVINA
MES 17875096810
NILES, IL 60714


W.W. GRANGER, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


W.W. GRANGER, INC.                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI SHULTZ LLC
LINDSAY ALAN DIBLER
228 WEST POINTE DR.
SWANSEA, IL 62226




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

W.W. GRANGER, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KUROWSKI, BAILEY & SCHULTZ, LLC
JEROME STEPHEN WARCHOL JR
228 WEST POINTE DR.
SWANSEA, IL 62226


W.W. GRANGER, INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LACY FIELDS LAW
LACY MICHELLE FIELDS
14 S. CENTRAL AVE, SUITE 212
CLAYTON, MO 63105


WAAGE, MAX                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WABCO HOLDINGS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 CENTENNIAL AVENUE
PISCATAWAY, NJ 08855


WABTEC GLOBAL SERVICES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2665 RELIABLE PKWY
CHICAGO, IL 60686


WACHTER, ANDREW J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WACKER, LEROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WACO AUTO GLASS CENTER INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 FRANKLIN AVE
WACO, TX 76701


WACO AUTO GLASS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1100 FRANKLIN AVE
WACO, TX 76701




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WACO CARBONIC CO INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
431 LA SALLE STREET
WACO, TX 76706


WACO CARBONIC CO LEASING                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
431 LA SALLE STREET
WACO, TX 76706


WACO ISD                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
501 FRANKLIN AVENUE
PO BOX 27
WACO, TX 76703


WACO, CITY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
300 AUSTIN AVE
WACO, TX 76702


WADE, ANN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WADE, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WADE, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADE, DONNA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADE, DUDE BENNY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADE, JOHN P, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WADE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WADE, JOHNNY MACK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WADE, MINNIE LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADE, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADEKING, LAWRENCE AND LILIAN WADEKING                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADHAMS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WADLINGTON, MARGARET J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADLINGTON, MICHAEL O                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WADSWORTH, BOBBY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


WADSWORTH, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAFER, DAVID TODD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAFFLE HOUSE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2880 LBJ FREEWAY
#202
DALLAS, TX 75234




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WAGES, CARLA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGGONER, DWIGHT LYNN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WAGGONER, REBA HAZELWOOD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER JR, JACK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, ARTHUR D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WAGNER, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAGNER, CRAIG G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WAGNER, DENISE HUFNAGEL                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, DONNA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, GEORGE W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                             Nature

WAGNER, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WAGNER, JAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, JESSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAGNER, JOHN D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WAGNER, JOHN J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WAGNER, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAGNER, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, LEONARD--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WAGNER, MARJORIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WAGNER, MARK P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WAGNER, MICHAEL E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER C WAGNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WAGNER, MICHELLE & GALEN F. WAGNER                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAGNER, RICHARD E--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WAGNER, ROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAGNER, STEVEN BRETT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, SUSAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGNER, SUZANNE E, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT W SNYDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WAGNER, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WAGNER, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WAGNER, WAYLAND G                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGONER, CHARLES MICHAEL                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGONER, REBA HAZELWOOD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAGSTAFF, DONALD E M                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAHLBERG, JOHN J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WAHLCO METROFLEX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
29 LEXINGTON STREET
LEWISTON, ME 04240


WAHLCO METROFLEX                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
29 LEXINGTON STREET
LEWISTON, ME 04240


WAHLE, SHERYL LYNN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAHRHEIT, CHARLES P                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

WAID, JERRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAINIO, JOHN A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WAINWRIGHT, DAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAITS KEMP, ARETHA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAITS, GWENDOLYN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAITS, III, NELSON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAITS, JR., NELSON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAITS, KAREN SUE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAKE, MORTON JOHN, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALBECK, JOEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALBECK, SUSAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALBRIGHT, CAROLYN D. RIEGGER                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WALBRIGHT, JAMES A.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALCZAK, JAMES B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALD, DEWITT J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALD, RICHARD P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALDEN, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALDEN, TROY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALDEN, WILLIAM WINSTON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WALDER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALDHOLM, CARLA L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALDIE, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALDMAN, HOWARD G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WALDMAN, JANET                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WALDMANN, PATRICIA A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALDON H ORR ESTATE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDON H ORR ESTATE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WELLS FARGO BANK TEXAS NA
OIL GAS & MINERAL ADMIN
PO BOX 5383
DENVER, CO 80217


WALDRAFF, EDWARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALDREP, JOE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDRIP, RANDY PERRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDRON, CARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALDRON, DANA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDRON, EMMA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDRON, PETER A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WALDRON, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALDRON, ROCCIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDROP, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALDROP, DOYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WALDROP, HOWARD, II                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WALDROP, JAMES R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALDRUP, CURTIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALDRUP, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALEGA, JOHN L, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALES, DONALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALES, JIM A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WALES, JIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WALIA, BARJINDER S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, ALVANUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, ANNETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, ARNOLD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALKER, BENJAMIN A., JR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WALKER, BETTY JEAN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, BRUCE S.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WALKER, CHARLES E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, CRAIG S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALKER, CURTIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, E.                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, ELWOOD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALKER, EUGENE J., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, FRANCIS LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALKER, GIFFORD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, HAROLD G                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALKER, HARRY LEE, JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WALKER, HERBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALKER, HOLMES T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, JO ELLEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALKER, JOE G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, KEELING & CARROLL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONALD WALKER
PO BOX 108
VICTORIA, TX 77902-0108


WALKER, KENNETH J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, KENNETH RAY SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, LEE, JR                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, LESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, MARSHA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, MICHAEL DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, RICHARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                         ENERGY FUTURE HOLDINGS CORP., et al.

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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

WALKER, RICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, ROBERT                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, ROGER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, STEPHANIE KOHUT                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, THOMAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, TIMOTHY J.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALKER, WALLACE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKER, WILLIE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALKOWIAK, JOSEPH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALKOWIAK, PETER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WALL ISD                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8065 LOOP 570
WALL, TX 76957


WALL, BOB                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALL, ERNEST KEITH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALL, HARLESS K                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WALL, JEFFREY M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALL, JOSEPH F.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL, REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALL, JOSEPH S.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALL, JUDIE E.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103




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Name of Counterparty                                                                                         Nature

WALL, KELLY J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALL, LILLIAN L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALL, OLIVIA L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALL, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALL, VICKIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O PAUL REICH & MYERS, P.C.
1608 WALNUT STREET, SUITE 500
PHILADELPHIA, PA 19103


WALLACE INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
230 N CAROLINA 49
CONCORD, NC 28025


WALLACE, ALTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, CADEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, CARL P., JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, CHARLES THOMAS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALLACE, CLIFTON O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALLACE, COLTEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, DAVID B.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069


WALLACE, DOUGLAS W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALLACE, EARL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALLACE, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALLACE, ELTON                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALLACE, FRANCES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALLACE, FRANK D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALLACE, GARY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WALLACE, JESSIE HAYWOOD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, JOHNNY L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALLACE, LYNETTE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, MADONNA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WALLACE, MONTANA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, RALPH L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, REGINA M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS L WALLACE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALLACE, RUTH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALLACE, TRACIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLACE, WALTER J, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALLACE, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WALLACE, WILLIAM L, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALLEN, ANITA LOUISE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLEN, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLEN, DORENE P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLER COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
836 AUSTIN STREET, SUITE 217
HEMPSTEAD, TX 77445


WALLER, CARNELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLER, DARRELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WALLER, SAMMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALLER, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WALLER-HARRIS ESD #200                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 510
WALLER, TX 77484


WALLNER, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALLS, BOBBY G.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALLS, EDDIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALNUT SPRINGS ISD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
184 AVENUE A
WALNUT SPRINGS, TX 76690


WALSER, A EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH CONSTRUCTION CO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2905 SW FIRST AVENUE
PORTLAND, OR 97201


WALSH TIMBER CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1369
ZWOLLE, LA 71486




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALSH, DENNIS J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WALSH, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALSH, EDWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, EUGENE M (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH, FRANCIS J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH, JACK D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH, JAMES F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALSH, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, JEFFREY FRANCIS, JR. (DECEASED)                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

WALSH, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, JOSEPH                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, KENNETH G                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALSH, LAWRENCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, MAURICE T                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALSH, MICHAEL A.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSH, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LEVY KONIGSBERG LLP
800 THIRD AVENUE, FLOOR 11
NEW YORK, NY 10022


WALSH, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, ROSEMARY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                     Nature

WALSH, THOMAS J                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALSH, THOMAS                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSH, WILLIAM J, JR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSKE, DON M                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSKI, LOUIS                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALSTON, JAMIE                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSTON, ROBERT H                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALSTON, TERI                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTER P. GRADY, AS SURVING HEIR OF WALTER R. GRADY, DECEASED                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTER, HOLLY                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTER, IRENE                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALTER, JAMES P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALTER, PETER A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALTER, RONALD J                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALTERS, CAROLINE B.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, CURTIS A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALTERS, DOUGLAS E.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WALTERS, ELMER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALTERS, FLOYD ELLIS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, G SUE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALTERS, GLORIA S, FOR THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF THEODORE E WALTERS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALTERS, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALTERS, JOHN B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, JOHN WITZEL                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WALTERS, JOHNNY L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, KENDELL L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NANCY MILKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALTERS, KENNETH WARREN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, LOYD P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTERS, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALTERS, STEVEN JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


WALTERS, SYLVIA D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTHER, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTON, EARNESTINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTON, HOMER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WALTON, ROYCE & KATHRYN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
208 CR 2415
MT PLEASANT, TX 75455


WALTON, ROYCE & KATHRYN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WALTON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WALTZ, JOHN P                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALTZ, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WALWORTH CO                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13641 DUBLIN CT
STAFFORD, TX 77477




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WALWORTH DBA TWC THE VALVE COMPANY                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13641 DUBLIN CT
STAFFORD, TX 77477


WALZ, KENNETH P., SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WANG, GONGTAO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WANGERIN, LOREN R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WANGERMAN, GEORGE R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WANIGER, EDWARD M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WANT, LELDON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WANTZ, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARD COUNTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
400 S ALLEN, SUITE 101
MONAHANS, TX 79756


WARD, ANGELA CATES                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WARD, BURLIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARD, CHESTER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARD, DAVID I                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARD, DEBORAH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARD, ELLIS STERLING                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WARD, GEORGE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARD, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARD, JON                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WARD, MELVIN L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WARD, MICHAEL A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARD, MILTON GLENN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARD, PRICE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARD, PRISCILLA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH F WARD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARD, TRAVIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARD, WILLIE F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARD, WILLIE FREDERICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WARDLE, NEIL AND KAREN WARDLE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARDLE, NEIL AND KAREN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GORI JULIAN & ASSOCIATES
ATTN: RANDY L GORI
156 N. MAIN ST.
EDWARDSVILLE, IL 62025




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WARDLOW, MICHAEL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARDROP, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WARE, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAREHIME, ROBERT L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARFAB INC & ERECTION CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 390
RTE 2 JOY LANE
HALLSVILLE, TX 75650-0390


WARFAB INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 4409
LONGVIEW, TX 75606-4409


WARNER, BRUCE R. DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WARNER, DONALD, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARNER, RALPH ALLEN (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WARNER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARNICK, VERNON W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARREN MARILYN KATHERINE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4036 FLAD
ST LOUIS, MO 63110


WARREN PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2926 COMMONWEALTH AVE. NE
WARREN, OH 44483


WARREN PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2926 COMMONWEALTH AVE. NE
WARREN, OH 44483


WARREN PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEADER & BERKON LLP
630 THIRD AVENUE
17TH FLOOR
NEW YORK, NY 10017


WARREN PUMPS INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2926 COMMONWEALTH AVE. NE
WARREN, OH 44483


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
BRYAN DENNIS NICHOLSON
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
GREGORY ALAN IKEN
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110


WARREN PUMPS LLC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID WILLIAM YBARRA, ATTORNEY AT LAW
12 WOLF CREEK DR. STE. 100
BELLEVILLE, IL 62226


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FRANKLIN ALBRIGHT POFF , ATTORNEY AT LAW
409 HAZEL STREET
TEXARKANA, AR 71854


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LEADER & BERKON LLP
630 THIRD AVENUE
17TH FLOOR
NEW YORK, NY 10017


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
DAVID A NILLES
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUCHEK NILES & SINARS LLC
JAMES T ROLLINS
55 WEST MONROE STREET, SUITE 700
CHICAGO, IL 60603


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MATUSHEK, NILLES & SINARS, LLC
JOHN MICHAEL PORRETTA
55 WEST MONROE STREET # 700
CHICAGO, IL 60603


WARREN PUMPS LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19801


WARREN PUMPS, LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2926 COMMONWEALTH AVE. NE
WARREN, OH 44483




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WARREN PUMPS, LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
ANITA MARIA KIDD
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS, LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ARMSTRONG TEASDALE
RAYMOND R FOURNIE
7700 FORSYTH BLVD, SUITE 1800
ST LOUIS, MO 63105


WARREN PUMPS, LLC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
155 FEDERAL ST STE 700
BOSTON, MA 02110


WARREN PUMPS LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2926 COMMONWEALTH AVE. NE
WARREN, OH 44483


WARREN, CHERYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, HARLAN LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, HERMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WARREN, JACK E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WARREN, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WARREN, JAMES L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WARREN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WARREN, KARLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, LAURA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUCIUS A WARREN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WARREN, MARILYN K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, NANCY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WARREN, PHILLIP MORRIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, ROBERT LEROY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WARREN, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARREN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WARRICK, PHILLIP E., SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARRINGTON HOMES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 CONCORD DR #100
FORNEY, TX 75126


WARS, LILLA M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARTHEN, PEARLIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WARWICK, WILLIAM CHARLES                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WASENDA, RAYMOND                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WASHBOURNE, MAUDE R, FOR THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF JOHN WASHBOURNE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WASHBURN, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WASHBURN, JOHN G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WASHBURN, SAM L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                           ENERGY FUTURE HOLDINGS CORP., et al.

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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

WASHEIM, BRUCE JAMES                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WASHINGTON COUNTY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADMINISTRATIVE BUILDING
150 ASH AVENUE
AKRON, CO 80720


WASHINGTON GROUP INTERNATIONAL INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 E PARK BLVD
BOISE, ID 83712


WASHINGTON GROUP INTERNATIONAL INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 EAST PARK BOULEVARD
BOISE, ID 83712


WASHINGTON GROUP INTERNATIONAL INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


WASHINGTON GROUP INTERNATIONAL INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
921 S ORCHARD STREET STE G
BOISE, ID 83705


WASHINGTON GROUP INTERNATIONAL INC                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
URS CORPORATION
600 MONTGOMERY STREET, 26TH FLOOR
SAN FRANCISCO, CA 94111-2728


WASHINGTON GROUP INTL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
720 EAST PARK BOULEVARD
BOISE, ID 83712


WASHINGTON GROUP INTL INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAMON & MOREY LLP
N/K/A URS ENERGY & CONSTRUCTION, AVANT
BUILDING, SUITE 1200, 200 DELAWARE AVE
BUFFALO, NY 14202-2150




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                                                                                ENERGY FUTURE HOLDINGS CORP., et al.

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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARD J. HENNESSY, ATTORNEY AT LAW
1018 PRESTON
HOUSTON, TX 77002


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS BEACH, PLLC
100 WALL STREET, 23RD FLOOR
NEW YORK, NY 10005


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HARRIS BEACH, PLLC
N/K/A URS ENERGY & CONSTRUCTION, INC.
100 WALL STREET, 23RD FLOOR
NEW YORK, NY 10005


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MACKENZIE HUGHES LLP
101 SOUTH SALINA STREET, SUITE 600
PO BOX 4967
SYRACUSE, NY 13221-4967


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGOLIS EDELSTEIN
100 CENTURY PARKWAY, SUITE 200
MOUNT LAUREL, NJ 08054


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


WASHINGTON GROUP INTL INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WASHINGTON GROUP INTL
720 EAST PARK BOULEVARD
BOISE, ID 83712


WASHINGTON, BENJAMIN WILLIE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WASHINGTON, CLAYTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WASHINGTON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WASHINGTON, LILLIE M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WASHINGTON, MILDRED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WASHINGTON, ROBERT D                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WASHINGTON, SAMUEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, SANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, SHASHANA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, SYLVESTER                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, TAWANDRA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, VERONICA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, VIVIAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASHINGTON, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WASHINGTON, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WASIAKOWSKI, BERNARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WASILEWSKI, MICHAEL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WASILEWSKI, SUSAN E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASMUND, ROBERT F.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WASMUS, NANCY A, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LEWIS B THOMPSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WASS, STEVE, JR.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WASSIL, FRANK G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WASSILI, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WASTE MANAGEMENT - RMC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2625 W. GRANDVIEW RD. STE. 150
PHOENIX, AZ 85023


WASTE MANAGEMENT INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
65 TOWNSEND ST
BROOKLYN, NY 11222


WASTE MANAGEMENT OF FORT WORTH                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1121 RIVERSIDE DR
FORT WORTH, TX 76111


WASTE MANAGEMENT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SHERMAN HAULING
PO BOX 660345
DALLAS, TX 75266-0345


WASTE OIL COLLECTORS, INC.                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 330
GAUTIER, MS 39553


WASTEWATER SOLUTIONS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
9217 HWY 290 WEST
STE 100
AUSTIN, TX 78736


WATCO COMPANIES, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
315 W. 3RD
PITTSBURG, KS 66762


WATCO MECHANICAL SERVICES                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
39575 TREASURY CENTER
CHICAGO, IL 60694-9500


WATER APPLICATIONS DISTRIBUTION GROUP                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 WATER STREET, SUITE 212
NORTH ANDOVER, MA 01845


WATER APPLICATIONS DISTRIBUTION GROUP                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUNTY & MCCARTHY
SUSAN GUNTY
150 SOUTH WACKER DRIVE, SUITE 1025
CHICAGO, IL 60606




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATER APPLICATIONS DISTRIBUTION GROUP                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GUNTY & MCCARTHY
TIMOTHY D MELFORD
150 SOUTH WACKER DR, DYR 1025
CHICAGO, IL 60606


WATER APPLICATIONS DISTRIBUTION GROUP                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS
CARL PATRICK II MCNULTY
150 SOUTH WACKER DRIVE, SUITE 10
CHICAGO, IL 60606


WATER APPLICATIONS DISTRIBUTION GROUP                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PAUL VAN LYSEBETTENS GUNTY & MCCARTHY
150 S WACKER DR
SUITE 1025
CHICAGO, IL 60606


WATER APPLICATIONS GROUP INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
120 WATER STREET, SUITE 212
NORTH ANDOVER, MA 01845


WATERKEEPER ALLIANCE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EARTH JUSTICE
JAMES SAMUEL PEW
1625 MASSACHUSETTS AVE, NW, SUITE 702
WASHINGTON, DC 20036-2212


WATERS, APRYL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, CHARLES RAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, CLAUDIA D. (HUGHES)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, DOLORES M, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF J. STEPHEN WATERS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATERS, EARL H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WATERS, ESTATE OF ROBERT E                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, HARDWICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATERS, JAMES A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WATERS, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, MALCAR, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATERS, OLLIE MAE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WATERS, RICHARD W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATERS, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

WATERS, WAYNE ERNEST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SIMMONS HANLY CONROY
ONE COURT STREET
ALTON, IL 62002


WATHEN, JOSEPH G                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATHEN, JOSEPH G. & MARGARET                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATHEN, MARK ANTHONY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATHEN, MICHAEL E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATHEN, ROBERT SCOTT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, ALFRED J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, ALFRED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, ALFRED                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATKINS, BRENDA B                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, CALVIN D.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, DANIEL EDWIN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, ELIZABETH                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WATKINS, FRANK E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, JAMES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATKINS, JAMES GILBERT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, JOHNNY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATKINS, KATHLEEN M.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATKINS, MARSHALL (DECEASED)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATKINS, NAPOLEON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WATKINS, ROBERT M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATKINS, RONALD D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WATKINS, RUTH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, SHERRY LYNN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATKINS, TIMOTHY B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATROBA, ROMAN S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WATSCO SALES AND SERVICE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 461
COLORADO CITY, TX 79512


WATSON MCDANIEL COMPANY                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
428 JONES BLVD
POTTSTOWN, PA 19464


WATSON, ADDIS F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WATSON, ALLENE C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, BRENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, BRUCE P.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                       Nature

WATSON, CATRINA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, CHRISTA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, CHRISTOPHER                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, CORTNEY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, DEBRA L.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, DELEON MARCUS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WATSON, E MAURETTE M DAMRON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, EDWARD G.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, EDWARD L                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, FREDERICK E                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WATSON, GARLAND CURTIS                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATSON, GERALDINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATSON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WATSON, L A                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, LAWERANCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, LAWRENCE B                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, LAWRENCE E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATSON, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATSON, MAMMIE R & DAVID H WATSON                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, ROBERT P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATSON, SIDNEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATSON, THOMAS LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATSON, TROY JEROME                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WATT, ALEXANDER M, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATT, LAURETTA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RAYMOND F WATT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATTERS, KURT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATTS WATER TECHNOLOGIES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
815 CHESTNUT STREET
NORTH ANDOVER, MA 01845-6098


WATTS, BERNARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATTS, DALLAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WATTS, JAMES DOUGLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WATTS, JAMES L , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES L WATTS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WATTS, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATTS, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WATTS, SHERRY L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WATTS, WADE H.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WATTS, WESLEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WATTS, WILLIAM L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WATTU, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WAUKESHA PEARCE INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
28425 IH 45 SOUTH
BUFFALO, TX 75831


WAUKESHA-PEARCE INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3106 NORTH HIGHWAY 42
KILGORE, TX 75662


WAUKESHA-PEARCE INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EXCHANGE ACCOUNT
PO BOX 204116
DALLAS, TX 75320-4116




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WAUKESHA-PEARCE INDUSTRIES INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 14684
AUSTIN, TX 78761


WAUKESHA-PEARCE INDUSTRIES                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BOX 35068
HOUSTON, TX 77235


WAUKESHA-PEARCE INDUSTRIES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DAVID G. MCMILLEN
12320 S MAIN
HOUSTON, TX 77035


WAUKESHA-PEARCE INDUSTRIES, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 35068
HOUSTON, TX 77235-5068


WAUSAU INS. CO.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 WESTWOOD DRIVE
WAUSAU, WI 54401


WAUSAU PAPER CORP                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 PAPER PLACE
MOSINEE, WI 54455


WAVELAND WASTEWATER MANAGEMENT DISTRICT                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 265
WAVELAND, MS 39576


WAXAHACHIE ISD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 N. GIBSON ST.
WAXAHACHIE, TX 75165-3051


WAXAHACHIE, CITY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
401 S. ROGERS STREET
WAXAHACHIE, TX 75165


WAXBERG, MARLA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WAY, JAMES                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                        Nature

WAY, LARRY L                                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WAYMAN, ANDREW                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WAYMAN, BRANDON                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAYNE, CASEY A.                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WAYNE, H & PATSY EASLEY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WB SAUNDERS COMPANY                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11830 WESTLINE INDUSTRIAL DRIVE
ST LOUIS, MO 63146-3313


WCR INCORPORATED                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
221 CRANE STREET
DAYTON, OH 45403


WCR                                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2601 W STROOP RD #100
DAYTON, OH 45439-1929


WEARIN, LARRY                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEATHERFORD ~ AEROSPACE, INC. (FORMERLY CHEMICAL DYNAMICS, INC.)                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1020 EAST COLUMBIA STREET
WEATHERFORD, TX 76086


WEATHERFORD INTERNATIONAL LLC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2000 ST. JAMES PLACE
HOUSTON, TX 77056




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                                                                                      Retained Causes of Action

                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

WEATHERFORD U.S., L.P.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
515 POST OAK BLVD, SUITE 600
HOUSTON, TX 77027


WEATHERFORD US, INC.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEATHERFORD INTERNATIONAL, INC.
515 POST OAK BLVD., SUITE 600
HOUSTON, TX 77027


WEATHERFORD, BOBBY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEATHERFORD, SABRINA                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEATHERMAN, BILLY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEATHERMAN, GLENDA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEATHERSBEE, BARBARA J                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEAVER, ADELE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEAVER, ALBERT L--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WEAVER, CORINA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, CROMWELL (DECEASED)                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEAVER, DARRELL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEAVER, EDWINA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVER, ELLEN T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEAVER, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVER, LARRY ELMO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVER, LEROY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVER, LOUIS K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEAVER, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEAVER, MARGARET E, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DENNIS H WEAVER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEAVER, MICHAEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEAVER, MR & MRS PHILLIP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, OLLICE, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVER, PAUL M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WEAVER, PHILLIP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, RALPH WAYNE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEAVER, WESLEY O, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH WEAVER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEAVEXX CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
51 FLEX WAY
YOUNGSVILLE, NC 27596


WEBB, AFFIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBB, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEBB, BLOIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBB, DEBORAH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBB, DONALD M.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEBB, FOSTER--EST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WEBB, FRED LEE DECEASED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WEBB, JEAN R, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES M WEBB SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEBB, JOE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBB, JOHN D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBB, JOIE R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WEBB, RAYMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBB, ROBERT F                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WEBB, SHEILA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBB, TERESA                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEBB, THOMAS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBB, WILLIAM J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBB, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBBER, ARTHUR J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBEN INDUSTRIES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1616 ANSON ROAD
DALLAS, TX 75235


WEBER INDUSTRIES, INC.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MOORE AND PETERSON,
2400 ONE DALLAS CTR.
DALLAS, TX 75201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEBER, ALFRED B.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEBER, EDWIN M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBER, ELMER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEBER, ERNEST                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBER, JAMES A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEBER, JERALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBER, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WEBER, LEWIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBER, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WEBER, RONALD E, SR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEBER, TERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBER, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEBER, WAYNE A.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEBER, WILLIAM J, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEBSITEPULSE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2451 RIVER TREE CIRCLE
SANFORD, FL 32771


WEBSTER, DANIEL MORRIS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEBSTER, DELILAH (NOBLE)                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEBSTER, DELILAH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEBSTER, GRAHAM C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEBSTER, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEBSTER, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WEBSTER, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEBSTER, WALTER C, SR--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WEBSTON, JESSIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WECKWERTH, FLORIAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEDDELL, TROVILLO AND ELEANOR WEDDELL                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEDDLE, FRED                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEDEMEIER, OSCAR, IV                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEDGE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

WEDGWOOD, WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEDWICK, LUVERNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEED, CHESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEED, MICHAEL W                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEED, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEEDEN, LUKAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEEKS, GEORGE D                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WEEKS, LARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEEKS, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEEKS, SHARON C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THOMAS SHIPLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEEMS, CHARLES, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEEMS, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEESIES, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEESNER, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WEGLEIN, DAWN M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM H FLAVIN JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEGNER, WALTER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEHNER, RANDALL A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEHRLE, FREDERICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEIBEL, DEBRA J, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH KEILBACH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEICHE, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEICHERT, ROGER                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WEICK, FRIEDRICH J.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIDEMANN, REUBEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEIDENHAMMER, CHARLES H, JR                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEIDIG, FRANKLIN DELANO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIERBACH, HOWARD I                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEIGEL, RICHARD JAMES                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

WEIGLEIN, JACK                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEIGUM, DONALD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEIHS, JOSEPH A                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEIK, MARVIN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEIKEL, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIL MCLAIN COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 BLAINE STREET
MICHIGAN CITY, IN 46360


WEIL MCLAIN COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORROW WILLNAUER KLOSTERMAN CHURCH, LLC
JAMES CHRISTIAN MORROW
10401 HOLMES STE 300
KANSAS CITY, MO 64131


WEIL MCLAIN COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 BLAINE STREET
MICHIGAN CITY, IN 46360


WEIL MCLAIN COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
999 MCCLINTOCK DRIVE
SUITE 200
BURR RIDGE, IL 60527




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEIL MCLAIN COMPANY INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
MELISSA K FERRELL, PETER STALITZ
100 CONGRESS AVE, SUITE 700
AUSTIN, TX 78701


WEIL MCLAIN COMPANY INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL, MCCAMBRIDGE, SINGER
& MAHONEY, LTD
850 THIRD AVENUE - SUITE 1100
NEW YORK, NY 10022


WEIL PUMP CO INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
N143W5815 PIONEER RD
CEDARBURG, WI 53012


WEILAND, CHESTER AND JUDY WEILAND                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEILAND, CHESTER C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEILAND, EUGENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEILAND, JOHN P, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK E WEILAND
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEILAND, JUDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEILAND, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEIL-MCCLAIN COMPANY, INC.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
500 BLAINE STREET
MICHIGAN CITY, IN 46360




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WEIL-MCCLAIN COMPANY, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
999 MCCLINTOCK DRIVE
BURR RIDGE, IL 60527


WEIL-MCCLAIN COMPANY, INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
999 MCCLINTOCK DRIVE
SUITE 200
BURR RIDGE, IL 60527


WEIMAR, ALFRED F.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEIMER, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEIN BRENNER SHOE COMPANY INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
108 S POLK ST
MERRILL, WI 54452


WEIN, CHARLIE EUGENE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WEINBERG, ADAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEINBERG, JUDITH LORRAINE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEINGARTEN WEATHER CONSULTING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
502 L'ESPRIT PKWY



PENDLETON, KY 40055


WEINGARTEN WEATHER CONSULTING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
502 L'ESPRIT PKWY
PENDLETON, KY 40055




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WEINKOETZ, CLAUDE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEINMAN, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEINSTEIN, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEINSTEIN, JEFFREY B.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIR GROUP INC                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3459 S 700 W
SOUTH SALT LAKE, UT 84119


WEIR SLURRY GROUP INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HERBST & ASSOCIATES
PO BOX 90989
HOUSTON, TX 77290-0989


WEIR VALES & CONTROLS USA INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEITH RUDDOCK, GEN. COUN.
29 OLD RIGHT ROAD
IPSWICH, MA 01938


WEIR VALVES & CONTROLS USA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
29 OLD RIGHT RD
IPSWICH, MA 01938


WEIR VALVES & CONTROLS USA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KEITH RUDDOCK, GEN. COUN.
29 OLD RIGHT ROAD
IPSWICH, MA 01938


WEIR VALVES & CONTROLS USA INC                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEIR VALVES & CONTROLS USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13557
NEWARK, NJ 07188-0557


WEIR VALVES & CONTROLS USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 13557
NEWARK, NJ 07188-0557


WEIR VALVES & CONTROLS USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
NATHAN ASHER LINDSEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


WEIR VALVES & CONTROLS USA INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY & MOORE LLC
VIRGINIA MARY GIOKARIS
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


WEIR, BETTY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIR, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIR, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WEIR, FRANCIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEIR, OTIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEIR, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WEIR, STEPHEN R                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEIRAUCH, RONALD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WEIRICH, STEPHEN L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEISBAUM, HAROLD R, ESQ, PR OF THE                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD C DANZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEISBERG, DENNIS C, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE SIMPKINS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEISE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEISENMILLER, JOAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEISER, JEFFREY M                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEISHAAR, RANDY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WEISS, FREDERICK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEISS, GEORGE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEISS, PAUL H                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEISS, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEISS, TAMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEISS, ZANE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEITZEL, CHARLES E                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEITZEL, LOUISE C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELAGE, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WELCH, DONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELCH, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELCH, FRANK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WELCH, HOWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LIPSITZ & PONTERIO, LLC
135 DELAWARE AVENUE - 5TH FLOOR
BUFFALO, NY 14202


WELCH, LLOYD R.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WELCH, LOUIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELCH, MARK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELCH, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELCHEM,INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4101 WINFIELD RD.
WARRENVILLE, IL 60555




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WELCHMAN, EDWARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WELCHMAN, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1225 OZARK STREET
KANSAS CITY, MO 64116-4313


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTON E STRADER
22 EAST 68TH TERRACE
KANSAS CITY, MO 64116


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1225 OZARK STREET
KANSAS CITY, MO 64116-4313


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1225 OZARK STREET
NORTH KANSAS CITY, MO 64116


WELCO MANUFACTURING COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTON E STRADER
22 EAST 68TH TERRACE
KANSAS CITY, MO 64113


WELCO MANUFACTURING COMPANY                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MILTON R STRADER
22 EAST 68TH TERRACE
KANSAS CITY, MO 64113


WELD COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1402 N. 17TH AVE.
GREELEY, CO 80631




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WELDA, SIDNEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELDEN, ROGER F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WELDON, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELDON, JIMMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELDSTAR COMPANY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1150
AURORA, IL 60507


WELFEL, FREDDIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WELIKSON, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELK, WALTER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELKER, SARAH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WELLCOME, GLENN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELLE, TODD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELLER, WILLIAM TERRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELLINGTON, ELMER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELLINGTON, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELLS FARGO BANK NA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DAVID ALAN PALMER P.C.
141 NORTH MAIN STE 305
SIOUX FALLS, SD 57104


WELLS FARGO BANK NORTHWEST, N.A.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DAVID WALL, VICE PRESIDENT
260 N. CHARLES LINDBERGH DRIVE
MAC: U1240-026
SALT LAKE CITY, UT 84116


WELLS FARGO BANK, NATIONAL ASSOCIATION                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: CAROLINE A. STEAD
6250 RIVER ROAD, SUITE 5000
MAC N2806-050
ROSEMONT, IL 60018


WELLS FARGO CREDIT INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
420 MONTGOMERY STREET
SAN FRANCISCO, CA 94104


WELLS FARGO RAIL CAR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


WELLS ISD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
160 RUSK AVENUE
WELLS, TX 75976




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WELLS, ALBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELLS, ALEXIS, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANCIS WELLS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELLS, ALVIN D, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WELLS, AMOS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELLS, CLIFTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELLS, DEAN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELLS, JAMES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WELLS, JERRY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WELLS, JOHN R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELLS, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELLS, MARGARET A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERBERT RICHARDSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELLS, MARK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


WELLS, PLUMMER M., JR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WELLS, RETHA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WELLS, ROBERT DENNIS, SR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WELLS, ROBERT T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WELLS, STEPHEN LEE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WELLS, TEI STRUTHERS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WELLTEC INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1120 MARKHAM ST
CONWAY, AR 72032


WELL-VAC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 1508
EUNICE, LA 70535


WELNAK, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELSCH, THOMAS A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELSH, BRIAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WELSH, DESSIE E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM WELSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELSH, FREDERIC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WELSH, LELAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WELSH, RICHARD W                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELSH, ROBERT W, JR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WELSH, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WELSS PLASTIC INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1760 13TH S
FLORENCE, OR 97439


WELTY, MILES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WENDEL, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WENDELL R. JACKSON ESTATE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WENDELL R. JACKSON ESTATE, ET AL.                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HEARD ROBINS CLOUD BLACK LLP-HOUSTON
ATTN: IAN PATRICK CLOUD
9 GREENWAY PLAZA, STE 2300
HOUSTON, TX 77046


WENDELL SCROGGINS, SR.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WENDEROTH, OSMUND P , JR, PR OF THE                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF OSMUND P WENDEROTH SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WENDROCK, FRANK DECEASED                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WENHAM, BRIAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERMAN TREMPER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WENNER, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WENTHEN, DOUGLAS C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WENTZ, ALBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WENTZ, JOHN C.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WARD BLACK LAW
208 W WENDOVER AVE
GREENSBORO, NC 27401


WENTZEL, MIRANDA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WENTZELL, CLAYTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WENTZELL, JUDI A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WERETKA, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WERKHEISER, GLENN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WERKHEISER, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WERKHEISER, ROY C.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WERKING, EDWARD J, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER E WERKING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WERLEY, KEN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WERLINE, LISA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WERLINE, ROBERT L, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WERMANN, ALFRED                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WERNER, HOWARD J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WERNER, JANET KAY, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LOUIS F WERNER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WERNER, TERRY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WERNET, JAMES STANLEY DECEASED                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WERNICKE, TIMOTHY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WERNIK, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WERTZ, BARRY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WERTZBAUGHER, ORVILLE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WES TEX GROUNDWATER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: DALE ADAMS, GENERAL MANAGER
100 EAST THIRD STREET, SUITE 305B
SWEETWATER, TX 79556




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WESCH, WALTER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WESCO INTERNATIONAL INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 WEST STATION SQUARE DRIVE, SUITE 700
PITTSBURGH, PA 15219


WESCOTT, TONY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WESNOFSKE, ALBERT F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WESSELL, CHARLES H--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WEST ESSEX ELECTRICAL SUPPLY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
657 BLOOMFIELD AVE
WEST CALDWELL, NJ 07006


WEST VIRGINIA STATE TREASURER'S OFFICE                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
322 70TH ST SE
CHARLESTON, WV 25304-2910


WEST, BOBBY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEST, DONALD D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WEST, DWIGHT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEST, EVERETT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEST, FRANKLIN (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEST, GLADSTONE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEST, GRADY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEST, MELWOOD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEST, PATRICIA, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GERALD HUDSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEST, RONALD T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WEST, ROY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEST, VALERIE & JERRY A. WEST                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WEST, VERNON                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WEST, WESLEY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WEST, WILLIAM T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WESTBERRY SERGENT, VERA S                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WESTBERRY, COLAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTBROOK ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
102 BERTNER
WESTBROOK, TX 79565


WESTBROOK ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 56
WESTBROOK, TX 79565-0056


WESTBROOK, MARLENE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


WESTBROOK, PAUL HOSMER (DECEASED)                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WESTBROOK, ROBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTBROOK, SANDRA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTCARTH, LENA B.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WESTCOTT, BRYAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTCOTT, JESSIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WESTCOTT, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTECH ENGINEERING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3625 SOUTH WEST TEMPLE
SALT LAKE CITY, UT 84115


WESTECH ENGINEERING INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 65068
SALT LAKE CITY, UT 84165-0068


WESTERBEKE CORPORATION                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
150 JOHN HANCOCK RD
TAUNTON, MA 02780


WESTERN AUTO SUPPLY CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
200 WEST ADAMS ST
CHICAGO, IL 60606




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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Name of Counterparty                                                                                          Nature

WESTERN AUTO SUPPLY CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
200 WEST ADAMS STREET
CHICAGO, IL 60606


WESTERN AUTO SUPPLY CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
APRIL ANN VESELY
330 N WABASH STE 3300
CHICAGO, IL 65450


WESTERN AUTO SUPPLY CO                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SWANSON, MARTIN & BELL, LLP
APRIL ANN VESELY
330 N WABASH, SUITE 3300
CHICAGO, IL 65450


WESTERN CHEMICAL & MANUFACTURING COMP.                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MURRIN & ASSOCIATES LLC
3675 MT. DIABLO BLVD., SUITE 230
LAFAYETTE, CA 94549


WESTERN CHEMICAL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
INTERNATIONAL INC
PO BOX 2226
SCOTTSDALE, AZ 85252


WESTERN DATA SYSTEMS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14722 REGNAL ST
HOUSTON, TX 77039


WESTERN ELECTRIC COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDWARDS ANGELL PALMER & DODGE LLP
ONE GIRALDA FARMS
MADISON, NJ 07940


WESTERN ELECTRIC COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PRENTICE HALL CORP SYSTEM INC
33 NORTH LASALLE ST
CHICAGO, IL 60602


WESTERN ELECTRIC COMPANY, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 SKYLINE DR.
DEPT. 472
MESQUITE, TX 75149




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WESTERN ELECTRIC COMPANY, INC.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 185
LOOKOUT MTN, TN 37350


WESTERN FILTER CO INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10702 EAST 11TH STREET
TULSA, OK 74128


WESTERN FILTER CO.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10702 E 11TH ST
TULSA, OK 74128


WESTERN GEOPHYSICAL CO.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1840 CENTURY PARK EAST
LOS ANGELES, CA 90067


WESTERN INDUSTRIAL INSULATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2407 W 2ND ST
ODESSA, TX 79763


WESTERN INSULATION COMPANY                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1015 N. MARKET BLVD, STE 11
SACRAMENTO, CA 95834


WESTERN MARKETING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3302 E SLATON HWY
LUBBOCK, TX 79404


WESTERN MARKETING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 147
ABILENE, TX 79604-0147


WESTERN MARKETING INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 677422
DALLAS, TX 75267-7422


WESTERN OILFIELDS SUPPLY CO                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
D/B/A RAIN FOR RENT
ATTN: CREDIT DEPARTMENT
5101 OFFICE PARK DR SUITE 100
BAKERSFIELD, CA 93309


WESTERN SPECIALTY COATINGS CO.                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 5456
MIDLAND, TX 79704




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WESTERN TEXAS COLLEGE DIST.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WESTERN TEXAS COLLEGE
6200 COLLEGE AVENUE
SNYDER, TX 79549


WESTERN UNION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE LAKE STREET
UPPER SADDLE RIVER, NJ 07458


WESTERN AUTO SUPPLY CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL REGISTERED AGENTS INC
200 WEST ADAMS ST
CHICAGO, IL 60606


WESTFALL, GLENN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WESTFALL, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTFALL, SARA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WESTFIELD PLUMBING & HEATING                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
526 NORTH AVENUE EAST
WESTFIELD, NJ 07090


WESTFIRE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10709 PLANO RD STE 100
DALLAS, TX 75238


WESTFIRE INC                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1125 E COLLINS BLVD STE 100
RICHARDSON, TX 75081-7218


WESTGATE COMPLEX LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WESTGATE PARK APARTMENTS
3007 ANTELOPE TRAIL
TEMPLE, TX 76504




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Name of Counterparty                                                                                          Nature

WESTGATE, WALTER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTHOFF, WESLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WESTINGHOUSE AIR BRAKE COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 AIR BRAKE AVENUE
WILMERDING, PA 15148


WESTINGHOUSE AIR BRAKE TECHNOLOGY                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1001 AIR BRAKE AVENUE
WILMERDING, PA 15148


WESTINGHOUSE ELECTRIC CO LLC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 534774
ATLANTA, GA 30353-4774


WESTINGHOUSE ELECTRIC COMPANY LLC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COHEN & GRIGSBY, P.C.
ATTN: WILLIAM E. KELLEHER, JR.
625 LIBERTY AVE
PITTSBURGH, PA 15222-3152


WESTINGHOUSE ELECTRIC CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2516 RTE 35
MANASQUAN, NJ 08736


WESTINGHOUSE ELECTRIC CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MEHAFFY WEBER PC
KEITH WILLIAM FOLEY
2615 CALDER AVE, STE. 800
BEAUMONT, TX 77704-0016


WESTINGHOUSE ELECTRIC CORP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEDGWICK, DETERT, MORAN & ARNOLD LLP
THREE GATEWAY CENTER - 12TH FLOOR
NEWARK, NJ 07102


WESTINGHOUSE ELECTRIC CORP.                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SAMUEL PITTS, VP
11 STANWIX ST.
PITTSBURGH, PA 15222




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WESTINGHOUSE ELECTRIC CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 WESTINGHOUSE DR
CRANBERRY TOWNSHIP, PA 16066


WESTINGHOUSE ELECTRIC CORPORATION                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MICRO SYSTEMS, INC.
1860 CROWNE DRIVE, SUITE 1410
DALLAS, TX 75234


WESTINGHOUSE MOTOR CO.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TECO-WESTINGHOUSE MOTOR CO.
5100 N IH 35
ROUND ROCK, TX 78681


WESTLAKE, CRAIG                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WESTMAN, ORICK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTMORELAD, BARBERA JEAN                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTMORELAND, BENNY HARL                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WESTON, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTON, SHUNTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTON, STANLEY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WESTON, TAMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTOVER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTOVER, JOAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WESTPHAL, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTRICK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WESTSHORE PIPELINE COMPANY                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3400 BADGER RD
ARLINGTON HEIGHTS, IL 60005


WESTVACO                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
299 PARK AVENUE
NEW YORK, NY 10171


WESTWOOD ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 260
WESTWOOD BUSINESS OFFICE, 4524 WEST OAK
PALESTINE, TX 75802


WESTWOOD RESIDENTIAL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SCOTLAND YARD APARTMENTS
2250 HOLLY HALL
HOUSTON, TX 77054


WETLESEN, STEVEN R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759




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Name of Counterparty                                                                                            Nature

WETTENGEL, JACK A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WETZEL, DAVID                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WETZEL, MARY ELLEN, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT WETZEL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WETZEL, ROSS FBO ROBERT WETZEL                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEYANDT, DAVID                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEYANDT, MARK                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEYANDT, MARTHA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEYANDT, MATTHEW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WEYBURN, JOHN WALTER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WEYBURN, LINDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WEYDIG, CHARLES A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEYER HAEUSER COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDY D. MCDADE, SVP & GEN. COUN.
33663 WEYEHAEUSER WAY SOUTH
FEDERAL WAY, WA 98003


WEYER HAEUSER COMPANY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SANDY D. MCDADE, SVP & GEN. COUN.
33663 WEYERHAEUSER WY SOUTH
FEDERAL WAY, WA 98003


WEYER, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 WEST MAIN
JEFFERSON CITY, MO 65102


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
33663 WEYERHAUSER WAY
S FEDERAL WAY, WA 98863


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
600 WEST MAIN
JEFFERSON CITY, MO 65102


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AJ BRONSKY BROWN & JAMES P.C.
AGOTA PETERFY
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WEYERHAEUSER NR COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: ALEXIS MCDONALD
PO BOX 9777
FEDERAL WAY, WA 98063


WEYERHAEUSER NR COMPANY                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 843568
DALLAS, TX 75284-3568


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
33663 WEYERHAUSER WAY
S FEDERAL WAY, WA 98863


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HEPLER BROOM LLC
ALBERT J BRONSKY JR
800 MARKET STREET, SUITE 1100
ST LOUIS, MO 63101


WEYERHAEUSER COMPANY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9777
FEDERAL WAY, WA 90863


WEYNAND, GLEN D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WEYSHAM, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WEZYK, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHALEN, MICHAEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHALEN, ROBERT JOSEPH (DECEASED)                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WHALEN, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHALEY, DAVID F                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WHALEY, WALTER WOOTEN, JR.                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WHAM-O INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6301 OWENSMOUTH AVE., SUITE 700
WOODLAND HILLS, CA 91367


WHARTON, MICHAEL L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WHARTON, PAUL R , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL WHARTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHARTON, STEVEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHATMAN, LAWRENCE E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHEAT, BOBBY J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHEAT, EDWIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEATCROFT, JOHN DAVID                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WHEATLEY, BRUCE D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHEELER, CAROL DIANA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHEELER, CHRISTOPHER                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHEELER, CYRUS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEELER, DENNIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHEELER, DWIGHT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEELER, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEELER, JOSEPH KERMIT, SR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WHEELER, JULIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHEELER, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEELER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHEELER, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHEELER, SHIRLEY A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF THEODORE E WHEELER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHEELER, TIMOTHY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WHEELIS, DAVID L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHEELOCK, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHELPLEY, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WHERLEY, DALLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHETSTONE, VOURA A, FOR THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF GEORGE F WHETSTONE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHEWELL, LEON A--EST                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WHIDDEN, ROY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHIDDON, EVALENE F                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHIDDON, THOMAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHIP MIX CORPORATION                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
361 FARMINGTON AVE
PO BOX 17183
LOUISVILLE, KY 40217


WHIPPEN, HAROLD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WHIPPEN, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHIPPO, ROXAN, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD WHIPPO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHIRL POOL CORP                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WHIRPOOL CORPORATION
KRISTEN HEWITT, SVP OF CORPORATE AFFAIRS
& GEN. COUN. 2000 N. M-63
BENTON HARBOR, MI 49022-2692


WHISONANT, GARFIELD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHISONANT, JOHN STEPHEN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WHISPERING PINES APARTMENTS LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
620 N TRADEWINDS PKWY STE A
COLUMBIA, MO 65201


WHITAKER, ARCHIE MAE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WHITAKER, BERNARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITAKER, SUSZANN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITAKER, WILLIE JOE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                          Nature

WHITE CHEMICAL INTERNATIONAL                                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1021 MAIN STREET #1150
HOUSTON, TX 77002


WHITE CONSOLIDATED INDUSTRIES                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11760 BEREA ROAD
CLEVELAND, OH 44111


WHITE CRANE COMPANY INC                                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3414 AUGUSTA RD
WEST COLUMBIA, SC 29160


WHITE ELECTRICAL CONTRACTORS INC                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1730 CHATTAHOOCHEE AVENUE, NW
ATLANTA, GA 30318


WHITE OAK RADIATOR SERVICE INC.                                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P.O. BOX 606
WHITE OAK, TX 75693


WHITE SEPTIC TANK CO.                                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
11465 HARRY HINES
DALLAS, TX 75229


WHITE STALLION ENERGY CENTER, LLC                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VINSON & ELKINS LLP
ERIC A. GROTEN
2801 VIA FORTUNA, SUITE 100
AUSTIN, TX 78746-7568


WHITE STALLION ENERGY CENTER, LLC                                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
VINSON & ELKINS LLP
JEREMY C. MARWELL,
2200 PENNSYLVANIA AVE, NW, STE 500 WEST
WASHINGTON, DC 20037-1701


WHITE STALLION ENERGY CENTER, LLC, ET AL. V. UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


WHITE, AMELIA                                                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, AMY BATIE                                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WHITE, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WHITE, ARDELIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHITE, BERTRAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHITE, BILLY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, BURYL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, CECIL ROBERT IV                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, CHARLES E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHITE, CHARLES N, III                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITE, CIRCIL ROBERT V                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WHITE, DARRELL R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, DARRELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, DELMAS L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHITE, DONALD M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, EARL, JR.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WHITE, EDWIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WHITE, ERCEL M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHITE, FRANCIS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, FREDDIE LEON, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHITE, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITE, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, IRVING                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, JACK                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, JIMMY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, JOHN B                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, JOHN B.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, JOHN J--EST                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WHITE, JOHN L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WHITE, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, JOSEPH M                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITE, JOY FENTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, JOY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, JOY                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, JUDITH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, KENNETH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, KERVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WHITE, KRIS                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WHITE, LARRY D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHITE, LORIE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, LORRETTA V                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, MAJOR                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITE, MARION                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, MARK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, MARTHA GAIL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, MARYLAND                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, MEADOW GRACE ASHTON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, MICHAEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, NORMA LEE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHITE, NORMAN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, PAMELA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


WHITE, PARKER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, RANDY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, ROSBY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, ROSCOE, JR.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WHITE, RUSSELL H, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITE, SAMMY G                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHITE, STEPHEN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, THOMAS EDWARD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WHITE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, VERYLAND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITE, VIRGIL L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHITE, W.R.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITE, WAYNE A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WHITE, WILLIAM                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITECOTTON, WILLIAM                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WHITED, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITEHEAD, BOBBY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITEHEAD, CHARLES M., JR.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WHITEHEAD, JAMES DOUGLAS                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WHITEHEAD, SAMUEL T                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITEHEAD, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITEHOUSE ISD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
106 WILDCAT DRIVE
WHITEHOUSE, TX 75791


WHITEHOUSE, CITY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
101 A BASCOM RD.
WHITEHOUSE, TX 75791


WHITEHURST, LEE M                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITEHURST, MARGERY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WHITELEY, LARRY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITELY, LLOYD D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITEMAN, HOWARD DALE, III                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITEMAN, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHITESEL, KEVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITESELL, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WHITESIDE, AIDEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITESIDE, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITESIDE, SYLVIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITESIDE, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITFIELD, ALICE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WHITFIELD, JAMES C.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WHITFIELD, LONNIE J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WHITFIELD, SHIRLEY M, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DELMAR R WHITFIELD
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITING CORPORATION                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26000 S WHITING WAY
MONEE, IL 60449


WHITLEY, HARRY G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITLEY, MELVIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITLOCK, DAVID T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITLOW, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITMAN, CLYDE G                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

WHITMAN, PERRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITMIRE, ELMER LLOYD, JR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WHITMIRE, ROYCE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITMIRE, ROYCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITNER, ROBERT L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITNER, ROBERT LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITNEY AUTOMOTIVE GROUP INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
225 NORTH MICHIGAN AVE., STE. 1000
CHICAGO, IL 60601


WHITNEY HOLDING CORP                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
STEPHEN N ELLIOT, BERNARD, CASSISA,
ELLIOTT & DAVIS, APLC, THREE LAKEWAY
CENTER, 3838 N. CAUSEWAY BLVD., STE 3050
METAIRIE, LA 70002


WHITNEY SMITH CO                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
301 COMMERCE ST STE 1950
FORT WORTH, TX 76102


WHITNEY, DALE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITSELL, PAMELA J.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WHITSEY, CHERRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITSEY, LEE V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITSITT, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITSITT, MARLAINA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, ANTHONY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, IVAN C                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, JD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, LLOYD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, MELISSA G.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, MELISSA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, MICHAEL L, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER WHITT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WHITT, SHIRLENE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHITT, STONEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WHITTAKER CLARK & DANIELS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1000 COOLIDGE ST
SOUTH PLAINFIELD, NJ 07080-3805


WHITTAKER CLARK & DANIELS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN ST., SUITE 1300
DALLAS, TX 75201-3008


WHITTAKER CLARK & DANIELS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
TODD D. OGDEN
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


WHITTAKER CLARK & DANIELS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 40 PATTERSON STREET
PO BOX 480
NEW BRUNSWICK, NJ 08901


WHITTAKER CLARK & DANIELS INC                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 48 WALL STREET
SUITE 1100
NEW YORK, NY 10005


WHITTAKER, ARTHUR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WHITTAKER, BRUCE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WHYNE, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WHYTE, EAMONN M--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WICEVIC, LAWRENCE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WICHITA COUNTY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WICHITA COUNTY COURTHOUSE
900 7TH STREET
WICHITA FALLS, TX 76301


WICHITA FALLS ISD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1104 BROAD STREET
WICHITA FALLS, TX 76301


WICHITA FALLS, CITY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1300 7TH STREET
WICHITA FALLS, TX 76307-7531


WICHMANN, JEFFREY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WICHMANN, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WICK, JOHN                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


WICK, JOYCE L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WICK, TIMOTHY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WICKER, CARMEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202




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Name of Counterparty                                                                                          Nature

WICKER, CARY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WICKER, HUGH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WICKER, LINDA KAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WICKER, PHYLLIS A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WICKER, RALPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WICKER, ROBERT D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WICKERD, OLIVER H, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WICKETT, VAUGHN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WICKS, TAMMIE DAWN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WICKSON, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIDENER, DONNA L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIEBKING, RUSSELL A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIECZOREK, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIEDENBECK, ANTHONY E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WIEDENMANN, JEFFREY DAVID                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIEDERHOLD, ALFRED                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIEDERHOLD, DWANE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WIEDERHOLD, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WIEGAND, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIEMELS, GEORGE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WIER, JIMMY MILLER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WIERINGA, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIERSEMA, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIERSMA, BERT J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WIERZBICKI, PATRICIA, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRANK PICCIOTTO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIESE, JOSEPH J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WIGENT, JACK L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WIGGINS, GLENWOOD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIGGINS, WILLIE L, JR--EST                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


WIGGS, BRETT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIGHTMAN, GEORGE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIGTON, VALERIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIGTON, W. MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIKE, JOAN, PR OF THE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD W BLANKENMEYER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILBER, BONNIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILBER, TERRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                           Nature

WILBUR, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILBUR, HERBERT T.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WILBURN, CONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILCHER, TED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILCOX, DEWITT B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WILCOX, DONALD L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILCOX, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILCOX, LARY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILCOX, LEROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WILCOX, MARIE C, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HERMAN P WILCOX
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILCOX, WENDELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILCOXEN, RHONDA L, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM G WILCOXEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILD, GLORIA B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILDCAT CRANES INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5916 ED COADY RD
FORT WORTH, TX 76134


WILDE, JOHN W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WILDE, KAREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, ARTHUR, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, BOBBY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILDER, C                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILDER, DELBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILDER, DONALD H. AND ELOSIA R. WILDER                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, ELAINE P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD R WILDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILDER, ELMER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILDER, J W                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, PEGGY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, ROBERT S, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDER, ROY E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILDERSON, RANDALL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDGEN, PATRICIA, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL H WILDGEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILDONER, ROBERT CARLAND                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WILDRICK, THOMAS A.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDRICK, THOMAS, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILDWOOD BRANCH TOWNHOMES LP                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA WILDWOOD BRANCH
6225 SHADY OAKS MANOR DR
FORT WORTH, TX 76135


WILES, DEAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILEY SANDERS TANK LINES INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 SANDERS ROAD
TROY, AL 36079


WILEY, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILEY, WILTON M.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILFER, JOHN V                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILFORD ANDERSON ESTATE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILHELM, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILHELM, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILHITE, DANNY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILHITE, GEORGE & LILLIAN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILHITE, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILHITE, WILBUR ERNEST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILHOIT, JOEL R                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WILHOIT, VICKIE DYE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WALTER RUTTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILHOLT, KENNETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILKENING, MIKE B                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILKENS, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILKERSON, DARRELL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, ELIZABETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, HEIDI                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, IRENE S.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, JOHN L, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILKERSON, JOHNNY L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, LAKETRA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKERSON, WALTER AND SALLY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKES, DONALD ROGER                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILKES, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKIE, WILLIAM R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILKINS, DANIEL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILKINS, FRANCES A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WILKINS, JOHN E, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILKINS, PERSHING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKINS, ROBERT ALLAN, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE WILKINS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILKINSON, CORREATTA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKINSON, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKINSON, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILKINSON, HOBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILKINSON, JAMES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILKINSON, JERRY D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746




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                                                                                 Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                                                      Nature

WILKINSON, PATRICIA J, PR OF THE                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN P WILKINSON III
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILKINSON, PAUL                                                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILL, DENNIS G                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLA MAYE SHEPHERD AS SPECIAL ADMINISTRATOR FOR THE ESTATE OF THOMAS SHEPHERD                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SMWK LAW, LLC
ATTN BAILEY PEAVY BAILEY
440 LOUISIANA, STE 2100
HOUSTON, TX 77002


WILLA MAYE SHEPHERD AS SPECIAL ADMINISTRATOR FOR THE ESTATE OF THOMAS SHEPHERD                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SMWK LAW, LLC
ATTN BENJAMIN R. SCHMICKLE
701 MARKET ST, SUITE 1575
ST LOUIS, MO 63101


WILLADSEN, CARY L                                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLARD, GEORGE J                                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLARD, KEN                                                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLARD, TERRY                                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLETTE, PATRICK                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAM, RICKY D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMMEE, ROBERT S, JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS FURNACE CO                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 W LAUREL ST
COLTON, CA 92324


WILLIAMS JANITORIAL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 217
HOBBS, NM 88241


WILLIAMS PATENT CRUSHER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& PULVERIZER CO INC
813 MONTGOMERY
ST LOUIS, MO 63102


WILLIAMS PATENT CRUSHER                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
& PULVERIZER COMPANY
PO BOX 842039
KANSAS CITY, MO 64184-2039


WILLIAMS PRODUCTS INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1750 MAPLELAWN BLVD
TROY, MI 48084-4604


WILLIAMS SCOTSMAN INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 91975
CHICAGO, IL 60693


WILLIAMS SCOTSMAN INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: KRISTIE REYES
901 S. BOND ST.
SUITE 600
BALTIMORE, MD 21231




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, ANDREW R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, ANN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, AUGUSTUS J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLIAMS, BARBARA A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, BARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, BILLY G.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WILLIAMS, CALVIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, CARL E                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WILLIAMS, CARL F, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CARLOS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WILLIAMS, CAROLYN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CARRIE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, CECIL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CHANDRA                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CHARLES EDWARD                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CHARLES S.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CHESTER A                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WILLIAMS, CHRISTY ANN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, COLES J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLIAMS, CORA BELL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, CRYSTAL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, CYNTHIA G.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DANIEL A, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DOUGLAS C WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, DANIEL C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DANNY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DARLENE F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DAVID WAYNE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DAVID                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, DONALD G.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WILLIAMS, DONALD R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WILLIAMS, DONNA K                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DONNA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, DUANE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, EDDIE DEAN                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, EDWARD P.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WILLIAMS, ELENORA DUBOSE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, ELIZABETH V                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, ELMER C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, ELNORA D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ELSIE IRENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, ELWOOD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, EMMA JANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ESAW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NO ADDRESS PROVIDED


WILLIAMS, ESTHER, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LLOYD WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, EUGENE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, FAITE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, FERNANDO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, FLOYD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, FRANK STAFFORD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, FRANK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, FRANKIE NEAL                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                  Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                       Nature

WILLIAMS, GARY KEITH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, GEORGE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, GERALD                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, GREENVILLE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, GWENDOLYN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, HAYNSWORTH                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, HOWARD ZEBULON                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, ISAIAH, JR                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JACKIE J                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JAMES D                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, JAMES E.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JAMES EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WILLIAMS, JAMES EDWARD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, JAMES J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLIAMS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, JEANETTE B.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JEFFREY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JESSIE MARVIN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILLIAMS, JEWELL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WILLIAMS, JIMMIE DEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILLIAMS, JIMMIE DEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILLIAMS, JIMMIE L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILLIAMS, JIMMY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMS, JOE E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILLIAMS, JOHN A., JR.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JOHN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, JORDAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, JOYCE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LINDBERG WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, JULE A.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, JUSTIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, KATHY GRANT                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, KEITH R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, KEITH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, KENNETH                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, LARRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, LEROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, LISA F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, LISA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE AND GRAHAM, P.A.
ATTN: WILLIAM M. GRAHAM
525 NORTH MAIN STREET
SALISBURY, NC 28144


WILLIAMS, LLOYD (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, LORETTA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, LOUIS S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MARGARET ANN, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CLIFFORD L WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MARGARET K, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE FOSTER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MARGIE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF BILL WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, MARIANNE I                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, MARILYN MARIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, MARTHA, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE P WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MARTINUS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, MARY M, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF FRED MONTREE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MARY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, MICHAEL L                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, MICHAEL L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


WILLIAMS, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, MICHAEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WILLIAMS, NANCY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, NEWTON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, NICHOLAS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, OSCAR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, PAUL D                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WILLIAMS, PAULA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, PAULA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, PHELEMON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, PHYLLIS, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RONALD WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, RICHARD A                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, RICKIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROBER DWAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, ROBERT C, SR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, ROBERT EARL, INDIVIDUALLY & AS                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROBERT L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WILLIAMS, ROBERT LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WILLIAMS, ROLAND FREDRICK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RONALD DUANE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RONALD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157
P.O. BOX 959
EDWARDSVILLE, IL 62025


WILLIAMS, RONNIE ALLLAN                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILLIAMS, RONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RONNIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROSE ANN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROSEMARY E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, ROSIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, ROWLAND LEE, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROWLAND WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMS, ROY LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, RUBY JEAN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, SHEILA W.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, SHENATTA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, STAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, STEPHEN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, STEVE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, SUSIE B, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIE WILLIAMS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, TERESA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, THELMA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, THOMAS H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIAMS, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, TOM ELLA                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

WILLIAMS, TOMMY GENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, TROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, TROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, TROY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, TYRONE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, WALTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, WAYNE L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, WENDELL WOODROW                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, WILBERT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMS, WILLIAM                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMS, WILLIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILLIAMSEN, LAWRENCE PETER                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLIAMSON COUNTY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
405 MARTIN LUTHER KING ST
GEORGETOWN, TX 78626-4901


WILLIAMSON, AUGUST GENE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMSON, BOBBY D                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILLIAMSON, CHARLES M                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILLIAMSON, ELDON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMSON, JEANA LADELLE BRANSON                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIAMSON, JR., VERNON                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMSON, MARCIA L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A., ESTATE OF HERMAN D WILLIAMSON
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


WILLIAMSON, ROGER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIAMSON, STUART                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIAMSON, WILLIAM H                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WILLIAMSON, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIE, RAYMOND                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIFORD, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIFORD, WALLACE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLING, MICHAEL DAVID                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLINGHAM, TAMARAH, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL F WILLINGHAM
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIS JR, PERCY JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLIS, BRENDA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, CATHY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, CHARLES S                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, DIANA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, EDWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLIS, GEORGE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, KIYANA T, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JESSIE LOWTHER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLIS, ROBERT D.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WILLIS, SCOTT K.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIS, TROY JUNIOR                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLIX, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILLMAN, JOHN J , JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLOUGHBY, FREDERICK                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLOUGHBY, JAMES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLOUGHBY, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICE OF G. PATTERSON KEAHEY PC
ONE INDEPENDENCE PLAZA, SUITE 612
BIRMINGHAM, AL 35209


WILLOUGHBY, THEODORE C, JR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILLOUGHBY, WILLARD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLOUR, BRADLEY DANE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLOUR, BRENDA KAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLRICH, ROBERT L., ET AL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206


WILLS POINT ISD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
338 W. NORTH COMMERCE
WILLS POINT, TX 75169




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILLS, CHARLES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLS, FRED G                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILLS, HOWARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLS, ROBERT                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILLSON, NORMAN EDGARDO GALAZ                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILMAR AUTO REPAIR INC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6131 W DICKENS AVE
CHICAGO, IL 60639


WILMER CUTLER PICKERING HALE & DORR LLP                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
(COUNSEL TO CSC TRUST COMPANY OF DELAWARE)
ATTN P. ANKER, C. PLATT, D. JENKINS & G. SHUSTER
7 WORLD TRADE DENTER
250 GREENWICH ST
NEW YORK, NY 10007


WILMER FORREST TRIMBLE JR                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3615 SHELDON
PEARLAND, TX 77584


WILMES, STANLEY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILMOT, ROXANN, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT W BECK JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIL-RON MANUFACTURING CORP.                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3901 N. EXPRESSWAY 77
HARLINGEN, TX 78550


WILSBACH, JACOB J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON & CO INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4900 LANG AVE. NE
ALBUQUERQUE, NM 87109


WILSON COMPANY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9100
ADDISON, TX 75001


WILSON ENGRAVING CO.,INC.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ROBERT THOMPSON,SR. VP
1702 S. CENTRAL EXPWY.
DALLAS, TX 75215


WILSON ENGRAVING COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1702 S. CENTRAL EXPRESSWAY
DALLAS, TX 75215


WILSON ENGRAVING COMPANY, INC.                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1411 CHATTAHOOCHEE AVE NW
ATLANTA, GA 30318


WILSON FIRE EQUIPMENT & SERVICE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7303 EMPIRE CENTRAL DR
HOUSTON, TX 77040


WILSON HERNANDEZ, GABRIELA                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WILSON MOHR INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12610 W AIRPORT BLVD STE 100
SUGAR LAND, TX 77478


WILSON SUPPLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2561 MERRELL RD
DALLAS, TX 75229


WILSON SUPPLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4102 HWY 21 EAST
BRYAN, TX 77808


WILSON SUPPLY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 200822
DALLAS, TX 75320-0822


WILSON                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
411 S EASTMAN RD
LONGVIEW, TX 75602


WILSON                                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, AMBER                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, ANGELA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, ANNA S                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, ANNA S, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, ANNE M, FOR THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF WILLIAM R WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

WILSON, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, BOBBIE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, BUDDY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, CARL T                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, CARLA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, CHRISTINA MARIE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, CLAUDE (DECEASED)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, CLEMMIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILSON, CLYDE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILSON, DANIEL EVERETT, SR. (DECEASED)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WILSON, DANIEL P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILSON, DAVID WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILSON, DAVID                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILSON, DEBRA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILSON, DIANNA L.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O COOPER HART LEGGIERO & WHITEHEAD
(FORMERLY THE DAVID LAW FIRM)
2202 TIMBERLOCH PLACE, SUITE 200
THE WOODLANDS, TX 77380


WILSON, DONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, EARL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WILSON, ELBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, ELIZABETH O                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILSON, EULESS BARRY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WILSON, FRANCES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, FREDDIE L, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, GERALD D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WILSON, GLORIA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF VIRGIL LAMPLEY
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


WILSON, HARRY LEE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILSON, HOWARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, HOWARD, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, HUTCH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, JACK N, SR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, JAMES D                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WILSON, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, JANET, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SAMUEL G WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, JENNIFER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, JERI, FKA JERI LEWIS                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, JOHN WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

WILSON, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, JOSEPH SCOTT                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, JUSTIN REED                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, KENNETH JASON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, KEVIN J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, KIMBERLY ANN                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, LARRY J                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, LARRY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, LEROY G                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WILSON, LEVERN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, LORINE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, LOUIS LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, LUCILLE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LUCY M WRIGHT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, MACK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, MARVIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, NORRIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, NOV                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, PATRICIA A, FOR THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF WILLIAM S WILSON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, PATRICIA KAY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, PATRICK W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WILSON, REBECCA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, RHODNEY H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WILSON, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, ROBIN LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, RONALD WAYNE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, SANDY E.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WILSON, SHERMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


WILSON, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WILSON, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, VANN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, VIRGINIA PARISH                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, WAYNE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSON, WILLIAM A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, WILLIAM E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WILSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WILSON, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WILSONART INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2400 WILSON PLACE
PO BOX 6110
TEMPLE, TX 76503-6110




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Name of Counterparty                                                                                            Nature

WILSONART INTERNATIONAL INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


WILSON-HOLLINS, GLADYS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WILTON, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIMBERLEY, CHARLES E                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIMBISH, EDWARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WIMER, JOHN D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUSSELL E KISSINGER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIMMER, HELEN R, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES L WIMMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIMP, LARRY A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WIMPLING, VERA R, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM A WIMPLING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WINBURY, FRANK C                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WINCH, HOWARD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINCHESTER INDUSTRIES INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 917
WINSTED, CT 06098-0917


WINCHESTER, KENNETH E                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WINCHESTER, ROBERT S                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDER, HARVEY AND ELDA WINDER                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINDER, IRENE B, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MARION WINDER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WINDHAM MANUFACTURING CO INC                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8520 FORNEY RD
DALLAS, TX 75227


WINDHAM MANUFACTURING COMPANY INC                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8520 FORNEY RD
DALLAS, TX 75227-4515


WINDHAM, BRENDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDHAM, JOHNNY LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WINDHAM, STEPHEN MARK                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WINDHAM, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDHORST, DERWOOD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINDISCH, KIMBERLY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDLE, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WINDSOR PLANTATION LP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA CLAIRBORNE APARTMENTS
12721 METCALF AVE STE 200
OVERLAND PARK, KS 66213


WINDSOR, ELBERT L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WINDSOR, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDSOR, PAUL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINDSTREAM COMMUNICATIONS                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BANK OF AMERICA NA - CABS
PO BOX 60549
ST LOUIS, MO 63160-0549




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WINDSTREAM                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 9001908
LOUISVILLE, KY 40290-1908


WINEBRAKE, THEODORE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINEBRENNER, SHARON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WINER, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINES, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINES, RUFUS P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WINFIELD ISD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
113 SCHOOL ST
WINFIELD, TX 75493


WINFIELD, CITY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1 TITUS COUNTY
WINFIELD, TX 75493


WINGATE, CARRIE LEE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINGATE, PHILIP FREDERICK                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WINGER, MIKE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINGERSON, JEFFERY B                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINK, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINKELMAN, MELVIN H                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WINKLE JR., DONALD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINKLE, HAROLD VAN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINKLER INC                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
535 E MEDCALF ST
DALE, IN 47523


WINKLER, CARL E, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LENA A WINKLER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WINKLER, EGBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINKLER, JOYCE A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WINKLER, MAX                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINKLER, RAY LAMAR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WINN, NANCY LOUISE (DENNIS)                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINNEBAGO INDUSTRIES INC                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 152
FOREST CITY, IA 50436


WINNIER, MARGO L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINONA INDEPENDENT SCHOOL DISTRICT                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LINEBARGER GOGGAN BLAIR & SAMPSON LLP
1517 W. FRONT STREET, STE. 202
PO BOX 2032
TYLER, TX 75710


WINONICS INC.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
4663 GUASTI RD.
ONTARIO, CA 91761


WINSLOW, LIONEL W                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINSTEAD, JOHN H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WINSTON REFINING                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


WINSTON, FELIX                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WINSTON, JULIAN W.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINSTON, LISA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WINTER, GEORGE CHARLES, JR. (DECEASED)                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WINTER, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WINTERS, CHARLES W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WINTERS, MARY-SHANNON                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WINTERSTEIN, ELAINE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF AUGUST C WINTERSTEIN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WIRE ROPE INDUSTRIES LTD                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5501 TRANS-CANADA HWY
POINTE-CLAIRE, QC H9R 1B7
CANADA

WIRE ROPE INDUSTRIES LTD.                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5501 TRANS-CANADA HIGHWAY
POINTE CLAIRE, QC H9R 1B7
CANADA

WIREMAN, CLAUDE E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIREROPE WORKS INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
100 MAYNARD ST
WILLIAMSPORT, PA 17701




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Name of Counterparty                                                                                            Nature

WIRTH, LINDA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIRTH, MARTIN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WIRTH, ROBERT                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIRTZ, MARY P, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON WIRTZ
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WISCONSIN ELECTRIC POWER COMPANY                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
231 WEST MICHIGAN ST.
MILWAUKEE, WI 53203


WISCONSIN MOTORS LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2021 MACARTHUR ROAD
WAUKESHA, WI 53188-5647


WISCONSIN PAPER GROUP INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
634 MUTTART ROAD
PO BOX 746
NEENAH, WI 54957-0746


WISCONSIN PUBLIC SERVICE CORP                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 19003
GREEN BAY, WI 54307-9003


WISCONSIN WELLS MANUFACTURING                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
26 S BROOKE ST
FOND DU LAC, WI 54935


WISDOM, HAROLD, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WISE COUNTY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 359
200 N. TRINITY
DECATUR, TX 76234


WISE, CARL                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WISE, MICHAEL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WISE, PATRICIA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WARREN E SEARS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WISE, WILLIAM                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WISENER, KATHY LNN                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WISHOP, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WISLOTSKY, THOMAS A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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Name of Counterparty                                                                                            Nature

WISNER, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WISNER, RYAN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WISNESKI, HENRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WISSEL, ALBERT C , JR, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ALBERT WISSEL SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WISTRAND, RICHARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITCHER, BOBBY R                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITCHER, MARTHA B                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITCO CHEMICAL CO.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ONE AMERICAN LANE
GREENWICH, CT 06831


WITCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
520 MADISON AVE.
NEW YORK, NY 10022


WITCO CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
EDGAR J. SMITH,JR., VP
ONE AMERICAN LANE
GREENWICH, CT 06831-2559




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Name of Counterparty                                                                                            Nature

WITENBARGER, HOWELL K                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WITHERELL, ROBERT                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITHROW, JESSE H                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WITHROW, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITINSKI, ANDREW                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITT, ALYSSA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITT, COLLIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITT, JACOB                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITTER, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WITTING, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITTMAN, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITTMAN, PAUL J , JR, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PAUL J WITTMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WITTMERSHAUS, ROBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITTSTRUCK, DENNIS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WITUCKI, WILLIAM ROBERT                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WITUCKI, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WIXOM, LAWRENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WJ CPR & FIRST AID                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 402
798 PETEET ROAD
HARLETON, TX 75651


WLODEK, ROBERT ANDREW                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WM POWELL CO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2503 SPRING GROVE AVE
CINCINNATI, OH 45214


WNUCK, SCOTT F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOELFEL, LOUIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOELFEL, NOVALINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOFFORD, ADA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOFFORD, ADA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SAMANTHA FLORES
WILLIAMS KHERKHER HART & BOUNDAS L.L.P.
8441 GULF FREEWAY SUITE 600
HOUSTON, TX 77017


WOFFORD, BILLYMACK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOFFORD, HAROLD T                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOFFORD, LOYD DON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOI PETROLEUM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
654 US HWY 259 N
DANGERFIELD, TX 75638


WOI PETROLEUM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 686
HIGHWAY 259 NORTH
DAINGERFIELD, TX 75638




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Name of Counterparty                                                                                            Nature

WOIZESKO, GARY, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MICHAEL WOIZESKO
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOJCIECHOWSKI, LEO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOJCIK, JOEL D.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOJCIK, PHIL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOJCIK, THOMAS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOJNAR, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOJTASZEK, GERARD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOJTASZEK, TIMOTHY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOJTOWICZ, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOLAK, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLANSKY, MYRON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLCHESKI, JOHN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLCOTT, DOUGLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLD, GERALD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLF, ARTHUR F, III                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLF, DIANE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLF, EDWIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOLF, JOE                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WOLF, MARY A, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY J WOLF
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLF, MAURICE M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLF, RALPH D                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLF, ROGER                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLF, SUSAN J, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR J KAISER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLFE, CARTER A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLFE, CHAD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFE, E. SHARON                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFE, GARY D, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOODROW WOLFE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOLFE, GEORGE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WOLFE, HERBERT C, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLFE, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLFE, MORRIS M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WOLFE, PAULA L, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LARRY R WOLFE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLFE, RICKY L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFE, ROBERT HAROLD                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFE, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFE, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOLFE, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOLFF & MUNIER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 BROADWAY
HAWTHORNE, NY 10532


WOLFF & MUNIER INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


WOLFF & MUNIER SERVICE CO INC                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
50 BROADWAY
HAWTHORNE, NY 10532


WOLFF, EDWARD W                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


WOLFF, EDWARD WILLIAM                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFF, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOLFGANG, GERHARDT                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLFGANG, JUDITH & JAMS WOLFGANG                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFGANG, MELANIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFINGER, STEPHEN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WOLFORD, MICHAEL LEE                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLFORD, RAYMOND C                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLINSKI, JOSEPH S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLINSKI, PETER F, JR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLINSKI, STANLEY E, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF STEPHANIE WOLINSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLKEN, RONALD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOLLE, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOLLITZ, CHARLES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLPERT, FRANCES, FOR THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF JOSEPH T WOLPERT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOLTER, DOUGLAS                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WOLTER, KATHERINE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLTER, VICKI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOLZ, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


WOLZ, RHONDA L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOMACK, CHARLES E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOMACK, DELPHA S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOMACK, EDITH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOMACK, FREDDY LEON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOMACK, NAOMI                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
S.A. TO THE ESTATE OF CARL WOMACK
C/O GOLDENBERG HELLER ANTOGNOLI ROWLAND
2227 SOUTH STATE ROUTE 157, P.O. BOX 959
EDWARDSVILLE, IL 62025


WOMACK, WALTER L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOMACK, WELDON, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN C WOMACK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

WOMACK, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOMBLE COMPANY, INC.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5875 KELLEY ST.
HOUSTON, TX 77026


WOMBLE DRILLING COMPANY INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 2517
ATHENS, TX 75751


WOOD (HESS), AMBER                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOOD COUNTY ELECTRIC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
COOPERATIVE INC
PO BOX 1827
QUITMAN, TX 75783


WOOD FAMILY TRUST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOOD GROUP POWER PLANT SERVICES INC                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
12600 DEERFIELD PARKWAY
SUITE 315
ALPHARETTA, GA 30004


WOOD, ALICE E, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RUSSELL M KENDRICK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOD, ANDREA L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, ANN P.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, BENJAMIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                        Nature

WOOD, CHARLENE G.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, CHARLES                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, CURTIS WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, DANIEL R                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOOD, EDRIE L.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, EMILY P (DAUGHTER OF ROGER D WOOD)                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, GARY EUGENE                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WOOD, HARRY (DECEASED)                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, JESSE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, JIMMY JAY                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                            Nature

WOOD, JOHN R.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, JOHN ROBINSON, SR.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, JOSHUA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, JOYCE                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOD, MARISA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, MARK                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, MELVIN WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, MELVIN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, MIKE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, PAM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, PAMILA D (WIFE OF ROGER D WOOD)                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WOOD, PAUL D                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WOOD, RAYLON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, RAYMOND                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, RICHARD C                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOD, RICHARD                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, ROBERT E                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WOOD, ROGER D                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOOD, RONALD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOD, SCOTT                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOOD, SR., LAWRENCE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOOD, STARLENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, STEPHEN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOD, WILLIAM FRANKLIN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODALL, DONALD R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODALL, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODALL, JAMES RAYFORD                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODALL, JOSEPH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOODARD, DONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODARD, DOUGLAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODARD, FREDDIE WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WOODARD, ROXIE S.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                          Nature

WOODARD, ROY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODBURN, LEO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODDALL, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODELL, MISTY SHANE, FOR THE ESTATE OF                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIM ALLEN WOODELL
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM, 525 N MAIN ST
SALISBURY, NC 28144


WOODEN, WILLIAM A, JR                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODFAULK, FRANK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODFOREST NATIONAL BANK                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
13301 EAST FREEWAY DRIVE
HOUSTON, TX 77015


WOODHAM, HERCULES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODMANCY, CHARLES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

WOODRING, ALLEN L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WOODRING, ROBERT W                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WOODRUFF, JOHN WILLIAM                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WOODRUFF, KATHRYN, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT H MOBLEY SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOODRUFF, WILLIAM C, III                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODRUFF, WILLIAM R                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOODS, ARTHUR E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOODS, BENJAMIN H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOODS, CASSANDRA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOODS, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODS, CURTIS J.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODS, DELORIS, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF GEORGE F WOODS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOODS, JOHN L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SVAMBERA LAW FIRM, PLLC
8441 GULF FREEWAY, SUITE 330
HOUSTON, TX 77017


WOODS, JOSEPH P                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOODS, KIMBERLY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODS, LARRY B                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODS, LEON                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODS, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODS, MICKEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODS, MIKE VERLON                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WOODS, RACHEL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOODSON LUMBER & HARDWARE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HIGHWAY 164 EAST
PO BOX 368
GROESBECK, TX 76642


WOODSON LUMBER COMPANY OF LEXINGTON                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8717 N.HWY 77
PO BOX 147
LEXINGTON, TX 78947


WOODSON LUMBER COMPANY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8717 N.HWY 77
PO BOX 147
LEXINGTON, TX 78947


WOODSON LUMBER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2871 WEST COMMERCE STREET
PO BOX 750
BUFFALO, TX 75831


WOODSON, MELVIN & REGINA BROOKS-WOODSON                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOODWARD JR, LAWRENCE A                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WOODWARD, DARRELL LEE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOODWARD, DON O'NEIL AND ANNA MATLOCK WOODWARD                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODWARD, DON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE LANIER LAW FIRM, BANKRUPTCY DEPT
ATTN: CHRISTOPHER PHIPPS
6810 FM 1960 WEST
HOUSTON, TX 77069




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

WOODWARD, KATHERINE L                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WOODWARD, WALTER LARRY                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOODWORTH, JAMES ROBERT                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOODYARD, WILLIAM                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOOLBRIGHT, LYNN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WOOLBRIGHT, MICHAEL D.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KAZAN MCCLAIN SATTERLEY GREENWOOD
JACK LONDON MARKET
55 HARRISON STREET, STE 400
OAKLAND, CA 94607-3858


WOOLCUTT, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WOOLEMS, JERRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE AND FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204


WOOLEY TOOL COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3000 LAIRD HILL RD
KILGORE, TX 75662


WOOLEY, EARL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

WOOLFORD, MAY ROSE, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES WOOLFORD SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOLSULATE CORP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3 JUST RD
FAIRFIELD, NJ 07004


WOOLSULATE CORP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MACKENZIE HUGHES LLP
101 SOUTH SALINA STREET, SUITE 600
PO BOX 4967
SYRACUSE, NY 13221-4967


WOOLSULATE CORP                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARGOLIS EDELSTEIN
100 CENTURY PARKWAY, SUITE 200
MOUNT LAUREL, NJ 08054


WOOMER, CAROL L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RALPH WOOMER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOSLEY, LOUIS                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOTEN, DOROTHY M, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDGAR D WOOTEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOOTEN, JAMES A                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WOOTEN, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WOOTEN, WATSON O, JR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WORBINGTON, MARSHAL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WORD, KENNETH LOYD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORKMAN, CALVIN D.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORKMAN, CALVIN O.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORKMAN, CHARLENE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWIN KERBE SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WORKMAN, CURTIS M.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORKMAN, GERALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WORKPLACE SOLUTIONS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2651 NORTH HARWOOD ST STE 300
DALLAS, TX 75201




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Name of Counterparty                                                                                            Nature

WORKS, GARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WORLD ENERGY SOLUTIONS INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
446 MAIN STREET 14TH FLOOR
WORCESTER, MA 01608


WORLD MARKETING DALLAS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 227077
DALLAS, TX 75222-7077


WORLDS FINEST CHOCOLATE INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14340 BOLSA CHICA RD
WESTMINSTER, CA 92683


WORLDWIDE, HILTON                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WORMDAHL, CORINNE (WIDOW OF DOUGLAS)                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WORMDAHL, DOUGLAS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WORNAT, ROY LYNN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORONKA, ANDREW                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WORRELL, DIANA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORRELL, WANDA RAE, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JAMES A WORRELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

WORSHAM STEED GAS STORAGE, L.P.                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O NORTEX MIDSTREAM PARTNERS, LLC
1201 LOUISIANA ST., STE 700
ATTN: ANDREW T. BARBE
HOUSTON, TX 77002


WORSHAM, JOHN C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORSHAM, OLA                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORTHAM ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
201 SOUTH 4TH STREET
WORTHAM, TX 76693


WORTHAM, RUTHIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WORTHINGTON CORP                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
200 OLD WILSON BRIDGE RD.
COLUMBUS, OH 43085


WORTHINGTON, BILLY R.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WOTRING, ROBERT L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOZNIAK, PATRICIA C, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN F WOZNIAK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WOZNIAK, THEODORE V                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WR GRACE & CO CONN                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLOBAL GRACE DAVISON HEADQUARTERS
7500 GRACE DRIVE
COLUMBIA, MD 21044


WR GRACE & CO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLOBAL GRACE DAVISON HEADQUARTERS
7500 GRACE DRIVE
COLUMBIA, MD 21044


WRAY FORD                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DEANIE W. GALLOWAY,CORP.SECRETARY
7300 MANSFIELD
SHREVEPORT, LA 71108


WRAY, GARLAND                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRECSICS, CODY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WREN, BARBARA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WREN, JONES                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WREN, TYRONE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRENN, ROGER                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRG LLC                                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 204484
DALLAS, TX 75320-4484




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WRH SAGE POINTE LTD                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DBA SAGE POINTE APARTMENTS
9900 ADLETA BLVD
DALLAS, TX 75243


WRIGHT CHEMICAL CORP.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1325 MAPLE HILL RD.
SHAFTSBURY, VT 05262


WRIGHT DECEASED, BILLY RAY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT JR, L D & JOYCE WRIGHT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT JR, L D & JOYCE WRIGHT                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, ADRIENE J                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, ALLEN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, ARCHIE L.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH STREET
JACKSONVILLE, FL 32202


WRIGHT, BEATRICE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, BEAUFORD J                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, BELINDA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, BRUCE E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WRIGHT, C J                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, CAL R                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


WRIGHT, CASEY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WRIGHT, CLEO M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT, CLEO M                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RT 1 BOX 48-A
LEESBURG, TX 75451


WRIGHT, CONNIE S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT, CONNIE STRICKLAND                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, DANIEL C                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, DANNY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, DELORAS ANN SANDERS                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, DENNIS LEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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Name of Counterparty                                                                                             Nature

WRIGHT, DENNIS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, DOROTHY                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, EDDIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, FRED                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WRIGHT, GRADY H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O TERRELL HOGAN
233 EAST BAY STREET, 8TH FLOOR
JACKSONVILLE, FL 32202


WRIGHT, HEATHER                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, J D                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JAMES BENJAMIN                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JAMES E                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


WRIGHT, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JAMES                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

WRIGHT, JANETTE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, JIMMIE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JOSEPH T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, JULIUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, JULIUS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WRIGHT, LELDON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


WRIGHT, LEO                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, LOU                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, MARY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WRIGHT, PATRICIA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, ROBERT C, SR                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, ROBERT P                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WRIGHT, RONALD L                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, ROSCOE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, SANDRA RICHARDSON                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, SHARON GAIL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WRIGHT, SHIRLEY, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WOODROW NEWTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGHT, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WRIGHT, TED J                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, THOMAS HENRY                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WALLACE & GRAHAM, PA
ATTN: WILLIAM M. GRAHAM
525 N MAIN ST
SALISBURY, NC 28144


WRIGHT, TRUDY M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRIGHT, VONDA LOU                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WRIGHT, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WRIGHTSON, ARLENE, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DAVID P GOSS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WRIGLEY, DANIEL AND RACHEL                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WRINS, DONALD G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


WROLSTAD, ORVILLE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WRYE, LONNIE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


W-S INDUSTRIAL SERVICES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
378 N HWY 77
ROCKDALE, TX 76567


W-S INDUSTRIAL SERVICES INC                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 461085
PAPILLION, NE 68046-1085


W-S SPECIALTY SERVICES LLC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 461085
PAPILLION, NE 68046-1085


WT/HRC CORPORATION                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LATHROP AVE & E 157TH ST
HARVEY, IL 60426


WUEBKER, JAN F.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WUELFING, LEE L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


WULFF, LESLIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WUNDERER, SUSAN P, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF SHERMAN C HALL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WURSTER, WILLIAM A, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

WV ELECTRIC SUPPLY COMPANY                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
250 12TH STREET WEST
PO BOX 6668
HUNTINGTON, WV 25773-6668


WW GRAINGER INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JOHN L. HOWARD, SVP & GEN. COUN.
100 GRAINGER PKWY
LAKE FOREST, IL 60045


WYATT INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6200 KANSAS STREET
HOUSTON, TX 77007


WYATT INDUSTRIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1618 W COMMERCE STREET
DALLAS, TX 75208


WYATT INDUSTRIES                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GEORGE MACLEAN,ASST. SECTY.
99 WOOD AVE. SOUTH
ISELIN, NJ 08830


WYATT, AUDRIA, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WILLIAM A WYATT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


WYATT, HENRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O MADEKSHO LAW FIRM, PLLC
5225 KATY FREEWAY, SUITE 500
HOUSTON, TX 77007


WYATT, JOE                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WYATT, NANCY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES R WYATT
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                       Nature

WYATT, NOAL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WYCHE, JOHN H.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


WYDRA, PAUL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WYETH HOLDINGS CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5 GIRALDA FARMS
MADISON, NJ 07940


WYLAND, BARBARA                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WYLAND, GREG                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WYLIE, JAMES E                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WYNN, VICTURE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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WYNNE, DOUGLAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WYNNE, KENNETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                          Nature

WYNNEWOOD REFINING CO                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 305
WYNNEWOOD, OK 73098


WYPYCH, PAUL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


WYRICK, BILLY R.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


WYRICK, JOAN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING RD
NOVATO, CA 94948-6169


XCEL ENERGY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HAWKINS PARNELL THACKSTON & YOUNG LLP
DOUG LACKEY
1717 WEST 6TH STREET, SUITE 250
AUSTIN, TX 78703-4777


XCEL ENERGY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
XCEL ENERGY SERVICES, INC.
SCOTT WILENSKY, GEN. COUN.
414 NICOLLET MAL
MINNEAPOLIS, MN 55401


XCEL ENERGY INC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
XCEL ENERGY SERVICES, INC.
SCOTT WILENSKY, GEN. COUN.
414 NICOLLETT MALL
MINNEAPOLIS, MN 55401


XEF INC FKA ELECTRIC FURNACE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FOLEY & MANSFIELD, PLLP
1001 HIGHLANDS PLAZA DR WEST SUITE 400
ST. LOUIS, MO 63110


XENON MARKETING LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6501 COOPER PLACE
SUITE 100
PLANO, TX 75093




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

XENOS, ANGELINE, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF MAURICE XENOS SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


XEROX CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1950 STEMMONS FREEWAY, SUITE 3001
DALLAS, TX 75207


XEROX CORP.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JAMES MACKENZIE,DIR.ENV.HLTH,SAFTY
XEROX SQUARE-021D
ROCHESTER, NY 14644


XEROX CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1303 RIDGEVIEW DRIVE - 450
LEWISVILLE, TX 75057


XEROX CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
45 GLOVER AVE
PO BOX 4505
NORWALK, CT 06850


XEROX CORPORATION                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 827598
PHILADELPHIA, PA 19182-7598


XL BRANDS LLC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KRISTIN GOULD, EVP, GEN. COUN. &
SECRETARY, 198 NEXUS DR.
MEGACORP DR.
DALTON, GA 30721


XL OIL & CHEMICAL,INC.                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PETER D. BURLAND
4605 POST OAK PLACE #210
HOUSTON, TX 77027


XL OIL & CHEMICALS, INC.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 S. LOOP WEST, SUITE 140
HOUSTON, TX 77054




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YAHN, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YALE, K C                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YALE, K C                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YAMAHA MOTOR CORPORATION                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6555 KATELLA AVENUE
CYPRESS, CA 90630


YANCEY, EMMA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YANCHICK, ANDREW                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YANEZ, JESUS M                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YANEZ, MARIA V.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


YANNETTI, DANTE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YANNO, MICHAEL F                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YAPP, WINSTON A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


YAQUIANT, FRANK D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YARBOROUGH, LINDA F                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, CEDRIC                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, CYPHERS                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, DAVID                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, FRANCIS B.                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, JARIUS                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, JOHN H                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, KAYCEE AND JAMES YARBROUGH                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, LAURA                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARBROUGH, MONICA                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARGER, CLINT DEE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                         Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                              Nature

YAROS, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2405 MARYLAND ROAD
WILLOW GROVE, PA 19090


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2405 MARYLAND ROAD
WILLOW GROVE, PA 19090


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
480 NORRISTOWN ROAD
BLUE BELL, PA 19422


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DICKIE MCCAMEY & CHILCOTE, P.C.
41 SOUTH HADDON AVENUE, SUITE 5
HADDONFIELD, NJ 08033


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS
BRADY SHERROD EDWARDS
1000 LOUISIANIA STREET, SUITE 4200
HOUSTON, TX 77002


YARWAY CORP                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
DENISE URZENDOWSKI SCOFIELD
1000 LOUISIANA STREET, SUITE 1300
HOUSTON, TX 77002-5006




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YARWAY CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MORGAN LEWIS & BOCKIUS, LLP
DENISE URZENDOWSKI SCOFIELD
1000 LOUISIANA STREET, SUITE 4000
HOUSTON, TX 77002-5006


YARWAY CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PUBLIC LEDGER BUILDING
DICKIE MCCAMEY & CHILCOTE, P.C.
150 SOUTH INDEPENDENCE MALL, SUITE 901
WEST PHILADELPHIA, PA 19106


YARWAY CORP                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TOLLWAY PLAZA I
ALAN MOORE
16000 N. DALLAS PARKWAY, STE 800
DALLAS, TX 75248


YATES BUICK GMC INC                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 HWY 79 SOUTH
HENDERSON, TX 75654


YATES BUICK PONTIAC GMC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
215 US HIGHWAY 79 S
HENDERSON, TX 75654


YATES, B MARIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YATES, ELBERT JERRY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YATES, GARY C                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YATES, JOSEPH F                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YATES, PAULA D.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

YATES, RICHARD L.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HUMPHREY FARRINGTON & MCCLAIN, P.C.
ATTN: SCOTT A. BRITTON-MEHLISCH
221 W. LEXINGTON, SUITE 400
INDEPENDENCE, MO 64050


YATES, THOMAS                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAUCH, RONALD JAMES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAWORSKI, CHERYL                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAWORSKI, JOSEPH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAZZIE, FRANK K                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAZZIE, HARRISON                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YAZZIE, MARGUERITA                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YBARRA, HIRAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YEAGER, ERNEST                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YEAGER, GARTH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YEAGER, RONALD                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YEARGAN, JOHN T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YEISLEY, WARREN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


YELK, CLARENCE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YELLE, JAMES C--EST                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


YELLEN, NEAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


YELLOW FREIGHT LINES                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
900 64TH STREET
ALBUQUERQUE, NM 87105


YELLOWFIN ENERGY CONSULTING LLC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 18039
CORPUS CHRISTI, TX 78480


YELTON, LARRY DOUGLAS, PR OF THE                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LESLIE YELTON
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YENDREY, WILLIAM                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YEO, LAWRENCE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YEOMANS CHICAGO CORP                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
YOKOHAMA TIRE USA
601 S. ACACIA AVE
FULLERTON, CA 92831


YERBY, FERLEY A                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YESKE, ALFRED                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YETMAN, JOSEPH B--EST                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


YINGLING, BRIAN D, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH H YINGLING
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YMCA                                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
TURKEY TROT
601 N AKARD
DALLAS, TX 75201


YOCUM, JULIA, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH STOCKSTILL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YODER, GEORGE L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EHERMAN L YODER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YODER, PATTY K, PR OF THE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF DONALD YODER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YODER, RONALD, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF EDWARD L FRANK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOERGER, KENNETH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOHN, STEVE K                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOHO, CARL L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOKOGAWA CORPORATION OF AMERICA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: LAURA WATSON
2 DART RD
NEWNAN, GA 30265


YOKOGAWA CORPORATION OF AMERICA                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GK TECHSTAR
802 WEST 13TH STREET
DEER PARK, TX 77536


YOLDA, FRANCIS                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YON, BARBARA T                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YORK INDUSTRIES CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 NASSAU BLVD
GARDEN CITY PARK, NY 11040


YORK INDUSTRIES CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 40 PATTERSON STREET
PO BOX 480
NEW BRUNSWICK, NJ 08901


YORK INDUSTRIES CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONCA HANLEY NOLAN & ZAREMBA LLP
5 REGENT STREET, SUITE 517
LIVINGSTON, NJ 07039


YORK INDUSTRIES CORP                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONCA HANLEY NOLAN & ZAREMBA LLP
5 REGENT STREET, SUITE 517
SUITE 517
LIVINGSTON, NJ 07039


YORK INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
303 NASSAU BLVD
GARDEN CITY PARK, NY 11040


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
14TH FLOOR
TIMOTHY JAMES FLANAGAN
14TH FLOOR, 100 NORTH BROADWAY
ST LOUIS, MO 63102


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
5005 YORK DRIVE
NORMAN, OK 73069


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
631 RICHLAND AVE
YORK, PA 17403


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1209 ORANGE STREET
WILMINGTON, DE 19801


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST
CHICAGO, IL 60604


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
JOSEPH ALBERT JR HARGRAVES
3725 WYOMING ST
ST LOUIS, MO 63116


YORK INTERNATIONAL CORP                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 40 PATTERSON STREET
PO BOX 480
NEW BRUNSWICK, NJ 08901


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HOAGLAND LONGO MORAN DUNST &
DOUKAS LLP, 48 WALL STREET
SUITE 1100
NEW YORK, NY 10005


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PHIFER LAW FIRM, PC
ELIZABETH PHIFER
15150 PRESTON RD STE 120
DALLAS, TX 75248-4878


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RONCA HANLEY NOLAN & ZAREMBA LLP
5 REGENT STREET, SUITE 517
SUITE 517
LIVINGSTON, NJ 07039


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60608


YORK INTERNATIONAL CORP                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION TRUST COMPANY
1209 ORANGE ST
WILMINGTON, DE 19803


YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                        Retained Causes of Action

                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
DONALD W. WARD
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
GARY L. SMITH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
MARY ANN HATCH
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK INTERNATIONAL LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
HERZOG CREBS LLP
TRACY A BECKHAM
100 NORTH BROADWAY, 14TH FLOOR
ST LOUIS, MO 63102


YORK PUMP & EQUIPMENT INC                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 3554
LONGVIEW, TX 75606


YORK PUMP & EQUIPMENT, A DXP CO                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DXP ENTERPRISES INC
7272 PINEMONT
HOUSTON, TX 77040


YORK PUMP & EQUIPMENT, A DXP COMPANY                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O DXP ENTERPRISES INC
7272 PINEMONT
HOUSTON, TX 77040


YORK SHIPLEY,INC.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD STE 400
WILMINGTON, DE 19808




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YORK SHIPLEY,INC.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DIVISION OF AESYS TECHNOLOGIES, LLC
693 NORTH HILLS ROAD
YORK, PA 17402-2211


YORK INTERNATIONAL CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
631 RICHLAND AVE
YORK, PA 17403


YORK, AUSTYN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YORK, BOBBY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YORK, DANIEL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YORK, DEBORAH L, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF WENDELL HARSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YORK, LAUREN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YORK, LOUIS                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YORK, MARION                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YORK, WYATT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOST, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOST, KENNETH E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


YOST, KENNETH G.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOULDEN, JOHN H.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O BRAYTON PURCELL, LLP
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


YOUNCOFSKI, JAMES A.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


YOUNG (CHANDLER), PAMELA D                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG , LARRY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O RUNKLE LAW
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE M200
WEST LAKE, TX 78746


YOUNG COUNTY BUTANE COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
P O BOX 996
GRAHAM, TX 76450


YOUNG COUNTY BUTANE COMPANY                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 847
GRAHAM, TX 76450-0847


YOUNG COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
516 FOURTH STREET
GRAHAM, TX 76450




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK T KEANEY
500 N BROADWAY ST STE 2000
ST LOUIS, MO 63102


YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
222 EAST DUNKLIN STE 102
JEFFERSON CITY, MO 65101


YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORPORATE RESEARCH LTD
222 EAST DUNKLIN, SUITE 102
JEFFERSON CITY, MO 65101


YOUNG GROUP LTD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60608


YOUNG HOLDINGS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2164 NORTH BATAVIA STREET
ORANGE, CA 92865


YOUNG HOLDINGS INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
222 EAST DUNKLIN STE 102
JEFFERSON CITY, MO 65101


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
222 EAST DUNKLIN STE 102
JEFFERSON CITY, MO 65101




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ANASTASIOS THOMAS FOUKAS
233 S WACKER, SUITE 5500
CHICAGO, IL 60606


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR SUITE 5500
CHICAGO, IL 60608


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MARK T KEANEY
500 N BROADWAY ST STE 2000
ST LOUIS, MO 63102


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
NATIONAL CORP RESEARCH LTD
222 EAST DUNKLIN STE 102
JEFFERSON CITY, MO 65101


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ANASTASIOS THOMAS FOUKAS
233 S WACKER, SUITE 5500
CHICAGO, IL 60606


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR SUITE 5500
CHICAGO, IL 60608


YOUNG INSULATION GROUP OF ST LOUIS INC                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JAMES RUSSELL WILLIAMS
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60608




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                         Retained Causes of Action

                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOUNG INSULATION GROUP OF ST LOUIS INC                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


YOUNG GROUP LTD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG INSULATION GROUP OF ST LOUIS                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1054 CENTRAL INDUSTRIAL DRIVE
ST LOUIS, MO 63110-2304


YOUNG, ALMA M, FOR THE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CASE OF GEORGE R YOUNG
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, ARKIE H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, CAMERON T.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, CAROL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, CARRIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, CHARLES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, CHRISTINE P, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NANCY P GASIOROWSKI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                                                                          Retained Causes of Action

                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YOUNG, CLIMMIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, COLIN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, DAVID E.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, DAVID L.                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


YOUNG, DAVID                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, DAWN M                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, DINAH L, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF RICHARD L YOUNG SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, DONALD WAYNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


YOUNG, DOREEN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                                                               ENERGY FUTURE HOLDINGS CORP., et al.

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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YOUNG, DOUGLAS B                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


YOUNG, DOUGLAS BLANE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, ELIZABETH                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, ELLIOTT H                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, EMALYN H                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, GARY                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, GRAHAM, JR                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, JERRY W                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, JERRY                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, JESSICA                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, JOE M., SELF & SIMILARLY SITUATED                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GILLESPIE SANFORD LLP
ATTN: JOSEPH H. GILLESPIE
4925 GREENVILLE AVE., SUITE 200
DALLAS, TX 75206




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOUNG, JOSEPH                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, KENNETH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, LARRY GENE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, LARRY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, LAURIE                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


YOUNG, LINDA K RILEY, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ROBERT BAKER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, LIONEL                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


YOUNG, MARION                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, MARY L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOUNG, MILTON                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204


YOUNG, NEIL                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


YOUNG, ODEAL                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, PATRICIA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, PORSCHIA AIKINS                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RALPH L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RAYMOND S                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNG, REBECCA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RICHARD CHARLES                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RICHARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RODNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOUNG, RONALD                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, ROSA L                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, ROSALINDA VALVERDE                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, RUSSELL                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, SAMUEL L                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


YOUNG, SCOTT DOUGLAS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, STEVEN E                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, THAYNE H, DECEASED                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, THOMAS                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNG, TRACY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YOUNG, TROY L.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNG, WILLIAM                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WACHTELL, LIPTON, ROSEN & KATZ
ATTN: EMIL KLEINHAUS, ESQ.
51 WEST 52ND STREET
NEW YORK, NY 10019


YOUNG, WILLIS L.                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNGBAR, MILDRED J CEFALONI, PR OF THE                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH CEFALONI
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNGBLOOD OIL COMPANY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
439 S SHELBY ST
CARTHAGE, TX 75633


YOUNGBLOOD, DAWN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNGBLOOD, EDWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNGBLOOD, JEFFERSON N, JR                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


YOUNGBLOOD, MANUEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YOUNGBLOOD, WILLIE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNGCOURT, ALLAN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


YOUNGER BROTHERS INCORPORATED                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
JIMMY J. YOUNGER,AGENT
2575 W. BELLFORT DRIVE, STE. 200
HOUSTON, TX 77054


YOUNGER, NATHAN F                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


YOUNGLESS, KENNETH T                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


YOUNKINS, LIANA                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YOUNT, BRIAN D, SR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUNT, CLARENCE DAVID                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HISSEY KIENTZ, LLP
ATTN: MICHAEL HISSEY
9442 CAPITAL OF TEXAS HWY, N., SUITE 400
AUSTIN, TX 78759


YOUNT, YVONNE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

YOURIK, DAVID, PR OF THE                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANDREW J YOURIK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


YOUTH ATHLETIC BASKETBALL ASSOC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
OF GLEN ROSE
PO BOX 2013
GLEN ROSE, TX 76043


YRC INC.                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
10990 ROE AVENUE
OVERLAND PARK, KS 66211


YU, CHEN-TZU                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YUBA HEAT TRANSFER CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST E AVE
TULSA, OK 74114


YUBA HEAT TRANSFER CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74116-4834


YUBA HEAT TRANSFER CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
AHMUTY DEMERS & MCMANUS, ESQS
200 I.U. WILLETS RD
ALBERTSON, NY 11507


YUBA HEAT TRANSFER CORP                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
ROGER NEBEL
4900 WOODWAY DRIVE, SUITE 940
HOUSTON, TX 77056-1800


YUBA HEAT TRANSFER LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74116


YUBA HEAT TRANSFER LLC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74114




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74116


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 N ROBINSON STREET SUITE 735
OKLOHOMA CITY, OK 73102


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
CLAYTON E DICKEY
9200 WARD PARKWAY STE 310
KANSAS CITY, MO 64114


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN WILLIS DICKEY & MOORE L.L.C.
MATTHEW STEVEN JENSEN
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
RASMUSSEN, WILLIS, DICKEY
& MOORE L.L.C., CHRISTOPHER BRUCE TURNEY
9200 WARD PARKWAY STE 400
KANSAS CITY, MO 64114


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
THE CORPORATION COMPANY
1833 SOUTH MORGAN ROAD
OKLAHOMA CITY, OK 73102


YUBA HEAT TRANSFER LLC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2121 N 161ST EAST AVE
TULSA, OK 74116


YUMA COUNTY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
310 ASH, SUITE F
WRAY, CO 80758


YURA, JOHN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

YURADA, SANDRO                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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YURK, ROBERT                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


YUSKO, ANDREW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZABIELSKI, VINCENT L--EST                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ZABRUCKY, ROBERT                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZABSKI, FRANK                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZACARELLI, DERRY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZACHARY, THOMAS M.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHGO, ALEX                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHGO, DAWN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                    Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                         Nature

ZACHGO, MARK                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHGO, NICHOLAS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHMEIER, BARBARA FBO RICHARD ZACHMEIER                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHMEIER, BETTY JOAN FBO WILLIAM ZACHME                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZACHRY CONSTRUCTION CORP                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2330 N LOOP 1604 W
SAN ANTONIO, TX 78248


ZACHRY HOLDINGS INC                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
527 LOGWOOD AVE
SAN ANTONIO, TX 78221


ZACHRY INDUSTRIAL, INC                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TX 75201


ZACK, WALTER J--EST                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THORNTON LAW FIRM LLP
100 SUMMER ST, 30TH FLOOR
BOSTON, MA 02110


ZACKARY, KIRK D.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZACKLAN, DAVE M                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZADORA, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZAFAR, KAY-KHOSRO                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ZAFONTE, JOSEPH                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZAGER, JOHN                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAHARA, MARTIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZAHRA, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAHRA, JOSEPH                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZAINFELD, STANLEY                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAIST, ROBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZAJAC, GREGORY R                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZAK, KIM                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZALLENICK, JOHN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZALOGA, ANTHONY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZAMATA, CHARLES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMBO, ALEXANDER F, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZAMMIT, CHARLES K.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZAMORA, ADRIANA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORA, AMADOR R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORA, JENNIFER YVETTE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORA, JENNIFER                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORA, MANUEL F.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORANO, MAURICIO                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAMORSKY, WILLIE S                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZANDER, RANDE JACK                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZANIOWKA, HENRY L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZANONI, GINO                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZANOTELLI, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZANTI, DENNIS J                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZAPATA GULF MARINE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1253 1ST AVENUE
HARVEY, LA 70058


ZAPATA, ETELVERO AND MARIA ZAPATA                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAPF, EDWARD L                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZAPP, JEFFREY A.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAPP, JEFFREY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAPPIA, DOMINIC C                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZARANDONA, RICHARD                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAREK, ALAN                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAREMBA, FRANK                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZARETZKE, ROBERT                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZARRO-WILT, MARGARET, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF LAWRENCE ZARRO JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZATARGA, LEO W                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAVALA, ANDREW                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAVALA, CITY                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
838 E MAIN ST
ZAVALLA, TX 75980


ZAVALLA ISD                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
431 EAST MAIN
ZAVALLA, TX 75980


ZAWACKI, ROBERT B., SR.                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZAYAS, JEFFREY A                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZAYO FIBER SOLUTIONS                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 952136
DALLAS, TX 75395-2136


ZAYO GROUP, LLC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ATTN: THOMAS L KELLY, ASSOC GEN COUNSEL
400 CENTENNIAL PARKWAY, STE 200
LOUISVILLE, CO 80027


ZAZZARINO, GINA (ANGENNE)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAZZARINO, GINA (ANGENNI)                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZAZZARINO, GINA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZBIGNIEWICZ, LEON AND CATHERINE ZBIGNIEWICZ                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZBORAY, STEPHEN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZBORIL, WILLIAM                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZDON, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZDON, MICHAEL, JR                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZEALY, CLARENCE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEBELL, RICHARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEDALIS, GEORGE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEDNICK, RICHARD                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEE MEDICAL INC                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 204683
DALLAS, TX 75320


ZEE MEDICAL SERVICE CO                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
8711 BURNETT ROAD
SUITE B30
AUSTIN, TX 76757


ZEEFAX INC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6049 KELLERS CHURCH ROAD
PIPERSVILLE, PA 18947


ZEHELSKI, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZEIDERS, HERMAN E                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZEIGMAN, ELSIE JANE, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES D ZEIGMAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZEILER, STEPHEN V                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZEINNER, JAMES                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEISLOFT, DALE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZELANKO, JACK S                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZELENKA, WILLIAM H                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ZELESNICK, MARY                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZELLER, JAMES                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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Name of Counterparty                                                                                            Nature

ZELLERS, NORMAN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZELLNER, CHARLES E, JR                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZELLWEGER, EMIL                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZELTMAN, RONALD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZELUFF, ROBERT VICTOR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZEMA, JOHN                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZEMANEK, VICTOR                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZENARO, LEONARD                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZENECA INC. (FORMERLY KNOWN AS .ICIAMERICAS INC.)                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 CONCORD PIKE
WILMINGTON, DE 19850-5438


ZENITH PUMPS A UNIT OFC OLFAX                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1710 AIRPORT ROAD
MONROE, NC 28110


ZENTMYER, WILLIAM                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O GEORGE & FARINAS, LLP
151 N. DELAWARE ST., STE. 1700
INDIANAPOLIS, IN 46204




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                                                        Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                             Nature

ZENZ, EDNA FBO JOHN ZENZ                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZEP SALES & SERVICE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 841508
DALLAS, TX 75284-1508


ZEP SALES & SERVICES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O ENGEL, HAIRSTON & JOHANSON, P.C.
ATTN: JONATHAN E. RAULSTON
P.O. BOX 11405
BIRMINGHAM, AL 35202


ZEPHYR ENVIRONMENTAL CORPORATION                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
2600 VIA FORTUNA STE 450
AUSTIN, TX 78746


ZESSIN, BERNARD                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZETTLE, TERRY, PR OF THE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HALLARD ZETTLE
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZGABAY, SIDNEY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O HOTZE RUNKLE, PLLC
ATTN: RYAN C. RUNKLE
1001 S. CAPITAL OF TEXAS HWY, SUITE C100
WEST LAKE, TX 78746


ZGALJARDIC, CELESTIN                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZGALJARDIC, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095




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Name of Counterparty                                                                                            Nature

ZGOMBIC, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZGOMBIC, JOSEPH D                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZIC, ANTON                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZIEBARTH, PHILIP L                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O SHRADER & ASSOCIATES LLP
ATTN: ALLYSON M. ROMANI
22 A GINGER CREEK PARKWAY
GLEN CARBON, IL 62034


ZIEBARTH, PHILIP L.                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIEGENFUSS, CHARLES                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZIEGLER, DANIEL L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIEGLER, DARWIN                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIEGLER, PHILIP G                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIEGLER, RICHARD A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

ZIELSKE, ARTHUR HENRY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIETHEN, CAROLYN F, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES J ZIETHEN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIEZIULA, STANLEY F.                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZILKA, PATRICIA A, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN H ABELL
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIMMER INC.                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1800 W. CENTER STREET
WARSAW, IN 46580


ZIMMER, BEVERLY L, PR OF THE                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF HENRY COOK
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIMMER, JEFFREY J.                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMAN, DANIEL                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMAN, DAVID A                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZIMMERMAN, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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Name of Counterparty                                                                                            Nature

ZIMMERMAN, HARRY                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIMMERMAN, JACQUE LYNN                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMAN, JEFF                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMAN, JERRY WAYNE                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMAN, JOHN H, SR                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIMMERMAN, LESTER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIMMERMAN, LOUIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIMMERMAN, MICHAEL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIMMERMAN, SUSIE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMERMANN, CONRAD F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114




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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZIMMERS, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIMMITE CORP.                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O W. E. ZIMMIE, INC.
(PROCESS ADDRESS)
WESTLAKE, OH 44145


ZIMNIAK, JOHN                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZIMNICKI, STANLEY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIMPOULIAS, JOHN, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF NIKOLAOS MAVROS
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZINCOX RESOURCES PLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KNIGHTWAY HOUSE
PARK STREET
BAGSHOT, SURREY, GU19 5AQ
UNITED KINGDOM

ZINK LLC                                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


ZINKHAN, MARION L                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZINKHAN, MARION, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOHN ZINKHAN
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZINSER, ELIZABETH ROSE, PR OF THE                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VERNON W ZINSER JR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZINSER, JOSEPH P, PR OF THE                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF ANNA BUCKLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZINSER, PAUL J , JR, PR OF THE                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF JOSEPH P ZINSER
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZINSER, PAUL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G ANGELOS, P.C.
100 N. CHARLES ST., 22ND FLR
BALTIMORE, MD 21201


ZINSER, PAUL J, JR                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZIOLA, JUDY E COURSEY                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZIOLKOWSKI, MILFORD J                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIPFEL, ALPHONSE                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZIRBES, ALBERT                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZISSER, BARBARA                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZITO, EUGENE                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZITO, ROBERT P                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZITTLE, PAUL J                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZIVELO LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
6508 E MUSEUM BLVD
GAS CITY, IN 46933


ZIVELO LLC                                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7014 E CAMELBACK RD STE 608
SCOTTSDALE, AZ 85251-1253


ZMARZLEY, VICTOR M, PR OF THE                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF VICTOR M ZMARZLEY
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZNOTIN, ALEXANDER                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZOELLER PUMP CO                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3649 CANE RUN RD
LOUISVILLE, KY 40216


ZOGRAFOS, THEOLOGOS                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZOLTEK CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3101 MCKELVEY ROAD
ST LOUIS, MO 63044


ZOLTEK CORP                                                                                                     Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
3101 MCKELVEY ROAD
ST LOUIS, MO 63044


ZOM, JOHN E.                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O O'SHEA & REYES, LLC
ATTN: DANIEL F. O'SHEA
5599 SOUTH UNIVERSITY DRIVE, SUITE 202
DAVIE, FL 33328


ZONES INC                                                                                                       Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
PO BOX 34740
SEATTLE, WA 98124-1740


ZOOK, MARLOW                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZOPPINA, RUSSELL                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZOPPO, MARGARET, PR OF THE                                                                                      Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF PHILLIP A ZOPPO SR
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZORI, ANTHONY                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZORN, JOSEPH                                                                                                    Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZRUBEK, DARWIN R.                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZRUBEK, DARWIN                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZRUBEK, JAY R                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZSAK, JOSEPH A                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZSILAVETZ, FRANK                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WILENTZ GOLDMAN & SPITZER, P.A.
90 WOODBRIDGE CENTER DRIVE
SUITE 900, BOX 10
WOODBRIDGE, NJ 07095


ZSUFFA, EUGENE                                                                                                  Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZUBALIK, JOHN, III                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZUCKERBERG, JOSHUA E, PR OF THE                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ESTATE OF CHARLES E FRUSH
C/O LAW OFFICES OF PETER G. ANGELOS P.C.
100 N. CHARLES ST., 22ND FLR.
BALTIMORE, MD 21201


ZUCKERMAN, EDWIN                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZUCKSWORTH, WAYNE                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131


ZUELZKE, GORDON                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O THE FERRARO LAW FIRM
ATTN: ANELY HERNANDEZ, ESQ.
600 BRICKELL AVE, STE 3800
MIAMI, FL 33131




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                                                                          ENERGY FUTURE HOLDINGS CORP., et al.

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                                                   Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                        Nature

ZUKOWSKI, CARL J                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZULIC, SILVIO                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZUMWALT, GEORGE                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZUNA, JAMES                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZUNK, MARIE A                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZUNK, MARIE                                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZUPO, GIUSEPPE F                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O WEITZ & LUXENBERG
700 BROADWAY
NEW YORK, NY 10003


ZURBOLA, RICHARD J                                                                                          Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
C/O KELLEY & FERRARO, LLP
ATTN: CONSTANTINE VENIZELOS
220 KEY TOWER, 127 PUBLIC SQ
CLEVELAND, OH 44114


ZUREICH, HERBERT                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZURN INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 PITTSBURGH AVE
ERIE, PA 16502-1916


ZURN INDUSTRIES INC                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105




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                                                                              ENERGY FUTURE HOLDINGS CORP., et al.

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                                                       Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                            Nature

ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 PITTSBURGH AVE
ERIE, PA 16502-1916


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
BAKER DONELSON BEARMAN CALDWELL &
BERKOWITZ PC, EDDY DE LOS SANTOS
1301 MCKINNEY STREET, SUITE 3700
HOUSTON, TX 77010


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
350 N ST PAUL STREET, SUITE 2900
DALLAS, TX 75201


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS HAINES, SECRETARY AND GEN. COUN.
1801 PITTSBURGH AVE
ERIE, PA 16502-1916


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
AJAY SHAH
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


ZURN INDUSTRIES INC                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
KYLE C. STEELE
2001 BRYAN ST., SUITE 1300
DALLAS, TX 75201-3008




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
LAURA A. FRASE
2001 BRYAN STREET, SUITE 1300
DALLAS, TX 75201-3008


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
ROGER NEBEL
4900 WOODWAY DRIVE, SUITE 940
HOUSTON, TX 77056-1800


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
GLENYCE SHANAI MARSAW, ATTORNEY AT LAW
2001 BRYAN STREET SUITE 1300
DALLAS, TX 75201


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
KYLE C. STEELE LAW OFFICES
KYLE C. STEELE
6510 ABRAMS RD
DALLAS, TX 75231


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF KYLE C. STEELE
KYLE C. STEELE, CENTERPOINT TOWER BLDG
6510 ABRAMS ROAD SUITE 260
DALLAS, TX 75231-7248


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
JADE MARGUERITE WANDELL
233 S WACKER DRIVE, SUITE 5500
CHICAGO, IL 60606


ZURN INDUSTRIES INC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SPAIN HASTINGS & WARD
H. DANIEL SPAIN
909 FANNIN, 39TH FLOOR
HOUSTON, TX 77010




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                                                                            ENERGY FUTURE HOLDINGS CORP., et al.

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                                                     Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                          Nature

ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1801 PITTSBURGH AVE
ERIE, PA 16502


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
120 S CENTRAL AVE STE 400
CLAYTON, MO 63105


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
CT CORPORATION SYSTEM
208 S LASALLE ST STE 814
CHICAGO, IL 60604


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS HAINES, SECRETARY AND GEN. COUN.
1801 PITTSBURGH AVE
ERIE, PA 16502


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS HAINES, SECRETARY AND GEN. COUN.
1801 PITTSBURGH AVE
HOUSTON, TX 77002


ZURN INDUSTRIES LLC                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ERICA LYNETTE MEEK
233 SOUTH WACKER DRIVE
WILLIS TOWER, SUITE 5500
CHICAGO, IL 60606




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                                                                             ENERGY FUTURE HOLDINGS CORP., et al.

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                                                      Claims Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation


Name of Counterparty                                                                                           Nature

ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
FORMAN PERRY WATKINS KRUTZ & TARDY LLP
PATRICE PUJOL
1717 ST. JAMES PLACE
HOUSTON, TX 77056-3418


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
LAW OFFICE OF KYLE C. STEELE
KYLE C. STEELE, CENTERPOINT TOWER BLDG
6510 ABRAMS ROAD SUITE 260
DALLAS, TX 75231-7248


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
MCGIVNEY & KLUGER, P. C.
80 BROAD ST, 23RD FL
NEW YORK, NY 10004


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
ANASTASIOS THOMAS FOUKAS
233 S WACKER, SUITE 5500
CHICAGO, IL 60606


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
SEGAL MCCAMBRIDGE SINGER & MAHONEY
WILLIAM ROBERT IRWIN
233 S WACKER DR, SUITE 5500
CHICAGO, IL 60606


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
WILSON ELSER MOSKOWITZ EDELMAN &
DICKER LLP, JAMES H. POWERS
5847 SAN FELIPE STREET, SUITE 2300
HOUSTON, TX 77057


ZURN PEX INC                                                                                                   Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
1900 WEST HIVELY AVENU
ELKHART, IN 46517-4029


ZURN INDUSTRIES LLC                                                                                            Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
DENNIS HAINES, SECRETARY AND GEN. COUN.
1801 PITTSBURGH AVE
ERIE, PA 16502




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Name of Counterparty                                                                                         Nature

ZURNPEX, INC.                                                                                                Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
777 S. FLAGLER DR., UITE 1100
WEST TOWER
WEST PALM BEACH, FL 33401


ZWEIACKER, PAUL                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZWICK, GREGORY                                                                                               Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
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ZYGIELBAUM, BETH                                                                                             Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZYGIELBAUM, JOSHUA M.                                                                                        Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZYGIELBAUM, MICHELLE                                                                                         Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZYGIELBAUM, SAMUEL                                                                                           Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE


ZYTECH GLOBAL INDUSTRIES INC                                                                                 Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
7243 MILLER DR
WARREN, MI 48092


ZYWICKI, JOANNE                                                                                              Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and Possible Litigation
ADDRESS ON FILE




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                                       EXHIBIT D(ii)

                             Claims Related to Insurance Policies

The following Exhibit D(i) includes insurance contracts and policies to which one or more E-
Side Debtors are a party. Unless otherwise released by the Plan, the E-Side Debtors expressly
reserve all Causes of Action based in whole or in part upon any and all insurance contracts,
insurance policies, occurrence policies, and occurrence contracts to which any Debtor,
Reorganized EFH Debtor, or Reorganized EFIH Debtor is a party or pursuant to which any
Debtor, Reorganized EFH Debtor, or Reorganized EFIH Debtor has any rights whatsoever,
regardless of whether such contract or policy is included on Exhibit D(i), including Causes of
Action against insurance carriers, reinsurance carriers, insurance brokers, underwriters,
occurrence carriers, or surety bond issuers relating to coverage, indemnity, contribution,
reimbursement, or any other matters.




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                                                                                   Claims Related to Insurance Policies


Name of Counterparty                                                                                           Nature

ACE (CHUBB)                                                                                                    Claims Related to Insurance Policies
ATTN: BRENT TAN
3630 PEACHTREE ROAD NE, SUITE 1500
ATLANTA, GA 30326


AIG                                                                                                            Claims Related to Insurance Policies
ATTN: MARC MIESKE
2929 ALLEN PARKWAY, SUITE 1300
HOUSTON, TX 77019


ARGO RE (BERMUDA)                                                                                              Claims Related to Insurance Policies
ATTN: SAADIA SAVORY
ARGO HOUSE 110 PITTS BAY ROAD
PEMBROKE, HM08
BERMUDA

ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES - D&O                                                           Claims Related to Insurance Policies
ATTN: STEVE WAGNER
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES - EXCESS LIAB                                                   Claims Related to Insurance Policies
ATTN: RONALD S. BERTRAND
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


ASSOCIATED ELECTRIC AND GAS INSURANCE SERVICES (AEGIS) - PROFESS LIAB                                          Claims Related to Insurance Policies
ATTN: MARY MOLINO
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


AXIS                                                                                                           Claims Related to Insurance Policies
ATTN: ANGELA OSBORNE
ONE RIVERWAY, SUITE 1700
HOUSTON, TX 77056


BEAZLEY PRO                                                                                                    Claims Related to Insurance Policies
ATTN: REGINA PASQUINE
757 THIRD AVE., 10TH FLOOR
NEW YORK, NY 10017


CHUBB ATLANTIC INDEMNITY LTD. (BERMUDA)                                                                        Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
CHUBB BUILDING, 17 WOODBOURNE AVE
P O BOX HM 1015
HAMILTON, HM 08
BERMUDA




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                                                                              Claims Related to Insurance Policies


Name of Counterparty                                                                                      Nature

CHUBB/FEDERAL - CRIME                                                                                     Claims Related to Insurance Policies
ATTN: PAUL LAWERENCE
525 W MONROE, SUITE 700
CHICAGO, IL 60661
BERMUDA

CHUBB/FEDERAL - EMPLOYED LAWYER                                                                           Claims Related to Insurance Policies
ATTN: CAROLINE SULIVAN
8000 MARYLAND AVE ,STE 1500
CLAYTON, MO 63105
BERMUDA

ENDURANCE                                                                                                 Claims Related to Insurance Policies
ATTN: RAYMOND O'BYRNE
750 3RD AVENUE
NEW YORK, NY 10017


ENERGY INSURANCE MUTUAL (EIM) - D&O                                                                       Claims Related to Insurance Policies
ATTN: VITALY PISETSKY
3000 BAYPORT DRIVE, SUITE 550
TAMPA, FL 33607


ENERGY INSURANCE MUTUAL (EIM) - EXCESS LIAB                                                               Claims Related to Insurance Policies
ATTN: SANDRA IMBRIANI
3000 BAYPORT DRIVE, SUITE 550
TAMPA, FL 33607


EUROPEAN MUTUAL ASSOCIATION FOR NUCLEAR INSURANCE (EMANI)                                                 Claims Related to Insurance Policies
ATTN: PHILIPPE VANDEKERCKHOVE
AVENUE JULES BORDET 166
BRUSSELS, B-1140
BELGIUM

FEDERAL                                                                                                   Claims Related to Insurance Policies
ATTN: BRONSON SMITH
233 S. WACKER DRIVE, SUITE 4700
CHICAGO, IL 60606


FM GLOBAL                                                                                                 Claims Related to Insurance Policies
ATTN: JIM LINDLEY
5700 GRANITE PKWY
PLANO, TX 75024


HCC- TOKIO MARINE                                                                                         Claims Related to Insurance Policies
ATTN: TOM PETTIT
8 FOREST PARK DRIVE
FARMINGTON, CT 06032




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                                                                                               Claims Related to Insurance Policies


Name of Counterparty                                                                                                       Nature

HISCOX USA                                                                                                                 Claims Related to Insurance Policies
ATTN: KEVIN HENRY
520 MADISON AVE
NEW YORK , NY 10022


LIBERTY MUTUAL                                                                                                             Claims Related to Insurance Policies
ATTN: TODD TSCHANTZ
8350 N. CENTRAL EXPWY, SUITE 850
DALLAS, TX 75206


MONITOR                                                                                                                    Claims Related to Insurance Policies
ATTN: CHRIS ZANCHELLI
2850 WEST GOLF ROAD, SUITE 800
ROLLING MEADOWS, IL 60008


NAVIGATORS U.K.                                                                                                            Claims Related to Insurance Policies
ATTN: ALLISON HOLLERN
THE ST BOTOLPH BUILDING
138 HOUNDSDITCH
LONDON, EC3A 7AG
UNITED KINGDOM

NUCLEAR ENERGY LIABILITY INSURANCE ASSOCIATION (NELIA) DBA AMERICAN NUCLEAR INSURERS                                       Claims Related to Insurance Policies
ATTN: MELODY PALMER
95 GLASTONBURY BLVD. SUITE 300
GLASTONBURY, CT 06033


NUCLEAR INSURANCE INSURANCE LIMITED (NEIL)                                                                                 Claims Related to Insurance Policies
ATTN: BRUCE SASSI
1201 MARKET STREET, SUITE 1100
WILMINGTON, DE 19801


OIL CASUALTY INSURANCE, LTD. (OCIL)                                                                                        Claims Related to Insurance Policies
ATTN: MARGARET JONES
P.O. BOX HM 1751
HAMILTON, HM GX
BERMUDA

RLI                                                                                                                        Claims Related to Insurance Policies
ATTN: KERRICK PORTER
909 LAKE CAROLYN PARKWAY, SUITE 800
DALLAS, TX 75039


RSUI (CRC)                                                                                                                 Claims Related to Insurance Policies
ATTN: MIKE ROBISON
945 EAST PACES FERRY ROAD, SUITE 1800
ATLANTA, GA 30326-1125




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                                                                   Claims Related to Insurance Policies


Name of Counterparty                                                                           Nature

SAFECO                                                                                         Claims Related to Insurance Policies
ATTN: TODD TSCHANTZ
8350 N. CENTRAL EXPWY, SUITE 850
DALLAS, TX 75206


STARR AVIATION                                                                                 Claims Related to Insurance Policies
ATTN: JIM ANDERSON
3353 PEACHTREE ROAD, N.E. SUITE 1000
ATLANTA, GA 30326


STARR GROUP OF COMPANIES                                                                       Claims Related to Insurance Policies
ATTN: BILL LAZARIDIS
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR INDEMNITY & LIABIILTY - AUTO                                                             Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR INDEMNITY & LIABIILTY - WC                                                               Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


STARR SURPLUS LINES INS CO. -GL                                                                Claims Related to Insurance Policies
ATTN: CHRISTOPHER PARKER
399 PARK AVENUE, 8TH FLOOR
NEW YORK, NY 10022


TORUS                                                                                          Claims Related to Insurance Policies
ATTN: OLIVER ADE
190 SOUTH LASALLE STREET, SUITE 2025
CHICAGO, IL 60603


XL INSURANCE (BERMUDA) LTD.                                                                    Claims Related to Insurance Policies
ATTN: SALVATORE CANTARELLA
O'HARA HOUSE ONE BERMUDIANA ROAD
P.O. BOX HM 2245
HAMILTON, HM JX
BERMUDA

XL INSURANCE CATLIN                                                                            Claims Related to Insurance Policies
ATTN: ROBERT DUNN
100 CONSTITUTION PLAZA, 17TH FLOOR
HARTFORD , CT 06103




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                                        EXHIBIT D(iii)

                   Claims Related to Accounts Receivable and Accounts Payable

The following Exhibit D(iii) includes Entities that have recently or that currently owe money to
the E-Side Debtors (other than customers, which are discussed in Exhibit D(iv)). Unless
otherwise released by the Plan, the E-Side Debtors expressly reserve all Causes of Action against
or related to all Entities that owe or that may in the future owe money to the E-Side Debtors, the
Reorganized EFH Debtors, or the Reorganized EFIH Debtors regardless of whether such Entity
is included on Exhibit D(iii). Furthermore, unless otherwise released by the Plan, the E-Side
Debtors expressly reserve all Causes of Action against or related to all Entities who assert or may
assert that the Debtors, the Reorganized EFH Debtors, or the Reorganized EFIH Debtors owe
money to them.




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

1STEL INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
205 E HENDERSON ST
CLEBURNE, TX 76031


2H TRANSPORT                                                                               Claims Related to Accounts Receivable and Accounts Payable
2940 JAY DR
LONGVIEW, TX 75605


3 B DOZER SERVICE                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 249
BREMOND, TX 76629


3 DEGREES                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6 FUNTON STREET, SUITE A
THE PRESIDIO OF SAN FRANCISCO
SAN FRANCISCO, CA 94129


360 HOME CONNECT LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
3337 RUSSELL CIR
PLANO, TX 75023


3E ENERGY INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
4318 GREENWOOD LANE
GRAPEVINE, TX 76051


4-L ENGINEERING COMPANY INC                                                                Claims Related to Accounts Receivable and Accounts Payable
420 N DOROTHY DR
RICHARDSON, TX 75081


4-STAR HOSE&SUPPLY INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 541356
DALLAS, TX 75354-1356


9G ENERGY CONSULTING                                                                       Claims Related to Accounts Receivable and Accounts Payable
10066 COPPEDGE LN
DALLAS, TX 75229


A & M FARM SUPPLY                                                                          Claims Related to Accounts Receivable and Accounts Payable
2100 E LOOP 281
LONGVIEW, TX 75605


A K ARMATURE INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
315 N JEFFERSON
IRVING, TX 75061




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                                                                 Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                   Nature

A&E MACHINE SHOP INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 0190
LONE STAR, TX 75668-0190


AAXION INC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4322
TYLER, TX 75712


ABASCO LLC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
8561 EAST NORTH BELT
HUMBLE, TX 77396-2915


ABL SURPLUS                                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8572
TYLER, TX 75711


ABLE COMMUNICATIONS INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
1413 EAST AVENUE H
GRAND PRAIRIE, TX 75050


ABLES-LAND INC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
P O BOX 7933
TYLER, TX 75711


ABSOLUTE CONSULTING INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
7552 NAVARRE PARKWAY STE 63
NAVARRE, FL 32566


ACCENTURE LLP                                                                                          Claims Related to Accounts Receivable and Accounts Payable
LAS COLINAS
5221 NORTH O'CONNOR BOULEVARD, SUITE 1400
IRVING, TX 75039


ACCENTURE LLP                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70629
CHICAGO, IL 60673-0629


ACCLAIM ENERGY LTD                                                                                     Claims Related to Accounts Receivable and Accounts Payable
TWO RIVERWAY STE 800
HOUSTON, TX 77056


ACCOUNTS PAYABLE RECONCILIATION                                                                        Claims Related to Accounts Receivable and Accounts Payable
TRANSACTION
1601 BRYAN ST
DALLAS, TX 75201




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

ACE INDUSTRIES INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
6295 MCDONOUGH DR
NORCROSS, GA 30093


ACE LOCKSMITH SERVICE                                                                         Claims Related to Accounts Receivable and Accounts Payable
1013 S MAYS, SUITE C
ROUND ROCK, TX 78664


ACME ENGINEERING PROD INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
2330 STATE ROUTE 11
PMB #10
MOOERS, NY 12958


ACT COMMODITIES INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
44 MONTGOMERY ST
SUITE 4020
SAN FRANCISCO, CA 94104


ADAMS ELEVATOR EQUIPMENT CO                                                                   Claims Related to Accounts Receivable and Accounts Payable
2611 EAGLE WAY
CHICAGO, IL 60678-1261


ADK SOLUTIONS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
350 HAMILTON ST
LEWISVILLE, TX 75067


ADL HIGH VOLTAGE INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
629 DEERWOOD LN
KELLER, TX 76248


ADM INVESTOR SERVICES, INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
140 BROADWAY FLOOR 23
NEW YORK, NY 10005-1108


ADOBE SYSTEMS INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
345 PARK AVENUE
SAN JOSE, CA 95110-2704


ADVANCED ANALYTICAL SOLUTIONS                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 760
WHITEHOUSE, TX 75791


ADVANCED TECHNOLOGIES CONSULTANT                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 905
NORTHVILLE, MI 48167




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Name of Counterparty                                                                        Nature

AECOM TECHNICAL SERVICES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
AN AECOM COMPANY
1178 PAYSPHERE CIRCLE
CHICAGO, IL 60674


AEGIS INSURANCE SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
ATTN: STEVE WAGNER
1 MEADOWLANDS PLAZA
RUTHERFORD, NJ 07073


AEP ENERGY PARTNERS, INC.                                                                   Claims Related to Accounts Receivable and Accounts Payable
155 W NATIONWIDE BLVD. STE 500
COLUMBUS, OH 43215


AEP SWEPCO                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 24424
CANTON, OH 44701-4424


AEP TEXAS                                                                                   Claims Related to Accounts Receivable and Accounts Payable
P O BOX 2121
CORPUS CHRISTI, TX 78403-2121


AETNA INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
151 FARMINGTON AVENUE
HARTFORD, CT 06156-7614


AGGREKO TEXAS LP                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 972562
DALLAS, TX 75397-2562


AGRICULTURAL SERVICES INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
P O BOX 1270
NASH, TX 75569


AIR SMART INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 517
GRAHAM, TX 76450


AIRGAS CENTRAL ACCOUTING GROUP                                                              Claims Related to Accounts Receivable and Accounts Payable
4700 ELMO WEEDON RD
STE 113
COLLEGE STATION, TX 77845




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

AIRGAS REFRIGERANTS INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 952182
DALLAS, TX 75395-2182


AIRGAS SAFETY INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
WACHOVIA BANK
PO BOX 951884
DALLAS, TX 75395


AIRGAS SPECIALTY PRODUCTS                                                                  Claims Related to Accounts Receivable and Accounts Payable
6260 I35 EAST
WAXAHACHIE, TX 75165


AIRGAS SPECIALTY PRODUCTS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 934434
ATLANTA, GA 31193-4434


AIRGAS USA LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
P O BOX 676015
DALLAS, TX 75267-6015


AKAMAI TECHNOLOGIES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 26590
NEW YORK, NY 10087-6590


ALCOA                                                                                      Claims Related to Accounts Receivable and Accounts Payable
MAX W. LAUN
201 ISABELLA STREET
PITTSBURGH, PA 15219-5858


ALDINGER COMPANY                                                                           Claims Related to Accounts Receivable and Accounts Payable
1440 PRUDENTIAL DRIVE
DALLAS, TX 75235


ALIMAK HEK RENTAL GROUP LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
DEPT 0226
PO BOX 120226
DALLAS, TX 75312-0226


ALL AMERICAN LOCKSMITH                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 851131
MESQUITE, TX 75185-1131




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Name of Counterparty                                                                         Nature

ALL PREPAID CARDS AND ELECTRIC                                                               Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 721099
HOUSTON, TX 77272


ALLCRYO INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1105
MONTGOMERY, TX 77356


ALLEGRO DEVELOPMENT CORP                                                                     Claims Related to Accounts Receivable and Accounts Payable
1445 ROSS AVE STE 2200
DALLAS, TX 75202


ALLEGRO DEVELOPMENT CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
1445 ROSS AVE, STE 2200
DALLAS, TX 75202


ALLEN'S ELECTRIC MOTORS                                                                      Claims Related to Accounts Receivable and Accounts Payable
INC
400A ROY HOPKINS DRIVE
VIVIAN, LA 71082


ALLIANCE DOCUMENT SHREDDING                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1147
SULPHUR SPRINGS, TX 75483


ALLIED ELECTRONICS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE DEPT
PO BOX 2325 TEST
FORT WORTH, TX 76113-2325


ALLIED PLASTIC SUPPLY INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 549020
DALLAS, TX 75354-9020


ALLOYS & COMPONENTS SOUTHWEST                                                                Claims Related to Accounts Receivable and Accounts Payable
2330 QUINCY STREET
DALLAS, TX 75212


ALLTEL CORPORATION                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 9001908
LOUISVILLE, KY 40290-1908


ALLTEX PIPE & SUPPLY INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 911854
DALLAS, TX 75391-1854




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Name of Counterparty                                                                                Nature

ALL-TEX PLUMBING SUPPLY INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 911854
DALLAS, TX 75391-1854


ALMAN ELECTRICAL CONTRACTORS LP                                                                     Claims Related to Accounts Receivable and Accounts Payable
7677 HUNNICUT RD
DALLAS, TX 75228


ALPHA GLASS & MIRROR COMPANY INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
8901 SOVEREIGN ROW
DALLAS, TX 75247


ALPHA INDUSTRIAL SUPPLY                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 472356
GARLAND, TX 75047-2356


ALSTOM POWER INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
200 GREAT POND DRIVE
WINDSOR, CT 06095


ALSTOM POWER INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19352
PALATINE, IL 60055-9352


ALSTOM POWER INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730066
DALLAS, TX 75373


AMEC FOSTER WHEELER NORTH AMERICA CORP                                                              Claims Related to Accounts Receivable and Accounts Payable
CORP
PO BOX 822178
PHILADELPHIA, PA 19182-2178


AMECO INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 198977
ATLANTA, GA 30384-8977


AMEREX BROKERS LLC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
ONE SUGAR CREEK CENTER BLVD SUITE 700
SUGAR LAND, TX 77478


AMEREX BROKERS LLC-GAS                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 201694
DALLAS, TX 75320-1694




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Name of Counterparty                                                                        Nature

AMEREX BROKERS LLC-RETAIL                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 201697
DALLAS, TX 75230


AMERICAN ELECTRIC POWER                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 24422
CANTON, OH 44701-4422


AMERICAN ELECTRIC POWER/SWEPCO                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 24424
CANTON, OH 44701-4424


AMERICAN ELEVATOR TECHNOLOGIES                                                              Claims Related to Accounts Receivable and Accounts Payable
5652 HWY 124
BECKVILLE, TX 75631


AMERICAN ENERPOWER INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
218 SOUTHCHESTER LANE
HOUSTON, TX 77079


AMERICAN NUCLEAR INSURERS                                                                   Claims Related to Accounts Receivable and Accounts Payable
95 GLASTONBURY BLVD STE 300
GLASTONBURY, CT 06033-4453


AMERICAN WIND POWER CENTER                                                                  Claims Related to Accounts Receivable and Accounts Payable
1701 CANYON LAKE DRIVE
LUBBOCK, TX 79403


AMERIPOWER                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2808 GRANT LAKE BLVD
P.O. BOX 16206
UNIT 503
SUGARLAND, TX 77479-1379


AMETEK INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8500/S-8275
PHILADELPHIA, PA 19178-8275


ANADARKO E & P COMPANY L P                                                                  Claims Related to Accounts Receivable and Accounts Payable
ATTN: ALEX KAISER
PO BOX 1330
HOUSTON, TX 77251-1330




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

ANADARKO PETROLEUM CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
1201 LAKE ROBBINS DRIVE
THE WOODLANDS, TX 77380


ANA-LAB CORPORATION                                                                         Claims Related to Accounts Receivable and Accounts Payable
P O BOX 9000
KILGORE, TX 75663-9000


ANALYSTS INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 847921
DALLAS, TX 75284-7921


ANALYTIC STRESS RELIEVING INC                                                               Claims Related to Accounts Receivable and Accounts Payable
DEPT 1027
PO BOX 740209
ATLANTA, GA 30374-0209


ANCHOR SCIENTIFIC INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
P O BOX 378
LONG LAKE, MN 55356


ANCIRA WINTON CHEVROLET                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 29719
SAN ANTONIO, TX 78229


ANDREWS GROUP                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 130291
TYLER, TX 75713


ANIXTER-DALLAS                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 847428
DALLAS, TX 75284-7428


ANN MCGEE-COOPER & ASSOCIATES                                                               Claims Related to Accounts Receivable and Accounts Payable
4236 HOCKADAY DR
DALLAS, TX 75229


ANODAMINE INCORPORATED                                                                      Claims Related to Accounts Receivable and Accounts Payable
2590 OAKMONT DR BLDG 300
ROUND ROCK, TX 78665


AOCO LOCKSMITHS                                                                             Claims Related to Accounts Receivable and Accounts Payable
1140 W PIONEER DR
IRVING, TX 75061




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                                                            Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                              Nature

AON (BERMUDA) LTD                                                                                 Claims Related to Accounts Receivable and Accounts Payable
AON HOUSE
30 WOODBOURNE AVE
PEMBROKE HM, 00008


AON HEWITT INVESTMENT CONSULTING INC                                                              Claims Related to Accounts Receivable and Accounts Payable
39584 TREASURY CTR
CHICAGO, IL 60694-9500


AON HEWITT INVESTMENT CONSULTING INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 95135
CHICAGO, IL 60694-5135


AON RISK SERVICES (AON)                                                                           Claims Related to Accounts Receivable and Accounts Payable
75 REMITTANCE DR STE 1943
CHICAGO, IL 60675-1943


AON RISK SERVICES SOUTHWEST INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
75 REMITTANCE DR STE 1943
CHICAGO, IL 60675-1943


AON RISK SERVICES SOUTHWEST INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
AON RISK SERVICES COMPANIES INC
75 REMITTANCE DR STE 1943
CHICAGO, IL 60675-1943


AON RISK SERVICES SOUTHWEST, INC.                                                                 Claims Related to Accounts Receivable and Accounts Payable
75 REMITTANCE DR STE 1943
CHICAGO, IL 60675-1943


AP RENTALS                                                                                        Claims Related to Accounts Receivable and Accounts Payable
823 W MARSHALL AVE
LONGVIEW, TX 75601


AP SERVICES LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
BOX 223863
PITTSBURGH, PA 15250-2863


APPLEGATE COMMODITIES LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
620 SHERSBURY AVENUE
TINTON FALLS, NJ 07701


APPLIED ENERGY CO LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
1205 VENTURE COURT STE 100
CARROLLTON, TX 75006




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Name of Counterparty                                                                         Nature

APPLIED INDUSTRIAL TECHNOLOGIES                                                              Claims Related to Accounts Receivable and Accounts Payable
15100 INDEPENDENCE PKWY.
FORT WORTH, TX 75178


APPLIED INDUSTRIAL TECHNOLOGIES                                                              Claims Related to Accounts Receivable and Accounts Payable
22510 NETWORK PLACE
CHICAGO, IL 60673-1225


APPLIED INDUSTRIAL TECHNOLOGIES                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 100538
PASADENA, CA 91189-0538


APPTIO                                                                                       Claims Related to Accounts Receivable and Accounts Payable
11100 NE 8TH STREET SUITE 600
BELLEVUE, WA 98004


APRICORN                                                                                     Claims Related to Accounts Receivable and Accounts Payable
12191 KIRKHAM RD
POWAY, CA 92064


APRIL BUILDING SERVICES INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
4865 GRETNA STREET
DALLAS, TX 75207


ARAMARK UNIFORM SERVICES INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
22014 BUSH DR.
WACO, TX 76712


ARAMARK UNIFORM SERVICES INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 731676
DALLAS, TX 75373-1676


ARATEX SERVICES INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 731676
DALLAS, TX 75373-1676


ARATEX SERVICES INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732223
DALLAS, TX 75373-2223


ARBILL INDUSTRIES INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 820542
PHILADELPHIA, PA 19182-0542




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Name of Counterparty                                                                          Nature

ARCILIA ACOSTA                                                                                Claims Related to Accounts Receivable and Accounts Payable
1341 W MOCKINGBIRD LN STE 1200 W
DALLAS, TX 75247


ARGO POWER SERVICES LTD                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 826706
PHILADELPHIA, PA 19182-6706


ARGO TURBOSERVE CORP                                                                          Claims Related to Accounts Receivable and Accounts Payable
588 BROADWAY
SCHENECTADY, NY 12305


ARGUS MEDIA INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
2929 ALLEN PKY STE 700
HOUSTON, TX 77019


ARIBA INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PNC BANK
PO BOX 642962
PITTSBURGH, PA 15264-2962


ARP BARNETT                                                                                   Claims Related to Accounts Receivable and Accounts Payable
425 HOUSTON STREET, SUITE 300
FORT WORTH, TX 76102


ARROWHEAD CONTRACTOR SUPPLY INC                                                               Claims Related to Accounts Receivable and Accounts Payable
201 ESTES DRIVE
LONGVIEW, TX 75602


ARROWHEAD OPERATING, INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
400 EAST LOOP 250. BUILDING 107
MIDLAND, TX 79705


ARVOS INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
DEPTH CH 19352
PALENTINE, IL 60055


ASHER MEDIA INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
18333 PRESTON RD.
SUITE 560
DALLAS, TX 75252




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Name of Counterparty                                                                                      Nature

ASOCIACION NUCLEAR ASCO                                                                                   Claims Related to Accounts Receivable and Accounts Payable
CARRETERA NACIONAL 340 KM 1123
L'HOSPITALET DE L'INFANT
TARRAGONA, FC 43890


ASSOCIATED ELECTRIC & GAS INSURANCE SERVICES                                                              Claims Related to Accounts Receivable and Accounts Payable
ATTN: RONALD S. BERTRAND
1 MEADOWLANDS PLAZA
EAST RUTHERFORD, NJ 07073


ASSOCIATED SALES & BAG CO                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3285
MILWAUKEE, WI 53201-3285


ASSOCIATED SUPPLY COMPANY INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
P O BOX 3888
LUBBOCK, TX 79452


ASSOCIATION OF ELECTRIC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
COMPANIES OF TEXAS
1005 CONGRESS AVE STE 600
AUSTIN, TX 78701


ASTECH INC                                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 673175
DETROIT, MI 48267-3175


ASTRO-MED INC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 842554
BOSTON, MA 02284-2554


AT&T                                                                                                      Claims Related to Accounts Receivable and Accounts Payable
2200 N GREENVILLE AVE
RICHARDSON, TX 75082


AT&T                                                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 5014
CAROL STREAM, IL 60197-5014


AT&T                                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5091
CAROL STREAM, IL 60197-5091




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Name of Counterparty                                                                     Nature

AT&T                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5094
CAROL STREAM, IL 60197-5094


ATLAS COMMODITIES LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
24 E GREENWAY PLZ STE 445
HOUSTON, TX 77046


ATLAS COPCO RENTAL LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
DEPT 3243
PO BOX 123243
DALLAS, TX 75312-3243


ATLAS MANUFACTURING CO INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1969
MONTICELLO, MS 39654


ATR INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6405 CYPRESSWOOD DR STE 250
SPRING, TX 77379


ATR INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6905 CYPRESSWOOD DR
SPRING, TX 77379


ATT SALES & SERVICE                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 3074
FORNEY, TX 75126


ATWOOD, SARAH                                                                            Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


AUGUST INDUSTRIES                                                                        Claims Related to Accounts Receivable and Accounts Payable
2811 EISENHOWER STREET
CARROLLTON, TX 75007


AUREA ENERGY SOLUTIONS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671621
DALLAS, TX 75267


AUSTIN ARMATURE WORKS                                                                    Claims Related to Accounts Receivable and Accounts Payable
304 COMMERCIAL DR
BUDA, TX 78610




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Name of Counterparty                                                                         Nature

AUTOMART                                                                                     Claims Related to Accounts Receivable and Accounts Payable
1815 HICKORY ST
COLORADO CITY, TX 79512


AUTOMATIC PUMP & EQUIPMENT CO                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 26012
BEAUMONT, TX 77720-6012


AUTONOMY SYSTEMS LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
218 MAIN ST 731
KIRKLAND, WA 98033


AVISTA TECHNOLOGIES                                                                          Claims Related to Accounts Receivable and Accounts Payable
140 BOSSTICK BLVD
SAN MARCOS, CA 92069


AWC INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 974800
DALLAS, TX 75397-4800


AZIMA INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
300 TRADE CENTER DRIVE STE 4610
WOBURN, MA 01801


B & L PORTABLE TOILETS                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1371
GEORGETOWN, TX 78627


B B SMARTWORX INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1040
OTTAWA, IL 61350


B E CONSULTING INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
2008 DUKE DR
NAPLES, FL 34110-1031


B G CONSTRUCTION                                                                             Claims Related to Accounts Receivable and Accounts Payable
3226 FM 1997 N
MARSHALL, TX 75670


B S TIRE                                                                                     Claims Related to Accounts Receivable and Accounts Payable
203 NEWTON ST
THORNDALE, TX 76577




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Name of Counterparty                                                                               Nature

B T U BROKERS INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
299 S MAIN ST STE 360
ATTN FERMIN MIERA
SALT LAKE CITY, UT 84111


B3 SYSTEMS INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
3208 106 SPOTTSWOOD ST
RALEIGH, NC 27615


BABCOCK & WILCOX                                                                                   Claims Related to Accounts Receivable and Accounts Payable
CARE OF PNC BANK
PO BOX 643957
PITTSBURGH, PA 15264-3957


BABCOCK & WILCOX                                                                                   Claims Related to Accounts Receivable and Accounts Payable
POWER GENERATION GROUP, INC
PO BOX 643957
PITTSBURGH, PA 15264-3957


BADGER DAYLIGHTING CORP                                                                            Claims Related to Accounts Receivable and Accounts Payable
75 REMITTANCE DR
STE# 3185
CHICAGO, IL 60675-3185


BAK SERVICES INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 334
PARIS, TX 75461


BAKER CORP                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 843596
LOS ANGELES, CA 90084-3596


BAKER DISTRIBUTING COMPANY                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 848459
DALLAS, TX 75284-8459


BAKER HUGHES OILFIELD OPERATIONS, INC                                                              Claims Related to Accounts Receivable and Accounts Payable
2929 ALLEN PARKWAY
SUITE 2100
HOUSTON, TX 77019


BALDWIN METALS CO INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
1901 W COMMERCE ST
DALLAS, TX 75208




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Name of Counterparty                                                                        Nature

BARDIN GREENE APARTMENT LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
300 BARDIN GREENE DR
ARLINGTON, TX 76018


BARILLA SOLAR, LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
350 W. WASHINGTON ST
SUITE 600
TEMPE, AZ 85281-1496


BARSCO                                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 460
ADDISON, TX 75001


BASICEPARTS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 176
CHARLOTTE, VT 05445


BASS ENGINEERING COMPANY INC                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 5609
LONGVIEW, TX 75608


BAXTER SALES CO INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
114 E NIBLICK ST
LONGVIEW, TX 75604


BAY AREA GENERAL CRANE SERVICE                                                              Claims Related to Accounts Receivable and Accounts Payable
4206 WESLOW
HOUSTON, TX 77087


BAYLESS AUTO SUPPLY                                                                         Claims Related to Accounts Receivable and Accounts Payable
357 W COMMERCE ST
FAIRFIELD, TX 75840


BAZAARVOICE INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
3900 N. CAPITAL OF TEXAS HWY.
SUITE 300
AUSTIN, TX 78746


BEACON AVIATION INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
4300 MARKETPOINTE DR STE 200
MINNEAPOLIS, MN 55435


BEACON E & P COMPANY                                                                        Claims Related to Accounts Receivable and Accounts Payable
1600 BROADWAY ST.
DENVER, CO 80202




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Name of Counterparty                                                                                 Nature

BECKVILLE ISD TAX COLLECTOR                                                                          Claims Related to Accounts Receivable and Accounts Payable
4398 SH 149
BECKVILLE, TX 75631


BEECHEM EQUIPMENT INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
1209 BUSINESS HWY 6 NORTH
MARLIN, TX 76661


BELLOMY RESEARCH                                                                                     Claims Related to Accounts Receivable and Accounts Payable
175 SUNNYNOLL COURT
WINSTON-SALEM, NC 27106


BENCHMARK INDUSTRIAL SERVICES                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 931
KILGORE, TX 75663


BENETECH INC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
4426 PAYSPHERE CIRCLE
CHICAGO, IL 60674


BENNETT ON SITE SERVICES LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 100004
MCDONOUGH, GA 30253


BENTLEY SYSTEMS INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 828836
PHILADELPHIA, PA 19182-8836


BENTLY NEVADA LLC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
C/O B OF A
FILE NO 42058
LOS ANGELES, CA 90074-2058


BEST PUMP WORKS                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 204739
DALLAS, TX 75320-4739


BETE FOG NOZZLE INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
50 GREENFIELD ST
GREENFIELD, MA 01301


BGC ENVIRONMENTAL BROKERAGE SERVICES LP                                                              Claims Related to Accounts Receivable and Accounts Payable
199 WATER STREET FLOOR 19
ATTN ELIZABETH GERARDI
NEW YORK, NY 10038




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Name of Counterparty                                                                                            Nature

BIG CITY LIGHTS                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
7339 DALEWOOD LN
DALLAS, TX 75214


BILL SPITZER & ASSOCIATES                                                                                       Claims Related to Accounts Receivable and Accounts Payable
11530 BRITTMOORE PARK DR
HOUSTON, TX 77041-6915


BISHOP HILL ENERGY LLC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
179 LINCOLN STREET, STE 500
BOSTON, MA 02111


BI-STATE RUBBER INC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 608
FENTON, MO 63026-0608


BKM ELECTRIC LLC                                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 241
1580 W NORTH ST
BLOSSOM, TX 75416


BLACK WALNUT MINING                                                                                             Claims Related to Accounts Receivable and Accounts Payable
8403 COLESVILLE ROAD, SUITE 915
SILVER SPRING, MD 20910


BLANTON & ASSOCIATES INC                                                                                        Claims Related to Accounts Receivable and Accounts Payable
5 LAKEWAY CENTRE CT STE 200
AUSTIN, TX 78734


BLEVINS, MICHAEL R                                                                                              Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


BLOOMBERG LP                                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 416604
BOSTON, MA 02241-6604


BLUE & SILVER ENERGY CONSULTING LLC DBA PRO-STAR ENERGY SERVICES                                                Claims Related to Accounts Receivable and Accounts Payable
1021 MAIN ST SUITE 1571
HOUSTON, TX 77002


BLUE CROSS BLUE SHIELD HEALTH                                                                                   Claims Related to Accounts Receivable and Accounts Payable
CARE SERVICES CORP
300 E RANDOLPH ST
CHICAGO, IL 60601




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Name of Counterparty                                                                               Nature

BNSF RAILWAY COMPANY                                                                               Claims Related to Accounts Receivable and Accounts Payable
2650 LOU MENK DRIVE
FORT WORTH, TX 76131-2830


BOB LILLY PROFESSIONAL PROMO                                                                       Claims Related to Accounts Receivable and Accounts Payable
12850 SPURLING RD STE 100
DALLAS, TX 75230


BOLIN CONSTRUCTION INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
462 CR 509
DESDEMONA, TX 76445


BONDED LIGHTNING PROTECTION                                                                        Claims Related to Accounts Receivable and Accounts Payable
122 LEESLEY LANE
ARGYLE, TX 76226


BOOMI INC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
801 CASSATT ROAD, SUITE 120
BERWYN, PA 19312


BORAL MATERIAL TECHNOLOGIES                                                                        Claims Related to Accounts Receivable and Accounts Payable
45 NORTHEAST LOOP 410 STE. 700
SAN ANTONIO, TX 78216


BORAL MATERIAL TECHNOLOGIES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 731146
DALLAS, TX 75373-1146


BOSWORTH BROKERS LLC                                                                               Claims Related to Accounts Receivable and Accounts Payable
TWO GREENWAY PLAZA STE 430
HOUSTON, TX 77046


BOTTOM CLEANERS                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 74
BREMOND, TX 76629


BOWIE-CASS ELECTRIC COOPERATIVE, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
117 NORTH ST
DOUGLASSVILLE, TX 75560


BP AMERICA                                                                                         Claims Related to Accounts Receivable and Accounts Payable
501 WESTLAKE PARK BLVD
HOUSTON, TX 77079




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Name of Counterparty                                                                               Nature

BP ENERGY COMPANY                                                                                  Claims Related to Accounts Receivable and Accounts Payable
201 HELIOS WAY
HOUSTON, TX 77079


BRADY CREDIT TRADING LTD                                                                           Claims Related to Accounts Receivable and Accounts Payable
RIVERSIDE HOUSE
2A SOUTHWARK BRIDGE RD
WIRE TRANSFER ONLY
LONDON, FC SE1 9HA


BRAHMTEX INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
5756 EASTERLING DR
BRYAN, TX 77808


BRAKE SUPPLY CO, INC.                                                                              Claims Related to Accounts Receivable and Accounts Payable
DAVID KOCH
5501 FOUNDATION BLVD
EVANSVILLE, IN 47725


BRAKE SUPPLY-FORT WORTH                                                                            Claims Related to Accounts Receivable and Accounts Payable
4280 PAYSPHERE CIRCLE
CHICAGO, IL 60674


BRAMLETT IMPLEMENT, INC.                                                                           Claims Related to Accounts Receivable and Accounts Payable
3098 W WASHINGTON ST
STEPHENVILLE, TX 76401


BRANCE-KRACHY-CLARK                                                                                Claims Related to Accounts Receivable and Accounts Payable
DEPT 53
PO BOX 4346
HOUSTON, TX 77210-4346


BRAZOS ELECTRIC POWER COOPERATIVE                                                                  Claims Related to Accounts Receivable and Accounts Payable
2404 LA SALLE AVE
WACO, TX 76702-2585


BRAZOS MAG LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
10000 DOGWOOD TRAIL
COLLEGE STATION, TX 77845


BRAZOS RIVER AUTHORITY                                                                             Claims Related to Accounts Receivable and Accounts Payable
ATTN: PHIL FORD - GENERAL MANAGER/CEO
4600 COBBS DR.
WACO, TX 76710




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                                                         Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                           Nature

BRAZOS VALLEY PARTS CO                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 519
FRANKLIN, TX 77856


BREEZE LLC D/B/A BREEZE POWER LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
400 ST. PAUL ST, STE 1400
DALLAS, TX 75201


BRIAN KELLY GLASS                                                                              Claims Related to Accounts Receivable and Accounts Payable
& MIRROR CO INC
PO BOX 373
SEAGOVILLE, TX 75159


BRILLIANT ENERGY, LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
800 WILCREST DR, SUITE 109
HOUSTON, TX 77042


BROADSPIRE SERVICES INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
A CRAWFORD COMPANY
PO BOX 814610
DALLAS, TX 75381


BROKEN ARROW INTERESTS LTD                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 270772
HOUSTON, TX 77277-0772


BROUSSARD                                                                                      Claims Related to Accounts Receivable and Accounts Payable
5151 KATY FREEWAY, SUITE 310
HOUSTON, TX 77007


BROUSSARD LOGISTICS                                                                            Claims Related to Accounts Receivable and Accounts Payable
5151 KATY FREEWAY, SUITE 310
HOUSTON, TX 77007


BROWN & GAY ENGINEERS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
10777 WESTHEIMER STE 400
HOUSTON, TX 77042


BROWN-CAMPBELL DALLAS                                                                          Claims Related to Accounts Receivable and Accounts Payable
11800 INVESTMENT DR
SHELBY TOWNSHIP, MI 48315


BRYAN HOSE AND GASKET ROCKDALE                                                                 Claims Related to Accounts Receivable and Accounts Payable
P O BOX 2320
BRYAN, TX 77806




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

BRYAN TEXAS UTILITIES                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1000
BRYAN, TX 77805


BSG TPV LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
DBA VOICELOG
PO BOX 1897
SAN ANTONIO, TX 78297-1897


BUCKMAN LABORATORIES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 845676
DALLAS, TX 75284-5676


BUFFALO INDUSTRIAL SUPPLY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX N
HWY 79 S
BUFFALO, TX 75831


BUFFALO MACHINE & FABRICATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 21
HWY 79
BUFFALO, TX 75831


BUILD COMPUTER PRODUCTS                                                                       Claims Related to Accounts Receivable and Accounts Payable
BUILD REHAB INDUSTRIES
2205 N HOLLYWOOD WAY
BURBANK, CA 91505


BULLARD INC DBA DEPEND-A-CAN CO                                                               Claims Related to Accounts Receivable and Accounts Payable
DBA DEPEND A CAN CO
PO BOX 1518
PALESTINE, TX 75802


BURKE WELDING SUPPLY & TOOL CO                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1587
MONAHANS, TX 79756


BURNS & MCDONNELL ENGINEERING CO                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 411883
KANSAS CITY, MO 64141-1883


BUSINESS RESOURCE GROUP                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 641417
SAN JOSE, CA 95164-1417




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                                                                           Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                             Nature

BUTLER & LAND INC                                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 550399
DALLAS, TX 75355-0399


BWM SERVICES                                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 176
CALDWELL, TX 77836


C & I ENERGY PARTNERS, LLC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
12740 HOMESTRETCH DR
FORT WORTH, TX 76244


C C CREATIONS LTD                                                                                                Claims Related to Accounts Receivable and Accounts Payable
1800 SHILOH AVE
BRYAN, TX 77803


CABOT OIL & GAS                                                                                                  Claims Related to Accounts Receivable and Accounts Payable
THREE MEMORIAL CITY PLAZA, 840 GESSNER ROAD, SUITE 1400
HOUSTON, TX 77024


CACTUS ENVIRONMENTAL SERVICES                                                                                    Claims Related to Accounts Receivable and Accounts Payable
2471 S. DALLAS AVENUE
LANCASTER, TX 75416


CACTUS ENVIRONMENTAL SERVICES                                                                                    Claims Related to Accounts Receivable and Accounts Payable
4960 SINGLETON BLVD
DALLAS, TX 75212


CALDWELL MACHINE & GEAR INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1869
MOUNT PLEASANT, TX 75456-1869


CALL COMMUNICATIONS INC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
RADIO SHACK DEALER
PO BOX 1149
ROCKDALE, TX 76567


CALPINE ENERGY SERVICES, L.P.                                                                                    Claims Related to Accounts Receivable and Accounts Payable
717 TEXAS AVENUE, SUITE 1000
CORPORATE CREDIT DEPARTMENT
HOUSTON, TX 77002


CAMBRIA COGENERATION COMPANY                                                                                     Claims Related to Accounts Receivable and Accounts Payable
243 RUBISCH RD
EBENSBURG, PA 15931




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

CAMELOT                                                                                      Claims Related to Accounts Receivable and Accounts Payable
8140 WALNUT HILL LN STE 700
DALLAS, TX 75231


CAMELOT STRATEGIC MARKETING                                                                  Claims Related to Accounts Receivable and Accounts Payable
& MEDIA
8140 WALNUT HILL LANE SUITE 700
DALLAS, TX 75231


CAMERON                                                                                      Claims Related to Accounts Receivable and Accounts Payable
CAMERON
PO BOX 730172
DALLAS, TX 75373-0172


CAMP COUNTY CHAMBER OF COMMERCE                                                              Claims Related to Accounts Receivable and Accounts Payable
202 JEFFERSON STREET
PITTSBURG, TX 75686


CANTU FOODS & SUPPLY                                                                         Claims Related to Accounts Receivable and Accounts Payable
1601 BRYAN STREET #210
DALLAS, TX 75201-3480


CAPCORP INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 540757
DALLAS, TX 75354-0757


CAPGEMINI                                                                                    Claims Related to Accounts Receivable and Accounts Payable
623 FIFTH AVE 33RD FLOOR
NEW YORK, NY 10022


CAPGEMINI AMERICA INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
623 FIFTH AVE 33RD FLOOR
NEW YORK, NY 10022


CAPGEMINI TECHNOLOGIES LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
12701 COLLECTION CENTER DR
CHICAGO, IL 60693


CAPGEMINI TECHNOLOGIES LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
623 FIFTH AVE 33RD FLOOR
NEW YORK, NY 10022




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                                                         Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                           Nature

CAPGEMINI TECHNOLOGIES LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PNC BANK C/O ERNST & YOUNG US LLP
3712 SOLUTIONS CENTER
CHICAGO, IL 60677-3007


CAPITOL CITY JANITORIAL INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
2420 B PATTERSON INDUSTRIAL DR
PFLUGERVILLE, TX 78660


CAPUTECH                                                                                       Claims Related to Accounts Receivable and Accounts Payable
1809 LAKE LANDING DR
LEAGUE CITY, TX 77573


CARBOLINE COMPANY                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 931942
CLEVELAND, OH 44193-0004


CAREER MANAGEMENT PARTNERS                                                                     Claims Related to Accounts Receivable and Accounts Payable
2425 N CENTRAL EXPY STE 400
RICHARDSON, TX 75080


CAREMARK                                                                                       Claims Related to Accounts Receivable and Accounts Payable
2211 SANDERS ROAD
10TH FLOOR
NORTHBROOK, IL 60062


CARGILL POWER MARKETS, LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
9350 EXCELSIOR BLVD MS 150
HOPKINS, MN 55343


CARL WHITE'S AUTOPLEX                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1773
CORSICANA, TX 75151


CARLTON INDUSTRIES LP                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 280
LA GRANGE, TX 78945


CARRIZO OIL AND GAS                                                                            Claims Related to Accounts Receivable and Accounts Payable
1000 LOUISIANA STREET, SUITE 1500
HOUSTON, TX 77002


CARTER EQUIPMENT                                                                               Claims Related to Accounts Receivable and Accounts Payable
210 W TYLER ST
LONGVIEW, TX 75601




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                                                                  Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                    Nature

CAR-TEX TRAILER CO INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2786 SE LOOP
CARTHAGE, TX 75633


CARTHAGE MACHINE & WELDING INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 232
CARTHAGE, TX 75633


CASINO KNIGHTS                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 91413
AUSTIN, TX 78709


CASNE ENGINEERING INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
10604 NE 38TH PL STE 205
KIRKLAND, WA 98033


CASTLETON COMMODITIES MERCHANT TRADING, LP                                                              Claims Related to Accounts Receivable and Accounts Payable
2200 ATLANTIC ST, SUITE 800
STAMFORD, CT 06897


CATERPILLAR                                                                                             Claims Related to Accounts Receivable and Accounts Payable
100 NORTH EAST ADAMS STREET
PEORIA, IL 61629


CDW DIRECT LLC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 75723
CHICAGO, IL 60675-5723


CECO SALES CORPORATION                                                                                  Claims Related to Accounts Receivable and Accounts Payable
708 N MAIN ST
FORT WORTH, TX 76164


CELANESE                                                                                                Claims Related to Accounts Receivable and Accounts Payable
225 E JOHN CARPENTER FWY
STE 1200
ATTN MARCIA WOOD
IRVING, TX 75062


CELANESE LTD                                                                                            Claims Related to Accounts Receivable and Accounts Payable
P O BOX 819005
DALLAS, TX 75381-9005


CELINA MIZCLES                                                                                          Claims Related to Accounts Receivable and Accounts Payable
11601 CENTURY OAK TER APT 4101
AUSTIN, TX 78758




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                                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                        Nature

CELTEX INDUSTRIES INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
997 CHEROKEE TRACE
WHITE OAK, TX 75693


CEMSPRO                                                                                                     Claims Related to Accounts Receivable and Accounts Payable
CEMSPRO
518 WILD FIRE DR
WALDRON, AR 72958


CENTER OPERATING COMPANY LP & DALLAS MAVERICKS                                                              Claims Related to Accounts Receivable and Accounts Payable
2500 VICTORY AVE
DALLAS, TX 75219


CENTRAL FREIGHT LINES                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2638
WACO, TX 76702-2638


CENTRAL TEXAS SECURITY & FIRE                                                                               Claims Related to Accounts Receivable and Accounts Payable
EQUIPMENT INC
205B-1B OTIS DRIVE
WACO, TX 76712


CENTRIFUGAL TECHNOLOGIES INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 958314
ST LOUIS, MO 63195


CENTURY GEOPHYSICAL CORP                                                                                    Claims Related to Accounts Receivable and Accounts Payable
1223 S 71ST E AVE
TULSA, OK 74112


CENTURY WEATHERPROOFING INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1735
BOWIE, TX 76230


CENTURYLINK                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4300
CAROL STREAM, IL 60197-4300


CERTIFIED BOOM REPAIR SERVICE INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
1902 N 38TH ST
TAMPA, FL 33605


CESCO INC                                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 550727
DALLAS, TX 75355




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                                                               Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                 Nature

CETECH INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
602 N 1ST ST
GARLAND, TX 75040


CFJ MANUFACTURING                                                                                    Claims Related to Accounts Receivable and Accounts Payable
5001 NORTH FWY
FORT WORTH, TX 76106


CGS BROKERAGE LLC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
DBA BLUE FLAME
5884 POINT W DR STE 110
HOUSTON, TX 77036


CHALLENGER GRAY & CHRISTMAS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 324
WINNETKA, IL 60093


CHAMELEON INDUSTRIES INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 853027
MESQUITE, TX 75185


CHAMPION SEPTIC SERVICES                                                                             Claims Related to Accounts Receivable and Accounts Payable
6977 FM 2319
LORAINE, TX 79532


CHARGEPOINT INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
DEPT LA 24104
PASADENA, CA 91185-4104


CHEMETEK ENGINEERED EQUIPMENT SALES AND                                                              Claims Related to Accounts Receivable and Accounts Payable
SERVICE LLC
2410 VAIL DR
DEHMAH SPRINGS, LA 70726


CHEMICAL WEED CONTROL                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 512
BROWNFIELD, TX 79316


CHEMTEX INDUSTRIAL INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6964
LONGVIEW, TX 75608


CHEMTREAT INC                                                                                        Claims Related to Accounts Receivable and Accounts Payable
15045 COLLECTION CTR DR
CHICAGO, IL 60693




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Name of Counterparty                                                                          Nature

CHERUBIM CUSTOM MILLWORK                                                                      Claims Related to Accounts Receivable and Accounts Payable
4307 SHILLING WAY
DALLAS, TX 75237


CHESAPEAKE OPERATING INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 18496
OKLAHOMA CITY, OK 73154-0496


CHESTERTON-TEXAS                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3351
BOSTON, MA 02241


CHEVRON USA, INC.                                                                             Claims Related to Accounts Receivable and Accounts Payable
6001 BOLLINGER CANYON ROAD
ROOM L-4216
SAN RAMON, CA 94583-2324


CHIEF POWER FINANCE, LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
13065 PLANT RD
BREMOND, TX 76629


CHOICE ENERGY SERVICES RETAIL LP                                                              Claims Related to Accounts Receivable and Accounts Payable
5151 SAN FELIPE STE 2200
HOUSTON, TX 77056


CHOICE NATURAL GAS LP                                                                         Claims Related to Accounts Receivable and Accounts Payable
5151 SAN FELIPE STE#2200
ACCOUNTS RECEIVABLE
HOUSTON, TX 77056


CHOICE POWER LP                                                                               Claims Related to Accounts Receivable and Accounts Payable
5151 SAN FELIPE STE#2200
ACCOUNTS RECEIVABLE
HOUSTON, TX 77056


CHOICE SOLUTIONS                                                                              Claims Related to Accounts Receivable and Accounts Payable
7015 COLLEGE BLVD SUITE 300
OVERLAND PARK, KS 66211


CHOOSE ENERGY LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
465 CALIFORNIA ST STE 1250
SAN FRANCISCO, CA 94104




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Name of Counterparty                                                                      Nature

CHUBB & SON                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 382001
PITTSBURGH, PA 15250-8001


CI ACTUATION                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 842348
DALLAS, TX 75284-2348


CINTAS CORPORATION #439                                                                   Claims Related to Accounts Receivable and Accounts Payable
825 W SANDY LAKE ROAD
SUITE 100
COPPELL, TX 75019


CINTAS FIRST AID & SAFETY                                                                 Claims Related to Accounts Receivable and Accounts Payable
P O BOX 631025
CINCINNATI, OH 45263-1025


CINTAS FIRST AID & SAFETY                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 101007
PASADENA, CA 91189-1007


CIRCUIT BREAKER SALES CO INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1098
GAINESVILLE, TX 76241


CIRCUIT BREAKER SALES CO INC                                                              Claims Related to Accounts Receivable and Accounts Payable
REPAIR INC
PO BOX 1179
DEER PARK, TX 77536


CITIBANK, N.A.                                                                            Claims Related to Accounts Receivable and Accounts Payable
ATTN: ANNEMARIE PAVCO
1615 BRETT ROAD, OPS III
NEW CASTLE, DE 19720


CITIGROUP ENERGY INC.                                                                     Claims Related to Accounts Receivable and Accounts Payable
2800 POST OAK BOULEVARD
SUITE 500
HOUSTON, TX 77056


CITY OF CALVERT                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 505
CALVERT, TX 77837




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Name of Counterparty                                                                           Nature

CITY OF COPPELL                                                                                Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 9478
COPPELL, TX 75019-9478


CITY OF DALLAS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
DALLAS CITY HALL
1500 MARILLA ST
ROOM 4/A/NORTH
DALLAS, TX 75201


CITY OF FORNEY                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 826
FORNEY, TX 75126-0826


CITY OF GARLAND                                                                                Claims Related to Accounts Receivable and Accounts Payable
217 NORTH FIFTH STREET
GARLAND, TX 75046


CITY OF GOLDSMITH                                                                              Claims Related to Accounts Receivable and Accounts Payable
110 HENDRICKSON
GOLDSMITH, TX 79741


CITY OF GRAHAM                                                                                 Claims Related to Accounts Receivable and Accounts Payable
ATTN: LARRY FIELDS - CITY MANAGER
429 FOURTH STREET
GRAHAM, TX 76450


CITY OF HENDERSON                                                                              Claims Related to Accounts Receivable and Accounts Payable
C/O JAMES HUGHES SUPERINTENDANT
400 W MAIN
HENDERSON, TX 75652


CITY OF ROCKDALE                                                                               Claims Related to Accounts Receivable and Accounts Payable
ATTN: ACCOUNTS PAYABLE
PO BOX 586
ROCKDALE, TX 76567-0586


CITY OF SWEETWATER                                                                             Claims Related to Accounts Receivable and Accounts Payable
KELLI FERGUSON (ADMINISTRATION)
200 E 4TH ST
SWEETWATER, TX 79556


CITY OF TAYLOR                                                                                 Claims Related to Accounts Receivable and Accounts Payable
400 PORTER ST
TAYLOR, TX 76574




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Name of Counterparty                                                                          Nature

CIVITAS CAPITAL MANAGEMENT LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
ATTENTION: DANIEL J. HEALY
1601 BRYAN ST, SUITE M-200
DALLAS, TX 75201


CLADTEC (TEXAS)                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 72393
CLEVELAND, OH 44192-2393


CLARITY ENERGY CONSULTING LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
1918 S MICHELLE CT
WICHITA, KS 67207


CLASSIC ENERGY LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
4000 WASHINGTON AVE STE 300
HOUSTON, TX 77007


CLASSIC GLASS OF FAIRFIELD                                                                    Claims Related to Accounts Receivable and Accounts Payable
588 E COMMERCE ST
FAIRFIELD, TX 75840


CLEAN ENERGY EXPERTS                                                                          Claims Related to Accounts Receivable and Accounts Payable
1601 N SEPULVEDA BLVD 227
MANHATTAN BEACH, CA 90266


CLEARVIEW ELECTRIC INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
600 NORTH PEARL ST. SUITE S-204
DALLAS, TX 75201


CLEARVIEW ELECTRIC, INC.                                                                      Claims Related to Accounts Receivable and Accounts Payable
600 NORTH PEARL ST. SUITE S-204
DALLAS, TX 75201


CLIFFORD POWER SYSTEMS                                                                        Claims Related to Accounts Receivable and Accounts Payable
1913 E. HWY 80
WHITE OAK, TX 75693


CLIMECO ENVIRONMENTAL FUND I LP                                                               Claims Related to Accounts Receivable and Accounts Payable
20 E GREENWAY PLAZA
HOUSTON, TX 77046


CLIMECO ENVIRONMENTAL FUND I, LP                                                              Claims Related to Accounts Receivable and Accounts Payable
20 E GREENWAY PLAZA
HOUSTON, TX 77046




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                                                                  Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                    Nature

CLYDE BERGEMANN INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 932082
ATLANTA, GA 31193-2082


CLYDEUNION PUMPS                                                                                        Claims Related to Accounts Receivable and Accounts Payable
62741 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-2741


COALDESK, LLC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
789 OAKWOOD DRIVE
RIDGEDALE, MO 65739


COASTAL CHEMICAL CO LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
DEPARTMENT 2214
PO BOX 122214
DALLAS, TX 75312-2214


COCA-COLA REFRESHMENTS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
GBERNHARD GOEPELT, SVP & GEN. COUN.
1 COCA COLA PLZ NW
ATLANTA, GA 30313


COFFEE & PASTRIES AT THE CORNER                                                                         Claims Related to Accounts Receivable and Accounts Payable
1601 BRYAN ST SUITE #110
DALLAS, TX 75201


COLLOID ENVIRONMENTAL TECHNOLOGIES (CETCO)                                                              Claims Related to Accounts Receivable and Accounts Payable
NW 5022 PO BOX 1450
MINNEAPOLIS, MN 55485-5022


COLUMBUS BEARING & INDUSTRIAL                                                                           Claims Related to Accounts Receivable and Accounts Payable
SUPPLY
PO BOX 40
COLUMBUS, TX 78934


COMMERCIAL METALS                                                                                       Claims Related to Accounts Receivable and Accounts Payable
6565 N. MACARTHUR BLVD.
SUITE 800
IRVING, TX 75039


COMMIATO'S MACHINE & REPAIR                                                                             Claims Related to Accounts Receivable and Accounts Payable
SERVICE INC
1141 N E LOOP
CARTHAGE, TX 75633




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

COMMODITY WEATHER GROUP                                                                    Claims Related to Accounts Receivable and Accounts Payable
1380 MONROE ST NW
# 106
WASHINGTON, DC 20010


COMMUNICATIONS SUPPLY CORP                                                                 Claims Related to Accounts Receivable and Accounts Payable
3462 SOLUTION CENTER
CHICAGO, IL 60677-3004


COMMUNITY COFFEE CO LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 919149
DALLAS, TX 75391-9149


COMMUNITY ENERGY, INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
RADNOR CORPORATE CENTER
100 MATSON FORD RD
SUITE 300
RADNOR, PA 19087-4569


COMMUNITY WASTE DISPOSAL LP                                                                Claims Related to Accounts Receivable and Accounts Payable
2010 CALIFORNIA CROSSING
DALLAS, TX 75220


COMMVAULT SYSTEMS                                                                          Claims Related to Accounts Receivable and Accounts Payable
2 CRESCENT PLACE
OCEANPORT, NJ 07757


COMMVAULT SYSTEMS                                                                          Claims Related to Accounts Receivable and Accounts Payable
ATTN FINANCE DEPT
1 COMMVAULT WAY
TINTON FALLS, NJ 07724


COMPARE POWER LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
3824 CEDAR SPRINGS RD STE 175
DALLAS, TX 75219


COMPASS POWER LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
8235 DOUGLAS AVE 350
DALLAS, TX 75225


COMPASS POWER, LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
4100 HARRY HINES #300C
DALLAS, TX 75219




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

COMPETE ENERGY INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
7941 KATY FWY #308
HOUSTON, TX 77024


COMPOSITECH PRODUCTS                                                                        Claims Related to Accounts Receivable and Accounts Payable
MANUFACTURING INC
PO BOX 2673
PEARLAND, TX 77588-2673


COMPUTER ASSOCIATES                                                                         Claims Related to Accounts Receivable and Accounts Payable
1 COMPUTER ASSOCIATES PLAZA
ISLANDIA, NY 11788-7004


COMPUTER ASSOCIATES                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 933316
ATLANTA, GA 31193-3316


COMPUTER ENGINEERING SVCS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
P O BOX 4332
CHATTANOOGA, TN 37405


COMPUTERSHARE INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 16934
PALATINE, IL 60055-9228


CONCO SYSTEMS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
530 JONES STREET
VERONA, PA 15147-1121


CONCURRENT ACCESS SOFTWARE INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 670
WALLER, TX 77484


CONNERS CONSTRUCTION CO INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
2513 US HWY 77
LOTT, TX 76656


CONOCOPHILLIPS COMPANY                                                                      Claims Related to Accounts Receivable and Accounts Payable
600 NORTH DAIRY ASHFORD
PO BOX 2197
CH 1081
HOUSTON, TX 77252-2197




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                                                               Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                 Nature

CONSOLIDATED EDISON COMPANY OF NEW YORK                                                              Claims Related to Accounts Receivable and Accounts Payable
4 IRVING PLACE
ROOM 1315-S
NEW YORK, NY 10003


CONSTELLATION ENERGY COMMODITIES GROUP                                                               Claims Related to Accounts Receivable and Accounts Payable
ATTN: JOHN SAVAGE
111 MARKET PLACE 500
BALTIMORE, MD 21202-4040


CONTECH ENGINEERED SOLUTIONS                                                                         Claims Related to Accounts Receivable and Accounts Payable
16445 COLLECTIONS CENTER DR
CHICAGO, IL 60693


CONTRACT GEOLOGICAL SERVICES                                                                         Claims Related to Accounts Receivable and Accounts Payable
680 E GLENDALE AVE
SPARKS, NV 89431


CONTROL COMPONENTS INTL                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 842544
LOS ANGELES, CA 90084-2544


CONTROL SYSTEMS COMPANY                                                                              Claims Related to Accounts Receivable and Accounts Payable
1217 NORTON ROAD
HUDSON, OH 44236


CONTROLLED FLUIDS INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO DRAWER 1914
BEAUMONT, TX 77704


CONVAL INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1049
SOMERS, CT 06071-1049


CON-WAY                                                                                              Claims Related to Accounts Receivable and Accounts Payable
C/O RMS BANKRUPTCY RECOVERY SERVICES
P.O. BOX 5126
TIMONIUM, MD 21094


COOPER CLINIC PA                                                                                     Claims Related to Accounts Receivable and Accounts Payable
12200 PRESTON RD
DALLAS, TX 75230




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Name of Counterparty                                                                     Nature

COORSTEK INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 841155
KANSAS CITY, MO 64184-1155


COQUEST ENERGY SERVICES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
THE CENTRUM STE 650
3102 OAK LAWN AVE LB 115
DALLAS, TX 75219


CORE LABORATORIES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 844640
DALLAS, TX 75284


CORSICANA WELDING SUPPLY                                                                 Claims Related to Accounts Receivable and Accounts Payable
2151 E HIGHWAY 31
CORSICANA, TX 75109


COSA XENTAUR CORP                                                                        Claims Related to Accounts Receivable and Accounts Payable
84 H HORSEBLOCK RD
YAPHANK, NY 11980


COURTNEY CONSTRUCTION INC                                                                Claims Related to Accounts Receivable and Accounts Payable
2617 US HIGHWAY 79 NORTH
CARTHAGE, TX 75633


COURTNEY CONSTRUCTION INC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 549
CARTHAGE, TX 75633


COVER-TEK INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
551 SILICON DR
STE 100
SOUTHLAKE, TX 76092


CRANE NUCLEAR INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 932585
ATLANTA, GA 31193-2585


CRAWFORD AND COMPANY                                                                     Claims Related to Accounts Receivable and Accounts Payable
ATTN LOSS FUND ACCOUNTING
1001 SUMMIT BLVD 7TH FLOOR
ATLANTA, GA 30319




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                                                    Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                      Nature

CRAZY HOUSE WESTERN WEAR                                                                  Claims Related to Accounts Receivable and Accounts Payable
6655 LAMAR RD
RENO, TX 75462


CRC GROUP INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 131888
DALLAS, TX 75313


CREATIVE DELINEATIONS LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
1611 N I35 E STE 230
CARROLLTON, TX 75006


CREATIVE ENERGY (BRAD LEWIS)                                                              Claims Related to Accounts Receivable and Accounts Payable
13900 NICKLAUS DR.
OVERLAND PARK, KS 66223


CREDIT CONTROL SERVICES INC                                                               Claims Related to Accounts Receivable and Accounts Payable
725 CANTON ST
NORWOOD, MA 02062


CRESCENT POWER INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
3303 SAN BENITO CT
AUSTIN, TX 78738


CRISP INDUSTRIES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 326
BRIDGEPORT, TX 76426


CROCKER RECLAMATION AND                                                                   Claims Related to Accounts Receivable and Accounts Payable
208 TEXAS STREET
ROCKDALE, TX 76567


CROSS CLEANING SOLUTIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1103
GLADEWATER, TX 75647


CROSS CLEANING SOLUTIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4910
TYLER, TX 75712


CROWN PRODUCTS INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
DEPT 104 PO BOX 21228
TULSA, OK 74121-1228




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Name of Counterparty                                                                     Nature

CSA COBRA                                                                                Claims Related to Accounts Receivable and Accounts Payable
ATTN: CHARD SNYDER
3510 IRWIN SIMPSON ROAD
MASON, OH 45040


CSC CONSULTING INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
3462 SOLUTIONS CTR
CHICAGO, IL 60677-3004


CSS DIRECT                                                                               Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE
3707 N 200TH ST
ELKHORN, NE 68022-2922


CT CORPORATION SYSTEM                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4349
CAROL STREAM, IL 60197-4349


CURRAN INTERNATIONAL                                                                     Claims Related to Accounts Receivable and Accounts Payable
4610 VICKSBURG LN
DICKINSON, TX 77539


CURTLEY, DENNIS E                                                                        Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


CURVATURE LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
6500 HOLLISTER AVE STE 210
SANTA BARBARA, CA 93117


CUSTOM HOSE & SUPPLY                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 679
PALESTINE, TX 75802


CUTSFORTH INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
MI 07 P O BOX 1150
MINNEAPOLIS, MN 55480-1150


CYARA SOLUTIONS                                                                          Claims Related to Accounts Receivable and Accounts Payable
ATTN: JOHN PEDROZA
101 CALIFORNIA ST STE 2450
SAN FRANCISCO, CA 94111


D & C CLEANING INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
2175 HIGHWAY 149
CARTHAGE, TX 75633




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Name of Counterparty                                                                     Nature

DAKOTA DISTRIBUTING LP                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 171523
ARLINGTON, TX 76003-1523


DALLAS BUILDERS ASSOCIATION                                                              Claims Related to Accounts Receivable and Accounts Payable
5816 W PLANO PKWY
PLANO, TX 75093


DALLAS COOLER SERVICE INC                                                                Claims Related to Accounts Receivable and Accounts Payable
12717 E GATE RD 3
MESQUITE, TX 75181-2026


DALLAS COUNTY TAX COLLECTOR                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 139033
DALLAS, TX 75313-9033


DALLAS MAVERICKS                                                                         Claims Related to Accounts Receivable and Accounts Payable
ATTN NORTH BOX OFFICE
2500 VICTORY AVE
DALLAS, TX 75219


DALLAS STEEL DRUMS INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
2214 SINGLETON BLVD
DALLAS, TX 75212-3755


DAMPER COMPANY OF AMERICA                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 130
KINGS MILLS, OH 45034


DANTACK CORPORATION                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 676015
DALLAS, TX 75267-6015


DARRAGH CO                                                                               Claims Related to Accounts Receivable and Accounts Payable
1401 E 6TH ST
LITTLE ROCK, AR 72202


DATA EXCHANGE                                                                            Claims Related to Accounts Receivable and Accounts Payable
14002 E 21ST ST STE 1000
TULSA, OK 74134


DAVID H PAUL INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2590
FARMINGTON, NM 87499




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                                                         Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                           Nature

DAVIDSON DOCUMENT SOLUTIONS INC                                                                Claims Related to Accounts Receivable and Accounts Payable
2600 LONGHORN BLVD 102
AUSTIN, TX 78758


DAVIS INSTRUMENTS                                                                              Claims Related to Accounts Receivable and Accounts Payable
13927 COLLECTIONS CENTER DR
CHICAGO, IL 60693


DAVIS INSTRUMENTS                                                                              Claims Related to Accounts Receivable and Accounts Payable
14957 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


DC GROUP INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
1977 W RIVER RD N
MINNEAPOLIS, MN 55411


DE LAGE LANDEN                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 975053
DALLAS, TX 75397-5053


DEALERS ELECTRICAL SUPPPLY                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2535
WACO, TX 76702-2535


DECISION ANALYST INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
ACCOUNTING DEPARTMENT
P O BOX 678739
DALLAS, TX 75267-8739


DELEK REFINING LTD                                                                             Claims Related to Accounts Receivable and Accounts Payable
7102 COMMERCE WAY
BRENTWOOD, TN 37027


DELL                                                                                           Claims Related to Accounts Receivable and Accounts Payable
ONE DELL WAY
MAIL STOP RR3-40
ROUND ROCK, TX 78682


DELTA INDUSTRIAL SERVICE & SUPPLY                                                              Claims Related to Accounts Receivable and Accounts Payable
1126 PORT NECHES AVE
PORT NECHES, TX 77651


DENNIS CAMERON CONSTRUCTION &                                                                  Claims Related to Accounts Receivable and Accounts Payable
1406 INDUSTRIAL ROAD
MOUNT PLEASANT, TX 75455




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

DEPARTMENT OF ENERGY                                                                       Claims Related to Accounts Receivable and Accounts Payable
1000 INDEPENDENCE AVE, SW
WASHINGTON, DC 20585


DEREK SCOTT'S AUTO PARK                                                                    Claims Related to Accounts Receivable and Accounts Payable
4556 SOUTH STATE HIGHWAY 6
HEARNE, TX 77859


DEVON ENERGY PRODUCTION                                                                    Claims Related to Accounts Receivable and Accounts Payable
20 N BROADWAY STE 1500
1500 MIDAMERICA TWR
OKLAHOMA CITY, OK 73102-8260


DEVON GAS SERVICES, L.P.                                                                   Claims Related to Accounts Receivable and Accounts Payable
333 WEST SHERIDAN AVENUE
ATTN GAS MARKETING ACCOUNTING
OKLAHOMA CITY, OK 73102-5010


DEVONWAY INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
255 CALIFORNIA ST
STE 1100
SAN FRANCISCO, CA 94111


DFW COMMUNICATIONS INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
2120 REGENCY DRIVE
IRVING, TX 75062


DHL ANALYTICAL INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5023
ROUND ROCK, TX 78683-5023


DIAMOND POWER SPECIALTY                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 643966
PITTSBURGH, PA 15264-3966


DICK & SONS DIVING SERVICE                                                                 Claims Related to Accounts Receivable and Accounts Payable
9790 FM 692 N
BURKEVILLE, TX 75932


DIDRIKSON ASSOCIATES INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2256
MCKINNEY, TX 75070




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Name of Counterparty                                                                   Nature

DIESEL POWER SUPPLY CO                                                                 Claims Related to Accounts Receivable and Accounts Payable
2525 UNIVERSITY PARKS DR
WACO, TX 76706


DIRECTORY CONCEPTS                                                                     Claims Related to Accounts Receivable and Accounts Payable
1669B LEXINGTON AVENUE
MANSFIELD, OH 44907


DISTRIBUTION NOW                                                                       Claims Related to Accounts Receivable and Accounts Payable
ATTN: MS. KORI MILLS
7402 N. ELDRIDGE PARKWAY
HOUSTON, TX 77041


DIVERSIFIED SUPPLY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 610
SAGINAW, AL 35137


DMI CORPORATION                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 53
CEDAR HILL, TX 75106-0053


DOCUMENT BINDING CO INC                                                                Claims Related to Accounts Receivable and Accounts Payable
2221 MANANA #130
DALLAS, TX 75220


DODSON TRUCKING INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
18543 CR 2213D
TATUM, TX 75691


DOMTAR INDUSTRIES                                                                      Claims Related to Accounts Receivable and Accounts Payable
285 HWY 71 SOUTH
ASHDOWN, AR 71822


DON DRIVE INTERIORS INC                                                                Claims Related to Accounts Receivable and Accounts Payable
8408 CHANCELLOR ROW
DALLAS, TX 75247


DONGMIN PAK                                                                            Claims Related to Accounts Receivable and Accounts Payable
1436 WATERTON DR
PLANO, TX 75023


DOOR CONTROL SERVICES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
DEPT 251 PO BOX 220
BETTENDORF, IA 52722-0004




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Name of Counterparty                                                                    Nature

DOSS, RICHARD L                                                                         Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


DOYENNE CONSTRUCTORS LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 127
MARIAH HILL, IN 47556


DP ENGINEERING LTD CO                                                                   Claims Related to Accounts Receivable and Accounts Payable
6100 WESTERN PLACE STE 500
FORT WORTH, TX 76107


DPC INDUSTRIES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 301023
DALLAS, TX 75303-1023


DR RICHARD A MESERVE                                                                    Claims Related to Accounts Receivable and Accounts Payable
708 BERRY ST
FALLS CHURCH, VA 22042


DSS FIRE INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 550940
DALLAS, TX 75355-0940


DST                                                                                     Claims Related to Accounts Receivable and Accounts Payable
2600 SOUTHWEST BOULEVARD
KANSAS CITY, MO 64108


DST OUTPUT CENTRAL LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
5516 COLLECTION CTR DR
CHICAGO, IL 60693


DTE ELECTRIC COMPANY                                                                    Claims Related to Accounts Receivable and Accounts Payable
ONE ENERGY PLAZQ
DETROIT, MI 48226


DTE ENERGY TRADING, INC.                                                                Claims Related to Accounts Receivable and Accounts Payable
414 S MAIN STREET
SUITE 200
ANN ARBOR, MI 48104


DUKE ENERGY CAROLINAS LLC                                                               Claims Related to Accounts Receivable and Accounts Payable
526 SOUTH CHURCH STREET
CHARLOTTE, NC 28202




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Name of Counterparty                                                                         Nature

DUKE ENERGY CORPORATION                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 601297
CHARLOTTE, NC 28260-1297


DUKE ENERGY RENEWABLE SERVICES                                                               Claims Related to Accounts Receivable and Accounts Payable
139 E 4TH ST.
RM510
MC: EX396
CINCINATTI, OH 45201


DURANT CHEVROLET COMPANY                                                                     Claims Related to Accounts Receivable and Accounts Payable
GMC
1909 E HWY 377
GRANBURY, TX 76049


DYNAMIC EQUIPMENT & SYSTEMS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
671 INDUSTRIAL BLVD
GRAPEVINE, TX 76051


E D H ELECTRIC INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 607
MT PLEASANT, TX 75456-0607


E MIST INNOVATIONS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
3456 ALEMEDA ST STE 448
FORT FORTH, TX 76126


E OSCAR WEB                                                                                  Claims Related to Accounts Receivable and Accounts Payable
DEPT 224501
PO BOX 55000
DETROIT, MI 48255-2245


E&C HARRELL FARM & RANCH LTD                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8
GRAHAM, TX 76450


E2 POWER SYSTEMS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 270006
LITTLETON, CO 80127


EADS CO                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732217
DALLAS, TX 75373-2217




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                                                             Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                               Nature

EAGLE ALLOYS CORP                                                                                  Claims Related to Accounts Receivable and Accounts Payable
178 WEST PARK COURT
TALBOTT, TN 37877


EAGLE POINT SOFTWARE                                                                               Claims Related to Accounts Receivable and Accounts Payable
600 STAR BREWERY DR STE 200
DUBUQUE, IA 52001


EAGLE TECHNOLOGY MANAGEMENT                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 11100
CEDAR RAPIDS, IA 52410-1100


EAST COAST POWER AND GAS, LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
340 JACKSON AVENUE
BRONX, NY 10454


EAST TEXAS ELECTRIC COOPERATIVE, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
919 CONGRESS AVE,
SUITE 800
AUSTIN, TX 78701


EAST TEXAS REFRIGERATION INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
4700 OLD TROUP HWY
TYLER, TX 75707


EAST TEXAS SEED COMPANY                                                                            Claims Related to Accounts Receivable and Accounts Payable
P O BOX 569
TYLER, TX 75710


EAST TEXAS WILDLIFE DAMAGE CNTRL                                                                   Claims Related to Accounts Receivable and Accounts Payable
JEFF DUNNIER
5286 HARRIS LAKE RD
MARSHALL, TX 75672


EASTEX TELEPHONE COOP INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 150
HENDERSON, TX 75653-0150


EASY RECYCLING                                                                                     Claims Related to Accounts Receivable and Accounts Payable
EASY RECYCLING & SALVAGE INC
8632 US HIGHWAY 79 WEST
JACKSONVILLE, TX 75766




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Name of Counterparty                                                                          Nature

EASYLINK SERVICES CORP                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 791247
BALTIMORE, MD 21279-1247


ECOLAB INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70343
CHICAGO, IL 60673-0343


ECOVA INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
1313 NORTH ATLANTIC STREET
STE 5000
SPOKANE, WA 99201


EDF TRADING NORTH AMERICA, LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
4700 WEST SAM HOUSTON PARKWAY NO
SUITE 250
HOUSTON, TX 77041-8210


EDIFECS                                                                                       Claims Related to Accounts Receivable and Accounts Payable
1756 114TH AVE SE
BELLEVUE, WA 98004


EDISON ELECTRIC INSTITUTE                                                                     Claims Related to Accounts Receivable and Accounts Payable
701 PENNSYLVANIA AVE NW
WASHINGTON, DC 20004-2696


EDWARDS RAIL CONSULTING LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
8512 N PARK PL
SHREVEPORT, LA 71107


EDWARDS, ROBERT WAYNE                                                                         Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


EDWIN BOHR ELECTRONICS INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5265
CHATTANOOGA, TN 37406


EFFOX-FLEXTOR                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 635227
CINCINNATI, OH 45263-5227


EHEALTHSCREENINGS LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
12000 STARCREST STE 108
SAN ANTONIO, TX 78247




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Name of Counterparty                                                                               Nature

ELAND ENERGY                                                                                       Claims Related to Accounts Receivable and Accounts Payable
3 LINCOLN CENTER, SUITE 900
DALLAS, TX 75240


ELAND ENERGY CO                                                                                    Claims Related to Accounts Receivable and Accounts Payable
3 LINCOLN CENTER, SUITE 900
DALLAS, TX 75240


ELCON INC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 910
MINOOKA, IL 60447


ELECTRIC RELIABILITY COUNCIL OF TEXAS                                                              Claims Related to Accounts Receivable and Accounts Payable
2705 WEST LAKE DRIVE
TAYLOR, TX 76574


ELECTRICAL RELIABILITY SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
INC
24865 NETWORK PLACE
CHICAGO, IL 60673-1248


ELECTRICITY RATINGS                                                                                Claims Related to Accounts Receivable and Accounts Payable
1714 BEVIS ST
HOUSTON, TX 77008


ELECTROMARK COMPANY                                                                                Claims Related to Accounts Receivable and Accounts Payable
39289 TREASURY CENTER
CHICAGO, IL 60694-9200


ELECTRO-MOTIVE DIESEL INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70530
CHICAGO, IL 60673


ELECTROSWITCH                                                                                      Claims Related to Accounts Receivable and Accounts Payable
4301 GREENBRIAR DR
STAFFORD, TX 77477


ELEMENT 1 ENGINEERING INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
4731 S SANTA FE CIR UNIT 3
ENGLEWOOD, CO 80110


ELLIOTT ELECTRIC SUPPLY                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 630610
NACOGDOCHES, TX 75963




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Name of Counterparty                                                                        Nature

ELLIOTT VALVE LTD                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 845074
DALLAS, TX 75284-5074


EMANI                                                                                       Claims Related to Accounts Receivable and Accounts Payable
AVENUE JULES BORDET 166
BRUSSELS, 01140


EMC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
176 SOUTH STREET
HOPKINTON, MA 01748


EMC CORPORATION                                                                             Claims Related to Accounts Receivable and Accounts Payable
4246 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


EMEX LLC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
DBA ENERGY MARKET EXCHANGE
11011 RICHMOND AVE STE 500
HOUSTON, TX 77042


EMSL ANALYTICAL INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
200 RT 130 N
CINNAMINSON, NJ 08077


EMULTEC INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
1050 VENTURE COURT
STE 115
CARROLLTON, TX 75006


ENDRESS+HAUSER INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
DEPT 78795
PO BOX 78000
DETROIT, MI 48278-0795


ENERCON SERVICES                                                                            Claims Related to Accounts Receivable and Accounts Payable
12916 TAMPA OAKS BLVD
SUITE 131
TEMPLE TERRACE, FL 33637


ENERGY & ENGINEERING SOLUTIONS                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1845
ROANOKE, TX 76262




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Name of Counterparty                                                                         Nature

ENERGY & PROCESS CORPORATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
A FERGUSON SUBSIDIARY
PO BOX 125
TUCKER, GA 30085


ENERGY ADVISORY SERVICE LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
5151 HEADQUARTERS DRIVE
SUITE 145
PLANO, TX 75024


ENERGY AMERICA LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
525 EIGHTH AVENUE S.W.
SUITE 1200
CALGARY, AB T2P 1G1


ENERGY INSURANCE MUTUAL                                                                      Claims Related to Accounts Receivable and Accounts Payable
3000 BAYPORT DR STE 550
TAMPA, FL 33607-8412


ENERGY INSURANCE MUTUAL (EIM)                                                                Claims Related to Accounts Receivable and Accounts Payable
3000 BAYPORT DR STE 550
TAMPA, FL 33607-8412


ENERGY INSURANCE MUTUAL LIMITED                                                              Claims Related to Accounts Receivable and Accounts Payable
3000 BAYPORT DR STE 550
TAMPA, FL 33607-8412


ENERGY OPTIONS ASSOCIATES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
99 JERICHO TURNPIKE STE 300C
JERICHO, NY 11753


ENERGY SERVICES GROUP INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
141 LONGWATER DR STE 113
NORWELL, MA 02061


ENERGY SOLUTIONS SERVICES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 950001132
PHILADEPLHIA, PA 19195-1132


ENERGY TODAY, LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
1705 SHADYWOOD CT
FLOWER MOUND, TX 75028




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Name of Counterparty                                                                                      Nature

ENERGYHUB INC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
8281 GREENSBORO DR STE 100
TYSONS, VA 22102


ENERTRADE ELECTRIC LLC DBA SHYNE                                                                          Claims Related to Accounts Receivable and Accounts Payable
2121 SAGE STE 270
HOUSTON, TX 77056


ENERTRADE ENERGY, LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
2121 SAGE, STE 270
HOUSTON, TX 77056


ENGINEERING CONSULTANTS                                                                                   Claims Related to Accounts Receivable and Accounts Payable
GROUP INC
PO BOX 13375
FAIRLAWN, OH 44334


ENHANCED RECOVERY COMPANY                                                                                 Claims Related to Accounts Receivable and Accounts Payable
8014 BAYBERRY RD
JACKSONVILLE, FL 32256


ENLINK GAS MARKETING, LP                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2501 CEDAR SPRINGS, STE. 100
DALLAS, TX 75201


ENOSERV A DIVISION OF DOBLE                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 843987
KANSAS CITY, MO 64184-3987


ENSTOR KATY STORAGE AND TRANSPORTATION, L.P.                                                              Claims Related to Accounts Receivable and Accounts Payable
20329 STATE HWY 249 STE 400
HOUSTON, TX 77070-2655


ENTERGY ACCOUNTS PAYABLE DEPT                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8104
BATON ROUGE, LA 70891-8104


ENTERPRISE PRODUCTS OPERATING LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 4324
HOUSTON, TX 77210-4324


ENVIANCE                                                                                                  Claims Related to Accounts Receivable and Accounts Payable
5780 FLEET STREET, SUITE 200
CARLSBAD, CA 92008




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Name of Counterparty                                                                          Nature

ENVIANCE INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
5780 FLEET STREET, SUITE 200
CARLSBAD, CA 92008


ENVIRO SCIENCES INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
ALPHA ENERGY LABORATORIES
2501 MAYES RD # 100
CARROLLTON, TX 75006-5069


ENVIRO-CARTS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2948 HWY 31
AXTELL, TX 76624


ENVIROCON SYSTEMS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 673048
HOUSTON, TX 77267


ENVIRONMENTAL OIL RECOVERY, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
783 CAIN CEMETERY RD.
LONGVIEW, TX 75602


ENVIRONMENTAL SUPPLY CO INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
708 E CLUB BLVD
DURHAM, NC 27704-4506


ENVIRONMENTAL SYSTEMS CORP                                                                    Claims Related to Accounts Receivable and Accounts Payable
SDS 12-1896
PO BOX 86
MINNEAPOLIS, MN 55846-1896


EOG RESOURCES INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 4362
HOUSTON, TX 77210


EOX HOLDINGS LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
5151 SAN FELIPE STE 2200
HOUSTON, TX 77056


EPRI                                                                                          Claims Related to Accounts Receivable and Accounts Payable
3412 HILLVIEW AVE
PALO ALTO, CA 94303


EPRI SOLUTIONS INCORPORATED                                                                   Claims Related to Accounts Receivable and Accounts Payable
13014 COLLECTIONS CENTER DR
CHICAGO, IL 60693




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Name of Counterparty                                                                                 Nature

EQUEST                                                                                               Claims Related to Accounts Receivable and Accounts Payable
2010 CROW CANYON PLACE
STE 100-10016
SAN RAMON, CA 94583


EQUIPMENT DEPOT LTD                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 209004
DALLAS, TX 75320-9004


EQUIVALENT DATA                                                                                      Claims Related to Accounts Receivable and Accounts Payable
4809 WESTWAY PARK BLVD
PAYMENT CENTER
HOUSTON, TX 77041


ER SOLUTIONS INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
7313 SOLUTION CENTER
CHICAGO, IL 60677-7003


ER SOLUTIONS INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
800 SW 39TH STREET
RENTON, WA 98055


ERIC DON BROWN                                                                                       Claims Related to Accounts Receivable and Accounts Payable
DBA PARIS PEST CONTROL
302 CR 35860
ARTHUR CITY, TX 75411


ESCAMBIA OPERATING CO LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
16701 GREENSPOINT PARK DRIVE, SUITE 200
HOUSTON, TX 77060


ESCO CORP                                                                                            Claims Related to Accounts Receivable and Accounts Payable
14784 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


ESG INTERNATIONAL INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
3601 LA GRANGE PKWY
TOANO, VA 23168


ESG MULTISERVICES LLC                                                                                Claims Related to Accounts Receivable and Accounts Payable
16216 LOCH KATRINE
HOUSTON, TX 77084




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Name of Counterparty                                                                          Nature

ESP/ENERGY SYSTEMS PRODUCTS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
14525 FM 529 #206
HOUSTON, TX 77095


ETC ENDURE ENERGY, L.L.C.                                                                     Claims Related to Accounts Receivable and Accounts Payable
7400 W 129TH STREET, SUITE 250
OVERLAND PARK, KS 66213


ETHEREDGE ELECTRIC CO OF                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 19570
SHREVEPORT, LA 71149-0570


ETS INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
1401 MUNICIPAL ROAD
ROANOKE, VA 24012


ETTL ENGINEERS & CONSULTANTS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2017
TYLER, TX 75710


EUBANKS AUTO ELECTRIC INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
9986 US HWY 82 WEST
DEKALB, TX 75559


EVALUESERVE INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
CROW CANYON PLAZA HQ
2010 CROW CANYON PL STE 100
SAN RAMON, CA 94583


EVOLUTION MARKETS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
10 BANK STREET
WHITE PLAINS, NY 10606


EVOLUTION MARKETS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 10129
UNIONDALE, NY 11555


EVOLVE RESEARCH                                                                               Claims Related to Accounts Receivable and Accounts Payable
825 N BROADWAY STE 210
OKLAHOMA CITY, OK 73102


EXAMWORKS CLINICAL SOLUTIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
2397 HUNTCREST WAY STE 200
LAWRENCEVILLE, GA 30043




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Name of Counterparty                                                                         Nature

EXCEL FOUNDRY AND MACHINE INC                                                                Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19283
PALATINE, IL 60055-9283


EXEC SECURITY SERVICES CO                                                                    Claims Related to Accounts Receivable and Accounts Payable
717 N HARWOOD LOCK BOX 69
DALLAS, TX 75201


EXELON GENERATION COMPANY, LLC                                                               Claims Related to Accounts Receivable and Accounts Payable
300 EXELON WAY
KENNETT SQUARE, PA 19348


EXPANSION SEAL TECHNOLOGIES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 824319
PHILADELPHIA, PA 19182


EXPERIAN INFORMATION SOLUTIONS                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 881971
LOS ANGELES, CA 90088-1971


EXPERIAN MARKETING SERVICES                                                                  Claims Related to Accounts Receivable and Accounts Payable
INC
P O BOX 886133
LOS ANGELES, CA 90088-6133


EXPERIAN MARKETING SERVICES                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 881971
LOS ANGELES, CA 90088-1971


EXPLOSIVE PROFESSIONALS INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1885
HUMBLE, TX 77347


EXTREME REACH                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 733076
DALLAS, TX 75373-3076


EXXEL RENTALS                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 243
THORNDALE, TX 76577-0243


F B WRIGHT COMPANY                                                                           Claims Related to Accounts Receivable and Accounts Payable
5 INDUSTRIAL PARK DRIVE
OAKDALE, PA 15071-1288




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Name of Counterparty                                                                          Nature

FACILITIES CONSULTING GROUP INC                                                               Claims Related to Accounts Receivable and Accounts Payable
1407 ROUND TABLE DRIVE
DALLAS, TX 75247


FACILITIES CONSULTING GROUP INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 35526
DALLAS, TX 75235


FACTORY MUTUAL INSURANCE COMPANY                                                              Claims Related to Accounts Receivable and Accounts Payable
75 REMITTANCE DRIVE
SUITE 6174
CHICAGO, IL 60675-6174


FAIRFIELD CHAMBER OF COMMERCE                                                                 Claims Related to Accounts Receivable and Accounts Payable
OF FAIRFIELD TEXAS
PO BOX 899
FAIRFIELD, TX 75840


FALCON CREEK ENTERPRISES LTD                                                                  Claims Related to Accounts Receivable and Accounts Payable
C/O REED & SCARDINO LLP
ATTN: ROLA DAABOUL
301 CONGRESS AVE, STE 1250
AUSTIN, TX 78701


FAR WEST TECHNOLOGY INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
330 S KELLOGG AVE STE D
GOLETA, CA 93117


FARRAGUT PARTNERS LLP                                                                         Claims Related to Accounts Receivable and Accounts Payable
1634 I ST NW STE 1200
WASHINGTON, DC 20006


FASTENAL COMPANY                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1286
WINONA, MN 55987-1286


FATHOM ENERGY LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
2210 W DALLAS ST
HOUSTON, TX 77019


FATHOM ENERGY LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
5599 SAN FELIPE
SUITE 911
HOUSTON, TX 77056




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Name of Counterparty                                                                     Nature

FCC ENVIRONMENTAL                                                                        Claims Related to Accounts Receivable and Accounts Payable
320 SCROGGINS RD
SPRINGTOWN, TX 76082


FDIC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
ATTN: JERRY SIEDHOFF
1601 BRYAN ST
DALLAS, TX 75201


FE MORAN INC SPECIAL HAZARD                                                              Claims Related to Accounts Receivable and Accounts Payable
SPECIAL HAZARDS SYSTEMS
2265 CARLSON DRIVE
NORTHBROOK, IL 60062


FEATHERSTON MEDIA LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
3650 N HWY 77
WAXAHACHIE, TX 75165


FEDERAL EXPRESS                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660481
DALLAS, TX 75266-0481


FEDERAL SIGNAL CORPORATION                                                               Claims Related to Accounts Receivable and Accounts Payable
FEDERAL WARNING SYSTEMS
75 REMITTANCE DR STE 3257
CHICAGO, IL 60675-3257


FEDERAL STEEL SUPPLY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 60079
ST LOUIS, MO 63160-0079


FEDEX                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660481
DALLAS, TX 75266-0481


FEMA                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 530217
ATLANTA, GA 30353-0217


FEMA TREASURY                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 530217
ATLANTA, GA 30353-0217




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Name of Counterparty                                                                          Nature

FFG ENTERPRISES INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
7308 CLAYMONT DR
DALLAS, TX 75227


FIELD FORMS & PROMOTIONS LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5158
WACO, TX 76708


FIELD SAFETY RESOURCES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 291
CARTHAGE, TX 75633


FINLEY RESOURCES                                                                              Claims Related to Accounts Receivable and Accounts Payable
P. O. BOX 2200
FT WORTH, TX 76113


FIREHOST INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2360 CAMPBELL CREEK BLVD STE 525
RICHARDSON, TX 75082


FIRST CHOICE COOPERATIVE                                                                      Claims Related to Accounts Receivable and Accounts Payable
4815 TROUP HWY
TYLER, TX 75702


FIRST ENERGY                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6670 BETA DR
MAYFIELD VILLAGE, OH 44143


FISERV INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 99924
GRAPEVINE, TX 76099-9724


FISHNET                                                                                       Claims Related to Accounts Receivable and Accounts Payable
6130 SPRINT PARKWAY
SUITE 400
OVERLAND PARK, KS 66211


FISHNET SECURITY INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 28216 NETWORK PL
CHICAGO, IL 60673-1282


FLANDERS                                                                                      Claims Related to Accounts Receivable and Accounts Payable
LOCKBOX # 005361
PO BOX 645361
CINCINNATI, OH 45264-5361




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                                                   Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                     Nature

FLEETBODY EQUIPMENT                                                                      Claims Related to Accounts Receivable and Accounts Payable
200 NW HARLEM RD
KANSAS CITY, MO 64116-4288


FLEXCO                                                                                   Claims Related to Accounts Receivable and Accounts Payable
4803 PAYSPHERE CIRCLE
CHICAGO, IL 60674


FLOYD GANTT JR LP                                                                        Claims Related to Accounts Receivable and Accounts Payable
2608 WINNPAGE RD
FLOWER MOUND, TX 75022


FLSMIDTH SALT LAKE CITY INC                                                              Claims Related to Accounts Receivable and Accounts Payable
DEPT 3238 PO BOX 123238
DALLAS, TX 75312-3238


FLUKE CORPORATION                                                                        Claims Related to Accounts Receivable and Accounts Payable
7272 COLLECTION CENTER DR
CHICAGO, IL 60693


FLUOR GLOBAL SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 847363
DALLAS, TX 75284-7363


FORD MOTOR CO                                                                            Claims Related to Accounts Receivable and Accounts Payable
16800 EXECUTIVE PLAZA DR.
RCB - 6N480
DEARBORN, MI 48126


FORD, RIATA                                                                              Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


FORESEE RESULTS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19245
PALATINE, IL 60055-9245


FORMOTUS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
9725 SE 36TH ST STE 400
MERCER ISLAND, WA 98040


FORRESTER RESEARCH INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
25304 NETWORK PLACE
CHICAGO, IL 60673-1253




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

FORSYTHE                                                                                     Claims Related to Accounts Receivable and Accounts Payable
ONE OVERLOOK POINT
SUITE 290
LINCOLNSHIRE, IL 60069


FORT WORTH CHAMBER OF COMMERCE                                                               Claims Related to Accounts Receivable and Accounts Payable
777 TAYLOR STREET SUITE 900
ATTN JENNIFER VUDURIS
FORT WORTH, TX 76102-4997


FORT WORTH WATER DEPARTMNET                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 961003
FORT WORTH, TX 76161-0003


FORTISTAR NORTH TONAWANDA INC                                                                Claims Related to Accounts Receivable and Accounts Payable
1070 ERIE AVENUE
NORTH TONAWANDA, NY 14120


FORTISTAR NORTH TONAWANDA INC                                                                Claims Related to Accounts Receivable and Accounts Payable
ONE NORTH LEXINGTON AVENUE
WHITE PLAINS, NY 10601


FOSSIL POWER SYSTEMS INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
10 MOSHER DR
BURNSIDE INDUSTRIAL PARK
DARTMOUTH NS CANADA, FC B3B 1N5


FOUR MAN FURNACE INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
3009 DUNVERNY
THE COLONY, TX 75056


FOUR STAR HEATING & AIR                                                                      Claims Related to Accounts Receivable and Accounts Payable
CONDITIONING
PO BOX 219
SAVOY, TX 75479


FOUR STATES PETROLEUM                                                                        Claims Related to Accounts Receivable and Accounts Payable
TRANSPORT INC
PO BOX 63
BECKVILLE, TX 75631


FOURTH INSURANCE OFFICE INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
249 ROYAL PALM WAY STE 500
PALM BEACH, FL 33480




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

FOX VALVE DEVELOPMENT CORP                                                                  Claims Related to Accounts Receivable and Accounts Payable
85 FRANKLIN ROAD UNIT 6A
DOVER, NJ 07801-5632


FPL ENERGY PECOS WIND I, L.P.                                                               Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


FPL ENERGY PECOS WIND II, L.P.                                                              Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


FPS FIRE SPRINKLER LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
2429 E LOOP 820 N
FORT WORTH, TX 76118


FRANKLIN COUNTY HANDICAPABLE                                                                Claims Related to Accounts Receivable and Accounts Payable
RODEO
PO BOX 501
MT VERNON, TX 75457


FRANKLIN NEWS WEEKLY                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 935
107 E DECHERD ST
FRANKLIN, TX 77856


FREESE AND NICHOLS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 980004
FORT WORTH, TX 76198-0004


FREESTONE COUNTY TIMES                                                                      Claims Related to Accounts Receivable and Accounts Payable
401 EAST COMMERCE ST
FAIRFIELD, TX 75840-1603


FRHAM SAFETY PRODUCTS INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 36098
ROCK HILL, SC 29732-6098


FRONTIER SOUTHWEST INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCESS BILLING
P O BOX 92713
ROCHESTER, NY 14692




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Name of Counterparty                                                                        Nature

FRONTIER SOUTHWEST INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 20550
ROCHESTER, NY 14602-0550


FUEL EXCHANGE LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
3050 POST OAK BLVD STE#1355
ATTN ACCOUNTS RECEIVABLE
HOUSTON, TX 77056-6527


FURMANITE INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 674088
DALLAS, TX 75267-4088


FUSION4 BRANDING                                                                            Claims Related to Accounts Receivable and Accounts Payable
5228 VILLAGE CREEK DR STE 100
PLANO, TX 75093


FUTURE COM                                                                                  Claims Related to Accounts Receivable and Accounts Payable
8251 BEDFORD EULESS RD
NORTH RICHLAND HILLS, TX 76180


FUTURE COM CORP                                                                             Claims Related to Accounts Receivable and Accounts Payable
8251 BEDFORD EULESS RD
NORTH RICHLAND HILLS, TX 76180


FUTURE COM LTD                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 843966
DALLAS, TX 75284-3966


G&K SERVICES                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 677057
DALLAS, TX 75267


G&K SERVICES                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 842385
BOSTON, MA 02284-2385


G&K SERVICES, INC.                                                                          Claims Related to Accounts Receivable and Accounts Payable
5995 OPUS PARKWAY
SUITE 500
MINNETONKA, MN 55343




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

GA GLOBAL MARKETS LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
185 MADISON AVE 6TH FLOOR
ATTN ANA OLIVEIRA
NEW YORK, NY 10016


GAI-TRONICS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
400 E WYOMISSING AVE
MOHNTON, PA 19540


GAJESKE INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6200 N. HOUSTON ROSSLYN RD
HOUSTON, TX 77091


GALLS INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 71628
CHICAGO, IL 60694-1628


GARTECH REFRIG RECLAMATION                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 934434
ATLANTA, GA 31193-4434


GARY KUSIN                                                                                   Claims Related to Accounts Receivable and Accounts Payable
4717 WILDWOOD RD
DALLAS, TX 75209


GATEWOOD ENTERPRISES                                                                         Claims Related to Accounts Receivable and Accounts Payable
1118 N MAIN STREET
CLEBURNE, TX 76033


GBT STEEL GROUP LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
4142 NE HAMPSTEAD DR
LEE'S SUMMIT, MO 64064-1619


GC SERVICES LP                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4299
HOUSTON, TX 77210-4299


GDF SUEZ ENERGY MARKING NA, INC                                                              Claims Related to Accounts Receivable and Accounts Payable
1990 POST OAK BLVD, SUITE 1900
HOUSTON, TX 77056-4499


GE ANALYTICAL INSTRUMENTS                                                                    Claims Related to Accounts Receivable and Accounts Payable
6060 SPINE RD
BOULDER, CO 80301




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

GE CAPITAL CORPORATION                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 740425
ATLANTA, GA 30353-0425


GE ENERGY PARTS                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 848301
DALLAS, TX 75284-8301


GE INTELLIGENT PLATFORMS INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
(FROMERLY SMARTSIGNAL CORP)
2500 AUSTIN DR
CHARLOTTESVILLE, VA 22911


GEL LABORATORIES LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 30712
CHARLESTON, SC 29417


GEMTRIM LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
148 EQUITY BLVD
HOUMA, LA 70360


GENERAL DATATECH                                                                              Claims Related to Accounts Receivable and Accounts Payable
999 METROMEDIA PLACE
DALLAS, TX 75247


GENERAL INSULATION COMPANY INC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 636959
CINCINNATI, OH 45263-6959


GENERAL KINEMATICS CORP                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 345
CRYSTAL LAKE, IL 60039-0345


GENERAL PHYSICS CORPORATION                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 932816
ATLANTA, GA 31193-2816


GENERATOR & MOTOR SERVICES OF PA                                                              Claims Related to Accounts Receivable and Accounts Payable
601 BRADDOCK AVE
TURTLE CREEK, PA 15145


GENILOGIX LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 847722
DALLAS, TX 75284-7722




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

GEOFLUV INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2205 N AVE
PARMA, OH 44134


GEORGIA WESTERN INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
2275 MCCOLLUM PARKWAY
KENNESAW, GA 30144


GEOTECH ENVIRONMENTAL EQUIPMENT                                                              Claims Related to Accounts Receivable and Accounts Payable
2650 E 40TH AVE
DENVER, CO 80205


GEXPRO                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 840040
DALLAS, TX 75284


GFI                                                                                          Claims Related to Accounts Receivable and Accounts Payable
ACCOUNTING DEPT
55 WATER ST
NEW YORK, NY 10041


GIANT CLEANING SYSTEMS INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 260
DUSON, LA 70529


GLEN ROSE AUTO PARTS                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2141
GLEN ROSE, TX 76043


GLEN ROSE MEDICAL FOUNDATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
GLEN ROSE MEDICAL CENTER
PO BOX 2099
GLEN ROSE, TX 76043


GLM DFW INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
17300 PRESTON RD SUITE 300
DALLAS, TX 75252


GLOBAL ALARM SYSTEMS                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 580
WHITEHOUSE, TX 75791


GLOBAL INDUSTRIAL EQUIPMENT                                                                  Claims Related to Accounts Receivable and Accounts Payable
29833 NETWORK PLACE
CHICAGO, IL 60673-1298




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                                                                Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                  Nature

GLOBAL KNOWLEDGE TRAINING LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
ATTN MONICA CASTILLO
P O BOX 116929
ATLANTA, GA 30368-6929


GLOWPOINT INC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 912886
DENVER, CO 80291-2886


GN OTOMETRICS                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 200980
PITTSBURGH, PA 15251-0980


GOLDEN BREW COFFEE SERVICE                                                                            Claims Related to Accounts Receivable and Accounts Payable
602 S MEADOW
ODESSA, TX 79761


GOLDEN SPREAD ELECTRIC COOPERATIVE, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 9898
AMARILLO, TX 79105-5898


GOLDER ASSOCIATES INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
LOCKBOX 934544
ATLANTA, GA 31193-4544


GOOD ENERGY                                                                                           Claims Related to Accounts Receivable and Accounts Payable
232 MADISON AVE SUITE 300
NEW YORK, NY 10016


GOODWAY TECHNOLOGIES CORP                                                                             Claims Related to Accounts Receivable and Accounts Payable
DEPT 106040 PO BOX 150413
HARTFORD, CT 06115-0413


GOOTEE VENTURES INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
7801 ALMA DRIVE
STE 105 BOX 119
PLANO, TX 75025


GRAEBEL                                                                                               Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


GRANADA CORP                                                                                          Claims Related to Accounts Receivable and Accounts Payable
8360 E RAINTREE DR STE 130
SCOTTSDALE, AZ 85260




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Name of Counterparty                                                                        Nature

GRANBURY GOLF CARTS                                                                         Claims Related to Accounts Receivable and Accounts Payable
855 S LOOP 12
IRVING, TX 75060


GRANBURY TOWN LAKE                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2188
GRANBURY, TX 76048


GRANITE TELECOMMUNICATIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 983119
CLIENT ID #311
BOSTON, MA 02298


GRAPHIC PRODUCTS                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4030
BEAVERTON, OR 97076-4030


GRAVER TECHNOLOGIES LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 91494
CHICAGO, IL 60693-1494


GRAY, DONALD L                                                                              Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


GRAY, KENNETH                                                                               Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


GREAT SOUTHWESTERN                                                                          Claims Related to Accounts Receivable and Accounts Payable
310 W COMMERCE ST
DALLAS, TX 75208


GREENBERG GRANT & RICHARDS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 571811
HOUSTON, TX 77057


GREENS PORT SHIP CHANNEL                                                                    Claims Related to Accounts Receivable and Accounts Payable
PARTNERS DEPT 1392
% WATCO COMPANIES LLC
DENVER, CO 80256


GREGG COUNTY                                                                                Claims Related to Accounts Receivable and Accounts Payable
101 EAST METHVIN
LONGVIEW, TX 75601




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                                                                Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                  Nature

GRIFFIN RESTORATION INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 948
WHITESBORO, TX 76273


GROUP O INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
4905 77TH AVE
PO BOX 140
MILAN, IL 61264


GROUP O INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 860146
MINNEAPOLIS, MN 55486-0146


GRUEZTNERS COLLISION CENTER                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 346
ELGIN, TX 78621


GSE CONSULTING – (WORLD ENERGY, ENERNOC)                                                              Claims Related to Accounts Receivable and Accounts Payable
5420 LBJ FREEWAY STE 1355
DALLAS, TX 75240


GTTSI                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1679
SENECA, SC 29679


GUADALUPE BLANCO RIVER AUTHORITY                                                                      Claims Related to Accounts Receivable and Accounts Payable
933 E COURT ST
SEGUIN, TX 78155


GUADIAN JR, SERGIO                                                                                    Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


GUY BROWN                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 306229
NASHVILLE, TN 37230-6229


GUY BROWN PRODUCTS                                                                                    Claims Related to Accounts Receivable and Accounts Payable
320 SEVEN SPRINGS WAY STE 450
BRENTWOOD, TN 37027-4537


H&E EQUIPMENT SERVICES INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 849850
DALLAS, TX 75284-9850




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Name of Counterparty                                                                     Nature

HACH                                                                                     Claims Related to Accounts Receivable and Accounts Payable
5600 LINDBERGH DR
LOVELAND, CO 80539


HACH CO                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2207 COLLECTIONS CENTER DR
CHICAGO, IL 60693


HALL SONS LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1281
BRIDGEPORT, TX 76426


HAMON RESEARCH-COTTRELL INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 822769
PHILADELPHIA, PA 19182-2769


HAN-BOONE INTERNATIONAL INC                                                              Claims Related to Accounts Receivable and Accounts Payable
2200 GRAVEL DR
FORT WORTH, TX 76118


HARLOW FILTER SUPPLY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
4843 ALMOND
DALLAS, TX 75247


HARMOR TECHNOLOGIES INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
BOX 916
BELLAIRE, TX 77402


HAROLD BECK & SONS INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
11 TERRY DRIVE
NEWTOWN, PA 18940


HARRIS INDUSTRIES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
5500 BILL HARRIS ROAD
LONGVIEW, TX 75604


HARRISON COUNTY GLASS CO                                                                 Claims Related to Accounts Receivable and Accounts Payable
1200 E GRAND AVE
MARSHALL, TX 75670


HARRISON WALKER & HARPER LP                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 876
PARIS, TX 75460




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Name of Counterparty                                                                          Nature

HAZEL'S HOTSHOT                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 801052
DALLAS, TX 75380


HD HYDRAULICS LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3455
KILGORE, TX 75663


HDR ENGINEERING INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3480
OMAHA, NE 68103-0480


HEADWATERS RESOURCES                                                                          Claims Related to Accounts Receivable and Accounts Payable
10653 S RIVER FRONT PKWY STE 300
SOUTH JORDAN, UT 84095


HEADWATERS RESOURCES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 843922
DALLAS, TX 75284-3922


HEALTH CARE SERVICE CORPORATION                                                               Claims Related to Accounts Receivable and Accounts Payable
300 E RANDOLPH
CHICAGO, IL 60601


HELMICK CORPORATION                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 411
CHARLESTON, WV 25322


HELMSBRISCOE RESOURCE ONE                                                                     Claims Related to Accounts Receivable and Accounts Payable
6055 WINDBREAK TRAIL
SUITE 200
DALLAS, TX 75252


HENDERSON AGGREGATES LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 663
HENDERSON, TX 75653-0663


HENDERSON AREA CHAMBER OF                                                                     Claims Related to Accounts Receivable and Accounts Payable
COMMERCE
201 NORTH MAIN
HENDERSON, TX 75652


HENDERSON DAILY NEWS                                                                          Claims Related to Accounts Receivable and Accounts Payable
P O BOX 30
HENDERSON, TX 75653




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Name of Counterparty                                                                            Nature

HENEK FLUID PURITY SYSTEMS INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
9700 ALMEDA GENOA RD BLDG #601
HOUSTON, TX 77075


HENSON SALES AND SERVICE INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
201 NORTH MAY
MADISONVILLE, TX 77864


HERTZ EQUIPMENT RENTAL CORP                                                                     Claims Related to Accounts Receivable and Accounts Payable
CORPORATION
PO BOX 650280
DALLAS, TX 75265-0280


HESTERS MECHANICAL CONTRACTORS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 669
BIG SPRINGS, TX 79721


HF & ASSOCIATES INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
118 VERDANT
SAN ANTONIO, TX 78209


HFE- OPERATING, LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
5959 RICHMOND AVE SUITE 300
HOUSTON, TX 77057-6325


HIGH TECH HIGH HEELS                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671222
DALLAS, TX 75367-1222


HIGH VOLTAGE                                                                                    Claims Related to Accounts Receivable and Accounts Payable
4706 ABBOTT AVE
ARLINGTON, TX 76018


HIGHWAY MACHINE CO INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
3010 S OLD US HWY 41
PRINCETON, IN 47670


HILL COUNTRY SPRINGS                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2220
MANCHACA, TX 78652-2220


HILLDRUP COMPANIES                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 669
STAFFORD, VA 22555-0669




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                                                                Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                  Nature

HILL-LAKE GAS STORAGE, L.P.                                                                           Claims Related to Accounts Receivable and Accounts Payable
1201 LOUISIANA ST. STE 700
HOUSTON, TX 77002


HITACHI DIGITAL SYSTEMS                                                                               Claims Related to Accounts Receivable and Accounts Payable
750 CENTRAL EXPWY
SANTA CLARA, CA 95054


HITZ INC DBA GBA SOLUTIONS                                                                            Claims Related to Accounts Receivable and Accounts Payable
14836 VENTURE DRIVE
FARMERS BRANCH, TX 75234


HLAVINKA EQUIPMENT COMPANY                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1335
EAST BERNARD, TX 77435


HOIST & CRANE SERVICE GROUP                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 53062
LAFAYETTE, LA 70505-3062


HOLCIM (TEXAS) LP                                                                                     Claims Related to Accounts Receivable and Accounts Payable
6211 ANN ARBOR ROAD
DUNDEE, MI 48131-9527


HOLOPHANE CORPORATION                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 100863
ATLANTA, GA 30384


HOLT POWER SYSTEMS                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 650345
DALLAS, TX 75265-0345


HOMER CITY GENERATION, L.P. DBA BETM LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
201 HIGH RIDGE RD
STAMFORD, CT 06905


HOUSTON APARTMENT ASSOCIATION                                                                         Claims Related to Accounts Receivable and Accounts Payable
4810 WESTWAY PARK BLVD
HOUSTON, TX 77041


HOUSTON ZOO INC OR SARAH ATWOOD                                                                       Claims Related to Accounts Receivable and Accounts Payable
1513 CAMBRIDGE STREET
HOUSTON, TX 77030




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                                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                        Nature

HOUSTON-GALVESTON-BRAZORIA ENERGY VENTURES LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
2210 W. DALLAS ST
HOUSTON, TX 77019


HOWDEN NORTH AMERICA                                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 417538
(LOCKBOX NUMBER)
BOSTON, MA 02241-7538


HUGHES LUMBER PLUS                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 744
FAIRFIELD, TX 75840-0744


HUMPHREY & ASSOCIATES INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 59247
DALLAS, TX 75229


HURST METALLURGICAL RESEARCH                                                                                Claims Related to Accounts Receivable and Accounts Payable
LABORATORY INC
2111 WEST EULESS ROAD
EULESS, TX 76040-6707


HUTHER AND ASSOCIATES INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
1156 N BONNIE BRAE
DENTON, TX 76201


HYDRADYNE HYDRAULICS                                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 974799
DALLAS, TX 75397-4799


HYDRAQUIP DISTRIBUTION INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4493
HOUSTON, TX 77210-4493


HYDRAULIC POWER SERVICES INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 592
ATHENS, TX 75751


HYDRAULIC SERVICE & SUPPLY INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
100 HOWELL ST
DALLAS, TX 75207


HYDROTEX DYNAMICS                                                                                           Claims Related to Accounts Receivable and Accounts Payable
6320 CUNNINGHAM RD
HOUSTON, TX 77041




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Name of Counterparty                                                                       Nature

HYTORC OF TEXAS                                                                            Claims Related to Accounts Receivable and Accounts Payable
333 RT 17 NORTH
MAHWAH, NJ 07430


IAF ADVISORS                                                                               Claims Related to Accounts Receivable and Accounts Payable
10938 SAINT MARYS LN
HOUSTON, TX 77079


IBM CORPORATION                                                                            Claims Related to Accounts Receivable and Accounts Payable
13800 DIPLOMAT
PO BOX 676673
DALLAS, TX 75267


ICAP ENERGY LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
9931 CORPORATE CAMPUS DR
STE 3000
LOUISVILLE, KY 40223


ICL IP AMERICA INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3247
CAROL STREAM, IL 60132-3247


ICON ECOLOGICAL SOLUTIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
5432 BRIDGEPORT RD
MCKINNEY, TX 75061


ID MEDIA INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 74008223
CHICAGO, IL 60674-8223


IIRX LP                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 535
HOPE, NJ 07844


IMAGEMAKER POST INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
400 E ROYAL LANE SUITE 230
IRVING, TX 75039


IMAGINATION BRANDING                                                                       Claims Related to Accounts Receivable and Accounts Payable
230 GREAT CIRCLE RD STE 248
NASHVILLE, TN 37228-1728


IMATION                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 844190
DALLAS, TX 75284-4190




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Name of Counterparty                                                                          Nature

IMG COLLEGE LLC                                                                               Claims Related to Accounts Receivable and Accounts Payable
ATTN: MARK BENNETT
540 N. TRADE ST.
WINSTON-SALEM, NC 27101


INCITE ENERGY LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
ATTN MELISSA BALLANTYNE
1500 RANKIN RD 3RD FL
HOUSTON, TX 77073


INDIGO MINERALS LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
600 TRAVIS, SUITE 4900
HOUSTON, TX 77002


INDUSTRIAL DIESEL INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
8705 HARMON RD
FORT WORTH, TX 76177


INDUSTRIAL ELECTRIC MOTOR CO                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 0220
LONE STAR, TX 75668


INDUSTRIAL ELECTRONIC SUPPLY INC                                                              Claims Related to Accounts Receivable and Accounts Payable
P O BOX 3902
SHREVEPORT, LA 71133-3902


INDUSTRIAL LUBRICANT COMPANY                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70
GRAND RAPIDS, MN 55744


INDUSTRIAL REFRACTORY SERVICES                                                                Claims Related to Accounts Receivable and Accounts Payable
INC
2300 SOUTH MAIN
FORT WORTH, TX 76110


INDUSTRIAL REPAIR SERVICE INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
2650 BUSINESS DR
CUMMING, GA 30028


INFINITE ELECTRIC, LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
7001 SW 24TH AVENUE
GAINSVILLE, FL 32607




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Name of Counterparty                                                                              Nature

INFINITY POWER PARTNERS LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
2603 AUGUSTA DR STE 450
HOUSTON, TX 77057


INFINITY POWER PARTNERS, LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
2603 AUGUSTA #450
HOUSTON, TX 77057


INFORMATION ALLIANCE INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
1755 N 400 E STE 101
NORTH LOGAN, UT 84341


INFORMATION MANAGEMENT SOLUTIONS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
2416 BROCKTON ST STE 105
SAN ANTONIO, TX 78217


INFOUSA                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 957742
ST LOUIS, MO 63195-7742


INFUSE ENERGY LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
1836 WROXTON ROAD
HOUSTON, TX 77005


INGERSOLL RAND                                                                                    Claims Related to Accounts Receivable and Accounts Payable
800-E BEATY STREET
DAVIDSON, NC 28036


INGERSOLL RAND INDUSTRIAL                                                                         Claims Related to Accounts Receivable and Accounts Payable
INDUSTRIAL TECHNOLOGIES
15768 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


INMOTION SCALES                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 171177
AUSTIN, TX 78717


INNOMINDS SOFTWARE INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
2055 JUNCTION AVE STE 122
SAN JOSE, CA 95131


INNOVATIVE SOIL SOLUTIONS                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671446
DALLAS, TX 75267-1446




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Name of Counterparty                                                                         Nature

INSTITUTE OF NUCLEAR POWER                                                                   Claims Related to Accounts Receivable and Accounts Payable
700 GALLERIA PARKWAY SE
ATTN: FINANCE DEPARTMENT
ATLANTA, GA 30339-5943


INSTRUMENT & VALVED SERVICES                                                                 Claims Related to Accounts Receivable and Accounts Payable
8200 MARKET BOULEVARD
CHANHASSEN, MN 55317


INTEGRATED POWER SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 601492
CHARLOTTE, NC 28260-1492


INTEGRITY RAIL SERVICE                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2335
MT PLEASANT, TX 75456


INTELLIRENT CO LTD                                                                           Claims Related to Accounts Receivable and Accounts Payable
604 HENRIETTA CREEK
SUITE 400
ROANOKE, TX 76262


INTELOMETRY INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
216 CENTERVIEW DR STE 160
BRENTWOOD, TN 37027-5260


INTERCONTINENTAL EXCHANGE INC                                                                Claims Related to Accounts Receivable and Accounts Payable
DBA ICE US OTC COMMODITY LLC
PO BOX 935278
ATLANTA, GA 31193-5278


INTERCONTINENTAL EXCHANGE INC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 935281
ATLANTA, GA 31193-5281


INTER-COUNTY COMMUNICATIONS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
P O BOX 896
SULPHUR SPRINGS, TX 75483-0896


INTER-MOUNTAIN LABORATORIES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 661
SHERIDAN, WY 82801-0661




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Name of Counterparty                                                                                 Nature

INTERNATIONAL ASSOC OF LIONS FORNEY                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1332
FORNEY, TX 75126


INTERNATIONAL BROTHERHOOD OF ELECTRICAL                                                              Claims Related to Accounts Receivable and Accounts Payable
7059 BLAIR RD. NW
WASHINGTON, DC 20001-4089


INTERNATIONAL BUSINESS MACHINES                                                                      Claims Related to Accounts Receivable and Accounts Payable
2377 STEMMONS FRWY
STE 555
DALLAS, TX 75207


INTERNATIONAL COOLING TOWER USA                                                                      Claims Related to Accounts Receivable and Accounts Payable
INC
7320 N LA CHOLLA 154 BOX 316
TUCSON, AZ 85741


INTERNATIONAL EXTERMINATOR                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 123828
FORT WORTH, TX 76121


INTERSTATE POWER AND LIGHT COMPANY                                                                   Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 748
MADISON, WI 53701-0748


INTERTEC INSTRUMENTATION LTD                                                                         Claims Related to Accounts Receivable and Accounts Payable
11116 WEST LITLE YORK BLD 1
HOUSTON, TX 77041


INTERTEK                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 416482
BOSTON, MA 02241-6482


INTERWORKS INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
1425 S SANGRE RD
STILLWATER, OK 74074


IRON MOUNTAIN INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 915004
DALLAS, TX 75391-5004


IRS REFUND                                                                                           Claims Related to Accounts Receivable and Accounts Payable
DEPARTMENT OF THE TREASURY
OGDEN, UT 84201




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Name of Counterparty                                                                         Nature

ISI COMMERCIAL REFRIGERATION LP                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 654020
DALLAS, TX 75265-4020


IVG ENERGY LTD                                                                               Claims Related to Accounts Receivable and Accounts Payable
20 EAST GREENWAY PLAZA STE 400
HOUSTON, TX 77046


IVY ROD INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
710 BUFFALO STREET STE 700
CORPUS CHRISTI, TX 78401


J & S CONSTRUCTION LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 400
BUFFALO, TX 75831


J ANDREW ASSOCIATES INC AND                                                                  Claims Related to Accounts Receivable and Accounts Payable
SEVEN UTILITY MANAGEMENT
CONSULTANTS LTD
19840 CYPRESS CHURCH ROAD
CYPRESS, TX 77433


J DS BABBITT BEARINGS LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
811 MARDELL LANE
HOWE, TX 75459


J J JANITORIAL                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 41354
DALLAS, TX 75241-0354


J P MORGAN CHASE BANK                                                                        Claims Related to Accounts Receivable and Accounts Payable
717 TRAVIS ST
HOUSTON, TX 77002


J P MORGAN SECURITIES LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
10 SOUTH DEARBORN, FLOOR 5
CHICAGO, IL 60603-2300


J. R. MERRITT CONTROL INC.                                                                   Claims Related to Accounts Receivable and Accounts Payable
55 SPERRY AVE
STRATFORD, CT 06615


J/T HYDRAULICS & SERVICE CO                                                                  Claims Related to Accounts Receivable and Accounts Payable
1601 W 25TH STREET
HOUSTON, TX 77008




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Name of Counterparty                                                                         Nature

JACKSON PIPE & STEEL                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5746
TEXARKANA, TX 75505-5746


JACKSON WALKER LLP                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 130989
DALLAS, TX 75313-0989


JAKKEB CONSTRUCTION INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
6442 HWY 128
GILBERT, LA 71336


JAMAR CONTRACTORS INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
2335 S CHURCH ST
PARIS, TX 75460


JAMES CONSTRUCTION GROUP LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 90022
BATON ROUGE, LA 70809


JANI-KING OF DALLAS                                                                          Claims Related to Accounts Receivable and Accounts Payable
16885 DALLAS PARKWAY
ADDISON, TX 75001


JANI-KING OF DALLAS                                                                          Claims Related to Accounts Receivable and Accounts Payable
4535 SUNBELT DR
ADDISON, TX 75001


JARMON SERVICES DBA GFS TEXAS                                                                Claims Related to Accounts Receivable and Accounts Payable
1375 RIVER BEND DR
DALLAS, TX 75247


JASDEM INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
3642 E HWY 34
ENNIS, TX 75119


JBS ENGINEERING & ENVIRONMENTAL                                                              Claims Related to Accounts Receivable and Accounts Payable
LLC
PO BOX 5520
BRYAN, TX 77802


JENKINS ELECTRIC COMPANY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 32127
CHARLOTTE, NC 28232-2127




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Name of Counterparty                                                                              Nature

JENNINGS SCRAP & SALVAGE CO                                                                       Claims Related to Accounts Receivable and Accounts Payable
2600 E. MARSHALL AVE.
LONGVIEW, TX 75601


JETA CORPORATION                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 336
NEENAH, WI 54957-0336


JJA INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
8150 N CENTRAL EXPY M-2100
DALLAS, TX 75206


JK WILSON INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 52 12762 FM 2539
BUFFALO, TX 75831


JLT SPECIALTY INSURANCE SERVICES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS PAYABLE
22 CENTURY HILL DR STE 102
LATHAM, NY 12110


JMS FABRICATING SYSTEMS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
647 DONOHOE ROAD
LATROBE, PA 15650


JOEL WINK EQUIPMENT SERVICES LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
110 E WYNNS CREEK
KILGORE, TX 75662


JOHN CRANE LEMCO                                                                                  Claims Related to Accounts Receivable and Accounts Payable
24929 NETWORK PLACE
CHICAGO, IL 60673-1249


JOHN GIBSON BRYAN                                                                                 Claims Related to Accounts Receivable and Accounts Payable
13755 FM 777
JASPER, TX 75951


JOHN T BOYD COMPANY                                                                               Claims Related to Accounts Receivable and Accounts Payable
DOMINION PLAZA, SUITE 710S
600 17TH STREET
DENVER, CO 80202-2414


JOHN T PARKER CLAIMS                                                                              Claims Related to Accounts Receivable and Accounts Payable
1341 W MOCKINGBIRD LN STE 300W
DALLAS, TX 75247




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Name of Counterparty                                                                                   Nature

JOHN W POSTON SR PHD                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1938
COLLEGE STATION, TX 77841


JOHNSON & PACE INCORPORATED                                                                            Claims Related to Accounts Receivable and Accounts Payable
1201 NW LOOP 281 LB 1
LONGVIEW, TX 75604


JOY GLOBAL SURFACE MINING INC.                                                                         Claims Related to Accounts Receivable and Accounts Payable
3200 PAYSPHERE CIR
CHICAGO, IL 60674


JOYCE STEEL ERECTION LTD                                                                               Claims Related to Accounts Receivable and Accounts Payable
P O BOX 8466
LONGVIEW, TX 75607


JP MORGAN                                                                                              Claims Related to Accounts Receivable and Accounts Payable
717 TRAVIS ST
HOUSTON, TX 77002


JP MORGAN CHASE                                                                                        Claims Related to Accounts Receivable and Accounts Payable
717 TRAVIS ST
HOUSTON, TX 77002


JP MORGAN CHASE BANK                                                                                   Claims Related to Accounts Receivable and Accounts Payable
717 TRAVIS ST
HOUSTON, TX 77002


JQ ENGINEERING LLP                                                                                     Claims Related to Accounts Receivable and Accounts Payable
100 GLASS ST
DALLAS, TX 75207


JSC NATIONAL ATOMIC COMPANY "KAZATOMPROM"                                                              Claims Related to Accounts Receivable and Accounts Payable
010000 ASTANA, KUNAYEV ST. 10
MANAGING DIR MARKETING & SALES
REPUBLIC OF KAZAKHSTAN,


K & H SIGNS                                                                                            Claims Related to Accounts Receivable and Accounts Payable
301 COOKS LN
FRANKLIN, TX 77856


KALENBORN ABRESIST CORP                                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 38
URBANA, IN 46990




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Name of Counterparty                                                                            Nature

KANAWHA SCALES AND SYSTEMS                                                                      Claims Related to Accounts Receivable and Accounts Payable
OF OHIO INC
PO BOX 569
POCA, WV 25159


KANO LABORATORIES                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 110098
NASHVILLE, TN 37222-0098


KANSAS CITY SOUTHERN RAILWAY CO                                                                 Claims Related to Accounts Receivable and Accounts Payable
C/O HARRIS TRUST & SAVINGS BANK
36454 TREASURY CENTER
CHICAGO, IL 60694-6400


KANSAS CITY SOUTHERN RWY CO                                                                     Claims Related to Accounts Receivable and Accounts Payable
WILLIAM WOCHNER
427 WEST 12TH STREET
KANSAS CITY, MO 64105


KBSR INC DBA SERVICEMASTER                                                                      Claims Related to Accounts Receivable and Accounts Payable
SERVICEMASTER PROFESSIONAL
BUILDING MAINTENANCE INC
PO BOX 9690
TYLER, TX 75711


KC COTTRELL INC DBA LODGE COTTRELL                                                              Claims Related to Accounts Receivable and Accounts Payable
NW 6040 PO BOX 1450
MINNEAPOLIS, MN 55485-6040


KEITHS COMMERCIAL                                                                               Claims Related to Accounts Receivable and Accounts Payable
REFRIGERATION INC
P O BOX 1558
GILMER, TX 75644


KEITHS COMMERCIAL                                                                               Claims Related to Accounts Receivable and Accounts Payable
REFRIGERATION INC
P O BOX 8562
LONGVIEW, TX 75607


KENNEDY WIRE ROPE AND SLING CO.                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4016
CORPUS CHRISTI, TX 78469-4016


KESTREL POWER ENGINEERING LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
9126 N 2150 E RD
FAIRBURY, IL 61739




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Name of Counterparty                                                                      Nature

KHA GEOLOGICS LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
1611 SUNDERLAND DR
SUGAR LAND, TX 77479


KHOURY & TURK, LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
C/O GREATER HOUSTON GROUP
262 N. SAM HOUSTON PK E #440
HOUSTON, TX 77060


KIRKPATRICK, JAMES SCOTT                                                                  Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


KMC THERMO LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
815 WALKER STREET
SUITE 1600
HOUSTON, TX 77002


KMC THERMO, LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
1111 FANNIN 11TH FLOOR
HOUSTON, TX 77002


KNEELAND YOUNGBLOOD                                                                       Claims Related to Accounts Receivable and Accounts Payable
3889 MAPLE AVE STE 400
DALLAS, TX 75219


KNES RADIO                                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 347
FAIRFIELD, TX 75840


KNOWLES, KEVIN                                                                            Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


KNOX WASTE SERVICE                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 569
TYE, TX 79563


KOCH ENERGY SERVICES, LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
4111 EAST 37TH ST NORTH
WICHITA, KS 67220


KOCH SUPPLY & TRADING                                                                     Claims Related to Accounts Receivable and Accounts Payable
4111 EAST 37TH STREET NORTH
WICHITA, KS 67220




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                                                   Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                     Nature

KOETTER FIRE PROTECTION LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
AUSTIN LLC
16069 CENTRAL COMMERCE DR
PFLUGERVILLE, TX 78660-2005


KOETTER FIRE PROTECTION LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
LONGVIEW LLC
10351 OLYMPIC DR
DALLAS, TX 75220-4437


KONE INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
4156 PO BOX 894156
LOS ANGELES, CA 90189-4156


KREBS ENGINEERS                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2630
EVANS, GA 30809


KREBS ENGINEERS                                                                          Claims Related to Accounts Receivable and Accounts Payable
TUCSON OPERATIONS DEPT 3252
PO BOX 123252
DALLAS, TX 75312-3252


KRISTOPHER WALDON                                                                        Claims Related to Accounts Receivable and Accounts Payable
4009 PIN OAK TER 222
EULESS, TX 76040


KRJA SYSTEMS INC / MAPTEK                                                                Claims Related to Accounts Receivable and Accounts Payable
165 SOUTH UNION BOULEVARD
STE 888
LAKEWOOD, CO 80228


KSB INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
4415 SARELLEN RD
RICHMOND, VA 23231-4428


KSM EXCHANGE LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 270360
OKLAHOMA CITY, OK 73137


KVB-ENERTEC                                                                              Claims Related to Accounts Receivable and Accounts Payable
POWER GENERATION GROUP, INC
PO BOX 643957
PITTSBURGH, PA 15264-3957




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                                                         Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                           Nature

KWH CONSULTING SERVICES LTD                                                                    Claims Related to Accounts Receivable and Accounts Payable
435 S STEWART ST
AZLE, TX 76020


L5E LLC                                                                                        Claims Related to Accounts Receivable and Accounts Payable
130 E JOHN CARPENTER FREEWAY
IRVING, TX 75062


L5E, LLC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
130 EAST CARPENTER FWY
IRVING, TX 75062


LACLEDE ENERGY RESOURCES, INC.                                                                 Claims Related to Accounts Receivable and Accounts Payable
800 MARKET ST
18TH FLOOR
ST. LOUIS, MO 63101


LAIRDS CONTROLS NORTH AMERICA INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 418114
BOSTON, MA 02241-8114


LAKELAND ELECTRIC                                                                              Claims Related to Accounts Receivable and Accounts Payable
501 E. LEMON STREET
LAKELAND, FL 33801


LAMAR INDUSTRIAL LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
3737 LAMAR AVENUE
SUITE 700
PARIS, TX 75460


LANGUAGE LINE SERVICES                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 202564
DALLAS, TX 75320-2564


LAUCKGROUP                                                                                     Claims Related to Accounts Receivable and Accounts Payable
1601 BRYAN ST
STE# 101
DALLAS, TX 75201


LAUREN ELIZABETH CLIFTON AND                                                                   Claims Related to Accounts Receivable and Accounts Payable
1810 TOPAZ CV
WHITEHOUSE, TX 75791-3356




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

LAY'S MINING SERVICE INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
1121 S 10TH ST
MT VERNON, IL 62864


LCG CONSULTING                                                                              Claims Related to Accounts Receivable and Accounts Payable
4962 EL CAMINO REAL STE 112
LOS ALTOS, CA 94022


LDL EDUCATIONAL RESOURCES                                                                   Claims Related to Accounts Receivable and Accounts Payable
FOUNDATION
PO BOX 1283
GLEN ROSE, TX 76043


LEAD STRONG INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
13155 NOEL RD STE 900
DALLAS, TX 75240


LEADERSHIP RESOURCE CENTER LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
1101 BOMBAY LANE
ROSWELL, GA 30076


LECHLER INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
DEPT 77-3276
CHICAGO, IL 60678-3276


LECO CORPORATION                                                                            Claims Related to Accounts Receivable and Accounts Payable
3000 LAKEVIEW AVE
ST JOSEPH, MI 49085-2396


LEECO ENERGY SERVICES                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1587
WHITEHOUSE, TX 75791


LEGACY PUMPS & INSTRUMENTS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 426
MINERAL WELLS, TX 76068-0426


LEGISLATIVE STUDY GROUP                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 12943
AUSTIN, TX 78711


LEVEL 3 COMMUNICATIONS LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 910182
DENVER, CO 80291-0182




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Name of Counterparty                                                                               Nature

LEWIS, BRAD                                                                                        Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


LEWIS-GOETZ AND COMPANY INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 644819
PITTSBURGH, PA 15264-4819


LEXAIR INC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
2025 MERCER RD
LEXINGTON, KY 40511-1018


LEXINGTON ACQUIPORT COLINAS LP                                                                     Claims Related to Accounts Receivable and Accounts Payable
ONE PENN PLAZA SUITE 4015
ATTN CASH MANAGEMENT
NEW YORK, NY 10119-4015


LHOIST NORTH AMERICA OF TEXAS                                                                      Claims Related to Accounts Receivable and Accounts Payable
5274 PAYSPHERE CIR
CHICAGO, IL 60674


LHOIST NORTH AMERICA OF TEXAS                                                                      Claims Related to Accounts Receivable and Accounts Payable
DEPT 852395466
PO BOX 419267
KANSAS CITY, MO 64141-6267


LHOIST NORTH AMERICA OF TEXAS                                                                      Claims Related to Accounts Receivable and Accounts Payable
DEPT 875096810
PO BOX 419267
KANSAS CITY, MO 64141-6267


LIBERTY MUTUAL                                                                                     Claims Related to Accounts Receivable and Accounts Payable
8350 N. CENTRAL EXPRESSWAY, SUITE 850
ATTN: TODD TSCHANTZ
DALLAS, TX 75026


LIFEPROTECTION SPRINKLER LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 164309
FORT WORTH, TX 76161-4309


LIFTING GEAR HIRE CORP                                                                             Claims Related to Accounts Receivable and Accounts Payable
9925 S INDUSTRIAL DR
BRIDGEVIEW, IL 60455




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

LIMESTONE COUNTY PUBLISHING                                                                   Claims Related to Accounts Receivable and Accounts Payable
ATTN CREDIT DEPARTMENT
PO BOX 431
MEXIA, TX 76667


LIQUIDITY ENERGY LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
101 MORGAN LANE STE 190
PLAINSBORO, NJ 08536


LIVE ENERGY INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
1124 GLADE RD STE#140
COLLEYVILLE, TX 76034


LIVE ENERGY, INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
1124 GLADE RD SUITE 140
COLLEYVILLE, TX 76034


LOCHRIDGE-PRIEST INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 154187
WACO, TX 76715


LOCKPORT ENERGY ASSOCIATES L P                                                                Claims Related to Accounts Receivable and Accounts Payable
5087 JUNCTION ROAD
LOCKPORT, NY 14094


LOCKPORT ENERGY ASSOCIATES, L.P.                                                              Claims Related to Accounts Receivable and Accounts Payable
5087 JUNCTION RD
LOCKPORT, NY 14094


LOCKTON COMPANIES LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
2100 ROSS AVE STE 1200
DALLAS, TX 75201


LOCKTON COMPANIES OF DALLAS, LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
2100 ROSS AVE STE 1200
DALLAS, TX 75201


LOCOMOTIVE SERVICE INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
200 UNION BLVD STE 410
LAKEWOOD, CO 80228


LODOR ENTERPRISES INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
DBA COMMERCE GRINDING CO
635 FT WORTH AVE
DALLAS, TX 75208




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                                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                       Nature

LONE STAR RAILROAD                                                                                         Claims Related to Accounts Receivable and Accounts Payable
CONTRACTORS INC
PO BOX 1150
ENNIS, TX 75120


LONE STAR SAFETY & SUPPLY, INC.                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 29131
DALLAS, TX 75229-0131


LONG INDUSTRIES                                                                                            Claims Related to Accounts Receivable and Accounts Payable
105 FCR 413
BUFFALO, TX 75831


LORAINE WINDPARK PROJECT, LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
3801 PGA BLVD.
 STE 904
PALM BEACH GARDENS, FL 33410


LOWE TRACTOR & EQUIPMENT INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
P O BOX 637
HENDERSON, TX 75653-0637


LOWER COLORADO RIVER AUTHORITY (LCRA)                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 301142
DALLAS, TX 75303-1142


LOWER ENERGY BILLS LLC DBA USA POWER & LIGHTS                                                              Claims Related to Accounts Receivable and Accounts Payable
8618 HUMPHREYS DR
HOUSTON, TX 77083


LRT LIGHTING RESOURCES TEXAS LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
101 EAST BOWIE
FORT WORTH, TX 76110


LUBRICATION ENGINEERS INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 16025
WICHITA, KS 67216-6025


LUBRICATION SERVICES LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
DEPARTMENT 2214
P O BOX 122214
DALLAS, TX 75312-2214




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Name of Counterparty                                                                          Nature

LUBRICATION SERVICES LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 201403
DALLAS, TX 75320-1403


LUCENT TECHNOLOGIES                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5019
CAROL STREAM, IL 60197-5019


LUDLUM MEASUREMENTS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
P O BOX 972965
DALLAS, TX 75397-2965


LUFKIN ARMATURE WORKS                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1227
LUFKIN, TX 75902


LUFKIN RUBBER & GASKET CO                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 150356
LUFKIN, TX 75915-0356


LYLE OIL CO                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 77
FAIRFIELD, TX 75840


M G CLEANERS LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 196
CARTHAGE, TX 75633


M GROUP STRATEGIES                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 684614
ATTN MARK MALONE
AUSTIN, TX 78768


M&C PRODUCTS ANALYSIS TECHNOLOGY                                                              Claims Related to Accounts Receivable and Accounts Payable
6019 OLIVAS PARK DR STE G
VENTURA, CA 93003


M&S TECHNOLOGIES                                                                              Claims Related to Accounts Receivable and Accounts Payable
2727 LBJ FREEWAY STE 810
DALLAS, TX 75234


MABANAFT COAL TRADING INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
THREE ALLEN CENTER
333 CLAY ST., STE 2400
HOUSTON, TX 77002




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

MACK BOLT AND STEEL                                                                          Claims Related to Accounts Receivable and Accounts Payable
5875 E STATE HWY 21
BRYAN, TX 77808


MACKANAN LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
12252 FM 1485
CONROE, TX 77306


MACKSON INCORPORATED                                                                         Claims Related to Accounts Receivable and Accounts Payable
25479 NETWORK PLACE
CHICAGO, IL 60673-1254


MACQUARIE BANK LIMITED                                                                       Claims Related to Accounts Receivable and Accounts Payable
NO. 1 MARTIN PLACE
SYDNEY NSW 2000, GPO BOX 4294
SYDNEY NSW 1164,


MACQUARIE ENERGY,LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
500 DALLAS STREET, SUITE 3100
HOUSTON, TX 77002


MACQUARIE FUTURES USA LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
125 WEST 55TH ST.
NEW YORK, NY 10019-5369


MAGNUM TECHNICAL SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
DBA MAGNUM ENGINEERING&CONTROLS
24 COMMERCIAL PLACE
SCHERTZ, TX 78154


MAJOR OAK POWER LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
13065 PLANT ROAD
P O BOX 37
BREMOND, TX 76629


MAJOR OAKS POWER LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
8403 COLESVILLE ROAD SUITE 915
SILVER SPRING, MD 20910


MALAKOFF TRUCK BODY INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 428
ATHENS, TX 75751




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Name of Counterparty                                                                        Nature

MANAGEMENT RESOURCES GROUP INC                                                              Claims Related to Accounts Receivable and Accounts Payable
27 GLEN RD 3RD FLOOR
SANDY HOOK, CT 06482


MARCO                                                                                       Claims Related to Accounts Receivable and Accounts Payable
3425 E LOCUST ST STE A
DAVENPORT, IA 52803


MARCO INSPECTION SERVICES LLC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1941
KILGORE, TX 75663


MARK HAMMONDS                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2321
WHITNEY, TX 76692


MARKLYN STANDARDS LAB                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 45489
BATON ROUGE, LA 70895


MARQUEZ FARM & RANCH SUPPLY                                                                 Claims Related to Accounts Receivable and Accounts Payable
624 V W GOODWIN BLVD N
PO BOX 249
MARQUEZ, TX 77865


MARSH USA INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 846015
DALLAS, TX 75284-6015


MARTIN ENGINEERING MICHIGAN                                                                 Claims Related to Accounts Receivable and Accounts Payable
DEPT 4531
CAROL STREAM, IL 60122-4531


MARTIN MARIETTA MATERIALS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 677061
DALLAS, TX 75267-7061


MASKELL-ROBBINS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
1974 SOLUTIONS CENTER
CHICAGO, IL 60677-1009


MASTERCRAFT PRINTED PRODUCTS                                                                Claims Related to Accounts Receivable and Accounts Payable
2150 CENTURY CIR
IRVING, TX 75062




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Name of Counterparty                                                                                 Nature

MASTERCRAFT PRINTED PRODUCTS & SERVICES                                                              Claims Related to Accounts Receivable and Accounts Payable
2150 CENTURY CIRCLE
IRVING, TX 75062


MASTERWORD SERVICES INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
303 STAFFORD ST
HOUSTON, TX 77079


MATERIAL HANDLING AND CONTROLS                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 890494
HOUSTON, TX 77289


MCCRIGHT, JANET                                                                                      Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


MCDONOUGH CONSTRUCTION RENTALS                                                                       Claims Related to Accounts Receivable and Accounts Payable
RENTALS INC
PO BOX 973687
DALLAS, TX 75397


MCGUIREWOODS CONSULTING LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE
800 E CANAL STREET
RICHMOND, VA 23219-4030


MCMASTER-CARR SUPPLY COMPANY                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7690
CHICAGO, IL 60680-7690


MCMURRAY SIGNS & GRAPHICS                                                                            Claims Related to Accounts Receivable and Accounts Payable
816 HWY 64 WEST
HENDERSON, TX 75652


MECHANICAL & CERAMIC SOLUTIONS                                                                       Claims Related to Accounts Receivable and Accounts Payable
SOLUTIONS INC
PO BOX 536
CARNEGIE, PA 15106


MECHANICAL DYNAMICS & ANALYSIS                                                                       Claims Related to Accounts Receivable and Accounts Payable
19 BRITISH AMERICAN BLVD
LATHAM, NY 12110




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Name of Counterparty                                                                          Nature

MECO INC MAINTENANCE ENGINEERING                                                              Claims Related to Accounts Receivable and Accounts Payable
WATER TREATMENT
3807 CLINTON DR
HOUSTON, TX 77020


MEDIA MANAGEMENT                                                                              Claims Related to Accounts Receivable and Accounts Payable
1801 ROYAL LANE STE 906
DALLAS, TX 75229


MEGGER                                                                                        Claims Related to Accounts Receivable and Accounts Payable
4271 BRONZE WAY
DALLAS, TX 75237


MENARDI MIKROPUL LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 538423
ATLANTA, GA 30353-8423


MERCURIA ENERGY AMERICA INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
20 EAST GREENWAY PLAZA
SUITE 650
HOUSTON, TX 77046


MERCURIA ENERGY AMERICA, INC.                                                                 Claims Related to Accounts Receivable and Accounts Payable
5 GREENWAY PLAZA, SUITE 810
HOUSTON, TX 77046


MERICO ABATEMENT CONTRACTORS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 91473
CHICAGO, IL 60693


MERRILL LYNCH COMMODITIES                                                                     Claims Related to Accounts Receivable and Accounts Payable
20 EAST GREENWAY PLAZA STE 700
HOUSTON, TX 77046-2002


METCO ENVIRONMENTAL                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 204290
DALLAS, TX 75320-4290


METLIFE AUTO & HOME                                                                           Claims Related to Accounts Receivable and Accounts Payable
200 PARK AVENUE
NEW YORK, NY 10166


METTLER-TOLEDO THORNTON INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
23669 NETWORK PLACE
CHICAGO, IL 60673-1236




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Name of Counterparty                                                                                 Nature

MHC XPLORATION CORPORATION                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7405
TYLER, TX 75711


MICHAEL C FINA CORPORATE SALES                                                                       Claims Related to Accounts Receivable and Accounts Payable
CORPORATE SALES INC
PO BOX 36208
NEWARK, NJ 07188-6208


MICRO MOTION INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
22737 NETWORK PLACE
CHICAGO, IL 60673-1227


MID SOUTH ENGINE & MACHINE LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
2201 E US HWY 80
WHITE OAK, TX 75693


MIDCO SLING OF EAST TEXAS                                                                            Claims Related to Accounts Receivable and Accounts Payable
9101 W CARPENTER FRWY
DALLAS, TX 75247


MIDSTATE ENVIRONMENTAL SERVICES LP                                                                   Claims Related to Accounts Receivable and Accounts Payable
2293 TOWER ROAD
ROBSTOWN, TX 78380


MIDSTATE ENVIRONMENTAL SVCS LP                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 261180
CORPUS CHRISTI, TX 78426-1180


MIDSTATE ENVIRONMENTAL UNITED RECYCLERS                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 310382
DES MOINES, IA 50331-0382


MIDWEST COOLING TOWERS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
1156 EAST HWY 19
CHICKASHA, OK 73018


MIDWEST ENERGY EMISSIONS CORP                                                                        Claims Related to Accounts Receivable and Accounts Payable
670 D ENTERPRISE DR
LEWIS CENTER, OH 43035




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Name of Counterparty                                                                               Nature

MIDWEST INTERNATIONAL STANDARD                                                                     Claims Related to Accounts Receivable and Accounts Payable
PRODUCTS INC
105 STOVER ROAD
P O BOX 438
CHARLEVOIX, MI 49720


MIECO, INC.                                                                                        Claims Related to Accounts Receivable and Accounts Payable
16945 NORTHCHASE DRIVE STE 1640
HOUSTON, TX 77060


MIKE BROWN AUTO GROUP                                                                              Claims Related to Accounts Receivable and Accounts Payable
4950 E HWY 377
GRANBURY, TX 76049


MILLER-STARNES CHEVROLET-BUICK-                                                                    Claims Related to Accounts Receivable and Accounts Payable
INC
476 W CAMERON AVE
ROCKDALE, TX 76567


MIMEO.COM INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 654018
DALLAS, TX 75265-4018


MINE SERVICE LTD                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 32
ROCKDALE, TX 76567


MIRION TECHNOLOGIES (IST)                                                                          Claims Related to Accounts Receivable and Accounts Payable
C/O ACCTS RECEIVABLE
2300 WALDEN AVE
BUFFALO, NY 14225


MISSISSIPPI ENTERPRISE FOR TECHNOLOGY                                                              Claims Related to Accounts Receivable and Accounts Payable
BUILDING 1103 ROOM 140
STENNIS SPACE CENTER, MS 39529


MITCHELL 1                                                                                         Claims Related to Accounts Receivable and Accounts Payable
25029 NETWORK PLACE
CHICAGO, IL 60673-1250


MNM ENTERPRISES                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7172
FORT WORTH, TX 76111




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

MOBILE ANALYTICAL LABORTORIES                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 69210
ODESSA, TX 79769-0210


MOLY COP USA LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19740
PALATINE, IL 60055-9740


MOMAR INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 19569
ATLANTA, GA 30325-0569


MONARCH LATHES LP                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 931883
CLEVELAND, OH 45365


MOORE, ELIZA                                                                                Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


MORLEY MOSS INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
430 S ASTON DR
SUNNYVALE, TX 75182


MORNINGSTAR COMMODITY DATA INC                                                              Claims Related to Accounts Receivable and Accounts Payable
2668 PAYSPHERE CIR
CHICAGO, IL 60674


MORRIS MATERIAL HANDLING INC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 641807
PITTSBURGH, PA 15264-1807


MORRISON SUPPLY COMPANY                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70
FORT WORTH, TX 76101


MORTEX PRODUCTS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730227
DALLAS, TX 75373-0227


MOTION INDUSTRIES INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 849737
DALLAS, TX 75284-9737




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

MOUSER ELECTRONICS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 99319
FT WORTH, TX 76199-0319


MPW INDUSTRIAL WATER SERVICES                                                               Claims Related to Accounts Receivable and Accounts Payable
1300 PAYSPHERE CIRCLE
CHICAGO, IL 60674


MSC INDUSTRIAL SUPPLY CO INC                                                                Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 0075
PALATINE, IL 60055-0075


M-TEX INDUSTRIAL SUPPLY CO INC                                                              Claims Related to Accounts Receivable and Accounts Payable
925 LAVON CIRCLE
LAVON, TX 75166


MTS TECHNOLOGIES INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
2800 S SHIRLINGTON RD STE 1000
ARLINGTON, VA 22206


MUIRFIELD PARTNERS                                                                          Claims Related to Accounts Receivable and Accounts Payable
10877 WILSHIRE BLVD STE 1200
LOS ANGELES, CA 90024


MULLEN COMMUNICATIONS                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7247-7279
PHILADELPHIA, PA 19170


MUNOZ, RICHARD                                                                              Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


MUSTANG GOVERNMENT STRATEGIES                                                               Claims Related to Accounts Receivable and Accounts Payable
1435 N QUINCY ST
ARLINGTON, VA 22207


MYERS PEST & TERMITE                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 547668
ORLANDO, FL 32854-7668


N D WILLIAMS TIMBER COMPANY                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 899
TATUM, TX 75691




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                                                                    Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                      Nature

NABA ENERGY INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
7509 MIDDLEWOOD ST
HOUSTON, TX 77063


NALCO COMPANY                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70716
CHICAGO, IL 60673-0716


NALCO COMPANY                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730005
DALLAS, TX 75373-0005


NAPA AUTO PARTS                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1257
ROCKDALE, TX 76567


NATCO                                                                                                     Claims Related to Accounts Receivable and Accounts Payable
CORPORATE PARTNER OF CONTITECH
520 SOUTH 18TH STREET
WEST DES MOINES, IA 50265-5532


NATIONAL BUSINESS FURNITURE                                                                               Claims Related to Accounts Receivable and Accounts Payable
1819 PEACHTREE RD NE STE 520
ATLANTA, GA 30309


NATIONAL GYPSUM                                                                                           Claims Related to Accounts Receivable and Accounts Payable
POWERS & FROST, LLP
GWENDOLYN FROST
2600 TWO HOUSTON CENTER, 909 FANNIN
2600 TWO HOUSTON CENTER, 909 FANNIN
HOUSTON, TX 77010-2007


NATIONAL1 ENERGY, LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
2701 E PRESIDENT GEORGE W BUSH HWY SUITE 210
PLANO, TX 75074


NATIONWIDE NEW ENERGY MANAGEMENT GROUP LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
4825 FOX RIDGE LN
MCKINNEY, TX 75071


NATURAL GAS EXCHANGE INC.                                                                                 Claims Related to Accounts Receivable and Accounts Payable
SUITE 2330, 140-4TH AVENUE S.W.
CALGARY, AB T2P 3N3




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

NATURAL GAS PIPELINE OF AMERICA                                                              Claims Related to Accounts Receivable and Accounts Payable
500 DALLAS STREET
ONE ALLEN CENTER, SUITE 1000
HOUSTON, TX 77002-4800


NAVCO                                                                                        Claims Related to Accounts Receivable and Accounts Payable
SOUTH TEXAS LLC
12015 AUBURN HILLS DR
TOMBALL, TX 77377-8640


NCH CORP CHEMSEARCH DIVISION                                                                 Claims Related to Accounts Receivable and Accounts Payable
3334 S TECH BLVD
MIAMISBURG, OH 45342


NCH CORP CHEMSEARCH DIVISION                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 971269
DALLAS, TX 75397-1269


NCS PEARSON INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
13036 COLLECTION CENTER DR
CHICAGO, IL 60693


ND WILLIAMS TIMBER                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 899
TATUM, TX 75691


NDE INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 121326
FORT WORTH, TX 76121


NERA                                                                                         Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


NES RENTALS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
125 MCCARTY ST
HOUSTON, TX 77029


NETCO CO INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
1093 RIDGE RD
WINDSOR, ME 04363


NEUANALYTICS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
6900 W 80TH ST 202
OVERLAND, KS 66204




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                                                            Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                              Nature

NEUNDORFER INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
4590 HAMANN PKWY
WILLOUGHBY, OH 44094


NEW BOBKAT AGRICULTURAL SERVICES                                                                  Claims Related to Accounts Receivable and Accounts Payable
2516 HWY 271 NORTH
PITTSBURG, TX 75686


NEW PIG CORPORATION                                                                               Claims Related to Accounts Receivable and Accounts Payable
ONE PORK AVE
TIPTON, PA 16684-0304


NEW RELIC INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
188 SPEAR ST STE 1200
SAN FRANCISCO, CA 94105


NEWPORT NEWS INDUSTRIAL CORP                                                                      Claims Related to Accounts Receivable and Accounts Payable
GENERAL POST OFFICE
PO BOX 26917
NEW YORK, NY 10087-6917


NEXCLAIM RECOVERIES, LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
75 FARMINGTON VALLEY DRIVE
PLAINVILLE, CT 06062


NEXTERA ENERGY CAPITAL HOLDINGS                                                                   Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BLVD, CTX/JB
JUNO BEACH, FL 33408


NEXTERA ENERGY CAPITAL HOLDINGS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


NEXTERA ENERGY POWER MARKERTING, LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BLVD
JUNO BEACH, FL 33408


NFM                                                                                               Claims Related to Accounts Receivable and Accounts Payable
8895 DEERFIELD DRIVE
OLIVE BRANCH, MS 38654-3816


NJR ENERGY SERVICES COMPANY                                                                       Claims Related to Accounts Receivable and Accounts Payable
1415 WYCKOFF RD
PO BOX 1464
WALL, NJ 07719




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                                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                          Nature

NOBLE AMERICAS GAS & POWER CORP                                                                               Claims Related to Accounts Receivable and Accounts Payable
107 ELM STREET
FOUR STAMFORD PLAZA
STAMFORD, CT 06902-3834


NOBLE GREAT PLAINS WIND PARK, LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
8 RAILROAD AVENUE SUITE 88
ESSEX, CT 06426


NOBLE WATER TECHNOLOGIES INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 9033
DALLAS, TX 75209


NOLAN BATTERY COMPANY, LLC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 10641
JEFFERSON, LA 70181


NOLAN POWER GROUP LLC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 54986
NEW ORLEANS, LA 70154-4986


NORTH AMERICAN SWITCHGEAR INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
12502 BEREA ROAD
CLEVELAND, OH 44111


NORTH HOUSTON VALVE & FITTING CO                                                                              Claims Related to Accounts Receivable and Accounts Payable
BEAUMONT FLUID SYSTEMS TECHNOLOGIES
DEPT 235 PO BOX 4346
HOUSTON, TX 77210-4346


NORTH TEXAS OPPORTUNITY FUND                                                                                  Claims Related to Accounts Receivable and Accounts Payable
3625 N HALL ST STE 610
DALLAS, TX 75219


NORTHEAST TEXAS MUNICIPAL                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 955
HUGHES SPRINGS, TX 75656


NORTHEAST TEXAS POWER LTD                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 559
CUMBY, TX 75433


NORTHERN TRUST INTERNATIONAL BANKING CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
THE HARBORSIDE FINANCIAL CTR, PLAZA 10
JERSEY CITY, NJ 10004




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

NORTHWESTERN MUTUAL LIFE                                                                      Claims Related to Accounts Receivable and Accounts Payable
6565 NORTH MACARTHUR BLVD
IRVING, TX 75039


NRG POWER MARKETING INC.                                                                      Claims Related to Accounts Receivable and Accounts Payable
211 CARNEGIE CENTER
PRINCETON, NJ 08540


NRG POWER MARKETING LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
211 CARNEGIE CENTER
PRINCETON, NJ 08540


NTEX LAND SERVICES                                                                            Claims Related to Accounts Receivable and Accounts Payable
24 SMITH RD.
MIDLAND, TX 79705


NUCLEAR ELECTRIC INSURANCE                                                                    Claims Related to Accounts Receivable and Accounts Payable
ACCT NAME:DUANE MORRIS LLP
1201 MARKET ST STE 1100
WILMINGTON, DE 19801


NUCLEAR ENERGY INSTITUTE                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 759072
BALTIMORE, MD 21275-9072


NUCOMPASS MOBILITY SERVICES INC                                                               Claims Related to Accounts Receivable and Accounts Payable
7901 STONERIDGE DRIVE, SUITE 390
PLEASANTON, CA 94588


NUCOMPASS MOBILITY SERVICES INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 45101
SAN FRANCISCO, CA 94145


NUCON INTERNATIONAL INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
P O BOX 29151
COLUMBUS, OH 43229


NUFLO TECHNOLOGIES INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
CAMERON
PO BOX 730172
DALLAS, TX 75373-0172


NWL TRANSFORMERS                                                                              Claims Related to Accounts Receivable and Accounts Payable
312 RISING SUN RD
BORDENTOWN, NJ 08505




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

NWP INDIAN MESA WIND FARM, L.P                                                               Claims Related to Accounts Receivable and Accounts Payable
700 UNIVERSE BOULEVARD
JUNO BEACH, FL 33408


O'BRIEN RESOURCES LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
P.O. BOX 6149
SHREVEPORT, LA 71136


OBSERVEPOINT INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
DEPT LA 24419
PASADENA, CA 91185-4419


OCCIDENTAL POWER SERVICES, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
5 GREENWAY PLAZA STE 110
HOUSTON, TX 77046


ODESSA PUMPS & EQUIPMENT INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 60429
MIDLAND, TX 79711-0429


OIL ANALYSIS LAB INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
2121 E RIVERSIDE
SPOKANE, WA 99202


OKLAHOMA STATE DEPARTMENT OF                                                                 Claims Related to Accounts Receivable and Accounts Payable
AGRICULTURE
AGRICULTURE LABORATORY DIVISION
PO BOX 528804
OKLAHOMA CITY, OK 73152-8804


OLIVER GOLDSMITH COMPANY INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3305
WACO, TX 76707-0305


OLYMPIC WEAR LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 80402
SEATTLE, WA 98108


OMEGA ENGINEERING INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 405369
ATLANTA, GA 30384-5369


OMNI AUSTIN HOTEL                                                                            Claims Related to Accounts Receivable and Accounts Payable
700 SAN JACINTO AT 8TH ST
AUSTIN, TX 78701




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

ON THE SPOT DETAILING & TRUCK                                                                Claims Related to Accounts Receivable and Accounts Payable
ACCESSORIES
PO BOX 892
FRANKLIN, TX 77856


ONDEO NALCO COMPANY                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70716
CHICAGO, IL 60673-0716


ONE SAFE PLACE MEDIA CORP                                                                    Claims Related to Accounts Receivable and Accounts Payable
1550 W WALNUT HILL LN
IRVING, TX 75038


ONEILL ATHY AND CASEY                                                                        Claims Related to Accounts Receivable and Accounts Payable
1310 19TH ST NW
WASHINGTON, DC 20036


ONESOURCE VIRTUAL                                                                            Claims Related to Accounts Receivable and Accounts Payable
5601 N MACARTHUR BLVD STE 100
IRVING, TX 75038


ONESOURCE VIRTUAL HR, INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
5601 N MACARTHUR BLVD STE 100
IRVING, TX 75038


ONLINE RESOURCES CORPORATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 418410
BOSTON, MA 02241-8410


ONYX POWER & GAS CONSULTING LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
13155 NOEL RD STE 900
THREE GALLERIA TOWER
DALLAS, TX 75240


OPEN TEXT INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
1301 S MOPAC EXPRESSWAY
STE 150
AUSTIN, TX 78746


OPERATION SCHOOL SUPPLIES                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2403
GRANBURY, TX 76048




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

OPERATOR TRAINING & INSPECTION                                                              Claims Related to Accounts Receivable and Accounts Payable
SERVICES,LLC
PO BOX 184
WHITE OAK, TX 75693


OPPEL TIRE & SERVICE                                                                        Claims Related to Accounts Receivable and Accounts Payable
102 N RIDGEWAY
CLEBURNE, TX 76033


OPPORTUNITY BANK N A                                                                        Claims Related to Accounts Receivable and Accounts Payable
10455 VISTA PARK RD
DALLAS, TX 75238-1645


OPTIMAL ENERGY CONSULTANTS                                                                  Claims Related to Accounts Receivable and Accounts Payable
(ZULLY GONZALEZ)

39005 SHAWNTELLE DR.
PENITAS, TX 78576


ORACLE AMERICA INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
500 ORACLE PARKWAY
REDWOOD SHORES, CA 94065


ORACLE SUPPORT SERVICES                                                                     Claims Related to Accounts Receivable and Accounts Payable
500 ORACLE PARKWAY
REDWOOD SHORES, CA 94065


ORION INSTRUMENTS                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 910862
DALLAS, TX 75391-0862


ORIVAL INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
213 S VAN BRUNT ST
ENGLEWOOD, NJ 07631


ORKIN PEST CONTROL                                                                          Claims Related to Accounts Receivable and Accounts Payable
601 N GLENVILLE DR STE 125
RICHARDSON, TX 75081


OSECO                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 504834
ST LOUIS, MO 63150-4834




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                                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                       Nature

OSISOFT INC                                                                                                Claims Related to Accounts Receivable and Accounts Payable
738 HWY 6 S STE 260
HOUSTON, TX 77079


OSISOFT LLC                                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4586
HAYWARD, CA 94540-4586


OVERHEAD DOOR OF LONGVIEW                                                                                  Claims Related to Accounts Receivable and Accounts Payable
22009 BUSH DR
WACO, TX 76712


OVERHEAD DOOR OF LONGVIEW                                                                                  Claims Related to Accounts Receivable and Accounts Payable
TYLER-LONGVIEW
PO BOX 6837
TYLER, TX 75711-6837


OZARKA DRINKING WATER                                                                                      Claims Related to Accounts Receivable and Accounts Payable
A DIVISION OF NESTLE WATERS NORTH AMERICA INC
PO BOX 856680
LOUISVILLE, KY 40285-6680


P&E MECHANICAL CONTRACTORS LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 21643
WACO, TX 76702


P&H MINEPRO SERVICES                                                                                       Claims Related to Accounts Receivable and Accounts Payable
3200 PAYSPHERE CIR
CHICAGO, IL 60674


PACE ANALYTICAL SERVICES INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 684056
CHICAGO, IL 60695-4056


PACIFIC SUMMIT ENERGY, LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
4675 MACARTHUR COURT STE 1170
NEWPORT BEACH, CA 92600


PALL TRINITY MICRO CORPORATION                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 85001311
PHILADELPHIA, PA 19178-1311


PALMETTO MINING INC                                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6550
NORTH AUGUSTA, SC 29861




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Name of Counterparty                                                                             Nature

PANOLA COUNTY GROUNDWATER                                                                        Claims Related to Accounts Receivable and Accounts Payable
110 S SYCAMORE RM 211
CARTHAGE, TX 75633


PANOLA WATCHMAN                                                                                  Claims Related to Accounts Receivable and Accounts Payable
P O BOX 1792
LONGVIEW, TX 75606


PARAGO PROMOTIONAL SERVICES INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 678341
DALLAS, TX 75267-8341


PARAGON TECHNOLOGIES INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
28032 NETWORK PL
CHICAGO, IL 60673-1280


PARIVEDA SOLUTIONS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671060
DALLAS, TX 75267-1060


PARK PLACE TECHNOLOGIES LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 78000 DEPT 781156
DETROIT, MI 48278-1156


PARK PLACE TECHNOLOGY                                                                            Claims Related to Accounts Receivable and Accounts Payable
8401 CHAGRIN ROAD
CHAGRIN FALLS, OH 44023


PARKEY CONSULTING                                                                                Claims Related to Accounts Receivable and Accounts Payable
PARKEY CONSULTING
896 TIMBERLINE DR
BAY CITY, TX 77414


PARKLAND HEALTH AND HOSPITAL SYSTEM                                                              Claims Related to Accounts Receivable and Accounts Payable
5200 HARRY HINES BLVD
DALLAS, TX 75235


PARKS COFFEE                                                                                     Claims Related to Accounts Receivable and Accounts Payable
DBA PARKS COFFEE
PO BOX 110209
CARROLLTON, TX 75011-0209


PARTICULATE CONTROL                                                                              Claims Related to Accounts Receivable and Accounts Payable
511 CREEKSIDE COURT
HELENA, AL 35080




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

PARTNERS ENERGY GROUP, LLC                                                                   Claims Related to Accounts Receivable and Accounts Payable
1200 SMITH ST SUITE 1600
HOUSTON, TX 77002


PASCO INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
551 PRINCE EDWARD RD
GLEN ELLYN, IL 60137-6710


PASTOR BEHLING & WHEELER LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
2201 DOUBLE CREEK DRIVE
SUITE 4004
ROUND ROCK, TX 78664


PATHFINDER EQUIPMENT LOCATORS                                                                Claims Related to Accounts Receivable and Accounts Payable
LOCATORS INC
PO BOX 90077
SAN ANTONIO, TX 78209


PATTERN GULF WIND LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
1600 SMITH STREET SUITE 4025
HOUSTON, TX 77002


PATTERN PANHANDLE 1, LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PIER 1, BAY 3
SAN FRANCISCO, CA 94111


PATTERN PANHANDLE 2, LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PIER 1, BAY 3
SAN FRANCISCO, CA 94111


PAUL BROUSSARD                                                                               Claims Related to Accounts Receivable and Accounts Payable
5151 KATY FREEWAY, SUITE 310
HOUSTON, TX 77007


PAUL BROUSSARD & ASSOCIATES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
5151 KATY FRWY STE 310
HOUSTON, TX 77023


PAVECON                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 535457
GRAND PRAIRIE, TX 75053-5457


PAYNELESS LAWNCARE                                                                           Claims Related to Accounts Receivable and Accounts Payable
100 E MICHALK
THORNDALE, TX 76577




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

PCPC DIRECT                                                                                   Claims Related to Accounts Receivable and Accounts Payable
10690 SHADOW WOOD DRIVE
SUITE 132
HOUSTON, TX 77043-2843


PCPC INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
10690 SHADOW WOOD DRIVE
SUITE 132
HOUSTON, TX 77043-2843


PCPC INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 676673
DALLAS, TX 75267-6673


PEARL MEDIA                                                                                   Claims Related to Accounts Receivable and Accounts Payable
ATTENTION: JOSH COHEN
363 ROUTE 46 W, SUITE 260
FAIRFIELD, NJ 07004


PEAVEY, ROSS O                                                                                Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


PEMTECH INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
12144 DAIRY ASHFORD BLDG 2
SUGAR LAND, TX 77478


PEOPLEFLUENT INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 822205
PHILADELPHIA, PA 19182-2205


PERMIAN BASIN PURE AIR                                                                        Claims Related to Accounts Receivable and Accounts Payable
3241 FRANKLIN AVE STE C
MIDLAND, TX 79701


PETRO VALVE INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671405
DALLAS, TX 75267-1405


PHILIPS & MEACHUM PUBLIC AFFAIRS                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 13506, CAPITOL STATION
AUSTIN, TX 78711


PHOENIX GAS PIPELINE COMPANY                                                                  Claims Related to Accounts Receivable and Accounts Payable
3200 SOUTHWEST FREEWAY STE 2130
HOUSTON, TX 77027




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

PHOTOVOLT INSTRUMENTS INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
6323 CAMBRIDGE STREET
MINNEAPOLIS, MN 55416


PIERCE CONSTRUCTION INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 69
BECKVILLE, TX 75631


PIERCE PUMP COMPANY LLP                                                                       Claims Related to Accounts Receivable and Accounts Payable
AN FCX PERFORMANCE COMPANY
P O BOX 712465
CINCINNATI, OH 45271-2465


PINNACLE INFOTECH INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
6161 SAVOY DR STE 1125
HOUSTON, TX 77036


PINNACLE INVESTIGATIONS CORP                                                                  Claims Related to Accounts Receivable and Accounts Payable
1101 N ARGONNE ROAD STE A201
SPOKANE VALLEY, WA 99212


PINNACLE TECHNICAL RESOURCES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
5501 LYNDON B JOHNSON FWY #600
DALLAS, TX 75240


PITNEY BOWES                                                                                  Claims Related to Accounts Receivable and Accounts Payable
8150 SPRINGWOOD STE 200
IRVING, TX 75062


PITNEY BOWES SOFTWARE INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
4200 PARLIAMENT PLACE
SUITE 600
LANHAM, MD 20706-1844


PLAINS MARKETING LP                                                                           Claims Related to Accounts Receivable and Accounts Payable
333 CLAY STREET, SUITE 1600
HOUSTON, TX 77002


PLANT AUTOMATION SERVICES                                                                     Claims Related to Accounts Receivable and Accounts Payable
13871 PARKS STEED DR
EARTH CITY, MO 63045


PLANT INTERSCAPES INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
6436 BABCOCK RD
SAN ANTONIO, TX 78249




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                                                         Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                           Nature

PLATINUM PARKING                                                                               Claims Related to Accounts Receivable and Accounts Payable
719 OLIVE ST
DALLAS, TX 75201


POINT 2 POINT GLOBAL                                                                           Claims Related to Accounts Receivable and Accounts Payable
SECURITY INC
14346 JARRETTSVILLE PIKE STE 100
PHOENIX, MD 21131


PORT-A-JON INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6180
SHREVEPORT, LA 71136


POWER BROKERS, LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
11551 FOREST CENTRAL DR SUITE 226
DALLAS, TX 75243


POWER CONTROL SYSTEMS                                                                          Claims Related to Accounts Receivable and Accounts Payable
ENGINEERING INC
9013 KINGSWOOD PLACE
WACO, TX 76712


POWER RITE CONSULTING, LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
5005 STILL MEADOW LN
CELINE, TX 75009


POWER SOURCE GOLF CARS                                                                         Claims Related to Accounts Receivable and Accounts Payable
5961 COUNTY ROAD 1114 W
KILGORE, TX 75662


POWERCARE AND SERVICE SOLUTIONS                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 975380
DALLAS, TX 75397-5380


POWERFLOW FLUID SYSTEMS LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE
100 SW SCHERER ROAD
LEE'S SUMMIT, MO 64082


POWERRAIL DISTRIBUTION INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
205 CLARK ROAD
DURYEA, PA 18642




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

POWMAT LTD                                                                                   Claims Related to Accounts Receivable and Accounts Payable
321 USHERS ROAD
BALLSTON LAKE, NY 12019


PRC ENVIRONMENTAL, INC.                                                                      Claims Related to Accounts Receivable and Accounts Payable
1149 ELLSWORTH DRIVE
SUITE 135
PASADENA, TX 77506


PRECISION INTERIOR CONSTRUCTORS                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 131888
DALLAS, TX 75313


PRECISION LANDSCAPE MANAGEMENT                                                               Claims Related to Accounts Receivable and Accounts Payable
2222 VALWOOD PARKWAY
DALLAS, TX 75234


PREDICTIVE MAINTENANCE NDT INC                                                               Claims Related to Accounts Receivable and Accounts Payable
700 COLONIAL ROAD
WEST PALM BEACH, FL 33405


PREISER SCIENTIFIC INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
ACCOUNTING DEPT 2794803
P O BOX 1330
ST ALBANS, WV 25177-1330


PREMIER CONCRETE PRODUCTS INC                                                                Claims Related to Accounts Receivable and Accounts Payable
510 O'NEAL LANE
BATON ROUGE, LA 70819


PRESTON EXPLORATION                                                                          Claims Related to Accounts Receivable and Accounts Payable
1717 WOODSTEAD CORP #207
THE WOODLANDS, TX 77380


PRICE INTERNATIONAL INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 210
TYLER, TX 75710


PRIMROSE OIL COMPANY INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
P O BOX 29665
DALLAS, TX 75229


PRIORITY POWER MANAGEMENT LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
310 W WALL ST STE 500
MIDLAND, TX 79701




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Name of Counterparty                                                                           Nature

PROACTIVE SOLUTIONS INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 721
VALLIANT, OK 74764


PROCESS SOLUTIONS INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
P O BOX 203815
DALLAS, TX 75320-3815


PROCESS SOLUTIONS INTEGRATION                                                                  Claims Related to Accounts Receivable and Accounts Payable
11304 PAGEMILL RD
DALLAS, TX 75243


PROCESS SOLUTIONS INTEGRATION                                                                  Claims Related to Accounts Receivable and Accounts Payable
P O BOX 7645
AMARILLO, TX 79114


PROCUREMENT ADVISORS                                                                           Claims Related to Accounts Receivable and Accounts Payable
3101 TOWERCREEK PARKWAY
SUITE 250
ATLANTA, GA 30339


PRODUCERS COOPERATIVE ASSOC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1112
BRYAN, TX 77806


PRODUCERS COOPERATIVE ASSOCIATION                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1112
BRYAN, TX 77806


PRODUCTION PUMP SYSTEMS                                                                        Claims Related to Accounts Receivable and Accounts Payable
A DXP COMPANY
PO BOX 201791
DALLAS, TX 75320-1791


PROGRESS RAIL SERVICES                                                                         Claims Related to Accounts Receivable and Accounts Payable
24601 NETWORK PLACE
CHICAGO, IL 60673-1246


PROGRESSIVE INSTRUMENTS                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 205553
DALLAS, TX 75320-5553


PROGRESSIVE PUMPS INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 73108
HOUSTON, TX 77273-3108




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Name of Counterparty                                                                              Nature

PROGRESSIVE WATER TREATMENT                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 774
MCKINNEY, TX 75070


PROJECTOR PEOPLE                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 62256
BALTIMORE, MD 21264-2256


PROMATEC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 872346
KANSAS CITY, MO 64187-2346


PROMECON USA INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2125 CENTER AVENUE STE 507
FORT LEE, NJ 07024


PROMO GIFTS LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
906 VALLEY COMMONS DR
STE B
HUFFMAN, TX 77336


PROPHET EQUITY II-B (ACTION AIV) LLP                                                              Claims Related to Accounts Receivable and Accounts Payable
DBA ACTON MOBILE
PO BOX 758689
BALTIMORE, MD 21275-8689


PROQUIRE                                                                                          Claims Related to Accounts Receivable and Accounts Payable
100 SOUTH WACKER DR
CHICAGO, IL 60606


PROSOURCE POWER LLC                                                                               Claims Related to Accounts Receivable and Accounts Payable
2933 DOG LEG TRAIL
MCKINNEY, TX 75069


PS ENERGY GROUP INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
4480 N SHALLOWFORD RD STE 100
DUNWOODY, GA 30338


PSI-TECHNOLOGY                                                                                    Claims Related to Accounts Receivable and Accounts Payable
P O BOX 7645
AMARILLO, TX 79114




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                                                           Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                             Nature

PSW INC                                                                                          Claims Related to Accounts Receivable and Accounts Payable
633 PENNSYLVANIA AVE NW
4TH FLOOR
WASHINGTON, DC 20004


PUBLIC AFFAIRS COUNCIL                                                                           Claims Related to Accounts Receivable and Accounts Payable
2121 K ST NW STE 900
WASHINGTON, DC 20037


PUBLIC UTILITY COMMISSION OF TEXAS                                                               Claims Related to Accounts Receivable and Accounts Payable
1701 N. CONGRESS AVE., PO BOX 13326
AUSTIN, TX 78711-3326


PUFFER-SWEIVEN LP                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 301124
DALLAS, TX 75303-1124


PUMP SERVICES INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1818
WEST MONROE, LA 71294


PUMPS AND CONTROLS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
P O BOX 150207
ARLINGTON, TX 76015


PURVIS INDUSTRIES LTD                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 540757
DALLAS, TX 75354-0757


QUALITECH SOLUTIONS INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
11301 CARMEL COMMONS BLVD
SUITE 310
CHARLOTTE, NC 28226


QUALITROL-HATHAWAY INSTRUMENTS                                                                   Claims Related to Accounts Receivable and Accounts Payable
BANK OF AMERICA
7684 COLLECTIONS CENTER DR
CHICAGO, IL 60693


QUALITY CONSULTANTS                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6163
TYLER, TX 75711




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Name of Counterparty                                                                              Nature

QUALTECH NP                                                                                       Claims Related to Accounts Receivable and Accounts Payable
%MELLON BANK QUALTECH NP DIV OF
CURTISS WRIGHT FLOW CONTR CORP
PO BOX 223215
PITTSBURGH, PA 15251-2215


QUALTRICS LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
DEPT 880102 PO BOX 29650
PHOENIX, AZ 85038-9650


QUALYS                                                                                            Claims Related to Accounts Receivable and Accounts Payable
1600 BRIDGE PARKWAY
SUITE 201
REDWOOD SHORES, CA 94065


QUANTUM GAS AND POWER SERVICES LTD                                                                Claims Related to Accounts Receivable and Accounts Payable
12305 HUFFMEISTER RD
CYPRESS, TX 77429


QUEST DIAGNOSTICS INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 740709
ATLANTA, GA 30374-0709


QUEST SOFTWARE                                                                                    Claims Related to Accounts Receivable and Accounts Payable
6905 ROCKLEDGE DR
ST. 710
BETHESDA, MD 20817


QUICKSILVER RESOURCES MS                                                                          Claims Related to Accounts Receivable and Accounts Payable
777 WEST ROSEDALE, SUITE 300
FT WORTH, TX 76104


QUOTENERGY LIMITED LIABILITY COMPANY                                                              Claims Related to Accounts Receivable and Accounts Payable
99 WEST MILL RD BLDG 22
LONG VALLEY, NJ 07853


R & R INDUSTRIES INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
204 AVENIDA FABRICANTE
SAN CLEMENTE, CA 92672


R P ADAMS CO INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
DEPT 171 PO BOX 4346
HOUSTON, TX 77210-4346




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Name of Counterparty                                                                        Nature

R S EQUIPMENT CO DBA HOTSY                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 18643
AUSTIN, TX 78760


R S HUGHES CO INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
5145 MLK FRWY US 287
FT WORTH, TX 76119


R&R MAINTENANCE & REPAIR LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
4111 US HWY 80 E
STE 306
MESQUITE, TX 75150


R.W. HARDEN AND ASSOCIATES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
3409 EXECUTIVE CENTER DRIVE
SUITE 226
AUSTIN, TX 78731


R+L CARRIERS                                                                                Claims Related to Accounts Receivable and Accounts Payable
600 GILLAM ROAD
WILMINGTON, OH 45177


R2 CONSULTING SERVICES LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
1539 BEST RD
RENSSELAER, NY 12144


RADECO INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
17 WEST PKWY
PLAINFIELD, CT 06374


RADWELL INTERNATIONAL INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 822828
PHILADELPHIA, PA 19182-2828


RAGESH VELANDY                                                                              Claims Related to Accounts Receivable and Accounts Payable
180 CROSSING DR APT 303
CUMBERLAND, RI 02864


RAILINC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 79860
BALTIMORE, MD 21279-0860




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Name of Counterparty                                                                              Nature

RAILWORKS TRACK SYSTEMS-TX                                                                        Claims Related to Accounts Receivable and Accounts Payable
TEXAS INC
39545 TREASURY CENTER
CHICAGO, IL 60694-9500


RAINBOW ENERGY MARKETING CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
STACY L. TSCHIDER, PRESIDENT
919 S 7TH ST STE 405
KIRNWOOD OFFICE TOWER
BISMARCK, ND 58504


RANDALL LUBBERT CONSULTING                                                                        Claims Related to Accounts Receivable and Accounts Payable
5370 N LICK CREEK RD
CARBONDALE, IL 62902-8916


RANDY BULLARD                                                                                     Claims Related to Accounts Receivable and Accounts Payable
732 E 9TH ST
COLORADO CITY, TX 79512


RANGERS BASEBALL LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 677756
DALLAS, TX 75267-7756


RAPID POWER MANAGEMENT LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
4205 STANLEY DR
CARROLLTON, TX 75010


RAWSON LP                                                                                         Claims Related to Accounts Receivable and Accounts Payable
P O BOX 732161
DALLAS, TX 75373-2161


RAY W DAVIS CONSULTING ENGINEERS                                                                  Claims Related to Accounts Receivable and Accounts Payable
INC
208 CR 449
CARTHAGE, TX 75633


RDO EQUIPMENT                                                                                     Claims Related to Accounts Receivable and Accounts Payable
5301 MARK IV PARKWAY
FORT WORTH, TX 76106


RDO TRUST# 80-5800                                                                                Claims Related to Accounts Receivable and Accounts Payable
5301 MARK IV PARKWAY
FORT WORTH, TX 76131




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                                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                         Nature

RED BALL OXYGEN                                                                                              Claims Related to Accounts Receivable and Accounts Payable
609 N MARKET
SHREVEPORT, LA 71137-7316


RED BALL OXYGEN COMPANY INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7316
SHREVEPORT, LA 71137-7316


RED HAT RENTALS                                                                                              Claims Related to Accounts Receivable and Accounts Payable
751 E MAIN
FAIRFIELD, TX 75840


RED RIVER ENVIRONMENTAL PRODUCT                                                                              Claims Related to Accounts Receivable and Accounts Payable
ADA - ES INC
9135 S RIDGELINE BLVD STE 200
HIGHLANDS RANCH, CO 80129


RED RIVER ENVIRONMENTAL PRODUCT                                                                              Claims Related to Accounts Receivable and Accounts Payable
LLC
1460 W CANAL COURT STE 100
LITTLETON, CO 80120


RED RIVER PUMP SPECIALISTS LLC                                                                               Claims Related to Accounts Receivable and Accounts Payable
GULF COAST BANK AND TRUST COMPANY FOR THE ACCOUNT OF
RED RIVER PUMP SPECIALISTS INC
PO BOX 731152
DALLAS, TX 75373-1152


REDDY ICE AUSTIN                                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 579
MARQUETTE, MI 49855


REGIONAL STEEL INC                                                                                           Claims Related to Accounts Receivable and Accounts Payable
P O BOX 3887
VICTORIA, TX 77903


REGULUS GROUP LLC                                                                                            Claims Related to Accounts Receivable and Accounts Payable
860 LATOUR COURT
NAPA, CA 94558-6260


REIDLER DECAL CORP                                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8 264 INDUSTRIAL PARK RD
ST CLAIR, PA 17970




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Name of Counterparty                                                                                Nature

REILLY, WILLIAM K                                                                                   Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


RELEVANT SOLUTIONS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
12610 W AIRPORT BLVD STE 100
SUGAR LAND, TX 77478


REPUBLIC SERVICES #794                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 78829
PHOENIX, AZ 85062-8829


REPUBLIC SERVICES, INC.                                                                             Claims Related to Accounts Receivable and Accounts Payable
SOUTHWEST LANDFILL LP
PO BOX 842164
DALLAS, TX 75284-2164


RESCAR INCORPORATED                                                                                 Claims Related to Accounts Receivable and Accounts Payable
2882 PAYSPHERE CIRCLE
CHICAGO, IL 60674


RESUN LEASING INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
12603 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-0126


REXA C/O THE EADS COMPANY                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732217
DALLAS, TX 75373-2217


REXA-KOSO AMERICA                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732217
DALLAS, TX 75373-2217


REYNOLDS OUTDOOR MEDIA                                                                              Claims Related to Accounts Receivable and Accounts Payable
ATTENTION: SCOTT REYNOLDS
3838 OAK LAWN AVE, SUITE 606
DALLAS, TX 75219


RICHARD W BORCHARDT                                                                                 Claims Related to Accounts Receivable and Accounts Payable
10809 EBERHARDT DR
GAITHERSBURG, MD 20879


RICHARDS GROUP                                                                                      Claims Related to Accounts Receivable and Accounts Payable
8700 N. CENTRAL EXPRESSWAY. SUITE 1200
DALLAS, TX 75231




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Name of Counterparty                                                                       Nature

RICHWOOD INDUSTRIES INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
P O BOX 1298
HUNTINGTON, WV 25714-1298


RICKEY N BRADLEY FEED &                                                                    Claims Related to Accounts Receivable and Accounts Payable
1024 CR4825
MT PLEASANT, TX 75455


RICOH USA INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 532530
ATLANTA, GA 30353-2530


RICOH USA INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660342
DALLAS, TX 75266-0342


RIMPULL CORP                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 872150
KANSAS CITY, MO 64187-2150


ROADPOST INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
DEPT NO 557
PO BOX 8000
BUFFALO, NY 14267


ROADPOST INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 226467
DALLAS, TX 75222-6467


ROBERTS & HAMMACK INC.                                                                     Claims Related to Accounts Receivable and Accounts Payable
4925 GREENVILLE AVE STE 1140
DALLAS, TX 75206


ROBERTS COFFEE AND                                                                         Claims Related to Accounts Receivable and Accounts Payable
343 JOHNNY CLARK RD
LONGVIEW, TX 75603


ROBERTS COFFEE AND                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1081
MEXIA, TX 76667


ROBERTSON COUNTY HARDWARE LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1302
FRANKLIN, TX 77856




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

ROCKDALE ATHLETIC BOOSTER CLUB                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 412
ROCKDALE, TX 76567


ROCKDALE SIGNS & PHOTOGRAPHY                                                                Claims Related to Accounts Receivable and Accounts Payable
139 W CAMERON AVE
ROCKDALE, TX 76567


ROMAR & ASSOCIATES                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 96142
HOUSTON, TX 77213


ROMAR SUPPLY INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
2300 CARL ROAD
IRVING, TX 75062


ROMCO EQUIPMENT COMPANY                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 841496
DALLAS, TX 75284-1496


ROMERO'S CONCRETE CONSTRUCTION                                                              Claims Related to Accounts Receivable and Accounts Payable
12566 COLEMAN ST
TYLER, TX 75704


ROSEMOUNT NUCLEAR INSTRUMENTS                                                               Claims Related to Accounts Receivable and Accounts Payable
8200 MARKET BLVD
CHANHASSEN, MN 55317


ROSENTHAL ENERGY ADVISORS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
1412 MAIN STREET STE 2100
DALLAS, TX 75202


ROSENTHAL ENERGY ADVISORS, INC                                                              Claims Related to Accounts Receivable and Accounts Payable
1412 MAIN ST SUITE 2100
DALLAS, TX 75202


ROTOLOK VALVES INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
2711 GRAY FOX ROAD
MONROE, NC 28110


ROUNDHOUSE ELECTRIC                                                                         Claims Related to Accounts Receivable and Accounts Payable
EQUIPMENT CO INC
P O BOX 216
ANDREWS, TX 79714




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                                                             Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                               Nature

RPM SERVICES INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 747
ROSHARON, TX 77583


RR DONNELLEY                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 932721
CLEVELAND, OH 44193


RSA                                                                                                Claims Related to Accounts Receivable and Accounts Payable
174 MIDDLESEX TURNPIKE
BEDFORD, MA 01730


RSCC WIRE & CABLE                                                                                  Claims Related to Accounts Receivable and Accounts Payable
20 BRADLEY PARK ROAD
EAST GRANBY, CT 06026


RSI INDUSTRIAL LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 867
TROY, AL 36081


RUDD CONTRACTING CO INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 298
TYLER, TX 75710


RUSK COUNTY ELECTRIC COOPERATIVE, INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1169
HENDERSON, TX 75653-1169


RUSSELL & SONS CONSTRUCTION CO                                                                     Claims Related to Accounts Receivable and Accounts Payable
415 N CENTER ST
STE# 4
LONGVIEW, TX 75601


RUTHERFORD EQUIPMENT SERVICES                                                                      Claims Related to Accounts Receivable and Accounts Payable
3213 HICKORY COURT
BEDFORD, TX 76021


RUTHERFORD EQUIPMENT SERVICES LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
3213 HICKORY COURT
BEDFORD, TX 76021


S&C ELECTRIC COMPANY                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 71704
CHICAGO, IL 60694-1704




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

S&S MACHINING AND FABRICATION                                                              Claims Related to Accounts Receivable and Accounts Payable
1331 HIGHWAY 14 NORTH
PO BOX 637
GROESBECK, TX 76642


SABIA INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
10915 TECHNOLOGY PLACE
SAN DIEGO, CA 92127


SAFARI BOOKS ONLINE LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19813
PALATINE, IL 60055


SAFETEC SOFTWARE LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
7700 NE PARKWAY DR
SUITE 125
VANCOUVER, WA 98662-6652


SAIA MOTOR FREIGHT                                                                         Claims Related to Accounts Receivable and Accounts Payable
11465 JOHNS CREEK PARKWAY
SUITE 400
DALLAS, TX 75201


SALES VERIFICATION LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 782361
ORLANDO, FL 32878-2361


SALESFORCE.COM INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 203141
DALLAS, TX 75320-3141


SALESFORCE.COM INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
THE LANDMARK AT ONE MARKET
SUITE 300
SAN FRANCISCO, CA 94105


SALVATION ARMY                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1111
ODESSA, TX 79760-1111


SANDLIN MOTORS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 32
MOUNT PLEASANT, TX 75456-0032




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Name of Counterparty                                                                                   Nature

SANDY CREEK ENERGY ASSOCIATES                                                                          Claims Related to Accounts Receivable and Accounts Payable
1000 LOUISIANA STREET SUITE 5800
HOUSTON, TX 77002


SANITATION SOLUTIONS INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6190
PARIS, TX 75461


SAP INDUSTRIES INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
3999 WEST CHESTER PIKE
NEWTOWN SQUARE, PA 19073


SAP PUBLIC SERVICES INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 822986
PHILADELPHIA, PA 19182-2986


SARSEN ENERGY GROUP LLC                                                                                Claims Related to Accounts Receivable and Accounts Payable
224 MILL VLY DR W
COLLEYVILLE, TX 76034


SAS DELIVERY INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
14348 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


SAS INSTITUTE INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
100 SAS CAMPUS DR
CARY, NC 27511


SATORI                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
815 W SUPERIOR ST STE 1
CHICAGO, IL 60642


SATORI ENTERPRISES LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
DBA SATORI ENERGY
550 W JACKSON BLVD SUITE 777
CHICAGO, IL 60661


SATORI ENTERPRISES, LLC DBA SATORI ENERGY                                                              Claims Related to Accounts Receivable and Accounts Payable
550 W JACKSON BLVD SUITE 777
CHICAGO, IL 60661


SAULSBURY INDUSTRIES                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 222080
DALLAS, TX 75222-2080




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Name of Counterparty                                                                        Nature

SAVEONENERGY.COM                                                                            Claims Related to Accounts Receivable and Accounts Payable
1101 RED VENTURES DR
FORT MILL, SC 29707


SCAFFOLD TRAINING INSTITUTE                                                                 Claims Related to Accounts Receivable and Accounts Payable
311 EAST WALKER
LEAGUE CITY, TX 77573


SCHINDLER ELEVATOR CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 93050
CHICAGO, IL 60673-3050


SCHMIDT MEDICAL CLINIC PA                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 18613
BELFAST, ME 04915-4081


SCHNEIDER ELECTRIC                                                                          Claims Related to Accounts Receivable and Accounts Payable
DBA NOBLETT ELECTRIC MOTOR SVC
PO BOX 3097
CORSICANA, TX 75151


SCHNEIDER ELECTRIC IT USA INC                                                               Claims Related to Accounts Receivable and Accounts Payable
HARDSTRASSE 74
WETTINGEN
SWITZERLAND, FC 05430


SCHUYLKILL ENERGY RESOURCES                                                                 Claims Related to Accounts Receivable and Accounts Payable
120 YATESVILLE RD
SHENANDOAH, PA 17976


SCHWEITZER ENGINEERING                                                                      Claims Related to Accounts Receivable and Accounts Payable
LABORATORIES INC
2350 NE HOPKINS COURT
PULLMAN, WA 99163


SCIENCE APPLICATIONS                                                                        Claims Related to Accounts Receivable and Accounts Payable
530 JONES ST
VERONA, PA 15147


SCIENTECH, DIV OF CURTISS                                                                   Claims Related to Accounts Receivable and Accounts Payable
BOX 223462
PITTSBURGH, PA 15251-2462




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Name of Counterparty                                                                         Nature

SCOPE MANAGEMENT SOLUTIONS LTD                                                               Claims Related to Accounts Receivable and Accounts Payable
P O BOX 5554
ALVIN, TX 77512


SCOTT & REID GENERAL                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 623
SEAGOVILLE, TX 75159


SCOTT EQUIPMENT COMPANY                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7827
SHREVEPORT, LA 71137-7827


SCOTWOOD INDUSTRIES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 414809
KANSAS CITY, MO 64141-4809


SCREENING SYSTEMS INTERNATIONAL                                                              Claims Related to Accounts Receivable and Accounts Payable
14100 SOUTHWEST FWY
STE 210
SUGAR LAND, TX 77478


SD MYERS                                                                                     Claims Related to Accounts Receivable and Accounts Payable
180 SOUTH AVENUE
TALLMADGE, OH 44278


SEALCO LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
1751 INTERNATIONAL PKWY STE 115
RICHARDSON, TX 75081


SECOR                                                                                        Claims Related to Accounts Receivable and Accounts Payable
17321 GROESCHKE ROAD
HOUSTON, TX 77084


SECURITAS SECURITY SERVICES USA                                                              Claims Related to Accounts Receivable and Accounts Payable
SCIS
FILE 57272
LOS ANGELES, CA 90074-7272


SEEK INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
2368 NORWOOD AVE
CINCINNATI, OH 45212




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

SELECTICA INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
ATTN: TRAVIS SAYER
1740 TECHNOLOGY DRIVE
SUITE 450
SAN JOSE, CA 95110


SENDERO ACQUISITIONS LP                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5848
ABILENE, TX 79608


SENDERO BUSINESS SERVICES LP                                                                 Claims Related to Accounts Receivable and Accounts Payable
750 S ST PAUL ST STE 700
DALLAS, TX 75201


SENIOR OPERATIONS PATHWAY                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 835338
RICHARDSON, TX 75083-5338


SENTRY EQUIPMENT CORP                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8441
CAROL STREAM, IL 60197-8441


SENTRY MARKETING GROUP                                                                       Claims Related to Accounts Receivable and Accounts Payable
2222 W SPRING CREEK PKY 114
PLANO, TX 75023


SEQUENT ENERGY MANAGEMENT, L.P.                                                              Claims Related to Accounts Receivable and Accounts Payable
1200 SMITH ST. STE 900
HOUSTON, TX 77002


SERENA SOFTWARE                                                                              Claims Related to Accounts Receivable and Accounts Payable
2345 NW AMBERBROOK DR STE 200
HILLSBORO, OR 97006


SERVANT ENERGY PARTNERS                                                                      Claims Related to Accounts Receivable and Accounts Payable
10 WINDING HOLLOW
COPPELL, TX 75019


SERVERON CORPORATION                                                                         Claims Related to Accounts Receivable and Accounts Payable
33022 COLLECTION CTR DR
CHICAGO, OR 60693-0330


SERVOCON ASSOCIATES INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 844519
DALLAS, TX 75184-4519




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                                                             Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                               Nature

SET ENVIRONMENTAL INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
450 SUMAC ROAD
WHEELING, IL 60090


SET ENVIRONMENTAL, INC.                                                                            Claims Related to Accounts Receivable and Accounts Payable
450 SUMAC ROAD
WHEELING, IL 60090


SETPOINT INTEGRATED SOLUTIONS                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 935076
ATLANTA, GA 31193-5076


SFC ADAMS INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
DBA RP ADAMS
PO BOX 95359
PALATINE, IL 60095-0359


SGS NORTH AMERICA INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2502
CAROL STREAM, IL 60132-2502


SHAW MAINTENANCE                                                                                   Claims Related to Accounts Receivable and Accounts Payable
THE SHAW GROUP
39041 TREASURY CENTER
CHICAGO, IL 06949


SHELL ENERGY NORTH AMERICA (US), L.P.                                                              Claims Related to Accounts Receivable and Accounts Payable
1000 MAIN STREET, LEVEL 12
HOUSTON, TX 77002


SHELL ENERGY TRADING                                                                               Claims Related to Accounts Receivable and Accounts Payable
1000 MAIN STREET, LEVEL 12
HOUSTON, TX 77002


SHERMCO INDUSTRIES INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 540545
DALLAS, TX 75354


SHERWIN WILLIAMS                                                                                   Claims Related to Accounts Receivable and Accounts Payable
8221 E FM 917
ALVARADO, TX 76009


SHOP MY POWER INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
400 N ALLEN DR STE 308
ALLEN, TX 75013




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Name of Counterparty                                                                              Nature

SHRED IT US LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 101007
PASADENA, CA 91189-1007


SHRIEVE CHEMICAL PRODUCTS INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671515
DALLAS, TX 75267-1515


SIDDONS MARTIN EMERGENCY GROUP LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 610101
DALLAS, TX 75261-0101


SIEMENS DEMAG DELAVAL TURBOMACHINERY                                                              Claims Related to Accounts Receivable and Accounts Payable
DEPT AT 40131
ATLANTA, GA 31192


SIEMENS ENERGY INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
ATTN JIM BEDONT
4400 ALAFAYA TRAIL
ORLANDO, FL 32826


SIEMENS ENERGY INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
DEPT CH10169
PALATINE, IL 60055-0169


SIEMENS INDUSTRY INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
1755 LA COSTA MEADOWS DR
SAN MARCOS, CA 92078-5187


SIEMENS INDUSTRY INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2715
CAROL STREAM, IL 60132


SIEMENS POWER GENERATION INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
ATTN: MR. CHUCK HARTONG
8600 NORTH ROYAL LANE
SUITE 100
IRVING, TX 75063


SIEMENS WESTINGHOUSE                                                                              Claims Related to Accounts Receivable and Accounts Payable
6737 W WASHINGTON ST
STE 2110
MILWAUKEE, WI 53214




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Name of Counterparty                                                                        Nature

SIGMA-ALDRICH INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 535182
ATLANTA, GA 30353-5182


SIGN EXPRESS                                                                                Claims Related to Accounts Receivable and Accounts Payable
908 US HWY 64 WEST
HENDERSON, TX 75652


SILVERSCRIPT INSURANCE CO                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 52067
PHOENIX, AZ 85072-2067


SIMPLY COMEPTITIVE ENERGY, LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
1803 THOMAS LEE RD
BONHAM, TX 75418-2711


SINGLE PAY CHECK                                                                            Claims Related to Accounts Receivable and Accounts Payable



SINGULARITY, INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
2445 MIDWAY RD
CARROLLTON, TX 75006


SIRIUS SOLUTIONS LLLP                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 202377
DALLAS, TX 75320-2377


SITECH TEJAS                                                                                Claims Related to Accounts Receivable and Accounts Payable
3206 S WW WHITE ROAD
SAN ANTONIO, TX 78222


SITECORE USA INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
591 REDWOOD HWY BLDG 4000
MILL VALLEY, CA 94941


SKA CONSULTING LP                                                                           Claims Related to Accounts Receivable and Accounts Payable
1888 STEBBINS DRIVE STE 100
HOUSTON, TX 77043


SKF USA INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
8092
PO BOX 7247
PHILADELPHIA, PA 19170-8092




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Name of Counterparty                                                                               Nature

SKYHAWK CHEMICALS INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
701 N POST OAK RD SUITE 540
HOUSTON, TX 77024


SMBC RAIL SERVICES LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
ATTN: JEFF WILKISON
300 SOUTH RIVERSIDE PLAZA, SUITE 1925
CHICAGO, IL 60606


SMG / IRVING CONVENTION CENTER                                                                     Claims Related to Accounts Receivable and Accounts Payable
347 CR 1415
JACKSONVILLE, TX 75766


SMITH, DOYLE D                                                                                     Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


SNI FINANCIAL                                                                                      Claims Related to Accounts Receivable and Accounts Payable
14241 N DALLAS PARKWAY STE 550
DALLAS, TX 75254


SOCHEM SOLUTIONS INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1912
GONZALES, LA 70707


SOFTWARE HOUSE INTERNATIONAL                                                                       Claims Related to Accounts Receivable and Accounts Payable
290 DAVIDSON AVE
# 101
SOMERSET, NJ 00887


SOFTWARE HOUSE INTERNATIONAL                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 952121
DALLAS, TX 75395-2121


SOLAFT FILTRATION SOLUTIONS                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 91918
TUCSON, AZ 85752


SOLARWINDS INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730720
DALLAS, TX 75373-0720


SOLUTIONSET                                                                                        Claims Related to Accounts Receivable and Accounts Payable
LOCKBOX 233783
3783 MOMENTUM PL
CHICAGO, IL 60689-5337




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Name of Counterparty                                                                         Nature

SOUND POWERED COMMUNICATIONS                                                                 Claims Related to Accounts Receivable and Accounts Payable
5401 W HWY 21
BRYAN, TX 77803


SOUND POWERED COMMUNICATIONS                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3127
LONGVIEW, TX 75606


SOUTHERN APPARATUS SERVICES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3047
WEST MONROE, LA 71294


SOUTHERN CRANE & ELEVATOR                                                                    Claims Related to Accounts Receivable and Accounts Payable
SERVICE INC
PO BOX 866008
PLANO, TX 75086-6008


SOUTHERN PLAINS POWER                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 206039
DALLAS, TX 75320-6039


SOUTHERN TIRE MART                                                                           Claims Related to Accounts Receivable and Accounts Payable
816 MOCKINGBIRD LANE
DALLAS, TX 75201


SOUTHERN TIRE MART LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1000 DEPT 143
MEMPHIS, TN 38148


SOUTHERN TIRE MART LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 100860
ATLANTA, GA 30384-0860


SOUTHWELL INDUSTRIES                                                                         Claims Related to Accounts Receivable and Accounts Payable
265 ARCH STREET
LAGUNA BEACH, CA 92651


SOUTHWEST DINING SERVICES                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 531408
GRAND PRAIRIE, TX 75053-1408


SOUTHWEST ENERGY, L.P.                                                                       Claims Related to Accounts Receivable and Accounts Payable
3100 TIMMONS STE 225
HOUSTON, TX 77027




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                                                     Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                       Nature

SOUTHWEST OCEAN SERVICES INC                                                               Claims Related to Accounts Receivable and Accounts Payable
5721 HARVEY WILSON DR
ATTN ACCOUNTS RECEIVABLE
HOUSTON, TX 77020


SOUTHWEST OFFICE SYSTEMS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 612248
DFW, TX 75261-2248


SOUTHWEST SOLUTIONS GROUP INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 671784
DALLAS, TX 75267-1784


SOUTHWESTERN BELL TELEPHONE                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 105068
ATLANTA, GA 30348-5068


SOUTHWESTERN BELL TELEPHONE                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 105414
ATLANTA, GA 30348-5414


SOUTHWESTERN BELL TELEPHONE                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5001
CAROL STREAM, IL 60197-5001


SOUTHWESTERN BELL TELEPHONE                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5011
CAROL STREAM, IL 60197-5011


SPACENET INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
P O BOX 843553
KANSAS CITY, MO 64184-3553


SPACER MASTERPLAN CONSULTANTS                                                              Claims Related to Accounts Receivable and Accounts Payable
900 JACKSON STE 640
DALLAS, TX 75202


SPANWELL SERVICE INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
1584 OLD HWY 10
FORSYTH, MT 59327


SPARK TRADING LLC                                                                          Claims Related to Accounts Receivable and Accounts Payable
1603 CAPITOL AVE
SUITE 310 A184
CHEYENNE, WY 82001




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

SPARKFARM LLC                                                                                Claims Related to Accounts Receivable and Accounts Payable
501 ELM ST STE 450 THE GROVE
DALLAS, TX 75202


SPARKLETTS DRINKING WATER CORP                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660579
DALLAS, TX 75266-0579


SPECIALTY COFFEES OF DALLAS LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
DBA PERKS & PROVISIONS
1601 VALWOOD PKWY
STE 100
CARROLLTON, TX 75006


SPEED COMMERCE                                                                               Claims Related to Accounts Receivable and Accounts Payable
NW 8510 PO BOX 1450
MINNEAPOLIS, MN 55485-8510


SPENCER-HARRIS OF ARKANSAS INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 579
MAGNOLIA, AR 71754-0579


SPRAYMAX INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7241
SHREVEPORT, LA 71137-7241


SPX FLOW US LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 848194
DALLAS, TX 75284-8194


SPX HEAT TRANSFER LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 99898
CHICAGO, IL 60696-7698


ST. JOSEPH                                                                                   Claims Related to Accounts Receivable and Accounts Payable
1103 WOODSON DR
CALDWELL, TX 77836


STANDARD COFFEE SERVICE                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660579
DALLAS, TX 75266-0579


STANDARD INDUSTRIAL SUPPLY INC                                                               Claims Related to Accounts Receivable and Accounts Payable
700 MILITARY PKWY
MESQUITE, TX 75149




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                                                              Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                                Nature

STANDARD REGISTER CO                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 840655
DALLAS, TX 75284-0655


STANDARD UTILITY CONSTRUCTION                                                                       Claims Related to Accounts Receivable and Accounts Payable
2630 W FREEWAY STE#200
FORT WORTH, TX 76102


STANG INDUSTRIES INC                                                                                Claims Related to Accounts Receivable and Accounts Payable
2616 RESEARCH DR UNIT B
CORONA, CA 92882


STANSELL PEST CONTROL CO                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1853
MT PLEASANT, TX 75456-1853


STAR INTERNATIONAL INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1898
TEXARKANA, TX 75504


STARS ALLIANCE                                                                                      Claims Related to Accounts Receivable and Accounts Payable
1626 N LITCHFIELD RD STE 230
GOODYEAR, AZ 85395


STATE INDUSTRIAL PRODUCTS                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 74189
CLEVELAND, OH 44194-0268


STATES                                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 841400
DALLAS, TX 75284-1400


STATISTICAL ANALYSIS SYSTEM                                                                         Claims Related to Accounts Receivable and Accounts Payable
100 SAS CAMPUS DRIVE
CARY, NC 27513


STEAG ENERGY SERVICES LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1727
KINGS MOUNTAIN, NC 28086


STERICYCLE ENVIRONMENTAL SOLUTIONS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
27727 NETWORK PLACE
CHICAGO, IL 60673




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

STICKS & STONES UNLIMITED INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
3225 AVENUE E EAST
ARLINGTON, TX 76011


STILWELL & ASSOCIATES OF THE USA                                                              Claims Related to Accounts Receivable and Accounts Payable
USA INC
PO BOX 2740
CHESAPEAKE, VA 23327-2740


STOCK EQUIPMENT COMPANY                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 17801
PALATINE, IL 60055-7801


STORER SERVICES                                                                               Claims Related to Accounts Receivable and Accounts Payable
504 W 67TH ST
SHREVEPORT, LA 71106


STORER SERVICES                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6761
SHREVEPORT, LA 71136-6761


STRESS ENGINEERING SERVICES INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 301311
DALLAS, TX 75303-1311


STROBE TECH LLC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 31594
CLARKSVILLE, TN 37040


STRUCTURAL INTEGRITY ASSOCIATES                                                               Claims Related to Accounts Receivable and Accounts Payable
5215 HELLYER AVE SUITE 210
SAN JOSE, CA 95138-1025


STRUCTURE WORKS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
43 MILL STREET
P O BOX 868
DOVER PLAINS, NY 12522


STUART C IRBY CO                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 843959
DALLAS, TX 75284-3959


STUDIO 206                                                                                    Claims Related to Accounts Receivable and Accounts Payable
1308 MOSSWOOD LANE
IRVING, TX 75061




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                                                    Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                      Nature

SUDDENLINK                                                                                Claims Related to Accounts Receivable and Accounts Payable
109 NORTH HIGH STREET
HENDERSON, TX 75652


SULZER PUMPS INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 743013
ATLANTA, GA 30374-3013


SUMMIT ELECTRIC SUPPLY                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 848345
DALLAS, TX 75284-8345


SUMMIT ENERGY SERVICES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
10350 ORMSBY PARK PLACE
SUITE 400
LOUISVILLE, KY 40223


SUN COAST RESOURCES INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 202603
DALLAS, TX 75320


SUN TECHNICAL SERVICES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
5588 LONGLEY LANE
RENO, NV 89511


SUNBELT SUPPLY COMPANY                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 951037
DALLAS, TX 75395-1037


SUNGARD ENERGY SYSTEMS                                                                    Claims Related to Accounts Receivable and Accounts Payable
C/O BANK OF AMERICA
12032 COLLECTION CENTER DR
CHICAGO, IL 60693


SUNGARD ENERGY SYSTEMS INC.                                                               Claims Related to Accounts Receivable and Accounts Payable
601 WALNUT STREET SUITE 1010
PHILADELPHIA, PA 19106-3619


SUNRISE CAFÉ & DELI                                                                       Claims Related to Accounts Receivable and Accounts Payable
1601 BRYAN ST
DALLAS, TX 75201


SUNSOURCE                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730698
DALLAS, TX 75373-0698




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                                                  Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                    Nature

SUPERIOR BELT FILTER LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
175 1ST STREET SOUTH #1505
ST PETERSBURG, FL 33701


SUPERIOR COOLING SYSTEMS                                                                Claims Related to Accounts Receivable and Accounts Payable
2227 IRVING BLVD
DALLAS, TX 75207


SUPERIOR FLEET SERVICE INC                                                              Claims Related to Accounts Receivable and Accounts Payable
P O BOX 5116
TYLER, TX 75712-5116


SUPERIOR SERVICE COMPANY                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 6754
BRYAN, TX 77805


SUPPLY PARTNERS LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
DBA SUPPLY NETWORK
7521 BRIAR ROSE DR
HOUSTON, TX 77063


SVEDALA INDUSTRIES INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 945859
ATLANTA, GA 30394-5859


SWAGELOK WEST TEXAS                                                                     Claims Related to Accounts Receivable and Accounts Payable
DEPT 235
PO BOX 4346
HOUSTON, TX 77210-4346


SWAN ANALYTICAL USA INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
225 LARKIN DRIVE UNIT 4
WHEELING, IL 60090


SWENSON, KURT R                                                                         Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


SWIGOR MARKETING GROUP LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
126 FRONT STREET
MARBLEHEAD, MA 01945


SWISSRE IS NOW SWISSMARKS                                                               Claims Related to Accounts Receivable and Accounts Payable
55 E. 52ND ST.
NEW YORK, NY 10055




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

SYNIVERSE TECHNOLOGIES LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
12094 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


SYNTRON MATERIAL HANDLING LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
28563 NETWORK PL
CHICAGO, IL 60673-1285


SYPRIS ELECTRONICS LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
DEPARTMENT 33654
PO BOX 39000
SAN FRANCISCO, CA 94139


T & G IDENTIFICATION SYSTEMS                                                                  Claims Related to Accounts Receivable and Accounts Payable
712 W MAGNOLIA AVENUE
FORT WORTH, TX 76104-4609


T E A M SOLUTIONS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
2025 S 12TH ST
WACO, TX 76706


T E S FILER CITY STATION LP                                                                   Claims Related to Accounts Receivable and Accounts Payable
700 MEE STREET
FILER CITY, MI 49634


TABLEAU                                                                                       Claims Related to Accounts Receivable and Accounts Payable
837 NORTH 34TH STREET, SUITE 200
SEATTLE, WA 98103


TALLEY CHEMICAL & SUPPLY                                                                      Claims Related to Accounts Receivable and Accounts Payable
P O BOX 831
MEXIA, TX 76667


TANNEHILL INTERNATIONAL                                                                       Claims Related to Accounts Receivable and Accounts Payable
10 ARTHUR DR
LYNN HAVEN, FL 32444


TARGA GAS MARKETING LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
1000 LOUISIANA STE 4300
HOUSTON, TX 77002


TARGET ROCK CORPORATION                                                                       Claims Related to Accounts Receivable and Accounts Payable
TARGET ROCK DIV
PO BOX 360718
PITTSBURGH, PA 15251-6718




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                                                        Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                          Nature

TARRANT COUNTY PUBLIC HEALTH LAB                                                              Claims Related to Accounts Receivable and Accounts Payable
1101 S MAIN ST SUITE 1702
FT WORTH, TX 76104


TAXWARE LLC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
401 EDGEWATER PLACE
SUITE 260
WAKEFIELD, MA 01880-6210


TAYLOR TELEPHONE COOPERATIVE INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 386
MERIDIAN, TX 76665


TDC FILTER MANUFACTURING INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 71641
CHICAGO, IL 60694-1641


TEALEAF TECHNOLOGY INC.                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 640371
PITTSBURGH, PA 15264-0371


TEAM INDUSTRIAL SERVICES INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 842233
DALLAS, TX 75284-2233


TEC WELL SERVICE INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
911 NW LOOP 281 STE 100
C O AUSTIN BANK
LONGVIEW, TX 75604


TECHNICAL DIAGNOSTIC SERVICES                                                                 Claims Related to Accounts Receivable and Accounts Payable
AND OPERATIONS LLC
15825 TRINITY BLVD
FORT WORTH, TX 76155


TECHNOLOGENT                                                                                  Claims Related to Accounts Receivable and Accounts Payable
19 RANCHO CIRCLE
LAKE FOREST, CA 92630


TECHREP INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
16225 FRITSCHE CEM RD
CYPRESS, TX 77429




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                                                       Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                         Nature

TELEDYNE MONITOR LABS INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
12497 COLLECTIONS CENTER DR
CHICAGO, IL 60693


TELVENT DTN LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
26385 NETWORK PLACE
CHICAGO, IL 60673-1263


TELVENT DTN LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
AMERICAS INC
PO BOX 841868
DALLAS, TX 75284-1868


TEMPERATURE CONTROL SYSTEMS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 550249
DALLAS, TX 75355-0249


TEMPLETON AIR CONDITIONING                                                                   Claims Related to Accounts Receivable and Accounts Payable
& REFRIGERATION
PO BOX 912
MT VERNON, TX 75457


TENASKA POWER SERVICE CO.                                                                    Claims Related to Accounts Receivable and Accounts Payable
1701 E LAMAR BLVD STE 100
ARLINGTON, TX 76006


TEREX UTILITIES-SOUTH INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
62831 COLLECTIONS CENTER DR
CHICAGO, IL 60693


TERIX COMPUTER SERVICE INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
388 OAKMEAD PKWY
SUNNYVALE, CA 94085


TERMINIX SERVICE                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742592
CINCINNATI, OH 45274-2592


TERRASOURCE GLOBAL                                                                           Claims Related to Accounts Receivable and Accounts Payable
P O BOX 6326
CAROL STREAM, IL 60197-6326


TERRY AUTRY                                                                                  Claims Related to Accounts Receivable and Accounts Payable
210 SUNDERLAND CIR
FAYETTEVILLE, GA 30215




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                                                            Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                              Nature

TES ENERGY SERVICES LP                                                                            Claims Related to Accounts Receivable and Accounts Payable
17480 DALLAS PARKWAY STE 200
DALLAS, TX 75287


TESSCO INCORPORATED                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 102885
ATLANTA, GA 30368-2885


TETERS FAUCET PARTS CORP                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 141075
6337 ORAM ST
DALLAS, TX 75214


TEX STAR BEARINGS LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
4025 WILLOWBEND BLVD STE 307
HOUSTON, TX 77025


TEXAS AIR HANDLERS INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
2663 MARQUIS DR
GARLAND, TX 75042


TEXAS AIR HYDRAULICS                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2785
LONGVIEW, TX 75606


TEXAS AIRSYSTEMS LLC                                                                              Claims Related to Accounts Receivable and Accounts Payable
6029 W CAMPUS CIR DR STE 100
IRVING, TX 75063


TEXAS BEARINGS OF DALLAS INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 151515
DALLAS, TX 75215


TEXAS COMMISSION OF                                                                               Claims Related to Accounts Receivable and Accounts Payable
ENVIRONMENTAL QUALITY
12100 PARK 35 CIRCLE
AUSTIN, TX 78753


TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                                              Claims Related to Accounts Receivable and Accounts Payable
LBJ STATE OFFICE BLDG.,
111 EAST 17TH ST.
AUSTIN, TX 78744




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Name of Counterparty                                                                             Nature

TEXAS COTTON GINNERS ASSOCIATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
408 W 14TH ST
AUSTIN, TX 78701-1819


TEXAS CRUSHED STONE                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1000
GEORGETOWN, TX 78627-1000


TEXAS DEPARTMENT OF AGRICULTURE                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 12077
AUSTIN, TX 78711-2077


TEXAS DEPARTMENT OF HEALTH                                                                       Claims Related to Accounts Receivable and Accounts Payable
LOCKBOX RADIOACTIVE MATERIALS
PO BOX 12190
AUSTIN, TX 78711-2190


TEXAS DEPARTMENT OF HEALTH                                                                       Claims Related to Accounts Receivable and Accounts Payable
SERVICES
CENTRAL LAB MC 2004
PO BOX 149347
AUSTIN, TX 78714-9347


TEXAS DEPT. OF TRANSPORTATION                                                                    Claims Related to Accounts Receivable and Accounts Payable
VEHICLES ACCT 2014
CENTRAL ADMINISTRATION DIV
PO BOX 12098
AUSTIN, TX 78711-2098


TEXAS DIESEL MAINTENANCE INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
2327 TIMBERBREEZE COURT
MAGNOLIA, TX 77355


TEXAS ENERGY AGGREGATION, LLC (TEA)                                                              Claims Related to Accounts Receivable and Accounts Payable
1708 W AUSTIN AVE
WACO, TX 76701


TEXAS EXCAVATION SAFETY                                                                          Claims Related to Accounts Receivable and Accounts Payable
SYSTEM INC
PO BOX 678058
DALLAS, TX 75267-8058


TEXAS EXCAVATION SAFETY SYSTEM                                                                   Claims Related to Accounts Receivable and Accounts Payable
11880 GREENVILLE AVE STE 120
DALLAS, TX 75243




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Name of Counterparty                                                                           Nature

TEXAS HEALTH RESOURCES FOUNDATION                                                              Claims Related to Accounts Receivable and Accounts Payable
612 E LAMAR BLVD STE 300
ARLINGTON, TX 76011


TEXAS HOUSE REPUBLICAN CAUCUS                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 13305
AUSTIN, TX 78711


TEXAS INDUSTRIAL PRODUCTS LLC                                                                  Claims Related to Accounts Receivable and Accounts Payable
1615 FM 2004
RICHWOOD, TX 77531


TEXAS LABOR MANAGEMENT CONFERENCE                                                              Claims Related to Accounts Receivable and Accounts Payable
ATTN: CAROL BLANCHARD
19179 BLANCO ROAD, STE 105-455
SAN ANTONIO, TX 78258


TEXAS METER & DEVICE CO                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 154099
WACO, TX 76715-4099


TEXAS MINING & RECLAMATION ASSN                                                                Claims Related to Accounts Receivable and Accounts Payable
100 CONGRESS AVE STE 1100
AUSTIN, TX 78701


TEXAS PARKS & WILDLIFE DEPARTMENT                                                              Claims Related to Accounts Receivable and Accounts Payable
4200 SMITH SCHOOL ROAD
AUSTIN, TX 78744


TEXAS PUBLIC POWER ASSOCIATION                                                                 Claims Related to Accounts Receivable and Accounts Payable
701 BRAZOS STE 1005
AUSTIN, TX 78701-2595


TEXAS REFINERY CORP                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 711
FORT WORTH, TX 76101


TEXAS STATE COMPTROLLER                                                                        Claims Related to Accounts Receivable and Accounts Payable
111 E 17TH STREET
AUSTIN, TX 78701


TEXAS UTILITY ADVISORS                                                                         Claims Related to Accounts Receivable and Accounts Payable
3414 PECAN GROVE DR
ATTN VICKI BRUNSON
BAYTOWN, TX 77521




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Name of Counterparty                                                                      Nature

TEXAS VALVE & FITTING CO                                                                  Claims Related to Accounts Receivable and Accounts Payable
505 CENTURY PKY STE 100
ALLEN, TX 75013


TEXEN POWER                                                                               Claims Related to Accounts Receivable and Accounts Payable
3010 KING BIRCH ST.
SAN ANTONIO, TX 78230


TEXLA ENERGY MANAGEMENT, INC                                                              Claims Related to Accounts Receivable and Accounts Payable
1100 LOUISIANA STE 4700
HOUSTON, TX 77002


TFS ENERGY FUTURES LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
255 GREENWICH ST 4TH FL
NEW YORK, NY 10007


THE ATCHISON TOPEKA                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 676152
DALLAS, TX 75267-6152


THE ATLANTIC GROUP                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 654068
DALLAS, TX 75265-4068


THE BUG MASTER                                                                            Claims Related to Accounts Receivable and Accounts Payable
1912 SMITH RD
AUSTIN, TX 78721


THE CAMERON HERALD                                                                        Claims Related to Accounts Receivable and Accounts Payable
P O BOX 1230
CAMERON, TX 76520-1230


THE CONDIT COMPANY INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
P O BOX 301138
DALLAS, TX 75303-1138


THE CONDIT COMPANY INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 205793
DALLAS, TX 75320-5793


THE EADS COMPANY                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732217
DALLAS, TX 75373-2217




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                                                      Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                        Nature

THE ENERGY LINK LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
1640 POWER FERRYS RD BLDG 19
STE 300
MARIETTA, GA 30067


THE FAIRFIELD RECORDER                                                                      Claims Related to Accounts Receivable and Accounts Payable
ATTN CREDIT DEPARTMENT
101 E COMMERCE
FAIRFIELD, TX 75840


THE GREAT GAME OF BUSINESS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
3055 E DIVISION ST
SPRINGFIELD, MO 65802


THE INFORMATION BUS COMPANY                                                                 Claims Related to Accounts Receivable and Accounts Payable
3303 HILLVIEW AVE
PALO ALTO, CA 27513


THE NEWPORT GROUP INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 402075
ATLANTA, GA 30384-2075


THE PROMOTION HOUSE LLC                                                                     Claims Related to Accounts Receivable and Accounts Payable
6501 COOPER PL
PLANO, TX 75093


THE REYNOLDS GROUP                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 205653
DALLAS, TX 75320


THE RICHARDS GROUP                                                                          Claims Related to Accounts Receivable and Accounts Payable
2801 N CENTRAL EXPY STE 100
DALLAS, TX 75204-3663


THE ROCKDALE REPORTER                                                                       Claims Related to Accounts Receivable and Accounts Payable
P O BOX 552
ROCKDALE, TX 76567


THE SALES STAFF LLC                                                                         Claims Related to Accounts Receivable and Accounts Payable
10701 CORPORATE DR STE 340
STAFFORD, TX 77477-4017


THERMAL SCIENTIFIC INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2273
MANSFIELD, TX 76063




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Name of Counterparty                                                                          Nature

THERMO ELECTRON NORTH AMERICA                                                                 Claims Related to Accounts Receivable and Accounts Payable
11950 THOUSAND OAKS DR
EDMOND, OK 73034


THERMO ELECTRON NORTH AMERICA                                                                 Claims Related to Accounts Receivable and Accounts Payable
5225 VERONA ROAD
MADISON, WI 53711


THERMO ORION INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 404705
ATLANTA, GA 30384-4705


THERMO ORION INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742760
ATLANTA, GA 30374-2760


THIBADO INC                                                                                   Claims Related to Accounts Receivable and Accounts Payable
353 MARINA DRIVE
LINCOLN, AL 35096


THOMAS NIESEN & THOMAS LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
212 LOCUST ST STE 600
HARRISBURG, PA 17101


THOMASSON COMPANY                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 490
PHILADELPHIA, MS 39350


THOMSON REUTERS (MARKETS) LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 415983
BOSTON, MA 02241


THOMSON REUTERS (TAX&ACCOUNTING)                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6016
CAROL STREAM, IL 60197-6016


THUEMLING INSTRUMENT GROUP                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1625
WAUKESHA, WI 53187-1625


THUNDRBIRD PACIFIC CORP                                                                       Claims Related to Accounts Receivable and Accounts Payable
PART OF HEXAGON MINING
3544 E FORT LOWELL RD
TUCSON, AZ 85716




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Name of Counterparty                                                                          Nature

THYSSENKRUPP ROBINS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 933004
ATLANTA, GA 31193-3004


THYSSENKRUPP SAFWAY INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 205341
DALLAS, TX 75320-5341


TIBCO SOFTWARE, INC.                                                                          Claims Related to Accounts Receivable and Accounts Payable
ATTN: GENERAL COUNSEL
3165 PORTER DRIVE
PALO ALTO, CA 94304


TIDY AIRE INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 850533
RICHARDSON, TX 75085


TIMBERHORN LLC                                                                                Claims Related to Accounts Receivable and Accounts Payable
3000 INTERNET BLVD STE 100
FRISCO, TX 75034


TIME WARNER CABLE                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 60074
CITY OF INDUSTRY, CA 91716-0074


TIME WARNER CABLE                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660618
DALLAS, TX 75266-0618


TIMSCO INTERNATIONAL INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
MAINTANCE SUPPLY CO
1951 UNIVERSITY BUSINESS DRIVE -
SUITE 121
MCKINNEY, TX 75071


TISCHLER/KOCUREK                                                                              Claims Related to Accounts Receivable and Accounts Payable
P O BOX 35634
NEWARK, NJ 07193-5634


TITUS COUNTY FRESH WATER SUPPLY                                                               Claims Related to Accounts Receivable and Accounts Payable
ATTN: DARRELL D. GRUBBS -
EXECUTIVE DIRECTOR
352 FORT SHERMAN DAM ROAD
MOUNT PLEASANT, TX 75455




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Name of Counterparty                                                                      Nature

TNT CRANE & RIGGING                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 300587
HOUSTON, TX 77230


TO YOUR LIFE CPR TRAINING                                                                 Claims Related to Accounts Receivable and Accounts Payable
6703 SPENCER DR
ARLINGTON, TX 76002


TODDS A C INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
6865 HIGHLAND ROAD
GILMER, TX 75645


TOLEDO AUTOMOTIVE                                                                         Claims Related to Accounts Receivable and Accounts Payable
1300 W FERGUSON
MT PLEASANT, TX 75455


TOLEDO AUTOMOTIVE SUPPLY                                                                  Claims Related to Accounts Receivable and Accounts Payable
285 E JOHNSON
TATUM, TX 75691


TOLEDO AUTOMOTIVE SUPPLY                                                                  Claims Related to Accounts Receivable and Accounts Payable
701 HWY 79 N
HENDERSON, TX 75652


TOMECEK MOTORMEN CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
22201 HWY 79
TAYLOR, TX 76574


TOP HAT SERVICES                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 546
ROCKDALE, TX 76567


TOP LINE RENTAL LLC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2290
HENDERSON, TX 75653


TOTAL LUBRICATION MANAGEMENT                                                              Claims Related to Accounts Receivable and Accounts Payable
1425 NW 88TH AVE
DORAL, FL 33172


TOWER SPECIALIST INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 631504
NACOGDOCHES, TX 75965




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Name of Counterparty                                                                          Nature

TOWNLEY MANUFACTURING COMPANY                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 221
CANDLER, FL 32111-0221


TOWNLEY MANUFACTURING COMPANY                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2257
BELLEVIEW, FL 34421


TPUSA INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
DEPT 880023
PO BOX 29650
PHOENIX, AZ 85038-9650


TRANE CO                                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 845053
DALLAS, TX 75284-5053


TRANSACTEL (BARBADOS) INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
NO ADDRESS IN INPUT XLS
WIRE TRANSFER ONLY
FOR WIRE TRANSFER, TX 75001


TRANSCAT INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 62827
BALTIMORE, MD 21264-2827


TRANSIT MIX CONCRETE &                                                                        Claims Related to Accounts Receivable and Accounts Payable
7901 FISH POND RD 1ST FL
WACO, TX 76710


TRANSIT MIX CONCRETE & MATERIALS                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 677061
DALLAS, TX 75267-7061


TRANSUNION RISK AND ALTERNATIVE                                                               Claims Related to Accounts Receivable and Accounts Payable
DATA SOLUTIONS INC
PO BOX 209047
DALLAS, TX 75320-9047


TRANSUNION RISK AND ALTERNATIVE                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 99506
CHICAGO, IL 60693-9506




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Name of Counterparty                                                                          Nature

TRAXYS NORTH AMERICA LLC                                                                      Claims Related to Accounts Receivable and Accounts Payable
825 THIRD AVE., 9TH FLR
NEW YORK, NY 10022


TREND GATHERING                                                                               Claims Related to Accounts Receivable and Accounts Payable
215 COUNTY ROAD 750
DONIE, TX 75838


TREND GATHERING & TREATING LP                                                                 Claims Related to Accounts Receivable and Accounts Payable
215 COUNTY ROAD 750
DONIE, TX 75838


TRENT WIND FARM L.P.                                                                          Claims Related to Accounts Receivable and Accounts Payable
155 W NATIONWIDE BLVD, SUITE 500
COLUMBUS, OH 43215


TRI J'S SUPPLY INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
117 E 2ND ST
MT PLEASANT, TX 75455


TRI LAM ROOFING & WATERPROOFING                                                               Claims Related to Accounts Receivable and Accounts Payable
965 W ENON AVE
EVERMAN, TX 76140


TRIANGLE ENGINEERING INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
6 INDUSTRIAL WAY
HANOVER, MA 02339-2425


TRICO CORP                                                                                    Claims Related to Accounts Receivable and Accounts Payable
1235 HICKORY ST
PEWAUKEE, WI 53072


TRICO CORPORATION                                                                             Claims Related to Accounts Receivable and Accounts Payable
1235 HICKORY ST
PEWAUKEE, WI 53072


TRINITY MINING SERVICES INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 951716
DALLAS, TX 75395-1716


TRINITY WASTE SERVICES                                                                        Claims Related to Accounts Receivable and Accounts Payable
ACCOUNTS
P O BOX 99917
CHICAGO, IL 60696-7717




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                                                           Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                             Nature

TRINITY WASTE SERVICES                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 677839
DALLAS, TX 75267-7839


TRIPLE 5 INDUSTRIES                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742420
ATLANTA, GA 30374-2420


TRUE NORTH CONSULTING LLC                                                                        Claims Related to Accounts Receivable and Accounts Payable
150 MERCHANT DR
MONTROSE, CO 81401


TSI HOLDINGS LLC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
2200 CASSENS DR
FENTON, MO 63026


TUCKER, KRISTEN                                                                                  Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


TUFF ICE LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1048
215 E CAMERON AVE
ROCKDALE, TX 76567


TURBINE SUPPLY CO                                                                                Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1977
LUBBOCK, TX 79408-1977


TURNKEY SECURITY INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1889
MANCHACA, TX 78652-1889


TUTHILL TRANSFER SYSTEMS                                                                         Claims Related to Accounts Receivable and Accounts Payable
302 TURNPIKE ROAD
PO BOX 408
SOUTHBOROUGH, MA 01772


TWIN EAGLE RESOURCE MANAGEMENT, LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
8847 WEST SAM HOUSTON PARKWAY NO
HOUSTON, TX 77040


TXU COMMUNICATIONS TELEPHONE                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 66523
ST LOUIS, MO 63166-6523




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                                                          Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                            Nature

TY FLOT INC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
305 MASSABESIC ST
MANCHESTER, NH 03103


TYCO VALVES & CONTROLS LP                                                                       Claims Related to Accounts Receivable and Accounts Payable
TECHNOLOGIES INC
PO BOX 3646
CAROL STREAM, IL 60132-3646


TYLER JUNIOR COLLEGE                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 9020
TYLER, TX 75711-9020


TYNDALE COMPANY INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
5050 APPLEBUTTER ROAD
PIPERSVILLE, PA 18947


U S BANK TRUST N A                                                                              Claims Related to Accounts Receivable and Accounts Payable
300 EAST DELAWARE AVENUE 8TH FLOOR
WILMINGTON, DE 19809


UE SYSTEMS INC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
14 HAYES ST
ELMSFORD, NY 10523


UG USA INC                                                                                      Claims Related to Accounts Receivable and Accounts Payable
4800 HAMPDEN LANE, SUITE 1000
BETHESDA, MD 20814


ULINE INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE
PO BOX 88741
CHICAGO, IL 60680-1741


UNIFIRST HOLDINGS LP                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7580
HALTOM CITY, TX 76111


UNIFY INC                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 99076
CHICAGO, IL 60693-9076


UNITED BUILDING MAINTENANCE INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 59992
DALLAS, TX 75229-9992




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Name of Counterparty                                                                           Nature

UNITED CHESTER INDUSTRES INC                                                                   Claims Related to Accounts Receivable and Accounts Payable
11540 PLANO ROAD
DALLAS, TX 75243


UNITED CONVEYOR SUPPLY COMPANY                                                                 Claims Related to Accounts Receivable and Accounts Payable
23858 NETWORK PLACE
CHICAGO, IL 60673-1238


UNITED RENTAL                                                                                  Claims Related to Accounts Receivable and Accounts Payable
P O BOX 840514
DALLAS, TX 75284-0514


UNITED RENTAL NORTH AMERICA                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 840514
DALLAS, TX 75284-0514


UNITED RENTALS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
13119 DESSAU ROAD
AUSTIN, TX 78724


UNITED RENTALS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 840514
DALLAS, TX 75284


UNITED RENTALS INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
PO BOX 840514
DALLAS, TX 75284-0514


UNITED SITE SERVICES OF TEXAS INC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660475
DALLAS, TX 75266-0475


UNITED STATES PLASTIC CORP                                                                     Claims Related to Accounts Receivable and Accounts Payable
1390 NEUBRECHT RD
LIMA, OH 45801-3196


UNITED STATES TREASURY                                                                         Claims Related to Accounts Receivable and Accounts Payable
1500 PENNSYLVANIA AVENUE, NW
WASHINGTON, DC 20220


UNITED TRAINING SPECIALISTS LLC                                                                Claims Related to Accounts Receivable and Accounts Payable
4848 E PALO BREA LN
CAVE CREEK, AZ 85331




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                                                           Claims Related to Accounts Receivable and Accounts Payable


Name of Counterparty                                                                             Nature

UNITED WAY OF HOOD COUNTY                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1611
GRANBURY, TX 76048


UNIVAR USA                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 849027
DALLAS, TX 75284-9027


UNIVERSAL FOREST PRODUCTS INC                                                                    Claims Related to Accounts Receivable and Accounts Payable
444 SANSOM BLVD
SAGINAW, TX 76179-4621


UNIVERSAL VACUUM SERVICE                                                                         Claims Related to Accounts Receivable and Accounts Payable
DBA UNIVERSAL VACUUM SERVICE
1602 S MARKET ST
HEARNE, TX 77859


UPS                                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 7247-0244
PHILADELPHIA, PA 19170-0001


UPSHUR-RURAL ELECTRIC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 6500
BIG SANDY, TX 75755-6500


URANIUM MARKETS, LLC                                                                             Claims Related to Accounts Receivable and Accounts Payable
I WINDROSE WAY
GREENWICH, CT 06830


URS/LOPEZGARCIA GROUP INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 116183
ATLANTA, GA 30368-6183


US ARMY CORPS OF ENGINEERS                                                                       Claims Related to Accounts Receivable and Accounts Payable
ATTN: COMMANDER / DISTRICT ENGINEER
1645 SOUTH 101ST EAST AVENUE
TULSA, OK 74128


US BANK CORPORATE TRUST                                                                          Claims Related to Accounts Receivable and Accounts Payable
SCOTT STRODHOFF
60 LIVINGSTON AVENUE
ST PAUL, MN 55107




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Name of Counterparty                                                                                   Nature

US GYPSUM COMPANY                                                                                      Claims Related to Accounts Receivable and Accounts Payable
550 WEST ADAMS STREET
CHICAGO, IL 60661-3676


USABLUEBOOK                                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 9004
GURNEE, IL 60031-9004


USPS PERMIT 1906 TXU ENERGY                                                                            Claims Related to Accounts Receivable and Accounts Payable
CAPS SERVICE CENTER
2700 CAMPUS DR
SAN MATEO, CA 94497-9433


UTILITIES SERVICE ALLIANCE INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
9200 INDIAN CREEK PKWY STE 201
OVERLAND PARK, KS 66210


UTILITY AUTOMATION BUSINESS UNIT                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 88868
CHICAGO, IL 60695-1868


VAC-U-MAX                                                                                              Claims Related to Accounts Receivable and Accounts Payable
69 WILLIAM ST
BELLEVILLE, NJ 07109


VALENCE OPERATING COMPANY                                                                              Claims Related to Accounts Receivable and Accounts Payable
600 ROCKMEAD DRIVE, STE 200
KINGWOOD, TX 77339


VALERO TEXAS POWER MARKETING, INC.(SOUTH)                                                              Claims Related to Accounts Receivable and Accounts Payable
ONE VALERO WAY
SAN ANTONIO, TX 78249


VALTEK                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
4179 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


VALTEK                                                                                                 Claims Related to Accounts Receivable and Accounts Payable
INDUSTRIAL TECHNOLOGIES
15768 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693


VANTAGE ENERGY                                                                                         Claims Related to Accounts Receivable and Accounts Payable
777 MAIN STREET, SUITE 790
FT WORTH, TX 76102




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Name of Counterparty                                                                                           Nature

VANTAGE ENERGY MANAGEMENT COMPANY                                                                              Claims Related to Accounts Receivable and Accounts Payable
777 MAIN STREET, SUITE 790
FT WORTH, TX 76102


VARIOUS EMPLOYEE LOAN PROGRAM AND REIMBURSEMENTS                                                               Claims Related to Accounts Receivable and Accounts Payable
VARIOUS ADDRESSES


VARIOUS PARTIES WITH AGRICULTURE AND REAL ESTATE RENTALS                                                       Claims Related to Accounts Receivable and Accounts Payable
VARIOUS ADDRESSES


VASSAR GROUP INC DBA DAWN ENERGY CONSULTING                                                                    Claims Related to Accounts Receivable and Accounts Payable
6023 MILTON ST
DALLAS, TX 75206


VASTEC INC                                                                                                     Claims Related to Accounts Receivable and Accounts Payable
ATTENTION: JULIE DORAN
1601 BRYAN ST, SUITE B1-100
DALLAS, TX 75201


VAUGHAN MOBILE FLEET SERVICES                                                                                  Claims Related to Accounts Receivable and Accounts Payable
38 KINGSBURY TRAIL
HEATH, TX 75032


VAULT ENERGY SOLUTIONS LLC                                                                                     Claims Related to Accounts Receivable and Accounts Payable
11853 MIRAGE LN
FRISCO, TX 75033


VELAN C/O FLOTEC                                                                                               Claims Related to Accounts Receivable and Accounts Payable
8619 SOLUTION CTR
CHICAGO, IL 60677-8006


VELOCITY INDUSTRIAL LLC                                                                                        Claims Related to Accounts Receivable and Accounts Payable
17300 HWY 205
TERRELL, TX 75160


VENTURE AGGREGATES LLC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 1089
LIBERTY HILL, TX 78642


VEOLIA ES INDUSTRIAL SERVICESINC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 70610
CHICAGO, IL 60673-0610




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Name of Counterparty                                                                         Nature

VERINT                                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 905642
CHARLOTTE, NC 28290


VERINT SYSTEMS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 978702
DALLAS, TX 75397-8702


VERIZON WIRELESS                                                                             Claims Related to Accounts Receivable and Accounts Payable
140 WEST STREET
NEW YORK, NY 10007


VERIZON WIRELESS MESSAGING                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 5749
CAROL STREAM, IL 60197-5749


VERIZON WIRELESS MESSAGING                                                                   Claims Related to Accounts Receivable and Accounts Payable
PO BOX 660108
DALLAS, TX 75266-0108


VERNON RHYNE                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PMB 302 6140 HWY 6
MISSOURI CITY, TX 77459


VG VISUALS                                                                                   Claims Related to Accounts Receivable and Accounts Payable
2900 GATEWAY DR STE 625
IRVING, TX 75063


VINSON PROCESS CONTROLS COMPANY                                                              Claims Related to Accounts Receivable and Accounts Payable
22737 NETWORK PLACE
CHICAGO, IL 60673-1227


VINSON PROCESS CONTROLS COMPANY                                                              Claims Related to Accounts Receivable and Accounts Payable
VALVE AUTOMATION INC
PO BOX 730154
DALLAS, TX 75373-0156


VIRTUAL COMPUTING ENVIRONMENT                                                                Claims Related to Accounts Receivable and Accounts Payable
1500 NORTH GREENVILLE AVE
RICHARDSON, TX 75081


VISHAY TRANSDUCERS LTD                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 732145
DALLAS, TX 75373-2145




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Name of Counterparty                                                                          Nature

VITOL INC.                                                                                    Claims Related to Accounts Receivable and Accounts Payable
1100 LOUISIANA STREET, STE. 5500
HOUSTON, TX 77002


VITRUE INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 203448
DALLAS, TX 75320-3448


VMWARE                                                                                        Claims Related to Accounts Receivable and Accounts Payable
1616 WOODALL RODGERS FRWY.
DALLAS, TX 75201


VOLT ELECTRICITY PROVIDER LP                                                                  Claims Related to Accounts Receivable and Accounts Payable
9950 CYPRESSWOOD DR., SUITE 208
HOUSTON, TX 77070


VOSS INDUSTRIES LLC                                                                           Claims Related to Accounts Receivable and Accounts Payable
2168 W 25TH ST
CLEVELAND, OH 44113


VOSSLOH SIGNALING USA INC                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 74985
CLEVELAND, OH 44194-4985


VOXAI                                                                                         Claims Related to Accounts Receivable and Accounts Payable
ATTN: SUNIL RUDRARAJU
635 FRITZ DR STE 220
COPPELL, TX 75019


VOXAI SOLUTIONS INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 810593
DALLAS, TX 75381-0593


VR STEEL                                                                                      Claims Related to Accounts Receivable and Accounts Payable
558 7TH AVE S
SOUTH ST PAUL, MN 55075


VR STEEL LLC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
592 HAYWARD AVE N
OAKDALE, MN 55128


VWR SCIENTIFIC INC                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 640169
PITTSBURGH, PA 15264-0169




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Name of Counterparty                                                                       Nature

W C SUPPLY CO INC                                                                          Claims Related to Accounts Receivable and Accounts Payable
329 SOUTH BONNER AVE
TYLER, TX 75702


W H SALISBURY & CO                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 404705
ATLANTA, GA 30384-4705


W H SALISBURY & CO                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742770
ATLANTA, GA 30374-2770


W H SALISBURY & CO                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742783
ATLANTA, GA 30374-2783


W H SALISBURY & CO                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 742784
ATLANTA, GA 30374-2784


WACO AUTO GLASS CENTER INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
1100 FRANKLIN AVE
WACO, TX 76701


WACO CARBONIC COMPANY INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
431 LASALLE
WACO, TX 76706


WAGEWORKS, INC                                                                             Claims Related to Accounts Receivable and Accounts Payable
1100 PARK PLACE, 4TH FLOOR
SAN MATEO, CA 94403


WAHLCOMETROFLEX INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
DIVISION OF SENIOR OPERATIONS
LLC
PO BOX 71311
CHICAGO, IL 60694-1311


WALNUT CREEK MINING COMPANY                                                                Claims Related to Accounts Receivable and Accounts Payable
1000 KIEWIT PLAZA
OMAHA, NE 68131


WARFAB INC                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 4409
LONGVIEW, TX 75606-4409




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Name of Counterparty                                                                          Nature

WASTEWATER SOLUTIONS                                                                          Claims Related to Accounts Receivable and Accounts Payable
9217 HWY 290 WEST
STE 100
AUSTIN, TX 78736


WASTEWATER SOLUTIONS                                                                          Claims Related to Accounts Receivable and Accounts Payable
PO BOX 415983
BOSTON, MA 02241


WATERFALL SECURITY SOLUTIONS LTD                                                              Claims Related to Accounts Receivable and Accounts Payable
1133 BROADWAY
SUITE 708
NEW YORK, NY 10010


WAUKESHA-PEARCE INDUSTRIES INC                                                                Claims Related to Accounts Receivable and Accounts Payable
EXCHANGE ACCOUNT
PO BOX 204116
DALLAS, TX 75320-4116


WCA WASTE SYSTEMS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
SHERMAN HAULING
PO BOX 660345
DALLAS, TX 75266-0345


WCR INCORPORATED                                                                              Claims Related to Accounts Receivable and Accounts Payable
DEPT 3227
PO BOX 123227
DALLAS, TX 75312-3227


WE ENERGIES                                                                                   Claims Related to Accounts Receivable and Accounts Payable
231 W. MICHIGAN ST.
MILWAUKEE, WI 53203


WEBRECON LLC                                                                                  Claims Related to Accounts Receivable and Accounts Payable
6115 28TH ST SE STE 214
GRAND RAPIDS, MI 49546


WEBSITEPULSE                                                                                  Claims Related to Accounts Receivable and Accounts Payable
2451 RIVER TREE CIRCLE
SANFORD, FL 32771


WEIR SLURRY GROUP INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
21976 NETWORK PL
CHICAGO, IL 60673-1219




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Name of Counterparty                                                                                  Nature

WEIR VALVES & CONTROLS USA INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
PO BOX 13557
NEWARK, NJ 07188-0557


WELLS FARGO FINANCIAL LEASING                                                                         Claims Related to Accounts Receivable and Accounts Payable
DEPT CH 19511
PALATINE, IL 60055-9511


WEST TENNESSEE COMMUNICATIONS                                                                         Claims Related to Accounts Receivable and Accounts Payable
1295 A HWY 51 BY-PASS
DYERSBURG, TN 38024


WEST TEXAS MUNICIPAL POWER AGENCY                                                                     Claims Related to Accounts Receivable and Accounts Payable
1426 MAIN STREET
COLUMBIA, SC 29201


WEST UNIFIED COMMUNICATIONS SERVICES INC                                                              Claims Related to Accounts Receivable and Accounts Payable
15272 COLLECTIONS CTR DR
CHICAGO, IL 60693


WESTAIR-PRAXAIR DIST INC                                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 120812 DEPT 0812
DALLAS, TX 75312-0812


WESTECH ENGINEERING INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 65068
SALT LAKE CITY, UT 84165-0068


WESTERN CHEMICAL INTERNATIONAL                                                                        Claims Related to Accounts Receivable and Accounts Payable
INTERNATIONAL INC
PO BOX 2226
SCOTTSDALE, AZ 85252


WESTERN DATA SYSTEMS                                                                                  Claims Related to Accounts Receivable and Accounts Payable
14722 REGNAL ST
HOUSTON, TX 77039


WESTERN FILTER CO                                                                                     Claims Related to Accounts Receivable and Accounts Payable
10702 EAST 11TH STREET
TULSA, OK 74128


WESTERN PROCESS COMPUTERS INC                                                                         Claims Related to Accounts Receivable and Accounts Payable
2033 W NORTH LN STE 14
PHOENIX, AZ 85021-1900




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Name of Counterparty                                                                      Nature

WESTINGHOUSE ELECTRIC CO LLC                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 534774
ATLANTA, GA 30353-4774


WESTINGHOUSE-NUCLEAR                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 534774
ATLANTA, GA 30353-4774


WGL ENERGY SERVICES                                                                       Claims Related to Accounts Receivable and Accounts Payable
ATTN: TREASURY OPERATIONS
101 CONSTITUTION AVE NW
WASHINGTON, DC 20080


WHITE FENCE INC                                                                           Claims Related to Accounts Receivable and Accounts Payable
P O BOX 930586
ATLANTA, GA 31193-0586


WHITE OAK RADIATOR SERVICE                                                                Claims Related to Accounts Receivable and Accounts Payable
P O BOX 606
WHITE OAK, TX 75693


WHOLESALE PUMP & SUPPLY INC                                                               Claims Related to Accounts Receivable and Accounts Payable
2201 SCOTT AVE
FORT WORTH, TX 76103


WHOLESALE SUPPLY INC                                                                      Claims Related to Accounts Receivable and Accounts Payable
PO BOX 535
LONGVIEW, TX 75606


WILDCAT CRANES INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
5650 WILBARGER ST
FORT WORTH, TX 76119


WILLIAMS JANITORIAL                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 217
HOBBS, NM 88241


WILLIAMS PATENT CRUSHER                                                                   Claims Related to Accounts Receivable and Accounts Payable
& PULVERIZER COMPANY
PO BOX 842039
KANSAS CITY, MO 64184-2039


WILLIAMS, DONNA                                                                           Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE




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Name of Counterparty                                                                      Nature

WILLIAMS, ELIZABETH V                                                                     Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


WILLIAMS, MICHAEL                                                                         Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


WILLIAMS, PAULA                                                                           Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


WILLIAMS, RONNIE                                                                          Claims Related to Accounts Receivable and Accounts Payable
ADDRESS ON FILE


WILSON AIR CONDITIONING INC                                                               Claims Related to Accounts Receivable and Accounts Payable
PO BOX 9097
LONGVIEW, TX 75608


WILSON SUPPLY                                                                             Claims Related to Accounts Receivable and Accounts Payable
DBA DISTRIBUTIONNOW
PO BOX 200822
DALLAS, TX 75320-0822


WINDHAM MANUFACTURING CO INC                                                              Claims Related to Accounts Receivable and Accounts Payable
8520 FORNEY RD
DALLAS, TX 75227


WINDSTREAM COMMUNICATIONS                                                                 Claims Related to Accounts Receivable and Accounts Payable
% BANK OF AMERICA NA - CABS
PO BOX 60549
ST LOUIS, MO 63160-0549


WINFIELD SOLUTIONS LLC                                                                    Claims Related to Accounts Receivable and Accounts Payable
PAYMENT PROCESSING
PO BOX 847278
DALLAS, TX 75284-7278


WIRE ROPE INDUSTRIES LTD                                                                  Claims Related to Accounts Receivable and Accounts Payable
5501 TRANS-CANADA HWY
POINTE-CLAIRE QUEBEC
CANADA, FC H9R 1B7


WIREROPE WORKS INC                                                                        Claims Related to Accounts Receivable and Accounts Payable
ATTN ACCOUNTS RECEIVABLE
100 MAYNARD ST
WILLIAMSPORT, PA 17701




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Name of Counterparty                                                                                Nature

WM M MEYER & SONS INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
1700 FRANKLIN BLVD
LIBERTYVILLE, IL 60048


WMG INC                                                                                             Claims Related to Accounts Receivable and Accounts Payable
MARK TRAGER
16 BANK ST
PEEKSKILL, NY 10566


WMW DBA A&B FOUNDRY                                                                                 Claims Related to Accounts Receivable and Accounts Payable
11165 DENTON DR
DALLAS, TX 75229


WOMACK MACHINE SUPPLY COMPANIES                                                                     Claims Related to Accounts Receivable and Accounts Payable
PO BOX 678561
DALLAS, TX 75267-8561


WONDERWARE                                                                                          Claims Related to Accounts Receivable and Accounts Payable
14526 COLLECTION CENTER DR
CHICAGO, IL 60693


WONDERWARE                                                                                          Claims Related to Accounts Receivable and Accounts Payable
2720 REED ROAD
SUITE 280
HOUSTON, TX 77051


WOOD COUNTY ELECTRIC COOPERATIVE, INC.                                                              Claims Related to Accounts Receivable and Accounts Payable
501 S. MAIN ST.PO BOX 1827
QUITMAN, TX 75783


WOODWARD GOVERNOR COMPANY                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 848301
DALLAS, TX 75284-8301


WORKDAY INC                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 396106
SAN FRANCISCO, CA 94139-6106


WORKPLACE SOLUTIONS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 645426
PITTSBURGH, PA 15264-5426


WORKPLACE SOLUTIONS                                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 764857
DALLAS, TX 75376




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Name of Counterparty                                                                       Nature

WORKSOFT                                                                                   Claims Related to Accounts Receivable and Accounts Payable
15851 DALLAS PARKWAY
SUITE 855
ADDISON, TX 75001


WORKSOFT INC                                                                               Claims Related to Accounts Receivable and Accounts Payable
15851 DALLAS PARKWAY
SUITE 855
ADDISON, TX 75001


WORLD ENERGY SOLUTIONS INC                                                                 Claims Related to Accounts Receivable and Accounts Payable
446 MAIN STREET 14TH FLOOR
WORCESTER, WA 01608


WORLD WIDE TECHNOLOGY INC                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 957653
SAINT LOUIS, MO 63195-7653


WORLDWIDE RENTAL SERVICES                                                                  Claims Related to Accounts Receivable and Accounts Payable
PO BOX 172363
DENVER, CO 80217-2363


WRG LLC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 204484
DALLAS, TX 75320-4484


W-S SPECIALTY SERVICES LLC                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 461085
PAPILLION, NE 68046-1085


WSI CORPORATION                                                                            Claims Related to Accounts Receivable and Accounts Payable
PO BOX 101332
ATLANTA, GA 30392-1332


WULFS CUSTOM WELDING                                                                       Claims Related to Accounts Receivable and Accounts Payable
19102 SOUTH 156TH STREET
SPRINGFIELD, NE 68059


XTO ENERGY                                                                                 Claims Related to Accounts Receivable and Accounts Payable
810 HOUSTON STREET
FT. WORTH, TX 76102-6298


YASSIN MOBARAK                                                                             Claims Related to Accounts Receivable and Accounts Payable
20525 CYPRESSWOOD DR APT 5202
CYPRESS, TX 77433




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Name of Counterparty                                                                        Nature

YATES BUICK                                                                                 Claims Related to Accounts Receivable and Accounts Payable
215 US HIGHWAY 79 S
HENDERSON, TX 75654


YATES BUICK/GMC                                                                             Claims Related to Accounts Receivable and Accounts Payable
215 US HIGHWAY 79 S
HENDERSON, TX 75654


YELLOW PAGES ONLINE                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 8077
MANSFIELD, OH 44907


YOKOGAWA INDUSTRIAL AUTOMATION                                                              Claims Related to Accounts Receivable and Accounts Payable
PO BOX 409220
ATLANTA, GA 30384-9220


YORK PUMP & EQUIPMENT                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 201791
DALLAS, TX 75320-1791


YORK PUMP & EQUIPMENT                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 3765
LONGVIEW, TX 75606


YORK RISK SERVICES GROUP INC.                                                               Claims Related to Accounts Receivable and Accounts Payable
99 CHERRY HILL ROAD SUITE 102
PARSIPPANY, NJ 07054


YORK, A JOHNSON CONTROLS CO                                                                 Claims Related to Accounts Receivable and Accounts Payable
P O BOX 3554
LONGVIEW, TX 75606


YORK, A JOHNSON CONTROLS CO                                                                 Claims Related to Accounts Receivable and Accounts Payable
PO BOX 730068
DALLAS, TX 75373-0068


YOUNG ENERGY LLC                                                                            Claims Related to Accounts Receivable and Accounts Payable
P. O. BOX 470487
FT WORTH, TX 76147


YOUNGBLOOD OIL COMPANY                                                                      Claims Related to Accounts Receivable and Accounts Payable
439 S SHELBY ST
CARTHAGE, TX 75633




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Name of Counterparty                                                                          Nature

ZAYO FIBER SOLUTIONS                                                                          Claims Related to Accounts Receivable and Accounts Payable
P O BOX 952136
DALLAS, TX 75395-2136


ZEE MEDICAL                                                                                   Claims Related to Accounts Receivable and Accounts Payable
4737 COLLEGE PARK 102
SAN ANTONIO, TX 78249


ZEEFAX INC                                                                                    Claims Related to Accounts Receivable and Accounts Payable
PO BOX 72753
RICHMOND, VA 23235


ZELLWEGER ANALYTICS INC                                                                       Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2715
CAROL STREAM, IL 60132


ZEP SALES & SERVICE                                                                           Claims Related to Accounts Receivable and Accounts Payable
PO BOX 841508
DALLAS, TX 75284-1508


ZEPCO                                                                                         Claims Related to Accounts Receivable and Accounts Payable
PO BOX 2709
GREER, SC 29652


ZEPHYR ENVIRONMENTAL CORPORATION                                                              Claims Related to Accounts Receivable and Accounts Payable
2600 VIA FORTUNA
TERRACE BUILDING ONE
SUITE 450
AUSTIN, TX 78746




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